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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                           Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                 Judge M. Casey Rodgers
 This Document Relates to All Cases on           Magistrate Judge Gary R. Jones
 Exhibit A


                                        ORDER

       On March 23, 2022, the Court directed any plaintiff in the litigation who is a

veteran to submit a Form DD214 or DoD Military Service Information Report

(colloquially referred to as the “Blue Button”) by certain deadlines. See Case

Management Order No. 40, ECF No. 2911. The Order warned that a plaintiff’s

failure to timely submit the requisite form or report would result in dismissal of the

plaintiff’s case without prejudice. See id. at 3. The plaintiffs identified on Exhibit

A were required to submit the requisite form or report by April 22, 2022, and failed

to do so.1

       Rules 16(f) and 37(b)(2)(A) of the Federal Rules of Civil Procedure authorize

a court to sanction a party, up to and including dismissal of a case, for failing to


       1
         The deadlines set forth in CMO 40 are staggered based on the number of plaintiffs
represented by a particular law firm. Beginning March 23, 2022, each law firm was (and is)
required to submit at least 3,000 DD214s every 30 days. See CMO 40, ECF No. 2911 at 3.
Consequently, the deadline for law firms with 3,000 or fewer plaintiffs was April 22, 2022.
Exhibit A identifies the plaintiffs from that group who failed to meet that deadline.
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comply with pretrial orders. This authority has particular significance in the MDL

context. An MDL judge bears the “enormous” task of “mov[ing] thousands of cases

toward resolution on the merits while at the same time respecting their

individuality.” In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d 1217,

1231 (9th Cir. 2006). To carry out this task in an organized and efficient manner,

an MDL court must define and strictly adhere to case management rules. See id. at

1232 (“[T]he district judge must establish schedules with firm cutoff dates if the

coordinated cases are to move in a diligent fashion toward resolution by motion,

settlement, or trial.”); see also Fed. R. Civ. P. 1 (stating that the Federal Rules of

Civil Procedure “should be construed and administered to secure the just, speedy,

and inexpensive determination of every action and proceeding”). Pretrial orders—

and the parties’ compliance with those orders and their deadlines— “are the engine

that drives disposition on the merits.” Id. at 1232. “A [court’s] willingness to resort

to sanctions in the event of noncompliance can ensure that that the engine remains

in tune, resulting in better administration of the vehicle of multidistrict litigation.”

In re Cook Medical, Inc. Pelvic Repair Sys. Prof. Liab. Litig., 2018 WL 4698953, at

*2 (S.D. W. Va. Sept. 28, 2018) (citing Freeman v. Wyeth, 764 F.3d 806, 810 (8th

Cir. 2014) (“The MDL judge must be given ‘greater discretion’ to create and enforce

deadlines in order to administrate the litigation effectively. This necessarily includes

the power to dismiss cases where litigants do not follow the court’s orders.”)).
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       Applying these rules, the Court concludes that dismissal without prejudice is

appropriate in the cases identified on Exhibit A. This MDL has been pending for

over three years. All veterans who allegedly wore the CAEv2 during their military

service, and their counsel, have been on notice—for nearly as long—that a DD214

would be a fundamental requirement for pursuing a claim in this litigation. See

Pretrial Order No. 18, ECF No. 775 & 775-2. 2 This is because the DD214 constitutes

official proof of a veteran’s military service and provides essential details about the

veteran’s service record, information which is critical to the claims and defenses

involved in virtually every veteran’s claim. 3                The Court reemphasized the

importance of a DD214 at the February 16, 2022 Case Management Conference,

and, at that time, advised the parties that an order requiring its production by all

veterans would be forthcoming. See also Case Management Order No. 35, ECF No.

2789 at 4. That Order (again, CMO 40) was entered on March 23, 2022, and

identified two different ways for a plaintiff veteran to establish his or her military

service—either (1) by producing a DD214; or (2) by producing a DoD Military

Service Information Report which is readily and easily accessible to every veteran

(and/or a legal representative with the veteran’s credentials) on the VA’s health


       2
       Indeed, the DD214 is the very first item on the list of required initial census documents.
See PTO 18, Exhibit B, ECF No. 775-2.
       3
         For example, the DD214 includes information regarding dates of service, military
occupational specialties held, awards, education, and separation information (i.e., date and type of
separation, character of service, and the authority and reason for separation).
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management portal, MyHealtheVet. 4 Given the advanced stage of this litigation and

the importance of veterans’ military service information to the various claims and

defenses in this litigation, it was—and is—entirely reasonable to require veterans to

show basic proof of military service.

       Accordingly:

       1.     The plaintiffs’ cases identified on Exhibit A are hereby DISMISSED
              WITHOUT PREJUDICE for failure to comply with a court order.5

       2.     The Clerk is directed to enter a copy of this Order on the main MDL
              docket and on the individual dockets, and close the cases in their
              entirety for all purposes.

       SO ORDERED, on this 6th day of May, 2022.


                                    M. Casey Rodgers
                                    M. CASEY RODGERS
                                    UNITED STATES DISTRICT JUDGE




       4
        CMO 40 even included a link to the VA’s public website for the “Blue Button,” as well
as a sample Blue Button form.
       5
         To the extent a Request for Dismissal from Administrative Docket (RFD) was filed in a
particular case before CMO 40 was entered, the case will be dismissed pursuant to the RFD, and
not pursuant to CMO 40.
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IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY LITIGATION
EXHIBIT A




   Row        PID                             Name                                             Firm               Admin Docket Case Number   Active Docket Case Number
    1        116364   Daryl Brown                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-30414-MCR-GRJ
    2        116370   Edward Gosizk                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30426-MCR-GRJ
    3        116398   Brian Blow                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-30490-MCR-GRJ
    4        116402   David Baker                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30498-MCR-GRJ
    5        116421   Tyrell Coker                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30532-MCR-GRJ
    6        116467   Nicholas Fisher                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30616-MCR-GRJ
    7        116590   Antonio Artis                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30741-MCR-GRJ
    8        116591   David Johnson                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30742-MCR-GRJ
    9        116593   William Mattingly                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30744-MCR-GRJ
    10       116611   Darien Herbin                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30762-MCR-GRJ
    11       116614   Charles Mcclain                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30764-MCR-GRJ
    12       116615   Benjamin Cornejo                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30765-MCR-GRJ
    13       116715   Alan Beauchene                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-30946-MCR-GRJ
    14       116764   Skip Baughman                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-31040-MCR-GRJ
    15       116772   Andy Shepherd                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-31056-MCR-GRJ
    16       116793   Toua Vang                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-31095-MCR-GRJ
    17       116841   Timothy Laprade                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-31186-MCR-GRJ
    18       116867   Jason Osteen                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-31249-MCR-GRJ
    19       116885   Keven Haggerty                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-31297-MCR-GRJ
    20       116944   Gerrod Boothe                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-31047-MCR-GRJ
    21       138806   Jimmy Vazquez                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02570-MCR-GRJ
    22       138833   Wyatt Lutz                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02487-MCR-GRJ
    23       138852   Daniel Harmon                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02614-MCR-GRJ
    24       138868   Tyler Loflin                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02513-MCR-GRJ
    25       138891   Grant Miller                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02596-MCR-GRJ
    26       138893   Eduardo Gaona Rodriguez                 Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02357-MCR-GRJ
    27       138925   Daniel Hutchins                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02547-MCR-GRJ
    28       138999   Tommy Reason                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02370-MCR-GRJ
    29       139010   Shaun Smith                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02706-MCR-GRJ
    30       139020   Wesley Bourne                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02482-MCR-GRJ
    31       139023   Leroy Jackson                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02475-MCR-GRJ
    32       139024   Ronald Guffey                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02734-MCR-GRJ
    33       139031   Jesse Balch                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02757-MCR-GRJ
    34       139032   Jesse Flegal                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02478-MCR-GRJ
    35       139035   Michael Tipton                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02554-MCR-GRJ
    36       139036   Peter Niemeyer                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02562-MCR-GRJ
    37       139046   Michael Vickery                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02682-MCR-GRJ
    38       139064   Dewayne Scales                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02347-MCR-GRJ
    39       139069   John Brenner                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02689-MCR-GRJ
    40       139074   James Hill                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02718-MCR-GRJ
    41       139075   Mark Cole                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02559-MCR-GRJ
    42       139090   Billy Woods                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02658-MCR-GRJ
    43       139093   John Mccombs                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02765-MCR-GRJ
    44       139094   Victor Rodriguez Vega                   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-02598-MCR-GRJ
    45       139179   Daniel Devlin                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01069-MCR-GRJ
    46       139218   Douglas Abarca                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01254-MCR-GRJ
    47       139275   Freddy Riddle                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01238-MCR-GRJ
    48       139646   Nabiel Alawar                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01208-MCR-GRJ
    49       139651   Matthew Bass                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01276-MCR-GRJ
    50       139654   Christopher Bova                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01280-MCR-GRJ
    51       139659   Brandon Bucknor                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01285-MCR-GRJ
    52       139667   Lawrence Courtney                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01291-MCR-GRJ
    53       139669   Vincent Dandini                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01294-MCR-GRJ
    54       139677   Robert Bradley                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01281-MCR-GRJ
    55       139680   Joshua Deforrest                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01298-MCR-GRJ
    56       139697   Kevin Fischer                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01071-MCR-GRJ
    57       139698   Neil Fotre                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01310-MCR-GRJ
    58       139704   Adam Freed                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-30407-MCR-GRJ      3:19-cv-01035-MCR-GRJ
    59       139727   Shane Greer                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01038-MCR-GRJ
    60       139728   Trevor Hall                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-00962-MCR-GRJ
    61       139730   Mike Garcia                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-00955-MCR-GRJ
    62       139733   Kyle Hedge                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01044-MCR-GRJ
    63       139737   Nicholas Jermy                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01045-MCR-GRJ
    64       139738   Jeffrey Johnson                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01047-MCR-GRJ
    65       139741   Joseph Johnston                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01049-MCR-GRJ
    66       139743   Gregory Hofelich                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-00968-MCR-GRJ
    67       139745   Christopher Haskins Coppola             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01042-MCR-GRJ
    68       139746   George Gewinner                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01212-MCR-GRJ
    69       139750   Derek Halpin                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-00964-MCR-GRJ
    70       139753   Casey Layton                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-00982-MCR-GRJ
    71       139754   Jason Linemann                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01062-MCR-GRJ
    72       139783   Michael Moore                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01004-MCR-GRJ
    73       139795   Thomas Rhame                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01018-MCR-GRJ




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   Row        PID                           Name                                               Firm               Admin Docket Case Number   Active Docket Case Number
    74       139796   Richard Robinson                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01019-MCR-GRJ
    75       139798   Joshua Ryan                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01205-MCR-GRJ
    76       139802   Joshua Schwartz                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01231-MCR-GRJ
    77       139803   Chad Martin                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01054-MCR-GRJ
    78       139805   Michael Coppock                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01250-MCR-GRJ
    79       139806   Abraham Ramos                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01015-MCR-GRJ
    80       139810   Dustin Allman                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01248-MCR-GRJ
    81       139812   Brian Neal                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01080-MCR-GRJ
    82       139830   Richard Lee                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-00997-MCR-GRJ
    83       139843   Kinsey Ross                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               3:19-cv-01099-MCR-GRJ
    84       144694   Dallas Lapointe                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-37783-MCR-GRJ
    85       144753   Tiothiamme Burney                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-37796-MCR-GRJ
    86       144774   Edward Santos                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-37799-MCR-GRJ
    87       144950   Doc-Anthony Greene                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38159-MCR-GRJ
    88       144955   John Kumpf                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-38163-MCR-GRJ
    89       145026   Eddy Michael                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-38225-MCR-GRJ
    90       145056   Bradly Sisson                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38258-MCR-GRJ
    91       145070   Steven Joyner                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38269-MCR-GRJ
    92       145116   Sabrina Rogers                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38298-MCR-GRJ
    93       145194   Brian Lamoureux                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38387-MCR-GRJ
    94       145331   John May                                Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38569-MCR-GRJ
    95       145413   Travis Smith                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-38609-MCR-GRJ
    96       145650   Brady Irwin                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-38796-MCR-GRJ
    97       145686   Brian Marrs                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-38801-MCR-GRJ
    98       145730   Joseph Burns                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38829-MCR-GRJ
    99       145790   David Newlon                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38865-MCR-GRJ
   100       145939   Steven Lex                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-38974-MCR-GRJ
   101       145951   Travis Adams                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-38986-MCR-GRJ
   102       146004   Petron Lindo                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-39027-MCR-GRJ
   103       146287   Randall Smith                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-39187-MCR-GRJ
   104       146331   Dewayne Harris                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-39212-MCR-GRJ
   105       146456   Ted Nugent                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-39917-MCR-GRJ
   106       146494   Jamie Turner                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-39941-MCR-GRJ
   107       146554   Jose Alamillo                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-39984-MCR-GRJ
   108       146661   Dylan Ramsrud                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40038-MCR-GRJ
   109       146668   Chris Phillips                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40048-MCR-GRJ
   110       146835   Joshua Michael                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40126-MCR-GRJ
   111       146884   Thomas Paul                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40138-MCR-GRJ
   112       146992   Raul Huerta                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40192-MCR-GRJ
   113       147015   David Forbes                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40204-MCR-GRJ
   114       147385   Juan Soto Arocho                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40421-MCR-GRJ
   115       147521   Christopher Chapman                     Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-40483-MCR-GRJ
   116       147528   Sean Lutz                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40489-MCR-GRJ
   117       147653   Keenan Kribs                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40549-MCR-GRJ
   118       147923   William Anderson                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-40721-MCR-GRJ
   119       147924   Kevin Auvil                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-40724-MCR-GRJ
   120       147929   Kenneth Curtsigner                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40739-MCR-GRJ
   121       147930   Derek Farris                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40742-MCR-GRJ
   122       147935   Michael Lopez                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40758-MCR-GRJ
   123       147939   Byron Mercer                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40770-MCR-GRJ
   124       147952   Andrew Marchak                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41474-MCR-GRJ
   125       147957   Brian Monk                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41485-MCR-GRJ
   126       147959   Chauncey Williams                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41490-MCR-GRJ
   127       147960   Chris Cotten                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41492-MCR-GRJ
   128       147966   Justin Elliott                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41506-MCR-GRJ
   129       147969   James Jones                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41513-MCR-GRJ
   130       147975   Joshua Matekovic                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41527-MCR-GRJ
   131       147978   William Glover                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41534-MCR-GRJ
   132       147986   Shawn Guernsey                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41552-MCR-GRJ
   133       147990   John Wilson                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41561-MCR-GRJ
   134       147995   David James                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41572-MCR-GRJ
   135       148012   Jordan Coates                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41597-MCR-GRJ
   136       148015   John Harrell                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41600-MCR-GRJ
   137       148021   Adrian Morgan                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41606-MCR-GRJ
   138       148022   Michael Starr                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-30515-MCR-GRJ
   139       148023   Eriberto Tavarez                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41607-MCR-GRJ
   140       148025   Joseph Wilson                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41609-MCR-GRJ
   141       148034   Samual Gilliland                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41617-MCR-GRJ
   142       148047   Steve Foster                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41628-MCR-GRJ
   143       148048   Jonathan Hale                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41629-MCR-GRJ
   144       148049   Brandon Hargis                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41630-MCR-GRJ
   145       148050   Ron James                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41631-MCR-GRJ
   146       148054   Jacqueline Lantrip                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41635-MCR-GRJ




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   147       148055   John Lowe                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41636-MCR-GRJ
   148       148059   Jerry Nowell                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41640-MCR-GRJ
   149       148064   Micaela Prindel                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41648-MCR-GRJ
   150       148067   Tyler Richards                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41655-MCR-GRJ
   151       148069   Laquindra Sandifer                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41659-MCR-GRJ
   152       148070   Shantel Sledge                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41662-MCR-GRJ
   153       148076   Jaime Trussell                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41680-MCR-GRJ
   154       148083   Antonio Datar                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41703-MCR-GRJ
   155       148087   Ahmik Gonzalez                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41716-MCR-GRJ
   156       148092   Jorge Horta                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41732-MCR-GRJ
   157       148099   Joshua Loeser                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41750-MCR-GRJ
   158       148100   Jason Miller                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41753-MCR-GRJ
   159       148101   Valentin Perez                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41756-MCR-GRJ
   160       148103   Daniel Rodriguez                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41763-MCR-GRJ
   161       148105   Julian Thompson                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41769-MCR-GRJ
   162       148108   Duwayne Wright                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41775-MCR-GRJ
   163       148117   Vernon Bywaters                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41803-MCR-GRJ
   164       148128   Larry Dickerson                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41834-MCR-GRJ
   165       148131   Michael Ellithorpe                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41844-MCR-GRJ
   166       148133   Kasey Mai                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41850-MCR-GRJ
   167       148134   Eric Martin                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41853-MCR-GRJ
   168       148136   John Randol                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41859-MCR-GRJ
   169       148137   Clifford Sapp                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41864-MCR-GRJ
   170       148140   Andre Blakemore                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41873-MCR-GRJ
   171       148141   Patrick Boatner                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41876-MCR-GRJ
   172       148146   Corey Porter                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41893-MCR-GRJ
   173       148165   Leon Faucett                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41948-MCR-GRJ
   174       148167   Michael Turner                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41955-MCR-GRJ
   175       148175   Eric Walker                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-41980-MCR-GRJ
   176       148176   Bryan Dhondt                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-41984-MCR-GRJ
   177       148184   Hugh Odonnell                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42006-MCR-GRJ
   178       148192   Albeny Martinez                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42032-MCR-GRJ
   179       148197   Ian Kirk                                Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42057-MCR-GRJ
   180       148200   Michael Doud                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42075-MCR-GRJ
   181       148218   Tyler Jarvis                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-42539-MCR-GRJ
   182       148221   Brandon Jones                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42551-MCR-GRJ
   183       148225   Gilberto Cruz-Ayala                     Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42570-MCR-GRJ
   184       148230   Darrell Walker                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42594-MCR-GRJ
   185       148244   Jeremy Martin                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-42657-MCR-GRJ
   186       148247   Julie Torres                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42670-MCR-GRJ
   187       148248   Jonathan Wier                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42676-MCR-GRJ
   188       148258   Joshua Dow                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42717-MCR-GRJ
   189       148281   Gene Wallace                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42826-MCR-GRJ
   190       148290   Jobari Prater                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42863-MCR-GRJ
   191       148291   Mario Whitney                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42867-MCR-GRJ
   192       148292   Lucas Doyle                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-42872-MCR-GRJ
   193       148297   Jamie Hansen                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-42895-MCR-GRJ
   194       148301   Calvin Smith                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42914-MCR-GRJ
   195       148331   Nicholas Soder                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43043-MCR-GRJ
   196       148338   Kristopher Kuffel                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43066-MCR-GRJ
   197       148356   Kyle Corbin                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43118-MCR-GRJ
   198       148362   Juan Cantu                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43131-MCR-GRJ
   199       148390   Joseph Snell                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43187-MCR-GRJ
   200       148391   Amanda Cervantes                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-43189-MCR-GRJ
   201       156563   Mark Wetzel                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43395-MCR-GRJ
   202       156804   Danaher Taylor                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43421-MCR-GRJ
   203       156822   Cody Garrison                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43425-MCR-GRJ
   204       156938   Joseph Taylor                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43434-MCR-GRJ
   205       157302   Adam Justice                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43461-MCR-GRJ
   206       157394   Michael Garza                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-43467-MCR-GRJ
   207       157472   Blake Huelsman                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43476-MCR-GRJ
   208       157496   Scott Wybro                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43481-MCR-GRJ
   209       157939   Richard Ainsworth                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-43550-MCR-GRJ
   210       160231   Gregory Simeone                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-46185-MCR-GRJ
   211       160269   John Dymarcik                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-46199-MCR-GRJ
   212       160413   Theodore Dean                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-47337-MCR-GRJ
   213       160751   Samuel Miller                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-47497-MCR-GRJ
   214       160889   Montriel Bishop                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-47570-MCR-GRJ
   215       160988   Reginald Moore                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-47651-MCR-GRJ
   216       161714   Jermel Brown                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-48164-MCR-GRJ
   217       161891   Victoria Neindow                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-48271-MCR-GRJ
   218       161951   George Sannadan                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-49154-MCR-GRJ
   219       162127   Michael Goodman                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-49237-MCR-GRJ




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   220       162379   Drew Schmidt                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-49306-MCR-GRJ
   221       162441   Torrie Salazar                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-49359-MCR-GRJ
   222       162450   Kevin Garrad                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-49363-MCR-GRJ
   223       165636   William Owens                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-50889-MCR-GRJ
   224       165665   Michael Baker                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-50981-MCR-GRJ
   225       165721   John Wimunc                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-51634-MCR-GRJ
   226       165759   Patrick Engelhardt                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-51812-MCR-GRJ
   227       165779   Daniel Boudreault                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-51909-MCR-GRJ
   228       179689   Richard Stinnett                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83498-MCR-GRJ
   229       179701   Richard Bennett                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83545-MCR-GRJ
   230       179713   Kathryn Thomas                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83581-MCR-GRJ
   231       179761   Anthony Garcia                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83682-MCR-GRJ
   232       179765   Davalance Depoe                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83685-MCR-GRJ
   233       179785   Kenneth Russell                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83705-MCR-GRJ
   234       179791   Joshua Morin                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83711-MCR-GRJ
   235       179862   Nicholas Moody                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83373-MCR-GRJ
   236       179869   Lucas Myers                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:20-cv-83400-MCR-GRJ
   237       195767   Brent Barker                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-40752-MCR-GRJ
   238       195782   Edgar Perez                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40774-MCR-GRJ
   239       195843   Dayton Coin                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-40844-MCR-GRJ
   240       218595   Myles Berwick                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-75894-MCR-GRJ
   241       218623   Daniel Galicia                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-76846-MCR-GRJ
   242       218629   Michael Eckman                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-76852-MCR-GRJ
   243       218647   Joshua Rose                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-76870-MCR-GRJ
   244       218650   Timothy Young                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-76873-MCR-GRJ
   245       218673   Treveze Robinson                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-76896-MCR-GRJ
   246       218724   Cameron Martin                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-69040-MCR-GRJ
   247       218809   Stephen Ali                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-69200-MCR-GRJ
   248       253325   Donald Thacker                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-96879-MCR-GRJ
   249       253393   David Wadsworth                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-97152-MCR-GRJ
   250       253423   David Buskirk                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               8:20-cv-97182-MCR-GRJ
   251       274979   Riley Cornelius                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17569-MCR-GRJ
   252       274981   Terry Hicks                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17571-MCR-GRJ
   253       274982   Freddie Jackson                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17572-MCR-GRJ
   254       274985   Ronald Lipscomb                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17575-MCR-GRJ
   255       274987   Jorge Maynard                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17577-MCR-GRJ
   256       274988   John Sinderholm                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17578-MCR-GRJ
   257       274991   Brandon Lawson                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17581-MCR-GRJ
   258       274995   Abel Padilla                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17585-MCR-GRJ
   259       274996   Alex Weis                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17586-MCR-GRJ
   260       274998   Barry Fulcher                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17588-MCR-GRJ
   261       275000   Charles Moorer                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17590-MCR-GRJ
   262       275002   Christopher Dillard                     Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17592-MCR-GRJ
   263       275011   Jason Jackson                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17601-MCR-GRJ
   264       275018   Joshua Burns                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17608-MCR-GRJ
   265       275019   Justin Riling                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17609-MCR-GRJ
   266       275020   Kevin Tennant                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17610-MCR-GRJ
   267       275021   Kevin Tobisch                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17611-MCR-GRJ
   268       275022   Larry Blazer                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17612-MCR-GRJ
   269       275023   Luis Infante                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17613-MCR-GRJ
   270       275027   Quincey Wilson                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17617-MCR-GRJ
   271       275029   Ricky Dean                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17619-MCR-GRJ
   272       275032   Thomas Mccormick                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17622-MCR-GRJ
   273       275034   Victor Garcia                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17624-MCR-GRJ
   274       275035   Whitley Bays                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17625-MCR-GRJ
   275       275060   Darrick Gilbert                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17650-MCR-GRJ
   276       275072   Michael Kryzsko                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17662-MCR-GRJ
   277       275074   Mitchell Lindberg                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17664-MCR-GRJ
   278       275091   Jesse Goodney                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17681-MCR-GRJ
   279       275098   Nikiya Gilliard                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17688-MCR-GRJ
   280       275099   Parris Mccullah                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17689-MCR-GRJ
   281       275102   Sean Mckenzie                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17692-MCR-GRJ
   282       275106   Wayde Kilmer                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17696-MCR-GRJ
   283       275127   Cary Dixon                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-17717-MCR-GRJ
   284       275135   Hector Hernandez Rivera                 Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17725-MCR-GRJ
   285       275164   Robert Kelley                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18478-MCR-GRJ
   286       275169   James Mcgoldrick                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-18488-MCR-GRJ
   287       275174   Darin Ogden                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18499-MCR-GRJ
   288       275175   John Randall                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18500-MCR-GRJ
   289       275224   Travis Courtney                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18598-MCR-GRJ
   290       275237   David Qualy                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18611-MCR-GRJ
   291       275287   Britt Hart                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18665-MCR-GRJ
   292       275300   Jose Lopez                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18691-MCR-GRJ




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   293       275316   Tyler Cortner                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-18722-MCR-GRJ
   294       275317   Stephen Page                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    9:20-cv-18724-MCR-GRJ
   295       287510   Royce Alexander                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09757-MCR-GRJ
   296       287518   Terry Rhodes                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09765-MCR-GRJ
   297       287523   Michael Costello                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-09770-MCR-GRJ
   298       287529   Devin Bonnell                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-09776-MCR-GRJ
   299       287533   Michael Hawkins                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09780-MCR-GRJ
   300       287534   Randy Wilson                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09781-MCR-GRJ
   301       287548   Parker Mcelroy                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09795-MCR-GRJ
   302       287551   Franklin Grizzle                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-09798-MCR-GRJ
   303       287565   David Cantrell                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09812-MCR-GRJ
   304       287566   Eric Dow                                Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-09813-MCR-GRJ
   305       287584   David Donnelly                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-09831-MCR-GRJ
   306       287587   Thinh Nguyen                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-09834-MCR-GRJ
   307       287605   Anthony Alvarado                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-09852-MCR-GRJ
   308       300315   Eugene Smith                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-21598-MCR-GRJ
   309       300320   Andrew Towle                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-21603-MCR-GRJ
   310       300322   Warran Bockhol                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21605-MCR-GRJ
   311       300323   Justin Remotigue                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21606-MCR-GRJ
   312       300324   Kennedy Easterling                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21607-MCR-GRJ
   313       300325   Bj Daniel                               Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21608-MCR-GRJ
   314       300338   Corey Mcintee                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-21621-MCR-GRJ
   315       300348   Gilberto Calderon                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21631-MCR-GRJ
   316       300357   Stephen Carouthers                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21640-MCR-GRJ
   317       300358   Michael Thompson                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21641-MCR-GRJ
   318       300360   Randall Cowell                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21643-MCR-GRJ
   319       300361   Michael Adkins                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21644-MCR-GRJ
   320       300364   Mustafa Elhallaoui                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21647-MCR-GRJ
   321       300380   Javier Villegas                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21663-MCR-GRJ
   322       300383   Mary Green                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21666-MCR-GRJ
   323       300391   Joshua Gates                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21674-MCR-GRJ
   324       300399   Aaron Harris                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21682-MCR-GRJ
   325       300414   Bradley Teague                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-21697-MCR-GRJ
   326       300429   Scott Mills                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21712-MCR-GRJ
   327       300436   Leander Santos                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-21719-MCR-GRJ
   328       311383   Derek Gray                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28623-MCR-GRJ
   329       311386   Allen Bednarski                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28626-MCR-GRJ
   330       311388   Carlos Gomez                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28628-MCR-GRJ
   331       311390   Gerald Foix                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28630-MCR-GRJ
   332       311392   Brandyn Langston-Russow                 Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28632-MCR-GRJ
   333       311393   William Sellers                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28633-MCR-GRJ
   334       311397   Gregory Sprague                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28637-MCR-GRJ
   335       311404   David Cordero                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28644-MCR-GRJ
   336       311407   Jaciel Guerrero                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28647-MCR-GRJ
   337       311408   Jillian Hileman                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-28648-MCR-GRJ
   338       311414   Charles Burger                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28654-MCR-GRJ
   339       311425   Christopher Wright                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28665-MCR-GRJ
   340       311426   Wendell Ladd                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-28666-MCR-GRJ
   341       311431   Gene Galow                              Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28671-MCR-GRJ
   342       311444   Dustin Martin                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28684-MCR-GRJ
   343       311451   Jared Runge                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28691-MCR-GRJ
   344       311465   Mikko Wimpari                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28705-MCR-GRJ
   345       311469   Nathan Guite                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28709-MCR-GRJ
   346       311470   Vernon Wungnema                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28710-MCR-GRJ
   347       311471   Marshall Farris                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28711-MCR-GRJ
   348       311474   Glen Coleman                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28714-MCR-GRJ
   349       311477   Joel Vazquez                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-28717-MCR-GRJ
   350       311480   Johnny Peralta                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28720-MCR-GRJ
   351       311487   Christian Arciga                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-28727-MCR-GRJ
   352       311494   Khaleef Cray                            Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-28734-MCR-GRJ
   353       311499   Gremlin Menez                           Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28739-MCR-GRJ
   354       311504   Eduardo Carballo                        Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28744-MCR-GRJ
   355       311520   Christopher Vallia                      Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28759-MCR-GRJ
   356       311550   Scott Denys                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28789-MCR-GRJ
   357       311557   Forrest Langley                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28796-MCR-GRJ
   358       311632   Tina Hunter                             Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-28871-MCR-GRJ
   359       325138   Iaveon Hernandez Lopez                  Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-44308-MCR-GRJ
   360       325143   Alejandro Fairley                       Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-44313-MCR-GRJ
   361       325145   Joseph Aspelund                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               7:21-cv-44315-MCR-GRJ
   362       332115   Travis Starrett                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    7:21-cv-50764-MCR-GRJ
   363       231261   Eduardo Acevedo                         Alexander Law Group, PLC                             8:20-cv-79382-MCR-GRJ
   364       231262   Arlynn Addington                        Alexander Law Group, PLC                             8:20-cv-79383-MCR-GRJ
   365       231264   Justin Aguayo                           Alexander Law Group, PLC                                                        8:20-cv-79385-MCR-GRJ




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   366       231267   Marshall Aitchison                      Alexander Law Group, PLC           8:20-cv-79388-MCR-GRJ
   367       231270   Mario Aleman                            Alexander Law Group, PLC           8:20-cv-79391-MCR-GRJ
   368       231272   Karolyn Alexander                       Alexander Law Group, PLC                                      8:20-cv-79393-MCR-GRJ
   369       231274   Justin Almaguer                         Alexander Law Group, PLC           8:20-cv-79395-MCR-GRJ
   370       231275   Benny Almandres                         Alexander Law Group, PLC           8:20-cv-79396-MCR-GRJ
   371       231276   John Amabile                            Alexander Law Group, PLC                                      8:20-cv-79397-MCR-GRJ
   372       231277   Grant Anderson                          Alexander Law Group, PLC                                      8:20-cv-79398-MCR-GRJ
   373       231280   Luis Angulo                             Alexander Law Group, PLC           8:20-cv-79401-MCR-GRJ
   374       231281   John Arcuri                             Alexander Law Group, PLC           8:20-cv-79402-MCR-GRJ
   375       231282   Gregory Argentieri                      Alexander Law Group, PLC           8:20-cv-79403-MCR-GRJ
   376       231284   Donald Arning                           Alexander Law Group, PLC                                      8:20-cv-79405-MCR-GRJ
   377       231285   Myron Auzenne                           Alexander Law Group, PLC           8:20-cv-79406-MCR-GRJ
   378       231286   Christopher Avery                       Alexander Law Group, PLC           8:20-cv-79407-MCR-GRJ
   379       231287   Justin Awtry                            Alexander Law Group, PLC           8:20-cv-79408-MCR-GRJ
   380       231288   Ivan Ayala                              Alexander Law Group, PLC                                      8:20-cv-79409-MCR-GRJ
   381       231289   Luisito Ayento                          Alexander Law Group, PLC           8:20-cv-79410-MCR-GRJ
   382       231290   Paul Bade                               Alexander Law Group, PLC           8:20-cv-79411-MCR-GRJ
   383       231291   Tyler Bagwell                           Alexander Law Group, PLC                                      8:20-cv-79412-MCR-GRJ
   384       231293   Robert Baker                            Alexander Law Group, PLC           8:20-cv-79414-MCR-GRJ
   385       231294   Dennis Ballard                          Alexander Law Group, PLC           8:20-cv-79415-MCR-GRJ
   386       231296   Anthony Banks                           Alexander Law Group, PLC           8:20-cv-79417-MCR-GRJ
   387       231297   David Bargery                           Alexander Law Group, PLC                                      8:20-cv-79418-MCR-GRJ
   388       231299   Betty Barnett                           Alexander Law Group, PLC           8:20-cv-79420-MCR-GRJ
   389       231302   Bradley Barr                            Alexander Law Group, PLC                                      8:20-cv-79423-MCR-GRJ
   390       231303   Mary Barrett                            Alexander Law Group, PLC           8:20-cv-79424-MCR-GRJ
   391       231304   Joaquin Barrios                         Alexander Law Group, PLC           8:20-cv-79425-MCR-GRJ
   392       231305   Andrew Barrow                           Alexander Law Group, PLC           8:20-cv-79426-MCR-GRJ
   393       231306   Robert Bartholow                        Alexander Law Group, PLC           8:20-cv-79427-MCR-GRJ
   394       231309   Monica Bastista                         Alexander Law Group, PLC           8:20-cv-79430-MCR-GRJ
   395       231310   William Baxter                          Alexander Law Group, PLC           8:20-cv-79431-MCR-GRJ
   396       231311   Charles Beach                           Alexander Law Group, PLC           8:20-cv-79432-MCR-GRJ
   397       231313   Matthew Becerra                         Alexander Law Group, PLC                                      8:20-cv-79434-MCR-GRJ
   398       231314   Jessee Belsak                           Alexander Law Group, PLC           8:20-cv-79435-MCR-GRJ
   399       231315   Reynaldo Benasfre                       Alexander Law Group, PLC           8:20-cv-79436-MCR-GRJ
   400       231316   Alberto Benitez                         Alexander Law Group, PLC           8:20-cv-79437-MCR-GRJ
   401       231317   Jasoby Benjamin                         Alexander Law Group, PLC                                      8:20-cv-79438-MCR-GRJ
   402       231318   John Bennett                            Alexander Law Group, PLC                                      8:20-cv-79439-MCR-GRJ
   403       231319   Brandon Bianchi                         Alexander Law Group, PLC                                      8:20-cv-79440-MCR-GRJ
   404       231320   Ryan Bigelow                            Alexander Law Group, PLC           8:20-cv-79441-MCR-GRJ
   405       231321   Cynthia Bills                           Alexander Law Group, PLC           8:20-cv-79442-MCR-GRJ
   406       231323   John Bivens                             Alexander Law Group, PLC           8:20-cv-79444-MCR-GRJ
   407       231325   Felipe Blanding                         Alexander Law Group, PLC           8:20-cv-79446-MCR-GRJ
   408       231326   Joshua Blankenship                      Alexander Law Group, PLC           8:20-cv-79447-MCR-GRJ
   409       231327   Daniel Block                            Alexander Law Group, PLC           8:20-cv-79448-MCR-GRJ
   410       231328   Greg Bloomquist                         Alexander Law Group, PLC           8:20-cv-79449-MCR-GRJ
   411       231329   Joshua Boland                           Alexander Law Group, PLC                                      8:20-cv-79450-MCR-GRJ
   412       231330   Elmer Bonilla                           Alexander Law Group, PLC           8:20-cv-79451-MCR-GRJ
   413       231333   David Bortels                           Alexander Law Group, PLC           8:20-cv-79454-MCR-GRJ
   414       231334   Adrian Bouldin                          Alexander Law Group, PLC           8:20-cv-79455-MCR-GRJ
   415       231337   Antoinne Bower                          Alexander Law Group, PLC           8:20-cv-79458-MCR-GRJ
   416       231338   Branden Bowman                          Alexander Law Group, PLC           8:20-cv-79459-MCR-GRJ
   417       231340   Aaron Brandon                           Alexander Law Group, PLC           8:20-cv-79461-MCR-GRJ
   418       231341   Justin Brandt                           Alexander Law Group, PLC           8:20-cv-79462-MCR-GRJ
   419       231343   Alan Breger                             Alexander Law Group, PLC           8:20-cv-79464-MCR-GRJ
   420       231345   Jeremiah Brennan                        Alexander Law Group, PLC           8:20-cv-79466-MCR-GRJ
   421       231346   Patrick Brooks                          Alexander Law Group, PLC                                      8:20-cv-79467-MCR-GRJ
   422       231347   Casey Brookshire                        Alexander Law Group, PLC                                      8:20-cv-79468-MCR-GRJ
   423       231348   Mervin Brott                            Alexander Law Group, PLC           8:20-cv-79469-MCR-GRJ
   424       231349   Anthony Brown                           Alexander Law Group, PLC                                      8:20-cv-79470-MCR-GRJ
   425       231350   Dominqus Brown                          Alexander Law Group, PLC           8:20-cv-79471-MCR-GRJ
   426       231351   Exie Brown                              Alexander Law Group, PLC           8:20-cv-79472-MCR-GRJ
   427       231354   Wade Brown                              Alexander Law Group, PLC           8:20-cv-79475-MCR-GRJ
   428       231356   Jonathan Bruch                          Alexander Law Group, PLC                                      8:20-cv-79477-MCR-GRJ
   429       231358   Corey Buckles                           Alexander Law Group, PLC           8:20-cv-79479-MCR-GRJ
   430       231359   Thaddeus Buenaventura                   Alexander Law Group, PLC           8:20-cv-79480-MCR-GRJ
   431       231360   Gregory Bukus                           Alexander Law Group, PLC           8:20-cv-79481-MCR-GRJ
   432       231364   John Burdette                           Alexander Law Group, PLC                                      8:20-cv-79485-MCR-GRJ
   433       231367   Francisco Burgos                        Alexander Law Group, PLC                                      8:20-cv-79488-MCR-GRJ
   434       231368   Robert Burgos                           Alexander Law Group, PLC           8:20-cv-79489-MCR-GRJ
   435       231369   Luis Burgos                             Alexander Law Group, PLC           8:20-cv-79490-MCR-GRJ
   436       231370   Gregory Byers                           Alexander Law Group, PLC           8:20-cv-79491-MCR-GRJ
   437       231372   Travis Cadd                             Alexander Law Group, PLC           8:20-cv-79493-MCR-GRJ
   438       231374   Gabriel Caldera                         Alexander Law Group, PLC           8:20-cv-79495-MCR-GRJ




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   439       231375   Andrew Caldwell                         Alexander Law Group, PLC           8:20-cv-79496-MCR-GRJ
   440       231377   Sharleen Camacho                        Alexander Law Group, PLC           8:20-cv-79498-MCR-GRJ
   441       231379   Christy Campbell                        Alexander Law Group, PLC           8:20-cv-79500-MCR-GRJ
   442       231380   John Campbell                           Alexander Law Group, PLC                                      8:20-cv-79501-MCR-GRJ
   443       231381   Quentin Campbell                        Alexander Law Group, PLC           8:20-cv-79502-MCR-GRJ
   444       231383   Demetris Cannon                         Alexander Law Group, PLC           8:20-cv-79504-MCR-GRJ
   445       231384   Frank Cannon                            Alexander Law Group, PLC           8:20-cv-79505-MCR-GRJ
   446       231386   Benito Cantero                          Alexander Law Group, PLC           8:20-cv-79507-MCR-GRJ
   447       231389   Rene Cardinal                           Alexander Law Group, PLC           8:20-cv-79510-MCR-GRJ
   448       231391   Gerald Carrier                          Alexander Law Group, PLC           8:20-cv-79512-MCR-GRJ
   449       231392   Nicholas Carriker                       Alexander Law Group, PLC           8:20-cv-79513-MCR-GRJ
   450       231394   Brok Carson                             Alexander Law Group, PLC           8:20-cv-79515-MCR-GRJ
   451       231398   Christian Castillo                      Alexander Law Group, PLC           8:20-cv-79519-MCR-GRJ
   452       231403   Roberto Ceballos-Cisneros               Alexander Law Group, PLC                                      8:20-cv-79524-MCR-GRJ
   453       231404   Juan Cedeno                             Alexander Law Group, PLC           8:20-cv-79525-MCR-GRJ
   454       231405   Anderson Cepero                         Alexander Law Group, PLC           8:20-cv-79526-MCR-GRJ
   455       231408   Charles Chaboya                         Alexander Law Group, PLC           8:20-cv-79529-MCR-GRJ
   456       231409   Joanna Chambers                         Alexander Law Group, PLC           8:20-cv-79530-MCR-GRJ
   457       231410   Nathan Chan                             Alexander Law Group, PLC           8:20-cv-79531-MCR-GRJ
   458       231413   Shawn Chaufty                           Alexander Law Group, PLC                                      8:20-cv-79534-MCR-GRJ
   459       231415   La'Keshia Chisholm                      Alexander Law Group, PLC           8:20-cv-79536-MCR-GRJ
   460       231418   Christopher Chun                        Alexander Law Group, PLC           8:20-cv-79539-MCR-GRJ
   461       231419   Jose Cintron                            Alexander Law Group, PLC           8:20-cv-79540-MCR-GRJ
   462       231421   Michael Clark                           Alexander Law Group, PLC           8:20-cv-79542-MCR-GRJ
   463       231422   Uriah Clarke                            Alexander Law Group, PLC           8:20-cv-79544-MCR-GRJ
   464       231423   Lashana Clayton                         Alexander Law Group, PLC           8:20-cv-79545-MCR-GRJ
   465       231424   Ted Clemens                             Alexander Law Group, PLC           8:20-cv-79546-MCR-GRJ
   466       231425   Carlos Coleman                          Alexander Law Group, PLC           8:20-cv-79547-MCR-GRJ
   467       231426   Dakeem Coleman                          Alexander Law Group, PLC           8:20-cv-79548-MCR-GRJ
   468       231428   Chris Colokathis'Vinuya                 Alexander Law Group, PLC                                      8:20-cv-79550-MCR-GRJ
   469       231431   Daryl Cook                              Alexander Law Group, PLC           8:20-cv-79554-MCR-GRJ
   470       231434   Stanley Copeland                        Alexander Law Group, PLC           8:20-cv-79558-MCR-GRJ
   471       231436   Joshua Cotner                           Alexander Law Group, PLC           8:20-cv-79560-MCR-GRJ
   472       231437   Tracy Courson                           Alexander Law Group, PLC           8:20-cv-79561-MCR-GRJ
   473       231438   Dana Covey                              Alexander Law Group, PLC           8:20-cv-79562-MCR-GRJ
   474       231441   Aaron Cox                               Alexander Law Group, PLC           8:20-cv-79565-MCR-GRJ
   475       231442   Derion Cox                              Alexander Law Group, PLC                                      8:20-cv-79566-MCR-GRJ
   476       231443   Robert Craig                            Alexander Law Group, PLC           8:20-cv-79567-MCR-GRJ
   477       231444   Daniel Creasy                           Alexander Law Group, PLC           8:20-cv-79568-MCR-GRJ
   478       231445   Melquicedec Crespoborges                Alexander Law Group, PLC           8:20-cv-79569-MCR-GRJ
   479       231446   Annabelle Cridlig                       Alexander Law Group, PLC                                      8:20-cv-79570-MCR-GRJ
   480       231447   Norman Crittle                          Alexander Law Group, PLC                                      8:20-cv-79571-MCR-GRJ
   481       231449   Paul Crooks                             Alexander Law Group, PLC           8:20-cv-79573-MCR-GRJ
   482       231450   David Cruz                              Alexander Law Group, PLC                                      8:20-cv-79574-MCR-GRJ
   483       231451   Hber Cruz                               Alexander Law Group, PLC           8:20-cv-79575-MCR-GRJ
   484       231454   Kenneth Dabney                          Alexander Law Group, PLC                                      8:20-cv-79578-MCR-GRJ
   485       231455   Cameron Dailey                          Alexander Law Group, PLC           8:20-cv-79579-MCR-GRJ
   486       231456   Derrick Dale                            Alexander Law Group, PLC           8:20-cv-79580-MCR-GRJ
   487       231457   Serena Daley                            Alexander Law Group, PLC           8:20-cv-79581-MCR-GRJ
   488       231458   Stephen Dalton                          Alexander Law Group, PLC           8:20-cv-79582-MCR-GRJ
   489       231459   Marvin Daughtry                         Alexander Law Group, PLC                                      8:20-cv-79583-MCR-GRJ
   490       231460   Charlie Davenport                       Alexander Law Group, PLC                                      8:20-cv-79584-MCR-GRJ
   491       231461   James Davis                             Alexander Law Group, PLC           8:20-cv-79585-MCR-GRJ
   492       231462   Joell Davis                             Alexander Law Group, PLC           8:20-cv-79586-MCR-GRJ
   493       231463   Devaughn Davis                          Alexander Law Group, PLC           8:20-cv-79587-MCR-GRJ
   494       231464   Terry Davison                           Alexander Law Group, PLC           8:20-cv-79588-MCR-GRJ
   495       231466   Karen Dayle-Van Buskirk                 Alexander Law Group, PLC           8:20-cv-79590-MCR-GRJ
   496       231467   Dominick Dedominicis                    Alexander Law Group, PLC           8:20-cv-79591-MCR-GRJ
   497       231468   Raymond Deering                         Alexander Law Group, PLC           8:20-cv-79592-MCR-GRJ
   498       231469   Armand Delage                           Alexander Law Group, PLC           8:20-cv-79593-MCR-GRJ
   499       231470   Jaime Delgado                           Alexander Law Group, PLC           8:20-cv-79594-MCR-GRJ
   500       231471   Rodney Delgado                          Alexander Law Group, PLC           8:20-cv-79595-MCR-GRJ
   501       231474   Bryan Derricott                         Alexander Law Group, PLC           8:20-cv-79598-MCR-GRJ
   502       231476   Anthony Diaz                            Alexander Law Group, PLC           8:20-cv-79600-MCR-GRJ
   503       231477   Juan Diaz                               Alexander Law Group, PLC           8:20-cv-79601-MCR-GRJ
   504       231478   John Dickens                            Alexander Law Group, PLC                                      8:20-cv-79602-MCR-GRJ
   505       231479   Kristopher Dickson                      Alexander Law Group, PLC           8:20-cv-79603-MCR-GRJ
   506       231481   Mariely Disla                           Alexander Law Group, PLC           8:20-cv-79605-MCR-GRJ
   507       231482   David Dominquez                         Alexander Law Group, PLC                                      8:20-cv-79606-MCR-GRJ
   508       231493   Ronald Duvan                            Alexander Law Group, PLC                                      8:20-cv-79617-MCR-GRJ
   509       231494   Robert Dyer                             Alexander Law Group, PLC                                      8:20-cv-79618-MCR-GRJ
   510       231497   Nathan Eberle                           Alexander Law Group, PLC           8:20-cv-79621-MCR-GRJ
   511       231498   Eric Edokpayi                           Alexander Law Group, PLC                                      8:20-cv-79622-MCR-GRJ




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   512       231501   Steven Ehrke                            Alexander Law Group, PLC           8:20-cv-79625-MCR-GRJ
   513       231502   Daniel Elefante                         Alexander Law Group, PLC           8:20-cv-79626-MCR-GRJ
   514       231503   Jay Ellingson                           Alexander Law Group, PLC           8:20-cv-79627-MCR-GRJ
   515       231506   Robert Emery                            Alexander Law Group, PLC           8:20-cv-79630-MCR-GRJ
   516       231508   Thomas English                          Alexander Law Group, PLC           8:20-cv-79632-MCR-GRJ
   517       231511   Jhon Escarria                           Alexander Law Group, PLC           8:20-cv-79635-MCR-GRJ
   518       231512   Michael Escueta                         Alexander Law Group, PLC                                      8:20-cv-79636-MCR-GRJ
   519       231514   Christian Estevez                       Alexander Law Group, PLC           8:20-cv-79638-MCR-GRJ
   520       231520   Christopher Feltch                      Alexander Law Group, PLC           8:20-cv-79644-MCR-GRJ
   521       231521   Gregory Ferguson                        Alexander Law Group, PLC           8:20-cv-79645-MCR-GRJ
   522       231522   Katherine Fernandez                     Alexander Law Group, PLC           8:20-cv-79646-MCR-GRJ
   523       231523   Michael Filipczak                       Alexander Law Group, PLC           8:20-cv-79647-MCR-GRJ
   524       231525   Edward Flak                             Alexander Law Group, PLC           8:20-cv-79649-MCR-GRJ
   525       231527   Juan Flores                             Alexander Law Group, PLC           8:20-cv-79651-MCR-GRJ
   526       231528   Roberto Flores-Martinez                 Alexander Law Group, PLC           8:20-cv-79652-MCR-GRJ
   527       231530   William Foster                          Alexander Law Group, PLC           8:20-cv-79654-MCR-GRJ
   528       231533   Raul Francisco                          Alexander Law Group, PLC           8:20-cv-79657-MCR-GRJ
   529       231534   Jon Franklin                            Alexander Law Group, PLC           8:20-cv-79658-MCR-GRJ
   530       231536   Richard Freeman                         Alexander Law Group, PLC           8:20-cv-79660-MCR-GRJ
   531       231540   Brandi Furr                             Alexander Law Group, PLC           8:20-cv-79909-MCR-GRJ
   532       231542   Noellie Gallardo                        Alexander Law Group, PLC                                      8:20-cv-79911-MCR-GRJ
   533       231544   Jose Garcia                             Alexander Law Group, PLC                                      8:20-cv-79913-MCR-GRJ
   534       231546   Michael Garcia                          Alexander Law Group, PLC                                      8:20-cv-79915-MCR-GRJ
   535       231548   Jorge Garcia                            Alexander Law Group, PLC           8:20-cv-79917-MCR-GRJ
   536       231549   Ryan Gardiner                           Alexander Law Group, PLC           8:20-cv-79918-MCR-GRJ
   537       231552   Ricky Gardner                           Alexander Law Group, PLC           8:20-cv-79921-MCR-GRJ
   538       231553   Jose Gari                               Alexander Law Group, PLC                                      8:20-cv-79922-MCR-GRJ
   539       231555   Randy Garver                            Alexander Law Group, PLC           8:20-cv-79924-MCR-GRJ
   540       231556   Annabelle Gasca                         Alexander Law Group, PLC                                      8:20-cv-79925-MCR-GRJ
   541       231557   Christien Gascon                        Alexander Law Group, PLC                                      8:20-cv-79926-MCR-GRJ
   542       231560   John Gildein                            Alexander Law Group, PLC           8:20-cv-79929-MCR-GRJ
   543       231561   Preston Giles                           Alexander Law Group, PLC           8:20-cv-79930-MCR-GRJ
   544       231563   Allan Girvin                            Alexander Law Group, PLC           8:20-cv-79932-MCR-GRJ
   545       231564   Kwane Glover                            Alexander Law Group, PLC           8:20-cv-79933-MCR-GRJ
   546       231569   Donald Goodall                          Alexander Law Group, PLC           8:20-cv-79938-MCR-GRJ
   547       231570   Scott Goodman                           Alexander Law Group, PLC           8:20-cv-79939-MCR-GRJ
   548       231571   Anthony Goodrich                        Alexander Law Group, PLC           8:20-cv-79940-MCR-GRJ
   549       231573   Louis Goudeau                           Alexander Law Group, PLC                                      8:20-cv-79942-MCR-GRJ
   550       231574   Kevin Gow                               Alexander Law Group, PLC                                      8:20-cv-79943-MCR-GRJ
   551       231575   Stephen Graham                          Alexander Law Group, PLC           8:20-cv-79944-MCR-GRJ
   552       231577   Guillermo Granados                      Alexander Law Group, PLC           8:20-cv-79946-MCR-GRJ
   553       231578   Glenn Grandy                            Alexander Law Group, PLC           8:20-cv-79947-MCR-GRJ
   554       231580   Teena Gravitt                           Alexander Law Group, PLC           8:20-cv-79949-MCR-GRJ
   555       231581   David Green                             Alexander Law Group, PLC           8:20-cv-79950-MCR-GRJ
   556       231582   Matt Green                              Alexander Law Group, PLC           8:20-cv-79951-MCR-GRJ
   557       231584   Hezekiah Grice                          Alexander Law Group, PLC                                      8:20-cv-79953-MCR-GRJ
   558       231585   Eric Griffin                            Alexander Law Group, PLC           8:20-cv-79954-MCR-GRJ
   559       231586   Travis Griffith                         Alexander Law Group, PLC           8:20-cv-79955-MCR-GRJ
   560       231587   Jeffrey Grissom                         Alexander Law Group, PLC           8:20-cv-79956-MCR-GRJ
   561       231588   Justin Gurley                           Alexander Law Group, PLC           8:20-cv-79957-MCR-GRJ
   562       231589   Chad Guthrie                            Alexander Law Group, PLC           8:20-cv-79958-MCR-GRJ
   563       231590   Garrett Guthrie                         Alexander Law Group, PLC           8:20-cv-79959-MCR-GRJ
   564       231591   Andre Guy                               Alexander Law Group, PLC           8:20-cv-79960-MCR-GRJ
   565       231592   Brett Hale                              Alexander Law Group, PLC                                      8:20-cv-79961-MCR-GRJ
   566       231595   Seung Han                               Alexander Law Group, PLC           8:20-cv-79964-MCR-GRJ
   567       231597   Andrea Hardy                            Alexander Law Group, PLC           8:20-cv-79966-MCR-GRJ
   568       231598   Lesheka Hardy                           Alexander Law Group, PLC                                      8:20-cv-79967-MCR-GRJ
   569       231599   Clifton Harrigan                        Alexander Law Group, PLC           8:20-cv-79968-MCR-GRJ
   570       231603   Randy Hart                              Alexander Law Group, PLC                                      8:20-cv-79972-MCR-GRJ
   571       231604   Thomas Hartfield                        Alexander Law Group, PLC                                      8:20-cv-79973-MCR-GRJ
   572       231605   Wassef Hassoun                          Alexander Law Group, PLC           8:20-cv-79974-MCR-GRJ
   573       231607   William Haug                            Alexander Law Group, PLC           8:20-cv-79976-MCR-GRJ
   574       231608   Aaron Hayes                             Alexander Law Group, PLC           8:20-cv-79977-MCR-GRJ
   575       231610   Tower Hazard                            Alexander Law Group, PLC                                      8:20-cv-79979-MCR-GRJ
   576       231611   Joshua Heath                            Alexander Law Group, PLC           8:20-cv-79980-MCR-GRJ
   577       231612   James Heathcote                         Alexander Law Group, PLC           8:20-cv-79981-MCR-GRJ
   578       231613   Jaime Hector                            Alexander Law Group, PLC           8:20-cv-79982-MCR-GRJ
   579       231614   Haggle Hemon                            Alexander Law Group, PLC           8:20-cv-79983-MCR-GRJ
   580       231620   Samuel Hern                             Alexander Law Group, PLC           8:20-cv-79989-MCR-GRJ
   581       231621   Francisco Hernandez                     Alexander Law Group, PLC           8:20-cv-79990-MCR-GRJ
   582       231625   Robert Hicks                            Alexander Law Group, PLC           8:20-cv-79994-MCR-GRJ
   583       231626   Jeorge Hicks                            Alexander Law Group, PLC           8:20-cv-79995-MCR-GRJ
   584       231628   Michael Hill                            Alexander Law Group, PLC           8:20-cv-79997-MCR-GRJ




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   585       231629   Pamela Hill                             Alexander Law Group, PLC                                      8:20-cv-79998-MCR-GRJ
   586       231631   Ricky Hoak                              Alexander Law Group, PLC           8:20-cv-80000-MCR-GRJ
   587       231637   Brandon Holman                          Alexander Law Group, PLC                                      8:20-cv-80006-MCR-GRJ
   588       231638   Robert Holman                           Alexander Law Group, PLC           8:20-cv-80007-MCR-GRJ
   589       231639   Daniel Holt                             Alexander Law Group, PLC           8:20-cv-80008-MCR-GRJ
   590       231641   Carl Hover                              Alexander Law Group, PLC           8:20-cv-80010-MCR-GRJ
   591       231645   Marcellus Hutchison                     Alexander Law Group, PLC           8:20-cv-80014-MCR-GRJ
   592       231647   Gerardo Jacangelo                       Alexander Law Group, PLC           8:20-cv-80016-MCR-GRJ
   593       231650   Hyphygenie Jeanbaptiste                 Alexander Law Group, PLC           8:20-cv-80019-MCR-GRJ
   594       231651   Juba Jefferson                          Alexander Law Group, PLC                                      8:20-cv-80020-MCR-GRJ
   595       231654   Sean Jennings                           Alexander Law Group, PLC                                      8:20-cv-80023-MCR-GRJ
   596       231656   David Johnson                           Alexander Law Group, PLC                                      8:20-cv-80025-MCR-GRJ
   597       231657   Dominique Johnson                       Alexander Law Group, PLC                                      8:20-cv-80026-MCR-GRJ
   598       231658   Inga Johnson                            Alexander Law Group, PLC           8:20-cv-80027-MCR-GRJ
   599       231662   Taferria Johnson                        Alexander Law Group, PLC                                      8:20-cv-80031-MCR-GRJ
   600       231666   Lito Jose                               Alexander Law Group, PLC           8:20-cv-80035-MCR-GRJ
   601       231667   Kennean Joseph                          Alexander Law Group, PLC           8:20-cv-80036-MCR-GRJ
   602       231669   Sandy Joyce                             Alexander Law Group, PLC           8:20-cv-80038-MCR-GRJ
   603       231672   Alan Kari                               Alexander Law Group, PLC           8:20-cv-80041-MCR-GRJ
   604       231673   Robert Keller                           Alexander Law Group, PLC                                      8:20-cv-80042-MCR-GRJ
   605       231674   Christopher Kelley                      Alexander Law Group, PLC           8:20-cv-80043-MCR-GRJ
   606       231675   Kenneth Kelley                          Alexander Law Group, PLC           8:20-cv-80044-MCR-GRJ
   607       231676   Shawn Kerrigan                          Alexander Law Group, PLC           8:20-cv-80045-MCR-GRJ
   608       231678   Colleen Kiefer                          Alexander Law Group, PLC           8:20-cv-80047-MCR-GRJ
   609       231680   Krystal King                            Alexander Law Group, PLC           8:20-cv-80049-MCR-GRJ
   610       231681   Luke King                               Alexander Law Group, PLC           8:20-cv-80050-MCR-GRJ
   611       231682   Bradley Knobloch                        Alexander Law Group, PLC                                      8:20-cv-80051-MCR-GRJ
   612       231684   Kurt Konz                               Alexander Law Group, PLC                                      8:20-cv-80053-MCR-GRJ
   613       231685   Curtis Korzilius                        Alexander Law Group, PLC           8:20-cv-80054-MCR-GRJ
   614       231686   Christopher Kubas                       Alexander Law Group, PLC                                      8:20-cv-80055-MCR-GRJ
   615       231687   Rahul Kumar                             Alexander Law Group, PLC           8:20-cv-80056-MCR-GRJ
   616       231688   Robert Kunkel                           Alexander Law Group, PLC           8:20-cv-80057-MCR-GRJ
   617       231689   Tim La Sage                             Alexander Law Group, PLC                                      8:20-cv-80058-MCR-GRJ
   618       231690   Jeffrey Lafrance                        Alexander Law Group, PLC           8:20-cv-80059-MCR-GRJ
   619       231693   Gary Land                               Alexander Law Group, PLC                                      8:20-cv-80062-MCR-GRJ
   620       231694   Bruce Landeg                            Alexander Law Group, PLC           8:20-cv-80063-MCR-GRJ
   621       231695   Randall Lane                            Alexander Law Group, PLC           8:20-cv-80064-MCR-GRJ
   622       231697   James Langley                           Alexander Law Group, PLC           8:20-cv-80066-MCR-GRJ
   623       231699   Craig Lawson                            Alexander Law Group, PLC           8:20-cv-80068-MCR-GRJ
   624       231700   Lindsey Lawson                          Alexander Law Group, PLC           8:20-cv-80069-MCR-GRJ
   625       231702   Ed Lee                                  Alexander Law Group, PLC           8:20-cv-80071-MCR-GRJ
   626       231703   Thomas Lee                              Alexander Law Group, PLC                                      8:20-cv-80072-MCR-GRJ
   627       231707   Dene Leonard                            Alexander Law Group, PLC           8:20-cv-80076-MCR-GRJ
   628       231709   Jason Levi                              Alexander Law Group, PLC           8:20-cv-80078-MCR-GRJ
   629       231710   John Lewis                              Alexander Law Group, PLC                                      8:20-cv-80079-MCR-GRJ
   630       231711   Pamela Lewis                            Alexander Law Group, PLC                                      8:20-cv-80080-MCR-GRJ
   631       231712   Frederick Ligon                         Alexander Law Group, PLC           8:20-cv-80081-MCR-GRJ
   632       231715   Joseph Livingston                       Alexander Law Group, PLC           8:20-cv-80084-MCR-GRJ
   633       231716   Christopher Lococo                      Alexander Law Group, PLC           8:20-cv-80085-MCR-GRJ
   634       231718   Daniel Lopez                            Alexander Law Group, PLC                                      8:20-cv-80087-MCR-GRJ
   635       231721   Alcante Louischarles                    Alexander Law Group, PLC           8:20-cv-80090-MCR-GRJ
   636       231722   Dewey Loveless                          Alexander Law Group, PLC           8:20-cv-80091-MCR-GRJ
   637       231723   Arthur Lowmack                          Alexander Law Group, PLC           8:20-cv-80092-MCR-GRJ
   638       231724   Sean Lucas                              Alexander Law Group, PLC           8:20-cv-80093-MCR-GRJ
   639       231725   Luis Lumbreras                          Alexander Law Group, PLC           8:20-cv-80094-MCR-GRJ
   640       231726   Vincent Lynch                           Alexander Law Group, PLC           8:20-cv-80095-MCR-GRJ
   641       231727   David Lyons                             Alexander Law Group, PLC                                      8:20-cv-80096-MCR-GRJ
   642       231729   Robert Macarz                           Alexander Law Group, PLC           8:20-cv-80098-MCR-GRJ
   643       231730   Thomas Macgregor                        Alexander Law Group, PLC           8:20-cv-80099-MCR-GRJ
   644       231731   Tommy Maddox                            Alexander Law Group, PLC           8:20-cv-80100-MCR-GRJ
   645       231732   Clarence Madigan                        Alexander Law Group, PLC           8:20-cv-80101-MCR-GRJ
   646       231733   Jay Magruder                            Alexander Law Group, PLC           8:20-cv-80102-MCR-GRJ
   647       231734   Brandon Majors                          Alexander Law Group, PLC                                      8:20-cv-80103-MCR-GRJ
   648       231736   Jose Manchego                           Alexander Law Group, PLC           8:20-cv-80105-MCR-GRJ
   649       231737   W Mancuso                               Alexander Law Group, PLC           8:20-cv-80106-MCR-GRJ
   650       231739   Anthony Manning                         Alexander Law Group, PLC           8:20-cv-80108-MCR-GRJ
   651       231740   Teresita Manog                          Alexander Law Group, PLC           8:20-cv-80109-MCR-GRJ
   652       231742   Richard Maples                          Alexander Law Group, PLC           8:20-cv-80111-MCR-GRJ
   653       231745   Ryan Martin-Valenzuela                  Alexander Law Group, PLC           8:20-cv-80114-MCR-GRJ
   654       231746   Stephen Mascaro                         Alexander Law Group, PLC           8:20-cv-80115-MCR-GRJ
   655       231748   Lloyd Massey                            Alexander Law Group, PLC                                      8:20-cv-80117-MCR-GRJ
   656       231749   Mysaruh Massoud                         Alexander Law Group, PLC           8:20-cv-80118-MCR-GRJ
   657       231750   Carlos Matamoros                        Alexander Law Group, PLC           8:20-cv-80119-MCR-GRJ




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   658       231751   David Mathews                           Alexander Law Group, PLC           8:20-cv-80120-MCR-GRJ
   659       231752   Angel Matos-Torres                      Alexander Law Group, PLC           8:20-cv-80121-MCR-GRJ
   660       231753   Britt Maxwell                           Alexander Law Group, PLC           8:20-cv-80122-MCR-GRJ
   661       231756   Damon Mayes                             Alexander Law Group, PLC           8:20-cv-80125-MCR-GRJ
   662       231757   Robert Mays                             Alexander Law Group, PLC           8:20-cv-80126-MCR-GRJ
   663       231758   John Mazzei                             Alexander Law Group, PLC           8:20-cv-80127-MCR-GRJ
   664       231760   Randy Mcclain                           Alexander Law Group, PLC           8:20-cv-80129-MCR-GRJ
   665       231763   Chad Mccurd                             Alexander Law Group, PLC           8:20-cv-80132-MCR-GRJ
   666       231764   Nicholas Mcelroy                        Alexander Law Group, PLC           8:20-cv-80133-MCR-GRJ
   667       231765   Gerry Mcgee                             Alexander Law Group, PLC           8:20-cv-80134-MCR-GRJ
   668       231766   Donald Mckee                            Alexander Law Group, PLC           8:20-cv-80135-MCR-GRJ
   669       231767   Cameron Mclean                          Alexander Law Group, PLC           8:20-cv-80136-MCR-GRJ
   670       231768   Chauncey Mcleod                         Alexander Law Group, PLC           8:20-cv-80137-MCR-GRJ
   671       231769   David Mcmanus                           Alexander Law Group, PLC           8:20-cv-80138-MCR-GRJ
   672       231772   Daniel Mcomber                          Alexander Law Group, PLC           8:20-cv-80141-MCR-GRJ
   673       231773   William Melanson                        Alexander Law Group, PLC                                      8:20-cv-80142-MCR-GRJ
   674       231774   Timothy Melendez                        Alexander Law Group, PLC           8:20-cv-80143-MCR-GRJ
   675       231775   Gregory Melton                          Alexander Law Group, PLC                                      8:20-cv-80144-MCR-GRJ
   676       231776   Adrian Mendoza                          Alexander Law Group, PLC           8:20-cv-80145-MCR-GRJ
   677       231777   Charles Mercier                         Alexander Law Group, PLC                                      8:20-cv-80146-MCR-GRJ
   678       231780   William Middleton                       Alexander Law Group, PLC           8:20-cv-80249-MCR-GRJ
   679       231781   Cedric Miles                            Alexander Law Group, PLC           8:20-cv-80250-MCR-GRJ
   680       231782   Danny Miles                             Alexander Law Group, PLC           8:20-cv-80251-MCR-GRJ
   681       231785   John Miller                             Alexander Law Group, PLC           8:20-cv-80254-MCR-GRJ
   682       231786   Murray Milton                           Alexander Law Group, PLC           8:20-cv-80255-MCR-GRJ
   683       231787   Matthew Minter                          Alexander Law Group, PLC           8:20-cv-80256-MCR-GRJ
   684       231788   Roger Mishoe                            Alexander Law Group, PLC           8:20-cv-80257-MCR-GRJ
   685       231789   Myron Mitchell                          Alexander Law Group, PLC           8:20-cv-80258-MCR-GRJ
   686       231790   Tom Miyahira                            Alexander Law Group, PLC                                      8:20-cv-80259-MCR-GRJ
   687       231792   Victor Molina                           Alexander Law Group, PLC                                      8:20-cv-80261-MCR-GRJ
   688       231793   David Monson                            Alexander Law Group, PLC                                      8:20-cv-80262-MCR-GRJ
   689       231794   Leslie Montgomery                       Alexander Law Group, PLC           8:20-cv-80263-MCR-GRJ
   690       231795   James Moore                             Alexander Law Group, PLC           8:20-cv-80264-MCR-GRJ
   691       231798   Paul Moore                              Alexander Law Group, PLC           8:20-cv-80267-MCR-GRJ
   692       231799   Ricardo Moore                           Alexander Law Group, PLC           8:20-cv-80268-MCR-GRJ
   693       231801   Hector Morales                          Alexander Law Group, PLC           8:20-cv-80270-MCR-GRJ
   694       231802   Luis Morales                            Alexander Law Group, PLC           8:20-cv-80271-MCR-GRJ
   695       231803   Juan Moreira                            Alexander Law Group, PLC           8:20-cv-80272-MCR-GRJ
   696       231805   James Morris                            Alexander Law Group, PLC                                      8:20-cv-80274-MCR-GRJ
   697       231806   Chloe Morton                            Alexander Law Group, PLC                                      8:20-cv-80275-MCR-GRJ
   698       231807   Mark Mosley                             Alexander Law Group, PLC           8:20-cv-80276-MCR-GRJ
   699       231809   James Mueller                           Alexander Law Group, PLC           8:20-cv-80278-MCR-GRJ
   700       231810   Earl Mullins                            Alexander Law Group, PLC           8:20-cv-80279-MCR-GRJ
   701       231811   Tyler Munger                            Alexander Law Group, PLC                                      8:20-cv-80280-MCR-GRJ
   702       231813   Jon Myslivy                             Alexander Law Group, PLC           8:20-cv-80282-MCR-GRJ
   703       231815   Jon Nakata                              Alexander Law Group, PLC           8:20-cv-80284-MCR-GRJ
   704       231816   Leonard Nalbone                         Alexander Law Group, PLC           8:20-cv-80285-MCR-GRJ
   705       231817   Charles Nelson                          Alexander Law Group, PLC                                      8:20-cv-80286-MCR-GRJ
   706       231818   Terrence Nemeth                         Alexander Law Group, PLC                                      8:20-cv-80287-MCR-GRJ
   707       231819   Julius Nero                             Alexander Law Group, PLC                                      8:20-cv-80288-MCR-GRJ
   708       231820   Ashley Ness                             Alexander Law Group, PLC           8:20-cv-80289-MCR-GRJ
   709       231821   Barry Neulen                            Alexander Law Group, PLC           8:20-cv-80290-MCR-GRJ
   710       231822   Joseph Nied                             Alexander Law Group, PLC                                      8:20-cv-80291-MCR-GRJ
   711       231825   Lisa Niner                              Alexander Law Group, PLC           8:20-cv-80294-MCR-GRJ
   712       231826   Anthony Nino                            Alexander Law Group, PLC                                      8:20-cv-80295-MCR-GRJ
   713       231827   Christopher Noble                       Alexander Law Group, PLC           8:20-cv-80296-MCR-GRJ
   714       231828   Albert Norvell                          Alexander Law Group, PLC                                      8:20-cv-80297-MCR-GRJ
   715       231830   Paul Noyes                              Alexander Law Group, PLC           8:20-cv-80299-MCR-GRJ
   716       231831   Matthew Nugent                          Alexander Law Group, PLC           8:20-cv-80300-MCR-GRJ
   717       231835   Christopher Oliver                      Alexander Law Group, PLC           8:20-cv-80304-MCR-GRJ
   718       231836   Shaun Oliver                            Alexander Law Group, PLC                                      8:20-cv-80305-MCR-GRJ
   719       231839   Mario Ordonez                           Alexander Law Group, PLC           8:20-cv-80308-MCR-GRJ
   720       231841   Justin O'Riley                          Alexander Law Group, PLC           8:20-cv-80310-MCR-GRJ
   721       231842   Jackie Ortelli                          Alexander Law Group, PLC                                      8:20-cv-80311-MCR-GRJ
   722       231843   Keny Ortez                              Alexander Law Group, PLC           8:20-cv-80312-MCR-GRJ
   723       231844   Roberto Ortiz Rivera                    Alexander Law Group, PLC           8:20-cv-80313-MCR-GRJ
   724       231845   Anthony Ortolano                        Alexander Law Group, PLC                                      8:20-cv-80314-MCR-GRJ
   725       231847   Mark Oswald                             Alexander Law Group, PLC                                      8:20-cv-80317-MCR-GRJ
   726       231848   Melissa Overton                         Alexander Law Group, PLC           8:20-cv-80319-MCR-GRJ
   727       231849   Brad Owen                               Alexander Law Group, PLC           8:20-cv-80321-MCR-GRJ
   728       231850   Craig Pace                              Alexander Law Group, PLC           8:20-cv-80323-MCR-GRJ
   729       231851   Anthony Padavan                         Alexander Law Group, PLC                                      8:20-cv-80325-MCR-GRJ
   730       231853   Jonathan Palmario                       Alexander Law Group, PLC           8:20-cv-80329-MCR-GRJ




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   731       231857   Sang Park                               Alexander Law Group, PLC           8:20-cv-80337-MCR-GRJ
   732       231858   Todd Parker                             Alexander Law Group, PLC           8:20-cv-80339-MCR-GRJ
   733       231859   James Parks                             Alexander Law Group, PLC           8:20-cv-80341-MCR-GRJ
   734       231860   Richard Parks                           Alexander Law Group, PLC           8:20-cv-80343-MCR-GRJ
   735       231861   Ryan Parsons                            Alexander Law Group, PLC           8:20-cv-80345-MCR-GRJ
   736       231862   Wesley Patrick                          Alexander Law Group, PLC                                      8:20-cv-80347-MCR-GRJ
   737       231863   Norman Patterson                        Alexander Law Group, PLC           8:20-cv-80349-MCR-GRJ
   738       231864   Steven Patterson                        Alexander Law Group, PLC           8:20-cv-80351-MCR-GRJ
   739       231865   Darwin Pavon                            Alexander Law Group, PLC           8:20-cv-80353-MCR-GRJ
   740       231866   Jacob Payne                             Alexander Law Group, PLC                                      8:20-cv-80355-MCR-GRJ
   741       231868   Jerald Pemberton                        Alexander Law Group, PLC                                      8:20-cv-80359-MCR-GRJ
   742       231869   Lorenzo Pereyra                         Alexander Law Group, PLC                                      8:20-cv-80361-MCR-GRJ
   743       231870   Arturo Perez                            Alexander Law Group, PLC                                      8:20-cv-80363-MCR-GRJ
   744       231872   Oscar Perez                             Alexander Law Group, PLC           8:20-cv-80367-MCR-GRJ
   745       231873   Jeffrey Perkins                         Alexander Law Group, PLC           8:20-cv-80369-MCR-GRJ
   746       231874   Troy Peters                             Alexander Law Group, PLC                                      8:20-cv-80371-MCR-GRJ
   747       231875   Robert Peterson                         Alexander Law Group, PLC           8:20-cv-80373-MCR-GRJ
   748       231876   Darrell Pettit                          Alexander Law Group, PLC                                      8:20-cv-80375-MCR-GRJ
   749       231877   Stanley Phillips                        Alexander Law Group, PLC           8:20-cv-80376-MCR-GRJ
   750       231878   Kierra Pickett                          Alexander Law Group, PLC           8:20-cv-80378-MCR-GRJ
   751       231879   Scott Pierce                            Alexander Law Group, PLC                                      8:20-cv-80381-MCR-GRJ
   752       231881   Daniel Pittman                          Alexander Law Group, PLC           8:20-cv-80384-MCR-GRJ
   753       231882   Olexiy Plesnyov                         Alexander Law Group, PLC                                      8:20-cv-80386-MCR-GRJ
   754       231883   Christopher Pope                        Alexander Law Group, PLC                                      8:20-cv-80388-MCR-GRJ
   755       231884   John Pope                               Alexander Law Group, PLC                                      8:20-cv-80390-MCR-GRJ
   756       231887   Megan Posey                             Alexander Law Group, PLC                                      8:20-cv-80396-MCR-GRJ
   757       231888   Bernard Potts                           Alexander Law Group, PLC           8:20-cv-80398-MCR-GRJ
   758       231890   Riki Prado                              Alexander Law Group, PLC           8:20-cv-80403-MCR-GRJ
   759       231891   Jeremy Prater                           Alexander Law Group, PLC                                      8:20-cv-80405-MCR-GRJ
   760       231892   Armando Prescott                        Alexander Law Group, PLC                                      8:20-cv-80407-MCR-GRJ
   761       231893   Justin Preston                          Alexander Law Group, PLC           8:20-cv-80409-MCR-GRJ
   762       231894   Clarence Prevatt                        Alexander Law Group, PLC                                      8:20-cv-80411-MCR-GRJ
   763       231895   Jeff Priddy                             Alexander Law Group, PLC                                      8:20-cv-80413-MCR-GRJ
   764       231898   Troy Puckett                            Alexander Law Group, PLC           8:20-cv-80419-MCR-GRJ
   765       231899   Otis Pugh                               Alexander Law Group, PLC                                      8:20-cv-80421-MCR-GRJ
   766       231900   Nicole Pullum                           Alexander Law Group, PLC           8:20-cv-80423-MCR-GRJ
   767       231901   Louis Pulse                             Alexander Law Group, PLC           8:20-cv-80425-MCR-GRJ
   768       231903   Edward Quick                            Alexander Law Group, PLC           8:20-cv-80430-MCR-GRJ
   769       231904   Antonio Quintero                        Alexander Law Group, PLC           8:20-cv-80432-MCR-GRJ
   770       231905   Gregory Raguindin                       Alexander Law Group, PLC                                      8:20-cv-80434-MCR-GRJ
   771       231911   Matthew Regner                          Alexander Law Group, PLC           8:20-cv-80445-MCR-GRJ
   772       231912   Jeffrey Reichard                        Alexander Law Group, PLC                                      8:20-cv-80446-MCR-GRJ
   773       231913   Dirk Reiss                              Alexander Law Group, PLC                                      8:20-cv-80447-MCR-GRJ
   774       231914   Carlos Reyes                            Alexander Law Group, PLC           8:20-cv-80448-MCR-GRJ
   775       231915   Elyjack Reyes                           Alexander Law Group, PLC           8:20-cv-80449-MCR-GRJ
   776       231916   Ruben Reyes                             Alexander Law Group, PLC           8:20-cv-80450-MCR-GRJ
   777       231917   Marcel Rice                             Alexander Law Group, PLC                                      8:20-cv-80451-MCR-GRJ
   778       231918   Darren Richardson                       Alexander Law Group, PLC                                      8:20-cv-80452-MCR-GRJ
   779       231919   Chrissy Richey                          Alexander Law Group, PLC           8:20-cv-80453-MCR-GRJ
   780       231921   Ralph Ripple                            Alexander Law Group, PLC                                      8:20-cv-80455-MCR-GRJ
   781       231923   David Rivera                            Alexander Law Group, PLC           8:20-cv-80457-MCR-GRJ
   782       231924   Luis Rivera                             Alexander Law Group, PLC           8:20-cv-80458-MCR-GRJ
   783       231925   Victor Rivera                           Alexander Law Group, PLC           8:20-cv-80459-MCR-GRJ
   784       231927   Santos Rivera                           Alexander Law Group, PLC           8:20-cv-80461-MCR-GRJ
   785       231928   Tsunami Roberts                         Alexander Law Group, PLC                                      8:20-cv-80462-MCR-GRJ
   786       231930   Rachael Robertson                       Alexander Law Group, PLC           8:20-cv-80464-MCR-GRJ
   787       231937   Mark Roen                               Alexander Law Group, PLC           8:20-cv-80471-MCR-GRJ
   788       231938   Erik Roeske                             Alexander Law Group, PLC           8:20-cv-80472-MCR-GRJ
   789       231940   Virginia Rogers                         Alexander Law Group, PLC           8:20-cv-80474-MCR-GRJ
   790       231941   Laurence Rogitz                         Alexander Law Group, PLC           8:20-cv-80475-MCR-GRJ
   791       231944   Carryn Roose                            Alexander Law Group, PLC                                      8:20-cv-80478-MCR-GRJ
   792       231946   Reginald Rose                           Alexander Law Group, PLC           8:20-cv-80480-MCR-GRJ
   793       231947   Brandon Ross                            Alexander Law Group, PLC           8:20-cv-80481-MCR-GRJ
   794       231949   Melanie Rowton                          Alexander Law Group, PLC           8:20-cv-80483-MCR-GRJ
   795       231950   Jesse Rubio                             Alexander Law Group, PLC           8:20-cv-80484-MCR-GRJ
   796       231951   Raymund Runez                           Alexander Law Group, PLC                                      8:20-cv-80485-MCR-GRJ
   797       231952   James Ryba                              Alexander Law Group, PLC           8:20-cv-80488-MCR-GRJ
   798       231954   John Sadler                             Alexander Law Group, PLC           8:20-cv-80492-MCR-GRJ
   799       231955   Isaac Saine                             Alexander Law Group, PLC                                      8:20-cv-80494-MCR-GRJ
   800       231956   Fritzner Saintvalliere                  Alexander Law Group, PLC                                      8:20-cv-80496-MCR-GRJ
   801       231957   Paul Salazar                            Alexander Law Group, PLC           8:20-cv-80498-MCR-GRJ
   802       231958   Doug Sampson                            Alexander Law Group, PLC                                      8:20-cv-80500-MCR-GRJ
   803       231959   Jorge Sanchez                           Alexander Law Group, PLC           8:20-cv-80502-MCR-GRJ




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   804       231963   Ryan Sasnett                            Alexander Law Group, PLC           8:20-cv-80510-MCR-GRJ
   805       231964   Andrea Sauber                           Alexander Law Group, PLC                                      8:20-cv-80512-MCR-GRJ
   806       231966   Leroy Scott                             Alexander Law Group, PLC                                      8:20-cv-80516-MCR-GRJ
   807       231968   Jennifer Segle                          Alexander Law Group, PLC           8:20-cv-80520-MCR-GRJ
   808       231971   Darrell Settlemire                      Alexander Law Group, PLC           8:20-cv-80527-MCR-GRJ
   809       231972   Terrance Sewell                         Alexander Law Group, PLC           8:20-cv-80529-MCR-GRJ
   810       231975   Matthew Shields                         Alexander Law Group, PLC           8:20-cv-80535-MCR-GRJ
   811       231976   James Shoat                             Alexander Law Group, PLC                                      8:20-cv-80537-MCR-GRJ
   812       231977   Anthony Simpson                         Alexander Law Group, PLC                                      8:20-cv-80540-MCR-GRJ
   813       231979   Clayton Skinner                         Alexander Law Group, PLC           8:20-cv-80544-MCR-GRJ
   814       231982   Clyde Smith                             Alexander Law Group, PLC           8:20-cv-80550-MCR-GRJ
   815       231983   Cody Smith                              Alexander Law Group, PLC           8:20-cv-80552-MCR-GRJ
   816       231986   Monique Smith                           Alexander Law Group, PLC           8:20-cv-80558-MCR-GRJ
   817       231988   David Snell                             Alexander Law Group, PLC           8:20-cv-80562-MCR-GRJ
   818       231996   Solome Spotts                           Alexander Law Group, PLC           8:20-cv-80578-MCR-GRJ
   819       231998   Todd Stawicki                           Alexander Law Group, PLC           8:20-cv-80580-MCR-GRJ
   820       232000   Justin Stephenson                       Alexander Law Group, PLC           8:20-cv-80584-MCR-GRJ
   821       232003   Favious Strawter                        Alexander Law Group, PLC                                      8:20-cv-80590-MCR-GRJ
   822       232004   Thomas Streb                            Alexander Law Group, PLC           8:20-cv-80592-MCR-GRJ
   823       232005   Ryan Strickland                         Alexander Law Group, PLC           8:20-cv-80594-MCR-GRJ
   824       232007   Albert Sugioka                          Alexander Law Group, PLC           8:20-cv-80598-MCR-GRJ
   825       232008   Michael Sullivan                        Alexander Law Group, PLC           8:20-cv-80600-MCR-GRJ
   826       232009   Larry Surles                            Alexander Law Group, PLC           8:20-cv-80602-MCR-GRJ
   827       232011   Eric Swenson                            Alexander Law Group, PLC           8:20-cv-80606-MCR-GRJ
   828       232013   Andrew Tafolla                          Alexander Law Group, PLC           8:20-cv-80610-MCR-GRJ
   829       232014   Houston Talley                          Alexander Law Group, PLC           8:20-cv-80612-MCR-GRJ
   830       232018   Francis Thomas                          Alexander Law Group, PLC           8:20-cv-80620-MCR-GRJ
   831       232019   Christopher Thompson                    Alexander Law Group, PLC           8:20-cv-80622-MCR-GRJ
   832       232021   Marcus Thompson                         Alexander Law Group, PLC           8:20-cv-80626-MCR-GRJ
   833       232022   Chris Thorne                            Alexander Law Group, PLC           8:20-cv-80628-MCR-GRJ
   834       232024   Sharena Todd                            Alexander Law Group, PLC           8:20-cv-80632-MCR-GRJ
   835       232027   Leslie Tompkins                         Alexander Law Group, PLC           8:20-cv-80636-MCR-GRJ
   836       232028   Melinda Torres                          Alexander Law Group, PLC           8:20-cv-80637-MCR-GRJ
   837       232030   Loren Traw                              Alexander Law Group, PLC           8:20-cv-80639-MCR-GRJ
   838       232032   Abraham Trevino                         Alexander Law Group, PLC           8:20-cv-80641-MCR-GRJ
   839       232034   Calvin Trotty                           Alexander Law Group, PLC                                      8:20-cv-80643-MCR-GRJ
   840       232035   Harry Trudrung                          Alexander Law Group, PLC           8:20-cv-80644-MCR-GRJ
   841       232037   Johnny Turner                           Alexander Law Group, PLC                                      8:20-cv-80646-MCR-GRJ
   842       232038   Marcus Turner                           Alexander Law Group, PLC                                      8:20-cv-80647-MCR-GRJ
   843       232039   Ronald Turner                           Alexander Law Group, PLC           8:20-cv-80648-MCR-GRJ
   844       232042   Andrew Vanderhaeghen                    Alexander Law Group, PLC           8:20-cv-80651-MCR-GRJ
   845       232045   Ronnie Veal                             Alexander Law Group, PLC           8:20-cv-80654-MCR-GRJ
   846       232046   Paul Venezia                            Alexander Law Group, PLC                                      8:20-cv-80655-MCR-GRJ
   847       232047   Raymond Venosdale                       Alexander Law Group, PLC           8:20-cv-80656-MCR-GRJ
   848       232050   Eric Verhille                           Alexander Law Group, PLC           8:20-cv-80659-MCR-GRJ
   849       232052   Eric Verzola                            Alexander Law Group, PLC           8:20-cv-80661-MCR-GRJ
   850       232058   Gary Wallin                             Alexander Law Group, PLC                                      8:20-cv-80672-MCR-GRJ
   851       232059   Mark Walpole                            Alexander Law Group, PLC           8:20-cv-80674-MCR-GRJ
   852       232062   Derek Webb                              Alexander Law Group, PLC                                      8:20-cv-80681-MCR-GRJ
   853       232064   Jeremy Wegner                           Alexander Law Group, PLC                                      8:20-cv-80686-MCR-GRJ
   854       232065   Jonathan Werdal                         Alexander Law Group, PLC           8:20-cv-80689-MCR-GRJ
   855       232066   Dennis Wheeler                          Alexander Law Group, PLC                                      8:20-cv-80692-MCR-GRJ
   856       232067   Duffy White                             Alexander Law Group, PLC                                      8:20-cv-80695-MCR-GRJ
   857       232069   Robert White                            Alexander Law Group, PLC           8:20-cv-80701-MCR-GRJ
   858       232070   Michael Whitmore                        Alexander Law Group, PLC           8:20-cv-80703-MCR-GRJ
   859       232071   Harry Wichert                           Alexander Law Group, PLC           8:20-cv-80706-MCR-GRJ
   860       232072   Joshua Wildenthaler                     Alexander Law Group, PLC           8:20-cv-80709-MCR-GRJ
   861       232076   Vincent Williams                        Alexander Law Group, PLC                                      8:20-cv-80721-MCR-GRJ
   862       232077   Jack Willis                             Alexander Law Group, PLC                                      8:20-cv-80724-MCR-GRJ
   863       232078   Patrick Willis                          Alexander Law Group, PLC           8:20-cv-80727-MCR-GRJ
   864       232081   James Wilson                            Alexander Law Group, PLC                                      8:20-cv-80736-MCR-GRJ
   865       232084   Patrick Wolff                           Alexander Law Group, PLC                                      8:20-cv-80743-MCR-GRJ
   866       232085   Matthew Wolnik                          Alexander Law Group, PLC           8:20-cv-80747-MCR-GRJ
   867       232086   Christopher Wood                        Alexander Law Group, PLC           8:20-cv-80750-MCR-GRJ
   868       232087   Dinesh Yadav                            Alexander Law Group, PLC           8:20-cv-80753-MCR-GRJ
   869       232088   Vanessa Yadav                           Alexander Law Group, PLC           8:20-cv-80755-MCR-GRJ
   870       232091   Craig Young                             Alexander Law Group, PLC                                      8:20-cv-80764-MCR-GRJ
   871       232093   Troy Youngblood                         Alexander Law Group, PLC           8:20-cv-80769-MCR-GRJ
   872       232096   Xuejing Zhang                           Alexander Law Group, PLC           8:20-cv-80778-MCR-GRJ
   873       253502   Donnie Adkins                           Alexander Law Group, PLC           8:20-cv-95776-MCR-GRJ
   874       253504   George Alexander                        Alexander Law Group, PLC                                      8:20-cv-95779-MCR-GRJ
   875       253505   Najih Ali                               Alexander Law Group, PLC           8:20-cv-95781-MCR-GRJ
   876       253506   Juan Amaro                              Alexander Law Group, PLC                                      8:20-cv-95783-MCR-GRJ




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   877       253508   Rafael Arevalo                          Alexander Law Group, PLC                                      8:20-cv-95787-MCR-GRJ
   878       253509   Shawnese Armstead                       Alexander Law Group, PLC                                      8:20-cv-95788-MCR-GRJ
   879       253513   Clifford Bakah                          Alexander Law Group, PLC                                      8:20-cv-95796-MCR-GRJ
   880       253514   Michael Barbuto                         Alexander Law Group, PLC           8:20-cv-95798-MCR-GRJ
   881       253517   Jose Benigno                            Alexander Law Group, PLC                                      8:20-cv-95803-MCR-GRJ
   882       253519   Himanshu Bhatia                         Alexander Law Group, PLC                                      8:20-cv-95807-MCR-GRJ
   883       253520   Jeremiah Biddle                         Alexander Law Group, PLC                                      8:20-cv-95808-MCR-GRJ
   884       253521   Duane Blaske                            Alexander Law Group, PLC                                      8:20-cv-95810-MCR-GRJ
   885       253522   Bryan Bolt                              Alexander Law Group, PLC                                      8:20-cv-95812-MCR-GRJ
   886       253523   Gregory Bolton                          Alexander Law Group, PLC           8:20-cv-95814-MCR-GRJ
   887       253524   Mark Bottom                             Alexander Law Group, PLC           8:20-cv-95816-MCR-GRJ
   888       253528   David Brown                             Alexander Law Group, PLC           8:20-cv-95823-MCR-GRJ
   889       253529   Jerry Brown                             Alexander Law Group, PLC           8:20-cv-95824-MCR-GRJ
   890       253530   James Bryant                            Alexander Law Group, PLC                                      8:20-cv-95825-MCR-GRJ
   891       253531   Connie Buckroyd                         Alexander Law Group, PLC           8:20-cv-95826-MCR-GRJ
   892       253532   Jeffrey Bull                            Alexander Law Group, PLC                                      8:20-cv-95827-MCR-GRJ
   893       253533   Tj Camacho                              Alexander Law Group, PLC           8:20-cv-95828-MCR-GRJ
   894       253536   Teddy Carns                             Alexander Law Group, PLC                                      8:20-cv-95831-MCR-GRJ
   895       253537   Jesse Cassell                           Alexander Law Group, PLC                                      8:20-cv-95832-MCR-GRJ
   896       253539   Peter Chang                             Alexander Law Group, PLC           8:20-cv-95834-MCR-GRJ
   897       253540   Jackie Chavis                           Alexander Law Group, PLC                                      8:20-cv-95835-MCR-GRJ
   898       253541   Adam Cheek                              Alexander Law Group, PLC                                      8:20-cv-95836-MCR-GRJ
   899       253543   Denis Cintron-Hernandez                 Alexander Law Group, PLC                                      8:20-cv-95838-MCR-GRJ
   900       253545   David Cleckler                          Alexander Law Group, PLC           8:20-cv-95840-MCR-GRJ
   901       253546   Jonathan Cline                          Alexander Law Group, PLC           8:20-cv-95841-MCR-GRJ
   902       253549   Gary Collinsworth                       Alexander Law Group, PLC                                      8:20-cv-95844-MCR-GRJ
   903       253550   Lakita Connelly                         Alexander Law Group, PLC           8:20-cv-95845-MCR-GRJ
   904       253552   Matthew Contreras                       Alexander Law Group, PLC           8:20-cv-95847-MCR-GRJ
   905       253553   Russell Cormack                         Alexander Law Group, PLC           8:20-cv-95848-MCR-GRJ
   906       253554   Beverly Cornett                         Alexander Law Group, PLC           8:20-cv-95849-MCR-GRJ
   907       253556   Adam Creel                              Alexander Law Group, PLC           8:20-cv-95851-MCR-GRJ
   908       253557   Bret Crenshaw                           Alexander Law Group, PLC           8:20-cv-95852-MCR-GRJ
   909       253558   Robert Crosby                           Alexander Law Group, PLC                                      8:20-cv-95853-MCR-GRJ
   910       253559   Edward Csaszar                          Alexander Law Group, PLC           8:20-cv-95854-MCR-GRJ
   911       253560   John Culpepper                          Alexander Law Group, PLC                                      8:20-cv-95855-MCR-GRJ
   912       253561   Alexandrea Cunningham                   Alexander Law Group, PLC           8:20-cv-95856-MCR-GRJ
   913       253562   Uade Da Silva                           Alexander Law Group, PLC           8:20-cv-95857-MCR-GRJ
   914       253565   Craig Dawdy                             Alexander Law Group, PLC           8:20-cv-95860-MCR-GRJ
   915       253566   Cameron Dejean                          Alexander Law Group, PLC           8:20-cv-95861-MCR-GRJ
   916       253568   Louis Demartino                         Alexander Law Group, PLC           8:20-cv-95863-MCR-GRJ
   917       253569   Dominic Despues                         Alexander Law Group, PLC                                      8:20-cv-95864-MCR-GRJ
   918       253570   Khadidja Diarrassouba                   Alexander Law Group, PLC           8:20-cv-95865-MCR-GRJ
   919       253573   Christian Digbeu                        Alexander Law Group, PLC           8:20-cv-95868-MCR-GRJ
   920       253577   Robert Doyle                            Alexander Law Group, PLC                                      8:20-cv-95872-MCR-GRJ
   921       253578   Rory Draft                              Alexander Law Group, PLC                                      8:20-cv-95873-MCR-GRJ
   922       253580   Sumukai Dupree                          Alexander Law Group, PLC                                      8:20-cv-95875-MCR-GRJ
   923       253581   David Edwards                           Alexander Law Group, PLC           8:20-cv-95876-MCR-GRJ
   924       253582   Adam Ellison                            Alexander Law Group, PLC           8:20-cv-95877-MCR-GRJ
   925       253586   Daniel Farage                           Alexander Law Group, PLC                                      8:20-cv-95881-MCR-GRJ
   926       253587   Anthony Fiederer                        Alexander Law Group, PLC           8:20-cv-95882-MCR-GRJ
   927       253588   Derrick Fishback                        Alexander Law Group, PLC                                      8:20-cv-95883-MCR-GRJ
   928       253589   Manuel Fontes                           Alexander Law Group, PLC           8:20-cv-95884-MCR-GRJ
   929       253590   Carim Forsythe                          Alexander Law Group, PLC           8:20-cv-95885-MCR-GRJ
   930       253592   Tremayne Freeman                        Alexander Law Group, PLC                                      8:20-cv-95887-MCR-GRJ
   931       253593   Erik Frey                               Alexander Law Group, PLC           8:20-cv-95888-MCR-GRJ
   932       253594   Rodolfo Fullerton                       Alexander Law Group, PLC                                      8:20-cv-95889-MCR-GRJ
   933       253595   Javier Garcia                           Alexander Law Group, PLC           8:20-cv-95890-MCR-GRJ
   934       253598   Amanda Gaudet                           Alexander Law Group, PLC           8:20-cv-95893-MCR-GRJ
   935       253599   Lawrence Gawel                          Alexander Law Group, PLC                                      8:20-cv-95894-MCR-GRJ
   936       253600   Robert Gennrich                         Alexander Law Group, PLC           8:20-cv-95895-MCR-GRJ
   937       253601   Leonard Glowacki                        Alexander Law Group, PLC           8:20-cv-95896-MCR-GRJ
   938       253602   Jeffrey Goff                            Alexander Law Group, PLC           8:20-cv-95897-MCR-GRJ
   939       253603   Guadalupe Gomez                         Alexander Law Group, PLC           8:20-cv-95898-MCR-GRJ
   940       253605   Irving Green                            Alexander Law Group, PLC           8:20-cv-95900-MCR-GRJ
   941       253606   Marco Green                             Alexander Law Group, PLC           8:20-cv-95901-MCR-GRJ
   942       253608   Edwin Guidroz                           Alexander Law Group, PLC           8:20-cv-95903-MCR-GRJ
   943       253609   Vernon Guthrie                          Alexander Law Group, PLC           8:20-cv-95904-MCR-GRJ
   944       253610   Tristan Haggy                           Alexander Law Group, PLC           8:20-cv-95905-MCR-GRJ
   945       253611   David Hale                              Alexander Law Group, PLC                                      8:20-cv-95906-MCR-GRJ
   946       253612   Jonathan Hallford                       Alexander Law Group, PLC           8:20-cv-95907-MCR-GRJ
   947       253613   William Hamilton                        Alexander Law Group, PLC           8:20-cv-95908-MCR-GRJ
   948       253614   Marcus Hammett                          Alexander Law Group, PLC           8:20-cv-95909-MCR-GRJ
   949       253615   Elisabeth Heaton                        Alexander Law Group, PLC           8:20-cv-95910-MCR-GRJ




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   950       253618   Raymond Hill                            Alexander Law Group, PLC                                      8:20-cv-95913-MCR-GRJ
   951       253619   Matthew Hinkle                          Alexander Law Group, PLC           8:20-cv-95914-MCR-GRJ
   952       253620   Tien Ho                                 Alexander Law Group, PLC           8:20-cv-95915-MCR-GRJ
   953       253628   Paula Humphries                         Alexander Law Group, PLC           8:20-cv-95924-MCR-GRJ
   954       253629   Earl Huskamp                            Alexander Law Group, PLC                                      8:20-cv-95925-MCR-GRJ
   955       253630   Virgilio Ibarra                         Alexander Law Group, PLC           8:20-cv-95926-MCR-GRJ
   956       253631   Todd Jacobus                            Alexander Law Group, PLC           8:20-cv-95927-MCR-GRJ
   957       253636   Nicholas Jurek                          Alexander Law Group, PLC           8:20-cv-95932-MCR-GRJ
   958       253638   Reza Kavoosi                            Alexander Law Group, PLC           8:20-cv-95934-MCR-GRJ
   959       253643   Paul Kinyon                             Alexander Law Group, PLC                                      8:20-cv-95939-MCR-GRJ
   960       253644   Ryan Kissee                             Alexander Law Group, PLC                                      8:20-cv-95940-MCR-GRJ
   961       253645   Marcus Knickerbocker                    Alexander Law Group, PLC           8:20-cv-95941-MCR-GRJ
   962       253646   Michael Koledin                         Alexander Law Group, PLC           8:20-cv-95942-MCR-GRJ
   963       253647   Cary Kolek                              Alexander Law Group, PLC           8:20-cv-95943-MCR-GRJ
   964       253648   Shawn Kramer                            Alexander Law Group, PLC                                      8:20-cv-95944-MCR-GRJ
   965       253649   Russell Lathrop                         Alexander Law Group, PLC                                      8:20-cv-95945-MCR-GRJ
   966       253650   Robert Lawrence                         Alexander Law Group, PLC           8:20-cv-95946-MCR-GRJ
   967       253651   Luke Ledyard                            Alexander Law Group, PLC           8:20-cv-95947-MCR-GRJ
   968       253654   Terrikka Leiato                         Alexander Law Group, PLC           8:20-cv-95950-MCR-GRJ
   969       253657   Theresa Lonetti                         Alexander Law Group, PLC           8:20-cv-95953-MCR-GRJ
   970       253658   Fabian Longley                          Alexander Law Group, PLC           8:20-cv-95954-MCR-GRJ
   971       253660   Mark Lovell                             Alexander Law Group, PLC                                      8:20-cv-95956-MCR-GRJ
   972       253661   Joseph Lowe                             Alexander Law Group, PLC           8:20-cv-95957-MCR-GRJ
   973       253664   Wayne Lynch                             Alexander Law Group, PLC           8:20-cv-95960-MCR-GRJ
   974       253666   Lamonte Lyons                           Alexander Law Group, PLC           8:20-cv-95962-MCR-GRJ
   975       253667   Clyde Macklin                           Alexander Law Group, PLC                                      8:20-cv-95963-MCR-GRJ
   976       253668   Joshua Marney                           Alexander Law Group, PLC           8:20-cv-95964-MCR-GRJ
   977       253671   Tamieko Martin                          Alexander Law Group, PLC           8:20-cv-95967-MCR-GRJ
   978       253672   Joe Martinez                            Alexander Law Group, PLC                                      8:20-cv-95968-MCR-GRJ
   979       253673   Luis Martinez                           Alexander Law Group, PLC           8:20-cv-95969-MCR-GRJ
   980       253676   John Matlock                            Alexander Law Group, PLC           8:20-cv-95972-MCR-GRJ
   981       253677   Shulten Maultsby                        Alexander Law Group, PLC                                      8:20-cv-95973-MCR-GRJ
   982       253678   Peter Maxon                             Alexander Law Group, PLC           8:20-cv-95974-MCR-GRJ
   983       253679   Robert Mcdonnell                        Alexander Law Group, PLC           8:20-cv-95975-MCR-GRJ
   984       253680   Jovan Mcgee                             Alexander Law Group, PLC                                      8:20-cv-95976-MCR-GRJ
   985       253681   Martisha Mcgee                          Alexander Law Group, PLC           8:20-cv-95977-MCR-GRJ
   986       253682   Kevin Mcguire                           Alexander Law Group, PLC           8:20-cv-95978-MCR-GRJ
   987       253683   Kyle Mcilvaine                          Alexander Law Group, PLC                                      8:20-cv-95979-MCR-GRJ
   988       253684   Eric Mckee                              Alexander Law Group, PLC                                      8:20-cv-95980-MCR-GRJ
   989       253685   Jonathan Mcmillen                       Alexander Law Group, PLC           8:20-cv-95981-MCR-GRJ
   990       253686   Joel Mills                              Alexander Law Group, PLC           8:20-cv-95982-MCR-GRJ
   991       253689   Peter Mock                              Alexander Law Group, PLC                                      8:20-cv-95985-MCR-GRJ
   992       253690   Gene Moll                               Alexander Law Group, PLC           8:20-cv-95986-MCR-GRJ
   993       253691   Lindsay Montgomery                      Alexander Law Group, PLC           8:20-cv-95987-MCR-GRJ
   994       253692   Robert Morley                           Alexander Law Group, PLC           8:20-cv-95988-MCR-GRJ
   995       253694   Raul Mortera                            Alexander Law Group, PLC                                      8:20-cv-95990-MCR-GRJ
   996       253698   Jose Ocampo                             Alexander Law Group, PLC           8:20-cv-95994-MCR-GRJ
   997       253701   Aderemi Olobatuyi                       Alexander Law Group, PLC                                      8:20-cv-95997-MCR-GRJ
   998       253702   Lenard Olson                            Alexander Law Group, PLC                                      8:20-cv-95998-MCR-GRJ
   999       253703   Mark Ort                                Alexander Law Group, PLC                                      8:20-cv-95999-MCR-GRJ
   1000      253704   Elias Ortiz                             Alexander Law Group, PLC           8:20-cv-96000-MCR-GRJ
   1001      253705   Ruben Otero                             Alexander Law Group, PLC           8:20-cv-96001-MCR-GRJ
   1002      253708   David Pacheco                           Alexander Law Group, PLC                                      8:20-cv-96004-MCR-GRJ
   1003      253709   Efrain Padilla                          Alexander Law Group, PLC           8:20-cv-96005-MCR-GRJ
   1004      253710   Bruce Palmer                            Alexander Law Group, PLC           8:20-cv-96006-MCR-GRJ
   1005      253712   Nannette Payne                          Alexander Law Group, PLC           8:20-cv-96008-MCR-GRJ
   1006      253713   Steven Peralta                          Alexander Law Group, PLC           8:20-cv-96009-MCR-GRJ
   1007      253720   Ronnie Plumley                          Alexander Law Group, PLC           8:20-cv-96016-MCR-GRJ
   1008      253721   Chesdarith Prak                         Alexander Law Group, PLC           8:20-cv-96017-MCR-GRJ
   1009      253722   Zachary Prater                          Alexander Law Group, PLC           8:20-cv-96018-MCR-GRJ
   1010      253723   Bryan Pringle                           Alexander Law Group, PLC           8:20-cv-96019-MCR-GRJ
   1011      253724   Jeffrey Prudent                         Alexander Law Group, PLC           8:20-cv-96020-MCR-GRJ
   1012      253725   Maria Puente                            Alexander Law Group, PLC           8:20-cv-96021-MCR-GRJ
   1013      253726   Cole Quarles                            Alexander Law Group, PLC           8:20-cv-96022-MCR-GRJ
   1014      253727   James Raimondo                          Alexander Law Group, PLC           8:20-cv-96023-MCR-GRJ
   1015      253728   Aaron Ramsey                            Alexander Law Group, PLC                                      8:20-cv-96024-MCR-GRJ
   1016      253729   Jerry Rawlins                           Alexander Law Group, PLC           8:20-cv-96025-MCR-GRJ
   1017      253732   Michael Reese                           Alexander Law Group, PLC                                      8:20-cv-96028-MCR-GRJ
   1018      253733   Shane Reese                             Alexander Law Group, PLC                                      8:20-cv-96029-MCR-GRJ
   1019      253734   Koby Rehman                             Alexander Law Group, PLC           8:20-cv-96030-MCR-GRJ
   1020      253736   Javier Rey                              Alexander Law Group, PLC           8:20-cv-96032-MCR-GRJ
   1021      253741   Carlos Rojas                            Alexander Law Group, PLC           8:20-cv-96037-MCR-GRJ
   1022      253743   William Rudy                            Alexander Law Group, PLC           8:20-cv-96039-MCR-GRJ




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   1023      253745   Robert Russeau                          Alexander Law Group, PLC                                      8:20-cv-96041-MCR-GRJ
   1024      253746   Shawn Ryan                              Alexander Law Group, PLC           8:20-cv-96042-MCR-GRJ
   1025      253747   Jose Santana                            Alexander Law Group, PLC           8:20-cv-96043-MCR-GRJ
   1026      253748   James Schoch                            Alexander Law Group, PLC           8:20-cv-96044-MCR-GRJ
   1027      253749   Drew Sebok                              Alexander Law Group, PLC           8:20-cv-96045-MCR-GRJ
   1028      253750   Stewart Shackelford                     Alexander Law Group, PLC                                      8:20-cv-96046-MCR-GRJ
   1029      253751   Timmy Sharp                             Alexander Law Group, PLC           8:20-cv-96047-MCR-GRJ
   1030      253753   Charles Shockley                        Alexander Law Group, PLC           8:20-cv-96049-MCR-GRJ
   1031      253754   Stephen Siemsen                         Alexander Law Group, PLC                                      8:20-cv-96050-MCR-GRJ
   1032      253759   Delano Smith                            Alexander Law Group, PLC                                      8:20-cv-96055-MCR-GRJ
   1033      253760   Jerome Smith                            Alexander Law Group, PLC                                      8:20-cv-96056-MCR-GRJ
   1034      253762   Paul Son                                Alexander Law Group, PLC           8:20-cv-96058-MCR-GRJ
   1035      253763   Emir Soria                              Alexander Law Group, PLC           8:20-cv-96059-MCR-GRJ
   1036      253764   Miles St. Laurent                       Alexander Law Group, PLC           8:20-cv-95921-MCR-GRJ
   1037      253765   Roger Stone                             Alexander Law Group, PLC           8:20-cv-96060-MCR-GRJ
   1038      253766   Philip Stoore                           Alexander Law Group, PLC           8:20-cv-96061-MCR-GRJ
   1039      253768   William Summers                         Alexander Law Group, PLC           8:20-cv-96063-MCR-GRJ
   1040      253769   Greg Swain                              Alexander Law Group, PLC           8:20-cv-96064-MCR-GRJ
   1041      253770   Robert Szabo                            Alexander Law Group, PLC                                      8:20-cv-96065-MCR-GRJ
   1042      253771   Terrence Tarleton                       Alexander Law Group, PLC           8:20-cv-96066-MCR-GRJ
   1043      253773   Jon Taylor                              Alexander Law Group, PLC           8:20-cv-96068-MCR-GRJ
   1044      253775   Channon Thiede                          Alexander Law Group, PLC           8:20-cv-96070-MCR-GRJ
   1045      253778   Cordell Tjaden                          Alexander Law Group, PLC           8:20-cv-96073-MCR-GRJ
   1046      253779   Lourdes Torres                          Alexander Law Group, PLC           8:20-cv-96074-MCR-GRJ
   1047      253780   Andrew Troeger                          Alexander Law Group, PLC           8:20-cv-96075-MCR-GRJ
   1048      253782   Travis Tucker                           Alexander Law Group, PLC           8:20-cv-96077-MCR-GRJ
   1049      253783   Tim Turner                              Alexander Law Group, PLC           8:20-cv-96078-MCR-GRJ
   1050      253785   Joe Urbin                               Alexander Law Group, PLC           8:20-cv-96080-MCR-GRJ
   1051      253786   Bradley Vann Slyke                      Alexander Law Group, PLC           8:20-cv-96081-MCR-GRJ
   1052      253788   Willie Vaughn                           Alexander Law Group, PLC           8:20-cv-96083-MCR-GRJ
   1053      253789   Patrick Vaxter                          Alexander Law Group, PLC           8:20-cv-96084-MCR-GRJ
   1054      253790   Jose Vega                               Alexander Law Group, PLC           8:20-cv-96085-MCR-GRJ
   1055      253791   Richard Vega                            Alexander Law Group, PLC           8:20-cv-96086-MCR-GRJ
   1056      253792   Javier Vives-Abraham                    Alexander Law Group, PLC           8:20-cv-96087-MCR-GRJ
   1057      253793   Laurence Wabinga                        Alexander Law Group, PLC           8:20-cv-96088-MCR-GRJ
   1058      253794   Ronald Wade                             Alexander Law Group, PLC           8:20-cv-96089-MCR-GRJ
   1059      253795   Robin Wallace                           Alexander Law Group, PLC                                      8:20-cv-96090-MCR-GRJ
   1060      253796   Jacob Ward                              Alexander Law Group, PLC           8:20-cv-96091-MCR-GRJ
   1061      253798   Daniel Welkley                          Alexander Law Group, PLC           8:20-cv-96093-MCR-GRJ
   1062      253799   Andree West                             Alexander Law Group, PLC           8:20-cv-96094-MCR-GRJ
   1063      253800   James West                              Alexander Law Group, PLC                                      8:20-cv-96095-MCR-GRJ
   1064      253801   Zachary Wheeler                         Alexander Law Group, PLC                                      8:20-cv-96096-MCR-GRJ
   1065      253802   Daniel Wiebe                            Alexander Law Group, PLC           8:20-cv-96097-MCR-GRJ
   1066      253803   Jimmy Wilkins                           Alexander Law Group, PLC                                      8:20-cv-96098-MCR-GRJ
   1067      253804   Daniel Williams                         Alexander Law Group, PLC           8:20-cv-96099-MCR-GRJ
   1068      253805   Joseph Williams                         Alexander Law Group, PLC           8:20-cv-96100-MCR-GRJ
   1069      253806   Tela Williams                           Alexander Law Group, PLC                                      8:20-cv-96101-MCR-GRJ
   1070      253807   Tina Williams                           Alexander Law Group, PLC           8:20-cv-96102-MCR-GRJ
   1071      253809   Michael Wilson                          Alexander Law Group, PLC           8:20-cv-96104-MCR-GRJ
   1072      253810   Tim Wright                              Alexander Law Group, PLC           8:20-cv-96105-MCR-GRJ
   1073      253811   Bill Wynne                              Alexander Law Group, PLC           8:20-cv-96106-MCR-GRJ
   1074      253812   Desi Zamarripa                          Alexander Law Group, PLC           8:20-cv-96107-MCR-GRJ
   1075      260896   Joshua Alexander                        Alexander Law Group, PLC           9:20-cv-02376-MCR-GRJ
   1076      260897   German Alicea                           Alexander Law Group, PLC                                      9:20-cv-02377-MCR-GRJ
   1077      260899   Angel Alvarez                           Alexander Law Group, PLC                                      9:20-cv-02379-MCR-GRJ
   1078      260900   Jose Arboleda                           Alexander Law Group, PLC           9:20-cv-02380-MCR-GRJ
   1079      260901   Angel Armendariz                        Alexander Law Group, PLC                                      9:20-cv-02381-MCR-GRJ
   1080      260902   Larry Banks                             Alexander Law Group, PLC           9:20-cv-02382-MCR-GRJ
   1081      260904   Robert Barker                           Alexander Law Group, PLC           9:20-cv-02384-MCR-GRJ
   1082      260906   Robert Bell                             Alexander Law Group, PLC           9:20-cv-02386-MCR-GRJ
   1083      260909   Christopher Blank                       Alexander Law Group, PLC           9:20-cv-02389-MCR-GRJ
   1084      260910   Matt Blockholm                          Alexander Law Group, PLC           9:20-cv-02390-MCR-GRJ
   1085      260911   Jeffrey Boutot                          Alexander Law Group, PLC           9:20-cv-02391-MCR-GRJ
   1086      260912   James Brunson                           Alexander Law Group, PLC                                      9:20-cv-02392-MCR-GRJ
   1087      260913   Rodney Burr                             Alexander Law Group, PLC                                      9:20-cv-02393-MCR-GRJ
   1088      260917   Johnny Carter                           Alexander Law Group, PLC                                      9:20-cv-02397-MCR-GRJ
   1089      260918   Ronald Castilleja                       Alexander Law Group, PLC           9:20-cv-02398-MCR-GRJ
   1090      260919   Rian Chambers                           Alexander Law Group, PLC           9:20-cv-02399-MCR-GRJ
   1091      260920   Hunter Chapman                          Alexander Law Group, PLC           9:20-cv-02400-MCR-GRJ
   1092      260921   Lester Chase                            Alexander Law Group, PLC           9:20-cv-02401-MCR-GRJ
   1093      260922   Andre Colon                             Alexander Law Group, PLC           9:20-cv-02402-MCR-GRJ
   1094      260923   Brandon Cook                            Alexander Law Group, PLC                                      9:20-cv-02403-MCR-GRJ
   1095      260925   Allan Cranford                          Alexander Law Group, PLC           9:20-cv-02405-MCR-GRJ




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   1096      260926   Leonard Crenshaw                        Alexander Law Group, PLC                                      9:20-cv-02406-MCR-GRJ
   1097      260930   James Davidson                          Alexander Law Group, PLC                                      9:20-cv-02410-MCR-GRJ
   1098      260931   Juan De Jesus                           Alexander Law Group, PLC           9:20-cv-02411-MCR-GRJ
   1099      260932   Alfredo De Los Santos                   Alexander Law Group, PLC           9:20-cv-02412-MCR-GRJ
   1100      260934   Michael Deleree                         Alexander Law Group, PLC           9:20-cv-02414-MCR-GRJ
   1101      260935   Elizabeth Dendy                         Alexander Law Group, PLC           9:20-cv-02415-MCR-GRJ
   1102      260936   Brandon Deutsch                         Alexander Law Group, PLC           9:20-cv-02416-MCR-GRJ
   1103      260937   Joseph Donohue                          Alexander Law Group, PLC                                      9:20-cv-02417-MCR-GRJ
   1104      260938   Phillip Douglas                         Alexander Law Group, PLC                                      9:20-cv-02418-MCR-GRJ
   1105      260939   Howard Drinkwater                       Alexander Law Group, PLC           9:20-cv-02419-MCR-GRJ
   1106      260940   Della Dugger                            Alexander Law Group, PLC                                      9:20-cv-02420-MCR-GRJ
   1107      260941   Craig Dukes                             Alexander Law Group, PLC           9:20-cv-02421-MCR-GRJ
   1108      260943   Jeffrey Edmonds                         Alexander Law Group, PLC           9:20-cv-02423-MCR-GRJ
   1109      260944   Bailey Elley                            Alexander Law Group, PLC           9:20-cv-02424-MCR-GRJ
   1110      260945   Jaime Escobar                           Alexander Law Group, PLC           9:20-cv-02425-MCR-GRJ
   1111      260946   Mark Esslinger                          Alexander Law Group, PLC           9:20-cv-02426-MCR-GRJ
   1112      260948   Christopher Fick                        Alexander Law Group, PLC           9:20-cv-02428-MCR-GRJ
   1113      260950   Danilo Figueroa                         Alexander Law Group, PLC           9:20-cv-02430-MCR-GRJ
   1114      260951   Michael Fijman                          Alexander Law Group, PLC           9:20-cv-02431-MCR-GRJ
   1115      260952   Trekisha Finister                       Alexander Law Group, PLC           9:20-cv-02432-MCR-GRJ
   1116      260955   Curtis Fulton                           Alexander Law Group, PLC           9:20-cv-02435-MCR-GRJ
   1117      260958   Jesus Galvin-Equia                      Alexander Law Group, PLC           9:20-cv-02438-MCR-GRJ
   1118      260960   Jesus Garza                             Alexander Law Group, PLC           9:20-cv-02440-MCR-GRJ
   1119      260961   Gregory Gastan                          Alexander Law Group, PLC           9:20-cv-02441-MCR-GRJ
   1120      260962   Paul Gebbia                             Alexander Law Group, PLC           9:20-cv-02442-MCR-GRJ
   1121      260963   Alan George                             Alexander Law Group, PLC           9:20-cv-02443-MCR-GRJ
   1122      260964   Jeffrey Geozeff                         Alexander Law Group, PLC                                      9:20-cv-02444-MCR-GRJ
   1123      260965   Jennifer Gero                           Alexander Law Group, PLC           9:20-cv-02445-MCR-GRJ
   1124      260968   Alan Gunther                            Alexander Law Group, PLC           9:20-cv-02448-MCR-GRJ
   1125      260971   Nathaniel Hanrahan                      Alexander Law Group, PLC                                      9:20-cv-02451-MCR-GRJ
   1126      260974   Ricky Harmon                            Alexander Law Group, PLC           9:20-cv-02454-MCR-GRJ
   1127      260975   Nathan Harrington                       Alexander Law Group, PLC           9:20-cv-02455-MCR-GRJ
   1128      260976   Jack Hatfield                           Alexander Law Group, PLC                                      9:20-cv-02456-MCR-GRJ
   1129      260977   Justin Haug                             Alexander Law Group, PLC           9:20-cv-02457-MCR-GRJ
   1130      260978   Hector Hernandez                        Alexander Law Group, PLC           9:20-cv-02458-MCR-GRJ
   1131      260979   Armando Hernandez                       Alexander Law Group, PLC                                      9:20-cv-02459-MCR-GRJ
   1132      260980   Abel Herrera                            Alexander Law Group, PLC           9:20-cv-02460-MCR-GRJ
   1133      260981   Norman Herrin                           Alexander Law Group, PLC           9:20-cv-02461-MCR-GRJ
   1134      260982   Angel Hession-Bennett                   Alexander Law Group, PLC                                      9:20-cv-02462-MCR-GRJ
   1135      260983   Conan Higgins                           Alexander Law Group, PLC           9:20-cv-02463-MCR-GRJ
   1136      260984   Joshua Hill                             Alexander Law Group, PLC                                      9:20-cv-02464-MCR-GRJ
   1137      260986   David Hill                              Alexander Law Group, PLC           9:20-cv-02466-MCR-GRJ
   1138      260987   Steven Hoagland                         Alexander Law Group, PLC           9:20-cv-02467-MCR-GRJ
   1139      260988   Sean Hodshire                           Alexander Law Group, PLC           9:20-cv-02468-MCR-GRJ
   1140      260989   John Hsu                                Alexander Law Group, PLC           9:20-cv-02469-MCR-GRJ
   1141      260990   William Hubers                          Alexander Law Group, PLC                                      9:20-cv-02470-MCR-GRJ
   1142      260991   Michael Huddleston                      Alexander Law Group, PLC           9:20-cv-02471-MCR-GRJ
   1143      260992   Paul Huskey                             Alexander Law Group, PLC                                      9:20-cv-02472-MCR-GRJ
   1144      260993   Veronica Hutto                          Alexander Law Group, PLC           9:20-cv-02473-MCR-GRJ
   1145      260995   Darrin January                          Alexander Law Group, PLC                                      9:20-cv-02475-MCR-GRJ
   1146      260996   Federico Jimenez                        Alexander Law Group, PLC           9:20-cv-02476-MCR-GRJ
   1147      260997   Terry Jimeson                           Alexander Law Group, PLC           9:20-cv-02477-MCR-GRJ
   1148      260999   Ed Kaminski                             Alexander Law Group, PLC           9:20-cv-02479-MCR-GRJ
   1149      261000   Conner Keele                            Alexander Law Group, PLC                                      9:20-cv-02480-MCR-GRJ
   1150      261002   Deandre Kenty                           Alexander Law Group, PLC                                      9:20-cv-02506-MCR-GRJ
   1151      261003   Christopher King-Quick                  Alexander Law Group, PLC           9:20-cv-02508-MCR-GRJ
   1152      261006   Alyssa Kuyper                           Alexander Law Group, PLC                                      9:20-cv-02514-MCR-GRJ
   1153      261007   James Larsen                            Alexander Law Group, PLC           9:20-cv-02516-MCR-GRJ
   1154      261008   Reginald Lawrence                       Alexander Law Group, PLC           9:20-cv-02518-MCR-GRJ
   1155      261010   John Lee                                Alexander Law Group, PLC           9:20-cv-02522-MCR-GRJ
   1156      261011   Latonya Lewis                           Alexander Law Group, PLC           9:20-cv-02524-MCR-GRJ
   1157      261012   Daniel Lostotter                        Alexander Law Group, PLC                                      9:20-cv-02526-MCR-GRJ
   1158      261015   Christina Macias                        Alexander Law Group, PLC           9:20-cv-02532-MCR-GRJ
   1159      261016   Misael Macias-Hernandez                 Alexander Law Group, PLC                                      9:20-cv-02534-MCR-GRJ
   1160      261017   Jeremy Mann                             Alexander Law Group, PLC           9:20-cv-02536-MCR-GRJ
   1161      261019   Jose Martinez                           Alexander Law Group, PLC                                      9:20-cv-02540-MCR-GRJ
   1162      261020   Jeffery Mathis                          Alexander Law Group, PLC                                      9:20-cv-02542-MCR-GRJ
   1163      261021   Derek Matway                            Alexander Law Group, PLC           9:20-cv-02544-MCR-GRJ
   1164      261022   Terrence Mcallister                     Alexander Law Group, PLC           9:20-cv-02546-MCR-GRJ
   1165      261025   Jeffrey Mccormick                       Alexander Law Group, PLC           9:20-cv-02552-MCR-GRJ
   1166      261026   Jermahl Mckissick                       Alexander Law Group, PLC           9:20-cv-02554-MCR-GRJ
   1167      261029   Laurence Melillo                        Alexander Law Group, PLC                                      9:20-cv-02560-MCR-GRJ
   1168      261031   Michael Midgette                        Alexander Law Group, PLC           9:20-cv-02564-MCR-GRJ




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   1169      261032   Brandon Milhalik                        Alexander Law Group, PLC                                      9:20-cv-02566-MCR-GRJ
   1170      261033   Jeffrey Miller                          Alexander Law Group, PLC           9:20-cv-02568-MCR-GRJ
   1171      261035   Nicholas Mojica                         Alexander Law Group, PLC           9:20-cv-02572-MCR-GRJ
   1172      261036   Christopher Morris                      Alexander Law Group, PLC           9:20-cv-02573-MCR-GRJ
   1173      261037   James Mullens                           Alexander Law Group, PLC           9:20-cv-02575-MCR-GRJ
   1174      261038   Lewis Murray                            Alexander Law Group, PLC                                      9:20-cv-02577-MCR-GRJ
   1175      261039   Richard Nelson                          Alexander Law Group, PLC           9:20-cv-02579-MCR-GRJ
   1176      261040   Aaron Nichonson                         Alexander Law Group, PLC                                      9:20-cv-02581-MCR-GRJ
   1177      261041   Clarence Oneal                          Alexander Law Group, PLC                                      9:20-cv-02584-MCR-GRJ
   1178      261043   Jeremy Otto                             Alexander Law Group, PLC           9:20-cv-02588-MCR-GRJ
   1179      261044   Boyd Padfield                           Alexander Law Group, PLC           9:20-cv-02590-MCR-GRJ
   1180      261045   Anthony Paolino                         Alexander Law Group, PLC           9:20-cv-02592-MCR-GRJ
   1181      261047   Justin Parone                           Alexander Law Group, PLC           9:20-cv-02596-MCR-GRJ
   1182      261048   Richard Paul                            Alexander Law Group, PLC           9:20-cv-02598-MCR-GRJ
   1183      261049   Edwin Perea                             Alexander Law Group, PLC           9:20-cv-02600-MCR-GRJ
   1184      261052   Craig Petrick                           Alexander Law Group, PLC                                      9:20-cv-02742-MCR-GRJ
   1185      261053   Samuel Phillips                         Alexander Law Group, PLC           9:20-cv-02743-MCR-GRJ
   1186      261056   Dion Pollock                            Alexander Law Group, PLC           9:20-cv-02746-MCR-GRJ
   1187      261057   Shelli Porter                           Alexander Law Group, PLC           9:20-cv-02747-MCR-GRJ
   1188      261058   Scott Potas                             Alexander Law Group, PLC                                      9:20-cv-02748-MCR-GRJ
   1189      261059   Kestutis Poviliunas                     Alexander Law Group, PLC                                      9:20-cv-02749-MCR-GRJ
   1190      261060   Nathaniel Poynter                       Alexander Law Group, PLC           9:20-cv-02750-MCR-GRJ
   1191      261061   Christopher Pullium                     Alexander Law Group, PLC           9:20-cv-02751-MCR-GRJ
   1192      261062   Clinton Radabaugh                       Alexander Law Group, PLC           9:20-cv-02752-MCR-GRJ
   1193      261063   Jason Rains                             Alexander Law Group, PLC           9:20-cv-02754-MCR-GRJ
   1194      261064   Geovanny Ramirez                        Alexander Law Group, PLC           9:20-cv-02756-MCR-GRJ
   1195      261065   Eric Rampley                            Alexander Law Group, PLC           9:20-cv-02758-MCR-GRJ
   1196      261066   Alexis Randle                           Alexander Law Group, PLC           9:20-cv-02759-MCR-GRJ
   1197      261067   Andrew Regers                           Alexander Law Group, PLC           9:20-cv-02761-MCR-GRJ
   1198      261068   Mina Reid                               Alexander Law Group, PLC           9:20-cv-02763-MCR-GRJ
   1199      261069   Myke Reid                               Alexander Law Group, PLC           9:20-cv-02765-MCR-GRJ
   1200      261071   Joab Rey                                Alexander Law Group, PLC           9:20-cv-02768-MCR-GRJ
   1201      261072   Juanito Reyes                           Alexander Law Group, PLC           9:20-cv-02770-MCR-GRJ
   1202      261073   Leon Rivera                             Alexander Law Group, PLC                                      9:20-cv-02771-MCR-GRJ
   1203      261074   Leo Robertson                           Alexander Law Group, PLC                                      9:20-cv-02773-MCR-GRJ
   1204      261077   James Rogers                            Alexander Law Group, PLC                                      9:20-cv-02778-MCR-GRJ
   1205      261078   Michael Ross                            Alexander Law Group, PLC           9:20-cv-02780-MCR-GRJ
   1206      261081   Jonathan Saguid                         Alexander Law Group, PLC                                      9:20-cv-02785-MCR-GRJ
   1207      261082   John Scanlon                            Alexander Law Group, PLC           9:20-cv-02786-MCR-GRJ
   1208      261084   Brian Schofield                         Alexander Law Group, PLC           9:20-cv-02790-MCR-GRJ
   1209      261085   Lewis Schrodt                           Alexander Law Group, PLC                                      9:20-cv-02792-MCR-GRJ
   1210      261087   Michael Schwartz                        Alexander Law Group, PLC                                      9:20-cv-02795-MCR-GRJ
   1211      261088   Charles Scruggs                         Alexander Law Group, PLC           9:20-cv-02797-MCR-GRJ
   1212      261089   Daniel Selby                            Alexander Law Group, PLC           9:20-cv-02799-MCR-GRJ
   1213      261094   Anthony Sherrod                         Alexander Law Group, PLC           9:20-cv-02807-MCR-GRJ
   1214      261095   Sandesh Shrestha                        Alexander Law Group, PLC           9:20-cv-02809-MCR-GRJ
   1215      261097   Robert Sirtori                          Alexander Law Group, PLC                                      9:20-cv-02813-MCR-GRJ
   1216      261099   Will Stevens                            Alexander Law Group, PLC           9:20-cv-02816-MCR-GRJ
   1217      261100   Jeffrey Stout                           Alexander Law Group, PLC           9:20-cv-02818-MCR-GRJ
   1218      261102   Timothy Stull                           Alexander Law Group, PLC           9:20-cv-02821-MCR-GRJ
   1219      261104   Tamaiki Thomas-King                     Alexander Law Group, PLC                                      9:20-cv-02824-MCR-GRJ
   1220      261105   Paul Thompson                           Alexander Law Group, PLC           9:20-cv-02826-MCR-GRJ
   1221      261107   Willis Tomblin                          Alexander Law Group, PLC           9:20-cv-02830-MCR-GRJ
   1222      261111   Thomas Vance                            Alexander Law Group, PLC           9:20-cv-02836-MCR-GRJ
   1223      261113   Montel Vann                             Alexander Law Group, PLC           9:20-cv-02840-MCR-GRJ
   1224      261114   Harlan Walker                           Alexander Law Group, PLC                                      9:20-cv-02841-MCR-GRJ
   1225      261116   William Watson                          Alexander Law Group, PLC           9:20-cv-02845-MCR-GRJ
   1226      261117   Ross Weatherford                        Alexander Law Group, PLC           9:20-cv-02846-MCR-GRJ
   1227      261118   Brian Weaver                            Alexander Law Group, PLC           9:20-cv-02848-MCR-GRJ
   1228      261119   Stephen Wheeler                         Alexander Law Group, PLC                                      9:20-cv-02850-MCR-GRJ
   1229      261120   Brian White                             Alexander Law Group, PLC           9:20-cv-02851-MCR-GRJ
   1230      261122   Jameesha Williams                       Alexander Law Group, PLC           9:20-cv-02855-MCR-GRJ
   1231      261124   Jason Word                              Alexander Law Group, PLC                                      9:20-cv-02858-MCR-GRJ
   1232      261125   Charles Workes                          Alexander Law Group, PLC           9:20-cv-02860-MCR-GRJ
   1233      261127   Geoffrey Yazzie                         Alexander Law Group, PLC           9:20-cv-02863-MCR-GRJ
   1234      261128   Dave Young                              Alexander Law Group, PLC           9:20-cv-02865-MCR-GRJ
   1235      261129   Jason Young                             Alexander Law Group, PLC           9:20-cv-02867-MCR-GRJ
   1236      261130   Zach Zimbelman                          Alexander Law Group, PLC                                      9:20-cv-02869-MCR-GRJ
   1237      268146   John Absetz                             Alexander Law Group, PLC           9:20-cv-10381-MCR-GRJ
   1238      268147   Johnny Adams                            Alexander Law Group, PLC           9:20-cv-10382-MCR-GRJ
   1239      268150   Eric Andrade                            Alexander Law Group, PLC           9:20-cv-10385-MCR-GRJ
   1240      268151   Reginald Baez                           Alexander Law Group, PLC           9:20-cv-10386-MCR-GRJ
   1241      268152   Nicholas Bebout                         Alexander Law Group, PLC                                      9:20-cv-10387-MCR-GRJ




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   1242      268155   Daniel Benz                                             Alexander Law Group, PLC              9:20-cv-10390-MCR-GRJ
   1243      268156   Ryan Bianchi                                            Alexander Law Group, PLC              9:20-cv-10391-MCR-GRJ
   1244      268157   Carl Bingaman                                           Alexander Law Group, PLC              9:20-cv-10392-MCR-GRJ
   1245      268158   Serge Blott                                             Alexander Law Group, PLC              9:20-cv-10393-MCR-GRJ
   1246      268161   Daniel Borunda                                          Alexander Law Group, PLC                                         9:20-cv-10396-MCR-GRJ
   1247      268163   Ronald Brooks                                           Alexander Law Group, PLC                                         9:20-cv-10398-MCR-GRJ
   1248      268164   Sherry Brown                                            Alexander Law Group, PLC              9:20-cv-10399-MCR-GRJ
   1249      268165   Wade Brown                                              Alexander Law Group, PLC              9:20-cv-10400-MCR-GRJ
   1250      268166   David Bryant                                            Alexander Law Group, PLC              9:20-cv-10401-MCR-GRJ
   1251      268167   Russell Burke                                           Alexander Law Group, PLC                                         9:20-cv-10402-MCR-GRJ
   1252      268169   Clarence Burrus                                         Alexander Law Group, PLC                                         9:20-cv-10404-MCR-GRJ
   1253      268170   Ashley Burt                                             Alexander Law Group, PLC              9:20-cv-10405-MCR-GRJ
   1254      268171   Lawrence Butts                                          Alexander Law Group, PLC              9:20-cv-10406-MCR-GRJ
   1255      268172   Alexander Carrillo                                      Alexander Law Group, PLC                                         9:20-cv-10407-MCR-GRJ
   1256      268173   Jacqueline Carter                                       Alexander Law Group, PLC                                         9:20-cv-10408-MCR-GRJ
   1257      268174   Lance Casey                                             Alexander Law Group, PLC                                         9:20-cv-10409-MCR-GRJ
   1258      268176   Anthony Castillo                                        Alexander Law Group, PLC                                         9:20-cv-10411-MCR-GRJ
   1259      268177   Perry Chumley                                           Alexander Law Group, PLC              9:20-cv-10412-MCR-GRJ
   1260      268179   Anthony Clay                                            Alexander Law Group, PLC                                         9:20-cv-10414-MCR-GRJ
   1261      268180   Chris Clemens                                           Alexander Law Group, PLC                                         9:20-cv-10415-MCR-GRJ
   1262      268181   Brian Coleman                                           Alexander Law Group, PLC              9:20-cv-10416-MCR-GRJ
   1263      268182   Sheila Coles                                            Alexander Law Group, PLC              9:20-cv-10417-MCR-GRJ
   1264      268183   Christopher Collins                                     Alexander Law Group, PLC              9:20-cv-10418-MCR-GRJ
   1265      268184   Angel Colon                                             Alexander Law Group, PLC              9:20-cv-10419-MCR-GRJ
   1266      268188   Brian Covington                                         Alexander Law Group, PLC              9:20-cv-10423-MCR-GRJ
   1267      268189   Mark Darling                                            Alexander Law Group, PLC              9:20-cv-10424-MCR-GRJ
   1268      268193   John Dotson                                             Alexander Law Group, PLC              9:20-cv-10428-MCR-GRJ
   1269      268194   Kain Dretzka                                            Alexander Law Group, PLC              9:20-cv-10429-MCR-GRJ
   1270      268197   Timothy Earls                                           Alexander Law Group, PLC              9:20-cv-10432-MCR-GRJ
   1271      268199   Karoline Erickson                                       Alexander Law Group, PLC              9:20-cv-10434-MCR-GRJ
   1272      268200   Marcus Erickson                                         Alexander Law Group, PLC              9:20-cv-10435-MCR-GRJ
   1273      268203   Nicole Jean Petulla, Administrator Estate Of Jason Petulla Alexander Law Group, PLC           9:20-cv-10295-MCR-GRJ
   1274      268205   Dustin Evans                                            Alexander Law Group, PLC              9:20-cv-10439-MCR-GRJ
   1275      268206   Joseph Fagerquist                                       Alexander Law Group, PLC              9:20-cv-10440-MCR-GRJ
   1276      268207   Roman Fontana                                           Alexander Law Group, PLC                                         9:20-cv-10441-MCR-GRJ
   1277      268211   Stephen Gardner                                         Alexander Law Group, PLC                                         9:20-cv-10445-MCR-GRJ
   1278      268213   Alyssa Germano                                          Alexander Law Group, PLC              9:20-cv-10447-MCR-GRJ
   1279      268217   Lawrence Guest                                          Alexander Law Group, PLC              9:20-cv-10451-MCR-GRJ
   1280      268219   Colby Hanley                                            Alexander Law Group, PLC              9:20-cv-10453-MCR-GRJ
   1281      268221   Joseph Hemphill                                         Alexander Law Group, PLC              9:20-cv-10455-MCR-GRJ
   1282      268222   Joseph Hernandez                                        Alexander Law Group, PLC                                         9:20-cv-10456-MCR-GRJ
   1283      268223   Don Hoolan                                              Alexander Law Group, PLC              9:20-cv-10457-MCR-GRJ
   1284      268224   Terrell Howard                                          Alexander Law Group, PLC              9:20-cv-10458-MCR-GRJ
   1285      268225   Michael Jackson                                         Alexander Law Group, PLC                                         9:20-cv-10459-MCR-GRJ
   1286      268226   Latoya Jefferson                                        Alexander Law Group, PLC              9:20-cv-10460-MCR-GRJ
   1287      268227   Shanterry Johnson (N/K/A Scott)                         Alexander Law Group, PLC                                         9:20-cv-10288-MCR-GRJ
   1288      268230   Daniel La France                                        Alexander Law Group, PLC                                         9:20-cv-10463-MCR-GRJ
   1289      268231   Marcel Laguerre                                         Alexander Law Group, PLC              9:20-cv-10464-MCR-GRJ
   1290      268232   Kevin Laroche                                           Alexander Law Group, PLC              9:20-cv-10465-MCR-GRJ
   1291      268236   Kimberly Macias                                         Alexander Law Group, PLC              9:20-cv-10469-MCR-GRJ
   1292      268238   Jeff Marantette                                         Alexander Law Group, PLC              9:20-cv-10471-MCR-GRJ
   1293      268239   Alonzo Marroquin                                        Alexander Law Group, PLC              9:20-cv-10472-MCR-GRJ
   1294      268240   Michael Mayberry                                        Alexander Law Group, PLC                                         9:20-cv-10473-MCR-GRJ
   1295      268241   James Mcduffie                                          Alexander Law Group, PLC              9:20-cv-10474-MCR-GRJ
   1296      268243   Jeffery Merriman                                        Alexander Law Group, PLC              9:20-cv-10476-MCR-GRJ
   1297      268244   Richard Militzer                                        Alexander Law Group, PLC              9:20-cv-10477-MCR-GRJ
   1298      268246   William Moore                                           Alexander Law Group, PLC              9:20-cv-10479-MCR-GRJ
   1299      268247   Dale Morris                                             Alexander Law Group, PLC              9:20-cv-10480-MCR-GRJ
   1300      268248   Yotessa Myers                                           Alexander Law Group, PLC              9:20-cv-10481-MCR-GRJ
   1301      268249   Kristopher Newton                                       Alexander Law Group, PLC                                         9:20-cv-10482-MCR-GRJ
   1302      268250   Joshua North                                            Alexander Law Group, PLC              9:20-cv-10483-MCR-GRJ
   1303      268251   Hector Orsini                                           Alexander Law Group, PLC                                         9:20-cv-10484-MCR-GRJ
   1304      268252   Robert Ouellette                                        Alexander Law Group, PLC              9:20-cv-10485-MCR-GRJ
   1305      268260   Cornelius Powell                                        Alexander Law Group, PLC              9:20-cv-10493-MCR-GRJ
   1306      268261   Paul Pujol                                              Alexander Law Group, PLC              9:20-cv-10494-MCR-GRJ
   1307      268263   David Ramirez                                           Alexander Law Group, PLC              9:20-cv-10496-MCR-GRJ
   1308      268265   Howard Redden                                           Alexander Law Group, PLC              9:20-cv-10498-MCR-GRJ
   1309      268266   Edward Reyna                                            Alexander Law Group, PLC                                         9:20-cv-10499-MCR-GRJ
   1310      268268   Daniel Roberts                                          Alexander Law Group, PLC              9:20-cv-10501-MCR-GRJ
   1311      268269   Brian Roberts                                           Alexander Law Group, PLC              9:20-cv-10502-MCR-GRJ
   1312      268270   Roberto Rodriguez                                       Alexander Law Group, PLC              9:20-cv-10503-MCR-GRJ
   1313      268271   Mark Rodriguez                                          Alexander Law Group, PLC              9:20-cv-10504-MCR-GRJ
   1314      268273   Justin Russett                                          Alexander Law Group, PLC              9:20-cv-10506-MCR-GRJ




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   1315      268274   John Scarborough                        Alexander Law Group, PLC           9:20-cv-10507-MCR-GRJ
   1316      268275   Anthony Scymanky                        Alexander Law Group, PLC           9:20-cv-10508-MCR-GRJ
   1317      268276   Richard Smith                           Alexander Law Group, PLC           9:20-cv-10509-MCR-GRJ
   1318      268277   Tameka Smith                            Alexander Law Group, PLC           9:20-cv-10510-MCR-GRJ
   1319      268279   Jayme Smith                             Alexander Law Group, PLC           9:20-cv-10512-MCR-GRJ
   1320      268281   Mario Solis                             Alexander Law Group, PLC           9:20-cv-10514-MCR-GRJ
   1321      268284   Jeffrey South                           Alexander Law Group, PLC           9:20-cv-10518-MCR-GRJ
   1322      268286   Shari Steele                            Alexander Law Group, PLC           9:20-cv-10522-MCR-GRJ
   1323      268287   Kenneth Stevens                         Alexander Law Group, PLC           9:20-cv-10523-MCR-GRJ
   1324      268288   Wesley Stracham                         Alexander Law Group, PLC           9:20-cv-10525-MCR-GRJ
   1325      268290   James Throckmorton                      Alexander Law Group, PLC           9:20-cv-10529-MCR-GRJ
   1326      268292   Allinzo Todd                            Alexander Law Group, PLC           9:20-cv-10533-MCR-GRJ
   1327      268293   Kenneth Turner                          Alexander Law Group, PLC           9:20-cv-10535-MCR-GRJ
   1328      268294   Irene Vanoosterhout                     Alexander Law Group, PLC           9:20-cv-10537-MCR-GRJ
   1329      268295   Jerry Vigil                             Alexander Law Group, PLC           9:20-cv-10539-MCR-GRJ
   1330      268296   Paul Walker                             Alexander Law Group, PLC           9:20-cv-10540-MCR-GRJ
   1331      268297   James Wallace                           Alexander Law Group, PLC                                      9:20-cv-10542-MCR-GRJ
   1332      268298   Kevin Weaver                            Alexander Law Group, PLC                                      9:20-cv-10544-MCR-GRJ
   1333      268299   John Wedemeyer                          Alexander Law Group, PLC                                      9:20-cv-10546-MCR-GRJ
   1334      268301   Kenneth White                           Alexander Law Group, PLC           9:20-cv-10550-MCR-GRJ
   1335      268302   Brian Wilson                            Alexander Law Group, PLC                                      9:20-cv-10551-MCR-GRJ
   1336      268303   Scott Wilson                            Alexander Law Group, PLC           9:20-cv-10747-MCR-GRJ
   1337      268304   Christopher Winters                     Alexander Law Group, PLC           9:20-cv-10749-MCR-GRJ
   1338      268305   Steven Woodall                          Alexander Law Group, PLC                                      9:20-cv-10751-MCR-GRJ
   1339      274258   Mercy Ameyaw                            Alexander Law Group, PLC           9:20-cv-14335-MCR-GRJ
   1340      274259   John Ansohn                             Alexander Law Group, PLC                                      9:20-cv-14338-MCR-GRJ
   1341      274260   Aaron Arnold                            Alexander Law Group, PLC           9:20-cv-14340-MCR-GRJ
   1342      274261   Richard Banuelos                        Alexander Law Group, PLC           9:20-cv-14342-MCR-GRJ
   1343      274262   Orlando Barrera                         Alexander Law Group, PLC           9:20-cv-14344-MCR-GRJ
   1344      274263   Derek Barros                            Alexander Law Group, PLC           9:20-cv-14346-MCR-GRJ
   1345      274264   James Bennett                           Alexander Law Group, PLC                                      9:20-cv-14348-MCR-GRJ
   1346      274266   Daniel Bickel                           Alexander Law Group, PLC           9:20-cv-14352-MCR-GRJ
   1347      274267   Steven Black                            Alexander Law Group, PLC           9:20-cv-14354-MCR-GRJ
   1348      274268   Shawn Boller                            Alexander Law Group, PLC                                      9:20-cv-14356-MCR-GRJ
   1349      274272   Shane Burse                             Alexander Law Group, PLC           9:20-cv-14364-MCR-GRJ
   1350      274273   Fred Bussell                            Alexander Law Group, PLC           9:20-cv-14366-MCR-GRJ
   1351      274275   Anthony Capdeville                      Alexander Law Group, PLC           9:20-cv-14370-MCR-GRJ
   1352      274276   Jimmie Carroll                          Alexander Law Group, PLC           9:20-cv-14372-MCR-GRJ
   1353      274277   William Carroll                         Alexander Law Group, PLC                                      9:20-cv-14374-MCR-GRJ
   1354      274279   Felipe Chee                             Alexander Law Group, PLC           9:20-cv-14378-MCR-GRJ
   1355      274280   Chhork Chin                             Alexander Law Group, PLC           9:20-cv-14380-MCR-GRJ
   1356      274282   Benjamin Christensen                    Alexander Law Group, PLC                                      9:20-cv-14384-MCR-GRJ
   1357      274283   Joseph Cima                             Alexander Law Group, PLC           9:20-cv-14386-MCR-GRJ
   1358      274284   Dominick Clark                          Alexander Law Group, PLC                                      9:20-cv-14388-MCR-GRJ
   1359      274285   David Conley                            Alexander Law Group, PLC           9:20-cv-14390-MCR-GRJ
   1360      274286   Gary Conyers                            Alexander Law Group, PLC           9:20-cv-14392-MCR-GRJ
   1361      274287   Joseph Coover                           Alexander Law Group, PLC           9:20-cv-14394-MCR-GRJ
   1362      274288   Christopher Corriveau                   Alexander Law Group, PLC                                      9:20-cv-14396-MCR-GRJ
   1363      274289   Hector Cortez                           Alexander Law Group, PLC           9:20-cv-14398-MCR-GRJ
   1364      274290   Wesley Cowan                            Alexander Law Group, PLC           9:20-cv-14400-MCR-GRJ
   1365      274293   Angela Cunningham                       Alexander Law Group, PLC           9:20-cv-14407-MCR-GRJ
   1366      274294   Lloyd Curry                             Alexander Law Group, PLC                                      9:20-cv-14409-MCR-GRJ
   1367      274295   Kevin Curtis                            Alexander Law Group, PLC                                      9:20-cv-14411-MCR-GRJ
   1368      274296   Latisha Darville                        Alexander Law Group, PLC           9:20-cv-14413-MCR-GRJ
   1369      274298   Keith Dawson                            Alexander Law Group, PLC           9:20-cv-14417-MCR-GRJ
   1370      274299   Otey Dear                               Alexander Law Group, PLC                                      9:20-cv-14419-MCR-GRJ
   1371      274302   Michael Downs                           Alexander Law Group, PLC           9:20-cv-14425-MCR-GRJ
   1372      274304   John Engstrom                           Alexander Law Group, PLC           9:20-cv-14428-MCR-GRJ
   1373      274305   Jonathan Ennis                          Alexander Law Group, PLC           9:20-cv-14430-MCR-GRJ
   1374      274306   Aristeo Escobar                         Alexander Law Group, PLC           9:20-cv-14432-MCR-GRJ
   1375      274307   Zachary Fadely                          Alexander Law Group, PLC           9:20-cv-14434-MCR-GRJ
   1376      274309   John Farrell                            Alexander Law Group, PLC                                      9:20-cv-14438-MCR-GRJ
   1377      274310   Kevin Ferguson                          Alexander Law Group, PLC                                      9:20-cv-14440-MCR-GRJ
   1378      274311   Micahel Finnie                          Alexander Law Group, PLC           9:20-cv-14442-MCR-GRJ
   1379      274312   Marc Fletcher                           Alexander Law Group, PLC                                      9:20-cv-14445-MCR-GRJ
   1380      274313   Eric Flowers                            Alexander Law Group, PLC           9:20-cv-14446-MCR-GRJ
   1381      274314   Matthew Fritch                          Alexander Law Group, PLC           9:20-cv-14448-MCR-GRJ
   1382      274315   Richard Fugate                          Alexander Law Group, PLC           9:20-cv-14450-MCR-GRJ
   1383      274316   Michael Garbinsky                       Alexander Law Group, PLC           9:20-cv-14453-MCR-GRJ
   1384      274317   Alejandro Garcia                        Alexander Law Group, PLC           9:20-cv-14454-MCR-GRJ
   1385      274318   Kevin Garner                            Alexander Law Group, PLC                                      9:20-cv-14456-MCR-GRJ
   1386      274319   Roland Garza                            Alexander Law Group, PLC                                      9:20-cv-14458-MCR-GRJ
   1387      274320   Victor Garza                            Alexander Law Group, PLC           9:20-cv-14460-MCR-GRJ




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   1388      274322   Edwin Gomez                             Alexander Law Group, PLC           9:20-cv-14464-MCR-GRJ
   1389      274323   Dustin Gonzalez                         Alexander Law Group, PLC           9:20-cv-14467-MCR-GRJ
   1390      274324   Victor Gonzalezgamboa                   Alexander Law Group, PLC                                      9:20-cv-14469-MCR-GRJ
   1391      274325   Ryon Graham                             Alexander Law Group, PLC           9:20-cv-14471-MCR-GRJ
   1392      274327   Kenneth Grier                           Alexander Law Group, PLC           9:20-cv-14475-MCR-GRJ
   1393      274328   Darryl Hambrick                         Alexander Law Group, PLC                                      9:20-cv-14477-MCR-GRJ
   1394      274330   Michael Harley                          Alexander Law Group, PLC           9:20-cv-14481-MCR-GRJ
   1395      274332   Charles Harrington                      Alexander Law Group, PLC           9:20-cv-14582-MCR-GRJ
   1396      274333   Fred Harris                             Alexander Law Group, PLC           9:20-cv-14583-MCR-GRJ
   1397      274334   Matthew Harris                          Alexander Law Group, PLC           9:20-cv-14584-MCR-GRJ
   1398      274335   Michael Harsch                          Alexander Law Group, PLC           9:20-cv-14585-MCR-GRJ
   1399      274336   Derek Hayes                             Alexander Law Group, PLC           9:20-cv-14586-MCR-GRJ
   1400      274338   Danny Howard                            Alexander Law Group, PLC           9:20-cv-14588-MCR-GRJ
   1401      274339   Ed Hymes                                Alexander Law Group, PLC           9:20-cv-14589-MCR-GRJ
   1402      274340   Chadmon Ingram                          Alexander Law Group, PLC           9:20-cv-14590-MCR-GRJ
   1403      274342   Trenton Jackson                         Alexander Law Group, PLC           9:20-cv-14592-MCR-GRJ
   1404      274343   Latisha Jackson                         Alexander Law Group, PLC           9:20-cv-14593-MCR-GRJ
   1405      274346   Peggy Jones                             Alexander Law Group, PLC           9:20-cv-14596-MCR-GRJ
   1406      274347   Michael Kelly                           Alexander Law Group, PLC           9:20-cv-14597-MCR-GRJ
   1407      274349   Antonio Kidd                            Alexander Law Group, PLC           9:20-cv-14599-MCR-GRJ
   1408      274350   Nicholas Kidd                           Alexander Law Group, PLC           9:20-cv-14600-MCR-GRJ
   1409      274351   Corey Kiefer                            Alexander Law Group, PLC                                      9:20-cv-14601-MCR-GRJ
   1410      274352   Dan Kirkland                            Alexander Law Group, PLC           9:20-cv-14602-MCR-GRJ
   1411      274353   Barlomiej Kowalczyk                     Alexander Law Group, PLC           9:20-cv-14603-MCR-GRJ
   1412      274354   Colton Leblanc                          Alexander Law Group, PLC           9:20-cv-14604-MCR-GRJ
   1413      274355   Jane Lengel                             Alexander Law Group, PLC           9:20-cv-14605-MCR-GRJ
   1414      274356   Demario Lewis                           Alexander Law Group, PLC                                      9:20-cv-14606-MCR-GRJ
   1415      274357   Michael Linder                          Alexander Law Group, PLC           9:20-cv-14607-MCR-GRJ
   1416      274358   Juan Lopez                              Alexander Law Group, PLC           9:20-cv-14608-MCR-GRJ
   1417      274359   Ernesto Lozano                          Alexander Law Group, PLC                                      9:20-cv-14609-MCR-GRJ
   1418      274361   Sonya Martinez                          Alexander Law Group, PLC           9:20-cv-14611-MCR-GRJ
   1419      274362   Paul Martsolf                           Alexander Law Group, PLC           9:20-cv-14612-MCR-GRJ
   1420      274365   Dennis Mcshurley                        Alexander Law Group, PLC           9:20-cv-14615-MCR-GRJ
   1421      274366   Jason Medrano                           Alexander Law Group, PLC                                      9:20-cv-14616-MCR-GRJ
   1422      274367   Martin Melrose                          Alexander Law Group, PLC           9:20-cv-14617-MCR-GRJ
   1423      274368   Yaritza Mercado                         Alexander Law Group, PLC           9:20-cv-14618-MCR-GRJ
   1424      274370   Darren Miles                            Alexander Law Group, PLC                                      9:20-cv-14620-MCR-GRJ
   1425      274372   Juan Montero                            Alexander Law Group, PLC           9:20-cv-14622-MCR-GRJ
   1426      274375   Terrance Nance                          Alexander Law Group, PLC           9:20-cv-14625-MCR-GRJ
   1427      274376   Robert Nease                            Alexander Law Group, PLC                                      9:20-cv-14626-MCR-GRJ
   1428      274377   Brandon Nelson                          Alexander Law Group, PLC           9:20-cv-14627-MCR-GRJ
   1429      274378   Kevin Nestfield                         Alexander Law Group, PLC           9:20-cv-14628-MCR-GRJ
   1430      274379   James Nichols                           Alexander Law Group, PLC           9:20-cv-14629-MCR-GRJ
   1431      274380   Elias Olayo                             Alexander Law Group, PLC           9:20-cv-14630-MCR-GRJ
   1432      274382   Carl Oliver                             Alexander Law Group, PLC           9:20-cv-14632-MCR-GRJ
   1433      274383   Donald Overla                           Alexander Law Group, PLC           9:20-cv-14633-MCR-GRJ
   1434      274384   Andrew Pacheco                          Alexander Law Group, PLC                                      9:20-cv-14634-MCR-GRJ
   1435      274386   Stephen Paul                            Alexander Law Group, PLC           9:20-cv-14636-MCR-GRJ
   1436      274387   Sierra Pena                             Alexander Law Group, PLC           9:20-cv-14637-MCR-GRJ
   1437      274388   Marquel Pendleton                       Alexander Law Group, PLC                                      9:20-cv-14638-MCR-GRJ
   1438      274391   David Post                              Alexander Law Group, PLC                                      9:20-cv-14641-MCR-GRJ
   1439      274393   Anthony Reed                            Alexander Law Group, PLC           9:20-cv-14643-MCR-GRJ
   1440      274394   Phillip Rendely                         Alexander Law Group, PLC           9:20-cv-14644-MCR-GRJ
   1441      274395   Bruce Resnak                            Alexander Law Group, PLC           9:20-cv-14645-MCR-GRJ
   1442      274396   Lance Rhoades                           Alexander Law Group, PLC           9:20-cv-14646-MCR-GRJ
   1443      274397   Chrystal Robinson                       Alexander Law Group, PLC                                      9:20-cv-14647-MCR-GRJ
   1444      274398   David Robinson                          Alexander Law Group, PLC                                      9:20-cv-14648-MCR-GRJ
   1445      274400   Mark Rodriguez                          Alexander Law Group, PLC                                      9:20-cv-14650-MCR-GRJ
   1446      274401   Claudia Rosado                          Alexander Law Group, PLC           9:20-cv-14651-MCR-GRJ
   1447      274404   Derrick Sablan                          Alexander Law Group, PLC           9:20-cv-14654-MCR-GRJ
   1448      274405   James Schuster                          Alexander Law Group, PLC           9:20-cv-14655-MCR-GRJ
   1449      274406   Wayne Siebert                           Alexander Law Group, PLC                                      9:20-cv-14656-MCR-GRJ
   1450      274407   William Skinner                         Alexander Law Group, PLC           9:20-cv-14657-MCR-GRJ
   1451      274410   Nicole Socci                            Alexander Law Group, PLC           9:20-cv-14660-MCR-GRJ
   1452      274413   Charles Stevenson                       Alexander Law Group, PLC           9:20-cv-14663-MCR-GRJ
   1453      274415   Chris Strong                            Alexander Law Group, PLC           9:20-cv-14665-MCR-GRJ
   1454      274416   William Taylor                          Alexander Law Group, PLC           9:20-cv-14666-MCR-GRJ
   1455      274417   Eddie Thomas                            Alexander Law Group, PLC           9:20-cv-14667-MCR-GRJ
   1456      274418   Vernon Thompson                         Alexander Law Group, PLC           9:20-cv-14668-MCR-GRJ
   1457      274420   Charles Timms                           Alexander Law Group, PLC           9:20-cv-14670-MCR-GRJ
   1458      274421   Faitotoatasi Togafau                    Alexander Law Group, PLC           9:20-cv-14671-MCR-GRJ
   1459      274424   Travis Vanassche                        Alexander Law Group, PLC           9:20-cv-14674-MCR-GRJ
   1460      274427   Pablo Villescas                         Alexander Law Group, PLC           9:20-cv-14677-MCR-GRJ




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   1461      274428   Thurman Wallace                         Alexander Law Group, PLC           9:20-cv-14678-MCR-GRJ
   1462      274429   John Walsh                              Alexander Law Group, PLC                                      9:20-cv-14679-MCR-GRJ
   1463      274430   Richard Weaver                          Alexander Law Group, PLC                                      9:20-cv-14680-MCR-GRJ
   1464      274431   Tommy Weaver                            Alexander Law Group, PLC                                      9:20-cv-14681-MCR-GRJ
   1465      274432   Robert Webb                             Alexander Law Group, PLC           9:20-cv-14682-MCR-GRJ
   1466      274433   Giovanna West                           Alexander Law Group, PLC           9:20-cv-14683-MCR-GRJ
   1467      274435   Larry Willard                           Alexander Law Group, PLC                                      9:20-cv-14685-MCR-GRJ
   1468      274436   Charles Williams                        Alexander Law Group, PLC                                      9:20-cv-14686-MCR-GRJ
   1469      274438   Aaron Windham                           Alexander Law Group, PLC                                      9:20-cv-14688-MCR-GRJ
   1470      274439   Robert Wood                             Alexander Law Group, PLC           9:20-cv-14689-MCR-GRJ
   1471      274440   Morgan Young                            Alexander Law Group, PLC           9:20-cv-14690-MCR-GRJ
   1472      289607   Elvis Adu                               Alexander Law Group, PLC           7:21-cv-11659-MCR-GRJ
   1473      289608   Jesus Aguilar                           Alexander Law Group, PLC           7:21-cv-11660-MCR-GRJ
   1474      289609   Wasiu Alaka                             Alexander Law Group, PLC           7:21-cv-11661-MCR-GRJ
   1475      289611   Joseph Arce                             Alexander Law Group, PLC           7:21-cv-11663-MCR-GRJ
   1476      289613   Tiffani Ball                            Alexander Law Group, PLC           7:21-cv-11665-MCR-GRJ
   1477      289615   Victor Barberio                         Alexander Law Group, PLC           7:21-cv-11667-MCR-GRJ
   1478      289616   Jatique Barnes                          Alexander Law Group, PLC           7:21-cv-11668-MCR-GRJ
   1479      289618   Jose Bautista                           Alexander Law Group, PLC           7:21-cv-11681-MCR-GRJ
   1480      289620   Lee Belicek                             Alexander Law Group, PLC                                      7:21-cv-11683-MCR-GRJ
   1481      289621   Marvin Bennett                          Alexander Law Group, PLC           7:21-cv-11684-MCR-GRJ
   1482      289622   Leroy Bierfreund                        Alexander Law Group, PLC           7:21-cv-11685-MCR-GRJ
   1483      289623   Daniel Bircher                          Alexander Law Group, PLC           7:21-cv-11686-MCR-GRJ
   1484      289624   Isaac Black                             Alexander Law Group, PLC                                      7:21-cv-11687-MCR-GRJ
   1485      289625   Michael Black                           Alexander Law Group, PLC           7:21-cv-11688-MCR-GRJ
   1486      289626   Patrick Bowen                           Alexander Law Group, PLC                                      7:21-cv-11689-MCR-GRJ
   1487      289629   Howard Brooks                           Alexander Law Group, PLC                                      7:21-cv-11692-MCR-GRJ
   1488      289630   Henry Brown                             Alexander Law Group, PLC           7:21-cv-11693-MCR-GRJ
   1489      289631   Yariel Brown                            Alexander Law Group, PLC                                      7:21-cv-11694-MCR-GRJ
   1490      289634   Aaron Buchanan                          Alexander Law Group, PLC           7:21-cv-11697-MCR-GRJ
   1491      289636   Erica Burke                             Alexander Law Group, PLC           7:21-cv-11699-MCR-GRJ
   1492      289637   Joey Busby                              Alexander Law Group, PLC           7:21-cv-11700-MCR-GRJ
   1493      289638   Robert Busk                             Alexander Law Group, PLC           7:21-cv-11701-MCR-GRJ
   1494      289641   Stephen Carl                            Alexander Law Group, PLC                                      7:21-cv-11704-MCR-GRJ
   1495      289642   Mark Carragher                          Alexander Law Group, PLC                                      7:21-cv-11705-MCR-GRJ
   1496      289643   Caesar Castro                           Alexander Law Group, PLC           7:21-cv-11706-MCR-GRJ
   1497      289644   Rae Chapman                             Alexander Law Group, PLC           7:21-cv-11707-MCR-GRJ
   1498      289645   Paul Chase                              Alexander Law Group, PLC           7:21-cv-11708-MCR-GRJ
   1499      289648   Keith Coble                             Alexander Law Group, PLC           7:21-cv-11711-MCR-GRJ
   1500      289649   Ashley Cochran                          Alexander Law Group, PLC           7:21-cv-11712-MCR-GRJ
   1501      289652   Marcus Cottingham                       Alexander Law Group, PLC                                      7:21-cv-11715-MCR-GRJ
   1502      289653   John Crossen                            Alexander Law Group, PLC                                      7:21-cv-11716-MCR-GRJ
   1503      289654   Carmine Czapla                          Alexander Law Group, PLC           7:21-cv-11717-MCR-GRJ
   1504      289655   Andrew Czarnowski                       Alexander Law Group, PLC           7:21-cv-11718-MCR-GRJ
   1505      289656   Michael Davis                           Alexander Law Group, PLC           7:21-cv-11719-MCR-GRJ
   1506      289658   Eduviges Dejesus                        Alexander Law Group, PLC           7:21-cv-11721-MCR-GRJ
   1507      289659   Rafael Delvalle                         Alexander Law Group, PLC                                      7:21-cv-11722-MCR-GRJ
   1508      289664   Jack Ellison                            Alexander Law Group, PLC           7:21-cv-11727-MCR-GRJ
   1509      289668   Trenda Estrada                          Alexander Law Group, PLC           7:21-cv-11731-MCR-GRJ
   1510      289669   Garrett Ferguson                        Alexander Law Group, PLC           7:21-cv-11732-MCR-GRJ
   1511      289670   Derek Fingerle                          Alexander Law Group, PLC           7:21-cv-11733-MCR-GRJ
   1512      289671   Roger Ford                              Alexander Law Group, PLC           7:21-cv-11734-MCR-GRJ
   1513      289672   Steven Franco                           Alexander Law Group, PLC           7:21-cv-11735-MCR-GRJ
   1514      289673   Roger Gahan                             Alexander Law Group, PLC           7:21-cv-11736-MCR-GRJ
   1515      289674   Christopher Gale                        Alexander Law Group, PLC           7:21-cv-11737-MCR-GRJ
   1516      289676   Robert Gilbeau                          Alexander Law Group, PLC           7:21-cv-11739-MCR-GRJ
   1517      289680   Bryan Gonzalez                          Alexander Law Group, PLC           7:21-cv-11743-MCR-GRJ
   1518      289683   Jose Guidos                             Alexander Law Group, PLC                                      7:21-cv-11746-MCR-GRJ
   1519      289684   Scott Guinn                             Alexander Law Group, PLC           7:21-cv-11747-MCR-GRJ
   1520      289685   Patrick Gumataotao                      Alexander Law Group, PLC                                      7:21-cv-11748-MCR-GRJ
   1521      289686   Jason Hacken                            Alexander Law Group, PLC           7:21-cv-11749-MCR-GRJ
   1522      289687   Tricia Haigler                          Alexander Law Group, PLC                                      7:21-cv-11750-MCR-GRJ
   1523      289689   Wardell Henderson                       Alexander Law Group, PLC           7:21-cv-11752-MCR-GRJ
   1524      289692   Ronnie Hodges                           Alexander Law Group, PLC           7:21-cv-11755-MCR-GRJ
   1525      289693   John Hollingshead                       Alexander Law Group, PLC           7:21-cv-11756-MCR-GRJ
   1526      289694   Don Hollingsworth                       Alexander Law Group, PLC           7:21-cv-11757-MCR-GRJ
   1527      289695   Joseph Hooven                           Alexander Law Group, PLC           7:21-cv-11758-MCR-GRJ
   1528      289696   Terry Howard                            Alexander Law Group, PLC           7:21-cv-11759-MCR-GRJ
   1529      289697   Christopher Hudson                      Alexander Law Group, PLC           7:21-cv-11760-MCR-GRJ
   1530      289699   Leon Jablow                             Alexander Law Group, PLC                                      7:21-cv-11762-MCR-GRJ
   1531      289700   Joel Jimenez                            Alexander Law Group, PLC           7:21-cv-11763-MCR-GRJ
   1532      289702   Lyshane Kelly                           Alexander Law Group, PLC           7:21-cv-11765-MCR-GRJ
   1533      289703   Robyn King                              Alexander Law Group, PLC                                      7:21-cv-11766-MCR-GRJ




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   1534      289705   William Leyrer                          Alexander Law Group, PLC           7:21-cv-11768-MCR-GRJ
   1535      289706   Jermaine Little                         Alexander Law Group, PLC           7:21-cv-11769-MCR-GRJ
   1536      289707   Jared Loup                              Alexander Law Group, PLC           7:21-cv-11770-MCR-GRJ
   1537      289709   Bruce Lysdahl                           Alexander Law Group, PLC           7:21-cv-11772-MCR-GRJ
   1538      289710   Sharon Manning                          Alexander Law Group, PLC           7:21-cv-11773-MCR-GRJ
   1539      289711   Aaron Mazon                             Alexander Law Group, PLC                                      7:21-cv-11774-MCR-GRJ
   1540      289712   Neil Mckinney                           Alexander Law Group, PLC           7:21-cv-11775-MCR-GRJ
   1541      289715   Veronica Mederios                       Alexander Law Group, PLC           7:21-cv-11778-MCR-GRJ
   1542      289716   Se Mooney                               Alexander Law Group, PLC                                      7:21-cv-11779-MCR-GRJ
   1543      289717   David Morton                            Alexander Law Group, PLC           7:21-cv-11780-MCR-GRJ
   1544      289719   Nick Niedbalski                         Alexander Law Group, PLC           7:21-cv-11782-MCR-GRJ
   1545      289720   Riley O'Donnell                         Alexander Law Group, PLC                                      7:21-cv-11783-MCR-GRJ
   1546      289724   Kun Park                                Alexander Law Group, PLC           7:21-cv-11787-MCR-GRJ
   1547      289725   Larry Pate                              Alexander Law Group, PLC                                      7:21-cv-11788-MCR-GRJ
   1548      289726   Eric Patterson-Hamilton                 Alexander Law Group, PLC           7:21-cv-11789-MCR-GRJ
   1549      289730   Odis Porter                             Alexander Law Group, PLC           7:21-cv-11793-MCR-GRJ
   1550      289732   Ricardo Quiles                          Alexander Law Group, PLC           7:21-cv-11795-MCR-GRJ
   1551      289734   Ryan Reetz                              Alexander Law Group, PLC                                      7:21-cv-11797-MCR-GRJ
   1552      289736   Richard Rodriguez                       Alexander Law Group, PLC           7:21-cv-11799-MCR-GRJ
   1553      289737   Brian Roesch                            Alexander Law Group, PLC           7:21-cv-11800-MCR-GRJ
   1554      289738   Alexander Rojas                         Alexander Law Group, PLC           7:21-cv-11801-MCR-GRJ
   1555      289739   Jason Ropar                             Alexander Law Group, PLC                                      7:21-cv-11802-MCR-GRJ
   1556      289740   Michael Roshan                          Alexander Law Group, PLC                                      7:21-cv-11803-MCR-GRJ
   1557      289742   Michael Scahill                         Alexander Law Group, PLC           7:21-cv-11805-MCR-GRJ
   1558      289744   Jeffrey Scott                           Alexander Law Group, PLC           7:21-cv-11807-MCR-GRJ
   1559      289745   Narvis Shelton                          Alexander Law Group, PLC           7:21-cv-11808-MCR-GRJ
   1560      289747   Kevin Simpson                           Alexander Law Group, PLC                                      7:21-cv-11810-MCR-GRJ
   1561      289748   Mark Smith                              Alexander Law Group, PLC           7:21-cv-11811-MCR-GRJ
   1562      289750   Michael Spicer                          Alexander Law Group, PLC                                      7:21-cv-11813-MCR-GRJ
   1563      289751   Wayne St. Clair                         Alexander Law Group, PLC           7:21-cv-11980-MCR-GRJ
   1564      289752   Kevin Starkey                           Alexander Law Group, PLC           7:21-cv-11814-MCR-GRJ
   1565      289755   William Stoops                          Alexander Law Group, PLC           7:21-cv-11817-MCR-GRJ
   1566      289757   Kenneth Townsend                        Alexander Law Group, PLC           7:21-cv-11819-MCR-GRJ
   1567      289761   Juan Washington                         Alexander Law Group, PLC                                      7:21-cv-11823-MCR-GRJ
   1568      289762   Lashannon Webster                       Alexander Law Group, PLC                                      7:21-cv-11824-MCR-GRJ
   1569      289763   David Weidman                           Alexander Law Group, PLC           7:21-cv-11825-MCR-GRJ
   1570      289765   Terry Williams                          Alexander Law Group, PLC           7:21-cv-11827-MCR-GRJ
   1571      289766   Leroy Wilsey                            Alexander Law Group, PLC           7:21-cv-11828-MCR-GRJ
   1572      289767   Tony Womack                             Alexander Law Group, PLC           7:21-cv-11829-MCR-GRJ
   1573      289768   David Wood                              Alexander Law Group, PLC           7:21-cv-11830-MCR-GRJ
   1574      289771   Maojie Xia                              Alexander Law Group, PLC                                      7:21-cv-11833-MCR-GRJ
   1575      289772   Michael Zink                            Alexander Law Group, PLC           7:21-cv-11834-MCR-GRJ
   1576      305505   Joseph Abreu                            Alexander Law Group, PLC           7:21-cv-24574-MCR-GRJ
   1577      305508   Lynn Alberino                           Alexander Law Group, PLC           7:21-cv-24577-MCR-GRJ
   1578      305511   Mithal Alias                            Alexander Law Group, PLC           7:21-cv-24580-MCR-GRJ
   1579      305512   Marcus Allen                            Alexander Law Group, PLC           7:21-cv-24581-MCR-GRJ
   1580      305513   Christopher Allen                       Alexander Law Group, PLC           7:21-cv-24582-MCR-GRJ
   1581      305516   Gregory Alves                           Alexander Law Group, PLC           7:21-cv-24585-MCR-GRJ
   1582      305517   Tim Amerine                             Alexander Law Group, PLC                                      7:21-cv-24586-MCR-GRJ
   1583      305519   David Armstrong                         Alexander Law Group, PLC                                      7:21-cv-24588-MCR-GRJ
   1584      305520   Tequila Arnett                          Alexander Law Group, PLC           7:21-cv-24589-MCR-GRJ
   1585      305521   Clyde Arnold                            Alexander Law Group, PLC                                      7:21-cv-24590-MCR-GRJ
   1586      305522   Daniel Arredondo                        Alexander Law Group, PLC           7:21-cv-24591-MCR-GRJ
   1587      305523   Sidney Askeland                         Alexander Law Group, PLC                                      7:21-cv-24592-MCR-GRJ
   1588      305524   Yu Bai                                  Alexander Law Group, PLC           7:21-cv-24593-MCR-GRJ
   1589      305525   Thomas Banasik                          Alexander Law Group, PLC           7:21-cv-24594-MCR-GRJ
   1590      305526   Douglas Barbee                          Alexander Law Group, PLC           7:21-cv-24595-MCR-GRJ
   1591      305527   Daniel Barker                           Alexander Law Group, PLC                                      7:21-cv-24596-MCR-GRJ
   1592      305529   Terry Barrington                        Alexander Law Group, PLC                                      7:21-cv-24598-MCR-GRJ
   1593      305535   Johnpaul Billi                          Alexander Law Group, PLC           7:21-cv-24604-MCR-GRJ
   1594      305537   James Blashford                         Alexander Law Group, PLC           7:21-cv-24606-MCR-GRJ
   1595      305540   Charles Booska                          Alexander Law Group, PLC           7:21-cv-24609-MCR-GRJ
   1596      305541   Glinda Bowles                           Alexander Law Group, PLC           7:21-cv-24610-MCR-GRJ
   1597      305542   Sean Brandt                             Alexander Law Group, PLC           7:21-cv-24611-MCR-GRJ
   1598      305543   Richard Bright                          Alexander Law Group, PLC                                      7:21-cv-24612-MCR-GRJ
   1599      305544   John Brittingham                        Alexander Law Group, PLC           7:21-cv-24613-MCR-GRJ
   1600      305546   Mcclinton Brown                         Alexander Law Group, PLC           7:21-cv-24615-MCR-GRJ
   1601      305549   Carlos Burguez                          Alexander Law Group, PLC                                      7:21-cv-24618-MCR-GRJ
   1602      305550   Jamal Byrd                              Alexander Law Group, PLC           7:21-cv-24619-MCR-GRJ
   1603      305552   Nituth Caissey                          Alexander Law Group, PLC           7:21-cv-24621-MCR-GRJ
   1604      305553   Justin Cannon                           Alexander Law Group, PLC           7:21-cv-24622-MCR-GRJ
   1605      305555   Richard Carlson                         Alexander Law Group, PLC           7:21-cv-24624-MCR-GRJ
   1606      305556   Daniel Carvainis                        Alexander Law Group, PLC           7:21-cv-24625-MCR-GRJ




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   1607      305557   Christopher Castellanos                 Alexander Law Group, PLC           7:21-cv-24626-MCR-GRJ
   1608      305558   Julio Castro                            Alexander Law Group, PLC           7:21-cv-24627-MCR-GRJ
   1609      305559   Corey Catale                            Alexander Law Group, PLC           7:21-cv-24628-MCR-GRJ
   1610      305560   Richard Catoe                           Alexander Law Group, PLC           7:21-cv-24629-MCR-GRJ
   1611      305561   Ricardo Cepeda                          Alexander Law Group, PLC           7:21-cv-24630-MCR-GRJ
   1612      305563   Marshall Chiles                         Alexander Law Group, PLC           7:21-cv-24632-MCR-GRJ
   1613      305564   Edward Chitwood                         Alexander Law Group, PLC           7:21-cv-24633-MCR-GRJ
   1614      305565   Nathan Christian                        Alexander Law Group, PLC                                      7:21-cv-24634-MCR-GRJ
   1615      305566   Travaris Chunn                          Alexander Law Group, PLC           7:21-cv-24635-MCR-GRJ
   1616      305568   David Clark                             Alexander Law Group, PLC                                      7:21-cv-24637-MCR-GRJ
   1617      305569   Kwami Cledoe                            Alexander Law Group, PLC                                      7:21-cv-24638-MCR-GRJ
   1618      305570   Benjamin Closs                          Alexander Law Group, PLC           7:21-cv-24639-MCR-GRJ
   1619      305572   Dustin Collins                          Alexander Law Group, PLC           7:21-cv-24641-MCR-GRJ
   1620      305574   Charles Colston                         Alexander Law Group, PLC                                      7:21-cv-24643-MCR-GRJ
   1621      305575   Joseph Colwell                          Alexander Law Group, PLC           7:21-cv-24644-MCR-GRJ
   1622      305576   Nate Conley                             Alexander Law Group, PLC                                      7:21-cv-24645-MCR-GRJ
   1623      305577   Jason Conley                            Alexander Law Group, PLC           7:21-cv-24646-MCR-GRJ
   1624      305578   Vanessa Cordero                         Alexander Law Group, PLC                                      7:21-cv-24647-MCR-GRJ
   1625      305579   Steven Cornelius                        Alexander Law Group, PLC                                      7:21-cv-24648-MCR-GRJ
   1626      305581   Boutaina Couissi                        Alexander Law Group, PLC           7:21-cv-24650-MCR-GRJ
   1627      305585   Korey Current                           Alexander Law Group, PLC                                      7:21-cv-24654-MCR-GRJ
   1628      305586   Lovel Daniels                           Alexander Law Group, PLC           7:21-cv-24655-MCR-GRJ
   1629      305587   Mikael Daugherty                        Alexander Law Group, PLC           7:21-cv-24656-MCR-GRJ
   1630      305589   Kavir Dawani                            Alexander Law Group, PLC           7:21-cv-24658-MCR-GRJ
   1631      305590   Roger De Guimera                        Alexander Law Group, PLC           7:21-cv-24659-MCR-GRJ
   1632      305591   Arnold Dechene                          Alexander Law Group, PLC                                      7:21-cv-24660-MCR-GRJ
   1633      305592   Carl Deese                              Alexander Law Group, PLC           7:21-cv-24661-MCR-GRJ
   1634      305593   Douglas Deevers                         Alexander Law Group, PLC           7:21-cv-24662-MCR-GRJ
   1635      305594   Jennifer Demelo                         Alexander Law Group, PLC                                      7:21-cv-24663-MCR-GRJ
   1636      305595   Amanda Dietrich                         Alexander Law Group, PLC                                      7:21-cv-24664-MCR-GRJ
   1637      305597   Eric Dober                              Alexander Law Group, PLC                                      7:21-cv-24666-MCR-GRJ
   1638      305598   Patrick Donohue                         Alexander Law Group, PLC           7:21-cv-24667-MCR-GRJ
   1639      305599   Todd Dorenkamp                          Alexander Law Group, PLC           7:21-cv-24668-MCR-GRJ
   1640      305600   Tim Dorion                              Alexander Law Group, PLC           7:21-cv-24669-MCR-GRJ
   1641      305601   Kraig Doyle                             Alexander Law Group, PLC           7:21-cv-24670-MCR-GRJ
   1642      305602   Edgar Duhaylungsod                      Alexander Law Group, PLC           7:21-cv-24671-MCR-GRJ
   1643      305603   Steven Dunn                             Alexander Law Group, PLC           7:21-cv-24672-MCR-GRJ
   1644      305604   Richard Duplechin                       Alexander Law Group, PLC                                      7:21-cv-24673-MCR-GRJ
   1645      305605   Louis Durante                           Alexander Law Group, PLC           7:21-cv-24674-MCR-GRJ
   1646      305606   Charles Eady                            Alexander Law Group, PLC           7:21-cv-24675-MCR-GRJ
   1647      305607   Keith Eisenberger                       Alexander Law Group, PLC                                      7:21-cv-24676-MCR-GRJ
   1648      305608   Dominic Eison                           Alexander Law Group, PLC           7:21-cv-24677-MCR-GRJ
   1649      305609   Louis Elchuck                           Alexander Law Group, PLC                                      7:21-cv-24678-MCR-GRJ
   1650      305610   Francisco Enriguez                      Alexander Law Group, PLC                                      7:21-cv-24679-MCR-GRJ
   1651      305612   Bernard Erickson                        Alexander Law Group, PLC           7:21-cv-24681-MCR-GRJ
   1652      305613   Eric Exner                              Alexander Law Group, PLC                                      7:21-cv-24682-MCR-GRJ
   1653      305614   Jerry Farnsworth                        Alexander Law Group, PLC           7:21-cv-24683-MCR-GRJ
   1654      305618   Manolo Fernandez                        Alexander Law Group, PLC           7:21-cv-24687-MCR-GRJ
   1655      305619   Daniel Fierro                           Alexander Law Group, PLC           7:21-cv-24688-MCR-GRJ
   1656      305620   Alexander Figueroa                      Alexander Law Group, PLC                                      7:21-cv-24689-MCR-GRJ
   1657      305621   Marcos Figueroa                         Alexander Law Group, PLC           7:21-cv-24690-MCR-GRJ
   1658      305623   Eric Fisher                             Alexander Law Group, PLC           7:21-cv-24692-MCR-GRJ
   1659      305625   Ethan Forsythe                          Alexander Law Group, PLC                                      7:21-cv-24694-MCR-GRJ
   1660      305626   W Frank                                 Alexander Law Group, PLC           7:21-cv-24695-MCR-GRJ
   1661      305627   Philip Fredenburg                       Alexander Law Group, PLC                                      7:21-cv-24696-MCR-GRJ
   1662      305630   Jachim Fuimaono                         Alexander Law Group, PLC                                      7:21-cv-24699-MCR-GRJ
   1663      305631   Juan Gabriel                            Alexander Law Group, PLC           7:21-cv-24700-MCR-GRJ
   1664      305632   Tony Gamble                             Alexander Law Group, PLC           7:21-cv-24701-MCR-GRJ
   1665      305635   Theophilus Glover                       Alexander Law Group, PLC                                      7:21-cv-24704-MCR-GRJ
   1666      305636   Jamesetta Godette                       Alexander Law Group, PLC           7:21-cv-24705-MCR-GRJ
   1667      305637   Aaron Goltermann                        Alexander Law Group, PLC                                      7:21-cv-24706-MCR-GRJ
   1668      305639   Gary Gordon                             Alexander Law Group, PLC                                      7:21-cv-24708-MCR-GRJ
   1669      305641   James Hale                              Alexander Law Group, PLC           7:21-cv-24710-MCR-GRJ
   1670      305642   Karl Hall                               Alexander Law Group, PLC                                      7:21-cv-24711-MCR-GRJ
   1671      305643   Edward Hall                             Alexander Law Group, PLC           7:21-cv-24712-MCR-GRJ
   1672      305645   Ken Harnos                              Alexander Law Group, PLC           7:21-cv-24714-MCR-GRJ
   1673      305646   Ansar Haroun                            Alexander Law Group, PLC           7:21-cv-24715-MCR-GRJ
   1674      305650   Mark Hasch                              Alexander Law Group, PLC           7:21-cv-24719-MCR-GRJ
   1675      305651   Leland Hatfield                         Alexander Law Group, PLC                                      7:21-cv-24720-MCR-GRJ
   1676      305652   Heidi Hathaway                          Alexander Law Group, PLC           7:21-cv-24721-MCR-GRJ
   1677      305653   Brian Hawkins                           Alexander Law Group, PLC           7:21-cv-24722-MCR-GRJ
   1678      305654   Gregory Heath                           Alexander Law Group, PLC                                      7:21-cv-24723-MCR-GRJ
   1679      305655   Hector Herrera                          Alexander Law Group, PLC           7:21-cv-24724-MCR-GRJ




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   1680      305656   Paul Herrera                            Alexander Law Group, PLC           7:21-cv-24725-MCR-GRJ
   1681      305657   Bernard Hettinger                       Alexander Law Group, PLC           7:21-cv-24726-MCR-GRJ
   1682      305658   Erin Hicks                              Alexander Law Group, PLC           7:21-cv-24727-MCR-GRJ
   1683      305659   Adam Hill                               Alexander Law Group, PLC           7:21-cv-24728-MCR-GRJ
   1684      305662   Robert Hill                             Alexander Law Group, PLC           7:21-cv-24731-MCR-GRJ
   1685      305664   James Hite                              Alexander Law Group, PLC           7:21-cv-24733-MCR-GRJ
   1686      305665   Manisha Holley                          Alexander Law Group, PLC           7:21-cv-24734-MCR-GRJ
   1687      305668   Michael Houk                            Alexander Law Group, PLC                                      7:21-cv-24737-MCR-GRJ
   1688      305669   Thomas Hurley                           Alexander Law Group, PLC           7:21-cv-24738-MCR-GRJ
   1689      305672   Ryan Jack                               Alexander Law Group, PLC           7:21-cv-24741-MCR-GRJ
   1690      305673   James Jackson                           Alexander Law Group, PLC           7:21-cv-24742-MCR-GRJ
   1691      305675   Franklin Jenkins                        Alexander Law Group, PLC           7:21-cv-24744-MCR-GRJ
   1692      305676   David Jensen                            Alexander Law Group, PLC                                      7:21-cv-24745-MCR-GRJ
   1693      305677   Cory Jensen                             Alexander Law Group, PLC           7:21-cv-24746-MCR-GRJ
   1694      305680   Josephine Johnson                       Alexander Law Group, PLC           7:21-cv-24749-MCR-GRJ
   1695      305681   Othella Johnson                         Alexander Law Group, PLC                                      7:21-cv-24750-MCR-GRJ
   1696      305683   Edward Jones                            Alexander Law Group, PLC           7:21-cv-24752-MCR-GRJ
   1697      305685   Protranna Jones                         Alexander Law Group, PLC                                      7:21-cv-24754-MCR-GRJ
   1698      305686   D'Ayana Jones                           Alexander Law Group, PLC           7:21-cv-24755-MCR-GRJ
   1699      305690   Fleury Keigni Di Satchou                Alexander Law Group, PLC           7:21-cv-24759-MCR-GRJ
   1700      305693   Casey Kingham                           Alexander Law Group, PLC                                      7:21-cv-24762-MCR-GRJ
   1701      305696   Karl Koebrick                           Alexander Law Group, PLC           7:21-cv-24765-MCR-GRJ
   1702      305697   David Kozick                            Alexander Law Group, PLC                                      7:21-cv-24766-MCR-GRJ
   1703      305704   Jason Leyk                              Alexander Law Group, PLC           7:21-cv-24773-MCR-GRJ
   1704      305706   Mosey Linton                            Alexander Law Group, PLC           7:21-cv-24775-MCR-GRJ
   1705      305707   Phillip Lipke                           Alexander Law Group, PLC                                      7:21-cv-24776-MCR-GRJ
   1706      305709   Carla Lofton                            Alexander Law Group, PLC           7:21-cv-24778-MCR-GRJ
   1707      305710   Kevin Loney                             Alexander Law Group, PLC           7:21-cv-24779-MCR-GRJ
   1708      305712   Brandon Lowe                            Alexander Law Group, PLC           7:21-cv-24781-MCR-GRJ
   1709      305713   Jenie Lowe                              Alexander Law Group, PLC           7:21-cv-24782-MCR-GRJ
   1710      305715   Karl Mackay                             Alexander Law Group, PLC           7:21-cv-24784-MCR-GRJ
   1711      305717   Zeferino Madrigal                       Alexander Law Group, PLC           7:21-cv-24786-MCR-GRJ
   1712      305718   Daniel Mahoney                          Alexander Law Group, PLC           7:21-cv-24787-MCR-GRJ
   1713      305719   Thomas Maksimik                         Alexander Law Group, PLC           7:21-cv-24788-MCR-GRJ
   1714      305720   Crystal Manning                         Alexander Law Group, PLC           7:21-cv-24789-MCR-GRJ
   1715      305721   Ritchie Marquez                         Alexander Law Group, PLC           7:21-cv-24790-MCR-GRJ
   1716      305722   Ryan Martin                             Alexander Law Group, PLC                                      7:21-cv-24791-MCR-GRJ
   1717      305723   Timothy Martin                          Alexander Law Group, PLC           7:21-cv-24792-MCR-GRJ
   1718      305725   Dwain Masek                             Alexander Law Group, PLC                                      7:21-cv-24794-MCR-GRJ
   1719      305726   Donald Maul                             Alexander Law Group, PLC           7:21-cv-24795-MCR-GRJ
   1720      305727   Lakein Mayfield                         Alexander Law Group, PLC           7:21-cv-24796-MCR-GRJ
   1721      305728   Anya Mayo                               Alexander Law Group, PLC           7:21-cv-24797-MCR-GRJ
   1722      305729   Blake Mcaleavey                         Alexander Law Group, PLC           7:21-cv-24798-MCR-GRJ
   1723      305730   Patrick Mccary                          Alexander Law Group, PLC                                      7:21-cv-24799-MCR-GRJ
   1724      305731   James Mccollem                          Alexander Law Group, PLC           7:21-cv-24800-MCR-GRJ
   1725      305732   Patrick Mccrady                         Alexander Law Group, PLC                                      7:21-cv-24801-MCR-GRJ
   1726      305733   Bernard Mcdonald                        Alexander Law Group, PLC           7:21-cv-24802-MCR-GRJ
   1727      305734   Stephen Mcdonald                        Alexander Law Group, PLC           7:21-cv-24803-MCR-GRJ
   1728      305735   Krisinda Mczeal                         Alexander Law Group, PLC                                      7:21-cv-24804-MCR-GRJ
   1729      305737   Patrick Melvin                          Alexander Law Group, PLC                                      7:21-cv-24806-MCR-GRJ
   1730      305739   Gregory Mertzig                         Alexander Law Group, PLC           7:21-cv-24808-MCR-GRJ
   1731      305741   Jose Milan                              Alexander Law Group, PLC                                      7:21-cv-24810-MCR-GRJ
   1732      305742   Leon Miles                              Alexander Law Group, PLC           7:21-cv-24811-MCR-GRJ
   1733      305743   Brian Miller                            Alexander Law Group, PLC           7:21-cv-24812-MCR-GRJ
   1734      305747   Paul Montgomery                         Alexander Law Group, PLC           7:21-cv-24816-MCR-GRJ
   1735      305748   Gerald Montgomery                       Alexander Law Group, PLC           7:21-cv-24817-MCR-GRJ
   1736      305750   Isaac Moses                             Alexander Law Group, PLC           7:21-cv-24819-MCR-GRJ
   1737      305754   Augusta Nathaniel                       Alexander Law Group, PLC           7:21-cv-24823-MCR-GRJ
   1738      305755   Ismael Nicaragua                        Alexander Law Group, PLC           7:21-cv-24824-MCR-GRJ
   1739      305756   Sterling Nielsen                        Alexander Law Group, PLC           7:21-cv-24825-MCR-GRJ
   1740      305757   Kendall Nixon                           Alexander Law Group, PLC           7:21-cv-24826-MCR-GRJ
   1741      305758   Clance Noble                            Alexander Law Group, PLC                                      7:21-cv-24827-MCR-GRJ
   1742      305759   Inez Nowlan                             Alexander Law Group, PLC                                      7:21-cv-24828-MCR-GRJ
   1743      305762   Jason Ohanian                           Alexander Law Group, PLC                                      7:21-cv-24830-MCR-GRJ
   1744      305763   Tarin Ohara                             Alexander Law Group, PLC           7:21-cv-24831-MCR-GRJ
   1745      305765   Vilma Oquendo Rodriguez                 Alexander Law Group, PLC           7:21-cv-24833-MCR-GRJ
   1746      305766   Robert Orton                            Alexander Law Group, PLC           7:21-cv-24834-MCR-GRJ
   1747      305767   Kenneth Parker                          Alexander Law Group, PLC           7:21-cv-24835-MCR-GRJ
   1748      305768   Andrew Parsons                          Alexander Law Group, PLC                                      7:21-cv-24836-MCR-GRJ
   1749      305769   Stephen Patrick                         Alexander Law Group, PLC           7:21-cv-24837-MCR-GRJ
   1750      305770   Gregory Patton                          Alexander Law Group, PLC           7:21-cv-24838-MCR-GRJ
   1751      305771   Jonathan Pelletier                      Alexander Law Group, PLC           7:21-cv-24839-MCR-GRJ
   1752      305772   Ivan Perez                              Alexander Law Group, PLC           7:21-cv-24840-MCR-GRJ




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   1753      305774   Tanner Peters                           Alexander Law Group, PLC           7:21-cv-24842-MCR-GRJ
   1754      305777   Juan Pouscordero                        Alexander Law Group, PLC                                      7:21-cv-24845-MCR-GRJ
   1755      305778   Dale Powell                             Alexander Law Group, PLC           7:21-cv-24846-MCR-GRJ
   1756      305779   Tyrone Powell                           Alexander Law Group, PLC                                      7:21-cv-24847-MCR-GRJ
   1757      305780   William Power                           Alexander Law Group, PLC           7:21-cv-24848-MCR-GRJ
   1758      305781   Derrick Prosise                         Alexander Law Group, PLC           7:21-cv-24849-MCR-GRJ
   1759      305782   Rolando Quezada                         Alexander Law Group, PLC           7:21-cv-24850-MCR-GRJ
   1760      305783   Vaughn Rains                            Alexander Law Group, PLC           7:21-cv-24851-MCR-GRJ
   1761      305784   Chandu Ram                              Alexander Law Group, PLC           7:21-cv-24852-MCR-GRJ
   1762      305785   Dagoberto Ramirez                       Alexander Law Group, PLC           7:21-cv-24853-MCR-GRJ
   1763      305786   Scott Rego                              Alexander Law Group, PLC           7:21-cv-24854-MCR-GRJ
   1764      305788   Dale Retlick                            Alexander Law Group, PLC           7:21-cv-24856-MCR-GRJ
   1765      305789   Shawn Reynolds                          Alexander Law Group, PLC                                      7:21-cv-24857-MCR-GRJ
   1766      305792   David Rife                              Alexander Law Group, PLC           7:21-cv-24860-MCR-GRJ
   1767      305795   Bernard Robinson                        Alexander Law Group, PLC                                      7:21-cv-24863-MCR-GRJ
   1768      305798   Manuel Rosales                          Alexander Law Group, PLC                                      7:21-cv-24866-MCR-GRJ
   1769      305799   Antonio Rosure                          Alexander Law Group, PLC           7:21-cv-24867-MCR-GRJ
   1770      305800   Jennings Rozzell                        Alexander Law Group, PLC                                      7:21-cv-24868-MCR-GRJ
   1771      305802   Jacob Salcido                           Alexander Law Group, PLC           7:21-cv-24870-MCR-GRJ
   1772      305803   Guerlin Saturne                         Alexander Law Group, PLC                                      7:21-cv-24871-MCR-GRJ
   1773      305804   Sean Scott                              Alexander Law Group, PLC           7:21-cv-24872-MCR-GRJ
   1774      305805   Albert Sedillo                          Alexander Law Group, PLC           7:21-cv-24873-MCR-GRJ
   1775      305807   Daniel Seleb                            Alexander Law Group, PLC                                      7:21-cv-24875-MCR-GRJ
   1776      305809   Joshua Shankus                          Alexander Law Group, PLC           7:21-cv-24877-MCR-GRJ
   1777      305810   Courtney Shepherd                       Alexander Law Group, PLC           7:21-cv-24878-MCR-GRJ
   1778      305811   Richard Shirley                         Alexander Law Group, PLC           7:21-cv-24879-MCR-GRJ
   1779      305813   Shaun Slattery                          Alexander Law Group, PLC                                      7:21-cv-24881-MCR-GRJ
   1780      305815   Darrian Smith                           Alexander Law Group, PLC           7:21-cv-24883-MCR-GRJ
   1781      305816   Tonya Smith                             Alexander Law Group, PLC           7:21-cv-24884-MCR-GRJ
   1782      305818   Karen Spencer                           Alexander Law Group, PLC           7:21-cv-24886-MCR-GRJ
   1783      305819   James Spriggs                           Alexander Law Group, PLC                                      7:21-cv-24887-MCR-GRJ
   1784      305825   Tamela Thompson                         Alexander Law Group, PLC           7:21-cv-24893-MCR-GRJ
   1785      305828   Robert Tokerud                          Alexander Law Group, PLC           7:21-cv-24896-MCR-GRJ
   1786      305829   Joe Trevino                             Alexander Law Group, PLC           7:21-cv-24897-MCR-GRJ
   1787      305830   Ricky Trice                             Alexander Law Group, PLC           7:21-cv-24898-MCR-GRJ
   1788      305832   Zachary Turner                          Alexander Law Group, PLC           7:21-cv-24900-MCR-GRJ
   1789      305833   Gary Umphress                           Alexander Law Group, PLC           7:21-cv-24901-MCR-GRJ
   1790      305834   Jonathan Valentine                      Alexander Law Group, PLC           7:21-cv-24902-MCR-GRJ
   1791      305835   Sean Veerapen                           Alexander Law Group, PLC           7:21-cv-24903-MCR-GRJ
   1792      305836   Lorenzo Velasquez                       Alexander Law Group, PLC           7:21-cv-24904-MCR-GRJ
   1793      305838   Sean Walling                            Alexander Law Group, PLC           7:21-cv-24906-MCR-GRJ
   1794      305839   Jeffrey Walters                         Alexander Law Group, PLC           7:21-cv-24907-MCR-GRJ
   1795      305841   Robert Weldon                           Alexander Law Group, PLC                                      7:21-cv-24909-MCR-GRJ
   1796      305842   Steven Werley                           Alexander Law Group, PLC                                      7:21-cv-24910-MCR-GRJ
   1797      305843   Michael West                            Alexander Law Group, PLC           7:21-cv-24911-MCR-GRJ
   1798      305844   Brian Westfall                          Alexander Law Group, PLC                                      7:21-cv-24912-MCR-GRJ
   1799      305845   Tommy Whisenant                         Alexander Law Group, PLC           7:21-cv-24913-MCR-GRJ
   1800      305846   Zeb Williams                            Alexander Law Group, PLC                                      7:21-cv-24914-MCR-GRJ
   1801      305847   Andrea Williams                         Alexander Law Group, PLC           7:21-cv-24915-MCR-GRJ
   1802      305848   John Williams                           Alexander Law Group, PLC           7:21-cv-24916-MCR-GRJ
   1803      305849   Joshua Wilson                           Alexander Law Group, PLC                                      7:21-cv-24917-MCR-GRJ
   1804      305853   Jorge Yanez                             Alexander Law Group, PLC           7:21-cv-24921-MCR-GRJ
   1805      305856   Robert Young                            Alexander Law Group, PLC                                      7:21-cv-24924-MCR-GRJ
   1806      305858   Wenjun Zhang                            Alexander Law Group, PLC                                      7:21-cv-24926-MCR-GRJ
   1807      318530   Muhammad Aadam                          Alexander Law Group, PLC           7:21-cv-42470-MCR-GRJ
   1808      318531   Felix Acevado                           Alexander Law Group, PLC           7:21-cv-42471-MCR-GRJ
   1809      318532   Ronald Acosta                           Alexander Law Group, PLC                                      7:21-cv-42472-MCR-GRJ
   1810      318535   Sabrina Baker                           Alexander Law Group, PLC           7:21-cv-42475-MCR-GRJ
   1811      318536   Adam Baker                              Alexander Law Group, PLC           7:21-cv-42476-MCR-GRJ
   1812      318540   Lataurus Bass                           Alexander Law Group, PLC           7:21-cv-42480-MCR-GRJ
   1813      318544   William Benline                         Alexander Law Group, PLC           7:21-cv-42484-MCR-GRJ
   1814      318545   James Berger                            Alexander Law Group, PLC           7:21-cv-42485-MCR-GRJ
   1815      318547   Joe Bess                                Alexander Law Group, PLC           7:21-cv-42487-MCR-GRJ
   1816      318552   Alan Brown                              Alexander Law Group, PLC           7:21-cv-42492-MCR-GRJ
   1817      318553   David Brown                             Alexander Law Group, PLC                                      7:21-cv-42493-MCR-GRJ
   1818      318554   Benjamin Brumfield                      Alexander Law Group, PLC           7:21-cv-42494-MCR-GRJ
   1819      318555   David Bugni                             Alexander Law Group, PLC           7:21-cv-42495-MCR-GRJ
   1820      318556   Alexander Burgess                       Alexander Law Group, PLC           7:21-cv-42496-MCR-GRJ
   1821      318558   Samuel Burnette                         Alexander Law Group, PLC           7:21-cv-42498-MCR-GRJ
   1822      318559   Garrett Call                            Alexander Law Group, PLC           7:21-cv-42499-MCR-GRJ
   1823      318561   Franchot Campbell                       Alexander Law Group, PLC                                      7:21-cv-42501-MCR-GRJ
   1824      318562   Joshua Cao                              Alexander Law Group, PLC           7:21-cv-42502-MCR-GRJ
   1825      318563   Kenneth Carmon                          Alexander Law Group, PLC           7:21-cv-42503-MCR-GRJ




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   1826      318565   Daniel Catuto                           Alexander Law Group, PLC                                       7:21-cv-42505-MCR-GRJ
   1827      318566   Robert Cleveland                        Alexander Law Group, PLC            7:21-cv-42506-MCR-GRJ
   1828      318567   Joseph Collaro                          Alexander Law Group, PLC                                       7:21-cv-42507-MCR-GRJ
   1829      318568   April Critelli                          Alexander Law Group, PLC            7:21-cv-42508-MCR-GRJ
   1830      318571   Benjamin Dallas                         Alexander Law Group, PLC            7:21-cv-42511-MCR-GRJ
   1831      318574   Zevadiah Dodge                          Alexander Law Group, PLC            7:21-cv-42514-MCR-GRJ
   1832      318576   Adam Douglas                            Alexander Law Group, PLC            7:21-cv-42516-MCR-GRJ
   1833      318577   Jonelle Dunn                            Alexander Law Group, PLC                                       7:21-cv-42517-MCR-GRJ
   1834      318579   Katsu Durst                             Alexander Law Group, PLC            7:21-cv-42519-MCR-GRJ
   1835      318581   Alexander Forti                         Alexander Law Group, PLC            7:21-cv-42521-MCR-GRJ
   1836      318582   Christina Fowler                        Alexander Law Group, PLC            7:21-cv-42522-MCR-GRJ
   1837      318584   Luc Francois                            Alexander Law Group, PLC            7:21-cv-42524-MCR-GRJ
   1838      318585   Edward Franklin                         Alexander Law Group, PLC                                       7:21-cv-42525-MCR-GRJ
   1839      318586   Morgan Frier                            Alexander Law Group, PLC                                       7:21-cv-42526-MCR-GRJ
   1840      318588   Evelena Goudeau                         Alexander Law Group, PLC            7:21-cv-42528-MCR-GRJ
   1841      318589   Benjamin Greene                         Alexander Law Group, PLC            7:21-cv-42529-MCR-GRJ
   1842      318591   Karl Griffin                            Alexander Law Group, PLC            7:21-cv-42531-MCR-GRJ
   1843      318592   Christina Hagerman                      Alexander Law Group, PLC            7:21-cv-42532-MCR-GRJ
   1844      318593   Richard Ham                             Alexander Law Group, PLC            7:21-cv-42533-MCR-GRJ
   1845      318594   Lloyd Hardick                           Alexander Law Group, PLC            7:21-cv-42534-MCR-GRJ
   1846      318595   Charles Heflin                          Alexander Law Group, PLC                                       7:21-cv-42535-MCR-GRJ
   1847      318599   Charles Hill                            Alexander Law Group, PLC            7:21-cv-42539-MCR-GRJ
   1848      318600   Dwayne Houston                          Alexander Law Group, PLC            7:21-cv-42540-MCR-GRJ
   1849      318603   Quashawnda Ivey                         Alexander Law Group, PLC            7:21-cv-42543-MCR-GRJ
   1850      318604   Luther Jackson                          Alexander Law Group, PLC                                       7:21-cv-42544-MCR-GRJ
   1851      318605   Michael Johnson                         Alexander Law Group, PLC            7:21-cv-42545-MCR-GRJ
   1852      318607   Nicholas Laccabue                       Alexander Law Group, PLC            7:21-cv-42547-MCR-GRJ
   1853      318609   Brighan Madriz                          Alexander Law Group, PLC            7:21-cv-42549-MCR-GRJ
   1854      318610   Russell Malone                          Alexander Law Group, PLC                                       7:21-cv-42550-MCR-GRJ
   1855      318611   Robert Mareda                           Alexander Law Group, PLC            7:21-cv-42551-MCR-GRJ
   1856      318618   Michael O'Leary                         Alexander Law Group, PLC            7:21-cv-42558-MCR-GRJ
   1857      318619   Luis Ortiz                              Alexander Law Group, PLC            7:21-cv-42559-MCR-GRJ
   1858      318620   Justin Owens                            Alexander Law Group, PLC            7:21-cv-42560-MCR-GRJ
   1859      318621   Joseph Parker                           Alexander Law Group, PLC            7:21-cv-42561-MCR-GRJ
   1860      318623   Apryl Perkins                           Alexander Law Group, PLC                                       7:21-cv-42563-MCR-GRJ
   1861      318624   Erik Pinos                              Alexander Law Group, PLC            7:21-cv-42564-MCR-GRJ
   1862      318625   Brandon Price                           Alexander Law Group, PLC            7:21-cv-42565-MCR-GRJ
   1863      318626   Yan Protsyuk                            Alexander Law Group, PLC            7:21-cv-42566-MCR-GRJ
   1864      318629   Gregory Roddy                           Alexander Law Group, PLC            7:21-cv-42569-MCR-GRJ
   1865      318630   Julio Rodriguez                         Alexander Law Group, PLC                                       7:21-cv-42570-MCR-GRJ
   1866      318631   Migel Romero                            Alexander Law Group, PLC            7:21-cv-42571-MCR-GRJ
   1867      318632   Phillip Rucks                           Alexander Law Group, PLC            7:21-cv-42572-MCR-GRJ
   1868      318633   Paul Sayah                              Alexander Law Group, PLC                                       7:21-cv-42573-MCR-GRJ
   1869      318634   David Sayles                            Alexander Law Group, PLC            7:21-cv-42574-MCR-GRJ
   1870      318635   Keidrick Scott                          Alexander Law Group, PLC                                       7:21-cv-42575-MCR-GRJ
   1871      318636   David Shepherd                          Alexander Law Group, PLC                                       7:21-cv-42576-MCR-GRJ
   1872      318638   Robert Sherrill                         Alexander Law Group, PLC            7:21-cv-42578-MCR-GRJ
   1873      318641   Jerod Spikes                            Alexander Law Group, PLC            7:21-cv-42581-MCR-GRJ
   1874      318643   Yvonne Stone                            Alexander Law Group, PLC            7:21-cv-42583-MCR-GRJ
   1875      318644   Ramon Stripling                         Alexander Law Group, PLC            7:21-cv-42584-MCR-GRJ
   1876      318646   Stephanie Tatum                         Alexander Law Group, PLC            7:21-cv-42586-MCR-GRJ
   1877      318647   Felipe Tellez                           Alexander Law Group, PLC            7:21-cv-42587-MCR-GRJ
   1878      318648   Teon Thomas                             Alexander Law Group, PLC            7:21-cv-42588-MCR-GRJ
   1879      318651   Adrianna Torrez                         Alexander Law Group, PLC            7:21-cv-42591-MCR-GRJ
   1880      318654   Brian Velez                             Alexander Law Group, PLC            7:21-cv-42594-MCR-GRJ
   1881      318661   Stan Wilson                             Alexander Law Group, PLC            7:21-cv-42601-MCR-GRJ
   1882      318662   Sean Wolff                              Alexander Law Group, PLC            7:21-cv-42602-MCR-GRJ
   1883      318663   Ross Wright                             Alexander Law Group, PLC            7:21-cv-42603-MCR-GRJ
   1884      345519   Tanner Peters                           Alexander Law Group, PLC            7:21-cv-64097-MCR-GRJ
   1885      345655   Faitotoatasi Togafau                    Alexander Law Group, PLC            7:21-cv-64233-MCR-GRJ
   1886      49887    Terry Murray                            Allan Berger & Associates                                      7:20-cv-04971-MCR-GRJ
   1887      49892    Rickie Jackson                          Allan Berger & Associates                                      7:20-cv-04975-MCR-GRJ
   1888      49893    Christopher Twitty                      Allan Berger & Associates           7:20-cv-04976-MCR-GRJ
   1889      49905    John Shetron                            Allan Berger & Associates                                      7:20-cv-04986-MCR-GRJ
   1890      49908    William Beldock                         Allan Berger & Associates                                      7:20-cv-04989-MCR-GRJ
   1891      49920    Cody Pendergrass                        Allan Berger & Associates                                      7:20-cv-05000-MCR-GRJ
   1892      49921    Micah Yeackley                          Allan Berger & Associates                                      7:20-cv-05001-MCR-GRJ
   1893      49932    Thaddeus Frederick                      Allan Berger & Associates                                      7:20-cv-05017-MCR-GRJ
   1894      49933    Derrick Stockman                        Allan Berger & Associates           7:20-cv-05019-MCR-GRJ
   1895      49939    Jeries Helo                             Allan Berger & Associates           7:20-cv-05027-MCR-GRJ
   1896      49942    Bradley Passehl                         Allan Berger & Associates           7:20-cv-05031-MCR-GRJ
   1897      49944    Darcellus Robinson                      Allan Berger & Associates                                      7:20-cv-05034-MCR-GRJ
   1898      174366   Christopher Gonzalez                    Allan Berger & Associates                                      7:20-cv-39531-MCR-GRJ




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   1899      65962    Thomas Fledderjohn                      Allen & Nolte, PLLC                                      8:20-cv-21784-MCR-GRJ
   1900      66025    Scott Hillier                           Allen & Nolte, PLLC           8:20-cv-21837-MCR-GRJ
   1901      66058    Jesse Ostrander                         Allen & Nolte, PLLC                                      8:20-cv-21929-MCR-GRJ
   1902      66083    Gary Stone                              Allen & Nolte, PLLC                                      8:20-cv-21994-MCR-GRJ
   1903      66093    Joanne Williams-Watkins                 Allen & Nolte, PLLC                                      8:20-cv-22016-MCR-GRJ
   1904      147903   Gabriel Laracuente                      Allen & Nolte, PLLC           8:20-cv-40682-MCR-GRJ
   1905      147909   Mark Rau                                Allen & Nolte, PLLC                                      8:20-cv-40697-MCR-GRJ
   1906      165797   Michael Fingulin                        Allen & Nolte, PLLC           8:20-cv-51979-MCR-GRJ
   1907      186381   Benjamin Johns                          Allen & Nolte, PLLC                                      8:20-cv-47111-MCR-GRJ
   1908      186383   Dylan Stafford                          Allen & Nolte, PLLC                                      8:20-cv-47115-MCR-GRJ
   1909      190902   Charles Mckeehan                        Allen & Nolte, PLLC           8:20-cv-28798-MCR-GRJ
   1910      324983   Nathan White                            Allen & Nolte, PLLC           7:21-cv-39731-MCR-GRJ
   1911       3418    Alan Mcnicholas                         Bailey & Glasser              7:20-cv-42244-MCR-GRJ
   1912       3438    Anthony Craft                           Bailey & Glasser              7:20-cv-42271-MCR-GRJ
   1913       3444    Benjamin Heynen                         Bailey & Glasser                                         7:20-cv-57756-MCR-GRJ
   1914       3458    Calvin Lyons                            Bailey & Glasser                                         7:20-cv-42388-MCR-GRJ
   1915       3478    Christopher Haffner                     Bailey & Glasser              7:20-cv-42432-MCR-GRJ
   1916       3488    Daniel Bernal                           Bailey & Glasser              7:20-cv-42445-MCR-GRJ
   1917       3509    David Schwarz                           Bailey & Glasser                                         7:20-cv-57822-MCR-GRJ
   1918       3512    Donald Adkins                           Bailey & Glasser                                         7:20-cv-42476-MCR-GRJ
   1919       3513    Donald Kennedy                          Bailey & Glasser                                         7:20-cv-57828-MCR-GRJ
   1920       3518    Eddie Basley                            Bailey & Glasser                                         7:20-cv-57837-MCR-GRJ
   1921       3519    Edward Iseli                            Bailey & Glasser              7:20-cv-42479-MCR-GRJ
   1922       3524    Erma Hoover                             Bailey & Glasser                                         7:20-cv-57845-MCR-GRJ
   1923       3525    Eric Williams                           Bailey & Glasser              7:20-cv-42482-MCR-GRJ
   1924       3527    Eric Peterson                           Bailey & Glasser                                         7:20-cv-42484-MCR-GRJ
   1925       3538    George Cundiff                          Bailey & Glasser              7:20-cv-57858-MCR-GRJ
   1926       3541    Guadalupe Carreon                       Bailey & Glasser                                         7:20-cv-57863-MCR-GRJ
   1927       3558    Jason Sterling                          Bailey & Glasser                                         7:20-cv-57885-MCR-GRJ
   1928       3562    Jason Browning                          Bailey & Glasser              7:20-cv-57890-MCR-GRJ
   1929       3578    Jessie Fender                           Bailey & Glasser              7:20-cv-42512-MCR-GRJ
   1930       3582    John Herrold                            Bailey & Glasser                                         7:20-cv-57901-MCR-GRJ
   1931       3583    John Fitzgerald                         Bailey & Glasser              7:20-cv-42514-MCR-GRJ
   1932       3585    John Robertson                          Bailey & Glasser              7:20-cv-57904-MCR-GRJ
   1933       3616    Keith Greer                             Bailey & Glasser              7:20-cv-42537-MCR-GRJ
   1934       3628    Lawrence Mcneal                         Bailey & Glasser              7:20-cv-57939-MCR-GRJ
   1935       3630    Lillie Wilson                           Bailey & Glasser              7:20-cv-57941-MCR-GRJ
   1936       3635    Mack Wilson                             Bailey & Glasser                                         7:20-cv-42547-MCR-GRJ
   1937       3640    Mark Cravens                            Bailey & Glasser                                         7:20-cv-42550-MCR-GRJ
   1938       3649    Matthew Wireman                         Bailey & Glasser              7:20-cv-42555-MCR-GRJ
   1939       3658    Michael Damato                          Bailey & Glasser                                         7:20-cv-57976-MCR-GRJ
   1940       3666    Mitchell Sistrunk                       Bailey & Glasser                                         7:20-cv-42667-MCR-GRJ
   1941       3678    Paul Parsons                            Bailey & Glasser                                         7:20-cv-42683-MCR-GRJ
   1942       3685    Ramiro Hernandez                        Bailey & Glasser              7:20-cv-42699-MCR-GRJ
   1943       3690    Robert Chivas                           Bailey & Glasser                                         7:20-cv-58010-MCR-GRJ
   1944       3692    Robert Smiley                           Bailey & Glasser                                         7:20-cv-42707-MCR-GRJ
   1945       3702    Roman Mcelfresh                         Bailey & Glasser              7:20-cv-42715-MCR-GRJ
   1946       3703    Ronald Long                             Bailey & Glasser                                         7:20-cv-58038-MCR-GRJ
   1947       3705    Roosevelt Porter                        Bailey & Glasser                                         7:20-cv-42719-MCR-GRJ
   1948       3709    Ryan Davidson                           Bailey & Glasser              7:20-cv-42724-MCR-GRJ
   1949       3711    Sammy Cisneros                          Bailey & Glasser              7:20-cv-58042-MCR-GRJ
   1950       3721    Sean Robinson                           Bailey & Glasser                                         7:20-cv-42752-MCR-GRJ
   1951       3732    Steven Bosa                             Bailey & Glasser              7:20-cv-58070-MCR-GRJ
   1952      164266   Adam Boggs                              Bailey & Glasser                                         7:20-cv-88438-MCR-GRJ
   1953      164271   Kyle Cafferkey                          Bailey & Glasser                                         7:20-cv-88447-MCR-GRJ
   1954      164278   Walter Douglas                          Bailey & Glasser                                         7:20-cv-88455-MCR-GRJ
   1955      164279   Harold Espinosa                         Bailey & Glasser                                         7:20-cv-88457-MCR-GRJ
   1956      164280   Erik Estrada                            Bailey & Glasser                                         7:20-cv-88459-MCR-GRJ
   1957      164285   Bobby Givens                            Bailey & Glasser              7:20-cv-88468-MCR-GRJ
   1958      164288   Roderick Grant                          Bailey & Glasser                                         7:20-cv-88472-MCR-GRJ
   1959      164291   Hector Hernandez                        Bailey & Glasser              7:20-cv-88477-MCR-GRJ
   1960      164294   Conner King                             Bailey & Glasser                                         7:20-cv-88482-MCR-GRJ
   1961      164306   Matthew Morales                         Bailey & Glasser                                         7:20-cv-88502-MCR-GRJ
   1962      164307   Patrick Nelligan                        Bailey & Glasser                                         7:20-cv-88503-MCR-GRJ
   1963      164312   Cedric Parks                            Bailey & Glasser                                         7:20-cv-88510-MCR-GRJ
   1964      164317   Fred Sanchez                            Bailey & Glasser                                         7:20-cv-88519-MCR-GRJ
   1965      164326   Raymond Trimble                         Bailey & Glasser              7:20-cv-88534-MCR-GRJ
   1966      164328   Jospeh Wells                            Bailey & Glasser              7:20-cv-88537-MCR-GRJ
   1967      274177   Matthew Bathauer                        Bailey & Glasser              9:20-cv-17068-MCR-GRJ
   1968      274185   Joseph Dewberry                         Bailey & Glasser              9:20-cv-17084-MCR-GRJ
   1969      274193   Garrett Harris                          Bailey & Glasser              9:20-cv-17101-MCR-GRJ
   1970      274194   Zackary Harrison                        Bailey & Glasser                                         9:20-cv-17103-MCR-GRJ
   1971      274197   Jeff Johnson                            Bailey & Glasser              9:20-cv-17109-MCR-GRJ




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   1972      274212   David Pendergrace                       Bailey & Glasser                                      9:20-cv-17122-MCR-GRJ
   1973      274220   Daniel Sharkey                          Bailey & Glasser                                      9:20-cv-17130-MCR-GRJ
   1974      274226   Craig Stuart                            Bailey & Glasser                                      9:20-cv-17135-MCR-GRJ
   1975      315628   Joseph Henderson                        Bailey & Glasser           7:21-cv-37798-MCR-GRJ
   1976      116985   William Adcock                          Baron & Budd               7:20-cv-86628-MCR-GRJ
   1977      117006   Justin Anderson                         Baron & Budd                                          7:20-cv-86705-MCR-GRJ
   1978      117033   Travis Bales                            Baron & Budd               7:20-cv-86814-MCR-GRJ
   1979      117055   Aaron Beck                              Baron & Budd               7:20-cv-86903-MCR-GRJ
   1980      117061   Yuliya Bennett                          Baron & Budd               7:20-cv-86928-MCR-GRJ
   1981      117063   John Berry                              Baron & Budd               7:20-cv-86936-MCR-GRJ
   1982      117069   Landon Bishop                           Baron & Budd               7:20-cv-86958-MCR-GRJ
   1983      117084   Clarence Borck                          Baron & Budd               7:20-cv-87008-MCR-GRJ
   1984      117104   Robert Brewer                           Baron & Budd                                          7:20-cv-87051-MCR-GRJ
   1985      117127   Anthony Bublitz                         Baron & Budd               7:20-cv-87099-MCR-GRJ
   1986      117129   Andrew Bucher                           Baron & Budd                                          7:20-cv-87103-MCR-GRJ
   1987      117135   Charles Burkes                          Baron & Budd               7:20-cv-87115-MCR-GRJ
   1988      117146   Alan Calderon                           Baron & Budd               7:20-cv-87134-MCR-GRJ
   1989      117148   Terry Caldwell                          Baron & Budd               7:20-cv-87138-MCR-GRJ
   1990      117194   Alan Christensen                        Baron & Budd               7:20-cv-87472-MCR-GRJ
   1991      117198   Chas Clark                              Baron & Budd                                          7:20-cv-87481-MCR-GRJ
   1992      117221   Juan Colon                              Baron & Budd               7:20-cv-87527-MCR-GRJ
   1993      117239   Lawrence Cravens                        Baron & Budd               7:20-cv-87560-MCR-GRJ
   1994      117241   Raymond Criswell                        Baron & Budd               7:20-cv-87564-MCR-GRJ
   1995      117274   Michael De La Garza                     Baron & Budd               7:20-cv-87626-MCR-GRJ
   1996      117277   William Deering                         Baron & Budd               7:20-cv-87632-MCR-GRJ
   1997      117292   Gerald Dixon                            Baron & Budd                                          7:20-cv-87661-MCR-GRJ
   1998      117296   Jeremy Dodds                            Baron & Budd               7:20-cv-87669-MCR-GRJ
   1999      117317   David Dunton                            Baron & Budd                                          7:20-cv-87709-MCR-GRJ
   2000      117329   Aleiah Enders                           Baron & Budd               7:20-cv-87731-MCR-GRJ
   2001      117334   Alexander Erskine                       Baron & Budd               7:20-cv-87739-MCR-GRJ
   2002      117337   Vincent Estacio                         Baron & Budd               7:20-cv-87744-MCR-GRJ
   2003      117344   Bret Evins                              Baron & Budd               7:20-cv-87757-MCR-GRJ
   2004      117347   Brad Farley                             Baron & Budd                                          7:20-cv-87763-MCR-GRJ
   2005      117378   Gary Ford                               Baron & Budd               7:20-cv-87792-MCR-GRJ
   2006      117388   Martin Franklin                         Baron & Budd               7:20-cv-96576-MCR-GRJ
   2007      117391   Brandon Frasier                         Baron & Budd               7:20-cv-96591-MCR-GRJ
   2008      117400   Brian Galatis                           Baron & Budd               7:20-cv-96634-MCR-GRJ
   2009      117428   Kevin Gilley                            Baron & Budd                                          7:20-cv-96764-MCR-GRJ
   2010      117456   Akeil Greenidge                         Baron & Budd                                          7:20-cv-96882-MCR-GRJ
   2011      117457   Robert Gregg                            Baron & Budd               7:20-cv-96885-MCR-GRJ
   2012      117459   Roger Greve                             Baron & Budd               7:20-cv-96891-MCR-GRJ
   2013      117461   Douglas Griffin                         Baron & Budd               7:20-cv-96899-MCR-GRJ
   2014      117464   Horace Grigsby                          Baron & Budd               7:20-cv-96909-MCR-GRJ
   2015      117496   Brandon Harless                         Baron & Budd               7:20-cv-97044-MCR-GRJ
   2016      117520   Amanda Headrick                         Baron & Budd               7:20-cv-97164-MCR-GRJ
   2017      117522   Howard Helbert                          Baron & Budd               7:20-cv-97176-MCR-GRJ
   2018      117545   Demetri Hill                            Baron & Budd               7:20-cv-97290-MCR-GRJ
   2019      117546   Kevin Hill                              Baron & Budd               7:20-cv-97295-MCR-GRJ
   2020      117568   Kaylonie Howard                         Baron & Budd                                          7:20-cv-97385-MCR-GRJ
   2021      117569   Sean Howard                             Baron & Budd               7:20-cv-97389-MCR-GRJ
   2022      117576   Brandon Hutchison                       Baron & Budd               7:20-cv-97417-MCR-GRJ
   2023      117613   Paul Johnson                            Baron & Budd                                          7:20-cv-97591-MCR-GRJ
   2024      117644   Vincent Kerr                            Baron & Budd               7:20-cv-97767-MCR-GRJ
   2025      117650   Cody Kline                              Baron & Budd               7:20-cv-97807-MCR-GRJ
   2026      117653   Mickey Knott                            Baron & Budd                                          7:20-cv-97825-MCR-GRJ
   2027      117654   Steven Koep                             Baron & Budd               7:20-cv-97832-MCR-GRJ
   2028      117658   Johnathan Kreutzer                      Baron & Budd               7:20-cv-97859-MCR-GRJ
   2029      117662   Eddie Lamb                              Baron & Budd                                          7:20-cv-97885-MCR-GRJ
   2030      117675   Richard Learn                           Baron & Budd                                          7:20-cv-97965-MCR-GRJ
   2031      117685   Courtney Legleu                         Baron & Budd                                          7:20-cv-98026-MCR-GRJ
   2032      117695   Marcus Lewis                            Baron & Budd               8:20-cv-00047-MCR-GRJ
   2033      117708   Johnny Little                           Baron & Budd               8:20-cv-00068-MCR-GRJ
   2034      117715   Robert Long                             Baron & Budd               8:20-cv-00080-MCR-GRJ
   2035      117718   Tyler Long                              Baron & Budd                                          8:20-cv-00085-MCR-GRJ
   2036      117753   Fredrick Malone                         Baron & Budd               8:20-cv-00145-MCR-GRJ
   2037      117772   Javier Martinez                         Baron & Budd               8:20-cv-00177-MCR-GRJ
   2038      117776   Jordan Matti                            Baron & Budd               8:20-cv-00186-MCR-GRJ
   2039      117787   Louis Mcelwee                           Baron & Budd                                          8:20-cv-00213-MCR-GRJ
   2040      117797   William Mclean                          Baron & Budd               8:20-cv-00239-MCR-GRJ
   2041      117812   Vincent Mercuri                         Baron & Budd                                          8:20-cv-00274-MCR-GRJ
   2042      117853   Donald Morgan                           Baron & Budd               8:20-cv-00351-MCR-GRJ
   2043      117891   Joel Niemann                            Baron & Budd               8:20-cv-00416-MCR-GRJ
   2044      117911   Raymie O'Leary                          Baron & Budd               8:20-cv-00435-MCR-GRJ




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   2045      117933   Johnathan Parin                         Baron & Budd           8:20-cv-00457-MCR-GRJ
   2046      117939   Jason Patruno                           Baron & Budd                                      8:20-cv-00465-MCR-GRJ
   2047      117972   Christopher Pillion                     Baron & Budd           8:20-cv-00521-MCR-GRJ
   2048      117993   Jesse Pratt                             Baron & Budd           8:20-cv-00573-MCR-GRJ
   2049      118018   Joseph Rapelje                          Baron & Budd           8:20-cv-00627-MCR-GRJ
   2050      118042   Tony Rios                               Baron & Budd                                      8:20-cv-00688-MCR-GRJ
   2051      118056   Ryan Robinson                           Baron & Budd           8:20-cv-00702-MCR-GRJ
   2052      118057   Manuel Robles                           Baron & Budd           8:20-cv-00703-MCR-GRJ
   2053      118064   Allan Rogers                            Baron & Budd                                      8:20-cv-00710-MCR-GRJ
   2054      118086   Christopher Saba                        Baron & Budd           8:20-cv-00732-MCR-GRJ
   2055      118107   Jose Santana                            Baron & Budd           8:20-cv-00532-MCR-GRJ
   2056      118110   Cameron Sauerland                       Baron & Budd           8:20-cv-00537-MCR-GRJ
   2057      118117   Ashton Scheiner                         Baron & Budd                                      8:20-cv-00557-MCR-GRJ
   2058      118123   Thomas Schoettler                       Baron & Budd                                      8:20-cv-00574-MCR-GRJ
   2059      118146   John Shaughnessy                        Baron & Budd                                      8:20-cv-00766-MCR-GRJ
   2060      118150   Craig Shetterly                         Baron & Budd           8:20-cv-00770-MCR-GRJ
   2061      118162   Jackie Sims                             Baron & Budd                                      8:20-cv-00782-MCR-GRJ
   2062      118164   Dominic Sinibaldi                       Baron & Budd           8:20-cv-00784-MCR-GRJ
   2063      118167   Patrick Skinner                         Baron & Budd                                      8:20-cv-00787-MCR-GRJ
   2064      118173   Christopher Smith                       Baron & Budd                                      8:20-cv-00793-MCR-GRJ
   2065      118203   Daniel Starr                            Baron & Budd                                      8:20-cv-00821-MCR-GRJ
   2066      118206   Russ Stemmons                           Baron & Budd           8:20-cv-00824-MCR-GRJ
   2067      118209   Girtes Stewart                          Baron & Budd           8:20-cv-00827-MCR-GRJ
   2068      118215   Kevin Stredney                          Baron & Budd                                      8:20-cv-00833-MCR-GRJ
   2069      118236   Alex Taylor                             Baron & Budd           8:20-cv-00853-MCR-GRJ
   2070      118247   Bradley Thomas                          Baron & Budd           8:20-cv-00869-MCR-GRJ
   2071      118270   Christopher Travis                      Baron & Budd           8:20-cv-00928-MCR-GRJ
   2072      118303   Darek Velez                             Baron & Budd           8:20-cv-01107-MCR-GRJ
   2073      118317   Michael Voeller                         Baron & Budd                                      8:20-cv-01137-MCR-GRJ
   2074      118319   David Voltz                             Baron & Budd           8:20-cv-01141-MCR-GRJ
   2075      118328   Jodeven Wallace                         Baron & Budd           7:20-cv-26777-MCR-GRJ
   2076      118331   Jacob Walters                           Baron & Budd           8:20-cv-01163-MCR-GRJ
   2077      118333   Tiara Warren                            Baron & Budd           8:20-cv-01166-MCR-GRJ
   2078      118335   Jerome Washington                       Baron & Budd                                      8:20-cv-01170-MCR-GRJ
   2079      118345   Kenneth Weber                           Baron & Budd                                      8:20-cv-01197-MCR-GRJ
   2080      118351   Jeremy Welch                            Baron & Budd           8:20-cv-01214-MCR-GRJ
   2081      118377   Derek Wilson                            Baron & Budd           8:20-cv-01287-MCR-GRJ
   2082      118392   Kenneth Workman                         Baron & Budd           8:20-cv-01329-MCR-GRJ
   2083      118395   Devin Worthey                           Baron & Budd                                      8:20-cv-01336-MCR-GRJ
   2084      118397   Justin Wright                           Baron & Budd           8:20-cv-01342-MCR-GRJ
   2085      145981   Christopher Grawburg                    Baron & Budd           8:20-cv-28297-MCR-GRJ
   2086      246917   Miguel Ahumada                          Baron & Budd                                      8:20-cv-91153-MCR-GRJ
   2087      246918   Leonard Allen                           Baron & Budd           8:20-cv-91154-MCR-GRJ
   2088      246922   Rashad Andrews                          Baron & Budd           8:20-cv-91158-MCR-GRJ
   2089      246927   Justin Barnes                           Baron & Budd           8:20-cv-91163-MCR-GRJ
   2090      246933   Matthew Bell                            Baron & Budd           8:20-cv-91169-MCR-GRJ
   2091      246934   James Billingslea                       Baron & Budd           8:20-cv-91170-MCR-GRJ
   2092      246950   Charles Curtis                          Baron & Budd           8:20-cv-91186-MCR-GRJ
   2093      246951   Brailyn Daniel                          Baron & Budd           8:20-cv-91187-MCR-GRJ
   2094      246958   John Donnelly                           Baron & Budd                                      8:20-cv-91194-MCR-GRJ
   2095      246962   Travis Ehlinger                         Baron & Budd           8:20-cv-91198-MCR-GRJ
   2096      246963   Joshua Epstein                          Baron & Budd           8:20-cv-91199-MCR-GRJ
   2097      246970   Alejandro Garcia                        Baron & Budd           8:20-cv-91206-MCR-GRJ
   2098      246974   Don Gray                                Baron & Budd           8:20-cv-91210-MCR-GRJ
   2099      246975   Gabrielle Grayson                       Baron & Budd                                      8:20-cv-91211-MCR-GRJ
   2100      246980   Richard Haggerty                        Baron & Budd                                      8:20-cv-91216-MCR-GRJ
   2101      246989   Adam Hendrickson                        Baron & Budd           8:20-cv-91225-MCR-GRJ
   2102      246997   Jason Hilton                            Baron & Budd           8:20-cv-91234-MCR-GRJ
   2103      247002   Rashad Jackson                          Baron & Budd                                      8:20-cv-91243-MCR-GRJ
   2104      247026   Kevin Lytle                             Baron & Budd           8:20-cv-91284-MCR-GRJ
   2105      247030   Jason Markum                            Baron & Budd           8:20-cv-91290-MCR-GRJ
   2106      247040   Francisco Moreno                        Baron & Budd           8:20-cv-91306-MCR-GRJ
   2107      247062   Carlos Rodriguez                        Baron & Budd           8:20-cv-91343-MCR-GRJ
   2108      247078   Geoffrey Speyrer                        Baron & Budd           8:20-cv-91371-MCR-GRJ
   2109      247085   John Thomas                             Baron & Budd           8:20-cv-91383-MCR-GRJ
   2110      247094   Darius Webb                             Baron & Budd           8:20-cv-91459-MCR-GRJ
   2111      247102   Kyle Yeomans                            Baron & Budd           8:20-cv-91467-MCR-GRJ
   2112      247105   William Young                           Baron & Budd           8:20-cv-91470-MCR-GRJ
   2113      307633   Courtney Nesbit                         Baron & Budd           7:21-cv-26396-MCR-GRJ
   2114      307635   Daniel Shelley                          Baron & Budd           7:21-cv-26398-MCR-GRJ
   2115      307640   Frankie Davis                           Baron & Budd                                      7:21-cv-26403-MCR-GRJ
   2116      307647   Richard Outen                           Baron & Budd           7:21-cv-26410-MCR-GRJ
   2117      307651   Daniel Griseto                          Baron & Budd           7:21-cv-26414-MCR-GRJ




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   2118      307654   Thomas Owens                            Baron & Budd                   7:21-cv-26417-MCR-GRJ
   2119      307655   Joseph Rue                              Baron & Budd                   7:21-cv-26418-MCR-GRJ
   2120      307657   James Bloom                             Baron & Budd                   7:21-cv-26420-MCR-GRJ
   2121      307663   Joshua Michaud                          Baron & Budd                   7:21-cv-26426-MCR-GRJ
   2122      307667   Javier Aponte                           Baron & Budd                                              7:21-cv-26430-MCR-GRJ
   2123      307669   John Hahn                               Baron & Budd                   7:21-cv-26432-MCR-GRJ
   2124      307674   Christopher Fleck                       Baron & Budd                   7:21-cv-26437-MCR-GRJ
   2125      307675   Logan Gathman                           Baron & Budd                   7:21-cv-26438-MCR-GRJ
   2126      307678   Reginald Lee                            Baron & Budd                                              7:21-cv-26441-MCR-GRJ
   2127      307683   John O'Brien                            Baron & Budd                   7:21-cv-26446-MCR-GRJ
   2128      307689   John Carter                             Baron & Budd                   7:21-cv-26452-MCR-GRJ
   2129      307699   Jordan Brasie                           Baron & Budd                   7:21-cv-26462-MCR-GRJ
   2130      307700   Brian Cote                              Baron & Budd                                              7:21-cv-26463-MCR-GRJ
   2131      307706   Kaseim Tripp                            Baron & Budd                   7:21-cv-26469-MCR-GRJ
   2132      307708   Jonathan Buchanan                       Baron & Budd                   7:21-cv-26471-MCR-GRJ
   2133      307709   Timothy Vause                           Baron & Budd                   7:21-cv-26472-MCR-GRJ
   2134      307710   Justin Welch                            Baron & Budd                   7:21-cv-26473-MCR-GRJ
   2135      307713   Korey Jones                             Baron & Budd                   7:21-cv-26476-MCR-GRJ
   2136      307715   Kody Vanlangen                          Baron & Budd                                              7:21-cv-26478-MCR-GRJ
   2137      307720   Michael Kline                           Baron & Budd                   7:21-cv-26483-MCR-GRJ
   2138      307766   Franklin Conley                         Baron & Budd                                              7:21-cv-26529-MCR-GRJ
   2139      307767   Ronald Foster                           Baron & Budd                   7:21-cv-26530-MCR-GRJ
   2140      307775   Marissa Elizondo                        Baron & Budd                   7:21-cv-26538-MCR-GRJ
   2141      307783   Jahsaan Glover                          Baron & Budd                   7:21-cv-26546-MCR-GRJ
   2142      315755   Carney Mobel                            Baron & Budd                   7:21-cv-31096-MCR-GRJ
   2143      239727   David Allhiser                          Barrett Nonni Homola                                      3:20-cv-05543-MCR-GRJ
   2144      239728   Erik Mercado                            Barrett Nonni Homola                                      3:20-cv-05549-MCR-GRJ
   2145      239729   George Olivas                           Barrett Nonni Homola                                      3:20-cv-05553-MCR-GRJ
   2146      239730   Jose Ibarra                             Barrett Nonni Homola                                      3:20-cv-05558-MCR-GRJ
   2147      239731   Juan Quiroga                            Barrett Nonni Homola                                      3:20-cv-05559-MCR-GRJ
   2148      239732   Justin Corry                            Barrett Nonni Homola                                      3:20-cv-05537-MCR-GRJ
   2149      239735   Michael Lara                            Barrett Nonni Homola                                      3:20-cv-05555-MCR-GRJ
   2150      239736   Shawn Smith                             Barrett Nonni Homola                                      3:20-cv-05554-MCR-GRJ
   2151      303999   Craig Sammons                           Barrett Nonni Homola                                      3:21-cv-00693-MCR-GRJ
   2152      304002   Steven Simpson                          Barrett Nonni Homola                                      3:21-cv-00712-MCR-GRJ
   2153      49086    Aaron Arnold                            Beasley Allen                                             7:20-cv-96119-MCR-GRJ
   2154      49091    Markye Branton                          Beasley Allen                                             7:20-cv-96143-MCR-GRJ
   2155      49093    Markus Brunson                          Beasley Allen                                             7:20-cv-96151-MCR-GRJ
   2156      49094    Cullen Burnett                          Beasley Allen                                             7:20-cv-96155-MCR-GRJ
   2157      49099    Eduardo Castillo                        Beasley Allen                                             7:20-cv-96170-MCR-GRJ
   2158      49103    Norman Corbett                          Beasley Allen                                             7:20-cv-96182-MCR-GRJ
   2159      49106    Andrew Danes                            Beasley Allen                                             7:20-cv-96189-MCR-GRJ
   2160      49107    Andrew Donaldson                        Beasley Allen                                             7:20-cv-96194-MCR-GRJ
   2161      49110    Ashley Edwards                          Beasley Allen                  7:20-cv-96206-MCR-GRJ
   2162      49112    Joshua Estep                            Beasley Allen                                             7:20-cv-96213-MCR-GRJ
   2163      49114    Kavelle Fields                          Beasley Allen                                             7:20-cv-96219-MCR-GRJ
   2164      49123    Henry Hall                              Beasley Allen                                             7:20-cv-96234-MCR-GRJ
   2165      49124    Buford Hanna                            Beasley Allen                  7:20-cv-96235-MCR-GRJ
   2166      49126    Ronald Hobbs                            Beasley Allen                                             7:20-cv-96239-MCR-GRJ
   2167      49129    William Hudgens                         Beasley Allen                  7:20-cv-96242-MCR-GRJ
   2168      49130    Scott Hulsey                            Beasley Allen                                             7:20-cv-96243-MCR-GRJ
   2169      49136    Logan Kinney                            Beasley Allen                                             7:20-cv-96249-MCR-GRJ
   2170      49139    Sean Lau                                Beasley Allen                                             7:20-cv-96252-MCR-GRJ
   2171      49144    Jose Marrero                            Beasley Allen                                             7:20-cv-96257-MCR-GRJ
   2172      49159    Jasen Rawson                            Beasley Allen                                             7:20-cv-96271-MCR-GRJ
   2173      49165    Joshua Roberts                          Beasley Allen                                             7:20-cv-96276-MCR-GRJ
   2174      49167    David Scott                             Beasley Allen                  7:20-cv-96278-MCR-GRJ
   2175      49173    Anthony Surprenant                      Beasley Allen                  7:20-cv-96284-MCR-GRJ
   2176      49176    Dacoda Trotter                          Beasley Allen                                             7:20-cv-96287-MCR-GRJ
   2177      49179    Isaac Werbel                            Beasley Allen                                             7:20-cv-96290-MCR-GRJ
   2178      49181    London Williams                         Beasley Allen                                             7:20-cv-96292-MCR-GRJ
   2179      49183    Victor Yanez                            Beasley Allen                                             7:20-cv-96294-MCR-GRJ
   2180      49185    Charles Alvarez                         Beasley Allen                                             7:20-cv-96296-MCR-GRJ
   2181      49186    Liza Bennett                            Beasley Allen                                             7:20-cv-96297-MCR-GRJ
   2182      49188    Mark Burrier                            Beasley Allen                                             7:20-cv-96299-MCR-GRJ
   2183      49190    Kyle Cisco                              Beasley Allen                                             7:20-cv-96301-MCR-GRJ
   2184      49193    Rudregus Davis                          Beasley Allen                                             7:20-cv-96304-MCR-GRJ
   2185      49199    Darrell Mcgehee                         Beasley Allen                  7:20-cv-96309-MCR-GRJ
   2186      49201    William Miller                          Beasley Allen                  7:20-cv-96311-MCR-GRJ
   2187      49206    Joshua Santos                           Beasley Allen                                             7:20-cv-96315-MCR-GRJ
   2188      49208    Leonard Tidwell                         Beasley Allen                                             7:20-cv-96316-MCR-GRJ
   2189      49210    Craig White                             Beasley Allen                  7:20-cv-96318-MCR-GRJ
   2190      139280   Kent Hersha                             Beasley Allen                                             3:19-cv-02093-MCR-GRJ




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   2191      139304   Kordaro Smith                           Beasley Allen                                                      3:19-cv-02133-MCR-GRJ
   2192      186392   Omaur Beaty                             Beasley Allen                                                      7:20-cv-90954-MCR-GRJ
   2193      186393   Kyle Welsh                              Beasley Allen                           7:20-cv-90956-MCR-GRJ
   2194      186395   Randy Holman                            Beasley Allen                                                      7:20-cv-90960-MCR-GRJ
   2195      186396   Emmett Williams                         Beasley Allen                                                      7:20-cv-90962-MCR-GRJ
   2196      186402   Brandon Israel                          Beasley Allen                                                      7:20-cv-90973-MCR-GRJ
   2197      186403   Deion Davenport                         Beasley Allen                                                      7:20-cv-90975-MCR-GRJ
   2198      186406   Jonathan Hart                           Beasley Allen                                                      7:20-cv-90981-MCR-GRJ
   2199      186411   Daniel Parker                           Beasley Allen                                                      7:20-cv-90990-MCR-GRJ
   2200      186414   Ronnie Joiner                           Beasley Allen                                                      7:20-cv-90996-MCR-GRJ
   2201      186420   William Stone                           Beasley Allen                           7:20-cv-91008-MCR-GRJ
   2202      186427   Jared Cook                              Beasley Allen                                                      7:20-cv-91021-MCR-GRJ
   2203      186428   Coby Reece                              Beasley Allen                                                      7:20-cv-91023-MCR-GRJ
   2204      186430   Lester Lea                              Beasley Allen                                                      7:20-cv-91027-MCR-GRJ
   2205      186435   Dustin Childers                         Beasley Allen                                                      7:20-cv-91037-MCR-GRJ
   2206      189311   William Bell                            Beasley Allen                                                      8:20-cv-11781-MCR-GRJ
   2207      189312   Marcel Campos                           Beasley Allen                                                      8:20-cv-11784-MCR-GRJ
   2208      189313   Harold Honegger                         Beasley Allen                                                      8:20-cv-11786-MCR-GRJ
   2209      189319   Mikal Patterson                         Beasley Allen                                                      8:20-cv-11802-MCR-GRJ
   2210      202853   Eric Guess                              Beasley Allen                           8:20-cv-47486-MCR-GRJ
   2211      202855   Landon Genard                           Beasley Allen                                                      8:20-cv-47495-MCR-GRJ
   2212      202857   Brent Boeddeker                         Beasley Allen                                                      8:20-cv-47504-MCR-GRJ
   2213      202858   Jay Scudder                             Beasley Allen                                                      8:20-cv-47509-MCR-GRJ
   2214      202859   Jason Brown                             Beasley Allen                                                      8:20-cv-47514-MCR-GRJ
   2215      202860   Pablo Vela                              Beasley Allen                                                      8:20-cv-47517-MCR-GRJ
   2216      202861   Elizabeth Vertin                        Beasley Allen                                                      8:20-cv-47521-MCR-GRJ
   2217      209687   Matthew Gilmore                         Beasley Allen                                                      8:20-cv-55526-MCR-GRJ
   2218      244684   Adam Hubbard                            Beasley Allen                                                      8:20-cv-87797-MCR-GRJ
   2219      247106   Clayton Blackshear                      Beasley Allen                                                      8:20-cv-87800-MCR-GRJ
   2220      247107   Joseph Durigon                          Beasley Allen                                                      8:20-cv-87802-MCR-GRJ
   2221      256781   Darren Moore                            Beasley Allen                                                      8:20-cv-99084-MCR-GRJ
   2222       9740    Lytonia Riley                           Bennerotte & Associates, P.A.           7:20-cv-42337-MCR-GRJ
   2223       9758    Jay Clasing                             Bennerotte & Associates, P.A.                                      7:20-cv-42389-MCR-GRJ
   2224       9763    Ronald Davis                            Bennerotte & Associates, P.A.           7:20-cv-42407-MCR-GRJ      3:19-cv-03211-MCR-GRJ
   2225      170222   Lester Mccurtis                         Bennerotte & Associates, P.A.           7:20-cv-42710-MCR-GRJ
   2226      170239   Michael Strother                        Bennerotte & Associates, P.A.                                      7:20-cv-42755-MCR-GRJ
   2227       9773    Grigoriy Isayev                         Berniard Law LLC                                                   8:20-cv-33647-MCR-GRJ
   2228       9775    Cameron Morris                          Berniard Law LLC                                                   8:20-cv-33653-MCR-GRJ
   2229       9781    Cole Schamberger                        Berniard Law LLC                        8:20-cv-33669-MCR-GRJ
   2230       9782    Craig Stevenson                         Berniard Law LLC                        8:20-cv-33671-MCR-GRJ
   2231       9785    Logan Clarke                            Berniard Law LLC                        8:20-cv-33680-MCR-GRJ
   2232       9794    Jeffrey Smith                           Berniard Law LLC                        8:20-cv-33705-MCR-GRJ
   2233       9796    Erick Goins                             Berniard Law LLC                                                   8:20-cv-33710-MCR-GRJ
   2234       9802    Alexander Tomlinson                     Berniard Law LLC                                                   8:20-cv-33640-MCR-GRJ
   2235       9803    Feijoo Yolvi                            Berniard Law LLC                        8:20-cv-33643-MCR-GRJ
   2236       9804    Cody Keiper                             Berniard Law LLC                                                   8:20-cv-33646-MCR-GRJ
   2237       9806    Jared Ackerman                          Berniard Law LLC                                                   8:20-cv-33652-MCR-GRJ
   2238       9808    Shawn Turner                            Berniard Law LLC                        8:20-cv-33658-MCR-GRJ
   2239       9813    Corey Thieman                           Berniard Law LLC                        8:20-cv-33673-MCR-GRJ
   2240       9815    Jeremy Hiner                            Berniard Law LLC                        8:20-cv-33679-MCR-GRJ
   2241       9818    Dewayne Bryant                          Berniard Law LLC                                                   8:20-cv-33689-MCR-GRJ
   2242       9821    Theodore Perry                          Berniard Law LLC                        8:20-cv-33697-MCR-GRJ
   2243       9824    Matthew Newbury                         Berniard Law LLC                                                   8:20-cv-33706-MCR-GRJ
   2244       9825    Andras Forgo                            Berniard Law LLC                        8:20-cv-33709-MCR-GRJ
   2245       9827    Matthew Medina                          Berniard Law LLC                        8:20-cv-33715-MCR-GRJ
   2246       9830    Javier Gonzalez                         Berniard Law LLC                                                   8:20-cv-33723-MCR-GRJ
   2247       9831    Julio Romero                            Berniard Law LLC                                                   8:20-cv-33725-MCR-GRJ
   2248       9836    Michael Holley                          Berniard Law LLC                                                   8:20-cv-33734-MCR-GRJ
   2249       9844    Noah Rosenstock                         Berniard Law LLC                                                   8:20-cv-33749-MCR-GRJ
   2250       9847    Matthew Knudson                         Berniard Law LLC                                                   8:20-cv-33752-MCR-GRJ
   2251       9848    Aaron Becker                            Berniard Law LLC                        8:20-cv-33753-MCR-GRJ
   2252       9856    Leroy Thurman                           Berniard Law LLC                                                   8:20-cv-33761-MCR-GRJ
   2253       9857    Paul Gamble                             Berniard Law LLC                        8:20-cv-33762-MCR-GRJ
   2254       9860    Jeffrey Jimenez                         Berniard Law LLC                                                   8:20-cv-33765-MCR-GRJ
   2255       9869    Paul Hearn                              Berniard Law LLC                                                   8:20-cv-33774-MCR-GRJ
   2256       9879    Fernando Rodriguez                      Berniard Law LLC                                                   8:20-cv-33783-MCR-GRJ
   2257       9880    Kevin Deeren                            Berniard Law LLC                                                   8:20-cv-33784-MCR-GRJ
   2258       9885    John Philip                             Berniard Law LLC                        8:20-cv-33789-MCR-GRJ
   2259       9891    John Ouellette                          Berniard Law LLC                                                   8:20-cv-33794-MCR-GRJ
   2260       9895    Michael Fosler                          Berniard Law LLC                                                   8:20-cv-33798-MCR-GRJ
   2261       9898    Chester Braden                          Berniard Law LLC                        8:20-cv-33801-MCR-GRJ
   2262       9904    John Escobar                            Berniard Law LLC                                                   8:20-cv-33807-MCR-GRJ
   2263      49963    Jack O'Neill                            Berniard Law LLC                                                   8:20-cv-33609-MCR-GRJ




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   2264      49970    Clay Sanders                            Berniard Law LLC                                            8:20-cv-33280-MCR-GRJ
   2265      49976    Shane Barton                            Berniard Law LLC                                            8:20-cv-33302-MCR-GRJ
   2266      49978    Stephen Tworek                          Berniard Law LLC                                            8:20-cv-33311-MCR-GRJ
   2267      219648   Darin Ouellette                         Berniard Law LLC                                            7:21-cv-02837-MCR-GRJ
   2268      66755    Aaron Baye                              Bernstein Liebhard LLP                                      8:20-cv-12646-MCR-GRJ
   2269      66759    Matthew Waldorf                         Bernstein Liebhard LLP           8:20-cv-12662-MCR-GRJ
   2270      66765    Alexander Clifford                      Bernstein Liebhard LLP           8:20-cv-12684-MCR-GRJ
   2271      66766    Nicholas Stewart                        Bernstein Liebhard LLP           8:20-cv-12687-MCR-GRJ
   2272      66773    Michael Roberts                         Bernstein Liebhard LLP                                      8:20-cv-12706-MCR-GRJ
   2273      66777    Richard Brown                           Bernstein Liebhard LLP           8:20-cv-12719-MCR-GRJ
   2274      66781    Mason West                              Bernstein Liebhard LLP           8:20-cv-12728-MCR-GRJ
   2275      66782    Terence Williams                        Bernstein Liebhard LLP           8:20-cv-12732-MCR-GRJ
   2276      66783    James Pena                              Bernstein Liebhard LLP           8:20-cv-12735-MCR-GRJ
   2277      66790    Herbert Golden                          Bernstein Liebhard LLP                                      8:20-cv-12754-MCR-GRJ
   2278      66793    Patrick Mccrumb                         Bernstein Liebhard LLP           8:20-cv-12763-MCR-GRJ
   2279      66799    Donald Wing                             Bernstein Liebhard LLP           8:20-cv-12778-MCR-GRJ
   2280      66801    James Castaneda                         Bernstein Liebhard LLP           7:20-cv-91765-MCR-GRJ
   2281      66804    Jeremy Porter                           Bernstein Liebhard LLP           8:20-cv-12788-MCR-GRJ
   2282      66808    Todd Rowe                               Bernstein Liebhard LLP           8:20-cv-12797-MCR-GRJ
   2283      66811    David Mcmullen                          Bernstein Liebhard LLP                                      8:20-cv-12808-MCR-GRJ
   2284      66815    Aaron Larson                            Bernstein Liebhard LLP           8:20-cv-12820-MCR-GRJ
   2285      66817    Roger Ball                              Bernstein Liebhard LLP           8:20-cv-12827-MCR-GRJ
   2286      66820    Aaron Wesley                            Bernstein Liebhard LLP           8:20-cv-12833-MCR-GRJ
   2287      66826    Nicholas Fetrow                         Bernstein Liebhard LLP           8:20-cv-12853-MCR-GRJ
   2288      66827    Robert Doerflein                        Bernstein Liebhard LLP           8:20-cv-12856-MCR-GRJ
   2289      66829    Justin Tucker                           Bernstein Liebhard LLP           8:20-cv-12863-MCR-GRJ
   2290      66830    Logan Johnson                           Bernstein Liebhard LLP           8:20-cv-12866-MCR-GRJ
   2291      66839    Christopher Wormald                     Bernstein Liebhard LLP                                      8:20-cv-12890-MCR-GRJ
   2292      66840    Donte Rogers                            Bernstein Liebhard LLP           8:20-cv-12893-MCR-GRJ
   2293      66841    Jonathan Russo                          Bernstein Liebhard LLP           8:20-cv-12896-MCR-GRJ
   2294      66845    Andrew Matelwich                        Bernstein Liebhard LLP                                      8:20-cv-12909-MCR-GRJ
   2295      66850    Jonathon Weaver                         Bernstein Liebhard LLP                                      8:20-cv-12921-MCR-GRJ
   2296      66854    Casey Swank                             Bernstein Liebhard LLP           8:20-cv-12931-MCR-GRJ
   2297      66857    Jacari Williams                         Bernstein Liebhard LLP           8:20-cv-12333-MCR-GRJ
   2298      66858    Jeff Yoo                                Bernstein Liebhard LLP           8:20-cv-12338-MCR-GRJ
   2299      66861    Matthew Torres Acevedo                  Bernstein Liebhard LLP                                      8:20-cv-12346-MCR-GRJ
   2300      66867    Stephen Bounds                          Bernstein Liebhard LLP           8:20-cv-12379-MCR-GRJ
   2301      66868    Melvin Holmes                           Bernstein Liebhard LLP                                      8:20-cv-12383-MCR-GRJ
   2302      66872    Philip Dugan                            Bernstein Liebhard LLP           8:20-cv-12404-MCR-GRJ
   2303      66888    Bobby Lemley                            Bernstein Liebhard LLP           8:20-cv-12464-MCR-GRJ
   2304      66889    Michael Maschi                          Bernstein Liebhard LLP                                      8:20-cv-12469-MCR-GRJ
   2305      66891    Richard White                           Bernstein Liebhard LLP           8:20-cv-12473-MCR-GRJ
   2306      66900    Edward Mcdonald                         Bernstein Liebhard LLP           8:20-cv-12519-MCR-GRJ
   2307      66906    Daniel Carabajal                        Bernstein Liebhard LLP                                      8:20-cv-12546-MCR-GRJ
   2308      66907    Stephen Powell                          Bernstein Liebhard LLP           8:20-cv-12549-MCR-GRJ
   2309      66909    John Pike                               Bernstein Liebhard LLP           8:20-cv-12561-MCR-GRJ
   2310      66911    James Richardson                        Bernstein Liebhard LLP           8:20-cv-12565-MCR-GRJ
   2311      66916    Kernie Seagraves                        Bernstein Liebhard LLP           8:20-cv-12576-MCR-GRJ
   2312      66927    Joshua Mcneal                           Bernstein Liebhard LLP           8:20-cv-12606-MCR-GRJ
   2313      66931    Samuel Labrecque                        Bernstein Liebhard LLP           8:20-cv-12620-MCR-GRJ
   2314      66934    Gary Roberts                            Bernstein Liebhard LLP           8:20-cv-12632-MCR-GRJ
   2315      66936    Michael Summerville                     Bernstein Liebhard LLP           8:20-cv-12638-MCR-GRJ
   2316      66943    Thomas Pechler                          Bernstein Liebhard LLP                                      8:20-cv-12654-MCR-GRJ
   2317      66944    Johnnie Mondragon                       Bernstein Liebhard LLP           8:20-cv-12657-MCR-GRJ
   2318      66948    Earl Swecker                            Bernstein Liebhard LLP           8:20-cv-12664-MCR-GRJ
   2319      66951    Alex Hillard                            Bernstein Liebhard LLP           8:20-cv-12674-MCR-GRJ
   2320      66957    Jacob Tortorice                         Bernstein Liebhard LLP                                      8:20-cv-12685-MCR-GRJ
   2321      66960    William Mierzwak                        Bernstein Liebhard LLP           8:20-cv-12693-MCR-GRJ
   2322      66961    Andre Howard                            Bernstein Liebhard LLP           8:20-cv-12696-MCR-GRJ
   2323      66964    Corey Bilbrey                           Bernstein Liebhard LLP                                      8:20-cv-12701-MCR-GRJ
   2324      66976    Kershune Wescott                        Bernstein Liebhard LLP           8:20-cv-12731-MCR-GRJ
   2325      66983    Genaro Lemus                            Bernstein Liebhard LLP                                      8:20-cv-12750-MCR-GRJ
   2326      66987    Joshua Macy                             Bernstein Liebhard LLP           8:20-cv-12761-MCR-GRJ
   2327      67007    Douglas Bruce                           Bernstein Liebhard LLP                                      8:20-cv-12813-MCR-GRJ
   2328      67009    Tim Mcdonough                           Bernstein Liebhard LLP           8:20-cv-12819-MCR-GRJ
   2329      67010    Jake Burdette                           Bernstein Liebhard LLP           8:20-cv-12821-MCR-GRJ
   2330      67011    Travis Brooks                           Bernstein Liebhard LLP                                      8:20-cv-12823-MCR-GRJ
   2331      67013    Timothy Townsend                        Bernstein Liebhard LLP           8:20-cv-12826-MCR-GRJ
   2332      67019    Bryan Hathaway                          Bernstein Liebhard LLP                                      8:20-cv-12838-MCR-GRJ
   2333      67028    Miguel Ortiz                            Bernstein Liebhard LLP                                      8:20-cv-12848-MCR-GRJ
   2334      67043    William Quave                           Bernstein Liebhard LLP                                      8:20-cv-12980-MCR-GRJ
   2335      67044    Paul Louck                              Bernstein Liebhard LLP                                      8:20-cv-12882-MCR-GRJ
   2336      67047    Daniel Kolosik                          Bernstein Liebhard LLP                                      8:20-cv-12886-MCR-GRJ




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   2337      67052   Vincent Torres                           Bernstein Liebhard LLP           8:20-cv-12898-MCR-GRJ
   2338      67053   Joseph Smith                             Bernstein Liebhard LLP           8:20-cv-12900-MCR-GRJ
   2339      67057   Armando Reyes                            Bernstein Liebhard LLP           8:20-cv-12908-MCR-GRJ
   2340      67065   Clinton Mcgovern                         Bernstein Liebhard LLP                                      8:20-cv-12927-MCR-GRJ
   2341      67067   Maxton Horne                             Bernstein Liebhard LLP           8:20-cv-12933-MCR-GRJ
   2342      67071   Gary Farmer                              Bernstein Liebhard LLP           8:20-cv-12936-MCR-GRJ
   2343      67075   Jerrod Andrews                           Bernstein Liebhard LLP                                      8:20-cv-12944-MCR-GRJ
   2344      67077   Daniel Nichols                           Bernstein Liebhard LLP                                      8:20-cv-12946-MCR-GRJ
   2345      67111   Jaime Zapien                             Bernstein Liebhard LLP           8:20-cv-13082-MCR-GRJ
   2346      67115   Wayne Robertson                          Bernstein Liebhard LLP                                      8:20-cv-13092-MCR-GRJ
   2347      67118   George Thiel                             Bernstein Liebhard LLP                                      8:20-cv-13100-MCR-GRJ
   2348      67128   John Osborn                              Bernstein Liebhard LLP                                      8:20-cv-13123-MCR-GRJ
   2349      67132   Shawn Bailey                             Bernstein Liebhard LLP           8:20-cv-13134-MCR-GRJ
   2350      67133   Clarence Saint                           Bernstein Liebhard LLP                                      8:20-cv-13137-MCR-GRJ
   2351      67135   Stephen Johnson                          Bernstein Liebhard LLP           8:20-cv-13141-MCR-GRJ
   2352      67140   Walker Heintze                           Bernstein Liebhard LLP           8:20-cv-13150-MCR-GRJ
   2353      67144   Nashon Jenkins                           Bernstein Liebhard LLP           8:20-cv-13156-MCR-GRJ
   2354      67147   Jesse Padron                             Bernstein Liebhard LLP           8:20-cv-13160-MCR-GRJ
   2355      67151   Jonathon Tuck                            Bernstein Liebhard LLP                                      8:20-cv-13168-MCR-GRJ
   2356      67154   Barry Emerich                            Bernstein Liebhard LLP           8:20-cv-13174-MCR-GRJ
   2357      67167   Timothy Kierein                          Bernstein Liebhard LLP           8:20-cv-13200-MCR-GRJ
   2358      67170   Jose Ayala                               Bernstein Liebhard LLP           8:20-cv-13205-MCR-GRJ
   2359      67172   Richard Wimer                            Bernstein Liebhard LLP           8:20-cv-13207-MCR-GRJ
   2360      67175   Daniel Gosnell                           Bernstein Liebhard LLP                                      8:20-cv-13213-MCR-GRJ
   2361      67176   Ivan Miramontes                          Bernstein Liebhard LLP           8:20-cv-13215-MCR-GRJ
   2362      67179   Jerry Duarte                             Bernstein Liebhard LLP           8:20-cv-13220-MCR-GRJ
   2363      67183   Jacob Jones                              Bernstein Liebhard LLP                                      8:20-cv-13232-MCR-GRJ
   2364      67195   Zachary Leighton                         Bernstein Liebhard LLP                                      8:20-cv-13267-MCR-GRJ
   2365      67203   William Lefebvre                         Bernstein Liebhard LLP           8:20-cv-13296-MCR-GRJ
   2366      67206   Brandon Montgomery                       Bernstein Liebhard LLP                                      8:20-cv-13308-MCR-GRJ
   2367      67208   Scott Kelly                              Bernstein Liebhard LLP           8:20-cv-13311-MCR-GRJ
   2368      67211   Christopher Cole                         Bernstein Liebhard LLP                                      8:20-cv-13323-MCR-GRJ
   2369      67225   Shane Hickman                            Bernstein Liebhard LLP                                      8:20-cv-13368-MCR-GRJ
   2370      67228   Lewis Vann                               Bernstein Liebhard LLP           8:20-cv-13379-MCR-GRJ
   2371      67233   Vanessa Opina                            Bernstein Liebhard LLP                                      8:20-cv-13401-MCR-GRJ
   2372      67236   Jason Gilmore                            Bernstein Liebhard LLP           8:20-cv-13417-MCR-GRJ
   2373      67237   Robert Suarez                            Bernstein Liebhard LLP           8:20-cv-13422-MCR-GRJ
   2374      67242   Clayton Smith                            Bernstein Liebhard LLP                                      8:20-cv-13442-MCR-GRJ
   2375      67253   Ryan States                              Bernstein Liebhard LLP           8:20-cv-13492-MCR-GRJ
   2376      67254   Abel Perales                             Bernstein Liebhard LLP           8:20-cv-13495-MCR-GRJ
   2377      67255   Brian Smith                              Bernstein Liebhard LLP                                      8:20-cv-13501-MCR-GRJ
   2378      67277   Levi Mugrage                             Bernstein Liebhard LLP                                      8:20-cv-13580-MCR-GRJ
   2379      67280   Justin Thomas                            Bernstein Liebhard LLP           8:20-cv-13594-MCR-GRJ
   2380      67282   Michael Brown                            Bernstein Liebhard LLP           8:20-cv-13599-MCR-GRJ
   2381      67289   Cody Wille                               Bernstein Liebhard LLP           8:20-cv-13630-MCR-GRJ
   2382      67291   Wellison Millan                          Bernstein Liebhard LLP           8:20-cv-13638-MCR-GRJ
   2383      67298   Michael Hastings                         Bernstein Liebhard LLP           8:20-cv-13662-MCR-GRJ
   2384      67299   James Long                               Bernstein Liebhard LLP           8:20-cv-13666-MCR-GRJ
   2385      67300   Ivan Suarez                              Bernstein Liebhard LLP           8:20-cv-13670-MCR-GRJ
   2386      67301   Joseph Connolly                          Bernstein Liebhard LLP           8:20-cv-13674-MCR-GRJ
   2387      67302   Keithon Lindsey                          Bernstein Liebhard LLP           8:20-cv-13679-MCR-GRJ
   2388      67305   Robert Green                             Bernstein Liebhard LLP                                      8:20-cv-13687-MCR-GRJ
   2389      67308   Sigfredo Vargas                          Bernstein Liebhard LLP           8:20-cv-13699-MCR-GRJ
   2390      67316   Christopher Reynolds                     Bernstein Liebhard LLP           8:20-cv-13727-MCR-GRJ
   2391      67318   Michael Mcghee                           Bernstein Liebhard LLP           8:20-cv-13735-MCR-GRJ
   2392      67323   Joshua Tomblin                           Bernstein Liebhard LLP           8:20-cv-13756-MCR-GRJ
   2393      67333   Adrian Albarracin                        Bernstein Liebhard LLP           8:20-cv-13222-MCR-GRJ
   2394      67338   Ryan Noffsinger                          Bernstein Liebhard LLP                                      8:20-cv-13235-MCR-GRJ
   2395      67339   Robert Kyser                             Bernstein Liebhard LLP           8:20-cv-13238-MCR-GRJ
   2396      67350   Jeffrey Campbell                         Bernstein Liebhard LLP           8:20-cv-13270-MCR-GRJ
   2397      67355   Joseph Hartman                           Bernstein Liebhard LLP                                      8:20-cv-13287-MCR-GRJ
   2398      67361   Johannes Baidenmann                      Bernstein Liebhard LLP           8:20-cv-13309-MCR-GRJ
   2399      67375   Nathaniel Meyer                          Bernstein Liebhard LLP                                      8:20-cv-13348-MCR-GRJ
   2400      67377   Anthony Johnson                          Bernstein Liebhard LLP           8:20-cv-13351-MCR-GRJ
   2401      67381   Christopher Stephens                     Bernstein Liebhard LLP                                      8:20-cv-13355-MCR-GRJ
   2402      67382   Allen Mitchell                           Bernstein Liebhard LLP           8:20-cv-13359-MCR-GRJ
   2403      67384   Andrew Dickinson                         Bernstein Liebhard LLP           8:20-cv-13367-MCR-GRJ
   2404      67391   Phillip Marlowe                          Bernstein Liebhard LLP           8:20-cv-13397-MCR-GRJ
   2405      67393   Dan Erdmann                              Bernstein Liebhard LLP           8:20-cv-13408-MCR-GRJ
   2406      67399   Ryan Milliken                            Bernstein Liebhard LLP                                      8:20-cv-13438-MCR-GRJ
   2407      67400   Donald Davies                            Bernstein Liebhard LLP           8:20-cv-13443-MCR-GRJ
   2408      67403   Albert Galindo                           Bernstein Liebhard LLP                                      8:20-cv-13459-MCR-GRJ
   2409      67408   Myles Smith                              Bernstein Liebhard LLP           8:20-cv-13475-MCR-GRJ




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   2410      67412   Glen Bond                                Bernstein Liebhard LLP           8:20-cv-13489-MCR-GRJ
   2411      67429   John Peters                              Bernstein Liebhard LLP           8:20-cv-13556-MCR-GRJ
   2412      67431   April Pitts                              Bernstein Liebhard LLP           8:20-cv-13567-MCR-GRJ
   2413      67433   Roy Goforth                              Bernstein Liebhard LLP                                      8:20-cv-13572-MCR-GRJ
   2414      67434   Andrew Berry                             Bernstein Liebhard LLP           8:20-cv-13576-MCR-GRJ
   2415      67435   Brian Farrell                            Bernstein Liebhard LLP                                      8:20-cv-13582-MCR-GRJ
   2416      67437   Ronald Bailey                            Bernstein Liebhard LLP           8:20-cv-13592-MCR-GRJ
   2417      67445   Jacob Haefs                              Bernstein Liebhard LLP                                      8:20-cv-13618-MCR-GRJ
   2418      67447   Omar Ortiz                               Bernstein Liebhard LLP           8:20-cv-13622-MCR-GRJ
   2419      67452   Brian Holbrook                           Bernstein Liebhard LLP                                      8:20-cv-13640-MCR-GRJ
   2420      67463   Greg Brooks                              Bernstein Liebhard LLP           8:20-cv-13681-MCR-GRJ
   2421      67466   John Dandeneau                           Bernstein Liebhard LLP           8:20-cv-13694-MCR-GRJ
   2422      67478   Daniel Bishop                            Bernstein Liebhard LLP                                      8:20-cv-13728-MCR-GRJ
   2423      67479   Dominique Whitehead                      Bernstein Liebhard LLP                                      8:20-cv-13732-MCR-GRJ
   2424      67486   Humberto Dominguez                       Bernstein Liebhard LLP           8:20-cv-13754-MCR-GRJ
   2425      67488   Brandyn Phillips                         Bernstein Liebhard LLP           8:20-cv-13762-MCR-GRJ
   2426      67489   Travis Clary                             Bernstein Liebhard LLP           8:20-cv-13766-MCR-GRJ
   2427      67491   Gilbert Millsap                          Bernstein Liebhard LLP           8:20-cv-13772-MCR-GRJ
   2428      67497   Kyle Weber                               Bernstein Liebhard LLP                                      8:20-cv-13785-MCR-GRJ
   2429      67499   William Fitzpatrick                      Bernstein Liebhard LLP           8:20-cv-13790-MCR-GRJ
   2430      67504   Chad St. Clair                           Bernstein Liebhard LLP           8:20-cv-14048-MCR-GRJ
   2431      67506   Thomas Cane                              Bernstein Liebhard LLP           8:20-cv-13801-MCR-GRJ
   2432      67507   Houston Dunsing                          Bernstein Liebhard LLP                                      8:20-cv-13803-MCR-GRJ
   2433      67510   Jonathan Smith                           Bernstein Liebhard LLP           8:20-cv-13807-MCR-GRJ
   2434      67519   Ciara Means                              Bernstein Liebhard LLP           8:20-cv-13822-MCR-GRJ
   2435      67520   Justin Mckinnie                          Bernstein Liebhard LLP           8:20-cv-13824-MCR-GRJ
   2436      67521   Adam Lutz                                Bernstein Liebhard LLP                                      8:20-cv-13826-MCR-GRJ
   2437      67526   Joshua Schertenleib                      Bernstein Liebhard LLP           8:20-cv-13837-MCR-GRJ
   2438      67527   Deontra Tyler                            Bernstein Liebhard LLP           8:20-cv-13841-MCR-GRJ
   2439      67529   Robert Pidgeon                           Bernstein Liebhard LLP           8:20-cv-13844-MCR-GRJ
   2440      67538   Charles Griffin                          Bernstein Liebhard LLP           8:20-cv-13865-MCR-GRJ
   2441      67540   Charles Crane                            Bernstein Liebhard LLP                                      8:20-cv-13874-MCR-GRJ
   2442      67541   Daniella Terry                           Bernstein Liebhard LLP           8:20-cv-13878-MCR-GRJ
   2443      67544   Thomas Mcmillan                          Bernstein Liebhard LLP           8:20-cv-13887-MCR-GRJ
   2444      67546   Darcie Thompson                          Bernstein Liebhard LLP                                      8:20-cv-13895-MCR-GRJ
   2445      67548   Timothy Ritter                           Bernstein Liebhard LLP           8:20-cv-13905-MCR-GRJ
   2446      67554   John Pilkins                             Bernstein Liebhard LLP                                      8:20-cv-13934-MCR-GRJ
   2447      67555   Ryan Brown                               Bernstein Liebhard LLP           8:20-cv-13940-MCR-GRJ
   2448      67557   Michael Vankirk                          Bernstein Liebhard LLP           8:20-cv-13951-MCR-GRJ
   2449      67567   William Hausenfluck                      Bernstein Liebhard LLP                                      8:20-cv-13999-MCR-GRJ
   2450      67572   Brice Mcneill                            Bernstein Liebhard LLP           8:20-cv-14028-MCR-GRJ
   2451      67575   Jose Delagraza                           Bernstein Liebhard LLP                                      8:20-cv-14042-MCR-GRJ
   2452      67586   James Culton                             Bernstein Liebhard LLP           8:20-cv-12314-MCR-GRJ
   2453      67593   Eleazar Martinez                         Bernstein Liebhard LLP           8:20-cv-12335-MCR-GRJ
   2454      67597   Nicholas Seigle                          Bernstein Liebhard LLP                                      8:20-cv-12362-MCR-GRJ
   2455      67599   Scott Lambert                            Bernstein Liebhard LLP                                      8:20-cv-12375-MCR-GRJ
   2456      67600   Michael Cordosi                          Bernstein Liebhard LLP                                      8:20-cv-12381-MCR-GRJ
   2457      67601   Michael Palestino                        Bernstein Liebhard LLP           8:20-cv-12387-MCR-GRJ
   2458      67602   Thomas Jackson                           Bernstein Liebhard LLP                                      8:20-cv-12393-MCR-GRJ
   2459      67607   Nathaniel Holmgard                       Bernstein Liebhard LLP           8:20-cv-12418-MCR-GRJ
   2460      67615   Anthony Morra                            Bernstein Liebhard LLP           8:20-cv-12436-MCR-GRJ
   2461      67617   Derrick Jones                            Bernstein Liebhard LLP           8:20-cv-12451-MCR-GRJ
   2462      67618   Kristofer Reid                           Bernstein Liebhard LLP                                      8:20-cv-12457-MCR-GRJ
   2463      67623   John Ochoa                               Bernstein Liebhard LLP                                      8:20-cv-12481-MCR-GRJ
   2464      67632   Paul Simon                               Bernstein Liebhard LLP           8:20-cv-12532-MCR-GRJ
   2465      67635   Robbie Collins                           Bernstein Liebhard LLP                                      8:20-cv-12544-MCR-GRJ
   2466      67636   Kelli Abercrombie                        Bernstein Liebhard LLP                                      8:20-cv-12551-MCR-GRJ
   2467      67638   Anoki Richardson                         Bernstein Liebhard LLP                                      8:20-cv-13868-MCR-GRJ
   2468      67639   Christina Walker                         Bernstein Liebhard LLP                                      8:20-cv-13872-MCR-GRJ
   2469      67645   Faiane Pulu                              Bernstein Liebhard LLP           8:20-cv-13891-MCR-GRJ
   2470      67648   Hayden Mickley                           Bernstein Liebhard LLP           8:20-cv-13897-MCR-GRJ
   2471      67650   Benjamin Konecne                         Bernstein Liebhard LLP                                      8:20-cv-13908-MCR-GRJ
   2472      67653   Ryan O'Neill                             Bernstein Liebhard LLP           8:20-cv-13926-MCR-GRJ
   2473      67654   Derrick Smaltz                           Bernstein Liebhard LLP           8:20-cv-13933-MCR-GRJ
   2474      67656   Scott Mendenhall                         Bernstein Liebhard LLP           8:20-cv-13948-MCR-GRJ
   2475      67670   Travis Gruber                            Bernstein Liebhard LLP                                      8:20-cv-14037-MCR-GRJ
   2476      67671   Harry Williams                           Bernstein Liebhard LLP           8:20-cv-14043-MCR-GRJ
   2477      67672   Brandon Ward                             Bernstein Liebhard LLP           8:20-cv-14049-MCR-GRJ
   2478      67677   Yordano Berrios                          Bernstein Liebhard LLP                                      8:20-cv-14078-MCR-GRJ
   2479      67684   Dakota Lane                              Bernstein Liebhard LLP           8:20-cv-14107-MCR-GRJ
   2480      67690   Ryan Buss                                Bernstein Liebhard LLP           8:20-cv-14145-MCR-GRJ
   2481      67691   Justin Harvey                            Bernstein Liebhard LLP           8:20-cv-14150-MCR-GRJ
   2482      67695   Gregory Mcmillan                         Bernstein Liebhard LLP                                      8:20-cv-14166-MCR-GRJ




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   2483      67697   Ashley Szekley                           Bernstein Liebhard LLP           8:20-cv-14176-MCR-GRJ
   2484      67701   Taz Smith                                Bernstein Liebhard LLP           8:20-cv-14197-MCR-GRJ
   2485      67702   John Moran                               Bernstein Liebhard LLP                                      8:20-cv-14202-MCR-GRJ
   2486      67703   Robert Brown                             Bernstein Liebhard LLP           8:20-cv-14208-MCR-GRJ
   2487      67704   Eli Garsee                               Bernstein Liebhard LLP           8:20-cv-14215-MCR-GRJ
   2488      67714   Robert Todd                              Bernstein Liebhard LLP           8:20-cv-14270-MCR-GRJ
   2489      67717   Scott Butler                             Bernstein Liebhard LLP           8:20-cv-14284-MCR-GRJ
   2490      67718   Joseph Porath                            Bernstein Liebhard LLP                                      8:20-cv-14289-MCR-GRJ
   2491      67727   Otis Hooper                              Bernstein Liebhard LLP                                      8:20-cv-14329-MCR-GRJ
   2492      67729   Christopher Brindley                     Bernstein Liebhard LLP                                      8:20-cv-14340-MCR-GRJ
   2493      67731   Aaron Demarte                            Bernstein Liebhard LLP                                      8:20-cv-14350-MCR-GRJ
   2494      67735   Aaron Short                              Bernstein Liebhard LLP           8:20-cv-14372-MCR-GRJ
   2495      67737   Clarence Perry                           Bernstein Liebhard LLP           8:20-cv-14382-MCR-GRJ
   2496      67741   Brandon Nichols                          Bernstein Liebhard LLP                                      8:20-cv-14406-MCR-GRJ
   2497      67742   Devin Hudson                             Bernstein Liebhard LLP           8:20-cv-14412-MCR-GRJ
   2498      67743   Stanley Solomon                          Bernstein Liebhard LLP                                      8:20-cv-14417-MCR-GRJ
   2499      67747   Andrew Micklus                           Bernstein Liebhard LLP                                      8:20-cv-14428-MCR-GRJ
   2500      67748   Shane Griffin                            Bernstein Liebhard LLP                                      8:20-cv-14433-MCR-GRJ
   2501      67749   William Hardwick                         Bernstein Liebhard LLP           8:20-cv-14439-MCR-GRJ
   2502      67750   James Riechers                           Bernstein Liebhard LLP           8:20-cv-14444-MCR-GRJ
   2503      67751   Robert Wainwright                        Bernstein Liebhard LLP           8:20-cv-14450-MCR-GRJ
   2504      67754   Billy Temple                             Bernstein Liebhard LLP                                      8:20-cv-14466-MCR-GRJ
   2505      67755   Marcus Davis                             Bernstein Liebhard LLP           8:20-cv-14472-MCR-GRJ
   2506      67759   Carlos Gonzalez                          Bernstein Liebhard LLP           8:20-cv-14482-MCR-GRJ
   2507      67763   Ryan Mcginnis                            Bernstein Liebhard LLP           8:20-cv-14494-MCR-GRJ
   2508      67765   Eric Mossi                               Bernstein Liebhard LLP                                      8:20-cv-14504-MCR-GRJ
   2509      67767   Jason Currence                           Bernstein Liebhard LLP           8:20-cv-14516-MCR-GRJ
   2510      67772   Steven Medeiros                          Bernstein Liebhard LLP           8:20-cv-14544-MCR-GRJ
   2511      67777   Travis Ardagna                           Bernstein Liebhard LLP           8:20-cv-14573-MCR-GRJ
   2512      67779   Kevin Mannin                             Bernstein Liebhard LLP           8:20-cv-14578-MCR-GRJ
   2513      67781   Joshua Cole                              Bernstein Liebhard LLP           8:20-cv-14588-MCR-GRJ
   2514      67786   Aaron Hauzer                             Bernstein Liebhard LLP           8:20-cv-14611-MCR-GRJ
   2515      67789   Robert Fox                               Bernstein Liebhard LLP                                      8:20-cv-14628-MCR-GRJ
   2516      67790   David Roberts                            Bernstein Liebhard LLP           8:20-cv-14633-MCR-GRJ
   2517      67793   Damon Baker                              Bernstein Liebhard LLP                                      8:20-cv-14650-MCR-GRJ
   2518      67796   Deke Rivers                              Bernstein Liebhard LLP                                      8:20-cv-14666-MCR-GRJ
   2519      67797   Anthony Farrell                          Bernstein Liebhard LLP           8:20-cv-14672-MCR-GRJ
   2520      67802   Tristan Stone                            Bernstein Liebhard LLP                                      8:20-cv-14700-MCR-GRJ
   2521      67803   Julian Ramos                             Bernstein Liebhard LLP           8:20-cv-15326-MCR-GRJ
   2522      67805   Francisco Rea                            Bernstein Liebhard LLP                                      8:20-cv-15332-MCR-GRJ
   2523      67808   Mark Cockrell                            Bernstein Liebhard LLP                                      8:20-cv-15336-MCR-GRJ
   2524      67809   Avis Harraway                            Bernstein Liebhard LLP                                      8:20-cv-15338-MCR-GRJ
   2525      67811   Zachary Turner                           Bernstein Liebhard LLP           8:20-cv-15343-MCR-GRJ
   2526      67814   Taylor Sorensen                          Bernstein Liebhard LLP           8:20-cv-15349-MCR-GRJ
   2527      67820   Billie Gladney                           Bernstein Liebhard LLP           8:20-cv-15361-MCR-GRJ
   2528      67822   Terry Berkshire                          Bernstein Liebhard LLP                                      8:20-cv-15365-MCR-GRJ
   2529      67824   James Lange                              Bernstein Liebhard LLP           8:20-cv-15369-MCR-GRJ
   2530      67827   Martin Carmichael                        Bernstein Liebhard LLP           8:20-cv-15375-MCR-GRJ
   2531      67828   Malik James                              Bernstein Liebhard LLP                                      8:20-cv-15377-MCR-GRJ
   2532      67831   Chad Berryman                            Bernstein Liebhard LLP           8:20-cv-15383-MCR-GRJ
   2533      67835   Daniel Hunt                              Bernstein Liebhard LLP                                      8:20-cv-15389-MCR-GRJ
   2534      67845   Sisi Moala                               Bernstein Liebhard LLP                                      8:20-cv-15408-MCR-GRJ
   2535      67849   Terrance Kendrick                        Bernstein Liebhard LLP           8:20-cv-15414-MCR-GRJ
   2536      67854   Shane Mottl                              Bernstein Liebhard LLP           8:20-cv-15424-MCR-GRJ
   2537      67855   Brett Rollins                            Bernstein Liebhard LLP           8:20-cv-15426-MCR-GRJ
   2538      67856   Michael Salas                            Bernstein Liebhard LLP           8:20-cv-15428-MCR-GRJ
   2539      67858   Joshua Crafts                            Bernstein Liebhard LLP                                      8:20-cv-15433-MCR-GRJ
   2540      67862   Gabriel Gonzalez                         Bernstein Liebhard LLP                                      8:20-cv-15438-MCR-GRJ
   2541      67865   Harold Golden                            Bernstein Liebhard LLP                                      8:20-cv-15442-MCR-GRJ
   2542      67867   Kerwin Blake                             Bernstein Liebhard LLP                                      8:20-cv-15446-MCR-GRJ
   2543      67871   Marco Siller                             Bernstein Liebhard LLP                                      8:20-cv-15454-MCR-GRJ
   2544      67872   Joseph Conerly                           Bernstein Liebhard LLP           8:20-cv-15456-MCR-GRJ
   2545      67874   Daniel Crimmins                          Bernstein Liebhard LLP           8:20-cv-15458-MCR-GRJ
   2546      67875   Donald Kampa                             Bernstein Liebhard LLP           8:20-cv-15459-MCR-GRJ
   2547      67880   Justin Williams                          Bernstein Liebhard LLP                                      8:20-cv-15463-MCR-GRJ
   2548      67881   Matthew Holub                            Bernstein Liebhard LLP           8:20-cv-15465-MCR-GRJ
   2549      67883   Guillermo Mendoza                        Bernstein Liebhard LLP           8:20-cv-15469-MCR-GRJ
   2550      67885   William Hackett                          Bernstein Liebhard LLP           8:20-cv-15474-MCR-GRJ
   2551      67888   Brandon Saunders                         Bernstein Liebhard LLP           8:20-cv-15478-MCR-GRJ
   2552      67891   Jeffrey Allen                            Bernstein Liebhard LLP           8:20-cv-15482-MCR-GRJ
   2553      67892   John Razza                               Bernstein Liebhard LLP           8:20-cv-15484-MCR-GRJ
   2554      67893   Darreyl Walker                           Bernstein Liebhard LLP                                      8:20-cv-15486-MCR-GRJ
   2555      67895   David Simily                             Bernstein Liebhard LLP                                      8:20-cv-15488-MCR-GRJ




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   2556      67896    Rodney Bise                             Bernstein Liebhard LLP                                      8:20-cv-15490-MCR-GRJ
   2557      67897    Scott Kleinpeter                        Bernstein Liebhard LLP           8:20-cv-15492-MCR-GRJ
   2558      67900    Cody Runke                              Bernstein Liebhard LLP           8:20-cv-15497-MCR-GRJ
   2559      67903    Michael Dunn                            Bernstein Liebhard LLP           8:20-cv-15503-MCR-GRJ
   2560      67904    Anthony Mcneese                         Bernstein Liebhard LLP           8:20-cv-15505-MCR-GRJ
   2561      67905    Phyllis Kinnard                         Bernstein Liebhard LLP           8:20-cv-15507-MCR-GRJ
   2562      67911    Mathew Stewart                          Bernstein Liebhard LLP           8:20-cv-15517-MCR-GRJ
   2563      67913    Trey Smillie                            Bernstein Liebhard LLP           8:20-cv-15519-MCR-GRJ
   2564      67915    Scott Snider                            Bernstein Liebhard LLP           8:20-cv-15521-MCR-GRJ
   2565      67917    Sean Brown                              Bernstein Liebhard LLP           8:20-cv-15524-MCR-GRJ
   2566      67929    Michael Santoro                         Bernstein Liebhard LLP                                      8:20-cv-15540-MCR-GRJ
   2567      67932    Chris Wheeler                           Bernstein Liebhard LLP           8:20-cv-15546-MCR-GRJ
   2568      67934    Matthew Pyle                            Bernstein Liebhard LLP           8:20-cv-15549-MCR-GRJ
   2569      67935    Saul Merejo                             Bernstein Liebhard LLP           8:20-cv-15551-MCR-GRJ
   2570      67936    Makelyia Sheppard                       Bernstein Liebhard LLP           8:20-cv-15553-MCR-GRJ
   2571      67937    Juan Toribio                            Bernstein Liebhard LLP           8:20-cv-15555-MCR-GRJ
   2572      67938    Roland Odom                             Bernstein Liebhard LLP           8:20-cv-15557-MCR-GRJ
   2573      67941    Justin Taylor                           Bernstein Liebhard LLP           8:20-cv-15563-MCR-GRJ
   2574      67946    Rendell Haynes                          Bernstein Liebhard LLP           8:20-cv-15574-MCR-GRJ
   2575      67947    Demetrius Mcgill                        Bernstein Liebhard LLP           8:20-cv-15576-MCR-GRJ
   2576      67949    Christopher Mizell                      Bernstein Liebhard LLP                                      8:20-cv-15578-MCR-GRJ
   2577      67950    Keith Redington                         Bernstein Liebhard LLP           8:20-cv-15580-MCR-GRJ
   2578      67952    Justin Reece                            Bernstein Liebhard LLP                                      8:20-cv-15582-MCR-GRJ
   2579      67958    Nicholas Parker                         Bernstein Liebhard LLP           8:20-cv-15593-MCR-GRJ
   2580      67967    Jason Morris                            Bernstein Liebhard LLP           8:20-cv-15608-MCR-GRJ
   2581      67969    William Taylor                          Bernstein Liebhard LLP           8:20-cv-15612-MCR-GRJ
   2582      67976    Joseph Nicholas                         Bernstein Liebhard LLP           8:20-cv-15627-MCR-GRJ
   2583      67979    Richard Chapman                         Bernstein Liebhard LLP           8:20-cv-15774-MCR-GRJ
   2584      67985    Deanthony Stevenson                     Bernstein Liebhard LLP           8:20-cv-15789-MCR-GRJ
   2585      67987    Ozzy Ornelas                            Bernstein Liebhard LLP           8:20-cv-15797-MCR-GRJ
   2586      67989    Adam Chapa                              Bernstein Liebhard LLP           8:20-cv-15805-MCR-GRJ
   2587      67991    John Bartley                            Bernstein Liebhard LLP           8:20-cv-15808-MCR-GRJ
   2588      67995    Zane Henson                             Bernstein Liebhard LLP                                      8:20-cv-15819-MCR-GRJ
   2589      67996    William Wentz                           Bernstein Liebhard LLP           8:20-cv-15822-MCR-GRJ
   2590      67998    John Forrester                          Bernstein Liebhard LLP           8:20-cv-15829-MCR-GRJ
   2591      68008    Christopher Veek                        Bernstein Liebhard LLP           8:20-cv-15861-MCR-GRJ
   2592      68013    Robert Brawley                          Bernstein Liebhard LLP                                      8:20-cv-15882-MCR-GRJ
   2593      68014    Jordon Alvord                           Bernstein Liebhard LLP           8:20-cv-15886-MCR-GRJ
   2594      68015    Raymond Grant                           Bernstein Liebhard LLP           8:20-cv-15891-MCR-GRJ
   2595      68016    Tyler Cranor                            Bernstein Liebhard LLP           8:20-cv-15895-MCR-GRJ
   2596      68028    Brian Outland                           Bernstein Liebhard LLP           8:20-cv-15928-MCR-GRJ
   2597      161962   Matthew Grove                           Bernstein Liebhard LLP           8:20-cv-15161-MCR-GRJ
   2598      162367   Grayson Alderman                        Bernstein Liebhard LLP           8:20-cv-15174-MCR-GRJ
   2599      174381   Janel Greenidgenie Sharp                Bernstein Liebhard LLP           8:20-cv-15736-MCR-GRJ
   2600      315759   Alberto Padron                          Bernstein Liebhard LLP           7:21-cv-29154-MCR-GRJ
   2601      101797   Donna Biggs                             Bertram & Graf, L.L.C.           7:20-cv-45342-MCR-GRJ
   2602      101799   Benjamin Bishop                         Bertram & Graf, L.L.C.           7:20-cv-45344-MCR-GRJ
   2603      101806   Timothy Boulay                          Bertram & Graf, L.L.C.           7:20-cv-45358-MCR-GRJ
   2604      101823   Martin Caraway                          Bertram & Graf, L.L.C.                                      7:20-cv-45393-MCR-GRJ
   2605      101878   Catrina Downing                         Bertram & Graf, L.L.C.                                      7:20-cv-45512-MCR-GRJ
   2606      101910   Ian Flores                              Bertram & Graf, L.L.C.           7:20-cv-45643-MCR-GRJ
   2607      101913   Dwayne Ford                             Bertram & Graf, L.L.C.                                      7:20-cv-45659-MCR-GRJ
   2608      101915   Denver Foster                           Bertram & Graf, L.L.C.                                      7:20-cv-45665-MCR-GRJ
   2609      101927   Michael Geddings                        Bertram & Graf, L.L.C.                                      7:20-cv-45731-MCR-GRJ
   2610      101936   Maria Gonzalez-Prats                    Bertram & Graf, L.L.C.           7:20-cv-45768-MCR-GRJ
   2611      101937   Michael Gose                            Bertram & Graf, L.L.C.           7:20-cv-45774-MCR-GRJ
   2612      101948   Alexander Grzesik                       Bertram & Graf, L.L.C.                                      7:20-cv-45801-MCR-GRJ
   2613      101977   Joshua Hester                           Bertram & Graf, L.L.C.                                      7:20-cv-45902-MCR-GRJ
   2614      101978   Robert Hickman                          Bertram & Graf, L.L.C.           7:20-cv-45907-MCR-GRJ
   2615      102023   Billy Konkel                            Bertram & Graf, L.L.C.                                      7:20-cv-46027-MCR-GRJ
   2616      102044   Christopher Loyd                        Bertram & Graf, L.L.C.                                      7:20-cv-46103-MCR-GRJ
   2617      102055   Andreco Manigault                       Bertram & Graf, L.L.C.           7:20-cv-46139-MCR-GRJ
   2618      102060   Norman Martin                           Bertram & Graf, L.L.C.                                      7:20-cv-46156-MCR-GRJ
   2619      102063   Kevin Martin                            Bertram & Graf, L.L.C.           7:20-cv-46170-MCR-GRJ
   2620      102067   Anthony Matarazzo                       Bertram & Graf, L.L.C.                                      7:20-cv-46183-MCR-GRJ
   2621      102096   James Misa                              Bertram & Graf, L.L.C.           7:20-cv-46282-MCR-GRJ
   2622      102097   Bryant Mitchell                         Bertram & Graf, L.L.C.                                      7:20-cv-46287-MCR-GRJ
   2623      102100   Lee Mole                                Bertram & Graf, L.L.C.           7:20-cv-46296-MCR-GRJ
   2624      102110   Eric Myers                              Bertram & Graf, L.L.C.           7:20-cv-46322-MCR-GRJ
   2625      102118   Kevin O'Connor                          Bertram & Graf, L.L.C.                                      7:20-cv-46341-MCR-GRJ
   2626      102126   David Patch                             Bertram & Graf, L.L.C.           7:20-cv-46359-MCR-GRJ
   2627      102135   Tyler Powell                            Bertram & Graf, L.L.C.                                      7:20-cv-46398-MCR-GRJ
   2628      102139   Jason Price                             Bertram & Graf, L.L.C.                                      7:20-cv-46413-MCR-GRJ




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   2629      102141   Damian Provencio                        Bertram & Graf, L.L.C.           7:20-cv-46418-MCR-GRJ
   2630      102185   Colleen Sheese                          Bertram & Graf, L.L.C.                                      7:20-cv-46562-MCR-GRJ
   2631      102207   Guy Stridsigne                          Bertram & Graf, L.L.C.                                      7:20-cv-46612-MCR-GRJ
   2632      102227   Jacob Torrez                            Bertram & Graf, L.L.C.                                      7:20-cv-46645-MCR-GRJ
   2633      102260   William Wheeless                        Bertram & Graf, L.L.C.           7:20-cv-46693-MCR-GRJ
   2634      102265   Christopher Willett                     Bertram & Graf, L.L.C.                                      7:20-cv-46705-MCR-GRJ
   2635      180156   Joshua Barnes                           Bertram & Graf, L.L.C.           7:20-cv-46817-MCR-GRJ
   2636      180189   Sarah Parker                            Bertram & Graf, L.L.C.           7:20-cv-46891-MCR-GRJ
   2637      196927   William Bramlette                       Bertram & Graf, L.L.C.           8:20-cv-32212-MCR-GRJ
   2638      196934   Eric Buday                              Bertram & Graf, L.L.C.                                      8:20-cv-32235-MCR-GRJ
   2639      196947   Garrett Cloud                           Bertram & Graf, L.L.C.                                      8:20-cv-32275-MCR-GRJ
   2640      196971   Thomas Dill                             Bertram & Graf, L.L.C.           8:20-cv-32368-MCR-GRJ
   2641      196975   Nicky Dordon                            Bertram & Graf, L.L.C.           8:20-cv-32387-MCR-GRJ
   2642      196981   Patrick Fax                             Bertram & Graf, L.L.C.                                      8:20-cv-32416-MCR-GRJ
   2643      196987   Spenser Fowler                          Bertram & Graf, L.L.C.                                      8:20-cv-32439-MCR-GRJ
   2644      197006   Fernando Guillen                        Bertram & Graf, L.L.C.           8:20-cv-32540-MCR-GRJ
   2645      197019   Jesse Heels                             Bertram & Graf, L.L.C.                                      8:20-cv-32594-MCR-GRJ
   2646      197045   Darrell Johnson                         Bertram & Graf, L.L.C.                                      8:20-cv-32204-MCR-GRJ
   2647      197065   Joshua Lavigne                          Bertram & Graf, L.L.C.           8:20-cv-32262-MCR-GRJ
   2648      197068   Owen Lee                                Bertram & Graf, L.L.C.                                      8:20-cv-32271-MCR-GRJ
   2649      197082   Michael Manos                           Bertram & Graf, L.L.C.                                      8:20-cv-32317-MCR-GRJ
   2650      197091   Mark Mcfarland                          Bertram & Graf, L.L.C.           8:20-cv-32349-MCR-GRJ
   2651      197094   Rob Mendel                              Bertram & Graf, L.L.C.                                      8:20-cv-32362-MCR-GRJ
   2652      197100   Elliott Miro                            Bertram & Graf, L.L.C.           8:20-cv-32389-MCR-GRJ
   2653      197139   Christopher Rhodes                      Bertram & Graf, L.L.C.                                      8:20-cv-32574-MCR-GRJ
   2654      197177   Oishi Stevens                           Bertram & Graf, L.L.C.           8:20-cv-32735-MCR-GRJ
   2655      197204   Victor Watson                           Bertram & Graf, L.L.C.           8:20-cv-32818-MCR-GRJ
   2656      197208   Clifton Wilbert                         Bertram & Graf, L.L.C.                                      8:20-cv-32829-MCR-GRJ
   2657      197209   Charles Wilford                         Bertram & Graf, L.L.C.           8:20-cv-32832-MCR-GRJ
   2658      197213   Keionte Wilson                          Bertram & Graf, L.L.C.           8:20-cv-32842-MCR-GRJ
   2659      197223   James Zwickert                          Bertram & Graf, L.L.C.           8:20-cv-32872-MCR-GRJ
   2660      218877   Mark Brunell                            Bertram & Graf, L.L.C.                                      8:20-cv-69256-MCR-GRJ
   2661      218893   Vincent Cuello                          Bertram & Graf, L.L.C.                                      8:20-cv-69303-MCR-GRJ
   2662      218901   Stephen Dukes                           Bertram & Graf, L.L.C.           8:20-cv-70968-MCR-GRJ
   2663      218902   Steven Ebner                            Bertram & Graf, L.L.C.                                      8:20-cv-70970-MCR-GRJ
   2664      218907   Teresa Fassett                          Bertram & Graf, L.L.C.                                      8:20-cv-70979-MCR-GRJ
   2665      218912   Dale Frederick                          Bertram & Graf, L.L.C.                                      8:20-cv-70988-MCR-GRJ
   2666      218915   Kevin Gibson                            Bertram & Graf, L.L.C.           8:20-cv-70993-MCR-GRJ
   2667      218929   Michael Hedgeman                        Bertram & Graf, L.L.C.                                      8:20-cv-71018-MCR-GRJ
   2668      218935   Austin Jardine                          Bertram & Graf, L.L.C.           8:20-cv-71028-MCR-GRJ
   2669      218948   Richard Landolt                         Bertram & Graf, L.L.C.           8:20-cv-72294-MCR-GRJ
   2670      218968   Daniel Morgan                           Bertram & Graf, L.L.C.           8:20-cv-72345-MCR-GRJ
   2671      218970   Desmond Morrow                          Bertram & Graf, L.L.C.           8:20-cv-72349-MCR-GRJ
   2672      218975   Mayford Nelson                          Bertram & Graf, L.L.C.                                      8:20-cv-72363-MCR-GRJ
   2673      218979   Michael Palkki                          Bertram & Graf, L.L.C.           8:20-cv-72373-MCR-GRJ
   2674      218981   Adam Parker                             Bertram & Graf, L.L.C.           8:20-cv-72379-MCR-GRJ
   2675      218987   Cecil Perkins                           Bertram & Graf, L.L.C.                                      8:20-cv-72392-MCR-GRJ
   2676      218988   Liam Perry                              Bertram & Graf, L.L.C.           8:20-cv-72395-MCR-GRJ
   2677      218989   Shawn Perry                             Bertram & Graf, L.L.C.           8:20-cv-72397-MCR-GRJ
   2678      219013   Jacob Schlemmer                         Bertram & Graf, L.L.C.           8:20-cv-73774-MCR-GRJ
   2679      219026   Thomas Spies                            Bertram & Graf, L.L.C.                                      8:20-cv-73911-MCR-GRJ
   2680      219034   Luis Torrento                           Bertram & Graf, L.L.C.                                      8:20-cv-73940-MCR-GRJ
   2681      219036   Ronald Walters                          Bertram & Graf, L.L.C.           8:20-cv-73946-MCR-GRJ
   2682      219040   Frankie Williams                        Bertram & Graf, L.L.C.           8:20-cv-73958-MCR-GRJ
   2683      219041   Larry Wilson                            Bertram & Graf, L.L.C.                                      8:20-cv-73961-MCR-GRJ
   2684      219044   Richard Wolters                         Bertram & Graf, L.L.C.                                      8:20-cv-73969-MCR-GRJ
   2685      219045   Matthew Wyatt                           Bertram & Graf, L.L.C.           8:20-cv-73972-MCR-GRJ
   2686      253828   Andrew Aguirre                          Bertram & Graf, L.L.C.                                      8:20-cv-87353-MCR-GRJ
   2687      253837   Jeffery Battaglia                       Bertram & Graf, L.L.C.           8:20-cv-87378-MCR-GRJ
   2688      253841   Eileen Bonner                           Bertram & Graf, L.L.C.                                      8:20-cv-87391-MCR-GRJ
   2689      253849   Conan Cameron                           Bertram & Graf, L.L.C.           8:20-cv-87415-MCR-GRJ
   2690      253851   Christopher Chen                        Bertram & Graf, L.L.C.           8:20-cv-87422-MCR-GRJ
   2691      253873   Chris Greig                             Bertram & Graf, L.L.C.           8:20-cv-87502-MCR-GRJ
   2692      253881   Cameron Hilliard                        Bertram & Graf, L.L.C.           8:20-cv-87535-MCR-GRJ
   2693      253900   Derrick Matthews                        Bertram & Graf, L.L.C.                                      8:20-cv-87599-MCR-GRJ
   2694      253906   Juanita Miles                           Bertram & Graf, L.L.C.           8:20-cv-87615-MCR-GRJ
   2695      253992   Zach Shryock                            Bertram & Graf, L.L.C.           8:20-cv-87849-MCR-GRJ
   2696      266054   Marina Aguero                           Bertram & Graf, L.L.C.           9:20-cv-06461-MCR-GRJ
   2697      266057   Tynesha Batt                            Bertram & Graf, L.L.C.           9:20-cv-06467-MCR-GRJ
   2698      266059   Winfred Brown                           Bertram & Graf, L.L.C.           9:20-cv-06471-MCR-GRJ
   2699      266072   Mark Dudenhoffer                        Bertram & Graf, L.L.C.           9:20-cv-06498-MCR-GRJ
   2700      266073   Joshua Earley                           Bertram & Graf, L.L.C.           9:20-cv-06500-MCR-GRJ
   2701      266101   Jason Madison                           Bertram & Graf, L.L.C.           9:20-cv-06582-MCR-GRJ




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   2702      266124   Jack Rupard                             Bertram & Graf, L.L.C.                                      9:20-cv-06648-MCR-GRJ
   2703      266130   Michael Stoute                          Bertram & Graf, L.L.C.           9:20-cv-06665-MCR-GRJ
   2704      266138   William Watson                          Bertram & Graf, L.L.C.           9:20-cv-06687-MCR-GRJ
   2705      275377   Curtis Vine                             Bertram & Graf, L.L.C.           9:20-cv-19240-MCR-GRJ
   2706      287654   Shawn Brody                             Bertram & Graf, L.L.C.           7:21-cv-08758-MCR-GRJ
   2707      287667   Alexander Hunt                          Bertram & Graf, L.L.C.                                      7:21-cv-08771-MCR-GRJ
   2708      287670   Richard Johnson                         Bertram & Graf, L.L.C.                                      7:21-cv-08774-MCR-GRJ
   2709      287676   Jason Klepac                            Bertram & Graf, L.L.C.           7:21-cv-08779-MCR-GRJ
   2710      287684   Ted Moore                               Bertram & Graf, L.L.C.           7:21-cv-08787-MCR-GRJ
   2711      287693   Samuel Peterson                         Bertram & Graf, L.L.C.           7:21-cv-08796-MCR-GRJ
   2712      287701   Timothy Schmidt                         Bertram & Graf, L.L.C.                                      7:21-cv-08804-MCR-GRJ
   2713      287703   Travis Stansbury                        Bertram & Graf, L.L.C.           7:21-cv-08806-MCR-GRJ
   2714      287715   Matthew Yates                           Bertram & Graf, L.L.C.           7:21-cv-08818-MCR-GRJ
   2715      287716   Nicholas Zaborski                       Bertram & Graf, L.L.C.           7:21-cv-08819-MCR-GRJ
   2716      300465   John Ambrus                             Bertram & Graf, L.L.C.           7:21-cv-20608-MCR-GRJ
   2717      300472   Robert Beck                             Bertram & Graf, L.L.C.                                      7:21-cv-20614-MCR-GRJ
   2718      300475   Jose Bermejo                            Bertram & Graf, L.L.C.                                      7:21-cv-20617-MCR-GRJ
   2719      300479   Cody Bowles                             Bertram & Graf, L.L.C.                                      7:21-cv-20621-MCR-GRJ
   2720      300480   Brian Bradosky                          Bertram & Graf, L.L.C.           7:21-cv-20622-MCR-GRJ
   2721      300489   Shaun Campbell                          Bertram & Graf, L.L.C.                                      7:21-cv-19925-MCR-GRJ
   2722      300497   Robert Christopher-Varricchio           Bertram & Graf, L.L.C.                                      7:21-cv-20637-MCR-GRJ
   2723      300501   William Cochran                         Bertram & Graf, L.L.C.                                      7:21-cv-20641-MCR-GRJ
   2724      300502   Brynell Cooper-Matthews                 Bertram & Graf, L.L.C.           7:21-cv-20642-MCR-GRJ
   2725      300506   George Cullison                         Bertram & Graf, L.L.C.                                      7:21-cv-20645-MCR-GRJ
   2726      300529   Anthony Ford                            Bertram & Graf, L.L.C.           7:21-cv-20667-MCR-GRJ
   2727      300533   Raymond Frank                           Bertram & Graf, L.L.C.                                      7:21-cv-20671-MCR-GRJ
   2728      300534   Christopher Galloway                    Bertram & Graf, L.L.C.           7:21-cv-20672-MCR-GRJ
   2729      300535   Jorge Garcia                            Bertram & Graf, L.L.C.           7:21-cv-20673-MCR-GRJ
   2730      300542   Amberlee Guerin                         Bertram & Graf, L.L.C.           7:21-cv-20680-MCR-GRJ
   2731      300543   Dyllon Gunsolus                         Bertram & Graf, L.L.C.                                      7:21-cv-20681-MCR-GRJ
   2732      300550   Carrisa Henderson                       Bertram & Graf, L.L.C.           7:21-cv-20688-MCR-GRJ
   2733      300564   Sharon Johnson                          Bertram & Graf, L.L.C.           7:21-cv-20702-MCR-GRJ
   2734      300568   Carolyn Jones                           Bertram & Graf, L.L.C.           7:21-cv-20706-MCR-GRJ
   2735      300571   Andre Kanvas                            Bertram & Graf, L.L.C.           7:21-cv-20709-MCR-GRJ
   2736      300592   Christopher Masten                      Bertram & Graf, L.L.C.                                      7:21-cv-20729-MCR-GRJ
   2737      300594   Shawn Maxfield                          Bertram & Graf, L.L.C.                                      7:21-cv-20731-MCR-GRJ
   2738      300603   Michael Miller                          Bertram & Graf, L.L.C.           7:21-cv-20738-MCR-GRJ
   2739      300626   Ashley Ramos Simiakos                   Bertram & Graf, L.L.C.           7:21-cv-20759-MCR-GRJ
   2740      300628   Zachery Reifsnider                      Bertram & Graf, L.L.C.           7:21-cv-20761-MCR-GRJ
   2741      300644   Isaac Schugel                           Bertram & Graf, L.L.C.           7:21-cv-20870-MCR-GRJ
   2742      300650   Aaron Slatton                           Bertram & Graf, L.L.C.           7:21-cv-20876-MCR-GRJ
   2743      300657   Larry Starks                            Bertram & Graf, L.L.C.           7:21-cv-20883-MCR-GRJ
   2744      300661   Marquea Stewart                         Bertram & Graf, L.L.C.           7:21-cv-20887-MCR-GRJ
   2745      300671   Latoya Thompson                         Bertram & Graf, L.L.C.           7:21-cv-20896-MCR-GRJ
   2746      300675   Johnathon Trexler                       Bertram & Graf, L.L.C.           7:21-cv-20900-MCR-GRJ
   2747      300680   Caleb Walker                            Bertram & Graf, L.L.C.           7:21-cv-20905-MCR-GRJ
   2748      300681   Jessie Wallace                          Bertram & Graf, L.L.C.           7:21-cv-20906-MCR-GRJ
   2749      311049   Albert Betchie                          Bertram & Graf, L.L.C.           7:21-cv-27587-MCR-GRJ
   2750      311069   Daniel Cormican                         Bertram & Graf, L.L.C.           7:21-cv-27630-MCR-GRJ
   2751      311074   Richard Dalaba                          Bertram & Graf, L.L.C.           7:21-cv-27641-MCR-GRJ
   2752      311075   Troy Darby                              Bertram & Graf, L.L.C.           7:21-cv-27642-MCR-GRJ
   2753      311088   Brandon Filosa                          Bertram & Graf, L.L.C.           7:21-cv-27655-MCR-GRJ
   2754      311126   Daniel Layfield                         Bertram & Graf, L.L.C.           7:21-cv-28908-MCR-GRJ
   2755      311133   Robert Luna                             Bertram & Graf, L.L.C.                                      7:21-cv-28924-MCR-GRJ
   2756      311135   James Marsh                             Bertram & Graf, L.L.C.           7:21-cv-28928-MCR-GRJ
   2757      311182   Benjamin Siemens                        Bertram & Graf, L.L.C.           7:21-cv-29032-MCR-GRJ
   2758      331851   Joshua Arnold                           Bertram & Graf, L.L.C.                                      7:21-cv-49620-MCR-GRJ
   2759      331861   Darin Coats                             Bertram & Graf, L.L.C.           7:21-cv-49630-MCR-GRJ
   2760      331863   Jacob Culbertson                        Bertram & Graf, L.L.C.           7:21-cv-49632-MCR-GRJ
   2761      331880   Mark Gilmore                            Bertram & Graf, L.L.C.           7:21-cv-49649-MCR-GRJ
   2762      331883   Evan Grinder                            Bertram & Graf, L.L.C.           7:21-cv-49652-MCR-GRJ
   2763      331884   Kalvin Guice                            Bertram & Graf, L.L.C.           7:21-cv-49653-MCR-GRJ
   2764      331887   Andre Hamilton                          Bertram & Graf, L.L.C.           7:21-cv-49656-MCR-GRJ
   2765      331892   Samuel Holmes                           Bertram & Graf, L.L.C.           7:21-cv-49661-MCR-GRJ
   2766      331903   Kenyatta Kitchens                       Bertram & Graf, L.L.C.                                      7:21-cv-49672-MCR-GRJ
   2767      331907   Donald Lashaway                         Bertram & Graf, L.L.C.                                      7:21-cv-49676-MCR-GRJ
   2768      331909   Stephen Looney                          Bertram & Graf, L.L.C.           7:21-cv-49678-MCR-GRJ
   2769      331911   Zachary Lucas                           Bertram & Graf, L.L.C.           7:21-cv-49680-MCR-GRJ
   2770      331913   Dennis Martin                           Bertram & Graf, L.L.C.                                      7:21-cv-49682-MCR-GRJ
   2771      331916   Jeremy Mcclam                           Bertram & Graf, L.L.C.           7:21-cv-49685-MCR-GRJ
   2772      331917   Daniel Mcfarland                        Bertram & Graf, L.L.C.           7:21-cv-49686-MCR-GRJ
   2773      331920   Shawndee Mills                          Bertram & Graf, L.L.C.                                      7:21-cv-49689-MCR-GRJ
   2774      331921   Matthew Molton                          Bertram & Graf, L.L.C.                                      7:21-cv-49690-MCR-GRJ




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   2775      331923   Samuel Nicoll                           Bertram & Graf, L.L.C.                       7:21-cv-49692-MCR-GRJ
   2776      331927   John Osborne                            Bertram & Graf, L.L.C.                       7:21-cv-49696-MCR-GRJ
   2777      331932   Elusma Pharisien                        Bertram & Graf, L.L.C.                       7:21-cv-49701-MCR-GRJ
   2778      331936   Joshua Qualls                           Bertram & Graf, L.L.C.                                                  7:21-cv-49707-MCR-GRJ
   2779      331940   Matthew Reynolds                        Bertram & Graf, L.L.C.                       7:21-cv-49716-MCR-GRJ
   2780      331941   Timothy Rohweder                        Bertram & Graf, L.L.C.                       7:21-cv-49718-MCR-GRJ
   2781      331942   Edgar Rosales                           Bertram & Graf, L.L.C.                       7:21-cv-49720-MCR-GRJ
   2782      331959   Fredrick Taylor                         Bertram & Graf, L.L.C.                       7:21-cv-49757-MCR-GRJ
   2783      331970   Verna Wilson                            Bertram & Graf, L.L.C.                       7:21-cv-49781-MCR-GRJ
   2784      331972   Matthew Woodcock                        Bertram & Graf, L.L.C.                       7:21-cv-49786-MCR-GRJ
   2785      341599   Byron Catron                            Bertram & Graf, L.L.C.                                                  7:21-cv-62971-MCR-GRJ
   2786      344459   Douglas Mitchell                        Bertram & Graf, L.L.C.                       7:21-cv-63489-MCR-GRJ
   2787      344463   Alana Perez                             Bertram & Graf, L.L.C.                       7:21-cv-63493-MCR-GRJ
   2788      350910   Robert Frazier                          Bertram & Graf, L.L.C.                                                  3:21-cv-01416-MCR-GRJ
   2789      352877   Edward Smith                            Bertram & Graf, L.L.C.                                                  3:21-cv-01902-MCR-GRJ
   2790      352893   Alonzo Broadwater                       Bertram & Graf, L.L.C.                                                  3:21-cv-01925-MCR-GRJ
   2791      354373   Thomas Doty                             Bertram & Graf, L.L.C.                                                  3:21-cv-02649-MCR-GRJ
   2792      354591   Derek Burngarner                        Bertram & Graf, L.L.C.                                                  3:21-cv-02750-MCR-GRJ
   2793      354714   Martez Rogers                           Bertram & Graf, L.L.C.                                                  3:21-cv-02777-MCR-GRJ
   2794      354721   Jeffrey Harris                          Bertram & Graf, L.L.C.                                                  3:21-cv-02780-MCR-GRJ
   2795      354723   Shaquisha Mcelroy                       Bertram & Graf, L.L.C.                                                  3:21-cv-02786-MCR-GRJ
   2796      354736   John Williams                           Bertram & Graf, L.L.C.                                                  3:21-cv-02811-MCR-GRJ
   2797      355119   William Young                           Bertram & Graf, L.L.C.                                                  3:21-cv-03701-MCR-GRJ
   2798      355612   Rigoberto Saenz                         Bertram & Graf, L.L.C.                                                  3:21-cv-04537-MCR-GRJ
   2799      357098   Coty Lichtenfels                        Bertram & Graf, L.L.C.                                                  3:22-cv-01046-MCR-GRJ
   2800      357852   Steve Edwards                           Bertram & Graf, L.L.C.                                                  3:22-cv-02018-MCR-GRJ
   2801       1094    Paul Hoyle                              Blasingame, Burch, Garrard & Ashley, P.C.    7:20-cv-41717-MCR-GRJ
   2802       1162    Charles Walker                          Blasingame, Burch, Garrard & Ashley, P.C.                               7:20-cv-41871-MCR-GRJ
   2803       1205    Vianna Hall-Grandinetti                 Blasingame, Burch, Garrard & Ashley, P.C.                               7:20-cv-41678-MCR-GRJ
   2804       1210    Netchey Rodriguez                       Blasingame, Burch, Garrard & Ashley, P.C.    7:20-cv-41695-MCR-GRJ
   2805       1217    Brandon Eanes                           Blasingame, Burch, Garrard & Ashley, P.C.    7:20-cv-41753-MCR-GRJ
   2806       1228    Clifford March                          Blasingame, Burch, Garrard & Ashley, P.C.                               7:20-cv-41772-MCR-GRJ
   2807       1294    Shawn Dillon                            Blasingame, Burch, Garrard & Ashley, P.C.                               7:20-cv-42017-MCR-GRJ
   2808       1300    Roland Busby                            Blasingame, Burch, Garrard & Ashley, P.C.    7:20-cv-42030-MCR-GRJ
   2809       1361    Yesenia Negron                          Blasingame, Burch, Garrard & Ashley, P.C.    7:20-cv-42158-MCR-GRJ
   2810       1362    Alberto Rodriguez-Santiago              Blasingame, Burch, Garrard & Ashley, P.C.    7:20-cv-42160-MCR-GRJ
   2811      145786   Michael Nussbaum                        Blasingame, Burch, Garrard & Ashley, P.C.                               8:20-cv-44286-MCR-GRJ
   2812      146025   Keith Phillips                          Blasingame, Burch, Garrard & Ashley, P.C.                               8:20-cv-44292-MCR-GRJ
   2813      147231   Cody Warren                             Blasingame, Burch, Garrard & Ashley, P.C.                               8:20-cv-44314-MCR-GRJ
   2814      147439   Kadisha Cooper                          Blasingame, Burch, Garrard & Ashley, P.C.                               8:20-cv-55950-MCR-GRJ
   2815      289307   Christian Brunetti                      Blasingame, Burch, Garrard & Ashley, P.C.    7:21-cv-10272-MCR-GRJ
   2816      303063   Patrick Petty                           Blasingame, Burch, Garrard & Ashley, P.C.                               7:21-cv-23082-MCR-GRJ
   2817      303064   Daniel Redman                           Blasingame, Burch, Garrard & Ashley, P.C.                               7:21-cv-23083-MCR-GRJ
   2818      50059    Jose Cortez                             Bohrer Brady LLC                             8:20-cv-09514-MCR-GRJ
   2819      50060    William Burns                           Bohrer Brady LLC                                                        8:20-cv-09516-MCR-GRJ
   2820      50062    Joseph Bush                             Bohrer Brady LLC                                                        8:20-cv-09522-MCR-GRJ
   2821      50064    Matthew Grays                           Bohrer Brady LLC                                                        8:20-cv-09527-MCR-GRJ
   2822      50070    Jerome Butler                           Bohrer Brady LLC                             8:20-cv-09540-MCR-GRJ
   2823      50075    Bernardus Baar                          Bohrer Brady LLC                             8:20-cv-09550-MCR-GRJ
   2824      50082    Gregory Divinity                        Bohrer Brady LLC                                                        8:20-cv-09566-MCR-GRJ
   2825      50084    Roy Mcdaniel                            Bohrer Brady LLC                                                        8:20-cv-09572-MCR-GRJ
   2826      50087    Lance Newton                            Bohrer Brady LLC                                                        8:20-cv-09580-MCR-GRJ
   2827      50089    Robert Hunter                           Bohrer Brady LLC                                                        8:20-cv-09585-MCR-GRJ
   2828      50094    James Morris                            Bohrer Brady LLC                                                        8:20-cv-09600-MCR-GRJ
   2829      50099    Kevin Terrell                           Bohrer Brady LLC                                                        8:20-cv-09613-MCR-GRJ
   2830      50102    Waylon Nentwig                          Bohrer Brady LLC                                                        8:20-cv-09622-MCR-GRJ
   2831      50103    Harold Thomas                           Bohrer Brady LLC                                                        8:20-cv-09625-MCR-GRJ
   2832      50106    Gregory Bilbrey                         Bohrer Brady LLC                             8:20-cv-09632-MCR-GRJ
   2833      50107    Luis Lopez                              Bohrer Brady LLC                             8:20-cv-09635-MCR-GRJ
   2834      50111    Corey James                             Bohrer Brady LLC                             8:20-cv-09646-MCR-GRJ
   2835      50115    Jeffrey Sheets                          Bohrer Brady LLC                             8:20-cv-09657-MCR-GRJ
   2836      50116    Victor Bruno                            Bohrer Brady LLC                             8:20-cv-09659-MCR-GRJ
   2837      50119    Richard Hopkins                         Bohrer Brady LLC                                                        8:20-cv-09668-MCR-GRJ
   2838      50123    Stephen Gilland                         Bohrer Brady LLC                                                        8:20-cv-09675-MCR-GRJ
   2839      50128    Tia Thach                               Bohrer Brady LLC                                                        8:20-cv-09688-MCR-GRJ
   2840      50136    Allen Moreland                          Bohrer Brady LLC                             8:20-cv-09707-MCR-GRJ
   2841      50137    Joseph Betancourt                       Bohrer Brady LLC                             8:20-cv-09711-MCR-GRJ
   2842      50138    David Henderson                         Bohrer Brady LLC                             8:20-cv-09713-MCR-GRJ
   2843      50140    Rene Pena                               Bohrer Brady LLC                                                        8:20-cv-09719-MCR-GRJ
   2844      50141    Travis Boeckenstedt                     Bohrer Brady LLC                             8:20-cv-09722-MCR-GRJ
   2845      50146    Jonah Prudhomme                         Bohrer Brady LLC                             8:20-cv-09734-MCR-GRJ
   2846      50148    Christopher Helms                       Bohrer Brady LLC                             8:20-cv-09738-MCR-GRJ
   2847      50150    David Mckavanagh                        Bohrer Brady LLC                                                        8:20-cv-09741-MCR-GRJ




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   2848      50154    James Hursey                            Bohrer Brady LLC                                              8:20-cv-09745-MCR-GRJ
   2849      50155    Benjamin Bordelon                       Bohrer Brady LLC                   8:20-cv-09747-MCR-GRJ
   2850      50156    Thomas Mendez                           Bohrer Brady LLC                   8:20-cv-09749-MCR-GRJ
   2851      50158    Bishwas Adhikari                        Bohrer Brady LLC                   8:20-cv-09752-MCR-GRJ
   2852      50161    John Evans                              Bohrer Brady LLC                                              8:20-cv-09758-MCR-GRJ
   2853      50163    Bobby Rawls                             Bohrer Brady LLC                   8:20-cv-09762-MCR-GRJ
   2854      50164    Taylor Koelzer                          Bohrer Brady LLC                                              8:20-cv-09763-MCR-GRJ
   2855      50165    Jeffrey Sandoval                        Bohrer Brady LLC                                              8:20-cv-09764-MCR-GRJ
   2856      50172    William Webb                            Bohrer Brady LLC                                              8:20-cv-09769-MCR-GRJ
   2857      50178    Justin Haggard                          Bohrer Brady LLC                                              8:20-cv-09775-MCR-GRJ
   2858      50179    Drew Schankin                           Bohrer Brady LLC                                              8:20-cv-09777-MCR-GRJ
   2859      50180    Christopher Anderson                    Bohrer Brady LLC                                              3:20-cv-05526-MCR-GRJ
   2860      50184    Courtney Haggard                        Bohrer Brady LLC                                              8:20-cv-09947-MCR-GRJ
   2861      50188    Justin Thomas                           Bohrer Brady LLC                                              8:20-cv-09949-MCR-GRJ
   2862      207513   Daniel Head                             Bohrer Brady LLC                                              8:20-cv-59323-MCR-GRJ
   2863      207521   Tommy Myers                             Bohrer Brady LLC                   8:20-cv-59339-MCR-GRJ
   2864      289376   Joseph Pego                             Bohrer Brady LLC                                              7:21-cv-09430-MCR-GRJ
   2865      219095   Lowell Young                            BOSSIER & ASSOCIATES, PLLC         8:20-cv-69344-MCR-GRJ
   2866      219138   Blanca Rodriguez                        BOSSIER & ASSOCIATES, PLLC                                    8:20-cv-69899-MCR-GRJ
   2867      219236   Bryant Lewis                            BOSSIER & ASSOCIATES, PLLC                                    8:20-cv-70139-MCR-GRJ
   2868      254005   Jose Sanchez                            BOSSIER & ASSOCIATES, PLLC                                    8:20-cv-97265-MCR-GRJ
   2869      254014   Katrel Brown                            BOSSIER & ASSOCIATES, PLLC                                    8:20-cv-97274-MCR-GRJ
   2870      311353   Abraham Palacios                        BOSSIER & ASSOCIATES, PLLC                                    7:21-cv-31068-MCR-GRJ
   2871      311356   Chauncie Jones                          BOSSIER & ASSOCIATES, PLLC                                    7:21-cv-31071-MCR-GRJ
   2872      68031    Aaron Bonenfant                         Brent Coon & Associates                                       8:20-cv-28944-MCR-GRJ
   2873      68034    Aaron Prather                           Brent Coon & Associates                                       7:20-cv-71253-MCR-GRJ
   2874      68037    Adam Schneider                          Brent Coon & Associates            8:20-cv-28949-MCR-GRJ
   2875      68039    Aida Cruz                               Brent Coon & Associates            7:20-cv-71257-MCR-GRJ
   2876      68040    Aieshah Lowe                            Brent Coon & Associates                                       7:20-cv-71260-MCR-GRJ
   2877      68042    Alan Pina                               Brent Coon & Associates            8:20-cv-29058-MCR-GRJ
   2878      68053    Allen Swinton                           Brent Coon & Associates            7:20-cv-71267-MCR-GRJ
   2879      68054    Amanda Aldrich                          Brent Coon & Associates            7:20-cv-71271-MCR-GRJ
   2880      68055    Amanda Bender                           Brent Coon & Associates            7:20-cv-71275-MCR-GRJ
   2881      68056    Amber Rhodes                            Brent Coon & Associates            7:20-cv-71278-MCR-GRJ
   2882      68057    Ambrosio Aragon                         Brent Coon & Associates            7:20-cv-71282-MCR-GRJ
   2883      68058    Amos Brooks                             Brent Coon & Associates                                       7:20-cv-71286-MCR-GRJ
   2884      68059    Amos Postell                            Brent Coon & Associates                                       8:20-cv-29062-MCR-GRJ
   2885      68061    Andre Lengyel                           Brent Coon & Associates                                       8:20-cv-29066-MCR-GRJ
   2886      68063    Andrew Barnhart                         Brent Coon & Associates            7:20-cv-71290-MCR-GRJ
   2887      68069    Angel Frescas                           Brent Coon & Associates            7:20-cv-71297-MCR-GRJ
   2888      68071    Angelica Lea                            Brent Coon & Associates                                       7:20-cv-71301-MCR-GRJ
   2889      68072    Anita Trone                             Brent Coon & Associates                                       8:20-cv-29070-MCR-GRJ
   2890      68077    Anthony Duncan                          Brent Coon & Associates            8:20-cv-29074-MCR-GRJ
   2891      68078    Anthony Harris                          Brent Coon & Associates                                       8:20-cv-28953-MCR-GRJ
   2892      68084    Arius Newell                            Brent Coon & Associates            7:20-cv-71313-MCR-GRJ
   2893      68088    Arthur Martin                           Brent Coon & Associates            8:20-cv-20332-MCR-GRJ
   2894      68090    Ashley Whitaker                         Brent Coon & Associates            8:20-cv-17156-MCR-GRJ
   2895      68091    Austin Plew                             Brent Coon & Associates            8:20-cv-17157-MCR-GRJ
   2896      68093    Benjamin Briones                        Brent Coon & Associates                                       8:20-cv-28962-MCR-GRJ
   2897      68095    Benjamin Prather                        Brent Coon & Associates            8:20-cv-29080-MCR-GRJ
   2898      68099    Bernard Buehler                         Brent Coon & Associates            8:20-cv-28974-MCR-GRJ
   2899      68100    Bert Axline                             Brent Coon & Associates            7:20-cv-71320-MCR-GRJ
   2900      68102    Billy Burkhart                          Brent Coon & Associates            8:20-cv-29084-MCR-GRJ
   2901      68105    Blaze Lipowski                          Brent Coon & Associates                                       7:20-cv-71328-MCR-GRJ
   2902      68109    Brandi Schaefer                         Brent Coon & Associates                                       8:20-cv-29092-MCR-GRJ
   2903      68110    Brandon Brown                           Brent Coon & Associates                                       8:20-cv-28978-MCR-GRJ
   2904      68112    Brandon Carr                            Brent Coon & Associates            7:20-cv-00019-MCR-GRJ
   2905      68113    Brett Larned                            Brent Coon & Associates            8:20-cv-29096-MCR-GRJ
   2906      68118    Brian Goosby                            Brent Coon & Associates            7:20-cv-71332-MCR-GRJ
   2907      68119    Brian Gourley                           Brent Coon & Associates            7:20-cv-71336-MCR-GRJ
   2908      68124    Bridget Hammond                         Brent Coon & Associates            7:20-cv-71339-MCR-GRJ
   2909      68125    Bridgett Hinnant                        Brent Coon & Associates            7:20-cv-71343-MCR-GRJ
   2910      68126    Britney House                           Brent Coon & Associates                                       7:20-cv-71347-MCR-GRJ
   2911      68127    Brittny Lee                             Brent Coon & Associates            8:20-cv-29099-MCR-GRJ
   2912      68128    Brock Tamburini                         Brent Coon & Associates            7:20-cv-71351-MCR-GRJ
   2913      68132    Bryan Loveday                           Brent Coon & Associates            8:20-cv-29103-MCR-GRJ
   2914      68133    Bryan Shipman                           Brent Coon & Associates                                       7:20-cv-71355-MCR-GRJ
   2915      68134    Cade Duncan                             Brent Coon & Associates            7:20-cv-71359-MCR-GRJ
   2916      68136    Candace Mackey                          Brent Coon & Associates                                       7:20-cv-71362-MCR-GRJ
   2917      68141    Carolyn Nys                             Brent Coon & Associates            7:20-cv-71366-MCR-GRJ
   2918      68142    Carraig Stanwyck                        Brent Coon & Associates            8:20-cv-29110-MCR-GRJ
   2919      68143    Carroll Parrish                         Brent Coon & Associates            7:20-cv-71370-MCR-GRJ
   2920      68144    Cartez Thomas                           Brent Coon & Associates            8:20-cv-29114-MCR-GRJ




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   2921      68145   Casey Guy                                Brent Coon & Associates           8:20-cv-29118-MCR-GRJ
   2922      68147   Catrel Husain                            Brent Coon & Associates           8:20-cv-29122-MCR-GRJ
   2923      68156   Charles Garrett                          Brent Coon & Associates           8:20-cv-29126-MCR-GRJ
   2924      68158   Charles Hackmann                         Brent Coon & Associates           7:20-cv-71385-MCR-GRJ
   2925      68166   Christopher Baird                        Brent Coon & Associates                                      8:20-cv-28992-MCR-GRJ
   2926      68167   Chris Edgecombe                          Brent Coon & Associates                                      8:20-cv-28996-MCR-GRJ
   2927      68170   Chris Williamson                         Brent Coon & Associates                                      8:20-cv-29130-MCR-GRJ
   2928      68172   Christina Bartlett                       Brent Coon & Associates           8:20-cv-29000-MCR-GRJ
   2929      68176   Christopher Boykin                       Brent Coon & Associates                                      8:20-cv-29134-MCR-GRJ
   2930      68177   Christopher Cayard                       Brent Coon & Associates           7:20-cv-71403-MCR-GRJ
   2931      68179   Christopher Condrey                      Brent Coon & Associates           7:20-cv-71407-MCR-GRJ
   2932      68183   Christopher Davis                        Brent Coon & Associates                                      8:20-cv-17159-MCR-GRJ
   2933      68190   Christopher Lichty                       Brent Coon & Associates                                      7:20-cv-71411-MCR-GRJ
   2934      68200   Christyal Thorne                         Brent Coon & Associates           8:20-cv-17160-MCR-GRJ
   2935      68201   Clarrance Neal                           Brent Coon & Associates                                      8:20-cv-29138-MCR-GRJ
   2936      68204   Clinton Herzik                           Brent Coon & Associates                                      8:20-cv-29141-MCR-GRJ
   2937      68205   Clinton Lennox                           Brent Coon & Associates                                      7:20-cv-71419-MCR-GRJ
   2938      68208   Cody Russell                             Brent Coon & Associates                                      8:20-cv-29145-MCR-GRJ
   2939      68210   Cory Brubaker                            Brent Coon & Associates                                      8:20-cv-29012-MCR-GRJ
   2940      68214   Craig Rowland                            Brent Coon & Associates                                      7:20-cv-71426-MCR-GRJ
   2941      68216   Crystal Allen                            Brent Coon & Associates                                      8:20-cv-29149-MCR-GRJ
   2942      68219   Curt Hux                                 Brent Coon & Associates           7:20-cv-71434-MCR-GRJ
   2943      68220   Curtis Cacan                             Brent Coon & Associates                                      7:20-cv-16159-MCR-GRJ
   2944      68224   Daisy Jackson                            Brent Coon & Associates                                      8:20-cv-29021-MCR-GRJ
   2945      68225   Dale Vanderpool                          Brent Coon & Associates                                      8:20-cv-29153-MCR-GRJ
   2946      68229   Dana Brown                               Brent Coon & Associates           7:20-cv-71445-MCR-GRJ
   2947      68230   Daniel Alvarado                          Brent Coon & Associates           8:20-cv-29030-MCR-GRJ
   2948      68231   Daniel Brown                             Brent Coon & Associates           7:20-cv-71449-MCR-GRJ
   2949      68233   Daniel Ellis                             Brent Coon & Associates                                      8:20-cv-29157-MCR-GRJ
   2950      68235   Daniel Freeman                           Brent Coon & Associates                                      8:20-cv-29034-MCR-GRJ
   2951      68236   Daniel Freiderich                        Brent Coon & Associates           8:20-cv-29038-MCR-GRJ
   2952      68238   Daniel Heidrich                          Brent Coon & Associates                                      7:20-cv-71453-MCR-GRJ
   2953      68242   Daniel Moreno                            Brent Coon & Associates                                      7:20-cv-71457-MCR-GRJ
   2954      68248   Daniel Woods                             Brent Coon & Associates           7:20-cv-71461-MCR-GRJ
   2955      68249   Danita Cottrell                          Brent Coon & Associates                                      8:20-cv-29162-MCR-GRJ
   2956      68250   Daniyel Baron                            Brent Coon & Associates           8:20-cv-29043-MCR-GRJ
   2957      68252   Danny Clark                              Brent Coon & Associates                                      8:20-cv-29047-MCR-GRJ
   2958      68258   Darren Pressley                          Brent Coon & Associates           8:20-cv-29166-MCR-GRJ
   2959      68260   David Hall                               Brent Coon & Associates                                      8:20-cv-29056-MCR-GRJ
   2960      68263   David Klopfer                            Brent Coon & Associates           7:20-cv-71472-MCR-GRJ
   2961      68270   David Mull                               Brent Coon & Associates           7:20-cv-71475-MCR-GRJ
   2962      68272   David Rodriguez                          Brent Coon & Associates           8:20-cv-29060-MCR-GRJ
   2963      68276   David Street                             Brent Coon & Associates                                      8:20-cv-29174-MCR-GRJ
   2964      68278   David Waldrop                            Brent Coon & Associates                                      8:20-cv-29178-MCR-GRJ
   2965      68279   David Wood                               Brent Coon & Associates           7:20-cv-71482-MCR-GRJ
   2966      68284   Deedra Castaneda                         Brent Coon & Associates           8:20-cv-29182-MCR-GRJ
   2967      68287   Denise Haliburton                        Brent Coon & Associates                                      8:20-cv-29186-MCR-GRJ
   2968      68294   Derek Bond                               Brent Coon & Associates                                      7:20-cv-71490-MCR-GRJ
   2969      68301   Donald Owens                             Brent Coon & Associates           7:20-cv-71502-MCR-GRJ
   2970      68310   Dustin Ewing                             Brent Coon & Associates           8:20-cv-29194-MCR-GRJ
   2971      68312   Dustin Jolly                             Brent Coon & Associates           8:20-cv-29064-MCR-GRJ
   2972      68316   Eddie Oliver                             Brent Coon & Associates           7:20-cv-71505-MCR-GRJ
   2973      68318   Edgar Colon                              Brent Coon & Associates           7:20-cv-71509-MCR-GRJ
   2974      68319   Eduardo De La Rosa                       Brent Coon & Associates           8:20-cv-29197-MCR-GRJ
   2975      68325   Elias Maldonado                          Brent Coon & Associates           8:20-cv-29069-MCR-GRJ
   2976      68326   Elmore Young                             Brent Coon & Associates                                      8:20-cv-29073-MCR-GRJ
   2977      68327   Elroy Stout                              Brent Coon & Associates           7:20-cv-71513-MCR-GRJ
   2978      68328   Elton Vereen                             Brent Coon & Associates           8:20-cv-29199-MCR-GRJ
   2979      68329   Emmanuel Franco                          Brent Coon & Associates           8:20-cv-29203-MCR-GRJ
   2980      68333   Eric Gish                                Brent Coon & Associates           8:20-cv-29078-MCR-GRJ
   2981      68334   Eric Honse                               Brent Coon & Associates           7:20-cv-71517-MCR-GRJ
   2982      68337   Eric Paxton                              Brent Coon & Associates           7:20-cv-71521-MCR-GRJ
   2983      68338   Eric West                                Brent Coon & Associates           8:20-cv-29207-MCR-GRJ
   2984      68341   Erik Bherns                              Brent Coon & Associates           8:20-cv-29215-MCR-GRJ
   2985      68342   Ermond Gates                             Brent Coon & Associates           8:20-cv-29219-MCR-GRJ
   2986      68348   Floria Ferrell                           Brent Coon & Associates           8:20-cv-29223-MCR-GRJ
   2987      68355   Freddrick Walker                         Brent Coon & Associates           8:20-cv-29226-MCR-GRJ
   2988      68361   Gary Leleux                              Brent Coon & Associates                                      8:20-cv-29230-MCR-GRJ
   2989      68363   Gary White                               Brent Coon & Associates                                      8:20-cv-29234-MCR-GRJ
   2990      68366   George Hicks                             Brent Coon & Associates           7:20-cv-71532-MCR-GRJ
   2991      68367   George Pizarro                           Brent Coon & Associates           7:20-cv-71720-MCR-GRJ
   2992      68368   George Ybarra                            Brent Coon & Associates                                      8:20-cv-29238-MCR-GRJ
   2993      68371   Gilbert Jones                            Brent Coon & Associates           7:20-cv-71724-MCR-GRJ




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   2994      68372   Gilberto Guerrero                        Brent Coon & Associates           8:20-cv-15937-MCR-GRJ
   2995      68377   Guy Sifuentes                            Brent Coon & Associates           8:20-cv-29241-MCR-GRJ
   2996      68381   Hector Falcon                            Brent Coon & Associates           7:20-cv-71732-MCR-GRJ
   2997      68387   Hugo Vega                                Brent Coon & Associates           8:20-cv-29245-MCR-GRJ
   2998      68389   Hurley King                              Brent Coon & Associates                                      7:20-cv-71738-MCR-GRJ
   2999      68390   Ian Fernandez                            Brent Coon & Associates                                      7:20-cv-71741-MCR-GRJ
   3000      68392   Irving Garcia                            Brent Coon & Associates           8:20-cv-29248-MCR-GRJ
   3001      68395   Ivan Watson                              Brent Coon & Associates                                      8:20-cv-29095-MCR-GRJ
   3002      68401   Jacob Utz                                Brent Coon & Associates                                      7:20-cv-71750-MCR-GRJ
   3003      68407   James Diaz                               Brent Coon & Associates                                      7:20-cv-71752-MCR-GRJ
   3004      68409   James Ferretti                           Brent Coon & Associates           7:20-cv-71755-MCR-GRJ
   3005      68415   James Johnson                            Brent Coon & Associates                                      8:20-cv-29261-MCR-GRJ
   3006      68421   James Milligan                           Brent Coon & Associates           8:20-cv-29266-MCR-GRJ
   3007      68433   Janelle Austin                           Brent Coon & Associates                                      8:20-cv-29274-MCR-GRJ
   3008      68435   Jared Fuller                             Brent Coon & Associates           8:20-cv-29277-MCR-GRJ
   3009      68437   Jasmine Navarro                          Brent Coon & Associates           7:20-cv-71770-MCR-GRJ
   3010      68438   Jason Adamick                            Brent Coon & Associates           7:20-cv-71773-MCR-GRJ
   3011      68440   Jason Christian                          Brent Coon & Associates           7:20-cv-71775-MCR-GRJ
   3012      68443   Jason Ohm                                Brent Coon & Associates           7:20-cv-71783-MCR-GRJ
   3013      68448   Jeanene Hall                             Brent Coon & Associates                                      7:20-cv-71788-MCR-GRJ
   3014      68454   Jeffrey Herrington                       Brent Coon & Associates           8:20-cv-29280-MCR-GRJ
   3015      68456   Jeffry Miller                            Brent Coon & Associates           8:20-cv-29283-MCR-GRJ
   3016      68458   Jeramy Stephen                           Brent Coon & Associates                                      7:20-cv-71790-MCR-GRJ
   3017      68461   Jeremiah Keeton                          Brent Coon & Associates           7:20-cv-71794-MCR-GRJ
   3018      68463   Jeremy Kennedy                           Brent Coon & Associates                                      7:20-cv-71796-MCR-GRJ
   3019      68466   Jeremy Mclain                            Brent Coon & Associates                                      8:20-cv-29104-MCR-GRJ
   3020      68467   Jeremy Neal                              Brent Coon & Associates                                      8:20-cv-29286-MCR-GRJ
   3021      68471   Jerrod Pack                              Brent Coon & Associates                                      8:20-cv-29108-MCR-GRJ
   3022      68472   Jerry Davis                              Brent Coon & Associates           8:20-cv-29292-MCR-GRJ
   3023      68473   Jerry Griffin                            Brent Coon & Associates           8:20-cv-15941-MCR-GRJ
   3024      68476   Jesse Fejeren                            Brent Coon & Associates                                      8:20-cv-29295-MCR-GRJ
   3025      68482   Jessica Nelson                           Brent Coon & Associates                                      8:20-cv-29298-MCR-GRJ
   3026      68483   Jillian Bowman                           Brent Coon & Associates                                      8:20-cv-29299-MCR-GRJ
   3027      68488   Joe Morgan                               Brent Coon & Associates           8:20-cv-29112-MCR-GRJ
   3028      68489   Joel Adams                               Brent Coon & Associates                                      7:20-cv-71801-MCR-GRJ
   3029      68492   John Carman                              Brent Coon & Associates           8:20-cv-29116-MCR-GRJ
   3030      68494   John Hauoli                              Brent Coon & Associates                                      7:20-cv-71802-MCR-GRJ
   3031      68495   John Joenks                              Brent Coon & Associates           7:20-cv-71804-MCR-GRJ
   3032      68498   John Pershing                            Brent Coon & Associates           8:20-cv-29302-MCR-GRJ
   3033      68503   John Woodyard                            Brent Coon & Associates           8:20-cv-29305-MCR-GRJ
   3034      68504   Johnathan Herring                        Brent Coon & Associates           8:20-cv-29120-MCR-GRJ
   3035      68505   Johnathan Missner                        Brent Coon & Associates                                      8:20-cv-29308-MCR-GRJ
   3036      68506   Johnathan Onesi                          Brent Coon & Associates                                      8:20-cv-29125-MCR-GRJ
   3037      68508   Johnny Lovett                            Brent Coon & Associates           7:20-cv-71806-MCR-GRJ
   3038      68510   Jonathan Delashmit                       Brent Coon & Associates                                      7:20-cv-71808-MCR-GRJ
   3039      68514   Jonathan Reynolds                        Brent Coon & Associates           8:20-cv-29311-MCR-GRJ
   3040      68517   Jonathon Clark                           Brent Coon & Associates           8:20-cv-29314-MCR-GRJ
   3041      68518   Joni Mcgregor                            Brent Coon & Associates           8:20-cv-29317-MCR-GRJ
   3042      68519   Jose Garibay                             Brent Coon & Associates           8:20-cv-29133-MCR-GRJ
   3043      68520   Jose Gonzalez                            Brent Coon & Associates                                      7:20-cv-71811-MCR-GRJ
   3044      68525   Joseph Eiman                             Brent Coon & Associates           8:20-cv-29319-MCR-GRJ
   3045      68528   Joseph Golinske                          Brent Coon & Associates           8:20-cv-29137-MCR-GRJ
   3046      68530   Joseph Kibbe                             Brent Coon & Associates           7:20-cv-71817-MCR-GRJ
   3047      68534   Joseph Parker                            Brent Coon & Associates                                      7:20-cv-71819-MCR-GRJ
   3048      68536   Joseph Stratton                          Brent Coon & Associates           8:20-cv-29322-MCR-GRJ
   3049      68543   Joshua White                             Brent Coon & Associates           8:20-cv-17163-MCR-GRJ
   3050      68545   Joshua Farley                            Brent Coon & Associates                                      8:20-cv-29146-MCR-GRJ
   3051      68546   Joshua Fussell                           Brent Coon & Associates           8:20-cv-29150-MCR-GRJ
   3052      68548   Joshua Hall                              Brent Coon & Associates           7:20-cv-71822-MCR-GRJ
   3053      68552   Joshua Singer                            Brent Coon & Associates           7:20-cv-71828-MCR-GRJ
   3054      68553   Joshua Straw                             Brent Coon & Associates                                      8:20-cv-29327-MCR-GRJ
   3055      68554   Joshua Tre Van                           Brent Coon & Associates           8:20-cv-29155-MCR-GRJ
   3056      68556   Juan Chavez                              Brent Coon & Associates                                      7:20-cv-71829-MCR-GRJ
   3057      68558   Juan Lopez-Ayala                         Brent Coon & Associates                                      8:20-cv-29330-MCR-GRJ
   3058      68559   Juliann Coulter                          Brent Coon & Associates                                      8:20-cv-29159-MCR-GRJ
   3059      68561   Justin Crow                              Brent Coon & Associates                                      8:20-cv-29163-MCR-GRJ
   3060      68563   Justin Hoff                              Brent Coon & Associates           8:20-cv-29167-MCR-GRJ
   3061      68571   Kasey Brueggeman                         Brent Coon & Associates           7:20-cv-71833-MCR-GRJ
   3062      68573   Keith Warenda                            Brent Coon & Associates           8:20-cv-29333-MCR-GRJ
   3063      68575   Kelli Patterson                          Brent Coon & Associates           8:20-cv-29336-MCR-GRJ
   3064      68583   Kenneth Warren                           Brent Coon & Associates           8:20-cv-29180-MCR-GRJ
   3065      68587   Kevin Childs                             Brent Coon & Associates           7:20-cv-71835-MCR-GRJ
   3066      68599   Kristian Brewster                        Brent Coon & Associates           8:20-cv-29184-MCR-GRJ




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   3067      68600   Kristine Whitmore                        Brent Coon & Associates           8:20-cv-29338-MCR-GRJ
   3068      68602   Krystal Jackson                          Brent Coon & Associates           7:20-cv-16166-MCR-GRJ
   3069      68603   Krystel Usobi                            Brent Coon & Associates           8:20-cv-29340-MCR-GRJ
   3070      68611   Lamont Burley                            Brent Coon & Associates                                      7:20-cv-71845-MCR-GRJ
   3071      68613   Larry Ertel                              Brent Coon & Associates                                      8:20-cv-29189-MCR-GRJ
   3072      68615   Larry Mcmullen                           Brent Coon & Associates           8:20-cv-20338-MCR-GRJ
   3073      68620   Lee Rutkowski                            Brent Coon & Associates           7:20-cv-71847-MCR-GRJ
   3074      68622   Lester Maxwell                           Brent Coon & Associates                                      8:20-cv-29344-MCR-GRJ
   3075      68629   Luciana Hogan-Williams                   Brent Coon & Associates           8:20-cv-29346-MCR-GRJ
   3076      68631   Luis Gonzalez                            Brent Coon & Associates                                      7:20-cv-71852-MCR-GRJ
   3077      68634   Lynetta Thomas                           Brent Coon & Associates           8:20-cv-29347-MCR-GRJ
   3078      68636   Maceya Mcguire                           Brent Coon & Associates           7:20-cv-71854-MCR-GRJ
   3079      68637   Malcolm Rutherford                       Brent Coon & Associates                                      8:20-cv-29193-MCR-GRJ
   3080      68639   Manuel Guerrero                          Brent Coon & Associates                                      8:20-cv-29198-MCR-GRJ
   3081      68642   Marcel Waters                            Brent Coon & Associates                                      8:20-cv-29349-MCR-GRJ
   3082      68645   Mark Harris                              Brent Coon & Associates           7:20-cv-71858-MCR-GRJ
   3083      68652   Marquette Price                          Brent Coon & Associates           8:20-cv-29353-MCR-GRJ
   3084      68656   Marvin Navalta                           Brent Coon & Associates           8:20-cv-29206-MCR-GRJ
   3085      68657   Mashada Martinez                         Brent Coon & Associates           8:20-cv-29355-MCR-GRJ
   3086      68659   Matthew Black                            Brent Coon & Associates                                      7:20-cv-71864-MCR-GRJ
   3087      68669   Matthew Roginski                         Brent Coon & Associates           8:20-cv-29210-MCR-GRJ
   3088      68671   Michael Barger                           Brent Coon & Associates                                      7:20-cv-71869-MCR-GRJ
   3089      68681   Michael Hawes                            Brent Coon & Associates                                      7:20-cv-71878-MCR-GRJ
   3090      68682   Michael Head                             Brent Coon & Associates           7:20-cv-71881-MCR-GRJ
   3091      68686   Michael Lewis                            Brent Coon & Associates           7:20-cv-71883-MCR-GRJ
   3092      68689   Michael Mitchell                         Brent Coon & Associates                                      8:20-cv-29357-MCR-GRJ
   3093      68690   Michael Mitchell                         Brent Coon & Associates           7:20-cv-71886-MCR-GRJ
   3094      68691   Michael Morsey                           Brent Coon & Associates           8:20-cv-29359-MCR-GRJ
   3095      68694   Michael Rholetter                        Brent Coon & Associates           7:20-cv-71892-MCR-GRJ
   3096      68699   Michael Thompson                         Brent Coon & Associates                                      7:20-cv-71898-MCR-GRJ
   3097      68701   Michael Wilson                           Brent Coon & Associates           8:20-cv-17166-MCR-GRJ
   3098      68705   Miguel Garcia                            Brent Coon & Associates           8:20-cv-29361-MCR-GRJ
   3099      68706   Mike Tookenay                            Brent Coon & Associates           7:20-cv-71903-MCR-GRJ
   3100      68707   Mikeal Titman                            Brent Coon & Associates                                      7:20-cv-71906-MCR-GRJ
   3101      68711   Myron Allen                              Brent Coon & Associates                                      8:20-cv-29228-MCR-GRJ
   3102      68712   Nathaniel Westbrook                      Brent Coon & Associates           7:20-cv-71915-MCR-GRJ
   3103      68717   Nestor Mavis                             Brent Coon & Associates                                      8:20-cv-29232-MCR-GRJ
   3104      68721   Nicholas Mills                           Brent Coon & Associates           7:20-cv-71927-MCR-GRJ
   3105      68722   Nicholas Sies                            Brent Coon & Associates           7:20-cv-71930-MCR-GRJ
   3106      68723   Nick Bell                                Brent Coon & Associates                                      7:20-cv-71933-MCR-GRJ
   3107      68728   Pallas Baker                             Brent Coon & Associates                                      8:20-cv-29240-MCR-GRJ
   3108      68729   Pamela Hayes                             Brent Coon & Associates                                      8:20-cv-29364-MCR-GRJ
   3109      68731   Pat Wayne                                Brent Coon & Associates           8:20-cv-29244-MCR-GRJ
   3110      68732   Patrick Barrett                          Brent Coon & Associates                                      8:20-cv-29366-MCR-GRJ
   3111      68738   Pedro Moreno                             Brent Coon & Associates                                      8:20-cv-29368-MCR-GRJ
   3112      68741   Peter Rachor                             Brent Coon & Associates           8:20-cv-29253-MCR-GRJ
   3113      68742   Peter Wedge                              Brent Coon & Associates           7:20-cv-71944-MCR-GRJ
   3114      68750   Phillip Porter                           Brent Coon & Associates                                      8:20-cv-29256-MCR-GRJ
   3115      68757   Ralph Frick                              Brent Coon & Associates           8:20-cv-29372-MCR-GRJ
   3116      68763   Randall Bennett                          Brent Coon & Associates           7:20-cv-71953-MCR-GRJ
   3117      68767   Randy Van Zandt                          Brent Coon & Associates                                      7:20-cv-71958-MCR-GRJ
   3118      68768   Raquelle Quitugua                        Brent Coon & Associates           7:20-cv-71962-MCR-GRJ
   3119      68771   Raymond Coney                            Brent Coon & Associates                                      8:20-cv-29374-MCR-GRJ
   3120      68773   Reyes Maza                               Brent Coon & Associates           8:20-cv-29376-MCR-GRJ
   3121      68775   Richard Celaya                           Brent Coon & Associates                                      8:20-cv-29378-MCR-GRJ
   3122      68778   Richard Morris                           Brent Coon & Associates           7:20-cv-68214-MCR-GRJ
   3123      68779   Richard Nelson                           Brent Coon & Associates                                      8:20-cv-29262-MCR-GRJ
   3124      68783   Richard Vickery                          Brent Coon & Associates                                      8:20-cv-29382-MCR-GRJ
   3125      68787   Ricky Duran                              Brent Coon & Associates           7:20-cv-68230-MCR-GRJ
   3126      68790   Rob Gregory                              Brent Coon & Associates           8:20-cv-29268-MCR-GRJ
   3127      68792   Robert Berisford                         Brent Coon & Associates                                      7:20-cv-68236-MCR-GRJ
   3128      68799   Robert Kight                             Brent Coon & Associates                                      8:20-cv-29386-MCR-GRJ
   3129      68804   Robert Quintero                          Brent Coon & Associates           7:20-cv-68249-MCR-GRJ
   3130      68805   Robert Roth                              Brent Coon & Associates           7:20-cv-68254-MCR-GRJ
   3131      68808   Robert Sublett                           Brent Coon & Associates                                      7:20-cv-68265-MCR-GRJ
   3132      68810   Roderick Haynes                          Brent Coon & Associates           8:20-cv-29272-MCR-GRJ
   3133      68824   Roy Spielmaker                           Brent Coon & Associates           7:20-cv-68289-MCR-GRJ
   3134      68825   Russell Scales                           Brent Coon & Associates                                      7:20-cv-68296-MCR-GRJ
   3135      68826   Ryan Campbell                            Brent Coon & Associates           8:20-cv-29389-MCR-GRJ
   3136      68827   Ryan Castillo                            Brent Coon & Associates           8:20-cv-29391-MCR-GRJ
   3137      68830   Ryan Ewbank                              Brent Coon & Associates           8:20-cv-29393-MCR-GRJ
   3138      68836   Ryan Zabka                               Brent Coon & Associates           7:20-cv-68302-MCR-GRJ
   3139      68837   Sabrina Perez                            Brent Coon & Associates                                      8:20-cv-29394-MCR-GRJ




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   3140      68842    Sandra Williams                         Brent Coon & Associates           7:20-cv-16042-MCR-GRJ
   3141      68846    Scott Kleinsorge                        Brent Coon & Associates           7:20-cv-68313-MCR-GRJ
   3142      68852    Sean Mcquaid                            Brent Coon & Associates                                      7:20-cv-68326-MCR-GRJ
   3143      68853    Sean Photiou                            Brent Coon & Associates           8:20-cv-17167-MCR-GRJ
   3144      68854    Sergio Tamayo                           Brent Coon & Associates                                      7:20-cv-68330-MCR-GRJ
   3145      68855    Shakim White                            Brent Coon & Associates                                      7:20-cv-68334-MCR-GRJ
   3146      68857    Shane Corley                            Brent Coon & Associates           8:20-cv-29278-MCR-GRJ
   3147      68860    Shane Grimm                             Brent Coon & Associates           7:20-cv-68347-MCR-GRJ
   3148      68863    Shawna Mcquaid                          Brent Coon & Associates           7:20-cv-68352-MCR-GRJ
   3149      68864    Sheamus Broderick                       Brent Coon & Associates           7:20-cv-68358-MCR-GRJ
   3150      68872    Stephen Cain                            Brent Coon & Associates           8:20-cv-29398-MCR-GRJ
   3151      68886    Steven Travers                          Brent Coon & Associates           8:20-cv-29284-MCR-GRJ
   3152      68887    Steven Wilson                           Brent Coon & Associates           7:20-cv-68377-MCR-GRJ
   3153      68888    Stevie Hinton                           Brent Coon & Associates           7:20-cv-68382-MCR-GRJ
   3154      68889    Tanja Petrofsky                         Brent Coon & Associates           8:20-cv-29400-MCR-GRJ
   3155      68896    Terrance Rambert                        Brent Coon & Associates                                      8:20-cv-29287-MCR-GRJ
   3156      68897    Terrence Ragusa                         Brent Coon & Associates           7:20-cv-68389-MCR-GRJ
   3157      68899    Terry Mullen                            Brent Coon & Associates           8:20-cv-29290-MCR-GRJ
   3158      68901    Thomas Begay                            Brent Coon & Associates                                      7:20-cv-68395-MCR-GRJ
   3159      68904    Thomas Edwards                          Brent Coon & Associates           7:20-cv-68407-MCR-GRJ
   3160      68905    Thomas Glassburn                        Brent Coon & Associates           7:20-cv-68413-MCR-GRJ
   3161      68908    Tim Aimes                               Brent Coon & Associates                                      7:20-cv-68420-MCR-GRJ
   3162      68909    Timothy Anderson                        Brent Coon & Associates                                      8:20-cv-29402-MCR-GRJ
   3163      68912    Timothy Coney                           Brent Coon & Associates           8:20-cv-29293-MCR-GRJ
   3164      68913    Timothy Davenport                       Brent Coon & Associates           8:20-cv-29403-MCR-GRJ
   3165      68919    Timothy Leinen                          Brent Coon & Associates           7:20-cv-68431-MCR-GRJ
   3166      68923    Toby Schmidt                            Brent Coon & Associates           8:20-cv-29296-MCR-GRJ
   3167      68924    Todd Neeper                             Brent Coon & Associates           8:20-cv-29301-MCR-GRJ
   3168      68926    Tonja Smith                             Brent Coon & Associates           8:20-cv-29404-MCR-GRJ
   3169      68934    Travis Pennington                       Brent Coon & Associates                                      8:20-cv-29405-MCR-GRJ
   3170      68935    Travis Sartele                          Brent Coon & Associates           7:20-cv-68443-MCR-GRJ
   3171      68940    Tyler Auman                             Brent Coon & Associates                                      8:20-cv-29304-MCR-GRJ
   3172      68944    Tyler Morris                            Brent Coon & Associates           8:20-cv-20346-MCR-GRJ
   3173      68945    Tyler Swift                             Brent Coon & Associates           8:20-cv-17168-MCR-GRJ
   3174      68949    Vera Brooker                            Brent Coon & Associates           8:20-cv-29307-MCR-GRJ      3:19-cv-00686-MCR-GRJ
   3175      68951    Victor Jimenez                          Brent Coon & Associates                                      8:20-cv-29408-MCR-GRJ
   3176      68953    Victoria Bachara                        Brent Coon & Associates           8:20-cv-29409-MCR-GRJ
   3177      68957    Walter Crump                            Brent Coon & Associates           7:20-cv-16048-MCR-GRJ
   3178      68959    Walter Washington                       Brent Coon & Associates           8:20-cv-17169-MCR-GRJ
   3179      68963    William Brent                           Brent Coon & Associates           8:20-cv-29313-MCR-GRJ
   3180      68971    William Miller                          Brent Coon & Associates           7:20-cv-68462-MCR-GRJ
   3181      68976    William Thames                          Brent Coon & Associates           7:20-cv-68472-MCR-GRJ
   3182      68979    Yahshikar Smith                         Brent Coon & Associates           8:20-cv-29410-MCR-GRJ
   3183      68981    Zachary Davis                           Brent Coon & Associates           8:20-cv-29411-MCR-GRJ
   3184      156597   Thomas Patrick                          Brent Coon & Associates                                      7:20-cv-88333-MCR-GRJ
   3185      160108   Jeremy Pulliam                          Brent Coon & Associates           8:20-cv-28323-MCR-GRJ
   3186      160800   David Gibbs                             Brent Coon & Associates                                      8:20-cv-28155-MCR-GRJ
   3187      160827   Ernest Huewitt                          Brent Coon & Associates           8:20-cv-28326-MCR-GRJ
   3188      167022   Ridge Kirkland                          Brent Coon & Associates           8:20-cv-28350-MCR-GRJ
   3189      167025   Dan Wetherington                        Brent Coon & Associates           8:20-cv-28227-MCR-GRJ
   3190      170116   Gerardo Cortez                          Brent Coon & Associates                                      8:20-cv-28258-MCR-GRJ
   3191      173783   James Reynolds                          Brent Coon & Associates           7:20-cv-88875-MCR-GRJ
   3192      174053   Jason Pargeter                          Brent Coon & Associates           7:20-cv-88876-MCR-GRJ
   3193      174061   David Reeves                            Brent Coon & Associates           7:20-cv-88877-MCR-GRJ
   3194      174133   Floyd Johnson                           Brent Coon & Associates           8:20-cv-28263-MCR-GRJ
   3195      174387   Kyrian Williams                         Brent Coon & Associates           7:20-cv-88878-MCR-GRJ
   3196      180233   Isom Brown                              Brent Coon & Associates                                      8:20-cv-28376-MCR-GRJ
   3197      180234   Jason Burkett                           Brent Coon & Associates           8:20-cv-28284-MCR-GRJ
   3198      180235   Angie Claybar                           Brent Coon & Associates           7:20-cv-82819-MCR-GRJ
   3199      180236   Derrick Little                          Brent Coon & Associates           7:20-cv-82821-MCR-GRJ
   3200      180241   Byron Pyburn                            Brent Coon & Associates           7:20-cv-82830-MCR-GRJ
   3201      180244   Mark Torres                             Brent Coon & Associates           7:20-cv-82832-MCR-GRJ
   3202      180245   Sam Watson                              Brent Coon & Associates           8:20-cv-28288-MCR-GRJ
   3203      186473   Christopher Kilker                      Brent Coon & Associates                                      8:20-cv-28312-MCR-GRJ
   3204      186477   Marcus Covington                        Brent Coon & Associates                                      8:20-cv-28417-MCR-GRJ
   3205      186478   Andrew Oliveira                         Brent Coon & Associates                                      8:20-cv-28325-MCR-GRJ
   3206      189270   Laura Vela                              Brent Coon & Associates                                      8:20-cv-28375-MCR-GRJ
   3207      190930   Shakeya Dairsow                         Brent Coon & Associates           8:20-cv-30133-MCR-GRJ
   3208      190931   Antoine Evans                           Brent Coon & Associates           8:20-cv-30136-MCR-GRJ
   3209      190932   Jerry Keith                             Brent Coon & Associates           8:20-cv-61288-MCR-GRJ
   3210      190933   Juan Martinez                           Brent Coon & Associates           8:20-cv-30139-MCR-GRJ
   3211      190934   Philip Moran                            Brent Coon & Associates           8:20-cv-30142-MCR-GRJ
   3212      190937   Jose Soto                               Brent Coon & Associates                                      8:20-cv-30154-MCR-GRJ




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   3213      202864   Vernod Jennis                           Brent Coon & Associates                                      8:20-cv-51770-MCR-GRJ
   3214      202865   Nicholas Kelly                          Brent Coon & Associates           8:20-cv-57401-MCR-GRJ
   3215      202866   Landon Stutts                           Brent Coon & Associates           8:20-cv-57403-MCR-GRJ
   3216      202867   Antoneyo Lawson                         Brent Coon & Associates           8:20-cv-57405-MCR-GRJ
   3217      202869   Nicholas Phelps                         Brent Coon & Associates           8:20-cv-57407-MCR-GRJ
   3218      202870   Marion Faris                            Brent Coon & Associates           8:20-cv-56723-MCR-GRJ
   3219      202872   Miguel Alvarado                         Brent Coon & Associates           8:20-cv-57409-MCR-GRJ
   3220      209715   Jesse Lackner                           Brent Coon & Associates           8:20-cv-56836-MCR-GRJ
   3221      214201   James Gallogly                          Brent Coon & Associates                                      8:20-cv-66130-MCR-GRJ
   3222      214202   Mark Gordon                             Brent Coon & Associates           8:20-cv-60242-MCR-GRJ
   3223      214203   Freddie Marshall                        Brent Coon & Associates           8:20-cv-60247-MCR-GRJ
   3224      214204   Raymon Mcmillan                         Brent Coon & Associates           8:20-cv-60251-MCR-GRJ
   3225      219242   Alberto Nino                            Brent Coon & Associates                                      8:20-cv-66294-MCR-GRJ
   3226      219243   Benjamin Johnson                        Brent Coon & Associates           8:20-cv-66297-MCR-GRJ
   3227      219244   Jose Aleman                             Brent Coon & Associates           8:20-cv-66301-MCR-GRJ
   3228      219246   Prince Royall                           Brent Coon & Associates           8:20-cv-66309-MCR-GRJ
   3229      237805   George Leverton                         Brent Coon & Associates           8:20-cv-68373-MCR-GRJ
   3230      237806   Novelle Smart                           Brent Coon & Associates           8:20-cv-68377-MCR-GRJ
   3231      257624   Elmus Woodfork                          Brent Coon & Associates           8:20-cv-99145-MCR-GRJ
   3232      257625   Jose Ortiz                              Brent Coon & Associates           8:20-cv-99147-MCR-GRJ
   3233      259778   George Frazier                          Brent Coon & Associates           9:20-cv-04339-MCR-GRJ
   3234      262576   Eric Hauss                              Brent Coon & Associates           9:20-cv-07078-MCR-GRJ
   3235      262577   William Rivenburgh                      Brent Coon & Associates           9:20-cv-07080-MCR-GRJ
   3236      269257   Adam Parker                             Brent Coon & Associates           9:20-cv-10753-MCR-GRJ
   3237      269259   Najja Recille                           Brent Coon & Associates           9:20-cv-08777-MCR-GRJ
   3238      269261   Boman Shelton                           Brent Coon & Associates           9:20-cv-08778-MCR-GRJ
   3239      269262   Joshua Bowden                           Brent Coon & Associates           9:20-cv-08779-MCR-GRJ
   3240      269263   Gabriel Comer                           Brent Coon & Associates           9:20-cv-08780-MCR-GRJ
   3241      273402   Stanley Wuchevich                       Brent Coon & Associates           9:20-cv-19989-MCR-GRJ
   3242      273403   Stephen Marshall                        Brent Coon & Associates           9:20-cv-19991-MCR-GRJ
   3243      273405   Anthony Strout                          Brent Coon & Associates           9:20-cv-19996-MCR-GRJ
   3244      273407   Danial Gonz                             Brent Coon & Associates           9:20-cv-20000-MCR-GRJ
   3245      273408   Aaron Mccann                            Brent Coon & Associates           9:20-cv-20002-MCR-GRJ
   3246      273410   Samuel Estigoy                          Brent Coon & Associates           9:20-cv-20006-MCR-GRJ
   3247      279616   Nathan Trufant                          Brent Coon & Associates           9:20-cv-20364-MCR-GRJ
   3248      279617   Angeline Mericle                        Brent Coon & Associates                                      9:20-cv-18962-MCR-GRJ
   3249      279619   Kenneth Lightfoot                       Brent Coon & Associates                                      9:20-cv-18963-MCR-GRJ
   3250      279621   Cedrick Vaughn                          Brent Coon & Associates           9:20-cv-20370-MCR-GRJ
   3251      279622   Christopher Whittemore                  Brent Coon & Associates                                      9:20-cv-20372-MCR-GRJ
   3252      279623   Daniel Campbell                         Brent Coon & Associates           9:20-cv-18563-MCR-GRJ
   3253      279625   Stephen Yarbrough                       Brent Coon & Associates           9:20-cv-20377-MCR-GRJ
   3254      279626   Jose Cortez                             Brent Coon & Associates                                      9:20-cv-20379-MCR-GRJ
   3255      279628   Patrecia Williams                       Brent Coon & Associates           9:20-cv-20383-MCR-GRJ
   3256      279630   Christopher Kreider                     Brent Coon & Associates           9:20-cv-20387-MCR-GRJ
   3257      279631   Diana Green                             Brent Coon & Associates           9:20-cv-20389-MCR-GRJ
   3258      279632   Jerold Kubis                            Brent Coon & Associates           9:20-cv-18964-MCR-GRJ
   3259      279634   Rodric Rascoe                           Brent Coon & Associates                                      9:20-cv-20394-MCR-GRJ
   3260      279636   Randy Rentschler                        Brent Coon & Associates           9:20-cv-20398-MCR-GRJ
   3261      279637   Jacob Byrd                              Brent Coon & Associates                                      9:20-cv-18565-MCR-GRJ
   3262      279638   Joshua Giddens                          Brent Coon & Associates           9:20-cv-20400-MCR-GRJ
   3263      279639   Terrence Smith                          Brent Coon & Associates           9:20-cv-20402-MCR-GRJ
   3264      279641   Nicholas Gagliano                       Brent Coon & Associates                                      9:20-cv-20407-MCR-GRJ
   3265      282213   Kenneth Clem                            Brent Coon & Associates                                      7:21-cv-04849-MCR-GRJ
   3266      282214   Carolyn Goldsborough                    Brent Coon & Associates           7:21-cv-04850-MCR-GRJ
   3267      282215   Veronzo Hodge                           Brent Coon & Associates           7:21-cv-04851-MCR-GRJ
   3268      282216   James Bridges                           Brent Coon & Associates           7:21-cv-04852-MCR-GRJ
   3269      282218   James Harris                            Brent Coon & Associates           7:21-cv-04854-MCR-GRJ
   3270      282219   Timothy Fuhrman                         Brent Coon & Associates           7:21-cv-04855-MCR-GRJ
   3271      282220   Charles Martin                          Brent Coon & Associates           7:21-cv-04856-MCR-GRJ
   3272      282221   Damien Fequiere                         Brent Coon & Associates                                      7:21-cv-04857-MCR-GRJ
   3273      282222   Jason Harvey                            Brent Coon & Associates                                      7:21-cv-04858-MCR-GRJ
   3274      282224   Charles Green                           Brent Coon & Associates           7:21-cv-04860-MCR-GRJ
   3275      282225   Ryan Hanner                             Brent Coon & Associates           7:21-cv-04862-MCR-GRJ
   3276      282226   Gregory Hubby                           Brent Coon & Associates           7:21-cv-04863-MCR-GRJ
   3277      282230   Joseph Dieffenbach                      Brent Coon & Associates           7:21-cv-04867-MCR-GRJ
   3278      282231   Josh Sibert                             Brent Coon & Associates           7:21-cv-04868-MCR-GRJ
   3279      282232   Jason Flammond                          Brent Coon & Associates                                      7:21-cv-04869-MCR-GRJ
   3280      282233   James Gowens                            Brent Coon & Associates           7:21-cv-04870-MCR-GRJ
   3281      282235   Angel Rivera                            Brent Coon & Associates                                      7:21-cv-04872-MCR-GRJ
   3282      282236   John Darcy                              Brent Coon & Associates           7:21-cv-04873-MCR-GRJ
   3283      282237   Christopher Laney                       Brent Coon & Associates           7:21-cv-04874-MCR-GRJ
   3284      282238   Steven Park                             Brent Coon & Associates           7:21-cv-04875-MCR-GRJ
   3285      282240   Christopher Morris                      Brent Coon & Associates           7:21-cv-04877-MCR-GRJ




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   3286      282246   Henry Tikiun                            Brent Coon & Associates           7:21-cv-04882-MCR-GRJ
   3287      282247   Marshall Bacon                          Brent Coon & Associates           7:21-cv-04795-MCR-GRJ
   3288      282249   Eliseo Vargas                           Brent Coon & Associates                                      7:21-cv-04883-MCR-GRJ
   3289      282250   Anthony Richardson                      Brent Coon & Associates                                      7:21-cv-04884-MCR-GRJ
   3290      282251   Chancey Roberson                        Brent Coon & Associates                                      7:21-cv-04885-MCR-GRJ
   3291      282255   Miesha Mcglothen                        Brent Coon & Associates                                      7:21-cv-04889-MCR-GRJ
   3292      282257   Bridget Mcallister                      Brent Coon & Associates           7:21-cv-04890-MCR-GRJ
   3293      282258   Michael Lowe                            Brent Coon & Associates           7:21-cv-04891-MCR-GRJ
   3294      282260   Yakim Marshall                          Brent Coon & Associates           7:21-cv-04893-MCR-GRJ
   3295      282265   George Banks                            Brent Coon & Associates           7:21-cv-04798-MCR-GRJ
   3296      282266   Jayleene Kayl                           Brent Coon & Associates                                      7:21-cv-04898-MCR-GRJ
   3297      282267   Jimmy Youmans                           Brent Coon & Associates                                      7:21-cv-04899-MCR-GRJ
   3298      282268   Carlos Sanchez                          Brent Coon & Associates                                      7:21-cv-04900-MCR-GRJ
   3299      282270   Kelly Crawford                          Brent Coon & Associates           7:21-cv-04902-MCR-GRJ
   3300      282271   Lou Goby                                Brent Coon & Associates                                      7:21-cv-04903-MCR-GRJ
   3301      282273   Ashtyn Beatty                           Brent Coon & Associates           7:21-cv-04799-MCR-GRJ
   3302      286617   George Bostic                           Brent Coon & Associates                                      7:21-cv-05011-MCR-GRJ
   3303      286618   George Meyers                           Brent Coon & Associates           7:21-cv-05012-MCR-GRJ
   3304      286620   Nadia Huliganga                         Brent Coon & Associates           7:21-cv-05014-MCR-GRJ
   3305      286623   Steven Thiede                           Brent Coon & Associates                                      7:21-cv-05017-MCR-GRJ
   3306      286625   Michael Carlin                          Brent Coon & Associates                                      7:21-cv-05019-MCR-GRJ
   3307      286626   Haydee Hundley                          Brent Coon & Associates           7:21-cv-05020-MCR-GRJ
   3308      286627   Summer Thompson                         Brent Coon & Associates           7:21-cv-05021-MCR-GRJ
   3309      286628   Alicia Martinez                         Brent Coon & Associates           7:21-cv-05022-MCR-GRJ
   3310      286629   Fredrick Fisher                         Brent Coon & Associates           7:21-cv-05023-MCR-GRJ
   3311      286630   Byron Moyer                             Brent Coon & Associates           7:21-cv-05024-MCR-GRJ
   3312      286631   Eric Williams                           Brent Coon & Associates           7:21-cv-05025-MCR-GRJ
   3313      286632   Joseph Hall                             Brent Coon & Associates           7:21-cv-05026-MCR-GRJ
   3314      286633   Jonathan Hooghe                         Brent Coon & Associates                                      7:21-cv-05027-MCR-GRJ
   3315      286634   Gary Gappa                              Brent Coon & Associates           7:21-cv-05028-MCR-GRJ
   3316      286635   Jennifer Padgett                        Brent Coon & Associates           7:21-cv-05029-MCR-GRJ
   3317      286636   Andrew Tindall                          Brent Coon & Associates           7:21-cv-05030-MCR-GRJ
   3318      286637   Erick Cornejo                           Brent Coon & Associates           7:21-cv-05031-MCR-GRJ
   3319      286638   Tyrone Gray                             Brent Coon & Associates                                      7:21-cv-05032-MCR-GRJ
   3320      286639   Agustin Pinedo                          Brent Coon & Associates                                      7:21-cv-05033-MCR-GRJ
   3321      286640   John Schultz                            Brent Coon & Associates           7:21-cv-05034-MCR-GRJ
   3322      286641   Corey Strader                           Brent Coon & Associates           7:21-cv-05035-MCR-GRJ
   3323      286643   Ian Farley                              Brent Coon & Associates                                      7:21-cv-08566-MCR-GRJ
   3324      286644   Will Farrell                            Brent Coon & Associates           7:21-cv-08567-MCR-GRJ
   3325      286646   Chris Bazzle                            Brent Coon & Associates           7:21-cv-08569-MCR-GRJ
   3326      286647   Angela Mobbley                          Brent Coon & Associates           7:21-cv-08570-MCR-GRJ
   3327      286649   David Jackson                           Brent Coon & Associates           7:21-cv-08572-MCR-GRJ
   3328      286653   Aristotle Wright                        Brent Coon & Associates           7:21-cv-08576-MCR-GRJ
   3329      286654   Trevor Morse                            Brent Coon & Associates                                      7:21-cv-08577-MCR-GRJ
   3330      286657   Michael Wooden                          Brent Coon & Associates           7:21-cv-08580-MCR-GRJ
   3331      286662   Justin Mccarter                         Brent Coon & Associates           7:21-cv-08585-MCR-GRJ
   3332      286663   Carlton Jordan                          Brent Coon & Associates                                      7:21-cv-08586-MCR-GRJ
   3333      286665   Reginaldo Reyes                         Brent Coon & Associates                                      7:21-cv-08588-MCR-GRJ
   3334      286667   William Perkins                         Brent Coon & Associates           7:21-cv-08590-MCR-GRJ
   3335      286670   Aleksandr Panchenko                     Brent Coon & Associates           7:21-cv-08594-MCR-GRJ
   3336      286672   Michael Discenza                        Brent Coon & Associates           7:21-cv-08598-MCR-GRJ
   3337      286674   Corey Thomas                            Brent Coon & Associates                                      7:21-cv-08602-MCR-GRJ
   3338      286675   Antonia Philpot                         Brent Coon & Associates                                      7:21-cv-08604-MCR-GRJ
   3339      286677   Shannon Boyer                           Brent Coon & Associates                                      7:21-cv-08608-MCR-GRJ
   3340      286681   Mustafa Noorzard                        Brent Coon & Associates                                      7:21-cv-05036-MCR-GRJ
   3341      286682   Christopher Chase                       Brent Coon & Associates           7:21-cv-05037-MCR-GRJ
   3342      286683   Latonia Morris                          Brent Coon & Associates                                      7:21-cv-05038-MCR-GRJ
   3343      286684   Jose Gardner                            Brent Coon & Associates           7:21-cv-05039-MCR-GRJ
   3344      286685   Jason Drew                              Brent Coon & Associates           7:21-cv-05040-MCR-GRJ
   3345      286686   Marly Okine                             Brent Coon & Associates           7:21-cv-05041-MCR-GRJ
   3346      290452   Ray Joseph                              Brent Coon & Associates                                      7:21-cv-12579-MCR-GRJ
   3347      290453   Aaron Mills                             Brent Coon & Associates           7:21-cv-12580-MCR-GRJ
   3348      290454   Rico Keen                               Brent Coon & Associates           7:21-cv-12581-MCR-GRJ
   3349      290459   Thomas Sinkewicz                        Brent Coon & Associates                                      7:21-cv-12586-MCR-GRJ
   3350      290463   Efford Major                            Brent Coon & Associates                                      7:21-cv-12590-MCR-GRJ
   3351      290464   Richard Baker                           Brent Coon & Associates           7:21-cv-12591-MCR-GRJ
   3352      290465   Fredric Foster                          Brent Coon & Associates                                      7:21-cv-12592-MCR-GRJ
   3353      290466   Scott German                            Brent Coon & Associates           7:21-cv-12593-MCR-GRJ
   3354      290467   John Grimes                             Brent Coon & Associates           7:21-cv-12594-MCR-GRJ
   3355      290469   Maurice Echols                          Brent Coon & Associates                                      7:21-cv-12596-MCR-GRJ
   3356      290470   Andres Jimenez                          Brent Coon & Associates           7:21-cv-12597-MCR-GRJ
   3357      290471   Lachaka Robinson                        Brent Coon & Associates                                      7:21-cv-12598-MCR-GRJ
   3358      290473   Philimingion Young                      Brent Coon & Associates           7:21-cv-12600-MCR-GRJ




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   3359      290476   Brett Manor                             Brent Coon & Associates           7:21-cv-12603-MCR-GRJ
   3360      290477   Mark Srur                               Brent Coon & Associates                                      7:21-cv-12604-MCR-GRJ
   3361      290478   Seth Wietgrefe                          Brent Coon & Associates           7:21-cv-12605-MCR-GRJ
   3362      290480   Ray Gomez                               Brent Coon & Associates                                      7:21-cv-12607-MCR-GRJ
   3363      290483   Samuel Millett                          Brent Coon & Associates           7:21-cv-12610-MCR-GRJ
   3364      290484   Harold Alexieff                         Brent Coon & Associates                                      7:21-cv-12611-MCR-GRJ
   3365      290485   Daniel Boydston                         Brent Coon & Associates                                      7:21-cv-12612-MCR-GRJ
   3366      290486   Sean Brigman                            Brent Coon & Associates           7:21-cv-12613-MCR-GRJ
   3367      290487   Robert Figge                            Brent Coon & Associates                                      7:21-cv-12614-MCR-GRJ
   3368      290488   Charles Mathis                          Brent Coon & Associates           7:21-cv-12615-MCR-GRJ
   3369      290489   John Mcdonald                           Brent Coon & Associates                                      7:21-cv-12616-MCR-GRJ
   3370      290494   George Boise                            Brent Coon & Associates           7:21-cv-12620-MCR-GRJ
   3371      290495   Michael Burke                           Brent Coon & Associates           7:21-cv-12621-MCR-GRJ
   3372      290496   Thomas Cunha                            Brent Coon & Associates                                      7:21-cv-12622-MCR-GRJ
   3373      290497   Clayton Dokes                           Brent Coon & Associates           7:21-cv-12623-MCR-GRJ
   3374      290498   Yulanda Hinson                          Brent Coon & Associates           7:21-cv-12624-MCR-GRJ
   3375      290500   Desmond Kelley                          Brent Coon & Associates                                      7:21-cv-12626-MCR-GRJ
   3376      290501   Earnest Kranz                           Brent Coon & Associates                                      7:21-cv-12627-MCR-GRJ
   3377      290502   Lewis Michel                            Brent Coon & Associates                                      7:21-cv-12628-MCR-GRJ
   3378      290503   Raymond Shumaker                        Brent Coon & Associates           7:21-cv-12629-MCR-GRJ
   3379      290504   Greg Backer                             Brent Coon & Associates                                      7:21-cv-12630-MCR-GRJ
   3380      290506   Jerome Iyeke                            Brent Coon & Associates                                      7:21-cv-12632-MCR-GRJ
   3381      290507   Willie Parks                            Brent Coon & Associates                                      7:21-cv-12633-MCR-GRJ
   3382      290508   Brandon Patten                          Brent Coon & Associates                                      7:21-cv-12634-MCR-GRJ
   3383      290509   Donavin Abeita                          Brent Coon & Associates                                      7:21-cv-12635-MCR-GRJ
   3384      290510   Michael Brewington                      Brent Coon & Associates                                      7:21-cv-12636-MCR-GRJ
   3385      290512   Will Lore                               Brent Coon & Associates                                      7:21-cv-12638-MCR-GRJ
   3386      290513   Richard Butcher                         Brent Coon & Associates           7:21-cv-12639-MCR-GRJ
   3387      290514   Terance Newsome                         Brent Coon & Associates                                      7:21-cv-12640-MCR-GRJ
   3388      290516   Alvin Argomido                          Brent Coon & Associates                                      7:21-cv-12642-MCR-GRJ
   3389      290517   Miles Hall                              Brent Coon & Associates           7:21-cv-12643-MCR-GRJ
   3390      290518   Roxanna Harris                          Brent Coon & Associates           7:21-cv-12644-MCR-GRJ
   3391      290521   Anthony Scheeler                        Brent Coon & Associates           7:21-cv-12647-MCR-GRJ
   3392      290524   Kristen Kelley                          Brent Coon & Associates           7:21-cv-12650-MCR-GRJ
   3393      290525   Erving Otero                            Brent Coon & Associates           7:21-cv-12651-MCR-GRJ
   3394      290526   Debbie Bean                             Brent Coon & Associates                                      7:21-cv-12652-MCR-GRJ
   3395      290528   Alexander Huff                          Brent Coon & Associates           7:21-cv-12654-MCR-GRJ
   3396      290531   Stephanie Mccumbee                      Brent Coon & Associates           7:21-cv-12657-MCR-GRJ
   3397      290532   David Walker                            Brent Coon & Associates                                      7:21-cv-12658-MCR-GRJ
   3398      290533   Joann Ward                              Brent Coon & Associates                                      7:21-cv-12659-MCR-GRJ
   3399      290542   George Mayer                            Brent Coon & Associates                                      7:21-cv-12668-MCR-GRJ
   3400      290543   Jimmy Hooghe                            Brent Coon & Associates           7:21-cv-12669-MCR-GRJ
   3401      290544   Jason Wilcock                           Brent Coon & Associates           7:21-cv-12670-MCR-GRJ
   3402      290545   Traequan Shaw                           Brent Coon & Associates           7:21-cv-12671-MCR-GRJ
   3403      290547   Raymond Raper                           Brent Coon & Associates                                      7:21-cv-12673-MCR-GRJ
   3404      290550   Angelique Figueroa                      Brent Coon & Associates           7:21-cv-12676-MCR-GRJ
   3405      290551   Johnathan Gaines                        Brent Coon & Associates           7:21-cv-12677-MCR-GRJ
   3406      290552   Sean Lewis                              Brent Coon & Associates           7:21-cv-12678-MCR-GRJ
   3407      290553   Mikal Sanders                           Brent Coon & Associates                                      7:21-cv-12679-MCR-GRJ
   3408      290557   Joshua Zapsky                           Brent Coon & Associates           7:21-cv-12683-MCR-GRJ
   3409      290559   Wankeisha Ross                          Brent Coon & Associates           7:21-cv-12685-MCR-GRJ
   3410      290560   Brandon Freeman                         Brent Coon & Associates           7:21-cv-12686-MCR-GRJ
   3411      290561   Walter Laney                            Brent Coon & Associates                                      7:21-cv-12687-MCR-GRJ
   3412      290563   Shaun Bradley                           Brent Coon & Associates                                      7:21-cv-12689-MCR-GRJ
   3413      290564   Mike Heiny                              Brent Coon & Associates           7:21-cv-12690-MCR-GRJ
   3414      290565   Kevin Gutter                            Brent Coon & Associates                                      7:21-cv-12691-MCR-GRJ
   3415      290566   Sirgeorge Wordlaw                       Brent Coon & Associates                                      7:21-cv-12692-MCR-GRJ
   3416      290567   Deaundre Nash                           Brent Coon & Associates           7:21-cv-12693-MCR-GRJ
   3417      290568   Jose Acosta                             Brent Coon & Associates                                      7:21-cv-12694-MCR-GRJ
   3418      290570   James Boswell                           Brent Coon & Associates           7:21-cv-12696-MCR-GRJ
   3419      293230   Andrew Stokes                           Brent Coon & Associates           7:21-cv-12879-MCR-GRJ
   3420      293231   Willard Doughty                         Brent Coon & Associates           7:21-cv-12880-MCR-GRJ
   3421      293232   Gretta Rosser                           Brent Coon & Associates           7:21-cv-12881-MCR-GRJ
   3422      293234   Ryan Mckenzie                           Brent Coon & Associates           7:21-cv-12883-MCR-GRJ
   3423      293235   Aaron Gable                             Brent Coon & Associates           7:21-cv-12884-MCR-GRJ
   3424      293237   Alexis Villafuerte-Silva                Brent Coon & Associates                                      7:21-cv-12886-MCR-GRJ
   3425      293239   Michael Sibley                          Brent Coon & Associates                                      7:21-cv-12888-MCR-GRJ
   3426      293240   Stephen Clower                          Brent Coon & Associates           7:21-cv-12889-MCR-GRJ
   3427      293243   Buford Baylis                           Brent Coon & Associates           7:21-cv-12892-MCR-GRJ
   3428      293244   Jarod Flagg                             Brent Coon & Associates                                      7:21-cv-12893-MCR-GRJ
   3429      293245   Larry Taylor                            Brent Coon & Associates                                      7:21-cv-12894-MCR-GRJ
   3430      293246   Aslam Farooq                            Brent Coon & Associates           7:21-cv-12895-MCR-GRJ
   3431      293247   Babette Rushing                         Brent Coon & Associates           7:21-cv-12896-MCR-GRJ




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   3432      293249   Victor Jimenez                          Brent Coon & Associates           7:21-cv-12898-MCR-GRJ
   3433      293251   Alberto Fernandez                       Brent Coon & Associates           7:21-cv-12900-MCR-GRJ
   3434      293252   Daniel Jansen                           Brent Coon & Associates           7:21-cv-12901-MCR-GRJ
   3435      293253   Charles Franklin                        Brent Coon & Associates           7:21-cv-12902-MCR-GRJ
   3436      293254   Matthew Medlin                          Brent Coon & Associates           7:21-cv-12903-MCR-GRJ
   3437      293255   Oneal Simmons                           Brent Coon & Associates           7:21-cv-12904-MCR-GRJ
   3438      293257   Brenda Smith                            Brent Coon & Associates           7:21-cv-12906-MCR-GRJ
   3439      293258   Isis Ward                               Brent Coon & Associates           7:21-cv-12907-MCR-GRJ
   3440      293259   Jenelle Youngeagle                      Brent Coon & Associates           7:21-cv-12908-MCR-GRJ
   3441      293261   Deanna Erdmann                          Brent Coon & Associates           7:21-cv-12910-MCR-GRJ
   3442      293263   Tommy Reddick                           Brent Coon & Associates           7:21-cv-12912-MCR-GRJ
   3443      293269   Christopher Hilstock                    Brent Coon & Associates           7:21-cv-12918-MCR-GRJ
   3444      293270   Glendon Jackson                         Brent Coon & Associates           7:21-cv-12919-MCR-GRJ
   3445      293271   Eric Jenkins                            Brent Coon & Associates           7:21-cv-12920-MCR-GRJ
   3446      293272   Mario Martelo                           Brent Coon & Associates           7:21-cv-12921-MCR-GRJ
   3447      293273   Barry Purnell                           Brent Coon & Associates           7:21-cv-12922-MCR-GRJ
   3448      293275   Chad Corbett                            Brent Coon & Associates           7:21-cv-12924-MCR-GRJ
   3449      293278   Richard Smith                           Brent Coon & Associates                                      7:21-cv-12927-MCR-GRJ
   3450      293279   Jevon White                             Brent Coon & Associates           7:21-cv-12928-MCR-GRJ
   3451      293280   Brent Youngeagle                        Brent Coon & Associates                                      7:21-cv-12929-MCR-GRJ
   3452      293281   Xavier Clark                            Brent Coon & Associates           7:21-cv-12930-MCR-GRJ
   3453      293282   John Odom                               Brent Coon & Associates                                      7:21-cv-12931-MCR-GRJ
   3454      293285   Daniel Schirmer                         Brent Coon & Associates                                      7:21-cv-12934-MCR-GRJ
   3455      293286   Brian Thompson                          Brent Coon & Associates           7:21-cv-12935-MCR-GRJ
   3456      293291   Andrijan Smiac                          Brent Coon & Associates           7:21-cv-12940-MCR-GRJ
   3457      293292   Robert Williams                         Brent Coon & Associates                                      7:21-cv-12941-MCR-GRJ
   3458      293294   Christian Awoh                          Brent Coon & Associates           7:21-cv-12942-MCR-GRJ
   3459      293295   Alejandra Reyes                         Brent Coon & Associates           7:21-cv-12943-MCR-GRJ
   3460      293296   Taylor Sims                             Brent Coon & Associates           7:21-cv-12944-MCR-GRJ
   3461      293297   Alfredo Delgado                         Brent Coon & Associates           7:21-cv-12945-MCR-GRJ
   3462      293298   Philip Frazier                          Brent Coon & Associates                                      7:21-cv-12946-MCR-GRJ
   3463      293302   Jonathan Worden                         Brent Coon & Associates                                      7:21-cv-12950-MCR-GRJ
   3464      293304   Craig Summers                           Brent Coon & Associates                                      7:21-cv-12952-MCR-GRJ
   3465      293312   Veronica Campos                         Brent Coon & Associates           7:21-cv-12960-MCR-GRJ
   3466      293313   Hubert Smith                            Brent Coon & Associates                                      7:21-cv-12961-MCR-GRJ
   3467      293314   Raymond Jordan                          Brent Coon & Associates           7:21-cv-12962-MCR-GRJ
   3468      293318   Catherine Timms                         Brent Coon & Associates           7:21-cv-12966-MCR-GRJ
   3469      293327   Pablo Hernandez                         Brent Coon & Associates                                      7:21-cv-12975-MCR-GRJ
   3470      293328   Christopher Boyd                        Brent Coon & Associates           7:21-cv-12976-MCR-GRJ
   3471      293329   Bradley Stone                           Brent Coon & Associates                                      7:21-cv-12977-MCR-GRJ
   3472      293330   Alan Hoffman                            Brent Coon & Associates                                      7:21-cv-12978-MCR-GRJ
   3473      293331   Kirk Mason                              Brent Coon & Associates           7:21-cv-12979-MCR-GRJ
   3474      293333   Daniel Oller                            Brent Coon & Associates                                      7:21-cv-12981-MCR-GRJ
   3475      293334   Ezekiel Smith                           Brent Coon & Associates                                      7:21-cv-12982-MCR-GRJ
   3476      293342   Chris De Bie                            Brent Coon & Associates           7:21-cv-12990-MCR-GRJ
   3477      293343   Timothy Huber                           Brent Coon & Associates                                      7:21-cv-12991-MCR-GRJ
   3478      293344   Howard Johnson                          Brent Coon & Associates                                      7:21-cv-12992-MCR-GRJ
   3479      293345   Lajuan Prescott                         Brent Coon & Associates                                      7:21-cv-12993-MCR-GRJ
   3480      293347   Daniel Reitz                            Brent Coon & Associates                                      7:21-cv-12995-MCR-GRJ
   3481      293348   Kelly Allsman                           Brent Coon & Associates                                      7:21-cv-12996-MCR-GRJ
   3482      293351   Cesar Canales                           Brent Coon & Associates           7:21-cv-12999-MCR-GRJ
   3483      293353   Robert Tiedemann                        Brent Coon & Associates           7:21-cv-13001-MCR-GRJ
   3484      293355   John Kergosien                          Brent Coon & Associates           7:21-cv-13003-MCR-GRJ
   3485      293357   Calvin Toone                            Brent Coon & Associates           7:21-cv-13005-MCR-GRJ
   3486      298737   Kirk Forest                             Brent Coon & Associates           7:21-cv-19408-MCR-GRJ
   3487      298738   Diacono Rodrigo                         Brent Coon & Associates                                      7:21-cv-19409-MCR-GRJ
   3488      299308   Deon Walker                             Brent Coon & Associates                                      7:21-cv-19417-MCR-GRJ
   3489      299309   Michael Weiss                           Brent Coon & Associates           7:21-cv-19418-MCR-GRJ
   3490      302245   William Ringeisen                       Brent Coon & Associates           7:21-cv-19658-MCR-GRJ
   3491      303148   John Lennon                             Brent Coon & Associates                                      7:21-cv-19732-MCR-GRJ
   3492      303151   Steve Melton                            Brent Coon & Associates                                      7:21-cv-19735-MCR-GRJ
   3493      303154   Billy Burnett                           Brent Coon & Associates           7:21-cv-19737-MCR-GRJ
   3494      303155   Cody Allen                              Brent Coon & Associates           7:21-cv-19738-MCR-GRJ
   3495      303215   Willie Burnett                          Brent Coon & Associates           7:21-cv-21521-MCR-GRJ
   3496      303216   Bobby Alston                            Brent Coon & Associates                                      7:21-cv-23104-MCR-GRJ
   3497      303217   Austin Hatch                            Brent Coon & Associates           7:21-cv-23105-MCR-GRJ
   3498      303219   Daniel Olson                            Brent Coon & Associates           7:21-cv-23107-MCR-GRJ
   3499      303223   Thomas Rogers                           Brent Coon & Associates           7:21-cv-23110-MCR-GRJ
   3500      303224   Billy Lentz                             Brent Coon & Associates           7:21-cv-23111-MCR-GRJ
   3501      303225   Sandy Thomas                            Brent Coon & Associates           7:21-cv-23112-MCR-GRJ
   3502      303227   Andrew Mcnear                           Brent Coon & Associates                                      7:21-cv-23113-MCR-GRJ
   3503      303229   David Schneider                         Brent Coon & Associates           7:21-cv-23114-MCR-GRJ
   3504      303230   Michael Wormely                         Brent Coon & Associates                                      7:21-cv-23115-MCR-GRJ




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   3505      303231   Victor Young                            Brent Coon & Associates           7:21-cv-23116-MCR-GRJ
   3506      303232   Keisha Ellis                            Brent Coon & Associates           7:21-cv-23117-MCR-GRJ
   3507      303233   Eric Epps                               Brent Coon & Associates           7:21-cv-23118-MCR-GRJ
   3508      303234   Matthew Halligan                        Brent Coon & Associates           7:21-cv-23119-MCR-GRJ
   3509      303235   Sonja Harris                            Brent Coon & Associates           7:21-cv-23120-MCR-GRJ
   3510      303236   Abraham Hernandez                       Brent Coon & Associates           7:21-cv-23121-MCR-GRJ
   3511      303238   Denver Holder                           Brent Coon & Associates           7:21-cv-23123-MCR-GRJ
   3512      303239   Arazo Cooper                            Brent Coon & Associates                                      7:21-cv-23124-MCR-GRJ
   3513      303240   Danette Dinkins                         Brent Coon & Associates                                      7:21-cv-23125-MCR-GRJ
   3514      303242   Virgil Hardin                           Brent Coon & Associates           7:21-cv-23127-MCR-GRJ
   3515      303243   Lyndon Likiak                           Brent Coon & Associates           7:21-cv-23128-MCR-GRJ
   3516      303244   Brandon Ortiz                           Brent Coon & Associates           7:21-cv-23129-MCR-GRJ
   3517      303245   Robert Shook                            Brent Coon & Associates                                      7:21-cv-23130-MCR-GRJ
   3518      303246   William Enos                            Brent Coon & Associates           7:21-cv-23131-MCR-GRJ
   3519      303247   Tommie Padgett                          Brent Coon & Associates           7:21-cv-23132-MCR-GRJ
   3520      303248   Dennis Rhodes                           Brent Coon & Associates                                      7:21-cv-21522-MCR-GRJ
   3521      303249   Jmarcus Atkins                          Brent Coon & Associates           7:21-cv-23133-MCR-GRJ
   3522      303250   Jeffrey Hancock                         Brent Coon & Associates           7:21-cv-23134-MCR-GRJ
   3523      303251   Johnnie Creekmore                       Brent Coon & Associates                                      7:21-cv-23135-MCR-GRJ
   3524      303252   Joshua Edwards                          Brent Coon & Associates                                      7:21-cv-23136-MCR-GRJ
   3525      303254   Michael Salaz                           Brent Coon & Associates                                      7:21-cv-23138-MCR-GRJ
   3526      303255   Russell Parks                           Brent Coon & Associates           7:21-cv-23139-MCR-GRJ
   3527      303258   Paul Vanderlugt                         Brent Coon & Associates           7:21-cv-21523-MCR-GRJ
   3528      303259   William Aboko-Cole                      Brent Coon & Associates                                      7:21-cv-23141-MCR-GRJ
   3529      303261   John Gunning                            Brent Coon & Associates           7:21-cv-23143-MCR-GRJ
   3530      303262   Joseph Smith                            Brent Coon & Associates           7:21-cv-23144-MCR-GRJ
   3531      303263   Frederick Brown                         Brent Coon & Associates                                      7:21-cv-23145-MCR-GRJ
   3532      303264   Charles Thornhill                       Brent Coon & Associates                                      7:21-cv-23146-MCR-GRJ
   3533      303266   Brian Oliver                            Brent Coon & Associates           7:21-cv-23148-MCR-GRJ
   3534      303267   Michael Holbrook                        Brent Coon & Associates                                      7:21-cv-23149-MCR-GRJ
   3535      303268   Vincent Buggs                           Brent Coon & Associates                                      7:21-cv-23150-MCR-GRJ
   3536      303271   Mark Stumpf                             Brent Coon & Associates           7:21-cv-23152-MCR-GRJ
   3537      303272   Eric Tipton                             Brent Coon & Associates                                      7:21-cv-23153-MCR-GRJ
   3538      303279   Jeremy Schulte                          Brent Coon & Associates           7:21-cv-23158-MCR-GRJ
   3539      303281   Ramona Haley                            Brent Coon & Associates                                      7:21-cv-23160-MCR-GRJ
   3540      303283   Brandon Sobers                          Brent Coon & Associates           7:21-cv-23162-MCR-GRJ
   3541      303284   Molee Keita                             Brent Coon & Associates           7:21-cv-23163-MCR-GRJ
   3542      303286   Vincent Arriola                         Brent Coon & Associates           7:21-cv-23165-MCR-GRJ
   3543      303287   Ivan Giga                               Brent Coon & Associates           7:21-cv-23166-MCR-GRJ
   3544      303288   Darek Gorenflo                          Brent Coon & Associates           7:21-cv-23167-MCR-GRJ
   3545      303289   Malcolm Kearns                          Brent Coon & Associates           7:21-cv-23168-MCR-GRJ
   3546      303291   Jacob Graffis                           Brent Coon & Associates           7:21-cv-23170-MCR-GRJ
   3547      303293   David Hutsonpillar                      Brent Coon & Associates           7:21-cv-23172-MCR-GRJ
   3548      303294   Rick Riggio                             Brent Coon & Associates                                      7:21-cv-23173-MCR-GRJ
   3549      303295   Douglas Wygant                          Brent Coon & Associates           7:21-cv-23174-MCR-GRJ
   3550      303296   Zion Johnson                            Brent Coon & Associates                                      7:21-cv-23175-MCR-GRJ
   3551      303299   Ronnie Jones                            Brent Coon & Associates           7:21-cv-23177-MCR-GRJ
   3552      303300   Danny Ray                               Brent Coon & Associates           7:21-cv-23178-MCR-GRJ
   3553      303301   Mackenzie Woodford                      Brent Coon & Associates                                      7:21-cv-23179-MCR-GRJ
   3554      303302   Michael Taravella                       Brent Coon & Associates           7:21-cv-23180-MCR-GRJ
   3555      303915   Arthur Artis                            Brent Coon & Associates           7:21-cv-21544-MCR-GRJ
   3556      303917   Flavia Ciampi                           Brent Coon & Associates           7:21-cv-21545-MCR-GRJ
   3557      303922   Reynold Walcott                         Brent Coon & Associates           7:21-cv-21548-MCR-GRJ
   3558      304456   William Watts                           Brent Coon & Associates           7:21-cv-24394-MCR-GRJ
   3559      304458   Myritah Knighten                        Brent Coon & Associates           7:21-cv-24396-MCR-GRJ
   3560      304460   Jonathan Granata                        Brent Coon & Associates           7:21-cv-24398-MCR-GRJ
   3561      304461   Travis Wells                            Brent Coon & Associates           7:21-cv-24399-MCR-GRJ
   3562      304463   Tina Merhoff                            Brent Coon & Associates                                      7:21-cv-24401-MCR-GRJ
   3563      304464   Allan Dunlap                            Brent Coon & Associates           7:21-cv-24402-MCR-GRJ
   3564      304465   Tyrous Brown                            Brent Coon & Associates                                      7:21-cv-24403-MCR-GRJ
   3565      304467   Stephen Stone                           Brent Coon & Associates           7:21-cv-24405-MCR-GRJ
   3566      304468   Yealonda Johnson                        Brent Coon & Associates                                      7:21-cv-24406-MCR-GRJ
   3567      304469   Jose Vega                               Brent Coon & Associates                                      7:21-cv-24407-MCR-GRJ
   3568      304470   Jerron Thompson                         Brent Coon & Associates                                      7:21-cv-24408-MCR-GRJ
   3569      304472   Torrance Cannon                         Brent Coon & Associates                                      7:21-cv-23748-MCR-GRJ
   3570      304474   Elijah Askins                           Brent Coon & Associates                                      7:21-cv-24411-MCR-GRJ
   3571      304477   Lawrence Culp                           Brent Coon & Associates                                      7:21-cv-24413-MCR-GRJ
   3572      304478   Edward Vandyke                          Brent Coon & Associates           7:21-cv-24414-MCR-GRJ
   3573      304481   Jerry Watson                            Brent Coon & Associates           7:21-cv-24417-MCR-GRJ
   3574      304483   Jason Gaudette                          Brent Coon & Associates                                      7:21-cv-24419-MCR-GRJ
   3575      304484   Eric Boswell                            Brent Coon & Associates           7:21-cv-24420-MCR-GRJ
   3576      304487   Paul Cooke                              Brent Coon & Associates           7:21-cv-24423-MCR-GRJ
   3577      304489   Bryan Buckley                           Brent Coon & Associates                                      7:21-cv-24424-MCR-GRJ




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   3578      307826   Sharlene Taylor                         Brent Coon & Associates           7:21-cv-26117-MCR-GRJ
   3579      307827   Franklin Aycock                         Brent Coon & Associates           7:21-cv-26118-MCR-GRJ
   3580      307829   Daniel Barrington                       Brent Coon & Associates                                      7:21-cv-26120-MCR-GRJ
   3581      307831   James Burton                            Brent Coon & Associates                                      7:21-cv-26121-MCR-GRJ
   3582      307833   Austin Lipari                           Brent Coon & Associates                                      7:21-cv-26123-MCR-GRJ
   3583      307839   Crasean Roy                             Brent Coon & Associates                                      7:21-cv-26129-MCR-GRJ
   3584      307840   Frank Martinez-Acevedo                  Brent Coon & Associates           7:21-cv-26130-MCR-GRJ
   3585      307842   Tyler Wade                              Brent Coon & Associates                                      7:21-cv-26132-MCR-GRJ
   3586      307843   Nicholas Simon                          Brent Coon & Associates           7:21-cv-26133-MCR-GRJ
   3587      307845   Jordan Pages                            Brent Coon & Associates                                      7:21-cv-26135-MCR-GRJ
   3588      319395   Christopher Altpeter                    Brent Coon & Associates           7:21-cv-33470-MCR-GRJ
   3589      319397   Marvin Ashby                            Brent Coon & Associates           7:21-cv-33472-MCR-GRJ
   3590      319400   Logan Black                             Brent Coon & Associates           7:21-cv-33475-MCR-GRJ
   3591      319402   Destiny Blevins                         Brent Coon & Associates                                      7:21-cv-33477-MCR-GRJ
   3592      319403   Eugene Blye                             Brent Coon & Associates                                      7:21-cv-33478-MCR-GRJ
   3593      319406   Chad Brannon                            Brent Coon & Associates           7:21-cv-33481-MCR-GRJ
   3594      319409   Stephen Carty                           Brent Coon & Associates           7:21-cv-33484-MCR-GRJ
   3595      319410   Christopher Christie                    Brent Coon & Associates                                      7:21-cv-33485-MCR-GRJ
   3596      319412   Alexander Collazo                       Brent Coon & Associates           7:21-cv-33487-MCR-GRJ
   3597      319415   Tyler Crane                             Brent Coon & Associates                                      7:21-cv-33490-MCR-GRJ
   3598      319416   William Cromack                         Brent Coon & Associates                                      7:21-cv-33491-MCR-GRJ
   3599      319418   Seth Cypert                             Brent Coon & Associates           7:21-cv-33493-MCR-GRJ
   3600      319420   Lisa Dobson                             Brent Coon & Associates                                      7:21-cv-33495-MCR-GRJ
   3601      319422   Avery Francis                           Brent Coon & Associates                                      7:21-cv-33497-MCR-GRJ
   3602      319423   Danny Gabriel                           Brent Coon & Associates           7:21-cv-33498-MCR-GRJ
   3603      319426   Anthony Garrett                         Brent Coon & Associates           7:21-cv-33501-MCR-GRJ
   3604      319427   Kwame Gibson                            Brent Coon & Associates           7:21-cv-33502-MCR-GRJ
   3605      319428   Daniel Gildea                           Brent Coon & Associates                                      7:21-cv-33503-MCR-GRJ
   3606      319429   Andrew Grochowsky                       Brent Coon & Associates           7:21-cv-33504-MCR-GRJ
   3607      319430   Zachary Guminski                        Brent Coon & Associates           7:21-cv-33505-MCR-GRJ
   3608      319432   Chris Harnage                           Brent Coon & Associates           7:21-cv-33507-MCR-GRJ
   3609      319434   Dwayne Hoke                             Brent Coon & Associates           7:21-cv-33509-MCR-GRJ
   3610      319438   Damon Johnson                           Brent Coon & Associates           7:21-cv-33513-MCR-GRJ
   3611      319439   Matthew Jones                           Brent Coon & Associates           7:21-cv-33514-MCR-GRJ
   3612      319441   Allen Kendrick                          Brent Coon & Associates           7:21-cv-33516-MCR-GRJ
   3613      319442   Jordan King                             Brent Coon & Associates           7:21-cv-33517-MCR-GRJ
   3614      319445   Michael Kowalski                        Brent Coon & Associates                                      7:21-cv-33520-MCR-GRJ
   3615      319447   Ralph Legan                             Brent Coon & Associates                                      7:21-cv-33522-MCR-GRJ
   3616      319448   Johnathon Loder                         Brent Coon & Associates                                      7:21-cv-33523-MCR-GRJ
   3617      319451   Navkirat Mann                           Brent Coon & Associates           7:21-cv-33526-MCR-GRJ
   3618      319452   Ivan Martin                             Brent Coon & Associates           7:21-cv-33527-MCR-GRJ
   3619      319454   Audel Mokler                            Brent Coon & Associates                                      7:21-cv-33529-MCR-GRJ
   3620      319457   M Nash                                  Brent Coon & Associates                                      7:21-cv-33532-MCR-GRJ
   3621      319458   Jose Navarro                            Brent Coon & Associates                                      7:21-cv-33533-MCR-GRJ
   3622      319461   Clinton Owens                           Brent Coon & Associates                                      7:21-cv-33536-MCR-GRJ
   3623      319462   Helio Pereira                           Brent Coon & Associates                                      7:21-cv-33537-MCR-GRJ
   3624      319463   Joseph Perry                            Brent Coon & Associates                                      7:21-cv-33538-MCR-GRJ
   3625      319464   Kasandra Pond                           Brent Coon & Associates                                      7:21-cv-33539-MCR-GRJ
   3626      319466   Cassandra Primous                       Brent Coon & Associates           7:21-cv-33541-MCR-GRJ
   3627      319467   Anthony Pryce                           Brent Coon & Associates                                      7:21-cv-33542-MCR-GRJ
   3628      319469   Harland Robinson                        Brent Coon & Associates                                      7:21-cv-33544-MCR-GRJ
   3629      319471   Jason Rodriguez                         Brent Coon & Associates                                      7:21-cv-33546-MCR-GRJ
   3630      319472   Mark Segura                             Brent Coon & Associates                                      7:21-cv-33547-MCR-GRJ
   3631      319473   Ben Shivers                             Brent Coon & Associates                                      7:21-cv-33548-MCR-GRJ
   3632      319474   Greg Sii                                Brent Coon & Associates           7:21-cv-33549-MCR-GRJ
   3633      319475   Gary Sinischo                           Brent Coon & Associates           7:21-cv-33550-MCR-GRJ
   3634      319476   Henery Smith                            Brent Coon & Associates           7:21-cv-33551-MCR-GRJ
   3635      319477   Keegan Smith                            Brent Coon & Associates           7:21-cv-33552-MCR-GRJ
   3636      319478   Matthew Smith                           Brent Coon & Associates                                      7:21-cv-33553-MCR-GRJ
   3637      319480   Martin Sterling                         Brent Coon & Associates           7:21-cv-33555-MCR-GRJ
   3638      319481   Joyce Stewart                           Brent Coon & Associates           7:21-cv-33556-MCR-GRJ
   3639      319483   Armanni Thompson                        Brent Coon & Associates           7:21-cv-33558-MCR-GRJ
   3640      319484   Travis Thompson                         Brent Coon & Associates           7:21-cv-33559-MCR-GRJ
   3641      319485   Donald Timon                            Brent Coon & Associates           7:21-cv-33560-MCR-GRJ
   3642      319486   Antonyo Tucker                          Brent Coon & Associates           7:21-cv-33561-MCR-GRJ
   3643      319488   Antonio Vazquezcollazo                  Brent Coon & Associates           7:21-cv-33563-MCR-GRJ
   3644      319490   Russell Ward                            Brent Coon & Associates           7:21-cv-33565-MCR-GRJ
   3645      319492   Justin Wisdom                           Brent Coon & Associates                                      7:21-cv-33567-MCR-GRJ
   3646      320433   Ryan Moody                              Brent Coon & Associates                                      7:21-cv-36713-MCR-GRJ
   3647      320435   Johnathan Daniel                        Brent Coon & Associates           7:21-cv-36715-MCR-GRJ
   3648      320437   Tristan Rivera                          Brent Coon & Associates                                      7:21-cv-36717-MCR-GRJ
   3649      320444   Michael Jackson                         Brent Coon & Associates                                      7:21-cv-36724-MCR-GRJ
   3650      320447   Jesus Olivas                            Brent Coon & Associates           7:21-cv-36727-MCR-GRJ




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   3651      320448   Elisa Ross                              Brent Coon & Associates                                      7:21-cv-36728-MCR-GRJ
   3652      320450   Brandon Carbajal                        Brent Coon & Associates                                      7:21-cv-36730-MCR-GRJ
   3653      320455   Daniel Gunn                             Brent Coon & Associates                                      7:21-cv-36735-MCR-GRJ
   3654      320456   Herbert Porter                          Brent Coon & Associates           7:21-cv-36736-MCR-GRJ
   3655      320457   Frank Rubi                              Brent Coon & Associates           7:21-cv-36737-MCR-GRJ
   3656      320459   Carter Pope                             Brent Coon & Associates           7:21-cv-36739-MCR-GRJ
   3657      320460   Janet Watson                            Brent Coon & Associates           7:21-cv-36740-MCR-GRJ
   3658      320461   Tristan Brock                           Brent Coon & Associates                                      7:21-cv-36741-MCR-GRJ
   3659      320463   Brianna Forte                           Brent Coon & Associates           7:21-cv-36743-MCR-GRJ
   3660      320464   Joshua Smith                            Brent Coon & Associates                                      7:21-cv-36744-MCR-GRJ
   3661      320467   James Lee                               Brent Coon & Associates           7:21-cv-36747-MCR-GRJ
   3662      320469   Trusten Brown                           Brent Coon & Associates                                      7:21-cv-36749-MCR-GRJ
   3663      320471   Franklin Parks                          Brent Coon & Associates           7:21-cv-36751-MCR-GRJ
   3664      320472   Dari Thornton                           Brent Coon & Associates           7:21-cv-36752-MCR-GRJ
   3665      320474   Felipe Colon                            Brent Coon & Associates           7:21-cv-36754-MCR-GRJ
   3666      320475   Chris Nimely                            Brent Coon & Associates           7:21-cv-36755-MCR-GRJ
   3667      320476   Robert Bumcrot                          Brent Coon & Associates           7:21-cv-36756-MCR-GRJ
   3668      320477   Andre Anderson                          Brent Coon & Associates                                      7:21-cv-36757-MCR-GRJ
   3669      320478   Andy Nicolae                            Brent Coon & Associates                                      7:21-cv-36758-MCR-GRJ
   3670      320479   William Boram                           Brent Coon & Associates                                      7:21-cv-36759-MCR-GRJ
   3671      320481   Matthew Brown                           Brent Coon & Associates           7:21-cv-36761-MCR-GRJ
   3672      320482   Milton Holliday                         Brent Coon & Associates           7:21-cv-36762-MCR-GRJ
   3673      320483   Elissa Towles                           Brent Coon & Associates                                      7:21-cv-36763-MCR-GRJ
   3674      320485   Jabali Umstead                          Brent Coon & Associates           7:21-cv-36765-MCR-GRJ
   3675      320486   Daniel Driscoll                         Brent Coon & Associates                                      7:21-cv-36766-MCR-GRJ
   3676      320488   Isaias Gonzalez                         Brent Coon & Associates           7:21-cv-36768-MCR-GRJ
   3677      320490   Greg Smith                              Brent Coon & Associates           7:21-cv-36770-MCR-GRJ
   3678      320493   Lewis Keefer                            Brent Coon & Associates           7:21-cv-36773-MCR-GRJ
   3679      320496   Luke Francka                            Brent Coon & Associates                                      7:21-cv-36776-MCR-GRJ
   3680      320497   Jeffrey Sparenberg                      Brent Coon & Associates           7:21-cv-36777-MCR-GRJ
   3681      320499   Katrina Ferguson                        Brent Coon & Associates           7:21-cv-36779-MCR-GRJ
   3682      320500   Robert Richards                         Brent Coon & Associates           7:21-cv-36780-MCR-GRJ
   3683      320501   Tiffanie Roper                          Brent Coon & Associates           7:21-cv-36781-MCR-GRJ
   3684      320502   Nathaly Fernandez                       Brent Coon & Associates           7:21-cv-36782-MCR-GRJ
   3685      320503   Anderson Amador                         Brent Coon & Associates                                      7:21-cv-36783-MCR-GRJ
   3686      323962   Eddie Edmunds                           Brent Coon & Associates           7:21-cv-48691-MCR-GRJ
   3687      323964   John Spence                             Brent Coon & Associates                                      7:21-cv-48693-MCR-GRJ
   3688      323965   James Gill                              Brent Coon & Associates           7:21-cv-48694-MCR-GRJ
   3689      323971   Brian James                             Brent Coon & Associates           7:21-cv-48700-MCR-GRJ
   3690      323973   Ronnie Hurt                             Brent Coon & Associates           7:21-cv-48702-MCR-GRJ
   3691      323974   Keith Moulton                           Brent Coon & Associates           7:21-cv-48703-MCR-GRJ
   3692      323975   Rodney Mathis                           Brent Coon & Associates                                      7:21-cv-48704-MCR-GRJ
   3693      323978   David Bryan                             Brent Coon & Associates                                      7:21-cv-48707-MCR-GRJ
   3694      323979   Dennis Liska                            Brent Coon & Associates           7:21-cv-48708-MCR-GRJ
   3695      323980   Joseph Khan                             Brent Coon & Associates           7:21-cv-48709-MCR-GRJ
   3696      323982   David Hedge                             Brent Coon & Associates           7:21-cv-48711-MCR-GRJ
   3697      323986   San Chuong                              Brent Coon & Associates           7:21-cv-48715-MCR-GRJ
   3698      323987   Aaron Smith                             Brent Coon & Associates           7:21-cv-48716-MCR-GRJ
   3699      323991   Timothy Munford                         Brent Coon & Associates           7:21-cv-48720-MCR-GRJ
   3700      323993   Timothy Cyprian                         Brent Coon & Associates           7:21-cv-48722-MCR-GRJ
   3701      323995   Joel Welty                              Brent Coon & Associates           7:21-cv-48724-MCR-GRJ
   3702      323997   Travell Weatherspoon                    Brent Coon & Associates           7:21-cv-48726-MCR-GRJ
   3703      323999   Lulene Segovia                          Brent Coon & Associates           7:21-cv-48728-MCR-GRJ
   3704      324004   Kern Leopold                            Brent Coon & Associates           7:21-cv-48733-MCR-GRJ
   3705      324007   Mary Ahrens                             Brent Coon & Associates           7:21-cv-48735-MCR-GRJ
   3706      324008   Patrick Mikhail                         Brent Coon & Associates                                      7:21-cv-48736-MCR-GRJ
   3707      324009   Spencer Richardson                      Brent Coon & Associates           7:21-cv-48737-MCR-GRJ
   3708      324010   Pablo Gaitan                            Brent Coon & Associates                                      7:21-cv-48738-MCR-GRJ
   3709      324011   Zachary Rippel                          Brent Coon & Associates                                      7:21-cv-48739-MCR-GRJ
   3710      324012   Mark Tarrant                            Brent Coon & Associates           7:21-cv-48740-MCR-GRJ
   3711      324014   Melvin Maldonado                        Brent Coon & Associates                                      7:21-cv-48742-MCR-GRJ
   3712      324015   Mark Mays                               Brent Coon & Associates           7:21-cv-48743-MCR-GRJ
   3713      324017   Jeff Davidson                           Brent Coon & Associates           7:21-cv-48745-MCR-GRJ
   3714      324018   Timothy Nuqui                           Brent Coon & Associates           7:21-cv-48746-MCR-GRJ
   3715      324019   Deviene Scott                           Brent Coon & Associates           7:21-cv-48747-MCR-GRJ
   3716      324021   Thomas Vetter                           Brent Coon & Associates                                      7:21-cv-48749-MCR-GRJ
   3717      324022   Juanda Arline                           Brent Coon & Associates           7:21-cv-48750-MCR-GRJ
   3718      324704   Wilbert Sanon                           Brent Coon & Associates           7:21-cv-48751-MCR-GRJ
   3719      324705   Hector Rodriguez                        Brent Coon & Associates           7:21-cv-48752-MCR-GRJ
   3720      328672   Audra Carman                            Brent Coon & Associates           7:21-cv-48786-MCR-GRJ
   3721      328673   Ricky Roberts                           Brent Coon & Associates           7:21-cv-48787-MCR-GRJ
   3722      328674   Nicolas Guerrero                        Brent Coon & Associates                                      7:21-cv-48788-MCR-GRJ
   3723      328675   Michael Peterson                        Brent Coon & Associates           7:21-cv-48789-MCR-GRJ




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   3724      328676   Marvin Pender                           Brent Coon & Associates           7:21-cv-48790-MCR-GRJ
   3725      328679   Jeremy Nunn                             Brent Coon & Associates                                      7:21-cv-48793-MCR-GRJ
   3726      328681   Daniel Clifford                         Brent Coon & Associates           7:21-cv-48795-MCR-GRJ
   3727      328682   Tyler True                              Brent Coon & Associates           7:21-cv-48796-MCR-GRJ
   3728      328687   Garland Banta                           Brent Coon & Associates                                      7:21-cv-48801-MCR-GRJ
   3729      328688   Antonio Carter                          Brent Coon & Associates           7:21-cv-48802-MCR-GRJ
   3730      328690   Roseland Cabrera                        Brent Coon & Associates           7:21-cv-48804-MCR-GRJ
   3731      328692   Tracy Meadows                           Brent Coon & Associates                                      7:21-cv-48806-MCR-GRJ
   3732      328693   Dale Yealey                             Brent Coon & Associates                                      7:21-cv-48807-MCR-GRJ
   3733      328694   Chevonne Campbell                       Brent Coon & Associates           7:21-cv-48808-MCR-GRJ
   3734      328695   John Rogers                             Brent Coon & Associates           7:21-cv-48809-MCR-GRJ
   3735      328696   Edgar Miranda                           Brent Coon & Associates                                      7:21-cv-48810-MCR-GRJ
   3736      328698   Charles Frybarger                       Brent Coon & Associates           7:21-cv-48812-MCR-GRJ
   3737      328699   Raul Rodriguez                          Brent Coon & Associates           7:21-cv-48813-MCR-GRJ
   3738      328701   Erick Eads                              Brent Coon & Associates           7:21-cv-48815-MCR-GRJ
   3739      328702   Santavus Bledsoe                        Brent Coon & Associates           7:21-cv-48816-MCR-GRJ
   3740      328703   Marites Crow                            Brent Coon & Associates           7:21-cv-48817-MCR-GRJ
   3741      328705   Johnny Griffin                          Brent Coon & Associates           7:21-cv-48819-MCR-GRJ
   3742      328706   James Twitty                            Brent Coon & Associates           7:21-cv-48820-MCR-GRJ
   3743      328707   Rached Banjak                           Brent Coon & Associates           7:21-cv-48821-MCR-GRJ
   3744      328709   Christopher Tooke                       Brent Coon & Associates                                      7:21-cv-48823-MCR-GRJ
   3745      328710   Michael Treglazoff                      Brent Coon & Associates           7:21-cv-48824-MCR-GRJ
   3746      328712   Kendell Baldwin                         Brent Coon & Associates           7:21-cv-48826-MCR-GRJ
   3747      328713   Francis Mcgovern                        Brent Coon & Associates           7:21-cv-48827-MCR-GRJ
   3748      328714   Froilan Irizarry                        Brent Coon & Associates           7:21-cv-48828-MCR-GRJ
   3749      328717   Francisco Agosto                        Brent Coon & Associates           7:21-cv-48831-MCR-GRJ
   3750      328718   Felix Rubio                             Brent Coon & Associates           7:21-cv-48832-MCR-GRJ
   3751      328719   Christopher Cherney                     Brent Coon & Associates           7:21-cv-48833-MCR-GRJ
   3752      328720   Roger Lasiter                           Brent Coon & Associates           7:21-cv-48834-MCR-GRJ
   3753      328724   Sandra Barnes                           Brent Coon & Associates                                      7:21-cv-48838-MCR-GRJ
   3754      328725   Jenifer Hernandez                       Brent Coon & Associates           7:21-cv-48839-MCR-GRJ
   3755      328726   Tommy Daugherty                         Brent Coon & Associates                                      7:21-cv-48840-MCR-GRJ
   3756      328730   Raymond Clevinger                       Brent Coon & Associates                                      7:21-cv-48844-MCR-GRJ
   3757      328733   William Toliver                         Brent Coon & Associates           7:21-cv-48847-MCR-GRJ
   3758      328734   Joe Gilbert                             Brent Coon & Associates                                      7:21-cv-48848-MCR-GRJ
   3759      328736   Samantha Martin                         Brent Coon & Associates           7:21-cv-48850-MCR-GRJ
   3760      328738   Taja Logan                              Brent Coon & Associates                                      7:21-cv-48852-MCR-GRJ
   3761      328739   Geczel Rivera                           Brent Coon & Associates           7:21-cv-48853-MCR-GRJ
   3762      328740   Chris Fisher                            Brent Coon & Associates           7:21-cv-48854-MCR-GRJ
   3763      328741   Daniel Williams                         Brent Coon & Associates           7:21-cv-48855-MCR-GRJ
   3764      328743   Arturo Tafoya                           Brent Coon & Associates           7:21-cv-48857-MCR-GRJ
   3765      328744   Alexander Meade                         Brent Coon & Associates           7:21-cv-48858-MCR-GRJ
   3766      328745   Jeannette Clayton                       Brent Coon & Associates           7:21-cv-48859-MCR-GRJ
   3767      328746   Alexander Smith                         Brent Coon & Associates           7:21-cv-48860-MCR-GRJ
   3768      328747   Donald Nyden                            Brent Coon & Associates                                      7:21-cv-48861-MCR-GRJ
   3769      328749   Makia Peter                             Brent Coon & Associates           7:21-cv-48863-MCR-GRJ
   3770      328759   Brandon Buchanan                        Brent Coon & Associates                                      7:21-cv-48873-MCR-GRJ
   3771      328760   Jeff Frederickson                       Brent Coon & Associates           7:21-cv-48874-MCR-GRJ
   3772      328761   Toninette Payne-Pierson                 Brent Coon & Associates                                      7:21-cv-48875-MCR-GRJ
   3773      328763   James Sanders                           Brent Coon & Associates           7:21-cv-48877-MCR-GRJ
   3774      328767   Louis Hernandez                         Brent Coon & Associates           7:21-cv-48881-MCR-GRJ
   3775      328768   Jeremy Green                            Brent Coon & Associates                                      7:21-cv-48882-MCR-GRJ
   3776      328769   Roel Perez                              Brent Coon & Associates           7:21-cv-48883-MCR-GRJ
   3777      328770   Robert Schmidt                          Brent Coon & Associates           7:21-cv-48884-MCR-GRJ
   3778      328771   Jose Esparza                            Brent Coon & Associates           7:21-cv-48885-MCR-GRJ
   3779      328780   Marlon Hernandez                        Brent Coon & Associates           7:21-cv-48894-MCR-GRJ
   3780      328781   Raymond Clark                           Brent Coon & Associates           7:21-cv-48895-MCR-GRJ
   3781      328783   Alex Patton                             Brent Coon & Associates           7:21-cv-48897-MCR-GRJ
   3782      328785   Quentin Larkins                         Brent Coon & Associates           7:21-cv-48899-MCR-GRJ
   3783      328786   Lemuel White                            Brent Coon & Associates           7:21-cv-48900-MCR-GRJ
   3784      328794   Stacey Stump                            Brent Coon & Associates           7:21-cv-48908-MCR-GRJ
   3785      328795   Miranda Ahumada                         Brent Coon & Associates           7:21-cv-48909-MCR-GRJ
   3786      332947   Mark Diaz                               Brent Coon & Associates           7:21-cv-51217-MCR-GRJ
   3787      332948   Tamara Hughes-Diai                      Brent Coon & Associates                                      7:21-cv-51218-MCR-GRJ
   3788      332951   Brandon Standridge                      Brent Coon & Associates           7:21-cv-51221-MCR-GRJ
   3789      332952   Devan Coley                             Brent Coon & Associates           7:21-cv-51222-MCR-GRJ
   3790      332957   Rodney Ellis                            Brent Coon & Associates           7:21-cv-51227-MCR-GRJ
   3791      332958   Makana Lowe                             Brent Coon & Associates                                      7:21-cv-51228-MCR-GRJ
   3792      332959   Theoda Metcalf                          Brent Coon & Associates           7:21-cv-51229-MCR-GRJ
   3793      332960   Jess Conyers                            Brent Coon & Associates           7:21-cv-51230-MCR-GRJ
   3794      332961   Keith Williams                          Brent Coon & Associates           7:21-cv-51231-MCR-GRJ
   3795      332962   Marvin Young                            Brent Coon & Associates           7:21-cv-51232-MCR-GRJ
   3796      332963   James Brooks                            Brent Coon & Associates           7:21-cv-51233-MCR-GRJ




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   3797      332964   Patricia Slatton                        Brent Coon & Associates           7:21-cv-51234-MCR-GRJ
   3798      332965   Tony Jackson                            Brent Coon & Associates           7:21-cv-51235-MCR-GRJ
   3799      332967   Charles Dougherty                       Brent Coon & Associates           7:21-cv-51237-MCR-GRJ
   3800      332969   Scott Van                               Brent Coon & Associates           7:21-cv-51239-MCR-GRJ
   3801      332971   Cathy Brooks                            Brent Coon & Associates           7:21-cv-51241-MCR-GRJ
   3802      332975   Damian Leblanc                          Brent Coon & Associates           7:21-cv-51245-MCR-GRJ
   3803      332978   Alexander Hall                          Brent Coon & Associates           7:21-cv-51248-MCR-GRJ
   3804      332979   Christopher Brooks                      Brent Coon & Associates                                      7:21-cv-51249-MCR-GRJ
   3805      332980   Dan Showalter                           Brent Coon & Associates           7:21-cv-51250-MCR-GRJ
   3806      332982   Decora Mealing                          Brent Coon & Associates           7:21-cv-51252-MCR-GRJ
   3807      332984   Jeremiah Patterson                      Brent Coon & Associates           7:21-cv-51254-MCR-GRJ
   3808      332985   Joshua Dixon                            Brent Coon & Associates           7:21-cv-51255-MCR-GRJ
   3809      332986   Jayangela Hoel                          Brent Coon & Associates                                      7:21-cv-51256-MCR-GRJ
   3810      332987   Jasmine Brennan                         Brent Coon & Associates                                      7:21-cv-51257-MCR-GRJ
   3811      332989   Stephen Hess                            Brent Coon & Associates           7:21-cv-51259-MCR-GRJ
   3812      332990   Anthony Garrett                         Brent Coon & Associates           7:21-cv-51260-MCR-GRJ
   3813      332991   Alexis Bell                             Brent Coon & Associates           7:21-cv-51261-MCR-GRJ
   3814      332992   Terry Ormand                            Brent Coon & Associates           7:21-cv-51262-MCR-GRJ
   3815      332995   James Macrae                            Brent Coon & Associates           7:21-cv-51265-MCR-GRJ
   3816      332996   Antonio Robles                          Brent Coon & Associates           7:21-cv-51266-MCR-GRJ
   3817      332997   Brandon Swaringim                       Brent Coon & Associates           7:21-cv-51267-MCR-GRJ
   3818      332998   Andrew Clement                          Brent Coon & Associates           7:21-cv-51268-MCR-GRJ
   3819      333000   Mark Phillips                           Brent Coon & Associates           7:21-cv-51270-MCR-GRJ
   3820      333002   Marvin Farmer                           Brent Coon & Associates           7:21-cv-51272-MCR-GRJ
   3821      333003   Larry Rodriguez                         Brent Coon & Associates           7:21-cv-51273-MCR-GRJ
   3822      333004   Darrell Tomokane                        Brent Coon & Associates           7:21-cv-51274-MCR-GRJ
   3823      333005   Roland Ray                              Brent Coon & Associates           7:21-cv-51275-MCR-GRJ
   3824      333008   Andrew Kovach                           Brent Coon & Associates                                      7:21-cv-51278-MCR-GRJ
   3825      333009   Brendan Corcione                        Brent Coon & Associates           7:21-cv-51279-MCR-GRJ
   3826      333013   Rashaldo Martin                         Brent Coon & Associates                                      7:21-cv-51283-MCR-GRJ
   3827      333015   Gregory Tate                            Brent Coon & Associates           7:21-cv-51287-MCR-GRJ
   3828      333017   Stoney Anderson                         Brent Coon & Associates           7:21-cv-51292-MCR-GRJ
   3829      333018   Shaina Kuykendall-Johnson               Brent Coon & Associates           7:21-cv-51294-MCR-GRJ
   3830      333021   Cody Middleton                          Brent Coon & Associates           7:21-cv-51300-MCR-GRJ
   3831      333022   Charles Ray                             Brent Coon & Associates           7:21-cv-51302-MCR-GRJ
   3832      333023   Alexander Lapenta                       Brent Coon & Associates           7:21-cv-51305-MCR-GRJ
   3833      333025   Raquel Beltran                          Brent Coon & Associates           7:21-cv-51309-MCR-GRJ
   3834      333026   Jeanisha Bell-Jackson                   Brent Coon & Associates                                      7:21-cv-51312-MCR-GRJ
   3835      333028   Dylan Lawson                            Brent Coon & Associates           7:21-cv-51316-MCR-GRJ
   3836      333029   Justin Gainey                           Brent Coon & Associates           7:21-cv-51318-MCR-GRJ
   3837      333030   Roger Rees                              Brent Coon & Associates                                      7:21-cv-51321-MCR-GRJ
   3838      333031   Brittany Bean                           Brent Coon & Associates                                      7:21-cv-51323-MCR-GRJ
   3839      333032   John King                               Brent Coon & Associates                                      7:21-cv-51325-MCR-GRJ
   3840      333033   Renee Levine                            Brent Coon & Associates           7:21-cv-51327-MCR-GRJ
   3841      333034   Ricardo Garcia                          Brent Coon & Associates           7:21-cv-51330-MCR-GRJ
   3842      333038   Derek Skinner                           Brent Coon & Associates           7:21-cv-51338-MCR-GRJ
   3843      333039   Trevor Hughes                           Brent Coon & Associates           7:21-cv-51340-MCR-GRJ
   3844      333041   Seth Schmidt                            Brent Coon & Associates                                      7:21-cv-51345-MCR-GRJ
   3845      333042   Kelly Dunbar                            Brent Coon & Associates           7:21-cv-51347-MCR-GRJ
   3846      333043   Matthew Whelihan                        Brent Coon & Associates           7:21-cv-51349-MCR-GRJ
   3847      333045   Nijah Rico                              Brent Coon & Associates           7:21-cv-51354-MCR-GRJ
   3848      333047   Elward Cortez                           Brent Coon & Associates           7:21-cv-51358-MCR-GRJ
   3849      333048   Chinonso Nwosu                          Brent Coon & Associates           7:21-cv-51360-MCR-GRJ
   3850      333049   Leonel Gonzalezsoto                     Brent Coon & Associates           7:21-cv-51362-MCR-GRJ
   3851      333050   John Fenelus                            Brent Coon & Associates           7:21-cv-51365-MCR-GRJ
   3852      333051   John Verwiel                            Brent Coon & Associates           7:21-cv-51367-MCR-GRJ
   3853      333052   Daniel Digati                           Brent Coon & Associates                                      7:21-cv-51369-MCR-GRJ
   3854      333055   Terry Nelson                            Brent Coon & Associates           7:21-cv-51376-MCR-GRJ
   3855      333059   Angel Oretega Ortiz                     Brent Coon & Associates           7:21-cv-51479-MCR-GRJ
   3856      333064   Eric Rapacz                             Brent Coon & Associates           7:21-cv-51484-MCR-GRJ
   3857      333065   Dorothy Gant                            Brent Coon & Associates           7:21-cv-51485-MCR-GRJ
   3858      333066   Baldemar Gonzales                       Brent Coon & Associates           7:21-cv-51486-MCR-GRJ
   3859      333069   Nicholas Rivera                         Brent Coon & Associates           7:21-cv-51489-MCR-GRJ
   3860      333070   Thomas Mize                             Brent Coon & Associates           7:21-cv-51490-MCR-GRJ
   3861      333074   Dexter Parker                           Brent Coon & Associates           7:21-cv-51494-MCR-GRJ
   3862      333076   Phillip Chang                           Brent Coon & Associates           7:21-cv-51496-MCR-GRJ
   3863      333077   Steven Parsons                          Brent Coon & Associates           7:21-cv-51497-MCR-GRJ
   3864      333078   George Day                              Brent Coon & Associates           7:21-cv-51498-MCR-GRJ
   3865      333079   Jeremy Saylor                           Brent Coon & Associates                                      7:21-cv-51499-MCR-GRJ
   3866      333080   Travis Mcclure                          Brent Coon & Associates           7:21-cv-51500-MCR-GRJ
   3867      333083   Philip Mcdaniel                         Brent Coon & Associates           7:21-cv-51503-MCR-GRJ
   3868      333084   Michael Hamm                            Brent Coon & Associates           7:21-cv-51504-MCR-GRJ
   3869      333085   Robert Kunard                           Brent Coon & Associates           7:21-cv-51505-MCR-GRJ




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   3870      333087   Rodrigo Flores                          Brent Coon & Associates                                      7:21-cv-51507-MCR-GRJ
   3871      333091   Sean O'Neil                             Brent Coon & Associates                                      7:21-cv-51511-MCR-GRJ
   3872      333092   Michael Sides                           Brent Coon & Associates           7:21-cv-51512-MCR-GRJ
   3873      333093   Damion Hayes                            Brent Coon & Associates           7:21-cv-51513-MCR-GRJ
   3874      333095   Shane Leidig                            Brent Coon & Associates                                      7:21-cv-51515-MCR-GRJ
   3875      333096   Rickie Darden                           Brent Coon & Associates           7:21-cv-51517-MCR-GRJ
   3876      333098   Ryan Westcott                           Brent Coon & Associates                                      7:21-cv-51522-MCR-GRJ
   3877      333100   Johnathan Miller                        Brent Coon & Associates           7:21-cv-51525-MCR-GRJ
   3878      333101   Deondre Allen                           Brent Coon & Associates                                      7:21-cv-51528-MCR-GRJ
   3879      333102   Lauren Vannewhouse                      Brent Coon & Associates           7:21-cv-51530-MCR-GRJ
   3880      349708   Brian Heesaker                          Brent Coon & Associates                                      3:21-cv-03913-MCR-GRJ
   3881      349710   Thomas Pelfrey                          Brent Coon & Associates                                      3:22-cv-02023-MCR-GRJ
   3882      349718   Diana Horton-Barnett                    Brent Coon & Associates                                      3:21-cv-03536-MCR-GRJ
   3883      349767   Josh Cote                               Brent Coon & Associates                                      3:21-cv-03543-MCR-GRJ
   3884      350934   Cynthia Chevrestt                       Brent Coon & Associates                                      3:22-cv-04151-MCR-GRJ
   3885      350945   Larry Cheley                            Brent Coon & Associates                                      3:21-cv-03648-MCR-GRJ
   3886      350981   Derek Wheelwright                       Brent Coon & Associates                                      3:21-cv-04912-MCR-GRJ
   3887      352927   Armin Hoes                              Brent Coon & Associates                                      3:21-cv-03827-MCR-GRJ
   3888      352928   Timothy Clark                           Brent Coon & Associates                                      3:21-cv-03760-MCR-GRJ
   3889      352930   Charles Nielsen                         Brent Coon & Associates                                      3:21-cv-03703-MCR-GRJ
   3890      352932   Benjamin Morris                         Brent Coon & Associates                                      3:21-cv-03737-MCR-GRJ
   3891      352934   Javelle Lewis                           Brent Coon & Associates                                      3:21-cv-03782-MCR-GRJ
   3892      352935   Jesse Hetrick                           Brent Coon & Associates                                      3:21-cv-03821-MCR-GRJ
   3893      352937   John Gant                               Brent Coon & Associates                                      3:21-cv-03846-MCR-GRJ
   3894      352938   William Town                            Brent Coon & Associates                                      3:21-cv-03739-MCR-GRJ
   3895      352939   Ingrid Brown                            Brent Coon & Associates                                      3:21-cv-03766-MCR-GRJ
   3896      352940   Edward Bohy                             Brent Coon & Associates                                      3:21-cv-03793-MCR-GRJ
   3897      352941   Jeremy Marrero                          Brent Coon & Associates                                      3:21-cv-03735-MCR-GRJ
   3898      352942   Anthony Gaddy                           Brent Coon & Associates                                      3:21-cv-03797-MCR-GRJ
   3899      352944   Louis Bohan                             Brent Coon & Associates                                      3:21-cv-03781-MCR-GRJ
   3900      352945   Michael Zumwalt                         Brent Coon & Associates                                      3:21-cv-03772-MCR-GRJ
   3901      352947   Shawn Mcananney                         Brent Coon & Associates                                      3:21-cv-03845-MCR-GRJ
   3902      352948   Robin Kirchner                          Brent Coon & Associates                                      3:21-cv-03809-MCR-GRJ
   3903      352949   Kelly Ervin                             Brent Coon & Associates                                      3:21-cv-03694-MCR-GRJ
   3904      352950   Pablo Valdes                            Brent Coon & Associates                                      3:21-cv-03741-MCR-GRJ
   3905      352952   Nicole Matthews                         Brent Coon & Associates                                      3:21-cv-03753-MCR-GRJ
   3906      352953   Theodore Lind                           Brent Coon & Associates                                      3:21-cv-03802-MCR-GRJ
   3907      352954   Charles Oxstien                         Brent Coon & Associates                                      3:21-cv-03692-MCR-GRJ
   3908      352955   Dustin Dallas                           Brent Coon & Associates                                      3:21-cv-03747-MCR-GRJ
   3909      352956   Brenda Quinones                         Brent Coon & Associates                                      3:21-cv-03787-MCR-GRJ
   3910      352957   Steven Shelton                          Brent Coon & Associates                                      3:21-cv-03705-MCR-GRJ
   3911      352958   Cristian Banu                           Brent Coon & Associates                                      3:21-cv-03784-MCR-GRJ
   3912      352959   Sebastian Culberson                     Brent Coon & Associates                                      3:21-cv-03763-MCR-GRJ
   3913      352960   Tiffany Needler                         Brent Coon & Associates                                      3:21-cv-03710-MCR-GRJ
   3914      352961   Joshua Dietz                            Brent Coon & Associates                                      3:21-cv-03723-MCR-GRJ
   3915      352962   Ryan Hoeye                              Brent Coon & Associates                                      3:21-cv-03768-MCR-GRJ
   3916      352967   Ronald Blake                            Brent Coon & Associates                                      3:21-cv-03829-MCR-GRJ
   3917      352968   Christopher Lauppe                      Brent Coon & Associates                                      3:21-cv-03732-MCR-GRJ
   3918      352969   Fernando Guzman                         Brent Coon & Associates                                      3:21-cv-03729-MCR-GRJ
   3919      352970   Brian Evancho                           Brent Coon & Associates                                      3:21-cv-03691-MCR-GRJ
   3920      352972   Thomas Evans                            Brent Coon & Associates                                      3:21-cv-03686-MCR-GRJ
   3921      352973   Taylor Schulz                           Brent Coon & Associates                                      3:21-cv-03702-MCR-GRJ
   3922      352974   Travis Malik                            Brent Coon & Associates                                      3:21-cv-03758-MCR-GRJ
   3923      352975   Eddie Lopez                             Brent Coon & Associates                                      3:21-cv-03800-MCR-GRJ
   3924      352976   Manuel Maes                             Brent Coon & Associates                                      3:21-cv-03764-MCR-GRJ
   3925      352977   Jonathan Buchanan                       Brent Coon & Associates                                      3:21-cv-03834-MCR-GRJ
   3926      352979   Ryan Koehler                            Brent Coon & Associates                                      3:21-cv-03804-MCR-GRJ
   3927      352981   Keegun Marsh                            Brent Coon & Associates                                      3:21-cv-03785-MCR-GRJ
   3928      352982   Johnathan Brown                         Brent Coon & Associates                                      3:21-cv-03745-MCR-GRJ
   3929      352983   Jasmine Covello                         Brent Coon & Associates                                      3:21-cv-03750-MCR-GRJ
   3930      352984   David Decrescenzo                       Brent Coon & Associates                                      3:21-cv-03730-MCR-GRJ
   3931      352985   Robert Cailouette                       Brent Coon & Associates                                      3:21-cv-03717-MCR-GRJ
   3932      352986   Melissa Talley                          Brent Coon & Associates                                      3:21-cv-03740-MCR-GRJ
   3933      352987   Marcus Desimone                         Brent Coon & Associates                                      3:21-cv-03728-MCR-GRJ
   3934      352988   Nicholas Buchanan                       Brent Coon & Associates                                      3:21-cv-03836-MCR-GRJ
   3935      352989   Jesse Pagan                             Brent Coon & Associates                                      3:21-cv-03687-MCR-GRJ
   3936      352990   Joseph King                             Brent Coon & Associates                                      3:21-cv-03823-MCR-GRJ
   3937      352991   John Campini                            Brent Coon & Associates                                      3:21-cv-03779-MCR-GRJ
   3938      355964   Donald Jackson                          Brent Coon & Associates                                      3:21-cv-04727-MCR-GRJ
   3939      355965   Cameron Hodge                           Brent Coon & Associates                                      3:22-cv-00077-MCR-GRJ
   3940      355968   Kevin Romero                            Brent Coon & Associates                                      3:21-cv-04901-MCR-GRJ
   3941      357875   Timothy Alonzo                          Brent Coon & Associates                                      3:22-cv-02071-MCR-GRJ
   3942      360304   James Weal                              Brent Coon & Associates                                      3:22-cv-04700-MCR-GRJ




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   3943      360393   Ramar Thompson                          Brent Coon & Associates                                      3:22-cv-04775-MCR-GRJ
   3944      360411   Fred Jones                              Brent Coon & Associates                                      3:22-cv-04876-MCR-GRJ
   3945      16417    Merlin Sesco                            Bryant Law Center                                            8:20-cv-24672-MCR-GRJ
   3946      16433    Tomas Chino                             Bryant Law Center                                            8:20-cv-05778-MCR-GRJ
   3947      234614   David Sillars                           Bryant Law Center                                            8:20-cv-83556-MCR-GRJ
   3948      237524   Jason Crawley                           Bryant Law Center                                            8:20-cv-83637-MCR-GRJ
   3949      298701   Blake Forrest                           Bryant Law Center                                            7:21-cv-19402-MCR-GRJ
   3950      321245   Christopher Cease                       Bryant Law Center                                            7:21-cv-35997-MCR-GRJ
   3951      325611   Joseph Sayers                           Bryant Law Center                                            7:21-cv-40617-MCR-GRJ
   3952      352468   Eric Rosburough                         Bryant Law Center                                            3:21-cv-02294-MCR-GRJ
   3953      132423   Jeremy Johnson                          Burnett Law Firm                                             7:20-cv-41885-MCR-GRJ
   3954      134671   Bradley Shipp                           Burnett Law Firm                                             7:20-cv-41886-MCR-GRJ
   3955      135880   Joshua Arfsten                          Burnett Law Firm                                             7:20-cv-63441-MCR-GRJ
   3956      135882   Deborah Barnes                          Burnett Law Firm                                             7:20-cv-41889-MCR-GRJ
   3957      135883   James Bell                              Burnett Law Firm                                             7:20-cv-41890-MCR-GRJ
   3958      135884   Cameron Blevins                         Burnett Law Firm                                             7:20-cv-41891-MCR-GRJ
   3959      135885   Dequan Boatwright                       Burnett Law Firm                                             7:20-cv-63445-MCR-GRJ
   3960      135887   Jack Bower                              Burnett Law Firm                                             7:20-cv-41893-MCR-GRJ
   3961      135888   Mauricio Branwell                       Burnett Law Firm                                             7:20-cv-41894-MCR-GRJ
   3962      135889   David Concepcion                        Burnett Law Firm                                             7:20-cv-41895-MCR-GRJ
   3963      135890   Vernon Cooper                           Burnett Law Firm                                             7:20-cv-41896-MCR-GRJ
   3964      135891   Sean Davis                              Burnett Law Firm                                             7:20-cv-41897-MCR-GRJ
   3965      135892   Jennifer Doubleday                      Burnett Law Firm                                             7:20-cv-41898-MCR-GRJ
   3966      135898   Charles Frankenberger                   Burnett Law Firm                                             7:20-cv-41904-MCR-GRJ
   3967      135900   Cody Gilmore                            Burnett Law Firm                                             7:20-cv-41906-MCR-GRJ
   3968      135901   Earl Glasco                             Burnett Law Firm                                             7:20-cv-41907-MCR-GRJ
   3969      135902   Jessica Glumm                           Burnett Law Firm                                             7:20-cv-41908-MCR-GRJ
   3970      135903   Abiy Hagos                              Burnett Law Firm                                             7:20-cv-41909-MCR-GRJ
   3971      135904   Santana Henderson                       Burnett Law Firm                                             7:20-cv-41910-MCR-GRJ
   3972      135905   Nelson Human                            Burnett Law Firm                                             7:20-cv-41911-MCR-GRJ
   3973      135906   James Ivery                             Burnett Law Firm                                             7:20-cv-41912-MCR-GRJ
   3974      135907   David Jackson                           Burnett Law Firm                                             7:20-cv-41913-MCR-GRJ
   3975      135908   Brandon Jennum                          Burnett Law Firm                                             7:20-cv-63448-MCR-GRJ
   3976      135910   Micah Johnson                           Burnett Law Firm                                             7:20-cv-41914-MCR-GRJ
   3977      135912   Ryan Kerns                              Burnett Law Firm                                             7:20-cv-41916-MCR-GRJ
   3978      135915   John Lewis                              Burnett Law Firm                                             7:20-cv-41919-MCR-GRJ
   3979      135916   Hollena Lisson                          Burnett Law Firm                                             7:20-cv-63453-MCR-GRJ
   3980      135918   Louis Lopez                             Burnett Law Firm                                             7:20-cv-41921-MCR-GRJ
   3981      135920   Joe Martinez                            Burnett Law Firm                                             7:20-cv-41924-MCR-GRJ
   3982      135922   Jose Mateo                              Burnett Law Firm                                             7:20-cv-41929-MCR-GRJ
   3983      135924   Joshua Monday                           Burnett Law Firm                                             7:20-cv-41934-MCR-GRJ
   3984      135925   Robert Mooney                           Burnett Law Firm                                             7:20-cv-41937-MCR-GRJ
   3985      135926   Paul Morris                             Burnett Law Firm                                             7:20-cv-41940-MCR-GRJ
   3986      135927   Joshua Murray                           Burnett Law Firm                                             7:20-cv-41941-MCR-GRJ
   3987      135930   Iva Patterson                           Burnett Law Firm                                             7:20-cv-41949-MCR-GRJ
   3988      135931   Emanuel Pattillo                        Burnett Law Firm                                             7:20-cv-41951-MCR-GRJ
   3989      135932   Daniel Pfaff                            Burnett Law Firm                                             7:20-cv-41954-MCR-GRJ
   3990      135934   Shayla Povea                            Burnett Law Firm                                             7:20-cv-41960-MCR-GRJ
   3991      135935   Daniel Radke                            Burnett Law Firm                                             7:20-cv-41964-MCR-GRJ
   3992      135937   Phillip Roberts                         Burnett Law Firm                                             7:20-cv-41970-MCR-GRJ
   3993      135938   Benjamin Schwartz                       Burnett Law Firm                                             7:20-cv-41973-MCR-GRJ
   3994      135942   Charita Sims                            Burnett Law Firm                                             7:20-cv-41984-MCR-GRJ
   3995      135943   Patrick Smith                           Burnett Law Firm                                             7:20-cv-41987-MCR-GRJ
   3996      135944   Kristopher Stark                        Burnett Law Firm                                             7:20-cv-41991-MCR-GRJ
   3997      135945   Mark Stone                              Burnett Law Firm                                             7:20-cv-41995-MCR-GRJ
   3998      135951   Amos Washington                         Burnett Law Firm                                             7:20-cv-42015-MCR-GRJ
   3999      135954   Adrion Whitaker                         Burnett Law Firm                                             7:20-cv-42026-MCR-GRJ
   4000      135955   Tyrone White                            Burnett Law Firm                                             7:20-cv-42029-MCR-GRJ
   4001      135957   Jeremy Witten                           Burnett Law Firm                                             7:20-cv-42036-MCR-GRJ
   4002      135958   Steven Young                            Burnett Law Firm                                             7:20-cv-42040-MCR-GRJ
   4003      135959   Tyler Zimmerman                         Burnett Law Firm                                             7:20-cv-42042-MCR-GRJ
   4004      223768   Kevin Felsman                           Burnett Law Firm                                             8:20-cv-75578-MCR-GRJ
   4005      260861   James Barker                            Burnett Law Firm                                             9:20-cv-04360-MCR-GRJ
   4006      260862   John Barneson                           Burnett Law Firm                                             9:20-cv-04361-MCR-GRJ
   4007      260863   Devon Eichhorst                         Burnett Law Firm                                             9:20-cv-04362-MCR-GRJ
   4008      260865   Howard Ewing                            Burnett Law Firm                                             9:20-cv-04364-MCR-GRJ
   4009      260866   Timothy Jones                           Burnett Law Firm                                             9:20-cv-04365-MCR-GRJ
   4010      260867   Brannon Mobley                          Burnett Law Firm                                             9:20-cv-04366-MCR-GRJ
   4011      274623   Jeff Kennedy                            Burnett Law Firm                                             7:21-cv-00004-MCR-GRJ
   4012      282275   Michael Santora                         Burnett Law Firm                                             7:21-cv-04906-MCR-GRJ
   4013      282277   Sean Mccartney                          Burnett Law Firm                                             7:21-cv-04908-MCR-GRJ
   4014      282279   Kermit Turner                           Burnett Law Firm                                             7:21-cv-04909-MCR-GRJ
   4015      282280   Craig Strahler                          Burnett Law Firm                                             7:21-cv-04910-MCR-GRJ




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   4016      282282   Arthur Ward                             Burnett Law Firm                                                     7:21-cv-04911-MCR-GRJ
   4017      282283   Steve Gonzalez                          Burnett Law Firm                                                     7:21-cv-04912-MCR-GRJ
   4018      282284   Jessica Parks                           Burnett Law Firm                                                     7:21-cv-04913-MCR-GRJ
   4019      306963   Kevin Christensen                       Burnett Law Firm                                                     7:21-cv-24042-MCR-GRJ
   4020      307069   Ryan Taylor                             Burnett Law Firm                                                     7:21-cv-24117-MCR-GRJ
   4021      309722   Anthony Cousin                          Burnett Law Firm                                                     7:21-cv-26228-MCR-GRJ
   4022      309782   Charles Nuwamanya                       Burnett Law Firm                                                     7:21-cv-26908-MCR-GRJ
   4023      315764   Sabas Salinas                           Burnett Law Firm                                                     7:21-cv-29158-MCR-GRJ
   4024      353600   Joey Simon                              Butsch Roberts & Associates LLC                                      3:21-cv-01012-MCR-GRJ
   4025      353601   Michael Carter                          Butsch Roberts & Associates LLC                                      3:21-cv-01011-MCR-GRJ
   4026      353602   Raymond Borrego                         Butsch Roberts & Associates LLC                                      3:21-cv-01010-MCR-GRJ
   4027       8259    Candice Thompson                        Cannon Law                                                           8:20-cv-16723-MCR-GRJ
   4028       8260    Daniel Winters                          Cannon Law                                                           8:20-cv-16726-MCR-GRJ
   4029       8278    David Holland                           Cannon Law                                                           8:20-cv-16788-MCR-GRJ
   4030       8279    Steven Fairchild                        Cannon Law                                                           8:20-cv-16792-MCR-GRJ
   4031       8284    Fernandez Garcia                        Cannon Law                                                           8:20-cv-16813-MCR-GRJ
   4032       8289    Scott Sevigny                           Cannon Law                                                           8:20-cv-16833-MCR-GRJ
   4033      69021    Felicia Mullins                         Cannon Law                                                           8:20-cv-17173-MCR-GRJ
   4034      183340   Kurt Curtis                             Cannon Law                                                           8:20-cv-18758-MCR-GRJ
   4035      183343   Joshua Nantz                            Cannon Law                                                           8:20-cv-18766-MCR-GRJ
   4036      78747    Herbert Bentley                         Carey Danis & Lowe                        7:20-cv-16091-MCR-GRJ
   4037      78755    Cameron Broussard                       Carey Danis & Lowe                                                   7:20-cv-49428-MCR-GRJ
   4038      78763    Aaron Cantu                             Carey Danis & Lowe                        7:20-cv-49449-MCR-GRJ
   4039      78771    Earnest Christian                       Carey Danis & Lowe                        7:20-cv-49474-MCR-GRJ
   4040      78785    Andres Duran                            Carey Danis & Lowe                                                   7:20-cv-49520-MCR-GRJ
   4041      78798    Joe Gonzales                            Carey Danis & Lowe                        7:20-cv-49557-MCR-GRJ
   4042      78799    Ray Green                               Carey Danis & Lowe                        7:20-cv-49560-MCR-GRJ
   4043      78806    Walter Harris                           Carey Danis & Lowe                        7:20-cv-49581-MCR-GRJ
   4044      78811    Anthony Henderson                       Carey Danis & Lowe                        7:20-cv-49598-MCR-GRJ
   4045      78813    Tony Hobbs                              Carey Danis & Lowe                        7:20-cv-49604-MCR-GRJ
   4046      78819    Clarence Hudson                         Carey Danis & Lowe                                                   7:20-cv-49626-MCR-GRJ
   4047      78830    Nathan Keith                            Carey Danis & Lowe                                                   7:20-cv-49670-MCR-GRJ
   4048      78836    Maurice Lapoint                         Carey Danis & Lowe                        7:20-cv-49694-MCR-GRJ
   4049      78837    Luis Latorre                            Carey Danis & Lowe                        7:20-cv-49699-MCR-GRJ
   4050      78842    Josh Leonard                            Carey Danis & Lowe                        7:20-cv-49720-MCR-GRJ
   4051      78851    Andrew Long                             Carey Danis & Lowe                                                   7:20-cv-49751-MCR-GRJ
   4052      78883    Joseph Palmer                           Carey Danis & Lowe                        7:20-cv-49866-MCR-GRJ
   4053      78887    John Penn                               Carey Danis & Lowe                        7:20-cv-49884-MCR-GRJ
   4054      78896    Ricky Redmond                           Carey Danis & Lowe                        7:20-cv-49925-MCR-GRJ
   4055      78897    Anthony Reese                           Carey Danis & Lowe                        7:20-cv-49930-MCR-GRJ
   4056      78899    Mathew Richards                         Carey Danis & Lowe                        7:20-cv-49938-MCR-GRJ
   4057      78913    Guy Schmidt                             Carey Danis & Lowe                                                   7:20-cv-50002-MCR-GRJ
   4058      78915    Richard Sears                           Carey Danis & Lowe                        7:20-cv-50010-MCR-GRJ
   4059      78923    Bryan Smith                             Carey Danis & Lowe                        7:20-cv-50045-MCR-GRJ
   4060      78924    Mitchell Spohn                          Carey Danis & Lowe                        7:20-cv-50050-MCR-GRJ
   4061      78954    Clint Wagner                            Carey Danis & Lowe                                                   7:20-cv-50178-MCR-GRJ
   4062      180264   Darnel Brown                            Carey Danis & Lowe                                                   7:20-cv-85171-MCR-GRJ
   4063      180265   Jack Hamley                             Carey Danis & Lowe                        7:20-cv-85176-MCR-GRJ
   4064      180268   Albert Johnson                          Carey Danis & Lowe                        7:20-cv-85190-MCR-GRJ
   4065      180270   Dedric Jones                            Carey Danis & Lowe                        7:20-cv-85198-MCR-GRJ
   4066      180273   David Miller                            Carey Danis & Lowe                                                   7:20-cv-85212-MCR-GRJ
   4067      180276   Jose Rivera                             Carey Danis & Lowe                        7:20-cv-85227-MCR-GRJ
   4068      180283   Jae Yang                                Carey Danis & Lowe                        7:20-cv-85258-MCR-GRJ
   4069      194813   Daniel Arushanov                        Carey Danis & Lowe                        8:20-cv-32166-MCR-GRJ
   4070      194821   Julio Cardenas                          Carey Danis & Lowe                                                   8:20-cv-32181-MCR-GRJ
   4071      194835   Brian Green                             Carey Danis & Lowe                        8:20-cv-32211-MCR-GRJ
   4072      194838   Jerry Hoffman                           Carey Danis & Lowe                        8:20-cv-32220-MCR-GRJ
   4073      194842   Kurtis June                             Carey Danis & Lowe                        8:20-cv-32231-MCR-GRJ
   4074      194846   Michael Liggett                         Carey Danis & Lowe                                                   8:20-cv-32243-MCR-GRJ
   4075      194851   Jimmy Morgan                            Carey Danis & Lowe                        8:20-cv-32257-MCR-GRJ
   4076      194853   Derrick Powe                            Carey Danis & Lowe                        8:20-cv-32263-MCR-GRJ
   4077      207636   Jorge Rangel                            Carey Danis & Lowe                        8:20-cv-55459-MCR-GRJ
   4078      207637   Ludwig Renner                           Carey Danis & Lowe                        8:20-cv-55462-MCR-GRJ
   4079      207640   Anthony Robertson                       Carey Danis & Lowe                                                   8:20-cv-55472-MCR-GRJ
   4080      207654   Joshua Wright                           Carey Danis & Lowe                        8:20-cv-55517-MCR-GRJ
   4081      212349   Anthony Jacoby                          Carey Danis & Lowe                        8:20-cv-57416-MCR-GRJ
   4082      212362   Joseph White                            Carey Danis & Lowe                        8:20-cv-57440-MCR-GRJ
   4083      212366   George Carter                           Carey Danis & Lowe                                                   8:20-cv-57447-MCR-GRJ
   4084      212384   Robert Ryberg                           Carey Danis & Lowe                        8:20-cv-57481-MCR-GRJ
   4085      222202   Clayton Brooks                          Carey Danis & Lowe                        8:20-cv-71959-MCR-GRJ
   4086      222203   Shane Broome                            Carey Danis & Lowe                        8:20-cv-71960-MCR-GRJ
   4087      222204   Kyle Calhoun                            Carey Danis & Lowe                        8:20-cv-71961-MCR-GRJ
   4088      222205   William Carter                          Carey Danis & Lowe                                                   8:20-cv-71962-MCR-GRJ




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   4089      222207   Bryan Cohen                             Carey Danis & Lowe           8:20-cv-71964-MCR-GRJ
   4090      222208   Evan Coleman                            Carey Danis & Lowe           8:20-cv-71965-MCR-GRJ
   4091      222211   Brett Corley                            Carey Danis & Lowe                                      8:20-cv-71968-MCR-GRJ
   4092      222213   Matthew Cox                             Carey Danis & Lowe           8:20-cv-71970-MCR-GRJ
   4093      222223   Brandon Faucett                         Carey Danis & Lowe           8:20-cv-71980-MCR-GRJ
   4094      222224   Samuel Felts                            Carey Danis & Lowe                                      8:20-cv-71981-MCR-GRJ
   4095      222231   Charles Goad                            Carey Danis & Lowe                                      8:20-cv-71988-MCR-GRJ
   4096      222233   Edward Goldsborough                     Carey Danis & Lowe           8:20-cv-71990-MCR-GRJ
   4097      222236   Odell Grayson                           Carey Danis & Lowe           8:20-cv-71993-MCR-GRJ
   4098      222237   Michael Greene                          Carey Danis & Lowe           8:20-cv-71994-MCR-GRJ
   4099      222243   Ervin Hernandez                         Carey Danis & Lowe           8:20-cv-72000-MCR-GRJ
   4100      222245   Jacob Hixon                             Carey Danis & Lowe           8:20-cv-72002-MCR-GRJ
   4101      222248   Henry Jackson                           Carey Danis & Lowe                                      8:20-cv-72005-MCR-GRJ
   4102      222253   Cameron Joyner                          Carey Danis & Lowe           8:20-cv-72010-MCR-GRJ
   4103      222257   German Lassalle                         Carey Danis & Lowe           8:20-cv-72014-MCR-GRJ
   4104      222262   Anthony Maestas                         Carey Danis & Lowe           8:20-cv-72019-MCR-GRJ
   4105      222265   Richard Mccullough                      Carey Danis & Lowe                                      8:20-cv-72022-MCR-GRJ
   4106      222266   Johnny Moore                            Carey Danis & Lowe           8:20-cv-72023-MCR-GRJ
   4107      222273   Jack Pardee                             Carey Danis & Lowe           8:20-cv-72030-MCR-GRJ
   4108      222274   Noble Patterson                         Carey Danis & Lowe           8:20-cv-72031-MCR-GRJ
   4109      222277   Michael Penney                          Carey Danis & Lowe                                      8:20-cv-72034-MCR-GRJ
   4110      222278   Anjaye Peters                           Carey Danis & Lowe           8:20-cv-72035-MCR-GRJ
   4111      222279   James Pew                               Carey Danis & Lowe           8:20-cv-72036-MCR-GRJ
   4112      222281   Ryan Porch                              Carey Danis & Lowe                                      8:20-cv-72038-MCR-GRJ
   4113      222284   Ruben Ramos                             Carey Danis & Lowe           8:20-cv-72041-MCR-GRJ
   4114      222285   Reynold Ramsey                          Carey Danis & Lowe                                      8:20-cv-72042-MCR-GRJ
   4115      222291   Jesse Schaffer                          Carey Danis & Lowe           8:20-cv-72048-MCR-GRJ
   4116      222293   Tiffany Smith                           Carey Danis & Lowe           8:20-cv-72050-MCR-GRJ
   4117      222294   Eric Smith                              Carey Danis & Lowe                                      8:20-cv-72051-MCR-GRJ
   4118      222299   Ira Summers                             Carey Danis & Lowe           8:20-cv-72056-MCR-GRJ
   4119      222305   Seth Ward                               Carey Danis & Lowe           8:20-cv-72062-MCR-GRJ
   4120      222307   George West                             Carey Danis & Lowe           8:20-cv-72064-MCR-GRJ
   4121      234103   Christopher Alarcon                     Carey Danis & Lowe                                      8:20-cv-83167-MCR-GRJ
   4122      234105   Tarik Angelle                           Carey Danis & Lowe           8:20-cv-83169-MCR-GRJ
   4123      234108   John Aseph                              Carey Danis & Lowe           8:20-cv-83172-MCR-GRJ
   4124      234113   Eric Berryhill                          Carey Danis & Lowe           8:20-cv-83177-MCR-GRJ
   4125      234114   James Bishop                            Carey Danis & Lowe           8:20-cv-83178-MCR-GRJ
   4126      234116   Cole Boden                              Carey Danis & Lowe           8:20-cv-83180-MCR-GRJ
   4127      234117   Fred Boggs                              Carey Danis & Lowe           8:20-cv-83181-MCR-GRJ
   4128      234125   Shelby Cross                            Carey Danis & Lowe                                      8:20-cv-83189-MCR-GRJ
   4129      234134   Jeffery Farmer                          Carey Danis & Lowe           8:20-cv-83198-MCR-GRJ
   4130      234135   Michael Farve                           Carey Danis & Lowe           8:20-cv-83199-MCR-GRJ
   4131      234137   Patrick Finley                          Carey Danis & Lowe           8:20-cv-83202-MCR-GRJ
   4132      234138   Stuart Foster                           Carey Danis & Lowe           8:20-cv-83204-MCR-GRJ
   4133      234139   Corey Franks                            Carey Danis & Lowe           8:20-cv-83205-MCR-GRJ
   4134      234143   Porfirio Gasperecz                      Carey Danis & Lowe           8:20-cv-83213-MCR-GRJ
   4135      234146   Samuel Green                            Carey Danis & Lowe                                      8:20-cv-83218-MCR-GRJ
   4136      234147   Jerry Griswell                          Carey Danis & Lowe                                      8:20-cv-83220-MCR-GRJ
   4137      234151   Alex Hargrave                           Carey Danis & Lowe           8:20-cv-83227-MCR-GRJ
   4138      234152   Thomas Heller                           Carey Danis & Lowe           8:20-cv-83228-MCR-GRJ
   4139      234153   Kevin Herp                              Carey Danis & Lowe           8:20-cv-83230-MCR-GRJ
   4140      234162   Laura Johns                             Carey Danis & Lowe                                      8:20-cv-83246-MCR-GRJ
   4141      234164   Jonathon Johnson                        Carey Danis & Lowe                                      8:20-cv-83250-MCR-GRJ
   4142      234169   Terrance Leonard                        Carey Danis & Lowe           8:20-cv-83288-MCR-GRJ
   4143      234170   Damon Lightfoot                         Carey Danis & Lowe           8:20-cv-83289-MCR-GRJ
   4144      234174   Carlos Maldonado                        Carey Danis & Lowe                                      8:20-cv-83296-MCR-GRJ
   4145      234176   Derek Mathis                            Carey Danis & Lowe           8:20-cv-83300-MCR-GRJ
   4146      234177   Tucker Mcdaniel                         Carey Danis & Lowe           8:20-cv-83301-MCR-GRJ
   4147      234181   Sheila Miles                            Carey Danis & Lowe           8:20-cv-83308-MCR-GRJ
   4148      234185   Ricardo Miranda                         Carey Danis & Lowe                                      8:20-cv-83315-MCR-GRJ
   4149      234188   Jentry Moore                            Carey Danis & Lowe           8:20-cv-83320-MCR-GRJ
   4150      234195   Robert Olando                           Carey Danis & Lowe                                      8:20-cv-83332-MCR-GRJ
   4151      234202   Keisha Parker                           Carey Danis & Lowe                                      8:20-cv-83345-MCR-GRJ
   4152      234204   John Plato                              Carey Danis & Lowe           8:20-cv-83349-MCR-GRJ
   4153      234206   David Potting                           Carey Danis & Lowe           8:20-cv-83352-MCR-GRJ
   4154      234207   Anthony Pruitt                          Carey Danis & Lowe                                      8:20-cv-83354-MCR-GRJ
   4155      234211   Michael Ramos Melara                    Carey Danis & Lowe           8:20-cv-83361-MCR-GRJ
   4156      234222   Juan Rodriguez                          Carey Danis & Lowe           8:20-cv-83381-MCR-GRJ
   4157      234224   Sean Ruth                               Carey Danis & Lowe           8:20-cv-83385-MCR-GRJ
   4158      234225   Justin Ryan                             Carey Danis & Lowe           8:20-cv-83386-MCR-GRJ
   4159      234227   Randy Salas                             Carey Danis & Lowe           8:20-cv-83390-MCR-GRJ
   4160      234228   George Sanders                          Carey Danis & Lowe           8:20-cv-83392-MCR-GRJ
   4161      234229   Daniel Sandoval                         Carey Danis & Lowe           8:20-cv-83394-MCR-GRJ




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   4162      234230   John Santoro                            Carey Danis & Lowe           8:20-cv-83396-MCR-GRJ
   4163      234232   Ralph Sedgwick                          Carey Danis & Lowe           8:20-cv-83399-MCR-GRJ
   4164      234233   Marcos Sena                             Carey Danis & Lowe           8:20-cv-83401-MCR-GRJ
   4165      234234   Darel Shelton                           Carey Danis & Lowe           8:20-cv-83403-MCR-GRJ
   4166      234236   Chris Shook                             Carey Danis & Lowe           8:20-cv-83406-MCR-GRJ
   4167      234238   Brandon Smith                           Carey Danis & Lowe           8:20-cv-83410-MCR-GRJ
   4168      234240   Hector Solorzano                        Carey Danis & Lowe                                      8:20-cv-83414-MCR-GRJ
   4169      234247   Christopher Thomas                      Carey Danis & Lowe           8:20-cv-83425-MCR-GRJ
   4170      234248   Marshall Thompson                       Carey Danis & Lowe           8:20-cv-83427-MCR-GRJ
   4171      234252   Dakota Vanmeter                         Carey Danis & Lowe                                      8:20-cv-83434-MCR-GRJ
   4172      234265   Eric Williams                           Carey Danis & Lowe           8:20-cv-83457-MCR-GRJ
   4173      234272   Danny Wynn                              Carey Danis & Lowe           8:20-cv-83470-MCR-GRJ
   4174      241917   Ryan Chalmers                           Carey Danis & Lowe           8:20-cv-88979-MCR-GRJ
   4175      241922   Matthew Davis                           Carey Danis & Lowe           8:20-cv-88984-MCR-GRJ
   4176      241925   Miracle Elijah                          Carey Danis & Lowe           8:20-cv-88987-MCR-GRJ
   4177      241928   Daniel Genovese                         Carey Danis & Lowe           8:20-cv-88990-MCR-GRJ
   4178      241929   Mary Gesell                             Carey Danis & Lowe                                      8:20-cv-88991-MCR-GRJ
   4179      241930   Nathan Halpin                           Carey Danis & Lowe           8:20-cv-88992-MCR-GRJ
   4180      241935   Lavonne Hudson                          Carey Danis & Lowe           8:20-cv-88997-MCR-GRJ
   4181      241937   Eddie Johnson                           Carey Danis & Lowe           8:20-cv-88999-MCR-GRJ
   4182      241940   James Keener                            Carey Danis & Lowe           8:20-cv-89002-MCR-GRJ
   4183      241942   Danny Lopez                             Carey Danis & Lowe           8:20-cv-89004-MCR-GRJ
   4184      241943   Nori Martinez                           Carey Danis & Lowe           8:20-cv-89005-MCR-GRJ
   4185      241948   Darron Merrell                          Carey Danis & Lowe                                      8:20-cv-89010-MCR-GRJ
   4186      241949   Sherrell Mitchell                       Carey Danis & Lowe           8:20-cv-89011-MCR-GRJ
   4187      241953   Andrew Ortega                           Carey Danis & Lowe                                      8:20-cv-89015-MCR-GRJ
   4188      241959   Wade Roberts                            Carey Danis & Lowe           8:20-cv-89021-MCR-GRJ
   4189      241962   Antonio Soto                            Carey Danis & Lowe                                      8:20-cv-89024-MCR-GRJ
   4190      241963   Aaron Stewart                           Carey Danis & Lowe                                      8:20-cv-89025-MCR-GRJ
   4191      241967   David Tipton                            Carey Danis & Lowe                                      8:20-cv-89032-MCR-GRJ
   4192      241970   Albert Vargas                           Carey Danis & Lowe           8:20-cv-89038-MCR-GRJ
   4193      250700   Joshua Cargile                          Carey Danis & Lowe           8:20-cv-94773-MCR-GRJ
   4194      250701   David Chase                             Carey Danis & Lowe           8:20-cv-94774-MCR-GRJ
   4195      250711   Brandy Perry                            Carey Danis & Lowe           8:20-cv-94784-MCR-GRJ
   4196      250715   Miranda Sword                           Carey Danis & Lowe                                      8:20-cv-94788-MCR-GRJ
   4197      258780   Juan Cervantes                          Carey Danis & Lowe           9:20-cv-03218-MCR-GRJ
   4198      258796   Maxwell Hanscome                        Carey Danis & Lowe           9:20-cv-03234-MCR-GRJ
   4199      258803   Emory Ishley                            Carey Danis & Lowe           9:20-cv-03241-MCR-GRJ
   4200      258809   Damian Lee                              Carey Danis & Lowe           9:20-cv-03247-MCR-GRJ
   4201      258811   George Livingston                       Carey Danis & Lowe           9:20-cv-03249-MCR-GRJ
   4202      258823   Kevan Pierre                            Carey Danis & Lowe           9:20-cv-03261-MCR-GRJ
   4203      258824   April Quintanilla                       Carey Danis & Lowe                                      9:20-cv-03262-MCR-GRJ
   4204      258826   Charles Raymond                         Carey Danis & Lowe           9:20-cv-03264-MCR-GRJ
   4205      258827   William Rippy                           Carey Danis & Lowe           9:20-cv-03265-MCR-GRJ
   4206      258839   Jose Vargas                             Carey Danis & Lowe           9:20-cv-03277-MCR-GRJ
   4207      258841   Robert Welch                            Carey Danis & Lowe                                      9:20-cv-03279-MCR-GRJ
   4208      261208   Clemens Alfonso                         Carey Danis & Lowe                                      9:20-cv-03043-MCR-GRJ
   4209      261211   Jeremy Black                            Carey Danis & Lowe           9:20-cv-03046-MCR-GRJ
   4210      261212   Tangela Brandt                          Carey Danis & Lowe           9:20-cv-03047-MCR-GRJ
   4211      261214   Edward Choi                             Carey Danis & Lowe           9:20-cv-03049-MCR-GRJ
   4212      261227   Colin Huffman                           Carey Danis & Lowe                                      9:20-cv-03062-MCR-GRJ
   4213      261243   Jesus Rodriguez                         Carey Danis & Lowe           9:20-cv-03078-MCR-GRJ
   4214      261245   Joanne Ruggeri                          Carey Danis & Lowe           9:20-cv-03080-MCR-GRJ
   4215      261247   Calvin Tucker                           Carey Danis & Lowe           9:20-cv-03082-MCR-GRJ
   4216      267918   Vincent Davis                           Carey Danis & Lowe           9:20-cv-08620-MCR-GRJ
   4217      267921   Jonathan Frazier                        Carey Danis & Lowe                                      9:20-cv-08626-MCR-GRJ
   4218      267926   Justin Keefe                            Carey Danis & Lowe           9:20-cv-08636-MCR-GRJ
   4219      267942   Cameron Shinault                        Carey Danis & Lowe           9:20-cv-08666-MCR-GRJ
   4220      267952   Robert Zuccarini                        Carey Danis & Lowe           9:20-cv-08685-MCR-GRJ
   4221      271159   Gregory Arenas                          Carey Danis & Lowe                                      9:20-cv-12718-MCR-GRJ
   4222      271165   Alexandra Campo                         Carey Danis & Lowe           9:20-cv-12724-MCR-GRJ
   4223      271174   James Daniels                           Carey Danis & Lowe           9:20-cv-12733-MCR-GRJ
   4224      271176   Scott Duncan                            Carey Danis & Lowe           9:20-cv-12735-MCR-GRJ
   4225      271197   Johnny Pincay                           Carey Danis & Lowe                                      9:20-cv-12756-MCR-GRJ
   4226      271207   Winston Sellars                         Carey Danis & Lowe           9:20-cv-12766-MCR-GRJ
   4227      271210   Chad Stallings                          Carey Danis & Lowe           9:20-cv-12769-MCR-GRJ
   4228      274485   Todd Avery                              Carey Danis & Lowe                                      9:20-cv-16225-MCR-GRJ
   4229      274487   David Begley                            Carey Danis & Lowe                                      9:20-cv-16229-MCR-GRJ
   4230      274501   Justin Herring                          Carey Danis & Lowe           9:20-cv-16250-MCR-GRJ
   4231      280363   Tashiko Clark                           Carey Danis & Lowe           7:21-cv-00098-MCR-GRJ
   4232      280372   John Gutierrez                          Carey Danis & Lowe           7:21-cv-00107-MCR-GRJ
   4233      280389   Timothy Rabara                          Carey Danis & Lowe           7:21-cv-00124-MCR-GRJ
   4234      280394   Mark Sprenz                             Carey Danis & Lowe           7:21-cv-00129-MCR-GRJ




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   4235      280400   Diamond Williams                        Carey Danis & Lowe                                      7:21-cv-00135-MCR-GRJ
   4236      282904   Anthony Gardner                         Carey Danis & Lowe           7:21-cv-04441-MCR-GRJ
   4237      282912   Corey Thompson                          Carey Danis & Lowe                                      7:21-cv-04457-MCR-GRJ
   4238      287014   Gregory Blodgett                        Carey Danis & Lowe           7:21-cv-08662-MCR-GRJ
   4239      287021   Jerry Fink                              Carey Danis & Lowe           7:21-cv-08669-MCR-GRJ
   4240      287032   Aaron Ingram                            Carey Danis & Lowe           7:21-cv-08680-MCR-GRJ
   4241      287042   James Pearson                           Carey Danis & Lowe                                      7:21-cv-08690-MCR-GRJ
   4242      287048   Trevor Thomas                           Carey Danis & Lowe           7:21-cv-08696-MCR-GRJ
   4243      291825   Armando Apolinar                        Carey Danis & Lowe           7:21-cv-10922-MCR-GRJ
   4244      291830   Jose Claudio                            Carey Danis & Lowe           7:21-cv-10927-MCR-GRJ
   4245      291832   Danny Deleon                            Carey Danis & Lowe           7:21-cv-10929-MCR-GRJ
   4246      291841   David Kew                               Carey Danis & Lowe           7:21-cv-10938-MCR-GRJ
   4247      291846   James Mikolajczyk                       Carey Danis & Lowe           7:21-cv-10943-MCR-GRJ
   4248      291847   Ronald Moody                            Carey Danis & Lowe           7:21-cv-10944-MCR-GRJ
   4249      291848   Thor Nitta                              Carey Danis & Lowe           7:21-cv-10945-MCR-GRJ
   4250      291849   Marcos Olivares                         Carey Danis & Lowe                                      7:21-cv-10946-MCR-GRJ
   4251      291850   Michael Ours                            Carey Danis & Lowe           7:21-cv-10947-MCR-GRJ
   4252      291854   Elijah Richards                         Carey Danis & Lowe           7:21-cv-10951-MCR-GRJ
   4253      291856   Brandon Rosalez                         Carey Danis & Lowe           7:21-cv-10953-MCR-GRJ
   4254      291858   Dustin Russell                          Carey Danis & Lowe           7:21-cv-10955-MCR-GRJ
   4255      291870   Keith Wesa                              Carey Danis & Lowe           7:21-cv-10967-MCR-GRJ
   4256      293841   Alvin Caliste                           Carey Danis & Lowe                                      7:21-cv-14153-MCR-GRJ
   4257      293842   Kyler Callaway                          Carey Danis & Lowe           7:21-cv-14154-MCR-GRJ
   4258      293845   Bryce Conklin                           Carey Danis & Lowe           7:21-cv-14157-MCR-GRJ
   4259      293849   Daniel Dezotell                         Carey Danis & Lowe                                      7:21-cv-14216-MCR-GRJ
   4260      293850   Nicholas Emanoff                        Carey Danis & Lowe           7:21-cv-14217-MCR-GRJ
   4261      293863   Raymond Johnson                         Carey Danis & Lowe           7:21-cv-14230-MCR-GRJ
   4262      293865   Timothy Keegan                          Carey Danis & Lowe           7:21-cv-14232-MCR-GRJ
   4263      293871   Earl Lesniak                            Carey Danis & Lowe           7:21-cv-14238-MCR-GRJ
   4264      293874   Michael Maeweathers                     Carey Danis & Lowe           7:21-cv-14241-MCR-GRJ
   4265      293891   William Rimkunas                        Carey Danis & Lowe                                      7:21-cv-14258-MCR-GRJ
   4266      293892   David Romero                            Carey Danis & Lowe                                      7:21-cv-14259-MCR-GRJ
   4267      293893   Marc Scillieri                          Carey Danis & Lowe           7:21-cv-14260-MCR-GRJ
   4268      293901   James Vanzytveld                        Carey Danis & Lowe                                      7:21-cv-14268-MCR-GRJ
   4269      293903   James Waddell                           Carey Danis & Lowe           7:21-cv-14270-MCR-GRJ
   4270      293904   Justin Wells                            Carey Danis & Lowe                                      7:21-cv-14271-MCR-GRJ
   4271      300699   Roxanne Bonilla                         Carey Danis & Lowe           7:21-cv-19445-MCR-GRJ
   4272      300704   James Brummett                          Carey Danis & Lowe           7:21-cv-19450-MCR-GRJ
   4273      300705   Joshua Bushard                          Carey Danis & Lowe           7:21-cv-19451-MCR-GRJ
   4274      300706   Will Carrero                            Carey Danis & Lowe                                      7:21-cv-19452-MCR-GRJ
   4275      300710   Ronald Cook                             Carey Danis & Lowe           7:21-cv-19456-MCR-GRJ
   4276      300713   Robert Davidson                         Carey Danis & Lowe           7:21-cv-19459-MCR-GRJ
   4277      300722   Salvador Escalante                      Carey Danis & Lowe                                      7:21-cv-19468-MCR-GRJ
   4278      300726   Joshua Guldin-Hershman                  Carey Danis & Lowe                                      7:21-cv-19472-MCR-GRJ
   4279      300731   Giacobino Imperiale                     Carey Danis & Lowe                                      7:21-cv-19477-MCR-GRJ
   4280      300738   Sean Linnear                            Carey Danis & Lowe           7:21-cv-19484-MCR-GRJ
   4281      300742   Stephen Lutze                           Carey Danis & Lowe                                      7:21-cv-19488-MCR-GRJ
   4282      300743   Alvictor Mack                           Carey Danis & Lowe           7:21-cv-19489-MCR-GRJ
   4283      300757   James Phillips                          Carey Danis & Lowe           7:21-cv-19503-MCR-GRJ
   4284      300760   William Rohner                          Carey Danis & Lowe           7:21-cv-19506-MCR-GRJ
   4285      300761   Leslie Roseno                           Carey Danis & Lowe           7:21-cv-19507-MCR-GRJ
   4286      300763   Danny Salazar                           Carey Danis & Lowe           7:21-cv-19509-MCR-GRJ
   4287      300772   Darrel Watchman                         Carey Danis & Lowe                                      7:21-cv-19518-MCR-GRJ
   4288      304105   Toccara Burgess                         Carey Danis & Lowe           7:21-cv-23627-MCR-GRJ
   4289      304110   Craig Coey                              Carey Danis & Lowe           7:21-cv-23632-MCR-GRJ
   4290      304114   Christopher Dowling                     Carey Danis & Lowe                                      7:21-cv-23636-MCR-GRJ
   4291      304122   Dana Gardner                            Carey Danis & Lowe                                      7:21-cv-23646-MCR-GRJ
   4292      304123   Jairo Gonzalez                          Carey Danis & Lowe           7:21-cv-23647-MCR-GRJ
   4293      304124   Kenneth Hamilton                        Carey Danis & Lowe           7:21-cv-23648-MCR-GRJ
   4294      304127   Shevaun Holmes                          Carey Danis & Lowe                                      7:21-cv-23651-MCR-GRJ
   4295      304130   Michael Kozub                           Carey Danis & Lowe                                      7:21-cv-23654-MCR-GRJ
   4296      304131   Derek Landers                           Carey Danis & Lowe                                      7:21-cv-23655-MCR-GRJ
   4297      304134   Simon Lopez                             Carey Danis & Lowe           7:21-cv-23658-MCR-GRJ
   4298      304137   Shawanda Martin                         Carey Danis & Lowe           7:21-cv-23661-MCR-GRJ
   4299      304139   Arthur Messer                           Carey Danis & Lowe           7:21-cv-23663-MCR-GRJ
   4300      304140   Craig Miller                            Carey Danis & Lowe           7:21-cv-23664-MCR-GRJ
   4301      304144   Dustin Nadler                           Carey Danis & Lowe           7:21-cv-23668-MCR-GRJ
   4302      304147   Dung Nguyen                             Carey Danis & Lowe           7:21-cv-23671-MCR-GRJ
   4303      304154   Angel Ramos                             Carey Danis & Lowe           7:21-cv-23678-MCR-GRJ
   4304      304161   Miguel Sepulveda Garza                  Carey Danis & Lowe                                      7:21-cv-23685-MCR-GRJ
   4305      304167   Welmen Sohl                             Carey Danis & Lowe           7:21-cv-23691-MCR-GRJ
   4306      304172   James Thornton                          Carey Danis & Lowe           7:21-cv-23696-MCR-GRJ
   4307      304178   Bill Wooden                             Carey Danis & Lowe           7:21-cv-23702-MCR-GRJ




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   4308      307128   Kurt Barbrick                           Carey Danis & Lowe                                      7:21-cv-26288-MCR-GRJ
   4309      307129   Enrique Batista                         Carey Danis & Lowe           7:21-cv-26289-MCR-GRJ
   4310      307130   Eric Bennett                            Carey Danis & Lowe           7:21-cv-26290-MCR-GRJ
   4311      307132   Joseph Beverett                         Carey Danis & Lowe           7:21-cv-26292-MCR-GRJ
   4312      307134   Carlos Brannon                          Carey Danis & Lowe           7:21-cv-26294-MCR-GRJ
   4313      307140   Jason Camblin                           Carey Danis & Lowe           7:21-cv-26300-MCR-GRJ
   4314      307141   Dawn Carmichael                         Carey Danis & Lowe           7:21-cv-26301-MCR-GRJ
   4315      307142   Paul Childress                          Carey Danis & Lowe           7:21-cv-26302-MCR-GRJ
   4316      307143   Joong Chung                             Carey Danis & Lowe           7:21-cv-26303-MCR-GRJ
   4317      307144   Nicholas Conforto                       Carey Danis & Lowe           7:21-cv-26304-MCR-GRJ
   4318      307145   Matt Cremonni                           Carey Danis & Lowe           7:21-cv-26305-MCR-GRJ
   4319      307146   Billy Cunningham                        Carey Danis & Lowe           7:21-cv-26306-MCR-GRJ
   4320      307148   Matthew Delarber                        Carey Danis & Lowe           7:21-cv-26308-MCR-GRJ
   4321      307153   Robert Farris                           Carey Danis & Lowe           7:21-cv-26313-MCR-GRJ
   4322      307162   Kyle Hyman                              Carey Danis & Lowe                                      7:21-cv-26322-MCR-GRJ
   4323      307169   Kevin Logan                             Carey Danis & Lowe                                      7:21-cv-26329-MCR-GRJ
   4324      307171   Earl Malick                             Carey Danis & Lowe           7:21-cv-26331-MCR-GRJ
   4325      307173   Steven Matthews                         Carey Danis & Lowe           7:21-cv-26333-MCR-GRJ
   4326      307175   Jarvis Mcneal                           Carey Danis & Lowe                                      7:21-cv-26335-MCR-GRJ
   4327      307177   Keith Miller                            Carey Danis & Lowe           7:21-cv-26337-MCR-GRJ
   4328      307184   Arturo Ortiz                            Carey Danis & Lowe                                      7:21-cv-26344-MCR-GRJ
   4329      307185   Melvin Parker                           Carey Danis & Lowe           7:21-cv-26345-MCR-GRJ
   4330      307187   Ardie Perry                             Carey Danis & Lowe           7:21-cv-26347-MCR-GRJ
   4331      307190   Jacob Reinert                           Carey Danis & Lowe                                      7:21-cv-26350-MCR-GRJ
   4332      307200   Amanda Schmitt                          Carey Danis & Lowe                                      7:21-cv-26360-MCR-GRJ
   4333      307206   Heath Sparks                            Carey Danis & Lowe           7:21-cv-26366-MCR-GRJ
   4334      307217   Jack Walker                             Carey Danis & Lowe           7:21-cv-26377-MCR-GRJ
   4335      307222   Steven Young                            Carey Danis & Lowe                                      7:21-cv-26382-MCR-GRJ
   4336      307224   Mark Zulkoski                           Carey Danis & Lowe                                      7:21-cv-26384-MCR-GRJ
   4337      315765   Patrick Ackerman                        Carey Danis & Lowe           7:21-cv-29161-MCR-GRJ
   4338      315776   Alexis Cameron                          Carey Danis & Lowe           7:21-cv-29184-MCR-GRJ
   4339      315777   Russell Camp                            Carey Danis & Lowe           7:21-cv-29186-MCR-GRJ
   4340      315782   Matthew Collier                         Carey Danis & Lowe           7:21-cv-29197-MCR-GRJ
   4341      315785   Matthew Creech                          Carey Danis & Lowe           7:21-cv-29203-MCR-GRJ
   4342      315788   Derrick Doyle                           Carey Danis & Lowe           7:21-cv-29210-MCR-GRJ
   4343      315790   Christopher Estrada                     Carey Danis & Lowe                                      7:21-cv-29214-MCR-GRJ
   4344      315791   D'Adrian Farr                           Carey Danis & Lowe                                      7:21-cv-29217-MCR-GRJ
   4345      315793   Benjamin Gardner                        Carey Danis & Lowe           7:21-cv-29221-MCR-GRJ
   4346      315797   Justice Grier                           Carey Danis & Lowe           7:21-cv-29230-MCR-GRJ
   4347      315798   Steven Hale                             Carey Danis & Lowe                                      7:21-cv-29232-MCR-GRJ
   4348      315803   Nicholas Hayes                          Carey Danis & Lowe           7:21-cv-29242-MCR-GRJ
   4349      315811   Antonio Jackson                         Carey Danis & Lowe           7:21-cv-29259-MCR-GRJ
   4350      315816   Dana King                               Carey Danis & Lowe                                      7:21-cv-29267-MCR-GRJ
   4351      315820   Charles Lowe                            Carey Danis & Lowe                                      7:21-cv-29274-MCR-GRJ
   4352      315835   Christopher Nielsen                     Carey Danis & Lowe           7:21-cv-29306-MCR-GRJ
   4353      315838   Kenneth Peters                          Carey Danis & Lowe                                      7:21-cv-29312-MCR-GRJ
   4354      315840   Jacob Pomer                             Carey Danis & Lowe           7:21-cv-29316-MCR-GRJ
   4355      315841   Darlene Poole                           Carey Danis & Lowe                                      7:21-cv-29318-MCR-GRJ
   4356      315842   Jacob Powers                            Carey Danis & Lowe           7:21-cv-29320-MCR-GRJ
   4357      315845   Charles Roe                             Carey Danis & Lowe           7:21-cv-29326-MCR-GRJ
   4358      315847   Ronnie Romain                           Carey Danis & Lowe           7:21-cv-29331-MCR-GRJ
   4359      315848   Angel Santos                            Carey Danis & Lowe                                      7:21-cv-29333-MCR-GRJ
   4360      315850   Martin Shubitowski                      Carey Danis & Lowe           7:21-cv-29337-MCR-GRJ
   4361      315856   Johnie Tardiff                          Carey Danis & Lowe                                      7:21-cv-29808-MCR-GRJ
   4362      315864   Mark Walker                             Carey Danis & Lowe                                      7:21-cv-29816-MCR-GRJ
   4363      321679   Rodrigo Carbajal                        Carey Danis & Lowe           7:21-cv-36821-MCR-GRJ
   4364      321680   Michael Cavoto                          Carey Danis & Lowe           7:21-cv-36822-MCR-GRJ
   4365      321681   Geoffrey Cloud                          Carey Danis & Lowe           7:21-cv-36823-MCR-GRJ
   4366      321682   David Cunningham                        Carey Danis & Lowe           7:21-cv-36824-MCR-GRJ
   4367      321687   Dorreen Dobson                          Carey Danis & Lowe           7:21-cv-36829-MCR-GRJ
   4368      321688   Michael Duncan                          Carey Danis & Lowe           7:21-cv-36830-MCR-GRJ
   4369      321689   Martez Evans                            Carey Danis & Lowe           7:21-cv-36831-MCR-GRJ
   4370      321691   Silas Foster                            Carey Danis & Lowe                                      7:21-cv-36833-MCR-GRJ
   4371      321698   Terrence Guillory                       Carey Danis & Lowe                                      7:21-cv-36840-MCR-GRJ
   4372      321706   Thomas Kim                              Carey Danis & Lowe           7:21-cv-36848-MCR-GRJ
   4373      321708   Andre Leslie                            Carey Danis & Lowe                                      7:21-cv-37164-MCR-GRJ
   4374      321713   Bobby Oller                             Carey Danis & Lowe           7:21-cv-37169-MCR-GRJ
   4375      321715   Naroum Pech                             Carey Danis & Lowe                                      7:21-cv-37171-MCR-GRJ
   4376      321717   Nathaniel Powell                        Carey Danis & Lowe           7:21-cv-37173-MCR-GRJ
   4377      321721   Robert Schaired                         Carey Danis & Lowe           7:21-cv-37177-MCR-GRJ
   4378      321726   Patrick Taylor                          Carey Danis & Lowe           7:21-cv-37182-MCR-GRJ
   4379      321729   Eric Tripoli                            Carey Danis & Lowe           7:21-cv-37185-MCR-GRJ
   4380      321732   Lee Voigt                               Carey Danis & Lowe                                      7:21-cv-37188-MCR-GRJ




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   4381      331736   Thomas Brady                            Carey Danis & Lowe           7:21-cv-49544-MCR-GRJ
   4382      331741   William Chastain                        Carey Danis & Lowe           7:21-cv-49549-MCR-GRJ
   4383      331745   Gordon Davis                            Carey Danis & Lowe           7:21-cv-49553-MCR-GRJ
   4384      331747   Keith Diehl                             Carey Danis & Lowe           7:21-cv-49555-MCR-GRJ
   4385      331751   Jonathan Flores                         Carey Danis & Lowe           7:21-cv-49559-MCR-GRJ
   4386      331753   Michael Ganzak                          Carey Danis & Lowe                                      7:21-cv-49561-MCR-GRJ
   4387      331756   Bobby Gonzales                          Carey Danis & Lowe           7:21-cv-49564-MCR-GRJ
   4388      331758   David Guerrero                          Carey Danis & Lowe                                      7:21-cv-49566-MCR-GRJ
   4389      331769   Alex Katzenberger                       Carey Danis & Lowe           7:21-cv-49577-MCR-GRJ
   4390      331774   Wesley Martin                           Carey Danis & Lowe           7:21-cv-49582-MCR-GRJ
   4391      331775   Mark Matchett                           Carey Danis & Lowe           7:21-cv-49583-MCR-GRJ
   4392      331776   Robert Mattingly                        Carey Danis & Lowe           7:21-cv-49584-MCR-GRJ
   4393      331778   Jeffrey Mccormack                       Carey Danis & Lowe                                      7:21-cv-49586-MCR-GRJ
   4394      331779   Jason Mcelroy                           Carey Danis & Lowe                                      7:21-cv-49587-MCR-GRJ
   4395      331780   Juan Medina                             Carey Danis & Lowe           7:21-cv-49588-MCR-GRJ
   4396      331784   Mark Murphy                             Carey Danis & Lowe           7:21-cv-49592-MCR-GRJ
   4397      331788   David Perez                             Carey Danis & Lowe           7:21-cv-49596-MCR-GRJ
   4398      331794   Thad Rosenthal                          Carey Danis & Lowe           7:21-cv-49602-MCR-GRJ
   4399      331798   Majdi Tannous                           Carey Danis & Lowe                                      7:21-cv-49606-MCR-GRJ
   4400      331799   Matthew Taylor                          Carey Danis & Lowe                                      7:21-cv-49607-MCR-GRJ
   4401      331801   Curtis Thompson                         Carey Danis & Lowe           7:21-cv-49609-MCR-GRJ
   4402      331803   Jared Vansickle                         Carey Danis & Lowe           7:21-cv-49611-MCR-GRJ
   4403      331806   Dereck Williams                         Carey Danis & Lowe           7:21-cv-49614-MCR-GRJ
   4404      331808   Troy Williams                           Carey Danis & Lowe           7:21-cv-49616-MCR-GRJ
   4405      331809   Christopher Williams                    Carey Danis & Lowe           7:21-cv-49617-MCR-GRJ
   4406      336137   Dominic Casaca                          Carey Danis & Lowe           7:21-cv-55683-MCR-GRJ
   4407      336145   Timmy George                            Carey Danis & Lowe           7:21-cv-55691-MCR-GRJ
   4408      336146   William Gore                            Carey Danis & Lowe                                      7:21-cv-55692-MCR-GRJ
   4409      336149   Wayne Hall                              Carey Danis & Lowe                                      7:21-cv-55695-MCR-GRJ
   4410      336154   Jon Hyjek                               Carey Danis & Lowe           7:21-cv-55700-MCR-GRJ
   4411      336157   Edward Lyttle                           Carey Danis & Lowe           7:21-cv-55703-MCR-GRJ
   4412      336158   Christopher Macwilliam                  Carey Danis & Lowe           7:21-cv-55704-MCR-GRJ
   4413      336159   Antonio Mckinney                        Carey Danis & Lowe           7:21-cv-55705-MCR-GRJ
   4414      336163   Marquis Reser                           Carey Danis & Lowe           7:21-cv-55757-MCR-GRJ
   4415      336166   David Russell                           Carey Danis & Lowe           7:21-cv-55763-MCR-GRJ
   4416      336167   William Ryan                            Carey Danis & Lowe                                      7:21-cv-55764-MCR-GRJ
   4417      336169   Caleb Smith                             Carey Danis & Lowe           7:21-cv-55768-MCR-GRJ
   4418      344166   Kenneth Avera                           Carey Danis & Lowe                                      7:21-cv-62996-MCR-GRJ
   4419      344168   Steven Bawdon                           Carey Danis & Lowe           7:21-cv-62998-MCR-GRJ
   4420      344169   Manuel Beltran                          Carey Danis & Lowe           7:21-cv-62999-MCR-GRJ
   4421      344171   Cameron Bradshaw                        Carey Danis & Lowe           7:21-cv-63001-MCR-GRJ
   4422      344172   Joshua Braido                           Carey Danis & Lowe           7:21-cv-63002-MCR-GRJ
   4423      344174   Joshua Brown                            Carey Danis & Lowe           7:21-cv-63004-MCR-GRJ
   4424      344175   Jarrod Buchanan                         Carey Danis & Lowe           7:21-cv-63005-MCR-GRJ
   4425      344176   Michael Burke                           Carey Danis & Lowe           7:21-cv-63059-MCR-GRJ
   4426      344177   Jose Carvajal                           Carey Danis & Lowe           7:21-cv-63061-MCR-GRJ
   4427      344178   Caleb Carver                            Carey Danis & Lowe           7:21-cv-63062-MCR-GRJ
   4428      344179   Raul Castaneda                          Carey Danis & Lowe                                      7:21-cv-63064-MCR-GRJ
   4429      344181   Marcellus Caston                        Carey Danis & Lowe           7:21-cv-63068-MCR-GRJ
   4430      344182   James Cook                              Carey Danis & Lowe                                      7:21-cv-63069-MCR-GRJ
   4431      344183   Orion Corbin                            Carey Danis & Lowe           7:21-cv-63071-MCR-GRJ
   4432      344184   Alexander Coulis                        Carey Danis & Lowe           7:21-cv-63073-MCR-GRJ
   4433      344187   Joseph Deacon                           Carey Danis & Lowe           7:21-cv-63078-MCR-GRJ
   4434      344188   Lesley Denny                            Carey Danis & Lowe           7:21-cv-63080-MCR-GRJ
   4435      344189   Gabriel Diaz                            Carey Danis & Lowe           7:21-cv-63082-MCR-GRJ
   4436      344193   Adam Ellis                              Carey Danis & Lowe           7:21-cv-63090-MCR-GRJ
   4437      344195   Alvyna Euta-Filo                        Carey Danis & Lowe           7:21-cv-63093-MCR-GRJ
   4438      344196   Lance Fleming                           Carey Danis & Lowe           7:21-cv-63095-MCR-GRJ
   4439      344200   Christopher Garcia                      Carey Danis & Lowe           7:21-cv-63102-MCR-GRJ
   4440      344201   Vincent Genella                         Carey Danis & Lowe           7:21-cv-63104-MCR-GRJ
   4441      344202   Ramona Governor                         Carey Danis & Lowe           7:21-cv-63106-MCR-GRJ
   4442      344205   Rudas Grone                             Carey Danis & Lowe           7:21-cv-63111-MCR-GRJ
   4443      344207   Joshua Hayes                            Carey Danis & Lowe           7:21-cv-63115-MCR-GRJ
   4444      344211   Norman Hudson                           Carey Danis & Lowe           7:21-cv-63122-MCR-GRJ
   4445      344213   Santonio Jenkins                        Carey Danis & Lowe           7:21-cv-63125-MCR-GRJ
   4446      344215   Alexander Johnson                       Carey Danis & Lowe                                      7:21-cv-63129-MCR-GRJ
   4447      344216   Candyse Johnson                         Carey Danis & Lowe                                      7:21-cv-63131-MCR-GRJ
   4448      344218   Luke Jones                              Carey Danis & Lowe           7:21-cv-63135-MCR-GRJ
   4449      344220   Antonio Knowles                         Carey Danis & Lowe           7:21-cv-63138-MCR-GRJ
   4450      344223   Alan Mccarley                           Carey Danis & Lowe           7:21-cv-63144-MCR-GRJ
   4451      344225   Jared Miller                            Carey Danis & Lowe           7:21-cv-63147-MCR-GRJ
   4452      344226   Ryan Minnifield                         Carey Danis & Lowe           7:21-cv-63149-MCR-GRJ
   4453      344227   Darrell Mitchell                        Carey Danis & Lowe           7:21-cv-63150-MCR-GRJ




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   4454      344230   Daniel Mosley                           Carey Danis & Lowe                         7:21-cv-63156-MCR-GRJ
   4455      344231   Harvey Mueller                          Carey Danis & Lowe                         7:21-cv-63158-MCR-GRJ
   4456      344232   Matthew Murphy                          Carey Danis & Lowe                         7:21-cv-63160-MCR-GRJ
   4457      344234   Joseph Pacek                            Carey Danis & Lowe                         7:21-cv-63163-MCR-GRJ
   4458      344235   Darrian Pack                            Carey Danis & Lowe                         7:21-cv-63165-MCR-GRJ
   4459      344237   John Page                               Carey Danis & Lowe                         7:21-cv-63168-MCR-GRJ
   4460      344238   Daniel Pajak                            Carey Danis & Lowe                         7:21-cv-63170-MCR-GRJ
   4461      344239   William Pappas                          Carey Danis & Lowe                         7:21-cv-63172-MCR-GRJ
   4462      344244   Justin Pirtle                           Carey Danis & Lowe                         7:21-cv-63181-MCR-GRJ
   4463      344246   Glendon Probus                          Carey Danis & Lowe                         7:21-cv-63184-MCR-GRJ
   4464      344247   William Pryor                           Carey Danis & Lowe                         7:21-cv-63186-MCR-GRJ
   4465      344248   Donald Pugsley                          Carey Danis & Lowe                         7:21-cv-63188-MCR-GRJ
   4466      344249   Shawn Rand                              Carey Danis & Lowe                         7:21-cv-63190-MCR-GRJ
   4467      344250   Lucinda Rathbun                         Carey Danis & Lowe                         7:21-cv-63191-MCR-GRJ
   4468      344252   Dustin Reeves                           Carey Danis & Lowe                         7:21-cv-63195-MCR-GRJ
   4469      344255   Jason Reyes                             Carey Danis & Lowe                         7:21-cv-63200-MCR-GRJ
   4470      344256   Charles Roberts                         Carey Danis & Lowe                         7:21-cv-63202-MCR-GRJ
   4471      344257   Jason Rogers                            Carey Danis & Lowe                         7:21-cv-63204-MCR-GRJ
   4472      344258   Brian Samalino                          Carey Danis & Lowe                         7:21-cv-63206-MCR-GRJ
   4473      344262   James Schultz                           Carey Danis & Lowe                         7:21-cv-63213-MCR-GRJ
   4474      344264   Joe Shattuck                            Carey Danis & Lowe                         7:21-cv-63216-MCR-GRJ
   4475      344265   David Shepard                           Carey Danis & Lowe                         7:21-cv-63218-MCR-GRJ
   4476      344266   Timothy Sherman                         Carey Danis & Lowe                         7:21-cv-63220-MCR-GRJ
   4477      344267   Charles Slabinski                       Carey Danis & Lowe                                                    7:21-cv-63222-MCR-GRJ
   4478      344270   Geoffrey Swehla                         Carey Danis & Lowe                                                    7:21-cv-63227-MCR-GRJ
   4479      344271   Ethel Taylor                            Carey Danis & Lowe                         7:21-cv-63229-MCR-GRJ
   4480      344274   Mark Tuten                              Carey Danis & Lowe                                                    7:21-cv-63235-MCR-GRJ
   4481      344278   Juan Villarreal                         Carey Danis & Lowe                         7:21-cv-63242-MCR-GRJ
   4482      344279   Justin Weathermon                       Carey Danis & Lowe                         7:21-cv-63243-MCR-GRJ
   4483      344282   Daryl White                             Carey Danis & Lowe                         7:21-cv-63249-MCR-GRJ
   4484      344284   Charles Wiley                           Carey Danis & Lowe                         7:21-cv-63252-MCR-GRJ
   4485      344285   Reginald Williams                       Carey Danis & Lowe                         7:21-cv-63254-MCR-GRJ
   4486      344286   Leslee Williams                         Carey Danis & Lowe                         7:21-cv-63256-MCR-GRJ
   4487      344287   Merle Ann Wilson                        Carey Danis & Lowe                         7:21-cv-63258-MCR-GRJ
   4488      344289   Jonathan Zimmerman                      Carey Danis & Lowe                         7:21-cv-63261-MCR-GRJ
   4489      344979   James Johnson                           Carey Danis & Lowe                         7:21-cv-63294-MCR-GRJ
   4490      346279   Shawna Scott                            Carey Danis & Lowe                         7:21-cv-63418-MCR-GRJ
   4491      106644   Todd Fahn                               Chaffin Luhana LLP                                                    8:20-cv-30252-MCR-GRJ
   4492      106654   Peter Johnson                           Chaffin Luhana LLP                                                    8:20-cv-44195-MCR-GRJ
   4493      106660   Jacob Ligon                             Chaffin Luhana LLP                                                    8:20-cv-30289-MCR-GRJ
   4494      106661   Hayden Luge                             Chaffin Luhana LLP                                                    8:20-cv-30292-MCR-GRJ
   4495      106689   Terence Ruddy                           Chaffin Luhana LLP                                                    8:20-cv-30353-MCR-GRJ
   4496      106708   Paul Zieniuk                            Chaffin Luhana LLP                                                    8:20-cv-30392-MCR-GRJ
   4497      180287   Kory Hokans                             Chaffin Luhana LLP                                                    7:20-cv-85278-MCR-GRJ
   4498      315874   Nathaniel Deemer                        Chaffin Luhana LLP                                                    7:21-cv-29826-MCR-GRJ
   4499      101709   Phillip Mahood                          Chappell, Smith & Arden, P.A.                                         8:20-cv-13471-MCR-GRJ
   4500      101723   Bernard Parker                          Chappell, Smith & Arden, P.A.                                         8:20-cv-13942-MCR-GRJ
   4501      101752   Matthew Weber                           Chappell, Smith & Arden, P.A.              8:20-cv-14084-MCR-GRJ
   4502      170053   Ladon Thompson                          Charles E. Boyk Law Offices, LLC                                      7:20-cv-88838-MCR-GRJ
   4503      170058   Jesse Vallejo                           Charles E. Boyk Law Offices, LLC                                      7:20-cv-88843-MCR-GRJ
   4504      170065   Vernon Washington                       Charles E. Boyk Law Offices, LLC                                      7:20-cv-88849-MCR-GRJ
   4505      170070   Rickey Williams                         Charles E. Boyk Law Offices, LLC                                      7:20-cv-88854-MCR-GRJ
   4506      174480   Corum Kennett                           Charles E. Boyk Law Offices, LLC                                      7:20-cv-88879-MCR-GRJ
   4507      174482   Tim Flannigan                           Charles E. Boyk Law Offices, LLC           7:20-cv-88881-MCR-GRJ
   4508      174486   Nicholas Davis                          Charles E. Boyk Law Offices, LLC                                      7:20-cv-88885-MCR-GRJ
   4509      174487   Jason Stopper                           Charles E. Boyk Law Offices, LLC           7:20-cv-88886-MCR-GRJ
   4510      174489   Michael Cline                           Charles E. Boyk Law Offices, LLC           7:20-cv-88888-MCR-GRJ
   4511      174495   Michael Frew                            Charles E. Boyk Law Offices, LLC                                      7:20-cv-88894-MCR-GRJ
   4512      174498   Michael Brown                           Charles E. Boyk Law Offices, LLC           7:20-cv-88897-MCR-GRJ
   4513      174516   Jordan Smith                            Charles E. Boyk Law Offices, LLC           7:20-cv-88915-MCR-GRJ
   4514      174531   Anthony Berry                           Charles E. Boyk Law Offices, LLC           7:20-cv-79978-MCR-GRJ
   4515      174538   Mark Clayman                            Charles E. Boyk Law Offices, LLC           7:20-cv-79991-MCR-GRJ
   4516      174540   Michael Francis                         Charles E. Boyk Law Offices, LLC           7:20-cv-79996-MCR-GRJ
   4517      174545   Joshua Mills                            Charles E. Boyk Law Offices, LLC                                      7:20-cv-80006-MCR-GRJ
   4518      174551   Jeffery Noble                           Charles E. Boyk Law Offices, LLC           7:20-cv-80019-MCR-GRJ
   4519      174560   Anthony Griffin                         Charles E. Boyk Law Offices, LLC           7:20-cv-80039-MCR-GRJ
   4520      174561   Eric Holiday                            Charles E. Boyk Law Offices, LLC           7:20-cv-80042-MCR-GRJ
   4521      174564   Ronald Nasser                           Charles E. Boyk Law Offices, LLC           7:20-cv-80048-MCR-GRJ
   4522      174577   Christopher Covas                       Charles E. Boyk Law Offices, LLC           7:20-cv-80089-MCR-GRJ
   4523      174579   Demitrius Glover                        Charles E. Boyk Law Offices, LLC           7:20-cv-80098-MCR-GRJ
   4524      174595   Bobby Charping                          Charles E. Boyk Law Offices, LLC           7:20-cv-80157-MCR-GRJ
   4525      174603   Eric Pugh                               Charles E. Boyk Law Offices, LLC           7:20-cv-80187-MCR-GRJ
   4526      174604   Clint Holtz                             Charles E. Boyk Law Offices, LLC                                      7:20-cv-80190-MCR-GRJ




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   4527      174613   Joshua Remington                        Charles E. Boyk Law Offices, LLC           7:20-cv-80222-MCR-GRJ
   4528      174619   Lawrence Ngugi                          Charles E. Boyk Law Offices, LLC                                      7:20-cv-80241-MCR-GRJ
   4529      174620   Kevin Hill                              Charles E. Boyk Law Offices, LLC                                      7:20-cv-80245-MCR-GRJ
   4530      174621   Joshua Huff                             Charles E. Boyk Law Offices, LLC                                      7:20-cv-80248-MCR-GRJ
   4531      174628   David Cox                               Charles E. Boyk Law Offices, LLC                                      7:20-cv-80270-MCR-GRJ
   4532      174643   Willie Hill                             Charles E. Boyk Law Offices, LLC                                      7:20-cv-80434-MCR-GRJ
   4533      174644   Katharine Carranza                      Charles E. Boyk Law Offices, LLC                                      7:20-cv-80438-MCR-GRJ
   4534      174649   Jerome Floran-Morales                   Charles E. Boyk Law Offices, LLC           7:20-cv-80459-MCR-GRJ
   4535      174651   Shaun Cook                              Charles E. Boyk Law Offices, LLC                                      7:20-cv-80468-MCR-GRJ
   4536      174664   Elia Jackson                            Charles E. Boyk Law Offices, LLC           7:20-cv-80523-MCR-GRJ
   4537      176336   Jeffrey Colyer                          Charles E. Boyk Law Offices, LLC                                      7:20-cv-80614-MCR-GRJ
   4538      194866   Justin Lauck                            Charles E. Boyk Law Offices, LLC           8:20-cv-31524-MCR-GRJ
   4539      145680   Megan Lewis                             Cohen & Malad, LLP                                                    3:19-cv-00757-MCR-GRJ
   4540      60112    Isaac Gardner                           Colson Hicks Eidson                        7:20-cv-09391-MCR-GRJ
   4541      65971    Dwayne Novak                            Colson Hicks Eidson                                                   7:20-cv-16036-MCR-GRJ
   4542      65981    Jeremiah Robinson                       Colson Hicks Eidson                        7:20-cv-16049-MCR-GRJ
   4543      65993    Micheal Stewart                         Colson Hicks Eidson                        7:20-cv-16070-MCR-GRJ
   4544      66003    Isaac Ward                              Colson Hicks Eidson                                                   7:20-cv-16111-MCR-GRJ
   4545      66008    Jeffrey Wilson                          Colson Hicks Eidson                        7:20-cv-16128-MCR-GRJ
   4546      126734   Richard Schwab                          Colson Hicks Eidson                        7:20-cv-30787-MCR-GRJ
   4547      158009   Kyle Denton                             Colson Hicks Eidson                        7:20-cv-35576-MCR-GRJ
   4548      234316   Brandon Whitfield                       Colson Hicks Eidson                        8:20-cv-68317-MCR-GRJ
   4549      240681   Christopher Hutchens                    Colson Hicks Eidson                        8:20-cv-76585-MCR-GRJ
   4550      260298   Kristen Freeman                         Colson Hicks Eidson                        9:20-cv-04357-MCR-GRJ
   4551      280337   Carlos Espinoza                         Colson Hicks Eidson                        9:20-cv-20460-MCR-GRJ
   4552      282921   Claude Hatch                            Colson Hicks Eidson                                                   7:21-cv-03095-MCR-GRJ
   4553      282923   Tara Martinez                           Colson Hicks Eidson                        7:21-cv-03097-MCR-GRJ
   4554      285647   Howard Adams                            Colson Hicks Eidson                                                   7:21-cv-05010-MCR-GRJ
   4555      286932   Duane Burns                             Colson Hicks Eidson                                                   7:21-cv-05063-MCR-GRJ
   4556      286961   Alejandro Marquez                       Colson Hicks Eidson                                                   7:21-cv-05090-MCR-GRJ
   4557      286974   Jemaal Patterson                        Colson Hicks Eidson                                                   7:21-cv-05101-MCR-GRJ
   4558      289784   Aaron Kerr                              Colson Hicks Eidson                                                   7:21-cv-11565-MCR-GRJ
   4559      289933   Jayme Waterson                          Colson Hicks Eidson                        7:21-cv-11576-MCR-GRJ
   4560      299380   Casey Murray                            Colson Hicks Eidson                        7:21-cv-23473-MCR-GRJ
   4561      309719   Darwin Fleming                          Colson Hicks Eidson                                                   7:21-cv-26861-MCR-GRJ
   4562      315887   Marcellinus Auguste                     Colson Hicks Eidson                        7:21-cv-26936-MCR-GRJ
   4563      315890   Marcus Beasley                          Colson Hicks Eidson                        7:21-cv-26939-MCR-GRJ
   4564      321215   Gary High                               Colson Hicks Eidson                        7:21-cv-35891-MCR-GRJ
   4565      321216   Sean Bond                               Colson Hicks Eidson                        7:21-cv-35892-MCR-GRJ
   4566      321223   Randall Beem                            Colson Hicks Eidson                        7:21-cv-35899-MCR-GRJ
   4567      321242   Bobby Sandlin                           Colson Hicks Eidson                        7:21-cv-35918-MCR-GRJ
   4568      323729   Jeffrey Adams                           Colson Hicks Eidson                                                   7:21-cv-37286-MCR-GRJ
   4569      323730   Mark Long                               Colson Hicks Eidson                        7:21-cv-37287-MCR-GRJ
   4570      323731   Clyde White                             Colson Hicks Eidson                                                   7:21-cv-37288-MCR-GRJ
   4571      326335   Joshua Pearson                          Colson Hicks Eidson                                                   7:21-cv-40674-MCR-GRJ
   4572      330048   Brian Gaddis                            Colson Hicks Eidson                        7:21-cv-43399-MCR-GRJ
   4573      331198   Bobby Deaton                            Colson Hicks Eidson                                                   7:21-cv-43527-MCR-GRJ
   4574      331510   Michael Kuhn                            Colson Hicks Eidson                        7:21-cv-48346-MCR-GRJ
   4575      332090   Rory Butcher                            Colson Hicks Eidson                        7:21-cv-48429-MCR-GRJ
   4576      332690   Anthony Mcanally                        Colson Hicks Eidson                        7:21-cv-48496-MCR-GRJ
   4577      332752   Jeremy Hackbarth                        Colson Hicks Eidson                        7:21-cv-48562-MCR-GRJ
   4578      332753   Jonathan Tamayo                         Colson Hicks Eidson                        7:21-cv-48564-MCR-GRJ
   4579      332825   Kenneth Belcher                         Colson Hicks Eidson                                                   7:21-cv-48591-MCR-GRJ
   4580      341579   Jeremy Beach                            Colson Hicks Eidson                        7:21-cv-56409-MCR-GRJ
   4581      221956   Vincent Shepherd                        Cory Watson                                8:20-cv-71721-MCR-GRJ
   4582      221957   Lawrence Hill                           Cory Watson                                                           8:20-cv-71722-MCR-GRJ
   4583      221960   Frank Falcone                           Cory Watson                                8:20-cv-71725-MCR-GRJ
   4584      221969   Joseph Lynch                            Cory Watson                                8:20-cv-71734-MCR-GRJ
   4585      221997   James Hilton                            Cory Watson                                8:20-cv-71760-MCR-GRJ
   4586      222011   Nicole Valenzuela                       Cory Watson                                                           8:20-cv-71773-MCR-GRJ
   4587      222041   Justin Martin                           Cory Watson                                8:20-cv-71802-MCR-GRJ
   4588      222047   Stephanie Foley                         Cory Watson                                8:20-cv-71808-MCR-GRJ
   4589      222062   Mouad Belahoussine                      Cory Watson                                8:20-cv-71823-MCR-GRJ
   4590      222075   Elizabeth Tolliver                      Cory Watson                                8:20-cv-71836-MCR-GRJ
   4591      222092   William Fowler                          Cory Watson                                8:20-cv-71853-MCR-GRJ
   4592      222119   Michael Callahan                        Cory Watson                                                           8:20-cv-71880-MCR-GRJ
   4593      222126   Mitchell Hulett                         Cory Watson                                8:20-cv-71886-MCR-GRJ
   4594      222175   Jerry Robinson                          Cory Watson                                8:20-cv-71932-MCR-GRJ
   4595      222331   Douglas Mills                           Cory Watson                                8:20-cv-72076-MCR-GRJ
   4596      222336   Daniel Zilisch                          Cory Watson                                                           8:20-cv-72081-MCR-GRJ
   4597      222369   Craig Fulco                             Cory Watson                                8:20-cv-73914-MCR-GRJ
   4598      222393   Chad Watson                             Cory Watson                                                           8:20-cv-73993-MCR-GRJ
   4599      222395   Larry Dancy                             Cory Watson                                8:20-cv-73996-MCR-GRJ




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   4600      222397   Jimmy Chapman                           Cory Watson           8:20-cv-74001-MCR-GRJ
   4601      222415   Donald Mitchell                         Cory Watson           8:20-cv-74055-MCR-GRJ
   4602      222421   Paul Eghareva                           Cory Watson           8:20-cv-74075-MCR-GRJ
   4603      222431   Harold Keck                             Cory Watson           8:20-cv-74104-MCR-GRJ
   4604      222467   Timothy Warren                          Cory Watson           8:20-cv-74216-MCR-GRJ
   4605      222485   Arthur Moore                            Cory Watson                                      8:20-cv-74274-MCR-GRJ
   4606      222505   Brian Dwerlkotte                        Cory Watson           8:20-cv-74338-MCR-GRJ
   4607      222516   Erik Weibel                             Cory Watson           8:20-cv-74370-MCR-GRJ
   4608      222560   David Nosic                             Cory Watson                                      8:20-cv-74500-MCR-GRJ
   4609      222566   Melchor Ramos                           Cory Watson           8:20-cv-74512-MCR-GRJ
   4610      222589   Douglas Steffany                        Cory Watson           8:20-cv-74559-MCR-GRJ
   4611      222591   Samuel Nakata                           Cory Watson           8:20-cv-74563-MCR-GRJ
   4612      222639   Michael Elliott                         Cory Watson           8:20-cv-74057-MCR-GRJ
   4613      222656   Shane Kirschner                         Cory Watson           8:20-cv-74106-MCR-GRJ
   4614      222658   Steven Sandoval                         Cory Watson           8:20-cv-74112-MCR-GRJ
   4615      222686   Kyle Saavedra                           Cory Watson           8:20-cv-74193-MCR-GRJ
   4616      233284   Ryan West                               Cory Watson           8:20-cv-79712-MCR-GRJ
   4617      233298   Michelle Nicole Mackel                  Cory Watson           8:20-cv-79797-MCR-GRJ
   4618      233312   Daniel Mcgovern                         Cory Watson           8:20-cv-79822-MCR-GRJ
   4619      233332   Sean Cintron                            Cory Watson           8:20-cv-79858-MCR-GRJ
   4620      233338   Muammar Johnson                         Cory Watson           8:20-cv-79866-MCR-GRJ
   4621      233345   Tiana Simms                             Cory Watson           8:20-cv-79873-MCR-GRJ
   4622      233369   Jeremiah Crawford                       Cory Watson           8:20-cv-79897-MCR-GRJ
   4623      233378   Joseph Kethley                          Cory Watson           8:20-cv-80316-MCR-GRJ
   4624      233394   Derrone Showell                         Cory Watson                                      8:20-cv-80348-MCR-GRJ
   4625      233406   Michael Steele                          Cory Watson           8:20-cv-80370-MCR-GRJ
   4626      233416   Matthew Stalnaker                       Cory Watson           8:20-cv-80391-MCR-GRJ
   4627      233421   Ellis Atkins                            Cory Watson           8:20-cv-80400-MCR-GRJ
   4628      233422   Carl Lee                                Cory Watson           8:20-cv-80402-MCR-GRJ
   4629      233431   Douglas Towery                          Cory Watson           8:20-cv-80420-MCR-GRJ
   4630      233436   Warren Shearin                          Cory Watson           8:20-cv-80429-MCR-GRJ
   4631      233461   Whenrica Mcafee                         Cory Watson           8:20-cv-80515-MCR-GRJ
   4632      233475   Martin Secoy                            Cory Watson           8:20-cv-80543-MCR-GRJ
   4633      233486   Troy North                              Cory Watson           8:20-cv-80565-MCR-GRJ
   4634      233519   Dakota Lukens                           Cory Watson           8:20-cv-80631-MCR-GRJ
   4635      233525   Denium Goodell                          Cory Watson           8:20-cv-80669-MCR-GRJ
   4636      233532   Lacolezat Mallory                       Cory Watson           8:20-cv-80685-MCR-GRJ
   4637      233533   Donald Scheck                           Cory Watson           8:20-cv-80688-MCR-GRJ
   4638      233551   Alexis Rodriguez                        Cory Watson           8:20-cv-80737-MCR-GRJ
   4639      233558   Mark Davis                              Cory Watson           8:20-cv-80754-MCR-GRJ
   4640      233644   John Skelton                            Cory Watson           8:20-cv-81009-MCR-GRJ
   4641      233650   Michael Schrader                        Cory Watson                                      8:20-cv-81018-MCR-GRJ
   4642      233681   James Woodard                           Cory Watson           8:20-cv-81073-MCR-GRJ
   4643      233704   Adam Niemiec                            Cory Watson           8:20-cv-81105-MCR-GRJ
   4644      233737   Cordaleray Benally                      Cory Watson           8:20-cv-81215-MCR-GRJ
   4645      233745   David Roberts                           Cory Watson           8:20-cv-81231-MCR-GRJ
   4646      233748   Leo Potts                               Cory Watson                                      8:20-cv-81237-MCR-GRJ
   4647      233791   Jeremiah Brite                          Cory Watson                                      8:20-cv-81324-MCR-GRJ
   4648      233802   Alicia Oneil                            Cory Watson           8:20-cv-81679-MCR-GRJ
   4649      233822   Moru Mane                               Cory Watson           8:20-cv-81716-MCR-GRJ
   4650      233845   Stephen Gallegos                        Cory Watson           8:20-cv-81757-MCR-GRJ
   4651      233863   Charles Lanier                          Cory Watson                                      8:20-cv-81794-MCR-GRJ
   4652      233879   Paul Updike                             Cory Watson                                      8:20-cv-81826-MCR-GRJ
   4653      233890   Sabrina Olsen                           Cory Watson           8:20-cv-81849-MCR-GRJ
   4654      233894   Amber Turner                            Cory Watson           8:20-cv-81857-MCR-GRJ
   4655      233925   Siobhan Sandy                           Cory Watson           8:20-cv-81918-MCR-GRJ
   4656      233926   Carlton Williams                        Cory Watson           8:20-cv-81920-MCR-GRJ
   4657      240707   Anthony Daisey                          Cory Watson                                      8:20-cv-86574-MCR-GRJ
   4658      240721   Jillian Tsiplakis                       Cory Watson           8:20-cv-86606-MCR-GRJ
   4659      240722   Arthur Hottin                           Cory Watson           8:20-cv-86609-MCR-GRJ
   4660      240728   Chris Dejesus                           Cory Watson           8:20-cv-86618-MCR-GRJ
   4661      240730   Michael Lapierre                        Cory Watson                                      8:20-cv-86621-MCR-GRJ
   4662      240731   Douglas Rose                            Cory Watson                                      8:20-cv-86624-MCR-GRJ
   4663      240771   Trevor Sam                              Cory Watson           8:20-cv-86698-MCR-GRJ
   4664      240781   Wayne Dixon                             Cory Watson           8:20-cv-86719-MCR-GRJ
   4665      240784   James Menzies                           Cory Watson           8:20-cv-86725-MCR-GRJ
   4666      240788   Matthew Evans                           Cory Watson           8:20-cv-86737-MCR-GRJ
   4667      240791   Christopher Odell                       Cory Watson           8:20-cv-86746-MCR-GRJ
   4668      240795   Natasha Nino                            Cory Watson           8:20-cv-86757-MCR-GRJ
   4669      240796   Robert Burau                            Cory Watson           8:20-cv-86760-MCR-GRJ
   4670      240797   Jeremy Hamm                             Cory Watson           8:20-cv-86763-MCR-GRJ
   4671      240806   Walter Bedward                          Cory Watson           8:20-cv-86787-MCR-GRJ
   4672      240808   Steven Mcknight                         Cory Watson                                      8:20-cv-86793-MCR-GRJ




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   4673      240811   Adam Dobson                             Cory Watson           8:20-cv-86801-MCR-GRJ
   4674      240823   Bi Zamble                               Cory Watson           8:20-cv-86837-MCR-GRJ
   4675      240826   Robert Emerick                          Cory Watson           8:20-cv-86846-MCR-GRJ
   4676      240827   Carmen Martucci                         Cory Watson                                      8:20-cv-86849-MCR-GRJ
   4677      240829   Jeffrey Musselman                       Cory Watson           8:20-cv-86855-MCR-GRJ
   4678      240831   Justin Neal                             Cory Watson           8:20-cv-86861-MCR-GRJ
   4679      240840   Michael Smith                           Cory Watson           8:20-cv-86888-MCR-GRJ
   4680      240848   Mark Johnson                            Cory Watson           8:20-cv-86909-MCR-GRJ
   4681      240851   David Fountain                          Cory Watson           8:20-cv-86915-MCR-GRJ
   4682      240855   Zachary Cordle                          Cory Watson           8:20-cv-86923-MCR-GRJ
   4683      240856   Kirk Oliver                             Cory Watson                                      8:20-cv-86925-MCR-GRJ
   4684      240861   Norman Basye                            Cory Watson                                      8:20-cv-86934-MCR-GRJ
   4685      240864   Jeremy Hamilton                         Cory Watson                                      8:20-cv-86940-MCR-GRJ
   4686      240865   Nicolas Perkins                         Cory Watson                                      8:20-cv-86942-MCR-GRJ
   4687      240871   Adam Deskins                            Cory Watson                                      8:20-cv-86955-MCR-GRJ
   4688      240875   William Youngblood                      Cory Watson                                      8:20-cv-86963-MCR-GRJ
   4689      240885   Christopher Felton                      Cory Watson                                      8:20-cv-86983-MCR-GRJ
   4690      240886   Ken Datas                               Cory Watson                                      8:20-cv-86985-MCR-GRJ
   4691      240889   Dexter Mcilwain                         Cory Watson           8:20-cv-86991-MCR-GRJ
   4692      240893   Jason Mcilwain                          Cory Watson           8:20-cv-86999-MCR-GRJ
   4693      240902   Joshua Smith                            Cory Watson           8:20-cv-87017-MCR-GRJ
   4694      240906   Dane Roberts                            Cory Watson                                      8:20-cv-87025-MCR-GRJ
   4695      240907   Hakim Ahmed                             Cory Watson           8:20-cv-87027-MCR-GRJ
   4696      240910   Richard Leahmon                         Cory Watson           8:20-cv-87033-MCR-GRJ
   4697      240919   Mathew Darden                           Cory Watson           8:20-cv-87101-MCR-GRJ
   4698      240923   John Holdren                            Cory Watson           8:20-cv-87105-MCR-GRJ
   4699      240931   Alexander Wells                         Cory Watson           8:20-cv-87112-MCR-GRJ
   4700      240932   Jessica Cottrill                        Cory Watson           8:20-cv-87113-MCR-GRJ
   4701      240937   Deandre Manley                          Cory Watson           8:20-cv-87126-MCR-GRJ
   4702      240940   David Cannon                            Cory Watson           8:20-cv-87134-MCR-GRJ
   4703      240949   Tyler Sprague                           Cory Watson           8:20-cv-87157-MCR-GRJ
   4704      240952   Dylan Uhls                              Cory Watson           8:20-cv-87164-MCR-GRJ
   4705      240959   Christopher Dorn                        Cory Watson           8:20-cv-87182-MCR-GRJ
   4706      240967   Felix Shimkus                           Cory Watson           8:20-cv-87193-MCR-GRJ
   4707      240974   David Lavalley                          Cory Watson           8:20-cv-87200-MCR-GRJ
   4708      240987   John Freiwald                           Cory Watson                                      8:20-cv-87213-MCR-GRJ
   4709      240988   Christopher Fitzjarrald                 Cory Watson                                      8:20-cv-87215-MCR-GRJ
   4710      240995   John Taylor                             Cory Watson                                      8:20-cv-87233-MCR-GRJ
   4711      240997   Wayne Mcintyre                          Cory Watson           8:20-cv-87238-MCR-GRJ
   4712      240999   Brian Bonney                            Cory Watson           8:20-cv-87244-MCR-GRJ
   4713      241006   Albaro Duran                            Cory Watson           8:20-cv-87262-MCR-GRJ
   4714      241010   Kristi Nadolney                         Cory Watson           8:20-cv-87272-MCR-GRJ
   4715      241011   Newton Handy                            Cory Watson           8:20-cv-87275-MCR-GRJ
   4716      241022   Joshua Barham                           Cory Watson           8:20-cv-87313-MCR-GRJ
   4717      241026   William Baker                           Cory Watson                                      8:20-cv-87326-MCR-GRJ
   4718      241033   Christopher Atkins                      Cory Watson           8:20-cv-87346-MCR-GRJ
   4719      241035   Lederrius Dickerson                     Cory Watson           8:20-cv-87354-MCR-GRJ
   4720      241048   Jermaine Bryant                         Cory Watson           8:20-cv-87390-MCR-GRJ
   4721      241050   Raja Armstrong                          Cory Watson                                      8:20-cv-87396-MCR-GRJ
   4722      241057   James Grace                             Cory Watson           8:20-cv-87411-MCR-GRJ
   4723      241064   Edward Pomeroy                          Cory Watson           8:20-cv-87430-MCR-GRJ
   4724      241065   Jacob Wolfskeil                         Cory Watson           8:20-cv-87433-MCR-GRJ
   4725      241068   Brett Swain                             Cory Watson                                      8:20-cv-87443-MCR-GRJ
   4726      241071   Devontavies Brown                       Cory Watson           8:20-cv-87453-MCR-GRJ
   4727      241073   Matthew Kreh                            Cory Watson           8:20-cv-87461-MCR-GRJ
   4728      241082   Christopher Cowart                      Cory Watson           8:20-cv-87499-MCR-GRJ
   4729      241083   Joshua Mitchell                         Cory Watson           8:20-cv-87503-MCR-GRJ
   4730      241088   Joshua Griffin                          Cory Watson           8:20-cv-87523-MCR-GRJ
   4731      241089   Chadwick Modygo                         Cory Watson           8:20-cv-87527-MCR-GRJ
   4732      241092   Bradlee Reed                            Cory Watson           8:20-cv-87534-MCR-GRJ
   4733      241111   Kemi Coburn                             Cory Watson           8:20-cv-87606-MCR-GRJ
   4734      241117   Kevin Tynes                             Cory Watson           8:20-cv-87626-MCR-GRJ
   4735      241118   Samuel Tolleson                         Cory Watson                                      8:20-cv-87630-MCR-GRJ
   4736      241124   Rodrick Scott                           Cory Watson                                      8:20-cv-87648-MCR-GRJ
   4737      241131   Rene Castillo                           Cory Watson           8:20-cv-87668-MCR-GRJ
   4738      241132   Ryan Hedblad                            Cory Watson           8:20-cv-87671-MCR-GRJ
   4739      241133   John Abalos                             Cory Watson           8:20-cv-87675-MCR-GRJ
   4740      241135   Kevin Davis                             Cory Watson           8:20-cv-87681-MCR-GRJ
   4741      241137   Teressa Oliver                          Cory Watson           8:20-cv-87687-MCR-GRJ
   4742      241138   Bryan Sanders                           Cory Watson           8:20-cv-87690-MCR-GRJ
   4743      241139   Ernest Herr                             Cory Watson                                      8:20-cv-87693-MCR-GRJ
   4744      241140   Theodore Prendez                        Cory Watson           8:20-cv-87696-MCR-GRJ
   4745      241143   Reynaldo Flores                         Cory Watson           8:20-cv-87705-MCR-GRJ




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   4746      241144   Francisco Hernandez Archdale            Cory Watson                                         8:20-cv-87708-MCR-GRJ
   4747      241149   Latonya Reid                            Cory Watson                                                                    8:20-cv-87723-MCR-GRJ
   4748      241163   Carlos Mediano                          Cory Watson                                         8:20-cv-87764-MCR-GRJ
   4749      241170   John Klotz                              Cory Watson                                         8:20-cv-87786-MCR-GRJ
   4750      241172   Thomas Holt                             Cory Watson                                         8:20-cv-87792-MCR-GRJ
   4751      241178   Michael Funk                            Cory Watson                                         8:20-cv-87810-MCR-GRJ
   4752      241181   David Hudson                            Cory Watson                                         8:20-cv-87990-MCR-GRJ
   4753      241182   Korion Brown                            Cory Watson                                         8:20-cv-87991-MCR-GRJ
   4754      241185   Ross Petty                              Cory Watson                                         8:20-cv-87994-MCR-GRJ
   4755      241195   Gene Irelan                             Cory Watson                                         8:20-cv-88003-MCR-GRJ
   4756      241196   Brent Helfrich                          Cory Watson                                         8:20-cv-88004-MCR-GRJ
   4757      241197   Marc Mcmaster                           Cory Watson                                         8:20-cv-88005-MCR-GRJ
   4758      241213   Deren Etjen                             Cory Watson                                         8:20-cv-88019-MCR-GRJ
   4759      241219   Monte Roper                             Cory Watson                                                                    8:20-cv-88024-MCR-GRJ
   4760      241254   William Myers                           Cory Watson                                         8:20-cv-88050-MCR-GRJ
   4761      241258   Richard Johnson                         Cory Watson                                         8:20-cv-88053-MCR-GRJ
   4762      241264   Cody Orourke                            Cory Watson                                         8:20-cv-88057-MCR-GRJ
   4763      241266   Braden Cox                              Cory Watson                                         8:20-cv-88059-MCR-GRJ
   4764      241275   Bryce Sorter                            Cory Watson                                         8:20-cv-88065-MCR-GRJ
   4765      241276   Dereck Beatty                           Cory Watson                                                                    8:20-cv-88066-MCR-GRJ
   4766      241281   James Simpson                           Cory Watson                                         8:20-cv-88070-MCR-GRJ
   4767      241283   Thomas Prestidge                        Cory Watson                                         8:20-cv-88071-MCR-GRJ
   4768      241286   Kyler Ackerman                          Cory Watson                                         8:20-cv-88074-MCR-GRJ
   4769      241289   Kevin Marcon                            Cory Watson                                         8:20-cv-88076-MCR-GRJ
   4770      241292   Brian Chamberlain                       Cory Watson                                         8:20-cv-88078-MCR-GRJ
   4771      241293   Ricky Williamson                        Cory Watson                                         8:20-cv-88079-MCR-GRJ
   4772      241294   Colby Vancamp                           Cory Watson                                         8:20-cv-88080-MCR-GRJ
   4773      241300   Mark Belden                             Cory Watson                                         8:20-cv-88084-MCR-GRJ
   4774      241307   Juan Martinez                           Cory Watson                                         8:20-cv-88090-MCR-GRJ
   4775      241308   Jerry Watson                            Cory Watson                                         8:20-cv-88091-MCR-GRJ
   4776      241325   Paul Walrath                            Cory Watson                                                                    8:20-cv-88100-MCR-GRJ
   4777      241329   Richard Roberson                        Cory Watson                                         8:20-cv-88104-MCR-GRJ
   4778      241332   Dillon Barry                            Cory Watson                                         8:20-cv-88107-MCR-GRJ
   4779      241337   Robert Hopple                           Cory Watson                                         8:20-cv-88112-MCR-GRJ
   4780      241338   Brian Vesco                             Cory Watson                                         8:20-cv-88113-MCR-GRJ
   4781      241339   Jaime Duran                             Cory Watson                                         8:20-cv-88114-MCR-GRJ
   4782      241345   Harold Mccarthy                         Cory Watson                                         8:20-cv-88120-MCR-GRJ
   4783      241352   Nick Schlenker                          Cory Watson                                         8:20-cv-88127-MCR-GRJ
   4784      241363   Jerome Prejean                          Cory Watson                                         8:20-cv-88138-MCR-GRJ
   4785      241364   Bobby Bergman                           Cory Watson                                                                    8:20-cv-88139-MCR-GRJ
   4786      241371   Hector Gutierrez                        Cory Watson                                         8:20-cv-88146-MCR-GRJ
   4787      241377   Angie Wentworth                         Cory Watson                                         8:20-cv-88152-MCR-GRJ
   4788      241381   Charles Quintanilla                     Cory Watson                                                                    8:20-cv-88156-MCR-GRJ
   4789      241382   Sara Carter                             Cory Watson                                         8:20-cv-88157-MCR-GRJ
   4790      241388   Nelson Allen                            Cory Watson                                         8:20-cv-88163-MCR-GRJ
   4791      241390   Dustin Johnson                          Cory Watson                                         8:20-cv-88165-MCR-GRJ
   4792      241392   Robert Mejia                            Cory Watson                                         8:20-cv-88167-MCR-GRJ
   4793      241399   Lyndon Dunham                           Cory Watson                                                                    8:20-cv-88174-MCR-GRJ
   4794      241413   Matthew Richmond                        Cory Watson                                                                    8:20-cv-88188-MCR-GRJ
   4795      241421   Lawrence Casuga                         Cory Watson                                         8:20-cv-88196-MCR-GRJ
   4796      241429   Joey Usita                              Cory Watson                                         8:20-cv-88203-MCR-GRJ
   4797      241432   Carl Meneses                            Cory Watson                                                                    8:20-cv-88206-MCR-GRJ
   4798      241435   Leanna Hernandez                        Cory Watson                                         8:20-cv-88208-MCR-GRJ
   4799      241438   Brian Hutchinson                        Cory Watson                                         8:20-cv-88211-MCR-GRJ
   4800      241450   Jeryd Neuens                            Cory Watson                                         8:20-cv-88221-MCR-GRJ
   4801      241453   Anthony Elder                           Cory Watson                                         8:20-cv-88224-MCR-GRJ
   4802      241455   John Pena                               Cory Watson                                         8:20-cv-88226-MCR-GRJ
   4803      241459   Joshua Potter                           Cory Watson                                         8:20-cv-88229-MCR-GRJ
   4804      241468   Doris Baez                              Cory Watson                                                                    8:20-cv-88238-MCR-GRJ
   4805      253209   Bryan Long                              Cory Watson                                         8:20-cv-97552-MCR-GRJ
   4806      325610   Devin Johnson                           Cory Watson                                         7:21-cv-40616-MCR-GRJ
   4807      69046    Herbert Banks                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81131-MCR-GRJ
   4808      69054    James Biehunko                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81161-MCR-GRJ
   4809      69064    Ryan Braswell                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81201-MCR-GRJ
   4810      69067    Nailah Brogdon                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81210-MCR-GRJ
   4811      69076    Scott Burlingame                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81247-MCR-GRJ
   4812      69079    Kevin Button                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81261-MCR-GRJ
   4813      69083    Adolfo Cancino                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81276-MCR-GRJ
   4814      69085    Tim Capaldi                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81285-MCR-GRJ
   4815      69091    Michael Carter                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81312-MCR-GRJ
   4816      69094    Brandon Chin                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81324-MCR-GRJ
   4817      69095    Durrell Clayton                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81329-MCR-GRJ
   4818      69101    Kevin Coles                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81357-MCR-GRJ




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   4819      69127    Malika Dubose                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81461-MCR-GRJ
   4820      69132    Ernest Edwards                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81484-MCR-GRJ
   4821      69149    Michael Foster                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81551-MCR-GRJ
   4822      69152    Norman Garrett                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81562-MCR-GRJ
   4823      69172    Greg Grone                              Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81629-MCR-GRJ
   4824      69188    Jeremy Hunt                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81671-MCR-GRJ
   4825      69189    Jonathan Huntress                       Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-81674-MCR-GRJ
   4826      69193    Allen Johansen                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-81682-MCR-GRJ
   4827      69220    Kenyata Lebruin                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82062-MCR-GRJ
   4828      69230    Donnell Louis                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82100-MCR-GRJ
   4829      69233    Ian Mackay                              Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82112-MCR-GRJ
   4830      69236    Benjamin Mann                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82124-MCR-GRJ
   4831      69237    Nathaniel Mansur                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82128-MCR-GRJ
   4832      69244    John Mckim                              Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82155-MCR-GRJ
   4833      69247    Jeremy Mclendon                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82166-MCR-GRJ
   4834      69252    Derrick Middleton                       Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82185-MCR-GRJ
   4835      69256    Jonathan Moore                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82198-MCR-GRJ
   4836      69259    Carey Morgan                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82204-MCR-GRJ
   4837      69267    Robert Neal                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82229-MCR-GRJ
   4838      69271    Kevin Nortier                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82245-MCR-GRJ
   4839      69276    Steven Quarterman                       Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82260-MCR-GRJ
   4840      69293    Mario Pinon                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82305-MCR-GRJ
   4841      69295    Jeffory Poole                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82308-MCR-GRJ
   4842      69314    Daniel Rodriguez                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82358-MCR-GRJ
   4843      69316    Jonathan Roper                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82364-MCR-GRJ
   4844      69321    Nathan Sameiro                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82378-MCR-GRJ
   4845      69322    Abel Sanchez                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82381-MCR-GRJ
   4846      69329    Tyler Scheibe                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82402-MCR-GRJ
   4847      69331    Travis Schneider                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82408-MCR-GRJ
   4848      69332    James Schumacher                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82411-MCR-GRJ
   4849      69333    Kyle Schweers                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82414-MCR-GRJ
   4850      69340    Jeffery Sims                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82432-MCR-GRJ
   4851      69354    Joshua Stephens                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82467-MCR-GRJ
   4852      69355    Shad Stockton                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82471-MCR-GRJ
   4853      69356    Kyle Storey                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82475-MCR-GRJ
   4854      69369    Timothy Thornton                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82516-MCR-GRJ
   4855      69376    Anthony Tyler                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82544-MCR-GRJ
   4856      69384    Micah Weathersby                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82575-MCR-GRJ
   4857      69388    Javander Wesley-Williams                Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82590-MCR-GRJ
   4858      69390    Taylor West                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82598-MCR-GRJ
   4859      69393    Takeema Whidbee                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-82609-MCR-GRJ
   4860      69394    Robert White                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82613-MCR-GRJ
   4861      69395    Jesse Whiteis                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-82617-MCR-GRJ
   4862      106885   Lee Maddox                              Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               3:22-cv-01872-MCR-GRJ
   4863      106900   Matthew Chambers                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-97039-MCR-GRJ
   4864      106949   Angela Hammer                           Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-97246-MCR-GRJ      3:22-cv-00444-MCR-GRJ
   4865      106963   Matthew Sonnier                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               3:22-cv-01966-MCR-GRJ
   4866      107020   Michael Clauson                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               3:20-cv-02445-MCR-GRJ
   4867      107035   Carey Epperson                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-97581-MCR-GRJ      3:22-cv-00458-MCR-GRJ
   4868      107084   Justin Abner                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               3:21-cv-02970-MCR-GRJ
   4869      107121   Billy Grant                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-97963-MCR-GRJ
   4870      136118   Justin Nunn                             Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-83050-MCR-GRJ
   4871      159099   Reginald Phillips                       Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-83144-MCR-GRJ
   4872      163622   Patrick Patterson                       Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-83156-MCR-GRJ
   4873      173790   David Kreher                            Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:20-cv-41820-MCR-GRJ
   4874      176358   Kevin Whitaker                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-41837-MCR-GRJ
   4875      177033   Whitney Clayton                         Coxwell & Associates PLLC.; 'Maggio Thompson LLP    7:20-cv-83460-MCR-GRJ
   4876      324028   James Phillips                          Coxwell & Associates PLLC.; 'Maggio Thompson LLP                               7:21-cv-39526-MCR-GRJ
   4877      357386   Patrick Holman                          D. Miller & Associates, PLLC                                                   3:22-cv-02100-MCR-GRJ
   4878      357472   Craig Daniel                            D. Miller & Associates, PLLC                                                   3:22-cv-03829-MCR-GRJ
   4879      357473   Sean Rudenauer                          D. Miller & Associates, PLLC                                                   3:22-cv-02101-MCR-GRJ
   4880      357474   John Mcneil                             D. Miller & Associates, PLLC                                                   3:22-cv-03063-MCR-GRJ
   4881      357476   Calvin Davis                            D. Miller & Associates, PLLC                                                   3:22-cv-03303-MCR-GRJ
   4882      357478   Romier Kuhn                             D. Miller & Associates, PLLC                                                   3:22-cv-03078-MCR-GRJ
   4883      357479   Edward Brown                            D. Miller & Associates, PLLC                                                   3:22-cv-03038-MCR-GRJ
   4884      357480   Christopher Cowley                      D. Miller & Associates, PLLC                                                   3:22-cv-03099-MCR-GRJ
   4885      357481   Ronald Brosius                          D. Miller & Associates, PLLC                                                   3:22-cv-02650-MCR-GRJ
   4886      357482   Patricia Alberter                       D. Miller & Associates, PLLC                                                   3:22-cv-02681-MCR-GRJ
   4887      357483   Ayana Eley                              D. Miller & Associates, PLLC                                                   3:22-cv-02699-MCR-GRJ
   4888      357484   Dwayne Holler                           D. Miller & Associates, PLLC                                                   3:22-cv-02731-MCR-GRJ
   4889      357485   Talvis Linder                           D. Miller & Associates, PLLC                                                   3:22-cv-02750-MCR-GRJ
   4890      357486   Wayne Schoonover                        D. Miller & Associates, PLLC                                                   3:22-cv-02769-MCR-GRJ
   4891      357488   Juanita Williams                        D. Miller & Associates, PLLC                                                   3:22-cv-03310-MCR-GRJ




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   4892      357489   Wallace Mayers                          D. Miller & Associates, PLLC                                      3:22-cv-03329-MCR-GRJ
   4893      357490   John Sifford                            D. Miller & Associates, PLLC                                      3:22-cv-03133-MCR-GRJ
   4894      357492   Joseph Tygart                           D. Miller & Associates, PLLC                                      3:22-cv-02779-MCR-GRJ
   4895      357493   Anthony Friesner                        D. Miller & Associates, PLLC                                      3:22-cv-02793-MCR-GRJ
   4896      357495   Jay Schueneman                          D. Miller & Associates, PLLC                                      3:22-cv-02809-MCR-GRJ
   4897      357496   Michael Grace                           D. Miller & Associates, PLLC                                      3:22-cv-03172-MCR-GRJ
   4898      357497   Donald Harden                           D. Miller & Associates, PLLC                                      3:22-cv-02829-MCR-GRJ
   4899      357498   Jerry Hall                              D. Miller & Associates, PLLC                                      3:22-cv-02853-MCR-GRJ
   4900      357499   Kenneth Turner                          D. Miller & Associates, PLLC                                      3:22-cv-03333-MCR-GRJ
   4901      357501   Christopher Worden                      D. Miller & Associates, PLLC                                      3:22-cv-03014-MCR-GRJ
   4902      357502   Darren Shaver                           D. Miller & Associates, PLLC                                      3:22-cv-03020-MCR-GRJ
   4903      357503   Lloyd Johnson                           D. Miller & Associates, PLLC                                      3:22-cv-03214-MCR-GRJ
   4904      357505   Michael Mcgilton                        D. Miller & Associates, PLLC                                      3:22-cv-03234-MCR-GRJ
   4905      357507   Mike Faulkner                           D. Miller & Associates, PLLC                                      3:22-cv-03276-MCR-GRJ
   4906      357508   Connery Earl                            D. Miller & Associates, PLLC                                      3:22-cv-03498-MCR-GRJ
   4907      357509   Dave Simms                              D. Miller & Associates, PLLC                                      3:22-cv-03289-MCR-GRJ
   4908      357510   Charlene Stubbs                         D. Miller & Associates, PLLC                                      3:22-cv-03223-MCR-GRJ
   4909      357514   Raven Williams                          D. Miller & Associates, PLLC                                      3:22-cv-03232-MCR-GRJ
   4910      357515   Brad Keen                               D. Miller & Associates, PLLC                                      3:22-cv-03238-MCR-GRJ
   4911      357516   Rex Guinn                               D. Miller & Associates, PLLC                                      3:22-cv-02636-MCR-GRJ
   4912      357517   Dustin Spangler                         D. Miller & Associates, PLLC                                      3:22-cv-03340-MCR-GRJ
   4913      357518   Charles Ivory                           D. Miller & Associates, PLLC                                      3:22-cv-03369-MCR-GRJ
   4914      357519   Gregory Stark                           D. Miller & Associates, PLLC                                      3:22-cv-03244-MCR-GRJ
   4915      357525   Dustin Davis                            D. Miller & Associates, PLLC                                      3:22-cv-03353-MCR-GRJ
   4916      357526   Shawna Jeremiah                         D. Miller & Associates, PLLC                                      3:22-cv-02685-MCR-GRJ
   4917      357528   Raymond Reida                           D. Miller & Associates, PLLC                                      3:22-cv-02713-MCR-GRJ
   4918      357529   Francise Hall                           D. Miller & Associates, PLLC                                      3:22-cv-03252-MCR-GRJ
   4919      357530   Tommy Thongkham                         D. Miller & Associates, PLLC                                      3:22-cv-02783-MCR-GRJ
   4920      357532   Anthony Grillett                        D. Miller & Associates, PLLC                                      3:22-cv-02790-MCR-GRJ
   4921      357533   David Rymer                             D. Miller & Associates, PLLC                                      3:22-cv-02848-MCR-GRJ
   4922      357534   Emmett Mack                             D. Miller & Associates, PLLC                                      3:22-cv-02868-MCR-GRJ
   4923      357536   Joseph Jones                            D. Miller & Associates, PLLC                                      3:22-cv-03175-MCR-GRJ
   4924      357537   Ruben Colon                             D. Miller & Associates, PLLC                                      3:22-cv-02943-MCR-GRJ
   4925      357538   Miguel Decene                           D. Miller & Associates, PLLC                                      3:22-cv-02306-MCR-GRJ
   4926      357539   Carlos González Maldonado               D. Miller & Associates, PLLC                                      3:22-cv-02956-MCR-GRJ
   4927      357540   Daniel Carcasses                        D. Miller & Associates, PLLC                                      3:22-cv-02957-MCR-GRJ
   4928      357541   Joseph Frantz                           D. Miller & Associates, PLLC                                      3:22-cv-03010-MCR-GRJ
   4929      357542   Daniel Uribe                            D. Miller & Associates, PLLC                                      3:22-cv-03011-MCR-GRJ
   4930      357543   Jon Bartlett                            D. Miller & Associates, PLLC                                      3:22-cv-03182-MCR-GRJ
   4931      357545   Scott Diehm                             D. Miller & Associates, PLLC                                      3:22-cv-03205-MCR-GRJ
   4932      357546   Dale Tababa                             D. Miller & Associates, PLLC                                      3:22-cv-03476-MCR-GRJ
   4933      357547   Joshua Snell                            D. Miller & Associates, PLLC                                      3:22-cv-03212-MCR-GRJ
   4934      357548   Travis Clay                             D. Miller & Associates, PLLC                                      3:22-cv-03036-MCR-GRJ
   4935      357549   Ryan Robbins                            D. Miller & Associates, PLLC                                      3:22-cv-03040-MCR-GRJ
   4936      357550   Steven Alvarado                         D. Miller & Associates, PLLC                                      3:22-cv-03044-MCR-GRJ
   4937      357551   Bobby Younts                            D. Miller & Associates, PLLC                                      3:22-cv-03055-MCR-GRJ
   4938      357553   Reginald Brown                          D. Miller & Associates, PLLC                                      3:22-cv-03319-MCR-GRJ
   4939      357554   Shannon Clarke                          D. Miller & Associates, PLLC                                      3:22-cv-03091-MCR-GRJ
   4940      94971    Brian Anderson                          Davis & Crump, P. C.                   8:20-cv-20091-MCR-GRJ
   4941      94978    William Bair                            Davis & Crump, P. C.                   8:20-cv-20129-MCR-GRJ
   4942      94980    Rheannon Baker                          Davis & Crump, P. C.                   8:20-cv-20141-MCR-GRJ
   4943      95011    Dhyrenul Calhoun                        Davis & Crump, P. C.                   8:20-cv-20291-MCR-GRJ
   4944      95019    Derien Cherry                           Davis & Crump, P. C.                   8:20-cv-20325-MCR-GRJ
   4945      95049    Vincent Frazier                         Davis & Crump, P. C.                   8:20-cv-13504-MCR-GRJ
   4946      95059    Eric Gonzalez                           Davis & Crump, P. C.                   8:20-cv-13548-MCR-GRJ
   4947      95081    Trevor Hunnicutt                        Davis & Crump, P. C.                   8:20-cv-13621-MCR-GRJ
   4948      95084    Justin Imbeau                           Davis & Crump, P. C.                   8:20-cv-13634-MCR-GRJ
   4949      95173    Carol Roddy                             Davis & Crump, P. C.                   8:20-cv-13866-MCR-GRJ
   4950      95174    Scotty Romans                           Davis & Crump, P. C.                   8:20-cv-13870-MCR-GRJ
   4951      95194    Shari Spellers                          Davis & Crump, P. C.                   8:20-cv-13949-MCR-GRJ
   4952      95199    Jeremy Stratton                         Davis & Crump, P. C.                   8:20-cv-13976-MCR-GRJ
   4953      95230    Roger Williamson                        Davis & Crump, P. C.                   8:20-cv-14111-MCR-GRJ
   4954      157283   Antwon Davis                            Davis & Crump, P. C.                                              8:20-cv-15113-MCR-GRJ
   4955      157700   Debra Bradshaw                          Davis & Crump, P. C.                   8:20-cv-15117-MCR-GRJ
   4956      161299   Lyndon Mcdaniel                         Davis & Crump, P. C.                                              8:20-cv-15150-MCR-GRJ
   4957      167613   Leon Maddox                             Davis & Crump, P. C.                   8:20-cv-15229-MCR-GRJ
   4958      174671   Brittany Spraglin                       Davis & Crump, P. C.                   7:20-cv-85264-MCR-GRJ
   4959      174677   Danielle Lange                          Davis & Crump, P. C.                   7:20-cv-85296-MCR-GRJ
   4960      248688   Keith Davis                             Davis & Crump, P. C.                                              8:20-cv-87312-MCR-GRJ
   4961      315912   Ronald Gibson                           Davis & Crump, P. C.                   7:21-cv-31102-MCR-GRJ
   4962      76169    Joshua Annis                            DeGaris Wright McCall                                             8:20-cv-33949-MCR-GRJ
   4963      76171    Bryan Arnold                            DeGaris Wright McCall                  8:20-cv-33951-MCR-GRJ
   4964      76198    Justin Curtin                           DeGaris Wright McCall                  8:20-cv-33976-MCR-GRJ




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   4965      76205    Michael Ervin                           DeGaris Wright McCall                                      8:20-cv-33983-MCR-GRJ
   4966      76219    Arturo Gomez                            DeGaris Wright McCall                                      8:20-cv-34012-MCR-GRJ
   4967      76220    Alberto Gonzalez                        DeGaris Wright McCall           8:20-cv-34014-MCR-GRJ
   4968      76225    Ramon Hart                              DeGaris Wright McCall           8:20-cv-34025-MCR-GRJ
   4969      76231    Thomas Irby                             DeGaris Wright McCall           8:20-cv-34037-MCR-GRJ
   4970      76237    Nathaniel Jennings                      DeGaris Wright McCall           8:20-cv-34050-MCR-GRJ
   4971      76239    Nathon Johnston                         DeGaris Wright McCall                                      8:20-cv-34054-MCR-GRJ
   4972      76249    Eric Lombard                            DeGaris Wright McCall                                      8:20-cv-34071-MCR-GRJ
   4973      76254    Evan Marcotte                           DeGaris Wright McCall                                      8:20-cv-34082-MCR-GRJ
   4974      76255    Marco Martinez                          DeGaris Wright McCall                                      8:20-cv-34084-MCR-GRJ
   4975      76256    Gerald Massey                           DeGaris Wright McCall           8:20-cv-34086-MCR-GRJ
   4976      76277    Stephen Ramey                           DeGaris Wright McCall                                      8:20-cv-34125-MCR-GRJ
   4977      76279    Aaron Ramsey                            DeGaris Wright McCall                                      8:20-cv-34129-MCR-GRJ
   4978      76285    James Roberts                           DeGaris Wright McCall                                      8:20-cv-34138-MCR-GRJ
   4979      76291    Brian Savoie                            DeGaris Wright McCall                                      8:20-cv-34181-MCR-GRJ
   4980      76297    James Smith                             DeGaris Wright McCall                                      8:20-cv-34185-MCR-GRJ
   4981      76301    Marvin Spangenberg                      DeGaris Wright McCall                                      8:20-cv-34199-MCR-GRJ
   4982      76325    Kyle Wilson                             DeGaris Wright McCall                                      8:20-cv-34816-MCR-GRJ
   4983      76326    Harold Wine                             DeGaris Wright McCall                                      8:20-cv-34820-MCR-GRJ
   4984      258678   Ronnie Lewis                            DeGaris Wright McCall                                      7:21-cv-55091-MCR-GRJ
   4985      325366   Robert Stallcup                         Delluomo & Crow                 7:21-cv-39909-MCR-GRJ      3:21-cv-00531-MCR-GRJ
   4986      107163   Adam Ackley                             Douglas & London                                           7:20-cv-74203-MCR-GRJ
   4987      107175   Michael Adams                           Douglas & London                                           7:20-cv-74228-MCR-GRJ
   4988      107179   Tilton Adams                            Douglas & London                7:20-cv-74236-MCR-GRJ
   4989      107185   Brian Adams                             Douglas & London                7:20-cv-74246-MCR-GRJ
   4990      107193   Kenneth Adkins                          Douglas & London                7:20-cv-74263-MCR-GRJ
   4991      107194   John Adkins                             Douglas & London                7:20-cv-74265-MCR-GRJ
   4992      107199   Agustin Aguilar                         Douglas & London                7:20-cv-74275-MCR-GRJ
   4993      107202   Jacob Aguilar                           Douglas & London                7:20-cv-74281-MCR-GRJ
   4994      107203   Jose Aguilar-Lopez                      Douglas & London                7:20-cv-74283-MCR-GRJ
   4995      107212   Joseph Aker                             Douglas & London                                           7:20-cv-74299-MCR-GRJ
   4996      107218   Hunter Alarcon                          Douglas & London                7:20-cv-74312-MCR-GRJ
   4997      107222   Irvin Alberto                           Douglas & London                7:20-cv-74323-MCR-GRJ
   4998      107230   Erik Alcorn                             Douglas & London                7:20-cv-74339-MCR-GRJ
   4999      107240   Justin Alexander                        Douglas & London                7:20-cv-74364-MCR-GRJ
   5000      107242   Richard Alfaro                          Douglas & London                7:20-cv-74369-MCR-GRJ
   5001      107249   Eric Allen                              Douglas & London                7:20-cv-74383-MCR-GRJ
   5002      107254   Luke Allen                              Douglas & London                7:20-cv-74398-MCR-GRJ
   5003      107256   Steven Allen                            Douglas & London                                           7:20-cv-74403-MCR-GRJ
   5004      107265   Nathan Allen                            Douglas & London                7:20-cv-74428-MCR-GRJ
   5005      107268   Adam Alley                              Douglas & London                7:20-cv-74437-MCR-GRJ
   5006      107270   Jack Allison                            Douglas & London                7:20-cv-74443-MCR-GRJ
   5007      107272   Aelfred Allspach                        Douglas & London                                           7:20-cv-74448-MCR-GRJ
   5008      107275   Juan Alonzomiranda                      Douglas & London                7:20-cv-74457-MCR-GRJ
   5009      107277   Edward Alsup                            Douglas & London                7:20-cv-74463-MCR-GRJ
   5010      107282   Victor Alvarado                         Douglas & London                                           7:20-cv-74477-MCR-GRJ
   5011      107291   Alan Amundson                           Douglas & London                                           7:20-cv-74503-MCR-GRJ
   5012      107293   Chris Andersen                          Douglas & London                7:20-cv-74509-MCR-GRJ
   5013      107303   Brandon Anderson                        Douglas & London                                           7:20-cv-74530-MCR-GRJ
   5014      107307   Joshua Anding                           Douglas & London                7:20-cv-74542-MCR-GRJ
   5015      107312   Rafael Andujar                          Douglas & London                7:20-cv-74557-MCR-GRJ
   5016      107313   Christopher Angel                       Douglas & London                7:20-cv-74560-MCR-GRJ
   5017      107325   Devin Antrum                            Douglas & London                                           7:20-cv-74593-MCR-GRJ
   5018      107329   Andrew Arblaster                        Douglas & London                                           7:20-cv-74605-MCR-GRJ
   5019      107332   Justin Archer                           Douglas & London                7:20-cv-74613-MCR-GRJ
   5020      107353   Elvis Armstrong                         Douglas & London                                           7:20-cv-74668-MCR-GRJ
   5021      107362   Charles Arnold                          Douglas & London                7:20-cv-75066-MCR-GRJ
   5022      107363   David Arnold                            Douglas & London                7:20-cv-75072-MCR-GRJ
   5023      107383   Kristopher Ashbaugh                     Douglas & London                7:20-cv-75176-MCR-GRJ
   5024      107397   Jeffrey Attison                         Douglas & London                                           7:20-cv-75251-MCR-GRJ
   5025      107403   Michael Aune                            Douglas & London                                           7:20-cv-75287-MCR-GRJ
   5026      107408   Dave Austin                             Douglas & London                7:20-cv-75303-MCR-GRJ
   5027      107424   Jonathon Ayers                          Douglas & London                7:20-cv-75395-MCR-GRJ
   5028      107434   Brye Babineaux                          Douglas & London                                           7:20-cv-75443-MCR-GRJ
   5029      107450   Jesse Bagcal                            Douglas & London                                           7:20-cv-75513-MCR-GRJ
   5030      107466   Tommy Bairefoot                         Douglas & London                                           7:20-cv-75592-MCR-GRJ
   5031      107468   Michael Bajack                          Douglas & London                7:20-cv-75602-MCR-GRJ
   5032      107490   Kavin Ballard                           Douglas & London                7:20-cv-75696-MCR-GRJ
   5033      107493   Galen Ballinger                         Douglas & London                                           7:20-cv-75712-MCR-GRJ
   5034      107495   Christian Banales                       Douglas & London                7:20-cv-75722-MCR-GRJ
   5035      107496   David Baniak                            Douglas & London                7:20-cv-75726-MCR-GRJ
   5036      107513   Brian Barker                            Douglas & London                                           7:20-cv-75803-MCR-GRJ
   5037      107524   Joseph Barnard                          Douglas & London                7:20-cv-75847-MCR-GRJ




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   5038      107528   Jessica Barnes                          Douglas & London           7:20-cv-75861-MCR-GRJ
   5039      107533   Ronnie Barnes                           Douglas & London                                      7:20-cv-75876-MCR-GRJ
   5040      107538   Payton Barnett                          Douglas & London                                      7:20-cv-75888-MCR-GRJ
   5041      107540   Billy Barnett                           Douglas & London                                      7:20-cv-75894-MCR-GRJ
   5042      107541   Andrew Barnett                          Douglas & London           7:20-cv-75897-MCR-GRJ
   5043      107543   Reginald Barney                         Douglas & London           7:20-cv-75903-MCR-GRJ
   5044      107556   Jason Bartlett                          Douglas & London           7:20-cv-75930-MCR-GRJ
   5045      107583   Christopher Batiste                     Douglas & London                                      7:20-cv-76241-MCR-GRJ
   5046      107584   Scott Batye                             Douglas & London           7:20-cv-76242-MCR-GRJ
   5047      107596   Thomas Bazzell                          Douglas & London           7:20-cv-76254-MCR-GRJ
   5048      107613   Christopher Beason                      Douglas & London           7:20-cv-76280-MCR-GRJ
   5049      107615   Michael Beauchamp                       Douglas & London           7:20-cv-76283-MCR-GRJ
   5050      107626   Daniel Beecham                          Douglas & London           7:20-cv-76304-MCR-GRJ
   5051      107627   Leon Beede                              Douglas & London           7:20-cv-76306-MCR-GRJ
   5052      107631   Nolan Begay                             Douglas & London           7:20-cv-76494-MCR-GRJ
   5053      107644   Christopher Belk                        Douglas & London           7:20-cv-76334-MCR-GRJ
   5054      107652   Daniel Bell                             Douglas & London           7:20-cv-76348-MCR-GRJ
   5055      107661   Zachary Belliveau                       Douglas & London                                      7:20-cv-76365-MCR-GRJ
   5056      107669   Warren Bender                           Douglas & London           7:20-cv-76379-MCR-GRJ
   5057      107671   Josh Benedictus                         Douglas & London           7:20-cv-76383-MCR-GRJ
   5058      107676   Bobby Bennett                           Douglas & London                                      7:20-cv-76392-MCR-GRJ
   5059      107684   Martin Bennett                          Douglas & London           7:20-cv-76405-MCR-GRJ
   5060      107701   Aaron Bergey                            Douglas & London                                      7:20-cv-76435-MCR-GRJ
   5061      107709   Robert Bernardo                         Douglas & London                                      3:19-cv-03271-MCR-GRJ
   5062      107719   Barry Besley                            Douglas & London                                      7:20-cv-76465-MCR-GRJ
   5063      107728   Austin Betzler                          Douglas & London           7:20-cv-76480-MCR-GRJ
   5064      107731   Brandon Bewley                          Douglas & London                                      7:20-cv-76485-MCR-GRJ
   5065      107734   Justin Bianco                           Douglas & London                                      7:20-cv-76489-MCR-GRJ
   5066      107743   Christopher Bill                        Douglas & London           7:20-cv-76506-MCR-GRJ
   5067      107746   Jeffrey Binkis                          Douglas & London           7:20-cv-76511-MCR-GRJ
   5068      107747   Matthew Birch                           Douglas & London           7:20-cv-76512-MCR-GRJ
   5069      107748   Robert Birchfield                       Douglas & London           7:20-cv-76513-MCR-GRJ
   5070      107750   Jeremy Birdsill                         Douglas & London                                      7:20-cv-76515-MCR-GRJ
   5071      107764   Robert Bivines                          Douglas & London                                      7:20-cv-76528-MCR-GRJ
   5072      107767   Dale Black                              Douglas & London           7:20-cv-76531-MCR-GRJ
   5073      107775   Justice Blackshear                      Douglas & London           7:20-cv-76549-MCR-GRJ
   5074      107792   Petter Blanchard                        Douglas & London                                      7:20-cv-76554-MCR-GRJ
   5075      107798   John Blansett                           Douglas & London                                      7:20-cv-76559-MCR-GRJ
   5076      107799   Raymond Blanton                         Douglas & London           7:20-cv-76560-MCR-GRJ
   5077      107807   Courtney Blissett                       Douglas & London           7:20-cv-76567-MCR-GRJ
   5078      107808   Michael Bloodgood                       Douglas & London           7:20-cv-76568-MCR-GRJ
   5079      107811   Chris Bloxton                           Douglas & London                                      7:20-cv-76571-MCR-GRJ
   5080      107812   James Blunkall                          Douglas & London           7:20-cv-76572-MCR-GRJ
   5081      107815   Travis Boatwright                       Douglas & London           7:20-cv-76575-MCR-GRJ
   5082      107818   Alexander Boehmer                       Douglas & London           7:20-cv-76578-MCR-GRJ
   5083      107819   Christopher Boehne                      Douglas & London                                      7:20-cv-76579-MCR-GRJ
   5084      107822   Ronaldo Boggan                          Douglas & London           7:20-cv-76582-MCR-GRJ
   5085      107831   Donald Bolin                            Douglas & London                                      7:20-cv-76591-MCR-GRJ
   5086      107838   Ryan Bombini                            Douglas & London           7:20-cv-72042-MCR-GRJ
   5087      107839   Carlos Bonaparte                        Douglas & London           7:20-cv-72044-MCR-GRJ
   5088      107851   Jason Boone                             Douglas & London           7:20-cv-72084-MCR-GRJ
   5089      107852   Jon Boone                               Douglas & London           7:20-cv-72088-MCR-GRJ
   5090      107853   Robert Booth                            Douglas & London           7:20-cv-72092-MCR-GRJ
   5091      107863   Steven Borelli                          Douglas & London           7:20-cv-72126-MCR-GRJ
   5092      107867   Cory Borutta                            Douglas & London           7:20-cv-72140-MCR-GRJ
   5093      107873   Donald Boston                           Douglas & London                                      7:20-cv-72162-MCR-GRJ
   5094      107877   Ronald Boudreaux                        Douglas & London           7:20-cv-72176-MCR-GRJ
   5095      107882   Derek Bourque                           Douglas & London           7:20-cv-72200-MCR-GRJ
   5096      107898   Todd Bowers                             Douglas & London                                      7:20-cv-72269-MCR-GRJ
   5097      107900   Timothy Bowling                         Douglas & London                                      7:20-cv-72279-MCR-GRJ
   5098      107907   James Bowyer                            Douglas & London           7:20-cv-72313-MCR-GRJ
   5099      107909   Calvin Boyce                            Douglas & London           7:20-cv-72322-MCR-GRJ
   5100      107910   Christopher Boyd                        Douglas & London           7:20-cv-72327-MCR-GRJ
   5101      107911   James Boyd                              Douglas & London           7:20-cv-72332-MCR-GRJ
   5102      107915   John Boyd                               Douglas & London                                      7:20-cv-72345-MCR-GRJ
   5103      107921   Edward Bozeman                          Douglas & London           7:20-cv-72375-MCR-GRJ
   5104      107925   Chad Bradbeer                           Douglas & London           7:20-cv-72388-MCR-GRJ
   5105      107928   Eric Bradfield                          Douglas & London           7:20-cv-72401-MCR-GRJ
   5106      107935   Cameron Bradshaw                        Douglas & London                                      7:20-cv-72427-MCR-GRJ
   5107      107936   Don Bradshaw                            Douglas & London           7:20-cv-72432-MCR-GRJ
   5108      107940   Dorothy Bragg                           Douglas & London           7:20-cv-72443-MCR-GRJ
   5109      107942   Michael Braman                          Douglas & London           7:20-cv-72450-MCR-GRJ
   5110      107946   Daniel Branch                           Douglas & London                                      7:20-cv-72465-MCR-GRJ




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   5113      107971   Kurt Brenneman                          Douglas & London                                      7:20-cv-72540-MCR-GRJ
   5114      107977   Andrew Brian                            Douglas & London                                      7:20-cv-72556-MCR-GRJ
   5115      107978   James Briceland                         Douglas & London           7:20-cv-72559-MCR-GRJ
   5116      107991   Charles Briseno                         Douglas & London           7:20-cv-72597-MCR-GRJ
   5117      107992   Matthew Brissette                       Douglas & London           7:20-cv-72599-MCR-GRJ
   5118      108000   Justin Brock                            Douglas & London                                      7:20-cv-72621-MCR-GRJ
   5119      108007   Fronche Brooks                          Douglas & London           7:20-cv-72649-MCR-GRJ
   5120      108014   Michael Brooks                          Douglas & London                                      7:20-cv-26159-MCR-GRJ
   5121      108020   Bryan Brovont                           Douglas & London                                      7:20-cv-72681-MCR-GRJ
   5122      108021   Kevin Browder                           Douglas & London                                      7:20-cv-72684-MCR-GRJ
   5123      108022   Aaron Brown                             Douglas & London                                      7:20-cv-72688-MCR-GRJ
   5124      108024   Ben Brown                               Douglas & London           7:20-cv-72693-MCR-GRJ
   5125      108027   Casey Brown                             Douglas & London           7:20-cv-72700-MCR-GRJ
   5126      108037   Jeremy Brown                            Douglas & London           7:20-cv-72716-MCR-GRJ
   5127      108046   Robert Brown                            Douglas & London           7:20-cv-72733-MCR-GRJ
   5128      108047   Steve Brown                             Douglas & London           7:20-cv-72735-MCR-GRJ
   5129      108067   Brandon Brown                           Douglas & London           7:20-cv-72754-MCR-GRJ
   5130      108070   Joseph Brown                            Douglas & London           7:20-cv-72757-MCR-GRJ
   5131      108074   Quinton Brubaker                        Douglas & London           7:20-cv-72761-MCR-GRJ
   5132      108091   Tracey Bryant                           Douglas & London           7:20-cv-72775-MCR-GRJ
   5133      108096   Timothy Buchanan                        Douglas & London           7:20-cv-72780-MCR-GRJ
   5134      108102   Mike Buckingham                         Douglas & London           7:20-cv-72175-MCR-GRJ
   5135      108114   Josef Bullard                           Douglas & London           7:20-cv-72231-MCR-GRJ
   5136      108115   Morgan Bullard                          Douglas & London           7:20-cv-72234-MCR-GRJ
   5137      108117   Alan Bullis                             Douglas & London           7:20-cv-72244-MCR-GRJ
   5138      108118   Woody Bullock                           Douglas & London           7:20-cv-72249-MCR-GRJ
   5139      108119   Jacob Bunch                             Douglas & London           7:20-cv-72252-MCR-GRJ
   5140      108131   Rickey Burgess                          Douglas & London           7:20-cv-72303-MCR-GRJ
   5141      108137   Jeffrey Burkett                         Douglas & London           7:20-cv-72329-MCR-GRJ
   5142      108140   Clint Burleson                          Douglas & London                                      7:20-cv-72344-MCR-GRJ
   5143      108142   Christopher Burnett                     Douglas & London           7:20-cv-72353-MCR-GRJ
   5144      108143   Sterling Burnett                        Douglas & London           7:20-cv-72358-MCR-GRJ
   5145      108148   Michael Burns                           Douglas & London                                      7:20-cv-72381-MCR-GRJ
   5146      108152   Joshua Burns                            Douglas & London                                      7:20-cv-72399-MCR-GRJ
   5147      108156   Andrew Burns                            Douglas & London           7:20-cv-72414-MCR-GRJ
   5148      108175   Webb Bussell                            Douglas & London           7:20-cv-72481-MCR-GRJ
   5149      108186   Barry Buttrum                           Douglas & London           7:20-cv-72512-MCR-GRJ
   5150      108195   Joshua Byram                            Douglas & London           7:20-cv-72536-MCR-GRJ
   5151      108201   Mariya Cables                           Douglas & London                                      7:20-cv-72552-MCR-GRJ
   5152      108205   Guy Cacace                              Douglas & London           7:20-cv-72563-MCR-GRJ
   5153      108208   Jose Cadena                             Douglas & London           7:20-cv-72572-MCR-GRJ
   5154      108209   Houston Cadette                         Douglas & London                                      7:20-cv-72574-MCR-GRJ
   5155      108219   James Callagher                         Douglas & London           7:20-cv-72598-MCR-GRJ
   5156      108223   John Callaway                           Douglas & London                                      7:20-cv-72608-MCR-GRJ
   5157      108225   Corey Callender                         Douglas & London                                      7:20-cv-72614-MCR-GRJ
   5158      108235   James Camp                              Douglas & London           7:20-cv-72646-MCR-GRJ
   5159      108240   Logan Campbell                          Douglas & London                                      7:20-cv-72663-MCR-GRJ
   5160      108248   Alphonzo Campbell                       Douglas & London           7:20-cv-72685-MCR-GRJ
   5161      108251   Ramiro Campozano                        Douglas & London           7:20-cv-72692-MCR-GRJ
   5162      108252   Juan Campuzano                          Douglas & London                                      7:20-cv-72695-MCR-GRJ
   5163      108257   Cody Cano                               Douglas & London           7:20-cv-72806-MCR-GRJ
   5164      108263   Josh Cantrell                           Douglas & London           7:20-cv-72812-MCR-GRJ
   5165      108272   Michael Cardenas                        Douglas & London           7:20-cv-72820-MCR-GRJ
   5166      108292   Scott Carpenter                         Douglas & London           7:20-cv-72843-MCR-GRJ
   5167      108295   David Carr                              Douglas & London                                      7:20-cv-72848-MCR-GRJ
   5168      108299   Richard Carr                            Douglas & London                                      3:19-cv-03361-MCR-GRJ
   5169      108300   Wade Carr                               Douglas & London           7:20-cv-72852-MCR-GRJ
   5170      108307   Donovan Carroll                         Douglas & London                                      7:20-cv-72862-MCR-GRJ
   5171      108308   John Carroll                            Douglas & London                                      7:20-cv-72864-MCR-GRJ
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   5173      108324   Verno Carter                            Douglas & London           7:20-cv-72905-MCR-GRJ
   5174      108330   Tyler Caruthers                         Douglas & London           7:20-cv-72925-MCR-GRJ
   5175      108352   Victor Castano                          Douglas & London                                      7:20-cv-73006-MCR-GRJ
   5176      108356   Cesar Castillo                          Douglas & London                                      7:20-cv-73022-MCR-GRJ
   5177      108359   Joshua Castillo                         Douglas & London                                      7:20-cv-73033-MCR-GRJ
   5178      108360   Michael Castillo                        Douglas & London                                      7:20-cv-73037-MCR-GRJ
   5179      108363   Christopher Caston                      Douglas & London                                      7:20-cv-73049-MCR-GRJ
   5180      108364   Guillermo Castoreno                     Douglas & London           7:20-cv-73052-MCR-GRJ
   5181      108367   Antonio Catalan                         Douglas & London                                      7:20-cv-73064-MCR-GRJ
   5182      108371   Clifford Cates                          Douglas & London           7:20-cv-73079-MCR-GRJ
   5183      108373   Justin Causey                           Douglas & London                                      7:20-cv-73087-MCR-GRJ




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   5185      108380   Zachary Ceballos                        Douglas & London           7:20-cv-73115-MCR-GRJ
   5186      108386   Nicholas Cessna                         Douglas & London           7:20-cv-73138-MCR-GRJ
   5187      108398   Michael Chamberlain                     Douglas & London           7:20-cv-73179-MCR-GRJ
   5188      108409   Kevin Chandler                          Douglas & London           7:20-cv-73222-MCR-GRJ
   5189      108410   Samantha Chandler                       Douglas & London           7:20-cv-73225-MCR-GRJ
   5190      108420   Andrew Charpentier                      Douglas & London           7:20-cv-73265-MCR-GRJ
   5191      108423   Sam Charwood                            Douglas & London                                      7:20-cv-73281-MCR-GRJ
   5192      108424   Elizabeth Chase                         Douglas & London           7:20-cv-73285-MCR-GRJ
   5193      108426   David Chassaing                         Douglas & London           7:20-cv-73295-MCR-GRJ
   5194      108433   Cody Chavez                             Douglas & London           7:20-cv-73330-MCR-GRJ
   5195      108444   Marc Cheuvront                          Douglas & London                                      7:20-cv-73378-MCR-GRJ
   5196      108449   Gerry Chism                             Douglas & London           7:20-cv-73403-MCR-GRJ
   5197      108467   William Christmas                       Douglas & London           7:20-cv-73482-MCR-GRJ
   5198      108468   Kevin Christoffersen                    Douglas & London                                      7:20-cv-73487-MCR-GRJ
   5199      108470   Braiden Christy                         Douglas & London           7:20-cv-73494-MCR-GRJ
   5200      108475   Phillip Ciesla                          Douglas & London           7:20-cv-73506-MCR-GRJ
   5201      108476   Jason Cintron                           Douglas & London           7:20-cv-73510-MCR-GRJ
   5202      108482   Ryan Clancy                             Douglas & London           7:20-cv-73535-MCR-GRJ
   5203      108484   Adam Clark                              Douglas & London                                      7:20-cv-73542-MCR-GRJ
   5204      108486   Bryon Clark                             Douglas & London           7:20-cv-73550-MCR-GRJ
   5205      108490   John Clark                              Douglas & London           7:20-cv-26162-MCR-GRJ
   5206      108498   Joshua Clark                            Douglas & London           7:20-cv-73593-MCR-GRJ
   5207      108501   Albert Clarke                           Douglas & London                                      7:20-cv-73604-MCR-GRJ
   5208      108506   Brock Claussen                          Douglas & London           7:20-cv-73614-MCR-GRJ
   5209      108521   Nicholas Clevenger                      Douglas & London           7:20-cv-73654-MCR-GRJ
   5210      108529   Zachary Clowers                         Douglas & London           7:20-cv-73672-MCR-GRJ
   5211      108530   Jason Clutter                           Douglas & London           7:20-cv-73675-MCR-GRJ
   5212      108532   John Coats                              Douglas & London           7:20-cv-73677-MCR-GRJ
   5213      108536   Paul Cobo                               Douglas & London           7:20-cv-73687-MCR-GRJ
   5214      108539   Matt Coburn                             Douglas & London           7:20-cv-73697-MCR-GRJ
   5215      108545   Steven Cochran                          Douglas & London           7:20-cv-73716-MCR-GRJ
   5216      108560   Cory Cole                               Douglas & London           7:20-cv-73789-MCR-GRJ
   5217      108561   Don Cole                                Douglas & London                                      7:20-cv-73793-MCR-GRJ
   5218      108576   John Coley                              Douglas & London                                      7:20-cv-72892-MCR-GRJ
   5219      108604   Derrick Compton                         Douglas & London                                      7:20-cv-72978-MCR-GRJ
   5220      108605   Jeremy Comrie                           Douglas & London                                      7:20-cv-72980-MCR-GRJ
   5221      108606   Neil Conant                             Douglas & London           7:20-cv-72984-MCR-GRJ
   5222      108612   David Conklin                           Douglas & London                                      7:20-cv-73007-MCR-GRJ
   5223      108615   Lesley Conn                             Douglas & London                                      7:20-cv-73017-MCR-GRJ
   5224      108620   Nicholaus Connole                       Douglas & London                                      7:20-cv-73036-MCR-GRJ
   5225      108621   Robert Connor                           Douglas & London                                      7:20-cv-73040-MCR-GRJ
   5226      108636   Mathew Cook                             Douglas & London                                      7:20-cv-73088-MCR-GRJ
   5227      108637   Nicholas Cook                           Douglas & London           7:20-cv-73092-MCR-GRJ
   5228      108640   Terry Cook                              Douglas & London           7:20-cv-73103-MCR-GRJ
   5229      108642   Christopher Cook                        Douglas & London                                      7:20-cv-73109-MCR-GRJ
   5230      108644   Marcus Cook                             Douglas & London           7:20-cv-73117-MCR-GRJ
   5231      108655   Jesse Coons                             Douglas & London           7:20-cv-73155-MCR-GRJ
   5232      108657   Aaron Cooper                            Douglas & London           7:20-cv-73162-MCR-GRJ
   5233      108663   Timothy Cooper                          Douglas & London           7:20-cv-73184-MCR-GRJ
   5234      108664   Philip Cooper                           Douglas & London           7:20-cv-73188-MCR-GRJ
   5235      108665   Donald Cooper                           Douglas & London           7:20-cv-73192-MCR-GRJ
   5236      108667   Johnny Cope                             Douglas & London           7:20-cv-73199-MCR-GRJ
   5237      108676   Stephen Corey                           Douglas & London           7:20-cv-73228-MCR-GRJ
   5238      108686   Ryan Cornette                           Douglas & London                                      7:20-cv-73267-MCR-GRJ
   5239      108688   Gary Cornwell                           Douglas & London           7:20-cv-73276-MCR-GRJ
   5240      108701   Stephen Cotta                           Douglas & London                                      7:20-cv-73337-MCR-GRJ
   5241      108703   Ervin Cottingham                        Douglas & London           7:20-cv-73348-MCR-GRJ
   5242      108715   Adam Courtwright                        Douglas & London                                      7:20-cv-73405-MCR-GRJ
   5243      108718   David Covarrubias                       Douglas & London           7:20-cv-73419-MCR-GRJ
   5244      108721   Christopher Covington                   Douglas & London           7:20-cv-73433-MCR-GRJ
   5245      108737   Rory Cox                                Douglas & London           7:20-cv-73273-MCR-GRJ
   5246      108760   Josh Crawford                           Douglas & London           7:20-cv-73364-MCR-GRJ
   5247      108763   Michael Crawford                        Douglas & London           7:20-cv-73379-MCR-GRJ
   5248      108766   Felicia Crawford                        Douglas & London           7:20-cv-73392-MCR-GRJ
   5249      108767   Jerry Crawley                           Douglas & London           7:20-cv-73397-MCR-GRJ
   5250      108778   Joseph Criss                            Douglas & London           7:20-cv-73434-MCR-GRJ
   5251      108784   Tesia Cronk                             Douglas & London                                      7:20-cv-73453-MCR-GRJ
   5252      108796   Cory Cruise                             Douglas & London           7:20-cv-73497-MCR-GRJ
   5253      108801   Andrew Cruz                             Douglas & London           7:20-cv-73513-MCR-GRJ
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   5255      108816   Eric Culotta                            Douglas & London           7:20-cv-73564-MCR-GRJ
   5256      108827   Willie Cummings                         Douglas & London           7:20-cv-73602-MCR-GRJ




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   5259      108843   Roderick Curney                         Douglas & London           7:20-cv-73642-MCR-GRJ
   5260      108853   Adam Curtis                             Douglas & London           7:20-cv-73668-MCR-GRJ
   5261      108855   Leo Curtis                              Douglas & London           7:20-cv-73673-MCR-GRJ
   5262      108857   James Custer                            Douglas & London           7:20-cv-73679-MCR-GRJ
   5263      108860   Joseph Czapla                           Douglas & London           7:20-cv-73684-MCR-GRJ
   5264      108864   Jeremiah Dagit                          Douglas & London           7:20-cv-73695-MCR-GRJ
   5265      108865   Ryan Dahl                               Douglas & London                                      7:20-cv-73699-MCR-GRJ
   5266      108875   George Dalrymple                        Douglas & London           7:20-cv-73731-MCR-GRJ
   5267      108878   Michael Dalton                          Douglas & London           7:20-cv-73744-MCR-GRJ
   5268      108889   Ricky Daniel                            Douglas & London           7:20-cv-73786-MCR-GRJ
   5269      108892   Dennis Daniel                           Douglas & London           7:20-cv-73794-MCR-GRJ
   5270      108897   Charles Danna                           Douglas & London           7:20-cv-73814-MCR-GRJ
   5271      108903   Andy Dassow                             Douglas & London                                      7:20-cv-76708-MCR-GRJ
   5272      108909   Joseph Davey                            Douglas & London           7:20-cv-76724-MCR-GRJ
   5273      108914   Mark Davidson                           Douglas & London           7:20-cv-26171-MCR-GRJ
   5274      108920   Eduardo Davila                          Douglas & London           7:20-cv-76751-MCR-GRJ
   5275      108923   Andrew Davis                            Douglas & London                                      7:20-cv-76756-MCR-GRJ
   5276      108927   Clayton Davis                           Douglas & London           7:20-cv-76766-MCR-GRJ
   5277      108930   Devin Davis                             Douglas & London           7:20-cv-76775-MCR-GRJ
   5278      108932   John Davis                              Douglas & London                                      7:20-cv-76779-MCR-GRJ
   5279      108936   Kurt Davis                              Douglas & London                                      7:20-cv-76791-MCR-GRJ
   5280      108946   Winfred Davis                           Douglas & London           7:20-cv-76811-MCR-GRJ
   5281      108965   Thomas Davis                            Douglas & London           7:20-cv-76860-MCR-GRJ
   5282      108967   James Davis                             Douglas & London           7:20-cv-76866-MCR-GRJ
   5283      108968   Coelem Davis                            Douglas & London                                      7:20-cv-76870-MCR-GRJ
   5284      108973   Bennie Day                              Douglas & London           7:20-cv-76881-MCR-GRJ
   5285      108976   Kevin Day                               Douglas & London           7:20-cv-76887-MCR-GRJ
   5286      108978   Kenny Day                               Douglas & London           7:20-cv-76889-MCR-GRJ
   5287      108987   Nicholas Dean                           Douglas & London                                      7:20-cv-76908-MCR-GRJ
   5288      108996   Dakota Deck                             Douglas & London                                      7:20-cv-76926-MCR-GRJ
   5289      108998   Joshua Decker                           Douglas & London           7:20-cv-76931-MCR-GRJ
   5290      109011   John Dehaan                             Douglas & London                                      7:20-cv-76967-MCR-GRJ
   5291      109020   Marcus Delaney                          Douglas & London           7:20-cv-76993-MCR-GRJ
   5292      109037   Andrew Demarest                         Douglas & London           7:20-cv-77040-MCR-GRJ
   5293      109040   Thomas Denham                           Douglas & London           7:20-cv-77046-MCR-GRJ
   5294      109043   James Denmon                            Douglas & London           7:20-cv-77056-MCR-GRJ
   5295      109045   Lucas Denney                            Douglas & London                                      7:20-cv-77062-MCR-GRJ
   5296      109047   Adam Dennis                             Douglas & London           7:20-cv-77067-MCR-GRJ
   5297      109049   Chad Dennison                           Douglas & London                                      7:20-cv-77073-MCR-GRJ
   5298      109060   Joshua Derose                           Douglas & London           7:20-cv-77101-MCR-GRJ
   5299      109078   Adam Deweerd                            Douglas & London                                      7:20-cv-77134-MCR-GRJ
   5300      109081   Clifford Dewitt                         Douglas & London           7:20-cv-77141-MCR-GRJ
   5301      109089   Eric Diaz                               Douglas & London           7:20-cv-77157-MCR-GRJ
   5302      109097   William Dickerson                       Douglas & London           7:20-cv-77172-MCR-GRJ
   5303      109116   Anastasia Dillon-Hughes                 Douglas & London           7:20-cv-77213-MCR-GRJ
   5304      109123   Richard Dinnan                          Douglas & London                                      7:20-cv-77225-MCR-GRJ
   5305      109131   David Dittman                           Douglas & London           7:20-cv-77242-MCR-GRJ
   5306      109134   David Dixon                             Douglas & London                                      7:20-cv-77249-MCR-GRJ
   5307      109138   Jacob Dixon                             Douglas & London                                      7:20-cv-77257-MCR-GRJ
   5308      109143   Derrick Doan                            Douglas & London           7:20-cv-77268-MCR-GRJ
   5309      109150   Aaron Dobson                            Douglas & London                                      7:20-cv-77282-MCR-GRJ
   5310      109172   Martin Donohue                          Douglas & London           7:20-cv-77325-MCR-GRJ
   5311      109179   Eddie Dorman                            Douglas & London           7:20-cv-77340-MCR-GRJ
   5312      109184   Tyler Dosch                             Douglas & London           7:20-cv-77350-MCR-GRJ
   5313      109188   Christopher Dotson                      Douglas & London           7:20-cv-77358-MCR-GRJ
   5314      109209   Adam Dozier                             Douglas & London           7:20-cv-77392-MCR-GRJ
   5315      109229   Karl Dubbelde                           Douglas & London                                      7:20-cv-77409-MCR-GRJ
   5316      109235   Ryan Duffy                              Douglas & London           7:20-cv-77415-MCR-GRJ
   5317      109246   Daniel Duncan                           Douglas & London           7:20-cv-77426-MCR-GRJ
   5318      109253   Kevin Dunham                            Douglas & London                                      7:20-cv-77431-MCR-GRJ
   5319      109259   Whitney Dunlap                          Douglas & London           7:20-cv-77436-MCR-GRJ
   5320      109270   Scott Dunn                              Douglas & London           7:20-cv-77447-MCR-GRJ
   5321      109276   Darrell Dupas                           Douglas & London           7:20-cv-77453-MCR-GRJ
   5322      109287   Darin Duttenhefer                       Douglas & London           7:20-cv-77462-MCR-GRJ
   5323      109289   Andre Dyer                              Douglas & London                                      7:20-cv-77464-MCR-GRJ
   5324      109290   Matthew Dyer                            Douglas & London           7:20-cv-77465-MCR-GRJ
   5325      109306   Michael Eastman                         Douglas & London           7:20-cv-77480-MCR-GRJ
   5326      109311   David Eaton                             Douglas & London           7:20-cv-77485-MCR-GRJ
   5327      109319   Daniel Eddy                             Douglas & London           7:20-cv-77493-MCR-GRJ
   5328      109320   Evan Edens                              Douglas & London                                      7:20-cv-77494-MCR-GRJ
   5329      109322   Ronnie Edging                           Douglas & London           7:20-cv-77496-MCR-GRJ




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   5330      109338   Billy Edwards                           Douglas & London           7:20-cv-77511-MCR-GRJ
   5331      109344   Patrick Eggert                          Douglas & London           7:20-cv-77517-MCR-GRJ
   5332      109370   David Ellis                             Douglas & London           7:20-cv-77541-MCR-GRJ
   5333      109377   Parker Ellman                           Douglas & London           7:20-cv-77548-MCR-GRJ
   5334      109382   Damon Embry                             Douglas & London                                      7:20-cv-77553-MCR-GRJ
   5335      109384   Garrett Emery                           Douglas & London                                      7:20-cv-77555-MCR-GRJ
   5336      109393   John England                            Douglas & London           7:20-cv-77564-MCR-GRJ
   5337      109394   Kevin Engle                             Douglas & London           7:20-cv-77565-MCR-GRJ
   5338      109402   William Erb                             Douglas & London           7:20-cv-77571-MCR-GRJ
   5339      109408   Daniel Erwin                            Douglas & London           7:20-cv-77577-MCR-GRJ
   5340      109420   Joseph Espurvoa                         Douglas & London           7:20-cv-77588-MCR-GRJ
   5341      109434   Cooper Evans                            Douglas & London           7:20-cv-79482-MCR-GRJ
   5342      109441   Tom Evans                               Douglas & London           7:20-cv-79489-MCR-GRJ
   5343      109450   Daniel Ewing                            Douglas & London                                      7:20-cv-79497-MCR-GRJ
   5344      109455   Dandrick Faison                         Douglas & London           7:20-cv-79502-MCR-GRJ
   5345      109465   Gary Fanning                            Douglas & London                                      7:20-cv-79512-MCR-GRJ
   5346      109474   Terry Farrar                            Douglas & London           7:20-cv-79520-MCR-GRJ
   5347      109478   Richard Farrer                          Douglas & London                                      7:20-cv-79523-MCR-GRJ
   5348      109479   Robert Farris                           Douglas & London           7:20-cv-79524-MCR-GRJ
   5349      109490   Kevin Feak                              Douglas & London           7:20-cv-79534-MCR-GRJ
   5350      109493   Kenneth Feeney                          Douglas & London           7:20-cv-79537-MCR-GRJ
   5351      109494   Beau Feerick                            Douglas & London           7:20-cv-79538-MCR-GRJ
   5352      109498   William Feltner                         Douglas & London           7:20-cv-79542-MCR-GRJ
   5353      109509   Randy Feris                             Douglas & London                                      7:20-cv-79552-MCR-GRJ
   5354      109522   Jonathan Fetters                        Douglas & London           7:20-cv-79565-MCR-GRJ
   5355      109534   Gregory File                            Douglas & London           7:20-cv-79576-MCR-GRJ
   5356      109535   Brett Fincanon                          Douglas & London                                      7:20-cv-79577-MCR-GRJ
   5357      109557   Jason Fisher                            Douglas & London                                      7:20-cv-79599-MCR-GRJ
   5358      109559   Thomas Fisher                           Douglas & London                                      7:20-cv-79601-MCR-GRJ
   5359      109560   Blake Fisher                            Douglas & London           7:20-cv-79602-MCR-GRJ
   5360      109569   Shawn Fleegel                           Douglas & London                                      7:20-cv-79610-MCR-GRJ
   5361      109571   Heath Fleming                           Douglas & London           7:20-cv-79612-MCR-GRJ
   5362      109575   Ryan Fleming                            Douglas & London           7:20-cv-79616-MCR-GRJ
   5363      109577   Cody Fletcher                           Douglas & London                                      7:20-cv-79618-MCR-GRJ
   5364      109579   Stephen Flodeen                         Douglas & London           7:20-cv-79620-MCR-GRJ
   5365      109591   Patrick Flynn                           Douglas & London                                      7:20-cv-79632-MCR-GRJ
   5366      109592   Shannon Flynn                           Douglas & London           7:20-cv-79633-MCR-GRJ
   5367      109598   Vincent Fontana                         Douglas & London           7:20-cv-79638-MCR-GRJ
   5368      109600   Eric Forbes                             Douglas & London                                      7:20-cv-79640-MCR-GRJ
   5369      109603   Joseph Ford                             Douglas & London           7:20-cv-79643-MCR-GRJ
   5370      109629   Levi Fosto                              Douglas & London                                      7:20-cv-79668-MCR-GRJ
   5371      109633   Colton Fouts                            Douglas & London           7:20-cv-79672-MCR-GRJ
   5372      109636   Ryan Fowler                             Douglas & London           7:20-cv-79675-MCR-GRJ
   5373      109639   Jason Fox                               Douglas & London                                      7:20-cv-79678-MCR-GRJ
   5374      109641   John Frames                             Douglas & London                                      7:20-cv-79680-MCR-GRJ
   5375      109662   Warren Frazier                          Douglas & London           7:20-cv-79700-MCR-GRJ
   5376      109679   Geremiah French                         Douglas & London           7:20-cv-79716-MCR-GRJ
   5377      109690   John Frisby                             Douglas & London           7:20-cv-79726-MCR-GRJ
   5378      109692   Joshua Fritz                            Douglas & London           7:20-cv-79728-MCR-GRJ
   5379      109694   Ryan Frodge                             Douglas & London           7:20-cv-79730-MCR-GRJ
   5380      109700   Felix Fuentes                           Douglas & London           7:20-cv-79736-MCR-GRJ
   5381      109707   Richard Fuller                          Douglas & London           7:20-cv-79743-MCR-GRJ
   5382      109718   Andrew Fyke                             Douglas & London           7:20-cv-79754-MCR-GRJ
   5383      109721   Steven Gadbois                          Douglas & London           7:20-cv-79757-MCR-GRJ
   5384      109722   Jeannate Gadson                         Douglas & London           7:20-cv-79758-MCR-GRJ
   5385      109723   Matthew Gaff                            Douglas & London           7:20-cv-79759-MCR-GRJ
   5386      109725   James Gagnon                            Douglas & London           7:20-cv-79761-MCR-GRJ
   5387      109743   Jesse Galloway                          Douglas & London           7:20-cv-79778-MCR-GRJ
   5388      109749   Miguel Galvan                           Douglas & London                                      7:20-cv-79782-MCR-GRJ
   5389      109751   Robert Gambrell                         Douglas & London           7:20-cv-79784-MCR-GRJ
   5390      109774   Ronnie Garcia                           Douglas & London           7:20-cv-79807-MCR-GRJ
   5391      109778   Daniel Garcia                           Douglas & London                                      7:20-cv-79810-MCR-GRJ
   5392      109791   James Garner                            Douglas & London                                      7:20-cv-79821-MCR-GRJ
   5393      109792   David Garner                            Douglas & London           7:20-cv-79822-MCR-GRJ
   5394      109796   Richard Garrett                         Douglas & London           7:20-cv-79824-MCR-GRJ
   5395      109807   Jason Gaskill                           Douglas & London                                      7:20-cv-79835-MCR-GRJ
   5396      109814   Anthony Gass                            Douglas & London                                      7:20-cv-79842-MCR-GRJ
   5397      109815   Kyle Gates                              Douglas & London           7:20-cv-79843-MCR-GRJ
   5398      109817   John Gatz                               Douglas & London           7:20-cv-79845-MCR-GRJ
   5399      109825   Lonnie Gearlds                          Douglas & London           7:20-cv-79852-MCR-GRJ
   5400      109830   Lynn Geiser                             Douglas & London           7:20-cv-79857-MCR-GRJ
   5401      109837   Herman George                           Douglas & London           7:20-cv-79863-MCR-GRJ
   5402      109842   Paul Geren                              Douglas & London           7:20-cv-79868-MCR-GRJ




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   5403      109865   Greg Gieske                             Douglas & London           7:20-cv-79891-MCR-GRJ
   5404      109866   John Giffin                             Douglas & London           7:20-cv-79892-MCR-GRJ
   5405      109876   James Gill                              Douglas & London           7:20-cv-79901-MCR-GRJ
   5406      109880   Joseph Gilliland                        Douglas & London           7:20-cv-79905-MCR-GRJ
   5407      109884   Thomas Gilmore                          Douglas & London           7:20-cv-79909-MCR-GRJ
   5408      109885   Nathen Gilmore                          Douglas & London                                      7:20-cv-79910-MCR-GRJ
   5409      109891   Joseph Gipson                           Douglas & London                                      7:20-cv-79915-MCR-GRJ
   5410      109902   Joshua Glaude                           Douglas & London           7:20-cv-79926-MCR-GRJ
   5411      109909   Steven Gliddon                          Douglas & London           7:20-cv-79932-MCR-GRJ
   5412      109912   Andrew Glover                           Douglas & London           7:20-cv-79935-MCR-GRJ
   5413      109932   Lakeitha Golden                         Douglas & London           7:20-cv-79955-MCR-GRJ
   5414      109939   Leonard Goldsmith                       Douglas & London                                      7:20-cv-79962-MCR-GRJ
   5415      109947   Nate Gomez                              Douglas & London           7:20-cv-79969-MCR-GRJ
   5416      109948   Arnaldo Gomez                           Douglas & London           7:20-cv-79970-MCR-GRJ
   5417      109950   Alfredo Gomez                           Douglas & London           7:20-cv-79972-MCR-GRJ
   5418      109955   Abraham Gonzales                        Douglas & London           7:20-cv-73721-MCR-GRJ
   5419      109957   Luis Gonzales                           Douglas & London           7:20-cv-73730-MCR-GRJ
   5420      109958   Nicholas Gonzales                       Douglas & London           7:20-cv-73735-MCR-GRJ
   5421      109983   Richard Gooding                         Douglas & London           7:20-cv-73836-MCR-GRJ
   5422      109985   John Goodman                            Douglas & London                                      7:20-cv-73841-MCR-GRJ
   5423      109996   Charles Goolsby                         Douglas & London           7:20-cv-73860-MCR-GRJ
   5424      109997   Derek Goolsby                           Douglas & London                                      7:20-cv-73862-MCR-GRJ
   5425      110003   Anthony Gorham                          Douglas & London           7:20-cv-73874-MCR-GRJ
   5426      110013   Talon Gotowala                          Douglas & London           7:20-cv-73896-MCR-GRJ
   5427      110015   Robert Gottfried                        Douglas & London                                      7:20-cv-73900-MCR-GRJ
   5428      110017   Carey Gouker                            Douglas & London           7:20-cv-73904-MCR-GRJ
   5429      110024   Coty Gradney                            Douglas & London           7:20-cv-73918-MCR-GRJ
   5430      110030   Mikayla Graham                          Douglas & London           7:20-cv-73928-MCR-GRJ
   5431      110031   Patrick Graham                          Douglas & London           7:20-cv-73930-MCR-GRJ
   5432      110032   Sean Graham                             Douglas & London           7:20-cv-73932-MCR-GRJ
   5433      110039   Michael Granara                         Douglas & London           7:20-cv-73945-MCR-GRJ
   5434      110041   Craig Granstrom                         Douglas & London           7:20-cv-73949-MCR-GRJ
   5435      110047   Derek Graves                            Douglas & London                                      7:20-cv-73959-MCR-GRJ
   5436      110049   Anthony Gray                            Douglas & London           7:20-cv-73963-MCR-GRJ
   5437      110053   Chad Gray                               Douglas & London           7:20-cv-73969-MCR-GRJ
   5438      110056   Michael Gray                            Douglas & London           7:20-cv-73975-MCR-GRJ
   5439      110057   Paul Gray                               Douglas & London           7:20-cv-73976-MCR-GRJ
   5440      110060   Alyssa Green                            Douglas & London           7:20-cv-73979-MCR-GRJ
   5441      110061   Cliffton Green                          Douglas & London           7:20-cv-73980-MCR-GRJ
   5442      110062   David Green                             Douglas & London                                      7:20-cv-73981-MCR-GRJ
   5443      110065   John Green                              Douglas & London           7:20-cv-73984-MCR-GRJ
   5444      110071   Timothy Green                           Douglas & London           7:20-cv-73990-MCR-GRJ
   5445      110072   Robert Green                            Douglas & London                                      7:20-cv-73991-MCR-GRJ
   5446      110073   Jonathan Greene                         Douglas & London                                      7:20-cv-73992-MCR-GRJ
   5447      110075   Kowonno Greene                          Douglas & London                                      7:20-cv-73993-MCR-GRJ
   5448      110079   Robert Greenlaw-Moore                   Douglas & London           7:20-cv-73997-MCR-GRJ
   5449      110087   Travis Gregory                          Douglas & London                                      7:20-cv-74004-MCR-GRJ
   5450      110098   Tyler Griffin                           Douglas & London           7:20-cv-74015-MCR-GRJ
   5451      110115   John Grombacher                         Douglas & London           7:20-cv-74032-MCR-GRJ
   5452      110120   Erik Gross                              Douglas & London           7:20-cv-74036-MCR-GRJ
   5453      110128   John Grundman                           Douglas & London           7:20-cv-74042-MCR-GRJ
   5454      110129   Jason Grundy                            Douglas & London                                      7:20-cv-74043-MCR-GRJ
   5455      110134   Kurt Gudenkauf                          Douglas & London           7:20-cv-74048-MCR-GRJ
   5456      110146   Steven Guillory                         Douglas & London                                      7:20-cv-74059-MCR-GRJ
   5457      110148   David Gulasa                            Douglas & London                                      7:20-cv-74061-MCR-GRJ
   5458      110151   Paul Gumas                              Douglas & London           7:20-cv-74064-MCR-GRJ
   5459      110161   Andrew Gush                             Douglas & London           7:20-cv-74073-MCR-GRJ
   5460      110162   Mitchell Gustavsen                      Douglas & London           7:20-cv-74074-MCR-GRJ
   5461      110168   Vidal Gutierrez                         Douglas & London                                      7:20-cv-74078-MCR-GRJ
   5462      110175   Jonathan Guzman                         Douglas & London           7:20-cv-00073-MCR-GRJ
   5463      110181   Clay Haan                               Douglas & London           7:20-cv-74090-MCR-GRJ
   5464      110184   Michael Hadden                          Douglas & London                                      7:20-cv-74093-MCR-GRJ
   5465      110199   Kenneth Hailey                          Douglas & London                                      7:20-cv-26191-MCR-GRJ
   5466      110201   Bryant Hairston                         Douglas & London           7:20-cv-74109-MCR-GRJ
   5467      110209   Frederick Hall                          Douglas & London                                      7:20-cv-74117-MCR-GRJ
   5468      110219   John Hall                               Douglas & London           7:20-cv-74127-MCR-GRJ
   5469      110221   David Hall                              Douglas & London           7:20-cv-74129-MCR-GRJ
   5470      110233   Horace Hamilton                         Douglas & London           7:20-cv-74217-MCR-GRJ
   5471      110234   Jonathan Hamm                           Douglas & London                                      7:20-cv-74219-MCR-GRJ
   5472      110243   Eddie Hammond                           Douglas & London           7:20-cv-74237-MCR-GRJ
   5473      110251   Donald Hamor                            Douglas & London           7:20-cv-74250-MCR-GRJ
   5474      110262   Caleb Hansen                            Douglas & London           7:20-cv-74268-MCR-GRJ
   5475      110269   Zachary Hansen                          Douglas & London                                      7:20-cv-74282-MCR-GRJ




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   5476      110276   John Harcourt                           Douglas & London                                      7:20-cv-74296-MCR-GRJ
   5477      110289   John Hardy                              Douglas & London                                      7:20-cv-74324-MCR-GRJ
   5478      110292   Charles Hargett                         Douglas & London           7:20-cv-74333-MCR-GRJ
   5479      110310   James Harrel                            Douglas & London           7:20-cv-26194-MCR-GRJ
   5480      110327   Tommy Harris                            Douglas & London           7:20-cv-74418-MCR-GRJ
   5481      110330   Michael Harris                          Douglas & London           7:20-cv-74426-MCR-GRJ
   5482      110333   David Harrison                          Douglas & London           7:20-cv-74431-MCR-GRJ
   5483      110337   Samuel Harrison                         Douglas & London           7:20-cv-74442-MCR-GRJ
   5484      110345   Leilani Hart                            Douglas & London           7:20-cv-74462-MCR-GRJ
   5485      110349   Sherman Hartman                         Douglas & London           7:20-cv-74473-MCR-GRJ
   5486      110354   Timothy Hartung                         Douglas & London           7:20-cv-74484-MCR-GRJ
   5487      110357   Bryan Harvey                            Douglas & London                                      7:20-cv-74493-MCR-GRJ
   5488      110365   Cody Haskins                            Douglas & London           7:20-cv-74515-MCR-GRJ
   5489      110366   Josh Haslage                            Douglas & London           7:20-cv-74517-MCR-GRJ
   5490      110372   William Hatch                           Douglas & London           7:20-cv-74534-MCR-GRJ
   5491      110380   Sean Hatton                             Douglas & London                                      7:20-cv-74556-MCR-GRJ
   5492      110388   Brice Havens                            Douglas & London           7:20-cv-74576-MCR-GRJ
   5493      110392   Nicholas Hawkey                         Douglas & London           7:20-cv-74586-MCR-GRJ
   5494      110399   Corey Hawn                              Douglas & London           7:20-cv-74604-MCR-GRJ
   5495      110404   Jason Hayden                            Douglas & London           7:20-cv-74618-MCR-GRJ
   5496      110405   Lawrence Hayden                         Douglas & London           7:20-cv-74621-MCR-GRJ
   5497      110413   Travis Haynie                           Douglas & London           7:20-cv-74642-MCR-GRJ
   5498      110422   Christopher Hebert                      Douglas & London                                      7:20-cv-74665-MCR-GRJ
   5499      110430   Steven Hedrick                          Douglas & London                                      7:20-cv-74675-MCR-GRJ
   5500      110431   Dustin Heflin                           Douglas & London           7:20-cv-74677-MCR-GRJ
   5501      110432   Joseph Heft                             Douglas & London           7:20-cv-74678-MCR-GRJ
   5502      110434   Robert Heim                             Douglas & London           7:20-cv-74682-MCR-GRJ
   5503      110451   Sean Henderson                          Douglas & London           7:20-cv-74714-MCR-GRJ
   5504      110452   Jaquez Henderson                        Douglas & London           7:20-cv-74716-MCR-GRJ
   5505      110453   Tyler Hendrick                          Douglas & London                                      7:20-cv-74717-MCR-GRJ
   5506      110456   Christopher Henegar                     Douglas & London           7:20-cv-74723-MCR-GRJ
   5507      110462   Logan Henry                             Douglas & London           7:20-cv-74738-MCR-GRJ
   5508      110468   Samuel Henry                            Douglas & London           7:20-cv-74752-MCR-GRJ
   5509      110470   Russell Hensley                         Douglas & London           7:20-cv-74757-MCR-GRJ
   5510      110486   Joshua Hernandez                        Douglas & London           7:20-cv-74800-MCR-GRJ
   5511      110490   Michael Hernandez                       Douglas & London                                      7:20-cv-74681-MCR-GRJ
   5512      110498   William Herr                            Douglas & London           7:20-cv-74697-MCR-GRJ
   5513      110500   William Herrera                         Douglas & London           7:20-cv-74701-MCR-GRJ
   5514      110508   Michael Hess                            Douglas & London           7:20-cv-74715-MCR-GRJ
   5515      110512   Jason Hetland                           Douglas & London                                      7:20-cv-74722-MCR-GRJ
   5516      110518   Andrew Heyser                           Douglas & London                                      7:20-cv-26198-MCR-GRJ
   5517      110522   Chad Hickey                             Douglas & London           7:20-cv-74742-MCR-GRJ
   5518      110532   Stephen Hicks                           Douglas & London           7:20-cv-74772-MCR-GRJ
   5519      110533   Steven Hicks                            Douglas & London           7:20-cv-74775-MCR-GRJ
   5520      110536   Alfred Hierjohnson                      Douglas & London                                      7:20-cv-74783-MCR-GRJ
   5521      110538   Daniel Higbee                           Douglas & London           7:20-cv-74789-MCR-GRJ
   5522      110551   Michael Hill                            Douglas & London           7:20-cv-74824-MCR-GRJ
   5523      110557   Walter Hill                             Douglas & London                                      7:20-cv-74839-MCR-GRJ
   5524      110564   Casey Hillebrand                        Douglas & London           7:20-cv-74856-MCR-GRJ
   5525      110566   Dallas Hillman                          Douglas & London                                      7:20-cv-74864-MCR-GRJ
   5526      110574   Nicholas Hines                          Douglas & London           7:20-cv-74891-MCR-GRJ
   5527      110577   Scott Hinkley                           Douglas & London                                      7:20-cv-74902-MCR-GRJ
   5528      110580   Raul Hinojosa                           Douglas & London                                      7:20-cv-74914-MCR-GRJ
   5529      110590   Chad Hitt                               Douglas & London           7:20-cv-74955-MCR-GRJ
   5530      110605   Kodi Hoffman                            Douglas & London                                      7:20-cv-75028-MCR-GRJ
   5531      110607   Thomas Hoffman                          Douglas & London           7:20-cv-75033-MCR-GRJ
   5532      110636   Justin Holloway                         Douglas & London                                      7:20-cv-75182-MCR-GRJ
   5533      110637   Duey Holloway                           Douglas & London           7:20-cv-75188-MCR-GRJ
   5534      110649   Matthew Holt                            Douglas & London           7:20-cv-75258-MCR-GRJ
   5535      110664   Matthew Hooten                          Douglas & London           7:20-cv-75345-MCR-GRJ
   5536      110669   Timothy Hopkins                         Douglas & London           7:20-cv-75373-MCR-GRJ
   5537      110671   Glenn Hopkins                           Douglas & London           7:20-cv-75385-MCR-GRJ
   5538      110672   Richard Hoppis                          Douglas & London           7:20-cv-75391-MCR-GRJ
   5539      110677   Brent Horn                              Douglas & London           7:20-cv-75418-MCR-GRJ
   5540      110688   Rodney Horton                           Douglas & London           7:20-cv-75477-MCR-GRJ
   5541      110689   Leif Horton                             Douglas & London                                      7:20-cv-75481-MCR-GRJ
   5542      110690   Christopher Horton                      Douglas & London           7:20-cv-75486-MCR-GRJ
   5543      110694   Eric Hoskins                            Douglas & London                                      7:20-cv-75506-MCR-GRJ
   5544      110697   Chad Hostetter                          Douglas & London                                      7:20-cv-75521-MCR-GRJ
   5545      110698   Jeffrey Hoth                            Douglas & London           7:20-cv-75526-MCR-GRJ
   5546      110704   Madarius House                          Douglas & London                                      7:20-cv-75550-MCR-GRJ
   5547      110707   Chris Housh                             Douglas & London           7:20-cv-75566-MCR-GRJ
   5548      110712   Glenn Howard                            Douglas & London           7:20-cv-75589-MCR-GRJ




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   5549      110713   Henry Howard                            Douglas & London           7:20-cv-75593-MCR-GRJ
   5550      110727   Molly Howell                            Douglas & London           7:20-cv-75656-MCR-GRJ
   5551      110732   Michael Hoy                             Douglas & London           7:20-cv-75680-MCR-GRJ
   5552      110735   Charles Hranek                          Douglas & London           7:20-cv-75695-MCR-GRJ
   5553      110736   Walter Hresent                          Douglas & London                                      7:20-cv-75700-MCR-GRJ
   5554      110738   Michael Hubbard                         Douglas & London           7:20-cv-75710-MCR-GRJ
   5555      110741   Trevor Hubbs                            Douglas & London           7:20-cv-75724-MCR-GRJ
   5556      110742   Joshua Huber                            Douglas & London           7:20-cv-75729-MCR-GRJ
   5557      110749   Brandon Hudson                          Douglas & London           7:20-cv-75759-MCR-GRJ
   5558      110758   Kirt Huffman                            Douglas & London                                      7:20-cv-74815-MCR-GRJ
   5559      110772   Robert Huller                           Douglas & London           7:20-cv-74850-MCR-GRJ
   5560      110774   Jeremiah Hummel                         Douglas & London           7:20-cv-74855-MCR-GRJ
   5561      110777   Marcel Humphrey                         Douglas & London           7:20-cv-74866-MCR-GRJ
   5562      110779   Anthony Humphries                       Douglas & London                                      7:20-cv-74873-MCR-GRJ
   5563      110789   Alan Hunter                             Douglas & London           7:20-cv-74901-MCR-GRJ
   5564      110796   Edward Hurley                           Douglas & London           7:20-cv-74924-MCR-GRJ
   5565      110805   Trevor Hutchison                        Douglas & London           7:20-cv-74958-MCR-GRJ
   5566      110806   William Hutton                          Douglas & London           7:20-cv-74962-MCR-GRJ
   5567      110810   Matthew Hynes                           Douglas & London           7:20-cv-26203-MCR-GRJ
   5568      110813   Jesus Ibarra                            Douglas & London                                      7:20-cv-74984-MCR-GRJ
   5569      110847   Christian Jackson                       Douglas & London           7:20-cv-75157-MCR-GRJ
   5570      110854   Keith Jackson                           Douglas & London           7:20-cv-75189-MCR-GRJ
   5571      110865   Edward Jackson                          Douglas & London           7:20-cv-75243-MCR-GRJ
   5572      110867   Vandols Jackson                         Douglas & London           7:20-cv-75253-MCR-GRJ
   5573      110868   Tonisha Jackson                         Douglas & London           7:20-cv-75259-MCR-GRJ
   5574      110869   Shiran Jackson                          Douglas & London           7:20-cv-75264-MCR-GRJ
   5575      110876   Bradley James                           Douglas & London           7:20-cv-75301-MCR-GRJ
   5576      110884   John Jameson                            Douglas & London           7:20-cv-75321-MCR-GRJ
   5577      110892   Nicolas Jaramillo                       Douglas & London                                      7:20-cv-75365-MCR-GRJ
   5578      110893   Steve Jaramillo                         Douglas & London           7:20-cv-75371-MCR-GRJ
   5579      110901   Genaro Jasso                            Douglas & London                                      7:20-cv-75409-MCR-GRJ
   5580      110902   Daniel Jauregui                         Douglas & London                                      7:20-cv-75415-MCR-GRJ
   5581      110905   Trevor Jaworski                         Douglas & London           7:20-cv-75425-MCR-GRJ
   5582      110907   John Jaynes                             Douglas & London           7:20-cv-75435-MCR-GRJ
   5583      110909   Kent Jeannite                           Douglas & London           7:20-cv-75446-MCR-GRJ
   5584      110912   Christopher Jeffery                     Douglas & London           7:20-cv-75455-MCR-GRJ
   5585      110914   Josh Jeffords                           Douglas & London           7:20-cv-75460-MCR-GRJ
   5586      110917   Adam Jellison                           Douglas & London                                      7:20-cv-75474-MCR-GRJ
   5587      110927   James Jensen                            Douglas & London           7:20-cv-75514-MCR-GRJ
   5588      110929   Zebulon Jensen                          Douglas & London                                      7:20-cv-75522-MCR-GRJ
   5589      110945   Michael Johanns                         Douglas & London                                      7:20-cv-75596-MCR-GRJ
   5590      110955   Brandon Johnson                         Douglas & London           7:20-cv-75639-MCR-GRJ
   5591      110975   Montez Johnson                          Douglas & London           7:20-cv-75730-MCR-GRJ
   5592      110979   Scott Johnson                           Douglas & London           7:20-cv-75748-MCR-GRJ
   5593      110990   Kenyon Johnson                          Douglas & London           7:20-cv-75793-MCR-GRJ
   5594      110992   Lawrence Johnson                        Douglas & London           7:20-cv-75801-MCR-GRJ
   5595      110996   Josh Johnson                            Douglas & London           7:20-cv-75816-MCR-GRJ
   5596      110998   Claude Johnson                          Douglas & London           7:20-cv-75822-MCR-GRJ
   5597      111003   Victor Johnston                         Douglas & London           7:20-cv-75841-MCR-GRJ
   5598      111006   Robert Johnston                         Douglas & London           7:20-cv-75852-MCR-GRJ
   5599      111012   Angel Jones                             Douglas & London           7:20-cv-75868-MCR-GRJ
   5600      111013   Brandon Jones                           Douglas & London           7:20-cv-75871-MCR-GRJ
   5601      111014   Brooke Jones                            Douglas & London                                      7:20-cv-75874-MCR-GRJ
   5602      111016   Chris Jones                             Douglas & London           7:20-cv-75880-MCR-GRJ
   5603      111019   Corey Jones                             Douglas & London           7:20-cv-75889-MCR-GRJ
   5604      111020   Curtis Jones                            Douglas & London                                      7:20-cv-75892-MCR-GRJ
   5605      111024   Donald Jones                            Douglas & London           7:20-cv-75901-MCR-GRJ
   5606      111028   Jessie Jones                            Douglas & London           7:20-cv-76264-MCR-GRJ
   5607      111032   Justin Jones                            Douglas & London           7:20-cv-76273-MCR-GRJ
   5608      111042   Ronald Jones                            Douglas & London                                      7:20-cv-76295-MCR-GRJ
   5609      111045   Shelby Jones                            Douglas & London                                      7:20-cv-76301-MCR-GRJ
   5610      111062   Steven Jones                            Douglas & London                                      7:20-cv-76333-MCR-GRJ
   5611      111066   Whemohguy Jones                         Douglas & London                                      7:20-cv-76340-MCR-GRJ
   5612      111079   Derek Joseph                            Douglas & London                                      7:20-cv-76367-MCR-GRJ
   5613      111095   Nathan Kaiser                           Douglas & London           7:20-cv-76400-MCR-GRJ
   5614      111102   Kelly Kanatus                           Douglas & London                                      7:20-cv-76415-MCR-GRJ
   5615      111104   Todd Kaneer                             Douglas & London           7:20-cv-76420-MCR-GRJ
   5616      111105   James Kaneris                           Douglas & London           7:20-cv-76422-MCR-GRJ
   5617      111109   Chris Karami                            Douglas & London           7:20-cv-76431-MCR-GRJ
   5618      111127   Andy Keeton                             Douglas & London                                      7:20-cv-76466-MCR-GRJ
   5619      111128   Scott Keffer                            Douglas & London           7:20-cv-76468-MCR-GRJ
   5620      111130   Justin Keister                          Douglas & London           7:20-cv-76472-MCR-GRJ
   5621      111133   Pete Kelila                             Douglas & London           7:20-cv-76479-MCR-GRJ




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   5622      111144   Patrick Kelley                          Douglas & London           7:20-cv-76503-MCR-GRJ
   5623      111149   Gabriel Kellogg                         Douglas & London           7:20-cv-76595-MCR-GRJ
   5624      111166   Clinton Kendall                         Douglas & London                                      7:20-cv-76628-MCR-GRJ
   5625      111171   Morgan Kennedy                          Douglas & London           7:20-cv-76639-MCR-GRJ
   5626      111174   Lawrence Kent                           Douglas & London                                      7:20-cv-76645-MCR-GRJ
   5627      111183   Michael Key                             Douglas & London                                      7:20-cv-76663-MCR-GRJ
   5628      111186   James Khayat                            Douglas & London                                      7:20-cv-76670-MCR-GRJ
   5629      111190   John Kiesebach                          Douglas & London           7:20-cv-76678-MCR-GRJ
   5630      111197   Timothy Kimble                          Douglas & London           7:20-cv-76690-MCR-GRJ
   5631      111199   John Kimsey                             Douglas & London           7:20-cv-76694-MCR-GRJ
   5632      111206   Ben King                                Douglas & London           7:20-cv-76714-MCR-GRJ
   5633      111212   Jessica King                            Douglas & London           7:20-cv-76733-MCR-GRJ
   5634      111215   Kurtis King                             Douglas & London           7:20-cv-76744-MCR-GRJ
   5635      111219   Brian King                              Douglas & London                                      7:20-cv-76757-MCR-GRJ
   5636      111234   David Kirby                             Douglas & London           7:20-cv-76807-MCR-GRJ
   5637      111238   Timothy Kirk                            Douglas & London           7:20-cv-76820-MCR-GRJ
   5638      111245   Dustin Kissner                          Douglas & London           7:20-cv-76842-MCR-GRJ
   5639      111257   Jonathan Klein                          Douglas & London           7:20-cv-77831-MCR-GRJ
   5640      111266   James Klug                              Douglas & London                                      7:20-cv-77862-MCR-GRJ
   5641      111271   Robert Knapp                            Douglas & London           7:20-cv-77881-MCR-GRJ
   5642      111272   Jeremy Knarr                            Douglas & London                                      7:20-cv-77884-MCR-GRJ
   5643      111285   Adam Knowles                            Douglas & London           7:20-cv-77922-MCR-GRJ
   5644      111287   Dennis Knox                             Douglas & London           7:20-cv-77929-MCR-GRJ
   5645      111288   Erich Knox                              Douglas & London           7:20-cv-77933-MCR-GRJ
   5646      111297   Jeremy Kochel                           Douglas & London           7:20-cv-77970-MCR-GRJ
   5647      111317   Joseph Kostik                           Douglas & London                                      7:20-cv-78070-MCR-GRJ
   5648      111330   Christopher Kramm                       Douglas & London           7:20-cv-78142-MCR-GRJ
   5649      111332   Daniel Krantz                           Douglas & London           7:20-cv-78148-MCR-GRJ
   5650      111338   Billy Kreisvelt                         Douglas & London           7:20-cv-78180-MCR-GRJ
   5651      111340   Dawayne Krepel                          Douglas & London           7:20-cv-78191-MCR-GRJ
   5652      111341   Gregory Krey                            Douglas & London           7:20-cv-78196-MCR-GRJ
   5653      111351   Johnnie Krueger                         Douglas & London           7:20-cv-78236-MCR-GRJ
   5654      111354   Jacob Krupp                             Douglas & London                                      7:20-cv-78250-MCR-GRJ
   5655      111357   Andrew Kubacki                          Douglas & London           7:20-cv-78262-MCR-GRJ
   5656      111360   Shane Kuchle                            Douglas & London           7:20-cv-78276-MCR-GRJ
   5657      111366   Matthew Kulow                           Douglas & London           7:20-cv-78300-MCR-GRJ
   5658      111369   Keith Kurth                             Douglas & London           7:20-cv-78309-MCR-GRJ
   5659      111375   Darius Kyles                            Douglas & London           7:20-cv-78334-MCR-GRJ
   5660      111380   Christopher Labier                      Douglas & London           7:20-cv-78462-MCR-GRJ
   5661      111393   Chris Ladymon                           Douglas & London           7:20-cv-78500-MCR-GRJ
   5662      111397   Kevin Lagman                            Douglas & London           7:20-cv-78514-MCR-GRJ
   5663      111398   Joshua Lagrone                          Douglas & London           7:20-cv-78517-MCR-GRJ
   5664      111407   Michael Lamb                            Douglas & London           7:20-cv-78548-MCR-GRJ
   5665      111410   Carl Lambert                            Douglas & London           7:20-cv-78555-MCR-GRJ
   5666      111415   Eduardo Lamboy                          Douglas & London           7:20-cv-78579-MCR-GRJ
   5667      111424   Timothy Landreth                        Douglas & London           7:20-cv-78618-MCR-GRJ
   5668      111445   Aaron Lapoint                           Douglas & London           7:20-cv-78713-MCR-GRJ
   5669      111458   Matthew Larsen                          Douglas & London           7:20-cv-78775-MCR-GRJ
   5670      111468   Joseph Latona                           Douglas & London           7:20-cv-78823-MCR-GRJ
   5671      111470   Kristin Latour                          Douglas & London           7:20-cv-78831-MCR-GRJ
   5672      111482   Kevin Law                               Douglas & London           7:20-cv-78885-MCR-GRJ
   5673      111487   Teddy Lawrence                          Douglas & London           7:20-cv-78905-MCR-GRJ
   5674      111490   Craig Lawson                            Douglas & London           7:20-cv-78919-MCR-GRJ
   5675      111494   Katrina Lawson                          Douglas & London                                      7:20-cv-78938-MCR-GRJ
   5676      111501   Sean Leach                              Douglas & London           7:20-cv-78973-MCR-GRJ
   5677      111506   Jacob Leask                             Douglas & London           7:20-cv-79005-MCR-GRJ
   5678      111516   Andrew Lee                              Douglas & London           7:20-cv-79060-MCR-GRJ
   5679      111520   Dalton Lee                              Douglas & London           7:20-cv-79077-MCR-GRJ
   5680      111541   Justin Lehew                            Douglas & London           7:20-cv-79200-MCR-GRJ
   5681      111545   Joshua Leininger                        Douglas & London                                      7:20-cv-79225-MCR-GRJ
   5682      111549   Mark Leiva                              Douglas & London           7:20-cv-79250-MCR-GRJ
   5683      111552   Herbert Lemon                           Douglas & London           7:20-cv-80331-MCR-GRJ
   5684      111555   Ryan Lemons                             Douglas & London           7:20-cv-80342-MCR-GRJ
   5685      111562   Michael Leonard                         Douglas & London                                      7:20-cv-80362-MCR-GRJ
   5686      111564   Robert Lepak                            Douglas & London           7:20-cv-80369-MCR-GRJ
   5687      111567   Douglas Leshane                         Douglas & London           7:20-cv-80380-MCR-GRJ
   5688      111574   Tad Letourneau                          Douglas & London                                      7:20-cv-80411-MCR-GRJ
   5689      111576   Paul Levasseur                          Douglas & London           7:20-cv-80422-MCR-GRJ
   5690      111578   Brian Levick                            Douglas & London           7:20-cv-80431-MCR-GRJ
   5691      111613   Marco Liggan                            Douglas & London           7:20-cv-80600-MCR-GRJ
   5692      111617   Kenneth Lillie                          Douglas & London           7:20-cv-80623-MCR-GRJ
   5693      111636   Michael Lipari                          Douglas & London           7:20-cv-80722-MCR-GRJ
   5694      111652   Steven Livingston                       Douglas & London                                      7:20-cv-80810-MCR-GRJ




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   5695      111663   David Logan                             Douglas & London                                      7:20-cv-80848-MCR-GRJ
   5696      111672   Derek Long                              Douglas & London           7:20-cv-80884-MCR-GRJ
   5697      111678   James Long                              Douglas & London           7:20-cv-81059-MCR-GRJ
   5698      111680   Travis Long                             Douglas & London           7:20-cv-81068-MCR-GRJ
   5699      111683   Esteban Longoria                        Douglas & London           7:20-cv-81083-MCR-GRJ
   5700      111684   Justin Longoria                         Douglas & London           7:20-cv-81087-MCR-GRJ
   5701      111685   Randal Lonkerd                          Douglas & London           7:20-cv-81091-MCR-GRJ
   5702      111690   Hector Lopez                            Douglas & London                                      7:20-cv-81119-MCR-GRJ
   5703      111710   Andrew Love                             Douglas & London                                      7:20-cv-81212-MCR-GRJ
   5704      111711   Scott Love                              Douglas & London           7:20-cv-81217-MCR-GRJ
   5705      111713   Robert Lovell                           Douglas & London                                      7:20-cv-81228-MCR-GRJ
   5706      111717   Brian Lowe                              Douglas & London           7:20-cv-81252-MCR-GRJ
   5707      111718   Jason Lowe                              Douglas & London                                      7:20-cv-81258-MCR-GRJ
   5708      111722   Matthew Lowe                            Douglas & London                                      7:20-cv-81280-MCR-GRJ
   5709      111728   Charles Lowther                         Douglas & London           7:20-cv-81314-MCR-GRJ
   5710      111734   David Lucas                             Douglas & London           7:20-cv-81350-MCR-GRJ
   5711      111735   Dillon Lucas                            Douglas & London                                      7:20-cv-81355-MCR-GRJ
   5712      111754   Seth Lunberg                            Douglas & London           7:20-cv-81462-MCR-GRJ
   5713      111757   David Lundgren                          Douglas & London           7:20-cv-81480-MCR-GRJ
   5714      111773   Daniel Lyons                            Douglas & London                                      7:20-cv-81568-MCR-GRJ
   5715      111787   Benjamin Maciel                         Douglas & London                                      7:20-cv-81864-MCR-GRJ
   5716      111794   Clint Macmiller                         Douglas & London           7:20-cv-81871-MCR-GRJ
   5717      111796   Christopher Maddaloni                   Douglas & London                                      7:20-cv-81873-MCR-GRJ
   5718      111801   Colin Madrid                            Douglas & London           7:20-cv-81877-MCR-GRJ
   5719      111802   Frederick Madrill                       Douglas & London           7:20-cv-81878-MCR-GRJ
   5720      111803   Michael Madriz                          Douglas & London           7:20-cv-81879-MCR-GRJ
   5721      111810   Ricky Maggart                           Douglas & London           7:20-cv-81886-MCR-GRJ
   5722      111814   Patrick Mahan                           Douglas & London                                      7:20-cv-81888-MCR-GRJ
   5723      111815   Sean Mahany                             Douglas & London           7:20-cv-81889-MCR-GRJ
   5724      111819   David Mahula                            Douglas & London           7:20-cv-81893-MCR-GRJ
   5725      111822   Raymond Mailloux                        Douglas & London                                      7:20-cv-81900-MCR-GRJ
   5726      111827   Cody Majors                             Douglas & London           7:20-cv-81911-MCR-GRJ
   5727      111841   Kevin Mandracchia                       Douglas & London           7:20-cv-81941-MCR-GRJ
   5728      111846   Spencer Manier                          Douglas & London                                      7:20-cv-81952-MCR-GRJ
   5729      111848   Justin Manley                           Douglas & London           7:20-cv-81957-MCR-GRJ
   5730      111869   Vincent Marcellino                      Douglas & London                                      7:20-cv-82009-MCR-GRJ
   5731      111873   Matthew Marciniak                       Douglas & London                                      7:20-cv-82028-MCR-GRJ
   5732      111874   Gadiel Marcucci                         Douglas & London           7:20-cv-82033-MCR-GRJ
   5733      111888   Jesse Marks                             Douglas & London           7:20-cv-82096-MCR-GRJ
   5734      111896   William Marple                          Douglas & London           7:20-cv-82129-MCR-GRJ
   5735      111903   Harry Marshall                          Douglas & London           7:20-cv-82157-MCR-GRJ
   5736      111905   Maximilian Marshall                     Douglas & London           7:20-cv-82167-MCR-GRJ
   5737      111907   Michael Marshall                        Douglas & London           7:20-cv-82175-MCR-GRJ
   5738      111913   Daniel Martin                           Douglas & London           7:20-cv-82216-MCR-GRJ
   5739      111918   Kenneth Martin                          Douglas & London           7:20-cv-82240-MCR-GRJ
   5740      111925   Keith Martin                            Douglas & London                                      3:19-cv-03578-MCR-GRJ
   5741      111931   Daniel Martinez                         Douglas & London                                      7:20-cv-84170-MCR-GRJ
   5742      111934   Jeron Martinez                          Douglas & London           7:20-cv-84184-MCR-GRJ
   5743      111943   Roberto Martinez                        Douglas & London           7:20-cv-84227-MCR-GRJ
   5744      111949   Ernesto Martinez                        Douglas & London                                      7:20-cv-84254-MCR-GRJ
   5745      111975   Kalen Massengill                        Douglas & London           7:20-cv-84349-MCR-GRJ
   5746      111979   Oliver Massey                           Douglas & London           7:20-cv-84368-MCR-GRJ
   5747      111980   Roosevelt Massey                        Douglas & London           7:20-cv-84373-MCR-GRJ
   5748      111986   Charles Mastin                          Douglas & London           7:20-cv-84396-MCR-GRJ
   5749      111991   Derek Mathews                           Douglas & London           7:20-cv-84425-MCR-GRJ
   5750      111993   Jory Mathis                             Douglas & London           7:20-cv-84436-MCR-GRJ
   5751      111996   Jose Matias Gonzalez                    Douglas & London                                      7:20-cv-84455-MCR-GRJ
   5752      112000   Cody Matthews                           Douglas & London           7:20-cv-84480-MCR-GRJ
   5753      112011   Christopher Mattson-Whipple             Douglas & London           7:20-cv-84537-MCR-GRJ
   5754      112015   James Maxey                             Douglas & London                                      7:20-cv-84559-MCR-GRJ
   5755      112016   Derek Maxon                             Douglas & London           7:20-cv-84564-MCR-GRJ
   5756      112019   David May                               Douglas & London           7:20-cv-84578-MCR-GRJ
   5757      112025   Jason Mayes                             Douglas & London           7:20-cv-84606-MCR-GRJ
   5758      112033   Lisa Maynes                             Douglas & London           7:20-cv-84640-MCR-GRJ
   5759      112038   Tyler Mayo                              Douglas & London                                      7:20-cv-84661-MCR-GRJ
   5760      112052   Dennis Mcallen                          Douglas & London                                      7:20-cv-84721-MCR-GRJ
   5761      112056   Neil Mcbee                              Douglas & London           7:20-cv-84743-MCR-GRJ
   5762      112064   James Mccall                            Douglas & London                                      7:20-cv-84791-MCR-GRJ
   5763      112066   Steven Mccallister                      Douglas & London           7:20-cv-84803-MCR-GRJ
   5764      112071   Chris Mccarroll                         Douglas & London           7:20-cv-84829-MCR-GRJ
   5765      112075   Damien Mccarter                         Douglas & London           7:20-cv-84856-MCR-GRJ
   5766      112082   Colt Mccarty                            Douglas & London                                      7:20-cv-84894-MCR-GRJ
   5767      112089   Aaron Mcclanahan                        Douglas & London           7:20-cv-76861-MCR-GRJ




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   5768      112090   Joseph Mcclees                          Douglas & London           7:20-cv-76864-MCR-GRJ
   5769      112094   Richard Mccluskey                       Douglas & London                                      7:20-cv-76874-MCR-GRJ
   5770      112096   James Mccollough                        Douglas & London           7:20-cv-76878-MCR-GRJ
   5771      112100   Joseph Mccormack                        Douglas & London           7:20-cv-76886-MCR-GRJ
   5772      112106   James Mccoy                             Douglas & London                                      7:20-cv-76898-MCR-GRJ
   5773      112110   Trevor Mccrea                           Douglas & London           7:20-cv-76905-MCR-GRJ
   5774      112115   Mike Mccullar                           Douglas & London           7:20-cv-76915-MCR-GRJ
   5775      112119   Roderic Mccullough                      Douglas & London           7:20-cv-76923-MCR-GRJ
   5776      112129   Brandon Mcdonald                        Douglas & London           7:20-cv-76944-MCR-GRJ
   5777      112130   Gareth Mcdonald                         Douglas & London           7:20-cv-76947-MCR-GRJ
   5778      112146   Larry Mcghee                            Douglas & London           7:20-cv-76988-MCR-GRJ
   5779      112150   Daniel Mcginley                         Douglas & London           7:20-cv-76998-MCR-GRJ
   5780      112155   Ryan Mcgrath                            Douglas & London           7:20-cv-77012-MCR-GRJ
   5781      112164   Joshua Mchale                           Douglas & London                                      7:20-cv-77038-MCR-GRJ
   5782      112170   John Mckay                              Douglas & London           7:20-cv-77055-MCR-GRJ
   5783      112172   Karenga Mckay                           Douglas & London           7:20-cv-77060-MCR-GRJ
   5784      112179   Michael Mckethan                        Douglas & London                                      7:20-cv-77074-MCR-GRJ
   5785      112194   Brian Mclean                            Douglas & London           7:20-cv-77106-MCR-GRJ
   5786      112197   Jeremy Mclendon                         Douglas & London           7:20-cv-77112-MCR-GRJ
   5787      112198   Jacob Mcleod                            Douglas & London           7:20-cv-77114-MCR-GRJ
   5788      112199   Matthew Mcmahon                         Douglas & London           7:20-cv-77116-MCR-GRJ
   5789      112202   Jonathan Mcmillen                       Douglas & London                                      7:20-cv-77121-MCR-GRJ
   5790      112206   Anthony Mcmullen                        Douglas & London                                      7:20-cv-77129-MCR-GRJ
   5791      112207   Jayme Mcmullen                          Douglas & London                                      7:20-cv-77131-MCR-GRJ
   5792      112211   Brian Mcnamara                          Douglas & London           7:20-cv-77137-MCR-GRJ
   5793      112216   Jason Mcneil                            Douglas & London           7:20-cv-77144-MCR-GRJ
   5794      112228   Jan Mead                                Douglas & London                                      7:20-cv-77163-MCR-GRJ
   5795      112229   Jason Meade                             Douglas & London           7:20-cv-77165-MCR-GRJ
   5796      112236   Hector Medina                           Douglas & London                                      7:20-cv-77177-MCR-GRJ
   5797      112238   William Medley                          Douglas & London                                      7:20-cv-77180-MCR-GRJ
   5798      112240   Jason Medlock                           Douglas & London           7:20-cv-77182-MCR-GRJ
   5799      112244   William Meeks                           Douglas & London           7:20-cv-77190-MCR-GRJ
   5800      112245   Kevin Meglic                            Douglas & London           7:20-cv-77192-MCR-GRJ
   5801      112247   Paul Meier                              Douglas & London           7:20-cv-77196-MCR-GRJ
   5802      112248   Jeremy Meindl                           Douglas & London                                      7:20-cv-77197-MCR-GRJ
   5803      112258   Jacob Melucci                           Douglas & London           7:20-cv-77211-MCR-GRJ
   5804      112268   Lee Mendoza                             Douglas & London           7:20-cv-77228-MCR-GRJ
   5805      112274   Paul Mera                               Douglas & London                                      7:20-cv-77239-MCR-GRJ
   5806      112278   Vincent Mercaldo                        Douglas & London                                      7:20-cv-77246-MCR-GRJ
   5807      112288   Andrew Merlette                         Douglas & London           7:20-cv-77265-MCR-GRJ
   5808      112290   Sandra Merrick                          Douglas & London           7:20-cv-77269-MCR-GRJ
   5809      112308   Fletcher Metten                         Douglas & London                                      7:20-cv-77300-MCR-GRJ
   5810      112309   Robert Metzger                          Douglas & London                                      7:20-cv-77302-MCR-GRJ
   5811      112310   Krysten Meulemans                       Douglas & London           7:20-cv-77303-MCR-GRJ
   5812      112316   Logan Meyer                             Douglas & London           7:20-cv-77315-MCR-GRJ
   5813      112319   Denny Meyrand                           Douglas & London                                      7:20-cv-77320-MCR-GRJ
   5814      112324   Thomas Michelson                        Douglas & London                                      7:20-cv-77330-MCR-GRJ
   5815      112332   Everett Miguel                          Douglas & London           7:20-cv-77345-MCR-GRJ
   5816      112334   Jared Miklaus                           Douglas & London           7:20-cv-77349-MCR-GRJ
   5817      112341   Robett Miles                            Douglas & London           7:20-cv-77361-MCR-GRJ
   5818      112349   Derek Miller                            Douglas & London                                      7:20-cv-77376-MCR-GRJ
   5819      112352   Joseph Miller                           Douglas & London           7:20-cv-77381-MCR-GRJ
   5820      112362   Brian Miller                            Douglas & London           7:20-cv-77692-MCR-GRJ
   5821      112365   Richard Miller                          Douglas & London           7:20-cv-77697-MCR-GRJ
   5822      112377   Jordan Mills                            Douglas & London                                      7:20-cv-77717-MCR-GRJ
   5823      112379   Ricky Mills                             Douglas & London           7:20-cv-77720-MCR-GRJ
   5824      112384   James Milne                             Douglas & London           7:20-cv-77730-MCR-GRJ
   5825      112385   Nickolas Milner                         Douglas & London                                      7:20-cv-77732-MCR-GRJ
   5826      112389   Robert Mims                             Douglas & London           7:20-cv-77740-MCR-GRJ
   5827      112390   Tequa Mims                              Douglas & London           7:20-cv-77742-MCR-GRJ
   5828      112404   Jessey Mitchell                         Douglas & London                                      7:20-cv-77767-MCR-GRJ
   5829      112405   Preston Mitchell                        Douglas & London           7:20-cv-77769-MCR-GRJ
   5830      112420   James Mizell                            Douglas & London           7:20-cv-77796-MCR-GRJ
   5831      112421   Bruce Mizener                           Douglas & London           7:20-cv-77798-MCR-GRJ
   5832      112424   Todd Moats                              Douglas & London           7:20-cv-77804-MCR-GRJ
   5833      112425   Shaun Moberg                            Douglas & London           7:20-cv-77806-MCR-GRJ
   5834      112426   Jesse Moberly                           Douglas & London                                      7:20-cv-77807-MCR-GRJ
   5835      112436   Alexander Mole                          Douglas & London           7:20-cv-77827-MCR-GRJ
   5836      112438   Tom Molina                              Douglas & London           7:20-cv-77832-MCR-GRJ
   5837      112444   Nicholas Moncada                        Douglas & London                                      7:20-cv-77850-MCR-GRJ
   5838      112468   Steven Montplaisir                      Douglas & London           7:20-cv-77910-MCR-GRJ
   5839      112473   Gary Moon                               Douglas & London           7:20-cv-77921-MCR-GRJ
   5840      112477   Betty Moore                             Douglas & London           7:20-cv-77928-MCR-GRJ




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   5841      112483   Joshua Moore                            Douglas & London           7:20-cv-77946-MCR-GRJ
   5842      112488   Nathan Moore                            Douglas & London           7:20-cv-77965-MCR-GRJ
   5843      112500   Clark Moore                             Douglas & London                                      7:20-cv-78008-MCR-GRJ
   5844      112508   Evan Morales                            Douglas & London                                      7:20-cv-78036-MCR-GRJ
   5845      112509   Marcos Morales                          Douglas & London           7:20-cv-78040-MCR-GRJ
   5846      112533   Joseph Morgan                           Douglas & London           7:20-cv-78115-MCR-GRJ
   5847      112536   Richard Morgan                          Douglas & London           7:20-cv-78129-MCR-GRJ
   5848      112537   Jamie Morgan                            Douglas & London                                      7:20-cv-78133-MCR-GRJ
   5849      112539   Lewis Morgan                            Douglas & London           7:20-cv-78143-MCR-GRJ
   5850      112547   Eric Morris                             Douglas & London           7:20-cv-78178-MCR-GRJ
   5851      112550   Jason Morris                            Douglas & London           7:20-cv-78189-MCR-GRJ
   5852      112557   Hayden Morrison                         Douglas & London                                      7:20-cv-78207-MCR-GRJ
   5853      112560   Jason Morrow                            Douglas & London           7:20-cv-78217-MCR-GRJ
   5854      112563   Kristen Morse                           Douglas & London           7:20-cv-78228-MCR-GRJ
   5855      112566   Daryn Morton                            Douglas & London                                      7:20-cv-78235-MCR-GRJ
   5856      112570   Jonathan Morton                         Douglas & London           7:20-cv-78248-MCR-GRJ
   5857      112574   Richard Moser                           Douglas & London           7:20-cv-78264-MCR-GRJ
   5858      112579   Anthony Mosley                          Douglas & London                                      7:20-cv-26225-MCR-GRJ
   5859      112584   Nathan Moss                             Douglas & London           7:20-cv-78297-MCR-GRJ
   5860      112587   Dustin Mote                             Douglas & London           7:20-cv-78307-MCR-GRJ
   5861      112591   Phillip Mott                            Douglas & London           7:20-cv-78322-MCR-GRJ
   5862      112601   Jonathan Moyers                         Douglas & London                                      7:20-cv-78352-MCR-GRJ
   5863      112602   Michael Mrdalj                          Douglas & London           7:20-cv-78355-MCR-GRJ
   5864      112626   Derek Murchie                           Douglas & London           7:20-cv-78409-MCR-GRJ
   5865      112645   Garrett Music                           Douglas & London           7:20-cv-78011-MCR-GRJ
   5866      112647   Joshua Musselman                        Douglas & London           7:20-cv-78019-MCR-GRJ
   5867      112649   Christopher Musson                      Douglas & London                                      7:20-cv-78027-MCR-GRJ
   5868      112659   Cory Myres                              Douglas & London           7:20-cv-78060-MCR-GRJ
   5869      112663   Russell Nabors                          Douglas & London                                      7:20-cv-78079-MCR-GRJ
   5870      112664   Richard Nadal                           Douglas & London           7:20-cv-78084-MCR-GRJ
   5871      112684   Carlos Navas                            Douglas & London           7:20-cv-78174-MCR-GRJ
   5872      112686   Bradley Naylor                          Douglas & London                                      7:20-cv-78184-MCR-GRJ
   5873      112692   Travis Neal                             Douglas & London           7:20-cv-78202-MCR-GRJ
   5874      112726   Nelson Newbill                          Douglas & London           7:20-cv-78320-MCR-GRJ
   5875      112739   William Newport                         Douglas & London                                      7:20-cv-78359-MCR-GRJ
   5876      112753   Christopher Nichols                     Douglas & London           7:20-cv-78394-MCR-GRJ
   5877      112759   Lance Nielsen                           Douglas & London           7:20-cv-78412-MCR-GRJ
   5878      112771   Axel Nkouka                             Douglas & London           7:20-cv-78432-MCR-GRJ
   5879      112774   Elijah Noble                            Douglas & London                                      7:20-cv-78438-MCR-GRJ
   5880      112775   Aaron Noble                             Douglas & London                                      7:20-cv-78440-MCR-GRJ
   5881      112781   Kevin Nolden                            Douglas & London           7:20-cv-78453-MCR-GRJ
   5882      112785   Jonathan Norman                         Douglas & London                                      7:20-cv-78463-MCR-GRJ
   5883      112789   Austin Norman                           Douglas & London           7:20-cv-78472-MCR-GRJ
   5884      112798   Brett Norton                            Douglas & London           7:20-cv-78495-MCR-GRJ
   5885      112804   Gary Nowlin                             Douglas & London                                      7:20-cv-78513-MCR-GRJ
   5886      112816   Alexander Nutting                       Douglas & London           7:20-cv-78541-MCR-GRJ
   5887      112827   Herman Oberosler                        Douglas & London                                      7:20-cv-78571-MCR-GRJ
   5888      112841   Keith Odle                              Douglas & London                                      7:20-cv-78625-MCR-GRJ
   5889      112844   Patrick O'Donovan                       Douglas & London           7:20-cv-78638-MCR-GRJ
   5890      112853   Ana Ohara                               Douglas & London           7:20-cv-78673-MCR-GRJ
   5891      112861   Craig Olander                           Douglas & London                                      7:20-cv-78703-MCR-GRJ
   5892      112867   James Oliver                            Douglas & London           7:20-cv-78722-MCR-GRJ
   5893      112880   Christopher Olson                       Douglas & London                                      7:20-cv-78768-MCR-GRJ
   5894      112886   Kristen Oneill                          Douglas & London           7:20-cv-78787-MCR-GRJ
   5895      112888   Jeremy Oniszko                          Douglas & London                                      7:20-cv-78791-MCR-GRJ
   5896      112901   Arnoldo Orozco                          Douglas & London           7:20-cv-78572-MCR-GRJ
   5897      112905   Marcos Ortega                           Douglas & London           7:20-cv-78587-MCR-GRJ
   5898      112916   Perry Osborne                           Douglas & London           7:20-cv-78626-MCR-GRJ
   5899      112925   Joshua Osting                           Douglas & London           7:20-cv-78652-MCR-GRJ
   5900      112927   Sean O'sullivan                         Douglas & London           7:20-cv-78659-MCR-GRJ
   5901      112928   Ernest Oti                              Douglas & London           7:20-cv-78663-MCR-GRJ
   5902      112932   Justin Otting                           Douglas & London                                      7:20-cv-78674-MCR-GRJ
   5903      112934   Carlton Outlaw                          Douglas & London           7:20-cv-78682-MCR-GRJ
   5904      112952   Alexander Packard                       Douglas & London           7:20-cv-78744-MCR-GRJ
   5905      112953   Justin Packman                          Douglas & London                                      7:20-cv-78748-MCR-GRJ
   5906      112956   Doncarlos Pagan                         Douglas & London                                      7:20-cv-78755-MCR-GRJ
   5907      112960   Kyle Painter                            Douglas & London           7:20-cv-78770-MCR-GRJ
   5908      112961   James Paivarinta                        Douglas & London           7:20-cv-78773-MCR-GRJ
   5909      112971   Dante Palmer                            Douglas & London           7:20-cv-78810-MCR-GRJ
   5910      112976   Victor Palmer                           Douglas & London           7:20-cv-78827-MCR-GRJ
   5911      112988   Marc Pappas                             Douglas & London           7:20-cv-78864-MCR-GRJ
   5912      113000   Dalton Parker                           Douglas & London           7:20-cv-78903-MCR-GRJ
   5913      113010   Jason Parkhurst                         Douglas & London                                      7:20-cv-78940-MCR-GRJ




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   5914      113015   Brian Parolini                          Douglas & London           7:20-cv-78960-MCR-GRJ
   5915      113019   James Parris                            Douglas & London                                      7:20-cv-78979-MCR-GRJ
   5916      113020   Mathew Parris                           Douglas & London           7:20-cv-78984-MCR-GRJ
   5917      113025   William Parsons-Shifflett               Douglas & London                                      7:20-cv-79004-MCR-GRJ
   5918      113026   Daniel Partee                           Douglas & London           7:20-cv-79008-MCR-GRJ
   5919      113030   Travis Patch                            Douglas & London                                      7:20-cv-79024-MCR-GRJ
   5920      113036   David Patterson                         Douglas & London           7:20-cv-79052-MCR-GRJ
   5921      113038   Joseph Patterson                        Douglas & London           7:20-cv-79062-MCR-GRJ
   5922      113040   David Patterson                         Douglas & London                                      7:20-cv-79071-MCR-GRJ
   5923      113046   Ian Patton                              Douglas & London                                      3:19-cv-03326-MCR-GRJ
   5924      113047   Daniel Paul                             Douglas & London           7:20-cv-79100-MCR-GRJ
   5925      113054   Edgar Payan                             Douglas & London           7:20-cv-79134-MCR-GRJ
   5926      113067   Shannon Peacock                         Douglas & London                                      7:20-cv-79190-MCR-GRJ
   5927      113072   Andre Pearson                           Douglas & London                                      7:20-cv-79214-MCR-GRJ
   5928      113073   Jonathan Pearson                        Douglas & London           7:20-cv-79218-MCR-GRJ
   5929      113076   Charles Pearson                         Douglas & London                                      7:20-cv-79232-MCR-GRJ
   5930      113080   Thomas Pechler                          Douglas & London           7:20-cv-79251-MCR-GRJ
   5931      113081   Daniel Pedersen                         Douglas & London           7:20-cv-79255-MCR-GRJ
   5932      113084   Chris Pehr                              Douglas & London                                      7:20-cv-79263-MCR-GRJ
   5933      113087   Jereamiah Pemberton                     Douglas & London                                      7:20-cv-79270-MCR-GRJ
   5934      113090   Landis Pendleton                        Douglas & London                                      7:20-cv-79283-MCR-GRJ
   5935      113091   Garrett Penix                           Douglas & London           7:20-cv-79287-MCR-GRJ
   5936      113093   Kevin Penland                           Douglas & London           7:20-cv-79295-MCR-GRJ
   5937      113117   Christopher Perkins                     Douglas & London                                      7:20-cv-79383-MCR-GRJ
   5938      113122   Brant Perniciaro                        Douglas & London                                      7:20-cv-79402-MCR-GRJ
   5939      113124   Justin Perrette                         Douglas & London           7:20-cv-79408-MCR-GRJ
   5940      113132   Dwayne Person                           Douglas & London           7:20-cv-79428-MCR-GRJ
   5941      113141   Jason Peterson                          Douglas & London           7:20-cv-79451-MCR-GRJ
   5942      113143   Kyle Peterson                           Douglas & London           7:20-cv-79457-MCR-GRJ
   5943      113153   Joshua Petty                            Douglas & London           7:20-cv-79467-MCR-GRJ
   5944      113154   Ryan Petty                              Douglas & London           7:20-cv-79468-MCR-GRJ
   5945      113155   James Peyton                            Douglas & London           7:20-cv-79469-MCR-GRJ
   5946      113166   Justin Phillips                         Douglas & London           7:20-cv-77598-MCR-GRJ
   5947      113172   Stanley Phillips                        Douglas & London           7:20-cv-77604-MCR-GRJ
   5948      113174   Nathan Phillips                         Douglas & London           7:20-cv-77606-MCR-GRJ
   5949      113176   Michael Phillips                        Douglas & London           7:20-cv-77608-MCR-GRJ
   5950      113177   Sandra Phillips                         Douglas & London                                      7:20-cv-77609-MCR-GRJ
   5951      113183   Samuel Pickard                          Douglas & London           7:20-cv-77614-MCR-GRJ
   5952      113186   Brandon Pickett                         Douglas & London           7:20-cv-77617-MCR-GRJ
   5953      113199   Ryan Pierson                            Douglas & London           7:20-cv-77628-MCR-GRJ
   5954      113202   Adam Pigg                               Douglas & London                                      7:20-cv-77631-MCR-GRJ
   5955      113206   Ferdinand Pine                          Douglas & London           7:20-cv-77635-MCR-GRJ
   5956      113207   Graham Pinkston                         Douglas & London                                      7:20-cv-77636-MCR-GRJ
   5957      113220   Devin Pitzer                            Douglas & London           7:20-cv-77647-MCR-GRJ
   5958      113227   Kirk Player                             Douglas & London                                      3:19-cv-03333-MCR-GRJ
   5959      113231   Andrew Ploski                           Douglas & London           7:20-cv-77654-MCR-GRJ
   5960      113234   Willie Plummer                          Douglas & London           7:20-cv-77657-MCR-GRJ
   5961      113235   James Plyley                            Douglas & London           7:20-cv-77658-MCR-GRJ
   5962      113247   Ryan Ponder                             Douglas & London           7:20-cv-77669-MCR-GRJ
   5963      113254   Ryan Popejoy                            Douglas & London           7:20-cv-77675-MCR-GRJ
   5964      113255   Patrick Popun                           Douglas & London                                      7:20-cv-77676-MCR-GRJ
   5965      113259   Craig Porter                            Douglas & London           7:20-cv-77683-MCR-GRJ
   5966      113272   Levi Potts                              Douglas & London                                      7:20-cv-77708-MCR-GRJ
   5967      113291   Timothy Prairie                         Douglas & London           7:20-cv-77745-MCR-GRJ
   5968      113295   Dexter Prater                           Douglas & London           7:20-cv-77754-MCR-GRJ
   5969      113300   Michael Pratt                           Douglas & London                                      7:20-cv-77762-MCR-GRJ
   5970      113318   Kyle Prill                              Douglas & London           7:20-cv-77795-MCR-GRJ
   5971      113319   Logan Prinz                             Douglas & London           7:20-cv-77797-MCR-GRJ
   5972      113322   Courtney Pritchett                      Douglas & London           7:20-cv-77803-MCR-GRJ
   5973      113352   Jeremiah Pyle                           Douglas & London                                      7:20-cv-77875-MCR-GRJ
   5974      113353   Steven Pyle                             Douglas & London           7:20-cv-77878-MCR-GRJ
   5975      113356   Justin Quaid                            Douglas & London           7:20-cv-77886-MCR-GRJ
   5976      113358   Alexander Quebedeaux                    Douglas & London           7:20-cv-77892-MCR-GRJ
   5977      113360   Chris Quesenberry                       Douglas & London           7:20-cv-77897-MCR-GRJ
   5978      113370   Joseph Quinn                            Douglas & London           7:20-cv-77927-MCR-GRJ
   5979      113383   Charles Radcliff                        Douglas & London           7:20-cv-77971-MCR-GRJ
   5980      113391   Martin Rafalko                          Douglas & London           7:20-cv-77998-MCR-GRJ
   5981      113392   Joshua Ragan                            Douglas & London           7:20-cv-78002-MCR-GRJ
   5982      113395   Mario Ragsdale                          Douglas & London                                      7:20-cv-78013-MCR-GRJ
   5983      113397   Dale Railing                            Douglas & London           7:20-cv-78021-MCR-GRJ
   5984      113408   Roy Ramey                               Douglas & London           7:20-cv-78062-MCR-GRJ
   5985      113415   Frank Ramirez                           Douglas & London           7:20-cv-78095-MCR-GRJ
   5986      113418   Michael Ramirez                         Douglas & London           7:20-cv-78106-MCR-GRJ




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   5987      113426   Ruben Ramirez                           Douglas & London           7:20-cv-78144-MCR-GRJ
   5988      113428   Dixon Ramirez                           Douglas & London                                      7:20-cv-78153-MCR-GRJ
   5989      113438   James Ramsey                            Douglas & London           7:20-cv-78479-MCR-GRJ
   5990      113439   Robert Ramsey                           Douglas & London           7:20-cv-78482-MCR-GRJ
   5991      113441   Iyapo Randall                           Douglas & London           7:20-cv-78488-MCR-GRJ
   5992      113447   Christopher Raney                       Douglas & London                                      7:20-cv-78504-MCR-GRJ
   5993      113457   Jason Rathburnleclaire                  Douglas & London           7:20-cv-78532-MCR-GRJ
   5994      113462   Christopher Ray                         Douglas & London           7:20-cv-78546-MCR-GRJ
   5995      113466   Tyler Ray                               Douglas & London           7:20-cv-78558-MCR-GRJ
   5996      113475   Michael Read                            Douglas & London           7:20-cv-78592-MCR-GRJ
   5997      113477   Stephen Reagan                          Douglas & London           7:20-cv-78600-MCR-GRJ
   5998      113479   James Real                              Douglas & London           7:20-cv-78609-MCR-GRJ
   5999      113489   Lisa Reddick                            Douglas & London           7:20-cv-78647-MCR-GRJ
   6000      113491   Michael Redenbaugh                      Douglas & London           7:20-cv-78650-MCR-GRJ
   6001      113498   Bryan Reed                              Douglas & London           7:20-cv-78676-MCR-GRJ
   6002      113499   Glenn Reed                              Douglas & London           7:20-cv-78681-MCR-GRJ
   6003      113506   Dustin Reel                             Douglas & London           7:20-cv-78705-MCR-GRJ
   6004      113513   Nicholas Reeves                         Douglas & London           7:20-cv-78732-MCR-GRJ
   6005      113514   Rosa Regaldo                            Douglas & London           7:20-cv-78735-MCR-GRJ
   6006      113515   Daniel Regan                            Douglas & London                                      7:20-cv-78739-MCR-GRJ
   6007      113527   Jason Reina                             Douglas & London           7:20-cv-78778-MCR-GRJ
   6008      113533   Robert Renfro                           Douglas & London           7:20-cv-78797-MCR-GRJ
   6009      113536   Greg Renko                              Douglas & London           7:20-cv-78808-MCR-GRJ
   6010      113537   Ian Renner                              Douglas & London           7:20-cv-78812-MCR-GRJ
   6011      113551   Richiner Reyes                          Douglas & London                                      7:20-cv-78852-MCR-GRJ
   6012      113552   Rodolfo Reyes                           Douglas & London           7:20-cv-78856-MCR-GRJ
   6013      113559   Christopher Reynolds                    Douglas & London           7:20-cv-78883-MCR-GRJ
   6014      113566   Billy Rhea                              Douglas & London                                      7:20-cv-78908-MCR-GRJ
   6015      113572   Edward Rhyan                            Douglas & London                                      7:20-cv-78927-MCR-GRJ
   6016      113577   Kenneth Rice                            Douglas & London           7:20-cv-78947-MCR-GRJ
   6017      113581   Philip Rich                             Douglas & London           7:20-cv-78968-MCR-GRJ
   6018      113602   Gary Rickett                            Douglas & London                                      7:20-cv-79063-MCR-GRJ
   6019      113612   Steven Rieck                            Douglas & London           7:20-cv-79108-MCR-GRJ
   6020      113621   Patrick Riley                           Douglas & London           7:20-cv-79153-MCR-GRJ
   6021      113637   Mathew Ristoff                          Douglas & London                                      7:20-cv-79216-MCR-GRJ
   6022      113644   Jose Rivas                              Douglas & London           7:20-cv-79249-MCR-GRJ
   6023      113666   Randy Robbins                           Douglas & London           7:20-cv-79343-MCR-GRJ
   6024      113668   William Robbins                         Douglas & London           7:20-cv-79351-MCR-GRJ
   6025      113676   Clinton Roberts                         Douglas & London           7:20-cv-79380-MCR-GRJ
   6026      113687   Barry Robertson                         Douglas & London           7:20-cv-79419-MCR-GRJ
   6027      113690   James Robertson                         Douglas & London           7:20-cv-79429-MCR-GRJ
   6028      113691   Robert Robertson                        Douglas & London           7:20-cv-79432-MCR-GRJ
   6029      113696   Dominic Robertson                       Douglas & London           7:20-cv-79449-MCR-GRJ
   6030      113702   Douglas Robinson                        Douglas & London           7:20-cv-79984-MCR-GRJ
   6031      113711   Stephen Robinson                        Douglas & London           7:20-cv-79999-MCR-GRJ
   6032      113715   Michael Robinson                        Douglas & London           7:20-cv-80007-MCR-GRJ
   6033      113719   Lavell Robinson                         Douglas & London           7:20-cv-80014-MCR-GRJ
   6034      113723   Eric Robledo                            Douglas & London           7:20-cv-80021-MCR-GRJ
   6035      113730   Andrew Rodarte                          Douglas & London           7:20-cv-80034-MCR-GRJ
   6036      113733   Thales Rodrigues                        Douglas & London           7:20-cv-80040-MCR-GRJ
   6037      113743   Orlando Rodriguez                       Douglas & London           7:20-cv-80058-MCR-GRJ
   6038      113748   Virgilio Rodriguez                      Douglas & London           7:20-cv-80070-MCR-GRJ
   6039      113750   Enoc Rodriguez                          Douglas & London                                      7:20-cv-80076-MCR-GRJ
   6040      113752   Reinaldo Rodriguez                      Douglas & London           7:20-cv-80083-MCR-GRJ
   6041      113755   Hector Rodriguez                        Douglas & London           7:20-cv-80091-MCR-GRJ
   6042      113756   Mark Rodriguez                          Douglas & London                                      7:20-cv-80094-MCR-GRJ
   6043      113757   Joseph Roe                              Douglas & London           7:20-cv-80097-MCR-GRJ
   6044      113763   Derek Rogers                            Douglas & London           7:20-cv-80115-MCR-GRJ
   6045      113767   Ronald Rogers                           Douglas & London           7:20-cv-80126-MCR-GRJ
   6046      113779   Felicia Rogiani                         Douglas & London           7:20-cv-80162-MCR-GRJ
   6047      113781   Salvador Rojas                          Douglas & London           7:20-cv-80169-MCR-GRJ
   6048      113783   Spencer Rolfe                           Douglas & London                                      7:20-cv-80174-MCR-GRJ
   6049      113784   Charles Roller                          Douglas & London                                      7:20-cv-80177-MCR-GRJ
   6050      113786   Jason Rollison                          Douglas & London                                      7:20-cv-80184-MCR-GRJ
   6051      113790   Michael Romeo                           Douglas & London           7:20-cv-80195-MCR-GRJ
   6052      113794   Esteban Romero                          Douglas & London           7:20-cv-80208-MCR-GRJ
   6053      113800   Nathaniel Romig                         Douglas & London           7:20-cv-80223-MCR-GRJ
   6054      113821   Bernard Rosenberg                       Douglas & London           7:20-cv-80286-MCR-GRJ
   6055      113824   Jeremy Ross                             Douglas & London           7:20-cv-80292-MCR-GRJ
   6056      113826   Lee Ross                                Douglas & London           7:20-cv-80297-MCR-GRJ
   6057      113856   Loreto Rubio                            Douglas & London                                      7:20-cv-80374-MCR-GRJ
   6058      113858   David Rude                              Douglas & London                                      7:20-cv-80381-MCR-GRJ
   6059      113860   Howard Rudisill                         Douglas & London           7:20-cv-80388-MCR-GRJ




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   6060      113872   Jason Rulon                             Douglas & London           7:20-cv-80437-MCR-GRJ
   6061      113881   Jamaal Russell                          Douglas & London                                      7:20-cv-80474-MCR-GRJ
   6062      113898   James Ryan                              Douglas & London           7:20-cv-80545-MCR-GRJ
   6063      113911   Jason Sabato                            Douglas & London           7:20-cv-80606-MCR-GRJ
   6064      113936   Leeroy Salinas                          Douglas & London           7:20-cv-80732-MCR-GRJ
   6065      113947   Brandon Samson                          Douglas & London           7:20-cv-80791-MCR-GRJ
   6066      113959   Jeffrey Sanchez                         Douglas & London           7:20-cv-81114-MCR-GRJ
   6067      113970   Omteme Sanders                          Douglas & London                                      7:20-cv-81172-MCR-GRJ
   6068      113985   Michael Santa                           Douglas & London           7:20-cv-81254-MCR-GRJ
   6069      113989   Cody Santillo                           Douglas & London                                      7:20-cv-81284-MCR-GRJ
   6070      113993   Joshua Santos                           Douglas & London                                      7:20-cv-81305-MCR-GRJ
   6071      113994   Ian Sargent                             Douglas & London                                      7:20-cv-81311-MCR-GRJ
   6072      114018   John Schaefer                           Douglas & London                                      7:20-cv-81436-MCR-GRJ
   6073      114021   Justin Schaffer                         Douglas & London           7:20-cv-81452-MCR-GRJ
   6074      114034   Michael Schlak                          Douglas & London           7:20-cv-81513-MCR-GRJ
   6075      114038   Donald Schmidt                          Douglas & London           7:20-cv-81535-MCR-GRJ
   6076      114040   Sean Schmidt                            Douglas & London                                      7:20-cv-81541-MCR-GRJ
   6077      114049   Jonathan Schrock                        Douglas & London           7:20-cv-81583-MCR-GRJ
   6078      114064   Karl Schulz                             Douglas & London           7:20-cv-81640-MCR-GRJ
   6079      114065   Jordan Schulz                           Douglas & London                                      7:20-cv-81644-MCR-GRJ
   6080      114066   James Schumacher                        Douglas & London           7:20-cv-81647-MCR-GRJ
   6081      114070   Charles Schwacke                        Douglas & London           7:20-cv-81659-MCR-GRJ
   6082      114081   Scott Schwind                           Douglas & London           7:20-cv-81693-MCR-GRJ
   6083      114093   Ronnie Scott                            Douglas & London           7:20-cv-81721-MCR-GRJ
   6084      114099   Eric Scott                              Douglas & London           7:20-cv-81733-MCR-GRJ
   6085      114103   Deane Scully                            Douglas & London           7:20-cv-26244-MCR-GRJ
   6086      114137   Steve Shahan                            Douglas & London                                      7:20-cv-81782-MCR-GRJ
   6087      114144   Spenser Sharp                           Douglas & London                                      7:20-cv-81789-MCR-GRJ
   6088      114153   Lamar Shaw                              Douglas & London           7:20-cv-81797-MCR-GRJ
   6089      114166   Carl Shelton                            Douglas & London           7:20-cv-81810-MCR-GRJ
   6090      114169   Weston Shelton                          Douglas & London           7:20-cv-81813-MCR-GRJ
   6091      114176   John Sheppard                           Douglas & London                                      7:20-cv-81819-MCR-GRJ
   6092      114200   Zachariah Shope                         Douglas & London           7:20-cv-81843-MCR-GRJ
   6093      114202   Chadwick Short                          Douglas & London           7:20-cv-81845-MCR-GRJ
   6094      114206   Francis Shoulders                       Douglas & London           7:20-cv-81849-MCR-GRJ
   6095      114211   Andrew Shull                            Douglas & London                                      7:20-cv-81853-MCR-GRJ
   6096      114213   John Shulskie                           Douglas & London           7:20-cv-81855-MCR-GRJ
   6097      114217   Christopher Shuttlesworth               Douglas & London           7:20-cv-81859-MCR-GRJ
   6098      114229   Kenneth Sikorsky                        Douglas & London           7:20-cv-78884-MCR-GRJ
   6099      114231   Craig Siler                             Douglas & London           7:20-cv-78892-MCR-GRJ
   6100      114244   Gregg Silvers                           Douglas & London           7:20-cv-78933-MCR-GRJ
   6101      114246   Marcus Silverthorne                     Douglas & London                                      7:20-cv-78941-MCR-GRJ
   6102      114249   Joe Simao                               Douglas & London                                      7:20-cv-78953-MCR-GRJ
   6103      114250   William Simerly                         Douglas & London           7:20-cv-78957-MCR-GRJ
   6104      114261   Glenwood Simpson                        Douglas & London           7:20-cv-79009-MCR-GRJ
   6105      114267   Bryan Singleton                         Douglas & London                                      7:20-cv-79037-MCR-GRJ
   6106      114268   Brian Sipes                             Douglas & London           7:20-cv-79042-MCR-GRJ
   6107      114271   Max Sisson                              Douglas & London           7:20-cv-79056-MCR-GRJ
   6108      114272   Zachary Sisson                          Douglas & London           7:20-cv-79061-MCR-GRJ
   6109      114276   Andrew Skahl                            Douglas & London           7:20-cv-79079-MCR-GRJ
   6110      114287   Kelvin Slaughter                        Douglas & London           7:20-cv-79130-MCR-GRJ
   6111      114288   Michael Sledge                          Douglas & London                                      7:20-cv-79135-MCR-GRJ
   6112      114295   William Small                           Douglas & London                                      7:20-cv-79168-MCR-GRJ
   6113      114300   Andrew Smith                            Douglas & London           7:20-cv-79191-MCR-GRJ
   6114      114303   Austin Smith                            Douglas & London                                      7:20-cv-79205-MCR-GRJ
   6115      114304   Blake Smith                             Douglas & London           7:20-cv-79210-MCR-GRJ
   6116      114310   Courtney Smith                          Douglas & London                                      7:20-cv-79238-MCR-GRJ
   6117      114319   Jacob Smith                             Douglas & London                                      7:20-cv-79271-MCR-GRJ
   6118      114320   James Smith                             Douglas & London           7:20-cv-79275-MCR-GRJ
   6119      114328   Jesse Smith                             Douglas & London                                      7:20-cv-79306-MCR-GRJ
   6120      114329   Johnathan Smith                         Douglas & London                                      7:20-cv-79309-MCR-GRJ
   6121      114332   Kaleb Smith                             Douglas & London           7:20-cv-79322-MCR-GRJ
   6122      114334   Lisa Smith                              Douglas & London           7:20-cv-79330-MCR-GRJ
   6123      114336   Matt Smith                              Douglas & London           7:20-cv-79338-MCR-GRJ
   6124      114344   Michael Smith                           Douglas & London           7:20-cv-79366-MCR-GRJ
   6125      114351   Sean Smith                              Douglas & London           7:20-cv-79389-MCR-GRJ
   6126      114355   Steven Smith                            Douglas & London                                      7:20-cv-79403-MCR-GRJ
   6127      114364   Dustin Smith                            Douglas & London                                      7:20-cv-79427-MCR-GRJ
   6128      114367   John Smith                              Douglas & London                                      7:20-cv-79435-MCR-GRJ
   6129      114392   James Snelling                          Douglas & London           7:20-cv-79016-MCR-GRJ
   6130      114397   Quintin Snow                            Douglas & London                                      7:20-cv-79040-MCR-GRJ
   6131      114405   Ricardo Soler                           Douglas & London                                      7:20-cv-79078-MCR-GRJ
   6132      114408   Miguel Solivan                          Douglas & London           7:20-cv-79092-MCR-GRJ




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   6133      114416   Tina Sorensen                           Douglas & London                                      7:20-cv-79126-MCR-GRJ
   6134      114417   Angelina Soriano                        Douglas & London           7:20-cv-79131-MCR-GRJ
   6135      114422   William Soucy                           Douglas & London           7:20-cv-79150-MCR-GRJ
   6136      114434   Patrick Spalding                        Douglas & London           7:20-cv-79193-MCR-GRJ
   6137      114447   Kevin Spence                            Douglas & London           7:20-cv-79257-MCR-GRJ
   6138      114449   Jayvan Spence                           Douglas & London           7:20-cv-79265-MCR-GRJ
   6139      114467   Thomas Spradlin                         Douglas & London           7:20-cv-79332-MCR-GRJ
   6140      114468   Brandon Spradling                       Douglas & London                                      7:20-cv-79337-MCR-GRJ
   6141      114474   Charles Spurlock                        Douglas & London           7:20-cv-79361-MCR-GRJ
   6142      114476   Vichate Sripromma                       Douglas & London           7:20-cv-79369-MCR-GRJ
   6143      114492   Brad Stanford                           Douglas & London           7:20-cv-80077-MCR-GRJ
   6144      114502   Anthony Stapler                         Douglas & London           7:20-cv-80099-MCR-GRJ
   6145      114508   Andre Starling                          Douglas & London           7:20-cv-80114-MCR-GRJ
   6146      114527   Christopher Stein                       Douglas & London           7:20-cv-80163-MCR-GRJ
   6147      114537   Kelly Stephens                          Douglas & London                                      7:20-cv-80188-MCR-GRJ
   6148      114549   Anthony Stevens                         Douglas & London           7:20-cv-80216-MCR-GRJ
   6149      114552   Andre Stevenson                         Douglas & London           7:20-cv-80224-MCR-GRJ
   6150      114554   Chris Stewart                           Douglas & London           7:20-cv-80229-MCR-GRJ
   6151      114557   Marion Stewart                          Douglas & London           7:20-cv-80237-MCR-GRJ
   6152      114563   Micheal Stewart                         Douglas & London           7:20-cv-80253-MCR-GRJ
   6153      114565   Justin Stich                            Douglas & London           7:20-cv-80257-MCR-GRJ
   6154      114568   Robert Stillwell                        Douglas & London           7:20-cv-80266-MCR-GRJ
   6155      114575   Joseph Stith                            Douglas & London           7:20-cv-80280-MCR-GRJ
   6156      114576   Jeff Stivaletta                         Douglas & London           7:20-cv-80282-MCR-GRJ
   6157      114577   Robert Stlouis                          Douglas & London                                      7:20-cv-80284-MCR-GRJ
   6158      114603   Karin Stowe                             Douglas & London           7:20-cv-80332-MCR-GRJ
   6159      114605   Jody Strachan                           Douglas & London           7:20-cv-80337-MCR-GRJ
   6160      114608   Adam Strange                            Douglas & London           7:20-cv-80344-MCR-GRJ
   6161      114612   Marquis Street                          Douglas & London                                      7:20-cv-80354-MCR-GRJ
   6162      114642   David Sugg                              Douglas & London           7:20-cv-80443-MCR-GRJ
   6163      114643   Patrick Suggs                           Douglas & London           7:20-cv-80447-MCR-GRJ
   6164      114665   Justin Suszek                           Douglas & London           7:20-cv-80516-MCR-GRJ
   6165      114674   Johnathan Sutton                        Douglas & London           7:20-cv-80549-MCR-GRJ
   6166      114687   Travis Swenson                          Douglas & London           7:20-cv-80602-MCR-GRJ
   6167      114700   Shannon Szukala                         Douglas & London           7:20-cv-80658-MCR-GRJ
   6168      114704   Justin Taft                             Douglas & London           7:20-cv-80675-MCR-GRJ
   6169      114712   William Tanner                          Douglas & London           7:20-cv-80713-MCR-GRJ
   6170      114717   Daniel Tarleton                         Douglas & London           7:20-cv-80734-MCR-GRJ
   6171      114721   Joshua Tarvin                           Douglas & London           7:20-cv-80751-MCR-GRJ
   6172      114725   Taylor Tassin                           Douglas & London                                      7:20-cv-80768-MCR-GRJ
   6173      114729   Jacob Tate                              Douglas & London           7:20-cv-80785-MCR-GRJ
   6174      114730   Alexander Tatoian                       Douglas & London           7:20-cv-80790-MCR-GRJ
   6175      114732   Thomas Tavtigian                        Douglas & London                                      7:20-cv-80799-MCR-GRJ
   6176      114733   Bo Taylor                               Douglas & London           7:20-cv-80803-MCR-GRJ
   6177      114738   Jason Taylor                            Douglas & London                                      7:20-cv-80822-MCR-GRJ
   6178      114743   Kyle Taylor                             Douglas & London                                      7:20-cv-80839-MCR-GRJ
   6179      114748   Tony Taylor                             Douglas & London           7:20-cv-80520-MCR-GRJ
   6180      114751   Walter Taylor                           Douglas & London                                      7:20-cv-80533-MCR-GRJ
   6181      114752   Michael Taylor                          Douglas & London                                      7:20-cv-80538-MCR-GRJ
   6182      114755   Creed Taylor                            Douglas & London           7:20-cv-80552-MCR-GRJ
   6183      114757   Jeremy Teal                             Douglas & London                                      7:20-cv-80557-MCR-GRJ
   6184      114758   Andrew Tefteller                        Douglas & London                                      7:20-cv-80561-MCR-GRJ
   6185      114759   Christopher Telles                      Douglas & London           7:20-cv-80565-MCR-GRJ
   6186      114765   Jonathan Terral                         Douglas & London           7:20-cv-80593-MCR-GRJ
   6187      114768   Jason Testa                             Douglas & London           7:20-cv-80608-MCR-GRJ
   6188      114771   Earl Thacker                            Douglas & London           7:20-cv-80621-MCR-GRJ
   6189      114783   Austin Thomas                           Douglas & London           7:20-cv-80674-MCR-GRJ
   6190      114798   Leonard Thomas                          Douglas & London                                      7:20-cv-80740-MCR-GRJ
   6191      114800   Nigel Thomas                            Douglas & London                                      7:20-cv-80748-MCR-GRJ
   6192      114807   Lashawn Thomas                          Douglas & London           7:20-cv-80774-MCR-GRJ
   6193      114809   Nathan Thomeczek                        Douglas & London           7:20-cv-26250-MCR-GRJ
   6194      114820   Jarrid Thompson                         Douglas & London           7:20-cv-80825-MCR-GRJ
   6195      114823   Kevin Thompson                          Douglas & London           7:20-cv-80836-MCR-GRJ
   6196      114827   Shon Thompson                           Douglas & London           7:20-cv-80854-MCR-GRJ
   6197      114833   Lorenza Thompson                        Douglas & London           7:20-cv-80875-MCR-GRJ
   6198      114837   Grant Thomson                           Douglas & London           7:20-cv-80890-MCR-GRJ
   6199      114844   Cody Thorpe                             Douglas & London           7:20-cv-26251-MCR-GRJ
   6200      114849   Derik Thunder Sexton                    Douglas & London           7:20-cv-80925-MCR-GRJ
   6201      114852   Brad Thurman                            Douglas & London           7:20-cv-80934-MCR-GRJ
   6202      114857   Austen Tidmore                          Douglas & London                                      7:20-cv-80945-MCR-GRJ
   6203      114868   Timothy Shellenberg                     Douglas & London           7:20-cv-80974-MCR-GRJ
   6204      114871   Brett Tinker                            Douglas & London                                      7:20-cv-80983-MCR-GRJ
   6205      114883   John Todd                               Douglas & London           7:20-cv-81018-MCR-GRJ




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   6207      114892   Daniel Toman                            Douglas & London           7:20-cv-81038-MCR-GRJ
   6208      114898   William Toon                            Douglas & London           7:20-cv-81047-MCR-GRJ
   6209      114909   Andres Torreschavez                     Douglas & London                                      7:20-cv-81085-MCR-GRJ
   6210      114911   Jeffrey Tortora                         Douglas & London           7:20-cv-81094-MCR-GRJ
   6211      114916   Jordan Townsend                         Douglas & London           7:20-cv-81110-MCR-GRJ
   6212      114922   Collin Trammell                         Douglas & London           7:20-cv-81134-MCR-GRJ
   6213      114935   Nathan Trefethen                        Douglas & London                                      7:20-cv-81198-MCR-GRJ
   6214      114936   Christopher Tremillo                    Douglas & London           7:20-cv-81203-MCR-GRJ
   6215      114944   Matthew Tribby                          Douglas & London           7:20-cv-81241-MCR-GRJ
   6216      114962   Joseph Trujillo                         Douglas & London                                      7:20-cv-81327-MCR-GRJ
   6217      114969   Marco Tubbs                             Douglas & London           7:20-cv-81356-MCR-GRJ
   6218      114970   Alexander Tuck                          Douglas & London           7:20-cv-81360-MCR-GRJ
   6219      114972   Adam Tucker                             Douglas & London           7:20-cv-81364-MCR-GRJ
   6220      114990   Jacob Turner                            Douglas & London                                      7:20-cv-81446-MCR-GRJ
   6221      114994   Matthew Turner                          Douglas & London           7:20-cv-81465-MCR-GRJ
   6222      114998   Christopher Turner                      Douglas & London                                      7:20-cv-81483-MCR-GRJ
   6223      115003   Tyler Turner                            Douglas & London           7:20-cv-81506-MCR-GRJ
   6224      115007   Robert Turner                           Douglas & London           7:20-cv-81522-MCR-GRJ
   6225      115013   Adam Twomey                             Douglas & London                                      7:20-cv-81549-MCR-GRJ
   6226      115019   Joshua Tyler                            Douglas & London           7:20-cv-80887-MCR-GRJ
   6227      115020   Brian Ubele                             Douglas & London           7:20-cv-80891-MCR-GRJ
   6228      115027   Jon Upton                               Douglas & London           7:20-cv-80907-MCR-GRJ
   6229      115032   David Ursino                            Douglas & London                                      7:20-cv-80921-MCR-GRJ
   6230      115036   Anthony Valdez                          Douglas & London           7:20-cv-80930-MCR-GRJ
   6231      115049   Raymundo Valles                         Douglas & London           7:20-cv-80960-MCR-GRJ
   6232      115054   Christopher Van Meter                   Douglas & London           7:20-cv-80973-MCR-GRJ
   6233      115059   Jeffery Vandall                         Douglas & London                                      7:20-cv-80988-MCR-GRJ
   6234      115065   Michael Vanhoozen                       Douglas & London           7:20-cv-81005-MCR-GRJ
   6235      115067   Lucas Vanmetre                          Douglas & London           7:20-cv-81011-MCR-GRJ
   6236      115081   Eric Varnell                            Douglas & London           7:20-cv-81046-MCR-GRJ
   6237      115093   Richard Vazquez                         Douglas & London           7:20-cv-81088-MCR-GRJ
   6238      115101   Nicholas Vela                           Douglas & London                                      7:20-cv-81122-MCR-GRJ
   6239      115119   Sean Versluis                           Douglas & London           7:20-cv-81207-MCR-GRJ
   6240      115120   Xavier Vesga                            Douglas & London           7:20-cv-81211-MCR-GRJ
   6241      115124   Luis Vicentyaponte                      Douglas & London           7:20-cv-81230-MCR-GRJ
   6242      115145   David Von Hagen                         Douglas & London                                      7:20-cv-81317-MCR-GRJ
   6243      115157   Jacob Wade                              Douglas & London           7:20-cv-81372-MCR-GRJ
   6244      115165   Justin Wainwright                       Douglas & London           7:20-cv-81404-MCR-GRJ
   6245      115171   William Walden                          Douglas & London           7:20-cv-81431-MCR-GRJ
   6246      115173   Daniel Walker                           Douglas & London           7:20-cv-81440-MCR-GRJ
   6247      115177   Jeffery Walker                          Douglas & London           7:20-cv-81454-MCR-GRJ
   6248      115198   Christopher Wallace                     Douglas & London                                      7:20-cv-81546-MCR-GRJ
   6249      115207   Jeffrey Walter                          Douglas & London           7:20-cv-81581-MCR-GRJ
   6250      115213   Jeremy Walton                           Douglas & London           7:20-cv-81603-MCR-GRJ
   6251      115221   Daniel Ward                             Douglas & London                                      7:20-cv-81628-MCR-GRJ
   6252      115231   Brandon Ward                            Douglas & London                                      7:20-cv-81658-MCR-GRJ
   6253      115239   Troy Warmath                            Douglas & London           7:20-cv-81681-MCR-GRJ
   6254      115242   Jerry Warner                            Douglas & London                                      7:20-cv-81689-MCR-GRJ
   6255      115252   Ulysses Washington                      Douglas & London           7:20-cv-81710-MCR-GRJ
   6256      115258   Andrew Wathen                           Douglas & London           7:20-cv-81720-MCR-GRJ
   6257      115265   Vincent Watkins                         Douglas & London                                      7:20-cv-81734-MCR-GRJ
   6258      115268   Joshua Watson                           Douglas & London           7:20-cv-81740-MCR-GRJ
   6259      115272   Damon Watson                            Douglas & London           7:20-cv-81748-MCR-GRJ
   6260      115289   Karl Weaver                             Douglas & London                                      7:20-cv-81912-MCR-GRJ
   6261      115293   Matthew Webb                            Douglas & London           7:20-cv-81920-MCR-GRJ
   6262      115303   Justin Weber                            Douglas & London           7:20-cv-81936-MCR-GRJ
   6263      115311   Allen Weddington                        Douglas & London           7:20-cv-81951-MCR-GRJ
   6264      115318   Nathaniel Welander                      Douglas & London                                      3:19-cv-03330-MCR-GRJ
   6265      115321   Dave Welch                              Douglas & London           7:20-cv-81968-MCR-GRJ
   6266      115346   Daniel Wescovich                        Douglas & London           7:20-cv-82029-MCR-GRJ
   6267      115353   Norris West                             Douglas & London           7:20-cv-82055-MCR-GRJ
   6268      115357   Rodney West                             Douglas & London           7:20-cv-82071-MCR-GRJ
   6269      115363   Shiloe Weston                           Douglas & London                                      7:20-cv-82095-MCR-GRJ
   6270      115364   Torey Weston                            Douglas & London           7:20-cv-82099-MCR-GRJ
   6271      115384   Austin Whitaker                         Douglas & London                                      7:20-cv-82176-MCR-GRJ
   6272      115411   Scott White                             Douglas & London           7:20-cv-82265-MCR-GRJ
   6273      115428   Bradley Whitwell                        Douglas & London           7:20-cv-82317-MCR-GRJ
   6274      115437   Tommie Wiggins                          Douglas & London           7:20-cv-82345-MCR-GRJ
   6275      115445   Jason Wilkerson                         Douglas & London           7:20-cv-82366-MCR-GRJ
   6276      115446   John Wilkerson                          Douglas & London           7:20-cv-26258-MCR-GRJ
   6277      115448   Steven Wilkerson                        Douglas & London           7:20-cv-82372-MCR-GRJ
   6278      115451   Andrew Wilkinson                        Douglas & London           7:20-cv-82379-MCR-GRJ




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   6279      115452   Shane Wilkinson                         Douglas & London           7:20-cv-82382-MCR-GRJ
   6280      115454   Kenneth Willard                         Douglas & London           7:20-cv-82388-MCR-GRJ
   6281      115459   Casey Williams                          Douglas & London           7:20-cv-82403-MCR-GRJ
   6282      115461   Christopher Williams                    Douglas & London                                      7:20-cv-82409-MCR-GRJ
   6283      115463   Craig Williams                          Douglas & London                                      7:20-cv-82415-MCR-GRJ
   6284      115466   Deborah Williams                        Douglas & London           7:20-cv-82421-MCR-GRJ
   6285      115467   Dorian Williams                         Douglas & London           7:20-cv-82424-MCR-GRJ
   6286      115472   Jessica Williams                        Douglas & London           7:20-cv-82440-MCR-GRJ
   6287      115473   Jimmy Williams                          Douglas & London                                      7:20-cv-82443-MCR-GRJ
   6288      115477   Justin Williams                         Douglas & London           7:20-cv-82455-MCR-GRJ
   6289      115479   Morris Williams                         Douglas & London           7:20-cv-82462-MCR-GRJ
   6290      115483   Stephen Williams                        Douglas & London           7:20-cv-82477-MCR-GRJ
   6291      115485   Ty Williams                             Douglas & London           7:20-cv-82485-MCR-GRJ
   6292      115488   Zach Williams                           Douglas & London           7:20-cv-82498-MCR-GRJ
   6293      115497   Steven Williams                         Douglas & London           7:20-cv-82531-MCR-GRJ
   6294      115505   Nathaniel Williams                      Douglas & London           7:20-cv-82558-MCR-GRJ
   6295      115507   Archie Williams                         Douglas & London           7:20-cv-82566-MCR-GRJ
   6296      115510   Casey Willie                            Douglas & London                                      7:20-cv-82578-MCR-GRJ
   6297      115512   William Willis                          Douglas & London           7:20-cv-82585-MCR-GRJ
   6298      115520   Ryan Wilno                              Douglas & London                                      7:20-cv-82619-MCR-GRJ
   6299      115532   Michael Wilson                          Douglas & London           7:20-cv-82667-MCR-GRJ
   6300      115534   Rebecca Wilson                          Douglas & London                                      7:20-cv-82673-MCR-GRJ
   6301      115538   Thomas Wilson                           Douglas & London           7:20-cv-82685-MCR-GRJ
   6302      115544   Nathaniel Wilson                        Douglas & London           7:20-cv-82696-MCR-GRJ
   6303      115551   Yolanda Wilson Randall                  Douglas & London           7:20-cv-82709-MCR-GRJ
   6304      115554   Daniel Winchester                       Douglas & London                                      7:20-cv-82714-MCR-GRJ
   6305      115559   Christopher Winn                        Douglas & London           7:20-cv-82724-MCR-GRJ
   6306      115561   Joseph Winsley                          Douglas & London                                      7:20-cv-82728-MCR-GRJ
   6307      115562   Bryan Winston                           Douglas & London           7:20-cv-82729-MCR-GRJ
   6308      115563   Zach Winter                             Douglas & London           7:20-cv-82731-MCR-GRJ
   6309      115566   Benjamin Wisenbaugh                     Douglas & London           7:20-cv-82735-MCR-GRJ
   6310      115573   Joshua Wofford                          Douglas & London           7:20-cv-82747-MCR-GRJ
   6311      115574   Brian Wofford                           Douglas & London                                      7:20-cv-82748-MCR-GRJ
   6312      115579   Christian Wolcott                       Douglas & London           7:20-cv-82758-MCR-GRJ
   6313      115588   Nicholas Wolff                          Douglas & London           7:20-cv-82775-MCR-GRJ
   6314      115592   Jessica Womble                          Douglas & London                                      7:20-cv-82783-MCR-GRJ
   6315      115594   Allen Wood                              Douglas & London           7:20-cv-82786-MCR-GRJ
   6316      115596   Gabriel Wood                            Douglas & London           7:20-cv-82790-MCR-GRJ
   6317      115601   Robert Wood                             Douglas & London           7:20-cv-82798-MCR-GRJ
   6318      115602   Scott Wood                              Douglas & London                                      7:20-cv-82799-MCR-GRJ
   6319      115606   Andrew Woodburn                         Douglas & London           7:20-cv-82807-MCR-GRJ
   6320      115620   Michael Woods                           Douglas & London                                      7:20-cv-82833-MCR-GRJ
   6321      115622   Eric Woodside                           Douglas & London           7:20-cv-82836-MCR-GRJ
   6322      115639   David Wright                            Douglas & London                                      7:20-cv-82867-MCR-GRJ
   6323      115658   Colton Wyatt                            Douglas & London           7:20-cv-82904-MCR-GRJ
   6324      115661   Robert Wygal                            Douglas & London                                      7:20-cv-82910-MCR-GRJ
   6325      115691   Lucas York                              Douglas & London           7:20-cv-82965-MCR-GRJ
   6326      115692   Marlon York                             Douglas & London           7:20-cv-82967-MCR-GRJ
   6327      115694   Kyle Youker                             Douglas & London           7:20-cv-82970-MCR-GRJ
   6328      115695   Andrew Young                            Douglas & London           7:20-cv-82972-MCR-GRJ
   6329      115702   Nicholas Young                          Douglas & London           7:20-cv-82986-MCR-GRJ
   6330      115707   Samuel Young                            Douglas & London           7:20-cv-82996-MCR-GRJ
   6331      115712   Michael Yousif                          Douglas & London           7:20-cv-83008-MCR-GRJ
   6332      115715   Brian Yrigoyen                          Douglas & London           7:20-cv-83016-MCR-GRJ
   6333      115720   John Yutzy                              Douglas & London           7:20-cv-83031-MCR-GRJ
   6334      115739   Tyson Zellaha                           Douglas & London                                      7:20-cv-83088-MCR-GRJ
   6335      115750   James Zimmerman                         Douglas & London           7:20-cv-83116-MCR-GRJ
   6336      115758   Philip Zucchelli                        Douglas & London           7:20-cv-83134-MCR-GRJ
   6337      126746   Peter Kelson                            Douglas & London                                      3:19-cv-01597-MCR-GRJ
   6338      126748   Anthony Coleman                         Douglas & London                                      3:19-cv-00706-MCR-GRJ
   6339      139645   Melissa Alexander                       Douglas & London           7:20-cv-88302-MCR-GRJ
   6340      156487   Christopher Walker                      Douglas & London           7:20-cv-88329-MCR-GRJ
   6341      156672   Michele Perry                           Douglas & London           7:20-cv-88340-MCR-GRJ
   6342      157196   Dana Mays                               Douglas & London                                      7:20-cv-88347-MCR-GRJ
   6343      157454   Troy Neasbitt                           Douglas & London           7:20-cv-88365-MCR-GRJ
   6344      161095   Justin Dykman                           Douglas & London           7:20-cv-88406-MCR-GRJ
   6345      162349   Ana Mosquera                            Douglas & London           7:20-cv-88427-MCR-GRJ
   6346      167628   Chris Daugherty                         Douglas & London           7:20-cv-88796-MCR-GRJ
   6347      167630   Kenneth Hamilton                        Douglas & London           7:20-cv-88798-MCR-GRJ
   6348      183205   Joh'Nisha Drayden                       Douglas & London           7:20-cv-85214-MCR-GRJ
   6349      183206   Yosia Ibrahim                           Douglas & London           7:20-cv-85220-MCR-GRJ
   6350      183209   Aaron Beach                             Douglas & London                                      7:20-cv-85237-MCR-GRJ
   6351      183215   Kofi Fraser                             Douglas & London           7:20-cv-85271-MCR-GRJ




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   6352      183227   Lawrance Creech                         Douglas & London               7:20-cv-85342-MCR-GRJ
   6353      183232   Amita Jenkins                           Douglas & London               7:20-cv-85372-MCR-GRJ
   6354      183233   Christopher Fredson                     Douglas & London               7:20-cv-85378-MCR-GRJ
   6355      183237   Clifford Thomas                         Douglas & London               7:20-cv-85400-MCR-GRJ
   6356      183240   Jonathan Ward                           Douglas & London               7:20-cv-85419-MCR-GRJ
   6357      209671   Emanuel Lewis                           Douglas & London               8:20-cv-54881-MCR-GRJ
   6358      270400   Elizabeth Welborn                       Douglas & London                                          9:20-cv-11213-MCR-GRJ
   6359      305502   Davin Ross                              Douglas & London               7:21-cv-23817-MCR-GRJ
   6360      307369   John Nangle                             Douglas & London               7:21-cv-24217-MCR-GRJ
   6361      308741   Vincent Fowler                          Douglas & London               7:21-cv-26170-MCR-GRJ
   6362      308749   Brayden Kelley                          Douglas & London               7:21-cv-26177-MCR-GRJ
   6363      317444   Joel Kozlowski                          Douglas & London               7:21-cv-29883-MCR-GRJ
   6364      319819   James Cline                             Douglas & London               7:21-cv-30038-MCR-GRJ
   6365      320516   Johnny Madden                           Douglas & London                                          3:22-cv-05293-MCR-GRJ
   6366      321868   Andrew Rattray                          Douglas & London                                          3:21-cv-04110-MCR-GRJ
   6367      322363   Dashiell Cannon                         Douglas & London                                          7:21-cv-37260-MCR-GRJ
   6368      325001   Andrew Sedamanos                        Douglas & London               7:21-cv-39761-MCR-GRJ
   6369      325368   George Astbury                          Douglas & London               7:21-cv-39911-MCR-GRJ
   6370      325607   Corey Mann                              Douglas & London               7:21-cv-40613-MCR-GRJ
   6371      326304   Christina Santos                        Douglas & London               7:21-cv-40633-MCR-GRJ
   6372      327180   Herbert Ashley                          Douglas & London               7:21-cv-43272-MCR-GRJ
   6373      331212   Stevie Bailey                           Douglas & London                                          7:21-cv-46845-MCR-GRJ
   6374      351004   Justin Richter                          Douglas & London                                          3:22-cv-02356-MCR-GRJ
   6375      354757   Brendan Patton                          Douglas & London                                          3:21-cv-04013-MCR-GRJ
   6376      354959   Travis Warren                           Douglas & London                                          3:21-cv-04115-MCR-GRJ
   6377      176714   John Erhart                             Eckland & Blando LLP                                      3:19-cv-05103-MCR-GRJ
   6378      207995   Saul Morales                            Eckland & Blando LLP                                      3:20-cv-01070-MCR-GRJ
   6379      208017   Ryan Sova                               Eckland & Blando LLP                                      3:20-cv-01808-MCR-GRJ
   6380      208022   Julie Gonzalez                          Eckland & Blando LLP                                      3:20-cv-02435-MCR-GRJ
   6381      304753   Brian Dalka                             Eckland & Blando LLP                                      3:21-cv-00003-MCR-GRJ
   6382      304757   Anthony Graham                          Eckland & Blando LLP                                      3:21-cv-00009-MCR-GRJ
   6383      304758   Blaine Morgan                           Eckland & Blando LLP                                      3:21-cv-00010-MCR-GRJ
   6384      304759   Andy Morath                             Eckland & Blando LLP                                      3:21-cv-00011-MCR-GRJ
   6385      304771   Victor Velasquez                        Eckland & Blando LLP                                      3:21-cv-00031-MCR-GRJ
   6386      304776   Robert Bailor                           Eckland & Blando LLP                                      3:21-cv-00041-MCR-GRJ
   6387      304777   Dimitri Paige                           Eckland & Blando LLP                                      3:21-cv-00086-MCR-GRJ
   6388      304781   Joseph Sulzby                           Eckland & Blando LLP                                      3:21-cv-00091-MCR-GRJ
   6389      304784   Jimmy Wood                              Eckland & Blando LLP                                      3:21-cv-00094-MCR-GRJ
   6390      304786   Nathan Collier                          Eckland & Blando LLP                                      3:21-cv-00097-MCR-GRJ
   6391      304801   Jonathan Craghead                       Eckland & Blando LLP                                      3:21-cv-00135-MCR-GRJ
   6392      304805   Michael Dodson                          Eckland & Blando LLP                                      3:21-cv-00139-MCR-GRJ
   6393      304806   Joshua Dow                              Eckland & Blando LLP                                      3:21-cv-00141-MCR-GRJ
   6394      304818   Cody Mcclellan                          Eckland & Blando LLP                                      3:21-cv-00154-MCR-GRJ
   6395      304820   Brandon Layman                          Eckland & Blando LLP                                      3:21-cv-00156-MCR-GRJ
   6396      304821   Brian Lewis                             Eckland & Blando LLP                                      3:21-cv-00158-MCR-GRJ
   6397      304826   Terrill King                            Eckland & Blando LLP                                      3:21-cv-00165-MCR-GRJ
   6398      304827   Timothy Kopp                            Eckland & Blando LLP                                      3:21-cv-00167-MCR-GRJ
   6399      304970   Nathanael Adler                         Eckland & Blando LLP                                      3:21-cv-00210-MCR-GRJ
   6400      304988   Robert Haehnel                          Eckland & Blando LLP                                      3:21-cv-00229-MCR-GRJ
   6401      304989   Robert Garcia                           Eckland & Blando LLP                                      3:21-cv-00230-MCR-GRJ
   6402      304990   Valencia Hagos                          Eckland & Blando LLP                                      3:21-cv-00231-MCR-GRJ
   6403      305004   Timothy Mace                            Eckland & Blando LLP                                      3:21-cv-00264-MCR-GRJ
   6404      305007   Matthew Mayo                            Eckland & Blando LLP                                      3:21-cv-00267-MCR-GRJ
   6405      305023   Corey Parson                            Eckland & Blando LLP                                      3:21-cv-00283-MCR-GRJ
   6406      305024   Mike Moore                              Eckland & Blando LLP                                      3:21-cv-00284-MCR-GRJ
   6407      305034   Jared Hinsley                           Eckland & Blando LLP                                      3:21-cv-00303-MCR-GRJ
   6408      305035   Jeremy Looper                           Eckland & Blando LLP                                      3:21-cv-00304-MCR-GRJ
   6409      305046   Martin Smith                            Eckland & Blando LLP                                      3:21-cv-00315-MCR-GRJ
   6410      305047   Kevin Wiseman                           Eckland & Blando LLP                                      3:21-cv-00316-MCR-GRJ
   6411      305052   Gary Welch                              Eckland & Blando LLP                                      3:21-cv-00321-MCR-GRJ
   6412      305066   Devin Smith                             Eckland & Blando LLP                                      3:21-cv-00348-MCR-GRJ
   6413      305068   Eric Wingo-Ferguson                     Eckland & Blando LLP                                      3:21-cv-00350-MCR-GRJ
   6414      305071   Brent Bellamy                           Eckland & Blando LLP                                      3:21-cv-00379-MCR-GRJ
   6415      305072   Isobel Black                            Eckland & Blando LLP                                      3:21-cv-00380-MCR-GRJ
   6416      305077   Jeff Harper                             Eckland & Blando LLP                                      3:21-cv-00385-MCR-GRJ
   6417      305079   Robert Harrison                         Eckland & Blando LLP                                      3:21-cv-00387-MCR-GRJ
   6418      305090   Dusty Edmonds                           Eckland & Blando LLP                                      3:21-cv-00398-MCR-GRJ
   6419      305094   Cody Pankey                             Eckland & Blando LLP                                      3:21-cv-00420-MCR-GRJ
   6420      305100   Wesley Shoemaker                        Eckland & Blando LLP                                      3:21-cv-00426-MCR-GRJ
   6421      305104   Eddie Peery                             Eckland & Blando LLP                                      3:21-cv-00430-MCR-GRJ
   6422      305114   Joseph Metcalf                          Eckland & Blando LLP                                      3:21-cv-00440-MCR-GRJ
   6423      305137   William Dudley                          Eckland & Blando LLP                                      3:21-cv-00463-MCR-GRJ
   6424      305138   Jeremy Hall                             Eckland & Blando LLP                                      3:21-cv-00464-MCR-GRJ




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   6425      305140   Bradley Huggins                         Eckland & Blando LLP                                                 3:21-cv-00466-MCR-GRJ
   6426      305146   Terrance Teal                           Eckland & Blando LLP                                                 3:21-cv-00472-MCR-GRJ
   6427      305147   Muhammad Thomas                         Eckland & Blando LLP                                                 3:21-cv-00473-MCR-GRJ
   6428      305152   David Heckman                           Eckland & Blando LLP                                                 3:21-cv-00478-MCR-GRJ
   6429      305163   Manuel Soto                             Eckland & Blando LLP                                                 3:21-cv-00496-MCR-GRJ
   6430      305171   James Willard                           Eckland & Blando LLP                                                 3:21-cv-00504-MCR-GRJ
   6431      305182   Fredrick Borgards                       Eckland & Blando LLP                                                 3:21-cv-00554-MCR-GRJ
   6432      305186   Debra Copland-Sparrow                   Eckland & Blando LLP                                                 3:21-cv-00558-MCR-GRJ
   6433      305202   Reginald Thomas                         Eckland & Blando LLP                                                 3:21-cv-00574-MCR-GRJ
   6434      305208   Christine Caplis                        Eckland & Blando LLP                                                 3:21-cv-00580-MCR-GRJ
   6435      325623   Shannon George                          Environmental Litigation Group PC         7:21-cv-68156-MCR-GRJ      7:21-cv-68156-MCR-GRJ
   6436      325627   Luke Littlefield                        Environmental Litigation Group PC                                    7:21-cv-68158-MCR-GRJ
   6437      325635   Jason Wiley                             Environmental Litigation Group PC         7:21-cv-68166-MCR-GRJ      7:21-cv-68166-MCR-GRJ
   6438      325640   Joshua Sepanski                         Environmental Litigation Group PC         7:21-cv-68171-MCR-GRJ      7:21-cv-68171-MCR-GRJ
   6439      325644   Eric Wise                               Environmental Litigation Group PC         7:21-cv-68175-MCR-GRJ      7:21-cv-68175-MCR-GRJ
   6440      325658   Louis Monroe                            Environmental Litigation Group PC         7:21-cv-68189-MCR-GRJ      7:21-cv-68189-MCR-GRJ
   6441      325659   Joseph Bishop                           Environmental Litigation Group PC         7:21-cv-68190-MCR-GRJ      7:21-cv-68190-MCR-GRJ
   6442      325660   Cindy Banh                              Environmental Litigation Group PC         7:21-cv-68191-MCR-GRJ      7:21-cv-68191-MCR-GRJ
   6443      325667   Peter Haglin                            Environmental Litigation Group PC         7:21-cv-68198-MCR-GRJ      7:21-cv-68198-MCR-GRJ
   6444      325670   Harry Foster                            Environmental Litigation Group PC                                    7:21-cv-68201-MCR-GRJ
   6445      325674   Pamela Dukes                            Environmental Litigation Group PC         7:21-cv-68205-MCR-GRJ      7:21-cv-68205-MCR-GRJ
   6446      325677   Michael Connors                         Environmental Litigation Group PC         7:21-cv-68208-MCR-GRJ      7:21-cv-68208-MCR-GRJ
   6447      325678   Sheldon Martin                          Environmental Litigation Group PC         7:21-cv-68209-MCR-GRJ      7:21-cv-68209-MCR-GRJ
   6448      325680   Shawn Gionson                           Environmental Litigation Group PC                                    7:21-cv-68211-MCR-GRJ
   6449      325688   Christopher Crout                       Environmental Litigation Group PC         7:21-cv-68219-MCR-GRJ      7:21-cv-68219-MCR-GRJ
   6450      325699   Blair Harvey                            Environmental Litigation Group PC         7:21-cv-68230-MCR-GRJ      7:21-cv-68230-MCR-GRJ
   6451      325701   William Morrison                        Environmental Litigation Group PC                                    7:21-cv-68232-MCR-GRJ
   6452      325703   Timothy Mattie                          Environmental Litigation Group PC         7:21-cv-68234-MCR-GRJ      7:21-cv-68234-MCR-GRJ
   6453      325714   Charles Bullard                         Environmental Litigation Group PC         7:21-cv-68245-MCR-GRJ      7:21-cv-68245-MCR-GRJ
   6454      335138   Julio Sáez                              Environmental Litigation Group PC                                    7:21-cv-53950-MCR-GRJ
   6455      335142   Jeffrey Olberding                       Environmental Litigation Group PC                                    7:21-cv-53611-MCR-GRJ
   6456      335152   James Walker                            Environmental Litigation Group PC                                    7:21-cv-53631-MCR-GRJ
   6457      335159   Christopher Spadaccini                  Environmental Litigation Group PC                                    7:21-cv-53645-MCR-GRJ
   6458      335160   Thomas Henry                            Environmental Litigation Group PC                                    7:21-cv-53647-MCR-GRJ
   6459      335161   Joseph Thompson                         Environmental Litigation Group PC                                    7:21-cv-53649-MCR-GRJ
   6460      335162   Kelly Mcneill                           Environmental Litigation Group PC                                    7:21-cv-53651-MCR-GRJ
   6461      335165   Charles Barfield                        Environmental Litigation Group PC         7:21-cv-53657-MCR-GRJ
   6462      335167   David Gerlach                           Environmental Litigation Group PC                                    7:21-cv-53661-MCR-GRJ
   6463      335169   Adolphus Bailey                         Environmental Litigation Group PC                                    7:21-cv-53665-MCR-GRJ
   6464      335170   Dana Dodson                             Environmental Litigation Group PC         7:21-cv-53667-MCR-GRJ
   6465      335181   Douglas Marquis                         Environmental Litigation Group PC                                    7:21-cv-53690-MCR-GRJ
   6466      335182   Jerry Goss                              Environmental Litigation Group PC                                    7:21-cv-53692-MCR-GRJ
   6467      335183   Justin Smith                            Environmental Litigation Group PC                                    7:21-cv-53694-MCR-GRJ
   6468      335190   Benjamin Meyer                          Environmental Litigation Group PC                                    7:21-cv-53708-MCR-GRJ
   6469      335191   Ricky West                              Environmental Litigation Group PC                                    7:21-cv-53710-MCR-GRJ
   6470      335197   Lameka Rose                             Environmental Litigation Group PC                                    7:21-cv-53722-MCR-GRJ
   6471      335198   Erik Cruz                               Environmental Litigation Group PC                                    7:21-cv-53724-MCR-GRJ
   6472      335209   Jonathan Shanks                         Environmental Litigation Group PC                                    7:21-cv-53747-MCR-GRJ
   6473      335212   Paul Horn                               Environmental Litigation Group PC         7:21-cv-53753-MCR-GRJ
   6474      335217   Daniel Harreschou                       Environmental Litigation Group PC                                    7:21-cv-53763-MCR-GRJ
   6475      335223   Kyle Woods                              Environmental Litigation Group PC                                    7:21-cv-53777-MCR-GRJ
   6476      335229   Daniel Johnson                          Environmental Litigation Group PC                                    7:21-cv-53789-MCR-GRJ
   6477      335231   Dennis Vick                             Environmental Litigation Group PC                                    7:21-cv-53794-MCR-GRJ
   6478      335237   Rosa Perez                              Environmental Litigation Group PC                                    7:21-cv-53807-MCR-GRJ
   6479      335239   Raymond Mejorado                        Environmental Litigation Group PC         7:21-cv-53811-MCR-GRJ
   6480      335246   Franklin Hammond                        Environmental Litigation Group PC         7:21-cv-53826-MCR-GRJ
   6481      335249   Billy Lewis                             Environmental Litigation Group PC         7:21-cv-53833-MCR-GRJ
   6482      335254   Christopher Oliver                      Environmental Litigation Group PC                                    7:21-cv-53844-MCR-GRJ
   6483      335255   Trevor Ivey                             Environmental Litigation Group PC                                    7:21-cv-53846-MCR-GRJ
   6484      335257   Ronald Perez-Guerra                     Environmental Litigation Group PC         7:21-cv-53850-MCR-GRJ
   6485      335260   Matthew Hancock                         Environmental Litigation Group PC                                    7:21-cv-53856-MCR-GRJ
   6486      335265   Coty Luther                             Environmental Litigation Group PC                                    7:21-cv-53867-MCR-GRJ
   6487      335267   Logan Vaughn                            Environmental Litigation Group PC                                    7:21-cv-53871-MCR-GRJ
   6488      335269   Guy Mefferd                             Environmental Litigation Group PC                                    7:21-cv-53876-MCR-GRJ
   6489      335274   Oswald Ojeda                            Environmental Litigation Group PC                                    7:21-cv-53886-MCR-GRJ
   6490      335275   Taylor Fout                             Environmental Litigation Group PC                                    7:21-cv-53888-MCR-GRJ
   6491      335276   Jacques Royal                           Environmental Litigation Group PC         7:21-cv-53890-MCR-GRJ
   6492      335283   Ian Coon                                Environmental Litigation Group PC                                    7:21-cv-53905-MCR-GRJ
   6493      335285   Kevin Morse                             Environmental Litigation Group PC         7:21-cv-53909-MCR-GRJ
   6494      335287   Larry Peterson                          Environmental Litigation Group PC                                    7:21-cv-53914-MCR-GRJ
   6495      335289   Robert Spears                           Environmental Litigation Group PC         7:21-cv-53918-MCR-GRJ
   6496      335290   William Schmitt                         Environmental Litigation Group PC                                    7:21-cv-53920-MCR-GRJ
   6497      335291   Mark Herrera                            Environmental Litigation Group PC                                    7:21-cv-53922-MCR-GRJ




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   6498      335293   Dalibor Markovic                        Environmental Litigation Group PC         7:21-cv-53924-MCR-GRJ
   6499      335295   Anthony Clyma                           Environmental Litigation Group PC                                    7:21-cv-53926-MCR-GRJ
   6500      335299   Mike Rodriguez                          Environmental Litigation Group PC                                    7:21-cv-53930-MCR-GRJ
   6501      335302   Levi Dunworth                           Environmental Litigation Group PC                                    7:21-cv-53933-MCR-GRJ
   6502      335305   Eric Vodicka                            Environmental Litigation Group PC         7:21-cv-53936-MCR-GRJ
   6503      335308   David Behrendt                          Environmental Litigation Group PC                                    7:21-cv-53939-MCR-GRJ
   6504      335310   Devin Mcclellan                         Environmental Litigation Group PC                                    7:21-cv-53941-MCR-GRJ
   6505      335313   Derek Spiker                            Environmental Litigation Group PC                                    7:21-cv-53944-MCR-GRJ
   6506      335314   Walker Lowder                           Environmental Litigation Group PC                                    7:21-cv-53945-MCR-GRJ
   6507      335315   Jason Smith                             Environmental Litigation Group PC         7:21-cv-53946-MCR-GRJ
   6508      335317   Johnathan Hester                        Environmental Litigation Group PC                                    7:21-cv-53948-MCR-GRJ
   6509      335320   Robert Pohl                             Environmental Litigation Group PC                                    7:21-cv-53952-MCR-GRJ
   6510      335324   Rene Mcnish                             Environmental Litigation Group PC                                    7:21-cv-53956-MCR-GRJ
   6511      335325   Thomas Iverson                          Environmental Litigation Group PC         7:21-cv-53957-MCR-GRJ
   6512      335326   Terevis Pepper                          Environmental Litigation Group PC                                    7:21-cv-53958-MCR-GRJ
   6513      335329   Joshua Smith                            Environmental Litigation Group PC                                    7:21-cv-53961-MCR-GRJ
   6514      335330   Jonathan Horn                           Environmental Litigation Group PC                                    7:21-cv-53962-MCR-GRJ
   6515      335332   Joshua Salcido                          Environmental Litigation Group PC                                    7:21-cv-53966-MCR-GRJ
   6516      335336   Mark Stanley                            Environmental Litigation Group PC                                    7:21-cv-53975-MCR-GRJ
   6517      335337   Matthew Whalen                          Environmental Litigation Group PC                                    7:21-cv-53977-MCR-GRJ
   6518      335338   Jason Cruz                              Environmental Litigation Group PC                                    7:21-cv-53979-MCR-GRJ
   6519      335339   Marcus Harries                          Environmental Litigation Group PC                                    7:21-cv-53981-MCR-GRJ
   6520      335340   Darrell Gray                            Environmental Litigation Group PC                                    7:21-cv-53983-MCR-GRJ
   6521      335342   Robert Stulce                           Environmental Litigation Group PC                                    7:21-cv-53987-MCR-GRJ
   6522      335344   Daniel Richardson                       Environmental Litigation Group PC                                    7:21-cv-53991-MCR-GRJ
   6523      335345   Julianna Zarogoza                       Environmental Litigation Group PC                                    7:21-cv-53993-MCR-GRJ
   6524      335347   John Bethune                            Environmental Litigation Group PC                                    7:21-cv-53997-MCR-GRJ
   6525      335351   Jesse Conwell                           Environmental Litigation Group PC                                    7:21-cv-54003-MCR-GRJ
   6526      335354   Jarett Johnson                          Environmental Litigation Group PC                                    7:21-cv-54009-MCR-GRJ
   6527      335355   Joseph Rene                             Environmental Litigation Group PC         7:21-cv-54011-MCR-GRJ
   6528      335359   Luis Guzman                             Environmental Litigation Group PC                                    7:21-cv-54019-MCR-GRJ
   6529      335363   Arie Rogers                             Environmental Litigation Group PC                                    7:21-cv-54028-MCR-GRJ
   6530      335364   James Lee                               Environmental Litigation Group PC         7:21-cv-54030-MCR-GRJ
   6531      335365   Carlos Ventura                          Environmental Litigation Group PC         7:21-cv-54032-MCR-GRJ
   6532      335367   Randy Paulson                           Environmental Litigation Group PC                                    7:21-cv-54036-MCR-GRJ
   6533      335370   Joseph Chellin                          Environmental Litigation Group PC                                    7:21-cv-54042-MCR-GRJ
   6534      335374   Shawn Benner                            Environmental Litigation Group PC                                    7:21-cv-54050-MCR-GRJ
   6535      335377   Christopher Adams                       Environmental Litigation Group PC                                    7:21-cv-54056-MCR-GRJ
   6536      335380   Jonathan Jones                          Environmental Litigation Group PC                                    7:21-cv-54062-MCR-GRJ
   6537      335381   James Rome                              Environmental Litigation Group PC                                    7:21-cv-54064-MCR-GRJ
   6538      335382   Adam Knutsen                            Environmental Litigation Group PC                                    7:21-cv-54066-MCR-GRJ
   6539      335383   Benji Williams                          Environmental Litigation Group PC                                    7:21-cv-54068-MCR-GRJ
   6540      335386   Sylvester Boyd                          Environmental Litigation Group PC         7:21-cv-54074-MCR-GRJ
   6541      335387   Steven Ngin                             Environmental Litigation Group PC                                    7:21-cv-54076-MCR-GRJ
   6542      335389   Walter Green                            Environmental Litigation Group PC                                    7:21-cv-54080-MCR-GRJ
   6543      335390   Ally Sleiman                            Environmental Litigation Group PC                                    7:21-cv-54082-MCR-GRJ
   6544      335392   Brock Gaul                              Environmental Litigation Group PC                                    7:21-cv-54086-MCR-GRJ
   6545      335395   Mary Sprague                            Environmental Litigation Group PC                                    7:21-cv-54093-MCR-GRJ
   6546      335396   Miguel Montanez                         Environmental Litigation Group PC                                    7:21-cv-54095-MCR-GRJ
   6547      335398   Shawn Cavanaugh                         Environmental Litigation Group PC                                    7:21-cv-54099-MCR-GRJ
   6548      335400   Marcus Johnson                          Environmental Litigation Group PC                                    7:21-cv-54103-MCR-GRJ
   6549      335401   Ronny Emerson                           Environmental Litigation Group PC                                    7:21-cv-54105-MCR-GRJ
   6550      335403   Jeffrey Goss                            Environmental Litigation Group PC                                    7:21-cv-54109-MCR-GRJ
   6551      335404   Joseph Hunter                           Environmental Litigation Group PC                                    7:21-cv-54111-MCR-GRJ
   6552      335407   David (Dave) Kellner                    Environmental Litigation Group PC                                    7:21-cv-54289-MCR-GRJ
   6553      335411   Soraya Lynch                            Environmental Litigation Group PC         7:21-cv-54123-MCR-GRJ
   6554      335415   Derrick Vereen                          Environmental Litigation Group PC                                    7:21-cv-54131-MCR-GRJ
   6555      335416   Arnell Barlow                           Environmental Litigation Group PC                                    7:21-cv-54133-MCR-GRJ
   6556      335417   Devin Cheatham                          Environmental Litigation Group PC                                    7:21-cv-54135-MCR-GRJ
   6557      335420   Adrian Dragos                           Environmental Litigation Group PC                                    7:21-cv-54141-MCR-GRJ
   6558      335421   Tony Hallmark                           Environmental Litigation Group PC                                    7:21-cv-54143-MCR-GRJ
   6559      335422   Stephen Madden                          Environmental Litigation Group PC                                    7:21-cv-54145-MCR-GRJ
   6560      335423   Jacquelin Love                          Environmental Litigation Group PC                                    7:21-cv-54147-MCR-GRJ
   6561      335427   Daniel Galavez                          Environmental Litigation Group PC                                    7:21-cv-54155-MCR-GRJ
   6562      335428   James Gill                              Environmental Litigation Group PC                                    7:21-cv-54157-MCR-GRJ
   6563      335430   Ronald Kabat                            Environmental Litigation Group PC                                    7:21-cv-54161-MCR-GRJ
   6564      335432   Kyle Wilson                             Environmental Litigation Group PC                                    7:21-cv-54165-MCR-GRJ
   6565      335436   Robert Renny                            Environmental Litigation Group PC                                    7:21-cv-54173-MCR-GRJ
   6566      335439   William Mareli                          Environmental Litigation Group PC                                    7:21-cv-54179-MCR-GRJ
   6567      335440   John Weyrauch                           Environmental Litigation Group PC                                    7:21-cv-54181-MCR-GRJ
   6568      335446   Ray Ferrer                              Environmental Litigation Group PC                                    7:21-cv-54194-MCR-GRJ
   6569      335448   Benjamin Sobleski                       Environmental Litigation Group PC                                    7:21-cv-54198-MCR-GRJ
   6570      335449   Richard Taylor                          Environmental Litigation Group PC                                    7:21-cv-54200-MCR-GRJ




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   6571      335450   Jasmin George                           Environmental Litigation Group PC                                    7:21-cv-54202-MCR-GRJ
   6572      335452   Stuart Skym                             Environmental Litigation Group PC                                    7:21-cv-54205-MCR-GRJ
   6573      335453   Joseph Funk                             Environmental Litigation Group PC                                    7:21-cv-54207-MCR-GRJ
   6574      335454   Michael Cronrath                        Environmental Litigation Group PC                                    7:21-cv-54209-MCR-GRJ
   6575      335456   John Finch                              Environmental Litigation Group PC                                    7:21-cv-54213-MCR-GRJ
   6576      335458   Juan Minns                              Environmental Litigation Group PC         7:21-cv-54217-MCR-GRJ
   6577      335459   Samuel Cox                              Environmental Litigation Group PC         7:21-cv-54219-MCR-GRJ
   6578      335461   Andrew Juntti                           Environmental Litigation Group PC                                    7:21-cv-54223-MCR-GRJ
   6579      335463   Joe Todd                                Environmental Litigation Group PC                                    7:21-cv-54228-MCR-GRJ
   6580      335465   Kevin Stewart                           Environmental Litigation Group PC                                    7:21-cv-54232-MCR-GRJ
   6581      335466   Nathan Larson                           Environmental Litigation Group PC                                    7:21-cv-54234-MCR-GRJ
   6582      335467   Mark Tuck                               Environmental Litigation Group PC                                    7:21-cv-54236-MCR-GRJ
   6583      335475   Tyshaun Moore                           Environmental Litigation Group PC                                    7:21-cv-54252-MCR-GRJ
   6584      335476   Robert Murphy                           Environmental Litigation Group PC                                    7:21-cv-54254-MCR-GRJ
   6585      335478   Mark Shortt                             Environmental Litigation Group PC                                    7:21-cv-54259-MCR-GRJ
   6586      335480   Timothy Martin                          Environmental Litigation Group PC         7:21-cv-54263-MCR-GRJ
   6587      335482   Randall Burris                          Environmental Litigation Group PC                                    7:21-cv-54267-MCR-GRJ
   6588      335485   Reginald Fulton                         Environmental Litigation Group PC                                    7:21-cv-54273-MCR-GRJ
   6589      335488   Jacob Danielson                         Environmental Litigation Group PC                                    7:21-cv-54279-MCR-GRJ
   6590      335489   Pierre Larkin                           Environmental Litigation Group PC                                    7:21-cv-54281-MCR-GRJ
   6591      335490   Jeffry Prough                           Environmental Litigation Group PC                                    7:21-cv-54282-MCR-GRJ
   6592      335497   Luke Alley                              Environmental Litigation Group PC                                    7:21-cv-54443-MCR-GRJ
   6593      335498   Charles Fountain                        Environmental Litigation Group PC                                    7:21-cv-54444-MCR-GRJ
   6594      335500   Jeffery Dietiker                        Environmental Litigation Group PC                                    7:21-cv-54446-MCR-GRJ
   6595      335504   Anil Thawani                            Environmental Litigation Group PC                                    7:21-cv-54450-MCR-GRJ
   6596      335512   Michael Gormley                         Environmental Litigation Group PC                                    7:21-cv-54458-MCR-GRJ
   6597      335514   Devin Mccann                            Environmental Litigation Group PC                                    7:21-cv-54460-MCR-GRJ
   6598      335517   Eric Marshall                           Environmental Litigation Group PC                                    7:21-cv-54463-MCR-GRJ
   6599      335520   Willie Burns                            Environmental Litigation Group PC                                    7:21-cv-54466-MCR-GRJ
   6600      335522   Michael Haines                          Environmental Litigation Group PC                                    7:21-cv-54468-MCR-GRJ
   6601      335529   Kyle Larsen                             Environmental Litigation Group PC                                    7:21-cv-54475-MCR-GRJ
   6602      335530   Jonathan Blanchard                      Environmental Litigation Group PC                                    7:21-cv-54476-MCR-GRJ
   6603      335531   Christopher Mckinnes                    Environmental Litigation Group PC                                    7:21-cv-54477-MCR-GRJ
   6604      335532   James Ogden                             Environmental Litigation Group PC                                    7:21-cv-54478-MCR-GRJ
   6605      335533   Douglas Livingston                      Environmental Litigation Group PC                                    7:21-cv-54479-MCR-GRJ
   6606      335536   Paola Davila                            Environmental Litigation Group PC                                    7:21-cv-54482-MCR-GRJ
   6607      335539   Stephen Quinlan                         Environmental Litigation Group PC                                    7:21-cv-54485-MCR-GRJ
   6608      335543   Lynntro Hayes                           Environmental Litigation Group PC                                    7:21-cv-54489-MCR-GRJ
   6609      335544   Matthew Tillery                         Environmental Litigation Group PC                                    7:21-cv-54490-MCR-GRJ
   6610      335548   Maggie White                            Environmental Litigation Group PC                                    7:21-cv-54494-MCR-GRJ
   6611      335549   Charles Lay                             Environmental Litigation Group PC                                    7:21-cv-54495-MCR-GRJ
   6612      335551   Brian Johnson                           Environmental Litigation Group PC                                    7:21-cv-54497-MCR-GRJ
   6613      335556   David Jaeger                            Environmental Litigation Group PC                                    7:21-cv-54502-MCR-GRJ
   6614      335558   Eddie Clark                             Environmental Litigation Group PC                                    7:21-cv-54504-MCR-GRJ
   6615      335562   Robert Son                              Environmental Litigation Group PC                                    7:21-cv-54508-MCR-GRJ
   6616      335563   Bernard Weiss                           Environmental Litigation Group PC                                    7:21-cv-54509-MCR-GRJ
   6617      335565   Avalisa Ellicott                        Environmental Litigation Group PC                                    7:21-cv-54511-MCR-GRJ
   6618      335567   Carlos Santiago Abreu                   Environmental Litigation Group PC                                    7:21-cv-54513-MCR-GRJ
   6619      335568   Reginald Williams                       Environmental Litigation Group PC                                    7:21-cv-54514-MCR-GRJ
   6620      335572   James Pommell                           Environmental Litigation Group PC                                    7:21-cv-54518-MCR-GRJ
   6621      335575   Patrick Kimmel                          Environmental Litigation Group PC                                    7:21-cv-54521-MCR-GRJ
   6622      335579   Travis Tolleson                         Environmental Litigation Group PC                                    7:21-cv-54525-MCR-GRJ
   6623      335580   Aaron Harris                            Environmental Litigation Group PC                                    7:21-cv-54526-MCR-GRJ
   6624      335582   Dustin Helms                            Environmental Litigation Group PC                                    7:21-cv-54528-MCR-GRJ
   6625      335584   Vinh Nguyen                             Environmental Litigation Group PC                                    7:21-cv-54530-MCR-GRJ
   6626      335585   Shomari Taylor                          Environmental Litigation Group PC                                    7:21-cv-54531-MCR-GRJ
   6627      335587   Ernest Perkins                          Environmental Litigation Group PC                                    7:21-cv-54533-MCR-GRJ
   6628      335588   Bruce Woolley                           Environmental Litigation Group PC                                    7:21-cv-54534-MCR-GRJ
   6629      335592   Dustin Stubby                           Environmental Litigation Group PC                                    7:21-cv-54538-MCR-GRJ
   6630      335597   Nicholas Del Campo                      Environmental Litigation Group PC                                    7:21-cv-54543-MCR-GRJ
   6631      335598   Monica Gatson                           Environmental Litigation Group PC                                    7:21-cv-54544-MCR-GRJ
   6632      335599   Bradley Hicks                           Environmental Litigation Group PC                                    7:21-cv-54545-MCR-GRJ
   6633      335601   Chad Sylvest                            Environmental Litigation Group PC                                    7:21-cv-54547-MCR-GRJ
   6634      335602   Robert Thornburg                        Environmental Litigation Group PC                                    7:21-cv-54548-MCR-GRJ
   6635      335603   Ricardo Rodriguez                       Environmental Litigation Group PC                                    7:21-cv-54549-MCR-GRJ
   6636      335604   Brandon Pool                            Environmental Litigation Group PC                                    7:21-cv-54550-MCR-GRJ
   6637      335606   Daniel Wilson                           Environmental Litigation Group PC                                    7:21-cv-54552-MCR-GRJ
   6638      335607   Chad Purtell                            Environmental Litigation Group PC                                    7:21-cv-54553-MCR-GRJ
   6639      335608   Joel Seps                               Environmental Litigation Group PC                                    7:21-cv-54554-MCR-GRJ
   6640      335612   Ashley Shillingburg                     Environmental Litigation Group PC                                    7:21-cv-54558-MCR-GRJ
   6641      335613   David Cummings                          Environmental Litigation Group PC                                    7:21-cv-54559-MCR-GRJ
   6642      335615   Jacob Martin                            Environmental Litigation Group PC                                    7:21-cv-54561-MCR-GRJ
   6643      335619   Matthew Punzel                          Environmental Litigation Group PC         7:21-cv-54565-MCR-GRJ




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   6644      335622   Joshua Davidson                         Environmental Litigation Group PC                                    7:21-cv-54568-MCR-GRJ
   6645      335624   Fred Hays                               Environmental Litigation Group PC                                    7:21-cv-54570-MCR-GRJ
   6646      335626   James Duncan                            Environmental Litigation Group PC                                    7:21-cv-54572-MCR-GRJ
   6647      335629   Kenneth Kelly                           Environmental Litigation Group PC                                    7:21-cv-54575-MCR-GRJ
   6648      335630   Conrad Keitabangs                       Environmental Litigation Group PC                                    7:21-cv-54576-MCR-GRJ
   6649      335632   Richard Breault                         Environmental Litigation Group PC                                    7:21-cv-54578-MCR-GRJ
   6650      335634   Bucky Simpson                           Environmental Litigation Group PC         7:21-cv-54580-MCR-GRJ
   6651      335638   Milton Roberts                          Environmental Litigation Group PC                                    7:21-cv-54584-MCR-GRJ
   6652      335643   Sergio Medina                           Environmental Litigation Group PC                                    7:21-cv-54589-MCR-GRJ
   6653      335651   Bryon Erye                              Environmental Litigation Group PC                                    7:21-cv-54597-MCR-GRJ
   6654      335652   Douglas Washburn                        Environmental Litigation Group PC                                    7:21-cv-54598-MCR-GRJ
   6655      335653   Luis Delgado                            Environmental Litigation Group PC                                    7:21-cv-54599-MCR-GRJ
   6656      335660   William Thompson                        Environmental Litigation Group PC                                    7:21-cv-54606-MCR-GRJ
   6657      335669   Michael Nimtz                           Environmental Litigation Group PC         7:21-cv-54615-MCR-GRJ
   6658      335670   Jaden Roberts                           Environmental Litigation Group PC                                    7:21-cv-54616-MCR-GRJ
   6659      335672   Ciara Kastelein                         Environmental Litigation Group PC                                    7:21-cv-54618-MCR-GRJ
   6660      335690   James Raley                             Environmental Litigation Group PC                                    7:21-cv-54636-MCR-GRJ
   6661      335699   Brennan Ayres                           Environmental Litigation Group PC                                    7:21-cv-54645-MCR-GRJ
   6662      335700   William Wiggans                         Environmental Litigation Group PC                                    7:21-cv-54646-MCR-GRJ
   6663      335710   Charles Mallett                         Environmental Litigation Group PC                                    7:21-cv-54656-MCR-GRJ
   6664      335714   Michael Coleman                         Environmental Litigation Group PC                                    7:21-cv-54660-MCR-GRJ
   6665      335716   Patrick Owen                            Environmental Litigation Group PC         7:21-cv-54662-MCR-GRJ
   6666      335724   Zane Thompson                           Environmental Litigation Group PC                                    7:21-cv-54670-MCR-GRJ
   6667      335726   Dallas Smith                            Environmental Litigation Group PC                                    7:21-cv-54672-MCR-GRJ
   6668      335735   Anthony Pereira                         Environmental Litigation Group PC                                    7:21-cv-54681-MCR-GRJ
   6669      335737   Jeffrey Jackson                         Environmental Litigation Group PC                                    7:21-cv-54683-MCR-GRJ
   6670      335739   Quang Phan                              Environmental Litigation Group PC         7:21-cv-54685-MCR-GRJ
   6671      335742   Travis Johnson                          Environmental Litigation Group PC                                    7:21-cv-54688-MCR-GRJ
   6672      335748   Timothy Neal                            Environmental Litigation Group PC                                    7:21-cv-55018-MCR-GRJ
   6673      335751   Nickomar Santana                        Environmental Litigation Group PC                                    7:21-cv-55021-MCR-GRJ
   6674      335753   Shamekia Powell                         Environmental Litigation Group PC         7:21-cv-55023-MCR-GRJ
   6675      335755   Derrick Gathings                        Environmental Litigation Group PC                                    7:21-cv-55025-MCR-GRJ
   6676      335757   Ronald Strickland                       Environmental Litigation Group PC                                    7:21-cv-55027-MCR-GRJ
   6677      335758   George Stancil                          Environmental Litigation Group PC                                    7:21-cv-55028-MCR-GRJ
   6678      335765   Andrew Walters                          Environmental Litigation Group PC                                    7:21-cv-55035-MCR-GRJ
   6679      335778   Philip Blethen                          Environmental Litigation Group PC                                    7:21-cv-55048-MCR-GRJ
   6680      335780   Jacob Finley                            Environmental Litigation Group PC                                    7:21-cv-55050-MCR-GRJ
   6681      335786   Baron Dillon                            Environmental Litigation Group PC                                    7:21-cv-55056-MCR-GRJ
   6682      335788   Marcel Gokcedag                         Environmental Litigation Group PC                                    7:21-cv-55058-MCR-GRJ
   6683      335794   Mark Rossman                            Environmental Litigation Group PC                                    7:21-cv-55064-MCR-GRJ
   6684      335801   Kenneth Smith                           Environmental Litigation Group PC                                    7:21-cv-55071-MCR-GRJ
   6685      335802   William Downs                           Environmental Litigation Group PC                                    7:21-cv-55072-MCR-GRJ
   6686      335806   Jeffery Urbik                           Environmental Litigation Group PC                                    7:21-cv-55076-MCR-GRJ
   6687      335808   Derek Leibfried                         Environmental Litigation Group PC                                    7:21-cv-55078-MCR-GRJ
   6688      335809   William Broawater                       Environmental Litigation Group PC                                    7:21-cv-55079-MCR-GRJ
   6689      335810   Johnathan Sifuentes                     Environmental Litigation Group PC                                    7:21-cv-55080-MCR-GRJ
   6690      335813   Kory Wilson                             Environmental Litigation Group PC                                    7:21-cv-55083-MCR-GRJ
   6691      335814   Eric Tackett                            Environmental Litigation Group PC                                    7:21-cv-55084-MCR-GRJ
   6692      335815   Kenneth Oakman                          Environmental Litigation Group PC                                    7:21-cv-55085-MCR-GRJ
   6693      335818   Johnathan Turner                        Environmental Litigation Group PC                                    7:21-cv-55088-MCR-GRJ
   6694      335820   Andrew Rowney                           Environmental Litigation Group PC                                    7:21-cv-55172-MCR-GRJ
   6695      335823   David Pope                              Environmental Litigation Group PC                                    7:21-cv-55178-MCR-GRJ
   6696      335826   Michael Russell                         Environmental Litigation Group PC                                    7:21-cv-55183-MCR-GRJ
   6697      335828   Travis Smith                            Environmental Litigation Group PC                                    7:21-cv-55187-MCR-GRJ
   6698      335829   Bobby Summers                           Environmental Litigation Group PC                                    7:21-cv-55189-MCR-GRJ
   6699      335830   Andre Riche                             Environmental Litigation Group PC                                    7:21-cv-55191-MCR-GRJ
   6700      335831   Michael Rollins                         Environmental Litigation Group PC                                    7:21-cv-55193-MCR-GRJ
   6701      335837   Thomas Bennett                          Environmental Litigation Group PC                                    7:21-cv-55203-MCR-GRJ
   6702      335839   Alec Eigenberger                        Environmental Litigation Group PC                                    7:21-cv-55207-MCR-GRJ
   6703      335840   Justin Luckey                           Environmental Litigation Group PC                                    7:21-cv-55209-MCR-GRJ
   6704      335842   Donald Williams                         Environmental Litigation Group PC                                    7:21-cv-55213-MCR-GRJ
   6705      335843   Peter Miller                            Environmental Litigation Group PC                                    7:21-cv-55215-MCR-GRJ
   6706      335845   Charles Hyatt                           Environmental Litigation Group PC                                    7:21-cv-55218-MCR-GRJ
   6707      335848   Waco Blakley                            Environmental Litigation Group PC                                    7:21-cv-55224-MCR-GRJ
   6708      335849   Braxton Luckett                         Environmental Litigation Group PC                                    7:21-cv-55225-MCR-GRJ
   6709      335850   Marshall Lugo                           Environmental Litigation Group PC                                    7:21-cv-55227-MCR-GRJ
   6710      335851   Markie Allen                            Environmental Litigation Group PC                                    7:21-cv-55229-MCR-GRJ
   6711      335853   Nicolae Canjea                          Environmental Litigation Group PC                                    7:21-cv-55233-MCR-GRJ
   6712      335855   Toby Dothager                           Environmental Litigation Group PC                                    7:21-cv-55236-MCR-GRJ
   6713      335856   Joseph Martin                           Environmental Litigation Group PC         7:21-cv-55238-MCR-GRJ
   6714      335858   Wendy Anderson                          Environmental Litigation Group PC         7:21-cv-55242-MCR-GRJ
   6715      335862   Charles Williams                        Environmental Litigation Group PC                                    7:21-cv-55250-MCR-GRJ
   6716      335863   Thomas Innis                            Environmental Litigation Group PC                                    7:21-cv-55251-MCR-GRJ




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   6717      335867   Grant Utz                               Environmental Litigation Group PC         7:21-cv-55259-MCR-GRJ
   6718      335869   Pon Mingkhouan                          Environmental Litigation Group PC                                    7:21-cv-55262-MCR-GRJ
   6719      335870   Michael Armstrong                       Environmental Litigation Group PC                                    7:21-cv-55264-MCR-GRJ
   6720      335872   Jermaine Hill                           Environmental Litigation Group PC                                    7:21-cv-55268-MCR-GRJ
   6721      335873   James Richardson                        Environmental Litigation Group PC                                    7:21-cv-55270-MCR-GRJ
   6722      335874   Michael Crezee                          Environmental Litigation Group PC                                    7:21-cv-55271-MCR-GRJ
   6723      335876   William Frost                           Environmental Litigation Group PC                                    7:21-cv-55275-MCR-GRJ
   6724      335880   Daryl Gravatt                           Environmental Litigation Group PC                                    7:21-cv-55283-MCR-GRJ
   6725      335881   Richard Rhodes                          Environmental Litigation Group PC                                    7:21-cv-55285-MCR-GRJ
   6726      335883   Jonathan Baldwin                        Environmental Litigation Group PC                                    7:21-cv-55288-MCR-GRJ
   6727      335890   Richard Raymond                         Environmental Litigation Group PC                                    7:21-cv-55305-MCR-GRJ
   6728      335891   Norman Marion                           Environmental Litigation Group PC         7:21-cv-55307-MCR-GRJ
   6729      335895   Chad Knuth                              Environmental Litigation Group PC                                    7:21-cv-55314-MCR-GRJ
   6730      335896   Andrew Smith                            Environmental Litigation Group PC                                    7:21-cv-55316-MCR-GRJ
   6731      335898   Joshua Arthurs                          Environmental Litigation Group PC                                    7:21-cv-55320-MCR-GRJ
   6732      335899   Vurgess Jones                           Environmental Litigation Group PC                                    7:21-cv-55322-MCR-GRJ
   6733      335900   Daniel Babcock                          Environmental Litigation Group PC                                    7:21-cv-55324-MCR-GRJ
   6734      335904   Charles Perdue                          Environmental Litigation Group PC                                    7:21-cv-55331-MCR-GRJ
   6735      335905   Shane Weyrauch                          Environmental Litigation Group PC         7:21-cv-55333-MCR-GRJ
   6736      335906   Romeo Isaac                             Environmental Litigation Group PC                                    7:21-cv-55335-MCR-GRJ
   6737      335914   Clinton Brown                           Environmental Litigation Group PC                                    7:21-cv-55350-MCR-GRJ
   6738      335915   Eric Campbell                           Environmental Litigation Group PC                                    7:21-cv-55352-MCR-GRJ
   6739      335922   Jennifer Laforge                        Environmental Litigation Group PC                                    7:21-cv-55364-MCR-GRJ
   6740      335924   Jason Parsons                           Environmental Litigation Group PC                                    7:21-cv-55368-MCR-GRJ
   6741      335925   Nickolous Moore                         Environmental Litigation Group PC         7:21-cv-55370-MCR-GRJ
   6742      335926   Macario Martinez                        Environmental Litigation Group PC                                    7:21-cv-55372-MCR-GRJ
   6743      335927   Russell Reed                            Environmental Litigation Group PC                                    7:21-cv-55374-MCR-GRJ
   6744      335932   Paul Jackson                            Environmental Litigation Group PC                                    7:21-cv-55383-MCR-GRJ
   6745      335937   Steve Salazar                           Environmental Litigation Group PC                                    7:21-cv-55392-MCR-GRJ
   6746      335938   Jeffery Tomberlin                       Environmental Litigation Group PC                                    7:21-cv-55394-MCR-GRJ
   6747      335939   Erick Medrano                           Environmental Litigation Group PC                                    7:21-cv-55396-MCR-GRJ
   6748      335941   Michael Smart                           Environmental Litigation Group PC                                    7:21-cv-55399-MCR-GRJ
   6749      335942   Roland Thomas                           Environmental Litigation Group PC                                    7:21-cv-55401-MCR-GRJ
   6750      335943   Eluyn Gines                             Environmental Litigation Group PC                                    7:21-cv-55403-MCR-GRJ
   6751      335946   Jesus Ceniceros                         Environmental Litigation Group PC                                    7:21-cv-55409-MCR-GRJ
   6752      335953   Matthew Jensen                          Environmental Litigation Group PC                                    7:21-cv-55422-MCR-GRJ
   6753      335956   David Courtney                          Environmental Litigation Group PC                                    7:21-cv-55427-MCR-GRJ
   6754      335958   Travis Loest                            Environmental Litigation Group PC                                    7:21-cv-55431-MCR-GRJ
   6755      335961   Derrick Gray                            Environmental Litigation Group PC                                    7:21-cv-55436-MCR-GRJ
   6756      335963   Jonathan Campos                         Environmental Litigation Group PC                                    7:21-cv-55440-MCR-GRJ
   6757      335964   Richard Mroz                            Environmental Litigation Group PC                                    7:21-cv-55441-MCR-GRJ
   6758      335968   Wade Jackson                            Environmental Litigation Group PC                                    7:21-cv-55449-MCR-GRJ
   6759      335970   Christiaan Melendez                     Environmental Litigation Group PC                                    7:21-cv-55453-MCR-GRJ
   6760      335974   Karl Drapeaux                           Environmental Litigation Group PC                                    7:21-cv-55460-MCR-GRJ
   6761      335977   John Strader                            Environmental Litigation Group PC                                    7:21-cv-55466-MCR-GRJ
   6762      335979   Connor Carroll                          Environmental Litigation Group PC                                    7:21-cv-55470-MCR-GRJ
   6763      335980   Eric Visser                             Environmental Litigation Group PC                                    7:21-cv-55472-MCR-GRJ
   6764      335982   Michael Koldys                          Environmental Litigation Group PC                                    7:21-cv-55476-MCR-GRJ
   6765      335984   Thomas Daniels                          Environmental Litigation Group PC                                    7:21-cv-55481-MCR-GRJ
   6766      335985   Jerry Jones                             Environmental Litigation Group PC                                    7:21-cv-55483-MCR-GRJ
   6767      335990   Miguel Santiago Irizarry                Environmental Litigation Group PC                                    7:21-cv-55494-MCR-GRJ
   6768      335995   Curtis Bracksieck                       Environmental Litigation Group PC                                    7:21-cv-55503-MCR-GRJ
   6769      336000   Steven Higgins                          Environmental Litigation Group PC         7:21-cv-55512-MCR-GRJ
   6770      336002   Felix Camacho                           Environmental Litigation Group PC                                    7:21-cv-55516-MCR-GRJ
   6771      336005   Michael Pegg                            Environmental Litigation Group PC                                    7:21-cv-55521-MCR-GRJ
   6772      336010   Ohlen Rimes                             Environmental Litigation Group PC                                    7:21-cv-55530-MCR-GRJ
   6773      336011   Kevin Cukrowicz                         Environmental Litigation Group PC                                    7:21-cv-55532-MCR-GRJ
   6774      336015   Albert Ferri                            Environmental Litigation Group PC                                    7:21-cv-55539-MCR-GRJ
   6775      336020   Delvin Mcbride                          Environmental Litigation Group PC                                    7:21-cv-55549-MCR-GRJ
   6776      336022   Christopher Bullard                     Environmental Litigation Group PC                                    7:21-cv-55553-MCR-GRJ
   6777      336023   Michael Elias                           Environmental Litigation Group PC                                    7:21-cv-55554-MCR-GRJ
   6778      336030   Monica Babich                           Environmental Litigation Group PC                                    7:21-cv-55567-MCR-GRJ
   6779      336035   Richard Lapointe                        Environmental Litigation Group PC                                    7:21-cv-55576-MCR-GRJ
   6780      336037   Sean Ambridge                           Environmental Litigation Group PC                                    7:21-cv-55580-MCR-GRJ
   6781      336040   Michael Yearwood                        Environmental Litigation Group PC                                    7:21-cv-55585-MCR-GRJ
   6782      336041   Carlos Chavez                           Environmental Litigation Group PC                                    7:21-cv-55587-MCR-GRJ
   6783      336043   Roderick Roddy                          Environmental Litigation Group PC                                    7:21-cv-55589-MCR-GRJ
   6784      336045   Tyler Rogers                            Environmental Litigation Group PC                                    7:21-cv-55591-MCR-GRJ
   6785      336046   Jose Ortiz                              Environmental Litigation Group PC                                    7:21-cv-55592-MCR-GRJ
   6786      336048   Kyle Nelsen                             Environmental Litigation Group PC         7:21-cv-55594-MCR-GRJ
   6787      336057   Patrick Warren                          Environmental Litigation Group PC                                    7:21-cv-55603-MCR-GRJ
   6788      336060   Michael Grube                           Environmental Litigation Group PC                                    7:21-cv-55606-MCR-GRJ
   6789      336063   James Stalnaker                         Environmental Litigation Group PC                                    7:21-cv-55609-MCR-GRJ




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   6790      336067   Thomas Poczontek                        Environmental Litigation Group PC                                    7:21-cv-55613-MCR-GRJ
   6791      336073   Dranon Smith                            Environmental Litigation Group PC                                    7:21-cv-55619-MCR-GRJ
   6792      336075   Paul Bernal                             Environmental Litigation Group PC                                    7:21-cv-55621-MCR-GRJ
   6793      336077   Teron Bates                             Environmental Litigation Group PC         7:21-cv-55623-MCR-GRJ
   6794      336082   Bryan Gorski                            Environmental Litigation Group PC                                    7:21-cv-55628-MCR-GRJ
   6795      336083   Joel Moore                              Environmental Litigation Group PC         7:21-cv-55629-MCR-GRJ
   6796      336084   Harold Mayo                             Environmental Litigation Group PC                                    7:21-cv-55630-MCR-GRJ
   6797      336085   Dell Sargent                            Environmental Litigation Group PC                                    7:21-cv-55631-MCR-GRJ
   6798      336086   Reginald Brown                          Environmental Litigation Group PC                                    7:21-cv-55632-MCR-GRJ
   6799      336087   Michael Martin                          Environmental Litigation Group PC                                    7:21-cv-55633-MCR-GRJ
   6800      336089   Ryan Mcginnis                           Environmental Litigation Group PC                                    7:21-cv-55635-MCR-GRJ
   6801      336094   Andrew Beamesderfer                     Environmental Litigation Group PC         7:21-cv-55640-MCR-GRJ
   6802      336097   Marco Garcia                            Environmental Litigation Group PC                                    7:21-cv-55643-MCR-GRJ
   6803      336098   Timothy Floyd                           Environmental Litigation Group PC                                    7:21-cv-55644-MCR-GRJ
   6804      336099   Christine Leialoha                      Environmental Litigation Group PC                                    7:21-cv-55645-MCR-GRJ
   6805      336104   Brett Wilson                            Environmental Litigation Group PC                                    7:21-cv-55650-MCR-GRJ
   6806      336105   Richard Booth                           Environmental Litigation Group PC                                    7:21-cv-55651-MCR-GRJ
   6807      336106   Marquett Wood                           Environmental Litigation Group PC                                    7:21-cv-55652-MCR-GRJ
   6808      336107   John Woodson                            Environmental Litigation Group PC                                    7:21-cv-55653-MCR-GRJ
   6809      336108   Bradley Mccombs                         Environmental Litigation Group PC                                    7:21-cv-55654-MCR-GRJ
   6810      336118   Jahmal Anderson                         Environmental Litigation Group PC                                    7:21-cv-55664-MCR-GRJ
   6811      336119   James Lance                             Environmental Litigation Group PC                                    7:21-cv-55665-MCR-GRJ
   6812      336121   Riquan Murray                           Environmental Litigation Group PC         7:21-cv-55667-MCR-GRJ
   6813      336123   Benjamin Griffin                        Environmental Litigation Group PC         7:21-cv-55669-MCR-GRJ
   6814      336126   Matthew Clark                           Environmental Litigation Group PC                                    7:21-cv-55672-MCR-GRJ
   6815      351476   Keyon Mcdonald                          Environmental Litigation Group PC                                    3:21-cv-02791-MCR-GRJ
   6816      351477   Thomas Bebout                           Environmental Litigation Group PC                                    3:21-cv-02327-MCR-GRJ
   6817      351479   Charles Foulks                          Environmental Litigation Group PC                                    3:21-cv-02766-MCR-GRJ
   6818      351481   Harry Walker                            Environmental Litigation Group PC                                    3:21-cv-02554-MCR-GRJ
   6819      351486   Preston Hebert                          Environmental Litigation Group PC                                    3:21-cv-02424-MCR-GRJ
   6820      351487   Mickey Moore                            Environmental Litigation Group PC                                    3:21-cv-02447-MCR-GRJ
   6821      351488   Allen Mast                              Environmental Litigation Group PC                                    3:21-cv-02789-MCR-GRJ
   6822      351489   William Spinelli                        Environmental Litigation Group PC                                    3:21-cv-02835-MCR-GRJ
   6823      351490   Anton Roach                             Environmental Litigation Group PC                                    3:21-cv-02842-MCR-GRJ
   6824      351494   Houston Lewis                           Environmental Litigation Group PC                                    3:21-cv-02537-MCR-GRJ
   6825      351495   Michael Fox                             Environmental Litigation Group PC                                    3:21-cv-02803-MCR-GRJ
   6826      351506   Kevin Bruffett                          Environmental Litigation Group PC                                    3:21-cv-02689-MCR-GRJ
   6827      351513   Christian Alvarez                       Environmental Litigation Group PC                                    3:21-cv-02855-MCR-GRJ
   6828      351515   Jonathan Fret                           Environmental Litigation Group PC                                    3:21-cv-02356-MCR-GRJ
   6829      351516   Dirk Ellis                              Environmental Litigation Group PC                                    3:21-cv-02858-MCR-GRJ
   6830      351521   Tasiaeafe Feleti                        Environmental Litigation Group PC                                    3:21-cv-02994-MCR-GRJ
   6831      351528   Luis Crespo                             Environmental Litigation Group PC                                    3:21-cv-02893-MCR-GRJ
   6832      351529   Bryan Auxier                            Environmental Litigation Group PC                                    3:21-cv-02524-MCR-GRJ
   6833      351531   Deric Bowden                            Environmental Litigation Group PC                                    3:21-cv-02983-MCR-GRJ
   6834      351534   Ricardo Ramirez                         Environmental Litigation Group PC                                    3:21-cv-02916-MCR-GRJ
   6835      351536   Anthony Pitts                           Environmental Litigation Group PC                                    3:21-cv-02530-MCR-GRJ
   6836      351544   Michael Luce                            Environmental Litigation Group PC                                    3:21-cv-03135-MCR-GRJ
   6837      351547   Bruce Ward                              Environmental Litigation Group PC                                    3:21-cv-03150-MCR-GRJ
   6838      351548   Robert Vasquez                          Environmental Litigation Group PC                                    3:21-cv-03147-MCR-GRJ
   6839      351553   Steven Martin                           Environmental Litigation Group PC                                    3:21-cv-03137-MCR-GRJ
   6840      351556   Golden Brown                            Environmental Litigation Group PC                                    3:21-cv-02986-MCR-GRJ
   6841      351557   James Brooks                            Environmental Litigation Group PC                                    3:21-cv-02984-MCR-GRJ
   6842      351562   Robert Keys                             Environmental Litigation Group PC                                    3:21-cv-03127-MCR-GRJ
   6843      351569   Eric Pardue                             Environmental Litigation Group PC                                    3:21-cv-02452-MCR-GRJ
   6844      351575   Kyle Reese                              Environmental Litigation Group PC                                    3:21-cv-02802-MCR-GRJ
   6845      351582   Shelly Kirk                             Environmental Litigation Group PC                                    3:21-cv-03041-MCR-GRJ
   6846      351583   Jacory Summers                          Environmental Litigation Group PC                                    3:21-cv-03091-MCR-GRJ
   6847      351585   Dominic Evola                           Environmental Litigation Group PC                                    3:21-cv-03024-MCR-GRJ
   6848      351586   Branden Barthel                         Environmental Litigation Group PC                                    3:21-cv-02762-MCR-GRJ
   6849      351590   Edward Bean                             Environmental Litigation Group PC                                    3:21-cv-02527-MCR-GRJ
   6850      351591   Joey Wegmann                            Environmental Litigation Group PC                                    3:21-cv-03103-MCR-GRJ
   6851      351593   Cody Crane                              Environmental Litigation Group PC                                    3:21-cv-03020-MCR-GRJ
   6852      351597   Christopher Yamamoto                    Environmental Litigation Group PC                                    3:21-cv-02309-MCR-GRJ
   6853      351600   Christopher Graham                      Environmental Litigation Group PC                                    3:21-cv-02770-MCR-GRJ
   6854      351608   Paul Machado                            Environmental Litigation Group PC                                    3:21-cv-02362-MCR-GRJ
   6855      351611   Earnest Trotman                         Environmental Litigation Group PC                                    3:21-cv-02961-MCR-GRJ
   6856      351612   Kevin Bow                               Environmental Litigation Group PC                                    3:21-cv-02974-MCR-GRJ
   6857      351615   Carlos Colon                            Environmental Litigation Group PC                                    3:21-cv-02338-MCR-GRJ
   6858      351624   Matthew Garrett                         Environmental Litigation Group PC                                    3:21-cv-03001-MCR-GRJ
   6859      351632   Jenifer Welsh                           Environmental Litigation Group PC                                    3:21-cv-02402-MCR-GRJ
   6860      351642   Kurt Dahlheimer                         Environmental Litigation Group PC                                    3:21-cv-02531-MCR-GRJ
   6861      351646   Mark Noble                              Environmental Litigation Group PC                                    3:21-cv-02955-MCR-GRJ
   6862      351650   Tracey Mitchell                         Environmental Litigation Group PC                                    3:21-cv-02444-MCR-GRJ




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   6863      351654   Kevin Greenburg                         Environmental Litigation Group PC                                    3:22-cv-04663-MCR-GRJ
   6864      351655   Nyesha Urbano                           Environmental Litigation Group PC                                    3:21-cv-02400-MCR-GRJ
   6865      351661   Donald Demar                            Environmental Litigation Group PC                                    3:21-cv-02933-MCR-GRJ
   6866      351669   Cedric Littleton                        Environmental Litigation Group PC                                    3:22-cv-04665-MCR-GRJ
   6867      351672   Omar Ramirez                            Environmental Litigation Group PC                                    3:22-cv-04668-MCR-GRJ
   6868      351682   Ermal Guri                              Environmental Litigation Group PC                                    3:21-cv-02820-MCR-GRJ
   6869      351683   James Brown                             Environmental Litigation Group PC                                    3:21-cv-02335-MCR-GRJ
   6870      351684   Brett Miller                            Environmental Litigation Group PC                                    3:22-cv-04673-MCR-GRJ
   6871      351698   Clinton Franklin                        Environmental Litigation Group PC                                    3:21-cv-02810-MCR-GRJ
   6872      351710   Samuel Friedman                         Environmental Litigation Group PC                                    3:21-cv-03607-MCR-GRJ
   6873      351720   Robert Bankston                         Environmental Litigation Group PC                                    3:21-cv-02759-MCR-GRJ
   6874      351724   Russell Bryant                          Environmental Litigation Group PC                                    3:21-cv-02699-MCR-GRJ
   6875      351728   James Phillips                          Environmental Litigation Group PC                                    3:21-cv-03609-MCR-GRJ
   6876      351741   David Doubek                            Environmental Litigation Group PC                                    3:21-cv-02939-MCR-GRJ
   6877      351745   Michael Erckert                         Environmental Litigation Group PC                                    3:21-cv-03159-MCR-GRJ
   6878      351747   Terry Beyer                             Environmental Litigation Group PC                                    3:21-cv-02333-MCR-GRJ
   6879      351751   Zachariah Sexton                        Environmental Litigation Group PC                                    3:21-cv-02396-MCR-GRJ
   6880      351757   Cori Limer                              Environmental Litigation Group PC                                    3:21-cv-03590-MCR-GRJ
   6881      351767   Tory Jones-Twilley                      Environmental Litigation Group PC                                    3:21-cv-02943-MCR-GRJ
   6882      351769   Inga Morgan                             Environmental Litigation Group PC                                    3:21-cv-02950-MCR-GRJ
   6883      351771   Ryan Moxie                              Environmental Litigation Group PC                                    3:21-cv-02541-MCR-GRJ
   6884      351775   Tia Pickett                             Environmental Litigation Group PC                                    3:21-cv-02801-MCR-GRJ
   6885      351776   Benjamin Park                           Environmental Litigation Group PC                                    3:21-cv-02867-MCR-GRJ
   6886      351779   Richard Wilson                          Environmental Litigation Group PC                                    3:21-cv-02270-MCR-GRJ
   6887      351783   Joshua Reilly                           Environmental Litigation Group PC                                    3:21-cv-02881-MCR-GRJ
   6888      351785   Nicolas Poblete                         Environmental Litigation Group PC                                    3:21-cv-02392-MCR-GRJ
   6889      351789   Jason Westerlund                        Environmental Litigation Group PC                                    3:21-cv-02827-MCR-GRJ
   6890      351790   Tim Gardipee                            Environmental Litigation Group PC                                    3:21-cv-02815-MCR-GRJ
   6891      351808   Raymond Jackson                         Environmental Litigation Group PC                                    3:21-cv-03592-MCR-GRJ
   6892      351810   James Stevens                           Environmental Litigation Group PC                                    3:22-cv-04704-MCR-GRJ
   6893      351812   Dennis Kearney                          Environmental Litigation Group PC                                    3:21-cv-02782-MCR-GRJ
   6894      351813   Mitchell Grassmyer                      Environmental Litigation Group PC                                    3:21-cv-02818-MCR-GRJ
   6895      351818   Noel Hernandez                          Environmental Litigation Group PC                                    3:21-cv-02425-MCR-GRJ
   6896      351819   Kiley Stubbs                            Environmental Litigation Group PC                                    3:21-cv-02398-MCR-GRJ
   6897      351829   Anthony Sarquilla                       Environmental Litigation Group PC                                    3:21-cv-02808-MCR-GRJ
   6898      351833   Donald Pruitt                           Environmental Litigation Group PC                                    3:22-cv-04705-MCR-GRJ
   6899      351841   Dominic Pagliuso                        Environmental Litigation Group PC                                    3:21-cv-03167-MCR-GRJ
   6900      351847   Robert Quidilla                         Environmental Litigation Group PC                                    3:21-cv-03170-MCR-GRJ
   6901      351852   Christopher Bevel                       Environmental Litigation Group PC                                    3:21-cv-03155-MCR-GRJ
   6902      351858   James Doran                             Environmental Litigation Group PC                                    3:21-cv-02800-MCR-GRJ
   6903      351868   Atilio Usseglio                         Environmental Litigation Group PC                                    3:21-cv-03179-MCR-GRJ
   6904      351871   Shilo Neal                              Environmental Litigation Group PC                                    3:22-cv-04706-MCR-GRJ
   6905      351874   Ames Yazzie                             Environmental Litigation Group PC                                    3:21-cv-02731-MCR-GRJ
   6906      351881   Jorge Duran                             Environmental Litigation Group PC                                    3:21-cv-02729-MCR-GRJ
   6907      351890   Travis Waller                           Environmental Litigation Group PC                                    3:21-cv-03525-MCR-GRJ
   6908      351907   Chadwick Baker                          Environmental Litigation Group PC                                    3:21-cv-02325-MCR-GRJ
   6909      351908   Wendell James                           Environmental Litigation Group PC                                    3:22-cv-04711-MCR-GRJ
   6910      351909   William Schaad                          Environmental Litigation Group PC                                    3:21-cv-02814-MCR-GRJ
   6911      351915   Dylan Greene                            Environmental Litigation Group PC                                    3:22-cv-03904-MCR-GRJ
   6912      351919   Constance Handelman                     Environmental Litigation Group PC                                    3:21-cv-02360-MCR-GRJ
   6913      351924   John Rocha                              Environmental Litigation Group PC                                    3:22-cv-04771-MCR-GRJ
   6914      351930   Samuel Lewis                            Environmental Litigation Group PC                                    3:21-cv-02727-MCR-GRJ
   6915      351933   Desi Zamarripa                          Environmental Litigation Group PC                                    3:22-cv-04772-MCR-GRJ
   6916      351937   Juan Swan                               Environmental Litigation Group PC                                    3:21-cv-02399-MCR-GRJ
   6917      351939   Roland Lefevre                          Environmental Litigation Group PC                                    3:21-cv-02489-MCR-GRJ
   6918      351941   Richard Chavez                          Environmental Litigation Group PC                                    3:21-cv-02384-MCR-GRJ
   6919      351943   Roderick Baty                           Environmental Litigation Group PC                                    3:21-cv-02378-MCR-GRJ
   6920      351944   Tarik Haqq                              Environmental Litigation Group PC                                    3:21-cv-02410-MCR-GRJ
   6921      351950   Jeffery Thomas                          Environmental Litigation Group PC                                    3:21-cv-02544-MCR-GRJ
   6922      351953   Chad Wheeler                            Environmental Litigation Group PC                                    3:21-cv-02692-MCR-GRJ
   6923      351955   Michael Blewitt                         Environmental Litigation Group PC                                    3:21-cv-02381-MCR-GRJ
   6924      351957   George Weaver                           Environmental Litigation Group PC                                    3:21-cv-02686-MCR-GRJ
   6925      351961   Eric Leclaire                           Environmental Litigation Group PC                                    3:21-cv-02468-MCR-GRJ
   6926      351964   Reginald Moore                          Environmental Litigation Group PC                                    3:21-cv-02390-MCR-GRJ
   6927      351966   Diwan King                              Environmental Litigation Group PC                                    3:21-cv-02359-MCR-GRJ
   6928      351968   Thomas Riney                            Environmental Litigation Group PC                                    3:21-cv-02652-MCR-GRJ
   6929      351980   Fawn Steinfurth                         Environmental Litigation Group PC                                    3:21-cv-02581-MCR-GRJ
   6930      351982   Christopher Smith                       Environmental Litigation Group PC                                    3:21-cv-02817-MCR-GRJ
   6931      351987   Jacob Booker                            Environmental Litigation Group PC                                    3:21-cv-02687-MCR-GRJ
   6932      351988   Juan Mendoza                            Environmental Litigation Group PC                                    3:21-cv-03164-MCR-GRJ
   6933      351989   Peter Doerr                             Environmental Litigation Group PC                                    3:21-cv-03158-MCR-GRJ
   6934      351993   Terrell Sanders                         Environmental Litigation Group PC                                    3:22-cv-04773-MCR-GRJ
   6935      351994   David O'Brien                           Environmental Litigation Group PC                                    3:22-cv-03849-MCR-GRJ




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   6936      351998   Kristopher Ybarra                       Environmental Litigation Group PC                                    3:21-cv-02557-MCR-GRJ
   6937      351999   Casey Vander Mel                        Environmental Litigation Group PC                                    3:21-cv-03180-MCR-GRJ
   6938      352003   Sarita Martinez                         Environmental Litigation Group PC                                    3:21-cv-02363-MCR-GRJ
   6939      352009   William Yeary                           Environmental Litigation Group PC                                    3:21-cv-03182-MCR-GRJ
   6940      352010   Phillip Wash                            Environmental Litigation Group PC                                    3:21-cv-02899-MCR-GRJ
   6941      352011   Josh Harvey                             Environmental Litigation Group PC                                    3:21-cv-02584-MCR-GRJ
   6942      352019   Alvin Jones                             Environmental Litigation Group PC                                    3:21-cv-02432-MCR-GRJ
   6943      352028   Tevin Paige                             Environmental Litigation Group PC                                    3:21-cv-03193-MCR-GRJ
   6944      352043   Gary Wantulok                           Environmental Litigation Group PC                                    3:22-cv-04774-MCR-GRJ
   6945      352061   Rodney Watts                            Environmental Litigation Group PC                                    3:21-cv-02401-MCR-GRJ
   6946      352063   Deidre Echols                           Environmental Litigation Group PC                                    3:21-cv-03185-MCR-GRJ
   6947      352064   Cleonte Grafton                         Environmental Litigation Group PC                                    3:22-cv-04778-MCR-GRJ
   6948      352069   George Lopez                            Environmental Litigation Group PC                                    3:21-cv-02853-MCR-GRJ
   6949      352071   William Castro                          Environmental Litigation Group PC                                    3:22-cv-04779-MCR-GRJ
   6950      352072   Taeed Foroughi                          Environmental Litigation Group PC                                    3:22-cv-03890-MCR-GRJ
   6951      352073   Patrick Anleu                           Environmental Litigation Group PC                                    3:22-cv-04781-MCR-GRJ
   6952      352075   Jouvon Kingsby                          Environmental Litigation Group PC                                    3:21-cv-02434-MCR-GRJ
   6953      352076   Isaac Santos                            Environmental Litigation Group PC                                    3:22-cv-04782-MCR-GRJ
   6954      352087   Winston Romero                          Environmental Litigation Group PC                                    3:22-cv-04787-MCR-GRJ
   6955      352099   Eric Mccarthy                           Environmental Litigation Group PC                                    3:22-cv-04791-MCR-GRJ
   6956      352100   Jerrard Isaac                           Environmental Litigation Group PC                                    3:22-cv-04792-MCR-GRJ
   6957      352104   Dameon Rochester                        Environmental Litigation Group PC                                    3:22-cv-03964-MCR-GRJ
   6958      352105   Marcus Bennette                         Environmental Litigation Group PC                                    3:22-cv-04794-MCR-GRJ
   6959      352108   Glen Means                              Environmental Litigation Group PC                                    3:22-cv-04795-MCR-GRJ
   6960      352116   Angel Perez                             Environmental Litigation Group PC                                    3:22-cv-04798-MCR-GRJ
   6961      352119   Charles Marcee                          Environmental Litigation Group PC                                    3:22-cv-04802-MCR-GRJ
   6962      352121   Jose Resendez                           Environmental Litigation Group PC                                    3:21-cv-02597-MCR-GRJ
   6963      352129   Rusty Moellering                        Environmental Litigation Group PC                                    3:21-cv-02389-MCR-GRJ
   6964      352137   William Bass                            Environmental Litigation Group PC                                    3:21-cv-02684-MCR-GRJ
   6965      352138   Ray Jackson                             Environmental Litigation Group PC                                    3:21-cv-02430-MCR-GRJ
   6966      352140   Patrick Ritter                          Environmental Litigation Group PC                                    3:21-cv-02394-MCR-GRJ
   6967      352142   Robert Osburn                           Environmental Litigation Group PC                                    3:21-cv-02593-MCR-GRJ
   6968      352146   Nolan Graham                            Environmental Litigation Group PC                                    3:21-cv-03204-MCR-GRJ
   6969      352147   Irvin Myles                             Environmental Litigation Group PC                                    3:22-cv-04803-MCR-GRJ
   6970      352148   Christopher Reese                       Environmental Litigation Group PC                                    3:21-cv-02874-MCR-GRJ
   6971      352149   Derek Silveira                          Environmental Litigation Group PC                                    3:22-cv-04805-MCR-GRJ
   6972      352152   James Tessneer                          Environmental Litigation Group PC                                    3:21-cv-02497-MCR-GRJ
   6973      352154   Timothy Gray                            Environmental Litigation Group PC                                    3:21-cv-03208-MCR-GRJ
   6974      352159   Nathan Nugent                           Environmental Litigation Group PC                                    3:22-cv-04806-MCR-GRJ
   6975      352160   Trevion Lewis                           Environmental Litigation Group PC                                    3:21-cv-02850-MCR-GRJ
   6976      352162   Ronald Williams                         Environmental Litigation Group PC                                    3:22-cv-04808-MCR-GRJ
   6977      352178   Christopher Hollis                      Environmental Litigation Group PC                                    3:22-cv-04872-MCR-GRJ
   6978      352179   Claudia Bandy                           Environmental Litigation Group PC                                    3:21-cv-02678-MCR-GRJ
   6979      352187   Daniel Taylor                           Environmental Litigation Group PC                                    3:21-cv-02476-MCR-GRJ
   6980      352190   Christopher Shaw                        Environmental Litigation Group PC                                    3:21-cv-03175-MCR-GRJ
   6981      352191   Joseph Alston                           Environmental Litigation Group PC                                    3:21-cv-02323-MCR-GRJ
   6982      352192   Daniel Metzdorf                         Environmental Litigation Group PC                                    3:21-cv-03192-MCR-GRJ
   6983      352196   Jessie Torres                           Environmental Litigation Group PC                                    3:21-cv-02888-MCR-GRJ
   6984      352200   Anthony Boss                            Environmental Litigation Group PC                                    3:21-cv-02336-MCR-GRJ
   6985      352204   Brandon Kuehner                         Environmental Litigation Group PC                                    3:21-cv-03187-MCR-GRJ
   6986      352206   Amaury Lantigua                         Environmental Litigation Group PC                                    3:21-cv-02437-MCR-GRJ
   6987      352209   Joshua Shaw                             Environmental Litigation Group PC                                    3:21-cv-02397-MCR-GRJ
   6988      352228   Reuben Redd                             Environmental Litigation Group PC                                    3:21-cv-02457-MCR-GRJ
   6989      352231   Sara Peronto                            Environmental Litigation Group PC                                    3:21-cv-03056-MCR-GRJ
   6990      352234   Christopher Mendez                      Environmental Litigation Group PC                                    3:21-cv-02495-MCR-GRJ
   6991      352240   Julius Spann                            Environmental Litigation Group PC                                    3:21-cv-02276-MCR-GRJ
   6992      352241   Robert Snyder                           Environmental Litigation Group PC                                    3:21-cv-02601-MCR-GRJ
   6993      352254   Brian Lowe                              Environmental Litigation Group PC                                    3:21-cv-02854-MCR-GRJ
   6994      352264   Gerrald Coats                           Environmental Litigation Group PC                                    3:22-cv-04858-MCR-GRJ
   6995      352265   Jacob Pulley                            Environmental Litigation Group PC                                    3:22-cv-04859-MCR-GRJ
   6996      352266   Gilberto Arocho                         Environmental Litigation Group PC                                    3:22-cv-04860-MCR-GRJ
   6997      352268   Jonathan Parker                         Environmental Litigation Group PC                                    3:21-cv-02595-MCR-GRJ
   6998      352271   John Esquivel                           Environmental Litigation Group PC                                    3:21-cv-02345-MCR-GRJ
   6999      352273   Erik Braun                              Environmental Litigation Group PC                                    3:21-cv-02841-MCR-GRJ
   7000      352276   Cory Clark                              Environmental Litigation Group PC                                    3:22-cv-04862-MCR-GRJ
   7001      352280   James Cowan                             Environmental Litigation Group PC                                    3:22-cv-04864-MCR-GRJ
   7002      352281   Randall Leeper                          Environmental Litigation Group PC                                    3:22-cv-04865-MCR-GRJ
   7003      352290   Felipe Ramos                            Environmental Litigation Group PC                                    3:21-cv-02456-MCR-GRJ
   7004      352292   Michael Smith                           Environmental Litigation Group PC                                    3:22-cv-04867-MCR-GRJ
   7005      352297   Steve Wilson                            Environmental Litigation Group PC                                    3:21-cv-02267-MCR-GRJ
   7006      352303   Keith Armistead                         Environmental Litigation Group PC                                    3:22-cv-04871-MCR-GRJ
   7007      352307   Gerald Brown                            Environmental Litigation Group PC                                    3:21-cv-03086-MCR-GRJ
   7008      352310   Arthur Miller                           Environmental Litigation Group PC                                    3:21-cv-02865-MCR-GRJ




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   7009      352311   Carlito Cortes                          Environmental Litigation Group PC                                    3:21-cv-03507-MCR-GRJ
   7010      352313   Michael Giglio                          Environmental Litigation Group PC                                    3:22-cv-03881-MCR-GRJ
   7011      352315   Joseph Harmon                           Environmental Litigation Group PC                                    3:21-cv-02423-MCR-GRJ
   7012      352319   Irma Jackson-Mason                      Environmental Litigation Group PC                                    3:21-cv-02351-MCR-GRJ
   7013      352320   Thomas Kelly                            Environmental Litigation Group PC                                    3:21-cv-03051-MCR-GRJ
   7014      352321   Randy Jackson                           Environmental Litigation Group PC                                    3:22-cv-04002-MCR-GRJ
   7015      352324   Michael Higgins                         Environmental Litigation Group PC                                    3:21-cv-02830-MCR-GRJ
   7016      352327   Gregory Engel                           Environmental Litigation Group PC                                    3:22-cv-04008-MCR-GRJ
   7017      352332   Pamela Peteet                           Environmental Litigation Group PC                                    3:21-cv-03084-MCR-GRJ
   7018      352334   London Mason                            Environmental Litigation Group PC                                    3:21-cv-02856-MCR-GRJ
   7019      352335   Corey Copeland                          Environmental Litigation Group PC                                    3:21-cv-02342-MCR-GRJ
   7020      352347   Kevin Krieger                           Environmental Litigation Group PC                                    3:21-cv-02583-MCR-GRJ
   7021      352365   Robert O'sullivan                       Environmental Litigation Group PC                                    3:21-cv-02448-MCR-GRJ
   7022      352371   Aaron Roy                               Environmental Litigation Group PC                                    3:21-cv-02395-MCR-GRJ
   7023      352374   Cecil Addenbrooke                       Environmental Litigation Group PC                                    3:21-cv-02839-MCR-GRJ
   7024      352378   Phillippe Perrault                      Environmental Litigation Group PC                                    3:21-cv-02869-MCR-GRJ
   7025      352384   Michael Green                           Environmental Litigation Group PC                                    3:21-cv-02956-MCR-GRJ
   7026      352393   Jimmy Maddox                            Environmental Litigation Group PC                                    3:21-cv-02526-MCR-GRJ
   7027      352394   Charles Walker                          Environmental Litigation Group PC                                    3:21-cv-02672-MCR-GRJ
   7028      352396   Christopher Schultz                     Environmental Litigation Group PC                                    3:21-cv-02545-MCR-GRJ
   7029      352399   Daniel Lokey                            Environmental Litigation Group PC                                    3:21-cv-03248-MCR-GRJ
   7030      352408   Tessa Miller                            Environmental Litigation Group PC                                    3:21-cv-02681-MCR-GRJ
   7031      352416   Scott Thomas                            Environmental Litigation Group PC                                    3:21-cv-03269-MCR-GRJ
   7032      352420   Chesed Johnson                          Environmental Litigation Group PC                                    3:21-cv-02523-MCR-GRJ
   7033      352429   Cody Bullard                            Environmental Litigation Group PC                                    3:21-cv-02949-MCR-GRJ
   7034      352433   Curtis Easterling                       Environmental Litigation Group PC                                    3:21-cv-02343-MCR-GRJ
   7035      352434   Anthony Taylor                          Environmental Litigation Group PC                                    3:21-cv-03268-MCR-GRJ
   7036      352436   Dana Hayes                              Environmental Litigation Group PC                                    3:21-cv-02824-MCR-GRJ
   7037      352438   Frederic Hutchinson                     Environmental Litigation Group PC                                    3:21-cv-02518-MCR-GRJ
   7038      352444   Joshua Jenkins                          Environmental Litigation Group PC                                    3:21-cv-02960-MCR-GRJ
   7039      352446   Michael Dixon                           Environmental Litigation Group PC                                    3:21-cv-02341-MCR-GRJ
   7040      354336   Dennys Diaz                             Environmental Litigation Group PC                                    3:21-cv-02441-MCR-GRJ
   7041      355098   David Antonich                          Environmental Litigation Group PC                                    3:21-cv-03601-MCR-GRJ
   7042      355100   Todd Brown                              Environmental Litigation Group PC                                    3:21-cv-02348-MCR-GRJ
   7043      356840   Matthew Canup                           Environmental Litigation Group PC                                    3:22-cv-04691-MCR-GRJ
   7044      356846   John Lewers                             Environmental Litigation Group PC                                    3:21-cv-02847-MCR-GRJ
   7045      356848   Gordon Bellamy                          Environmental Litigation Group PC                                    3:22-cv-04682-MCR-GRJ
   7046      356856   Corey Currin                            Environmental Litigation Group PC                                    3:21-cv-02798-MCR-GRJ
   7047      356858   Jamie Ballard                           Environmental Litigation Group PC                                    3:22-cv-04670-MCR-GRJ
   7048      356859   Luis Heredia                            Environmental Litigation Group PC                                    3:21-cv-02826-MCR-GRJ
   7049      356864   Candice Leffingwell                     Environmental Litigation Group PC                                    3:22-cv-04764-MCR-GRJ
   7050      356865   Anthony Besancenez                      Environmental Litigation Group PC                                    3:22-cv-04683-MCR-GRJ
   7051      356870   David Puig                              Environmental Litigation Group PC                                    3:22-cv-03954-MCR-GRJ
   7052      356871   Clarissa Lewis                          Environmental Litigation Group PC                                    3:22-cv-04767-MCR-GRJ
   7053      356878   Jeremy Paz                              Environmental Litigation Group PC                                    3:22-cv-03971-MCR-GRJ
   7054      356883   Justin Hoffman                          Environmental Litigation Group PC                                    3:22-cv-04716-MCR-GRJ
   7055      356889   Wesley Cutrer                           Environmental Litigation Group PC                                    3:22-cv-04708-MCR-GRJ
   7056      356893   Roy Lara                                Environmental Litigation Group PC                                    3:21-cv-02845-MCR-GRJ
   7057      356895   Jacob Cook                              Environmental Litigation Group PC                                    3:22-cv-04707-MCR-GRJ
   7058      356901   Ronald Bolsinger                        Environmental Litigation Group PC                                    3:22-cv-04686-MCR-GRJ
   7059      356903   Gerald Harry                            Environmental Litigation Group PC                                    3:22-cv-04714-MCR-GRJ
   7060      173792   Sean Brewer                             Farris, Riley & Pitt                                                 8:20-cv-15706-MCR-GRJ
   7061      177037   Miriam Lane                             Farris, Riley & Pitt                                                 8:20-cv-15791-MCR-GRJ
   7062      177038   Ronald Lane                             Farris, Riley & Pitt                                                 8:20-cv-15794-MCR-GRJ
   7063      212893   Greg Coddington                         FAY LAW GROUP, P.A                                                   8:20-cv-67631-MCR-GRJ
   7064      212902   Aaron Jones                             FAY LAW GROUP, P.A                                                   8:20-cv-67657-MCR-GRJ
   7065      212908   Heston Morrill                          FAY LAW GROUP, P.A                        8:20-cv-67675-MCR-GRJ
   7066      212912   Javier Saavedra                         FAY LAW GROUP, P.A                                                   8:20-cv-67686-MCR-GRJ
   7067      212916   Christopher Sparks                      FAY LAW GROUP, P.A                                                   8:20-cv-67698-MCR-GRJ
   7068      212917   Brian Steyer                            FAY LAW GROUP, P.A                                                   8:20-cv-67701-MCR-GRJ
   7069      212920   Peter Watson                            FAY LAW GROUP, P.A                                                   8:20-cv-67710-MCR-GRJ
   7070      212921   Michael Yates                           FAY LAW GROUP, P.A                        8:20-cv-67712-MCR-GRJ
   7071      212926   Cassidy Brauer                          FAY LAW GROUP, P.A                        8:20-cv-67722-MCR-GRJ
   7072      222874   Ryan Nestell                            FAY LAW GROUP, P.A                                                   8:20-cv-67751-MCR-GRJ
   7073      234389   Willard Surko                           FAY LAW GROUP, P.A                        8:20-cv-86152-MCR-GRJ
   7074      234390   Timothy Sullivan                        FAY LAW GROUP, P.A                                                   8:20-cv-68744-MCR-GRJ
   7075      241102   Eduardo Garza                           FAY LAW GROUP, P.A                                                   8:20-cv-87542-MCR-GRJ
   7076      241103   Eric Rocco                              FAY LAW GROUP, P.A                                                   8:20-cv-87546-MCR-GRJ
   7077      241243   Nazim Arda                              FAY LAW GROUP, P.A                                                   8:20-cv-88042-MCR-GRJ
   7078      241469   Wesley Johnson                          FAY LAW GROUP, P.A                                                   8:20-cv-88239-MCR-GRJ
   7079      244621   Cory Howlan                             FAY LAW GROUP, P.A                                                   8:20-cv-86096-MCR-GRJ
   7080      244670   Joseph Dewitt                           FAY LAW GROUP, P.A                        8:20-cv-93376-MCR-GRJ
   7081      244673   Gerard Francois                         FAY LAW GROUP, P.A                                                   8:20-cv-93383-MCR-GRJ




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   7082      244677   Brian Merkal                            FAY LAW GROUP, P.A                                               8:20-cv-93393-MCR-GRJ
   7083      244678   Jeremy Quickel                          FAY LAW GROUP, P.A                                               8:20-cv-86596-MCR-GRJ
   7084      244679   Nathaniel Ware                          FAY LAW GROUP, P.A                                               8:20-cv-93397-MCR-GRJ
   7085      244826   Kelly Huerta                            FAY LAW GROUP, P.A                                               8:20-cv-93400-MCR-GRJ
   7086      248701   Raymond Weary                           FAY LAW GROUP, P.A                                               8:20-cv-86785-MCR-GRJ
   7087      251611   Michael Schwartz                        FAY LAW GROUP, P.A                    8:20-cv-87821-MCR-GRJ
   7088      252934   Jordan Cook Lewis                       FAY LAW GROUP, P.A                    8:20-cv-98235-MCR-GRJ
   7089      256939   Davey Brewster                          FAY LAW GROUP, P.A                                               8:20-cv-99133-MCR-GRJ
   7090      262587   Jeffrey Baca                            FAY LAW GROUP, P.A                    9:20-cv-10700-MCR-GRJ
   7091      268035   Cody Dulaney                            FAY LAW GROUP, P.A                                               9:20-cv-10707-MCR-GRJ
   7092      268036   Justin Richardson                       FAY LAW GROUP, P.A                                               9:20-cv-10708-MCR-GRJ
   7093      76855    Victor Vela                             Fears | Nachawati                     7:20-cv-49397-MCR-GRJ
   7094      76885    Shawn Carpenter                         Fears | Nachawati                     7:20-cv-49486-MCR-GRJ
   7095      76893    Konrad Wilson                           Fears | Nachawati                                                7:20-cv-49519-MCR-GRJ
   7096      76927    Alfredo Agirre                          Fears | Nachawati                                                7:20-cv-49625-MCR-GRJ
   7097      76935    Chris Farmer                            Fears | Nachawati                     7:20-cv-49658-MCR-GRJ
   7098      76959    Cathy Daudette                          Fears | Nachawati                                                3:19-cv-01828-MCR-GRJ
   7099      76978    Jessie Gerdes                           Fears | Nachawati                     7:20-cv-49800-MCR-GRJ
   7100      156999   John Drudge                             Fears | Nachawati                     7:20-cv-67902-MCR-GRJ
   7101      167663   Vicente Delgado                         Fears | Nachawati                                                7:20-cv-62888-MCR-GRJ
   7102      167665   Jose Fuentes                            Fears | Nachawati                                                7:20-cv-62894-MCR-GRJ
   7103      167670   Fabian Gomez                            Fears | Nachawati                     7:20-cv-62909-MCR-GRJ
   7104      167673   Eduardo Granado                         Fears | Nachawati                     7:20-cv-62918-MCR-GRJ
   7105      167675   Nicholas Greene                         Fears | Nachawati                                                7:20-cv-62924-MCR-GRJ
   7106      167676   Jorge Gutierrez                         Fears | Nachawati                     7:20-cv-62929-MCR-GRJ
   7107      167678   Charles Howland                         Fears | Nachawati                                                7:20-cv-62935-MCR-GRJ
   7108      167679   Haley Hughes                            Fears | Nachawati                     7:20-cv-62938-MCR-GRJ
   7109      167680   John Jaramillo                          Fears | Nachawati                                                7:20-cv-62941-MCR-GRJ
   7110      167699   Todd Nobis                              Fears | Nachawati                     7:20-cv-62998-MCR-GRJ
   7111      167700   Zachary O'Connor                        Fears | Nachawati                                                7:20-cv-63000-MCR-GRJ
   7112      167712   Bradley Romesburg                       Fears | Nachawati                     7:20-cv-63032-MCR-GRJ
   7113      167721   Samuel Tossie                           Fears | Nachawati                                                7:20-cv-63059-MCR-GRJ
   7114      167724   Felipe Vasquez                          Fears | Nachawati                     7:20-cv-63073-MCR-GRJ
   7115      174687   Jose Jimenez                            Fears | Nachawati                     7:20-cv-65563-MCR-GRJ
   7116      174691   Weston Self                             Fears | Nachawati                     7:20-cv-65566-MCR-GRJ
   7117      177478   Dustin Ware                             Fears | Nachawati                                                7:20-cv-66463-MCR-GRJ
   7118      177479   Esequiel Chapa                          Fears | Nachawati                     7:20-cv-66467-MCR-GRJ
   7119      177480   Reginald Williams                       Fears | Nachawati                     7:20-cv-66470-MCR-GRJ
   7120      177482   Juan Perez                              Fears | Nachawati                                                7:20-cv-66478-MCR-GRJ
   7121      177485   Chris Karsznia                          Fears | Nachawati                     7:20-cv-66489-MCR-GRJ
   7122      177491   Nicholas Gunter                         Fears | Nachawati                     7:20-cv-66509-MCR-GRJ
   7123      177496   Eric Nichols                            Fears | Nachawati                     7:20-cv-66529-MCR-GRJ
   7124      177500   Karen Freeman                           Fears | Nachawati                                                7:20-cv-66544-MCR-GRJ
   7125      190960   Stanley Duffy                           Fears | Nachawati                     8:20-cv-72210-MCR-GRJ
   7126      190962   James Kent                              Fears | Nachawati                                                8:20-cv-72212-MCR-GRJ
   7127      195581   Brian Green                             Fears | Nachawati                     8:20-cv-86592-MCR-GRJ
   7128      195585   Hayden Basile                           Fears | Nachawati                                                8:20-cv-72217-MCR-GRJ
   7129      195587   Jesse Parker                            Fears | Nachawati                     8:20-cv-72219-MCR-GRJ
   7130      268609   Nicholas Moore                          Fears | Nachawati                     9:20-cv-18282-MCR-GRJ
   7131      289467   Steven Keifer                           Fears | Nachawati                     7:21-cv-11500-MCR-GRJ
   7132      308766   Travis Willhite                         Fears | Nachawati                     7:21-cv-26193-MCR-GRJ
   7133      331456   Jared Grimmer                           Fears | Nachawati                     7:21-cv-48295-MCR-GRJ
   7134      303160   Ashley Green                            Fischer Redavid, PLLC                                            7:21-cv-20844-MCR-GRJ
   7135      300884   Norman Long                             Fitzgerald Law Group                                             7:21-cv-20777-MCR-GRJ
   7136      321195   Joseph Arsenault                        Fitzgerald Law Group                                             7:21-cv-35871-MCR-GRJ
   7137      321196   Jason Hill                              Fitzgerald Law Group                                             7:21-cv-35872-MCR-GRJ
   7138      321198   Anthony Long                            Fitzgerald Law Group                                             7:21-cv-35874-MCR-GRJ
   7139      323736   Terry Bean                              Fitzgerald Law Group                                             7:21-cv-37293-MCR-GRJ
   7140      76331    Joseph Abbruzzo                         FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-13629-MCR-GRJ
   7141      76394    Jose Castrejon                          FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14066-MCR-GRJ
   7142      76397    Brent Christensen                       FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14077-MCR-GRJ
   7143      76403    Phillip Clark                           FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14101-MCR-GRJ
   7144      76418    Thomas Culpepper                        FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-14179-MCR-GRJ
   7145      76423    Rhoan Davis                             FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14204-MCR-GRJ
   7146      76467    Gabriel Gamino                          FLEMING, NOLEN & JEZ, L.L.P                                      7:20-cv-16060-MCR-GRJ
   7147      76470    Gregorio Garza                          FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14386-MCR-GRJ
   7148      76472    Brad Gaumont                            FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14391-MCR-GRJ
   7149      76492    Karac Grubb                             FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14483-MCR-GRJ
   7150      76499    Kyle Hancock                            FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14518-MCR-GRJ
   7151      76501    Joseph Hannan                           FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-09960-MCR-GRJ
   7152      76507    Mckenzie Hebbelman                      FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14554-MCR-GRJ
   7153      76508    Nicholas Hebbelman                      FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14559-MCR-GRJ
   7154      76513    Angel Hernandez                         FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14587-MCR-GRJ




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   7155      76523    Jimmy Hibbler                           FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14632-MCR-GRJ
   7156      76531    Alan Hoover                             FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-14674-MCR-GRJ
   7157      76534    Calvin Hsieh                            FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-14689-MCR-GRJ
   7158      76535    Rudy Huante                             FLEMING, NOLEN & JEZ, L.L.P           7:20-cv-00084-MCR-GRJ
   7159      76540    Brandon Ingle                           FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14704-MCR-GRJ
   7160      76543    Jessica Jacobs                          FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14716-MCR-GRJ
   7161      76554    Christian Kadlik                        FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-14751-MCR-GRJ
   7162      76555    Steven Keene                            FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-14755-MCR-GRJ
   7163      76588    Lino Lucero                             FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-14877-MCR-GRJ
   7164      76590    David Lynch                             FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-14884-MCR-GRJ
   7165      76606    Grady Mcelhinney                        FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10056-MCR-GRJ
   7166      76616    Samuel Mercedes                         FLEMING, NOLEN & JEZ, L.L.P           7:20-cv-91544-MCR-GRJ
   7167      76646    Francisco Navarro                       FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10119-MCR-GRJ
   7168      76647    Jose Navarro                            FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10121-MCR-GRJ
   7169      76664    John Palmer                             FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10156-MCR-GRJ
   7170      76697    Clyde Richardson                        FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10235-MCR-GRJ
   7171      76698    Michael Riles                           FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10238-MCR-GRJ
   7172      76712    Arik Rogers                             FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10271-MCR-GRJ
   7173      76713    Rebecca Rogers                          FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10273-MCR-GRJ
   7174      76715    Brian Ross                              FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10279-MCR-GRJ
   7175      76733    Joshua Serros                           FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10329-MCR-GRJ
   7176      76759    James Stewart                           FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10416-MCR-GRJ
   7177      76763    Robert Tanner                           FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10431-MCR-GRJ
   7178      76765    Vernon Taylor                           FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10437-MCR-GRJ
   7179      76779    Brian Valdez                            FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10488-MCR-GRJ
   7180      76797    Ronald Webre                            FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10536-MCR-GRJ
   7181      76798    Adam Wemhoff                            FLEMING, NOLEN & JEZ, L.L.P                                      8:20-cv-10539-MCR-GRJ
   7182      76801    Jacob West                              FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10545-MCR-GRJ
   7183      76804    Jonathan White                          FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10553-MCR-GRJ
   7184      76809    Lloyd Williams                          FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10568-MCR-GRJ
   7185      76817    Gustavo Zavala                          FLEMING, NOLEN & JEZ, L.L.P           8:20-cv-10590-MCR-GRJ
   7186      277163   Blake Dodson                            FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-02048-MCR-GRJ
   7187      277171   Devin Fields                            FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02065-MCR-GRJ
   7188      277175   Ricardo Franco                          FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02213-MCR-GRJ
   7189      277176   Gregory Furner                          FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02214-MCR-GRJ
   7190      277194   John Haringsma                          FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02231-MCR-GRJ
   7191      277204   Luis Hernandez                          FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02241-MCR-GRJ
   7192      277209   Eugene Holmes                           FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-02246-MCR-GRJ
   7193      277228   Arthur Kellum                           FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02265-MCR-GRJ
   7194      277234   Charles Kueny                           FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-02271-MCR-GRJ
   7195      277262   Aaron Mcdonald                          FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02325-MCR-GRJ
   7196      277266   Martin Medina                           FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02334-MCR-GRJ
   7197      277285   James Neira                             FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02378-MCR-GRJ
   7198      277307   Chauncey Reed                           FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-02424-MCR-GRJ
   7199      277312   Miguel Rodriguez                        FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-02435-MCR-GRJ
   7200      277353   William Whitfield                       FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-02480-MCR-GRJ
   7201      300906   Richard Eagle Elk                       FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21768-MCR-GRJ
   7202      300913   John Foster                             FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21775-MCR-GRJ
   7203      300915   Daniel Garcia                           FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21777-MCR-GRJ
   7204      300916   Giovani Garcia                          FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21778-MCR-GRJ
   7205      300920   Anthony Giordano                        FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21782-MCR-GRJ
   7206      300923   Ishmael Green                           FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21785-MCR-GRJ
   7207      300932   William Huffstetler                     FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21794-MCR-GRJ
   7208      300957   Heriberto Morales                       FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21819-MCR-GRJ
   7209      300959   James Mullins                           FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21821-MCR-GRJ
   7210      300967   Greg Phipps                             FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21829-MCR-GRJ
   7211      300976   Jason Roberts                           FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21838-MCR-GRJ
   7212      300978   Morgan Roberts                          FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21840-MCR-GRJ
   7213      300982   Ricky Sewell                            FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21844-MCR-GRJ
   7214      300983   Justin Simmons                          FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21845-MCR-GRJ
   7215      300994   Timothy Webb                            FLEMING, NOLEN & JEZ, L.L.P           7:21-cv-21856-MCR-GRJ
   7216      300997   Noah Wike                               FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-21859-MCR-GRJ
   7217      315953   Cody Morgan                             FLEMING, NOLEN & JEZ, L.L.P                                      7:21-cv-31140-MCR-GRJ
   7218      243354   Quentin Colelli                         Flores McNabb Law Group                                          8:20-cv-91127-MCR-GRJ
   7219      243357   Adam Flores                             Flores McNabb Law Group                                          8:20-cv-91128-MCR-GRJ
   7220      243358   Steve Hahne                             Flores McNabb Law Group                                          8:20-cv-91130-MCR-GRJ
   7221      243361   Cameron Mcmahon                         Flores McNabb Law Group                                          8:20-cv-91136-MCR-GRJ
   7222      243362   Justin Muehr                            Flores McNabb Law Group                                          8:20-cv-91138-MCR-GRJ
   7223      243363   David Rivers                            Flores McNabb Law Group                                          8:20-cv-91139-MCR-GRJ
   7224      243364   Denis Ryan                              Flores McNabb Law Group                                          8:20-cv-91141-MCR-GRJ
   7225      243365   Otis Slay                               Flores McNabb Law Group                                          8:20-cv-91143-MCR-GRJ
   7226      152954   Philip Lubin                            Fodera & Long                                                    3:19-cv-01885-MCR-GRJ
   7227      332700   Charitie Nicholas                       Forman Law Offices                    7:21-cv-48504-MCR-GRJ




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   7228      332718   Victor Barrios                          Forman Law Offices                                                    7:21-cv-51212-MCR-GRJ
   7229      334248   Taylor Abney                            Forman Law Offices                                                    7:21-cv-48630-MCR-GRJ
   7230      334351   Steven Enebo                            Forman Law Offices                                                    7:21-cv-48647-MCR-GRJ
   7231      336249   Duane Mcmillan                          Forman Law Offices                         7:21-cv-54410-MCR-GRJ
   7232      336413   Todd Callahan                           Forman Law Offices                         7:21-cv-62434-MCR-GRJ
   7233      341562   Jesse Morgan                            Forman Law Offices                         7:21-cv-62935-MCR-GRJ
   7234      344975   George Sample                           Forman Law Offices                         7:21-cv-63288-MCR-GRJ
   7235      346162   James Mills                             Forman Law Offices                         7:21-cv-64613-MCR-GRJ
   7236      152955   Jeffery Ramsey                          Foster & Foster, P.L.L.C.                                             3:19-cv-01923-MCR-GRJ
   7237      91401    James Onofrio                           Franklin D. Azar & Associates, P.C.        7:20-cv-95624-MCR-GRJ
   7238      91444    Josh Rollins                            Franklin D. Azar & Associates, P.C.                                   3:22-cv-01330-MCR-GRJ
   7239      91450    Edward Ryglewicz                        Franklin D. Azar & Associates, P.C.                                   3:22-cv-01700-MCR-GRJ
   7240      91481    Lucas Stock                             Franklin D. Azar & Associates, P.C.                                   3:22-cv-01714-MCR-GRJ
   7241      91517    John Vassallo                           Franklin D. Azar & Associates, P.C.        7:20-cv-96075-MCR-GRJ
   7242      91529    Xavier Webb                             Franklin D. Azar & Associates, P.C.                                   3:22-cv-01095-MCR-GRJ
   7243      91561    Todd Albury                             Franklin D. Azar & Associates, P.C.                                   3:22-cv-01092-MCR-GRJ
   7244      91563    Alfredo Alvarado Diaz                   Franklin D. Azar & Associates, P.C.                                   3:20-cv-03607-MCR-GRJ
   7245      91601    Joshua Brown                            Franklin D. Azar & Associates, P.C.                                   3:19-cv-03927-MCR-GRJ
   7246      91642    Lewis Cunzeman                          Franklin D. Azar & Associates, P.C.                                   3:22-cv-01589-MCR-GRJ
   7247      91833    Wayne Mcmills                           Franklin D. Azar & Associates, P.C.                                   3:20-cv-02708-MCR-GRJ
   7248      91864    Travis Nelson                           Franklin D. Azar & Associates, P.C.                                   3:22-cv-01681-MCR-GRJ
   7249      176725   Derek Henderson                         Frantz Law Group, APLC                                                3:20-cv-03622-MCR-GRJ
   7250      183369   Daniel Greeley                          Frantz Law Group, APLC                                                3:20-cv-04232-MCR-GRJ
   7251      183374   Kristopher Kennedy                      Frantz Law Group, APLC                                                3:20-cv-04244-MCR-GRJ
   7252      183377   Daniel Raugust                          Frantz Law Group, APLC                                                3:20-cv-04337-MCR-GRJ
   7253      183379   Scott Richardson                        Frantz Law Group, APLC                                                3:20-cv-04339-MCR-GRJ
   7254      183380   Alex Taylor                             Frantz Law Group, APLC                                                3:20-cv-04344-MCR-GRJ
   7255      280600   Jonathan Rocha                          Frantz Law Group, APLC                                                3:21-cv-00016-MCR-GRJ
   7256      350702   Andres Jimenez                          Frantz Law Group, APLC                                                3:21-cv-01061-MCR-GRJ
   7257      78976    Derek Torres                            Gainsburgh Benjamin                                                   7:20-cv-47536-MCR-GRJ
   7258      78977    Scott Larousse                          Gainsburgh Benjamin                                                   7:20-cv-47539-MCR-GRJ
   7259      176317   Brandon Jackson                         Gainsburgh Benjamin                                                   7:20-cv-48281-MCR-GRJ
   7260      194531   Marvin Parsons                          Gallon, Takacs & Boissoneault, CO., LPA                               8:20-cv-57351-MCR-GRJ
   7261      139337   William Castle                          Gattuso & Ciotoli, PLLC                                               3:19-cv-01696-MCR-GRJ
   7262       3875    Marvin Bailey                           Goldenberg Heller & Antognoli, P.C.                                   8:20-cv-04640-MCR-GRJ
   7263       3881    Michael Chatman                         Goldenberg Heller & Antognoli, P.C.                                   8:20-cv-04656-MCR-GRJ
   7264       3885    Cedrick Faulk                           Goldenberg Heller & Antognoli, P.C.                                   8:20-cv-04667-MCR-GRJ
   7265       3894    Zackary Guerra                          Goldenberg Heller & Antognoli, P.C.                                   8:20-cv-04693-MCR-GRJ
   7266       3905    Joseph Inama                            Goldenberg Heller & Antognoli, P.C.                                   8:20-cv-04728-MCR-GRJ
   7267      237912   Arash Shahi-Moghani                     Gomez Trial Attorneys                                                 9:20-cv-11327-MCR-GRJ
   7268       3372    Mike Coil                               Goza & Honnold, LLC                                                   7:20-cv-42201-MCR-GRJ
   7269       3379    James Spann                             Goza & Honnold, LLC                        7:20-cv-42215-MCR-GRJ
   7270       3381    Gabriel Ortiz                           Goza & Honnold, LLC                                                   7:20-cv-42221-MCR-GRJ
   7271       3383    Sean Bonesteel                          Goza & Honnold, LLC                        7:20-cv-42224-MCR-GRJ
   7272       3404    Richard Bryant                          Goza & Honnold, LLC                        7:20-cv-42228-MCR-GRJ
   7273       3407    William Youngs                          Goza & Honnold, LLC                        7:20-cv-42231-MCR-GRJ
   7274       3412    Michael Marsh                           Goza & Honnold, LLC                                                   7:20-cv-42234-MCR-GRJ
   7275       6279    Brent Taylor                            Goza & Honnold, LLC                        7:20-cv-43107-MCR-GRJ
   7276      10281    Michael Wooten                          Goza & Honnold, LLC                                                   7:20-cv-50244-MCR-GRJ
   7277      10290    Peter Goodin                            Goza & Honnold, LLC                        7:20-cv-52379-MCR-GRJ
   7278      10305    David Thompson                          Goza & Honnold, LLC                        7:20-cv-52475-MCR-GRJ
   7279      10334    Rodney Clements                         Goza & Honnold, LLC                        7:20-cv-54066-MCR-GRJ
   7280      10336    Shane Olney                             Goza & Honnold, LLC                        7:20-cv-52716-MCR-GRJ
   7281      10340    Eric Nelson                             Goza & Honnold, LLC                                                   7:20-cv-52722-MCR-GRJ
   7282      10341    James Searels                           Goza & Honnold, LLC                                                   7:20-cv-52727-MCR-GRJ
   7283      10342    Cesar Marin                             Goza & Honnold, LLC                        7:20-cv-52731-MCR-GRJ
   7284      10348    Shunna Smith                            Goza & Honnold, LLC                                                   7:20-cv-54176-MCR-GRJ
   7285      10350    Diane Dawkins                           Goza & Honnold, LLC                        7:20-cv-54190-MCR-GRJ
   7286      10354    Michael Hildebrand                      Goza & Honnold, LLC                        7:20-cv-54221-MCR-GRJ
   7287      10361    Gregory Burks                           Goza & Honnold, LLC                                                   7:20-cv-54266-MCR-GRJ
   7288      10366    Michael Woods                           Goza & Honnold, LLC                        7:20-cv-54301-MCR-GRJ
   7289      10368    Cory Christenson                        Goza & Honnold, LLC                        7:20-cv-54316-MCR-GRJ
   7290      10369    Flynn Dillard                           Goza & Honnold, LLC                                                   7:20-cv-54324-MCR-GRJ
   7291      10370    Darrell Taylor                          Goza & Honnold, LLC                        7:20-cv-54331-MCR-GRJ
   7292      10371    Matthew Warren                          Goza & Honnold, LLC                        7:20-cv-54339-MCR-GRJ
   7293      10386    Samuel Urias                            Goza & Honnold, LLC                                                   7:20-cv-54399-MCR-GRJ
   7294      10388    Erron Lowry                             Goza & Honnold, LLC                        7:20-cv-54412-MCR-GRJ
   7295      10399    Alan Stuard                             Goza & Honnold, LLC                                                   7:20-cv-54457-MCR-GRJ
   7296      139663   Curtis Balmer                           Goza & Honnold, LLC                        7:20-cv-63877-MCR-GRJ
   7297      139713   Nasire Eltayeb                          Goza & Honnold, LLC                        7:20-cv-63935-MCR-GRJ
   7298      139773   Jared Guzman                            Goza & Honnold, LLC                        7:20-cv-63966-MCR-GRJ
   7299      139780   Chavon Jacques                          Goza & Honnold, LLC                                                   7:20-cv-63977-MCR-GRJ
   7300      139817   Wesley Jones                            Goza & Honnold, LLC                        7:20-cv-63988-MCR-GRJ




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   7301      139996   Carl Von Deck                           Goza & Honnold, LLC           7:20-cv-64165-MCR-GRJ
   7302      139998   David West                              Goza & Honnold, LLC                                      7:20-cv-64172-MCR-GRJ
   7303      140000   Colin Whittaker                         Goza & Honnold, LLC                                      7:20-cv-64180-MCR-GRJ
   7304      152961   Dennis Lyon                             Goza & Honnold, LLC                                      3:19-cv-01490-MCR-GRJ
   7305      155986   Jeffrey Kilgore                         Goza & Honnold, LLC           7:20-cv-65772-MCR-GRJ
   7306      155988   Barry Van Sickle                        Goza & Honnold, LLC           7:20-cv-65779-MCR-GRJ
   7307      156276   Nelson Carthen                          Goza & Honnold, LLC                                      7:20-cv-67691-MCR-GRJ
   7308      164476   Michael Allard                          Goza & Honnold, LLC           7:20-cv-68432-MCR-GRJ
   7309      164514   James Haggard                           Goza & Honnold, LLC                                      7:20-cv-68621-MCR-GRJ
   7310      164537   Angie Maitland                          Goza & Honnold, LLC                                      7:20-cv-68723-MCR-GRJ
   7311      164554   Stephen Orourke                         Goza & Honnold, LLC                                      7:20-cv-68784-MCR-GRJ
   7312      164558   Kevin Powell                            Goza & Honnold, LLC                                      7:20-cv-68799-MCR-GRJ
   7313      164559   Christopher Price                       Goza & Honnold, LLC           7:20-cv-68802-MCR-GRJ
   7314      164574   Scott Steenwyk                          Goza & Honnold, LLC           7:20-cv-68857-MCR-GRJ
   7315      164577   Paul Tovar                              Goza & Honnold, LLC           7:20-cv-68868-MCR-GRJ
   7316      164579   Stephen Tyson                           Goza & Honnold, LLC           7:20-cv-68875-MCR-GRJ
   7317      176944   Tim Atz                                 Goza & Honnold, LLC                                      8:20-cv-28276-MCR-GRJ
   7318      176976   Alvin Miller                            Goza & Honnold, LLC                                      8:20-cv-20077-MCR-GRJ
   7319      176989   William Tucker                          Goza & Honnold, LLC           8:20-cv-20127-MCR-GRJ
   7320      177010   Phillip Oscar Juarez                    Goza & Honnold, LLC                                      8:20-cv-20505-MCR-GRJ
   7321      194539   Almonte Smith                           Goza & Honnold, LLC           8:20-cv-40562-MCR-GRJ
   7322      194553   Lyle White                              Goza & Honnold, LLC                                      8:20-cv-40606-MCR-GRJ
   7323      194556   Jacob Ehrlich                           Goza & Honnold, LLC           8:20-cv-40615-MCR-GRJ
   7324      194559   Garrett Murphy                          Goza & Honnold, LLC                                      8:20-cv-40624-MCR-GRJ
   7325      194566   Charles Qualls                          Goza & Honnold, LLC                                      8:20-cv-40646-MCR-GRJ
   7326      194568   Gary Ang                                Goza & Honnold, LLC           8:20-cv-40652-MCR-GRJ
   7327      194583   Christopher Scott                       Goza & Honnold, LLC           8:20-cv-40699-MCR-GRJ
   7328      194607   Stacie Strickland                       Goza & Honnold, LLC                                      8:20-cv-40772-MCR-GRJ
   7329      194618   Tristan King                            Goza & Honnold, LLC                                      8:20-cv-40800-MCR-GRJ
   7330      212405   Christopher Hoover                      Goza & Honnold, LLC           9:20-cv-00472-MCR-GRJ
   7331      212409   Kevin Teasley                           Goza & Honnold, LLC           9:20-cv-00476-MCR-GRJ
   7332      212415   Paul Kessler                            Goza & Honnold, LLC                                      9:20-cv-00482-MCR-GRJ
   7333      212436   Jeremy Ranger                           Goza & Honnold, LLC           9:20-cv-00503-MCR-GRJ
   7334      212448   William Parker                          Goza & Honnold, LLC           9:20-cv-00515-MCR-GRJ
   7335      212460   Stephen Clark                           Goza & Honnold, LLC           9:20-cv-00539-MCR-GRJ
   7336      212463   Jakub Baliga                            Goza & Honnold, LLC           9:20-cv-00545-MCR-GRJ
   7337      212464   Jake Cantrell                           Goza & Honnold, LLC                                      9:20-cv-00547-MCR-GRJ
   7338      212478   Daniel Shough                           Goza & Honnold, LLC           9:20-cv-00575-MCR-GRJ
   7339      212499   Richard Meades                          Goza & Honnold, LLC           9:20-cv-00617-MCR-GRJ
   7340      212501   Krista Murray                           Goza & Honnold, LLC                                      9:20-cv-00621-MCR-GRJ
   7341      212504   Scott Ruby                              Goza & Honnold, LLC           9:20-cv-00627-MCR-GRJ
   7342      256797   Edward Mcconnell                        Goza & Honnold, LLC                                      9:20-cv-01315-MCR-GRJ
   7343      256798   Justin Crombie                          Goza & Honnold, LLC           9:20-cv-01316-MCR-GRJ
   7344      256804   Ryan Narregan                           Goza & Honnold, LLC                                      9:20-cv-01322-MCR-GRJ
   7345      256807   Joaquin Marchand                        Goza & Honnold, LLC           9:20-cv-01325-MCR-GRJ
   7346      256808   Brandon Jones                           Goza & Honnold, LLC           9:20-cv-01326-MCR-GRJ
   7347      256817   Carrington Dale                         Goza & Honnold, LLC                                      9:20-cv-01335-MCR-GRJ
   7348      136511   David Knight                            Grant & Eisenhofer                                       3:19-cv-03621-MCR-GRJ
   7349      170248   Alan Adkins                             Grant & Eisenhofer                                       7:20-cv-40918-MCR-GRJ
   7350      170249   James Adkins                            Grant & Eisenhofer                                       7:20-cv-40919-MCR-GRJ
   7351      170256   Charles Anderson                        Grant & Eisenhofer            7:20-cv-40928-MCR-GRJ
   7352      170258   Patrick Antelman                        Grant & Eisenhofer            7:20-cv-40931-MCR-GRJ
   7353      170261   Timothy Armstrong                       Grant & Eisenhofer                                       7:20-cv-40935-MCR-GRJ
   7354      170276   Joseph Barrett                          Grant & Eisenhofer                                       7:20-cv-40954-MCR-GRJ
   7355      170286   Lorenza Best                            Grant & Eisenhofer                                       7:20-cv-40967-MCR-GRJ
   7356      170287   Charles Bigelow                         Grant & Eisenhofer                                       7:20-cv-40971-MCR-GRJ
   7357      170291   Matthew Bowe                            Grant & Eisenhofer                                       7:20-cv-40976-MCR-GRJ
   7358      170294   Mario Bracy                             Grant & Eisenhofer                                       7:20-cv-40980-MCR-GRJ
   7359      170295   Rocky Bratton                           Grant & Eisenhofer            7:20-cv-40981-MCR-GRJ
   7360      170298   Jason Broaddus                          Grant & Eisenhofer                                       7:20-cv-40985-MCR-GRJ
   7361      170299   Matthew Brock                           Grant & Eisenhofer                                       7:20-cv-40986-MCR-GRJ
   7362      170300   Jeremy Brooks                           Grant & Eisenhofer                                       7:20-cv-40988-MCR-GRJ
   7363      170301   Joshua Brooks                           Grant & Eisenhofer                                       7:20-cv-40989-MCR-GRJ
   7364      170303   James Brown                             Grant & Eisenhofer            7:20-cv-40992-MCR-GRJ
   7365      170307   Christopher Buchanan                    Grant & Eisenhofer                                       7:20-cv-40997-MCR-GRJ
   7366      170313   Jason Bush                              Grant & Eisenhofer                                       7:20-cv-41006-MCR-GRJ
   7367      170314   Joshua Bush                             Grant & Eisenhofer            7:20-cv-41007-MCR-GRJ
   7368      170320   Jesse Calta                             Grant & Eisenhofer                                       7:20-cv-41016-MCR-GRJ
   7369      170322   Jesus Campuzano                         Grant & Eisenhofer            7:20-cv-41019-MCR-GRJ
   7370      170323   Christopher Cannon                      Grant & Eisenhofer            7:20-cv-41020-MCR-GRJ
   7371      170325   Dennis Carroll                          Grant & Eisenhofer            7:20-cv-41023-MCR-GRJ
   7372      170326   Eldra Carter                            Grant & Eisenhofer            7:20-cv-41025-MCR-GRJ
   7373      170334   Elaina Church                           Grant & Eisenhofer            7:20-cv-41068-MCR-GRJ




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   7374      170337   Henry Claudio                           Grant & Eisenhofer           7:20-cv-41077-MCR-GRJ
   7375      170341   Joshua Coccia                           Grant & Eisenhofer                                      7:20-cv-41091-MCR-GRJ
   7376      170347   Christopher Colon                       Grant & Eisenhofer                                      7:20-cv-41054-MCR-GRJ
   7377      170348   Joseph Constantino                      Grant & Eisenhofer                                      7:20-cv-41058-MCR-GRJ
   7378      170355   Tyrone Cottom                           Grant & Eisenhofer                                      7:20-cv-41079-MCR-GRJ
   7379      170364   Joshuwa Crittenden                      Grant & Eisenhofer                                      7:20-cv-41102-MCR-GRJ
   7380      170366   Robert Crowell                          Grant & Eisenhofer                                      7:20-cv-41107-MCR-GRJ
   7381      170367   Samantha Cruey                          Grant & Eisenhofer                                      7:20-cv-41108-MCR-GRJ
   7382      170368   Jarmaine Crump                          Grant & Eisenhofer           7:20-cv-39395-MCR-GRJ
   7383      170369   Edward Currie                           Grant & Eisenhofer                                      7:20-cv-41113-MCR-GRJ
   7384      170370   Matthew Curtis                          Grant & Eisenhofer           7:20-cv-41115-MCR-GRJ
   7385      170372   Thomas Daly                             Grant & Eisenhofer                                      7:20-cv-41119-MCR-GRJ
   7386      170380   Roy Davis                               Grant & Eisenhofer                                      7:20-cv-41135-MCR-GRJ
   7387      170392   Jason Duckett                           Grant & Eisenhofer                                      7:20-cv-41162-MCR-GRJ
   7388      170402   Quiana Evans                            Grant & Eisenhofer           7:20-cv-41193-MCR-GRJ
   7389      170403   Joshua Fahlgren                         Grant & Eisenhofer                                      7:20-cv-41196-MCR-GRJ
   7390      170407   Blanche Fiebing                         Grant & Eisenhofer                                      7:20-cv-41207-MCR-GRJ
   7391      170414   Lynette Forbes                          Grant & Eisenhofer           7:20-cv-41226-MCR-GRJ
   7392      170415   Lennox Fountain                         Grant & Eisenhofer                                      7:20-cv-41228-MCR-GRJ
   7393      170418   Justin Franklin                         Grant & Eisenhofer           7:20-cv-41235-MCR-GRJ
   7394      170420   Billy Freeman                           Grant & Eisenhofer                                      7:20-cv-41240-MCR-GRJ
   7395      170424   Johnathan Fuqua                         Grant & Eisenhofer                                      7:20-cv-41248-MCR-GRJ
   7396      170425   Christopher Furrow                      Grant & Eisenhofer                                      7:20-cv-41250-MCR-GRJ
   7397      170442   Jeffrey Glover                          Grant & Eisenhofer                                      7:20-cv-41288-MCR-GRJ
   7398      170444   Alicia Gomez                            Grant & Eisenhofer                                      7:20-cv-41152-MCR-GRJ
   7399      170448   Janet Gracey                            Grant & Eisenhofer           7:20-cv-41165-MCR-GRJ
   7400      170453   Joshua Greene                           Grant & Eisenhofer           7:20-cv-41180-MCR-GRJ
   7401      170464   Eric Hampton                            Grant & Eisenhofer           7:20-cv-41213-MCR-GRJ
   7402      170465   Josh Hampton                            Grant & Eisenhofer                                      7:20-cv-41215-MCR-GRJ
   7403      170469   Daniel Harling                          Grant & Eisenhofer                                      7:20-cv-41227-MCR-GRJ
   7404      170474   Joseph Havlik                           Grant & Eisenhofer                                      7:20-cv-41239-MCR-GRJ
   7405      170475   Kory Hawk                               Grant & Eisenhofer           7:20-cv-41242-MCR-GRJ
   7406      170488   Steven Hinton                           Grant & Eisenhofer                                      7:20-cv-41294-MCR-GRJ
   7407      170489   Aaron Hoard                             Grant & Eisenhofer                                      7:20-cv-41296-MCR-GRJ
   7408      170493   Wendy Horn                              Grant & Eisenhofer           7:20-cv-41301-MCR-GRJ
   7409      170497   Jonathon Hume                           Grant & Eisenhofer           7:20-cv-41306-MCR-GRJ
   7410      170502   Troy Jackson                            Grant & Eisenhofer                                      7:20-cv-41313-MCR-GRJ
   7411      170510   Alex Johnson                            Grant & Eisenhofer           7:20-cv-41323-MCR-GRJ
   7412      170512   Christopher Johnson                     Grant & Eisenhofer           7:20-cv-41326-MCR-GRJ
   7413      170516   Lawrence Jones                          Grant & Eisenhofer                                      7:20-cv-41331-MCR-GRJ
   7414      170522   Charles Kidd                            Grant & Eisenhofer                                      7:20-cv-41339-MCR-GRJ
   7415      170539   Thomas Lane                             Grant & Eisenhofer           7:20-cv-41373-MCR-GRJ
   7416      170543   Caesar Laureano                         Grant & Eisenhofer           7:20-cv-41382-MCR-GRJ
   7417      170548   Michael Lepage                          Grant & Eisenhofer           7:20-cv-41370-MCR-GRJ
   7418      170552   Reginald Lockett                        Grant & Eisenhofer                                      7:20-cv-41379-MCR-GRJ
   7419      170562   Daniel Lynch                            Grant & Eisenhofer           7:20-cv-41393-MCR-GRJ
   7420      170564   Ervin Maddox                            Grant & Eisenhofer           7:20-cv-41395-MCR-GRJ
   7421      170571   Joseph Martin                           Grant & Eisenhofer           7:20-cv-41406-MCR-GRJ
   7422      170572   Robert Martin                           Grant & Eisenhofer           7:20-cv-41408-MCR-GRJ
   7423      170584   Marshall Mccord                         Grant & Eisenhofer                                      7:20-cv-41433-MCR-GRJ
   7424      170589   Daniel Mcinnes                          Grant & Eisenhofer                                      7:20-cv-41443-MCR-GRJ
   7425      170590   Ronnie Mckay                            Grant & Eisenhofer           7:20-cv-41445-MCR-GRJ
   7426      170593   David Mealer                            Grant & Eisenhofer                                      7:20-cv-41451-MCR-GRJ
   7427      170596   Hugo Mendez                             Grant & Eisenhofer           7:20-cv-41457-MCR-GRJ
   7428      170598   Philip Mercon                           Grant & Eisenhofer           7:20-cv-41461-MCR-GRJ
   7429      170611   Michael Morris                          Grant & Eisenhofer           7:20-cv-41502-MCR-GRJ
   7430      170619   Sanjay Nair                             Grant & Eisenhofer           7:20-cv-41521-MCR-GRJ
   7431      170621   Courtney Nascimento                     Grant & Eisenhofer           7:20-cv-41527-MCR-GRJ
   7432      170622   Joseph Nash                             Grant & Eisenhofer           7:20-cv-41530-MCR-GRJ
   7433      170630   Javier Ortiz                            Grant & Eisenhofer                                      7:20-cv-41549-MCR-GRJ
   7434      170632   Seth Pack                               Grant & Eisenhofer                                      7:20-cv-41555-MCR-GRJ
   7435      170636   Nicholas Pefferman                      Grant & Eisenhofer           7:20-cv-41567-MCR-GRJ
   7436      170637   Casey Perdomo                           Grant & Eisenhofer                                      7:20-cv-41570-MCR-GRJ
   7437      170639   Sean Perez                              Grant & Eisenhofer           7:20-cv-41577-MCR-GRJ
   7438      170641   Troy Pickel                             Grant & Eisenhofer                                      7:20-cv-41584-MCR-GRJ
   7439      170643   Edward Polk                             Grant & Eisenhofer                                      7:20-cv-41591-MCR-GRJ
   7440      170645   James Praegitzer                        Grant & Eisenhofer           7:20-cv-41402-MCR-GRJ
   7441      170654   Antonio Ramos                           Grant & Eisenhofer           7:20-cv-41423-MCR-GRJ
   7442      170662   Donald Rideout                          Grant & Eisenhofer           7:20-cv-41440-MCR-GRJ
   7443      170666   Tony Roderick                           Grant & Eisenhofer                                      7:20-cv-41448-MCR-GRJ
   7444      170670   Jeremy Rogers                           Grant & Eisenhofer                                      7:21-cv-19405-MCR-GRJ
   7445      170676   Melvin Rush                             Grant & Eisenhofer           7:20-cv-41466-MCR-GRJ
   7446      170679   Michael Saiz                            Grant & Eisenhofer           7:20-cv-41471-MCR-GRJ




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   7447      170689   Mindy Self                              Grant & Eisenhofer                                                  7:20-cv-41492-MCR-GRJ
   7448      170690   Vance Shannon                           Grant & Eisenhofer                       7:20-cv-41495-MCR-GRJ
   7449      170703   Brandon Smith                           Grant & Eisenhofer                       7:20-cv-41497-MCR-GRJ
   7450      170710   Aaron Snyder                            Grant & Eisenhofer                                                  7:20-cv-41518-MCR-GRJ
   7451      170713   Davis Sonnier                           Grant & Eisenhofer                       7:20-cv-41528-MCR-GRJ
   7452      170726   Lance Surratt                           Grant & Eisenhofer                       7:20-cv-41572-MCR-GRJ
   7453      170729   Albert Swanson                          Grant & Eisenhofer                       7:20-cv-41586-MCR-GRJ
   7454      170733   Randa Taylor                            Grant & Eisenhofer                       7:20-cv-41602-MCR-GRJ
   7455      170739   Sean Thompson                           Grant & Eisenhofer                       7:20-cv-41625-MCR-GRJ
   7456      170740   Sherry Thornton                         Grant & Eisenhofer                       7:20-cv-41629-MCR-GRJ
   7457      170747   Jesus Trevino                           Grant & Eisenhofer                       7:20-cv-41664-MCR-GRJ
   7458      170751   Christopher Turner                      Grant & Eisenhofer                                                  7:20-cv-39403-MCR-GRJ
   7459      170762   Gabriel Vega                            Grant & Eisenhofer                                                  7:20-cv-41723-MCR-GRJ
   7460      170763   Craig Velasquez                         Grant & Eisenhofer                       7:20-cv-41726-MCR-GRJ
   7461      170771   Devon Walker                            Grant & Eisenhofer                       7:20-cv-41581-MCR-GRJ
   7462      170775   Anthony Welikonich                      Grant & Eisenhofer                       7:20-cv-41596-MCR-GRJ
   7463      170777   Arthur Whalen                           Grant & Eisenhofer                                                  7:20-cv-41601-MCR-GRJ
   7464      170779   Dion White                              Grant & Eisenhofer                                                  7:20-cv-41607-MCR-GRJ
   7465      170789   Lewes Wingate                           Grant & Eisenhofer                       7:20-cv-41639-MCR-GRJ
   7466      170790   Diamond Winters                         Grant & Eisenhofer                                                  7:20-cv-41643-MCR-GRJ
   7467      170797   Timothy Wright                          Grant & Eisenhofer                                                  7:20-cv-41665-MCR-GRJ
   7468      170798   Nathan Yantorn                          Grant & Eisenhofer                       7:20-cv-41667-MCR-GRJ
   7469      170800   Corey Zachary                           Grant & Eisenhofer                                                  7:20-cv-41675-MCR-GRJ
   7470      189191   Swanson Campbell                        Grant & Eisenhofer                       7:20-cv-91126-MCR-GRJ
   7471      189194   Colin Nethery                           Grant & Eisenhofer                       7:20-cv-94316-MCR-GRJ
   7472      189195   Mark Posz                               Grant & Eisenhofer                                                  7:20-cv-94318-MCR-GRJ
   7473      189203   Steven Acevedo                          Grant & Eisenhofer                                                  7:20-cv-91131-MCR-GRJ
   7474      189242   Candace Miller                          Grant & Eisenhofer                       7:20-cv-94324-MCR-GRJ
   7475      211444   Nancy Brown                             Grant & Eisenhofer                       8:20-cv-58541-MCR-GRJ
   7476      213231   Robert Foster                           Grant & Eisenhofer                                                  8:20-cv-59194-MCR-GRJ
   7477      213235   David Smith                             Grant & Eisenhofer                                                  8:20-cv-59198-MCR-GRJ
   7478      213241   Milton Keith                            Grant & Eisenhofer                       8:20-cv-60008-MCR-GRJ
   7479      213248   Terry Woods                             Grant & Eisenhofer                       8:20-cv-60033-MCR-GRJ
   7480      216408   Terry Birchfield                        Grant & Eisenhofer                       8:20-cv-60313-MCR-GRJ
   7481      216418   Jermane Henry                           Grant & Eisenhofer                       8:20-cv-60334-MCR-GRJ
   7482      216422   Eric Kauffman                           Grant & Eisenhofer                       8:20-cv-60348-MCR-GRJ
   7483      216448   Nathan Snowden                          Grant & Eisenhofer                                                  8:20-cv-60437-MCR-GRJ
   7484      216450   Stetson Spencer                         Grant & Eisenhofer                       8:20-cv-60444-MCR-GRJ
   7485      216493   Jason Stewart                           Grant & Eisenhofer                                                  8:20-cv-60466-MCR-GRJ
   7486      216494   Daniel Weaver                           Grant & Eisenhofer                                                  8:20-cv-60469-MCR-GRJ
   7487      216497   John Wright                             Grant & Eisenhofer                                                  8:20-cv-60478-MCR-GRJ
   7488      216504   Delaney Kerr                            Grant & Eisenhofer                                                  8:20-cv-60498-MCR-GRJ
   7489      239757   David Rabb                              Grant & Eisenhofer                       8:20-cv-85962-MCR-GRJ
   7490      241986   Curtis Jenkins                          Grant & Eisenhofer                                                  8:20-cv-75790-MCR-GRJ
   7491      352608   Joshua Rixie                            Grant & Eisenhofer                                                  3:21-cv-01796-MCR-GRJ
   7492      361013   Victoria Stotts                         Grant & Eisenhofer                                                  3:22-cv-05018-MCR-GRJ
   7493      49253    Victor Albarracin                       Green & Schafle LLC                                                 8:20-cv-09493-MCR-GRJ
   7494      329707   Lenworth Bent                           Green & Schafle LLC                                                 7:21-cv-43340-MCR-GRJ
   7495      329711   Anthony Holiday                         Green & Schafle LLC                                                 7:21-cv-43348-MCR-GRJ
   7496      280074   Nicholas Daicoff                        Griffin Purnell LLC                                                 7:21-cv-00081-MCR-GRJ
   7497      286947   Douglas Fouts                           Griffin Purnell LLC                                                 7:21-cv-05077-MCR-GRJ
   7498      286950   Jorge Perez                             Griffin Purnell LLC                                                 7:21-cv-05080-MCR-GRJ
   7499      307291   Jessey Braden                           Griffin Purnell LLC                                                 7:21-cv-24168-MCR-GRJ
   7500      139207   Matthew Flores                          Gustafson Gluek PLLC                                                3:19-cv-01077-MCR-GRJ
   7501      152578   Bryan Pender                            Gustafson Gluek PLLC                                                3:19-cv-01066-MCR-GRJ
   7502      138783   Haitham Alghazaly                       Hafemann, Magee & Thomas                                            3:19-cv-03817-MCR-GRJ
   7503      202727   Jason Stewart                           Hafemann, Magee & Thomas                                            3:20-cv-04879-MCR-GRJ
   7504      146401   Preston Mckaughan                       Hair Shunnarah Trial Attorneys           7:20-cv-99558-MCR-GRJ
   7505      270245   Nicholas Krauss                         Hair Shunnarah Trial Attorneys           9:20-cv-11064-MCR-GRJ
   7506      270256   Jared Sullivan                          Hair Shunnarah Trial Attorneys           9:20-cv-11095-MCR-GRJ
   7507      270277   Christopher Turner                      Hair Shunnarah Trial Attorneys           9:20-cv-11137-MCR-GRJ
   7508      270278   Anthony Hendrix                         Hair Shunnarah Trial Attorneys           9:20-cv-11139-MCR-GRJ
   7509      270280   Daniel White                            Hair Shunnarah Trial Attorneys           9:20-cv-11144-MCR-GRJ
   7510      270283   Daryl Banks                             Hair Shunnarah Trial Attorneys                                      9:20-cv-11149-MCR-GRJ
   7511      270287   Lee Cox                                 Hair Shunnarah Trial Attorneys           9:20-cv-11157-MCR-GRJ
   7512      270300   Derek Mcguire                           Hair Shunnarah Trial Attorneys           9:20-cv-11181-MCR-GRJ
   7513      270308   Donnell Spriggs                         Hair Shunnarah Trial Attorneys           9:20-cv-11197-MCR-GRJ
   7514      289788   Steven Tallant                          Hair Shunnarah Trial Attorneys           7:21-cv-10735-MCR-GRJ
   7515      289793   Donald Bohn                             Hair Shunnarah Trial Attorneys           7:21-cv-10740-MCR-GRJ
   7516      289796   Adam Woolverton                         Hair Shunnarah Trial Attorneys                                      7:21-cv-10743-MCR-GRJ
   7517      289797   Eric Phelps                             Hair Shunnarah Trial Attorneys                                      7:21-cv-10744-MCR-GRJ
   7518      289809   Tyler Jacobs                            Hair Shunnarah Trial Attorneys                                      7:21-cv-10755-MCR-GRJ
   7519      289816   Morgan Herrington                       Hair Shunnarah Trial Attorneys           7:21-cv-10762-MCR-GRJ




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   7520      289817   Jeff Burnett                            Hair Shunnarah Trial Attorneys                                      7:21-cv-10763-MCR-GRJ
   7521      289826   Seth Whitley                            Hair Shunnarah Trial Attorneys           7:21-cv-10772-MCR-GRJ
   7522      289828   Channon Grooms                          Hair Shunnarah Trial Attorneys           7:21-cv-10774-MCR-GRJ
   7523      289829   Luther Jackson                          Hair Shunnarah Trial Attorneys           7:21-cv-10775-MCR-GRJ
   7524      289832   Michael Johnson                         Hair Shunnarah Trial Attorneys                                      7:21-cv-10778-MCR-GRJ
   7525      289846   Lance Robinson                          Hair Shunnarah Trial Attorneys           7:21-cv-10791-MCR-GRJ
   7526      289860   Kim Bruhl                               Hair Shunnarah Trial Attorneys                                      7:21-cv-10805-MCR-GRJ
   7527      289869   April Morton                            Hair Shunnarah Trial Attorneys                                      7:21-cv-10814-MCR-GRJ
   7528      289876   Marco Minez                             Hair Shunnarah Trial Attorneys           7:21-cv-10821-MCR-GRJ
   7529      289878   Christopher Nichols                     Hair Shunnarah Trial Attorneys                                      7:21-cv-10823-MCR-GRJ
   7530      289883   Alvin Mcswain                           Hair Shunnarah Trial Attorneys           7:21-cv-10828-MCR-GRJ
   7531      289892   Christopher Bruce                       Hair Shunnarah Trial Attorneys                                      7:21-cv-10837-MCR-GRJ
   7532      289897   Gregory Lowery                          Hair Shunnarah Trial Attorneys                                      7:21-cv-10842-MCR-GRJ
   7533      289908   Norman Smith                            Hair Shunnarah Trial Attorneys                                      7:21-cv-10853-MCR-GRJ
   7534      289913   Phillip Haun                            Hair Shunnarah Trial Attorneys                                      7:21-cv-10859-MCR-GRJ
   7535      294952   Benjamin Higgs                          Hair Shunnarah Trial Attorneys                                      7:21-cv-16720-MCR-GRJ
   7536      307297   Ashley Gahagan                          Hair Shunnarah Trial Attorneys                                      7:21-cv-36849-MCR-GRJ
   7537      307298   Gabriella Klingensmith                  Hair Shunnarah Trial Attorneys           7:21-cv-36850-MCR-GRJ
   7538      307300   Thomas Fetcho                           Hair Shunnarah Trial Attorneys                                      7:21-cv-36852-MCR-GRJ
   7539      307301   Russell Underwood                       Hair Shunnarah Trial Attorneys                                      7:21-cv-36853-MCR-GRJ
   7540      307306   Christopher Bailey                      Hair Shunnarah Trial Attorneys           7:21-cv-36858-MCR-GRJ
   7541      307308   Jonathan Sirmans                        Hair Shunnarah Trial Attorneys           7:21-cv-36860-MCR-GRJ
   7542      307314   Anthony Newland                         Hair Shunnarah Trial Attorneys           7:21-cv-36866-MCR-GRJ
   7543      317449   Dorell Campbell                         Hair Shunnarah Trial Attorneys           7:21-cv-29893-MCR-GRJ
   7544      318801   Aaron Clark                             Hair Shunnarah Trial Attorneys                                      7:21-cv-29982-MCR-GRJ
   7545      319776   Travis Houston                          Hair Shunnarah Trial Attorneys           7:21-cv-30007-MCR-GRJ
   7546      319777   Tamika Torain                           Hair Shunnarah Trial Attorneys           7:21-cv-30009-MCR-GRJ
   7547      319779   Tamika Thompson                         Hair Shunnarah Trial Attorneys                                      7:21-cv-30013-MCR-GRJ
   7548      319780   Hoss Hammond                            Hair Shunnarah Trial Attorneys           7:21-cv-30015-MCR-GRJ
   7549      319781   Misty Rendel                            Hair Shunnarah Trial Attorneys                                      7:21-cv-30018-MCR-GRJ
   7550      319850   Tristen Buskirk                         Hair Shunnarah Trial Attorneys           7:21-cv-30076-MCR-GRJ
   7551      319885   Nicholas Schoiber                       Hair Shunnarah Trial Attorneys                                      7:21-cv-30149-MCR-GRJ
   7552      319887   Phillip Campbell                        Hair Shunnarah Trial Attorneys                                      7:21-cv-30154-MCR-GRJ
   7553      319894   Michael Granderson                      Hair Shunnarah Trial Attorneys                                      7:21-cv-30169-MCR-GRJ
   7554      320966   Dana Clookey                            Hair Shunnarah Trial Attorneys           7:21-cv-33598-MCR-GRJ
   7555      326527   Matthew Coverdale                       Hair Shunnarah Trial Attorneys                                      7:21-cv-43218-MCR-GRJ
   7556      326548   Theresa Katz                            Hair Shunnarah Trial Attorneys                                      7:21-cv-43238-MCR-GRJ
   7557      326554   Corey Easley                            Hair Shunnarah Trial Attorneys                                      7:21-cv-43249-MCR-GRJ
   7558      326561   Rashid Goins                            Hair Shunnarah Trial Attorneys           7:21-cv-43263-MCR-GRJ
   7559      330035   Victor Jimenez                          Hair Shunnarah Trial Attorneys           7:21-cv-43375-MCR-GRJ
   7560      330045   Jacob Gardner                           Hair Shunnarah Trial Attorneys           7:21-cv-43393-MCR-GRJ
   7561      330049   Jesus Rodriguez                         Hair Shunnarah Trial Attorneys                                      7:21-cv-43401-MCR-GRJ
   7562      330075   Nathanael Moses                         Hair Shunnarah Trial Attorneys           7:21-cv-43446-MCR-GRJ
   7563      330086   Charles Garrett                         Hair Shunnarah Trial Attorneys                                      7:21-cv-43465-MCR-GRJ
   7564      330087   Shane Griffin                           Hair Shunnarah Trial Attorneys                                      7:21-cv-43467-MCR-GRJ
   7565      330092   Christopher Williams                    Hair Shunnarah Trial Attorneys           7:21-cv-43475-MCR-GRJ
   7566      330101   Damon Pitts                             Hair Shunnarah Trial Attorneys           7:21-cv-43492-MCR-GRJ
   7567      354084   Ceasar Baiz Mercado                     Hair Shunnarah Trial Attorneys                                      3:21-cv-02021-MCR-GRJ
   7568      354086   Benjamin Barker                         Hair Shunnarah Trial Attorneys                                      3:21-cv-02025-MCR-GRJ
   7569      354089   Marvin Baucom                           Hair Shunnarah Trial Attorneys                                      3:21-cv-02066-MCR-GRJ
   7570      354114   Keith Downing                           Hair Shunnarah Trial Attorneys                                      3:21-cv-02204-MCR-GRJ
   7571      354132   Adam Garza                              Hair Shunnarah Trial Attorneys                                      3:21-cv-02295-MCR-GRJ
   7572      354133   James Gibson                            Hair Shunnarah Trial Attorneys                                      3:21-cv-02296-MCR-GRJ
   7573      354135   Leonardo Gonzalez                       Hair Shunnarah Trial Attorneys                                      3:21-cv-02310-MCR-GRJ
   7574      354147   Ernest Herr                             Hair Shunnarah Trial Attorneys                                      3:21-cv-02540-MCR-GRJ
   7575      354148   Daveal Highsmith                        Hair Shunnarah Trial Attorneys                                      3:21-cv-02546-MCR-GRJ
   7576      354163   Sirandre Johnson                        Hair Shunnarah Trial Attorneys                                      3:21-cv-02679-MCR-GRJ
   7577      354176   Patrick Lavoie                          Hair Shunnarah Trial Attorneys                                      3:21-cv-02749-MCR-GRJ
   7578      354179   Sadarius Lewis                          Hair Shunnarah Trial Attorneys                                      3:21-cv-02761-MCR-GRJ
   7579      354189   Federico Martines                       Hair Shunnarah Trial Attorneys                                      3:21-cv-02908-MCR-GRJ
   7580      354215   Jesus Nevarez                           Hair Shunnarah Trial Attorneys                                      3:21-cv-03255-MCR-GRJ
   7581      354216   Joshua Nomann                           Hair Shunnarah Trial Attorneys                                      3:21-cv-03261-MCR-GRJ
   7582      354223   Michael Palacios                        Hair Shunnarah Trial Attorneys                                      3:21-cv-03376-MCR-GRJ
   7583      354231   Laurin Phillips                         Hair Shunnarah Trial Attorneys                                      3:21-cv-03423-MCR-GRJ
   7584      354254   Franco Savini                           Hair Shunnarah Trial Attorneys                                      3:21-cv-03206-MCR-GRJ
   7585      354271   Dennis Stolte                           Hair Shunnarah Trial Attorneys                                      3:21-cv-02951-MCR-GRJ
   7586      354278   Gerard Todd                             Hair Shunnarah Trial Attorneys                                      3:21-cv-02716-MCR-GRJ
   7587      354296   Robert Westbrook                        Hair Shunnarah Trial Attorneys                                      3:21-cv-02321-MCR-GRJ
   7588      354302   Joshua Wilson                           Hair Shunnarah Trial Attorneys                                      3:21-cv-02312-MCR-GRJ
   7589      355340   Jason Evans                             Hair Shunnarah Trial Attorneys                                      3:21-cv-04059-MCR-GRJ
   7590      355345   Jhanique Harvey-Hinds                   Hair Shunnarah Trial Attorneys                                      3:21-cv-04149-MCR-GRJ
   7591      355354   Derek Hess                              Hair Shunnarah Trial Attorneys                                      3:21-cv-04152-MCR-GRJ
   7592      355374   Robert Andrada                          Hair Shunnarah Trial Attorneys                                      3:21-cv-03984-MCR-GRJ




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   7593      355389   Corey Jones                             Hair Shunnarah Trial Attorneys                                       3:21-cv-04235-MCR-GRJ
   7594      355908   Erik Evans                              Hair Shunnarah Trial Attorneys                                       3:22-cv-00058-MCR-GRJ
   7595      355919   Shanel Johnson                          Hair Shunnarah Trial Attorneys                                       3:22-cv-00170-MCR-GRJ
   7596      356285   Samuel Baxter                           Hair Shunnarah Trial Attorneys                                       3:22-cv-00295-MCR-GRJ
   7597      356321   Edwin Pastrana-Rivera                   Hair Shunnarah Trial Attorneys                                       3:22-cv-00669-MCR-GRJ
   7598      356335   Zacariah Womack                         Hair Shunnarah Trial Attorneys                                       3:22-cv-00789-MCR-GRJ
   7599      356916   Tyshaun Clark                           Hair Shunnarah Trial Attorneys                                       3:22-cv-00816-MCR-GRJ
   7600      357118   Nathaniel Medina                        Hair Shunnarah Trial Attorneys                                       3:22-cv-01128-MCR-GRJ
   7601      357123   Francisco Rodriguez                     Hair Shunnarah Trial Attorneys                                       3:22-cv-01204-MCR-GRJ
   7602      357125   Steven Schultz                          Hair Shunnarah Trial Attorneys                                       3:22-cv-01234-MCR-GRJ
   7603      357127   Justin Smith                            Hair Shunnarah Trial Attorneys                                       3:22-cv-01253-MCR-GRJ
   7604      357128   Shanerika Spradley                      Hair Shunnarah Trial Attorneys                                       3:22-cv-01267-MCR-GRJ
   7605      357132   Tony Tuell                              Hair Shunnarah Trial Attorneys                                       3:22-cv-01291-MCR-GRJ
   7606      79089    Alex Rodriguez                          Hare Wynn Newell & Newton                                            7:20-cv-46518-MCR-GRJ
   7607      49263    Mykel Crete                             Harrell & Nowak                                                      8:20-cv-33462-MCR-GRJ
   7608      49264    Andrew Degrand                          Harrell & Nowak                                                      8:20-cv-33464-MCR-GRJ
   7609      49270    Jeffrey Hall                            Harrell & Nowak                                                      8:20-cv-33488-MCR-GRJ
   7610      49277    Demarcus Morton                         Harrell & Nowak                                                      8:20-cv-33516-MCR-GRJ
   7611      49278    Greg Motley                             Harrell & Nowak                                                      8:20-cv-33520-MCR-GRJ
   7612      49282    Daniel Schaub                           Harrell & Nowak                                                      8:20-cv-33534-MCR-GRJ
   7613      49287    Luther Young                            Harrell & Nowak                                                      8:20-cv-33555-MCR-GRJ
   7614      10405    Felipe Jasso                            Hensley Legal Group, PC                                              7:20-cv-83759-MCR-GRJ
   7615      10434    Jared Grillo                            Hensley Legal Group, PC                                              7:20-cv-83794-MCR-GRJ
   7616      10440    Jimmy Estle                             Hensley Legal Group, PC                   7:20-cv-83802-MCR-GRJ
   7617      10449    Nicholas Call                           Hensley Legal Group, PC                                              7:20-cv-83808-MCR-GRJ
   7618      10470    William Kirchner                        Hensley Legal Group, PC                   7:20-cv-42747-MCR-GRJ
   7619      10549    Robin Morgan                            Hensley Legal Group, PC                   7:20-cv-83942-MCR-GRJ
   7620      10555    Ryan Wilson                             Hensley Legal Group, PC                                              7:20-cv-83957-MCR-GRJ
   7621      10573    Elvin Bryant                            Hensley Legal Group, PC                                              7:20-cv-83996-MCR-GRJ
   7622      10616    Kerry Joseph                            Hensley Legal Group, PC                                              7:20-cv-84081-MCR-GRJ
   7623      10646    Michael Smith                           Hensley Legal Group, PC                   7:20-cv-84144-MCR-GRJ
   7624      10669    Eugene Moore                            Hensley Legal Group, PC                   7:20-cv-42770-MCR-GRJ
   7625      202897   George Pullicino                        Hensley Legal Group, PC                                              8:20-cv-70847-MCR-GRJ
   7626      229156   Mickey Markley                          Hensley Legal Group, PC                                              8:20-cv-63382-MCR-GRJ
   7627      16439    Osman Geronimo- Gomez                   Hissey, Mulderig & Friend, PLLC           8:20-cv-03797-MCR-GRJ
   7628      16441    Michael Tortorete                       Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03808-MCR-GRJ
   7629      16442    Timothy Johnson                         Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03813-MCR-GRJ
   7630      16443    Daniel Millan                           Hissey, Mulderig & Friend, PLLC           8:20-cv-03817-MCR-GRJ
   7631      16445    Robert Vasquez                          Hissey, Mulderig & Friend, PLLC           8:20-cv-03825-MCR-GRJ
   7632      16446    Matthew Wombacher                       Hissey, Mulderig & Friend, PLLC           8:20-cv-03829-MCR-GRJ
   7633      16447    Lance Killion                           Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03833-MCR-GRJ
   7634      16448    Brian Nichols                           Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03837-MCR-GRJ
   7635      16450    Julio Medina                            Hissey, Mulderig & Friend, PLLC           8:20-cv-03845-MCR-GRJ
   7636      16451    Richard Harris                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03850-MCR-GRJ
   7637      16457    Jairo Ferreira                          Hissey, Mulderig & Friend, PLLC           8:20-cv-03871-MCR-GRJ
   7638      16460    Ignacio Luna                            Hissey, Mulderig & Friend, PLLC           8:20-cv-03883-MCR-GRJ
   7639      16461    James Lax                               Hissey, Mulderig & Friend, PLLC           8:20-cv-03886-MCR-GRJ
   7640      16462    Matthew Gillespie                       Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03890-MCR-GRJ
   7641      16463    Leon Hinton                             Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03894-MCR-GRJ
   7642      16464    William White                           Hissey, Mulderig & Friend, PLLC           8:20-cv-03899-MCR-GRJ
   7643      16465    Wendel Brueckner                        Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03904-MCR-GRJ
   7644      16467    Warren Clark                            Hissey, Mulderig & Friend, PLLC           8:20-cv-03912-MCR-GRJ
   7645      16468    Richard Snell                           Hissey, Mulderig & Friend, PLLC           8:20-cv-03916-MCR-GRJ
   7646      16469    Gregory Jones                           Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03919-MCR-GRJ
   7647      16472    Luke Faust                              Hissey, Mulderig & Friend, PLLC           8:20-cv-03928-MCR-GRJ
   7648      16473    David Fetsko                            Hissey, Mulderig & Friend, PLLC           8:20-cv-03932-MCR-GRJ
   7649      16475    Zechariah Gerhard                       Hissey, Mulderig & Friend, PLLC           8:20-cv-04552-MCR-GRJ
   7650      16476    Bernard Vincavage                       Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03948-MCR-GRJ
   7651      16477    Dustin Whitsell                         Hissey, Mulderig & Friend, PLLC           8:20-cv-03951-MCR-GRJ
   7652      16479    Nathan Rice                             Hissey, Mulderig & Friend, PLLC           8:20-cv-03957-MCR-GRJ
   7653      16481    Tommy Waddell                           Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03963-MCR-GRJ
   7654      16482    Jermel Freeman                          Hissey, Mulderig & Friend, PLLC           8:20-cv-03966-MCR-GRJ
   7655      16486    Shane Paulison                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03980-MCR-GRJ
   7656      16487    Jeffrey Lester                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03983-MCR-GRJ
   7657      16489    William Hopkins                         Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03989-MCR-GRJ
   7658      16490    Eric Boothe                             Hissey, Mulderig & Friend, PLLC           8:20-cv-03992-MCR-GRJ
   7659      16492    Daniel Myers                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-03998-MCR-GRJ
   7660      16496    Ralph Good                              Hissey, Mulderig & Friend, PLLC           8:20-cv-04011-MCR-GRJ
   7661      16499    Gunnar Yeager                           Hissey, Mulderig & Friend, PLLC           8:20-cv-04020-MCR-GRJ
   7662      16500    Christopher Bowden                      Hissey, Mulderig & Friend, PLLC           8:20-cv-04023-MCR-GRJ
   7663      16501    Alan Sanders                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04026-MCR-GRJ
   7664      16502    Charles Wombles                         Hissey, Mulderig & Friend, PLLC           8:20-cv-04030-MCR-GRJ
   7665      16503    Nathaniel Sontag                        Hissey, Mulderig & Friend, PLLC           8:20-cv-04033-MCR-GRJ




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   7666      16507    Christopher Lykes                       Hissey, Mulderig & Friend, PLLC           8:20-cv-04043-MCR-GRJ
   7667      16508    John Pogrzeba                           Hissey, Mulderig & Friend, PLLC           8:20-cv-04045-MCR-GRJ
   7668      16509    Percy Clements                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04047-MCR-GRJ
   7669      16510    Dwight Lee                              Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04049-MCR-GRJ
   7670      16511    Charles Ware                            Hissey, Mulderig & Friend, PLLC           8:20-cv-04051-MCR-GRJ
   7671      16512    Aldeen Quillin                          Hissey, Mulderig & Friend, PLLC           8:20-cv-04053-MCR-GRJ
   7672      16514    Daniel Witter                           Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04057-MCR-GRJ
   7673      16517    Adrian Dorsey                           Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04064-MCR-GRJ
   7674      16519    Jeffrey Johnson                         Hissey, Mulderig & Friend, PLLC           8:20-cv-04166-MCR-GRJ
   7675      16520    Michael Arndorfer                       Hissey, Mulderig & Friend, PLLC           8:20-cv-04169-MCR-GRJ
   7676      16521    Erik Belcher                            Hissey, Mulderig & Friend, PLLC           8:20-cv-04172-MCR-GRJ
   7677      16523    Larry Walker                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04178-MCR-GRJ
   7678      16525    Julio Villanueva                        Hissey, Mulderig & Friend, PLLC           8:20-cv-04184-MCR-GRJ
   7679      16526    Kyle Chamberlin                         Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04187-MCR-GRJ
   7680      16528    Tyler Kraus                             Hissey, Mulderig & Friend, PLLC           8:20-cv-04193-MCR-GRJ
   7681      16534    Connie Stevens                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04212-MCR-GRJ
   7682      16535    Michael Doerr                           Hissey, Mulderig & Friend, PLLC           8:20-cv-04215-MCR-GRJ
   7683      16539    Dwayne Edwards                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04227-MCR-GRJ
   7684      16542    Tony Mizrahi                            Hissey, Mulderig & Friend, PLLC           8:20-cv-04237-MCR-GRJ
   7685      16544    Jeries Helo                             Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04243-MCR-GRJ
   7686      16546    Francisco Pena                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04249-MCR-GRJ
   7687      16548    William Alcoser                         Hissey, Mulderig & Friend, PLLC           8:20-cv-04255-MCR-GRJ
   7688      16549    Alexis Gomez                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04258-MCR-GRJ
   7689      156006   Jeffery Carroll                         Hissey, Mulderig & Friend, PLLC           8:20-cv-04129-MCR-GRJ
   7690      156007   Robert Deshotel                         Hissey, Mulderig & Friend, PLLC           8:20-cv-04132-MCR-GRJ
   7691      156008   Robert Ihnat                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04135-MCR-GRJ
   7692      156010   Francisco Kinchen                       Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04141-MCR-GRJ
   7693      156012   David Raymond                           Hissey, Mulderig & Friend, PLLC           8:20-cv-04148-MCR-GRJ
   7694      161904   Michael Scott                           Hissey, Mulderig & Friend, PLLC           8:20-cv-04156-MCR-GRJ
   7695      176359   Chad Colbert                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04292-MCR-GRJ
   7696      176360   Michael Gordon                          Hissey, Mulderig & Friend, PLLC           8:20-cv-04295-MCR-GRJ
   7697      176361   Ashley Hall                             Hissey, Mulderig & Friend, PLLC           8:20-cv-04298-MCR-GRJ
   7698      176362   Terrince Jones                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04301-MCR-GRJ
   7699      189286   Michael Davies                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04329-MCR-GRJ
   7700      189287   Eric Dombroski                          Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04332-MCR-GRJ
   7701      189288   Leonidas Exnicious                      Hissey, Mulderig & Friend, PLLC           8:20-cv-04335-MCR-GRJ
   7702      189289   William Fox                             Hissey, Mulderig & Friend, PLLC           8:20-cv-04338-MCR-GRJ
   7703      189290   Erik Gimm                               Hissey, Mulderig & Friend, PLLC           8:20-cv-04340-MCR-GRJ
   7704      189291   John Green                              Hissey, Mulderig & Friend, PLLC           8:20-cv-04344-MCR-GRJ
   7705      189292   Joseph Lipps                            Hissey, Mulderig & Friend, PLLC           8:20-cv-04346-MCR-GRJ
   7706      189298   Michael Stevenson                       Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04366-MCR-GRJ
   7707      189299   Samuel Vanek                            Hissey, Mulderig & Friend, PLLC                                      8:20-cv-04369-MCR-GRJ
   7708      189301   Derrick Yazzie                          Hissey, Mulderig & Friend, PLLC           8:20-cv-04375-MCR-GRJ
   7709      304006   Alexander Alderman                      Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24345-MCR-GRJ
   7710      304007   Raymond Alford                          Hissey, Mulderig & Friend, PLLC           7:21-cv-24346-MCR-GRJ
   7711      304012   Daniel Butler                           Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24351-MCR-GRJ
   7712      304013   Nicholas Crain                          Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24352-MCR-GRJ
   7713      304014   Michael Crouse                          Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24353-MCR-GRJ
   7714      304018   Ronald Godwin                           Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24357-MCR-GRJ
   7715      304020   Brandon Hall                            Hissey, Mulderig & Friend, PLLC           7:21-cv-24359-MCR-GRJ
   7716      304021   Jamare Harris                           Hissey, Mulderig & Friend, PLLC           7:21-cv-24360-MCR-GRJ
   7717      304022   Douglas Highlander                      Hissey, Mulderig & Friend, PLLC           7:21-cv-24361-MCR-GRJ
   7718      304023   Eric Holland                            Hissey, Mulderig & Friend, PLLC           7:21-cv-24362-MCR-GRJ
   7719      304024   Carl Johnson                            Hissey, Mulderig & Friend, PLLC           7:21-cv-24363-MCR-GRJ
   7720      304028   Leon Kircher                            Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24367-MCR-GRJ
   7721      304035   Randy Matthews                          Hissey, Mulderig & Friend, PLLC           7:21-cv-24374-MCR-GRJ
   7722      304036   Eric Mclean                             Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24375-MCR-GRJ
   7723      304038   Walter Nuako                            Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24377-MCR-GRJ
   7724      304043   Frederick Rockett                       Hissey, Mulderig & Friend, PLLC           7:21-cv-24382-MCR-GRJ
   7725      304049   Ibiba Slink                             Hissey, Mulderig & Friend, PLLC                                      7:21-cv-24388-MCR-GRJ
   7726      304051   Joseph Taplin                           Hissey, Mulderig & Friend, PLLC           7:21-cv-24389-MCR-GRJ
   7727      304052   Bo Torres                               Hissey, Mulderig & Friend, PLLC           7:21-cv-24390-MCR-GRJ
   7728      304055   Traeh Whittington                       Hissey, Mulderig & Friend, PLLC           7:21-cv-24393-MCR-GRJ
   7729       4064    Benny Dodson                            Hodges & Foty, LLP                                                   7:20-cv-45248-MCR-GRJ
   7730       4068    Joshua Hamm                             Hodges & Foty, LLP                                                   7:20-cv-45251-MCR-GRJ
   7731       4076    Jose Vasquez                            Hodges & Foty, LLP                                                   7:20-cv-45258-MCR-GRJ
   7732       4077    Todd Watson                             Hodges & Foty, LLP                                                   7:20-cv-45259-MCR-GRJ
   7733      189175   Richard Gomez                           Hodges & Foty, LLP                                                   3:19-cv-00978-MCR-GRJ
   7734      80452    Thomas Akin                             Holland Law Firm                          7:20-cv-84267-MCR-GRJ
   7735      80454    Daniel Allsup                           Holland Law Firm                          7:20-cv-84276-MCR-GRJ
   7736      80462    Rick Ayala                              Holland Law Firm                                                     7:20-cv-84308-MCR-GRJ
   7737      80465    Frank Backry                            Holland Law Firm                                                     7:20-cv-84319-MCR-GRJ
   7738      80470    Phillip Banzhof                         Holland Law Firm                          7:20-cv-84341-MCR-GRJ




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   7739      80473   Kendall Barry                            Holland Law Firm           7:20-cv-84352-MCR-GRJ
   7740      80480   James Beall                              Holland Law Firm                                      7:20-cv-84380-MCR-GRJ
   7741      80490   Ingrid Bermiss                           Holland Law Firm                                      7:20-cv-84416-MCR-GRJ
   7742      80494   Reynaldo Blanco                          Holland Law Firm                                      7:20-cv-84438-MCR-GRJ
   7743      80502   Jonathan Branyon                         Holland Law Firm           7:20-cv-84473-MCR-GRJ
   7744      80506   Bryan Brown                              Holland Law Firm                                      7:20-cv-84488-MCR-GRJ
   7745      80510   William Bryce                            Holland Law Firm                                      7:20-cv-84509-MCR-GRJ
   7746      80513   Darryl Bullock                           Holland Law Firm                                      7:20-cv-84523-MCR-GRJ
   7747      80518   Jeremy Burnside                          Holland Law Firm                                      7:20-cv-84542-MCR-GRJ
   7748      80521   Kenneth Byrd                             Holland Law Firm           7:20-cv-83951-MCR-GRJ
   7749      80526   Rafael Camarena                          Holland Law Firm                                      7:20-cv-83965-MCR-GRJ
   7750      80534   Marcie Carpenter                         Holland Law Firm           7:20-cv-83985-MCR-GRJ
   7751      80537   Michael Carter                           Holland Law Firm           7:20-cv-83994-MCR-GRJ
   7752      80539   Terence Carter                           Holland Law Firm                                      7:20-cv-83999-MCR-GRJ
   7753      80542   Jose Castellanos                         Holland Law Firm           7:20-cv-84005-MCR-GRJ
   7754      80548   Paul Chase                               Holland Law Firm                                      7:20-cv-84020-MCR-GRJ
   7755      80552   Charles Clare                            Holland Law Firm                                      7:20-cv-84031-MCR-GRJ
   7756      80554   Timothy Cleveland                        Holland Law Firm           7:20-cv-84036-MCR-GRJ
   7757      80556   Dustin Cochran                           Holland Law Firm           7:20-cv-84042-MCR-GRJ
   7758      80560   Terrance Conaway                         Holland Law Firm           7:20-cv-84054-MCR-GRJ
   7759      80562   William Cook                             Holland Law Firm                                      7:20-cv-84060-MCR-GRJ
   7760      80563   William Cooper                           Holland Law Firm                                      7:20-cv-84063-MCR-GRJ
   7761      80566   Edward Cote                              Holland Law Firm           7:20-cv-84071-MCR-GRJ
   7762      80578   Bruce Davis                              Holland Law Firm           7:20-cv-84105-MCR-GRJ
   7763      80579   Johnathan Davis                          Holland Law Firm           7:20-cv-84108-MCR-GRJ
   7764      80590   Brittany Dixon                           Holland Law Firm           7:20-cv-84146-MCR-GRJ
   7765      80592   David Doll                               Holland Law Firm                                      7:20-cv-84153-MCR-GRJ
   7766      80602   Chiquita Edwards                         Holland Law Firm                                      7:20-cv-84185-MCR-GRJ
   7767      80606   Tandra Ellis                             Holland Law Firm           7:20-cv-84200-MCR-GRJ
   7768      80612   Carlos Esquivel                          Holland Law Firm           7:20-cv-84222-MCR-GRJ
   7769      80613   Brian Evans                              Holland Law Firm           7:20-cv-84226-MCR-GRJ
   7770      80616   Mark Everett                             Holland Law Firm           7:20-cv-84237-MCR-GRJ
   7771      80619   Angel Faulkner                           Holland Law Firm           7:20-cv-84247-MCR-GRJ
   7772      80621   James Feuerbacher                        Holland Law Firm           7:20-cv-84255-MCR-GRJ
   7773      80626   Barbara Flickinger                       Holland Law Firm           7:20-cv-84266-MCR-GRJ
   7774      80630   Lorie Ford                               Holland Law Firm           7:20-cv-84281-MCR-GRJ
   7775      80637   Brockton Frazier                         Holland Law Firm           7:20-cv-84302-MCR-GRJ
   7776      80638   Marc Friedenbach                         Holland Law Firm                                      7:20-cv-84305-MCR-GRJ
   7777      80647   Jonathan Garrett                         Holland Law Firm           7:20-cv-16135-MCR-GRJ
   7778      80669   Michael Griffith                         Holland Law Firm           7:20-cv-84404-MCR-GRJ
   7779      80671   George Grove                             Holland Law Firm           7:20-cv-84414-MCR-GRJ
   7780      80685   Matthew Hartman                          Holland Law Firm                                      7:20-cv-84474-MCR-GRJ
   7781      80689   Angela Heath                             Holland Law Firm                                      7:20-cv-84492-MCR-GRJ
   7782      80691   Steven Heemaneth                         Holland Law Firm                                      7:20-cv-84500-MCR-GRJ
   7783      80692   Joshua Hefner                            Holland Law Firm           7:20-cv-84505-MCR-GRJ
   7784      80702   Daryl Hollis                             Holland Law Firm           7:20-cv-84552-MCR-GRJ
   7785      80704   Michelle Homer                           Holland Law Firm                                      7:20-cv-84560-MCR-GRJ
   7786      80711   Sean Hulen                               Holland Law Firm           7:20-cv-84582-MCR-GRJ
   7787      80724   Erik Johannessen                         Holland Law Firm           7:20-cv-84618-MCR-GRJ
   7788      80725   Glen Johansmeier                         Holland Law Firm                                      7:20-cv-84622-MCR-GRJ
   7789      80727   Quincy Johnson                           Holland Law Firm           7:20-cv-84630-MCR-GRJ
   7790      80735   Thomas Junier                            Holland Law Firm                                      7:20-cv-84653-MCR-GRJ
   7791      80748   Raymond Kistler                          Holland Law Firm                                      7:20-cv-84691-MCR-GRJ
   7792      80750   Kahler Kozakiewicz                       Holland Law Firm           7:20-cv-84699-MCR-GRJ
   7793      80755   John Lambson                             Holland Law Firm           7:20-cv-84715-MCR-GRJ
   7794      80758   Frank Landis                             Holland Law Firm           7:20-cv-84728-MCR-GRJ
   7795      80763   Kyle Lavelle                             Holland Law Firm           7:20-cv-84749-MCR-GRJ
   7796      80772   Thomas Little                            Holland Law Firm                                      7:20-cv-84783-MCR-GRJ
   7797      80773   Robert Lloyd                             Holland Law Firm           7:20-cv-84788-MCR-GRJ
   7798      80784   Scotty Martin                            Holland Law Firm           7:20-cv-84845-MCR-GRJ
   7799      80786   Denzel Massey                            Holland Law Firm                                      7:20-cv-84851-MCR-GRJ
   7800      80789   Charles Mayhew                           Holland Law Firm                                      7:20-cv-84861-MCR-GRJ
   7801      80796   Charles Mcmillen                         Holland Law Firm                                      7:20-cv-84445-MCR-GRJ
   7802      80797   William Mcnabb                           Holland Law Firm                                      7:20-cv-84450-MCR-GRJ
   7803      80799   Timothy Mcwilliams                       Holland Law Firm           7:20-cv-84459-MCR-GRJ
   7804      80800   Gary Meacham                             Holland Law Firm                                      7:20-cv-84464-MCR-GRJ
   7805      80804   David Merckson                           Holland Law Firm                                      7:20-cv-84484-MCR-GRJ
   7806      80808   Travis Mikel                             Holland Law Firm           7:20-cv-84498-MCR-GRJ
   7807      80811   James Miller                             Holland Law Firm           7:20-cv-84512-MCR-GRJ
   7808      80814   Michael Montano                          Holland Law Firm                                      7:20-cv-84522-MCR-GRJ
   7809      80818   Joel Moriset                             Holland Law Firm                                      7:20-cv-84541-MCR-GRJ
   7810      80823   Steven Mullins                           Holland Law Firm                                      7:20-cv-16146-MCR-GRJ
   7811      80826   Larhonda Neal                            Holland Law Firm                                      7:20-cv-84570-MCR-GRJ




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   7812      80831    Andrew Nitchman                         Holland Law Firm                                      7:20-cv-84588-MCR-GRJ
   7813      80841    Valente Ortiz                           Holland Law Firm           7:20-cv-84623-MCR-GRJ
   7814      80847    Todd Paige                              Holland Law Firm                                      7:20-cv-84642-MCR-GRJ
   7815      80848    Amber Palys                             Holland Law Firm           7:20-cv-84645-MCR-GRJ
   7816      80851    Jason Peck                              Holland Law Firm                                      7:20-cv-84651-MCR-GRJ
   7817      80865    Anthony Ramos                           Holland Law Firm                                      7:20-cv-84696-MCR-GRJ
   7818      80866    James Randall                           Holland Law Firm                                      7:20-cv-84700-MCR-GRJ
   7819      80867    Branden Ray                             Holland Law Firm           7:20-cv-84705-MCR-GRJ
   7820      80872    Theodore Reeder                         Holland Law Firm           7:20-cv-84729-MCR-GRJ
   7821      80874    Nathan Reeves                           Holland Law Firm           7:20-cv-84737-MCR-GRJ
   7822      80877    Daniel Renfroe                          Holland Law Firm                                      7:20-cv-84747-MCR-GRJ
   7823      80880    Kevin Rice                              Holland Law Firm           7:20-cv-84760-MCR-GRJ
   7824      80886    Javon Rivers                            Holland Law Firm           7:20-cv-84789-MCR-GRJ
   7825      80887    Jason Roberts                           Holland Law Firm           7:20-cv-84794-MCR-GRJ
   7826      80890    Vicente Romero                          Holland Law Firm                                      7:20-cv-84809-MCR-GRJ
   7827      80891    Charles Rouse                           Holland Law Firm           7:20-cv-84812-MCR-GRJ
   7828      80897    Robert Russell                          Holland Law Firm                                      7:20-cv-84840-MCR-GRJ
   7829      80899    Jose Sanchez                            Holland Law Firm           7:20-cv-84852-MCR-GRJ
   7830      80906    Wesley Selvage                          Holland Law Firm           7:20-cv-84889-MCR-GRJ
   7831      80913    Simon Silva                             Holland Law Firm           7:20-cv-84915-MCR-GRJ
   7832      80926    Jonathan Stane                          Holland Law Firm           7:20-cv-84965-MCR-GRJ
   7833      80928    Robert Stearns                          Holland Law Firm           7:20-cv-84973-MCR-GRJ
   7834      80932    Gregory Stetzer                         Holland Law Firm           7:20-cv-84988-MCR-GRJ
   7835      80933    Ronald Stewart                          Holland Law Firm           7:20-cv-84992-MCR-GRJ
   7836      80934    John Stidman                            Holland Law Firm           7:20-cv-84996-MCR-GRJ
   7837      80937    Rochelle Strowder                       Holland Law Firm                                      7:20-cv-85008-MCR-GRJ
   7838      80939    Timothy Styles                          Holland Law Firm                                      7:20-cv-85016-MCR-GRJ
   7839      80943    Scott Talley                            Holland Law Firm           7:20-cv-85033-MCR-GRJ
   7840      80948    James Taylor                            Holland Law Firm           7:20-cv-85053-MCR-GRJ
   7841      80961    Noel Torres                             Holland Law Firm           7:20-cv-85109-MCR-GRJ
   7842      80963    Michael Trask                           Holland Law Firm                                      7:20-cv-85119-MCR-GRJ
   7843      80966    Kenneth Tullos                          Holland Law Firm           7:20-cv-85134-MCR-GRJ
   7844      80981    Kevin Walgate                           Holland Law Firm           7:20-cv-85202-MCR-GRJ
   7845      80993    William Welch                           Holland Law Firm           7:20-cv-85251-MCR-GRJ
   7846      81010    Steven Wilson                           Holland Law Firm                                      7:20-cv-85328-MCR-GRJ
   7847      81013    Robert Winkler                          Holland Law Firm                                      7:20-cv-85343-MCR-GRJ
   7848      81016    Alan Woessner                           Holland Law Firm                                      7:20-cv-85358-MCR-GRJ
   7849      81018    Derek Wood                              Holland Law Firm                                      7:20-cv-85368-MCR-GRJ
   7850      81026    Dwight Jackson                          Holland Law Firm           7:20-cv-85401-MCR-GRJ
   7851      81030    Jack Scotti                             Holland Law Firm           7:20-cv-85415-MCR-GRJ
   7852      81031    John Forney                             Holland Law Firm           7:20-cv-85420-MCR-GRJ
   7853      81032    Johnnie Knight                          Holland Law Firm                                      7:20-cv-85425-MCR-GRJ
   7854      81036    Jadarius Adkins                         Holland Law Firm           7:20-cv-85443-MCR-GRJ
   7855      81041    Roberto Garcia                          Holland Law Firm                                      7:20-cv-85460-MCR-GRJ
   7856      81043    Nathaniel Mathis                        Holland Law Firm           7:20-cv-85467-MCR-GRJ
   7857      81062    Scott Stocker                           Holland Law Firm                                      7:20-cv-85529-MCR-GRJ
   7858      81066    Brandee Walton                          Holland Law Firm           7:20-cv-85432-MCR-GRJ
   7859      81070    Michael Wilbanks                        Holland Law Firm           7:20-cv-85445-MCR-GRJ
   7860      81075    Jerome Dill                             Holland Law Firm                                      7:20-cv-85465-MCR-GRJ
   7861      81090    Pace Brown                              Holland Law Firm           7:20-cv-85515-MCR-GRJ
   7862      81101    Avery Cox                               Holland Law Firm                                      7:20-cv-85540-MCR-GRJ
   7863      81106    Michael Doherty                         Holland Law Firm           7:20-cv-85549-MCR-GRJ
   7864      81108    Martin Ellis                            Holland Law Firm           7:20-cv-85555-MCR-GRJ
   7865      81120    Alvin Griffin                           Holland Law Firm           7:20-cv-85581-MCR-GRJ
   7866      81122    Tony Groves                             Holland Law Firm           7:20-cv-85588-MCR-GRJ
   7867      81124    Andrew Hatchette                        Holland Law Firm           7:20-cv-85593-MCR-GRJ
   7868      81125    Aaron Henry                             Holland Law Firm           7:20-cv-85596-MCR-GRJ
   7869      81129    Anthony Johnson                         Holland Law Firm           7:20-cv-85602-MCR-GRJ
   7870      81157    Joe Marsh                               Holland Law Firm           7:20-cv-85664-MCR-GRJ
   7871      81161    Terrance Mason                          Holland Law Firm                                      7:20-cv-85676-MCR-GRJ
   7872      81174    James Owens                             Holland Law Firm                                      7:20-cv-85708-MCR-GRJ
   7873      81182    Joseph Pinkham                          Holland Law Firm           7:20-cv-85733-MCR-GRJ
   7874      81188    Kris Rainwater                          Holland Law Firm           7:20-cv-85745-MCR-GRJ
   7875      81194    Niko Rodriguez                          Holland Law Firm                                      7:20-cv-85747-MCR-GRJ
   7876      81195    Yamil Rodriguez                         Holland Law Firm           7:20-cv-85749-MCR-GRJ
   7877      81196    Michael Romanello                       Holland Law Firm           7:20-cv-85751-MCR-GRJ
   7878      81198    Robin Runkle                            Holland Law Firm           7:20-cv-85753-MCR-GRJ
   7879      81217    James Smith                             Holland Law Firm                                      8:20-cv-29335-MCR-GRJ
   7880      81223    Steven Stone                            Holland Law Firm                                      7:20-cv-85780-MCR-GRJ
   7881      81236    Jared Williams                          Holland Law Firm                                      7:20-cv-85786-MCR-GRJ
   7882      81240    Cheryl Gonzales                         Holland Law Firm                                      7:20-cv-85789-MCR-GRJ
   7883      136557   Randall Davis                           Holland Law Firm           7:20-cv-84832-MCR-GRJ
   7884      136560   Richard Heidle                          Holland Law Firm                                      7:20-cv-84850-MCR-GRJ




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   7885      136564   James Kephart                           Holland Law Firm                                                         7:20-cv-84860-MCR-GRJ
   7886      136568   Mikel Randolph                          Holland Law Firm                                                         7:20-cv-84882-MCR-GRJ
   7887      136569   Charles Redmon                          Holland Law Firm                                                         7:20-cv-84886-MCR-GRJ
   7888      136570   Benjamin Reed                           Holland Law Firm                              7:20-cv-84891-MCR-GRJ
   7889      136571   James Reed                              Holland Law Firm                                                         7:20-cv-84896-MCR-GRJ
   7890      136583   Nathan Smith                            Holland Law Firm                              7:20-cv-84936-MCR-GRJ
   7891      136584   Vincent Sotomayor                       Holland Law Firm                                                         7:20-cv-84940-MCR-GRJ
   7892      139920   Calvin Mosley                           Holland Law Firm                              7:20-cv-85030-MCR-GRJ
   7893      139929   Joel Pieper                             Holland Law Firm                                                         7:20-cv-85049-MCR-GRJ
   7894      139930   James Plowman                           Holland Law Firm                                                         7:20-cv-85054-MCR-GRJ
   7895      139937   Brandon Rodriguez                       Holland Law Firm                              7:20-cv-85069-MCR-GRJ
   7896      170080   Dennis Collins                          Holland Law Firm                                                         7:20-cv-85087-MCR-GRJ
   7897      170084   Ronnie Evans                            Holland Law Firm                                                         7:20-cv-85107-MCR-GRJ
   7898      170089   Gadiel Barreto                          Holland Law Firm                                                         7:20-cv-85133-MCR-GRJ
   7899      173809   Jamieson Colvin-Fritz                   Holland Law Firm                              7:20-cv-85215-MCR-GRJ
   7900      173815   Franklin Moore                          Holland Law Firm                              7:20-cv-85244-MCR-GRJ
   7901      176369   Roshawn Bryson                          Holland Law Firm                              7:20-cv-85346-MCR-GRJ
   7902      176370   David Decowski                          Holland Law Firm                                                         7:20-cv-85351-MCR-GRJ
   7903      176373   Andrew French                           Holland Law Firm                                                         7:20-cv-85366-MCR-GRJ
   7904      176374   Jacob Geiszler                          Holland Law Firm                                                         7:20-cv-85370-MCR-GRJ
   7905      176375   Joshua Housinger                        Holland Law Firm                                                         7:20-cv-85376-MCR-GRJ
   7906      176377   April Lutian                            Holland Law Firm                              7:20-cv-85386-MCR-GRJ
   7907      176384   Jeffrey Daniel                          Holland Law Firm                              7:20-cv-85421-MCR-GRJ
   7908      189201   Gregory Yerxa                           Holland Law Firm                              8:20-cv-28358-MCR-GRJ
   7909      202642   Patrick Bramlett                        Holland Law Firm                                                         8:20-cv-56706-MCR-GRJ
   7910      212885   Troy Page                               Holland Law Firm                                                         9:20-cv-07064-MCR-GRJ
   7911      273429   Ahmed Uddin                             Holland Law Firm                                                         9:20-cv-14724-MCR-GRJ
   7912      274455   Arthur Dupont                           Holland Law Firm                                                         9:20-cv-20064-MCR-GRJ
   7913      280826   Sean Jones                              Holland Law Firm                                                         7:21-cv-03069-MCR-GRJ
   7914      309776   Chris Murphy                            Holland Law Firm                              7:21-cv-26902-MCR-GRJ
   7915      309781   Michael Rodinov                         Holland Law Firm                              7:21-cv-26907-MCR-GRJ
   7916      309789   Alan Stasny                             Holland Law Firm                              7:21-cv-26914-MCR-GRJ
   7917      325000   Christian Hall                          Holland Law Firm                                                         7:21-cv-39759-MCR-GRJ
   7918      31230    Thomas Diamond                          Huber, Slack, Thomas & Marcelle, LLP          8:20-cv-19774-MCR-GRJ
   7919      31312    Eric Maris                              Huber, Slack, Thomas & Marcelle, LLP          8:20-cv-19845-MCR-GRJ
   7920      31343    Richard Parmer                          Huber, Slack, Thomas & Marcelle, LLP                                     8:20-cv-19918-MCR-GRJ
   7921      31355    David Powell                            Huber, Slack, Thomas & Marcelle, LLP                                     8:20-cv-19949-MCR-GRJ
   7922      31380    Lee Scarbrough                          Huber, Slack, Thomas & Marcelle, LLP                                     8:20-cv-20022-MCR-GRJ
   7923      31405    Joseph Tucker                           Huber, Slack, Thomas & Marcelle, LLP          8:20-cv-20096-MCR-GRJ
   7924      31425    Jason Williams                          Huber, Slack, Thomas & Marcelle, LLP                                     8:20-cv-20150-MCR-GRJ
   7925      138838   Earl Peace                              Huber, Slack, Thomas & Marcelle, LLP                                     3:19-cv-02662-MCR-GRJ
   7926      42811    Christian Bell                          Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12073-MCR-GRJ
   7927      42813    Jacob Brown                             Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12077-MCR-GRJ
   7928      42823    Kullen Carter                           Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12089-MCR-GRJ
   7929      42824    Marcus Cisco                            Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12090-MCR-GRJ
   7930      42827    Megan Conner                            Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12092-MCR-GRJ
   7931      42828    Ryan Cooper                             Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12093-MCR-GRJ
   7932      42829    Aramis Copeland                         Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12094-MCR-GRJ
   7933      42832    Scott Cram                              Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12097-MCR-GRJ
   7934      42838    Cara Dehaney                            Jason J. Joy & Associates, P.L.L.C.           8:20-cv-12103-MCR-GRJ
   7935      42840    Daniel Diebold                          Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12105-MCR-GRJ
   7936      42843    Yury Dyachenko                          Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12108-MCR-GRJ
   7937      42858    Clifford Gaston                         Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12136-MCR-GRJ
   7938      42863    Glenn Guyett                            Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12154-MCR-GRJ
   7939      42864    Justin Harris                           Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12158-MCR-GRJ
   7940      42873    Bryce Johnstone                         Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12191-MCR-GRJ
   7941      42886    Jill Menard                             Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12238-MCR-GRJ
   7942      42889    Jimmy Miller                            Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12245-MCR-GRJ
   7943      42900    Yohevian Polanco                        Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12291-MCR-GRJ
   7944      42904    James Reed                              Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12309-MCR-GRJ
   7945      42907    Rain J'Nae Rich                         Jason J. Joy & Associates, P.L.L.C.           8:20-cv-12321-MCR-GRJ
   7946      42916    Daniel Russell                          Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12373-MCR-GRJ
   7947      42919    Antoine Smith                           Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12390-MCR-GRJ
   7948      42928    Wesley Weston                           Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12442-MCR-GRJ
   7949      42932    Billy Young                             Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12465-MCR-GRJ
   7950      42933    Caleb Zickafoose                        Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-12471-MCR-GRJ
   7951      147862   Troy Simonian                           Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-15078-MCR-GRJ
   7952      158649   Mark Nero                               Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-15124-MCR-GRJ
   7953      160117   Mathew Harnett                          Jason J. Joy & Associates, P.L.L.C.                                      8:20-cv-15133-MCR-GRJ
   7954      59849    Christopher Elliott                     Jensen & Associates                                                      8:20-cv-21810-MCR-GRJ
   7955      59855    Joseph Chapman                          Jensen & Associates                                                      8:20-cv-21830-MCR-GRJ
   7956      60004    Cameron Creveling                       Jensen & Associates                           8:20-cv-21892-MCR-GRJ
   7957      60014    Carl Price                              Jensen & Associates                           8:20-cv-21925-MCR-GRJ




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   7958      60017    Daniel Larios                           Jensen & Associates                                      8:20-cv-21933-MCR-GRJ
   7959      60019    Christopher Braswell                    Jensen & Associates                                      8:20-cv-21939-MCR-GRJ
   7960      60024    Albert Jones                            Jensen & Associates           8:20-cv-21949-MCR-GRJ
   7961      60027    Allen Hass                              Jensen & Associates           8:20-cv-21957-MCR-GRJ
   7962      60028    Antonio Canion                          Jensen & Associates                                      8:20-cv-21960-MCR-GRJ
   7963      60034    Andre Oleas                             Jensen & Associates                                      8:20-cv-21975-MCR-GRJ
   7964      60043    Peter Deserres                          Jensen & Associates           8:20-cv-21998-MCR-GRJ
   7965      60046    Michael Kazimiroff                      Jensen & Associates           8:20-cv-22008-MCR-GRJ
   7966      66036    Matthew Tripp                           Jensen & Associates           8:20-cv-21872-MCR-GRJ
   7967      81505    Joon Lee                                Jensen & Associates                                      8:20-cv-35203-MCR-GRJ
   7968      81508    Jimmy Mashburn                          Jensen & Associates                                      8:20-cv-35220-MCR-GRJ
   7969      81520    Drew Otterson                           Jensen & Associates           8:20-cv-35281-MCR-GRJ
   7970      84020    David Embler                            Jensen & Associates           8:20-cv-35303-MCR-GRJ
   7971      84023    Leroy Chasten                           Jensen & Associates                                      8:20-cv-35313-MCR-GRJ
   7972      84025    Matthew Dominguez                       Jensen & Associates           8:20-cv-35319-MCR-GRJ
   7973      84026    William Mcglaughlin                     Jensen & Associates                                      8:20-cv-35324-MCR-GRJ
   7974      84031    Gregory Allen                           Jensen & Associates           8:20-cv-35344-MCR-GRJ
   7975      87677    James Mann                              Jensen & Associates                                      8:20-cv-35383-MCR-GRJ
   7976      87681    Samuel Griffith                         Jensen & Associates                                      8:20-cv-35387-MCR-GRJ
   7977      87685    Nathan Testerman                        Jensen & Associates                                      8:20-cv-35396-MCR-GRJ
   7978      87688    Tristan Black                           Jensen & Associates                                      8:20-cv-35401-MCR-GRJ
   7979      87704    Scott Williams                          Jensen & Associates                                      8:20-cv-35438-MCR-GRJ
   7980      87726    Seth Williams                           Jensen & Associates                                      8:20-cv-35479-MCR-GRJ
   7981      88387    Daniel Clink                            Jensen & Associates                                      8:20-cv-35484-MCR-GRJ
   7982      88390    Aaron Vaughan                           Jensen & Associates           8:20-cv-35500-MCR-GRJ
   7983      88394    Michael Francoeur                       Jensen & Associates           8:20-cv-35521-MCR-GRJ
   7984      136631   Robin Barrow                            Jensen & Associates           8:20-cv-37131-MCR-GRJ
   7985      136641   Christopher Bradshaw                    Jensen & Associates           8:20-cv-37159-MCR-GRJ
   7986      136643   Jason Davis                             Jensen & Associates           8:20-cv-37169-MCR-GRJ
   7987      136648   Emilio Guerra                           Jensen & Associates           8:20-cv-37190-MCR-GRJ
   7988      136716   Aaron Cass                              Jensen & Associates                                      8:20-cv-37244-MCR-GRJ
   7989      136719   Aaron Hostetter                         Jensen & Associates                                      8:20-cv-37252-MCR-GRJ
   7990      136720   Aaron Miller                            Jensen & Associates                                      8:20-cv-37256-MCR-GRJ
   7991      136721   Aaron Noble                             Jensen & Associates                                      8:20-cv-37260-MCR-GRJ
   7992      136725   Aaron Wilson                            Jensen & Associates                                      8:20-cv-37273-MCR-GRJ
   7993      136727   Ace Ellis                               Jensen & Associates                                      8:20-cv-37280-MCR-GRJ
   7994      136728   Adam Abbott                             Jensen & Associates           8:20-cv-37283-MCR-GRJ
   7995      136736   Adam Sura                               Jensen & Associates           8:20-cv-37308-MCR-GRJ
   7996      136737   Adam Valentin                           Jensen & Associates           8:20-cv-37312-MCR-GRJ
   7997      136738   Adarrious Patterson                     Jensen & Associates                                      8:20-cv-37315-MCR-GRJ
   7998      136741   Alan Hoover                             Jensen & Associates                                      8:20-cv-37325-MCR-GRJ
   7999      136743   Albert Dolan                            Jensen & Associates                                      8:20-cv-37331-MCR-GRJ
   8000      136746   Albert Marsh                            Jensen & Associates                                      8:20-cv-37341-MCR-GRJ
   8001      136747   Alego Rivera                            Jensen & Associates           8:20-cv-37345-MCR-GRJ
   8002      136749   Alejandro Wesaw                         Jensen & Associates                                      8:20-cv-37348-MCR-GRJ
   8003      136755   Alexander Johnson                       Jensen & Associates           8:20-cv-37367-MCR-GRJ
   8004      136756   Alexander Jones                         Jensen & Associates           8:20-cv-37371-MCR-GRJ
   8005      136757   Alexander Mann                          Jensen & Associates           8:20-cv-37603-MCR-GRJ
   8006      136758   Alexander Ozolins                       Jensen & Associates                                      8:20-cv-37605-MCR-GRJ
   8007      136760   Alexander Wenger                        Jensen & Associates           8:20-cv-37609-MCR-GRJ
   8008      136765   Allen Bradley                           Jensen & Associates                                      8:20-cv-37623-MCR-GRJ
   8009      136766   Allen Broadbent                         Jensen & Associates                                      8:20-cv-37627-MCR-GRJ
   8010      136769   Alvin Lewis                             Jensen & Associates                                      8:20-cv-37636-MCR-GRJ
   8011      136772   Amanda Fletemeyer                       Jensen & Associates           8:20-cv-37644-MCR-GRJ
   8012      136774   Amanda Young                            Jensen & Associates           8:20-cv-37650-MCR-GRJ
   8013      136775   Amber Nikzad                            Jensen & Associates           8:20-cv-37653-MCR-GRJ
   8014      136783   Andrew Blankenship                      Jensen & Associates           8:20-cv-37674-MCR-GRJ
   8015      136789   Andrew England                          Jensen & Associates                                      8:20-cv-37689-MCR-GRJ
   8016      136790   Andrew Engren                           Jensen & Associates                                      8:20-cv-37692-MCR-GRJ
   8017      136793   Andrew Kelley                           Jensen & Associates           8:20-cv-37701-MCR-GRJ
   8018      136807   Anthony Adams                           Jensen & Associates           8:20-cv-37736-MCR-GRJ
   8019      136808   Anthony Arduengo                        Jensen & Associates           8:20-cv-37739-MCR-GRJ
   8020      136812   Anthony Davis                           Jensen & Associates           8:20-cv-37831-MCR-GRJ
   8021      136813   Anthony Dominguez                       Jensen & Associates           8:20-cv-37832-MCR-GRJ
   8022      136814   Anthony Haislip                         Jensen & Associates                                      8:20-cv-37833-MCR-GRJ
   8023      136824   Antonio Meadows                         Jensen & Associates           8:20-cv-37841-MCR-GRJ
   8024      136825   Antonio Williams                        Jensen & Associates                                      8:20-cv-37842-MCR-GRJ
   8025      136834   Arthur Reid                             Jensen & Associates                                      8:20-cv-37849-MCR-GRJ
   8026      136841   Augustus Taylor                         Jensen & Associates                                      8:20-cv-37860-MCR-GRJ
   8027      136845   Austin Todd                             Jensen & Associates           8:20-cv-37873-MCR-GRJ
   8028      136848   Bailey Bryant                           Jensen & Associates                                      8:20-cv-37883-MCR-GRJ
   8029      136850   Banika Jones                            Jensen & Associates                                      8:20-cv-37890-MCR-GRJ
   8030      136853   Barry Mcghee                            Jensen & Associates           8:20-cv-37900-MCR-GRJ




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   8031      136871   Benjamin Saffold                        Jensen & Associates                                      8:20-cv-37950-MCR-GRJ
   8032      136873   Benjamin Tutone                         Jensen & Associates           8:20-cv-37957-MCR-GRJ
   8033      136875   Bettina Joyner                          Jensen & Associates           8:20-cv-37965-MCR-GRJ
   8034      136876   Bill Evans                              Jensen & Associates           8:20-cv-37968-MCR-GRJ
   8035      136877   Bill Sudduth                            Jensen & Associates                                      8:20-cv-37971-MCR-GRJ
   8036      136879   Billy Bones                             Jensen & Associates           8:20-cv-37978-MCR-GRJ
   8037      136882   Billy Williams                          Jensen & Associates                                      8:20-cv-37988-MCR-GRJ
   8038      136897   Brandan Mays                            Jensen & Associates           8:20-cv-38025-MCR-GRJ
   8039      136901   Brandon Donnelly                        Jensen & Associates                                      8:20-cv-38038-MCR-GRJ
   8040      136904   Brandon London                          Jensen & Associates           8:20-cv-38053-MCR-GRJ
   8041      136905   Brandon Millican                        Jensen & Associates                                      8:20-cv-38057-MCR-GRJ
   8042      136906   Brandon Mockett                         Jensen & Associates           8:20-cv-38061-MCR-GRJ
   8043      136908   Brandon Oliveira                        Jensen & Associates                                      8:20-cv-38071-MCR-GRJ
   8044      136911   Brandon Sebastian                       Jensen & Associates                                      8:20-cv-38079-MCR-GRJ
   8045      136913   Brandon Ward                            Jensen & Associates                                      8:20-cv-38084-MCR-GRJ
   8046      136917   Brenten Bear                            Jensen & Associates                                      8:20-cv-38102-MCR-GRJ
   8047      136920   Brett Larsen                            Jensen & Associates                                      8:20-cv-38114-MCR-GRJ
   8048      136922   Brett Shakespeare                       Jensen & Associates                                      8:20-cv-38125-MCR-GRJ
   8049      136923   Brian Bianco                            Jensen & Associates           8:20-cv-38131-MCR-GRJ
   8050      136929   Brian Fisher                            Jensen & Associates           8:20-cv-38154-MCR-GRJ
   8051      136932   Brian Gustavson                         Jensen & Associates           8:20-cv-38254-MCR-GRJ
   8052      136933   Brian Jordan                            Jensen & Associates           8:20-cv-38260-MCR-GRJ
   8053      136937   Brian Partelow                          Jensen & Associates           8:20-cv-38285-MCR-GRJ
   8054      136939   Brian Reid                              Jensen & Associates                                      8:20-cv-38297-MCR-GRJ
   8055      136942   Brian Schultz                           Jensen & Associates                                      8:20-cv-38316-MCR-GRJ
   8056      136943   Brian Stamps                            Jensen & Associates                                      8:20-cv-38321-MCR-GRJ
   8057      136944   Brian Teague                            Jensen & Associates                                      8:20-cv-38327-MCR-GRJ
   8058      136945   Brian Tobin                             Jensen & Associates                                      8:20-cv-38332-MCR-GRJ
   8059      136954   Bryan Hathaway                          Jensen & Associates           8:20-cv-38375-MCR-GRJ
   8060      136957   Bryan Hunter                            Jensen & Associates           8:20-cv-38390-MCR-GRJ
   8061      136961   Bryan Pietrowicz                        Jensen & Associates                                      8:20-cv-38415-MCR-GRJ
   8062      136962   Bryan Stroud                            Jensen & Associates           8:20-cv-38421-MCR-GRJ
   8063      136965   Byron Dunkin                            Jensen & Associates                                      8:20-cv-38441-MCR-GRJ
   8064      136988   Cecil Grant                             Jensen & Associates           8:20-cv-41675-MCR-GRJ
   8065      136991   Cesar Valdespino                        Jensen & Associates           8:20-cv-41684-MCR-GRJ
   8066      137000   Charles Entringer                       Jensen & Associates           8:20-cv-41711-MCR-GRJ
   8067      137002   Chandra Rees                            Jensen & Associates           8:20-cv-41715-MCR-GRJ
   8068      137005   Charles Balzotti                        Jensen & Associates           8:20-cv-41724-MCR-GRJ
   8069      137018   Charles Nichols                         Jensen & Associates                                      8:20-cv-41761-MCR-GRJ
   8070      137019   Charles Ruffin                          Jensen & Associates           8:20-cv-41764-MCR-GRJ
   8071      137023   Cheryl Nevels                           Jensen & Associates                                      8:20-cv-41773-MCR-GRJ
   8072      137027   Chris Millerroot                        Jensen & Associates           8:20-cv-41786-MCR-GRJ
   8073      137034   Christian Cappucci                      Jensen & Associates                                      8:20-cv-41805-MCR-GRJ
   8074      137043   Christopher Deeprai                     Jensen & Associates                                      8:20-cv-41832-MCR-GRJ
   8075      137044   Christopher Dicken                      Jensen & Associates           8:20-cv-41836-MCR-GRJ
   8076      137048   Christopher Fox                         Jensen & Associates           8:20-cv-41848-MCR-GRJ
   8077      137054   Christopher Haynes                      Jensen & Associates                                      8:20-cv-41863-MCR-GRJ
   8078      137055   Christopher Jimenez                     Jensen & Associates                                      8:20-cv-41866-MCR-GRJ
   8079      137062   Christopher Myers                       Jensen & Associates           8:20-cv-41888-MCR-GRJ
   8080      137065   Christopher Rice                        Jensen & Associates           8:20-cv-41897-MCR-GRJ
   8081      137066   Christopher Roberts                     Jensen & Associates           8:20-cv-41900-MCR-GRJ
   8082      137069   Christopher Schatz                      Jensen & Associates           8:20-cv-41909-MCR-GRJ
   8083      137074   Christian Owen                          Jensen & Associates           8:20-cv-41924-MCR-GRJ
   8084      137078   Clifford Side                           Jensen & Associates                                      8:20-cv-41936-MCR-GRJ
   8085      137080   Clinton Roe                             Jensen & Associates                                      8:20-cv-41942-MCR-GRJ
   8086      137082   Cody Burnett                            Jensen & Associates           8:20-cv-41949-MCR-GRJ
   8087      137085   Cody Queens                             Jensen & Associates                                      8:20-cv-41957-MCR-GRJ
   8088      137088   Cole Ashworth                           Jensen & Associates           8:20-cv-41966-MCR-GRJ
   8089      137089   Cole Conner                             Jensen & Associates                                      8:20-cv-41969-MCR-GRJ
   8090      137090   Cole Healer                             Jensen & Associates           8:20-cv-41972-MCR-GRJ
   8091      137098   Corey Felty                             Jensen & Associates                                      8:20-cv-41991-MCR-GRJ
   8092      137099   Corey Ingram                            Jensen & Associates           8:20-cv-41993-MCR-GRJ
   8093      137104   Corey Williams                          Jensen & Associates                                      8:20-cv-42002-MCR-GRJ
   8094      137109   Cory Hasik                              Jensen & Associates                                      8:20-cv-42018-MCR-GRJ
   8095      137112   Craig Cooper                            Jensen & Associates                                      8:20-cv-42027-MCR-GRJ
   8096      137117   Curtis Hamilton                         Jensen & Associates                                      8:20-cv-42039-MCR-GRJ
   8097      137120   Dakota Dezelske                         Jensen & Associates           8:20-cv-42049-MCR-GRJ
   8098      137124   Dale Rubanick                           Jensen & Associates                                      8:20-cv-42062-MCR-GRJ
   8099      137125   Dali Velazquez                          Jensen & Associates                                      8:20-cv-42068-MCR-GRJ
   8100      137128   Damarius Ilion                          Jensen & Associates                                      8:20-cv-42083-MCR-GRJ
   8101      137133   Danial Hannah                           Jensen & Associates           8:20-cv-42106-MCR-GRJ
   8102      137135   Daniel Baek                             Jensen & Associates           8:20-cv-42115-MCR-GRJ
   8103      137141   Daniel Gronke                           Jensen & Associates                                      8:20-cv-42136-MCR-GRJ




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   8104      137142   Daniel Hale                             Jensen & Associates           8:20-cv-42140-MCR-GRJ
   8105      137144   Daniel Hopson                           Jensen & Associates           8:20-cv-42148-MCR-GRJ
   8106      137146   Daniel Hughlett                         Jensen & Associates           8:20-cv-42155-MCR-GRJ
   8107      137147   Daniel Kassetas                         Jensen & Associates           8:20-cv-42159-MCR-GRJ
   8108      137148   Daniel Klein                            Jensen & Associates           8:20-cv-42164-MCR-GRJ
   8109      137149   Daniel Kleiss                           Jensen & Associates                                      8:20-cv-42168-MCR-GRJ
   8110      137158   Daniel Saffeels                         Jensen & Associates                                      8:20-cv-42204-MCR-GRJ
   8111      137166   Danny Dee                               Jensen & Associates                                      8:20-cv-42247-MCR-GRJ
   8112      137168   Daphne Hubbard                          Jensen & Associates                                      8:20-cv-42257-MCR-GRJ
   8113      137171   Darrel Shanks                           Jensen & Associates                                      8:20-cv-42267-MCR-GRJ
   8114      137173   Darren Longway                          Jensen & Associates           8:20-cv-42278-MCR-GRJ
   8115      137174   Darron Perry                            Jensen & Associates                                      8:20-cv-42283-MCR-GRJ
   8116      137176   David Biggers                           Jensen & Associates           8:20-cv-42293-MCR-GRJ
   8117      137177   David Carey                             Jensen & Associates                                      8:20-cv-42299-MCR-GRJ
   8118      137183   David Deffenbaugh                       Jensen & Associates           8:20-cv-42324-MCR-GRJ
   8119      137192   David Herrington                        Jensen & Associates                                      8:20-cv-42372-MCR-GRJ
   8120      137193   David James                             Jensen & Associates           8:20-cv-42378-MCR-GRJ
   8121      137200   David Mustapick                         Jensen & Associates                                      8:20-cv-42414-MCR-GRJ
   8122      137208   Dawn Slater                             Jensen & Associates                                      8:20-cv-35916-MCR-GRJ
   8123      137216   Deny Cacy                               Jensen & Associates           8:20-cv-35928-MCR-GRJ
   8124      137225   Derrick Priest                          Jensen & Associates                                      8:20-cv-35943-MCR-GRJ
   8125      137226   Derry Armstead                          Jensen & Associates                                      8:20-cv-35945-MCR-GRJ
   8126      137234   Devon Vaught                            Jensen & Associates           8:20-cv-35961-MCR-GRJ
   8127      137243   Don Laplante                            Jensen & Associates                                      8:20-cv-35982-MCR-GRJ
   8128      137245   Donald Horn                             Jensen & Associates           8:20-cv-35990-MCR-GRJ
   8129      137250   Donnell Lewis                           Jensen & Associates           8:20-cv-36000-MCR-GRJ
   8130      137261   Duriel Rouchon                          Jensen & Associates                                      8:20-cv-36032-MCR-GRJ
   8131      137264   Dustin Dattilo                          Jensen & Associates           8:20-cv-36042-MCR-GRJ
   8132      137275   Dylan Smith                             Jensen & Associates                                      8:20-cv-36070-MCR-GRJ
   8133      137276   Dylan Wakeland                          Jensen & Associates                                      8:20-cv-36073-MCR-GRJ
   8134      137278   Earl Trouerbach                         Jensen & Associates                                      8:20-cv-36081-MCR-GRJ
   8135      137280   Eddie Branum                            Jensen & Associates           8:20-cv-36088-MCR-GRJ
   8136      137281   Eddie Ryals                             Jensen & Associates           8:20-cv-36091-MCR-GRJ
   8137      137282   Eddie Taylor                            Jensen & Associates                                      8:20-cv-36094-MCR-GRJ
   8138      137284   Eddie Wyatt                             Jensen & Associates                                      8:20-cv-36101-MCR-GRJ
   8139      137289   Edward Coers                            Jensen & Associates           8:20-cv-36119-MCR-GRJ
   8140      137293   Edward Wasson                           Jensen & Associates                                      8:20-cv-36135-MCR-GRJ
   8141      137294   Edwin Benitez                           Jensen & Associates                                      8:20-cv-36140-MCR-GRJ
   8142      137296   Efrain Duarte                           Jensen & Associates           8:20-cv-36145-MCR-GRJ
   8143      137298   Eli Hall                                Jensen & Associates                                      8:20-cv-36365-MCR-GRJ
   8144      137308   Enrique Montalvo                        Jensen & Associates           8:20-cv-36401-MCR-GRJ
   8145      137310   Eric Dibble                             Jensen & Associates                                      8:20-cv-36409-MCR-GRJ
   8146      137311   Eric Austin                             Jensen & Associates                                      8:20-cv-36412-MCR-GRJ
   8147      137316   Eric Chittams                           Jensen & Associates                                      7:20-cv-30213-MCR-GRJ
   8148      137317   Eric Darden                             Jensen & Associates           8:20-cv-36428-MCR-GRJ
   8149      137318   Eric Duvoe                              Jensen & Associates           8:20-cv-36431-MCR-GRJ
   8150      137319   Eric Fitzsimmons                        Jensen & Associates                                      8:20-cv-36435-MCR-GRJ
   8151      137321   Eric Harrison                           Jensen & Associates                                      8:20-cv-36443-MCR-GRJ
   8152      137324   Eric Miller                             Jensen & Associates                                      8:20-cv-36454-MCR-GRJ
   8153      137327   Eric Tiong                              Jensen & Associates                                      8:20-cv-36465-MCR-GRJ
   8154      137329   Eric Vance                              Jensen & Associates           8:20-cv-36470-MCR-GRJ
   8155      137331   Erick Ponce                             Jensen & Associates                                      8:20-cv-36476-MCR-GRJ
   8156      137332   Erik Anderson                           Jensen & Associates           8:20-cv-36481-MCR-GRJ
   8157      137340   Esteban Perez                           Jensen & Associates           8:20-cv-36511-MCR-GRJ
   8158      137354   Floyd Hutto                             Jensen & Associates                                      8:20-cv-36556-MCR-GRJ
   8159      137355   Francesca Duke                          Jensen & Associates                                      8:20-cv-36559-MCR-GRJ
   8160      137358   Frank Banaszewski                       Jensen & Associates                                      8:20-cv-36571-MCR-GRJ
   8161      137364   Fred Johnson                            Jensen & Associates                                      8:20-cv-36585-MCR-GRJ
   8162      137365   Fred Walker                             Jensen & Associates                                      8:20-cv-36589-MCR-GRJ
   8163      137367   Frederick Lohse                         Jensen & Associates                                      8:20-cv-36596-MCR-GRJ
   8164      137368   Frederick Robinson                      Jensen & Associates                                      8:20-cv-36600-MCR-GRJ
   8165      137373   Gared Londo                             Jensen & Associates                                      8:20-cv-36612-MCR-GRJ
   8166      137376   Garrett Enriquez                        Jensen & Associates           8:20-cv-36619-MCR-GRJ
   8167      137384   George Cooper                           Jensen & Associates           8:20-cv-36640-MCR-GRJ
   8168      137392   Gerald Vissepo                          Jensen & Associates                                      8:20-cv-36720-MCR-GRJ
   8169      137399   Gregory Costas                          Jensen & Associates           8:20-cv-36740-MCR-GRJ
   8170      137400   Gregory Goodfield                       Jensen & Associates                                      8:20-cv-36744-MCR-GRJ
   8171      137401   Gregory King                            Jensen & Associates                                      8:20-cv-36747-MCR-GRJ
   8172      137402   Gregory Lemasters                       Jensen & Associates                                      8:20-cv-36750-MCR-GRJ
   8173      137403   Gregory Martin                          Jensen & Associates           8:20-cv-36754-MCR-GRJ
   8174      137404   Gregory Nolan                           Jensen & Associates                                      8:20-cv-36757-MCR-GRJ
   8175      137407   Gregory Whealton                        Jensen & Associates                                      8:20-cv-36764-MCR-GRJ
   8176      137415   Harold Mason                            Jensen & Associates                                      8:20-cv-36786-MCR-GRJ




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   8177      137420   Heath Annis                             Jensen & Associates           8:20-cv-36805-MCR-GRJ
   8178      137428   Herbert Mcdonald                        Jensen & Associates                                      8:20-cv-36838-MCR-GRJ
   8179      137436   Humberto Velarde                        Jensen & Associates           8:20-cv-36880-MCR-GRJ
   8180      137440   Ian Schumacher                          Jensen & Associates                                      7:20-cv-30217-MCR-GRJ
   8181      137442   Ibn Taylor                              Jensen & Associates                                      8:20-cv-36896-MCR-GRJ
   8182      137445   Iosia Nunu                              Jensen & Associates                                      8:20-cv-36905-MCR-GRJ
   8183      137446   Isaac Schutz                            Jensen & Associates                                      8:20-cv-36909-MCR-GRJ
   8184      137450   Jacob Flippin                           Jensen & Associates           8:20-cv-36923-MCR-GRJ
   8185      137453   Jacob Irving                            Jensen & Associates                                      8:20-cv-36932-MCR-GRJ
   8186      137455   Jacob Meese                             Jensen & Associates                                      8:20-cv-36940-MCR-GRJ
   8187      137457   Jacob Neal                              Jensen & Associates                                      8:20-cv-36946-MCR-GRJ
   8188      137458   Jacob Schuler                           Jensen & Associates                                      8:20-cv-37611-MCR-GRJ
   8189      137461   Jacques Bridges                         Jensen & Associates           8:20-cv-37621-MCR-GRJ
   8190      137462   Jadd Davis                              Jensen & Associates                                      8:20-cv-37625-MCR-GRJ
   8191      137465   Jaiden Hruby                            Jensen & Associates           8:20-cv-37635-MCR-GRJ
   8192      137466   Jaime Flores                            Jensen & Associates                                      8:20-cv-37638-MCR-GRJ
   8193      137469   Jake Piel                               Jensen & Associates                                      8:20-cv-37645-MCR-GRJ
   8194      137473   James Anderson                          Jensen & Associates                                      8:20-cv-37655-MCR-GRJ
   8195      137477   James Cooper                            Jensen & Associates                                      8:20-cv-37669-MCR-GRJ
   8196      137478   James Crossfield                        Jensen & Associates           8:20-cv-37673-MCR-GRJ
   8197      137481   James Fleming                           Jensen & Associates                                      8:20-cv-37682-MCR-GRJ
   8198      137484   James Hansen                            Jensen & Associates                                      8:20-cv-37693-MCR-GRJ
   8199      137488   James Johnston                          Jensen & Associates                                      8:20-cv-37706-MCR-GRJ
   8200      137491   James Mainello                          Jensen & Associates                                      8:20-cv-37714-MCR-GRJ
   8201      137493   James Mines                             Jensen & Associates                                      8:20-cv-37720-MCR-GRJ
   8202      137494   James Nayonis                           Jensen & Associates                                      8:20-cv-37723-MCR-GRJ
   8203      137495   James Nelson                            Jensen & Associates                                      8:20-cv-37727-MCR-GRJ
   8204      137499   James Poggi                             Jensen & Associates                                      8:20-cv-37741-MCR-GRJ
   8205      137501   James Rimel                             Jensen & Associates                                      8:20-cv-37744-MCR-GRJ
   8206      137510   James Ward                              Jensen & Associates                                      8:20-cv-37759-MCR-GRJ
   8207      137516   Jamye London                            Jensen & Associates           8:20-cv-37773-MCR-GRJ
   8208      137518   Janie Robles                            Jensen & Associates           8:20-cv-37777-MCR-GRJ
   8209      137524   Jared Poppe                             Jensen & Associates           8:20-cv-37784-MCR-GRJ
   8210      137527   Jarrett Johnson                         Jensen & Associates                                      8:20-cv-37788-MCR-GRJ
   8211      137543   Jason Engler                            Jensen & Associates                                      8:20-cv-37817-MCR-GRJ
   8212      137547   Jason Maez                              Jensen & Associates                                      8:20-cv-37820-MCR-GRJ
   8213      137548   Jason Mee                               Jensen & Associates                                      8:20-cv-37821-MCR-GRJ
   8214      137551   Jason O'Hair                            Jensen & Associates           8:20-cv-37824-MCR-GRJ
   8215      137559   Jason Tankersley                        Jensen & Associates                                      8:20-cv-37862-MCR-GRJ
   8216      137563   Javier Garcia                           Jensen & Associates                                      8:20-cv-37875-MCR-GRJ
   8217      137566   Jay Freed                               Jensen & Associates           8:20-cv-37885-MCR-GRJ
   8218      137567   Jay Hawkins                             Jensen & Associates                                      8:20-cv-37888-MCR-GRJ
   8219      137570   Jebediah Stewart                        Jensen & Associates                                      8:20-cv-37898-MCR-GRJ
   8220      137573   Jeffery Gassaway                        Jensen & Associates                                      8:20-cv-37906-MCR-GRJ
   8221      137577   Jeffrey Bales                           Jensen & Associates                                      8:20-cv-37919-MCR-GRJ
   8222      137581   Jeffrey Harper                          Jensen & Associates                                      8:20-cv-37932-MCR-GRJ
   8223      137586   Jeffrey Timmerman                       Jensen & Associates           8:20-cv-37948-MCR-GRJ
   8224      137588   Jennifer Hart                           Jensen & Associates                                      8:20-cv-37955-MCR-GRJ
   8225      137589   Jennifer Rycroft                        Jensen & Associates                                      8:20-cv-37958-MCR-GRJ
   8226      137596   Jeremiah Marshall                       Jensen & Associates           8:20-cv-37976-MCR-GRJ
   8227      137597   Jeremiah Snyder                         Jensen & Associates                                      8:20-cv-37980-MCR-GRJ
   8228      137601   Jeremy Burch                            Jensen & Associates           8:20-cv-37993-MCR-GRJ
   8229      137602   Jeremy Fink                             Jensen & Associates                                      8:20-cv-37996-MCR-GRJ
   8230      137618   Jerome Yoon                             Jensen & Associates                                      8:20-cv-38056-MCR-GRJ
   8231      137632   Jessie Reynolds                         Jensen & Associates           8:20-cv-38127-MCR-GRJ
   8232      137641   Jonathan Rivera                         Jensen & Associates           8:20-cv-38161-MCR-GRJ
   8233      137642   Joanthan Workman                        Jensen & Associates                                      8:20-cv-38166-MCR-GRJ
   8234      137649   Joe Fussell                             Jensen & Associates                                      8:20-cv-38201-MCR-GRJ
   8235      137650   Joe Johnson                             Jensen & Associates                                      8:20-cv-38207-MCR-GRJ
   8236      137652   Joseph Luu                              Jensen & Associates                                      8:20-cv-39469-MCR-GRJ
   8237      137660   Joey Saylor                             Jensen & Associates           8:20-cv-39483-MCR-GRJ
   8238      137665   John Arnhold                            Jensen & Associates                                      8:20-cv-39495-MCR-GRJ
   8239      137667   John Baxley                             Jensen & Associates                                      8:20-cv-39500-MCR-GRJ
   8240      137679   John Hager                              Jensen & Associates                                      8:20-cv-39529-MCR-GRJ
   8241      137680   John Hall                               Jensen & Associates           8:20-cv-39531-MCR-GRJ
   8242      137685   John Lescanec                           Jensen & Associates           8:20-cv-39543-MCR-GRJ
   8243      137687   John Mcdaris                            Jensen & Associates                                      8:20-cv-39548-MCR-GRJ
   8244      137693   John Rye                                Jensen & Associates                                      8:20-cv-39559-MCR-GRJ
   8245      137695   John Schrey                             Jensen & Associates                                      8:20-cv-39564-MCR-GRJ
   8246      137706   Johnathan Furlow                        Jensen & Associates                                      8:20-cv-39579-MCR-GRJ
   8247      137708   Johnathon Osborn                        Jensen & Associates                                      8:20-cv-39584-MCR-GRJ
   8248      137709   Johnny Carroll                          Jensen & Associates                                      8:20-cv-39586-MCR-GRJ
   8249      137710   Johnny Chavez                           Jensen & Associates                                      8:20-cv-39588-MCR-GRJ




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   8250      137716   Jonathan Ake                            Jensen & Associates                                      8:20-cv-39609-MCR-GRJ
   8251      137717   Jonathan Casper                         Jensen & Associates                                      8:20-cv-39612-MCR-GRJ
   8252      137718   Jonathan Colbaugh                       Jensen & Associates                                      8:20-cv-39615-MCR-GRJ
   8253      137719   Jonathan Everett                        Jensen & Associates           8:20-cv-39620-MCR-GRJ
   8254      137720   Jonathan High                           Jensen & Associates           8:20-cv-39623-MCR-GRJ
   8255      137724   Jonathan Lomax                          Jensen & Associates                                      8:20-cv-39638-MCR-GRJ
   8256      137731   Jonathan Rivera                         Jensen & Associates           8:20-cv-39665-MCR-GRJ
   8257      137737   Jordan Richards                         Jensen & Associates           8:20-cv-39731-MCR-GRJ
   8258      137738   Jordan Wood                             Jensen & Associates           8:20-cv-39734-MCR-GRJ
   8259      137739   Jorge Lopez                             Jensen & Associates                                      8:20-cv-39738-MCR-GRJ
   8260      137743   Jose Cruz                               Jensen & Associates           8:20-cv-39750-MCR-GRJ
   8261      137745   Jose Egia                               Jensen & Associates           8:20-cv-39758-MCR-GRJ
   8262      137754   Joseph Askins                           Jensen & Associates                                      8:20-cv-39788-MCR-GRJ
   8263      137755   Joseph Blanchard                        Jensen & Associates                                      8:20-cv-39791-MCR-GRJ
   8264      137757   Joseph Covarrubias                      Jensen & Associates                                      8:20-cv-39799-MCR-GRJ
   8265      137759   Joseph Faine                            Jensen & Associates                                      8:20-cv-39806-MCR-GRJ
   8266      137765   Joseph Kackenmeister                    Jensen & Associates           8:20-cv-39825-MCR-GRJ
   8267      137767   Joseph Luebbe                           Jensen & Associates           8:20-cv-39833-MCR-GRJ
   8268      137768   Joseph Mccullough                       Jensen & Associates                                      8:20-cv-39836-MCR-GRJ
   8269      137773   Joseph Russell                          Jensen & Associates                                      8:20-cv-39852-MCR-GRJ
   8270      137774   Joseph Tersigni                         Jensen & Associates           8:20-cv-39855-MCR-GRJ
   8271      137777   Joseph Wood                             Jensen & Associates                                      8:20-cv-39865-MCR-GRJ
   8272      137778   Josh Christopherson                     Jensen & Associates                                      8:20-cv-39870-MCR-GRJ
   8273      137781   Josh Wennberg                           Jensen & Associates           8:20-cv-41416-MCR-GRJ
   8274      137782   Joshawa Mcbride                         Jensen & Associates                                      8:20-cv-39902-MCR-GRJ
   8275      137785   Joshua Birt                             Jensen & Associates                                      8:20-cv-39916-MCR-GRJ
   8276      137787   Joshua Fregoso                          Jensen & Associates                                      8:20-cv-39923-MCR-GRJ
   8277      137791   Joshua Harmes                           Jensen & Associates                                      8:20-cv-39937-MCR-GRJ
   8278      137792   Joshua Hebbel                           Jensen & Associates                                      8:20-cv-39940-MCR-GRJ
   8279      137797   Joshua Lively                           Jensen & Associates           8:20-cv-39954-MCR-GRJ
   8280      137802   Joshua Milligan                         Jensen & Associates           8:20-cv-39969-MCR-GRJ
   8281      137805   Joshua Prasek                           Jensen & Associates           8:20-cv-39979-MCR-GRJ
   8282      137807   Joshua Reid                             Jensen & Associates           8:20-cv-39986-MCR-GRJ
   8283      137811   Joshua Scheffler                        Jensen & Associates                                      8:20-cv-39997-MCR-GRJ
   8284      137813   Joshua Sutton                           Jensen & Associates                                      8:20-cv-40004-MCR-GRJ
   8285      137818   Joshua Vanderhoof                       Jensen & Associates                                      8:20-cv-40153-MCR-GRJ
   8286      137820   Joshua Williams                         Jensen & Associates                                      8:20-cv-40159-MCR-GRJ
   8287      137826   Juan Ramirez                            Jensen & Associates           8:20-cv-40176-MCR-GRJ
   8288      137828   Julian Bridges                          Jensen & Associates                                      8:20-cv-40182-MCR-GRJ
   8289      137829   Julian Hodges                           Jensen & Associates           8:20-cv-40186-MCR-GRJ
   8290      137836   Justin Goodman                          Jensen & Associates                                      8:20-cv-40209-MCR-GRJ
   8291      137837   Justin Griffin                          Jensen & Associates           8:20-cv-40212-MCR-GRJ
   8292      137838   Justin Johnson                          Jensen & Associates                                      8:20-cv-40216-MCR-GRJ
   8293      137839   Justin Jones                            Jensen & Associates                                      8:20-cv-40220-MCR-GRJ
   8294      137840   Justin Jones                            Jensen & Associates                                      8:20-cv-40223-MCR-GRJ
   8295      137841   Justin Killam                           Jensen & Associates           8:20-cv-40226-MCR-GRJ
   8296      137843   Justin Lapine                           Jensen & Associates                                      8:20-cv-40232-MCR-GRJ
   8297      137845   Justin Maze                             Jensen & Associates           8:20-cv-40239-MCR-GRJ
   8298      137850   Justin Neal                             Jensen & Associates           8:20-cv-40252-MCR-GRJ
   8299      137855   Justin Sease                            Jensen & Associates                                      8:20-cv-40269-MCR-GRJ
   8300      137867   Katherine Sigala                        Jensen & Associates           8:20-cv-40302-MCR-GRJ
   8301      137877   Kelope Mitchell                         Jensen & Associates                                      8:20-cv-40315-MCR-GRJ
   8302      137883   Kendrick Gibson                         Jensen & Associates           8:20-cv-40324-MCR-GRJ
   8303      137884   Kendrick Hiss                           Jensen & Associates                                      8:20-cv-40326-MCR-GRJ
   8304      137898   Kenny Rocha                             Jensen & Associates           8:20-cv-41456-MCR-GRJ
   8305      137899   Kent Hoppers                            Jensen & Associates                                      8:20-cv-41457-MCR-GRJ
   8306      137900   Kerry Brown                             Jensen & Associates           8:20-cv-41458-MCR-GRJ
   8307      137904   Kevin Dunkle                            Jensen & Associates                                      8:20-cv-41462-MCR-GRJ
   8308      137910   Kevin Krebs                             Jensen & Associates           8:20-cv-41473-MCR-GRJ
   8309      137916   Kevin Moore                             Jensen & Associates                                      8:20-cv-41484-MCR-GRJ
   8310      137921   Kevin Siska                             Jensen & Associates           8:20-cv-41493-MCR-GRJ
   8311      137926   Khris Decapua                           Jensen & Associates           8:20-cv-41502-MCR-GRJ
   8312      137927   Khristopher Tamez                       Jensen & Associates           8:20-cv-41504-MCR-GRJ
   8313      137930   Korey Smith                             Jensen & Associates           8:20-cv-41509-MCR-GRJ
   8314      137931   Kory Easterday                          Jensen & Associates                                      8:20-cv-41510-MCR-GRJ
   8315      137944   Kyle Cordell                            Jensen & Associates                                      8:20-cv-41533-MCR-GRJ
   8316      137946   Kyle Elliott                            Jensen & Associates                                      8:20-cv-41537-MCR-GRJ
   8317      137947   Kyle Hedlund                            Jensen & Associates           8:20-cv-41538-MCR-GRJ
   8318      137968   Larry Rafanan                           Jensen & Associates                                      8:20-cv-41568-MCR-GRJ
   8319      137970   Larry Sharif                            Jensen & Associates                                      8:20-cv-41571-MCR-GRJ
   8320      137986   Leroy Gregory                           Jensen & Associates           8:20-cv-42088-MCR-GRJ
   8321      137987   Leroy Jenkins                           Jensen & Associates           8:20-cv-42094-MCR-GRJ
   8322      137990   Leslie Lewis                            Jensen & Associates           8:20-cv-42114-MCR-GRJ




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   8323      137994   Lewis Ingold                            Jensen & Associates           8:20-cv-42135-MCR-GRJ
   8324      137995   Lewis Parker                            Jensen & Associates                                      8:20-cv-42141-MCR-GRJ
   8325      137999   Loretta Hanson                          Jensen & Associates           8:20-cv-42157-MCR-GRJ
   8326      138001   Louis Cordero                           Jensen & Associates                                      8:20-cv-42167-MCR-GRJ
   8327      138013   Luis Martinez                           Jensen & Associates           8:20-cv-42238-MCR-GRJ
   8328      138018   Luke Williams                           Jensen & Associates           8:20-cv-42275-MCR-GRJ
   8329      138022   Manuel Cota                             Jensen & Associates                                      8:20-cv-42289-MCR-GRJ
   8330      138024   Manx Teas                               Jensen & Associates                                      8:20-cv-42305-MCR-GRJ
   8331      138029   Marcellus Matthews                      Jensen & Associates           8:20-cv-42340-MCR-GRJ
   8332      138032   Marcus Cole                             Jensen & Associates           8:20-cv-42360-MCR-GRJ
   8333      138036   Maria Guel                              Jensen & Associates           8:20-cv-42383-MCR-GRJ
   8334      138039   Mario James                             Jensen & Associates           8:20-cv-42404-MCR-GRJ
   8335      138040   Mark Ballas                             Jensen & Associates                                      8:20-cv-42411-MCR-GRJ
   8336      138045   Mark Mains                              Jensen & Associates           8:20-cv-42430-MCR-GRJ
   8337      138051   Marquis Baker                           Jensen & Associates                                      8:20-cv-42459-MCR-GRJ
   8338      138055   Marvin Sarmiento                        Jensen & Associates                                      8:20-cv-42483-MCR-GRJ
   8339      138057   Mason Clemons                           Jensen & Associates                                      8:20-cv-42495-MCR-GRJ
   8340      138058   Mason Miller                            Jensen & Associates           8:20-cv-42501-MCR-GRJ
   8341      138060   Matthew Daniels                         Jensen & Associates           8:20-cv-42515-MCR-GRJ
   8342      138076   Matthew Hinen                           Jensen & Associates                                      8:20-cv-43348-MCR-GRJ
   8343      138079   Matthew Jordi                           Jensen & Associates           8:20-cv-43355-MCR-GRJ
   8344      138085   Matthew Taylor                          Jensen & Associates                                      8:20-cv-43367-MCR-GRJ
   8345      138087   Matthew Zelek                           Jensen & Associates           8:20-cv-43371-MCR-GRJ
   8346      138088   Maurice Hamilton                        Jensen & Associates           8:20-cv-43373-MCR-GRJ
   8347      138091   Max Madayag                             Jensen & Associates           8:20-cv-43380-MCR-GRJ
   8348      138092   Mckenzie Mccall                         Jensen & Associates           8:20-cv-43383-MCR-GRJ
   8349      138093   Melancthon Spencer                      Jensen & Associates                                      8:20-cv-43385-MCR-GRJ
   8350      138100   Michael Barker                          Jensen & Associates                                      8:20-cv-43399-MCR-GRJ
   8351      138102   Michael Blair                           Jensen & Associates           8:20-cv-43401-MCR-GRJ
   8352      138108   Michael Chisholm                        Jensen & Associates                                      8:20-cv-43415-MCR-GRJ
   8353      138109   Michael Crockett                        Jensen & Associates                                      8:20-cv-43417-MCR-GRJ
   8354      138111   Michael Doumani                         Jensen & Associates                                      8:20-cv-43420-MCR-GRJ
   8355      138113   Michael Falls                           Jensen & Associates                                      8:20-cv-43422-MCR-GRJ
   8356      138114   Michael Fedak                           Jensen & Associates                                      8:20-cv-43424-MCR-GRJ
   8357      138120   Michael Greear                          Jensen & Associates                                      8:20-cv-43435-MCR-GRJ
   8358      138121   Michael Guthrie                         Jensen & Associates           8:20-cv-43438-MCR-GRJ
   8359      138133   Michael Kosiba                          Jensen & Associates                                      8:20-cv-43504-MCR-GRJ
   8360      138138   Michael Matthews                        Jensen & Associates                                      8:20-cv-43518-MCR-GRJ
   8361      138141   Michael Mccullough                      Jensen & Associates                                      8:20-cv-43528-MCR-GRJ
   8362      138145   Michael Natale                          Jensen & Associates                                      8:20-cv-43542-MCR-GRJ
   8363      138148   Michael Olvera                          Jensen & Associates                                      8:20-cv-43553-MCR-GRJ
   8364      138149   Michael Pelak                           Jensen & Associates           7:20-cv-30229-MCR-GRJ
   8365      138155   Michael Riffle                          Jensen & Associates                                      8:20-cv-43573-MCR-GRJ
   8366      138156   Michael Shreve                          Jensen & Associates           8:20-cv-43578-MCR-GRJ
   8367      138157   Michael Simmons                         Jensen & Associates                                      8:20-cv-43581-MCR-GRJ
   8368      138158   Michael Simpson                         Jensen & Associates           8:20-cv-43584-MCR-GRJ
   8369      138161   Michael Stewart                         Jensen & Associates                                      8:20-cv-47341-MCR-GRJ
   8370      138162   Michael Strong                          Jensen & Associates           8:20-cv-47344-MCR-GRJ
   8371      138164   Michael Thompson                        Jensen & Associates                                      8:20-cv-47351-MCR-GRJ
   8372      138166   Michael Valenzuela                      Jensen & Associates                                      8:20-cv-47358-MCR-GRJ
   8373      138170   Michael Wallace                         Jensen & Associates                                      8:20-cv-47365-MCR-GRJ
   8374      138172   Michael Weddle                          Jensen & Associates           8:20-cv-47371-MCR-GRJ
   8375      138178   Mike Hanson                             Jensen & Associates                                      8:20-cv-47393-MCR-GRJ
   8376      138179   Mike Morin                              Jensen & Associates                                      8:20-cv-47398-MCR-GRJ
   8377      138180   Miles Cooley                            Jensen & Associates           8:20-cv-47401-MCR-GRJ
   8378      138187   Monte Haugen                            Jensen & Associates           8:20-cv-47438-MCR-GRJ
   8379      138188   Nahjee Land                             Jensen & Associates                                      8:20-cv-47444-MCR-GRJ
   8380      138190   Narbona Yazzie                          Jensen & Associates                                      8:20-cv-47455-MCR-GRJ
   8381      138192   Natalie Held                            Jensen & Associates                                      8:20-cv-47465-MCR-GRJ
   8382      138197   Nathan Welch                            Jensen & Associates           8:20-cv-47490-MCR-GRJ
   8383      138198   Nathan Yantorn                          Jensen & Associates                                      8:20-cv-47496-MCR-GRJ
   8384      138199   Nathaniel Ford                          Jensen & Associates           8:20-cv-47501-MCR-GRJ
   8385      138203   Nehemiah Lance                          Jensen & Associates                                      8:20-cv-47518-MCR-GRJ
   8386      138205   Neil Glausier                           Jensen & Associates           8:20-cv-47529-MCR-GRJ
   8387      138206   Neil Hoag                               Jensen & Associates                                      8:20-cv-47535-MCR-GRJ
   8388      138207   Nicholas Apolloni                       Jensen & Associates                                      8:20-cv-47541-MCR-GRJ
   8389      138213   Nicholas Coffman                        Jensen & Associates                                      8:20-cv-47562-MCR-GRJ
   8390      138220   Nicholas Mallary                        Jensen & Associates                                      8:20-cv-47598-MCR-GRJ
   8391      138221   Nicholas Pfennig                        Jensen & Associates                                      8:20-cv-47603-MCR-GRJ
   8392      138229   Nicholas Watson                         Jensen & Associates                                      8:20-cv-47643-MCR-GRJ
   8393      138237   Norman Deloach                          Jensen & Associates                                      8:20-cv-47692-MCR-GRJ
   8394      138240   Omar Flores                             Jensen & Associates                                      8:20-cv-47715-MCR-GRJ
   8395      138241   Opie Slivers                            Jensen & Associates                                      8:20-cv-47721-MCR-GRJ




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   8396      138248   Osman Toruno                            Jensen & Associates           8:20-cv-47772-MCR-GRJ
   8397      138252   Patrick Badeaux                         Jensen & Associates                                      8:20-cv-48805-MCR-GRJ
   8398      138253   Patrick Bates                           Jensen & Associates           8:20-cv-48806-MCR-GRJ
   8399      138257   Patrick Uhrig                           Jensen & Associates                                      8:20-cv-48809-MCR-GRJ
   8400      138261   Paul Floyd                              Jensen & Associates                                      8:20-cv-48812-MCR-GRJ
   8401      138264   Paul Lloyd                              Jensen & Associates                                      8:20-cv-48815-MCR-GRJ
   8402      138265   Paul Mason                              Jensen & Associates                                      8:20-cv-48816-MCR-GRJ
   8403      138269   Paul Ward                               Jensen & Associates           8:20-cv-48821-MCR-GRJ
   8404      138278   Phil Zielinski                          Jensen & Associates                                      8:20-cv-48837-MCR-GRJ
   8405      138279   Philip Boatwright                       Jensen & Associates                                      8:20-cv-48839-MCR-GRJ
   8406      138280   Philip Walker                           Jensen & Associates           8:20-cv-48841-MCR-GRJ
   8407      138288   Quintin Naschke                         Jensen & Associates           8:20-cv-48857-MCR-GRJ
   8408      138294   Ramon Story                             Jensen & Associates           8:20-cv-48871-MCR-GRJ
   8409      138298   Randall Martinez                        Jensen & Associates           8:20-cv-48881-MCR-GRJ
   8410      138302   Random Snyder-Beuch                     Jensen & Associates                                      8:20-cv-48887-MCR-GRJ
   8411      138305   Randy Pettit                            Jensen & Associates                                      8:20-cv-48894-MCR-GRJ
   8412      138308   Raul Gonzalez                           Jensen & Associates                                      8:20-cv-48901-MCR-GRJ
   8413      138311   Raymond Balthazor                       Jensen & Associates                                      8:20-cv-48908-MCR-GRJ
   8414      138313   Raymond Dalton                          Jensen & Associates                                      8:20-cv-48912-MCR-GRJ
   8415      138322   Rebecca Cabo                            Jensen & Associates                                      8:20-cv-48930-MCR-GRJ
   8416      138326   Reginald Jackson                        Jensen & Associates                                      8:20-cv-48937-MCR-GRJ
   8417      138333   Richard Cooks                           Jensen & Associates           8:20-cv-36632-MCR-GRJ
   8418      138334   Richard Cordle                          Jensen & Associates           8:20-cv-36636-MCR-GRJ
   8419      138340   Richard Mcgovern                        Jensen & Associates                                      8:20-cv-36651-MCR-GRJ
   8420      138342   Richard Negrin                          Jensen & Associates           8:20-cv-36655-MCR-GRJ
   8421      138344   Richard Ung                             Jensen & Associates           8:20-cv-36660-MCR-GRJ
   8422      138351   Rigoberto Jimenez-Mendez                Jensen & Associates           8:20-cv-36668-MCR-GRJ
   8423      138359   Robert Bryson                           Jensen & Associates                                      8:20-cv-36684-MCR-GRJ
   8424      138361   Robert Carroll                          Jensen & Associates                                      8:20-cv-36688-MCR-GRJ
   8425      138363   Robert Clark                            Jensen & Associates           8:20-cv-36693-MCR-GRJ
   8426      138366   Robert Cummings                         Jensen & Associates                                      8:20-cv-36700-MCR-GRJ
   8427      138368   Robert Daniels                          Jensen & Associates                                      8:20-cv-36705-MCR-GRJ
   8428      138369   Robert Elam                             Jensen & Associates                                      8:20-cv-36708-MCR-GRJ
   8429      138371   Robert Gerk                             Jensen & Associates           8:20-cv-36715-MCR-GRJ
   8430      138375   Robert Haynes                           Jensen & Associates           8:20-cv-36728-MCR-GRJ
   8431      138377   Robert Lillie                           Jensen & Associates                                      8:20-cv-36734-MCR-GRJ
   8432      138381   Robert Mccarty                          Jensen & Associates                                      8:20-cv-36743-MCR-GRJ
   8433      138382   Robert Mcknight                         Jensen & Associates                                      8:20-cv-36746-MCR-GRJ
   8434      138383   Robert Miller                           Jensen & Associates           8:20-cv-36749-MCR-GRJ
   8435      138384   Robert Morgan                           Jensen & Associates                                      8:20-cv-36752-MCR-GRJ
   8436      138388   Robert Reid                             Jensen & Associates                                      8:20-cv-36762-MCR-GRJ
   8437      138389   Robert Rhodes                           Jensen & Associates           8:20-cv-36765-MCR-GRJ
   8438      138392   Robert Shultz                           Jensen & Associates           8:20-cv-36775-MCR-GRJ
   8439      138393   Robert Singh                            Jensen & Associates           8:20-cv-36777-MCR-GRJ
   8440      138394   Robert Spinks                           Jensen & Associates                                      8:20-cv-36781-MCR-GRJ
   8441      138397   Robert Youngman                         Jensen & Associates           8:20-cv-36789-MCR-GRJ
   8442      138399   Roberto Manzo                           Jensen & Associates                                      8:20-cv-36798-MCR-GRJ
   8443      138400   Roberto Meza                            Jensen & Associates                                      8:20-cv-36802-MCR-GRJ
   8444      138403   Rod Gaton                               Jensen & Associates                                      8:20-cv-36976-MCR-GRJ
   8445      138408   Roger Desrosiers                        Jensen & Associates                                      8:20-cv-36841-MCR-GRJ
   8446      138411   Roger Runion                            Jensen & Associates                                      8:20-cv-36856-MCR-GRJ
   8447      138413   Roland Collins                          Jensen & Associates           8:20-cv-36963-MCR-GRJ
   8448      138415   Roland Steen                            Jensen & Associates                                      8:20-cv-36969-MCR-GRJ
   8449      138417   Rolland Heagy                           Jensen & Associates                                      8:20-cv-37032-MCR-GRJ
   8450      138418   Ramone Addington                        Jensen & Associates                                      8:20-cv-37036-MCR-GRJ
   8451      138421   Ronald Cameron                          Jensen & Associates           8:20-cv-37048-MCR-GRJ
   8452      138426   Ronnie Gallagher                        Jensen & Associates                                      8:20-cv-37068-MCR-GRJ
   8453      138437   Ruben Delgado                           Jensen & Associates           8:20-cv-37112-MCR-GRJ
   8454      138439   Rudy Hernandez                          Jensen & Associates                                      8:20-cv-37120-MCR-GRJ
   8455      138440   Russell Allbright                       Jensen & Associates                                      8:20-cv-37124-MCR-GRJ
   8456      138443   Russell Mullin                          Jensen & Associates           8:20-cv-37129-MCR-GRJ
   8457      138448   Ryan Bosse                              Jensen & Associates           8:20-cv-37145-MCR-GRJ
   8458      138450   Ryan Cochran                            Jensen & Associates                                      8:20-cv-37152-MCR-GRJ
   8459      138457   Ryan Kaigler                            Jensen & Associates           8:20-cv-37180-MCR-GRJ
   8460      138458   Ryan Lloyd                              Jensen & Associates           8:20-cv-37184-MCR-GRJ
   8461      138459   Ryan Martin                             Jensen & Associates                                      8:20-cv-37188-MCR-GRJ
   8462      138463   Ryen Phillips                           Jensen & Associates           8:20-cv-37205-MCR-GRJ
   8463      138465   Sam Anderson                            Jensen & Associates           8:20-cv-37213-MCR-GRJ
   8464      138468   Sameath Ngoun                           Jensen & Associates                                      8:20-cv-37224-MCR-GRJ
   8465      138475   Samuel Ruppert                          Jensen & Associates           8:20-cv-37255-MCR-GRJ
   8466      138481   Schar Shumpert                          Jensen & Associates                                      8:20-cv-37268-MCR-GRJ
   8467      138488   Scott Lanham                            Jensen & Associates                                      8:20-cv-37288-MCR-GRJ
   8468      138492   Scott Taylor                            Jensen & Associates                                      8:20-cv-37300-MCR-GRJ




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   8469      138494   Scott Walker                            Jensen & Associates           8:20-cv-37306-MCR-GRJ
   8470      138497   Sean Blakeley                           Jensen & Associates           8:20-cv-37311-MCR-GRJ
   8471      138499   Sean Foster                             Jensen & Associates                                      8:20-cv-37317-MCR-GRJ
   8472      138500   Sean Gravesande                         Jensen & Associates                                      8:20-cv-37320-MCR-GRJ
   8473      138502   Sean Johnson                            Jensen & Associates                                      8:20-cv-37326-MCR-GRJ
   8474      138507   Secundino Hernandez                     Jensen & Associates                                      8:20-cv-37337-MCR-GRJ
   8475      138508   Seferino Romero                         Jensen & Associates           8:20-cv-37340-MCR-GRJ
   8476      138512   Seth Higginbotham                       Jensen & Associates                                      8:20-cv-37352-MCR-GRJ
   8477      138523   Shaun Haynes                            Jensen & Associates           8:20-cv-37378-MCR-GRJ
   8478      138525   Shaun Munkberg                          Jensen & Associates                                      8:20-cv-37382-MCR-GRJ
   8479      138527   Shawn Alexander                         Jensen & Associates                                      8:20-cv-37386-MCR-GRJ
   8480      138534   Shawn Whitmore                          Jensen & Associates                                      8:20-cv-37401-MCR-GRJ
   8481      138536   Shawn Yerby                             Jensen & Associates                                      8:20-cv-37405-MCR-GRJ
   8482      138538   Shawna Stinson                          Jensen & Associates                                      8:20-cv-37411-MCR-GRJ
   8483      138539   Shayla Martin                           Jensen & Associates           8:20-cv-37413-MCR-GRJ
   8484      138540   Shayne Lopez                            Jensen & Associates           8:20-cv-37415-MCR-GRJ
   8485      138543   Shevetta Elder                          Jensen & Associates           8:20-cv-37421-MCR-GRJ
   8486      138544   Sidney King                             Jensen & Associates                                      8:20-cv-37423-MCR-GRJ
   8487      138545   Sonny Winstead                          Jensen & Associates           8:20-cv-37425-MCR-GRJ
   8488      138550   Stacy Fus                               Jensen & Associates                                      8:20-cv-37446-MCR-GRJ
   8489      138551   Stefan Theriault                        Jensen & Associates                                      8:20-cv-37447-MCR-GRJ
   8490      138553   Stephanie Warn                          Jensen & Associates                                      8:20-cv-37449-MCR-GRJ
   8491      138554   Stephen Thompson                        Jensen & Associates           8:20-cv-37450-MCR-GRJ
   8492      138559   Stephen Dutton                          Jensen & Associates                                      8:20-cv-37454-MCR-GRJ
   8493      138574   Steven Alemendarez                      Jensen & Associates           8:20-cv-37467-MCR-GRJ
   8494      138591   Stevie Pace                             Jensen & Associates           8:20-cv-37479-MCR-GRJ
   8495      138594   Sylvester Begay                         Jensen & Associates           8:20-cv-37482-MCR-GRJ
   8496      138603   Taylor Hall                             Jensen & Associates           8:20-cv-37488-MCR-GRJ
   8497      138624   Thomas Martin                           Jensen & Associates                                      8:20-cv-37503-MCR-GRJ
   8498      138625   Thomas Maybury                          Jensen & Associates                                      8:20-cv-37504-MCR-GRJ
   8499      138627   Thomas Mostella                         Jensen & Associates                                      8:20-cv-37505-MCR-GRJ
   8500      138628   Thomas Pumpkin                          Jensen & Associates           8:20-cv-37506-MCR-GRJ
   8501      138629   Thomas Reneau                           Jensen & Associates                                      8:20-cv-37507-MCR-GRJ
   8502      138634   Tia Mccants                             Jensen & Associates                                      8:20-cv-37511-MCR-GRJ
   8503      138639   Timothy Durrin                          Jensen & Associates           8:20-cv-37516-MCR-GRJ
   8504      138641   Timothy Haddenham                       Jensen & Associates           8:20-cv-37518-MCR-GRJ
   8505      138643   Timothy Lerback                         Jensen & Associates           8:20-cv-37520-MCR-GRJ
   8506      138647   Timothy Moody                           Jensen & Associates           8:20-cv-37524-MCR-GRJ
   8507      138650   Timothy Shaw                            Jensen & Associates                                      8:20-cv-37527-MCR-GRJ
   8508      138655   Todd Callahan                           Jensen & Associates                                      8:20-cv-37532-MCR-GRJ
   8509      138659   Tom Stevens                             Jensen & Associates                                      8:20-cv-37536-MCR-GRJ
   8510      138660   Tommy Harris-Burdette                   Jensen & Associates           8:20-cv-37537-MCR-GRJ
   8511      138662   Tony Colee                              Jensen & Associates                                      8:20-cv-37539-MCR-GRJ
   8512      138668   Tracy Bonner                            Jensen & Associates                                      8:20-cv-37545-MCR-GRJ
   8513      138670   Tramaine Cummings                       Jensen & Associates                                      8:20-cv-37547-MCR-GRJ
   8514      138674   Travis Delp                             Jensen & Associates           8:20-cv-37551-MCR-GRJ
   8515      138676   Travis Downes                           Jensen & Associates           8:20-cv-37553-MCR-GRJ
   8516      138678   Travis Love                             Jensen & Associates                                      8:20-cv-37555-MCR-GRJ
   8517      138680   Travis Patton                           Jensen & Associates           8:20-cv-37556-MCR-GRJ
   8518      138681   Travis Semora                           Jensen & Associates                                      8:20-cv-37557-MCR-GRJ
   8519      138683   Trevor Edwards                          Jensen & Associates                                      8:20-cv-37559-MCR-GRJ
   8520      138684   Trevor Felt                             Jensen & Associates           8:20-cv-37560-MCR-GRJ
   8521      138691   Troy Springer                           Jensen & Associates           8:20-cv-37566-MCR-GRJ
   8522      138692   Turel Mckinney                          Jensen & Associates           8:20-cv-37567-MCR-GRJ
   8523      138695   Tyler Freeman                           Jensen & Associates           8:20-cv-37570-MCR-GRJ
   8524      138704   Tyrone Horton                           Jensen & Associates                                      8:20-cv-37577-MCR-GRJ
   8525      138705   Tyrun Dacres                            Jensen & Associates           8:20-cv-37578-MCR-GRJ
   8526      138707   Ului Maka                               Jensen & Associates                                      8:20-cv-37580-MCR-GRJ
   8527      138718   Vladimir Ducard                         Jensen & Associates                                      8:20-cv-37591-MCR-GRJ
   8528      138730   Westin Hilliard                         Jensen & Associates                                      8:20-cv-37600-MCR-GRJ
   8529      138746   William Mccabe                          Jensen & Associates                                      8:20-cv-37634-MCR-GRJ
   8530      138747   William Mccloskey                       Jensen & Associates           8:20-cv-37637-MCR-GRJ
   8531      138748   William Mcginn                          Jensen & Associates                                      8:20-cv-37640-MCR-GRJ
   8532      138751   William Pitts                           Jensen & Associates                                      8:20-cv-37648-MCR-GRJ
   8533      138757   William Stubbs                          Jensen & Associates                                      8:20-cv-37664-MCR-GRJ
   8534      138762   William Wall                            Jensen & Associates           8:20-cv-37675-MCR-GRJ
   8535      138763   William West                            Jensen & Associates           8:20-cv-37678-MCR-GRJ
   8536      138765   Willie Jones                            Jensen & Associates                                      8:20-cv-37684-MCR-GRJ
   8537      138766   Wilton Holmes                           Jensen & Associates           8:20-cv-37685-MCR-GRJ
   8538      138774   Zachary Normann                         Jensen & Associates                                      8:20-cv-37705-MCR-GRJ
   8539      138776   Zijawaii Gills                          Jensen & Associates           8:20-cv-37711-MCR-GRJ
   8540      138777   Zimryth Benitez                         Jensen & Associates           8:20-cv-37712-MCR-GRJ
   8541      164022   Jesse Dowell                            Jensen & Associates           8:20-cv-49806-MCR-GRJ




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   8542      164224   Patrick Cooke                           Jensen & Associates                        8:20-cv-49824-MCR-GRJ
   8543      164232   Evan Allen                              Jensen & Associates                                                   8:20-cv-49851-MCR-GRJ
   8544      164260   Leona Bond                              Jensen & Associates                        8:20-cv-49886-MCR-GRJ
   8545      164384   Patrick Mcdonald                        Jensen & Associates                                                   8:20-cv-50772-MCR-GRJ
   8546      164387   Willie Faiivae                          Jensen & Associates                                                   8:20-cv-50782-MCR-GRJ
   8547      164388   Kendrick Ferguson                       Jensen & Associates                        8:20-cv-50786-MCR-GRJ
   8548      164390   Robert Houk                             Jensen & Associates                        8:20-cv-50794-MCR-GRJ
   8549      164396   Peter Van Heyde                         Jensen & Associates                        8:20-cv-50813-MCR-GRJ
   8550      164402   Thomas Walton                           Jensen & Associates                        8:20-cv-50833-MCR-GRJ
   8551      164405   Lamont Williams                         Jensen & Associates                        8:20-cv-50840-MCR-GRJ
   8552      164406   Brent Wilson                            Jensen & Associates                        8:20-cv-50843-MCR-GRJ
   8553      164408   Jonathan Snavely                        Jensen & Associates                                                   8:20-cv-50847-MCR-GRJ
   8554      170115   Jeffrey Peek                            Jensen & Associates                                                   8:20-cv-54394-MCR-GRJ
   8555      188514   Wesley Farron                           Jensen & Associates                        9:20-cv-08702-MCR-GRJ
   8556      188518   Daniel Vela                             Jensen & Associates                                                   9:20-cv-08706-MCR-GRJ
   8557      188519   Kendra Carter                           Jensen & Associates                                                   8:20-cv-55742-MCR-GRJ
   8558      188520   Kerry Davis                             Jensen & Associates                                                   8:20-cv-24684-MCR-GRJ
   8559      188527   John Binder                             Jensen & Associates                        8:20-cv-56094-MCR-GRJ
   8560      188528   Kenneth Kelley                          Jensen & Associates                        8:20-cv-56098-MCR-GRJ
   8561      189327   Robert Blood                            Jensen & Associates                        8:20-cv-56393-MCR-GRJ
   8562      190537   Sonny Gonzalez                          Jensen & Associates                                                   8:20-cv-56399-MCR-GRJ
   8563      199014   Andrew Brown                            Jensen & Associates                                                   8:20-cv-52488-MCR-GRJ
   8564      199023   William Williams                        Jensen & Associates                        8:20-cv-52513-MCR-GRJ
   8565      199026   Jonathan Adderly                        Jensen & Associates                        8:20-cv-52524-MCR-GRJ
   8566      199028   Gena Tilstra                            Jensen & Associates                        8:20-cv-52529-MCR-GRJ
   8567      199043   Brain Phelps                            Jensen & Associates                        8:20-cv-52565-MCR-GRJ
   8568      199047   Daniel Bird                             Jensen & Associates                        8:20-cv-52576-MCR-GRJ
   8569      202902   Joseph Hill                             Jensen & Associates                        8:20-cv-52581-MCR-GRJ
   8570      202905   James Silvia                            Jensen & Associates                                                   9:20-cv-08721-MCR-GRJ
   8571      207498   Travis Dempsy                           Jensen & Associates                                                   9:20-cv-08725-MCR-GRJ
   8572      207501   Robert Hudson                           Jensen & Associates                                                   9:20-cv-08726-MCR-GRJ
   8573      210015   Kevin Flemens                           Jensen & Associates                        9:20-cv-08730-MCR-GRJ
   8574      210018   Kevin Rushing                           Jensen & Associates                                                   9:20-cv-08733-MCR-GRJ
   8575       3969    Jason Clader                            Joel A. Nash Attorney at Law               8:20-cv-12027-MCR-GRJ
   8576       4027    Ken Sanders                             Joel A. Nash Attorney at Law                                          7:20-cv-94564-MCR-GRJ
   8577       4053    Tommy Worth                             Joel A. Nash Attorney at Law               7:20-cv-94636-MCR-GRJ
   8578      115787   Geoffrey Duffy                          Joel Bieber Firm                                                      7:20-cv-45385-MCR-GRJ
   8579      115800   James Sullivan                          Joel Bieber Firm                           7:20-cv-45425-MCR-GRJ
   8580      115935   Deandre Wright                          Joel Bieber Firm                                                      7:20-cv-46143-MCR-GRJ
   8581      115996   Marah Hamilton                          Joel Bieber Firm                           7:20-cv-46459-MCR-GRJ
   8582      116035   John Morgan                             Joel Bieber Firm                                                      7:20-cv-45377-MCR-GRJ
   8583      116042   Donovan Jones                           Joel Bieber Firm                           7:20-cv-45397-MCR-GRJ
   8584      116084   James Ferguson                          Joel Bieber Firm                           7:20-cv-45543-MCR-GRJ
   8585      116112   Christopher Kersine                     Joel Bieber Firm                           7:20-cv-45691-MCR-GRJ
   8586      116130   Chris Barber                            Joel Bieber Firm                           7:20-cv-26260-MCR-GRJ
   8587      116140   Alton O'Neil                            Joel Bieber Firm                           7:20-cv-45837-MCR-GRJ
   8588      116155   Zachary Beckette                        Joel Bieber Firm                                                      7:20-cv-45904-MCR-GRJ
   8589      116309   Ronald Keyes                            Joel Bieber Firm                           7:20-cv-48045-MCR-GRJ
   8590      180887   Anthony Higgins                         Joel Bieber Firm                           7:20-cv-48426-MCR-GRJ
   8591      252004   Paul Dudley                             Joel Bieber Firm                                                      8:20-cv-98224-MCR-GRJ
   8592       1448    Lamont Burley                           Justinian & Associates PLLC                8:20-cv-32873-MCR-GRJ
   8593       3098    Raul Perez Delgado                      Justinian & Associates PLLC                                           8:20-cv-32924-MCR-GRJ
   8594       3199    Ashley Brunson                          Justinian & Associates PLLC                                           8:20-cv-33234-MCR-GRJ
   8595      84714    Jakcob Thomas                           Justinian & Associates PLLC                                           8:20-cv-34166-MCR-GRJ
   8596      84798    Michael Dyson                           Justinian & Associates PLLC                                           8:20-cv-34209-MCR-GRJ
   8597      88395    Tracy Bevill                            Justinian & Associates PLLC                8:20-cv-34314-MCR-GRJ
   8598      170144   Jason Church                            Justinian & Associates PLLC                                           8:20-cv-54057-MCR-GRJ
   8599      170811   Brian Rhodes                            Justinian & Associates PLLC                                           8:20-cv-54058-MCR-GRJ
   8600      319832   Suelyn Poole                            K. E. Bradley & Associates, PLLC                                      7:21-cv-36592-MCR-GRJ
   8601      319834   Dawan Ginn                              K. E. Bradley & Associates, PLLC                                      7:21-cv-36594-MCR-GRJ
   8602      271305   Laura Bratton                           Kelley & Ferraro LLP                                                  9:20-cv-13645-MCR-GRJ
   8603      271306   Joseph Camerlin                         Kelley & Ferraro LLP                                                  9:20-cv-13647-MCR-GRJ
   8604      271312   Patrick Dezurik                         Kelley & Ferraro LLP                                                  9:20-cv-13658-MCR-GRJ
   8605      271313   Brian Eales                             Kelley & Ferraro LLP                                                  9:20-cv-13660-MCR-GRJ
   8606      271314   Moises Farnen                           Kelley & Ferraro LLP                                                  9:20-cv-13661-MCR-GRJ
   8607      271317   Joel Flores                             Kelley & Ferraro LLP                                                  9:20-cv-13667-MCR-GRJ
   8608      271318   Michael Gallagher                       Kelley & Ferraro LLP                                                  9:20-cv-13669-MCR-GRJ
   8609      271320   Shawn Garland                           Kelley & Ferraro LLP                                                  9:20-cv-13673-MCR-GRJ
   8610      271323   Adam Grunden                            Kelley & Ferraro LLP                                                  9:20-cv-13677-MCR-GRJ
   8611      271324   Carlos Gutierrez                        Kelley & Ferraro LLP                                                  9:20-cv-13678-MCR-GRJ
   8612      271325   Tyler Harding                           Kelley & Ferraro LLP                                                  9:20-cv-13680-MCR-GRJ
   8613      271330   Gregory King                            Kelley & Ferraro LLP                                                  9:20-cv-13691-MCR-GRJ
   8614      271332   Justin Labonne                          Kelley & Ferraro LLP                                                  9:20-cv-13695-MCR-GRJ




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   8615      271333   Todd Leopold                            Kelley & Ferraro LLP                                      9:20-cv-13697-MCR-GRJ
   8616      271337   Cody Muncey                             Kelley & Ferraro LLP                                      9:20-cv-13705-MCR-GRJ
   8617      271338   Alida Noboa                             Kelley & Ferraro LLP                                      9:20-cv-13707-MCR-GRJ
   8618      271341   Cedrick Parks                           Kelley & Ferraro LLP                                      9:20-cv-13713-MCR-GRJ
   8619      271345   Kendall Rahill                          Kelley & Ferraro LLP                                      9:20-cv-13721-MCR-GRJ
   8620      271346   Enrique Raymundo                        Kelley & Ferraro LLP                                      9:20-cv-13724-MCR-GRJ
   8621      271351   Sammy Siggers                           Kelley & Ferraro LLP                                      9:20-cv-13733-MCR-GRJ
   8622      271352   Amber Signer                            Kelley & Ferraro LLP                                      9:20-cv-13736-MCR-GRJ
   8623      271353   James Slack                             Kelley & Ferraro LLP                                      9:20-cv-13738-MCR-GRJ
   8624      271355   Ryan Smith                              Kelley & Ferraro LLP                                      9:20-cv-13742-MCR-GRJ
   8625      271359   Patrick Terhune                         Kelley & Ferraro LLP                                      9:20-cv-14323-MCR-GRJ
   8626      271364   Edward Williams                         Kelley & Ferraro LLP                                      9:20-cv-14333-MCR-GRJ
   8627      303085   James Allgood                           Kelley & Ferraro LLP                                      7:21-cv-23475-MCR-GRJ
   8628      303086   Frank Archbald                          Kelley & Ferraro LLP                                      7:21-cv-23476-MCR-GRJ
   8629      303090   Michael Bonner                          Kelley & Ferraro LLP                                      7:21-cv-23480-MCR-GRJ
   8630      303091   Shirlena Boyer                          Kelley & Ferraro LLP                                      7:21-cv-23481-MCR-GRJ
   8631      303095   Justin Covington                        Kelley & Ferraro LLP                                      7:21-cv-23485-MCR-GRJ
   8632      303096   Daniel Cozart                           Kelley & Ferraro LLP                                      7:21-cv-23486-MCR-GRJ
   8633      303098   William Cunliffe                        Kelley & Ferraro LLP                                      7:21-cv-23488-MCR-GRJ
   8634      303099   Robert Easley                           Kelley & Ferraro LLP                                      7:21-cv-23489-MCR-GRJ
   8635      303101   Javon Everett                           Kelley & Ferraro LLP                                      7:21-cv-23491-MCR-GRJ
   8636      303103   Judyth Garcia-Heise                     Kelley & Ferraro LLP           7:21-cv-23493-MCR-GRJ
   8637      303106   Tasha Harvey                            Kelley & Ferraro LLP                                      7:21-cv-23496-MCR-GRJ
   8638      303107   William Himlin                          Kelley & Ferraro LLP                                      7:21-cv-23497-MCR-GRJ
   8639      303112   Derick Keith                            Kelley & Ferraro LLP                                      7:21-cv-23502-MCR-GRJ
   8640      303117   Chris Lane                              Kelley & Ferraro LLP                                      7:21-cv-23507-MCR-GRJ
   8641      303122   Jennifer Mckeen                         Kelley & Ferraro LLP                                      7:21-cv-23512-MCR-GRJ
   8642      303124   Bronwen Mentzer                         Kelley & Ferraro LLP                                      7:21-cv-23514-MCR-GRJ
   8643      303125   Brandon Moore                           Kelley & Ferraro LLP                                      7:21-cv-23515-MCR-GRJ
   8644      303126   Cody Partridge                          Kelley & Ferraro LLP                                      7:21-cv-23516-MCR-GRJ
   8645      303127   Emmett Patterson                        Kelley & Ferraro LLP                                      7:21-cv-23517-MCR-GRJ
   8646      303131   Anelia Rabanal                          Kelley & Ferraro LLP                                      7:21-cv-23521-MCR-GRJ
   8647      303132   Cecil Reedy                             Kelley & Ferraro LLP                                      7:21-cv-23522-MCR-GRJ
   8648      303133   Chad Register                           Kelley & Ferraro LLP                                      7:21-cv-23523-MCR-GRJ
   8649      303134   Nicole Roadside                         Kelley & Ferraro LLP                                      7:21-cv-23524-MCR-GRJ
   8650      303138   Louis Sanders                           Kelley & Ferraro LLP                                      7:21-cv-23528-MCR-GRJ
   8651      303140   William Shields                         Kelley & Ferraro LLP                                      7:21-cv-23530-MCR-GRJ
   8652      303141   Adam Simpson                            Kelley & Ferraro LLP                                      7:21-cv-23531-MCR-GRJ
   8653      50237    Steven Galeski                          Kirkendall Dwyer LLP           7:20-cv-64928-MCR-GRJ
   8654      50240    Thomas Neal                             Kirkendall Dwyer LLP           7:20-cv-64934-MCR-GRJ
   8655      50247    Raymond Reed                            Kirkendall Dwyer LLP           7:20-cv-64948-MCR-GRJ
   8656      50249    Robert Emert                            Kirkendall Dwyer LLP                                      7:20-cv-64953-MCR-GRJ
   8657      50250    Wilbur Hollins                          Kirkendall Dwyer LLP           7:20-cv-64955-MCR-GRJ
   8658      50251    Gary Hudson                             Kirkendall Dwyer LLP           7:20-cv-64957-MCR-GRJ
   8659      50252    Ray Bowen                               Kirkendall Dwyer LLP           7:20-cv-64958-MCR-GRJ
   8660      50258    Karen Adams                             Kirkendall Dwyer LLP           7:20-cv-64969-MCR-GRJ
   8661      50262    Jose Rivera                             Kirkendall Dwyer LLP           7:20-cv-64975-MCR-GRJ
   8662      50263    Michael Kauzlarich                      Kirkendall Dwyer LLP           7:20-cv-64976-MCR-GRJ
   8663      50264    Scott Murphy                            Kirkendall Dwyer LLP           7:20-cv-64978-MCR-GRJ
   8664      50265    Roger Schmit                            Kirkendall Dwyer LLP           7:20-cv-64980-MCR-GRJ
   8665      50268    Michele Cerquozzi                       Kirkendall Dwyer LLP           7:20-cv-64988-MCR-GRJ
   8666      50269    Mitchel Glenn                           Kirkendall Dwyer LLP           7:20-cv-64991-MCR-GRJ
   8667      50270    Yvonne Barbosa                          Kirkendall Dwyer LLP           7:20-cv-64994-MCR-GRJ
   8668      50274    Rickey Kinnes                           Kirkendall Dwyer LLP           7:20-cv-65005-MCR-GRJ
   8669      50278    Craig Holt                              Kirkendall Dwyer LLP           7:20-cv-65015-MCR-GRJ
   8670      50279    Benjamin Ramos                          Kirkendall Dwyer LLP           7:20-cv-65018-MCR-GRJ
   8671      50284    Todd Ferring                            Kirkendall Dwyer LLP           7:20-cv-65032-MCR-GRJ
   8672      50286    Deborah Grays                           Kirkendall Dwyer LLP           7:20-cv-65038-MCR-GRJ
   8673      50291    Jose Carmona                            Kirkendall Dwyer LLP           7:20-cv-65052-MCR-GRJ
   8674      50292    Richard Kelly                           Kirkendall Dwyer LLP           7:20-cv-65055-MCR-GRJ
   8675      50295    Darron Webb                             Kirkendall Dwyer LLP                                      7:20-cv-65063-MCR-GRJ
   8676      50297    Oscar Bosarge                           Kirkendall Dwyer LLP                                      7:20-cv-65067-MCR-GRJ
   8677      50303    Raymond Powers                          Kirkendall Dwyer LLP           7:20-cv-65084-MCR-GRJ
   8678      50309    Sheila Nelson                           Kirkendall Dwyer LLP                                      7:20-cv-65098-MCR-GRJ
   8679      50312    Edward Kulick                           Kirkendall Dwyer LLP           7:20-cv-65104-MCR-GRJ
   8680      50313    Daniel Robertson                        Kirkendall Dwyer LLP           7:20-cv-65106-MCR-GRJ
   8681      50315    Brian Albert                            Kirkendall Dwyer LLP           7:20-cv-65111-MCR-GRJ
   8682      50316    David Ysaguirre                         Kirkendall Dwyer LLP           7:20-cv-65114-MCR-GRJ
   8683      50321    Joseph Jose                             Kirkendall Dwyer LLP           7:20-cv-65127-MCR-GRJ
   8684      50322    Ray Pittman                             Kirkendall Dwyer LLP           7:20-cv-65130-MCR-GRJ
   8685      50323    Jon Sexton                              Kirkendall Dwyer LLP           7:20-cv-65132-MCR-GRJ
   8686      50326    Alois Martin                            Kirkendall Dwyer LLP                                      7:20-cv-65141-MCR-GRJ
   8687      50329    Mark Nelson                             Kirkendall Dwyer LLP           7:20-cv-65149-MCR-GRJ




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   8688      50333   Douglas Godfrey                          Kirkendall Dwyer LLP           7:20-cv-65161-MCR-GRJ
   8689      50334   Richard Burns                            Kirkendall Dwyer LLP           7:20-cv-65163-MCR-GRJ
   8690      50335   Michael Hacker                           Kirkendall Dwyer LLP                                      7:20-cv-65166-MCR-GRJ
   8691      50336   Tracy Miklas                             Kirkendall Dwyer LLP           7:20-cv-65169-MCR-GRJ
   8692      50340   John Whiting                             Kirkendall Dwyer LLP           7:20-cv-65180-MCR-GRJ
   8693      50341   Roberto Alomar                           Kirkendall Dwyer LLP           7:20-cv-65182-MCR-GRJ
   8694      50343   David Pickett                            Kirkendall Dwyer LLP           7:20-cv-65188-MCR-GRJ
   8695      50344   David Costantini                         Kirkendall Dwyer LLP           7:20-cv-65190-MCR-GRJ
   8696      50345   Harris Warren                            Kirkendall Dwyer LLP           7:20-cv-65193-MCR-GRJ
   8697      50346   James Shuman                             Kirkendall Dwyer LLP           7:20-cv-65196-MCR-GRJ
   8698      50348   Billy Wood                               Kirkendall Dwyer LLP           7:20-cv-65202-MCR-GRJ
   8699      50349   Richard Oliver                           Kirkendall Dwyer LLP           7:20-cv-65205-MCR-GRJ
   8700      50350   Carl Petersen                            Kirkendall Dwyer LLP           7:20-cv-65207-MCR-GRJ
   8701      50352   Michelle Addison                         Kirkendall Dwyer LLP           7:20-cv-65213-MCR-GRJ
   8702      50353   Sandra Carter                            Kirkendall Dwyer LLP           7:20-cv-65216-MCR-GRJ
   8703      50354   Brent Casselman                          Kirkendall Dwyer LLP                                      7:21-cv-04861-MCR-GRJ
   8704      50357   Peter Borja                              Kirkendall Dwyer LLP                                      7:20-cv-65223-MCR-GRJ
   8705      50360   Patrick Diego                            Kirkendall Dwyer LLP           7:20-cv-65229-MCR-GRJ
   8706      50361   Wayne Darmand                            Kirkendall Dwyer LLP                                      7:20-cv-65232-MCR-GRJ
   8707      50368   Anthony Gorman                           Kirkendall Dwyer LLP           7:20-cv-65253-MCR-GRJ
   8708      50371   Willie Odoms                             Kirkendall Dwyer LLP           7:20-cv-65262-MCR-GRJ
   8709      50374   William Redfield                         Kirkendall Dwyer LLP           7:20-cv-65269-MCR-GRJ
   8710      50375   Timothy Gardner                          Kirkendall Dwyer LLP           7:20-cv-65271-MCR-GRJ
   8711      50383   Martin Riojas                            Kirkendall Dwyer LLP           7:20-cv-65286-MCR-GRJ
   8712      50384   Eugene Hines                             Kirkendall Dwyer LLP           7:20-cv-65288-MCR-GRJ
   8713      50385   David Davis                              Kirkendall Dwyer LLP                                      7:20-cv-65290-MCR-GRJ
   8714      50392   Timothy Moodie                           Kirkendall Dwyer LLP           7:20-cv-65304-MCR-GRJ
   8715      50396   Clarence Blackburn                       Kirkendall Dwyer LLP                                      7:20-cv-65309-MCR-GRJ
   8716      50406   Terry Harp                               Kirkendall Dwyer LLP           7:20-cv-65328-MCR-GRJ
   8717      50410   Timothy Johnson                          Kirkendall Dwyer LLP           7:20-cv-65337-MCR-GRJ
   8718      50411   Adam Jankowski                           Kirkendall Dwyer LLP                                      7:20-cv-65339-MCR-GRJ
   8719      50417   Joseph Morini                            Kirkendall Dwyer LLP           7:20-cv-65351-MCR-GRJ
   8720      50419   Michael Shannon                          Kirkendall Dwyer LLP           7:20-cv-65355-MCR-GRJ
   8721      50421   Richard Tuttle                           Kirkendall Dwyer LLP           7:20-cv-65359-MCR-GRJ
   8722      50422   Henry Adams                              Kirkendall Dwyer LLP                                      7:20-cv-65361-MCR-GRJ
   8723      50423   Jason Kelley                             Kirkendall Dwyer LLP           7:20-cv-65363-MCR-GRJ
   8724      50426   David Sisk                               Kirkendall Dwyer LLP           7:20-cv-65368-MCR-GRJ
   8725      50437   Thomas Davie                             Kirkendall Dwyer LLP                                      7:20-cv-65388-MCR-GRJ
   8726      50439   Kenneth Miller                           Kirkendall Dwyer LLP           7:20-cv-65392-MCR-GRJ
   8727      50440   Arlene Sams                              Kirkendall Dwyer LLP           7:20-cv-65394-MCR-GRJ
   8728      50442   Jeffrey Kirkwood                         Kirkendall Dwyer LLP           7:20-cv-65397-MCR-GRJ
   8729      50443   William Turbyfill                        Kirkendall Dwyer LLP           7:20-cv-65399-MCR-GRJ
   8730      50444   William Arroyo                           Kirkendall Dwyer LLP           7:20-cv-65401-MCR-GRJ
   8731      50445   David Anderson                           Kirkendall Dwyer LLP           7:20-cv-65403-MCR-GRJ
   8732      50446   Raleigh Worley                           Kirkendall Dwyer LLP           7:20-cv-65405-MCR-GRJ
   8733      50448   William Symington                        Kirkendall Dwyer LLP           7:20-cv-65409-MCR-GRJ
   8734      50449   Billy Waters                             Kirkendall Dwyer LLP           7:20-cv-65411-MCR-GRJ
   8735      50453   Christoph Himmelsbach                    Kirkendall Dwyer LLP           7:20-cv-65419-MCR-GRJ
   8736      50455   Geraldine Jackson                        Kirkendall Dwyer LLP           7:20-cv-65423-MCR-GRJ
   8737      50459   Sherrie Horn                             Kirkendall Dwyer LLP           7:20-cv-64984-MCR-GRJ
   8738      50460   Howard Herron                            Kirkendall Dwyer LLP           7:20-cv-64987-MCR-GRJ
   8739      50461   D'Wayne Griffin                          Kirkendall Dwyer LLP           7:20-cv-64990-MCR-GRJ
   8740      50464   William Gaddis                           Kirkendall Dwyer LLP                                      7:20-cv-64998-MCR-GRJ
   8741      50468   James Olson                              Kirkendall Dwyer LLP           7:20-cv-65010-MCR-GRJ
   8742      50469   Russell Cole                             Kirkendall Dwyer LLP           7:20-cv-65014-MCR-GRJ
   8743      50470   Corey Neal                               Kirkendall Dwyer LLP           7:20-cv-65016-MCR-GRJ
   8744      50473   Johnny Tolson                            Kirkendall Dwyer LLP           7:20-cv-65025-MCR-GRJ
   8745      50474   Nancy Weaver                             Kirkendall Dwyer LLP           7:20-cv-65028-MCR-GRJ
   8746      50475   Danny Pilgrim                            Kirkendall Dwyer LLP           7:20-cv-65031-MCR-GRJ
   8747      50476   Benjamin Bierly                          Kirkendall Dwyer LLP           7:20-cv-65033-MCR-GRJ
   8748      50479   Kenneth Hancock                          Kirkendall Dwyer LLP           7:20-cv-65042-MCR-GRJ
   8749      50480   Timothy Stephenson                       Kirkendall Dwyer LLP           7:20-cv-65045-MCR-GRJ
   8750      50481   Tyrone Davis                             Kirkendall Dwyer LLP           7:20-cv-65048-MCR-GRJ
   8751      50486   Joseph Millett                           Kirkendall Dwyer LLP           7:20-cv-65059-MCR-GRJ
   8752      50488   Barry Foster                             Kirkendall Dwyer LLP           7:20-cv-65064-MCR-GRJ
   8753      50489   Bryan Domin                              Kirkendall Dwyer LLP           7:20-cv-65068-MCR-GRJ
   8754      50491   Alonzo Brown                             Kirkendall Dwyer LLP           7:20-cv-65074-MCR-GRJ
   8755      50493   Victor Ware                              Kirkendall Dwyer LLP           7:20-cv-65080-MCR-GRJ
   8756      50497   Bruce Nichols                            Kirkendall Dwyer LLP                                      7:20-cv-65091-MCR-GRJ
   8757      50499   Richard Fields                           Kirkendall Dwyer LLP           7:20-cv-65144-MCR-GRJ
   8758      50505   Corey Rector                             Kirkendall Dwyer LLP           7:20-cv-65120-MCR-GRJ
   8759      50506   Carl Doran                               Kirkendall Dwyer LLP                                      7:20-cv-05095-MCR-GRJ
   8760      50508   Robert Zuniga                            Kirkendall Dwyer LLP           7:20-cv-65125-MCR-GRJ




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   8761      50509   Luis Ochoa                               Kirkendall Dwyer LLP           7:20-cv-65128-MCR-GRJ
   8762      50514   Jeffery Conley                           Kirkendall Dwyer LLP           7:20-cv-65142-MCR-GRJ
   8763      50518   James Sasser                             Kirkendall Dwyer LLP           7:20-cv-65156-MCR-GRJ
   8764      50520   Jerald Hollingsworth                     Kirkendall Dwyer LLP           7:20-cv-65162-MCR-GRJ
   8765      50521   Matthew Reis                             Kirkendall Dwyer LLP           7:20-cv-65165-MCR-GRJ
   8766      50522   Joseph Diaz                              Kirkendall Dwyer LLP           7:20-cv-65168-MCR-GRJ
   8767      50525   Ralph Soliz                              Kirkendall Dwyer LLP                                      7:20-cv-65176-MCR-GRJ
   8768      50527   Timothy Davidson                         Kirkendall Dwyer LLP           7:20-cv-65183-MCR-GRJ
   8769      50529   Nicole Rose                              Kirkendall Dwyer LLP           7:20-cv-65189-MCR-GRJ
   8770      50531   John Ingrum                              Kirkendall Dwyer LLP           7:20-cv-65194-MCR-GRJ
   8771      50533   Shawn Hamblin                            Kirkendall Dwyer LLP           7:20-cv-65200-MCR-GRJ
   8772      50534   Wayne Cochrane                           Kirkendall Dwyer LLP           7:20-cv-65203-MCR-GRJ
   8773      50538   Mark Zink                                Kirkendall Dwyer LLP                                      7:20-cv-65215-MCR-GRJ
   8774      50541   Paul Brown                               Kirkendall Dwyer LLP           7:20-cv-65225-MCR-GRJ
   8775      50543   William Dominy                           Kirkendall Dwyer LLP                                      7:20-cv-65231-MCR-GRJ
   8776      50544   Sean Parsons                             Kirkendall Dwyer LLP           7:20-cv-65233-MCR-GRJ
   8777      50545   Samantha Thomson                         Kirkendall Dwyer LLP           7:20-cv-65236-MCR-GRJ
   8778      50548   William Boyes                            Kirkendall Dwyer LLP           7:20-cv-65245-MCR-GRJ
   8779      50552   Bobby Webb                               Kirkendall Dwyer LLP           7:20-cv-65257-MCR-GRJ
   8780      50555   Clarinda Taylor                          Kirkendall Dwyer LLP                                      7:20-cv-65266-MCR-GRJ
   8781      50561   Norman Nichelson                         Kirkendall Dwyer LLP           7:20-cv-65279-MCR-GRJ
   8782      50562   Pedro Rivera                             Kirkendall Dwyer LLP                                      7:20-cv-65281-MCR-GRJ
   8783      50563   Phillip Burdsal                          Kirkendall Dwyer LLP           7:20-cv-05096-MCR-GRJ
   8784      50564   Eric Lance                               Kirkendall Dwyer LLP           7:20-cv-65283-MCR-GRJ
   8785      50566   Anthony Farese                           Kirkendall Dwyer LLP           7:20-cv-65287-MCR-GRJ
   8786      50568   Lawrence Lilly                           Kirkendall Dwyer LLP           7:20-cv-65291-MCR-GRJ
   8787      50569   Jason Mooney                             Kirkendall Dwyer LLP           7:20-cv-65293-MCR-GRJ
   8788      50571   Daniel Vicario                           Kirkendall Dwyer LLP           7:20-cv-65295-MCR-GRJ
   8789      50572   Jeffrey Keller                           Kirkendall Dwyer LLP           7:20-cv-65297-MCR-GRJ
   8790      50574   Michael Cooley                           Kirkendall Dwyer LLP           7:20-cv-65301-MCR-GRJ
   8791      50579   Sean Barthel                             Kirkendall Dwyer LLP                                      7:20-cv-65312-MCR-GRJ
   8792      50581   Rodney Lewis                             Kirkendall Dwyer LLP                                      7:20-cv-65316-MCR-GRJ
   8793      50589   Joshua Smith                             Kirkendall Dwyer LLP           7:20-cv-65330-MCR-GRJ
   8794      50590   Johnathan Thompson                       Kirkendall Dwyer LLP           7:20-cv-65332-MCR-GRJ
   8795      50593   Eric Barnett                             Kirkendall Dwyer LLP           7:20-cv-65338-MCR-GRJ
   8796      50594   James Chambers                           Kirkendall Dwyer LLP           7:20-cv-65340-MCR-GRJ
   8797      50600   Brian Thomason                           Kirkendall Dwyer LLP                                      7:20-cv-65352-MCR-GRJ
   8798      50602   Shawn Walker                             Kirkendall Dwyer LLP           7:20-cv-65356-MCR-GRJ
   8799      50603   Christopher Ramos                        Kirkendall Dwyer LLP           7:20-cv-65358-MCR-GRJ
   8800      50605   Matthew Corrigan                         Kirkendall Dwyer LLP           7:20-cv-65362-MCR-GRJ
   8801      50607   Mathew Garrison                          Kirkendall Dwyer LLP           7:20-cv-65367-MCR-GRJ
   8802      50609   Robert Bates                             Kirkendall Dwyer LLP           7:20-cv-65371-MCR-GRJ
   8803      50610   Michael Cooper                           Kirkendall Dwyer LLP           7:20-cv-65373-MCR-GRJ
   8804      50617   Antonio Serrano                          Kirkendall Dwyer LLP           7:20-cv-65385-MCR-GRJ
   8805      50618   Curkeena Campbell                        Kirkendall Dwyer LLP                                      7:20-cv-65387-MCR-GRJ
   8806      50619   Timothy Daugherty                        Kirkendall Dwyer LLP           7:20-cv-65389-MCR-GRJ
   8807      50620   Steven Glatfelter                        Kirkendall Dwyer LLP           7:20-cv-65391-MCR-GRJ
   8808      50623   Dale Merritt                             Kirkendall Dwyer LLP           7:20-cv-65398-MCR-GRJ
   8809      50626   Ben Caviness                             Kirkendall Dwyer LLP           7:20-cv-65404-MCR-GRJ
   8810      50627   Monica Bowman                            Kirkendall Dwyer LLP           7:20-cv-65406-MCR-GRJ
   8811      50628   Jeremiah Hess                            Kirkendall Dwyer LLP           7:20-cv-65408-MCR-GRJ
   8812      50631   Stephen Summitt                          Kirkendall Dwyer LLP           7:20-cv-65414-MCR-GRJ
   8813      50633   Paul Rawlins                             Kirkendall Dwyer LLP           7:20-cv-65418-MCR-GRJ
   8814      50635   Jason Steinkamp                          Kirkendall Dwyer LLP           7:20-cv-65422-MCR-GRJ
   8815      50639   Robert Legg                              Kirkendall Dwyer LLP                                      7:20-cv-65429-MCR-GRJ
   8816      50646   Patrick Robinson                         Kirkendall Dwyer LLP           7:20-cv-05097-MCR-GRJ
   8817      50651   Eulices Reyes-Vazquez                    Kirkendall Dwyer LLP           7:20-cv-65440-MCR-GRJ
   8818      50655   Benjamin Tello                           Kirkendall Dwyer LLP           7:20-cv-65444-MCR-GRJ
   8819      50662   Chetan Patel                             Kirkendall Dwyer LLP           7:20-cv-65451-MCR-GRJ
   8820      50665   Shane Spieker                            Kirkendall Dwyer LLP           7:20-cv-65454-MCR-GRJ
   8821      50675   Anthony Davis                            Kirkendall Dwyer LLP           7:20-cv-65463-MCR-GRJ
   8822      50676   Matthew Clark                            Kirkendall Dwyer LLP           7:20-cv-65464-MCR-GRJ
   8823      50681   Laura Lowery                             Kirkendall Dwyer LLP           7:20-cv-65468-MCR-GRJ
   8824      50682   Emerald Lesueur                          Kirkendall Dwyer LLP           7:20-cv-65469-MCR-GRJ
   8825      50684   Rita Mcgee                               Kirkendall Dwyer LLP           7:20-cv-65471-MCR-GRJ
   8826      50686   Jordan Branem                            Kirkendall Dwyer LLP                                      7:20-cv-65473-MCR-GRJ
   8827      50688   Luis Carrion-Junqui                      Kirkendall Dwyer LLP                                      7:20-cv-65475-MCR-GRJ
   8828      50689   Richard Krause                           Kirkendall Dwyer LLP                                      7:20-cv-65476-MCR-GRJ
   8829      50690   Samuel Walker                            Kirkendall Dwyer LLP                                      7:20-cv-65477-MCR-GRJ
   8830      50691   Ryon Miller                              Kirkendall Dwyer LLP           7:20-cv-65478-MCR-GRJ
   8831      50692   Amanda Hurst                             Kirkendall Dwyer LLP           7:20-cv-65479-MCR-GRJ
   8832      50693   Alex Spencer                             Kirkendall Dwyer LLP           7:20-cv-65480-MCR-GRJ
   8833      50697   Jeffery Wallace                          Kirkendall Dwyer LLP           7:20-cv-65484-MCR-GRJ




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   8834      50698   Christopher Stevens                      Kirkendall Dwyer LLP           7:20-cv-65485-MCR-GRJ
   8835      50701   Benjamin Gonzales                        Kirkendall Dwyer LLP           7:20-cv-65488-MCR-GRJ
   8836      50703   Valentin Loera                           Kirkendall Dwyer LLP           7:20-cv-65490-MCR-GRJ
   8837      50710   Stephen Moore                            Kirkendall Dwyer LLP           7:20-cv-65497-MCR-GRJ
   8838      50711   Ian Loudenback                           Kirkendall Dwyer LLP           7:20-cv-65498-MCR-GRJ
   8839      50712   Phillip Gossett                          Kirkendall Dwyer LLP           7:20-cv-65499-MCR-GRJ
   8840      50713   Lydia Morgenstern                        Kirkendall Dwyer LLP           7:20-cv-65500-MCR-GRJ
   8841      50717   Russell Boese                            Kirkendall Dwyer LLP           7:20-cv-65633-MCR-GRJ
   8842      50718   Michael Horkey                           Kirkendall Dwyer LLP                                      7:20-cv-65635-MCR-GRJ
   8843      50720   Andrew Costanzo                          Kirkendall Dwyer LLP           7:20-cv-65639-MCR-GRJ
   8844      50722   Darren Hutson                            Kirkendall Dwyer LLP           7:20-cv-65643-MCR-GRJ
   8845      50725   Thomas Moyer                             Kirkendall Dwyer LLP           7:20-cv-65649-MCR-GRJ
   8846      50727   Lamond Tookes                            Kirkendall Dwyer LLP           7:20-cv-65653-MCR-GRJ
   8847      50728   Omar Salazar                             Kirkendall Dwyer LLP           7:20-cv-65655-MCR-GRJ
   8848      50736   Eron Costley                             Kirkendall Dwyer LLP           7:20-cv-65671-MCR-GRJ
   8849      50739   Jared Hollingshead                       Kirkendall Dwyer LLP                                      7:20-cv-65676-MCR-GRJ
   8850      50742   Daniel Bailey                            Kirkendall Dwyer LLP           7:20-cv-65679-MCR-GRJ
   8851      50743   Martha Faga                              Kirkendall Dwyer LLP           7:20-cv-65680-MCR-GRJ
   8852      50745   John Snider                              Kirkendall Dwyer LLP                                      7:20-cv-65682-MCR-GRJ
   8853      50750   Daniel Smith                             Kirkendall Dwyer LLP           7:20-cv-65687-MCR-GRJ
   8854      50751   Joshua Mezick                            Kirkendall Dwyer LLP           7:20-cv-65688-MCR-GRJ
   8855      50758   Jason Smith                              Kirkendall Dwyer LLP                                      7:20-cv-65694-MCR-GRJ
   8856      50761   Clinton Bollinger                        Kirkendall Dwyer LLP           7:20-cv-65697-MCR-GRJ
   8857      50763   Abelardo Garcia                          Kirkendall Dwyer LLP           7:20-cv-65699-MCR-GRJ
   8858      50767   Riyah Joseph                             Kirkendall Dwyer LLP           7:20-cv-65703-MCR-GRJ
   8859      50768   Philip Browning                          Kirkendall Dwyer LLP                                      7:20-cv-65704-MCR-GRJ
   8860      50776   Justin Bagley                            Kirkendall Dwyer LLP           7:20-cv-65712-MCR-GRJ
   8861      50777   Brandon Redlich                          Kirkendall Dwyer LLP                                      7:20-cv-65713-MCR-GRJ
   8862      50779   Ronnie Green                             Kirkendall Dwyer LLP           7:20-cv-65715-MCR-GRJ
   8863      50782   Cody Hansen                              Kirkendall Dwyer LLP           7:20-cv-65718-MCR-GRJ
   8864      50783   Curtis Hayes                             Kirkendall Dwyer LLP           7:20-cv-65719-MCR-GRJ
   8865      50784   Kevin Rhoades                            Kirkendall Dwyer LLP           7:20-cv-65720-MCR-GRJ
   8866      50789   Aaron Godlewski                          Kirkendall Dwyer LLP           7:20-cv-65725-MCR-GRJ
   8867      50793   Christopher Meetin                       Kirkendall Dwyer LLP           7:20-cv-65729-MCR-GRJ
   8868      50797   James Hood                               Kirkendall Dwyer LLP           7:20-cv-65733-MCR-GRJ
   8869      50801   Jesse Christensen                        Kirkendall Dwyer LLP           7:20-cv-65739-MCR-GRJ
   8870      50802   Alexander Roman                          Kirkendall Dwyer LLP           7:20-cv-65741-MCR-GRJ
   8871      50806   Siavosh Salami                           Kirkendall Dwyer LLP                                      7:20-cv-65749-MCR-GRJ
   8872      50807   Michael Marrero                          Kirkendall Dwyer LLP           7:20-cv-65751-MCR-GRJ
   8873      50809   Jesse Clem                               Kirkendall Dwyer LLP           7:20-cv-65755-MCR-GRJ
   8874      50810   Bader Awadeh                             Kirkendall Dwyer LLP           7:20-cv-65757-MCR-GRJ
   8875      50811   Michael Crabtree                         Kirkendall Dwyer LLP           7:20-cv-65760-MCR-GRJ
   8876      50813   Randy Johnson                            Kirkendall Dwyer LLP                                      7:20-cv-65766-MCR-GRJ
   8877      50814   Takeisha Hoy-Moment                      Kirkendall Dwyer LLP           7:20-cv-65768-MCR-GRJ
   8878      50816   Juan Campos                              Kirkendall Dwyer LLP           7:20-cv-65774-MCR-GRJ
   8879      50817   Shaun Clarkson                           Kirkendall Dwyer LLP           7:20-cv-05099-MCR-GRJ
   8880      50818   Cherrielyn Filozof                       Kirkendall Dwyer LLP                                      7:20-cv-65777-MCR-GRJ
   8881      50820   Teresa Biehn                             Kirkendall Dwyer LLP                                      7:20-cv-65782-MCR-GRJ
   8882      50824   Taylor Williamson                        Kirkendall Dwyer LLP           7:20-cv-65794-MCR-GRJ
   8883      50825   David Gomez                              Kirkendall Dwyer LLP           7:20-cv-65796-MCR-GRJ
   8884      50826   Adam Prentice                            Kirkendall Dwyer LLP           7:20-cv-65799-MCR-GRJ
   8885      50827   Bryan Miller                             Kirkendall Dwyer LLP           7:20-cv-65802-MCR-GRJ
   8886      50831   Matthew Houston                          Kirkendall Dwyer LLP                                      7:20-cv-65813-MCR-GRJ
   8887      50832   Roger Sincerbeaux                        Kirkendall Dwyer LLP           7:20-cv-65816-MCR-GRJ
   8888      50833   James Vuu                                Kirkendall Dwyer LLP           7:20-cv-65819-MCR-GRJ
   8889      50834   Jose Paredes                             Kirkendall Dwyer LLP           7:20-cv-65822-MCR-GRJ
   8890      50835   Mark Negrette                            Kirkendall Dwyer LLP           7:20-cv-65824-MCR-GRJ
   8891      50836   Tyler Velasquez                          Kirkendall Dwyer LLP           7:20-cv-65827-MCR-GRJ
   8892      50837   Joshua Doiron                            Kirkendall Dwyer LLP           7:20-cv-65830-MCR-GRJ
   8893      50838   Andrew Beltran                           Kirkendall Dwyer LLP           7:20-cv-65833-MCR-GRJ
   8894      50844   Justin Ellis                             Kirkendall Dwyer LLP           7:20-cv-65851-MCR-GRJ
   8895      50846   Lance Johnson                            Kirkendall Dwyer LLP                                      7:20-cv-65857-MCR-GRJ
   8896      50849   Antonio Morales                          Kirkendall Dwyer LLP           7:20-cv-65865-MCR-GRJ
   8897      50853   Brent Rezabek                            Kirkendall Dwyer LLP           7:20-cv-65876-MCR-GRJ
   8898      50854   Ian Carey                                Kirkendall Dwyer LLP           7:20-cv-65879-MCR-GRJ
   8899      50855   Robert Reed                              Kirkendall Dwyer LLP           7:20-cv-65882-MCR-GRJ
   8900      50856   Brian Duffee                             Kirkendall Dwyer LLP           7:20-cv-65885-MCR-GRJ
   8901      50857   Christine Warren                         Kirkendall Dwyer LLP           7:20-cv-65887-MCR-GRJ
   8902      50860   Mike Hagan                               Kirkendall Dwyer LLP           7:20-cv-65896-MCR-GRJ
   8903      50867   Jordan Knight                            Kirkendall Dwyer LLP           7:20-cv-65913-MCR-GRJ
   8904      50868   Jacob Prochaska                          Kirkendall Dwyer LLP           7:20-cv-65915-MCR-GRJ
   8905      50873   Rebecca Williamson                       Kirkendall Dwyer LLP           7:20-cv-65927-MCR-GRJ
   8906      50876   John Lei                                 Kirkendall Dwyer LLP           7:20-cv-65935-MCR-GRJ




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   Row        PID                             Name                                   Firm   Admin Docket Case Number   Active Docket Case Number
   8907      50877   Jonah Saesan                             Kirkendall Dwyer LLP                                      7:20-cv-65938-MCR-GRJ
   8908      50878   Alejandro Martinez                       Kirkendall Dwyer LLP                                      7:20-cv-65941-MCR-GRJ
   8909      50879   Michael Jarvis                           Kirkendall Dwyer LLP                                      7:20-cv-65944-MCR-GRJ
   8910      50880   Shawn Christensen                        Kirkendall Dwyer LLP           7:20-cv-65946-MCR-GRJ
   8911      50887   Kenneth Gajda                            Kirkendall Dwyer LLP                                      7:20-cv-65966-MCR-GRJ
   8912      50890   Andrew Campese                           Kirkendall Dwyer LLP           7:20-cv-65975-MCR-GRJ
   8913      50894   George Peirce                            Kirkendall Dwyer LLP           7:20-cv-65986-MCR-GRJ
   8914      50895   Justin Vangundy                          Kirkendall Dwyer LLP           7:20-cv-65989-MCR-GRJ
   8915      50896   Timothy Ellsworth                        Kirkendall Dwyer LLP           7:20-cv-65992-MCR-GRJ
   8916      50897   Mike Fowler                              Kirkendall Dwyer LLP           7:20-cv-65996-MCR-GRJ
   8917      50898   Samuel Alarcon                           Kirkendall Dwyer LLP           7:20-cv-65998-MCR-GRJ
   8918      50899   Stephen Wolfe                            Kirkendall Dwyer LLP           7:20-cv-66002-MCR-GRJ
   8919      50900   Jason Mace                               Kirkendall Dwyer LLP                                      7:20-cv-66006-MCR-GRJ
   8920      50901   Clark Shedden                            Kirkendall Dwyer LLP           7:20-cv-66010-MCR-GRJ
   8921      50902   Matthew Vargas                           Kirkendall Dwyer LLP           7:20-cv-66013-MCR-GRJ
   8922      50906   Roky Fernandez                           Kirkendall Dwyer LLP           7:20-cv-66028-MCR-GRJ
   8923      50907   Shane Trefftzs                           Kirkendall Dwyer LLP                                      7:20-cv-66031-MCR-GRJ
   8924      50911   Jeffery Rachunek                         Kirkendall Dwyer LLP                                      7:20-cv-66045-MCR-GRJ
   8925      50914   Cody Krenz                               Kirkendall Dwyer LLP           7:20-cv-66056-MCR-GRJ
   8926      50915   Caleb Dutton                             Kirkendall Dwyer LLP           7:20-cv-66060-MCR-GRJ
   8927      50922   Timothy Kaufmann                         Kirkendall Dwyer LLP           7:20-cv-66086-MCR-GRJ
   8928      50924   Christopher Ottersbach                   Kirkendall Dwyer LLP           7:20-cv-66093-MCR-GRJ
   8929      50926   Erik Guerrero                            Kirkendall Dwyer LLP           7:20-cv-66100-MCR-GRJ
   8930      50932   Lewis Kim                                Kirkendall Dwyer LLP           7:20-cv-66123-MCR-GRJ
   8931      50933   Demetrius Duncan                         Kirkendall Dwyer LLP           7:20-cv-66126-MCR-GRJ
   8932      50936   Leroy Brown                              Kirkendall Dwyer LLP           7:20-cv-66137-MCR-GRJ
   8933      50937   Nelson Baltzo                            Kirkendall Dwyer LLP           7:20-cv-66140-MCR-GRJ
   8934      50939   Benjamin Kilar                           Kirkendall Dwyer LLP           7:20-cv-66148-MCR-GRJ
   8935      50940   David Thieret                            Kirkendall Dwyer LLP           7:20-cv-66151-MCR-GRJ
   8936      50943   Scott Craig                              Kirkendall Dwyer LLP           7:20-cv-66163-MCR-GRJ
   8937      50945   Jedediah Zampedri                        Kirkendall Dwyer LLP           7:20-cv-66172-MCR-GRJ
   8938      50946   Tiffany Schemmel                         Kirkendall Dwyer LLP           7:20-cv-66177-MCR-GRJ
   8939      50947   Devin Jackson                            Kirkendall Dwyer LLP           7:20-cv-66181-MCR-GRJ
   8940      50949   Tyler Holmes                             Kirkendall Dwyer LLP           7:20-cv-66191-MCR-GRJ
   8941      50955   Brandon Hawks                            Kirkendall Dwyer LLP                                      7:20-cv-66217-MCR-GRJ
   8942      50956   Jared Hathaway                           Kirkendall Dwyer LLP                                      7:20-cv-66222-MCR-GRJ
   8943      50958   Angel Ramirez                            Kirkendall Dwyer LLP           7:20-cv-66232-MCR-GRJ
   8944      50961   Benjamin Renaud                          Kirkendall Dwyer LLP           7:20-cv-66245-MCR-GRJ
   8945      50963   Michael Smith                            Kirkendall Dwyer LLP           7:20-cv-66255-MCR-GRJ
   8946      50966   Jacob Daigle                             Kirkendall Dwyer LLP           7:20-cv-66268-MCR-GRJ
   8947      50967   Quentin Jackson                          Kirkendall Dwyer LLP           7:20-cv-66274-MCR-GRJ
   8948      50969   Darren Klosowsky                         Kirkendall Dwyer LLP           7:20-cv-66280-MCR-GRJ
   8949      50970   Jonathan Liakos                          Kirkendall Dwyer LLP           7:20-cv-66285-MCR-GRJ
   8950      50972   Donald Hura                              Kirkendall Dwyer LLP                                      7:20-cv-66270-MCR-GRJ
   8951      50973   Robert Nichols                           Kirkendall Dwyer LLP           7:20-cv-66275-MCR-GRJ
   8952      50975   Robert Halley                            Kirkendall Dwyer LLP           7:20-cv-66287-MCR-GRJ
   8953      50976   Bradley Johnson                          Kirkendall Dwyer LLP           7:20-cv-66292-MCR-GRJ
   8954      50977   Elizabeth Reiber                         Kirkendall Dwyer LLP                                      7:20-cv-66296-MCR-GRJ
   8955      50978   Curtis Lewis                             Kirkendall Dwyer LLP                                      7:20-cv-66301-MCR-GRJ
   8956      50980   Michael Confer                           Kirkendall Dwyer LLP                                      7:20-cv-66310-MCR-GRJ
   8957      50985   Calvin Witcher                           Kirkendall Dwyer LLP                                      7:20-cv-66332-MCR-GRJ
   8958      50986   Jonathan Uribe                           Kirkendall Dwyer LLP           7:20-cv-66337-MCR-GRJ
   8959      50987   Shaylene Luke                            Kirkendall Dwyer LLP           7:20-cv-66342-MCR-GRJ
   8960      50989   Justin Sweet                             Kirkendall Dwyer LLP           7:20-cv-66349-MCR-GRJ
   8961      50994   Dexter Hocutt                            Kirkendall Dwyer LLP           7:20-cv-66371-MCR-GRJ
   8962      50995   Ryan Smith                               Kirkendall Dwyer LLP           7:20-cv-66375-MCR-GRJ
   8963      50997   Bradley Dedeaux                          Kirkendall Dwyer LLP           7:20-cv-66384-MCR-GRJ
   8964      50998   Joseph Herrera                           Kirkendall Dwyer LLP           7:20-cv-66389-MCR-GRJ
   8965      51003   David Vines                              Kirkendall Dwyer LLP           7:20-cv-66412-MCR-GRJ
   8966      51005   Robert Hall                              Kirkendall Dwyer LLP           7:20-cv-66421-MCR-GRJ
   8967      51006   Juan Carrillo                            Kirkendall Dwyer LLP           7:20-cv-66424-MCR-GRJ
   8968      51007   Lesha Self                               Kirkendall Dwyer LLP           7:20-cv-66427-MCR-GRJ
   8969      51009   Kevin Mcclimans                          Kirkendall Dwyer LLP           7:20-cv-66434-MCR-GRJ
   8970      51013   Jeremy Janke                             Kirkendall Dwyer LLP           7:20-cv-66449-MCR-GRJ
   8971      51018   Korey Newman                             Kirkendall Dwyer LLP           7:20-cv-66468-MCR-GRJ
   8972      51019   Charles Booker                           Kirkendall Dwyer LLP           7:20-cv-66472-MCR-GRJ
   8973      51020   Travis Ward                              Kirkendall Dwyer LLP           7:20-cv-66475-MCR-GRJ
   8974      51021   Jonathan Caldwell                        Kirkendall Dwyer LLP           7:20-cv-66479-MCR-GRJ
   8975      51022   Brandon Youngblood                       Kirkendall Dwyer LLP           7:20-cv-66483-MCR-GRJ
   8976      51026   Christopher Goin                         Kirkendall Dwyer LLP           7:20-cv-66498-MCR-GRJ
   8977      51027   Benjamin Baker                           Kirkendall Dwyer LLP           7:20-cv-66501-MCR-GRJ
   8978      51029   Patrick Jones                            Kirkendall Dwyer LLP           7:20-cv-66507-MCR-GRJ
   8979      51034   Philip Watkins                           Kirkendall Dwyer LLP                                      7:20-cv-66526-MCR-GRJ




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   8980      51035    Eric Friel                              Kirkendall Dwyer LLP           7:20-cv-66530-MCR-GRJ
   8981      51036    David Walls                             Kirkendall Dwyer LLP           7:20-cv-66534-MCR-GRJ
   8982      51038    Jordan Hill                             Kirkendall Dwyer LLP           7:20-cv-66541-MCR-GRJ
   8983      51040    Brett Joyce                             Kirkendall Dwyer LLP           7:20-cv-66549-MCR-GRJ
   8984      51041    Chad Vough                              Kirkendall Dwyer LLP           7:20-cv-66553-MCR-GRJ
   8985      51042    Joshua Turner                           Kirkendall Dwyer LLP           7:20-cv-66557-MCR-GRJ
   8986      51043    Bryan Osorio                            Kirkendall Dwyer LLP                                      7:20-cv-05100-MCR-GRJ
   8987      51050    Joel Cooper                             Kirkendall Dwyer LLP                                      7:20-cv-66581-MCR-GRJ
   8988      51052    Thomas Schooler                         Kirkendall Dwyer LLP           7:20-cv-66589-MCR-GRJ
   8989      51054    Summer Jones                            Kirkendall Dwyer LLP           7:20-cv-66597-MCR-GRJ
   8990      51058    Alexander Claudio                       Kirkendall Dwyer LLP           7:20-cv-66612-MCR-GRJ
   8991      51059    Justin Cutler                           Kirkendall Dwyer LLP           7:20-cv-66615-MCR-GRJ
   8992      51060    Cory Hibler                             Kirkendall Dwyer LLP                                      7:20-cv-66619-MCR-GRJ
   8993      51061    Tristan Morris                          Kirkendall Dwyer LLP           7:20-cv-66623-MCR-GRJ
   8994      51062    Kenton Weigelt                          Kirkendall Dwyer LLP                                      7:20-cv-66627-MCR-GRJ
   8995      51064    Alex Ahmann                             Kirkendall Dwyer LLP           7:20-cv-66634-MCR-GRJ
   8996      51065    Maragerita Greene                       Kirkendall Dwyer LLP           7:20-cv-66638-MCR-GRJ
   8997      51067    Christopher Dunham                      Kirkendall Dwyer LLP           7:20-cv-66645-MCR-GRJ
   8998      51068    Ryan Rhodes                             Kirkendall Dwyer LLP           7:20-cv-66648-MCR-GRJ
   8999      51073    Dustin Aubuchon                         Kirkendall Dwyer LLP                                      7:20-cv-66667-MCR-GRJ
   9000      51075    Logan West                              Kirkendall Dwyer LLP                                      7:20-cv-66674-MCR-GRJ
   9001      51077    Trashawn Davenport                      Kirkendall Dwyer LLP                                      7:20-cv-66681-MCR-GRJ
   9002      51078    Josh Martinez                           Kirkendall Dwyer LLP           7:20-cv-66685-MCR-GRJ
   9003      51079    Brett Callahan                          Kirkendall Dwyer LLP           7:20-cv-66688-MCR-GRJ
   9004      51085    Anthony Ochoa                           Kirkendall Dwyer LLP           7:20-cv-66706-MCR-GRJ
   9005      51088    Robert Gocinski                         Kirkendall Dwyer LLP           7:20-cv-66715-MCR-GRJ
   9006      51089    Joshua Uhlir                            Kirkendall Dwyer LLP           7:20-cv-66719-MCR-GRJ
   9007      51092    Rosemarie Varela                        Kirkendall Dwyer LLP           7:20-cv-66731-MCR-GRJ
   9008      51093    Brandon Pomeroy                         Kirkendall Dwyer LLP           7:20-cv-66735-MCR-GRJ
   9009      51095    Hershel Rhodes                          Kirkendall Dwyer LLP                                      7:20-cv-66743-MCR-GRJ
   9010      51097    Ryan Culley                             Kirkendall Dwyer LLP           7:20-cv-66747-MCR-GRJ
   9011      51099    Haley Goodwill                          Kirkendall Dwyer LLP           7:20-cv-66755-MCR-GRJ
   9012      51102    Jonathan Henriques                      Kirkendall Dwyer LLP                                      7:20-cv-66767-MCR-GRJ
   9013      51104    Mike Salzarulo                          Kirkendall Dwyer LLP           7:20-cv-66772-MCR-GRJ
   9014      51105    Christopher Mcginnis                    Kirkendall Dwyer LLP           7:20-cv-66776-MCR-GRJ
   9015      51109    Draven Scott                            Kirkendall Dwyer LLP           7:20-cv-66789-MCR-GRJ
   9016      51111    Jordan Contreras                        Kirkendall Dwyer LLP                                      7:20-cv-66795-MCR-GRJ
   9017      172743   Steven Shimer                           Kirkendall Dwyer LLP           7:20-cv-88865-MCR-GRJ
   9018      172756   Jesse Jenkins                           Kirkendall Dwyer LLP           7:20-cv-88867-MCR-GRJ
   9019      172761   James Martin                            Kirkendall Dwyer LLP           7:20-cv-88868-MCR-GRJ
   9020      172762   Kyle Hills                              Kirkendall Dwyer LLP           7:20-cv-88869-MCR-GRJ
   9021      172774   Timothy Hern                            Kirkendall Dwyer LLP                                      7:20-cv-88871-MCR-GRJ
   9022      172778   Joseph Hironaka                         Kirkendall Dwyer LLP           7:20-cv-88872-MCR-GRJ
   9023      230672   Albert Alexander                        Kirkendall Dwyer LLP           8:20-cv-68114-MCR-GRJ
   9024      230673   Alcee Tavarez                           Kirkendall Dwyer LLP                                      8:20-cv-68116-MCR-GRJ
   9025      230677   Andrew Taylor                           Kirkendall Dwyer LLP           8:20-cv-68124-MCR-GRJ
   9026      230678   Andrew Connolly                         Kirkendall Dwyer LLP           8:20-cv-68126-MCR-GRJ
   9027      230680   Angel Diaz Delgado                      Kirkendall Dwyer LLP           8:20-cv-68130-MCR-GRJ
   9028      230687   Artie Mackey                            Kirkendall Dwyer LLP           8:20-cv-68144-MCR-GRJ
   9029      230688   Arturo Haywood                          Kirkendall Dwyer LLP           8:20-cv-68146-MCR-GRJ
   9030      230692   Billy Hamilton                          Kirkendall Dwyer LLP                                      8:20-cv-68154-MCR-GRJ
   9031      230700   Bruce Zechman                           Kirkendall Dwyer LLP           8:20-cv-68169-MCR-GRJ
   9032      230701   Bryan Lopez                             Kirkendall Dwyer LLP                                      8:20-cv-68171-MCR-GRJ
   9033      230706   Charles Knight                          Kirkendall Dwyer LLP                                      8:20-cv-68181-MCR-GRJ
   9034      230708   Chris Lecompte                          Kirkendall Dwyer LLP           8:20-cv-68186-MCR-GRJ
   9035      230711   Christopher Courtney                    Kirkendall Dwyer LLP           8:20-cv-68193-MCR-GRJ
   9036      230712   Christopher Lewis                       Kirkendall Dwyer LLP           8:20-cv-68196-MCR-GRJ
   9037      230714   Christopher Croruth                     Kirkendall Dwyer LLP           8:20-cv-68201-MCR-GRJ
   9038      230716   Clarence Fontenot                       Kirkendall Dwyer LLP           8:20-cv-68207-MCR-GRJ
   9039      230719   Clint Reeder                            Kirkendall Dwyer LLP           8:20-cv-68216-MCR-GRJ
   9040      230721   Columbus Johnson                        Kirkendall Dwyer LLP                                      8:20-cv-68221-MCR-GRJ
   9041      230724   Craig Tutorow                           Kirkendall Dwyer LLP           8:20-cv-68229-MCR-GRJ
   9042      230725   Martin Curtis                           Kirkendall Dwyer LLP                                      8:20-cv-68232-MCR-GRJ
   9043      230729   Daniel Calderon                         Kirkendall Dwyer LLP           8:20-cv-68243-MCR-GRJ
   9044      230730   Daniel Galyk                            Kirkendall Dwyer LLP           8:20-cv-68246-MCR-GRJ
   9045      230731   Daniel Hutchens                         Kirkendall Dwyer LLP           8:20-cv-68249-MCR-GRJ
   9046      230732   Daniel Jeffrey                          Kirkendall Dwyer LLP           8:20-cv-68253-MCR-GRJ
   9047      230734   Daniel Stock                            Kirkendall Dwyer LLP           8:20-cv-68260-MCR-GRJ
   9048      230741   Dedrick Wilridge                        Kirkendall Dwyer LLP           8:20-cv-68286-MCR-GRJ
   9049      230745   Dennis Wales                            Kirkendall Dwyer LLP                                      8:20-cv-68300-MCR-GRJ
   9050      230746   Dennis West                             Kirkendall Dwyer LLP           8:20-cv-68304-MCR-GRJ
   9051      230747   Derek Fentonsayles                      Kirkendall Dwyer LLP                                      8:20-cv-68308-MCR-GRJ
   9052      230748   Derick Young                            Kirkendall Dwyer LLP           8:20-cv-68312-MCR-GRJ




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   9053      230750   Detrick Holmes                          Kirkendall Dwyer LLP           8:20-cv-68319-MCR-GRJ
   9054      230751   Devon Belle                             Kirkendall Dwyer LLP                                      8:20-cv-68323-MCR-GRJ
   9055      230753   Don Jamoles                             Kirkendall Dwyer LLP           8:20-cv-68331-MCR-GRJ
   9056      230755   Donald Huntsman                         Kirkendall Dwyer LLP           8:20-cv-68336-MCR-GRJ
   9057      230756   Douglas Davis                           Kirkendall Dwyer LLP                                      8:20-cv-68340-MCR-GRJ
   9058      230757   Douglas Howard                          Kirkendall Dwyer LLP           8:20-cv-68344-MCR-GRJ
   9059      230758   Dustin Tooker                           Kirkendall Dwyer LLP           8:20-cv-68348-MCR-GRJ
   9060      230759   Dwayne Belle                            Kirkendall Dwyer LLP                                      8:20-cv-68352-MCR-GRJ
   9061      230767   Elmer Allen                             Kirkendall Dwyer LLP                                      8:20-cv-68378-MCR-GRJ
   9062      230771   Erik Hastings                           Kirkendall Dwyer LLP           8:20-cv-68392-MCR-GRJ
   9063      230772   Ernest Armstrong                        Kirkendall Dwyer LLP           8:20-cv-68396-MCR-GRJ
   9064      230773   Ernest Calhoun                          Kirkendall Dwyer LLP           8:20-cv-68400-MCR-GRJ
   9065      230774   Esther Motes                            Kirkendall Dwyer LLP           8:20-cv-68403-MCR-GRJ
   9066      230782   Gabe Wiesman                            Kirkendall Dwyer LLP           8:20-cv-68433-MCR-GRJ
   9067      230783   Gabriel Beelen                          Kirkendall Dwyer LLP                                      8:20-cv-68437-MCR-GRJ
   9068      230789   Guy Galarza                             Kirkendall Dwyer LLP           8:20-cv-68457-MCR-GRJ
   9069      230792   Hector Figueroa                         Kirkendall Dwyer LLP                                      8:20-cv-68469-MCR-GRJ
   9070      230795   Ivan Caraballo                          Kirkendall Dwyer LLP                                      8:20-cv-68479-MCR-GRJ
   9071      230798   Jackson Greene                          Kirkendall Dwyer LLP           8:20-cv-68491-MCR-GRJ
   9072      230800   Jairo Valencia                          Kirkendall Dwyer LLP           8:20-cv-68497-MCR-GRJ
   9073      230801   Jamarcus Brown                          Kirkendall Dwyer LLP           8:20-cv-68500-MCR-GRJ
   9074      230802   Jamel Felix                             Kirkendall Dwyer LLP           8:20-cv-68503-MCR-GRJ
   9075      230803   James Luster                            Kirkendall Dwyer LLP           8:20-cv-68507-MCR-GRJ
   9076      230806   James Mcdonald                          Kirkendall Dwyer LLP                                      8:20-cv-68518-MCR-GRJ
   9077      230808   James Tillery                           Kirkendall Dwyer LLP           8:20-cv-68525-MCR-GRJ
   9078      230809   James Woods                             Kirkendall Dwyer LLP           8:20-cv-68526-MCR-GRJ
   9079      230810   Jason Bugger                            Kirkendall Dwyer LLP                                      8:20-cv-68528-MCR-GRJ
   9080      230812   Jason Honaker                           Kirkendall Dwyer LLP           8:20-cv-68533-MCR-GRJ
   9081      230814   Jeffrey Salmon                          Kirkendall Dwyer LLP           8:20-cv-68538-MCR-GRJ
   9082      230816   Jeremiah Francis                        Kirkendall Dwyer LLP           8:20-cv-68543-MCR-GRJ
   9083      230817   Jeremiah Mclaurine                      Kirkendall Dwyer LLP           8:20-cv-68545-MCR-GRJ
   9084      230821   Jimmy Walker                            Kirkendall Dwyer LLP           8:20-cv-68558-MCR-GRJ
   9085      230823   Joel Pederson                           Kirkendall Dwyer LLP           8:20-cv-68563-MCR-GRJ
   9086      230824   John Bradford                           Kirkendall Dwyer LLP           8:20-cv-68566-MCR-GRJ
   9087      230825   John Comer                              Kirkendall Dwyer LLP           8:20-cv-68569-MCR-GRJ
   9088      230827   John Hatfield                           Kirkendall Dwyer LLP           8:20-cv-68575-MCR-GRJ
   9089      230828   John Parker                             Kirkendall Dwyer LLP           8:20-cv-68577-MCR-GRJ
   9090      230830   Jon Denney                              Kirkendall Dwyer LLP           8:20-cv-68583-MCR-GRJ
   9091      230833   Jonathan Leno                           Kirkendall Dwyer LLP                                      8:20-cv-68592-MCR-GRJ
   9092      230835   Jordan Green                            Kirkendall Dwyer LLP           8:20-cv-68597-MCR-GRJ
   9093      230836   Jose Hernandez                          Kirkendall Dwyer LLP           8:20-cv-68600-MCR-GRJ
   9094      230838   Joseph Lynch                            Kirkendall Dwyer LLP           8:20-cv-68605-MCR-GRJ
   9095      230839   Joseph Newkirk                          Kirkendall Dwyer LLP           8:20-cv-68609-MCR-GRJ
   9096      230840   Joshua Linden                           Kirkendall Dwyer LLP           8:20-cv-68611-MCR-GRJ
   9097      230842   Joshua Roepke                           Kirkendall Dwyer LLP           8:20-cv-68616-MCR-GRJ
   9098      230844   Juan Iraola                             Kirkendall Dwyer LLP           8:20-cv-68622-MCR-GRJ
   9099      230845   Juan Moreiravelez                       Kirkendall Dwyer LLP           8:20-cv-68625-MCR-GRJ
   9100      230847   Juan Simental                           Kirkendall Dwyer LLP           8:20-cv-68630-MCR-GRJ
   9101      230850   Justin Trotman                          Kirkendall Dwyer LLP           8:20-cv-68639-MCR-GRJ
   9102      230851   Karon Benjamin                          Kirkendall Dwyer LLP           8:20-cv-68642-MCR-GRJ
   9103      230852   Keedale Foster                          Kirkendall Dwyer LLP           8:20-cv-68644-MCR-GRJ
   9104      230856   Kellyn Fry                              Kirkendall Dwyer LLP           8:20-cv-68656-MCR-GRJ
   9105      230857   Kenneth Craft                           Kirkendall Dwyer LLP                                      8:20-cv-68659-MCR-GRJ
   9106      230859   Kevin Jerman                            Kirkendall Dwyer LLP                                      8:20-cv-67762-MCR-GRJ
   9107      230860   Kevin Keller                            Kirkendall Dwyer LLP           8:20-cv-67765-MCR-GRJ
   9108      230861   Kevin Kinman                            Kirkendall Dwyer LLP           8:20-cv-67768-MCR-GRJ
   9109      230864   Kevin Webster                           Kirkendall Dwyer LLP                                      8:20-cv-67776-MCR-GRJ
   9110      230867   Kory Stewart                            Kirkendall Dwyer LLP           8:20-cv-67785-MCR-GRJ
   9111      230868   Kurt Trimas                             Kirkendall Dwyer LLP           8:20-cv-67787-MCR-GRJ
   9112      230869   Kyle Holdmann                           Kirkendall Dwyer LLP           8:20-cv-67790-MCR-GRJ
   9113      230870   Kyle Ward                               Kirkendall Dwyer LLP           8:20-cv-67793-MCR-GRJ
   9114      230871   Lane Connell                            Kirkendall Dwyer LLP           8:20-cv-67797-MCR-GRJ
   9115      230873   Laurence Williams                       Kirkendall Dwyer LLP           8:20-cv-67803-MCR-GRJ
   9116      230878   Manuel Tarango                          Kirkendall Dwyer LLP                                      8:20-cv-67817-MCR-GRJ
   9117      230879   Marc Erice                              Kirkendall Dwyer LLP           8:20-cv-67820-MCR-GRJ
   9118      230880   Marie Knezek                            Kirkendall Dwyer LLP           8:20-cv-67823-MCR-GRJ
   9119      230881   Mario Ibarra                            Kirkendall Dwyer LLP                                      8:20-cv-67826-MCR-GRJ
   9120      230882   Mark Davis                              Kirkendall Dwyer LLP           8:20-cv-67828-MCR-GRJ
   9121      230883   Mark Fitzpatrick                        Kirkendall Dwyer LLP                                      8:20-cv-67831-MCR-GRJ
   9122      230885   Mark Weathers                           Kirkendall Dwyer LLP           8:20-cv-67837-MCR-GRJ
   9123      230887   Matthew Wight                           Kirkendall Dwyer LLP           8:20-cv-67843-MCR-GRJ
   9124      230889   Maurice James                           Kirkendall Dwyer LLP           8:20-cv-67850-MCR-GRJ
   9125      230892   Michael Bennett                         Kirkendall Dwyer LLP           8:20-cv-67858-MCR-GRJ




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   Row        PID                             Name                                   Firm   Admin Docket Case Number   Active Docket Case Number
   9126      230894   Michael Butterworth                     Kirkendall Dwyer LLP           8:20-cv-67864-MCR-GRJ
   9127      230897   Michael Bornhouser                      Kirkendall Dwyer LLP           8:20-cv-67872-MCR-GRJ
   9128      230899   Michael Manley                          Kirkendall Dwyer LLP           8:20-cv-67878-MCR-GRJ
   9129      230901   Michael Petrofsky                       Kirkendall Dwyer LLP           8:20-cv-67884-MCR-GRJ
   9130      230903   Michael Cauley                          Kirkendall Dwyer LLP           8:20-cv-67889-MCR-GRJ
   9131      230907   Nathan Grothe                           Kirkendall Dwyer LLP           8:20-cv-67900-MCR-GRJ
   9132      230908   Nick Ferguson                           Kirkendall Dwyer LLP           8:20-cv-67902-MCR-GRJ
   9133      230911   Nicolas Wright                          Kirkendall Dwyer LLP           8:20-cv-67910-MCR-GRJ
   9134      230914   Omar Kimball                            Kirkendall Dwyer LLP           8:20-cv-67917-MCR-GRJ
   9135      230915   Patrick Rasler                          Kirkendall Dwyer LLP                                      8:20-cv-67919-MCR-GRJ
   9136      230917   Patrick Brown                           Kirkendall Dwyer LLP                                      8:20-cv-67924-MCR-GRJ
   9137      230920   Paul Nease                              Kirkendall Dwyer LLP           8:20-cv-67930-MCR-GRJ
   9138      230922   Paul Podhajecki                         Kirkendall Dwyer LLP           8:20-cv-67934-MCR-GRJ
   9139      230923   Paula Ortega                            Kirkendall Dwyer LLP                                      8:20-cv-67936-MCR-GRJ
   9140      230927   Ratavious Harps                         Kirkendall Dwyer LLP                                      8:20-cv-67942-MCR-GRJ
   9141      230928   Raul Vaiz                               Kirkendall Dwyer LLP           8:20-cv-67944-MCR-GRJ
   9142      230929   Raymond Barile                          Kirkendall Dwyer LLP                                      8:20-cv-67946-MCR-GRJ
   9143      230930   Raymond Murphy                          Kirkendall Dwyer LLP           8:20-cv-67948-MCR-GRJ
   9144      230931   Ricardo Victorino                       Kirkendall Dwyer LLP                                      8:20-cv-67950-MCR-GRJ
   9145      230932   Richard Augustine                       Kirkendall Dwyer LLP           8:20-cv-67952-MCR-GRJ
   9146      230935   Richard Kimbrell                        Kirkendall Dwyer LLP           8:20-cv-67959-MCR-GRJ
   9147      230936   Robert Adkins                           Kirkendall Dwyer LLP           8:20-cv-67961-MCR-GRJ
   9148      230941   Robert Kelley                           Kirkendall Dwyer LLP           8:20-cv-67971-MCR-GRJ
   9149      230943   Robert Rogers                           Kirkendall Dwyer LLP           8:20-cv-67975-MCR-GRJ
   9150      230944   Robert Rounds                           Kirkendall Dwyer LLP           8:20-cv-67978-MCR-GRJ
   9151      230946   Robert Watson                           Kirkendall Dwyer LLP           8:20-cv-67982-MCR-GRJ
   9152      230950   Rulx Vilfort                            Kirkendall Dwyer LLP           8:20-cv-67990-MCR-GRJ
   9153      230954   Ryan Wolfe                              Kirkendall Dwyer LLP           8:20-cv-67998-MCR-GRJ
   9154      230955   Sam Pitts                               Kirkendall Dwyer LLP           8:20-cv-68000-MCR-GRJ
   9155      230957   Scott Johnson                           Kirkendall Dwyer LLP           8:20-cv-68004-MCR-GRJ
   9156      230958   Scott Mayural                           Kirkendall Dwyer LLP           8:20-cv-68006-MCR-GRJ
   9157      230959   Sean Stretch                            Kirkendall Dwyer LLP           8:20-cv-68008-MCR-GRJ
   9158      230960   Sergio Martinez                         Kirkendall Dwyer LLP           8:20-cv-68010-MCR-GRJ
   9159      230962   Shannon Sports                          Kirkendall Dwyer LLP                                      8:20-cv-68014-MCR-GRJ
   9160      230969   Stephanie Cooper                        Kirkendall Dwyer LLP           8:20-cv-68029-MCR-GRJ
   9161      230971   Stephen Preston                         Kirkendall Dwyer LLP           8:20-cv-68033-MCR-GRJ
   9162      230972   Steven Waddell                          Kirkendall Dwyer LLP           8:20-cv-68035-MCR-GRJ
   9163      230973   Steven Jarrett                          Kirkendall Dwyer LLP           8:20-cv-68037-MCR-GRJ
   9164      230975   Steven Stanford                         Kirkendall Dwyer LLP           8:20-cv-68041-MCR-GRJ
   9165      230976   Stevie Ward                             Kirkendall Dwyer LLP           8:20-cv-68043-MCR-GRJ
   9166      230977   Stuart Grimm                            Kirkendall Dwyer LLP                                      8:20-cv-68045-MCR-GRJ
   9167      230978   Tamecka Miguel                          Kirkendall Dwyer LLP           8:20-cv-68047-MCR-GRJ
   9168      230980   Terry Austin                            Kirkendall Dwyer LLP                                      8:20-cv-68051-MCR-GRJ
   9169      230981   Terry Dobbins                           Kirkendall Dwyer LLP                                      8:20-cv-68053-MCR-GRJ
   9170      230983   Thomas Galvin                           Kirkendall Dwyer LLP                                      8:20-cv-68057-MCR-GRJ
   9171      230987   Thomas Richards                         Kirkendall Dwyer LLP           8:20-cv-68065-MCR-GRJ
   9172      230988   Tiffany Sam                             Kirkendall Dwyer LLP           8:20-cv-68067-MCR-GRJ
   9173      230991   Timothy Neven                           Kirkendall Dwyer LLP           8:20-cv-68073-MCR-GRJ
   9174      230992   Timothy Wallace                         Kirkendall Dwyer LLP           8:20-cv-68075-MCR-GRJ
   9175      230993   Todd O'Dell                             Kirkendall Dwyer LLP           8:20-cv-68078-MCR-GRJ
   9176      230996   Tristan Pettit                          Kirkendall Dwyer LLP           8:20-cv-68084-MCR-GRJ
   9177      231000   Wade Durant                             Kirkendall Dwyer LLP           8:20-cv-68092-MCR-GRJ
   9178      231001   Walker Marshall                         Kirkendall Dwyer LLP           8:20-cv-68094-MCR-GRJ
   9179      231003   Wayne Baker                             Kirkendall Dwyer LLP                                      8:20-cv-68098-MCR-GRJ
   9180      231004   Wayne Johnson                           Kirkendall Dwyer LLP           8:20-cv-68100-MCR-GRJ
   9181      231005   Wayne Perry                             Kirkendall Dwyer LLP           8:20-cv-68103-MCR-GRJ
   9182      231006   William Cameron                         Kirkendall Dwyer LLP           8:20-cv-68105-MCR-GRJ
   9183      231011   Zachery May                             Kirkendall Dwyer LLP           8:20-cv-68115-MCR-GRJ
   9184      237195   Aaron Sherwood                          Kirkendall Dwyer LLP           8:20-cv-81974-MCR-GRJ
   9185      237198   Adrian Manriquez                        Kirkendall Dwyer LLP                                      8:20-cv-81980-MCR-GRJ
   9186      237201   Alfredo Pacheco Perez                   Kirkendall Dwyer LLP           8:20-cv-81986-MCR-GRJ
   9187      237204   Anthony Cagno                           Kirkendall Dwyer LLP           8:20-cv-81992-MCR-GRJ
   9188      237206   Anthony Bajalia                         Kirkendall Dwyer LLP           8:20-cv-81996-MCR-GRJ
   9189      237207   Arthur Johnson                          Kirkendall Dwyer LLP           8:20-cv-81998-MCR-GRJ
   9190      237208   August Lewis                            Kirkendall Dwyer LLP           8:20-cv-82000-MCR-GRJ
   9191      237212   Brandon Kiss                            Kirkendall Dwyer LLP           8:20-cv-82009-MCR-GRJ
   9192      237214   Brian Hamil                             Kirkendall Dwyer LLP           8:20-cv-82013-MCR-GRJ
   9193      237215   Brian Dial                              Kirkendall Dwyer LLP           8:20-cv-82015-MCR-GRJ
   9194      237216   Bryant Keaton                           Kirkendall Dwyer LLP           8:20-cv-82017-MCR-GRJ
   9195      237218   Carl Jackson                            Kirkendall Dwyer LLP                                      8:20-cv-82021-MCR-GRJ
   9196      237219   Casey Christy                           Kirkendall Dwyer LLP           8:20-cv-82023-MCR-GRJ
   9197      237220   Casey Campbell                          Kirkendall Dwyer LLP           8:20-cv-82025-MCR-GRJ
   9198      237221   Chad Clark                              Kirkendall Dwyer LLP                                      8:20-cv-82026-MCR-GRJ




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   9199      237223   Chad Scroble                            Kirkendall Dwyer LLP           8:20-cv-82030-MCR-GRJ
   9200      237225   Clint Bevars                            Kirkendall Dwyer LLP           8:20-cv-82034-MCR-GRJ
   9201      237229   Daleco Mccoy                            Kirkendall Dwyer LLP                                      8:20-cv-82042-MCR-GRJ
   9202      237230   Dameon Skidmore                         Kirkendall Dwyer LLP                                      8:20-cv-82044-MCR-GRJ
   9203      237232   Daniel Martinez                         Kirkendall Dwyer LLP                                      8:20-cv-82048-MCR-GRJ
   9204      237235   Darrion Gabriel                         Kirkendall Dwyer LLP           8:20-cv-82055-MCR-GRJ
   9205      237237   David Wilcox                            Kirkendall Dwyer LLP           8:20-cv-82061-MCR-GRJ
   9206      237238   David Pickelhaupt                       Kirkendall Dwyer LLP           8:20-cv-82064-MCR-GRJ
   9207      237239   David Davila                            Kirkendall Dwyer LLP           8:20-cv-82066-MCR-GRJ
   9208      237240   Dawn Hao-Demotta                        Kirkendall Dwyer LLP           8:20-cv-82069-MCR-GRJ
   9209      237243   Dexter Natuel                           Kirkendall Dwyer LLP           8:20-cv-82078-MCR-GRJ
   9210      237244   Dominic Cantrell                        Kirkendall Dwyer LLP           8:20-cv-82080-MCR-GRJ
   9211      237247   Duane Keth                              Kirkendall Dwyer LLP           8:20-cv-82089-MCR-GRJ
   9212      237248   Dustin Cochart                          Kirkendall Dwyer LLP           8:20-cv-82092-MCR-GRJ
   9213      237249   Earnest Hale                            Kirkendall Dwyer LLP                                      8:20-cv-82094-MCR-GRJ
   9214      237250   Eddie Moreno                            Kirkendall Dwyer LLP                                      8:20-cv-82097-MCR-GRJ
   9215      237252   Elijah Smith                            Kirkendall Dwyer LLP                                      8:20-cv-82103-MCR-GRJ
   9216      237254   Emory Williams                          Kirkendall Dwyer LLP           8:20-cv-82106-MCR-GRJ
   9217      237257   Fletcher Walters                        Kirkendall Dwyer LLP           8:20-cv-82114-MCR-GRJ
   9218      237258   Frank Cunningham                        Kirkendall Dwyer LLP           8:20-cv-82117-MCR-GRJ
   9219      237261   Gary Melton                             Kirkendall Dwyer LLP           8:20-cv-82125-MCR-GRJ
   9220      237262   Gilbert Duran                           Kirkendall Dwyer LLP           8:20-cv-82128-MCR-GRJ
   9221      237263   Glenn Prather                           Kirkendall Dwyer LLP           8:20-cv-82130-MCR-GRJ
   9222      237264   Henry Cuthbertson                       Kirkendall Dwyer LLP                                      8:20-cv-82133-MCR-GRJ
   9223      237268   James Kilby                             Kirkendall Dwyer LLP           8:20-cv-82145-MCR-GRJ
   9224      237269   James Kelley                            Kirkendall Dwyer LLP           8:20-cv-82147-MCR-GRJ
   9225      237271   James Johnson                           Kirkendall Dwyer LLP           8:20-cv-82153-MCR-GRJ
   9226      237272   James Pope                              Kirkendall Dwyer LLP           8:20-cv-82156-MCR-GRJ
   9227      237275   James Thompson                          Kirkendall Dwyer LLP                                      8:20-cv-82164-MCR-GRJ
   9228      237277   Jason Marquis                           Kirkendall Dwyer LLP           8:20-cv-82169-MCR-GRJ
   9229      237278   Jason Oliver                            Kirkendall Dwyer LLP           8:20-cv-82171-MCR-GRJ
   9230      237279   Jeffrey Pushman                         Kirkendall Dwyer LLP           8:20-cv-82173-MCR-GRJ
   9231      237281   Jerry Wilkinson                         Kirkendall Dwyer LLP                                      8:20-cv-82176-MCR-GRJ
   9232      237284   Joe King                                Kirkendall Dwyer LLP                                      8:20-cv-82182-MCR-GRJ
   9233      237285   Joe Ono                                 Kirkendall Dwyer LLP           8:20-cv-82183-MCR-GRJ
   9234      237289   John Powers                             Kirkendall Dwyer LLP           8:20-cv-82190-MCR-GRJ
   9235      237290   John Davidson                           Kirkendall Dwyer LLP           8:20-cv-82192-MCR-GRJ
   9236      237291   John Posson                             Kirkendall Dwyer LLP           8:20-cv-82194-MCR-GRJ
   9237      237292   John Locey                              Kirkendall Dwyer LLP           8:20-cv-82195-MCR-GRJ
   9238      237297   Jonathan Avery                          Kirkendall Dwyer LLP           8:20-cv-82204-MCR-GRJ
   9239      237300   Josh Rickey                             Kirkendall Dwyer LLP           8:20-cv-82209-MCR-GRJ
   9240      237301   Joshua Allen                            Kirkendall Dwyer LLP           8:20-cv-82211-MCR-GRJ
   9241      237303   Joyclynn Saylor                         Kirkendall Dwyer LLP                                      8:20-cv-82215-MCR-GRJ
   9242      237306   Justin Mangham                          Kirkendall Dwyer LLP           8:20-cv-82218-MCR-GRJ
   9243      237307   Justin Mason                            Kirkendall Dwyer LLP           8:20-cv-82220-MCR-GRJ
   9244      237308   Justin Schoenenberger                   Kirkendall Dwyer LLP           8:20-cv-82222-MCR-GRJ
   9245      237309   Justin Mccullagh                        Kirkendall Dwyer LLP           8:20-cv-82224-MCR-GRJ
   9246      237310   Karl Stark                              Kirkendall Dwyer LLP           8:20-cv-82226-MCR-GRJ
   9247      237314   Kimberly Finch                          Kirkendall Dwyer LLP                                      8:20-cv-82233-MCR-GRJ
   9248      237316   Korey Cabral                            Kirkendall Dwyer LLP           8:20-cv-82237-MCR-GRJ
   9249      237317   Kue Vang                                Kirkendall Dwyer LLP                                      8:20-cv-82238-MCR-GRJ
   9250      237318   Kyle Franklin                           Kirkendall Dwyer LLP           8:20-cv-82240-MCR-GRJ
   9251      237321   Lahegry Sanchez                         Kirkendall Dwyer LLP           8:20-cv-82246-MCR-GRJ
   9252      237323   Larry Meeks                             Kirkendall Dwyer LLP                                      8:20-cv-82249-MCR-GRJ
   9253      237324   Lauren Messbarger                       Kirkendall Dwyer LLP           8:20-cv-82251-MCR-GRJ
   9254      237325   Lawrence Hoag                           Kirkendall Dwyer LLP                                      8:20-cv-82253-MCR-GRJ
   9255      237329   Marcus Colbert                          Kirkendall Dwyer LLP           8:20-cv-82260-MCR-GRJ
   9256      237330   Mark Leipold                            Kirkendall Dwyer LLP           8:20-cv-82261-MCR-GRJ
   9257      237331   Marshall Knowlton                       Kirkendall Dwyer LLP           8:20-cv-82263-MCR-GRJ
   9258      237334   Marvin Graham                           Kirkendall Dwyer LLP           8:20-cv-82268-MCR-GRJ
   9259      237335   Maryanna Dice                           Kirkendall Dwyer LLP           8:20-cv-82270-MCR-GRJ
   9260      237336   Mathew Felch                            Kirkendall Dwyer LLP           8:20-cv-82272-MCR-GRJ
   9261      237337   Matthew Goss                            Kirkendall Dwyer LLP                                      8:20-cv-82274-MCR-GRJ
   9262      237338   Matthew Parker                          Kirkendall Dwyer LLP           8:20-cv-82275-MCR-GRJ
   9263      237340   Michael Bunch                           Kirkendall Dwyer LLP                                      8:20-cv-82279-MCR-GRJ
   9264      237341   Michael Eliason                         Kirkendall Dwyer LLP           8:20-cv-82281-MCR-GRJ
   9265      237342   Michael Hagy                            Kirkendall Dwyer LLP           8:20-cv-82282-MCR-GRJ
   9266      237343   Michael Mcdonnell                       Kirkendall Dwyer LLP           8:20-cv-82284-MCR-GRJ
   9267      237344   Michael Mangosing                       Kirkendall Dwyer LLP           8:20-cv-82286-MCR-GRJ
   9268      237345   Mike Subia                              Kirkendall Dwyer LLP           8:20-cv-82287-MCR-GRJ
   9269      237346   Morgan Tucker                           Kirkendall Dwyer LLP           8:20-cv-82289-MCR-GRJ
   9270      237347   Natasha Sims                            Kirkendall Dwyer LLP           8:20-cv-82291-MCR-GRJ
   9271      237348   Nathan Walker                           Kirkendall Dwyer LLP           8:20-cv-82293-MCR-GRJ




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   Row        PID                            Name                                    Firm   Admin Docket Case Number   Active Docket Case Number
   9272      237349   Nathaniel Chandler                      Kirkendall Dwyer LLP                                      8:20-cv-82295-MCR-GRJ
   9273      237350   Noe Garcia                              Kirkendall Dwyer LLP           8:20-cv-82296-MCR-GRJ
   9274      237351   Orvis Nygaard                           Kirkendall Dwyer LLP           8:20-cv-82298-MCR-GRJ
   9275      237352   Patrick Shoemaker                       Kirkendall Dwyer LLP           8:20-cv-82300-MCR-GRJ
   9276      237353   Pete Holguin                            Kirkendall Dwyer LLP           8:20-cv-82302-MCR-GRJ
   9277      237355   Phillip Hickey                          Kirkendall Dwyer LLP           8:20-cv-82306-MCR-GRJ
   9278      237358   Reginal Remley                          Kirkendall Dwyer LLP                                      8:20-cv-82311-MCR-GRJ
   9279      237360   Richard Smith                           Kirkendall Dwyer LLP           8:20-cv-82315-MCR-GRJ
   9280      237361   Richard Goins                           Kirkendall Dwyer LLP           8:20-cv-82317-MCR-GRJ
   9281      237362   Richard Lander                          Kirkendall Dwyer LLP                                      8:20-cv-82319-MCR-GRJ
   9282      237364   Robert O'Bryant                         Kirkendall Dwyer LLP           8:20-cv-82322-MCR-GRJ
   9283      237367   Robert Poucher                          Kirkendall Dwyer LLP           8:20-cv-82327-MCR-GRJ
   9284      237368   Roberto Obregon                         Kirkendall Dwyer LLP           8:20-cv-82329-MCR-GRJ
   9285      237371   Rosalio Sosa                            Kirkendall Dwyer LLP           8:20-cv-82335-MCR-GRJ
   9286      237373   Roy Gray                                Kirkendall Dwyer LLP           8:20-cv-82338-MCR-GRJ
   9287      237374   Ryan Mcintosh                           Kirkendall Dwyer LLP                                      8:20-cv-82340-MCR-GRJ
   9288      237375   Samuel Glen                             Kirkendall Dwyer LLP           8:20-cv-82342-MCR-GRJ
   9289      237378   Sean Melzer                             Kirkendall Dwyer LLP           8:20-cv-82347-MCR-GRJ
   9290      237379   Shakezz Johnson                         Kirkendall Dwyer LLP           8:20-cv-82349-MCR-GRJ
   9291      237380   Shannon West                            Kirkendall Dwyer LLP                                      8:20-cv-82351-MCR-GRJ
   9292      237383   Tabitha Davis                           Kirkendall Dwyer LLP           8:20-cv-82356-MCR-GRJ
   9293      237385   Tenisha Floyd                           Kirkendall Dwyer LLP           8:20-cv-82360-MCR-GRJ
   9294      237386   Terrell Wright                          Kirkendall Dwyer LLP           8:20-cv-82361-MCR-GRJ
   9295      237387   Terry Breaman                           Kirkendall Dwyer LLP           8:20-cv-82363-MCR-GRJ
   9296      237388   Terry Fortune                           Kirkendall Dwyer LLP           8:20-cv-82365-MCR-GRJ
   9297      237389   Thomas Griffin                          Kirkendall Dwyer LLP           8:20-cv-82367-MCR-GRJ
   9298      237392   Timothy Stone                           Kirkendall Dwyer LLP                                      8:20-cv-82372-MCR-GRJ
   9299      237395   Victor Guerrieri                        Kirkendall Dwyer LLP           8:20-cv-82377-MCR-GRJ
   9300      237398   Wayne Hester                            Kirkendall Dwyer LLP           8:20-cv-82382-MCR-GRJ
   9301      237399   Wayne Williams                          Kirkendall Dwyer LLP           8:20-cv-82384-MCR-GRJ
   9302      237401   Wesley Prater                           Kirkendall Dwyer LLP                                      8:20-cv-82387-MCR-GRJ
   9303      237402   William Smith                           Kirkendall Dwyer LLP           8:20-cv-82389-MCR-GRJ
   9304      237403   William Smith                           Kirkendall Dwyer LLP           8:20-cv-82391-MCR-GRJ
   9305      237405   William Smith                           Kirkendall Dwyer LLP                                      8:20-cv-82394-MCR-GRJ
   9306      237407   William Preston                         Kirkendall Dwyer LLP                                      8:20-cv-82397-MCR-GRJ
   9307      237408   William Hays                            Kirkendall Dwyer LLP           8:20-cv-82399-MCR-GRJ
   9308      237409   William Schweikert                      Kirkendall Dwyer LLP           8:20-cv-82401-MCR-GRJ
   9309      237410   William Smith                           Kirkendall Dwyer LLP           8:20-cv-82403-MCR-GRJ
   9310      237411   William Gobble                          Kirkendall Dwyer LLP           8:20-cv-82404-MCR-GRJ
   9311      237413   William Joyce                           Kirkendall Dwyer LLP           8:20-cv-82408-MCR-GRJ
   9312      237416   William Garner                          Kirkendall Dwyer LLP           8:20-cv-82413-MCR-GRJ
   9313      237417   William Wright                          Kirkendall Dwyer LLP           8:20-cv-82415-MCR-GRJ
   9314      237423   Willie Watts                            Kirkendall Dwyer LLP           8:20-cv-82426-MCR-GRJ
   9315      237426   Wilton Stewart                          Kirkendall Dwyer LLP           8:20-cv-82431-MCR-GRJ
   9316      237427   Yacaira Valenzuela                      Kirkendall Dwyer LLP           8:20-cv-82433-MCR-GRJ
   9317      237428   Yahmeania Powell                        Kirkendall Dwyer LLP           8:20-cv-82434-MCR-GRJ
   9318      237429   Yancy Harris                            Kirkendall Dwyer LLP           8:20-cv-82436-MCR-GRJ
   9319      237430   Ying Zhang                              Kirkendall Dwyer LLP           8:20-cv-82438-MCR-GRJ
   9320      237431   Yolanda Millin                          Kirkendall Dwyer LLP           8:20-cv-82440-MCR-GRJ
   9321      237432   Yo'Mone Woody                           Kirkendall Dwyer LLP                                      8:20-cv-82442-MCR-GRJ
   9322      237434   Zacharie Andrewsmith                    Kirkendall Dwyer LLP           8:20-cv-82446-MCR-GRJ
   9323      237435   Zachary Mcintyre                        Kirkendall Dwyer LLP           8:20-cv-82448-MCR-GRJ
   9324      237436   Zachary Sayed                           Kirkendall Dwyer LLP           8:20-cv-82450-MCR-GRJ
   9325      237437   Zachary Warren                          Kirkendall Dwyer LLP           8:20-cv-82452-MCR-GRJ
   9326      237438   Zachary Slifka                          Kirkendall Dwyer LLP           8:20-cv-82454-MCR-GRJ
   9327      239781   Aaron Starkweather                      Kirkendall Dwyer LLP           8:20-cv-75424-MCR-GRJ
   9328      239782   Aaron Shipley                           Kirkendall Dwyer LLP           8:20-cv-75429-MCR-GRJ
   9329      239783   Adam Yazell                             Kirkendall Dwyer LLP           8:20-cv-75433-MCR-GRJ
   9330      239789   Alexander Stipe                         Kirkendall Dwyer LLP           8:20-cv-75460-MCR-GRJ
   9331      239790   Alexis Franks                           Kirkendall Dwyer LLP           8:20-cv-75465-MCR-GRJ
   9332      239794   Amanda Strain                           Kirkendall Dwyer LLP           8:20-cv-75483-MCR-GRJ
   9333      239796   Amari West                              Kirkendall Dwyer LLP           8:20-cv-75493-MCR-GRJ
   9334      239799   Andrae Gulley                           Kirkendall Dwyer LLP           8:20-cv-75507-MCR-GRJ
   9335      239800   Andre White                             Kirkendall Dwyer LLP           8:20-cv-75512-MCR-GRJ
   9336      239801   Andrew Carter                           Kirkendall Dwyer LLP           8:20-cv-75517-MCR-GRJ
   9337      239802   Andrew Stevens                          Kirkendall Dwyer LLP           8:20-cv-75521-MCR-GRJ
   9338      239803   Andrew Aiello                           Kirkendall Dwyer LLP           8:20-cv-75525-MCR-GRJ
   9339      239804   Angel Carrisoza                         Kirkendall Dwyer LLP                                      8:20-cv-75530-MCR-GRJ
   9340      239808   Anthony Callender                       Kirkendall Dwyer LLP           8:20-cv-75549-MCR-GRJ
   9341      239809   Arthur Martinez                         Kirkendall Dwyer LLP           8:20-cv-75554-MCR-GRJ
   9342      239810   Arthur Rivers                           Kirkendall Dwyer LLP           8:20-cv-75559-MCR-GRJ
   9343      239813   Barry Carroll                           Kirkendall Dwyer LLP           8:20-cv-75577-MCR-GRJ
   9344      239814   Billy Shanks                            Kirkendall Dwyer LLP           8:20-cv-75581-MCR-GRJ




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   Row        PID                           Name                                     Firm   Admin Docket Case Number   Active Docket Case Number
   9345      239817   Brad Persinger                          Kirkendall Dwyer LLP           8:20-cv-75599-MCR-GRJ
   9346      239818   Bradley Zumbragel                       Kirkendall Dwyer LLP                                      8:20-cv-75605-MCR-GRJ
   9347      239820   Bradley Ring                            Kirkendall Dwyer LLP                                      8:20-cv-75615-MCR-GRJ
   9348      239821   Brandon Smith                           Kirkendall Dwyer LLP                                      8:20-cv-75621-MCR-GRJ
   9349      239822   Brandon Adams                           Kirkendall Dwyer LLP           8:20-cv-75627-MCR-GRJ
   9350      239823   Brandon Pass                            Kirkendall Dwyer LLP           8:20-cv-75632-MCR-GRJ
   9351      239827   Brian Chestand                          Kirkendall Dwyer LLP           8:20-cv-75654-MCR-GRJ
   9352      239828   Brian Jones                             Kirkendall Dwyer LLP           8:20-cv-75659-MCR-GRJ
   9353      239829   Brian Daniels                           Kirkendall Dwyer LLP           8:20-cv-75665-MCR-GRJ
   9354      239830   Bruce Pinson                            Kirkendall Dwyer LLP                                      8:20-cv-75671-MCR-GRJ
   9355      239831   Bryan Harper                            Kirkendall Dwyer LLP                                      8:20-cv-75677-MCR-GRJ
   9356      239840   Casyne Mccall                           Kirkendall Dwyer LLP                                      8:20-cv-75726-MCR-GRJ
   9357      239841   Cecil Williams                          Kirkendall Dwyer LLP                                      8:20-cv-75731-MCR-GRJ
   9358      239844   Charles Odle                            Kirkendall Dwyer LLP           8:20-cv-75747-MCR-GRJ
   9359      239848   Charles Haughton                        Kirkendall Dwyer LLP           8:20-cv-75770-MCR-GRJ
   9360      239849   Charles Franklin                        Kirkendall Dwyer LLP           8:20-cv-75776-MCR-GRJ
   9361      239851   Charles Collier                         Kirkendall Dwyer LLP           8:20-cv-75787-MCR-GRJ
   9362      239853   Christine Cornejo                       Kirkendall Dwyer LLP           8:20-cv-75799-MCR-GRJ
   9363      239855   Christopher Harris                      Kirkendall Dwyer LLP                                      8:20-cv-75809-MCR-GRJ
   9364      239860   Christopher Clark                       Kirkendall Dwyer LLP           8:20-cv-75831-MCR-GRJ
   9365      239863   Christopher Elles                       Kirkendall Dwyer LLP           8:20-cv-75845-MCR-GRJ
   9366      239867   Clayton Rusoe                           Kirkendall Dwyer LLP           8:20-cv-75863-MCR-GRJ
   9367      239868   Clifton Johnson                         Kirkendall Dwyer LLP           8:20-cv-75868-MCR-GRJ
   9368      239869   Cody Adams                              Kirkendall Dwyer LLP           8:20-cv-75873-MCR-GRJ
   9369      239870   Cody Drook                              Kirkendall Dwyer LLP           8:20-cv-75877-MCR-GRJ
   9370      239871   Colt Rankin                             Kirkendall Dwyer LLP           8:20-cv-75881-MCR-GRJ
   9371      239873   Corey Offord                            Kirkendall Dwyer LLP           8:20-cv-75888-MCR-GRJ
   9372      239875   Corey Everidge                          Kirkendall Dwyer LLP           8:20-cv-75895-MCR-GRJ
   9373      239876   Cornealius Townsend                     Kirkendall Dwyer LLP           8:20-cv-75899-MCR-GRJ
   9374      239878   Daniel Lopez                            Kirkendall Dwyer LLP           8:20-cv-75906-MCR-GRJ
   9375      239879   Daniel Garcia                           Kirkendall Dwyer LLP           8:20-cv-75910-MCR-GRJ
   9376      239880   Daniel Krug                             Kirkendall Dwyer LLP                                      8:20-cv-75915-MCR-GRJ
   9377      239883   David Morgan                            Kirkendall Dwyer LLP           8:20-cv-75925-MCR-GRJ
   9378      239886   Derek Johnson                           Kirkendall Dwyer LLP           8:20-cv-75937-MCR-GRJ
   9379      239887   Devin Moser                             Kirkendall Dwyer LLP                                      8:20-cv-75941-MCR-GRJ
   9380      239889   Deyvi Salmeron                          Kirkendall Dwyer LLP           8:20-cv-75948-MCR-GRJ
   9381      239890   Dominique Wells                         Kirkendall Dwyer LLP           8:20-cv-75952-MCR-GRJ
   9382      239891   Donovan Finley                          Kirkendall Dwyer LLP           8:20-cv-75955-MCR-GRJ
   9383      239892   Douglas Struder                         Kirkendall Dwyer LLP           8:20-cv-75959-MCR-GRJ
   9384      239895   Earl Sanford                            Kirkendall Dwyer LLP           8:20-cv-75970-MCR-GRJ
   9385      239899   Eileen Coleman                          Kirkendall Dwyer LLP           8:20-cv-75985-MCR-GRJ
   9386      239900   Eisen Atuatasi                          Kirkendall Dwyer LLP           8:20-cv-75989-MCR-GRJ
   9387      239901   Elam Witt                               Kirkendall Dwyer LLP                                      8:20-cv-75993-MCR-GRJ
   9388      239902   Eli Saunderlin                          Kirkendall Dwyer LLP           8:20-cv-75996-MCR-GRJ
   9389      239903   Eliot Libby                             Kirkendall Dwyer LLP           8:20-cv-76001-MCR-GRJ
   9390      239909   Eric Shires                             Kirkendall Dwyer LLP           8:20-cv-76023-MCR-GRJ
   9391      239910   Erich Jochimsen                         Kirkendall Dwyer LLP           8:20-cv-76027-MCR-GRJ
   9392      239913   Frank Kane                              Kirkendall Dwyer LLP                                      8:20-cv-76035-MCR-GRJ
   9393      239916   Frederick Henderson                     Kirkendall Dwyer LLP           8:20-cv-76044-MCR-GRJ
   9394      239917   Gabriel Gobea                           Kirkendall Dwyer LLP           8:20-cv-76047-MCR-GRJ
   9395      239919   Geraldo Badell                          Kirkendall Dwyer LLP           8:20-cv-76053-MCR-GRJ
   9396      239922   Gregory Bryant                          Kirkendall Dwyer LLP           8:20-cv-76062-MCR-GRJ
   9397      239929   Hugh Gemmel                             Kirkendall Dwyer LLP           8:20-cv-76083-MCR-GRJ
   9398      239930   Irvin Maynor                            Kirkendall Dwyer LLP           8:20-cv-76086-MCR-GRJ
   9399      239934   Jacob Elliott                           Kirkendall Dwyer LLP                                      8:20-cv-76096-MCR-GRJ
   9400      239937   Jake Hurst                              Kirkendall Dwyer LLP           8:20-cv-76102-MCR-GRJ
   9401      239938   James Bandy                             Kirkendall Dwyer LLP           8:20-cv-76104-MCR-GRJ
   9402      239940   James Grissett                          Kirkendall Dwyer LLP           8:20-cv-76108-MCR-GRJ
   9403      239941   James Bienek                            Kirkendall Dwyer LLP           8:20-cv-76110-MCR-GRJ
   9404      239942   James Jones                             Kirkendall Dwyer LLP           8:20-cv-76112-MCR-GRJ
   9405      239943   James Portillo                          Kirkendall Dwyer LLP           8:20-cv-76114-MCR-GRJ
   9406      239946   Janice Trice                            Kirkendall Dwyer LLP           8:20-cv-76120-MCR-GRJ
   9407      239947   Jarvis Johnson                          Kirkendall Dwyer LLP           8:20-cv-76122-MCR-GRJ
   9408      239955   Jeffrey Warner                          Kirkendall Dwyer LLP                                      8:20-cv-76139-MCR-GRJ
   9409      239956   Jeffrey Swift                           Kirkendall Dwyer LLP           8:20-cv-76141-MCR-GRJ
   9410      239958   Jeffrey Skarupa                         Kirkendall Dwyer LLP           8:20-cv-76145-MCR-GRJ
   9411      239963   Jesse Lester                            Kirkendall Dwyer LLP           8:20-cv-76155-MCR-GRJ
   9412      239965   Jesus Miranda                           Kirkendall Dwyer LLP           8:20-cv-76159-MCR-GRJ
   9413      239971   John Buczinski                          Kirkendall Dwyer LLP           8:20-cv-76171-MCR-GRJ
   9414      239972   John Fleming                            Kirkendall Dwyer LLP           8:20-cv-76173-MCR-GRJ
   9415      239974   Johnathan Freeman                       Kirkendall Dwyer LLP           8:20-cv-76178-MCR-GRJ
   9416      239977   Jonathan Barnes                         Kirkendall Dwyer LLP           8:20-cv-76184-MCR-GRJ
   9417      239979   Jordan Maldonado                        Kirkendall Dwyer LLP           8:20-cv-76188-MCR-GRJ




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   9418      239983   Joseph Meaney                           Kirkendall Dwyer LLP           8:20-cv-76196-MCR-GRJ
   9419      239987   Joseph Lent                             Kirkendall Dwyer LLP           8:20-cv-76204-MCR-GRJ
   9420      239989   Joseph Mancini                          Kirkendall Dwyer LLP                                      8:20-cv-76208-MCR-GRJ
   9421      239990   Joshua Jones                            Kirkendall Dwyer LLP                                      8:20-cv-76210-MCR-GRJ
   9422      239994   Joshua Ivey                             Kirkendall Dwyer LLP           8:20-cv-76218-MCR-GRJ
   9423      239997   Justin Wright                           Kirkendall Dwyer LLP           8:20-cv-76224-MCR-GRJ
   9424      239998   Justin Clark                            Kirkendall Dwyer LLP                                      8:20-cv-76226-MCR-GRJ
   9425      239999   Justin Jackson                          Kirkendall Dwyer LLP           8:20-cv-76229-MCR-GRJ
   9426      240000   Justin Roberts                          Kirkendall Dwyer LLP           8:20-cv-76231-MCR-GRJ
   9427      240001   Kai Hyland                              Kirkendall Dwyer LLP           8:20-cv-76233-MCR-GRJ
   9428      240002   Kandis Mollring                         Kirkendall Dwyer LLP           8:20-cv-76235-MCR-GRJ
   9429      240005   Karol Perez                             Kirkendall Dwyer LLP           8:20-cv-76241-MCR-GRJ
   9430      240006   Kasey Graham                            Kirkendall Dwyer LLP                                      8:20-cv-76243-MCR-GRJ
   9431      240008   Kelvin Williams                         Kirkendall Dwyer LLP           8:20-cv-76247-MCR-GRJ
   9432      240014   Kevin Cox                               Kirkendall Dwyer LLP           8:20-cv-76259-MCR-GRJ
   9433      240016   Kody Johnson                            Kirkendall Dwyer LLP           8:20-cv-76263-MCR-GRJ
   9434      240018   Kristopher Allen                        Kirkendall Dwyer LLP           8:20-cv-76267-MCR-GRJ
   9435      240020   Kyle Landry                             Kirkendall Dwyer LLP           8:20-cv-76272-MCR-GRJ
   9436      240022   Larry Adkins                            Kirkendall Dwyer LLP           8:20-cv-76276-MCR-GRJ
   9437      240023   Latrice Smith                           Kirkendall Dwyer LLP           8:20-cv-76278-MCR-GRJ
   9438      240028   Lisa Price                              Kirkendall Dwyer LLP           8:20-cv-76288-MCR-GRJ
   9439      240030   Luis Cartagena                          Kirkendall Dwyer LLP           8:20-cv-76292-MCR-GRJ
   9440      240031   Michael Fuentes                         Kirkendall Dwyer LLP           8:20-cv-76294-MCR-GRJ
   9441      240032   Manuel Guzman                           Kirkendall Dwyer LLP           8:20-cv-76296-MCR-GRJ
   9442      240033   Manuel Cabading                         Kirkendall Dwyer LLP                                      8:20-cv-76298-MCR-GRJ
   9443      240038   Marlin Hogie                            Kirkendall Dwyer LLP           8:20-cv-76308-MCR-GRJ
   9444      240039   Martez Pames                            Kirkendall Dwyer LLP                                      8:20-cv-76310-MCR-GRJ
   9445      240040   Martin Miller                           Kirkendall Dwyer LLP           8:20-cv-76312-MCR-GRJ
   9446      240041   Marvin Johnson                          Kirkendall Dwyer LLP           8:20-cv-76314-MCR-GRJ
   9447      240042   Mary Miner                              Kirkendall Dwyer LLP           8:20-cv-76316-MCR-GRJ
   9448      240043   Matt Langner                            Kirkendall Dwyer LLP                                      8:20-cv-76318-MCR-GRJ
   9449      240046   Matthew Dixon                           Kirkendall Dwyer LLP           8:20-cv-76324-MCR-GRJ
   9450      240047   Matthew Mather                          Kirkendall Dwyer LLP                                      8:20-cv-76326-MCR-GRJ
   9451      240052   Michael Allen                           Kirkendall Dwyer LLP           8:20-cv-76337-MCR-GRJ
   9452      240055   Michael Torres                          Kirkendall Dwyer LLP                                      8:20-cv-76343-MCR-GRJ
   9453      240056   Michael Schultz                         Kirkendall Dwyer LLP           8:20-cv-76345-MCR-GRJ
   9454      240057   Michael Reed                            Kirkendall Dwyer LLP           8:20-cv-76347-MCR-GRJ
   9455      240059   Mike Collins                            Kirkendall Dwyer LLP                                      8:20-cv-76351-MCR-GRJ
   9456      240060   Mitchell Gum                            Kirkendall Dwyer LLP           8:20-cv-76353-MCR-GRJ
   9457      240061   Mohammed Samara                         Kirkendall Dwyer LLP           8:20-cv-76355-MCR-GRJ
   9458      240064   Natisha Pizzarro                        Kirkendall Dwyer LLP                                      8:20-cv-76361-MCR-GRJ
   9459      240066   Nicholas Tannenbaum                     Kirkendall Dwyer LLP                                      8:20-cv-76365-MCR-GRJ
   9460      240067   Nicholus Thomas                         Kirkendall Dwyer LLP           8:20-cv-76367-MCR-GRJ
   9461      240073   Pavel Grepl                             Kirkendall Dwyer LLP                                      8:20-cv-76379-MCR-GRJ
   9462      240075   Quency Seymore                          Kirkendall Dwyer LLP           8:20-cv-76384-MCR-GRJ
   9463      240076   Rachel Rougeau                          Kirkendall Dwyer LLP           8:20-cv-76386-MCR-GRJ
   9464      240077   Randall Jolley                          Kirkendall Dwyer LLP           8:20-cv-76388-MCR-GRJ
   9465      240080   Rene Venegas                            Kirkendall Dwyer LLP           8:20-cv-76394-MCR-GRJ
   9466      240081   Richard Simmons                         Kirkendall Dwyer LLP                                      8:20-cv-76396-MCR-GRJ
   9467      240088   Robert Martinez                         Kirkendall Dwyer LLP           8:20-cv-76410-MCR-GRJ
   9468      240093   Robert De Roziere                       Kirkendall Dwyer LLP           8:20-cv-76420-MCR-GRJ
   9469      240094   Robert Riddle                           Kirkendall Dwyer LLP           8:20-cv-76422-MCR-GRJ
   9470      240096   Robert Supplee                          Kirkendall Dwyer LLP           8:20-cv-76426-MCR-GRJ
   9471      240099   Rodriguez Wyatt                         Kirkendall Dwyer LLP           8:20-cv-76433-MCR-GRJ
   9472      240102   Ronald Dickenson                        Kirkendall Dwyer LLP           8:20-cv-76439-MCR-GRJ
   9473      240103   Ronald Piecuch                          Kirkendall Dwyer LLP           8:20-cv-76441-MCR-GRJ
   9474      240104   Ronald Tyree                            Kirkendall Dwyer LLP           8:20-cv-76443-MCR-GRJ
   9475      240106   Roy Hicks                               Kirkendall Dwyer LLP           8:20-cv-76447-MCR-GRJ
   9476      240107   Ryan Prescott                           Kirkendall Dwyer LLP           8:20-cv-76449-MCR-GRJ
   9477      240108   Ryan Dillard                            Kirkendall Dwyer LLP           8:20-cv-76451-MCR-GRJ
   9478      240111   Scott Rives                             Kirkendall Dwyer LLP           8:20-cv-76457-MCR-GRJ
   9479      240112   Scott Galloway                          Kirkendall Dwyer LLP           8:20-cv-76459-MCR-GRJ
   9480      240115   Seth Loftin                             Kirkendall Dwyer LLP           8:20-cv-76465-MCR-GRJ
   9481      240118   Shane Liley                             Kirkendall Dwyer LLP           8:20-cv-76471-MCR-GRJ
   9482      240119   Shanisha Brickhouse                     Kirkendall Dwyer LLP           8:20-cv-76473-MCR-GRJ
   9483      240121   Shelby Gray                             Kirkendall Dwyer LLP                                      8:20-cv-76477-MCR-GRJ
   9484      240123   Shernelle Mustin                        Kirkendall Dwyer LLP                                      8:20-cv-76481-MCR-GRJ
   9485      240124   Shon Trejo                              Kirkendall Dwyer LLP           8:20-cv-76483-MCR-GRJ
   9486      240127   Tavid Robinson                          Kirkendall Dwyer LLP           8:20-cv-76489-MCR-GRJ
   9487      240131   Thaddeus Spencer                        Kirkendall Dwyer LLP           8:20-cv-76498-MCR-GRJ
   9488      240132   Theresa Woodson                         Kirkendall Dwyer LLP           8:20-cv-76500-MCR-GRJ
   9489      240133   Thomas Lowe                             Kirkendall Dwyer LLP                                      8:20-cv-76502-MCR-GRJ
   9490      240134   Thomas Warren                           Kirkendall Dwyer LLP           8:20-cv-76504-MCR-GRJ




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   9491      240136   Tiawan Cleveland                        Kirkendall Dwyer LLP           8:20-cv-76508-MCR-GRJ
   9492      240138   Timothy Smith                           Kirkendall Dwyer LLP           8:20-cv-76512-MCR-GRJ
   9493      240139   Timothy Brooks                          Kirkendall Dwyer LLP           8:20-cv-76514-MCR-GRJ
   9494      240142   Travis Mccaffrey                        Kirkendall Dwyer LLP           8:20-cv-76520-MCR-GRJ
   9495      240144   Tron Brothers                           Kirkendall Dwyer LLP                                      8:20-cv-76524-MCR-GRJ
   9496      240146   Tyrell Walker                           Kirkendall Dwyer LLP           8:20-cv-76528-MCR-GRJ
   9497      240151   Victor Flores                           Kirkendall Dwyer LLP           8:20-cv-76538-MCR-GRJ
   9498      240155   Vincent Louis                           Kirkendall Dwyer LLP                                      8:20-cv-76547-MCR-GRJ
   9499      240160   Willie Thomas                           Kirkendall Dwyer LLP           8:20-cv-76557-MCR-GRJ
   9500      242024   Alberto Ajero                           Kirkendall Dwyer LLP           8:20-cv-90069-MCR-GRJ
   9501      242025   Alex Rodriguez                          Kirkendall Dwyer LLP           8:20-cv-90070-MCR-GRJ
   9502      242026   Derek Alexander                         Kirkendall Dwyer LLP                                      8:20-cv-90071-MCR-GRJ
   9503      242029   Derek Amos                              Kirkendall Dwyer LLP           8:20-cv-90074-MCR-GRJ
   9504      242032   Anthony Davin                           Kirkendall Dwyer LLP           8:20-cv-90077-MCR-GRJ
   9505      242033   Alexander Appleby                       Kirkendall Dwyer LLP           8:20-cv-90078-MCR-GRJ
   9506      242034   Dennis Ard                              Kirkendall Dwyer LLP           8:20-cv-90079-MCR-GRJ
   9507      242035   Derick Ashcraft                         Kirkendall Dwyer LLP           8:20-cv-90080-MCR-GRJ
   9508      242036   Tyler Atchison                          Kirkendall Dwyer LLP           8:20-cv-90081-MCR-GRJ
   9509      242040   Eugene Baker                            Kirkendall Dwyer LLP           8:20-cv-90085-MCR-GRJ
   9510      242044   America Basilio                         Kirkendall Dwyer LLP           8:20-cv-90089-MCR-GRJ
   9511      242045   Damon Batchelder                        Kirkendall Dwyer LLP           8:20-cv-90090-MCR-GRJ
   9512      242047   Jermaine Beason                         Kirkendall Dwyer LLP                                      8:20-cv-90092-MCR-GRJ
   9513      242057   Justin Bradbury                         Kirkendall Dwyer LLP                                      8:20-cv-90102-MCR-GRJ
   9514      242059   Antwan Broadaway                        Kirkendall Dwyer LLP           8:20-cv-90104-MCR-GRJ
   9515      242060   Ashley Brown                            Kirkendall Dwyer LLP           8:20-cv-90105-MCR-GRJ
   9516      242062   Rarland Bryant                          Kirkendall Dwyer LLP                                      8:20-cv-90107-MCR-GRJ
   9517      242068   Sergio Castro                           Kirkendall Dwyer LLP           8:20-cv-90113-MCR-GRJ
   9518      242070   Rusty Cogar                             Kirkendall Dwyer LLP           8:20-cv-90115-MCR-GRJ
   9519      242078   Ricardo Cruz                            Kirkendall Dwyer LLP           8:20-cv-90123-MCR-GRJ
   9520      242079   John Davenport                          Kirkendall Dwyer LLP           8:20-cv-90124-MCR-GRJ
   9521      242080   Rebecca Davis                           Kirkendall Dwyer LLP           8:20-cv-90125-MCR-GRJ
   9522      242082   Daniel Devey                            Kirkendall Dwyer LLP           8:20-cv-90127-MCR-GRJ
   9523      242083   Timothy Doak                            Kirkendall Dwyer LLP           8:20-cv-90128-MCR-GRJ
   9524      242084   Ryan Dostie                             Kirkendall Dwyer LLP           8:20-cv-90129-MCR-GRJ
   9525      242085   James Dunbar                            Kirkendall Dwyer LLP           8:20-cv-90130-MCR-GRJ
   9526      242090   Alfonso Evans                           Kirkendall Dwyer LLP           8:20-cv-90135-MCR-GRJ
   9527      242091   Lauifi Fa Apouli                        Kirkendall Dwyer LLP           8:20-cv-90136-MCR-GRJ
   9528      242093   Justin Feagin                           Kirkendall Dwyer LLP           8:20-cv-90138-MCR-GRJ
   9529      242095   Christopher Ferguson                    Kirkendall Dwyer LLP           8:20-cv-90140-MCR-GRJ
   9530      242096   Serlando Fielding                       Kirkendall Dwyer LLP           8:20-cv-90141-MCR-GRJ
   9531      242097   Don Fincher                             Kirkendall Dwyer LLP           8:20-cv-90142-MCR-GRJ
   9532      242098   Jordan Fisher                           Kirkendall Dwyer LLP           8:20-cv-90143-MCR-GRJ
   9533      242101   Christopher Foster                      Kirkendall Dwyer LLP           8:20-cv-90146-MCR-GRJ
   9534      242103   Ronessa Frederick                       Kirkendall Dwyer LLP           8:20-cv-90148-MCR-GRJ
   9535      242106   Angel Gallegos                          Kirkendall Dwyer LLP           8:20-cv-90151-MCR-GRJ
   9536      242109   Erondus Gardner                         Kirkendall Dwyer LLP                                      8:20-cv-90159-MCR-GRJ
   9537      242112   Cody George                             Kirkendall Dwyer LLP           8:20-cv-90162-MCR-GRJ
   9538      242113   Rebecca Goff                            Kirkendall Dwyer LLP           8:20-cv-90163-MCR-GRJ
   9539      242114   Emiliano Gonzales                       Kirkendall Dwyer LLP                                      8:20-cv-90164-MCR-GRJ
   9540      242115   Sonya Gonzalez                          Kirkendall Dwyer LLP           8:20-cv-90165-MCR-GRJ
   9541      242117   Austin Granger                          Kirkendall Dwyer LLP                                      8:20-cv-90167-MCR-GRJ
   9542      242121   Rodney Hammond                          Kirkendall Dwyer LLP           8:20-cv-90171-MCR-GRJ
   9543      242126   Joseph Henson                           Kirkendall Dwyer LLP           8:20-cv-90178-MCR-GRJ
   9544      242127   Wilbur Hinton                           Kirkendall Dwyer LLP                                      8:20-cv-90180-MCR-GRJ
   9545      242128   Joseph Holmes                           Kirkendall Dwyer LLP           8:20-cv-90182-MCR-GRJ
   9546      242129   Stewart Hopkins                         Kirkendall Dwyer LLP           8:20-cv-90183-MCR-GRJ
   9547      242132   Raymond Igou                            Kirkendall Dwyer LLP           8:20-cv-90188-MCR-GRJ
   9548      242133   Christopher Ingram                      Kirkendall Dwyer LLP                                      8:20-cv-90190-MCR-GRJ
   9549      242134   Miguel Inostroza                        Kirkendall Dwyer LLP           8:20-cv-90191-MCR-GRJ
   9550      242135   Darnell Irvin                           Kirkendall Dwyer LLP           8:20-cv-90193-MCR-GRJ
   9551      242136   Marcus Irvin                            Kirkendall Dwyer LLP           8:20-cv-90194-MCR-GRJ
   9552      242138   Dwayne Jackson                          Kirkendall Dwyer LLP           8:20-cv-90198-MCR-GRJ
   9553      242139   Andrew Jackson                          Kirkendall Dwyer LLP           8:20-cv-90199-MCR-GRJ
   9554      242146   Kirrah Johnson                          Kirkendall Dwyer LLP           8:20-cv-90211-MCR-GRJ
   9555      242150   Tyler Jones                             Kirkendall Dwyer LLP           8:20-cv-90217-MCR-GRJ
   9556      242151   Minnie Jones                            Kirkendall Dwyer LLP           8:20-cv-90219-MCR-GRJ
   9557      242154   Danielle Joseph                         Kirkendall Dwyer LLP           8:20-cv-90224-MCR-GRJ
   9558      242156   Ricky Kendall                           Kirkendall Dwyer LLP           8:20-cv-90227-MCR-GRJ
   9559      242160   Jordan King                             Kirkendall Dwyer LLP           8:20-cv-90233-MCR-GRJ
   9560      242164   Shawn Lamey                             Kirkendall Dwyer LLP           8:20-cv-90240-MCR-GRJ
   9561      242167   Brian Lee                               Kirkendall Dwyer LLP           8:20-cv-90245-MCR-GRJ
   9562      242170   Kenneth Lewis                           Kirkendall Dwyer LLP           8:20-cv-90250-MCR-GRJ
   9563      242171   Deiltarous Livingston                   Kirkendall Dwyer LLP           8:20-cv-90251-MCR-GRJ




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   9564      242174   Nicholas Lopez                          Kirkendall Dwyer LLP           8:20-cv-90256-MCR-GRJ
   9565      242175   Tyler Lyons                             Kirkendall Dwyer LLP           8:20-cv-90258-MCR-GRJ
   9566      242179   Jeremy Martin                           Kirkendall Dwyer LLP                                      8:20-cv-90264-MCR-GRJ
   9567      242180   Lawrence Martinez                       Kirkendall Dwyer LLP           8:20-cv-90266-MCR-GRJ
   9568      242183   Shekeitra Matthews                      Kirkendall Dwyer LLP           8:20-cv-90271-MCR-GRJ
   9569      242184   Shawnda Mayo                            Kirkendall Dwyer LLP           8:20-cv-90273-MCR-GRJ
   9570      242187   Berrie Mccormick                        Kirkendall Dwyer LLP                                      8:20-cv-90278-MCR-GRJ
   9571      242193   Stephanie Mcwilliams                    Kirkendall Dwyer LLP           8:20-cv-90287-MCR-GRJ
   9572      242195   Jacob Medina                            Kirkendall Dwyer LLP                                      8:20-cv-90290-MCR-GRJ
   9573      242202   Christopher Moorehead                   Kirkendall Dwyer LLP           8:20-cv-90302-MCR-GRJ
   9574      242203   Bryan Morales                           Kirkendall Dwyer LLP           8:20-cv-90304-MCR-GRJ
   9575      242204   Octavio Moreno                          Kirkendall Dwyer LLP           8:20-cv-90306-MCR-GRJ
   9576      242205   Joseph Morris                           Kirkendall Dwyer LLP                                      8:20-cv-90308-MCR-GRJ
   9577      242207   Adam Mounkes                            Kirkendall Dwyer LLP                                      8:20-cv-90311-MCR-GRJ
   9578      242208   Edward Mounts                           Kirkendall Dwyer LLP           8:20-cv-90313-MCR-GRJ
   9579      242210   Robert Mullis                           Kirkendall Dwyer LLP                                      8:20-cv-90316-MCR-GRJ
   9580      242211   James Munden                            Kirkendall Dwyer LLP                                      8:20-cv-90318-MCR-GRJ
   9581      242213   Steven Myrick                           Kirkendall Dwyer LLP                                      8:20-cv-90322-MCR-GRJ
   9582      242217   Jerald Noland                           Kirkendall Dwyer LLP           8:20-cv-90329-MCR-GRJ
   9583      242218   Tchito Nsougan                          Kirkendall Dwyer LLP           8:20-cv-90331-MCR-GRJ
   9584      242222   Michael Overman                         Kirkendall Dwyer LLP                                      8:20-cv-90338-MCR-GRJ
   9585      242225   Peace Stanton                           Kirkendall Dwyer LLP           8:20-cv-90343-MCR-GRJ
   9586      242226   Eduardo Peraza                          Kirkendall Dwyer LLP           8:20-cv-90345-MCR-GRJ
   9587      242227   Karol Perez                             Kirkendall Dwyer LLP           8:20-cv-90347-MCR-GRJ
   9588      242228   Sterlin Peterson                        Kirkendall Dwyer LLP                                      8:20-cv-90348-MCR-GRJ
   9589      242229   Kina Phillips                           Kirkendall Dwyer LLP                                      8:20-cv-90350-MCR-GRJ
   9590      242231   Markiese Pierce                         Kirkendall Dwyer LLP                                      8:20-cv-90354-MCR-GRJ
   9591      242235   Jaclyn Porto                            Kirkendall Dwyer LLP           8:20-cv-90361-MCR-GRJ
   9592      242238   Johnny Randlett                         Kirkendall Dwyer LLP           8:20-cv-90366-MCR-GRJ
   9593      242241   Douglas Richardson                      Kirkendall Dwyer LLP           8:20-cv-90371-MCR-GRJ
   9594      242243   Derek Ridley                            Kirkendall Dwyer LLP                                      8:20-cv-90374-MCR-GRJ
   9595      242247   Joseph Rosbury                          Kirkendall Dwyer LLP           8:20-cv-90380-MCR-GRJ
   9596      242248   Thomas Ross                             Kirkendall Dwyer LLP           8:20-cv-90382-MCR-GRJ
   9597      242249   Carlos Ruiz                             Kirkendall Dwyer LLP           8:20-cv-90384-MCR-GRJ
   9598      242253   Michael Sample                          Kirkendall Dwyer LLP           8:20-cv-90391-MCR-GRJ
   9599      242256   James Sapp                              Kirkendall Dwyer LLP           8:20-cv-90396-MCR-GRJ
   9600      242257   Gabriel Sauceda                         Kirkendall Dwyer LLP           8:20-cv-90398-MCR-GRJ
   9601      242261   Andrew Sharp                            Kirkendall Dwyer LLP                                      8:20-cv-90404-MCR-GRJ
   9602      242262   Gary Short                              Kirkendall Dwyer LLP           8:20-cv-90406-MCR-GRJ
   9603      242267   James Smith                             Kirkendall Dwyer LLP           8:20-cv-90416-MCR-GRJ
   9604      242270   Brandon Smith                           Kirkendall Dwyer LLP                                      8:20-cv-90421-MCR-GRJ
   9605      242273   Latravis Stone                          Kirkendall Dwyer LLP                                      8:20-cv-90426-MCR-GRJ
   9606      242276   Jenifer Stull                           Kirkendall Dwyer LLP           8:20-cv-90431-MCR-GRJ
   9607      242277   Michael Sweeney                         Kirkendall Dwyer LLP           8:20-cv-90433-MCR-GRJ
   9608      242278   Cory Tanner                             Kirkendall Dwyer LLP                                      8:20-cv-90435-MCR-GRJ
   9609      242281   Jacob Tarter                            Kirkendall Dwyer LLP                                      8:20-cv-90441-MCR-GRJ
   9610      242285   Demetrius Thurmon                       Kirkendall Dwyer LLP           8:20-cv-90447-MCR-GRJ
   9611      242286   Ryan Timpson                            Kirkendall Dwyer LLP           8:20-cv-90449-MCR-GRJ
   9612      242293   Francisco Vallerosario                  Kirkendall Dwyer LLP           8:20-cv-90461-MCR-GRJ
   9613      242294   Keith Van Auken                         Kirkendall Dwyer LLP           8:20-cv-90463-MCR-GRJ
   9614      242298   Tonya Vigil                             Kirkendall Dwyer LLP           8:20-cv-90470-MCR-GRJ
   9615      242302   Richard Walker                          Kirkendall Dwyer LLP           8:20-cv-90477-MCR-GRJ
   9616      242305   Cody Whitaker                           Kirkendall Dwyer LLP           8:20-cv-90482-MCR-GRJ
   9617      242306   Brandon White                           Kirkendall Dwyer LLP                                      8:20-cv-90483-MCR-GRJ
   9618      242308   Nasheem Whye                            Kirkendall Dwyer LLP           8:20-cv-90487-MCR-GRJ
   9619      242310   Jason Williams                          Kirkendall Dwyer LLP           8:20-cv-90490-MCR-GRJ
   9620      242311   Darwin Williams                         Kirkendall Dwyer LLP           8:20-cv-90492-MCR-GRJ
   9621      242312   Vallory Williams                        Kirkendall Dwyer LLP           8:20-cv-90494-MCR-GRJ
   9622      242313   Stephen Willmon                         Kirkendall Dwyer LLP           8:20-cv-90495-MCR-GRJ
   9623      242314   James Wilson                            Kirkendall Dwyer LLP           8:20-cv-90497-MCR-GRJ
   9624      242315   Lakethia Wilson                         Kirkendall Dwyer LLP           8:20-cv-90499-MCR-GRJ
   9625      242316   Lamont Wilson                           Kirkendall Dwyer LLP           8:20-cv-90500-MCR-GRJ
   9626      242317   Ronald Wolk                             Kirkendall Dwyer LLP                                      8:20-cv-90502-MCR-GRJ
   9627      242318   Tom Woods                               Kirkendall Dwyer LLP           8:20-cv-90504-MCR-GRJ
   9628      245927   Aaron Hawkins                           Kirkendall Dwyer LLP           8:20-cv-93404-MCR-GRJ
   9629      245929   Alex Robinson                           Kirkendall Dwyer LLP           8:20-cv-93409-MCR-GRJ
   9630      245931   Alexis Rodriguez                        Kirkendall Dwyer LLP           8:20-cv-93414-MCR-GRJ
   9631      245933   Alonso Buenrostro                       Kirkendall Dwyer LLP           8:20-cv-93418-MCR-GRJ
   9632      245934   Amber Holobaugh                         Kirkendall Dwyer LLP           8:20-cv-93420-MCR-GRJ
   9633      245936   Andrew Ayala                            Kirkendall Dwyer LLP           8:20-cv-93425-MCR-GRJ
   9634      245938   Andrew Paderes                          Kirkendall Dwyer LLP                                      8:20-cv-93430-MCR-GRJ
   9635      245941   Anthony Smith                           Kirkendall Dwyer LLP           8:20-cv-93437-MCR-GRJ
   9636      245943   Anthony Mckeever                        Kirkendall Dwyer LLP           8:20-cv-93441-MCR-GRJ




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   Row        PID                            Name                                    Firm   Admin Docket Case Number   Active Docket Case Number
   9637      245946   Arthur Lopez                            Kirkendall Dwyer LLP           8:20-cv-93448-MCR-GRJ
   9638      245947   Ashley Slark                            Kirkendall Dwyer LLP           8:20-cv-93450-MCR-GRJ
   9639      245948   Ashley Melendez                         Kirkendall Dwyer LLP           8:20-cv-93453-MCR-GRJ
   9640      245952   Benjamin Grosik                         Kirkendall Dwyer LLP           8:20-cv-93462-MCR-GRJ
   9641      245953   Brandon Everett                         Kirkendall Dwyer LLP           8:20-cv-93464-MCR-GRJ
   9642      245956   Brian Bucci                             Kirkendall Dwyer LLP                                      8:20-cv-93471-MCR-GRJ
   9643      245959   Calista Weaver                          Kirkendall Dwyer LLP           8:20-cv-93475-MCR-GRJ
   9644      245966   Charles Gruwell                         Kirkendall Dwyer LLP                                      8:20-cv-93482-MCR-GRJ
   9645      245967   Charles Snethen                         Kirkendall Dwyer LLP           8:20-cv-93483-MCR-GRJ
   9646      245968   Chistian Fountain                       Kirkendall Dwyer LLP           8:20-cv-93484-MCR-GRJ
   9647      245969   Christian Carvajal                      Kirkendall Dwyer LLP                                      8:20-cv-93485-MCR-GRJ
   9648      245970   Christopher Felipe                      Kirkendall Dwyer LLP           8:20-cv-93486-MCR-GRJ
   9649      245973   Colin Hallford                          Kirkendall Dwyer LLP           8:20-cv-93489-MCR-GRJ
   9650      245974   Constance Graham                        Kirkendall Dwyer LLP                                      8:20-cv-93490-MCR-GRJ
   9651      245979   Daniel Toler                            Kirkendall Dwyer LLP                                      8:20-cv-93495-MCR-GRJ
   9652      245980   Danielle Stepan                         Kirkendall Dwyer LLP                                      8:20-cv-93496-MCR-GRJ
   9653      245982   David Clark                             Kirkendall Dwyer LLP           8:20-cv-93498-MCR-GRJ
   9654      245984   David Goth                              Kirkendall Dwyer LLP           8:20-cv-93500-MCR-GRJ
   9655      245986   David Clark                             Kirkendall Dwyer LLP           8:20-cv-93502-MCR-GRJ
   9656      245987   David Stone                             Kirkendall Dwyer LLP                                      8:20-cv-93503-MCR-GRJ
   9657      245989   Dejuan Ridley                           Kirkendall Dwyer LLP                                      8:20-cv-93505-MCR-GRJ
   9658      245991   Deronn Littles                          Kirkendall Dwyer LLP                                      8:20-cv-93507-MCR-GRJ
   9659      245993   Diana Green                             Kirkendall Dwyer LLP           8:20-cv-93509-MCR-GRJ
   9660      245997   Donald Glardon                          Kirkendall Dwyer LLP           8:20-cv-93513-MCR-GRJ
   9661      245998   Donnie Friend                           Kirkendall Dwyer LLP                                      8:20-cv-93514-MCR-GRJ
   9662      246003   Eric Walker                             Kirkendall Dwyer LLP           8:20-cv-93521-MCR-GRJ
   9663      246005   Fabian Vasquez                          Kirkendall Dwyer LLP           8:20-cv-93523-MCR-GRJ
   9664      246010   Gabriel Longoria                        Kirkendall Dwyer LLP           8:20-cv-93528-MCR-GRJ
   9665      246011   Gary Tuccitto                           Kirkendall Dwyer LLP           8:20-cv-93529-MCR-GRJ
   9666      246013   Glenn Van Swol                          Kirkendall Dwyer LLP           8:20-cv-93531-MCR-GRJ
   9667      246017   Henry Porter                            Kirkendall Dwyer LLP                                      8:20-cv-93535-MCR-GRJ
   9668      246025   James Vaughan                           Kirkendall Dwyer LLP           8:20-cv-93543-MCR-GRJ
   9669      246028   James Mincey                            Kirkendall Dwyer LLP           8:20-cv-93546-MCR-GRJ
   9670      246030   Jamespaul Sansom                        Kirkendall Dwyer LLP           8:20-cv-93548-MCR-GRJ
   9671      246033   Jason Yoki                              Kirkendall Dwyer LLP                                      8:20-cv-93551-MCR-GRJ
   9672      246034   Jason Carollo                           Kirkendall Dwyer LLP                                      8:20-cv-93552-MCR-GRJ
   9673      246040   Jesse Hubbard                           Kirkendall Dwyer LLP           8:20-cv-93558-MCR-GRJ
   9674      246044   John Stevens                            Kirkendall Dwyer LLP           8:20-cv-93562-MCR-GRJ
   9675      246048   Johnathan Burnett                       Kirkendall Dwyer LLP           8:20-cv-93566-MCR-GRJ
   9676      246049   Jon Echols                              Kirkendall Dwyer LLP           8:20-cv-93567-MCR-GRJ
   9677      246051   Jonathan Watson                         Kirkendall Dwyer LLP                                      8:20-cv-93569-MCR-GRJ
   9678      246052   Jonathan Reagin                         Kirkendall Dwyer LLP                                      8:20-cv-93570-MCR-GRJ
   9679      246054   Jordan Mckie                            Kirkendall Dwyer LLP                                      8:20-cv-93572-MCR-GRJ
   9680      246055   Jorge Moreno                            Kirkendall Dwyer LLP           8:20-cv-93573-MCR-GRJ
   9681      246057   Joseph Clay                             Kirkendall Dwyer LLP           8:20-cv-93575-MCR-GRJ
   9682      246058   Joseph Smith                            Kirkendall Dwyer LLP                                      8:20-cv-93576-MCR-GRJ
   9683      246062   Joshua Winland                          Kirkendall Dwyer LLP           8:20-cv-93580-MCR-GRJ
   9684      246065   Kelvin Drake                            Kirkendall Dwyer LLP                                      8:20-cv-93583-MCR-GRJ
   9685      246066   Kentrice Melvin                         Kirkendall Dwyer LLP           8:20-cv-93584-MCR-GRJ
   9686      246069   Kimberly Reeves                         Kirkendall Dwyer LLP           8:20-cv-93587-MCR-GRJ
   9687      246070   Kion Harris                             Kirkendall Dwyer LLP           8:20-cv-93588-MCR-GRJ
   9688      246072   Kurtis Guthrie                          Kirkendall Dwyer LLP           8:20-cv-93590-MCR-GRJ
   9689      246075   Larry Vincent                           Kirkendall Dwyer LLP           8:20-cv-93593-MCR-GRJ
   9690      246078   Lee Nelms                               Kirkendall Dwyer LLP           8:20-cv-93596-MCR-GRJ
   9691      246079   Leslie Foote                            Kirkendall Dwyer LLP                                      8:20-cv-93597-MCR-GRJ
   9692      246080   Leslie Coleman                          Kirkendall Dwyer LLP           8:20-cv-93598-MCR-GRJ
   9693      246081   Luis Rivera                             Kirkendall Dwyer LLP           8:20-cv-93599-MCR-GRJ
   9694      246083   Mark Milliner                           Kirkendall Dwyer LLP                                      8:20-cv-93601-MCR-GRJ
   9695      246084   Marvin White                            Kirkendall Dwyer LLP           8:20-cv-93602-MCR-GRJ
   9696      246086   Mary Peters                             Kirkendall Dwyer LLP           8:20-cv-93604-MCR-GRJ
   9697      246087   Matthew Chambers                        Kirkendall Dwyer LLP           8:20-cv-93605-MCR-GRJ
   9698      246088   Matthew Baumgartner                     Kirkendall Dwyer LLP           8:20-cv-93606-MCR-GRJ
   9699      246090   Matthew Brawner                         Kirkendall Dwyer LLP           8:20-cv-93608-MCR-GRJ
   9700      246091   Melvin Mcconico                         Kirkendall Dwyer LLP           8:20-cv-93609-MCR-GRJ
   9701      246092   Michael Glenn                           Kirkendall Dwyer LLP           8:20-cv-93610-MCR-GRJ
   9702      246093   Michael Echiverri                       Kirkendall Dwyer LLP           8:20-cv-93611-MCR-GRJ
   9703      246095   Michael Singleton                       Kirkendall Dwyer LLP           8:20-cv-93613-MCR-GRJ
   9704      246099   Mike Onofre                             Kirkendall Dwyer LLP           8:20-cv-93617-MCR-GRJ
   9705      246100   Nathan Wissner                          Kirkendall Dwyer LLP           8:20-cv-93618-MCR-GRJ
   9706      246103   Nicholas Quarantillo                    Kirkendall Dwyer LLP           8:20-cv-93621-MCR-GRJ
   9707      246104   Noe Villa                               Kirkendall Dwyer LLP                                      8:20-cv-93622-MCR-GRJ
   9708      246107   Patrick Totherow                        Kirkendall Dwyer LLP           8:20-cv-93625-MCR-GRJ
   9709      246108   Paul Campbell                           Kirkendall Dwyer LLP           8:20-cv-93643-MCR-GRJ




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   9710      246109   Paul Woods                              Kirkendall Dwyer LLP                                      8:20-cv-93645-MCR-GRJ
   9711      246110   Paul Jarrett                            Kirkendall Dwyer LLP           8:20-cv-93647-MCR-GRJ
   9712      246111   Pennie Smith                            Kirkendall Dwyer LLP           8:20-cv-93649-MCR-GRJ
   9713      246112   Phillip Henson                          Kirkendall Dwyer LLP                                      8:20-cv-93651-MCR-GRJ
   9714      246115   Preston Eatman                          Kirkendall Dwyer LLP           8:20-cv-93658-MCR-GRJ
   9715      246116   Quentin Cummings                        Kirkendall Dwyer LLP           8:20-cv-93660-MCR-GRJ
   9716      246118   Taylor Rarlow                           Kirkendall Dwyer LLP           8:20-cv-93664-MCR-GRJ
   9717      246119   Richard Wilkins                         Kirkendall Dwyer LLP           8:20-cv-93667-MCR-GRJ
   9718      246121   Ricky Floyd                             Kirkendall Dwyer LLP                                      8:20-cv-93671-MCR-GRJ
   9719      246124   Robert Campbell                         Kirkendall Dwyer LLP           8:20-cv-93678-MCR-GRJ
   9720      246126   Ryan Moorer                             Kirkendall Dwyer LLP                                      8:20-cv-93683-MCR-GRJ
   9721      246127   Samuel Ellison                          Kirkendall Dwyer LLP                                      8:20-cv-93685-MCR-GRJ
   9722      246128   Scott Gosnell                           Kirkendall Dwyer LLP                                      8:20-cv-93687-MCR-GRJ
   9723      246131   Shaquana Seabrooks                      Kirkendall Dwyer LLP           8:20-cv-93694-MCR-GRJ
   9724      246133   Stanley Nabors                          Kirkendall Dwyer LLP           8:20-cv-93698-MCR-GRJ
   9725      246135   Stephen Wilson                          Kirkendall Dwyer LLP           8:20-cv-93702-MCR-GRJ
   9726      246138   Steven Goodbear                         Kirkendall Dwyer LLP           8:20-cv-93709-MCR-GRJ
   9727      246139   Steven Knight                           Kirkendall Dwyer LLP           8:20-cv-93711-MCR-GRJ
   9728      246140   Stuart Hicken                           Kirkendall Dwyer LLP           8:20-cv-93714-MCR-GRJ
   9729      246141   Suzanne Smith                           Kirkendall Dwyer LLP                                      8:20-cv-93716-MCR-GRJ
   9730      246142   Tariq Alam                              Kirkendall Dwyer LLP                                      8:20-cv-93718-MCR-GRJ
   9731      246143   Tevin Winn                              Kirkendall Dwyer LLP           8:20-cv-93720-MCR-GRJ
   9732      246145   Thomas Garrard                          Kirkendall Dwyer LLP                                      8:20-cv-93724-MCR-GRJ
   9733      246148   Tim Campbell                            Kirkendall Dwyer LLP           8:20-cv-93731-MCR-GRJ
   9734      246150   Timothy Worlds                          Kirkendall Dwyer LLP           8:20-cv-93819-MCR-GRJ
   9735      246151   Timothy Trimble                         Kirkendall Dwyer LLP           8:20-cv-93821-MCR-GRJ
   9736      246154   Travis Watts                            Kirkendall Dwyer LLP           8:20-cv-93828-MCR-GRJ
   9737      246158   Vincent Reali                           Kirkendall Dwyer LLP           8:20-cv-93837-MCR-GRJ
   9738      246159   Vincent Daniel                          Kirkendall Dwyer LLP           8:20-cv-93839-MCR-GRJ
   9739      246163   William Contreras                       Kirkendall Dwyer LLP           7:21-cv-11582-MCR-GRJ
   9740      250333   Miguel Aguilera                         Kirkendall Dwyer LLP           8:20-cv-94970-MCR-GRJ
   9741      250334   Andrew Aguirre                          Kirkendall Dwyer LLP           8:20-cv-94971-MCR-GRJ
   9742      250335   Rolando Allen                           Kirkendall Dwyer LLP           8:20-cv-94972-MCR-GRJ
   9743      250337   Darrell Allen                           Kirkendall Dwyer LLP                                      8:20-cv-94974-MCR-GRJ
   9744      250340   John Amann                              Kirkendall Dwyer LLP           8:20-cv-94977-MCR-GRJ
   9745      250341   Cassie Anders                           Kirkendall Dwyer LLP           8:20-cv-94978-MCR-GRJ
   9746      250343   Chistopher Andrejak                     Kirkendall Dwyer LLP           8:20-cv-94980-MCR-GRJ
   9747      250345   Calvin Anglin                           Kirkendall Dwyer LLP           8:20-cv-94982-MCR-GRJ
   9748      250346   Bruce Archer                            Kirkendall Dwyer LLP           8:20-cv-94983-MCR-GRJ
   9749      250347   Jeremy Arnett                           Kirkendall Dwyer LLP                                      8:20-cv-94984-MCR-GRJ
   9750      250348   Mark Arritola                           Kirkendall Dwyer LLP                                      8:20-cv-94985-MCR-GRJ
   9751      250349   Richard Arroyo                          Kirkendall Dwyer LLP           8:20-cv-94986-MCR-GRJ
   9752      250352   Damion Bakkel                           Kirkendall Dwyer LLP           8:20-cv-94989-MCR-GRJ
   9753      250353   William Balcazar                        Kirkendall Dwyer LLP                                      8:20-cv-94990-MCR-GRJ
   9754      250354   Daniel Barlow                           Kirkendall Dwyer LLP           8:20-cv-94991-MCR-GRJ
   9755      250355   Brandon Bastasic                        Kirkendall Dwyer LLP           8:20-cv-94992-MCR-GRJ
   9756      250356   Brendan Beadle                          Kirkendall Dwyer LLP           8:20-cv-94993-MCR-GRJ
   9757      250360   Humberto Berber                         Kirkendall Dwyer LLP           8:20-cv-94997-MCR-GRJ
   9758      250361   Charles Bergendahl                      Kirkendall Dwyer LLP           8:20-cv-94998-MCR-GRJ
   9759      250362   Tim Berrien                             Kirkendall Dwyer LLP           8:20-cv-94999-MCR-GRJ
   9760      250363   Jose Bonilla                            Kirkendall Dwyer LLP           8:20-cv-95000-MCR-GRJ
   9761      250364   Erlon Bowie                             Kirkendall Dwyer LLP                                      8:20-cv-95001-MCR-GRJ
   9762      250372   John Brown                              Kirkendall Dwyer LLP           8:20-cv-95009-MCR-GRJ
   9763      250373   Alonzo Brown                            Kirkendall Dwyer LLP           8:20-cv-95010-MCR-GRJ
   9764      250374   James Buchanan                          Kirkendall Dwyer LLP           8:20-cv-95011-MCR-GRJ
   9765      250377   Loretta Calhoon                         Kirkendall Dwyer LLP           8:20-cv-95014-MCR-GRJ
   9766      250379   Esantis Callwood                        Kirkendall Dwyer LLP           8:20-cv-95016-MCR-GRJ
   9767      250382   Matthew Carneiro                        Kirkendall Dwyer LLP           8:20-cv-95019-MCR-GRJ
   9768      250383   Tasha Carr                              Kirkendall Dwyer LLP           8:20-cv-95020-MCR-GRJ
   9769      250385   Alex Carter                             Kirkendall Dwyer LLP           8:20-cv-95022-MCR-GRJ
   9770      250386   Brian Carter                            Kirkendall Dwyer LLP                                      8:20-cv-95023-MCR-GRJ
   9771      250387   Rodney Carvin                           Kirkendall Dwyer LLP                                      8:20-cv-95024-MCR-GRJ
   9772      250388   Johnny Casarez                          Kirkendall Dwyer LLP           8:20-cv-95025-MCR-GRJ
   9773      250391   James Chastain                          Kirkendall Dwyer LLP           8:20-cv-95028-MCR-GRJ
   9774      250394   Timothy Chima                           Kirkendall Dwyer LLP                                      8:20-cv-95031-MCR-GRJ
   9775      250395   Don Chisum                              Kirkendall Dwyer LLP           8:20-cv-95032-MCR-GRJ
   9776      250397   Arthur Clark                            Kirkendall Dwyer LLP           8:20-cv-95034-MCR-GRJ
   9777      250399   Brennen Cobb                            Kirkendall Dwyer LLP           8:20-cv-95036-MCR-GRJ
   9778      250400   Jeffery Collins                         Kirkendall Dwyer LLP           8:20-cv-95037-MCR-GRJ
   9779      250401   Andrew Collins                          Kirkendall Dwyer LLP           8:20-cv-95038-MCR-GRJ
   9780      250404   Lamar Connelly                          Kirkendall Dwyer LLP           8:20-cv-95041-MCR-GRJ
   9781      250405   Jared Conner                            Kirkendall Dwyer LLP                                      8:20-cv-95042-MCR-GRJ
   9782      250407   Chase Coonse                            Kirkendall Dwyer LLP           8:20-cv-95044-MCR-GRJ




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   Row        PID                            Name                                    Firm   Admin Docket Case Number   Active Docket Case Number
   9783      250409   Adam Corntassel                         Kirkendall Dwyer LLP                                      8:20-cv-95046-MCR-GRJ
   9784      250412   Michael Crutchfield                     Kirkendall Dwyer LLP           8:20-cv-95049-MCR-GRJ
   9785      250413   Charmella Daniels                       Kirkendall Dwyer LLP           8:20-cv-95050-MCR-GRJ
   9786      250414   Jerry Davis                             Kirkendall Dwyer LLP           8:20-cv-95051-MCR-GRJ
   9787      250417   Leandro Diaz                            Kirkendall Dwyer LLP           8:20-cv-95054-MCR-GRJ
   9788      250419   Jesse Doing                             Kirkendall Dwyer LLP           8:20-cv-95056-MCR-GRJ
   9789      250420   Daniel Dorado                           Kirkendall Dwyer LLP           8:20-cv-95057-MCR-GRJ
   9790      250421   Travis Downing                          Kirkendall Dwyer LLP           8:20-cv-95058-MCR-GRJ
   9791      250422   David Dullum                            Kirkendall Dwyer LLP           8:20-cv-95059-MCR-GRJ
   9792      250424   Shane Duncan                            Kirkendall Dwyer LLP           8:20-cv-95061-MCR-GRJ
   9793      250425   Thomas Eady                             Kirkendall Dwyer LLP           8:20-cv-95062-MCR-GRJ
   9794      250426   Johnathon Ellis                         Kirkendall Dwyer LLP           8:20-cv-95063-MCR-GRJ
   9795      250430   Tauamo Fea                              Kirkendall Dwyer LLP           8:20-cv-95067-MCR-GRJ
   9796      250432   Gerson Figueroa                         Kirkendall Dwyer LLP           8:20-cv-95069-MCR-GRJ
   9797      250435   Gary Flossmann                          Kirkendall Dwyer LLP           8:20-cv-95072-MCR-GRJ
   9798      250438   George Froggatt                         Kirkendall Dwyer LLP           8:20-cv-95075-MCR-GRJ
   9799      250439   Jerry Frost                             Kirkendall Dwyer LLP           8:20-cv-95076-MCR-GRJ
   9800      250443   Brian Garcia                            Kirkendall Dwyer LLP                                      8:20-cv-95080-MCR-GRJ
   9801      250444   Marcus Garner                           Kirkendall Dwyer LLP           8:20-cv-95081-MCR-GRJ
   9802      250445   Alonzo Garret                           Kirkendall Dwyer LLP                                      8:20-cv-95082-MCR-GRJ
   9803      250446   Nicholas Garrup                         Kirkendall Dwyer LLP                                      8:20-cv-95083-MCR-GRJ
   9804      250447   Anthony Gloria                          Kirkendall Dwyer LLP                                      8:20-cv-95084-MCR-GRJ
   9805      250449   Edelmiro Gonzalez                       Kirkendall Dwyer LLP                                      8:20-cv-95086-MCR-GRJ
   9806      250450   Bobby Gooch                             Kirkendall Dwyer LLP           8:20-cv-95087-MCR-GRJ
   9807      250451   Chad Goodrich                           Kirkendall Dwyer LLP           8:20-cv-95088-MCR-GRJ
   9808      250452   Shawn Grant                             Kirkendall Dwyer LLP           8:20-cv-95089-MCR-GRJ
   9809      250454   Matthew Green                           Kirkendall Dwyer LLP           8:20-cv-95091-MCR-GRJ
   9810      250456   Aaron Gunh                              Kirkendall Dwyer LLP           8:20-cv-95093-MCR-GRJ
   9811      250458   Michael Hadaway                         Kirkendall Dwyer LLP           8:20-cv-95095-MCR-GRJ
   9812      250459   Christopher Hagblom                     Kirkendall Dwyer LLP           8:20-cv-95096-MCR-GRJ
   9813      250460   Michael Hamilton                        Kirkendall Dwyer LLP           8:20-cv-95097-MCR-GRJ
   9814      250463   Adam Hanna                              Kirkendall Dwyer LLP           8:20-cv-95100-MCR-GRJ
   9815      250464   Tevin Haugabook                         Kirkendall Dwyer LLP           8:20-cv-95101-MCR-GRJ
   9816      250465   James Hayes                             Kirkendall Dwyer LLP                                      8:20-cv-95102-MCR-GRJ
   9817      250466   Adreain Henry                           Kirkendall Dwyer LLP                                      8:20-cv-95103-MCR-GRJ
   9818      250468   Macy Hewton                             Kirkendall Dwyer LLP           8:20-cv-95105-MCR-GRJ
   9819      250469   Joel Hobson                             Kirkendall Dwyer LLP                                      8:20-cv-95106-MCR-GRJ
   9820      250470   Anthony Horton                          Kirkendall Dwyer LLP           8:20-cv-95107-MCR-GRJ
   9821      250473   Allen Huffman                           Kirkendall Dwyer LLP           8:20-cv-95110-MCR-GRJ
   9822      250476   Kenneth Hunt                            Kirkendall Dwyer LLP           8:20-cv-95113-MCR-GRJ
   9823      250477   Larry Ildefonso                         Kirkendall Dwyer LLP                                      8:20-cv-95114-MCR-GRJ
   9824      250479   Gregory Jackson                         Kirkendall Dwyer LLP           8:20-cv-95116-MCR-GRJ
   9825      250480   Tonya Jacobs                            Kirkendall Dwyer LLP           8:20-cv-95117-MCR-GRJ
   9826      250482   Clinton Jefferson                       Kirkendall Dwyer LLP           8:20-cv-95119-MCR-GRJ
   9827      250483   Booker Jennings                         Kirkendall Dwyer LLP                                      8:20-cv-95120-MCR-GRJ
   9828      250484   Philip Jennings                         Kirkendall Dwyer LLP           8:20-cv-95121-MCR-GRJ
   9829      250485   Jason Jennings                          Kirkendall Dwyer LLP           8:20-cv-95122-MCR-GRJ
   9830      250487   Andre Johnson                           Kirkendall Dwyer LLP                                      8:20-cv-95124-MCR-GRJ
   9831      250488   Robert Johnson                          Kirkendall Dwyer LLP                                      8:20-cv-95125-MCR-GRJ
   9832      250489   Brandon Johnson                         Kirkendall Dwyer LLP           8:20-cv-95126-MCR-GRJ
   9833      250493   Charles Jordan                          Kirkendall Dwyer LLP                                      8:20-cv-95191-MCR-GRJ
   9834      250496   Heather Kaufmann                        Kirkendall Dwyer LLP           8:20-cv-95194-MCR-GRJ
   9835      250497   Tim Keeling                             Kirkendall Dwyer LLP           8:20-cv-95195-MCR-GRJ
   9836      250499   Christopher Kell                        Kirkendall Dwyer LLP                                      8:20-cv-95197-MCR-GRJ
   9837      250500   Joseph Kenney                           Kirkendall Dwyer LLP                                      8:20-cv-95198-MCR-GRJ
   9838      250502   Garry Killen                            Kirkendall Dwyer LLP           8:20-cv-95200-MCR-GRJ
   9839      250503   Broderick Kimble                        Kirkendall Dwyer LLP           8:20-cv-95201-MCR-GRJ
   9840      250504   Matthew Kinnaman                        Kirkendall Dwyer LLP                                      8:20-cv-95202-MCR-GRJ
   9841      250505   Paul Kinnear                            Kirkendall Dwyer LLP           8:20-cv-95203-MCR-GRJ
   9842      250507   Andrew Kolis                            Kirkendall Dwyer LLP           8:20-cv-95205-MCR-GRJ
   9843      250508   Kenneth Kuykendall                      Kirkendall Dwyer LLP                                      8:20-cv-95206-MCR-GRJ
   9844      250510   Jeffrey Lavin                           Kirkendall Dwyer LLP           8:20-cv-95208-MCR-GRJ
   9845      250511   Russell Ledford                         Kirkendall Dwyer LLP           8:20-cv-95209-MCR-GRJ
   9846      250512   Jason Lee                               Kirkendall Dwyer LLP           8:20-cv-95210-MCR-GRJ
   9847      250513   Jose Lemos                              Kirkendall Dwyer LLP           8:20-cv-95211-MCR-GRJ
   9848      250515   James Letexier                          Kirkendall Dwyer LLP           8:20-cv-95213-MCR-GRJ
   9849      250516   Lowell Levingston                       Kirkendall Dwyer LLP           8:20-cv-95214-MCR-GRJ
   9850      250518   Timothy Lindsay                         Kirkendall Dwyer LLP           8:20-cv-95216-MCR-GRJ
   9851      250519   Michael Littleton                       Kirkendall Dwyer LLP           8:20-cv-95217-MCR-GRJ
   9852      250520   Danny Lofton                            Kirkendall Dwyer LLP           8:20-cv-95218-MCR-GRJ
   9853      250521   Daniel Lopez                            Kirkendall Dwyer LLP           8:20-cv-95219-MCR-GRJ
   9854      250524   Christopher Lunsford                    Kirkendall Dwyer LLP                                      8:20-cv-95222-MCR-GRJ
   9855      250525   Danielle Lutz                           Kirkendall Dwyer LLP                                      8:20-cv-95223-MCR-GRJ




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   9856      250526   Derek Lysne                             Kirkendall Dwyer LLP                                      8:20-cv-95224-MCR-GRJ
   9857      250529   Brandon Martens                         Kirkendall Dwyer LLP           8:20-cv-95227-MCR-GRJ
   9858      250531   Kenneth Martinez                        Kirkendall Dwyer LLP           8:20-cv-95229-MCR-GRJ
   9859      250532   Joseph Mason                            Kirkendall Dwyer LLP                                      8:20-cv-95230-MCR-GRJ
   9860      250534   Larry Mays                              Kirkendall Dwyer LLP           8:20-cv-95232-MCR-GRJ
   9861      250535   David Mccarty                           Kirkendall Dwyer LLP           8:20-cv-95233-MCR-GRJ
   9862      250539   Nicholas Meeks                          Kirkendall Dwyer LLP           8:20-cv-95237-MCR-GRJ
   9863      250540   Brandon Melchert                        Kirkendall Dwyer LLP                                      8:20-cv-95238-MCR-GRJ
   9864      250541   Daniel Meno                             Kirkendall Dwyer LLP           8:20-cv-95239-MCR-GRJ
   9865      250542   Michael Miller                          Kirkendall Dwyer LLP           8:20-cv-95240-MCR-GRJ
   9866      250547   Kevin Monahan                           Kirkendall Dwyer LLP           8:20-cv-95247-MCR-GRJ
   9867      250548   Jesus Montalvo                          Kirkendall Dwyer LLP           8:20-cv-95248-MCR-GRJ
   9868      250551   Christopher Moore                       Kirkendall Dwyer LLP           8:20-cv-95251-MCR-GRJ
   9869      250553   Tommy Mulliniks                         Kirkendall Dwyer LLP           8:20-cv-95253-MCR-GRJ
   9870      250554   Juan Muñoz                              Kirkendall Dwyer LLP           8:20-cv-95242-MCR-GRJ
   9871      250555   Kevin Murphy                            Kirkendall Dwyer LLP           8:20-cv-95254-MCR-GRJ
   9872      250556   Jonathan Murphy                         Kirkendall Dwyer LLP           8:20-cv-95255-MCR-GRJ
   9873      250557   Anthony Murphy                          Kirkendall Dwyer LLP           8:20-cv-95256-MCR-GRJ
   9874      250558   Derick Murphy                           Kirkendall Dwyer LLP           8:20-cv-95257-MCR-GRJ
   9875      250559   Earl Myers                              Kirkendall Dwyer LLP           8:20-cv-95258-MCR-GRJ
   9876      250560   Breeanna Myers                          Kirkendall Dwyer LLP           8:20-cv-95259-MCR-GRJ
   9877      250562   Chad Nephew                             Kirkendall Dwyer LLP                                      8:20-cv-95261-MCR-GRJ
   9878      250566   Edward Onus                             Kirkendall Dwyer LLP                                      8:20-cv-95265-MCR-GRJ
   9879      250567   Larry Osborne                           Kirkendall Dwyer LLP           8:20-cv-95266-MCR-GRJ
   9880      250568   Robert Palacio                          Kirkendall Dwyer LLP           8:20-cv-95267-MCR-GRJ
   9881      250571   Christopher Patnaude                    Kirkendall Dwyer LLP                                      8:20-cv-95270-MCR-GRJ
   9882      250573   Victor Pescador                         Kirkendall Dwyer LLP           8:20-cv-95271-MCR-GRJ
   9883      250574   Shawn Pethel                            Kirkendall Dwyer LLP           8:20-cv-95272-MCR-GRJ
   9884      250576   Denis Pierresaint                       Kirkendall Dwyer LLP           8:20-cv-95274-MCR-GRJ
   9885      250577   Gary Pifer                              Kirkendall Dwyer LLP           8:20-cv-95275-MCR-GRJ
   9886      250578   Aldwin Pita                             Kirkendall Dwyer LLP           8:20-cv-95276-MCR-GRJ
   9887      250580   Adam Price                              Kirkendall Dwyer LLP                                      8:20-cv-95278-MCR-GRJ
   9888      250582   Keeley Randell Brown                    Kirkendall Dwyer LLP           8:20-cv-95280-MCR-GRJ
   9889      250584   Anthony Richison                        Kirkendall Dwyer LLP           8:20-cv-95282-MCR-GRJ
   9890      250585   Brandon Robbins                         Kirkendall Dwyer LLP           8:20-cv-95283-MCR-GRJ
   9891      250586   Clint Roberts                           Kirkendall Dwyer LLP           8:20-cv-95284-MCR-GRJ
   9892      250587   Michael Roberts                         Kirkendall Dwyer LLP           8:20-cv-95285-MCR-GRJ
   9893      250588   Taneesha Robinson                       Kirkendall Dwyer LLP           8:20-cv-95286-MCR-GRJ
   9894      250589   Devon Rodgers                           Kirkendall Dwyer LLP           8:20-cv-95287-MCR-GRJ
   9895      250590   Michael Rodriguez                       Kirkendall Dwyer LLP           8:20-cv-95288-MCR-GRJ
   9896      250591   Miguel Rodriguez                        Kirkendall Dwyer LLP           8:20-cv-95289-MCR-GRJ
   9897      250592   Trinidad Rodriguez                      Kirkendall Dwyer LLP           8:20-cv-95290-MCR-GRJ
   9898      250593   James Roller                            Kirkendall Dwyer LLP           8:20-cv-95291-MCR-GRJ
   9899      250594   Jarrod Roper                            Kirkendall Dwyer LLP           8:20-cv-95292-MCR-GRJ
   9900      250596   Luis Rosario                            Kirkendall Dwyer LLP           8:20-cv-95294-MCR-GRJ
   9901      250598   Patrick Ross                            Kirkendall Dwyer LLP           8:20-cv-95296-MCR-GRJ
   9902      250599   Frances Ross                            Kirkendall Dwyer LLP           8:20-cv-95297-MCR-GRJ
   9903      250601   Mark Rowehl                             Kirkendall Dwyer LLP                                      8:20-cv-95299-MCR-GRJ
   9904      250603   Irving Salazar                          Kirkendall Dwyer LLP           8:20-cv-95301-MCR-GRJ
   9905      250606   Jon Schneider                           Kirkendall Dwyer LLP           8:20-cv-95304-MCR-GRJ
   9906      250607   Travis Scott                            Kirkendall Dwyer LLP           8:20-cv-95305-MCR-GRJ
   9907      250610   Oscar Segovia                           Kirkendall Dwyer LLP                                      8:20-cv-95308-MCR-GRJ
   9908      250611   Jorge Segura                            Kirkendall Dwyer LLP                                      8:20-cv-95309-MCR-GRJ
   9909      250613   David Sharp                             Kirkendall Dwyer LLP                                      8:20-cv-95311-MCR-GRJ
   9910      250616   Christopher Shehan                      Kirkendall Dwyer LLP           8:20-cv-95314-MCR-GRJ
   9911      250620   Aaron Silton                            Kirkendall Dwyer LLP           8:20-cv-95318-MCR-GRJ
   9912      250621   Andrew Sloan                            Kirkendall Dwyer LLP                                      8:20-cv-95319-MCR-GRJ
   9913      250622   Christopher Smith                       Kirkendall Dwyer LLP           8:20-cv-95320-MCR-GRJ
   9914      250625   Allen Smith                             Kirkendall Dwyer LLP           8:20-cv-95323-MCR-GRJ
   9915      250627   Eric Solis                              Kirkendall Dwyer LLP           8:20-cv-95325-MCR-GRJ
   9916      250628   Allan Soliven                           Kirkendall Dwyer LLP           8:20-cv-95326-MCR-GRJ
   9917      250629   Jason Speed                             Kirkendall Dwyer LLP           8:20-cv-95327-MCR-GRJ
   9918      250631   Bryant Staats                           Kirkendall Dwyer LLP           8:20-cv-95329-MCR-GRJ
   9919      250633   Clinton Stapleton                       Kirkendall Dwyer LLP           8:20-cv-95331-MCR-GRJ
   9920      250636   Joseph Streeter                         Kirkendall Dwyer LLP           8:20-cv-95334-MCR-GRJ
   9921      250637   Brad Stricklin                          Kirkendall Dwyer LLP           8:20-cv-95335-MCR-GRJ
   9922      250640   Gary Teague                             Kirkendall Dwyer LLP           8:20-cv-95338-MCR-GRJ
   9923      250642   Dennis Thompson                         Kirkendall Dwyer LLP                                      8:20-cv-95340-MCR-GRJ
   9924      250643   Justin Thurlwell                        Kirkendall Dwyer LLP           8:20-cv-95341-MCR-GRJ
   9925      250644   Seterial Thurman                        Kirkendall Dwyer LLP           8:20-cv-95342-MCR-GRJ
   9926      250645   Neil Tinsley                            Kirkendall Dwyer LLP           8:20-cv-95343-MCR-GRJ
   9927      250646   Rey Titus                               Kirkendall Dwyer LLP           8:20-cv-95344-MCR-GRJ
   9928      250647   Quinn Triplett                          Kirkendall Dwyer LLP           8:20-cv-95345-MCR-GRJ




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   9929      250648   Arnold Tutson                           Kirkendall Dwyer LLP           8:20-cv-95346-MCR-GRJ
   9930      250649   James Tyson                             Kirkendall Dwyer LLP           8:20-cv-95347-MCR-GRJ
   9931      250651   Jerry Van Dam                           Kirkendall Dwyer LLP                                      8:20-cv-95349-MCR-GRJ
   9932      250653   Charles Van Horn                        Kirkendall Dwyer LLP                                      8:20-cv-95351-MCR-GRJ
   9933      250655   Andres Verdugo                          Kirkendall Dwyer LLP           8:20-cv-95353-MCR-GRJ
   9934      250658   Claus Von Stauffenberg                  Kirkendall Dwyer LLP           8:20-cv-95356-MCR-GRJ
   9935      250660   Eric Walker                             Kirkendall Dwyer LLP           8:20-cv-95358-MCR-GRJ
   9936      250661   Jaimie Walker                           Kirkendall Dwyer LLP           8:20-cv-95359-MCR-GRJ
   9937      250664   Alia Warner                             Kirkendall Dwyer LLP           8:20-cv-95362-MCR-GRJ
   9938      250665   Richard Welsch                          Kirkendall Dwyer LLP           8:20-cv-95363-MCR-GRJ
   9939      250666   Jason Whitaker                          Kirkendall Dwyer LLP           8:20-cv-95364-MCR-GRJ
   9940      250667   Kenneth White                           Kirkendall Dwyer LLP                                      8:20-cv-95365-MCR-GRJ
   9941      250668   Alan Wilcoxson                          Kirkendall Dwyer LLP           8:20-cv-95366-MCR-GRJ
   9942      250669   John Wilkinson                          Kirkendall Dwyer LLP           8:20-cv-95367-MCR-GRJ
   9943      250671   Kody Wilson                             Kirkendall Dwyer LLP                                      8:20-cv-95369-MCR-GRJ
   9944      250672   Greg Wilt                               Kirkendall Dwyer LLP           8:20-cv-95370-MCR-GRJ
   9945      250673   Carol Winkler                           Kirkendall Dwyer LLP           8:20-cv-95371-MCR-GRJ
   9946      250675   Tasheem Woods                           Kirkendall Dwyer LLP           8:20-cv-95373-MCR-GRJ
   9947      250679   Jared Young                             Kirkendall Dwyer LLP           8:20-cv-95377-MCR-GRJ
   9948      251839   Santos Aguirre                          Kirkendall Dwyer LLP           8:20-cv-97349-MCR-GRJ
   9949      251841   Kendrick Allen                          Kirkendall Dwyer LLP           8:20-cv-97351-MCR-GRJ
   9950      251844   Robert Avis                             Kirkendall Dwyer LLP           8:20-cv-97354-MCR-GRJ
   9951      251845   Sierra Bailey                           Kirkendall Dwyer LLP           8:20-cv-97355-MCR-GRJ
   9952      251847   Eric Barley                             Kirkendall Dwyer LLP           8:20-cv-97357-MCR-GRJ
   9953      251848   David Bigelow                           Kirkendall Dwyer LLP           8:20-cv-97358-MCR-GRJ
   9954      251852   Evan Butts                              Kirkendall Dwyer LLP           8:20-cv-97362-MCR-GRJ
   9955      251855   David Carr                              Kirkendall Dwyer LLP           8:20-cv-97365-MCR-GRJ
   9956      251857   David Chaney                            Kirkendall Dwyer LLP           8:20-cv-97367-MCR-GRJ
   9957      251858   Gene Cherichel                          Kirkendall Dwyer LLP           8:20-cv-97368-MCR-GRJ
   9958      251859   Travis Christian                        Kirkendall Dwyer LLP           8:20-cv-97369-MCR-GRJ
   9959      251862   Tanner Cook                             Kirkendall Dwyer LLP                                      8:20-cv-97372-MCR-GRJ
   9960      251864   Hollis Dawson                           Kirkendall Dwyer LLP           8:20-cv-97374-MCR-GRJ
   9961      251865   Garrett Dean                            Kirkendall Dwyer LLP           8:20-cv-97375-MCR-GRJ
   9962      251867   Mercedes Dennis                         Kirkendall Dwyer LLP                                      8:20-cv-97377-MCR-GRJ
   9963      251868   Michael Devries                         Kirkendall Dwyer LLP           8:20-cv-97378-MCR-GRJ
   9964      251870   Scott Droessler                         Kirkendall Dwyer LLP                                      8:20-cv-97380-MCR-GRJ
   9965      251871   Jai Ellman                              Kirkendall Dwyer LLP           8:20-cv-97381-MCR-GRJ
   9966      251873   Jason Ertola                            Kirkendall Dwyer LLP           8:20-cv-97383-MCR-GRJ
   9967      251877   Kenneth Freda                           Kirkendall Dwyer LLP           8:20-cv-97387-MCR-GRJ
   9968      251878   Michael Faugate                         Kirkendall Dwyer LLP           8:20-cv-97388-MCR-GRJ
   9969      251880   Justin Geringer                         Kirkendall Dwyer LLP                                      8:20-cv-97390-MCR-GRJ
   9970      251882   Dominic Green                           Kirkendall Dwyer LLP           8:20-cv-97392-MCR-GRJ
   9971      251883   Joseph Greenwald                        Kirkendall Dwyer LLP           8:20-cv-97394-MCR-GRJ
   9972      251885   Jose Guevara                            Kirkendall Dwyer LLP           8:20-cv-97398-MCR-GRJ
   9973      251887   William Hartman                         Kirkendall Dwyer LLP           8:20-cv-97402-MCR-GRJ
   9974      251888   Jorge Hernandez                         Kirkendall Dwyer LLP                                      8:20-cv-97404-MCR-GRJ
   9975      251890   Marcus Hinton                           Kirkendall Dwyer LLP                                      8:20-cv-97408-MCR-GRJ
   9976      251891   Dustin Hoog                             Kirkendall Dwyer LLP           8:20-cv-97410-MCR-GRJ
   9977      251892   Roper Hornback                          Kirkendall Dwyer LLP                                      8:20-cv-97412-MCR-GRJ
   9978      251895   Jordan Johnson                          Kirkendall Dwyer LLP           8:20-cv-97418-MCR-GRJ
   9979      251897   Mark Jolliffe                           Kirkendall Dwyer LLP           8:20-cv-97422-MCR-GRJ
   9980      251898   Dustin Kelly                            Kirkendall Dwyer LLP                                      8:20-cv-97424-MCR-GRJ
   9981      251901   Talmadge Lee                            Kirkendall Dwyer LLP                                      8:20-cv-97430-MCR-GRJ
   9982      251903   Scott Leigey                            Kirkendall Dwyer LLP           8:20-cv-97434-MCR-GRJ
   9983      251905   Lewis Ganell                            Kirkendall Dwyer LLP           8:20-cv-97439-MCR-GRJ
   9984      251906   Joseph Lewis                            Kirkendall Dwyer LLP           8:20-cv-97441-MCR-GRJ
   9985      251908   Jose Luciani                            Kirkendall Dwyer LLP                                      8:20-cv-97445-MCR-GRJ
   9986      251910   Jose Manjarrez                          Kirkendall Dwyer LLP           8:20-cv-97449-MCR-GRJ
   9987      251913   Matthew Mckay                           Kirkendall Dwyer LLP                                      8:20-cv-97455-MCR-GRJ
   9988      251914   Javier Mendez                           Kirkendall Dwyer LLP           8:20-cv-97457-MCR-GRJ
   9989      251915   Juan Montalvo                           Kirkendall Dwyer LLP                                      8:20-cv-97459-MCR-GRJ
   9990      251916   Justin Morales                          Kirkendall Dwyer LLP           8:20-cv-97461-MCR-GRJ
   9991      251917   Jonathan Nacis                          Kirkendall Dwyer LLP           8:20-cv-97463-MCR-GRJ
   9992      251918   Kelli Nadeau                            Kirkendall Dwyer LLP           8:20-cv-97465-MCR-GRJ
   9993      251920   Miguel Nicoletti                        Kirkendall Dwyer LLP                                      8:20-cv-97469-MCR-GRJ
   9994      251921   Eliseo Oseguera                         Kirkendall Dwyer LLP           8:20-cv-97471-MCR-GRJ
   9995      251922   Kenneth Parham                          Kirkendall Dwyer LLP           8:20-cv-97473-MCR-GRJ
   9996      251926   Micah Pressman                          Kirkendall Dwyer LLP           8:20-cv-97481-MCR-GRJ
   9997      251928   Jonathon Rayborn                        Kirkendall Dwyer LLP                                      8:20-cv-97485-MCR-GRJ
   9998      251929   Scott Reuter                            Kirkendall Dwyer LLP           8:20-cv-97487-MCR-GRJ
   9999      251931   Fernando Rimando                        Kirkendall Dwyer LLP           8:20-cv-97491-MCR-GRJ
  10000      251932   David Roberts                           Kirkendall Dwyer LLP           8:20-cv-97493-MCR-GRJ
  10001      251938   Denarious Singleton                     Kirkendall Dwyer LLP           8:20-cv-97506-MCR-GRJ




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   Row        PID                              Name                                  Firm   Admin Docket Case Number   Active Docket Case Number
  10002      251939   Evelyn Singleton                        Kirkendall Dwyer LLP           8:20-cv-97508-MCR-GRJ
  10003      251941   Derick Stephan                          Kirkendall Dwyer LLP           8:20-cv-97512-MCR-GRJ
  10004      251942   Joseph Talbert                          Kirkendall Dwyer LLP                                      8:20-cv-97514-MCR-GRJ
  10005      251943   Kizzie Taylor                           Kirkendall Dwyer LLP           8:20-cv-97516-MCR-GRJ
  10006      251944   George Thomas                           Kirkendall Dwyer LLP           8:20-cv-97518-MCR-GRJ
  10007      251945   Michael Thornton                        Kirkendall Dwyer LLP           8:20-cv-97520-MCR-GRJ
  10008      251949   Donald Vaskie                           Kirkendall Dwyer LLP           8:20-cv-97528-MCR-GRJ
  10009      251951   Michael Vinet                           Kirkendall Dwyer LLP           8:20-cv-97532-MCR-GRJ
  10010      251953   Sydnee Weber                            Kirkendall Dwyer LLP           8:20-cv-97536-MCR-GRJ
  10011      251954   David Webster                           Kirkendall Dwyer LLP           8:20-cv-97538-MCR-GRJ
  10012      251956   Kimberly Wesselmann                     Kirkendall Dwyer LLP           8:20-cv-97542-MCR-GRJ
  10013      251957   Drew Williams                           Kirkendall Dwyer LLP                                      8:20-cv-97544-MCR-GRJ
  10014      251959   Salvador Zaragoza                       Kirkendall Dwyer LLP           8:20-cv-97548-MCR-GRJ
  10015      259034   Daviyoun Golden                         Kirkendall Dwyer LLP           7:21-cv-18346-MCR-GRJ
  10016      259042   Joshua Slack                            Kirkendall Dwyer LLP           7:21-cv-18347-MCR-GRJ
  10017      259044   Joseph Leblanc                          Kirkendall Dwyer LLP           7:21-cv-21593-MCR-GRJ
  10018      260297   Matthew Nagel                           Kirkendall Dwyer LLP           7:21-cv-21594-MCR-GRJ
  10019      260877   Patrick Serna                           Kirkendall Dwyer LLP           7:21-cv-25253-MCR-GRJ
  10020      261268   Paul Ford                               Kirkendall Dwyer LLP           9:20-cv-19909-MCR-GRJ
  10021      262181   Randy Olson                             Kirkendall Dwyer LLP           9:20-cv-19912-MCR-GRJ
  10022      267803   Travis Johnson                          Kirkendall Dwyer LLP           9:20-cv-19925-MCR-GRJ
  10023      267830   Norris Stephone                         Kirkendall Dwyer LLP           9:20-cv-19931-MCR-GRJ
  10024      267999   Philip Olvera                           Kirkendall Dwyer LLP                                      9:20-cv-19941-MCR-GRJ
  10025      268006   Lashunne Rounds                         Kirkendall Dwyer LLP                                      9:20-cv-19944-MCR-GRJ
  10026      268034   Peter Madsen                            Kirkendall Dwyer LLP           9:20-cv-19947-MCR-GRJ
  10027      268059   Kevin Donnelly                          Kirkendall Dwyer LLP           9:20-cv-19950-MCR-GRJ
  10028      268611   Victor Moya                             Kirkendall Dwyer LLP           7:21-cv-23448-MCR-GRJ
  10029      268615   Mark Newgent                            Kirkendall Dwyer LLP           7:21-cv-23449-MCR-GRJ
  10030      270383   Juan Ramos                              Kirkendall Dwyer LLP           7:21-cv-23450-MCR-GRJ
  10031      271302   Thomas Sidlo                            Kirkendall Dwyer LLP           9:20-cv-20184-MCR-GRJ
  10032      271394   Ted Telemaque                           Kirkendall Dwyer LLP                                      9:20-cv-20185-MCR-GRJ
  10033      274551   Mark Ruiz                               Kirkendall Dwyer LLP           9:20-cv-20188-MCR-GRJ
  10034      274596   Reginald Moore                          Kirkendall Dwyer LLP           9:20-cv-20189-MCR-GRJ
  10035      279861   Travis Sowell                           Kirkendall Dwyer LLP           7:21-cv-00044-MCR-GRJ
  10036      279862   Sarah Chambers                          Kirkendall Dwyer LLP           7:21-cv-00045-MCR-GRJ
  10037      279863   Enrique Padilla                         Kirkendall Dwyer LLP           7:21-cv-00046-MCR-GRJ
  10038      279864   Austin Francis                          Kirkendall Dwyer LLP                                      7:21-cv-00047-MCR-GRJ
  10039      279865   David Camp                              Kirkendall Dwyer LLP           7:21-cv-00048-MCR-GRJ
  10040      279866   Brandon Roth                            Kirkendall Dwyer LLP                                      7:21-cv-00049-MCR-GRJ
  10041      279867   Jacob Pohlen                            Kirkendall Dwyer LLP           7:21-cv-00050-MCR-GRJ
  10042      279868   Karlos Simpson                          Kirkendall Dwyer LLP           7:21-cv-00051-MCR-GRJ
  10043      279869   Thomas Gordon                           Kirkendall Dwyer LLP                                      7:21-cv-00052-MCR-GRJ
  10044      279870   James Underwood                         Kirkendall Dwyer LLP           7:21-cv-00053-MCR-GRJ
  10045      279871   Lawrence Poe                            Kirkendall Dwyer LLP           7:21-cv-00054-MCR-GRJ
  10046      279873   Jonathan Rogers                         Kirkendall Dwyer LLP                                      7:21-cv-00056-MCR-GRJ
  10047      279875   Trevor Neil                             Kirkendall Dwyer LLP           7:21-cv-00058-MCR-GRJ
  10048      279876   William Manzon                          Kirkendall Dwyer LLP           7:21-cv-00059-MCR-GRJ
  10049      279882   Israel Gaud                             Kirkendall Dwyer LLP           7:21-cv-00065-MCR-GRJ
  10050      280058   Michael Johnson                         Kirkendall Dwyer LLP                                      7:21-cv-00077-MCR-GRJ
  10051      291972   Khemia Adekundle Jeter                  Kirkendall Dwyer LLP           7:21-cv-12387-MCR-GRJ
  10052      291973   Accilien Shneider                       Kirkendall Dwyer LLP                                      7:21-cv-12388-MCR-GRJ
  10053      291975   William Albright                        Kirkendall Dwyer LLP           7:21-cv-12390-MCR-GRJ
  10054      291988   Mitchell Angeloni                       Kirkendall Dwyer LLP           7:21-cv-12403-MCR-GRJ
  10055      291989   Richard Atkin                           Kirkendall Dwyer LLP                                      7:21-cv-12404-MCR-GRJ
  10056      291990   Alana Ayala                             Kirkendall Dwyer LLP           7:21-cv-12405-MCR-GRJ
  10057      292005   Benjamin Alvarez                        Kirkendall Dwyer LLP           7:21-cv-12712-MCR-GRJ
  10058      292006   Marcos Alvarez                          Kirkendall Dwyer LLP                                      7:21-cv-12713-MCR-GRJ
  10059      292044   Tyler Bakkensen                         Kirkendall Dwyer LLP           7:21-cv-20025-MCR-GRJ
  10060      292045   Michael Balog                           Kirkendall Dwyer LLP                                      7:21-cv-20027-MCR-GRJ
  10061      292048   Junior Baptiste                         Kirkendall Dwyer LLP                                      7:21-cv-20029-MCR-GRJ
  10062      292049   Alqoyawayma Baddmoccosin-Barnes         Kirkendall Dwyer LLP                                      7:21-cv-12719-MCR-GRJ
  10063      292129   Charles Barnes                          Kirkendall Dwyer LLP           7:21-cv-12720-MCR-GRJ
  10064      292131   Daniel Barrows                          Kirkendall Dwyer LLP           7:21-cv-12721-MCR-GRJ
  10065      292453   Andrew Bellegarde                       Kirkendall Dwyer LLP           7:21-cv-20033-MCR-GRJ
  10066      292601   Christian Bordoy                        Kirkendall Dwyer LLP           7:21-cv-20055-MCR-GRJ
  10067      292604   Steven Bockoski                         Kirkendall Dwyer LLP                                      7:21-cv-20058-MCR-GRJ
  10068      298482   Arthur Murns                            Kirkendall Dwyer LLP           7:21-cv-19175-MCR-GRJ
  10069      298483   Jonathan Nisbet                         Kirkendall Dwyer LLP           7:21-cv-19177-MCR-GRJ
  10070      298704   Joshua Banks                            Kirkendall Dwyer LLP           7:21-cv-19404-MCR-GRJ
  10071      303161   Aaron Harris                            Kirkendall Dwyer LLP           7:21-cv-23538-MCR-GRJ
  10072      303162   Adia Harvey                             Kirkendall Dwyer LLP                                      7:21-cv-23539-MCR-GRJ
  10073      303163   Ronald Harden                           Kirkendall Dwyer LLP           7:21-cv-23540-MCR-GRJ
  10074      303165   Daniel Hawkinson                        Kirkendall Dwyer LLP           7:21-cv-23542-MCR-GRJ




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  10075      303166   John Heatcoat                           Kirkendall Dwyer LLP           7:21-cv-23543-MCR-GRJ
  10076      303168   Ryan Hodges                             Kirkendall Dwyer LLP           7:21-cv-23545-MCR-GRJ
  10077      303171   Kong Yang                               Kirkendall Dwyer LLP           7:21-cv-23547-MCR-GRJ
  10078      303755   Alan Place                              Kirkendall Dwyer LLP           7:21-cv-23586-MCR-GRJ
  10079      303756   Michael Root                            Kirkendall Dwyer LLP           7:21-cv-23587-MCR-GRJ
  10080      303759   Michael Butler                          Kirkendall Dwyer LLP           7:21-cv-23589-MCR-GRJ
  10081      303895   Jason Brindisi                          Kirkendall Dwyer LLP           7:21-cv-23600-MCR-GRJ
  10082      303897   Anthony Brown                           Kirkendall Dwyer LLP           7:21-cv-23601-MCR-GRJ
  10083      303898   Richard Brown                           Kirkendall Dwyer LLP           7:21-cv-23602-MCR-GRJ
  10084      303899   Bryan Bruegge                           Kirkendall Dwyer LLP           7:21-cv-23603-MCR-GRJ
  10085      303902   Sean Bryant                             Kirkendall Dwyer LLP                                      7:21-cv-23605-MCR-GRJ
  10086      303905   Philip Wemhoff                          Kirkendall Dwyer LLP           7:21-cv-23607-MCR-GRJ
  10087      303907   Ryan Cain                               Kirkendall Dwyer LLP           7:21-cv-23609-MCR-GRJ
  10088      303929   Joshua Combs                            Kirkendall Dwyer LLP           7:21-cv-25256-MCR-GRJ
  10089      303930   James Delk                              Kirkendall Dwyer LLP           7:21-cv-25257-MCR-GRJ
  10090      303931   David Dicenso                           Kirkendall Dwyer LLP                                      7:21-cv-25258-MCR-GRJ
  10091      303944   Kyle Flack                              Kirkendall Dwyer LLP                                      7:21-cv-25260-MCR-GRJ
  10092      303945   Kevin Flynn                             Kirkendall Dwyer LLP           7:21-cv-25261-MCR-GRJ
  10093      303947   Daniel Hunt                             Kirkendall Dwyer LLP           7:21-cv-25263-MCR-GRJ
  10094      303948   Carrie Satterfield-Hunter               Kirkendall Dwyer LLP           7:21-cv-25264-MCR-GRJ
  10095      303949   Eric Bumpers                            Kirkendall Dwyer LLP           7:21-cv-25265-MCR-GRJ
  10096      303952   James Colledge                          Kirkendall Dwyer LLP           7:21-cv-25268-MCR-GRJ
  10097      303953   Jon Dailey                              Kirkendall Dwyer LLP                                      7:21-cv-25269-MCR-GRJ
  10098      303954   Tamika Dickens                          Kirkendall Dwyer LLP           7:21-cv-25270-MCR-GRJ
  10099      303956   Wilberto Madera Diaz                    Kirkendall Dwyer LLP                                      7:21-cv-25272-MCR-GRJ
  10100      303959   Erica Charles                           Kirkendall Dwyer LLP                                      7:21-cv-25274-MCR-GRJ
  10101      303960   Telanna Francis                         Kirkendall Dwyer LLP                                      7:21-cv-25275-MCR-GRJ
  10102      303963   Steven Gallgeger                        Kirkendall Dwyer LLP                                      7:21-cv-25277-MCR-GRJ
  10103      303973   John Ii Golden                          Kirkendall Dwyer LLP                                      7:21-cv-25279-MCR-GRJ
  10104      303977   Brandon Fugate                          Kirkendall Dwyer LLP           7:21-cv-25280-MCR-GRJ
  10105      303982   Adam Sands                              Kirkendall Dwyer LLP                                      7:21-cv-25281-MCR-GRJ
  10106      303988   Holly Saucier                           Kirkendall Dwyer LLP           7:21-cv-25282-MCR-GRJ
  10107      303992   Joe Sykes                               Kirkendall Dwyer LLP           7:21-cv-25283-MCR-GRJ
  10108      303993   Chris Toms                              Kirkendall Dwyer LLP           7:21-cv-25284-MCR-GRJ
  10109      303997   David Colclasure                        Kirkendall Dwyer LLP           7:21-cv-25287-MCR-GRJ
  10110      303998   Baza Zegeye                             Kirkendall Dwyer LLP           7:21-cv-25288-MCR-GRJ
  10111      304692   Kory Eureka                             Kirkendall Dwyer LLP                                      7:21-cv-25521-MCR-GRJ
  10112      304694   Ezell Jr Sharp                          Kirkendall Dwyer LLP           7:21-cv-25523-MCR-GRJ
  10113      304695   Matt Tilford                            Kirkendall Dwyer LLP                                      7:21-cv-25524-MCR-GRJ
  10114      304699   Victor Martinez                         Kirkendall Dwyer LLP           7:21-cv-25526-MCR-GRJ
  10115      304700   Mark Lowe                               Kirkendall Dwyer LLP                                      7:21-cv-25527-MCR-GRJ
  10116      304702   Charles Young                           Kirkendall Dwyer LLP           7:21-cv-25529-MCR-GRJ
  10117      304708   Michael Wilson                          Kirkendall Dwyer LLP                                      7:21-cv-25535-MCR-GRJ
  10118      305454   Felipe Dorame                           Kirkendall Dwyer LLP                                      7:21-cv-23776-MCR-GRJ
  10119      305455   Sean Ehlert                             Kirkendall Dwyer LLP                                      7:21-cv-23777-MCR-GRJ
  10120      305456   Daniel Goldberg                         Kirkendall Dwyer LLP           7:21-cv-23778-MCR-GRJ
  10121      305457   Nathan Green                            Kirkendall Dwyer LLP           7:21-cv-23779-MCR-GRJ
  10122      305466   Sean Gray                               Kirkendall Dwyer LLP           7:21-cv-23788-MCR-GRJ
  10123      305467   Gregory Pietz                           Kirkendall Dwyer LLP           7:21-cv-23789-MCR-GRJ
  10124      305468   Kevin Haselbach                         Kirkendall Dwyer LLP                                      7:21-cv-23790-MCR-GRJ
  10125      305470   Mindy Williams                          Kirkendall Dwyer LLP                                      7:21-cv-23791-MCR-GRJ
  10126      305476   Michael Melo                            Kirkendall Dwyer LLP                                      7:21-cv-23794-MCR-GRJ
  10127      305477   Tina Maurice                            Kirkendall Dwyer LLP           7:21-cv-23795-MCR-GRJ
  10128      305478   David Medrano                           Kirkendall Dwyer LLP           7:21-cv-23796-MCR-GRJ
  10129      305480   Arthur Moon                             Kirkendall Dwyer LLP           7:21-cv-23797-MCR-GRJ
  10130      305481   Latoshia Mungin                         Kirkendall Dwyer LLP           7:21-cv-23798-MCR-GRJ
  10131      305485   Chris Wehner                            Kirkendall Dwyer LLP           7:21-cv-23802-MCR-GRJ
  10132      305486   Donald Weber                            Kirkendall Dwyer LLP           7:21-cv-23803-MCR-GRJ
  10133      305487   Michael Wasilewski                      Kirkendall Dwyer LLP           7:21-cv-23804-MCR-GRJ
  10134      305501   Angelo Vazquez                          Kirkendall Dwyer LLP           7:21-cv-23816-MCR-GRJ
  10135      305504   Zachary Van Hardenberg                  Kirkendall Dwyer LLP           7:21-cv-23819-MCR-GRJ
  10136      305859   Paul Underwood                          Kirkendall Dwyer LLP           7:21-cv-23820-MCR-GRJ
  10137      306531   Juan Morales                            Kirkendall Dwyer LLP           7:21-cv-23932-MCR-GRJ
  10138      306532   Jamaine Martin                          Kirkendall Dwyer LLP           7:21-cv-23933-MCR-GRJ
  10139      306533   Michael Qualiana                        Kirkendall Dwyer LLP           7:21-cv-23934-MCR-GRJ
  10140      306572   Marvin Tucker                           Kirkendall Dwyer LLP           7:21-cv-23936-MCR-GRJ
  10141      306573   Gabriel Trujilo                         Kirkendall Dwyer LLP           7:21-cv-23937-MCR-GRJ
  10142      306574   Jerry Truett                            Kirkendall Dwyer LLP           7:21-cv-23938-MCR-GRJ
  10143      306576   Steven Tomisser                         Kirkendall Dwyer LLP           7:21-cv-23940-MCR-GRJ
  10144      306577   Miguel Toledo                           Kirkendall Dwyer LLP           7:21-cv-23941-MCR-GRJ
  10145      306580   Tiffany Thornton                        Kirkendall Dwyer LLP           7:21-cv-23944-MCR-GRJ
  10146      306584   Wayne Thompson                          Kirkendall Dwyer LLP                                      7:21-cv-23949-MCR-GRJ
  10147      306653   Terry Stephon                           Kirkendall Dwyer LLP                                      7:21-cv-23952-MCR-GRJ




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   Row        PID                                Name                                Firm   Admin Docket Case Number   Active Docket Case Number
  10148      306656   Nicholas Tello                          Kirkendall Dwyer LLP           7:21-cv-23955-MCR-GRJ
  10149      306692   Andrew Tarquin                          Kirkendall Dwyer LLP           7:21-cv-23959-MCR-GRJ
  10150      306715   Michael Sule                            Kirkendall Dwyer LLP                                      7:21-cv-26097-MCR-GRJ
  10151      306730   Charles Storey                          Kirkendall Dwyer LLP           7:21-cv-23967-MCR-GRJ
  10152      306732   Noah Stevens                            Kirkendall Dwyer LLP           7:21-cv-23969-MCR-GRJ
  10153      306733   Beau Stevens                            Kirkendall Dwyer LLP           7:21-cv-23970-MCR-GRJ
  10154      306735   Jerol Stepp                             Kirkendall Dwyer LLP                                      7:21-cv-23972-MCR-GRJ
  10155      306737   Stephen King                            Kirkendall Dwyer LLP           7:21-cv-23974-MCR-GRJ
  10156      306965   Christopher Finley                      Kirkendall Dwyer LLP           7:21-cv-24044-MCR-GRJ
  10157      306968   William Stanley                         Kirkendall Dwyer LLP           7:21-cv-24047-MCR-GRJ
  10158      306969   Melvin Spruill                          Kirkendall Dwyer LLP                                      7:21-cv-24048-MCR-GRJ
  10159      306971   Keelan Miles Southerland                Kirkendall Dwyer LLP           7:21-cv-24050-MCR-GRJ
  10160      306973   Jeremiah Sabotik                        Kirkendall Dwyer LLP           7:21-cv-24052-MCR-GRJ
  10161      306974   Robert Snyder                           Kirkendall Dwyer LLP           7:21-cv-24053-MCR-GRJ
  10162      306975   Eric Smothers                           Kirkendall Dwyer LLP           7:21-cv-24054-MCR-GRJ
  10163      306976   Thomas Smith                            Kirkendall Dwyer LLP           7:21-cv-24055-MCR-GRJ
  10164      306978   Larry Smallegan                         Kirkendall Dwyer LLP           7:21-cv-24057-MCR-GRJ
  10165      306979   Chris Sizemore                          Kirkendall Dwyer LLP           7:21-cv-26099-MCR-GRJ
  10166      306980   Chris Simpson                           Kirkendall Dwyer LLP                                      7:21-cv-24058-MCR-GRJ
  10167      306981   Charles Shumpert                        Kirkendall Dwyer LLP           7:21-cv-24059-MCR-GRJ
  10168      306982   Herb Shorter                            Kirkendall Dwyer LLP           7:21-cv-24060-MCR-GRJ
  10169      306983   Raymond Shelby                          Kirkendall Dwyer LLP           7:21-cv-24061-MCR-GRJ
  10170      306984   Johnny Sharp                            Kirkendall Dwyer LLP           7:21-cv-24062-MCR-GRJ
  10171      306990   Steven Seals                            Kirkendall Dwyer LLP           7:21-cv-24068-MCR-GRJ
  10172      307039   Stephen Santiago                        Kirkendall Dwyer LLP           7:21-cv-24096-MCR-GRJ
  10173      307042   Matthew Sanborn                         Kirkendall Dwyer LLP           7:21-cv-24099-MCR-GRJ
  10174      307045   Kevin Samples                           Kirkendall Dwyer LLP           7:21-cv-24102-MCR-GRJ
  10175      307049   Mualia Salamo                           Kirkendall Dwyer LLP                                      7:21-cv-24105-MCR-GRJ
  10176      307050   Christopher Sadler                      Kirkendall Dwyer LLP           7:21-cv-24106-MCR-GRJ
  10177      307059   Russell Kareem                          Kirkendall Dwyer LLP                                      7:21-cv-24114-MCR-GRJ
  10178      307068   Robert Rollerson                        Kirkendall Dwyer LLP           7:21-cv-24116-MCR-GRJ
  10179      307072   Mario Rogers                            Kirkendall Dwyer LLP                                      7:21-cv-24120-MCR-GRJ
  10180      307077   Andre Rogers                            Kirkendall Dwyer LLP                                      7:21-cv-24125-MCR-GRJ
  10181      307078   Marvel Roen                             Kirkendall Dwyer LLP           7:21-cv-24126-MCR-GRJ
  10182      307085   Hardy Rodriguez                         Kirkendall Dwyer LLP           7:21-cv-24128-MCR-GRJ
  10183      307086   Ramon Robinson                          Kirkendall Dwyer LLP           7:21-cv-24129-MCR-GRJ
  10184      307101   Laura Priebe                            Kirkendall Dwyer LLP           7:21-cv-24142-MCR-GRJ
  10185      307102   Christopher Prewitt                     Kirkendall Dwyer LLP           7:21-cv-24143-MCR-GRJ
  10186      307108   Daycus Wheaton                          Kirkendall Dwyer LLP           7:21-cv-25230-MCR-GRJ
  10187      307109   Radames Rodriguez                       Kirkendall Dwyer LLP           7:21-cv-25231-MCR-GRJ
  10188      307111   Jose Perez                              Kirkendall Dwyer LLP           7:21-cv-25233-MCR-GRJ
  10189      307112   Daniel Pearce                           Kirkendall Dwyer LLP           7:21-cv-25234-MCR-GRJ
  10190      307240   Andrea Parsley                          Kirkendall Dwyer LLP           7:21-cv-25238-MCR-GRJ
  10191      307243   Jason Owens                             Kirkendall Dwyer LLP           7:21-cv-25241-MCR-GRJ
  10192      307244   Arana Ostroswaki                        Kirkendall Dwyer LLP                                      7:21-cv-25242-MCR-GRJ
  10193      307246   William Orr                             Kirkendall Dwyer LLP           7:21-cv-25244-MCR-GRJ
  10194      307247   James O'Neal                            Kirkendall Dwyer LLP           7:21-cv-24160-MCR-GRJ
  10195      307250   Benjamyn Oconnor                        Kirkendall Dwyer LLP           7:21-cv-24162-MCR-GRJ
  10196      307251   Paula Nobles                            Kirkendall Dwyer LLP           7:21-cv-24163-MCR-GRJ
  10197      307252   Jesus Nieves                            Kirkendall Dwyer LLP           7:21-cv-24164-MCR-GRJ
  10198      307253   Edward Newell                           Kirkendall Dwyer LLP           7:21-cv-24165-MCR-GRJ
  10199      307340   Tim Nelson                              Kirkendall Dwyer LLP                                      7:21-cv-24189-MCR-GRJ
  10200      307341   Stephanie Nehiba                        Kirkendall Dwyer LLP                                      7:21-cv-24190-MCR-GRJ
  10201      307353   Nathaniel Richard                       Kirkendall Dwyer LLP           7:21-cv-24201-MCR-GRJ
  10202      307354   Christopher Myers                       Kirkendall Dwyer LLP                                      7:21-cv-24202-MCR-GRJ
  10203      307355   Christopher Murphy                      Kirkendall Dwyer LLP           7:21-cv-24203-MCR-GRJ
  10204      307357   Benjamin Mullis                         Kirkendall Dwyer LLP                                      7:21-cv-24205-MCR-GRJ
  10205      307358   Richard Mulford                         Kirkendall Dwyer LLP           7:21-cv-24206-MCR-GRJ
  10206      307360   Rodolfo Moreno                          Kirkendall Dwyer LLP           7:21-cv-24208-MCR-GRJ
  10207      307364   Jason Molzahn                           Kirkendall Dwyer LLP           7:21-cv-24212-MCR-GRJ
  10208      307366   Johnathan Mobley                        Kirkendall Dwyer LLP           7:21-cv-24214-MCR-GRJ
  10209      307367   Ralph Mitchell                          Kirkendall Dwyer LLP                                      7:21-cv-24215-MCR-GRJ
  10210      307370   Hope Melendez                           Kirkendall Dwyer LLP           7:21-cv-24218-MCR-GRJ
  10211      307371   Alfredo Medina                          Kirkendall Dwyer LLP           7:21-cv-24219-MCR-GRJ
  10212      307373   Waylon Mcguire                          Kirkendall Dwyer LLP           7:21-cv-24221-MCR-GRJ
  10213      307374   Brett Mcclung                           Kirkendall Dwyer LLP                                      7:21-cv-24222-MCR-GRJ
  10214      307378   Benjamin Marshall                       Kirkendall Dwyer LLP           7:21-cv-24226-MCR-GRJ
  10215      307381   Carrissa Lynn                           Kirkendall Dwyer LLP                                      7:21-cv-24229-MCR-GRJ
  10216      307382   James Lyles                             Kirkendall Dwyer LLP           7:21-cv-24230-MCR-GRJ
  10217      307383   Thomas Lydens                           Kirkendall Dwyer LLP           7:21-cv-24231-MCR-GRJ
  10218      307384   Joseph Loyd                             Kirkendall Dwyer LLP                                      7:21-cv-24232-MCR-GRJ
  10219      307385   John Lobato                             Kirkendall Dwyer LLP           7:21-cv-24233-MCR-GRJ
  10220      307390   Estevan Lindsey                         Kirkendall Dwyer LLP                                      7:21-cv-24237-MCR-GRJ




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   Row        PID                          Name                                      Firm   Admin Docket Case Number   Active Docket Case Number
  10221      307393   Nicholas Leblank                        Kirkendall Dwyer LLP           7:21-cv-24238-MCR-GRJ
  10222      308379   George Lassiter                         Kirkendall Dwyer LLP           7:21-cv-24240-MCR-GRJ
  10223      308381   Cody Kyle                               Kirkendall Dwyer LLP                                      7:21-cv-24242-MCR-GRJ
  10224      308383   Daniel Kramer                           Kirkendall Dwyer LLP           7:21-cv-24244-MCR-GRJ
  10225      308385   Jessie Kitchens                         Kirkendall Dwyer LLP           7:21-cv-24246-MCR-GRJ
  10226      308387   Christopher Joyce                       Kirkendall Dwyer LLP           7:21-cv-24248-MCR-GRJ
  10227      308388   Tieara Jones                            Kirkendall Dwyer LLP           7:21-cv-24249-MCR-GRJ
  10228      308390   Rashard Jones                           Kirkendall Dwyer LLP                                      7:21-cv-24251-MCR-GRJ
  10229      308391   Mark Jones                              Kirkendall Dwyer LLP           7:21-cv-24252-MCR-GRJ
  10230      308393   Christopher Jones                       Kirkendall Dwyer LLP           7:21-cv-24254-MCR-GRJ
  10231      308394   Derrick Johnson                         Kirkendall Dwyer LLP           7:21-cv-24255-MCR-GRJ
  10232      308398   Jeremiah Vianes                         Kirkendall Dwyer LLP           7:21-cv-24259-MCR-GRJ
  10233      308399   Jayson Potter                           Kirkendall Dwyer LLP           7:21-cv-24260-MCR-GRJ
  10234      308609   Michael Jacoby                          Kirkendall Dwyer LLP           7:21-cv-24262-MCR-GRJ
  10235      308611   Brandon Isaacson                        Kirkendall Dwyer LLP           7:21-cv-24264-MCR-GRJ
  10236      308612   Michael Irlacher                        Kirkendall Dwyer LLP           7:21-cv-24265-MCR-GRJ
  10237      308615   Robert Hutchins                         Kirkendall Dwyer LLP           7:21-cv-24268-MCR-GRJ
  10238      308616   Seth Huguelet                           Kirkendall Dwyer LLP           7:21-cv-24269-MCR-GRJ
  10239      308617   Christopher Houck                       Kirkendall Dwyer LLP                                      7:21-cv-24270-MCR-GRJ
  10240      308619   Caleb Holt                              Kirkendall Dwyer LLP           7:21-cv-24271-MCR-GRJ
  10241      308621   Joel Hokkanen                           Kirkendall Dwyer LLP                                      7:21-cv-26151-MCR-GRJ
  10242      308622   Emery Hogancamp                         Kirkendall Dwyer LLP           7:21-cv-26152-MCR-GRJ
  10243      308623   Jeremy Hetrick                          Kirkendall Dwyer LLP           7:21-cv-26153-MCR-GRJ
  10244      308624   Brad Harper                             Kirkendall Dwyer LLP           7:21-cv-26154-MCR-GRJ
  10245      308625   Charles Gwynn                           Kirkendall Dwyer LLP           7:21-cv-26155-MCR-GRJ
  10246      308628   Damonique Mcclain                       Kirkendall Dwyer LLP           7:21-cv-26158-MCR-GRJ
  10247      308635   Jamal Guy                               Kirkendall Dwyer LLP           7:21-cv-26165-MCR-GRJ
  10248      308636   Dudley Griffith                         Kirkendall Dwyer LLP           7:21-cv-26166-MCR-GRJ
  10249      308737   Judy Archuleta                          Kirkendall Dwyer LLP           7:21-cv-26168-MCR-GRJ
  10250      308738   Michael Gosselin                        Kirkendall Dwyer LLP                                      7:21-cv-26169-MCR-GRJ
  10251      308745   Derick Gooch                            Kirkendall Dwyer LLP           7:21-cv-26174-MCR-GRJ
  10252      308747   David Gilmore                           Kirkendall Dwyer LLP           7:21-cv-26176-MCR-GRJ
  10253      308754   Elbert Gates                            Kirkendall Dwyer LLP           7:21-cv-26182-MCR-GRJ
  10254      308756   Thomas Fuller                           Kirkendall Dwyer LLP                                      7:21-cv-26184-MCR-GRJ
  10255      308757   Justin Fuller                           Kirkendall Dwyer LLP                                      7:21-cv-26185-MCR-GRJ
  10256      308758   Steve Fryer                             Kirkendall Dwyer LLP                                      7:21-cv-26186-MCR-GRJ
  10257      308760   Roberto Flores                          Kirkendall Dwyer LLP           7:21-cv-26188-MCR-GRJ
  10258      309680   John Farabaugh                          Kirkendall Dwyer LLP           7:21-cv-26198-MCR-GRJ
  10259      309681   Brian Eubanks                           Kirkendall Dwyer LLP                                      7:21-cv-26199-MCR-GRJ
  10260      309682   Lenore Ellery                           Kirkendall Dwyer LLP           7:21-cv-26200-MCR-GRJ
  10261      309685   Christopher Ebertz                      Kirkendall Dwyer LLP                                      7:21-cv-26203-MCR-GRJ
  10262      309686   Mario Eargood                           Kirkendall Dwyer LLP           7:21-cv-26204-MCR-GRJ
  10263      309688   Casandra Dykstra                        Kirkendall Dwyer LLP           7:21-cv-26205-MCR-GRJ
  10264      309692   Tansley Ducote                          Kirkendall Dwyer LLP                                      7:21-cv-26209-MCR-GRJ
  10265      309693   Daniel Dougherty                        Kirkendall Dwyer LLP           7:21-cv-26210-MCR-GRJ
  10266      309695   Fred Fitzsimmons                        Kirkendall Dwyer LLP           7:21-cv-26212-MCR-GRJ
  10267      309703   Seth Cushman                            Kirkendall Dwyer LLP                                      7:21-cv-26219-MCR-GRJ
  10268      309704   Richard Curtis                          Kirkendall Dwyer LLP           7:21-cv-26220-MCR-GRJ
  10269      309705   Clarice Hartsfield                      Kirkendall Dwyer LLP                                      7:21-cv-26221-MCR-GRJ
  10270      309706   Tyler Cunningham                        Kirkendall Dwyer LLP           7:21-cv-26222-MCR-GRJ
  10271      309740   Ryan Cornelius                          Kirkendall Dwyer LLP           7:21-cv-26880-MCR-GRJ
  10272      309742   Michael Commisso                        Kirkendall Dwyer LLP                                      7:21-cv-26882-MCR-GRJ
  10273      309745   Clifton Pearce                          Kirkendall Dwyer LLP           7:21-cv-26885-MCR-GRJ
  10274      309746   Lawrence Clark                          Kirkendall Dwyer LLP                                      7:21-cv-26886-MCR-GRJ
  10275      309747   Cherry Cario                            Kirkendall Dwyer LLP           7:21-cv-26887-MCR-GRJ
  10276      309748   Francis Chelkonas                       Kirkendall Dwyer LLP           7:21-cv-26888-MCR-GRJ
  10277      309749   Joseph Chavez                           Kirkendall Dwyer LLP           7:21-cv-26889-MCR-GRJ
  10278      309750   Deangelo Carter                         Kirkendall Dwyer LLP                                      7:21-cv-26890-MCR-GRJ
  10279      309751   Steven Campbell                         Kirkendall Dwyer LLP           7:21-cv-26891-MCR-GRJ
  10280      309752   Jason Burdick                           Kirkendall Dwyer LLP           7:21-cv-26892-MCR-GRJ
  10281      319593   Anthony Brown                           Kirkendall Dwyer LLP           7:21-cv-35831-MCR-GRJ
  10282      319772   Edward Gillard                          Kirkendall Dwyer LLP           7:21-cv-30001-MCR-GRJ
  10283      319789   Theodore Edwards                        Kirkendall Dwyer LLP           7:21-cv-30028-MCR-GRJ
  10284      320031   Jovan Caicedo                           Kirkendall Dwyer LLP           7:21-cv-31387-MCR-GRJ
  10285      320033   Nicholas Campbell                       Kirkendall Dwyer LLP           7:21-cv-31389-MCR-GRJ
  10286      320034   Phillip Iverson                         Kirkendall Dwyer LLP           7:21-cv-31390-MCR-GRJ
  10287      320941   Jennie Reist                            Kirkendall Dwyer LLP           7:21-cv-31393-MCR-GRJ
  10288      320974   Levi Hines                              Kirkendall Dwyer LLP                                      7:21-cv-35838-MCR-GRJ
  10289      321248   Keith Agee                              Kirkendall Dwyer LLP           7:21-cv-37408-MCR-GRJ
  10290      321249   Raymond Albarado                        Kirkendall Dwyer LLP                                      7:21-cv-37409-MCR-GRJ
  10291      321253   Travis Alston                           Kirkendall Dwyer LLP           7:21-cv-37413-MCR-GRJ
  10292      321255   Emma Anderson                           Kirkendall Dwyer LLP           7:21-cv-37415-MCR-GRJ
  10293      321256   Jose Arenivas                           Kirkendall Dwyer LLP           7:21-cv-37416-MCR-GRJ




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  10294      321257   Jack Armstrong                          Kirkendall Dwyer LLP                                      7:21-cv-37417-MCR-GRJ
  10295      321259   Jamie Ashe                              Kirkendall Dwyer LLP           7:21-cv-37419-MCR-GRJ
  10296      321266   Anthony Banaszak                        Kirkendall Dwyer LLP                                      7:21-cv-37426-MCR-GRJ
  10297      321267   Erica Barry                             Kirkendall Dwyer LLP           7:21-cv-37427-MCR-GRJ
  10298      321268   Dwayne Battle                           Kirkendall Dwyer LLP           7:21-cv-37428-MCR-GRJ
  10299      321270   John Baylor                             Kirkendall Dwyer LLP                                      7:21-cv-37430-MCR-GRJ
  10300      321273   Corey Bell                              Kirkendall Dwyer LLP           7:21-cv-37433-MCR-GRJ
  10301      321275   Brandon Bender                          Kirkendall Dwyer LLP           7:21-cv-37435-MCR-GRJ
  10302      321277   Richard Bennett                         Kirkendall Dwyer LLP           7:21-cv-37437-MCR-GRJ
  10303      321287   Alejandro Boulware                      Kirkendall Dwyer LLP           7:21-cv-37447-MCR-GRJ
  10304      321289   Larry Bradford                          Kirkendall Dwyer LLP           7:21-cv-37449-MCR-GRJ
  10305      321291   James Brown                             Kirkendall Dwyer LLP           7:21-cv-37451-MCR-GRJ
  10306      321292   Jermaine Bullock                        Kirkendall Dwyer LLP           7:21-cv-37452-MCR-GRJ
  10307      321295   David Burress                           Kirkendall Dwyer LLP                                      7:21-cv-37455-MCR-GRJ
  10308      321296   Robin Bynoe                             Kirkendall Dwyer LLP           7:21-cv-37456-MCR-GRJ
  10309      321297   Wesley Byrd                             Kirkendall Dwyer LLP           7:21-cv-37457-MCR-GRJ
  10310      321298   Tony Caldwell                           Kirkendall Dwyer LLP           7:21-cv-37458-MCR-GRJ
  10311      321301   Scott Campion                           Kirkendall Dwyer LLP           7:21-cv-37461-MCR-GRJ
  10312      321303   Jonathan Carson                         Kirkendall Dwyer LLP           7:21-cv-37463-MCR-GRJ
  10313      321304   George Case                             Kirkendall Dwyer LLP           7:21-cv-37464-MCR-GRJ
  10314      321306   Robert Chambliss                        Kirkendall Dwyer LLP                                      7:21-cv-37466-MCR-GRJ
  10315      321308   Spencer Chavis                          Kirkendall Dwyer LLP           7:21-cv-37468-MCR-GRJ
  10316      321309   Henry Cobb                              Kirkendall Dwyer LLP                                      7:21-cv-37469-MCR-GRJ
  10317      321313   Bryan Colucci                           Kirkendall Dwyer LLP           7:21-cv-37473-MCR-GRJ
  10318      321314   Josh Cooper                             Kirkendall Dwyer LLP           7:21-cv-37474-MCR-GRJ
  10319      321315   James Cordes                            Kirkendall Dwyer LLP                                      7:21-cv-37475-MCR-GRJ
  10320      321316   Kenneth Cordova                         Kirkendall Dwyer LLP           7:21-cv-37476-MCR-GRJ
  10321      321319   Chad Cowher                             Kirkendall Dwyer LLP           7:21-cv-37479-MCR-GRJ
  10322      321320   Cristopher Cox                          Kirkendall Dwyer LLP           7:21-cv-37480-MCR-GRJ
  10323      321322   Barbara Crawaford                       Kirkendall Dwyer LLP                                      7:21-cv-37482-MCR-GRJ
  10324      321323   Jonathan Culwell                        Kirkendall Dwyer LLP           7:21-cv-37483-MCR-GRJ
  10325      321324   Heather Cummings                        Kirkendall Dwyer LLP                                      7:21-cv-37484-MCR-GRJ
  10326      321325   Christopher Cummins                     Kirkendall Dwyer LLP           7:21-cv-37485-MCR-GRJ
  10327      321326   Robert Cyrus                            Kirkendall Dwyer LLP           7:21-cv-37486-MCR-GRJ
  10328      321330   Michael Davis                           Kirkendall Dwyer LLP           7:21-cv-37490-MCR-GRJ
  10329      321331   Fransheka Dean                          Kirkendall Dwyer LLP           7:21-cv-37491-MCR-GRJ
  10330      321332   Xavier Deleon                           Kirkendall Dwyer LLP           7:21-cv-37492-MCR-GRJ
  10331      321333   Bret Depratu                            Kirkendall Dwyer LLP           7:21-cv-37493-MCR-GRJ
  10332      321335   Beau Dgordon                            Kirkendall Dwyer LLP           7:21-cv-37495-MCR-GRJ
  10333      321337   Steve Dikum                             Kirkendall Dwyer LLP           7:21-cv-37496-MCR-GRJ
  10334      321338   Michael Dixon                           Kirkendall Dwyer LLP           7:21-cv-37497-MCR-GRJ
  10335      321340   Jeffery Donahue                         Kirkendall Dwyer LLP                                      7:21-cv-37499-MCR-GRJ
  10336      321341   Michael Doncaster                       Kirkendall Dwyer LLP           7:21-cv-37500-MCR-GRJ
  10337      321342   Cynthia Donovan                         Kirkendall Dwyer LLP           7:21-cv-37501-MCR-GRJ
  10338      321343   Rah-Jaunn Dorsey                        Kirkendall Dwyer LLP           7:21-cv-37502-MCR-GRJ
  10339      321344   Cody Dotson                             Kirkendall Dwyer LLP           7:21-cv-37503-MCR-GRJ
  10340      321345   Eddie Douglas                           Kirkendall Dwyer LLP           7:21-cv-37504-MCR-GRJ
  10341      321348   Gale Eaton                              Kirkendall Dwyer LLP           7:21-cv-37507-MCR-GRJ
  10342      321349   Benjamin Eaton                          Kirkendall Dwyer LLP           7:21-cv-37508-MCR-GRJ
  10343      321350   Nathan Edwards                          Kirkendall Dwyer LLP           7:21-cv-37969-MCR-GRJ
  10344      321354   Cody Famularo                           Kirkendall Dwyer LLP           7:21-cv-37512-MCR-GRJ
  10345      321355   Ervin Fedderman                         Kirkendall Dwyer LLP           7:21-cv-37513-MCR-GRJ
  10346      321356   Jeffrey Ferguson                        Kirkendall Dwyer LLP           7:21-cv-37514-MCR-GRJ
  10347      321357   Darrel Ferreira                         Kirkendall Dwyer LLP           7:21-cv-37515-MCR-GRJ
  10348      321358   Christopher Fields                      Kirkendall Dwyer LLP           7:21-cv-37516-MCR-GRJ
  10349      321359   Donald Fields                           Kirkendall Dwyer LLP           7:21-cv-37517-MCR-GRJ
  10350      321360   Adriel Finley                           Kirkendall Dwyer LLP           7:21-cv-37518-MCR-GRJ
  10351      321362   Jarred Fix                              Kirkendall Dwyer LLP           7:21-cv-37520-MCR-GRJ
  10352      321364   Keith Forsett                           Kirkendall Dwyer LLP           7:21-cv-37522-MCR-GRJ
  10353      321366   Fabain Fowler                           Kirkendall Dwyer LLP           7:21-cv-37524-MCR-GRJ
  10354      321367   Tim Fox                                 Kirkendall Dwyer LLP           7:21-cv-37525-MCR-GRJ
  10355      321368   Aaron Franklin                          Kirkendall Dwyer LLP           7:21-cv-37526-MCR-GRJ
  10356      321369   Gina Freeman                            Kirkendall Dwyer LLP           7:21-cv-37527-MCR-GRJ
  10357      321371   Kraig French                            Kirkendall Dwyer LLP           7:21-cv-37529-MCR-GRJ
  10358      321372   Sean French                             Kirkendall Dwyer LLP           7:21-cv-37530-MCR-GRJ
  10359      321375   Jose Galvan                             Kirkendall Dwyer LLP           7:21-cv-37533-MCR-GRJ
  10360      321376   Aaron Garcia                            Kirkendall Dwyer LLP           7:21-cv-37534-MCR-GRJ
  10361      321377   James Garner                            Kirkendall Dwyer LLP           7:21-cv-37535-MCR-GRJ
  10362      321379   David Genobles                          Kirkendall Dwyer LLP           7:21-cv-37537-MCR-GRJ
  10363      321380   Kyle Giaccarini                         Kirkendall Dwyer LLP           7:21-cv-37538-MCR-GRJ
  10364      321381   Luis Giammattei                         Kirkendall Dwyer LLP           7:21-cv-37539-MCR-GRJ
  10365      321382   Cody Gibson                             Kirkendall Dwyer LLP           7:21-cv-37540-MCR-GRJ
  10366      321383   Matthew Gilpin                          Kirkendall Dwyer LLP           7:21-cv-37541-MCR-GRJ




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   Row        PID                           Name                                     Firm   Admin Docket Case Number   Active Docket Case Number
  10367      321385   Tommy Goodwin                           Kirkendall Dwyer LLP           7:21-cv-37543-MCR-GRJ
  10368      321386   Taylor Goodwyn                          Kirkendall Dwyer LLP           7:21-cv-37544-MCR-GRJ
  10369      321387   Christopher Graham                      Kirkendall Dwyer LLP           7:21-cv-37545-MCR-GRJ
  10370      321388   Sabrina Graham                          Kirkendall Dwyer LLP                                      7:21-cv-37546-MCR-GRJ
  10371      321393   Gregory Onnie                           Kirkendall Dwyer LLP           7:21-cv-37551-MCR-GRJ
  10372      321394   Michael Griffin                         Kirkendall Dwyer LLP                                      7:21-cv-37552-MCR-GRJ
  10373      321397   James Gulde                             Kirkendall Dwyer LLP           7:21-cv-37555-MCR-GRJ
  10374      321399   Michael Haberkorn                       Kirkendall Dwyer LLP           7:21-cv-37557-MCR-GRJ
  10375      321400   Gregory Hailey                          Kirkendall Dwyer LLP           7:21-cv-37558-MCR-GRJ
  10376      321404   Alexander Harris                        Kirkendall Dwyer LLP                                      7:21-cv-37561-MCR-GRJ
  10377      321406   Jason Hayes                             Kirkendall Dwyer LLP                                      7:21-cv-37563-MCR-GRJ
  10378      321407   Michael Hayes                           Kirkendall Dwyer LLP           7:21-cv-37564-MCR-GRJ
  10379      321409   Wayne Hedgpeth                          Kirkendall Dwyer LLP           7:21-cv-37565-MCR-GRJ
  10380      321410   April Henderson                         Kirkendall Dwyer LLP           7:21-cv-37566-MCR-GRJ
  10381      321414   Michael Hern                            Kirkendall Dwyer LLP                                      7:21-cv-37569-MCR-GRJ
  10382      321417   Rick Hevenor                            Kirkendall Dwyer LLP           7:21-cv-37572-MCR-GRJ
  10383      321422   Sherrann Hodges                         Kirkendall Dwyer LLP           7:21-cv-37577-MCR-GRJ
  10384      321423   Jason Holland                           Kirkendall Dwyer LLP           7:21-cv-37578-MCR-GRJ
  10385      321424   Michael Hollifield                      Kirkendall Dwyer LLP           7:21-cv-37579-MCR-GRJ
  10386      321425   Anthony Holuka                          Kirkendall Dwyer LLP           7:21-cv-37580-MCR-GRJ
  10387      321427   Robert Hover                            Kirkendall Dwyer LLP                                      7:21-cv-37582-MCR-GRJ
  10388      321428   James Howard                            Kirkendall Dwyer LLP           7:21-cv-37583-MCR-GRJ
  10389      321429   Corey Howard                            Kirkendall Dwyer LLP           7:21-cv-37584-MCR-GRJ
  10390      321432   Justin Hunter                           Kirkendall Dwyer LLP           7:21-cv-37587-MCR-GRJ
  10391      321435   Matthew Jackson                         Kirkendall Dwyer LLP           7:21-cv-37590-MCR-GRJ
  10392      321438   Dewayne Jenkins                         Kirkendall Dwyer LLP           7:21-cv-37593-MCR-GRJ
  10393      321439   Jason Jennings                          Kirkendall Dwyer LLP           7:21-cv-37594-MCR-GRJ
  10394      321440   Cody Jesioloski                         Kirkendall Dwyer LLP                                      7:21-cv-37595-MCR-GRJ
  10395      321441   Christopher Jeter                       Kirkendall Dwyer LLP           7:21-cv-37596-MCR-GRJ
  10396      321445   Kim Johnson                             Kirkendall Dwyer LLP           7:21-cv-37600-MCR-GRJ
  10397      321447   Joshua Johnston                         Kirkendall Dwyer LLP                                      7:21-cv-37602-MCR-GRJ
  10398      321448   Erik Jones                              Kirkendall Dwyer LLP           7:21-cv-37603-MCR-GRJ
  10399      321449   Jason Jones                             Kirkendall Dwyer LLP           7:21-cv-37604-MCR-GRJ
  10400      321450   James Jones                             Kirkendall Dwyer LLP                                      7:21-cv-37605-MCR-GRJ
  10401      321451   Kevin Jones                             Kirkendall Dwyer LLP           7:21-cv-37606-MCR-GRJ
  10402      321452   Marvin Jones                            Kirkendall Dwyer LLP           7:21-cv-37607-MCR-GRJ
  10403      321454   Jason Kelly                             Kirkendall Dwyer LLP           7:21-cv-37609-MCR-GRJ
  10404      321455   Travis Kelso                            Kirkendall Dwyer LLP           7:21-cv-37610-MCR-GRJ
  10405      321457   James King                              Kirkendall Dwyer LLP           7:21-cv-37612-MCR-GRJ
  10406      321458   Johnnie Kinney                          Kirkendall Dwyer LLP           7:21-cv-37613-MCR-GRJ
  10407      321459   Faith Knowles                           Kirkendall Dwyer LLP           7:21-cv-37614-MCR-GRJ
  10408      321460   Everest Koetter                         Kirkendall Dwyer LLP           7:21-cv-37615-MCR-GRJ
  10409      321463   Ronald Ladson                           Kirkendall Dwyer LLP           7:21-cv-38060-MCR-GRJ
  10410      321466   Joshua Lee                              Kirkendall Dwyer LLP           7:21-cv-38067-MCR-GRJ
  10411      321467   Daniel Lee                              Kirkendall Dwyer LLP           7:21-cv-38069-MCR-GRJ
  10412      321468   Andrew Leonard                          Kirkendall Dwyer LLP                                      7:21-cv-38071-MCR-GRJ
  10413      321471   Edron Lewis                             Kirkendall Dwyer LLP           7:21-cv-38077-MCR-GRJ
  10414      321472   Lance Locke                             Kirkendall Dwyer LLP           7:21-cv-38079-MCR-GRJ
  10415      321476   Rochelle Lopez                          Kirkendall Dwyer LLP           7:21-cv-38088-MCR-GRJ
  10416      321477   Ryan Lorenzon                           Kirkendall Dwyer LLP           7:21-cv-38090-MCR-GRJ
  10417      321478   Jason Lukas                             Kirkendall Dwyer LLP           7:21-cv-38092-MCR-GRJ
  10418      321479   Matthew Macdonald                       Kirkendall Dwyer LLP           7:21-cv-38094-MCR-GRJ
  10419      321481   Zachary Magallones                      Kirkendall Dwyer LLP           7:21-cv-38098-MCR-GRJ
  10420      321482   Roselia Maldonado                       Kirkendall Dwyer LLP           7:21-cv-38100-MCR-GRJ
  10421      321483   Christopher Manley                      Kirkendall Dwyer LLP           7:21-cv-38102-MCR-GRJ
  10422      321487   Greg Marsh                              Kirkendall Dwyer LLP           7:21-cv-38110-MCR-GRJ
  10423      321491   Chester Mathis                          Kirkendall Dwyer LLP           7:21-cv-38118-MCR-GRJ
  10424      321493   Edgardo Mayson-Baez                     Kirkendall Dwyer LLP           7:21-cv-38123-MCR-GRJ
  10425      321495   Monica Mccray                           Kirkendall Dwyer LLP           7:21-cv-38130-MCR-GRJ
  10426      321496   Ryan Mcgeorge                           Kirkendall Dwyer LLP           7:21-cv-38133-MCR-GRJ
  10427      321497   Josh Mcgurn                             Kirkendall Dwyer LLP           7:21-cv-38136-MCR-GRJ
  10428      321498   Daniel Mckenzie                         Kirkendall Dwyer LLP           7:21-cv-38139-MCR-GRJ
  10429      321499   Eric Mckinsey                           Kirkendall Dwyer LLP           7:21-cv-38142-MCR-GRJ
  10430      321500   Miles Mclane                            Kirkendall Dwyer LLP           7:21-cv-38146-MCR-GRJ
  10431      321501   Karen Mcmillan                          Kirkendall Dwyer LLP                                      7:21-cv-38149-MCR-GRJ
  10432      321505   Carlos Mendez                           Kirkendall Dwyer LLP           7:21-cv-38162-MCR-GRJ
  10433      321507   Randy Meyer                             Kirkendall Dwyer LLP                                      7:21-cv-38168-MCR-GRJ
  10434      321508   Raymond Meyers                          Kirkendall Dwyer LLP           7:21-cv-38171-MCR-GRJ
  10435      321509   Antonioni Miguel                        Kirkendall Dwyer LLP           7:21-cv-38174-MCR-GRJ
  10436      321513   Michael Mizo                            Kirkendall Dwyer LLP           7:21-cv-38186-MCR-GRJ
  10437      321514   Matthew Molton                          Kirkendall Dwyer LLP           7:21-cv-38189-MCR-GRJ
  10438      321516   Reggie Moot                             Kirkendall Dwyer LLP                                      7:21-cv-38195-MCR-GRJ
  10439      321517   Daniel Morales                          Kirkendall Dwyer LLP           7:21-cv-38199-MCR-GRJ




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  10440      321518   James Moran                             Kirkendall Dwyer LLP                                      7:21-cv-38202-MCR-GRJ
  10441      321520   Morgan Macgregor                        Kirkendall Dwyer LLP           7:21-cv-38208-MCR-GRJ
  10442      321524   James Mosteller                         Kirkendall Dwyer LLP           7:21-cv-38217-MCR-GRJ
  10443      321525   Erin Mullen                             Kirkendall Dwyer LLP           7:21-cv-38220-MCR-GRJ
  10444      321528   Michael Murray                          Kirkendall Dwyer LLP           7:21-cv-38229-MCR-GRJ
  10445      321529   Bradley Mynor                           Kirkendall Dwyer LLP                                      7:21-cv-38232-MCR-GRJ
  10446      321530   Alejandro Narvaez                       Kirkendall Dwyer LLP           7:21-cv-38235-MCR-GRJ
  10447      321531   Brandon Nauss                           Kirkendall Dwyer LLP           7:21-cv-38238-MCR-GRJ
  10448      321534   Joshua Nelson                           Kirkendall Dwyer LLP                                      7:21-cv-38249-MCR-GRJ
  10449      321535   Keegan Nelson                           Kirkendall Dwyer LLP                                      7:21-cv-38252-MCR-GRJ
  10450      321536   Charles Newcomb                         Kirkendall Dwyer LLP           7:21-cv-38255-MCR-GRJ
  10451      321537   Felix Nunez                             Kirkendall Dwyer LLP           7:21-cv-38258-MCR-GRJ
  10452      321538   Heine Nzumafo                           Kirkendall Dwyer LLP           7:21-cv-38262-MCR-GRJ
  10453      321542   Chris Odom                              Kirkendall Dwyer LLP           7:21-cv-38274-MCR-GRJ
  10454      321543   Aaron Odum                              Kirkendall Dwyer LLP           7:21-cv-38278-MCR-GRJ
  10455      321545   Carlos Ortiz                            Kirkendall Dwyer LLP           7:21-cv-38284-MCR-GRJ
  10456      321546   Damian Ottey                            Kirkendall Dwyer LLP           7:21-cv-38288-MCR-GRJ
  10457      321547   Robert Overmyer                         Kirkendall Dwyer LLP           7:21-cv-38291-MCR-GRJ
  10458      321554   Gorman Penn                             Kirkendall Dwyer LLP           7:21-cv-38313-MCR-GRJ
  10459      321556   Raul Perez                              Kirkendall Dwyer LLP           7:21-cv-38320-MCR-GRJ
  10460      321559   Kevin Phillips                          Kirkendall Dwyer LLP           7:21-cv-38327-MCR-GRJ
  10461      321560   Cesar Pierattini                        Kirkendall Dwyer LLP           7:21-cv-38329-MCR-GRJ
  10462      321561   Aaron Pinto                             Kirkendall Dwyer LLP           7:21-cv-38331-MCR-GRJ
  10463      321563   Kenneth Porter                          Kirkendall Dwyer LLP           7:21-cv-38335-MCR-GRJ
  10464      321564   Leo Potter                              Kirkendall Dwyer LLP           7:21-cv-38337-MCR-GRJ
  10465      321565   Jonathan Presley                        Kirkendall Dwyer LLP           7:21-cv-38339-MCR-GRJ
  10466      321567   Edward Pryne                            Kirkendall Dwyer LLP           7:21-cv-38343-MCR-GRJ
  10467      321569   Enrique Ramos                           Kirkendall Dwyer LLP           7:21-cv-38347-MCR-GRJ
  10468      321572   James Ray                               Kirkendall Dwyer LLP           7:21-cv-38353-MCR-GRJ
  10469      321577   Joshua Roan                             Kirkendall Dwyer LLP           7:21-cv-38358-MCR-GRJ
  10470      321581   Eric Rodgers                            Kirkendall Dwyer LLP           7:21-cv-38362-MCR-GRJ
  10471      321582   Fernando Rodriguez                      Kirkendall Dwyer LLP           7:21-cv-38363-MCR-GRJ
  10472      321583   Jose Rodriguez                          Kirkendall Dwyer LLP           7:21-cv-38364-MCR-GRJ
  10473      321585   Filiberto Rodriguez                     Kirkendall Dwyer LLP           7:21-cv-38366-MCR-GRJ
  10474      321587   Terry Rogers                            Kirkendall Dwyer LLP           7:21-cv-38368-MCR-GRJ
  10475      321588   David Roman                             Kirkendall Dwyer LLP           7:21-cv-38369-MCR-GRJ
  10476      321590   Michael Roth                            Kirkendall Dwyer LLP           7:21-cv-38371-MCR-GRJ
  10477      321591   David Ruble                             Kirkendall Dwyer LLP                                      7:21-cv-38372-MCR-GRJ
  10478      321593   Lucas Sachse                            Kirkendall Dwyer LLP           7:21-cv-38374-MCR-GRJ
  10479      321594   Jonathan Sadler                         Kirkendall Dwyer LLP                                      7:21-cv-38375-MCR-GRJ
  10480      321596   Mark Salatin                            Kirkendall Dwyer LLP           7:21-cv-38377-MCR-GRJ
  10481      321597   Cory Samuel                             Kirkendall Dwyer LLP           7:21-cv-38378-MCR-GRJ
  10482      321599   Hiram Santos Aviles                     Kirkendall Dwyer LLP           7:21-cv-38380-MCR-GRJ
  10483      321600   David Sarafin                           Kirkendall Dwyer LLP                                      7:21-cv-38381-MCR-GRJ
  10484      321602   John Schloeder                          Kirkendall Dwyer LLP                                      7:21-cv-38383-MCR-GRJ
  10485      321605   Mike Scott                              Kirkendall Dwyer LLP                                      7:21-cv-38386-MCR-GRJ
  10486      321606   Taylor Seep                             Kirkendall Dwyer LLP           7:21-cv-38387-MCR-GRJ
  10487      321608   Robin Shelton                           Kirkendall Dwyer LLP                                      7:21-cv-38389-MCR-GRJ
  10488      321610   Terrence Short                          Kirkendall Dwyer LLP           7:21-cv-38391-MCR-GRJ
  10489      321612   James Sizemore                          Kirkendall Dwyer LLP           7:21-cv-38393-MCR-GRJ
  10490      321613   Sean Smilie                             Kirkendall Dwyer LLP                                      7:21-cv-38394-MCR-GRJ
  10491      321614   Shawn Smith                             Kirkendall Dwyer LLP           7:21-cv-38395-MCR-GRJ
  10492      321616   Angela Smith                            Kirkendall Dwyer LLP           7:21-cv-38397-MCR-GRJ
  10493      321617   Bill Smith                              Kirkendall Dwyer LLP           7:21-cv-38398-MCR-GRJ
  10494      321619   Roger Smith                             Kirkendall Dwyer LLP           7:21-cv-38400-MCR-GRJ
  10495      321621   Spencer Manning                         Kirkendall Dwyer LLP           7:21-cv-38402-MCR-GRJ
  10496      321622   Raymond Spooner                         Kirkendall Dwyer LLP           7:21-cv-38403-MCR-GRJ
  10497      321623   Terry Sprague                           Kirkendall Dwyer LLP           7:21-cv-38404-MCR-GRJ
  10498      321624   Joni Sprung                             Kirkendall Dwyer LLP           7:21-cv-38405-MCR-GRJ
  10499      321625   Joseph Stanley                          Kirkendall Dwyer LLP           7:21-cv-38406-MCR-GRJ
  10500      321626   Chris Stanton                           Kirkendall Dwyer LLP           7:21-cv-38407-MCR-GRJ
  10501      321627   Roderick Starks                         Kirkendall Dwyer LLP           7:21-cv-38408-MCR-GRJ
  10502      321628   Christopher Steeley                     Kirkendall Dwyer LLP           7:21-cv-38409-MCR-GRJ
  10503      321631   Christian Stokes                        Kirkendall Dwyer LLP           7:21-cv-38412-MCR-GRJ
  10504      321633   Timothy Storrs                          Kirkendall Dwyer LLP           7:21-cv-38414-MCR-GRJ
  10505      321634   Grant Strickland                        Kirkendall Dwyer LLP           7:21-cv-38415-MCR-GRJ
  10506      321637   Jacob Thomas                            Kirkendall Dwyer LLP                                      7:21-cv-38418-MCR-GRJ
  10507      321638   Irma Torres Suarez                      Kirkendall Dwyer LLP           7:21-cv-38419-MCR-GRJ
  10508      321643   Henry Turnipseed                        Kirkendall Dwyer LLP           7:21-cv-38424-MCR-GRJ
  10509      321647   Dale Vinopal                            Kirkendall Dwyer LLP           7:21-cv-38428-MCR-GRJ
  10510      321648   Benjamin Votaw                          Kirkendall Dwyer LLP           7:21-cv-38429-MCR-GRJ
  10511      321649   Anthony Vuolo                           Kirkendall Dwyer LLP                                      7:21-cv-38430-MCR-GRJ
  10512      321652   Allen Weathers                          Kirkendall Dwyer LLP                                      7:21-cv-38433-MCR-GRJ




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  10513      321653   Scott Weber                             Kirkendall Dwyer LLP                 7:21-cv-38434-MCR-GRJ
  10514      321655   Eric West                               Kirkendall Dwyer LLP                 7:21-cv-38436-MCR-GRJ
  10515      321656   Brantley Wetherington                   Kirkendall Dwyer LLP                 7:21-cv-38437-MCR-GRJ
  10516      321658   Stephen Widdecomb                       Kirkendall Dwyer LLP                                            7:21-cv-38439-MCR-GRJ
  10517      321660   David Williams                          Kirkendall Dwyer LLP                 7:21-cv-38441-MCR-GRJ
  10518      321662   Elijah Wilson                           Kirkendall Dwyer LLP                 7:21-cv-38443-MCR-GRJ
  10519      321668   Scott Worn                              Kirkendall Dwyer LLP                                            7:21-cv-38449-MCR-GRJ
  10520      321670   Zachary Yates                           Kirkendall Dwyer LLP                 7:21-cv-38451-MCR-GRJ
  10521      321671   Anthony Young                           Kirkendall Dwyer LLP                 7:21-cv-38452-MCR-GRJ
  10522      321856   Stevie Swift                            Kirkendall Dwyer LLP                 7:21-cv-37237-MCR-GRJ
  10523      325600   Stephen Monroe                          Kirkendall Dwyer LLP                 7:21-cv-40606-MCR-GRJ
  10524      325602   Timothy Prairie                         Kirkendall Dwyer LLP                 7:21-cv-40608-MCR-GRJ
  10525      332804   Lamar Dupree                            Kirkendall Dwyer LLP                                            7:21-cv-48582-MCR-GRJ
  10526      336200   Tyree Carroll                           Kirkendall Dwyer LLP                 7:21-cv-54402-MCR-GRJ
  10527      77052    Matthew Coomer                          Kirtland & Packard LLP                                          7:20-cv-69651-MCR-GRJ
  10528      77174    Cornell Mccloud                         Kirtland & Packard LLP                                          7:20-cv-69999-MCR-GRJ
  10529      77209    Gabriel Palacios                        Kirtland & Packard LLP                                          7:20-cv-70036-MCR-GRJ
  10530      77241    Adam Schafer                            Kirtland & Packard LLP               7:20-cv-71171-MCR-GRJ
  10531      164629   Johnny Boykin                           Kirtland & Packard LLP               7:20-cv-88559-MCR-GRJ
  10532      164667   Rudy Lopez                              Kirtland & Packard LLP               7:20-cv-88626-MCR-GRJ
  10533      164704   Darin Shrewsberry                       Kirtland & Packard LLP                                          7:20-cv-88681-MCR-GRJ
  10534      164708   Peter Stamey                            Kirtland & Packard LLP                                          7:20-cv-88685-MCR-GRJ
  10535      234424   Tyler Baker                             Kirtland & Packard LLP                                          8:20-cv-89912-MCR-GRJ
  10536      234538   Bunthearn Hem                           Kirtland & Packard LLP                                          8:20-cv-90026-MCR-GRJ
  10537      243381   Brandon Landry                          Kirtland & Packard LLP                                          8:20-cv-90533-MCR-GRJ
  10538      243399   Ronald Lynch                            Kirtland & Packard LLP               8:20-cv-90553-MCR-GRJ
  10539      243474   William Russell                         Kirtland & Packard LLP                                          8:20-cv-90629-MCR-GRJ
  10540      247267   Johnnie Wamsley                         Kirtland & Packard LLP                                          9:20-cv-02777-MCR-GRJ
  10541      261418   Roberto Figuero                         Kirtland & Packard LLP               9:20-cv-05332-MCR-GRJ
  10542      102303   Johnson Juste                           Kopelowitz Ostrow PA                                            8:20-cv-16793-MCR-GRJ
  10543      102311   Courtney Parker                         Kopelowitz Ostrow PA                                            8:20-cv-16820-MCR-GRJ
  10544      102321   Aaron Smith                             Kopelowitz Ostrow PA                                            8:20-cv-16856-MCR-GRJ
  10545      102325   Zachary Wilson                          Kopelowitz Ostrow PA                                            8:20-cv-16872-MCR-GRJ
  10546      252954   Jerry Dumm                              Ladendorf Law                                                   3:20-cv-05673-MCR-GRJ
  10547      76851    Scott Brigham                           Laminack Pirtle & Martines           7:20-cv-49382-MCR-GRJ
  10548      76868    Nathan Sommer                           Laminack Pirtle & Martines           7:20-cv-49432-MCR-GRJ
  10549      76872    Lawrence Harris                         Laminack Pirtle & Martines           7:20-cv-49445-MCR-GRJ
  10550      76887    Jon King                                Laminack Pirtle & Martines                                      7:20-cv-49495-MCR-GRJ
  10551      76979    Brandon Burns                           Laminack Pirtle & Martines                                      7:20-cv-49804-MCR-GRJ
  10552      167718   Shane Smith                             Laminack Pirtle & Martines           7:20-cv-63049-MCR-GRJ
  10553      167720   Joshua Todd                             Laminack Pirtle & Martines           7:20-cv-63055-MCR-GRJ
  10554      167723   Tiffany Varney                          Laminack Pirtle & Martines           7:20-cv-63068-MCR-GRJ
  10555      167729   Bernard Williams                        Laminack Pirtle & Martines           7:20-cv-63097-MCR-GRJ
  10556      177477   Wallace Tumblin                         Laminack Pirtle & Martines           7:20-cv-66459-MCR-GRJ
  10557      190958   Christian Campoverde                    Laminack Pirtle & Martines                                      8:20-cv-72207-MCR-GRJ
  10558      215867   Tiffani Alleyne                         Laminack Pirtle & Martines           8:20-cv-70880-MCR-GRJ
  10559      215868   Jose Alvarado-Diaz                      Laminack Pirtle & Martines                                      8:20-cv-70881-MCR-GRJ
  10560      215873   Tommy Anglin                            Laminack Pirtle & Martines           8:20-cv-70886-MCR-GRJ
  10561      215878   Michael Atkinson                        Laminack Pirtle & Martines           8:20-cv-70891-MCR-GRJ
  10562      215883   Stephen Barnard                         Laminack Pirtle & Martines           8:20-cv-70896-MCR-GRJ
  10563      215886   Aaron Barr                              Laminack Pirtle & Martines           8:20-cv-70899-MCR-GRJ
  10564      215889   Joshua Basler                           Laminack Pirtle & Martines           8:20-cv-70902-MCR-GRJ
  10565      215898   Jamean Berry                            Laminack Pirtle & Martines                                      8:20-cv-70911-MCR-GRJ
  10566      215901   Terrill Boatner                         Laminack Pirtle & Martines           8:20-cv-70914-MCR-GRJ
  10567      215906   Richard Boykins                         Laminack Pirtle & Martines           8:20-cv-70919-MCR-GRJ
  10568      215911   Justin Brittain                         Laminack Pirtle & Martines                                      8:20-cv-70924-MCR-GRJ
  10569      215912   Burton Broadwater                       Laminack Pirtle & Martines           8:20-cv-70925-MCR-GRJ
  10570      215913   Michael Broady                          Laminack Pirtle & Martines           8:20-cv-70926-MCR-GRJ
  10571      215917   Timothy Bryant                          Laminack Pirtle & Martines           8:20-cv-70930-MCR-GRJ
  10572      215926   Steven Caldwell                         Laminack Pirtle & Martines                                      8:20-cv-70939-MCR-GRJ
  10573      215931   George Carter                           Laminack Pirtle & Martines           8:20-cv-70944-MCR-GRJ
  10574      215934   Ricky Cast                              Laminack Pirtle & Martines                                      8:20-cv-70947-MCR-GRJ
  10575      215946   Joshua Collins                          Laminack Pirtle & Martines           8:20-cv-70959-MCR-GRJ
  10576      215947   Cody Colston                            Laminack Pirtle & Martines                                      8:20-cv-70960-MCR-GRJ
  10577      215959   Chelsea Cox                             Laminack Pirtle & Martines           8:20-cv-70987-MCR-GRJ
  10578      215962   Stephen Crowe                           Laminack Pirtle & Martines           8:20-cv-70994-MCR-GRJ
  10579      215968   Timothy Dann                            Laminack Pirtle & Martines           8:20-cv-71007-MCR-GRJ
  10580      215973   Clifford Deguzman                       Laminack Pirtle & Martines                                      8:20-cv-71019-MCR-GRJ
  10581      215979   Al Dolandolan                           Laminack Pirtle & Martines           8:20-cv-71033-MCR-GRJ
  10582      215980   Blaise Domino                           Laminack Pirtle & Martines                                      8:20-cv-71035-MCR-GRJ
  10583      215983   Laquinta Douglas                        Laminack Pirtle & Martines                                      8:20-cv-71043-MCR-GRJ
  10584      215992   Joshua Dyson                            Laminack Pirtle & Martines           8:20-cv-71053-MCR-GRJ
  10585      215998   Corey Enochs                            Laminack Pirtle & Martines                                      8:20-cv-71059-MCR-GRJ




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  10586      216001   Donald Evance                           Laminack Pirtle & Martines           8:20-cv-71062-MCR-GRJ
  10587      216006   Zachary Farris                          Laminack Pirtle & Martines                                      8:20-cv-71067-MCR-GRJ
  10588      216011   Timothy Fightmaster                     Laminack Pirtle & Martines                                      8:20-cv-71072-MCR-GRJ
  10589      216015   Brandon Flowers                         Laminack Pirtle & Martines           8:20-cv-71076-MCR-GRJ
  10590      216020   Ken Fulbright                           Laminack Pirtle & Martines           8:20-cv-71081-MCR-GRJ
  10591      216027   Theron Garcia                           Laminack Pirtle & Martines           8:20-cv-71088-MCR-GRJ
  10592      216032   Casey Gerber                            Laminack Pirtle & Martines                                      8:20-cv-71093-MCR-GRJ
  10593      216033   Thomas Gerold                           Laminack Pirtle & Martines                                      8:20-cv-71094-MCR-GRJ
  10594      216037   Adam Gilbert                            Laminack Pirtle & Martines           8:20-cv-71098-MCR-GRJ
  10595      216039   Stanley Gilmore                         Laminack Pirtle & Martines           8:20-cv-71100-MCR-GRJ
  10596      216048   Marquis Graham                          Laminack Pirtle & Martines                                      8:20-cv-71109-MCR-GRJ
  10597      216056   Lawrence Griffin                        Laminack Pirtle & Martines                                      8:20-cv-71117-MCR-GRJ
  10598      216057   Jason Grube                             Laminack Pirtle & Martines           8:20-cv-71118-MCR-GRJ
  10599      216064   James Harrington                        Laminack Pirtle & Martines           8:20-cv-71433-MCR-GRJ
  10600      216072   Coty Henderson                          Laminack Pirtle & Martines           8:20-cv-71451-MCR-GRJ
  10601      216074   Jose Hernandez                          Laminack Pirtle & Martines                                      8:20-cv-71455-MCR-GRJ
  10602      216084   Justin Hogner                           Laminack Pirtle & Martines           8:20-cv-71479-MCR-GRJ
  10603      216102   Allen Johnson                           Laminack Pirtle & Martines                                      8:20-cv-71522-MCR-GRJ
  10604      216103   Bryant Johnson                          Laminack Pirtle & Martines           8:20-cv-71524-MCR-GRJ
  10605      216111   Justin Jones                            Laminack Pirtle & Martines           8:20-cv-71542-MCR-GRJ
  10606      216123   Zachary Knight                          Laminack Pirtle & Martines                                      8:20-cv-71568-MCR-GRJ
  10607      216127   Krisniel Kumar                          Laminack Pirtle & Martines                                      8:20-cv-71572-MCR-GRJ
  10608      216133   Shane Laplante                          Laminack Pirtle & Martines           8:20-cv-71578-MCR-GRJ
  10609      216134   Herbert Lauderdale                      Laminack Pirtle & Martines                                      8:20-cv-71579-MCR-GRJ
  10610      216135   Logan League                            Laminack Pirtle & Martines                                      8:20-cv-71580-MCR-GRJ
  10611      216139   Jon Lejeune                             Laminack Pirtle & Martines           8:20-cv-71584-MCR-GRJ
  10612      216146   Daneury Lockward                        Laminack Pirtle & Martines           8:20-cv-71591-MCR-GRJ
  10613      216148   Angel Lopez                             Laminack Pirtle & Martines           8:20-cv-71593-MCR-GRJ
  10614      216150   Angel Lundblade                         Laminack Pirtle & Martines           8:20-cv-71595-MCR-GRJ
  10615      216156   Ronald Maranell                         Laminack Pirtle & Martines                                      8:20-cv-71601-MCR-GRJ
  10616      216172   Eduardo Mccord                          Laminack Pirtle & Martines           8:20-cv-72303-MCR-GRJ
  10617      216183   Alejandro Medrano-Ramirez               Laminack Pirtle & Martines           8:20-cv-72343-MCR-GRJ
  10618      216186   Larry Mendoza                           Laminack Pirtle & Martines           8:20-cv-72354-MCR-GRJ
  10619      216194   Jeffery Mitchem                         Laminack Pirtle & Martines                                      8:20-cv-72382-MCR-GRJ
  10620      216201   Joseph Moriarty                         Laminack Pirtle & Martines           8:20-cv-72406-MCR-GRJ
  10621      216203   Dionte Morrow                           Laminack Pirtle & Martines           8:20-cv-72411-MCR-GRJ
  10622      216205   Lakeesha Mote                           Laminack Pirtle & Martines           8:20-cv-72417-MCR-GRJ
  10623      216214   Marcus Norris                           Laminack Pirtle & Martines                                      8:20-cv-72439-MCR-GRJ
  10624      216240   Russell Pitts                           Laminack Pirtle & Martines                                      8:20-cv-72498-MCR-GRJ
  10625      216242   Jasmine Pollock                         Laminack Pirtle & Martines           8:20-cv-72502-MCR-GRJ
  10626      216248   Timothy Prince                          Laminack Pirtle & Martines           8:20-cv-72513-MCR-GRJ
  10627      216250   Amman Raheem                            Laminack Pirtle & Martines           8:20-cv-72518-MCR-GRJ
  10628      216265   Anthony Robin                           Laminack Pirtle & Martines           8:20-cv-72550-MCR-GRJ
  10629      216270   Keshia Rodgers                          Laminack Pirtle & Martines           8:20-cv-72562-MCR-GRJ
  10630      216273   William Rodriguez                       Laminack Pirtle & Martines           8:20-cv-72569-MCR-GRJ
  10631      216274   Bruce Rogers                            Laminack Pirtle & Martines           8:20-cv-72571-MCR-GRJ
  10632      216277   Carlos Rosario                          Laminack Pirtle & Martines           8:20-cv-72576-MCR-GRJ
  10633      216278   Mark Rossman                            Laminack Pirtle & Martines                                      8:20-cv-72578-MCR-GRJ
  10634      216280   Rickel Ruffin                           Laminack Pirtle & Martines                                      8:20-cv-72580-MCR-GRJ
  10635      216281   Robin Ruffner                           Laminack Pirtle & Martines                                      8:20-cv-72581-MCR-GRJ
  10636      216287   Joe Sargent                             Laminack Pirtle & Martines                                      8:20-cv-72587-MCR-GRJ
  10637      216291   Aaron Schneberger                       Laminack Pirtle & Martines           8:20-cv-72591-MCR-GRJ
  10638      216296   Richard Severance                       Laminack Pirtle & Martines           8:20-cv-72596-MCR-GRJ
  10639      216299   Aaron Short                             Laminack Pirtle & Martines           8:20-cv-72599-MCR-GRJ
  10640      216301   Jerry Sigmon                            Laminack Pirtle & Martines           8:20-cv-72601-MCR-GRJ
  10641      216303   Trevor Sims                             Laminack Pirtle & Martines           8:20-cv-72603-MCR-GRJ
  10642      216305   Charlene Smith                          Laminack Pirtle & Martines           8:20-cv-72605-MCR-GRJ
  10643      216308   Terri Smith                             Laminack Pirtle & Martines                                      8:20-cv-72608-MCR-GRJ
  10644      216309   Darnell Sneed                           Laminack Pirtle & Martines                                      8:20-cv-72609-MCR-GRJ
  10645      216310   Terence Snell                           Laminack Pirtle & Martines                                      8:20-cv-72610-MCR-GRJ
  10646      216311   Michael Sohar                           Laminack Pirtle & Martines           8:20-cv-72611-MCR-GRJ
  10647      216319   Bryan Stevko                            Laminack Pirtle & Martines           8:20-cv-72619-MCR-GRJ
  10648      216322   Jefferey Storms                         Laminack Pirtle & Martines                                      8:20-cv-72622-MCR-GRJ
  10649      216327   James Swinney                           Laminack Pirtle & Martines                                      8:20-cv-72627-MCR-GRJ
  10650      216329   Ashley Talley                           Laminack Pirtle & Martines                                      8:20-cv-72629-MCR-GRJ
  10651      216330   Jamey Tarrant                           Laminack Pirtle & Martines           8:20-cv-72630-MCR-GRJ
  10652      216348   David Villasenor                        Laminack Pirtle & Martines                                      8:20-cv-72648-MCR-GRJ
  10653      216352   Katrina Wade                            Laminack Pirtle & Martines                                      8:20-cv-72652-MCR-GRJ
  10654      216353   Damon Walker                            Laminack Pirtle & Martines           8:20-cv-72653-MCR-GRJ
  10655      216355   David Ward                              Laminack Pirtle & Martines                                      8:20-cv-72655-MCR-GRJ
  10656      216357   Autummn Wardell                         Laminack Pirtle & Martines           8:20-cv-72657-MCR-GRJ
  10657      216358   Shawn Waters                            Laminack Pirtle & Martines           8:20-cv-72658-MCR-GRJ
  10658      216359   Labaron Watkins                         Laminack Pirtle & Martines           8:20-cv-72659-MCR-GRJ




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  10659      216360   Willie Watts                            Laminack Pirtle & Martines           8:20-cv-72660-MCR-GRJ
  10660      216364   Jeffrey White                           Laminack Pirtle & Martines                                      8:20-cv-73215-MCR-GRJ
  10661      216365   Brian Whitehead                         Laminack Pirtle & Martines                                      8:20-cv-73219-MCR-GRJ
  10662      216366   Durwood Whitman                         Laminack Pirtle & Martines           8:20-cv-73224-MCR-GRJ
  10663      216367   Gary Whitney                            Laminack Pirtle & Martines           8:20-cv-73229-MCR-GRJ
  10664      216371   Mark Wilfong                            Laminack Pirtle & Martines                                      8:20-cv-73248-MCR-GRJ
  10665      216372   Christopher Wilkerson                   Laminack Pirtle & Martines           8:20-cv-73253-MCR-GRJ
  10666      216376   Kenneth Williams                        Laminack Pirtle & Martines                                      8:20-cv-73273-MCR-GRJ
  10667      216377   Lawan Williams                          Laminack Pirtle & Martines                                      8:20-cv-73278-MCR-GRJ
  10668      216380   Alisha Williams                         Laminack Pirtle & Martines                                      8:20-cv-73293-MCR-GRJ
  10669      216384   Walter Wilson                           Laminack Pirtle & Martines           8:20-cv-73314-MCR-GRJ
  10670      216401   Scott Yex                               Laminack Pirtle & Martines                                      8:20-cv-73394-MCR-GRJ
  10671      254057   William Johnson                         Laminack Pirtle & Martines           9:20-cv-07072-MCR-GRJ
  10672      268102   Chris Fernandez                         Laminack Pirtle & Martines           9:20-cv-17204-MCR-GRJ
  10673      268114   Marcus Syverson                         Laminack Pirtle & Martines           9:20-cv-17229-MCR-GRJ
  10674      269530   Elizabeth Holdaway                      Laminack Pirtle & Martines           9:20-cv-17739-MCR-GRJ
  10675      270018   Shamel Aarons-Peebles                   Laminack Pirtle & Martines           9:20-cv-17747-MCR-GRJ
  10676      270022   Cleveland Austin                        Laminack Pirtle & Martines           9:20-cv-17754-MCR-GRJ
  10677      270024   Jaime Barba                             Laminack Pirtle & Martines           9:20-cv-17758-MCR-GRJ
  10678      270026   Andrew Beamon                           Laminack Pirtle & Martines           9:20-cv-17762-MCR-GRJ
  10679      270027   Karisha Beasley                         Laminack Pirtle & Martines           9:20-cv-17764-MCR-GRJ
  10680      270030   Jeremy Bixby                            Laminack Pirtle & Martines           9:20-cv-17767-MCR-GRJ
  10681      270032   Walter Bourland                         Laminack Pirtle & Martines           9:20-cv-17769-MCR-GRJ
  10682      270035   Aaron Broussard                         Laminack Pirtle & Martines           9:20-cv-17772-MCR-GRJ
  10683      270049   Chanel Chambers                         Laminack Pirtle & Martines           9:20-cv-17786-MCR-GRJ
  10684      270050   Shauna Chew                             Laminack Pirtle & Martines                                      9:20-cv-17787-MCR-GRJ
  10685      270054   Demetrius Cochrane                      Laminack Pirtle & Martines           9:20-cv-17791-MCR-GRJ
  10686      270056   Phillip Collinson                       Laminack Pirtle & Martines           9:20-cv-17793-MCR-GRJ
  10687      270062   Andre Davidson                          Laminack Pirtle & Martines           9:20-cv-17799-MCR-GRJ
  10688      270066   Dionte Doss-Roberson                    Laminack Pirtle & Martines           9:20-cv-17803-MCR-GRJ
  10689      270067   Robert Drennan                          Laminack Pirtle & Martines           9:20-cv-17804-MCR-GRJ
  10690      270068   Travis Drew                             Laminack Pirtle & Martines           9:20-cv-17805-MCR-GRJ
  10691      270071   Andrew Elliott                          Laminack Pirtle & Martines           9:20-cv-17808-MCR-GRJ
  10692      270072   Cole Ellison                            Laminack Pirtle & Martines           9:20-cv-17809-MCR-GRJ
  10693      270075   Moises Fuentes                          Laminack Pirtle & Martines                                      9:20-cv-17812-MCR-GRJ
  10694      270076   Robert Gaines                           Laminack Pirtle & Martines           9:20-cv-17813-MCR-GRJ
  10695      270084   Zachary Grey                            Laminack Pirtle & Martines           9:20-cv-17821-MCR-GRJ
  10696      270089   Isaac Hanneman                          Laminack Pirtle & Martines                                      9:20-cv-17826-MCR-GRJ
  10697      270091   Chad Harris                             Laminack Pirtle & Martines                                      9:20-cv-17828-MCR-GRJ
  10698      270094   Joshua Hathaway                         Laminack Pirtle & Martines           9:20-cv-17831-MCR-GRJ
  10699      270096   Devon Hilliard                          Laminack Pirtle & Martines           9:20-cv-17833-MCR-GRJ
  10700      270100   Jonathan Houk                           Laminack Pirtle & Martines           9:20-cv-17837-MCR-GRJ
  10701      270101   Trevor Huckaby                          Laminack Pirtle & Martines           9:20-cv-17838-MCR-GRJ
  10702      270106   Glen Jenkins                            Laminack Pirtle & Martines           9:20-cv-17843-MCR-GRJ
  10703      270109   Michael Jones                           Laminack Pirtle & Martines           9:20-cv-17846-MCR-GRJ
  10704      270112   Arnold Kenneth                          Laminack Pirtle & Martines           9:20-cv-17849-MCR-GRJ
  10705      270116   Alexander Lanza                         Laminack Pirtle & Martines           9:20-cv-17853-MCR-GRJ
  10706      270117   Johnathan Lapoole                       Laminack Pirtle & Martines           9:20-cv-17854-MCR-GRJ
  10707      270118   Carissa Leonard                         Laminack Pirtle & Martines           9:20-cv-17855-MCR-GRJ
  10708      270120   Steven Lindsey                          Laminack Pirtle & Martines                                      9:20-cv-17857-MCR-GRJ
  10709      270125   Byron Martin                            Laminack Pirtle & Martines                                      9:20-cv-17862-MCR-GRJ
  10710      270130   James Mcrae                             Laminack Pirtle & Martines           9:20-cv-17867-MCR-GRJ
  10711      270132   Alenjandro Mejia                        Laminack Pirtle & Martines           9:20-cv-17869-MCR-GRJ
  10712      270135   Randy Miller                            Laminack Pirtle & Martines           9:20-cv-17872-MCR-GRJ
  10713      270140   Nicholas Morris                         Laminack Pirtle & Martines           9:20-cv-17877-MCR-GRJ
  10714      270145   Casey Normile                           Laminack Pirtle & Martines                                      9:20-cv-17882-MCR-GRJ
  10715      270146   David Ochoa                             Laminack Pirtle & Martines                                      9:20-cv-17883-MCR-GRJ
  10716      270149   Michael Owens                           Laminack Pirtle & Martines           9:20-cv-17886-MCR-GRJ
  10717      270150   James Pailette                          Laminack Pirtle & Martines           9:20-cv-17887-MCR-GRJ
  10718      270151   Arnold Parker                           Laminack Pirtle & Martines           9:20-cv-17888-MCR-GRJ
  10719      270152   Nicholas Pena                           Laminack Pirtle & Martines           9:20-cv-17889-MCR-GRJ
  10720      270153   Yuri Perry                              Laminack Pirtle & Martines                                      9:20-cv-17890-MCR-GRJ
  10721      270158   Nicholas Pratt                          Laminack Pirtle & Martines           9:20-cv-17895-MCR-GRJ
  10722      270160   Jason Quinn                             Laminack Pirtle & Martines                                      9:20-cv-17897-MCR-GRJ
  10723      270165   Codye Rhein                             Laminack Pirtle & Martines           9:20-cv-17902-MCR-GRJ
  10724      270166   Victor Rivera                           Laminack Pirtle & Martines                                      9:20-cv-17903-MCR-GRJ
  10725      270171   James Russell                           Laminack Pirtle & Martines           9:20-cv-17908-MCR-GRJ
  10726      270174   Jeramy Sandoval                         Laminack Pirtle & Martines           9:20-cv-17911-MCR-GRJ
  10727      270176   Davon Saunders                          Laminack Pirtle & Martines           9:20-cv-17913-MCR-GRJ
  10728      270182   John Smith                              Laminack Pirtle & Martines           9:20-cv-17919-MCR-GRJ
  10729      270186   Jonathan Solorio                        Laminack Pirtle & Martines           9:20-cv-17923-MCR-GRJ
  10730      270187   Shane Sprauge                           Laminack Pirtle & Martines           9:20-cv-17924-MCR-GRJ
  10731      270196   Frank Turner                            Laminack Pirtle & Martines                                      9:20-cv-17933-MCR-GRJ




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  10732      270198   Zach Walker                             Laminack Pirtle & Martines           9:20-cv-17935-MCR-GRJ
  10733      270201   Hilda Washington                        Laminack Pirtle & Martines           9:20-cv-17938-MCR-GRJ
  10734      270204   Brett Wheeler                           Laminack Pirtle & Martines           9:20-cv-17941-MCR-GRJ
  10735      270206   Tabatha Williams                        Laminack Pirtle & Martines           9:20-cv-17943-MCR-GRJ
  10736      292140   Jimmie Barth                            Laminack Pirtle & Martines           7:21-cv-13365-MCR-GRJ
  10737      292144   Ronald Billingsley                      Laminack Pirtle & Martines                                      7:21-cv-13369-MCR-GRJ
  10738      292145   Robert Black                            Laminack Pirtle & Martines           7:21-cv-13370-MCR-GRJ
  10739      292146   Arnett Bodin                            Laminack Pirtle & Martines                                      7:21-cv-13371-MCR-GRJ
  10740      292151   Henry Bradshaw                          Laminack Pirtle & Martines           7:21-cv-13376-MCR-GRJ
  10741      292152   Levi Bridges                            Laminack Pirtle & Martines                                      7:21-cv-13377-MCR-GRJ
  10742      292153   Carl Brinson                            Laminack Pirtle & Martines                                      7:21-cv-13378-MCR-GRJ
  10743      292155   Gerald Brooker                          Laminack Pirtle & Martines           7:21-cv-13380-MCR-GRJ
  10744      292164   Gary Carheel                            Laminack Pirtle & Martines           7:21-cv-13389-MCR-GRJ
  10745      292165   Ian Carney                              Laminack Pirtle & Martines           7:21-cv-13390-MCR-GRJ
  10746      292168   Justice Childress                       Laminack Pirtle & Martines                                      7:21-cv-13393-MCR-GRJ
  10747      292170   Kennith Clemons                         Laminack Pirtle & Martines           7:21-cv-13395-MCR-GRJ
  10748      292171   Misty Colvard                           Laminack Pirtle & Martines                                      7:21-cv-13396-MCR-GRJ
  10749      292173   John Curle                              Laminack Pirtle & Martines           7:21-cv-13398-MCR-GRJ
  10750      292174   Jonathan Curtis                         Laminack Pirtle & Martines                                      7:21-cv-13399-MCR-GRJ
  10751      292177   Danny Desselle                          Laminack Pirtle & Martines           7:21-cv-13402-MCR-GRJ
  10752      292193   Mark Gaspard                            Laminack Pirtle & Martines                                      7:21-cv-13418-MCR-GRJ
  10753      292195   Floyd Guillory                          Laminack Pirtle & Martines           7:21-cv-13420-MCR-GRJ
  10754      292197   Travis Harvey                           Laminack Pirtle & Martines           7:21-cv-13422-MCR-GRJ
  10755      292198   David Hedge                             Laminack Pirtle & Martines                                      7:21-cv-13423-MCR-GRJ
  10756      292201   Brandon Henry                           Laminack Pirtle & Martines           7:21-cv-13426-MCR-GRJ
  10757      292204   Philip Holmes                           Laminack Pirtle & Martines           7:21-cv-13429-MCR-GRJ
  10758      292205   Anthony Hood                            Laminack Pirtle & Martines                                      7:21-cv-13430-MCR-GRJ
  10759      292206   Adam Howard                             Laminack Pirtle & Martines                                      7:21-cv-13431-MCR-GRJ
  10760      292208   Michael Jackson                         Laminack Pirtle & Martines           7:21-cv-13433-MCR-GRJ
  10761      292212   Adam Johnson                            Laminack Pirtle & Martines                                      7:21-cv-13437-MCR-GRJ
  10762      292217   Sarah Krueger                           Laminack Pirtle & Martines                                      7:21-cv-13442-MCR-GRJ
  10763      292218   Christopher Lange                       Laminack Pirtle & Martines                                      7:21-cv-13443-MCR-GRJ
  10764      292221   Randall Love                            Laminack Pirtle & Martines                                      7:21-cv-13446-MCR-GRJ
  10765      292227   Justin Melott                           Laminack Pirtle & Martines           7:21-cv-13452-MCR-GRJ
  10766      292228   Tyler Mercer                            Laminack Pirtle & Martines           7:21-cv-13453-MCR-GRJ
  10767      292229   Kevin Miller                            Laminack Pirtle & Martines           7:21-cv-13454-MCR-GRJ
  10768      292235   Nicholas Munson                         Laminack Pirtle & Martines           7:21-cv-13460-MCR-GRJ
  10769      292237   Joseph Navarro                          Laminack Pirtle & Martines           7:21-cv-13462-MCR-GRJ
  10770      292238   Angel Negron                            Laminack Pirtle & Martines           7:21-cv-13463-MCR-GRJ
  10771      292241   Kenneth Norris                          Laminack Pirtle & Martines                                      7:21-cv-13466-MCR-GRJ
  10772      292247   Richard Points                          Laminack Pirtle & Martines           7:21-cv-13472-MCR-GRJ
  10773      292248   Jerry Potter                            Laminack Pirtle & Martines           7:21-cv-13473-MCR-GRJ
  10774      292252   Nathaniel Rhodes                        Laminack Pirtle & Martines                                      7:21-cv-13477-MCR-GRJ
  10775      292253   Tavid Robinson                          Laminack Pirtle & Martines           7:21-cv-13478-MCR-GRJ
  10776      292260   William Sewell                          Laminack Pirtle & Martines           7:21-cv-13485-MCR-GRJ
  10777      292264   Janeen Siler                            Laminack Pirtle & Martines                                      7:21-cv-13489-MCR-GRJ
  10778      292265   Henri Sims                              Laminack Pirtle & Martines           7:21-cv-13490-MCR-GRJ
  10779      292271   Charles Stidam                          Laminack Pirtle & Martines           7:21-cv-13496-MCR-GRJ
  10780      292272   Barbara Sullivan                        Laminack Pirtle & Martines                                      7:21-cv-13497-MCR-GRJ
  10781      292275   Jeremy Thornton                         Laminack Pirtle & Martines           7:21-cv-13500-MCR-GRJ
  10782      292282   Daniel Verdugo                          Laminack Pirtle & Martines                                      7:21-cv-13507-MCR-GRJ
  10783      292285   Jacqueline Weakley                      Laminack Pirtle & Martines           7:21-cv-13510-MCR-GRJ
  10784      292288   Demarco White                           Laminack Pirtle & Martines                                      7:21-cv-13513-MCR-GRJ
  10785      292292   Misty Winters                           Laminack Pirtle & Martines           7:21-cv-13517-MCR-GRJ
  10786      292293   Michele Wood                            Laminack Pirtle & Martines           7:21-cv-13518-MCR-GRJ
  10787      292294   Contrina Wright                         Laminack Pirtle & Martines           7:21-cv-13519-MCR-GRJ
  10788      292295   Curtis Young                            Laminack Pirtle & Martines           7:21-cv-13520-MCR-GRJ
  10789      323188   Shawn Anderson                          Laminack Pirtle & Martines           7:21-cv-46407-MCR-GRJ
  10790      323190   Raymond Atkins                          Laminack Pirtle & Martines           7:21-cv-46410-MCR-GRJ
  10791      323194   Westley Bell                            Laminack Pirtle & Martines           7:21-cv-46418-MCR-GRJ
  10792      323196   David Bishop                            Laminack Pirtle & Martines           7:21-cv-46421-MCR-GRJ
  10793      323197   Joey Blackard                           Laminack Pirtle & Martines                                      7:21-cv-46423-MCR-GRJ
  10794      323198   Jacob Boahn                             Laminack Pirtle & Martines           7:21-cv-46425-MCR-GRJ
  10795      323199   Sarah Boan                              Laminack Pirtle & Martines           7:21-cv-46426-MCR-GRJ
  10796      323205   Timothy Brettin                         Laminack Pirtle & Martines           7:21-cv-46437-MCR-GRJ
  10797      323206   Patrick Brittin                         Laminack Pirtle & Martines                                      7:21-cv-46439-MCR-GRJ
  10798      323207   Justin Brooks                           Laminack Pirtle & Martines           7:21-cv-46441-MCR-GRJ
  10799      323208   Asberry Brown                           Laminack Pirtle & Martines           7:21-cv-46442-MCR-GRJ
  10800      323211   Joushua Campbell                        Laminack Pirtle & Martines                                      7:21-cv-46448-MCR-GRJ
  10801      323212   Scott Canady                            Laminack Pirtle & Martines           7:21-cv-46450-MCR-GRJ
  10802      323213   Bertha Carrasco                         Laminack Pirtle & Martines           7:21-cv-46451-MCR-GRJ
  10803      323214   Benjamin Carrel                         Laminack Pirtle & Martines                                      7:21-cv-46453-MCR-GRJ
  10804      323215   Bradley Chapin                          Laminack Pirtle & Martines           7:21-cv-46455-MCR-GRJ




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  10805      323218   Benjamin Claiborne                      Laminack Pirtle & Martines           7:21-cv-46460-MCR-GRJ
  10806      323220   Edward Cleveland                        Laminack Pirtle & Martines                                      7:21-cv-46464-MCR-GRJ
  10807      323223   Paul Colvard                            Laminack Pirtle & Martines           7:21-cv-46469-MCR-GRJ
  10808      323226   Beverly Cote                            Laminack Pirtle & Martines           7:21-cv-46474-MCR-GRJ
  10809      323227   Thomas Cotton                           Laminack Pirtle & Martines           7:21-cv-46476-MCR-GRJ
  10810      323231   Hansell Davis                           Laminack Pirtle & Martines           7:21-cv-46483-MCR-GRJ
  10811      323233   Danielle Delaney-Dobis                  Laminack Pirtle & Martines           7:21-cv-46487-MCR-GRJ
  10812      323236   Kyle Edens                              Laminack Pirtle & Martines           7:21-cv-46492-MCR-GRJ
  10813      323242   Michael Finkel                          Laminack Pirtle & Martines           7:21-cv-46502-MCR-GRJ
  10814      323244   Timothy Flournoy                        Laminack Pirtle & Martines           7:21-cv-46506-MCR-GRJ
  10815      323248   Jarrid Gamble                           Laminack Pirtle & Martines           7:21-cv-46514-MCR-GRJ
  10816      323252   Junior Gilmoon                          Laminack Pirtle & Martines           7:21-cv-46521-MCR-GRJ
  10817      323257   Matthew Hakala                          Laminack Pirtle & Martines           7:21-cv-46530-MCR-GRJ
  10818      323259   Joseph Hammack                          Laminack Pirtle & Martines           7:21-cv-46534-MCR-GRJ
  10819      323261   Kenneth Harris                          Laminack Pirtle & Martines                                      7:21-cv-46537-MCR-GRJ
  10820      323265   Andre Hernandez                         Laminack Pirtle & Martines           7:21-cv-46545-MCR-GRJ
  10821      323267   Joseph Heron                            Laminack Pirtle & Martines           7:21-cv-46548-MCR-GRJ
  10822      323268   Seth Hicks                              Laminack Pirtle & Martines           7:21-cv-46550-MCR-GRJ
  10823      323269   Taro Hill                               Laminack Pirtle & Martines           7:21-cv-46552-MCR-GRJ
  10824      323270   Charlie Hobson                          Laminack Pirtle & Martines           7:21-cv-46554-MCR-GRJ
  10825      323272   Brandon Huett                           Laminack Pirtle & Martines                                      7:21-cv-46557-MCR-GRJ
  10826      323275   Brian Hyland                            Laminack Pirtle & Martines           7:21-cv-46563-MCR-GRJ
  10827      323277   Maurice Ingram                          Laminack Pirtle & Martines           7:21-cv-46566-MCR-GRJ
  10828      323278   Rhonda Irvin-Barcenas                   Laminack Pirtle & Martines           7:21-cv-46567-MCR-GRJ
  10829      323282   Derrick Johnson                         Laminack Pirtle & Martines                                      7:21-cv-46571-MCR-GRJ
  10830      323286   Alex Jones                              Laminack Pirtle & Martines           7:21-cv-46575-MCR-GRJ
  10831      323292   Tyler Kendrick                          Laminack Pirtle & Martines           7:21-cv-46581-MCR-GRJ
  10832      323295   Nicole Knight                           Laminack Pirtle & Martines           7:21-cv-46584-MCR-GRJ
  10833      323296   Steven Krum                             Laminack Pirtle & Martines                                      7:21-cv-46585-MCR-GRJ
  10834      323308   Deni Lozoria                            Laminack Pirtle & Martines                                      7:21-cv-46597-MCR-GRJ
  10835      323310   Robert Magee                            Laminack Pirtle & Martines                                      7:21-cv-46599-MCR-GRJ
  10836      323315   Justin May                              Laminack Pirtle & Martines           7:21-cv-46604-MCR-GRJ
  10837      323316   Drew Mceowen                            Laminack Pirtle & Martines           7:21-cv-46605-MCR-GRJ
  10838      323318   Billy Meadows                           Laminack Pirtle & Martines                                      7:21-cv-46607-MCR-GRJ
  10839      323324   Sarabeth Miller                         Laminack Pirtle & Martines           7:21-cv-46616-MCR-GRJ
  10840      323327   Dexter Monroe                           Laminack Pirtle & Martines           7:21-cv-46622-MCR-GRJ
  10841      323328   Robert Montgomery                       Laminack Pirtle & Martines           7:21-cv-46624-MCR-GRJ
  10842      323332   Raymond Morgenstern                     Laminack Pirtle & Martines           7:21-cv-46631-MCR-GRJ
  10843      323334   Johnathon Morris                        Laminack Pirtle & Martines           7:21-cv-46635-MCR-GRJ
  10844      323337   James Myers                             Laminack Pirtle & Martines           7:21-cv-46640-MCR-GRJ
  10845      323339   Nicholas Navarro                        Laminack Pirtle & Martines           7:21-cv-46644-MCR-GRJ
  10846      323343   Young Nguyen                            Laminack Pirtle & Martines           7:21-cv-46651-MCR-GRJ
  10847      323345   Kassie Nungester                        Laminack Pirtle & Martines           7:21-cv-46655-MCR-GRJ
  10848      323347   Brian Orgorman                          Laminack Pirtle & Martines           7:21-cv-46659-MCR-GRJ
  10849      323348   Eric Ortiz                              Laminack Pirtle & Martines           7:21-cv-46661-MCR-GRJ
  10850      323349   Justin Ott                              Laminack Pirtle & Martines           7:21-cv-46662-MCR-GRJ
  10851      323351   Nelson Padilla                          Laminack Pirtle & Martines           7:21-cv-46666-MCR-GRJ
  10852      323352   Taheinish Palka                         Laminack Pirtle & Martines                                      7:21-cv-46668-MCR-GRJ
  10853      323355   Aristeed Perez                          Laminack Pirtle & Martines           7:21-cv-46673-MCR-GRJ
  10854      323360   Tom Price                               Laminack Pirtle & Martines           7:21-cv-46683-MCR-GRJ
  10855      323365   Tiana Ramirez                           Laminack Pirtle & Martines           7:21-cv-46692-MCR-GRJ
  10856      323366   Joshua Reed                             Laminack Pirtle & Martines           7:21-cv-46694-MCR-GRJ
  10857      323367   Robert Reierson                         Laminack Pirtle & Martines           7:21-cv-46695-MCR-GRJ
  10858      323371   Jeffrey Ridgway                         Laminack Pirtle & Martines                                      7:21-cv-46703-MCR-GRJ
  10859      323373   Anthony Rivera                          Laminack Pirtle & Martines           7:21-cv-46707-MCR-GRJ
  10860      323375   Gabriel Roberts                         Laminack Pirtle & Martines           7:21-cv-46712-MCR-GRJ
  10861      323376   Carl Roberts                            Laminack Pirtle & Martines           7:21-cv-46714-MCR-GRJ
  10862      323378   David Russo                             Laminack Pirtle & Martines           7:21-cv-46718-MCR-GRJ
  10863      323381   John Sealand                            Laminack Pirtle & Martines           7:21-cv-46725-MCR-GRJ
  10864      323382   Sandy Senesackda                        Laminack Pirtle & Martines           7:21-cv-46727-MCR-GRJ
  10865      323383   Michael Sheets                          Laminack Pirtle & Martines           7:21-cv-46729-MCR-GRJ
  10866      323384   Jacob Shelton                           Laminack Pirtle & Martines           7:21-cv-46732-MCR-GRJ
  10867      323387   Denis Shumelenson                       Laminack Pirtle & Martines           7:21-cv-46738-MCR-GRJ
  10868      323389   Brandon Smith                           Laminack Pirtle & Martines           7:21-cv-48476-MCR-GRJ
  10869      323391   Sean Soto                               Laminack Pirtle & Martines           7:21-cv-48480-MCR-GRJ
  10870      323392   Bradley Spell                           Laminack Pirtle & Martines                                      7:21-cv-48482-MCR-GRJ
  10871      323394   Andrew Stene                            Laminack Pirtle & Martines                                      7:21-cv-48486-MCR-GRJ
  10872      323397   Adam Sturdevan                          Laminack Pirtle & Martines           7:21-cv-48492-MCR-GRJ
  10873      323399   Richard Tauriainen                      Laminack Pirtle & Martines                                      7:21-cv-48495-MCR-GRJ
  10874      323403   Xavier Thomas                           Laminack Pirtle & Martines           7:21-cv-48503-MCR-GRJ
  10875      323404   Major Thompson                          Laminack Pirtle & Martines           7:21-cv-48505-MCR-GRJ
  10876      323405   Jason Thompson                          Laminack Pirtle & Martines           7:21-cv-48507-MCR-GRJ
  10877      323406   Jennifer Thompson                       Laminack Pirtle & Martines           7:21-cv-48509-MCR-GRJ




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  10878      323407   Kiefer Toney                            Laminack Pirtle & Martines           7:21-cv-48511-MCR-GRJ
  10879      323408   Elizabeth Towler                        Laminack Pirtle & Martines           7:21-cv-48513-MCR-GRJ
  10880      323410   David Vastag                            Laminack Pirtle & Martines           7:21-cv-48517-MCR-GRJ
  10881      323412   Robert Walker                           Laminack Pirtle & Martines           7:21-cv-48521-MCR-GRJ
  10882      323413   Anthony Wallace                         Laminack Pirtle & Martines           7:21-cv-48523-MCR-GRJ
  10883      323414   Robert Webster                          Laminack Pirtle & Martines           7:21-cv-48524-MCR-GRJ
  10884      323420   Bradley Wikman                          Laminack Pirtle & Martines           7:21-cv-48536-MCR-GRJ
  10885      323423   David Wilson                            Laminack Pirtle & Martines           7:21-cv-48542-MCR-GRJ
  10886      323424   Christopher Wilson                      Laminack Pirtle & Martines           7:21-cv-48544-MCR-GRJ
  10887      323425   Jeffrey Wilson                          Laminack Pirtle & Martines                                      7:21-cv-48546-MCR-GRJ
  10888      323427   April Zimmerman                         Laminack Pirtle & Martines           7:21-cv-48550-MCR-GRJ
  10889      331458   Michael Ryne                            Laminack Pirtle & Martines           7:21-cv-48297-MCR-GRJ
  10890      351215   Joshua Brown                            Laminack Pirtle & Martines                                      3:22-cv-01202-MCR-GRJ
  10891      355280   Ryan Adams                              Laminack Pirtle & Martines                                      3:22-cv-00233-MCR-GRJ
  10892      355283   Kristopher Armprester                   Laminack Pirtle & Martines                                      3:22-cv-00238-MCR-GRJ
  10893      355284   Jason Arnhart                           Laminack Pirtle & Martines                                      3:22-cv-00239-MCR-GRJ
  10894      355285   Simon Aultman                           Laminack Pirtle & Martines                                      3:22-cv-00240-MCR-GRJ
  10895      355287   Cassandra Babson                        Laminack Pirtle & Martines                                      3:22-cv-00258-MCR-GRJ
  10896      355288   Angelo Baldwin                          Laminack Pirtle & Martines                                      3:22-cv-00259-MCR-GRJ
  10897      355291   Dontrey Barr                            Laminack Pirtle & Martines                                      3:22-cv-00262-MCR-GRJ
  10898      355294   Jared Beacham                           Laminack Pirtle & Martines                                      3:22-cv-00265-MCR-GRJ
  10899      355297   Rebecca Bell                            Laminack Pirtle & Martines                                      3:22-cv-00268-MCR-GRJ
  10900      355298   James Berry                             Laminack Pirtle & Martines                                      3:22-cv-00269-MCR-GRJ
  10901      355299   James Boggs                             Laminack Pirtle & Martines                                      3:22-cv-00270-MCR-GRJ
  10902      355301   Erin Bunt                               Laminack Pirtle & Martines                                      3:22-cv-00272-MCR-GRJ
  10903      355304   Shyanne Cutright                        Laminack Pirtle & Martines                                      3:22-cv-00097-MCR-GRJ
  10904      355305   Merri Davis                             Laminack Pirtle & Martines                                      3:22-cv-00103-MCR-GRJ
  10905      355306   Philip Devincentis                      Laminack Pirtle & Martines                                      3:22-cv-00106-MCR-GRJ
  10906      355312   Kenneth Jones                           Laminack Pirtle & Martines                                      3:22-cv-00208-MCR-GRJ
  10907      355322   Stevie Rocha                            Laminack Pirtle & Martines                                      3:22-cv-00218-MCR-GRJ
  10908      355325   Ricardo Shorter                         Laminack Pirtle & Martines                                      3:22-cv-00222-MCR-GRJ
  10909      356459   Cody Beard                              Laminack Pirtle & Martines                                      3:22-cv-01172-MCR-GRJ
  10910      356461   Donna Bennett                           Laminack Pirtle & Martines                                      3:22-cv-01181-MCR-GRJ
  10911      356462   Christopher Booker                      Laminack Pirtle & Martines                                      3:22-cv-01205-MCR-GRJ
  10912      356463   Rye Boruff                              Laminack Pirtle & Martines                                      3:22-cv-01184-MCR-GRJ
  10913      356467   Chris Brunson                           Laminack Pirtle & Martines                                      3:22-cv-01214-MCR-GRJ
  10914      356468   Brian Brush                             Laminack Pirtle & Martines                                      3:22-cv-01219-MCR-GRJ
  10915      356469   Phillip Brussel                         Laminack Pirtle & Martines                                      3:22-cv-01220-MCR-GRJ
  10916      356470   Reginal Bryant                          Laminack Pirtle & Martines                                      3:22-cv-01222-MCR-GRJ
  10917      356471   Jarrale Burt                            Laminack Pirtle & Martines                                      3:22-cv-01226-MCR-GRJ
  10918      356473   Christina Carney                        Laminack Pirtle & Martines                                      3:22-cv-01393-MCR-GRJ
  10919      356475   Christopher Carter                      Laminack Pirtle & Martines                                      3:22-cv-01395-MCR-GRJ
  10920      356476   Christopher Chewning                    Laminack Pirtle & Martines                                      3:22-cv-01396-MCR-GRJ
  10921      356499   Edward Garcia                           Laminack Pirtle & Martines                                      3:22-cv-01581-MCR-GRJ
  10922      145471   Troy Clymer                             LANGSTON & LOTT, PLLC                                           7:20-cv-88935-MCR-GRJ
  10923      145884   Randall Weiler                          LANGSTON & LOTT, PLLC                7:20-cv-88940-MCR-GRJ
  10924      145976   Dustin Reneau                           LANGSTON & LOTT, PLLC                                           8:20-cv-38021-MCR-GRJ
  10925      146017   Justin Mckinney                         LANGSTON & LOTT, PLLC                7:20-cv-88946-MCR-GRJ
  10926      146184   Kendrick Mccallum                       LANGSTON & LOTT, PLLC                                           8:20-cv-38024-MCR-GRJ
  10927      146195   Timothy Ellis                           LANGSTON & LOTT, PLLC                                           8:20-cv-38027-MCR-GRJ
  10928      146202   David Ward                              LANGSTON & LOTT, PLLC                7:20-cv-88974-MCR-GRJ
  10929      146217   Bradley Neal                            LANGSTON & LOTT, PLLC                                           8:20-cv-38031-MCR-GRJ
  10930      146318   Matthew Bailey                          LANGSTON & LOTT, PLLC                8:20-cv-38035-MCR-GRJ
  10931      146386   David Wyble                             LANGSTON & LOTT, PLLC                7:20-cv-88991-MCR-GRJ
  10932      146773   Ryan Stephens                           LANGSTON & LOTT, PLLC                7:20-cv-88995-MCR-GRJ
  10933      147248   Joshua Adnson                           LANGSTON & LOTT, PLLC                8:20-cv-38041-MCR-GRJ
  10934      147292   Lorenzo Ruiz                            LANGSTON & LOTT, PLLC                                           8:20-cv-38049-MCR-GRJ
  10935      147678   Cory Wilson                             LANGSTON & LOTT, PLLC                                           8:20-cv-38055-MCR-GRJ
  10936      164035   Nicholas Behrens                        LANGSTON & LOTT, PLLC                                           7:20-cv-89010-MCR-GRJ
  10937      164038   James Belleville                        LANGSTON & LOTT, PLLC                                           8:20-cv-38135-MCR-GRJ
  10938      164039   George Boehm                            LANGSTON & LOTT, PLLC                                           8:20-cv-38140-MCR-GRJ
  10939      164045   Latoya Daily                            LANGSTON & LOTT, PLLC                                           7:20-cv-89017-MCR-GRJ
  10940      164047   William Davis                           LANGSTON & LOTT, PLLC                                           8:20-cv-38144-MCR-GRJ
  10941      164049   Timothy Dilley                          LANGSTON & LOTT, PLLC                                           8:20-cv-38148-MCR-GRJ
  10942      164050   Stevie Dorsey                           LANGSTON & LOTT, PLLC                                           8:20-cv-38153-MCR-GRJ
  10943      164051   Tylan Drazkiewicz                       LANGSTON & LOTT, PLLC                                           7:20-cv-89020-MCR-GRJ
  10944      164052   Dakin Duncan                            LANGSTON & LOTT, PLLC                                           7:20-cv-89021-MCR-GRJ
  10945      164059   Corey Hafley                            LANGSTON & LOTT, PLLC                                           8:20-cv-38158-MCR-GRJ
  10946      164065   Anthony Hudson                          LANGSTON & LOTT, PLLC                                           8:20-cv-38162-MCR-GRJ
  10947      164069   Megan Jesus                             LANGSTON & LOTT, PLLC                                           7:20-cv-89033-MCR-GRJ
  10948      164071   Michael Kight                           LANGSTON & LOTT, PLLC                                           7:20-cv-89039-MCR-GRJ
  10949      164077   Richard Lockwood                        LANGSTON & LOTT, PLLC                                           8:20-cv-38178-MCR-GRJ
  10950      164080   Daniel Mazzeo                           LANGSTON & LOTT, PLLC                                           8:20-cv-38182-MCR-GRJ




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  10951      164084   Robert Mosholder                        LANGSTON & LOTT, PLLC                                               7:20-cv-89060-MCR-GRJ
  10952      164088   Joshua Parker                           LANGSTON & LOTT, PLLC                                               7:20-cv-89065-MCR-GRJ
  10953      164090   Tommy Pruitt                            LANGSTON & LOTT, PLLC                    8:20-cv-38192-MCR-GRJ
  10954      164091   Jimmy Ramsey                            LANGSTON & LOTT, PLLC                    7:20-cv-89068-MCR-GRJ
  10955      164096   Alex Salinas                            LANGSTON & LOTT, PLLC                                               7:20-cv-89078-MCR-GRJ
  10956      164100   Corry Sisson                            LANGSTON & LOTT, PLLC                                               8:20-cv-38211-MCR-GRJ
  10957      164102   William Snead                           LANGSTON & LOTT, PLLC                    7:20-cv-89083-MCR-GRJ
  10958      164108   Amanda Troiano                          LANGSTON & LOTT, PLLC                                               8:20-cv-38230-MCR-GRJ
  10959      164109   Corey Urban                             LANGSTON & LOTT, PLLC                                               8:20-cv-38235-MCR-GRJ
  10960      164110   Jesus Vicuna                            LANGSTON & LOTT, PLLC                                               7:20-cv-89088-MCR-GRJ
  10961      164116   Jason Wright                            LANGSTON & LOTT, PLLC                                               8:20-cv-38247-MCR-GRJ
  10962      164118   Santiago Ybarra                         LANGSTON & LOTT, PLLC                                               8:20-cv-38257-MCR-GRJ
  10963      164120   Jon Zimbelman                           LANGSTON & LOTT, PLLC                    8:20-cv-38267-MCR-GRJ
  10964      219373   Tony Hill                               LANGSTON & LOTT, PLLC                                               8:20-cv-89890-MCR-GRJ
  10965      189187   Darrell Scott                           Law Office Of Floyd Chapman, PLLC                                   7:20-cv-94313-MCR-GRJ
  10966       9304    Reynaldo Padilla                        Law Office of Michelle N. Holmes, LLC                               3:19-cv-03830-MCR-GRJ
  10967      29365    Dustin Fitz Patrick                     Law Office of Michelle N. Holmes, LLC                               3:19-cv-03831-MCR-GRJ
  10968      302253   Gary Atwood                             Law Office of Steven Gacovino, PLLC      7:21-cv-21048-MCR-GRJ
  10969      302281   Carlton Burnett                         Law Office of Steven Gacovino, PLLC      7:21-cv-21075-MCR-GRJ
  10970      302305   Phillip Daneau                          Law Office of Steven Gacovino, PLLC      7:21-cv-21096-MCR-GRJ
  10971      302339   Jeffrey Freeman                         Law Office of Steven Gacovino, PLLC      7:21-cv-21125-MCR-GRJ
  10972      302365   Paulo Henrique Ferreira                 Law Office of Steven Gacovino, PLLC      7:21-cv-21149-MCR-GRJ
  10973      302370   Calvin Hinton                           Law Office of Steven Gacovino, PLLC      7:21-cv-21153-MCR-GRJ
  10974      302413   Trevon Lett                             Law Office of Steven Gacovino, PLLC      7:21-cv-21192-MCR-GRJ
  10975      302470   Kyle Parise                             Law Office of Steven Gacovino, PLLC      7:21-cv-21247-MCR-GRJ
  10976      302523   Glen Swain                              Law Office of Steven Gacovino, PLLC      7:21-cv-21299-MCR-GRJ
  10977      302528   Alexander Tchalikian                    Law Office of Steven Gacovino, PLLC      7:21-cv-21304-MCR-GRJ
  10978      302540   Kelvin Wagner                           Law Office of Steven Gacovino, PLLC      7:21-cv-21314-MCR-GRJ
  10979      302550   Jared Weems                             Law Office of Steven Gacovino, PLLC      7:21-cv-21323-MCR-GRJ
  10980      302553   Shaun White                             Law Office of Steven Gacovino, PLLC      7:21-cv-21326-MCR-GRJ
  10981      302556   Brett Wiley                             Law Office of Steven Gacovino, PLLC                                 7:21-cv-21329-MCR-GRJ
  10982      302572   Jameson Zoldork                         Law Office of Steven Gacovino, PLLC      7:21-cv-21345-MCR-GRJ
  10983      315965   Josh Rimes                              Law Office of Steven Gacovino, PLLC                                 7:21-cv-51293-MCR-GRJ
  10984      315969   Emanuel Morfin                          Law Office of Steven Gacovino, PLLC      7:21-cv-51301-MCR-GRJ
  10985      315974   Brandon Boudreaux                       Law Office of Steven Gacovino, PLLC      7:21-cv-51310-MCR-GRJ
  10986      315984   Victoria Walker                         Law Office of Steven Gacovino, PLLC      7:21-cv-51328-MCR-GRJ
  10987      316001   Lethaniel Ordell                        Law Office of Steven Gacovino, PLLC      7:21-cv-51359-MCR-GRJ
  10988      316018   Phillip Jacks                           Law Office of Steven Gacovino, PLLC      7:21-cv-51384-MCR-GRJ
  10989      316044   Daisy Molina                            Law Office of Steven Gacovino, PLLC      7:21-cv-51410-MCR-GRJ
  10990      316054   Carl Flenoy                             Law Office of Steven Gacovino, PLLC      7:21-cv-51420-MCR-GRJ
  10991      316055   Dennis Barnes                           Law Office of Steven Gacovino, PLLC      7:21-cv-51421-MCR-GRJ
  10992      316057   Marc Dossantos                          Law Office of Steven Gacovino, PLLC      7:21-cv-51423-MCR-GRJ
  10993      316062   Charlotte Vickrey                       Law Office of Steven Gacovino, PLLC      7:21-cv-51428-MCR-GRJ
  10994      316070   Nicholas Platt                          Law Office of Steven Gacovino, PLLC      7:21-cv-51436-MCR-GRJ
  10995      316075   Omar Malave                             Law Office of Steven Gacovino, PLLC      7:21-cv-51441-MCR-GRJ
  10996      316079   Glen Dellenbaugh                        Law Office of Steven Gacovino, PLLC      7:21-cv-51445-MCR-GRJ
  10997      316098   Stephen Stuard                          Law Office of Steven Gacovino, PLLC      7:21-cv-51463-MCR-GRJ
  10998      316112   Brandon Littlejohn                      Law Office of Steven Gacovino, PLLC      7:21-cv-51518-MCR-GRJ
  10999      316136   Michael Alvarez                         Law Office of Steven Gacovino, PLLC      7:21-cv-51561-MCR-GRJ
  11000      316139   Jeremy Rodgers                          Law Office of Steven Gacovino, PLLC      7:21-cv-51567-MCR-GRJ
  11001      316159   Devante Neal                            Law Office of Steven Gacovino, PLLC      7:21-cv-51603-MCR-GRJ
  11002      316190   Josue Molina                            Law Office of Steven Gacovino, PLLC      7:21-cv-52119-MCR-GRJ
  11003      316197   Dexter Clark                            Law Office of Steven Gacovino, PLLC      7:21-cv-52133-MCR-GRJ
  11004      316205   Quentin Fortner                         Law Office of Steven Gacovino, PLLC      7:21-cv-52149-MCR-GRJ
  11005      316208   Nicholas Miranda                        Law Office of Steven Gacovino, PLLC      7:21-cv-52154-MCR-GRJ
  11006      316214   Rachael Lee                             Law Office of Steven Gacovino, PLLC      7:21-cv-52166-MCR-GRJ
  11007      316230   Ronald Worrell                          Law Office of Steven Gacovino, PLLC      7:21-cv-52195-MCR-GRJ
  11008      316304   Antonio Perfecto Stokes                 Law Office of Steven Gacovino, PLLC      7:21-cv-52341-MCR-GRJ
  11009      316377   Rudz Descartes                          Law Office of Steven Gacovino, PLLC      7:21-cv-52479-MCR-GRJ
  11010      316393   Abdalla Mostafa                         Law Office of Steven Gacovino, PLLC      7:21-cv-52504-MCR-GRJ
  11011      316410   Christopher Vickers                     Law Office of Steven Gacovino, PLLC      7:21-cv-52530-MCR-GRJ
  11012      316423   William Helderman                       Law Office of Steven Gacovino, PLLC      7:21-cv-52553-MCR-GRJ
  11013      316447   Anthony Davis                           Law Office of Steven Gacovino, PLLC      7:21-cv-52597-MCR-GRJ
  11014      316461   Jameson Capehart                        Law Office of Steven Gacovino, PLLC      7:21-cv-52622-MCR-GRJ
  11015      316476   Alfonso Salas                           Law Office of Steven Gacovino, PLLC      7:21-cv-53382-MCR-GRJ
  11016      316484   Monica Groff                            Law Office of Steven Gacovino, PLLC      7:21-cv-53396-MCR-GRJ
  11017      316533   Joel Lillard                            Law Office of Steven Gacovino, PLLC      7:21-cv-53480-MCR-GRJ
  11018      316577   Nicholas Doucakis                       Law Office of Steven Gacovino, PLLC      7:21-cv-53559-MCR-GRJ
  11019      316597   Richard Little                          Law Office of Steven Gacovino, PLLC      7:21-cv-53598-MCR-GRJ
  11020      316655   Jeffrey Clark                           Law Office of Steven Gacovino, PLLC      7:21-cv-53713-MCR-GRJ
  11021      316677   Esteban Jauregui                        Law Office of Steven Gacovino, PLLC      7:21-cv-53756-MCR-GRJ
  11022      324707   Andrew Mentzer                          Law Office of Steven Gacovino, PLLC      7:22-cv-00001-MCR-GRJ
  11023      324708   Brian Walker                            Law Office of Steven Gacovino, PLLC      7:22-cv-00002-MCR-GRJ




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  11024      332139   Micheal Bailey                          Law Office of Steven Gacovino, PLLC         7:21-cv-50788-MCR-GRJ
  11025      332186   William Burges                          Law Office of Steven Gacovino, PLLC         7:21-cv-50835-MCR-GRJ
  11026      332212   Gary Nuckols                            Law Office of Steven Gacovino, PLLC         7:21-cv-50861-MCR-GRJ
  11027      332221   Benjamin Nicklow                        Law Office of Steven Gacovino, PLLC         7:21-cv-50870-MCR-GRJ
  11028      332240   Kenneth Haynes                          Law Office of Steven Gacovino, PLLC         7:21-cv-50889-MCR-GRJ
  11029      332324   Terence Claud                           Law Office of Steven Gacovino, PLLC         7:21-cv-50972-MCR-GRJ
  11030      332335   Thomas Riel                             Law Office of Steven Gacovino, PLLC         7:21-cv-50983-MCR-GRJ
  11031      332360   Kyung Jones                             Law Office of Steven Gacovino, PLLC         7:21-cv-51008-MCR-GRJ
  11032      332394   Nathan Roberts                          Law Office of Steven Gacovino, PLLC         7:21-cv-51042-MCR-GRJ
  11033      332398   Michele Ortiz                           Law Office of Steven Gacovino, PLLC         7:21-cv-51046-MCR-GRJ
  11034      332417   Matthew Coomber                         Law Office of Steven Gacovino, PLLC         7:21-cv-51065-MCR-GRJ
  11035      202653   Lee Hodges                              Law Offices of Charles H. Johnson, P.A.                                8:20-cv-51713-MCR-GRJ
  11036      202655   Bradley Hudson                          Law Offices of Charles H. Johnson, P.A.                                8:20-cv-51721-MCR-GRJ
  11037      202663   David Hollowich                         Law Offices of Charles H. Johnson, P.A.                                8:20-cv-51752-MCR-GRJ
  11038      258859   Alan Babin                              Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03286-MCR-GRJ
  11039      258860   Richard Barnes                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03287-MCR-GRJ
  11040      258865   Patrick Brown                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03292-MCR-GRJ
  11041      258875   Kenneth Cooper                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-01604-MCR-GRJ
  11042      258877   Paul Cordner                            Law Offices of Charles H. Johnson, P.A.                                9:20-cv-01609-MCR-GRJ
  11043      258879   William Cranford                        Law Offices of Charles H. Johnson, P.A.     9:20-cv-01614-MCR-GRJ
  11044      258882   Chanel Douglas                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-01622-MCR-GRJ
  11045      258887   Terry Garrett                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-01634-MCR-GRJ
  11046      258888   Calvin Graham                           Law Offices of Charles H. Johnson, P.A.     9:20-cv-01637-MCR-GRJ
  11047      258890   Havis Hilse                             Law Offices of Charles H. Johnson, P.A.     9:20-cv-03298-MCR-GRJ
  11048      258891   James Holbrook                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03299-MCR-GRJ
  11049      258892   Kevin Holland                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03300-MCR-GRJ
  11050      258895   Jessica Kirt                            Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03303-MCR-GRJ
  11051      258897   Ricardo Lucio                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03305-MCR-GRJ
  11052      258898   Lawrence Lunsford                       Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03306-MCR-GRJ
  11053      258904   Luis Morales                            Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03312-MCR-GRJ
  11054      258909   David Peters                            Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03514-MCR-GRJ
  11055      258910   Arthur Porter                           Law Offices of Charles H. Johnson, P.A.     9:20-cv-03517-MCR-GRJ
  11056      258911   Roel Quintana                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03519-MCR-GRJ
  11057      258913   Kenneth Simmons                         Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03523-MCR-GRJ
  11058      258914   Robert Starling                         Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03526-MCR-GRJ
  11059      258915   James Strandberg                        Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03528-MCR-GRJ
  11060      258916   Matthew Taylor                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03530-MCR-GRJ
  11061      258918   Gilman Warren                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03535-MCR-GRJ
  11062      258919   Fred William                            Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03537-MCR-GRJ
  11063      258920   Trevor Williams                         Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03539-MCR-GRJ
  11064      258921   Gregory Wilson                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03541-MCR-GRJ
  11065      258926   Logan Cunningham                        Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03552-MCR-GRJ
  11066      258940   Carlos Olmeda Martinez                  Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03584-MCR-GRJ
  11067      258953   Nick Hewitt                             Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03605-MCR-GRJ
  11068      258976   Jeffery Thomas                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03627-MCR-GRJ
  11069      258984   Robert Waddell                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03635-MCR-GRJ
  11070      258999   Derek Freeman                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03656-MCR-GRJ
  11071      259004   Ernest Green                            Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03667-MCR-GRJ
  11072      259005   Hunter Lafever                          Law Offices of Charles H. Johnson, P.A.                                9:20-cv-03669-MCR-GRJ
  11073      259019   Robert Muller                           Law Offices of Charles H. Johnson, P.A.                                9:20-cv-04291-MCR-GRJ
  11074      316744   Daniel Berlinger                        Law Offices of Charles H. Johnson, P.A.     7:21-cv-36873-MCR-GRJ
  11075      316750   Jason Hightower                         Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36877-MCR-GRJ
  11076      316751   Todd Hunkins                            Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36878-MCR-GRJ
  11077      316756   Russell Mcnitt                          Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36882-MCR-GRJ
  11078      316759   Ryan Newsome                            Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36883-MCR-GRJ
  11079      316766   Theodore Ruhm                           Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36884-MCR-GRJ
  11080      316767   Kenneth Sobecki                         Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36885-MCR-GRJ
  11081      316769   Robert Watchus                          Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36886-MCR-GRJ
  11082      316770   Justin Watson                           Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36887-MCR-GRJ
  11083      316771   Alvin Zimmerman                         Law Offices of Charles H. Johnson, P.A.                                7:21-cv-36888-MCR-GRJ
  11084      139212   Travis Taunton                          Law Offices of James Scott Farrin                                      3:19-cv-00658-MCR-GRJ
  11085      139213   Bennett Clayton                         Law Offices of James Scott Farrin                                      3:19-cv-01422-MCR-GRJ
  11086      248073   Lamar Williams                          Law Offices of Lisa Douglas                                            3:20-cv-05515-MCR-GRJ
  11087       8515    Aaron Moeller                           Law Offices of Peter G. Angelos, P.C.       7:20-cv-47720-MCR-GRJ
  11088       8659    Christopher Shurts                      Law Offices of Peter G. Angelos, P.C.       7:20-cv-48176-MCR-GRJ
  11089       8713    Kerry Templin                           Law Offices of Peter G. Angelos, P.C.                                  7:20-cv-48364-MCR-GRJ
  11090       8785    Jacob Wood                              Law Offices of Peter G. Angelos, P.C.       7:20-cv-47620-MCR-GRJ
  11091       8842    Donald Guyse                            Law Offices of Peter G. Angelos, P.C.       7:20-cv-47778-MCR-GRJ
  11092       9017    Victor Mastrucci                        Law Offices of Peter G. Angelos, P.C.       7:20-cv-48472-MCR-GRJ
  11093       9125    Kevin Fealy                             Law Offices of Peter G. Angelos, P.C.       7:20-cv-48590-MCR-GRJ
  11094       9147    Brian Elkie                             Law Offices of Peter G. Angelos, P.C.       7:20-cv-48634-MCR-GRJ
  11095       9169    Gregory Dorsey                          Law Offices of Peter G. Angelos, P.C.       7:20-cv-48567-MCR-GRJ
  11096       9217    Michael Blalock                         Law Offices of Peter G. Angelos, P.C.                                  7:20-cv-48658-MCR-GRJ




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  11097       9228    Andrew Chambless                        Law Offices of Peter G. Angelos, P.C.                                 7:20-cv-48668-MCR-GRJ
  11098      94369    Tsega Sharp                             Law Offices of Peter G. Angelos, P.C.      7:20-cv-51015-MCR-GRJ
  11099      161774   Aaron Colburn                           Law Offices of Peter G. Angelos, P.C.      7:20-cv-67992-MCR-GRJ
  11100      194373   William Bulow                           Law Offices of Terence J. Sweeney, Esq.                               8:20-cv-30173-MCR-GRJ
  11101       5411    Dennis Williams                         Lear Werts LLP                                                        8:20-cv-04104-MCR-GRJ
  11102      10728    Joshua Bowman                           Levin Papantonio Rafferty                                             7:20-cv-04035-MCR-GRJ
  11103      10890    David Cuyler                            Levin Papantonio Rafferty                                             7:20-cv-00232-MCR-GRJ
  11104      10925    Ryan Smelcer                            Levin Papantonio Rafferty                  7:20-cv-00288-MCR-GRJ
  11105      10948    Angie Ramirez                           Levin Papantonio Rafferty                  7:20-cv-00312-MCR-GRJ
  11106      11141    Matthew Brady                           Levin Papantonio Rafferty                  7:20-cv-00501-MCR-GRJ
  11107      11162    Christopher Hempel                      Levin Papantonio Rafferty                  7:20-cv-00520-MCR-GRJ
  11108      11174    Walter Wilson                           Levin Papantonio Rafferty                  7:20-cv-00532-MCR-GRJ
  11109      11393    Michael Kennedy                         Levin Papantonio Rafferty                  7:20-cv-00764-MCR-GRJ
  11110      11436    Stephanie Bradley                       Levin Papantonio Rafferty                                             7:20-cv-00785-MCR-GRJ
  11111      11520    Eric Clarke                             Levin Papantonio Rafferty                  7:20-cv-00888-MCR-GRJ
  11112      11639    Mark Kosanko                            Levin Papantonio Rafferty                  7:20-cv-01053-MCR-GRJ
  11113      11741    Derrick Young                           Levin Papantonio Rafferty                  7:20-cv-01116-MCR-GRJ
  11114      164756   Tramayne Miller                         Levin Papantonio Rafferty                                             7:20-cv-21902-MCR-GRJ
  11115      174780   Maurice Gray                            Levin Papantonio Rafferty                  7:20-cv-40403-MCR-GRJ
  11116      174810   Christopher Butler                      Levin Papantonio Rafferty                  7:20-cv-40615-MCR-GRJ
  11117      176578   Alquan Cummins                          Levin Papantonio Rafferty                  7:20-cv-40856-MCR-GRJ
  11118      176581   Uriah Deutsch                           Levin Papantonio Rafferty                                             7:20-cv-40867-MCR-GRJ
  11119      176588   Samantha Freeman                        Levin Papantonio Rafferty                                             7:20-cv-40892-MCR-GRJ
  11120      176592   Brandon Godfrey                         Levin Papantonio Rafferty                  7:20-cv-40906-MCR-GRJ
  11121      176619   Joshua Mowrey                           Levin Papantonio Rafferty                  7:20-cv-40487-MCR-GRJ
  11122      176621   Kevin Nichols                           Levin Papantonio Rafferty                  7:20-cv-40492-MCR-GRJ
  11123      176624   Reuben Paige                            Levin Papantonio Rafferty                                             7:20-cv-40502-MCR-GRJ
  11124      176630   Damion Peters                           Levin Papantonio Rafferty                  7:20-cv-40517-MCR-GRJ
  11125      176644   Patrick Steward                         Levin Papantonio Rafferty                  7:20-cv-40556-MCR-GRJ
  11126      178058   John Bauer                              Levin Papantonio Rafferty                  7:20-cv-44382-MCR-GRJ
  11127      178076   Jason Fike                              Levin Papantonio Rafferty                  7:20-cv-44421-MCR-GRJ
  11128      178079   Garrett Gebhart                         Levin Papantonio Rafferty                                             7:20-cv-44430-MCR-GRJ
  11129      178102   Edward Park                             Levin Papantonio Rafferty                                             7:20-cv-44653-MCR-GRJ
  11130      178117   Jesse Southard                          Levin Papantonio Rafferty                  7:20-cv-44693-MCR-GRJ
  11131      183040   Neil Ainsworth                          Levin Papantonio Rafferty                  7:20-cv-82837-MCR-GRJ
  11132      183064   Salvatore Demarco                       Levin Papantonio Rafferty                  7:20-cv-82890-MCR-GRJ
  11133      183068   Shane Dunnigan                          Levin Papantonio Rafferty                  7:20-cv-84658-MCR-GRJ
  11134      183088   Terri Hudson                            Levin Papantonio Rafferty                  7:20-cv-84761-MCR-GRJ
  11135      183107   Caleb Mccarty                           Levin Papantonio Rafferty                  7:20-cv-84878-MCR-GRJ
  11136      183114   Alan Naugher                            Levin Papantonio Rafferty                  7:20-cv-84910-MCR-GRJ
  11137      183117   Jacob Olah                              Levin Papantonio Rafferty                  7:20-cv-84922-MCR-GRJ
  11138      183126   Zachary Sanderson                       Levin Papantonio Rafferty                  7:20-cv-84966-MCR-GRJ
  11139      183129   Walker Temple                           Levin Papantonio Rafferty                  7:20-cv-84979-MCR-GRJ
  11140      183132   Corbin Wery                             Levin Papantonio Rafferty                  7:20-cv-84993-MCR-GRJ
  11141      190527   Brent Thompson                          Levin Papantonio Rafferty                  8:20-cv-16798-MCR-GRJ
  11142      261522   Matthew Whittemore                      Levin Papantonio Rafferty                  9:20-cv-03997-MCR-GRJ
  11143      320944   David Hudgens                           Levin Papantonio Rafferty                  7:21-cv-31396-MCR-GRJ
  11144      320946   Kendrick Sexton                         Levin Papantonio Rafferty                  7:21-cv-31398-MCR-GRJ
  11145      77311    Aaron Koerner                           Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49936-MCR-GRJ
  11146      77313    Lauren Conner                           Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49945-MCR-GRJ      3:19-cv-02819-MCR-GRJ
  11147      77327    Rachel Simpson                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50017-MCR-GRJ
  11148      77358    Robert Szewczak                         Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50173-MCR-GRJ
  11149      77380    Lawrence Floyd                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50300-MCR-GRJ
  11150      77386    Burnie Tucker                           Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50337-MCR-GRJ
  11151      77390    Juan Turner                             Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50360-MCR-GRJ
  11152      77392    Matthew Jimmerson                       Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50371-MCR-GRJ
  11153      77396    James Wells                             Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50395-MCR-GRJ
  11154      77397    Beth Burton                             Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50401-MCR-GRJ
  11155      77398    Andrew Schmitz                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50408-MCR-GRJ
  11156      77406    Dakota Hinton                           Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50458-MCR-GRJ      3:19-cv-02786-MCR-GRJ
  11157      77426    Jennifer Hollingsworth                  Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50570-MCR-GRJ
  11158      77428    Paul Turner                             Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50582-MCR-GRJ
  11159      77430    Thomas Titus                            Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50593-MCR-GRJ
  11160      77437    Michael Campbell                        Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50629-MCR-GRJ
  11161      77452    Brandy Woods                            Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50704-MCR-GRJ
  11162      77458    Brian Sanders                           Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50736-MCR-GRJ
  11163      77464    Jacob Laughlin                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50768-MCR-GRJ
  11164      77483    Brandon Mcquillen                       Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50855-MCR-GRJ
  11165      77484    Anton Jones                             Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-50858-MCR-GRJ
  11166      77491    Ryan Robbins                            Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-50882-MCR-GRJ
  11167      77519    Michael Frischhertz                     Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-48969-MCR-GRJ
  11168      77522    Wade Mano                               Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-48972-MCR-GRJ
  11169      77532    Gabriel Luciano-Maldonado               Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-48991-MCR-GRJ




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  11170      77533    Michael Walker                          Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-48994-MCR-GRJ
  11171      77542    Jose Santellanes                        Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49017-MCR-GRJ
  11172      77544    Joshua Dotson                           Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49022-MCR-GRJ
  11173      77560    Russell Bryant                          Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49063-MCR-GRJ
  11174      77565    James Cater                             Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-16072-MCR-GRJ
  11175      77570    Zachary Cope                            Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49089-MCR-GRJ
  11176      77580    Tony Dooley                             Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49115-MCR-GRJ
  11177      77582    Hollie Faerman-Diaz                     Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49120-MCR-GRJ
  11178      77584    Terence Findley                         Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49125-MCR-GRJ
  11179      77585    Darius Fletcher                         Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49128-MCR-GRJ      3:19-cv-02760-MCR-GRJ
  11180      77590    Paul Garner                             Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49136-MCR-GRJ
  11181      77594    Jason Giorgini                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49142-MCR-GRJ
  11182      77595    Alexander Gray                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49145-MCR-GRJ
  11183      77599    Henry Hammond                           Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49155-MCR-GRJ
  11184      77607    Michael Johnson                         Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49172-MCR-GRJ
  11185      77608    Cortland Johnson                        Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49175-MCR-GRJ
  11186      77609    Adam Johnson                            Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49177-MCR-GRJ
  11187      77641    Benjy Partin                            Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49250-MCR-GRJ      3:19-cv-00767-MCR-GRJ
  11188      77654    Corina Roberts                          Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-49275-MCR-GRJ
  11189      77657    Mathew Ruffner                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49283-MCR-GRJ
  11190      77677    Jonathan Taylor                         Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49332-MCR-GRJ
  11191      77691    Walter Wright                           Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-49365-MCR-GRJ
  11192      161176   Stephanie Pile                          Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-67845-MCR-GRJ      3:19-cv-02817-MCR-GRJ
  11193      161414   Maurice Threatt                         Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-67947-MCR-GRJ
  11194      164781   Cameron Cook                            Lieff Cabraser Heimann & Bernstein, LLP    7:20-cv-68950-MCR-GRJ
  11195      164787   Kevin Foster                            Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-68968-MCR-GRJ
  11196      164795   Robert Sheerin                          Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-68989-MCR-GRJ
  11197      173819   Jacob Burrow                            Lieff Cabraser Heimann & Bernstein, LLP                               7:20-cv-64836-MCR-GRJ
  11198      179641   George Dezenzo                          Lieff Cabraser Heimann & Bernstein, LLP    8:20-cv-02235-MCR-GRJ
  11199      179644   Ryan Klimas                             Lieff Cabraser Heimann & Bernstein, LLP                               8:20-cv-02238-MCR-GRJ
  11200      218550   Jason Jensen                            Lieff Cabraser Heimann & Bernstein, LLP                               8:20-cv-75596-MCR-GRJ
  11201      218554   Kelly Anderson                          Lieff Cabraser Heimann & Bernstein, LLP                               8:20-cv-75617-MCR-GRJ
  11202      218555   Kevin Hendricks                         Lieff Cabraser Heimann & Bernstein, LLP                               8:20-cv-75626-MCR-GRJ
  11203      218558   Joshua Lile                             Lieff Cabraser Heimann & Bernstein, LLP    8:20-cv-75647-MCR-GRJ
  11204      218565   Paul Brown                              Lieff Cabraser Heimann & Bernstein, LLP                               8:20-cv-75697-MCR-GRJ
  11205      218570   James Davis                             Lieff Cabraser Heimann & Bernstein, LLP                               8:20-cv-75730-MCR-GRJ
  11206      276178   Jeramy Shanley                          Lieff Cabraser Heimann & Bernstein, LLP    7:21-cv-00415-MCR-GRJ
  11207      102333   Von Auna                                Lockridge Grindal Nauen                    8:20-cv-16890-MCR-GRJ
  11208      102346   Edwin Boggess                           Lockridge Grindal Nauen                                               8:20-cv-17427-MCR-GRJ
  11209      102352   Edwin Brown                             Lockridge Grindal Nauen                                               8:20-cv-17441-MCR-GRJ
  11210      102353   Bryan Buonvino                          Lockridge Grindal Nauen                    8:20-cv-17444-MCR-GRJ
  11211      102355   David Buzzard                           Lockridge Grindal Nauen                                               8:20-cv-17449-MCR-GRJ
  11212      102357   Lorenzo Caballero                       Lockridge Grindal Nauen                                               8:20-cv-17455-MCR-GRJ
  11213      102363   Carl Crawford                           Lockridge Grindal Nauen                    8:20-cv-17472-MCR-GRJ
  11214      102365   Robert Dale                             Lockridge Grindal Nauen                    8:20-cv-17478-MCR-GRJ
  11215      102373   Michael Donley                          Lockridge Grindal Nauen                                               8:20-cv-17497-MCR-GRJ
  11216      102382   Samuel Fierro                           Lockridge Grindal Nauen                    8:20-cv-17520-MCR-GRJ
  11217      102386   Ricardo Garcia                          Lockridge Grindal Nauen                                               8:20-cv-17528-MCR-GRJ
  11218      102392   Angelito Godderz                        Lockridge Grindal Nauen                    8:20-cv-17544-MCR-GRJ
  11219      102396   Jason Gunter                            Lockridge Grindal Nauen                    8:20-cv-17555-MCR-GRJ
  11220      102397   Tiffany Hammonds                        Lockridge Grindal Nauen                                               8:20-cv-17558-MCR-GRJ
  11221      102401   David Hollinrake                        Lockridge Grindal Nauen                    8:20-cv-17569-MCR-GRJ
  11222      102406   Bryan Hugh                              Lockridge Grindal Nauen                                               8:20-cv-17583-MCR-GRJ
  11223      102408   Justin Irby                             Lockridge Grindal Nauen                                               8:20-cv-17589-MCR-GRJ
  11224      102412   Hassan Jenkins                          Lockridge Grindal Nauen                                               8:20-cv-17600-MCR-GRJ
  11225      102413   John Jennings                           Lockridge Grindal Nauen                    8:20-cv-17602-MCR-GRJ
  11226      102417   Weston Jones                            Lockridge Grindal Nauen                                               8:20-cv-17611-MCR-GRJ
  11227      102425   Mathew Lee                              Lockridge Grindal Nauen                    8:20-cv-17633-MCR-GRJ
  11228      102428   Suzanne Lewis-Smith                     Lockridge Grindal Nauen                                               8:20-cv-17641-MCR-GRJ
  11229      102430   Dan Loeffelholz                         Lockridge Grindal Nauen                    8:20-cv-17649-MCR-GRJ
  11230      102435   Jorge Lozano                            Lockridge Grindal Nauen                    8:20-cv-17668-MCR-GRJ
  11231      102441   Patrick Mcguire                         Lockridge Grindal Nauen                                               8:20-cv-17688-MCR-GRJ
  11232      102442   Richard Mcinerney                       Lockridge Grindal Nauen                    8:20-cv-17691-MCR-GRJ
  11233      102443   Shane Mcnerney                          Lockridge Grindal Nauen                                               8:20-cv-17694-MCR-GRJ
  11234      102444   Jason Mead                              Lockridge Grindal Nauen                                               8:20-cv-17697-MCR-GRJ
  11235      102446   Christopher Miller                      Lockridge Grindal Nauen                                               8:20-cv-17702-MCR-GRJ
  11236      102455   Shawn O'Connor                          Lockridge Grindal Nauen                                               8:20-cv-17727-MCR-GRJ
  11237      102458   Henry Paepke                            Lockridge Grindal Nauen                    8:20-cv-17734-MCR-GRJ
  11238      102465   Rocky Poyner                            Lockridge Grindal Nauen                    8:20-cv-17747-MCR-GRJ
  11239      102485   Charles Sieber                          Lockridge Grindal Nauen                                               8:20-cv-17795-MCR-GRJ
  11240      102490   Carl Stillwell                          Lockridge Grindal Nauen                    8:20-cv-17806-MCR-GRJ
  11241      102491   Mark Stufflet                           Lockridge Grindal Nauen                    8:20-cv-17808-MCR-GRJ
  11242      102503   Dennis Wagner                           Lockridge Grindal Nauen                                               8:20-cv-17843-MCR-GRJ




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  11243      102505   Kevin Williams                          Lockridge Grindal Nauen                                      8:20-cv-17851-MCR-GRJ
  11244      164183   Shawn Girouard                          Lockridge Grindal Nauen           8:20-cv-18607-MCR-GRJ
  11245      171571   Jason Rhodes                            Lockridge Grindal Nauen                                      8:20-cv-18644-MCR-GRJ
  11246      211561   Brad Vargason                           Lockridge Grindal Nauen           8:20-cv-59665-MCR-GRJ
  11247      269538   Donald Doctor                           Lockridge Grindal Nauen                                      9:20-cv-19962-MCR-GRJ
  11248      269541   Cody Bennett                            Lockridge Grindal Nauen                                      9:20-cv-19971-MCR-GRJ
  11249      269542   Daniel Mahoney                          Lockridge Grindal Nauen                                      9:20-cv-19974-MCR-GRJ
  11250      286723   Justin Fry                              Lockridge Grindal Nauen           7:21-cv-05043-MCR-GRJ
  11251      293407   Luke Bell                               Lockridge Grindal Nauen           7:21-cv-13011-MCR-GRJ
  11252      323741   Darryl Barnes                           Lockridge Grindal Nauen                                      7:21-cv-37297-MCR-GRJ
  11253      323745   Brian Fletcher                          Lockridge Grindal Nauen           7:21-cv-45725-MCR-GRJ
  11254      326632   Brian Bonilla                           Lockridge Grindal Nauen           7:21-cv-47874-MCR-GRJ
  11255      326635   Charlie Drysdale                        Lockridge Grindal Nauen           7:21-cv-47877-MCR-GRJ
  11256      326636   Ricky Dyer                              Lockridge Grindal Nauen                                      7:21-cv-47878-MCR-GRJ
  11257      326638   Rheyionne Glenn                         Lockridge Grindal Nauen           7:21-cv-47880-MCR-GRJ
  11258      326642   Tanya Harris                            Lockridge Grindal Nauen           7:21-cv-47884-MCR-GRJ
  11259      326643   Dawn Hills                              Lockridge Grindal Nauen                                      7:21-cv-47885-MCR-GRJ
  11260      326644   James Hunt                              Lockridge Grindal Nauen           7:21-cv-47886-MCR-GRJ
  11261      326645   Ethan Hurston                           Lockridge Grindal Nauen           7:21-cv-47887-MCR-GRJ
  11262      326646   George Hyndman                          Lockridge Grindal Nauen           7:21-cv-47888-MCR-GRJ
  11263      326648   Dessiree Jagiello                       Lockridge Grindal Nauen           7:21-cv-47890-MCR-GRJ
  11264      326649   Travis Layfield                         Lockridge Grindal Nauen                                      7:21-cv-47891-MCR-GRJ
  11265      326651   John Lowery                             Lockridge Grindal Nauen           7:21-cv-47893-MCR-GRJ
  11266      326653   Fonda Mccarty                           Lockridge Grindal Nauen                                      7:21-cv-47895-MCR-GRJ
  11267      327167   Jerred Screen                           Lockridge Grindal Nauen           7:21-cv-47902-MCR-GRJ
  11268      327169   Eric Stacey                             Lockridge Grindal Nauen                                      7:21-cv-47904-MCR-GRJ
  11269      327171   Robert Thacker                          Lockridge Grindal Nauen                                      7:21-cv-47906-MCR-GRJ
  11270      327172   Zechariah Thiry                         Lockridge Grindal Nauen           7:21-cv-47907-MCR-GRJ
  11271      327176   Pete Wilkes                             Lockridge Grindal Nauen           7:21-cv-47910-MCR-GRJ
  11272      327178   Michael Willams                         Lockridge Grindal Nauen           7:21-cv-47912-MCR-GRJ
  11273      327182   Timothy Darling                         Lockridge Grindal Nauen           7:21-cv-47915-MCR-GRJ
  11274      327183   Robert Lewis                            Lockridge Grindal Nauen           7:21-cv-47916-MCR-GRJ
  11275      327185   Cedric Young                            Lockridge Grindal Nauen           7:21-cv-47918-MCR-GRJ
  11276      331383   James Buck                              Lockridge Grindal Nauen           7:21-cv-48246-MCR-GRJ
  11277      331388   Edward Casey                            Lockridge Grindal Nauen           7:21-cv-48251-MCR-GRJ
  11278      331425   Patrick Engels                          Lockridge Grindal Nauen                                      7:21-cv-48264-MCR-GRJ
  11279      331431   Joshua Herring                          Lockridge Grindal Nauen           7:21-cv-48270-MCR-GRJ
  11280      331436   Eric Jeansonne                          Lockridge Grindal Nauen                                      7:21-cv-48275-MCR-GRJ
  11281      331445   John Marshall                           Lockridge Grindal Nauen                                      7:21-cv-48284-MCR-GRJ
  11282      331449   Robert Morton                           Lockridge Grindal Nauen           7:21-cv-48288-MCR-GRJ
  11283      331453   Christopher Robbins                     Lockridge Grindal Nauen           7:21-cv-48292-MCR-GRJ
  11284      332019   Milton Simpkins                         Lockridge Grindal Nauen                                      7:21-cv-48409-MCR-GRJ
  11285      332020   Marlene Singletary                      Lockridge Grindal Nauen           7:21-cv-48410-MCR-GRJ
  11286      332024   Adam Taylor                             Lockridge Grindal Nauen                                      7:21-cv-48413-MCR-GRJ
  11287      332025   Michael Thomas                          Lockridge Grindal Nauen           7:21-cv-48414-MCR-GRJ
  11288      332026   Jeffrey Vanmourik                       Lockridge Grindal Nauen           7:21-cv-48415-MCR-GRJ
  11289      332027   Amber Walsh                             Lockridge Grindal Nauen                                      7:21-cv-48416-MCR-GRJ
  11290      332030   Verland Woods                           Lockridge Grindal Nauen           7:21-cv-48419-MCR-GRJ
  11291      332741   Christopher Christiansen                Lockridge Grindal Nauen           7:21-cv-48543-MCR-GRJ
  11292      332743   Dianna Worthey                          Lockridge Grindal Nauen                                      7:21-cv-48547-MCR-GRJ
  11293      332744   Michael Zeigler                         Lockridge Grindal Nauen           7:21-cv-48549-MCR-GRJ
  11294      332746   Sheree Wright                           Lockridge Grindal Nauen           7:21-cv-53804-MCR-GRJ
  11295      332747   Alfred Maldonado                        Lockridge Grindal Nauen                                      7:21-cv-48551-MCR-GRJ
  11296      332765   Jacob Andreen                           Lockridge Grindal Nauen           7:21-cv-48566-MCR-GRJ
  11297      332767   Kerstin Broughton                       Lockridge Grindal Nauen           7:21-cv-53808-MCR-GRJ
  11298      332768   Daryan Davidek                          Lockridge Grindal Nauen           7:21-cv-48567-MCR-GRJ
  11299      332775   Chris Moreno                            Lockridge Grindal Nauen           7:21-cv-53819-MCR-GRJ
  11300      332796   Luis Charbonier                         Lockridge Grindal Nauen           7:21-cv-53825-MCR-GRJ
  11301      332798   Nelson Ehirim                           Lockridge Grindal Nauen                                      7:21-cv-53829-MCR-GRJ
  11302      332808   Erikka Preston                          Lockridge Grindal Nauen           7:21-cv-53840-MCR-GRJ
  11303      332810   Sandra Ross                             Lockridge Grindal Nauen           7:21-cv-53843-MCR-GRJ
  11304      332814   Lauren Tatta                            Lockridge Grindal Nauen           7:21-cv-53851-MCR-GRJ
  11305      332817   Amber Ward                              Lockridge Grindal Nauen           7:21-cv-53853-MCR-GRJ
  11306      334232   Chanda Scott                            Lockridge Grindal Nauen           7:21-cv-54305-MCR-GRJ
  11307      334233   Carl Christner                          Lockridge Grindal Nauen                                      7:21-cv-54306-MCR-GRJ
  11308      334236   Kayla Harris                            Lockridge Grindal Nauen                                      7:21-cv-54309-MCR-GRJ
  11309      334240   Tyler Middleton                         Lockridge Grindal Nauen           7:21-cv-54313-MCR-GRJ
  11310      335034   Angel Adell                             Lockridge Grindal Nauen           7:21-cv-54387-MCR-GRJ
  11311      335042   Douglas Dean                            Lockridge Grindal Nauen                                      7:21-cv-54395-MCR-GRJ
  11312      335045   Dustin Finley                           Lockridge Grindal Nauen           7:21-cv-53537-MCR-GRJ
  11313      335052   Mark Hamm                               Lockridge Grindal Nauen           7:21-cv-53552-MCR-GRJ
  11314      335056   Tanjunika James                         Lockridge Grindal Nauen                                      7:21-cv-53561-MCR-GRJ
  11315      335057   Oscar Kapatak                           Lockridge Grindal Nauen           7:21-cv-53563-MCR-GRJ




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  11316      335059   Jeremy Leibbrand                        Lockridge Grindal Nauen                     7:21-cv-53567-MCR-GRJ
  11317      335060   Sean Mcdonough                          Lockridge Grindal Nauen                     7:21-cv-53569-MCR-GRJ
  11318      335061   Jeton Mister                            Lockridge Grindal Nauen                                                7:21-cv-53571-MCR-GRJ
  11319      335063   Russell Perry-Middleton                 Lockridge Grindal Nauen                     7:21-cv-53575-MCR-GRJ
  11320      335065   James Powers                            Lockridge Grindal Nauen                     7:21-cv-53579-MCR-GRJ
  11321      335066   Stanley Ransom                          Lockridge Grindal Nauen                                                7:21-cv-53581-MCR-GRJ
  11322      335068   Tyler Reich                             Lockridge Grindal Nauen                     7:21-cv-53585-MCR-GRJ
  11323      356279   Brett Clingan                           Lockridge Grindal Nauen                                                3:22-cv-00036-MCR-GRJ
  11324      357090   Isaac Taylor                            Lockridge Grindal Nauen                                                3:22-cv-00009-MCR-GRJ
  11325      357857   Deanna Maynard                          Lockridge Grindal Nauen                                                3:21-cv-04879-MCR-GRJ
  11326      357863   Michael Purvis                          Lockridge Grindal Nauen                                                3:21-cv-04919-MCR-GRJ
  11327      360151   Grant Lecompte                          Lockridge Grindal Nauen                                                3:21-cv-04850-MCR-GRJ
  11328      87629    Matthew Taylor                          Mansfield, Melancon, Cranmer & Dick, LLC                               8:20-cv-17227-MCR-GRJ
  11329      176738   Lakeltra Jones                          Matias J. Adrogue PLLC                                                 3:20-cv-00017-MCR-GRJ
  11330      18678    Anthony Stallings                       Matthews & Associates                       8:20-cv-34617-MCR-GRJ
  11331      84905    Abe Quintero                            Matthews & Associates                                                  8:20-cv-18063-MCR-GRJ
  11332      84940    Anthony Bennett                         Matthews & Associates                                                  8:20-cv-18096-MCR-GRJ
  11333      84944    Anthony Romano                          Matthews & Associates                       8:20-cv-18104-MCR-GRJ
  11334      84957    Barry Henderson                         Matthews & Associates                       8:20-cv-18117-MCR-GRJ
  11335      84964    Bill Little                             Matthews & Associates                                                  8:20-cv-18127-MCR-GRJ
  11336      84982    Bryan Angel                             Matthews & Associates                                                  8:20-cv-18155-MCR-GRJ
  11337      85012    Christian Bentley                       Matthews & Associates                       8:20-cv-18185-MCR-GRJ
  11338      85017    Christopher Byrd                        Matthews & Associates                       8:20-cv-18189-MCR-GRJ
  11339      85019    Christopher Chilcote                    Matthews & Associates                       8:20-cv-18199-MCR-GRJ
  11340      85030    Connor Bryan                            Matthews & Associates                                                  8:20-cv-18208-MCR-GRJ
  11341      85035    Daniel Dockery                          Matthews & Associates                       8:20-cv-18223-MCR-GRJ
  11342      85047    Dannie Grindle                          Matthews & Associates                       8:20-cv-18241-MCR-GRJ
  11343      85048    Dariet Beaty                            Matthews & Associates                       8:20-cv-18245-MCR-GRJ
  11344      85056    David Johnson                           Matthews & Associates                       8:20-cv-18256-MCR-GRJ
  11345      85067    Del Mcwilliams                          Matthews & Associates                       8:20-cv-18266-MCR-GRJ
  11346      85071    Dennis Johnson                          Matthews & Associates                       8:20-cv-18271-MCR-GRJ
  11347      85082    Donald Dickson                          Matthews & Associates                       8:20-cv-18275-MCR-GRJ
  11348      85090    Earl Rafus                              Matthews & Associates                                                  8:20-cv-18290-MCR-GRJ
  11349      85100    Eric Fraser                             Matthews & Associates                       8:20-cv-19288-MCR-GRJ
  11350      85102    Eric Jordan                             Matthews & Associates                       8:20-cv-19291-MCR-GRJ
  11351      85104    Eric Martin                             Matthews & Associates                       8:20-cv-19294-MCR-GRJ
  11352      85112    Erick Mack                              Matthews & Associates                                                  8:20-cv-19299-MCR-GRJ
  11353      85127    Gary Chaney                             Matthews & Associates                                                  8:20-cv-19317-MCR-GRJ
  11354      85135    Gil Cameron                             Matthews & Associates                       8:20-cv-19335-MCR-GRJ
  11355      85158    James Droddy                            Matthews & Associates                       8:20-cv-19355-MCR-GRJ
  11356      85196    Jeffery Morris                          Matthews & Associates                       8:20-cv-19397-MCR-GRJ
  11357      85214    Jesse Rogers                            Matthews & Associates                                                  7:20-cv-17797-MCR-GRJ
  11358      85222    Joe Leija                               Matthews & Associates                       8:20-cv-19426-MCR-GRJ
  11359      85233    John Whitten                            Matthews & Associates                       8:20-cv-19430-MCR-GRJ
  11360      85237    Jonathan Tate                           Matthews & Associates                       8:20-cv-19435-MCR-GRJ
  11361      85244    Joseph Boxx                             Matthews & Associates                       8:20-cv-19439-MCR-GRJ
  11362      85248    Joseph Krasinski                        Matthews & Associates                                                  8:20-cv-19444-MCR-GRJ
  11363      85265    Joshua Mauzy                            Matthews & Associates                                                  8:20-cv-19463-MCR-GRJ
  11364      85283    Justin Spires                           Matthews & Associates                       8:20-cv-19476-MCR-GRJ
  11365      85285    Justin Travis                           Matthews & Associates                       8:20-cv-19481-MCR-GRJ
  11366      85289    Kareem Cannon                           Matthews & Associates                       8:20-cv-19486-MCR-GRJ
  11367      85304    Kennith Martin                          Matthews & Associates                       8:20-cv-19508-MCR-GRJ
  11368      85305    Kenyata Hamlet                          Matthews & Associates                                                  8:20-cv-19513-MCR-GRJ
  11369      85308    Kevin Dinkins                           Matthews & Associates                                                  8:20-cv-19520-MCR-GRJ
  11370      85325    Lance Mcelhenney                        Matthews & Associates                       8:20-cv-19547-MCR-GRJ
  11371      85330    Lawrence Phillips                       Matthews & Associates                       8:20-cv-19558-MCR-GRJ
  11372      85360    Matthew Koehlar                         Matthews & Associates                       8:20-cv-19605-MCR-GRJ
  11373      85364    Matthew Monson                          Matthews & Associates                                                  8:20-cv-19610-MCR-GRJ
  11374      85365    Matthew Parke                           Matthews & Associates                       8:20-cv-19615-MCR-GRJ
  11375      85377    Michael Gossett                         Matthews & Associates                                                  8:20-cv-19621-MCR-GRJ
  11376      85409    Nathan Jones                            Matthews & Associates                       8:20-cv-19644-MCR-GRJ
  11377      85410    Nathan Jones                            Matthews & Associates                       8:20-cv-19650-MCR-GRJ
  11378      85419    Nicole Morava                           Matthews & Associates                       8:20-cv-19656-MCR-GRJ
  11379      85434    Peter Diotte                            Matthews & Associates                                                  8:20-cv-19684-MCR-GRJ
  11380      85479    Robert Monson                           Matthews & Associates                                                  8:20-cv-19740-MCR-GRJ
  11381      85481    Robert Moon                             Matthews & Associates                       8:20-cv-19744-MCR-GRJ
  11382      85507    Ryan Humphries                          Matthews & Associates                       8:20-cv-19754-MCR-GRJ
  11383      85509    Ryan Main                               Matthews & Associates                       8:20-cv-19758-MCR-GRJ
  11384      85511    Ryan Robinson                           Matthews & Associates                       8:20-cv-19763-MCR-GRJ
  11385      85514    Ryan Weyer                              Matthews & Associates                                                  8:20-cv-19767-MCR-GRJ
  11386      85527    Scott Williams                          Matthews & Associates                                                  8:20-cv-19777-MCR-GRJ
  11387      85535    Shauntrel Foster                        Matthews & Associates                       8:20-cv-19942-MCR-GRJ
  11388      85537    Shawn Schweppenheiser                   Matthews & Associates                       8:20-cv-19946-MCR-GRJ




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  11389      85543    Stephen Zanini                          Matthews & Associates           8:20-cv-19958-MCR-GRJ
  11390      85548    Steven Bradshaw                         Matthews & Associates                                      8:20-cv-19963-MCR-GRJ
  11391      85550    Steven Phelps                           Matthews & Associates           8:20-cv-19968-MCR-GRJ
  11392      85562    Thomas Long                             Matthews & Associates                                      8:20-cv-19978-MCR-GRJ
  11393      85563    Thomas Loveland                         Matthews & Associates                                      8:20-cv-19982-MCR-GRJ
  11394      85569    Timothy Flaugher                        Matthews & Associates           8:20-cv-20004-MCR-GRJ
  11395      85583    Tommy Johnson                           Matthews & Associates           8:20-cv-20020-MCR-GRJ
  11396      85593    Tyler Blakeslee                         Matthews & Associates           8:20-cv-20024-MCR-GRJ
  11397      85600    Victor Sutton                           Matthews & Associates           8:20-cv-20030-MCR-GRJ
  11398      85615    William Johnson                         Matthews & Associates           8:20-cv-20039-MCR-GRJ
  11399      85631    Zachery Turner                          Matthews & Associates                                      8:20-cv-20055-MCR-GRJ
  11400      102509   James Abbott                            Matthews & Associates                                      8:20-cv-14121-MCR-GRJ
  11401      102521   James Alders                            Matthews & Associates           8:20-cv-14127-MCR-GRJ
  11402      102525   Deion Allen                             Matthews & Associates                                      8:20-cv-14138-MCR-GRJ
  11403      102526   Craig Alley                             Matthews & Associates                                      8:20-cv-14143-MCR-GRJ
  11404      102530   Tyler Anderson                          Matthews & Associates           8:20-cv-14153-MCR-GRJ
  11405      102531   Randall Anderson                        Matthews & Associates           8:20-cv-14157-MCR-GRJ
  11406      102537   Alexander Antongiorgi                   Matthews & Associates                                      8:20-cv-14167-MCR-GRJ
  11407      102559   Bryan Banks                             Matthews & Associates           8:20-cv-14201-MCR-GRJ
  11408      102567   Larry Barnes                            Matthews & Associates           8:20-cv-14210-MCR-GRJ
  11409      102574   Andrew Barton                           Matthews & Associates                                      8:20-cv-14228-MCR-GRJ
  11410      102576   Benjamin Bass                           Matthews & Associates           8:20-cv-14232-MCR-GRJ
  11411      102578   Dennis Baxter                           Matthews & Associates           8:20-cv-14237-MCR-GRJ
  11412      102579   Terrif Baydoun                          Matthews & Associates           8:20-cv-14243-MCR-GRJ
  11413      102599   Dennis Black                            Matthews & Associates           7:20-cv-26948-MCR-GRJ
  11414      102604   Rodney Blandin                          Matthews & Associates           8:20-cv-14283-MCR-GRJ
  11415      102605   Ricky Bloom                             Matthews & Associates                                      8:20-cv-14287-MCR-GRJ
  11416      102606   James Bobbitt                           Matthews & Associates           8:20-cv-14291-MCR-GRJ
  11417      102608   William Bollinger                       Matthews & Associates                                      8:20-cv-14300-MCR-GRJ
  11418      102615   Felix Borel                             Matthews & Associates                                      8:20-cv-14307-MCR-GRJ
  11419      102618   Randy Bragg                             Matthews & Associates           8:20-cv-14314-MCR-GRJ
  11420      102625   Matthew Brooks                          Matthews & Associates           8:20-cv-14322-MCR-GRJ
  11421      102626   Cody Brown                              Matthews & Associates           8:20-cv-14326-MCR-GRJ
  11422      102631   Brandon Brown                           Matthews & Associates                                      8:20-cv-14331-MCR-GRJ
  11423      102635   Quanda Brown                            Matthews & Associates           8:20-cv-14339-MCR-GRJ
  11424      102648   William Calhoun                         Matthews & Associates           8:20-cv-14353-MCR-GRJ
  11425      102653   Stephan Carey                           Matthews & Associates           8:20-cv-14363-MCR-GRJ
  11426      102664   Jeffery Chandler                        Matthews & Associates           8:20-cv-14387-MCR-GRJ
  11427      102666   Brian Chavez                            Matthews & Associates           8:20-cv-14393-MCR-GRJ
  11428      102672   Andrea Chorley                          Matthews & Associates           8:20-cv-14403-MCR-GRJ
  11429      102673   Michael Chorley                         Matthews & Associates                                      8:20-cv-14408-MCR-GRJ
  11430      102674   Kyle Christenson                        Matthews & Associates           8:20-cv-14413-MCR-GRJ
  11431      102677   Joseph Clance                           Matthews & Associates                                      8:20-cv-14418-MCR-GRJ
  11432      102685   Jasmine Clinton                         Matthews & Associates           8:20-cv-14423-MCR-GRJ
  11433      102688   Shane Coffman                           Matthews & Associates           8:20-cv-14432-MCR-GRJ
  11434      102697   John Connell                            Matthews & Associates           8:20-cv-14446-MCR-GRJ
  11435      102700   Matthew Cook                            Matthews & Associates                                      8:20-cv-14451-MCR-GRJ
  11436      102702   Christopher Coon                        Matthews & Associates           8:20-cv-14462-MCR-GRJ
  11437      102715   Stacy Cunningham                        Matthews & Associates           8:20-cv-14486-MCR-GRJ
  11438      102717   Jesse Dahlberg                          Matthews & Associates           8:20-cv-14491-MCR-GRJ
  11439      102724   Leya Davilar                            Matthews & Associates                                      8:20-cv-14502-MCR-GRJ
  11440      102725   Douglas Davis                           Matthews & Associates           8:20-cv-14507-MCR-GRJ
  11441      102729   Christopher Davis                       Matthews & Associates           8:20-cv-14526-MCR-GRJ
  11442      102730   Anthony Davis                           Matthews & Associates           8:20-cv-14531-MCR-GRJ
  11443      102732   Ronnie Dawsey                           Matthews & Associates           8:20-cv-14536-MCR-GRJ
  11444      102738   Anthony Derr                            Matthews & Associates                                      8:20-cv-14540-MCR-GRJ
  11445      102747   William Dobbs                           Matthews & Associates           8:20-cv-14565-MCR-GRJ
  11446      102761   Shane Duncan                            Matthews & Associates                                      8:20-cv-14584-MCR-GRJ
  11447      102765   Timothy Dushaw                          Matthews & Associates           8:20-cv-14604-MCR-GRJ
  11448      102792   Lacey Faupel                            Matthews & Associates                                      8:20-cv-14663-MCR-GRJ
  11449      102794   Daniel Feiteira                         Matthews & Associates           8:20-cv-14668-MCR-GRJ
  11450      102797   Jeffery Fields                          Matthews & Associates           8:20-cv-14679-MCR-GRJ
  11451      102810   Luis Frausto                            Matthews & Associates                                      8:20-cv-14692-MCR-GRJ
  11452      102813   Travis French                           Matthews & Associates           8:20-cv-14698-MCR-GRJ
  11453      102815   Dean Fritz                              Matthews & Associates           8:20-cv-14703-MCR-GRJ
  11454      102817   James Fueger                            Matthews & Associates           8:20-cv-14707-MCR-GRJ
  11455      102829   Barry Gentry                            Matthews & Associates           8:20-cv-14723-MCR-GRJ
  11456      102840   Douglas Giroux                          Matthews & Associates           8:20-cv-14731-MCR-GRJ
  11457      102843   Matthew Glover                          Matthews & Associates           8:20-cv-14734-MCR-GRJ
  11458      102844   Troy Goddard                            Matthews & Associates           8:20-cv-14738-MCR-GRJ
  11459      102846   Kyle Goff                               Matthews & Associates                                      8:20-cv-14742-MCR-GRJ
  11460      102849   Samuel Gonzales Garcia                  Matthews & Associates                                      8:20-cv-14750-MCR-GRJ
  11461      102850   Jessica Gonzalez                        Matthews & Associates           8:20-cv-14754-MCR-GRJ




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  11463      102855   Eldridge Grant                          Matthews & Associates           8:20-cv-14762-MCR-GRJ
  11464      102858   Vincent Gray                            Matthews & Associates           8:20-cv-14766-MCR-GRJ
  11465      102866   Steven Grisbaum                         Matthews & Associates                                      8:20-cv-14774-MCR-GRJ
  11466      102873   Michael Haines                          Matthews & Associates           8:20-cv-14786-MCR-GRJ
  11467      102879   James Hamilton                          Matthews & Associates                                      7:20-cv-26955-MCR-GRJ
  11468      102880   Dennis Hammel                           Matthews & Associates           8:20-cv-14798-MCR-GRJ
  11469      102898   Aron Hassell                            Matthews & Associates           8:20-cv-14830-MCR-GRJ
  11470      102905   Christopher Headd                       Matthews & Associates           8:20-cv-14834-MCR-GRJ
  11471      102912   Lonnie Hellerud                         Matthews & Associates                                      8:20-cv-14114-MCR-GRJ
  11472      102919   Robert Herring                          Matthews & Associates                                      8:20-cv-14123-MCR-GRJ
  11473      102922   Christopher Hicks                       Matthews & Associates           8:20-cv-14140-MCR-GRJ
  11474      102923   Nicholas Hicks                          Matthews & Associates                                      8:20-cv-14144-MCR-GRJ
  11475      102937   Ursula Holmes                           Matthews & Associates                                      7:20-cv-26957-MCR-GRJ
  11476      102948   Rishawn Humphrey                        Matthews & Associates                                      8:20-cv-14178-MCR-GRJ
  11477      102949   Jack Hunter                             Matthews & Associates           8:20-cv-14183-MCR-GRJ
  11478      102965   William Johnson                         Matthews & Associates                                      8:20-cv-14203-MCR-GRJ
  11479      102966   Edward Johnson                          Matthews & Associates                                      8:20-cv-14207-MCR-GRJ
  11480      102967   Davin Johnson                           Matthews & Associates           8:20-cv-14212-MCR-GRJ
  11481      102972   Matthew Johnson                         Matthews & Associates                                      8:20-cv-14221-MCR-GRJ
  11482      102973   Travis Johnson                          Matthews & Associates           8:20-cv-14225-MCR-GRJ
  11483      102976   Archie Johnson                          Matthews & Associates           8:20-cv-14234-MCR-GRJ
  11484      102981   James Jones                             Matthews & Associates           8:20-cv-14242-MCR-GRJ
  11485      102984   Travis Jones                            Matthews & Associates           8:20-cv-14246-MCR-GRJ
  11486      102992   Ryan Jordan                             Matthews & Associates           8:20-cv-14260-MCR-GRJ
  11487      102996   Jesse Kalepp                            Matthews & Associates           8:20-cv-14272-MCR-GRJ
  11488      103003   Christopher Kelly                       Matthews & Associates           8:20-cv-14281-MCR-GRJ
  11489      103004   Sherry Kennedy                          Matthews & Associates           8:20-cv-14285-MCR-GRJ
  11490      103008   James Kidd                              Matthews & Associates           8:20-cv-14292-MCR-GRJ
  11491      103015   Daniel Knight                           Matthews & Associates           8:20-cv-14301-MCR-GRJ
  11492      103025   Daniel Lambert                          Matthews & Associates           8:20-cv-14313-MCR-GRJ
  11493      103027   David Lamica                            Matthews & Associates           8:20-cv-14317-MCR-GRJ
  11494      103029   Jeffrey Lane                            Matthews & Associates           8:20-cv-14319-MCR-GRJ
  11495      103035   Kami Latham                             Matthews & Associates           8:20-cv-14327-MCR-GRJ
  11496      103037   Tyrone Lawrence                         Matthews & Associates           8:20-cv-14330-MCR-GRJ
  11497      103047   Terrance Lewis                          Matthews & Associates           8:20-cv-14351-MCR-GRJ
  11498      103058   Ira Logan                               Matthews & Associates           8:20-cv-14366-MCR-GRJ
  11499      103061   Jonathan Long                           Matthews & Associates                                      8:20-cv-14374-MCR-GRJ
  11500      103064   Felix Lopez                             Matthews & Associates           8:20-cv-14379-MCR-GRJ
  11501      103065   Ronald Lopez                            Matthews & Associates           8:20-cv-14384-MCR-GRJ
  11502      103076   Larry Mackey                            Matthews & Associates                                      8:20-cv-14410-MCR-GRJ
  11503      103082   Michael Maples                          Matthews & Associates           8:20-cv-14420-MCR-GRJ
  11504      103093   Mark Mayfield                           Matthews & Associates                                      8:20-cv-14434-MCR-GRJ
  11505      103099   Tracey Mccorkel                         Matthews & Associates           8:20-cv-14448-MCR-GRJ
  11506      103111   Lawrence Meade                          Matthews & Associates           8:20-cv-14465-MCR-GRJ
  11507      103119   John Messick                            Matthews & Associates           8:20-cv-14470-MCR-GRJ
  11508      103131   Branden Milligan                        Matthews & Associates           8:20-cv-14496-MCR-GRJ
  11509      103140   Lee Moore                               Matthews & Associates           8:20-cv-14514-MCR-GRJ
  11510      103154   Charles Motley                          Matthews & Associates                                      8:20-cv-14524-MCR-GRJ
  11511      103177   Noe Nieto                               Matthews & Associates           8:20-cv-14541-MCR-GRJ
  11512      103185   Kwame Obiri                             Matthews & Associates           8:20-cv-14549-MCR-GRJ
  11513      103199   Kenneth Overly                          Matthews & Associates                                      8:20-cv-14563-MCR-GRJ
  11514      103204   Hunter Parker                           Matthews & Associates           8:20-cv-14568-MCR-GRJ
  11515      103220   Leaum Pettigrew                         Matthews & Associates                                      8:20-cv-14582-MCR-GRJ
  11516      103239   Jeff Power                              Matthews & Associates           8:20-cv-14598-MCR-GRJ
  11517      103245   Teddy Pulley                            Matthews & Associates           8:20-cv-14613-MCR-GRJ
  11518      103248   John Quarles                            Matthews & Associates                                      8:20-cv-14618-MCR-GRJ
  11519      103250   Benjamin Rader                          Matthews & Associates                                      8:20-cv-14626-MCR-GRJ
  11520      103257   Rick Rasmussen                          Matthews & Associates                                      8:20-cv-14636-MCR-GRJ
  11521      103284   Geoffery Roberts                        Matthews & Associates                                      8:20-cv-14662-MCR-GRJ
  11522      103292   Kacey Rockett                           Matthews & Associates           8:20-cv-14671-MCR-GRJ
  11523      103305   David Ross                              Matthews & Associates           8:20-cv-14680-MCR-GRJ
  11524      103313   John Sabal                              Matthews & Associates           8:20-cv-14697-MCR-GRJ
  11525      103317   Dennis Salcedo                          Matthews & Associates           8:20-cv-14702-MCR-GRJ
  11526      103325   Cesar Sayan                             Matthews & Associates           8:20-cv-14706-MCR-GRJ
  11527      103347   Stephen Shomo                           Matthews & Associates                                      8:20-cv-14732-MCR-GRJ
  11528      103358   Christopher Smith                       Matthews & Associates           8:20-cv-14739-MCR-GRJ
  11529      103359   Clifford Smith                          Matthews & Associates           8:20-cv-14743-MCR-GRJ
  11530      103365   Ernest Smith                            Matthews & Associates                                      8:20-cv-14749-MCR-GRJ
  11531      103374   David Spaulding                         Matthews & Associates           8:20-cv-14757-MCR-GRJ
  11532      103376   Courtney Spikes                         Matthews & Associates           8:20-cv-14761-MCR-GRJ
  11533      103382   Billy Staffiles                         Matthews & Associates           8:20-cv-14765-MCR-GRJ
  11534      103387   John Stein                              Matthews & Associates                                      8:20-cv-14773-MCR-GRJ




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  11535      103390   Chris Stewart                           Matthews & Associates                                      8:20-cv-14777-MCR-GRJ
  11536      103391   Brian Stocker                           Matthews & Associates           8:20-cv-14779-MCR-GRJ
  11537      103435   Tony Totzke                             Matthews & Associates           8:20-cv-14810-MCR-GRJ
  11538      103436   Derek Toups                             Matthews & Associates           8:20-cv-14813-MCR-GRJ
  11539      103446   Michael Tyree                           Matthews & Associates           8:20-cv-14820-MCR-GRJ
  11540      103448   Edward Utsler                           Matthews & Associates           8:20-cv-14824-MCR-GRJ
  11541      103461   Chad Vega                               Matthews & Associates           8:20-cv-14839-MCR-GRJ
  11542      103470   Richard Wallace                         Matthews & Associates           8:20-cv-14845-MCR-GRJ
  11543      103471   Levi Walter                             Matthews & Associates           8:20-cv-14848-MCR-GRJ
  11544      103474   Willie Ward                             Matthews & Associates           8:20-cv-14853-MCR-GRJ
  11545      103478   Curtroy Watlington                      Matthews & Associates           8:20-cv-14856-MCR-GRJ
  11546      103494   Scottie White                           Matthews & Associates                                      8:20-cv-14880-MCR-GRJ
  11547      103499   Taylor Wilbanks                         Matthews & Associates           8:20-cv-14886-MCR-GRJ
  11548      103516   Kevin Wright                            Matthews & Associates           8:20-cv-14892-MCR-GRJ
  11549      103517   Kristopher Wynkoop                      Matthews & Associates           8:20-cv-14894-MCR-GRJ
  11550      124174   Jessica Ainsworth                       Matthews & Associates                                      8:20-cv-14380-MCR-GRJ
  11551      124182   John Ortiz-Merrill                      Matthews & Associates                                      8:20-cv-14419-MCR-GRJ
  11552      124183   William Poirier                         Matthews & Associates                                      8:20-cv-14425-MCR-GRJ
  11553      124186   Gabriel Rosario                         Matthews & Associates           8:20-cv-14440-MCR-GRJ
  11554      124188   Daniel Switkowski                       Matthews & Associates           8:20-cv-14449-MCR-GRJ
  11555      124191   Timothy West                            Matthews & Associates           8:20-cv-14464-MCR-GRJ
  11556      124195   Nathan Haws                             Matthews & Associates           8:20-cv-14485-MCR-GRJ
  11557      124201   Nigel Towler                            Matthews & Associates           8:20-cv-14515-MCR-GRJ
  11558      124202   Vincent Vega                            Matthews & Associates                                      8:20-cv-14520-MCR-GRJ
  11559      139344   James Abada-O'Malley                    Matthews & Associates                                      8:20-cv-14918-MCR-GRJ
  11560      139348   Alan Acre                               Matthews & Associates                                      8:20-cv-14921-MCR-GRJ
  11561      139350   Christopher Adamovich                   Matthews & Associates           8:20-cv-14923-MCR-GRJ
  11562      139352   Jenae Adams                             Matthews & Associates           8:20-cv-14925-MCR-GRJ
  11563      139353   John Adams                              Matthews & Associates           8:20-cv-14926-MCR-GRJ
  11564      139359   Juan Alejandro                          Matthews & Associates           8:20-cv-14932-MCR-GRJ
  11565      139360   Brian Allen                             Matthews & Associates           8:20-cv-14933-MCR-GRJ
  11566      139363   Rolando Amaya                           Matthews & Associates           8:20-cv-14936-MCR-GRJ
  11567      139365   Jonathan Andersen                       Matthews & Associates                                      8:20-cv-14938-MCR-GRJ
  11568      139366   Wyatt Anderson                          Matthews & Associates           8:20-cv-14939-MCR-GRJ
  11569      139368   Michael Andres                          Matthews & Associates                                      8:20-cv-14941-MCR-GRJ
  11570      139370   Brandon Andrews                         Matthews & Associates           8:20-cv-14943-MCR-GRJ
  11571      139375   Stanley Arnold                          Matthews & Associates           8:20-cv-14948-MCR-GRJ
  11572      139376   Geramy Arntson                          Matthews & Associates           8:20-cv-14949-MCR-GRJ
  11573      139377   Adalberto Arroyo                        Matthews & Associates           8:20-cv-14950-MCR-GRJ
  11574      139382   Scott Aukes                             Matthews & Associates                                      8:20-cv-14955-MCR-GRJ
  11575      139390   Travis Baker                            Matthews & Associates                                      8:20-cv-14962-MCR-GRJ
  11576      139391   Dwayne Ball                             Matthews & Associates           8:20-cv-14963-MCR-GRJ
  11577      139395   Roderick Barker                         Matthews & Associates           8:20-cv-14967-MCR-GRJ
  11578      139396   Leslie Barlow                           Matthews & Associates                                      8:20-cv-14968-MCR-GRJ
  11579      139398   Christian Barraza                       Matthews & Associates           8:20-cv-14970-MCR-GRJ
  11580      139399   Homar Barrera                           Matthews & Associates                                      8:20-cv-14971-MCR-GRJ
  11581      139400   Christopher Bass                        Matthews & Associates                                      8:20-cv-14972-MCR-GRJ
  11582      139401   Miguel Batacan                          Matthews & Associates           8:20-cv-14973-MCR-GRJ
  11583      139403   Nathan Beaty                            Matthews & Associates           8:20-cv-14975-MCR-GRJ
  11584      139405   Derek Bedell                            Matthews & Associates           8:20-cv-15760-MCR-GRJ
  11585      139408   Timothy Bellus                          Matthews & Associates           8:20-cv-15766-MCR-GRJ
  11586      139410   Hana Bennett                            Matthews & Associates           8:20-cv-15769-MCR-GRJ
  11587      139412   Justin Bennett                          Matthews & Associates           8:20-cv-15770-MCR-GRJ
  11588      139414   David Benway                            Matthews & Associates           8:20-cv-15772-MCR-GRJ
  11589      139421   Joseph Bitz                             Matthews & Associates           8:20-cv-15784-MCR-GRJ
  11590      139422   Kevin Black                             Matthews & Associates           8:20-cv-15786-MCR-GRJ
  11591      139423   Jacob Blackmore                         Matthews & Associates                                      8:20-cv-15788-MCR-GRJ
  11592      139428   Keith Bonham                            Matthews & Associates                                      8:20-cv-15798-MCR-GRJ
  11593      139437   Chris Branson                           Matthews & Associates           8:20-cv-15821-MCR-GRJ
  11594      139438   Djannae Brazier                         Matthews & Associates           8:20-cv-15824-MCR-GRJ
  11595      139445   Nicolas Brodzinski                      Matthews & Associates                                      8:20-cv-15844-MCR-GRJ
  11596      139446   Travis Brooker                          Matthews & Associates           8:20-cv-15847-MCR-GRJ
  11597      139447   Alfonso Brown                           Matthews & Associates           8:20-cv-15852-MCR-GRJ
  11598      139451   David Brown                             Matthews & Associates           8:20-cv-15868-MCR-GRJ
  11599      139453   Freddie Brown                           Matthews & Associates           8:20-cv-15875-MCR-GRJ
  11600      139454   Jesse Brown                             Matthews & Associates                                      8:20-cv-15879-MCR-GRJ
  11601      139462   Shawn Buechel                           Matthews & Associates                                      8:20-cv-15909-MCR-GRJ
  11602      139464   Matthew Burkett                         Matthews & Associates                                      8:20-cv-15916-MCR-GRJ
  11603      139467   Andrew Bursik                           Matthews & Associates           8:20-cv-15927-MCR-GRJ
  11604      139468   Joseph Busenius                         Matthews & Associates           8:20-cv-15931-MCR-GRJ
  11605      139469   Aaron Byers                             Matthews & Associates                                      8:20-cv-15934-MCR-GRJ
  11606      139471   Terrell Byrd                            Matthews & Associates           8:20-cv-15942-MCR-GRJ
  11607      139473   Bryan Callahan                          Matthews & Associates           8:20-cv-15946-MCR-GRJ




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  11608      139474   Charles Callaway                        Matthews & Associates           8:20-cv-15950-MCR-GRJ
  11609      139477   Raymond Campbell                        Matthews & Associates           8:20-cv-15962-MCR-GRJ
  11610      139478   Ryan Campbell                           Matthews & Associates           8:20-cv-15966-MCR-GRJ
  11611      139479   Jose Campos                             Matthews & Associates           8:20-cv-15970-MCR-GRJ
  11612      139481   Joel Carbajal                           Matthews & Associates           8:20-cv-15977-MCR-GRJ
  11613      139482   Josilyn Carlson                         Matthews & Associates           8:20-cv-15981-MCR-GRJ
  11614      139488   Keith Casey                             Matthews & Associates           8:20-cv-16004-MCR-GRJ
  11615      139489   Jeremiah Cash                           Matthews & Associates           8:20-cv-16008-MCR-GRJ
  11616      139491   Anton Castro                            Matthews & Associates                                      8:20-cv-16014-MCR-GRJ
  11617      139493   Stephen Causey                          Matthews & Associates           8:20-cv-16022-MCR-GRJ
  11618      139498   Jose Chavez                             Matthews & Associates           8:20-cv-16041-MCR-GRJ
  11619      139499   Terry Cheeks                            Matthews & Associates           8:20-cv-16045-MCR-GRJ
  11620      139501   Cody Chiles                             Matthews & Associates           8:20-cv-16053-MCR-GRJ
  11621      139503   John Cifuni                             Matthews & Associates           8:20-cv-16059-MCR-GRJ
  11622      139504   Dennis Clark                            Matthews & Associates           8:20-cv-16064-MCR-GRJ
  11623      139506   Robert Clark                            Matthews & Associates           8:20-cv-16071-MCR-GRJ
  11624      139507   David Clavette                          Matthews & Associates                                      8:20-cv-16075-MCR-GRJ
  11625      139513   Christopher Clyde                       Matthews & Associates           8:20-cv-16097-MCR-GRJ
  11626      139518   Carlos Collazo Colon                    Matthews & Associates                                      8:20-cv-16112-MCR-GRJ
  11627      139519   Jorge Collazo Morales                   Matthews & Associates                                      8:20-cv-16115-MCR-GRJ
  11628      139522   Jeffrey Colson                          Matthews & Associates           8:20-cv-16126-MCR-GRJ
  11629      139526   Dustin Cook                             Matthews & Associates           8:20-cv-16142-MCR-GRJ
  11630      139528   Brian Cooper                            Matthews & Associates           8:20-cv-16148-MCR-GRJ
  11631      139532   Adam Costello                           Matthews & Associates                                      8:20-cv-16160-MCR-GRJ
  11632      139540   Jason Crews                             Matthews & Associates           8:20-cv-16181-MCR-GRJ
  11633      139542   Tommie Crumedy                          Matthews & Associates                                      8:20-cv-16184-MCR-GRJ
  11634      139543   Brandon Cruz                            Matthews & Associates                                      8:20-cv-16187-MCR-GRJ
  11635      139544   Jose Cruz                               Matthews & Associates                                      8:20-cv-16190-MCR-GRJ
  11636      139545   Natalie Cucci-Waldron                   Matthews & Associates                                      8:20-cv-16193-MCR-GRJ
  11637      139550   Helen Dahms                             Matthews & Associates           8:20-cv-16206-MCR-GRJ
  11638      139556   Cody Dawson                             Matthews & Associates                                      8:20-cv-16222-MCR-GRJ
  11639      139560   Jeff Degarmo                            Matthews & Associates                                      8:20-cv-16233-MCR-GRJ
  11640      139562   Edward Delgado                          Matthews & Associates           8:20-cv-16238-MCR-GRJ
  11641      139563   Anthony Delisio                         Matthews & Associates                                      8:20-cv-16241-MCR-GRJ
  11642      139565   Clayton Demera                          Matthews & Associates           8:20-cv-16243-MCR-GRJ
  11643      139566   Steve Demott                            Matthews & Associates           8:20-cv-16246-MCR-GRJ
  11644      139567   Meagan Dennis                           Matthews & Associates                                      8:20-cv-16249-MCR-GRJ
  11645      139572   Abner Diaz                              Matthews & Associates           8:20-cv-16261-MCR-GRJ
  11646      139583   Tracy Dutcher                           Matthews & Associates                                      8:20-cv-16282-MCR-GRJ
  11647      139585   Joseph Earp                             Matthews & Associates           8:20-cv-16286-MCR-GRJ
  11648      139587   Chris Eggleston                         Matthews & Associates                                      8:20-cv-16289-MCR-GRJ
  11649      139589   Shaun Elmer                             Matthews & Associates           8:20-cv-16291-MCR-GRJ
  11650      139592   Daniel Emery                            Matthews & Associates           8:20-cv-16297-MCR-GRJ
  11651      139595   Osvaldo Enriquez                        Matthews & Associates           8:20-cv-16300-MCR-GRJ
  11652      139597   Roy Esgrow                              Matthews & Associates           8:20-cv-16302-MCR-GRJ
  11653      139598   Chris Ethen                             Matthews & Associates           8:20-cv-16303-MCR-GRJ
  11654      139599   Colt Eubank                             Matthews & Associates                                      8:20-cv-16304-MCR-GRJ
  11655      139603   Scott Fare                              Matthews & Associates           8:20-cv-16308-MCR-GRJ
  11656      139606   Robert Fawcett                          Matthews & Associates           8:20-cv-16311-MCR-GRJ
  11657      139618   James Fluck                             Matthews & Associates                                      8:20-cv-15028-MCR-GRJ
  11658      139619   Patrick Flynn                           Matthews & Associates           8:20-cv-15029-MCR-GRJ
  11659      139620   Zach Foor                               Matthews & Associates           8:20-cv-15031-MCR-GRJ
  11660      139624   Rodolphe Francois                       Matthews & Associates           8:20-cv-15039-MCR-GRJ
  11661      139630   Ron Frey                                Matthews & Associates           8:20-cv-15049-MCR-GRJ
  11662      139632   Richard Fulgium                         Matthews & Associates           8:20-cv-15053-MCR-GRJ
  11663      139636   Troy Gamble                             Matthews & Associates           8:20-cv-15057-MCR-GRJ
  11664      139637   Joshua Gandy                            Matthews & Associates           8:20-cv-15058-MCR-GRJ
  11665      139638   Ryan Garalde                            Matthews & Associates           8:20-cv-15060-MCR-GRJ
  11666      139640   Rayburn Garlow                          Matthews & Associates                                      8:20-cv-15062-MCR-GRJ
  11667      139642   Henry Gates                             Matthews & Associates                                      8:20-cv-15066-MCR-GRJ
  11668      173533   Nicolas Gatica                          Matthews & Associates                                      8:20-cv-15247-MCR-GRJ
  11669      173534   Jonathon Gay                            Matthews & Associates                                      8:20-cv-15248-MCR-GRJ
  11670      173538   Robert Gibb                             Matthews & Associates           8:20-cv-15252-MCR-GRJ
  11671      173540   Joshua Gibbons                          Matthews & Associates           8:20-cv-15254-MCR-GRJ
  11672      173542   Billy Gibson                            Matthews & Associates           8:20-cv-15256-MCR-GRJ
  11673      173544   Koven Gillie                            Matthews & Associates           8:20-cv-15258-MCR-GRJ
  11674      173551   Irvin Groeninger                        Matthews & Associates           8:20-cv-15265-MCR-GRJ
  11675      173552   Anthony Groom                           Matthews & Associates           8:20-cv-15266-MCR-GRJ
  11676      173556   Thyotaizia Halorday                     Matthews & Associates           8:20-cv-15270-MCR-GRJ
  11677      173560   James Hancock                           Matthews & Associates           8:20-cv-15276-MCR-GRJ
  11678      173573   Justin Hoag                             Matthews & Associates           8:20-cv-15299-MCR-GRJ
  11679      173577   Amanda Huffman                          Matthews & Associates           8:20-cv-15306-MCR-GRJ
  11680      173583   Darwin Johnson                          Matthews & Associates           8:20-cv-15317-MCR-GRJ




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  11681      173585   Sharod Johnson                          Matthews & Associates           8:20-cv-15321-MCR-GRJ
  11682      173586   Frederick Jones                         Matthews & Associates                                      8:20-cv-15323-MCR-GRJ
  11683      173587   Wyatt Jones                             Matthews & Associates           8:20-cv-15325-MCR-GRJ
  11684      173588   Emma Juarez                             Matthews & Associates           8:20-cv-15328-MCR-GRJ
  11685      173592   Jason Knight                            Matthews & Associates           8:20-cv-15468-MCR-GRJ
  11686      173595   Michael Lambert                         Matthews & Associates           8:20-cv-15473-MCR-GRJ
  11687      173597   Jacob Lane                              Matthews & Associates           8:20-cv-15477-MCR-GRJ
  11688      173601   Marcos Ledesma                          Matthews & Associates                                      8:20-cv-15485-MCR-GRJ
  11689      173612   Michelle Mallard                        Matthews & Associates           8:20-cv-15506-MCR-GRJ
  11690      173618   Timothy Mccoy                           Matthews & Associates                                      8:20-cv-15518-MCR-GRJ
  11691      173619   Jarad Mcduffie                          Matthews & Associates           8:20-cv-15520-MCR-GRJ
  11692      173628   Nicholas Metzger                        Matthews & Associates           8:20-cv-15537-MCR-GRJ
  11693      173630   Chad Milford                            Matthews & Associates                                      8:20-cv-15541-MCR-GRJ
  11694      173631   Joshua Milligan                         Matthews & Associates                                      8:20-cv-15543-MCR-GRJ
  11695      173633   Jesse Molette                           Matthews & Associates           8:20-cv-15547-MCR-GRJ
  11696      173634   Luis Montano                            Matthews & Associates           8:20-cv-15548-MCR-GRJ
  11697      173636   Vincent Moore                           Matthews & Associates           8:20-cv-15552-MCR-GRJ
  11698      173652   Robert Ogura                            Matthews & Associates           8:20-cv-15583-MCR-GRJ
  11699      173655   Luis Ovalle                             Matthews & Associates           8:20-cv-15588-MCR-GRJ
  11700      173658   Chad Patrick                            Matthews & Associates           8:20-cv-15594-MCR-GRJ
  11701      173660   Robert Pelletier                        Matthews & Associates           8:20-cv-15598-MCR-GRJ
  11702      173661   Timothy Penton                          Matthews & Associates                                      8:20-cv-15600-MCR-GRJ
  11703      173662   Lawrence Perreault                      Matthews & Associates           8:20-cv-15601-MCR-GRJ
  11704      173665   Gabriel Phillips                        Matthews & Associates           8:20-cv-15607-MCR-GRJ
  11705      173668   Sean Powers                             Matthews & Associates                                      8:20-cv-15613-MCR-GRJ
  11706      173671   Michael Purcell                         Matthews & Associates           8:20-cv-15619-MCR-GRJ
  11707      173672   Jonathan Ramirez                        Matthews & Associates           8:20-cv-15621-MCR-GRJ
  11708      173685   Johan Robinson                          Matthews & Associates                                      8:20-cv-15638-MCR-GRJ
  11709      173689   Matthew Ross                            Matthews & Associates           8:20-cv-15642-MCR-GRJ
  11710      173690   Alex Rueda                              Matthews & Associates           8:20-cv-15643-MCR-GRJ
  11711      173691   Anthony Rush                            Matthews & Associates                                      8:20-cv-15644-MCR-GRJ
  11712      173693   Doel Santana Campos                     Matthews & Associates           8:20-cv-15646-MCR-GRJ
  11713      173699   Aaron Seyer                             Matthews & Associates                                      8:20-cv-15652-MCR-GRJ
  11714      173700   Shawn Sheridan                          Matthews & Associates           8:20-cv-15653-MCR-GRJ
  11715      173702   Curtis Simpson                          Matthews & Associates           8:20-cv-15655-MCR-GRJ
  11716      173706   Richard Skrodenis                       Matthews & Associates           8:20-cv-15659-MCR-GRJ
  11717      173711   Nathaniel Smith                         Matthews & Associates           8:20-cv-15664-MCR-GRJ
  11718      173715   Brent Stafford                          Matthews & Associates           8:20-cv-15668-MCR-GRJ
  11719      173718   Patrina Stoskopf                        Matthews & Associates           8:20-cv-15671-MCR-GRJ
  11720      173724   Albert Thomas                           Matthews & Associates                                      8:20-cv-15676-MCR-GRJ
  11721      173726   Robert Toliver                          Matthews & Associates                                      8:20-cv-15678-MCR-GRJ
  11722      173732   Roger Vega                              Matthews & Associates                                      8:20-cv-15684-MCR-GRJ
  11723      173734   Jose Velez                              Matthews & Associates                                      8:20-cv-15686-MCR-GRJ
  11724      173736   Justin Walsh                            Matthews & Associates                                      8:20-cv-15688-MCR-GRJ
  11725      173737   Andrew Watt                             Matthews & Associates                                      8:20-cv-15689-MCR-GRJ
  11726      173740   Johann Wells                            Matthews & Associates           8:20-cv-15692-MCR-GRJ
  11727      173743   Stephen Whittle                         Matthews & Associates           8:20-cv-15695-MCR-GRJ
  11728      173746   Quintez Williams                        Matthews & Associates           8:20-cv-15698-MCR-GRJ
  11729      173747   Ronald Williams                         Matthews & Associates           8:20-cv-15699-MCR-GRJ
  11730      199075   Tyler Arnet                             Matthews & Associates           8:20-cv-63438-MCR-GRJ
  11731      199079   James Assad                             Matthews & Associates           8:20-cv-63447-MCR-GRJ
  11732      199081   Nyles Bams                              Matthews & Associates           8:20-cv-63451-MCR-GRJ
  11733      199083   Christopher Barclay                     Matthews & Associates           8:20-cv-63455-MCR-GRJ
  11734      199085   Jeffrey Barnes                          Matthews & Associates           8:20-cv-63459-MCR-GRJ
  11735      199086   Joe Barnett                             Matthews & Associates           8:20-cv-63461-MCR-GRJ
  11736      199093   Jerrod Blackman                         Matthews & Associates                                      8:20-cv-63525-MCR-GRJ
  11737      199094   Christopher Blair                       Matthews & Associates                                      8:20-cv-63526-MCR-GRJ
  11738      199095   Casamuel Blanscet                       Matthews & Associates                                      8:20-cv-63527-MCR-GRJ
  11739      199103   Travis Caudill                          Matthews & Associates           8:20-cv-63535-MCR-GRJ
  11740      199105   Nicholas Chronister                     Matthews & Associates                                      8:20-cv-63537-MCR-GRJ
  11741      199112   Terrance Coots                          Matthews & Associates           8:20-cv-63544-MCR-GRJ
  11742      199116   Brian Delong                            Matthews & Associates           8:20-cv-63548-MCR-GRJ
  11743      199121   Robert Emick                            Matthews & Associates           8:20-cv-63553-MCR-GRJ
  11744      199126   Ralph Fierro                            Matthews & Associates           8:20-cv-63558-MCR-GRJ
  11745      199127   Scotty Fleming                          Matthews & Associates           8:20-cv-63559-MCR-GRJ
  11746      199129   Cody Fry                                Matthews & Associates                                      8:20-cv-63561-MCR-GRJ
  11747      199130   James Garmon                            Matthews & Associates           8:20-cv-63562-MCR-GRJ
  11748      199131   Sharhonda Gause                         Matthews & Associates           8:20-cv-63563-MCR-GRJ
  11749      199134   Sean Gettel                             Matthews & Associates           8:20-cv-63566-MCR-GRJ
  11750      199137   Ronald Gignac                           Matthews & Associates                                      8:20-cv-63569-MCR-GRJ
  11751      199139   Kevin Glazer                            Matthews & Associates                                      8:20-cv-63571-MCR-GRJ
  11752      199141   John Goad                               Matthews & Associates                                      8:20-cv-63573-MCR-GRJ
  11753      199142   Javier Gomez                            Matthews & Associates           8:20-cv-63574-MCR-GRJ




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  11754      199143   Alejandro Gonzalez                      Matthews & Associates           8:20-cv-63575-MCR-GRJ
  11755      199151   Aaron Gray                              Matthews & Associates           8:20-cv-63583-MCR-GRJ
  11756      199153   William Gray                            Matthews & Associates                                      8:20-cv-63585-MCR-GRJ
  11757      199158   Robert Gregory                          Matthews & Associates           8:20-cv-63590-MCR-GRJ
  11758      199160   Benjamin Griffin                        Matthews & Associates           8:20-cv-63592-MCR-GRJ
  11759      199163   Steven Gunderson                        Matthews & Associates           8:20-cv-63595-MCR-GRJ
  11760      199164   Rene Gutierrez                          Matthews & Associates                                      8:20-cv-63596-MCR-GRJ
  11761      199165   Kevin Haddock                           Matthews & Associates           8:20-cv-63597-MCR-GRJ
  11762      199166   Kenneth Hale                            Matthews & Associates                                      8:20-cv-63598-MCR-GRJ
  11763      199168   Thomas Hall                             Matthews & Associates                                      8:20-cv-63600-MCR-GRJ
  11764      199172   Albert Hannah                           Matthews & Associates                                      8:20-cv-63604-MCR-GRJ
  11765      199174   Latham Hardee                           Matthews & Associates                                      8:20-cv-63606-MCR-GRJ
  11766      199175   Hosea Hargrett                          Matthews & Associates                                      8:20-cv-63607-MCR-GRJ
  11767      199182   Ian Harris                              Matthews & Associates                                      8:20-cv-63614-MCR-GRJ
  11768      199183   Jason Harris                            Matthews & Associates                                      8:20-cv-63615-MCR-GRJ
  11769      199194   Julio Hedrosa-Sigler                    Matthews & Associates           8:20-cv-63626-MCR-GRJ
  11770      199195   Chad Heiden                             Matthews & Associates           8:20-cv-63627-MCR-GRJ
  11771      199197   James Hendrix                           Matthews & Associates                                      8:20-cv-63629-MCR-GRJ
  11772      199199   Benjamin Hernandez                      Matthews & Associates                                      8:20-cv-63631-MCR-GRJ
  11773      199201   Jazmine Herrera                         Matthews & Associates                                      8:20-cv-63633-MCR-GRJ
  11774      199202   Josue Herrera                           Matthews & Associates           8:20-cv-63634-MCR-GRJ
  11775      199204   Karl Herrod                             Matthews & Associates           8:20-cv-63636-MCR-GRJ
  11776      199205   Michael Hess                            Matthews & Associates                                      8:20-cv-63637-MCR-GRJ
  11777      199206   James Hicks                             Matthews & Associates           8:20-cv-63638-MCR-GRJ
  11778      199207   Andrew Hill                             Matthews & Associates           8:20-cv-63639-MCR-GRJ
  11779      199208   Travis Hill                             Matthews & Associates           8:20-cv-63640-MCR-GRJ
  11780      199214   Xavier Holcy                            Matthews & Associates                                      8:20-cv-63646-MCR-GRJ
  11781      199217   Michael Holveck                         Matthews & Associates                                      8:20-cv-63649-MCR-GRJ
  11782      199218   Kenneth Hommel                          Matthews & Associates           8:20-cv-63650-MCR-GRJ
  11783      199221   Marc Horne                              Matthews & Associates           8:20-cv-63653-MCR-GRJ
  11784      199222   Dena Howard                             Matthews & Associates           8:20-cv-63654-MCR-GRJ
  11785      199223   Evan Howard                             Matthews & Associates           8:20-cv-63655-MCR-GRJ
  11786      199225   Mark Hummel                             Matthews & Associates           8:20-cv-63657-MCR-GRJ
  11787      199228   George Ishikata                         Matthews & Associates                                      8:20-cv-63660-MCR-GRJ
  11788      199233   Justin James                            Matthews & Associates           8:20-cv-63665-MCR-GRJ
  11789      199234   Peter Janczewski                        Matthews & Associates                                      8:20-cv-63666-MCR-GRJ
  11790      199236   Brantley Jett                           Matthews & Associates           8:20-cv-63668-MCR-GRJ
  11791      199238   Darrell Johnson                         Matthews & Associates                                      8:20-cv-63670-MCR-GRJ
  11792      199239   Dillon Johnson                          Matthews & Associates           8:20-cv-63671-MCR-GRJ
  11793      199241   Jeremiah Johnson                        Matthews & Associates                                      8:20-cv-63673-MCR-GRJ
  11794      199242   Lonnie Johnson                          Matthews & Associates                                      8:20-cv-63674-MCR-GRJ
  11795      199245   Quashawn Johnson                        Matthews & Associates                                      8:20-cv-63677-MCR-GRJ
  11796      199247   Ashton Jones                            Matthews & Associates           8:20-cv-63679-MCR-GRJ
  11797      199248   Brandon Jones                           Matthews & Associates           8:20-cv-63680-MCR-GRJ
  11798      199251   Adam Kahn                               Matthews & Associates           8:20-cv-63683-MCR-GRJ
  11799      199256   Daniel Kennedy                          Matthews & Associates                                      8:20-cv-63688-MCR-GRJ
  11800      199263   Richard Killingsworth                   Matthews & Associates           8:20-cv-63695-MCR-GRJ
  11801      199264   Henson King                             Matthews & Associates           8:20-cv-63696-MCR-GRJ
  11802      199265   Jesse King                              Matthews & Associates                                      8:20-cv-63697-MCR-GRJ
  11803      199266   Timothy Kingston                        Matthews & Associates           8:20-cv-63698-MCR-GRJ
  11804      199267   Matthew Klingbeil                       Matthews & Associates           8:20-cv-63699-MCR-GRJ
  11805      199268   Justin Knight                           Matthews & Associates                                      8:20-cv-63700-MCR-GRJ
  11806      199269   Matthew Kolus                           Matthews & Associates           8:20-cv-63701-MCR-GRJ
  11807      199271   Joshua Kosiek                           Matthews & Associates           8:20-cv-63703-MCR-GRJ
  11808      199275   Luis Kruger                             Matthews & Associates           8:20-cv-63707-MCR-GRJ
  11809      199280   John Lane                               Matthews & Associates           8:20-cv-63715-MCR-GRJ
  11810      199281   Daniel Langenburg                       Matthews & Associates           8:20-cv-63717-MCR-GRJ
  11811      199284   Robert Ledbetter                        Matthews & Associates           8:20-cv-63723-MCR-GRJ
  11812      199285   Avery Lee                               Matthews & Associates           8:20-cv-63725-MCR-GRJ
  11813      199286   Richard Lemond                          Matthews & Associates                                      8:20-cv-63727-MCR-GRJ
  11814      199287   Courtney Leonard                        Matthews & Associates                                      8:20-cv-63729-MCR-GRJ
  11815      199288   Peter Leto                              Matthews & Associates           8:20-cv-63730-MCR-GRJ
  11816      199290   Ashley Lewis                            Matthews & Associates                                      8:20-cv-63734-MCR-GRJ
  11817      199292   Vincent Lewis                           Matthews & Associates           8:20-cv-63738-MCR-GRJ
  11818      199293   Francine Leyva                          Matthews & Associates           8:20-cv-63740-MCR-GRJ
  11819      199294   Gene Linton                             Matthews & Associates           8:20-cv-63742-MCR-GRJ
  11820      199296   Ryan Litalien                           Matthews & Associates           8:20-cv-63746-MCR-GRJ
  11821      199301   Jacob Lounsbury                         Matthews & Associates                                      8:20-cv-63755-MCR-GRJ
  11822      199302   Mpiana Lubila                           Matthews & Associates           8:20-cv-63757-MCR-GRJ
  11823      199303   Justin Ludlow                           Matthews & Associates           8:20-cv-63759-MCR-GRJ
  11824      199305   Brent Luttrell                          Matthews & Associates           8:20-cv-63762-MCR-GRJ
  11825      199307   Justin Macintosh                        Matthews & Associates                                      8:20-cv-63766-MCR-GRJ
  11826      199309   Rodney Madkins                          Matthews & Associates           8:20-cv-63770-MCR-GRJ




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  11827      199313   Joseph Malailua                         Matthews & Associates           8:20-cv-63778-MCR-GRJ
  11828      199319   Jonathan Marsh                          Matthews & Associates           8:20-cv-63790-MCR-GRJ
  11829      199322   Frederick Massey                        Matthews & Associates                                      8:20-cv-63795-MCR-GRJ
  11830      199323   Barry Mathwig                           Matthews & Associates           8:20-cv-63797-MCR-GRJ
  11831      199327   Ian Mcalexander                         Matthews & Associates           8:20-cv-63805-MCR-GRJ
  11832      199331   Angel Mcclure                           Matthews & Associates           8:20-cv-63813-MCR-GRJ
  11833      199333   Reginald Mcclurkin                      Matthews & Associates                                      8:20-cv-63817-MCR-GRJ
  11834      199334   Jeremy Mccool                           Matthews & Associates           8:20-cv-63819-MCR-GRJ
  11835      199335   Mellita Mccullen                        Matthews & Associates           8:20-cv-63821-MCR-GRJ
  11836      199337   Brian Mcenerney                         Matthews & Associates           8:20-cv-63825-MCR-GRJ
  11837      199342   Chelsea Mckenzie                        Matthews & Associates           8:20-cv-63879-MCR-GRJ
  11838      199343   Jarvis Mckenzie                         Matthews & Associates           8:20-cv-63881-MCR-GRJ
  11839      199345   John Mclemore                           Matthews & Associates           8:20-cv-63885-MCR-GRJ
  11840      199346   Stephen Mcleod                          Matthews & Associates                                      8:20-cv-63886-MCR-GRJ
  11841      199348   Karin Medrano Diaz Sink                 Matthews & Associates           8:20-cv-63890-MCR-GRJ
  11842      199351   Alex Mekdara                            Matthews & Associates           8:20-cv-63896-MCR-GRJ
  11843      199353   Matthew Melott                          Matthews & Associates           8:20-cv-63900-MCR-GRJ
  11844      199354   Linda Mendez                            Matthews & Associates           8:20-cv-63902-MCR-GRJ
  11845      199357   Gustave Meyers                          Matthews & Associates           8:20-cv-63907-MCR-GRJ
  11846      199359   Eric Mickett                            Matthews & Associates                                      8:20-cv-63911-MCR-GRJ
  11847      199362   Jonathan Miller                         Matthews & Associates                                      8:20-cv-63916-MCR-GRJ
  11848      199363   Joshua Miller                           Matthews & Associates           8:20-cv-63918-MCR-GRJ
  11849      199364   Robert Miller                           Matthews & Associates                                      8:20-cv-63920-MCR-GRJ
  11850      199369   Gustavo Moeller Perez                   Matthews & Associates           8:20-cv-63930-MCR-GRJ
  11851      199372   Angela Moore                            Matthews & Associates           8:20-cv-63935-MCR-GRJ
  11852      199373   Ken Moore                               Matthews & Associates                                      8:20-cv-63937-MCR-GRJ
  11853      199375   Steven Moore                            Matthews & Associates                                      8:20-cv-63941-MCR-GRJ
  11854      199377   Michael Moran                           Matthews & Associates           8:20-cv-63945-MCR-GRJ
  11855      199378   Kenneth Morgan                          Matthews & Associates                                      8:20-cv-63947-MCR-GRJ
  11856      199381   Clayton Morris                          Matthews & Associates                                      8:20-cv-63953-MCR-GRJ
  11857      199384   Nicholas Morrison                       Matthews & Associates           8:20-cv-63958-MCR-GRJ
  11858      199385   Robert Morrison                         Matthews & Associates           8:20-cv-63960-MCR-GRJ
  11859      199387   Jason Mortimer                          Matthews & Associates                                      8:20-cv-63964-MCR-GRJ
  11860      199388   James Mullins                           Matthews & Associates           8:20-cv-63966-MCR-GRJ
  11861      199389   Steven Munnerlyn                        Matthews & Associates           8:20-cv-63968-MCR-GRJ
  11862      199391   Jennifer Murphy                         Matthews & Associates           8:20-cv-63972-MCR-GRJ
  11863      199398   Michael Naumann                         Matthews & Associates           8:20-cv-63980-MCR-GRJ
  11864      199399   William Naylor                          Matthews & Associates           8:20-cv-63981-MCR-GRJ
  11865      199400   Luis Negron                             Matthews & Associates                                      8:20-cv-63982-MCR-GRJ
  11866      199403   Nicholas Nelson                         Matthews & Associates           8:20-cv-63985-MCR-GRJ
  11867      199406   Kevin Nolan                             Matthews & Associates           8:20-cv-63988-MCR-GRJ
  11868      199407   Louie Nomar                             Matthews & Associates           8:20-cv-63989-MCR-GRJ
  11869      199409   Earl Nutter                             Matthews & Associates           8:20-cv-63991-MCR-GRJ
  11870      199412   Joseph O’connell                        Matthews & Associates           7:21-cv-68342-MCR-GRJ
  11871      199416   Dany Oliva                              Matthews & Associates           8:20-cv-63997-MCR-GRJ
  11872      199418   Chris Oltremari                         Matthews & Associates           8:20-cv-63999-MCR-GRJ
  11873      199420   Eric Osche                              Matthews & Associates           8:20-cv-64001-MCR-GRJ
  11874      199421   Esau Ozer                               Matthews & Associates           8:20-cv-64002-MCR-GRJ
  11875      199427   Brandon Parker                          Matthews & Associates                                      8:20-cv-64008-MCR-GRJ
  11876      199429   Scott Patton                            Matthews & Associates           8:20-cv-64010-MCR-GRJ
  11877      199431   Steven Pawlus                           Matthews & Associates                                      8:20-cv-64012-MCR-GRJ
  11878      199432   Jose Payan                              Matthews & Associates                                      8:20-cv-64013-MCR-GRJ
  11879      199434   Justin Peck                             Matthews & Associates           8:20-cv-64015-MCR-GRJ
  11880      199435   Zachary Pedersen                        Matthews & Associates           8:20-cv-64016-MCR-GRJ
  11881      199437   Justin Peoples                          Matthews & Associates                                      8:20-cv-64018-MCR-GRJ
  11882      199438   Geremy Pepper                           Matthews & Associates                                      8:20-cv-64019-MCR-GRJ
  11883      199443   Jasper Pettie                           Matthews & Associates           8:20-cv-64226-MCR-GRJ
  11884      199445   Christopher Phillips                    Matthews & Associates                                      8:20-cv-64230-MCR-GRJ
  11885      199446   Serafin Phillips                        Matthews & Associates           8:20-cv-64231-MCR-GRJ
  11886      199454   Jonathan Plumb                          Matthews & Associates                                      8:20-cv-64247-MCR-GRJ
  11887      199455   Michael Plummer                         Matthews & Associates                                      8:20-cv-64249-MCR-GRJ
  11888      199457   Frederick Pollard                       Matthews & Associates           8:20-cv-64253-MCR-GRJ
  11889      199459   Scott Potter                            Matthews & Associates                                      8:20-cv-64256-MCR-GRJ
  11890      199460   Tierra Pought                           Matthews & Associates           8:20-cv-64258-MCR-GRJ
  11891      199463   Richard Prestidge                       Matthews & Associates           8:20-cv-64264-MCR-GRJ
  11892      199465   Jay Price                               Matthews & Associates           8:20-cv-64268-MCR-GRJ
  11893      199466   Shanelle Purvis                         Matthews & Associates           8:20-cv-64270-MCR-GRJ
  11894      199468   Lucas Radwanski                         Matthews & Associates           8:20-cv-64274-MCR-GRJ
  11895      199469   Travis Rager                            Matthews & Associates           8:20-cv-64276-MCR-GRJ
  11896      199470   Christopher Rakes                       Matthews & Associates           8:20-cv-64278-MCR-GRJ
  11897      199471   Tahoma Ramage                           Matthews & Associates           8:20-cv-64279-MCR-GRJ
  11898      199472   Gabriel Ramirez                         Matthews & Associates           8:20-cv-64281-MCR-GRJ
  11899      199473   Pedro Ramirez                           Matthews & Associates           8:20-cv-64283-MCR-GRJ




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  11900      199475   Amanda Randle-De La O                   Matthews & Associates           8:20-cv-64287-MCR-GRJ
  11901      199478   Craig Rasmussen                         Matthews & Associates           8:20-cv-64293-MCR-GRJ
  11902      199480   Daniel Rautio                           Matthews & Associates           8:20-cv-64296-MCR-GRJ
  11903      199482   Jason Raynor                            Matthews & Associates           8:20-cv-64300-MCR-GRJ
  11904      199483   Michael Reardon                         Matthews & Associates           8:20-cv-64302-MCR-GRJ
  11905      199485   Joshua Reed                             Matthews & Associates           8:20-cv-64306-MCR-GRJ
  11906      199486   Richard Reed                            Matthews & Associates           8:20-cv-64308-MCR-GRJ
  11907      199487   James Reeves                            Matthews & Associates           8:20-cv-64310-MCR-GRJ
  11908      199488   Andy Reich                              Matthews & Associates           8:20-cv-64312-MCR-GRJ
  11909      199489   Eric Rennau                             Matthews & Associates           8:20-cv-64314-MCR-GRJ
  11910      199492   Jeremy Richardson                       Matthews & Associates                                      8:20-cv-64320-MCR-GRJ
  11911      199493   Rowna Richardson                        Matthews & Associates           8:20-cv-64322-MCR-GRJ
  11912      199494   Dwight Rickard                          Matthews & Associates           8:20-cv-64323-MCR-GRJ
  11913      199495   Angela Ricks                            Matthews & Associates           8:20-cv-64325-MCR-GRJ
  11914      199503   Daniel Roberts                          Matthews & Associates           8:20-cv-64334-MCR-GRJ
  11915      199504   Walter Robinett                         Matthews & Associates           8:20-cv-64335-MCR-GRJ
  11916      199505   Michael Robinson                        Matthews & Associates           8:20-cv-64336-MCR-GRJ
  11917      199506   Natasha Robinson                        Matthews & Associates           8:20-cv-64337-MCR-GRJ
  11918      199508   Robbie Robinson                         Matthews & Associates                                      8:20-cv-64339-MCR-GRJ
  11919      199510   Jeff Rochon                             Matthews & Associates           8:20-cv-64341-MCR-GRJ
  11920      199511   Robert Roderick                         Matthews & Associates           8:20-cv-64342-MCR-GRJ
  11921      199514   Joseph Rodriguez                        Matthews & Associates           8:20-cv-64345-MCR-GRJ
  11922      199517   Gregory Rogers                          Matthews & Associates           8:20-cv-64348-MCR-GRJ
  11923      199518   Kendell Rogers                          Matthews & Associates                                      8:20-cv-64349-MCR-GRJ
  11924      199519   Larry Rogers                            Matthews & Associates           8:20-cv-64350-MCR-GRJ
  11925      199522   Jeff Rondeau                            Matthews & Associates           8:20-cv-64353-MCR-GRJ
  11926      199523   Matt Root                               Matthews & Associates           8:20-cv-64354-MCR-GRJ
  11927      199524   Scott Rose                              Matthews & Associates           8:20-cv-64355-MCR-GRJ
  11928      199526   C. Ross                                 Matthews & Associates                                      8:20-cv-64357-MCR-GRJ
  11929      199527   Will Rounds                             Matthews & Associates           8:20-cv-64358-MCR-GRJ
  11930      199528   Richard Rowland                         Matthews & Associates           8:20-cv-64359-MCR-GRJ
  11931      199533   Daryl Rush                              Matthews & Associates           8:20-cv-64364-MCR-GRJ
  11932      199534   Johnny Rushing                          Matthews & Associates           8:20-cv-64365-MCR-GRJ
  11933      199535   Kory Ryan                               Matthews & Associates                                      8:20-cv-64366-MCR-GRJ
  11934      199536   Steven Saenz                            Matthews & Associates           8:20-cv-64367-MCR-GRJ
  11935      199537   Ricky Salazar                           Matthews & Associates           8:20-cv-64368-MCR-GRJ
  11936      199538   Yrineo Salazar                          Matthews & Associates           8:20-cv-64369-MCR-GRJ
  11937      199539   Jonathan Salgado                        Matthews & Associates                                      8:20-cv-64370-MCR-GRJ
  11938      199540   Timothy Salmons                         Matthews & Associates           8:20-cv-64371-MCR-GRJ
  11939      199541   Oneil Samuels                           Matthews & Associates           8:20-cv-64372-MCR-GRJ
  11940      199542   Angel Sanchez                           Matthews & Associates           8:20-cv-64373-MCR-GRJ
  11941      199543   Carlos Sanchez                          Matthews & Associates           8:20-cv-64374-MCR-GRJ
  11942      199545   Roosevelt Sanders                       Matthews & Associates           8:20-cv-64376-MCR-GRJ
  11943      199546   Angel Santiago                          Matthews & Associates           8:20-cv-64377-MCR-GRJ
  11944      199551   Keith Schalkenkamp                      Matthews & Associates           8:20-cv-64382-MCR-GRJ
  11945      199552   Joseph Schaul                           Matthews & Associates           8:20-cv-64383-MCR-GRJ
  11946      199553   Chad Schryvers                          Matthews & Associates           8:20-cv-64384-MCR-GRJ
  11947      199554   Justin Schwoerer                        Matthews & Associates           8:20-cv-64385-MCR-GRJ
  11948      199556   Rommie Scott                            Matthews & Associates           8:20-cv-64387-MCR-GRJ
  11949      199560   Sean Seeley                             Matthews & Associates                                      8:20-cv-64391-MCR-GRJ
  11950      199561   Cody Sentell                            Matthews & Associates           8:20-cv-64392-MCR-GRJ
  11951      199565   Adrian Sherrod                          Matthews & Associates                                      8:20-cv-64396-MCR-GRJ
  11952      199568   Joseph Shivery                          Matthews & Associates           8:20-cv-64399-MCR-GRJ
  11953      199571   Joshua Shope                            Matthews & Associates                                      8:20-cv-64402-MCR-GRJ
  11954      199573   Eric Sickich                            Matthews & Associates           8:20-cv-64404-MCR-GRJ
  11955      199574   Juan Sierra Mendez                      Matthews & Associates                                      8:20-cv-64405-MCR-GRJ
  11956      199576   Brandon Sikorski                        Matthews & Associates           8:20-cv-64407-MCR-GRJ
  11957      199578   James Silver                            Matthews & Associates           8:20-cv-64409-MCR-GRJ
  11958      199582   Margie Singleton                        Matthews & Associates           8:20-cv-64413-MCR-GRJ
  11959      199585   Brent Slemp                             Matthews & Associates           8:20-cv-64416-MCR-GRJ
  11960      199587   Scott Slocum                            Matthews & Associates                                      8:20-cv-64418-MCR-GRJ
  11961      199589   Devan Smith                             Matthews & Associates           8:20-cv-64420-MCR-GRJ
  11962      199591   Icar Smith                              Matthews & Associates           8:20-cv-64422-MCR-GRJ
  11963      199593   John Smith                              Matthews & Associates           8:20-cv-64424-MCR-GRJ
  11964      199594   Jonathan Smith                          Matthews & Associates                                      8:20-cv-64425-MCR-GRJ
  11965      199595   Leroy Smith                             Matthews & Associates           8:20-cv-64426-MCR-GRJ
  11966      199598   Stephen Smith                           Matthews & Associates                                      8:20-cv-64429-MCR-GRJ
  11967      199603   Cody Solis                              Matthews & Associates                                      8:20-cv-64434-MCR-GRJ
  11968      199609   David Spencer                           Matthews & Associates                                      8:20-cv-64440-MCR-GRJ
  11969      199611   Aaron Spurlin                           Matthews & Associates           8:20-cv-64442-MCR-GRJ
  11970      199613   Timothy Stack                           Matthews & Associates           8:20-cv-64444-MCR-GRJ
  11971      199614   Gregory Staff                           Matthews & Associates           8:20-cv-64445-MCR-GRJ
  11972      199616   Justin Stapleton                        Matthews & Associates           8:20-cv-64447-MCR-GRJ




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  11973      199619   Diana Stephens                          Matthews & Associates                                      8:20-cv-64450-MCR-GRJ
  11974      199620   Amanda Stettner                         Matthews & Associates           8:20-cv-64451-MCR-GRJ
  11975      199621   Stanley Stevenson                       Matthews & Associates           8:20-cv-64452-MCR-GRJ
  11976      199622   Matthew Stewart                         Matthews & Associates           8:20-cv-64453-MCR-GRJ
  11977      199629   Chelsie Strowbridge                     Matthews & Associates           8:20-cv-64460-MCR-GRJ
  11978      199630   Ryan Stryker                            Matthews & Associates           8:20-cv-64461-MCR-GRJ
  11979      199635   Eric Swart                              Matthews & Associates           8:20-cv-64465-MCR-GRJ
  11980      199636   Adam Sweeney                            Matthews & Associates           8:20-cv-64466-MCR-GRJ
  11981      199642   Ryan Tamoush                            Matthews & Associates           8:20-cv-64472-MCR-GRJ
  11982      199643   Robert Taulman                          Matthews & Associates           8:20-cv-64473-MCR-GRJ
  11983      199645   Phillip Taylor                          Matthews & Associates           8:20-cv-64475-MCR-GRJ
  11984      199646   Ryan Tejeda                             Matthews & Associates           8:20-cv-64476-MCR-GRJ
  11985      199647   Ronald Tetzlaff                         Matthews & Associates                                      8:20-cv-64477-MCR-GRJ
  11986      199648   George Tharp                            Matthews & Associates           8:20-cv-64478-MCR-GRJ
  11987      199649   Wendell Thayne                          Matthews & Associates           8:20-cv-64479-MCR-GRJ
  11988      199651   Thomas Thiede                           Matthews & Associates                                      8:20-cv-64481-MCR-GRJ
  11989      199652   Charles Thomas                          Matthews & Associates                                      8:20-cv-64482-MCR-GRJ
  11990      199654   Daniel Thompson                         Matthews & Associates           8:20-cv-64484-MCR-GRJ
  11991      199656   Michael Thompson                        Matthews & Associates           8:20-cv-64486-MCR-GRJ
  11992      199660   Cooper Tieaskie                         Matthews & Associates           8:20-cv-64490-MCR-GRJ
  11993      199663   Angela Torres                           Matthews & Associates           8:20-cv-64493-MCR-GRJ
  11994      199667   Andrew Trexler                          Matthews & Associates           8:20-cv-64497-MCR-GRJ
  11995      199669   Daniel Tucker                           Matthews & Associates           8:20-cv-64499-MCR-GRJ
  11996      199675   Nathan Two Eagles-Downing               Matthews & Associates                                      8:20-cv-64505-MCR-GRJ
  11997      199677   Derek Ulrich                            Matthews & Associates           8:20-cv-64507-MCR-GRJ
  11998      199679   Stephen Van Doren                       Matthews & Associates                                      8:20-cv-64509-MCR-GRJ
  11999      199680   Edward Vargas                           Matthews & Associates           8:20-cv-64510-MCR-GRJ
  12000      199683   Joshua Vaughan                          Matthews & Associates           8:20-cv-64513-MCR-GRJ
  12001      199684   Paul Vazquez                            Matthews & Associates           8:20-cv-64514-MCR-GRJ
  12002      199686   Armando Vega Rojas                      Matthews & Associates                                      8:20-cv-64516-MCR-GRJ
  12003      199687   Nathan Verden                           Matthews & Associates           8:20-cv-64517-MCR-GRJ
  12004      199688   David Villarreal                        Matthews & Associates                                      8:20-cv-64518-MCR-GRJ
  12005      199690   Leelyn Waggoner                         Matthews & Associates                                      8:20-cv-64520-MCR-GRJ
  12006      199693   Keith Walker                            Matthews & Associates           8:20-cv-64523-MCR-GRJ
  12007      199695   William Walker                          Matthews & Associates           8:20-cv-56537-MCR-GRJ
  12008      199696   Travis Walton                           Matthews & Associates                                      8:20-cv-56542-MCR-GRJ
  12009      199698   Tyler Warner                            Matthews & Associates           8:20-cv-56552-MCR-GRJ
  12010      199699   Tammy Washburn                          Matthews & Associates           8:20-cv-56556-MCR-GRJ
  12011      199700   Addison Washington                      Matthews & Associates           8:20-cv-56560-MCR-GRJ
  12012      199702   Jason Waters                            Matthews & Associates           8:20-cv-56570-MCR-GRJ
  12013      199703   Clarence Watkins                        Matthews & Associates                                      8:20-cv-56575-MCR-GRJ
  12014      199704   James Watson                            Matthews & Associates                                      8:20-cv-56580-MCR-GRJ
  12015      199707   David Wenzel                            Matthews & Associates           8:20-cv-56592-MCR-GRJ
  12016      199708   Justin Whisner                          Matthews & Associates           8:20-cv-56596-MCR-GRJ
  12017      199709   Nicholas White                          Matthews & Associates           8:20-cv-56600-MCR-GRJ
  12018      199710   Richard White                           Matthews & Associates           8:20-cv-56604-MCR-GRJ
  12019      199714   Nicolle Wild                            Matthews & Associates           8:20-cv-56622-MCR-GRJ
  12020      199716   Christopher Williams                    Matthews & Associates           8:20-cv-56633-MCR-GRJ
  12021      199718   Quindarrius Williams                    Matthews & Associates           8:20-cv-56643-MCR-GRJ
  12022      199725   Shanadra Wilson                         Matthews & Associates           8:20-cv-56678-MCR-GRJ
  12023      199727   Emily Winchester                        Matthews & Associates           8:20-cv-56691-MCR-GRJ
  12024      199729   Wil Winters                             Matthews & Associates           8:20-cv-56703-MCR-GRJ
  12025      199731   Michael Wise                            Matthews & Associates                                      8:20-cv-56715-MCR-GRJ
  12026      199736   Andrew Wren                             Matthews & Associates           8:20-cv-56749-MCR-GRJ
  12027      199737   Edward Wright                           Matthews & Associates           8:20-cv-56755-MCR-GRJ
  12028      199738   Joel Wright                             Matthews & Associates           8:20-cv-56761-MCR-GRJ
  12029      199739   Timothy Wright                          Matthews & Associates                                      8:20-cv-56767-MCR-GRJ
  12030      199741   Devon Ynfante                           Matthews & Associates                                      8:20-cv-56781-MCR-GRJ
  12031      199744   Jamir Young                             Matthews & Associates           8:20-cv-61310-MCR-GRJ
  12032      199745   Leon Young                              Matthews & Associates           8:20-cv-61315-MCR-GRJ
  12033      199748   Jeremy Zeh                              Matthews & Associates                                      8:20-cv-61328-MCR-GRJ
  12034      199751   Kelvin Zimmerman                        Matthews & Associates           8:20-cv-61341-MCR-GRJ
  12035      199752   Spencer Zimmerschied                    Matthews & Associates           8:20-cv-61347-MCR-GRJ
  12036      238020   Fletcher Barnes                         Matthews & Associates           9:20-cv-02762-MCR-GRJ
  12037      238021   Susan Barrett                           Matthews & Associates           9:20-cv-02764-MCR-GRJ
  12038      238024   Phillip Gaitaud                         Matthews & Associates           9:20-cv-02769-MCR-GRJ
  12039      238025   Kevin Greene                            Matthews & Associates           9:20-cv-02772-MCR-GRJ
  12040      253204   Steve Cardoza                           Matthews & Associates                                      9:20-cv-02803-MCR-GRJ
  12041      253205   John Gilley                             Matthews & Associates           9:20-cv-02805-MCR-GRJ
  12042      253206   Berurya Mccullough                      Matthews & Associates                                      9:20-cv-02808-MCR-GRJ
  12043      253207   Chad Mccullough                         Matthews & Associates                                      9:20-cv-02810-MCR-GRJ
  12044      267611   Adam Adams                              Matthews & Associates           9:20-cv-09970-MCR-GRJ
  12045      267615   Brandyn Clark                           Matthews & Associates           9:20-cv-09974-MCR-GRJ




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   Row        PID                            Name                                     Firm   Admin Docket Case Number   Active Docket Case Number
  12046      267617   Alejandro Raudez                        Matthews & Associates           9:20-cv-09976-MCR-GRJ
  12047      280831   Stephen Abelson                         Matthews & Associates                                      7:21-cv-03857-MCR-GRJ
  12048      280833   John Barnes                             Matthews & Associates           7:21-cv-03861-MCR-GRJ
  12049      280834   Jarrett Bedford                         Matthews & Associates                                      7:21-cv-03863-MCR-GRJ
  12050      280835   Nicholas Benton                         Matthews & Associates           7:21-cv-03865-MCR-GRJ
  12051      280837   David Bonnette                          Matthews & Associates                                      7:21-cv-03869-MCR-GRJ
  12052      280838   Shawn Boos                              Matthews & Associates           7:21-cv-03871-MCR-GRJ
  12053      280839   Jasmine Booth                           Matthews & Associates           7:21-cv-03873-MCR-GRJ
  12054      280840   Larry Cooper                            Matthews & Associates           7:21-cv-03875-MCR-GRJ
  12055      280841   Jim Cowan                               Matthews & Associates           7:21-cv-03877-MCR-GRJ
  12056      280843   Jason Esquivel                          Matthews & Associates           7:21-cv-03881-MCR-GRJ
  12057      280844   Scott Farrell                           Matthews & Associates           7:21-cv-03883-MCR-GRJ
  12058      280845   Joshua Fellhauer                        Matthews & Associates           7:21-cv-03885-MCR-GRJ
  12059      280846   Michael Fipps                           Matthews & Associates           7:21-cv-03887-MCR-GRJ
  12060      280847   Josh Foster                             Matthews & Associates           7:21-cv-03889-MCR-GRJ
  12061      280848   Robert Garcia                           Matthews & Associates           7:21-cv-03891-MCR-GRJ
  12062      280849   Joe Gary                                Matthews & Associates           7:21-cv-03893-MCR-GRJ
  12063      280850   Mervin Getten                           Matthews & Associates           7:21-cv-03895-MCR-GRJ
  12064      280854   Joshua Henderson                        Matthews & Associates           7:21-cv-03903-MCR-GRJ
  12065      280855   Richard Howell                          Matthews & Associates                                      7:21-cv-03905-MCR-GRJ
  12066      280856   Michael Johnson                         Matthews & Associates           7:21-cv-03907-MCR-GRJ
  12067      280858   Tamala Karch                            Matthews & Associates           7:21-cv-03912-MCR-GRJ
  12068      280860   Gerald Martin                           Matthews & Associates           7:21-cv-03916-MCR-GRJ
  12069      280861   Bryan Matczak                           Matthews & Associates           7:21-cv-03918-MCR-GRJ
  12070      280863   Christopher Mcdonald                    Matthews & Associates           7:21-cv-03922-MCR-GRJ
  12071      280864   Terry Mcgovern                          Matthews & Associates           7:21-cv-03924-MCR-GRJ
  12072      280866   Teresa Mikelonis                        Matthews & Associates                                      7:21-cv-03927-MCR-GRJ
  12073      280867   Laura Mincey                            Matthews & Associates                                      7:21-cv-03929-MCR-GRJ
  12074      280868   Gary Morfin                             Matthews & Associates           7:21-cv-03931-MCR-GRJ
  12075      280869   Richard Muckerman                       Matthews & Associates           7:21-cv-03933-MCR-GRJ
  12076      280870   Jeremiah Myers                          Matthews & Associates           7:21-cv-03935-MCR-GRJ
  12077      280871   Joslyn Nicholas                         Matthews & Associates           7:21-cv-03937-MCR-GRJ
  12078      280872   William Owens                           Matthews & Associates                                      7:21-cv-03939-MCR-GRJ
  12079      280874   Ashley Pepper                           Matthews & Associates           7:21-cv-03944-MCR-GRJ
  12080      280875   Rodney Powers                           Matthews & Associates                                      7:21-cv-03946-MCR-GRJ
  12081      280876   Matthew Price                           Matthews & Associates           7:21-cv-03948-MCR-GRJ
  12082      280878   Jason Ramos                             Matthews & Associates           7:21-cv-03952-MCR-GRJ
  12083      280879   Charles Randall                         Matthews & Associates                                      7:21-cv-03954-MCR-GRJ
  12084      280880   Eric Rice                               Matthews & Associates                                      7:21-cv-03956-MCR-GRJ
  12085      280882   Heather Sears                           Matthews & Associates                                      7:21-cv-03960-MCR-GRJ
  12086      280884   Derek Slade                             Matthews & Associates                                      7:21-cv-03964-MCR-GRJ
  12087      280885   Christopher Smith                       Matthews & Associates           7:21-cv-03966-MCR-GRJ
  12088      280886   Timothy Smith                           Matthews & Associates           7:21-cv-03967-MCR-GRJ
  12089      280887   Juan Soto                               Matthews & Associates           7:21-cv-03968-MCR-GRJ
  12090      280888   James Steen                             Matthews & Associates                                      7:21-cv-03969-MCR-GRJ
  12091      280889   Jared Teofilo                           Matthews & Associates           7:21-cv-03970-MCR-GRJ
  12092      280890   Russell Warren                          Matthews & Associates                                      7:21-cv-03971-MCR-GRJ
  12093      280891   Raymond Watson                          Matthews & Associates           7:21-cv-03972-MCR-GRJ
  12094      280892   Brian Winter                            Matthews & Associates           7:21-cv-03973-MCR-GRJ
  12095      280893   Joshua Woolard                          Matthews & Associates           7:21-cv-03974-MCR-GRJ
  12096      333214   Howard Hatfield                         Matthews & Associates                                      7:21-cv-53862-MCR-GRJ
  12097      333216   Isaac Patterson                         Matthews & Associates           7:21-cv-53866-MCR-GRJ
  12098      333217   John Booth                              Matthews & Associates           7:21-cv-53868-MCR-GRJ
  12099      333219   Preston Farmer                          Matthews & Associates           7:21-cv-53872-MCR-GRJ
  12100      335102   Angelo Aguila                           Matthews & Associates           7:21-cv-55334-MCR-GRJ
  12101      335103   Sam Alston                              Matthews & Associates                                      7:21-cv-55336-MCR-GRJ
  12102      335105   Michael Baggett                         Matthews & Associates           7:21-cv-55341-MCR-GRJ
  12103      335106   Greg Benson                             Matthews & Associates           7:21-cv-55343-MCR-GRJ
  12104      335108   Jarrod Burnett                          Matthews & Associates                                      7:21-cv-55345-MCR-GRJ
  12105      335109   Michael Crisp                           Matthews & Associates           7:21-cv-55347-MCR-GRJ
  12106      335110   Gleen Elizondo                          Matthews & Associates                                      7:21-cv-55349-MCR-GRJ
  12107      335111   Eugene Esparza                          Matthews & Associates           7:21-cv-55351-MCR-GRJ
  12108      335116   Adrian Hughes                           Matthews & Associates           7:21-cv-55356-MCR-GRJ
  12109      335117   Jeremiah Hurtado                        Matthews & Associates           7:21-cv-55358-MCR-GRJ
  12110      335119   Justine Inman                           Matthews & Associates                                      7:21-cv-55363-MCR-GRJ
  12111      335122   Leroy Mccray                            Matthews & Associates                                      7:21-cv-55367-MCR-GRJ
  12112      335123   Randy Mcguire                           Matthews & Associates           7:21-cv-55369-MCR-GRJ
  12113      335124   Christopher Mehl                        Matthews & Associates           7:21-cv-55371-MCR-GRJ
  12114      335125   Kody Miller                             Matthews & Associates                                      7:21-cv-55373-MCR-GRJ
  12115      335127   Keith Richardson                        Matthews & Associates           7:21-cv-55376-MCR-GRJ
  12116      335128   Clara Saucier                           Matthews & Associates                                      7:21-cv-55378-MCR-GRJ
  12117      335129   Frankie Segarra                         Matthews & Associates           7:21-cv-55380-MCR-GRJ
  12118      335131   Xavier Waddy                            Matthews & Associates           7:21-cv-55384-MCR-GRJ




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  12119      335132   David Zepeda                            Matthews & Associates           7:21-cv-55386-MCR-GRJ
  12120      170173   Damanny Baptiste                        McCormick Law Firm                                         7:20-cv-44268-MCR-GRJ
  12121      171574   Adam Nelson                             McCormick Law Firm                                         7:20-cv-44270-MCR-GRJ
  12122      171579   Coggin Duncan                           McCormick Law Firm                                         7:20-cv-44281-MCR-GRJ
  12123      171582   David Knapp                             McCormick Law Firm                                         7:20-cv-44288-MCR-GRJ
  12124      171585   Douglas Miller                          McCormick Law Firm                                         7:20-cv-44296-MCR-GRJ
  12125      171586   Edmond Fielden                          McCormick Law Firm                                         7:20-cv-44299-MCR-GRJ
  12126      171591   Jason Roberts                           McCormick Law Firm                                         7:20-cv-44314-MCR-GRJ
  12127      171593   Judas Recendez                          McCormick Law Firm                                         7:20-cv-44320-MCR-GRJ
  12128      171596   Kyle Mcnett                             McCormick Law Firm                                         7:20-cv-44329-MCR-GRJ
  12129      171600   Luke Scott                              McCormick Law Firm                                         7:20-cv-44340-MCR-GRJ
  12130      171601   Matthew Carroll                         McCormick Law Firm                                         7:20-cv-44342-MCR-GRJ
  12131      171606   Ray Coutain                             McCormick Law Firm                                         7:20-cv-44353-MCR-GRJ
  12132      171609   Timothy Scarbrough                      McCormick Law Firm                                         7:20-cv-44359-MCR-GRJ
  12133      49297    Aaron Krebs                             McCune Wright Arevalo                                      7:20-cv-52409-MCR-GRJ
  12134      49300    Anthony Dobynes                         McCune Wright Arevalo                                      7:20-cv-52426-MCR-GRJ
  12135      49301    Antoine Addison                         McCune Wright Arevalo                                      7:20-cv-52432-MCR-GRJ
  12136      49302    Arthur Dickerman                        McCune Wright Arevalo                                      7:20-cv-52438-MCR-GRJ
  12137      49303    Bobby Eaves                             McCune Wright Arevalo                                      7:20-cv-52444-MCR-GRJ
  12138      49306    Carl Roy                                McCune Wright Arevalo           7:20-cv-52464-MCR-GRJ
  12139      49307    Charles Scheib                          McCune Wright Arevalo                                      7:20-cv-52469-MCR-GRJ
  12140      49308    Cody Stevens                            McCune Wright Arevalo                                      7:20-cv-52473-MCR-GRJ
  12141      49310    Dave Magno                              McCune Wright Arevalo                                      7:20-cv-52479-MCR-GRJ
  12142      49311    David Ryals                             McCune Wright Arevalo           7:20-cv-52484-MCR-GRJ
  12143      49314    Earnest Johnson                         McCune Wright Arevalo           7:20-cv-52498-MCR-GRJ
  12144      49316    Eric Robison                            McCune Wright Arevalo                                      7:20-cv-52509-MCR-GRJ
  12145      49318    Frank Stella                            McCune Wright Arevalo                                      7:20-cv-52518-MCR-GRJ
  12146      49320    Gerome Linen                            McCune Wright Arevalo                                      7:20-cv-52523-MCR-GRJ
  12147      49321    Harriet Wedgeworth                      McCune Wright Arevalo           7:20-cv-52528-MCR-GRJ
  12148      49322    Hiram Kuilanmunoz                       McCune Wright Arevalo                                      7:20-cv-52534-MCR-GRJ
  12149      49325    Jason Ryan                              McCune Wright Arevalo           7:20-cv-52549-MCR-GRJ
  12150      49326    Jerry Peeler                            McCune Wright Arevalo                                      7:20-cv-52554-MCR-GRJ
  12151      49327    Jessica Pando                           McCune Wright Arevalo           7:20-cv-52559-MCR-GRJ
  12152      49328    Jimmy Richardson                        McCune Wright Arevalo           7:20-cv-52565-MCR-GRJ
  12153      49330    Karen Adams                             McCune Wright Arevalo                                      7:20-cv-52575-MCR-GRJ
  12154      49333    Kenya King                              McCune Wright Arevalo                                      7:20-cv-52589-MCR-GRJ
  12155      49335    Michael Mcclary                         McCune Wright Arevalo                                      7:20-cv-52599-MCR-GRJ
  12156      49337    Nicholas Tronetti                       McCune Wright Arevalo           7:20-cv-52604-MCR-GRJ
  12157      49338    Nicholas Sherman                        McCune Wright Arevalo                                      7:20-cv-52610-MCR-GRJ
  12158      49341    Prerells Ferguson                       McCune Wright Arevalo           7:20-cv-52624-MCR-GRJ
  12159      49342    Randall Romesburg                       McCune Wright Arevalo                                      7:20-cv-52629-MCR-GRJ
  12160      49346    Theophilius Cheatham                    McCune Wright Arevalo                                      7:20-cv-52649-MCR-GRJ
  12161      49347    Thomas Leon                             McCune Wright Arevalo           7:20-cv-51900-MCR-GRJ
  12162      49348    Thomas Morton                           McCune Wright Arevalo                                      7:20-cv-51905-MCR-GRJ
  12163      49352    Craig Stoll                             McCune Wright Arevalo                                      7:20-cv-51930-MCR-GRJ
  12164      49354    Harold Armstead                         McCune Wright Arevalo                                      7:20-cv-51942-MCR-GRJ
  12165      49356    John Richardson                         McCune Wright Arevalo           7:20-cv-51948-MCR-GRJ
  12166      49358    Samuel Bowlby                           McCune Wright Arevalo                                      7:20-cv-51953-MCR-GRJ
  12167      49359    Tyrone Lumpkin                          McCune Wright Arevalo                                      7:20-cv-51958-MCR-GRJ
  12168      49360    Luis Cortez                             McCune Wright Arevalo           7:20-cv-51965-MCR-GRJ
  12169      49361    Jordan Urbany                           McCune Wright Arevalo                                      7:20-cv-51971-MCR-GRJ
  12170      87622    Alaa Shandi                             McCune Wright Arevalo                                      7:20-cv-55393-MCR-GRJ
  12171      88583    Christopher Yocum                       McCune Wright Arevalo                                      3:19-cv-03842-MCR-GRJ
  12172      88584    Clyde Hardesty                          McCune Wright Arevalo                                      3:19-cv-03888-MCR-GRJ
  12173      88585    Dale Pereira                            McCune Wright Arevalo                                      3:19-cv-03889-MCR-GRJ
  12174      88586    Daniel Iracheta                         McCune Wright Arevalo                                      3:19-cv-03821-MCR-GRJ
  12175      91385    David Moore                             McCune Wright Arevalo                                      3:19-cv-03845-MCR-GRJ
  12176      93499    Johnny Spiva                            McCune Wright Arevalo                                      3:19-cv-03890-MCR-GRJ
  12177      93501    Matthew Fox                             McCune Wright Arevalo                                      3:19-cv-03836-MCR-GRJ
  12178      93502    Raymond Logan                           McCune Wright Arevalo                                      3:19-cv-03855-MCR-GRJ
  12179      93503    Ricardo Zamora-Vicuna                   McCune Wright Arevalo                                      3:19-cv-03884-MCR-GRJ
  12180      94346    Ronald Simmons                          McCune Wright Arevalo                                      3:19-cv-03834-MCR-GRJ
  12181      94348    Travis Pepper                           McCune Wright Arevalo                                      3:19-cv-03885-MCR-GRJ
  12182      94349    Wesley Sutherland                       McCune Wright Arevalo                                      3:19-cv-03893-MCR-GRJ
  12183      94353    Kyle Phelps                             McCune Wright Arevalo                                      3:19-cv-03837-MCR-GRJ
  12184      94355    Michael Pelayo                          McCune Wright Arevalo                                      3:19-cv-03835-MCR-GRJ
  12185      94356    Socorro Hernandez                       McCune Wright Arevalo                                      3:19-cv-03839-MCR-GRJ
  12186      138929   Jeffrey Sanchez                         McCune Wright Arevalo                                      3:19-cv-03828-MCR-GRJ
  12187      138930   Arturo Esquivel                         McCune Wright Arevalo                                      3:19-cv-03626-MCR-GRJ
  12188      138932   Johnny Diming                           McCune Wright Arevalo                                      3:19-cv-03630-MCR-GRJ
  12189      138933   Vassilios Margaris                      McCune Wright Arevalo                                      3:19-cv-03635-MCR-GRJ
  12190      138934   Daniel Boone                            McCune Wright Arevalo                                      3:19-cv-03843-MCR-GRJ
  12191      144280   Carlos Rodriguez                        McCune Wright Arevalo                                      3:19-cv-03887-MCR-GRJ




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  12192      144314   Christopher Hammond                     McCune Wright Arevalo                                       3:19-cv-00739-MCR-GRJ
  12193      144315   Kyle Hausam                             McCune Wright Arevalo                                       3:19-cv-03853-MCR-GRJ
  12194      153552   Christopher Conely                      McCune Wright Arevalo                                       3:19-cv-03819-MCR-GRJ
  12195      153553   Derek Lutz                              McCune Wright Arevalo                                       3:19-cv-03822-MCR-GRJ
  12196      153554   Efrain Higareda                         McCune Wright Arevalo                                       3:19-cv-03824-MCR-GRJ
  12197      153555   Jason Frahn                             McCune Wright Arevalo                                       3:19-cv-03827-MCR-GRJ
  12198      153560   William Young                           McCune Wright Arevalo                                       3:19-cv-03886-MCR-GRJ
  12199      153567   Shawn Lewis                             McCune Wright Arevalo                                       3:19-cv-03633-MCR-GRJ
  12200      153568   Shawn Potvin                            McCune Wright Arevalo                                       3:19-cv-03634-MCR-GRJ
  12201      155948   Aric Mason                              McCune Wright Arevalo                                       3:19-cv-03625-MCR-GRJ
  12202      170803   Dylan Rogers                            McCune Wright Arevalo                                       3:19-cv-03823-MCR-GRJ
  12203      174274   Kevin Rodriguez                         McCune Wright Arevalo                                       3:19-cv-03838-MCR-GRJ
  12204      189302   Jeremy Hasenyager                       McCune Wright Arevalo            7:20-cv-99444-MCR-GRJ
  12205      208190   Don Tran                                McCune Wright Arevalo            8:20-cv-56789-MCR-GRJ
  12206      209665   Jason St Germain                        McCune Wright Arevalo                                       8:20-cv-56793-MCR-GRJ
  12207      211437   Kevin Knight                            McCune Wright Arevalo            8:20-cv-57095-MCR-GRJ
  12208      11828    Allen Rhodes                            McDonald Worley                  7:20-cv-01289-MCR-GRJ
  12209      11832    Emiley Steiger                          McDonald Worley                                             7:20-cv-01293-MCR-GRJ
  12210      11841    Diedra Childs                           McDonald Worley                                             7:20-cv-01301-MCR-GRJ
  12211      11860    Emelia Connolly                         McDonald Worley                                             7:20-cv-01319-MCR-GRJ
  12212      11885    Cody Lovelace                           McDonald Worley                                             7:20-cv-01342-MCR-GRJ
  12213      11904    Michael Ore                             McDonald Worley                                             7:20-cv-01360-MCR-GRJ
  12214      11957    Joshua Peugh                            McDonald Worley                  7:20-cv-01410-MCR-GRJ
  12215      12018    Priscila Brueggemann                    McDonald Worley                                             7:20-cv-01469-MCR-GRJ
  12216      12105    Jason Masker                            McDonald Worley                                             7:20-cv-01551-MCR-GRJ
  12217      12115    Ken Knight                              McDonald Worley                                             7:20-cv-01561-MCR-GRJ
  12218      12129    Joseph Fasanella                        McDonald Worley                                             7:20-cv-01577-MCR-GRJ
  12219      12186    Antonio Lopez                           McDonald Worley                                             7:20-cv-01693-MCR-GRJ
  12220      12263    Felicia Lilly                           McDonald Worley                                             7:20-cv-01757-MCR-GRJ
  12221      12324    David Vermilyea                         McDonald Worley                                             7:20-cv-01862-MCR-GRJ
  12222      12420    Neil Eayrs                              McDonald Worley                                             7:20-cv-01945-MCR-GRJ
  12223      164803   Michael James                           McDonald Worley                                             7:20-cv-36989-MCR-GRJ
  12224      164807   Vernell Adams                           McDonald Worley                                             7:20-cv-37000-MCR-GRJ
  12225      164808   Trevon Jackson                          McDonald Worley                                             7:20-cv-37003-MCR-GRJ
  12226      181121   James Brown                             McDonald Worley                  8:20-cv-31424-MCR-GRJ
  12227      181128   Roy Shrewsbury                          McDonald Worley                                             8:20-cv-31443-MCR-GRJ
  12228      181144   Adriano Regis                           McDonald Worley                                             8:20-cv-31472-MCR-GRJ
  12229      181149   Paul Maes                               McDonald Worley                                             8:20-cv-31488-MCR-GRJ
  12230      255893   Christian Cumberlander                  McDonald Worley                                             9:20-cv-10690-MCR-GRJ
  12231      293409   Bryan Carreira                          McDonald Worley                                             7:21-cv-13013-MCR-GRJ
  12232      305238   Raheem Cleveland                        McDonald Worley                  7:21-cv-24446-MCR-GRJ
  12233      305257   Enoch Mcalister                         McDonald Worley                                             7:21-cv-24465-MCR-GRJ
  12234      16861    Timothy Adams                           McGowan Hood & Felder                                       7:20-cv-57479-MCR-GRJ
  12235      16865    Dallen Anderson                         McGowan Hood & Felder                                       7:20-cv-57486-MCR-GRJ
  12236      16889    Todd Brown                              McGowan Hood & Felder            7:20-cv-57524-MCR-GRJ
  12237      16896    Christopher Carver                      McGowan Hood & Felder                                       7:20-cv-57533-MCR-GRJ
  12238      16902    Jon Coey                                McGowan Hood & Felder                                       7:20-cv-57542-MCR-GRJ
  12239      16904    Ryan Cox                                McGowan Hood & Felder                                       7:20-cv-57546-MCR-GRJ
  12240      16922    Logan Essenberg                         McGowan Hood & Felder                                       7:20-cv-57574-MCR-GRJ
  12241      16924    James Fauber                            McGowan Hood & Felder                                       7:20-cv-57578-MCR-GRJ
  12242      16932    Jeremy Furr                             McGowan Hood & Felder                                       7:20-cv-57591-MCR-GRJ
  12243      16934    James George                            McGowan Hood & Felder                                       7:20-cv-57595-MCR-GRJ
  12244      16945    Jimmy Hall                              McGowan Hood & Felder            7:20-cv-57622-MCR-GRJ
  12245      16954    Ryan Horne                              McGowan Hood & Felder                                       7:20-cv-57643-MCR-GRJ
  12246      16957    Justin Hughey                           McGowan Hood & Felder            7:20-cv-57651-MCR-GRJ
  12247      16967    Michael Kelly                           McGowan Hood & Felder            7:20-cv-57678-MCR-GRJ
  12248      16968    Bill Kerlee                             McGowan Hood & Felder            7:20-cv-57680-MCR-GRJ
  12249      16985    Elizabeth Mcghee                        McGowan Hood & Felder                                       7:20-cv-57722-MCR-GRJ
  12250      16990    Dennis Miles                            McGowan Hood & Felder                                       7:20-cv-57598-MCR-GRJ
  12251      16991    Zachary Mills                           McGowan Hood & Felder            7:20-cv-57600-MCR-GRJ
  12252      16992    Benjamin Miranda                        McGowan Hood & Felder                                       7:20-cv-57603-MCR-GRJ
  12253      17004    Jeffrey Parks                           McGowan Hood & Felder                                       7:20-cv-57631-MCR-GRJ
  12254      17007    Joshua Perdew                           McGowan Hood & Felder            7:20-cv-57639-MCR-GRJ
  12255      17022    Adrian Rodriguez                        McGowan Hood & Felder                                       7:20-cv-57676-MCR-GRJ
  12256      17031    Jerry Silvers                           McGowan Hood & Felder                                       7:20-cv-57698-MCR-GRJ
  12257      17032    Allen Skiles                            McGowan Hood & Felder                                       7:20-cv-57702-MCR-GRJ
  12258      17045    Arthur Stephens                         McGowan Hood & Felder            7:20-cv-57736-MCR-GRJ
  12259      17050    William Swanzy                          McGowan Hood & Felder            7:20-cv-57749-MCR-GRJ
  12260      17056    William Treat                           McGowan Hood & Felder                                       7:20-cv-57760-MCR-GRJ
  12261      17057    Gregory Tyiska                          McGowan Hood & Felder                                       7:20-cv-57762-MCR-GRJ
  12262      12437    Kyle Hood                               McSweeney/Langevin LLC           7:20-cv-56764-MCR-GRJ
  12263      12439    Anthony Rinaldo                         McSweeney/Langevin LLC           7:20-cv-56777-MCR-GRJ
  12264      12440    Reinaldo Rivera Del Rio                 McSweeney/Langevin LLC           7:20-cv-56785-MCR-GRJ




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  12265      12460    Nicholas Emison                         McSweeney/Langevin LLC           7:20-cv-56904-MCR-GRJ
  12266      12462    Michael Head                            McSweeney/Langevin LLC           7:20-cv-56918-MCR-GRJ
  12267      12466    Cody Wallace                            McSweeney/Langevin LLC           7:20-cv-56940-MCR-GRJ
  12268      12473    Matthew Patterson                       McSweeney/Langevin LLC           7:20-cv-56989-MCR-GRJ
  12269      12475    Ashley Mccoy                            McSweeney/Langevin LLC           7:20-cv-56999-MCR-GRJ
  12270      12477    Jonathan Blann                          McSweeney/Langevin LLC                                      7:20-cv-57007-MCR-GRJ
  12271      12481    Quintin Stepp                           McSweeney/Langevin LLC           7:20-cv-57026-MCR-GRJ
  12272      12488    Isaac Smith                             McSweeney/Langevin LLC           7:20-cv-57050-MCR-GRJ
  12273      12501    Andrew Schlauderaff                     McSweeney/Langevin LLC           7:20-cv-58045-MCR-GRJ
  12274      12516    Joshua Heinl                            McSweeney/Langevin LLC           7:20-cv-58134-MCR-GRJ
  12275      12519    Darren Moore                            McSweeney/Langevin LLC           7:20-cv-58146-MCR-GRJ
  12276      12533    Robert Brooks                           McSweeney/Langevin LLC           7:20-cv-58216-MCR-GRJ
  12277      12541    Bradley Thompson                        McSweeney/Langevin LLC           7:20-cv-58264-MCR-GRJ
  12278      12562    William Valdez                          McSweeney/Langevin LLC           7:20-cv-58387-MCR-GRJ
  12279      12564    Morgan Trice                            McSweeney/Langevin LLC           7:20-cv-58395-MCR-GRJ
  12280      12584    Mathew Halladay                         McSweeney/Langevin LLC           7:20-cv-58491-MCR-GRJ
  12281      12588    Jordan Dempsey                          McSweeney/Langevin LLC           7:20-cv-58505-MCR-GRJ
  12282      12593    Theodore Corder                         McSweeney/Langevin LLC           7:20-cv-58528-MCR-GRJ
  12283      12606    Michael Murphy                          McSweeney/Langevin LLC           7:20-cv-58574-MCR-GRJ
  12284      12612    Troy Rill                               McSweeney/Langevin LLC           7:20-cv-58594-MCR-GRJ
  12285      12621    David Vanover                           McSweeney/Langevin LLC           7:20-cv-58622-MCR-GRJ
  12286      12650    Erika Conner                            McSweeney/Langevin LLC           7:20-cv-58714-MCR-GRJ
  12287      12672    Steven Krull                            McSweeney/Langevin LLC           7:20-cv-58788-MCR-GRJ
  12288      12673    Hampton Whyte                           McSweeney/Langevin LLC           7:20-cv-58791-MCR-GRJ
  12289      12687    Nicholas Vannicola                      McSweeney/Langevin LLC           7:20-cv-58823-MCR-GRJ
  12290      12700    Jason Ewing                             McSweeney/Langevin LLC           7:20-cv-60103-MCR-GRJ
  12291      12701    Roderick Russell                        McSweeney/Langevin LLC           7:20-cv-60106-MCR-GRJ
  12292      12707    Katrina Thomas                          McSweeney/Langevin LLC           7:20-cv-60127-MCR-GRJ
  12293      12720    Richard Pace                            McSweeney/Langevin LLC           7:20-cv-60182-MCR-GRJ
  12294      12740    Michael Pierce                          McSweeney/Langevin LLC           7:20-cv-60271-MCR-GRJ
  12295      12793    Kenneth Hodges                          McSweeney/Langevin LLC           7:20-cv-60451-MCR-GRJ
  12296      12800    Gus Other Medicine                      McSweeney/Langevin LLC           7:20-cv-60475-MCR-GRJ
  12297      12817    Mark Hudspeth                           McSweeney/Langevin LLC           7:20-cv-60533-MCR-GRJ
  12298      12836    Marion Marmon                           McSweeney/Langevin LLC           7:20-cv-60610-MCR-GRJ
  12299      12842    Heather Smith                           McSweeney/Langevin LLC           7:20-cv-60634-MCR-GRJ
  12300      12879    Mickey Beahl                            McSweeney/Langevin LLC           7:20-cv-60804-MCR-GRJ
  12301      12929    Shane Ruth                              McSweeney/Langevin LLC           7:20-cv-61779-MCR-GRJ
  12302      12934    Arelis Nieves Huertas                   McSweeney/Langevin LLC           7:20-cv-61807-MCR-GRJ
  12303      12936    Josue Rivera                            McSweeney/Langevin LLC           7:20-cv-61818-MCR-GRJ
  12304      12984    Antorius Merritt                        McSweeney/Langevin LLC           7:20-cv-62033-MCR-GRJ
  12305      12989    Kent Witte                              McSweeney/Langevin LLC           7:20-cv-62051-MCR-GRJ
  12306      12994    Randy Hill                              McSweeney/Langevin LLC           7:20-cv-62072-MCR-GRJ
  12307      13011    James Reed                              McSweeney/Langevin LLC                                      7:20-cv-63492-MCR-GRJ
  12308      13016    William Benis                           McSweeney/Langevin LLC           7:20-cv-63508-MCR-GRJ
  12309      13029    Thomas Gilbert                          McSweeney/Langevin LLC           7:20-cv-63536-MCR-GRJ
  12310      13047    Gary Seward                             McSweeney/Langevin LLC           7:20-cv-63591-MCR-GRJ
  12311      13067    Charles Vanderbilt                      McSweeney/Langevin LLC           7:20-cv-63631-MCR-GRJ
  12312      156451   David Harris                            McSweeney/Langevin LLC           7:20-cv-67739-MCR-GRJ
  12313      156662   Taylor Davis                            McSweeney/Langevin LLC           7:20-cv-67794-MCR-GRJ
  12314      156975   Kaise Sweidan                           McSweeney/Langevin LLC           7:20-cv-67889-MCR-GRJ
  12315      157889   Jamal Scott                             McSweeney/Langevin LLC           7:20-cv-65850-MCR-GRJ
  12316      157961   Jason Stephens                          McSweeney/Langevin LLC           7:20-cv-65861-MCR-GRJ
  12317      158155   Ryan Flowers                            McSweeney/Langevin LLC           7:20-cv-65895-MCR-GRJ
  12318      160650   Courtney Wilson                         McSweeney/Langevin LLC           7:20-cv-67713-MCR-GRJ
  12319      160676   Gregory Burnette                        McSweeney/Langevin LLC           7:20-cv-67720-MCR-GRJ
  12320      161703   Joel Griffith                           McSweeney/Langevin LLC           7:20-cv-67981-MCR-GRJ
  12321      163880   Trina Taylor                            McSweeney/Langevin LLC           7:20-cv-68221-MCR-GRJ
  12322      169981   Raymond Cooks                           McSweeney/Langevin LLC           7:20-cv-63916-MCR-GRJ
  12323      169997   James Kemp                              McSweeney/Langevin LLC           7:20-cv-63940-MCR-GRJ
  12324      169998   Stacey Kirkendoll                       McSweeney/Langevin LLC           7:20-cv-63941-MCR-GRJ
  12325      170004   Vincent Mcdowell                        McSweeney/Langevin LLC           7:20-cv-63952-MCR-GRJ
  12326      170007   James Neal                              McSweeney/Langevin LLC           7:20-cv-63958-MCR-GRJ
  12327      170010   Rodger Rawleigh                         McSweeney/Langevin LLC           7:20-cv-63963-MCR-GRJ
  12328      170015   Matthew Rowan                           McSweeney/Langevin LLC           7:20-cv-63972-MCR-GRJ
  12329      181155   William Bentley                         McSweeney/Langevin LLC           8:20-cv-36316-MCR-GRJ
  12330      181161   Thomas Chionchio                        McSweeney/Langevin LLC           8:20-cv-36328-MCR-GRJ
  12331      181162   Walter Clement                          McSweeney/Langevin LLC           8:20-cv-36330-MCR-GRJ
  12332      181166   Robert Decker                           McSweeney/Langevin LLC           8:20-cv-36338-MCR-GRJ
  12333      181168   Julian Desmarais-Mcburnett              McSweeney/Langevin LLC           8:20-cv-36343-MCR-GRJ
  12334      181203   Joseph Murphy                           McSweeney/Langevin LLC           8:20-cv-36433-MCR-GRJ
  12335      181211   Charles Phillips                        McSweeney/Langevin LLC           8:20-cv-36455-MCR-GRJ
  12336      181237   Christopher Weaver                      McSweeney/Langevin LLC           8:20-cv-36524-MCR-GRJ
  12337      181241   Brandon Yates                           McSweeney/Langevin LLC           8:20-cv-36536-MCR-GRJ




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  12338      276187   Harold Allen                            McSweeney/Langevin LLC              7:21-cv-00441-MCR-GRJ
  12339      276195   Joseph Benedetti                        McSweeney/Langevin LLC              7:21-cv-00461-MCR-GRJ
  12340      276199   Zackary Branning                        McSweeney/Langevin LLC              7:21-cv-00471-MCR-GRJ
  12341      276230   Travis Hansen                           McSweeney/Langevin LLC              7:21-cv-00551-MCR-GRJ
  12342      276232   Nathan Henley                           McSweeney/Langevin LLC              7:21-cv-00555-MCR-GRJ
  12343      276267   Aaron Otero-Bunker                      McSweeney/Langevin LLC              7:21-cv-01568-MCR-GRJ
  12344      276270   Dustin Person                           McSweeney/Langevin LLC              7:21-cv-01574-MCR-GRJ
  12345      276285   Lartareo Shaw                           McSweeney/Langevin LLC              7:21-cv-01606-MCR-GRJ
  12346      276287   Ricardo Singleton                       McSweeney/Langevin LLC              7:21-cv-01612-MCR-GRJ
  12347      282466   Richard Higley                          McSweeney/Langevin LLC              7:21-cv-08553-MCR-GRJ
  12348      287096   Matthew Gilbert                         McSweeney/Langevin LLC              7:21-cv-08717-MCR-GRJ
  12349      287097   Ronny Graves                            McSweeney/Langevin LLC              7:21-cv-08718-MCR-GRJ
  12350      287118   David Ross                              McSweeney/Langevin LLC              7:21-cv-08739-MCR-GRJ
  12351      287124   Saul Zuniga                             McSweeney/Langevin LLC              7:21-cv-08745-MCR-GRJ
  12352      311272   Jason Marsch                            McSweeney/Langevin LLC              7:21-cv-29102-MCR-GRJ
  12353      87621    Tommy Walker                            Meshbesher & Spence, Ltd.                                      7:20-cv-42115-MCR-GRJ
  12354      138946   Chris Farias                            Meshbesher & Spence, Ltd.                                      7:20-cv-30256-MCR-GRJ
  12355      304089   Adam Frazier                            Meshbesher & Spence, Ltd.                                      7:21-cv-30395-MCR-GRJ
  12356      304090   Anthony Plesa                           Meshbesher & Spence, Ltd.                                      7:21-cv-30396-MCR-GRJ
  12357      316811   Jonathan Houk                           Meshbesher & Spence, Ltd.                                      7:21-cv-33932-MCR-GRJ
  12358      91185    Jeffrey Adams                           Messa & Associates                  8:20-cv-29025-MCR-GRJ
  12359      91187    Robert Anderson                         Messa & Associates                  8:20-cv-29029-MCR-GRJ
  12360      91200    Zakery Beltrone                         Messa & Associates                  8:20-cv-29053-MCR-GRJ
  12361      91206    Norvel Brown                            Messa & Associates                                             7:20-cv-71511-MCR-GRJ
  12362      91208    Makhram Budhoo                          Messa & Associates                  8:20-cv-29057-MCR-GRJ
  12363      91221    Makeda Christopher                      Messa & Associates                                             7:20-cv-71556-MCR-GRJ
  12364      91232    Robert Dalton                           Messa & Associates                                             7:20-cv-71587-MCR-GRJ
  12365      91237    Jarad Day                               Messa & Associates                  7:20-cv-71604-MCR-GRJ
  12366      91259    Matthew Giacobbe                        Messa & Associates                  8:20-cv-29094-MCR-GRJ
  12367      91273    Cody Henson                             Messa & Associates                  8:20-cv-29113-MCR-GRJ
  12368      91284    Jennifer Jimenez                        Messa & Associates                                             7:20-cv-71736-MCR-GRJ
  12369      91285    Pedro Jimenez                           Messa & Associates                  8:20-cv-29124-MCR-GRJ
  12370      91288    Carolyn Jordan                          Messa & Associates                                             8:20-cv-29128-MCR-GRJ
  12371      91290    Rueben Keenan                           Messa & Associates                                             8:20-cv-29132-MCR-GRJ
  12372      91294    Shukaris Kirkland                       Messa & Associates                  8:20-cv-29143-MCR-GRJ
  12373      91295    Jeremy Kitchen                          Messa & Associates                  8:20-cv-29147-MCR-GRJ
  12374      91302    Brian Laughton                          Messa & Associates                  8:20-cv-29161-MCR-GRJ
  12375      91310    William Marchiani                       Messa & Associates                                             8:20-cv-29173-MCR-GRJ
  12376      91319    Nicole Mitchell                         Messa & Associates                                             7:20-cv-72028-MCR-GRJ
  12377      91331    Cory Parker                             Messa & Associates                  8:20-cv-29196-MCR-GRJ
  12378      91336    Zachariah Person                        Messa & Associates                  7:20-cv-72068-MCR-GRJ
  12379      91353    Patrick Russell                         Messa & Associates                                             8:20-cv-29220-MCR-GRJ
  12380      91354    Jordan Rutecki-Kennedy                  Messa & Associates                  8:20-cv-29224-MCR-GRJ
  12381      91366    Taylor Smith                            Messa & Associates                  8:20-cv-29235-MCR-GRJ
  12382      100060   Pili Masaniai                           Messa & Associates                  8:20-cv-28616-MCR-GRJ
  12383      100061   Scott Maurer                            Messa & Associates                  7:20-cv-68118-MCR-GRJ
  12384      100065   Ira Norman                              Messa & Associates                                             7:20-cv-68124-MCR-GRJ
  12385      141501   Robert Pomroy                           Messa & Associates                                             3:19-cv-04226-MCR-GRJ
  12386      147917   Chaz Smith                              Messa & Associates                  8:20-cv-28716-MCR-GRJ
  12387      156611   Jess Rohrbach                           Messa & Associates                                             7:20-cv-88335-MCR-GRJ
  12388      156738   Michael Squires                         Messa & Associates                                             7:20-cv-88342-MCR-GRJ
  12389      157403   Jose Favela                             Messa & Associates                                             8:20-cv-28778-MCR-GRJ
  12390      172792   Enrique Jimenez                         Messa & Associates                                             7:20-cv-88874-MCR-GRJ
  12391      174863   Brittney Davis                          Messa & Associates                  7:20-cv-80541-MCR-GRJ
  12392      199757   Joe Burks                               Messa & Associates                  8:20-cv-61369-MCR-GRJ
  12393      199769   Jaylen Stoudemire                       Messa & Associates                                             8:20-cv-61415-MCR-GRJ
  12394      216517   Christopher Daniels                     Messa & Associates                                             8:20-cv-64531-MCR-GRJ
  12395      216527   Micah Robertson                         Messa & Associates                  8:20-cv-64541-MCR-GRJ
  12396      240623   Aaron Barrow                            Messa & Associates                                             8:20-cv-91061-MCR-GRJ
  12397      240624   David Blount                            Messa & Associates                  8:20-cv-91062-MCR-GRJ
  12398      240699   Nathan Grakowski                        Messa & Associates                  8:20-cv-91067-MCR-GRJ
  12399      240702   Joseph Harsh                            Messa & Associates                  8:20-cv-91070-MCR-GRJ
  12400      240703   Deanna Jackson                          Messa & Associates                  8:20-cv-91071-MCR-GRJ
  12401      240708   Ross Mcpherson                          Messa & Associates                  8:20-cv-91073-MCR-GRJ
  12402      240729   Kinessa Mawer                           Messa & Associates                                             8:20-cv-91075-MCR-GRJ
  12403      241227   Travis Newton                           Messa & Associates                                             8:20-cv-91078-MCR-GRJ
  12404      241231   Vernon Perry                            Messa & Associates                  8:20-cv-91080-MCR-GRJ
  12405      241235   John Petty                              Messa & Associates                  8:20-cv-91081-MCR-GRJ
  12406      241245   Stephen Portillo                        Messa & Associates                  8:20-cv-91083-MCR-GRJ
  12407      241248   William Poston                          Messa & Associates                  8:20-cv-91084-MCR-GRJ
  12408      241253   Brian Reardon                           Messa & Associates                                             8:20-cv-91085-MCR-GRJ
  12409      241279   Kevin Shoulders                         Messa & Associates                                             8:20-cv-91092-MCR-GRJ
  12410      241282   Heather Sine                            Messa & Associates                                             8:20-cv-91093-MCR-GRJ




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  12411      241287   Kyle Sine                               Messa & Associates                                                           8:20-cv-91094-MCR-GRJ
  12412      241313   Brian Waldron                           Messa & Associates                                                           8:20-cv-91103-MCR-GRJ
  12413      241315   Eric Wiley                              Messa & Associates                                8:20-cv-91107-MCR-GRJ
  12414      241316   Eric Williams                           Messa & Associates                                                           8:20-cv-91108-MCR-GRJ
  12415      241423   James Kelly                             Messa & Associates                                8:20-cv-91112-MCR-GRJ
  12416      241868   Andrew Vest                             Messa & Associates                                8:20-cv-91123-MCR-GRJ
  12417      247280   Alycia Adams                            Messa & Associates                                                           8:20-cv-93907-MCR-GRJ
  12418      248167   Michael Jimenez                         Messa & Associates                                                           8:20-cv-93931-MCR-GRJ
  12419      248170   Trevontae Mcnealy                       Messa & Associates                                                           8:20-cv-93934-MCR-GRJ
  12420      248205   Akeem Anthony                           Messa & Associates                                8:20-cv-93968-MCR-GRJ
  12421      248210   Justin Masisak                          Messa & Associates                                                           8:20-cv-93973-MCR-GRJ
  12422      248213   Justin Vnenchak                         Messa & Associates                                8:20-cv-93976-MCR-GRJ
  12423      248254   Marcus Vasquez                          Messa & Associates                                                           8:20-cv-86759-MCR-GRJ
  12424      263250   Brady Mitchell                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-19951-MCR-GRJ
  12425      266264   Seyborn Billings                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18360-MCR-GRJ
  12426      266266   Tawana Bridges                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18361-MCR-GRJ
  12427      266267   Caleb Brooks                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18362-MCR-GRJ
  12428      266273   Thomas Charlton                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18366-MCR-GRJ
  12429      266276   David Cortez                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18368-MCR-GRJ
  12430      266279   Ebony Davis                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18301-MCR-GRJ
  12431      266283   Stacey Ellis                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18371-MCR-GRJ
  12432      266284   Rodney Eure                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18372-MCR-GRJ
  12433      266289   Aaron Guinn                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18374-MCR-GRJ
  12434      266294   Cameron Jones                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18379-MCR-GRJ
  12435      266295   Jarom Jones                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-19960-MCR-GRJ
  12436      266300   James Lewellen                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-19965-MCR-GRJ
  12437      266303   Travis Mcfarland                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-19969-MCR-GRJ
  12438      266304   Krysti Mclain                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18381-MCR-GRJ
  12439      266309   Wendell Mote                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-19974-MCR-GRJ
  12440      266310   Kee Natani                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-19976-MCR-GRJ
  12441      266311   Amir O'Neal-Taylor                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-19978-MCR-GRJ
  12442      266314   Joshua Palmer                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-12536-MCR-GRJ
  12443      266318   Donavan Pipkins                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-19987-MCR-GRJ
  12444      266322   Pierre Prussien                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-14997-MCR-GRJ
  12445      266325   Jonathon Reesor                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18384-MCR-GRJ
  12446      266335   Adam Sheldon                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18394-MCR-GRJ
  12447      266336   Angela Simpson                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18396-MCR-GRJ
  12448      266338   Katherine Solano                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18398-MCR-GRJ
  12449      266339   Wendy Stevens                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18400-MCR-GRJ
  12450      266341   Greyson Stocks                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18402-MCR-GRJ
  12451      266345   Matthew Taylor                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18406-MCR-GRJ
  12452      266346   Christopher Tindell                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18408-MCR-GRJ
  12453      266347   Christopher Vallery                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18319-MCR-GRJ
  12454      266349   Clyde Walker                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-15005-MCR-GRJ
  12455      266352   Harold Weber                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-15014-MCR-GRJ
  12456      266353   Samantha Wild                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-15016-MCR-GRJ
  12457      266355   Randy Zorn                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-15021-MCR-GRJ
  12458      270419   Geoffery Jenkins                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18416-MCR-GRJ
  12459      279890   Angel Atiles                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18421-MCR-GRJ
  12460      279892   Nathaniel Bidet                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18425-MCR-GRJ
  12461      279898   Eric Cooke                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18433-MCR-GRJ
  12462      279903   Pii Faagai                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18441-MCR-GRJ
  12463      279908   Darren Harlan                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18446-MCR-GRJ
  12464      279912   Andrea Johnson                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-18454-MCR-GRJ
  12465      279915   Victor Marroquin                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18456-MCR-GRJ
  12466      279917   Daniel Mcilvain                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-20000-MCR-GRJ
  12467      279918   Drew Miller                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-20002-MCR-GRJ
  12468      279919   Luis Moreno                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-20003-MCR-GRJ
  12469      279923   Ricahrd Parker                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-20011-MCR-GRJ
  12470      279924   Elijah Parmiter                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-20012-MCR-GRJ
  12471      279925   Mateo Perez                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-20014-MCR-GRJ
  12472      279929   Mark Ramos                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-15024-MCR-GRJ
  12473      279931   Jorge Ruiz                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18322-MCR-GRJ
  12474      279932   John Shingles                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18460-MCR-GRJ
  12475      309687   Todd Ross                               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-26858-MCR-GRJ
  12476      334957   Brian Mccain                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-53397-MCR-GRJ
  12477      334963   Trodell Sherrell                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-53412-MCR-GRJ
  12478      334976   Juan Ortiz                              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-53442-MCR-GRJ
  12479      334987   Robert Bartow                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-53469-MCR-GRJ
  12480      335006   Nick Wilson                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-53515-MCR-GRJ
  12481      335013   Joshua Kerce                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC                               7:21-cv-53531-MCR-GRJ
  12482      189167   Brian Robinson                          Milstein Jackson Fairchild & Wade, LLP                                       8:20-cv-21747-MCR-GRJ
  12483      233250   Parminder Kanwar                        Milstein Jackson Fairchild & Wade, LLP                                       8:20-cv-86124-MCR-GRJ




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  12484      233251   Shara Gordon                            Milstein Jackson Fairchild & Wade, LLP                               8:20-cv-86125-MCR-GRJ
  12485      233253   William Seay                            Milstein Jackson Fairchild & Wade, LLP    8:20-cv-86127-MCR-GRJ
  12486      233254   Dusty Mcclellan                         Milstein Jackson Fairchild & Wade, LLP                               8:20-cv-86128-MCR-GRJ
  12487      233268   Jason Martin                            Milstein Jackson Fairchild & Wade, LLP                               8:20-cv-86142-MCR-GRJ
  12488      233272   Ricky Mims                              Milstein Jackson Fairchild & Wade, LLP    8:20-cv-86146-MCR-GRJ
  12489      233276   Arron Riley                             Milstein Jackson Fairchild & Wade, LLP                               8:20-cv-86150-MCR-GRJ
  12490      285629   Juan Pena                               Milstein Jackson Fairchild & Wade, LLP                               7:21-cv-08557-MCR-GRJ
  12491      285630   Neils Roley                             Milstein Jackson Fairchild & Wade, LLP                               7:21-cv-08558-MCR-GRJ
  12492      285631   Richard Friday                          Milstein Jackson Fairchild & Wade, LLP                               7:21-cv-08559-MCR-GRJ
  12493      354958   Earl Wilburn                            Moll Law Group                                                       3:21-cv-01498-MCR-GRJ
  12494      85637    Felix Arroyo                            Monsour Law Firm                          7:20-cv-42009-MCR-GRJ
  12495      85640    Christinea Baker                        Monsour Law Firm                          7:20-cv-42020-MCR-GRJ
  12496      85647    Mark Beal                               Monsour Law Firm                                                     7:20-cv-42039-MCR-GRJ
  12497      85662    Michael Brooks                          Monsour Law Firm                          7:20-cv-42085-MCR-GRJ
  12498      85675    Brandon Conner                          Monsour Law Firm                          7:20-cv-44621-MCR-GRJ
  12499      85694    Douglas Doss                            Monsour Law Firm                          7:20-cv-44664-MCR-GRJ
  12500      85698    Enrique Escobar                         Monsour Law Firm                          7:20-cv-44673-MCR-GRJ
  12501      85701    Charles Evers                           Monsour Law Firm                          7:20-cv-44681-MCR-GRJ
  12502      85722    Matthew Giddings                        Monsour Law Firm                          7:20-cv-45279-MCR-GRJ
  12503      85723    Joe Gil                                 Monsour Law Firm                          7:20-cv-45280-MCR-GRJ
  12504      85748    Harvey Hatcher                          Monsour Law Firm                          7:20-cv-46999-MCR-GRJ
  12505      85758    Dedrick Hilton                          Monsour Law Firm                          7:20-cv-47899-MCR-GRJ
  12506      85762    Isaac Horton                            Monsour Law Firm                          7:20-cv-47910-MCR-GRJ
  12507      85764    Brandon Huntsman                        Monsour Law Firm                          7:20-cv-47917-MCR-GRJ
  12508      85769    Christopher Jackson                     Monsour Law Firm                          7:20-cv-47936-MCR-GRJ
  12509      85773    John Jameson                            Monsour Law Firm                          7:20-cv-47951-MCR-GRJ
  12510      85788    Richard Lamb                            Monsour Law Firm                          7:20-cv-44719-MCR-GRJ
  12511      85793    Elijah Logston                          Monsour Law Firm                          7:20-cv-44738-MCR-GRJ
  12512      85806    Larry Mcdonald                          Monsour Law Firm                          7:20-cv-44754-MCR-GRJ
  12513      85812    Shawn Merriman                          Monsour Law Firm                          7:20-cv-44762-MCR-GRJ
  12514      85814    Prime Miley                             Monsour Law Firm                          7:20-cv-44766-MCR-GRJ
  12515      85824    Paul Newman                             Monsour Law Firm                          7:20-cv-44776-MCR-GRJ
  12516      85829    Deshaun Parker                          Monsour Law Firm                          7:20-cv-44781-MCR-GRJ
  12517      85831    Rick Pere                               Monsour Law Firm                          7:20-cv-44782-MCR-GRJ
  12518      85835    Emory Pounds                            Monsour Law Firm                          7:20-cv-44785-MCR-GRJ
  12519      85839    John Rampton                            Monsour Law Firm                          7:20-cv-44788-MCR-GRJ
  12520      85842    James Richburg                          Monsour Law Firm                          7:20-cv-44791-MCR-GRJ
  12521      85846    Michael Rosenweig                       Monsour Law Firm                          7:20-cv-44794-MCR-GRJ
  12522      85861    Grant Shimchick                         Monsour Law Firm                          7:20-cv-45291-MCR-GRJ
  12523      85876    Leo Switzer                             Monsour Law Firm                          7:20-cv-45304-MCR-GRJ
  12524      85881    Jonathan Theodore                       Monsour Law Firm                                                     7:20-cv-45309-MCR-GRJ
  12525      85890    Rosa Villanueva                         Monsour Law Firm                          7:20-cv-47016-MCR-GRJ
  12526      85895    Cory Washington                         Monsour Law Firm                          7:20-cv-47987-MCR-GRJ
  12527      85913    Vincent Woodard                         Monsour Law Firm                                                     7:20-cv-47051-MCR-GRJ
  12528      202970   Thomas Brown                            Monsour Law Firm                          8:20-cv-49619-MCR-GRJ
  12529      203011   Christopher Johnson                     Monsour Law Firm                                                     8:20-cv-49748-MCR-GRJ
  12530      203017   Vincent Albright                        Monsour Law Firm                          8:20-cv-49771-MCR-GRJ
  12531      203020   Shawn Berryman                          Monsour Law Firm                          8:20-cv-49786-MCR-GRJ
  12532      210099   Justin Turnbow                          Monsour Law Firm                          8:20-cv-59347-MCR-GRJ
  12533      210120   Kendrick Stennis                        Monsour Law Firm                          8:20-cv-59358-MCR-GRJ
  12534      210123   Enrique Williams                        Monsour Law Firm                          8:20-cv-59364-MCR-GRJ
  12535      210125   Kevin Maycroft                          Monsour Law Firm                          8:20-cv-57386-MCR-GRJ
  12536      210131   Joshua Walker                           Monsour Law Firm                          8:20-cv-59368-MCR-GRJ
  12537      210146   Jeremiah Wilson                         Monsour Law Firm                                                     8:20-cv-59376-MCR-GRJ
  12538      210148   Robert Monnier                          Monsour Law Firm                          8:20-cv-57410-MCR-GRJ
  12539      210154   Phillip Waddell                         Monsour Law Firm                          8:20-cv-59380-MCR-GRJ
  12540      210161   Michael Camp                            Monsour Law Firm                          8:20-cv-57432-MCR-GRJ
  12541      210176   William Kenyon                          Monsour Law Firm                                                     8:20-cv-57456-MCR-GRJ
  12542      210178   Ian Mcgrath                             Monsour Law Firm                          8:20-cv-57461-MCR-GRJ
  12543      210182   Joshua Taylor                           Monsour Law Firm                                                     8:20-cv-59393-MCR-GRJ
  12544      210183   Brandon Tyler                           Monsour Law Firm                          8:20-cv-59395-MCR-GRJ
  12545      210199   Clarence Roland                         Monsour Law Firm                          8:20-cv-57483-MCR-GRJ
  12546      210204   Charles Temple                          Monsour Law Firm                          8:20-cv-59421-MCR-GRJ
  12547      210206   Brad Weddle                             Monsour Law Firm                          8:20-cv-59427-MCR-GRJ
  12548      210220   Kristopher Hopkins                      Monsour Law Firm                                                     8:20-cv-57513-MCR-GRJ
  12549      210221   Ryan Lopez                              Monsour Law Firm                          8:20-cv-57516-MCR-GRJ
  12550      210228   Palebale Skilling                       Monsour Law Firm                          8:20-cv-57534-MCR-GRJ
  12551      210229   Marie Sorrell                           Monsour Law Firm                          8:20-cv-57537-MCR-GRJ
  12552      210230   Olivia Telles                           Monsour Law Firm                          8:20-cv-59437-MCR-GRJ
  12553      210235   Lauren Rodriguez                        Monsour Law Firm                          8:20-cv-57548-MCR-GRJ
  12554      210239   Jacob Williams                          Monsour Law Firm                          8:20-cv-59451-MCR-GRJ
  12555      210252   David Simms                             Monsour Law Firm                          8:20-cv-57587-MCR-GRJ
  12556      210256   Rafael Santiago                         Monsour Law Firm                          8:20-cv-57594-MCR-GRJ




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  12557      210258   Matthew Wheeler                         Monsour Law Firm           8:20-cv-59480-MCR-GRJ
  12558      210272   Theresa Upshaw                          Monsour Law Firm           8:20-cv-59488-MCR-GRJ
  12559      210279   Johnathon Holbrook                      Monsour Law Firm                                      8:20-cv-57657-MCR-GRJ
  12560      210286   Bobby Hughlett                          Monsour Law Firm           8:20-cv-57680-MCR-GRJ
  12561      210314   Adam Desalvio                           Monsour Law Firm           8:20-cv-57740-MCR-GRJ
  12562      210316   Megan Melnick                           Monsour Law Firm           8:20-cv-57746-MCR-GRJ
  12563      210318   Matthew Reed                            Monsour Law Firm           8:20-cv-57753-MCR-GRJ
  12564      210327   Donald Reed                             Monsour Law Firm           8:20-cv-57783-MCR-GRJ
  12565      210352   Charles Sims                            Monsour Law Firm           8:20-cv-57854-MCR-GRJ
  12566      214459   Shaquille Alexander                     Monsour Law Firm           8:20-cv-69013-MCR-GRJ
  12567      214475   John Clark                              Monsour Law Firm           8:20-cv-69029-MCR-GRJ
  12568      214498   Mark Eral                               Monsour Law Firm                                      8:20-cv-69069-MCR-GRJ
  12569      214502   Michael Findley                         Monsour Law Firm           8:20-cv-69077-MCR-GRJ
  12570      214507   Carlo Giovannitti                       Monsour Law Firm           8:20-cv-69088-MCR-GRJ
  12571      214528   Joshua Kitching                         Monsour Law Firm                                      8:20-cv-69134-MCR-GRJ
  12572      214549   David Powell                            Monsour Law Firm                                      8:20-cv-69178-MCR-GRJ
  12573      214555   Dupeye Renoird                          Monsour Law Firm           8:20-cv-69191-MCR-GRJ
  12574      214556   Christopher Richards                    Monsour Law Firm           8:20-cv-69193-MCR-GRJ
  12575      214572   Craig Shaw                              Monsour Law Firm           8:20-cv-69361-MCR-GRJ
  12576      214576   Michael Sivley                          Monsour Law Firm           8:20-cv-69368-MCR-GRJ
  12577      214588   Bryan Taylor                            Monsour Law Firm           8:20-cv-69396-MCR-GRJ
  12578      214591   Lawrence Vance                          Monsour Law Firm                                      8:20-cv-69403-MCR-GRJ
  12579      214593   Jason Walker                            Monsour Law Firm           8:20-cv-69408-MCR-GRJ
  12580      214598   Jesse Wessel                            Monsour Law Firm           8:20-cv-69420-MCR-GRJ
  12581      223860   Joshua Butler                           Monsour Law Firm           8:20-cv-67593-MCR-GRJ
  12582      223862   Dennis Ferber                           Monsour Law Firm           8:20-cv-67597-MCR-GRJ
  12583      223876   Clifford Cook                           Monsour Law Firm           8:20-cv-67636-MCR-GRJ
  12584      223885   Carl Carson                             Monsour Law Firm           8:20-cv-67658-MCR-GRJ
  12585      223889   Benjamin Ruwan                          Monsour Law Firm           8:20-cv-67669-MCR-GRJ
  12586      223890   Anthony Coughenour                      Monsour Law Firm                                      8:20-cv-67672-MCR-GRJ
  12587      223891   Nicholas Davis                          Monsour Law Firm           8:20-cv-67674-MCR-GRJ
  12588      223893   Steven Prokup                           Monsour Law Firm           8:20-cv-67680-MCR-GRJ
  12589      223902   Jeffrey Varney                          Monsour Law Firm                                      8:20-cv-67705-MCR-GRJ
  12590      223927   David Hoyle                             Monsour Law Firm           8:20-cv-67772-MCR-GRJ
  12591      223933   Phillip Sage                            Monsour Law Firm           8:20-cv-67789-MCR-GRJ
  12592      223946   Balou Faustin                           Monsour Law Firm           8:20-cv-67824-MCR-GRJ
  12593      223977   William Jefferson                       Monsour Law Firm           8:20-cv-67909-MCR-GRJ
  12594      223987   Michael Vinion                          Monsour Law Firm           8:20-cv-67929-MCR-GRJ
  12595      224007   Adam Hartman                            Monsour Law Firm           8:20-cv-67966-MCR-GRJ
  12596      224012   Devin Flynn                             Monsour Law Firm           8:20-cv-67977-MCR-GRJ
  12597      224032   Jesse Elorriaga                         Monsour Law Firm           8:20-cv-68017-MCR-GRJ
  12598      224037   Jayce Weatherspoon                      Monsour Law Firm           8:20-cv-68026-MCR-GRJ
  12599      224048   Ava Thomas                              Monsour Law Firm                                      8:20-cv-68048-MCR-GRJ
  12600      238063   Vina Bonner                             Monsour Law Firm           8:20-cv-85000-MCR-GRJ
  12601      238065   Micah Bowers                            Monsour Law Firm           8:20-cv-85006-MCR-GRJ
  12602      238073   Michael Cazares                         Monsour Law Firm           8:20-cv-85027-MCR-GRJ
  12603      238084   Bryant Davis                            Monsour Law Firm           8:20-cv-85049-MCR-GRJ
  12604      238088   Nicholas Dee                            Monsour Law Firm           8:20-cv-85057-MCR-GRJ
  12605      238094   Matthew Dinkledine                      Monsour Law Firm                                      8:20-cv-85068-MCR-GRJ
  12606      238113   Nicholas Fields                         Monsour Law Firm                                      8:20-cv-85106-MCR-GRJ
  12607      238114   Christopher Fields                      Monsour Law Firm           8:20-cv-85107-MCR-GRJ
  12608      238118   Nicholas Forristall                     Monsour Law Firm           8:20-cv-85113-MCR-GRJ
  12609      238123   Nate Fultz                              Monsour Law Firm                                      8:20-cv-85123-MCR-GRJ
  12610      238138   Cameron Goldberg                        Monsour Law Firm           8:20-cv-84790-MCR-GRJ
  12611      238152   Timothy Hankes                          Monsour Law Firm           8:20-cv-84855-MCR-GRJ
  12612      238162   Tanner Higdon                           Monsour Law Firm                                      8:20-cv-84903-MCR-GRJ
  12613      238171   Pablo Ibarra                            Monsour Law Firm           8:20-cv-84938-MCR-GRJ
  12614      238202   Bryan Kruger                            Monsour Law Firm           8:20-cv-85032-MCR-GRJ
  12615      238244   Earl Snair                              Monsour Law Firm           8:20-cv-85116-MCR-GRJ
  12616      238248   Jessica Stroman                         Monsour Law Firm           8:20-cv-85124-MCR-GRJ
  12617      238254   Fallon Vachon                           Monsour Law Firm           8:20-cv-85133-MCR-GRJ
  12618      247283   Marco Alicea                            Monsour Law Firm                                      8:20-cv-92657-MCR-GRJ
  12619      247296   Jared Bridgewater                       Monsour Law Firm                                      8:20-cv-92670-MCR-GRJ
  12620      247300   Travis Buffington                       Monsour Law Firm           8:20-cv-92677-MCR-GRJ
  12621      247310   Archie Corbin                           Monsour Law Firm           8:20-cv-92698-MCR-GRJ
  12622      247318   Anthony Dewitt                          Monsour Law Firm           8:20-cv-92714-MCR-GRJ
  12623      247332   William Gallas                          Monsour Law Firm           8:20-cv-92743-MCR-GRJ
  12624      247341   Hernan Hernandez                        Monsour Law Firm           8:20-cv-92761-MCR-GRJ
  12625      247358   Thomas Meador                           Monsour Law Firm                                      8:20-cv-92792-MCR-GRJ
  12626      247359   William Meyer                           Monsour Law Firm           8:20-cv-92793-MCR-GRJ
  12627      247364   Michael Mirano                          Monsour Law Firm           8:20-cv-92798-MCR-GRJ
  12628      247400   Jeffrey Phillips                        Monsour Law Firm           8:20-cv-92834-MCR-GRJ
  12629      247413   Monica Reyna                            Monsour Law Firm           8:20-cv-92847-MCR-GRJ




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  12630      247414   Joseph Rice                             Monsour Law Firm                                      8:20-cv-92848-MCR-GRJ
  12631      247421   Pedro Rodriguez-Santana                 Monsour Law Firm           8:20-cv-92855-MCR-GRJ
  12632      247431   Carlos Slusher                          Monsour Law Firm           8:20-cv-92865-MCR-GRJ
  12633      247435   Davontae Smith                          Monsour Law Firm           8:20-cv-92869-MCR-GRJ
  12634      247440   Kyle Sockey                             Monsour Law Firm                                      8:20-cv-92874-MCR-GRJ
  12635      247452   Richard Walton                          Monsour Law Firm           8:20-cv-92886-MCR-GRJ
  12636      247456   Amanda Webber                           Monsour Law Firm           8:20-cv-92890-MCR-GRJ
  12637      258112   David Beckley                           Monsour Law Firm           9:20-cv-00465-MCR-GRJ
  12638      258140   Robert Wallace                          Monsour Law Firm                                      9:20-cv-00872-MCR-GRJ
  12639      258145   Richard Kidwell                         Monsour Law Firm                                      9:20-cv-00877-MCR-GRJ
  12640      258150   Clinton Tolbert                         Monsour Law Firm           9:20-cv-00882-MCR-GRJ
  12641      258162   Walter Rantanen                         Monsour Law Firm           9:20-cv-00894-MCR-GRJ
  12642      258181   Charles Johnson                         Monsour Law Firm           9:20-cv-00913-MCR-GRJ
  12643      258188   James Velesky                           Monsour Law Firm           9:20-cv-00920-MCR-GRJ
  12644      258204   Christopher Higgerson                   Monsour Law Firm           9:20-cv-00936-MCR-GRJ
  12645      258218   Christopher Lavezzo                     Monsour Law Firm           9:20-cv-00950-MCR-GRJ
  12646      258235   Damion Jackson                          Monsour Law Firm                                      9:20-cv-00967-MCR-GRJ
  12647      262770   Jason Matthews                          Monsour Law Firm                                      9:20-cv-07559-MCR-GRJ
  12648      262776   Christopher Wernle                      Monsour Law Firm           9:20-cv-09690-MCR-GRJ
  12649      262778   Robert Penticuff                        Monsour Law Firm                                      9:20-cv-07571-MCR-GRJ
  12650      262798   Jerry Shaw                              Monsour Law Firm           9:20-cv-09701-MCR-GRJ
  12651      262807   Michael Ceynar                          Monsour Law Firm           9:20-cv-07645-MCR-GRJ
  12652      262808   Rebecca Drury                           Monsour Law Firm           9:20-cv-07646-MCR-GRJ
  12653      262809   Stanley Dupin                           Monsour Law Firm           9:20-cv-07647-MCR-GRJ
  12654      262817   Tristan Myhre-Buchanan                  Monsour Law Firm                                      9:20-cv-07654-MCR-GRJ
  12655      262828   Chauncey Mccoy                          Monsour Law Firm           9:20-cv-07664-MCR-GRJ
  12656      262849   Steven Johnson                          Monsour Law Firm           9:20-cv-07684-MCR-GRJ
  12657      262850   Randal Stevens                          Monsour Law Firm           9:20-cv-09710-MCR-GRJ
  12658      262853   Jackie Matney                           Monsour Law Firm           9:20-cv-07687-MCR-GRJ
  12659      262870   Joshua Pass                             Monsour Law Firm           9:20-cv-07714-MCR-GRJ
  12660      262876   Charnay Parkinson                       Monsour Law Firm                                      9:20-cv-07707-MCR-GRJ
  12661      262890   Daniel Schall                           Monsour Law Firm           9:20-cv-09720-MCR-GRJ
  12662      262896   Tylorean Matthews                       Monsour Law Firm           9:20-cv-07722-MCR-GRJ
  12663      262900   Michael Arrington                       Monsour Law Firm           9:20-cv-07726-MCR-GRJ
  12664      262925   Jean-Luc Richard                        Monsour Law Firm           9:20-cv-07745-MCR-GRJ
  12665      262946   Audrieana Brown                         Monsour Law Firm           9:20-cv-07763-MCR-GRJ
  12666      262947   Jonathan Martinica                      Monsour Law Firm           9:20-cv-07764-MCR-GRJ
  12667      262949   Michael Jones                           Monsour Law Firm           9:20-cv-07766-MCR-GRJ
  12668      262950   Michael Bair                            Monsour Law Firm           9:20-cv-07767-MCR-GRJ
  12669      262955   Dallas Shepherd                         Monsour Law Firm           9:20-cv-09743-MCR-GRJ
  12670      262973   Jerome Sevilleja                        Monsour Law Firm                                      9:20-cv-09744-MCR-GRJ
  12671      262975   Kyquan Bryant                           Monsour Law Firm                                      9:20-cv-07789-MCR-GRJ
  12672      262992   Joshua Van Dyke                         Monsour Law Firm           9:20-cv-09750-MCR-GRJ
  12673      262994   Eric Delacruz                           Monsour Law Firm           9:20-cv-07806-MCR-GRJ
  12674      263001   Jason Hancock                           Monsour Law Firm                                      9:20-cv-07812-MCR-GRJ
  12675      263006   Anthony Buchanan                        Monsour Law Firm           9:20-cv-07817-MCR-GRJ
  12676      263008   Johnny Beserra                          Monsour Law Firm           9:20-cv-07819-MCR-GRJ
  12677      263035   Philip Schaufele                        Monsour Law Firm                                      9:20-cv-09756-MCR-GRJ
  12678      263054   Manuel Sanchez                          Monsour Law Firm           9:20-cv-09769-MCR-GRJ
  12679      263055   Arkeen Oubre                            Monsour Law Firm                                      9:20-cv-07857-MCR-GRJ
  12680      263062   Brek Pitcher                            Monsour Law Firm           9:20-cv-07863-MCR-GRJ
  12681      263066   Tillman Rasberry                        Monsour Law Firm           9:20-cv-07867-MCR-GRJ
  12682      269561   John Merchant                           Monsour Law Firm           9:20-cv-12449-MCR-GRJ
  12683      269597   Jason Stevenson                         Monsour Law Firm           9:20-cv-12499-MCR-GRJ
  12684      269604   Eric Von Hofen                          Monsour Law Firm                                      9:20-cv-12506-MCR-GRJ
  12685      269605   Jonathan Slone                          Monsour Law Firm                                      9:20-cv-12507-MCR-GRJ
  12686      269613   Matthew Lary                            Monsour Law Firm           9:20-cv-12515-MCR-GRJ
  12687      269651   Nathan Ross                             Monsour Law Firm           9:20-cv-12603-MCR-GRJ
  12688      269671   Ray Lablance                            Monsour Law Firm           9:20-cv-12623-MCR-GRJ
  12689      273537   Jonathan Evans                          Monsour Law Firm           9:20-cv-16285-MCR-GRJ
  12690      273545   Chance Erwin                            Monsour Law Firm                                      9:20-cv-16299-MCR-GRJ
  12691      273547   George Williams                         Monsour Law Firm                                      9:20-cv-16303-MCR-GRJ
  12692      273559   Danielle Beasley                        Monsour Law Firm           9:20-cv-16327-MCR-GRJ
  12693      273562   Lucas Phipps                            Monsour Law Firm           9:20-cv-16333-MCR-GRJ
  12694      273574   Dawn Lemley                             Monsour Law Firm           9:20-cv-16358-MCR-GRJ
  12695      273582   George Howard                           Monsour Law Firm                                      9:20-cv-16374-MCR-GRJ
  12696      273592   Rummeal Branch                          Monsour Law Firm           9:20-cv-16431-MCR-GRJ
  12697      273607   Gary White                              Monsour Law Firm           9:20-cv-16455-MCR-GRJ
  12698      273612   Adam Hall                               Monsour Law Firm           9:20-cv-17022-MCR-GRJ
  12699      273620   Patrick Selburg                         Monsour Law Firm                                      9:20-cv-17038-MCR-GRJ
  12700      273621   Cecil Davis                             Monsour Law Firm           9:20-cv-17040-MCR-GRJ
  12701      282471   David Walters                           Monsour Law Firm                                      7:21-cv-05289-MCR-GRJ
  12702      282479   Herbert Raasch                          Monsour Law Firm           7:21-cv-05297-MCR-GRJ




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  12703      282492   Kyle Schultz                            Monsour Law Firm                 7:21-cv-05310-MCR-GRJ
  12704      282496   Michael Stephens                        Monsour Law Firm                 7:21-cv-05314-MCR-GRJ
  12705      282501   Donald Wilms                            Monsour Law Firm                 7:21-cv-05319-MCR-GRJ
  12706      282510   Roy Shaw                                Monsour Law Firm                 7:21-cv-05328-MCR-GRJ
  12707      282530   Daryl Sieverding                        Monsour Law Firm                 7:21-cv-05348-MCR-GRJ
  12708      282533   Andrew Wehmeier                         Monsour Law Firm                 7:21-cv-05351-MCR-GRJ
  12709      282537   Daniel Ribert                           Monsour Law Firm                 7:21-cv-05355-MCR-GRJ
  12710      282547   Travis Chase                            Monsour Law Firm                 7:21-cv-05365-MCR-GRJ
  12711      282561   Branden Ross                            Monsour Law Firm                 7:21-cv-05379-MCR-GRJ
  12712      291198   Renard Thomas                           Monsour Law Firm                 7:21-cv-30368-MCR-GRJ
  12713      291208   William Windham                         Monsour Law Firm                 7:21-cv-30378-MCR-GRJ
  12714      303513   George Ogburn                           Monsour Law Firm                 7:21-cv-23189-MCR-GRJ
  12715      303514   Victor Olivares                         Monsour Law Firm                                            7:21-cv-23190-MCR-GRJ
  12716      303525   Willie Adams                            Monsour Law Firm                 7:21-cv-23201-MCR-GRJ
  12717      303545   Travis Love                             Monsour Law Firm                                            7:21-cv-23221-MCR-GRJ
  12718      303548   James Pena                              Monsour Law Firm                                            7:21-cv-23224-MCR-GRJ
  12719      303560   Martin Ewers                            Monsour Law Firm                 7:21-cv-23236-MCR-GRJ
  12720      303583   Shydarious Slaughter                    Monsour Law Firm                                            7:21-cv-23259-MCR-GRJ
  12721      307872   Krystopher Zsedenny                     Monsour Law Firm                 7:21-cv-30963-MCR-GRJ
  12722      307880   Jennifer Brande                         Monsour Law Firm                 7:21-cv-30971-MCR-GRJ
  12723      307885   Charles Smith                           Monsour Law Firm                 7:21-cv-30976-MCR-GRJ
  12724      324731   Curtis Burns                            Monsour Law Firm                                            7:21-cv-39563-MCR-GRJ
  12725      324732   Hyshicka Blake                          Monsour Law Firm                                            7:21-cv-39565-MCR-GRJ
  12726      329070   Jason Gehringer                         Monsour Law Firm                                            7:21-cv-47924-MCR-GRJ
  12727      329075   Christina Contreras                     Monsour Law Firm                 7:21-cv-47929-MCR-GRJ
  12728      329076   Seth Gerrish                            Monsour Law Firm                                            7:21-cv-47930-MCR-GRJ
  12729      357176   Gerard Torres                           Monsour Law Firm                                            3:22-cv-01548-MCR-GRJ
  12730      164136   Scott Suiter                            Montgomery Ponder, LLC                                      7:20-cv-83731-MCR-GRJ
  12731       5114    Alfred Helenski                         Morgan & Morgan                                             8:20-cv-20932-MCR-GRJ
  12732       5157    Joshua Gaither                          Morgan & Morgan                  8:20-cv-21034-MCR-GRJ
  12733       5217    Steven Effler                           Morgan & Morgan                  8:20-cv-21118-MCR-GRJ
  12734       5246    Wesley Vaughn                           Morgan & Morgan                  8:20-cv-21146-MCR-GRJ
  12735       5255    Joshua Layton                           Morgan & Morgan                  8:20-cv-21153-MCR-GRJ
  12736      126046   Kim Branch                              Morgan & Morgan                  8:20-cv-31185-MCR-GRJ
  12737      126109   Tony Guerrero                           Morgan & Morgan                  8:20-cv-31331-MCR-GRJ
  12738      126122   Matthew Hicklin                         Morgan & Morgan                  8:20-cv-31365-MCR-GRJ
  12739      126138   Christopher Johnson                     Morgan & Morgan                                             8:20-cv-31404-MCR-GRJ
  12740      126175   Bradley Mitchell                        Morgan & Morgan                  8:20-cv-31290-MCR-GRJ
  12741      126176   Joshua Mobley                           Morgan & Morgan                  8:20-cv-31294-MCR-GRJ
  12742      126197   Ricardo Pequeno                         Morgan & Morgan                                             8:20-cv-31359-MCR-GRJ
  12743      126317   Logan Jones                             Morgan & Morgan                                             8:20-cv-32465-MCR-GRJ
  12744      126417   Nelsonya Simmons                        Morgan & Morgan                  8:20-cv-32919-MCR-GRJ
  12745      126499   Marcus Hinton                           Morgan & Morgan                                             8:20-cv-34624-MCR-GRJ
  12746      126500   Thomas Holcomb                          Morgan & Morgan                  8:20-cv-34630-MCR-GRJ
  12747      126544   David Hutchinson                        Morgan & Morgan                  8:20-cv-34837-MCR-GRJ
  12748      126554   Fernando Fustero                        Morgan & Morgan                  8:20-cv-34877-MCR-GRJ
  12749      126569   Samuel Goerdt                           Morgan & Morgan                  8:20-cv-34946-MCR-GRJ
  12750      126607   John Mariano                            Morgan & Morgan                  8:20-cv-35091-MCR-GRJ
  12751      126617   William Haynes                          Morgan & Morgan                  8:20-cv-35142-MCR-GRJ
  12752      126653   Dustin Smith                            Morgan & Morgan                  8:20-cv-36897-MCR-GRJ
  12753      165087   Andre Miller                            Morgan & Morgan                  8:20-cv-29649-MCR-GRJ
  12754      165140   Jerry White                             Morgan & Morgan                  8:20-cv-29790-MCR-GRJ
  12755      181310   Anthony Joyner                          Morgan & Morgan                  7:20-cv-83386-MCR-GRJ
  12756      181316   Michael Lewis                           Morgan & Morgan                  7:20-cv-83409-MCR-GRJ
  12757      181403   Thomas Williams                         Morgan & Morgan                  7:20-cv-83661-MCR-GRJ
  12758      191154   Andrew Lippert                          Morgan & Morgan                                             8:20-cv-28786-MCR-GRJ
  12759      191166   Madison Morgan                          Morgan & Morgan                  8:20-cv-28837-MCR-GRJ
  12760      199787   Carlos Paredes                          Morgan & Morgan                  8:20-cv-45716-MCR-GRJ
  12761      219504   Marcos Pagan                            Morgan & Morgan                  8:20-cv-73005-MCR-GRJ
  12762      238270   David Aulita                            Morgan & Morgan                  8:20-cv-86179-MCR-GRJ
  12763      238275   Benjamin Barnette                       Morgan & Morgan                  8:20-cv-86184-MCR-GRJ
  12764      238300   Clyde Carter                            Morgan & Morgan                  8:20-cv-86209-MCR-GRJ
  12765      238319   James Davis                             Morgan & Morgan                  8:20-cv-86228-MCR-GRJ
  12766      238342   John Goodwin                            Morgan & Morgan                  8:20-cv-86251-MCR-GRJ
  12767      238345   Mikell Green                            Morgan & Morgan                  8:20-cv-86254-MCR-GRJ
  12768      238347   Natisha Hale                            Morgan & Morgan                  8:20-cv-86256-MCR-GRJ
  12769      238354   Bradley Haywood                         Morgan & Morgan                  8:20-cv-86263-MCR-GRJ
  12770      238361   Curtis Johnson                          Morgan & Morgan                  8:20-cv-86270-MCR-GRJ
  12771      238369   Henrique Lamberty                       Morgan & Morgan                                             8:20-cv-86278-MCR-GRJ
  12772      238378   Sean Marchunt                           Morgan & Morgan                  8:20-cv-86287-MCR-GRJ
  12773      238405   William Pickett                         Morgan & Morgan                  8:20-cv-86325-MCR-GRJ
  12774      238408   Christopher Pulver                      Morgan & Morgan                  8:20-cv-86330-MCR-GRJ
  12775      238419   Lucas Schaneman                         Morgan & Morgan                                             8:20-cv-86350-MCR-GRJ




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  12776      238425   Thomas Sheppard                         Morgan & Morgan           8:20-cv-86360-MCR-GRJ
  12777      238426   Shea Sherbert                           Morgan & Morgan           8:20-cv-86362-MCR-GRJ
  12778      247554   Sean Santiago                           Morgan & Morgan                                      8:20-cv-91558-MCR-GRJ
  12779      248111   Mateo Butler                            Morgan & Morgan           8:20-cv-91627-MCR-GRJ
  12780      248120   Rick Dooley                             Morgan & Morgan           8:20-cv-91634-MCR-GRJ
  12781      248130   David Leathers                          Morgan & Morgan           8:20-cv-91643-MCR-GRJ
  12782      258274   Orlando Garcia                          Morgan & Morgan           9:20-cv-01580-MCR-GRJ
  12783      258279   John Bernardo                           Morgan & Morgan           9:20-cv-01586-MCR-GRJ
  12784      258288   Edwin Miller                            Morgan & Morgan           9:20-cv-01598-MCR-GRJ
  12785      259817   Kaila Bernard                           Morgan & Morgan           9:20-cv-09097-MCR-GRJ
  12786      259825   John Caldwell                           Morgan & Morgan                                      9:20-cv-09111-MCR-GRJ
  12787      259842   Christopher Fell                        Morgan & Morgan                                      9:20-cv-09141-MCR-GRJ
  12788      259883   Ryan Moore                              Morgan & Morgan           9:20-cv-09486-MCR-GRJ
  12789      259898   Jeancarlo Romero                        Morgan & Morgan           9:20-cv-09501-MCR-GRJ
  12790      259908   Arick Tuchawena                         Morgan & Morgan           9:20-cv-09511-MCR-GRJ
  12791      262215   Jason Bracewell                         Morgan & Morgan           9:20-cv-05447-MCR-GRJ
  12792      262266   Jerry Johnson                           Morgan & Morgan           9:20-cv-05546-MCR-GRJ
  12793      262332   Scottie Skipper                         Morgan & Morgan                                      9:20-cv-05713-MCR-GRJ
  12794      267642   Arthur Gonzales                         Morgan & Morgan           9:20-cv-10899-MCR-GRJ
  12795      267674   Kendrick Pace                           Morgan & Morgan                                      9:20-cv-10964-MCR-GRJ
  12796      268080   Levelle Brown                           Morgan & Morgan           9:20-cv-16772-MCR-GRJ
  12797      268586   Catrenna Stone                          Morgan & Morgan           9:20-cv-18261-MCR-GRJ
  12798      268591   Anthony Trias                           Morgan & Morgan           9:20-cv-18266-MCR-GRJ
  12799      268595   Ryan Waldrop                            Morgan & Morgan           9:20-cv-18270-MCR-GRJ
  12800      271380   Edward Lewis                            Morgan & Morgan           9:20-cv-14753-MCR-GRJ
  12801      273670   Michael Slone                           Morgan & Morgan           9:20-cv-14857-MCR-GRJ
  12802      273688   Hunter Groff                            Morgan & Morgan           9:20-cv-14895-MCR-GRJ
  12803      273697   John Martinez                           Morgan & Morgan           9:20-cv-14914-MCR-GRJ
  12804      274628   Alexander Abdelsayed                    Morgan & Morgan                                      7:21-cv-37618-MCR-GRJ
  12805      274634   Brian Beaird                            Morgan & Morgan           7:21-cv-37621-MCR-GRJ
  12806      274637   Joshua Belliveau                        Morgan & Morgan           7:21-cv-37623-MCR-GRJ
  12807      274673   Micah Galusha                           Morgan & Morgan           7:21-cv-37657-MCR-GRJ
  12808      274696   Thomas Johnson                          Morgan & Morgan           7:21-cv-37686-MCR-GRJ
  12809      274713   Thomas Martinez                         Morgan & Morgan           7:21-cv-37713-MCR-GRJ
  12810      274719   Erik Nichols                            Morgan & Morgan           7:21-cv-37723-MCR-GRJ
  12811      274724   Richard Parks                           Morgan & Morgan           7:21-cv-37731-MCR-GRJ
  12812      274735   Davon Robinson                          Morgan & Morgan           7:21-cv-37750-MCR-GRJ
  12813      274736   Michael Rodrick                         Morgan & Morgan                                      7:21-cv-37751-MCR-GRJ
  12814      274738   Shawn Schaffer                          Morgan & Morgan           7:21-cv-37755-MCR-GRJ
  12815      274749   Christopher Truex                       Morgan & Morgan           7:21-cv-37773-MCR-GRJ
  12816      277394   Adelmo Medina                           Morgan & Morgan           7:21-cv-02925-MCR-GRJ
  12817      277395   Brooke Moore                            Morgan & Morgan           7:21-cv-02926-MCR-GRJ
  12818      277407   Adam Velasquez                          Morgan & Morgan           7:21-cv-02932-MCR-GRJ
  12819      277409   Ethan Walker                            Morgan & Morgan           7:21-cv-39724-MCR-GRJ
  12820      280435   Jeremy Adair                            Morgan & Morgan           7:21-cv-02943-MCR-GRJ
  12821      280490   Johnathan Gillmore                      Morgan & Morgan           7:21-cv-02979-MCR-GRJ
  12822      280500   Andy Hutsell                            Morgan & Morgan           7:21-cv-02989-MCR-GRJ
  12823      280502   Jewel Joseph                            Morgan & Morgan           7:21-cv-02991-MCR-GRJ
  12824      280543   Leon Murdoch                            Morgan & Morgan           7:21-cv-03008-MCR-GRJ
  12825      280544   Daniel Musselman                        Morgan & Morgan                                      7:21-cv-03009-MCR-GRJ
  12826      280578   Luciano Ubalde                          Morgan & Morgan           7:21-cv-03041-MCR-GRJ
  12827      280582   Charles Wallace                         Morgan & Morgan           7:21-cv-03045-MCR-GRJ
  12828      285492   Gabriel Boone                           Morgan & Morgan           7:21-cv-07874-MCR-GRJ
  12829      285574   Michael Lowd                            Morgan & Morgan           7:21-cv-07916-MCR-GRJ
  12830      285582   Rafael Morin                            Morgan & Morgan           7:21-cv-07924-MCR-GRJ
  12831      285617   Jonathan Warner                         Morgan & Morgan           7:21-cv-07959-MCR-GRJ
  12832      288394   Giovanni Flores                         Morgan & Morgan           7:21-cv-09973-MCR-GRJ
  12833      288412   Eric Hebaus                             Morgan & Morgan           7:21-cv-09987-MCR-GRJ
  12834      288416   Adam Holder                             Morgan & Morgan           7:21-cv-09990-MCR-GRJ
  12835      288420   Eric Jans                               Morgan & Morgan           7:21-cv-13187-MCR-GRJ
  12836      288433   Ronald Lane                             Morgan & Morgan           7:21-cv-40272-MCR-GRJ
  12837      288443   Carl Maltese                            Morgan & Morgan           7:21-cv-40274-MCR-GRJ
  12838      288500   Brett Stewart                           Morgan & Morgan                                      7:21-cv-13200-MCR-GRJ
  12839      288506   Brandy Torres                           Morgan & Morgan           7:21-cv-10046-MCR-GRJ
  12840      288512   Cody Vaughn                             Morgan & Morgan           7:21-cv-13202-MCR-GRJ
  12841      292492   Kenneth Edwards                         Morgan & Morgan           7:21-cv-19767-MCR-GRJ
  12842      292528   Ryan Konieczny                          Morgan & Morgan           7:21-cv-19799-MCR-GRJ
  12843      292538   Joseph Lolley                           Morgan & Morgan           7:21-cv-19807-MCR-GRJ
  12844      292572   Randy Ruper                             Morgan & Morgan           7:21-cv-19836-MCR-GRJ
  12845      298547   William Chisholm                        Morgan & Morgan           7:21-cv-19247-MCR-GRJ
  12846      298554   John Crain                              Morgan & Morgan           7:21-cv-19257-MCR-GRJ
  12847      298562   Juan Diaz                               Morgan & Morgan                                      7:21-cv-19265-MCR-GRJ
  12848      298563   Cory Dodge                              Morgan & Morgan           7:21-cv-19266-MCR-GRJ




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  12849      298572   David Fiedler                           Morgan & Morgan                                      7:21-cv-19275-MCR-GRJ
  12850      298573   Gregory Fishburn                        Morgan & Morgan           7:21-cv-19276-MCR-GRJ
  12851      298629   Jack Nicholson                          Morgan & Morgan           7:21-cv-19332-MCR-GRJ
  12852      298643   Jonathan Reynoso                        Morgan & Morgan           7:21-cv-19346-MCR-GRJ
  12853      298654   Coby Shook                              Morgan & Morgan           7:21-cv-19357-MCR-GRJ
  12854      298697   Shaquille Windsor                       Morgan & Morgan           7:21-cv-19398-MCR-GRJ
  12855      301194   Desmond Baldwin                         Morgan & Morgan           7:21-cv-24321-MCR-GRJ
  12856      301252   Jared Haas                              Morgan & Morgan           7:21-cv-21947-MCR-GRJ
  12857      301266   Jeff Jackson                            Morgan & Morgan                                      7:21-cv-21958-MCR-GRJ
  12858      301282   Eric Kokernak                           Morgan & Morgan           7:21-cv-21972-MCR-GRJ
  12859      301307   Ian Nelson                              Morgan & Morgan           7:21-cv-21994-MCR-GRJ
  12860      301329   Rodger Rawleigh                         Morgan & Morgan           7:21-cv-41831-MCR-GRJ
  12861      301330   Bradley Riggs                           Morgan & Morgan           7:21-cv-22012-MCR-GRJ
  12862      301352   Robert Stephens                         Morgan & Morgan           7:21-cv-41835-MCR-GRJ
  12863      301356   Windy Vater                             Morgan & Morgan           7:21-cv-22033-MCR-GRJ
  12864      301368   William White                           Morgan & Morgan                                      7:21-cv-22045-MCR-GRJ
  12865      301369   Jennifer Whittaker                      Morgan & Morgan           7:21-cv-22046-MCR-GRJ
  12866      301379   Robert Worship                          Morgan & Morgan           7:21-cv-22053-MCR-GRJ
  12867      301381   John Youpee                             Morgan & Morgan           7:21-cv-22055-MCR-GRJ
  12868      306637   Joseph Henson                           Morgan & Morgan           7:21-cv-25006-MCR-GRJ
  12869      306721   Evan Wrolson                            Morgan & Morgan           7:21-cv-25080-MCR-GRJ
  12870      316831   Jeffrey Addington                       Morgan & Morgan           7:21-cv-34654-MCR-GRJ
  12871      316832   Robert Adkins                           Morgan & Morgan           7:21-cv-33938-MCR-GRJ
  12872      316841   Thomas Ambrose                          Morgan & Morgan           7:21-cv-34659-MCR-GRJ
  12873      316862   William Bast                            Morgan & Morgan                                      7:21-cv-33947-MCR-GRJ
  12874      316863   Michael Batchman                        Morgan & Morgan           7:21-cv-33948-MCR-GRJ
  12875      316869   Michael Blackburn                       Morgan & Morgan           7:21-cv-34675-MCR-GRJ
  12876      316929   Mark Cooper                             Morgan & Morgan           7:21-cv-34706-MCR-GRJ
  12877      316942   Vernon Crow                             Morgan & Morgan           7:21-cv-34010-MCR-GRJ
  12878      316943   Anthony Cruz                            Morgan & Morgan           7:21-cv-34012-MCR-GRJ
  12879      316945   Keith Cummings                          Morgan & Morgan           7:21-cv-34014-MCR-GRJ
  12880      316957   Ronald Deloatch                         Morgan & Morgan           7:21-cv-34027-MCR-GRJ
  12881      316964   Tony Dipraseuth                         Morgan & Morgan           7:21-cv-34040-MCR-GRJ
  12882      316966   Christian Dominguez                     Morgan & Morgan           7:21-cv-34722-MCR-GRJ
  12883      316969   Frank Driver                            Morgan & Morgan           7:21-cv-34724-MCR-GRJ
  12884      316992   David Flint                             Morgan & Morgan                                      7:21-cv-34735-MCR-GRJ
  12885      316995   Andrew Foley                            Morgan & Morgan           7:21-cv-34072-MCR-GRJ
  12886      317000   Elton Foster                            Morgan & Morgan           7:21-cv-34081-MCR-GRJ
  12887      317005   Anthony Garrett                         Morgan & Morgan                                      7:21-cv-34085-MCR-GRJ
  12888      317015   Salome Gonzales                         Morgan & Morgan           7:21-cv-34096-MCR-GRJ
  12889      317028   Aaron Halcomb                           Morgan & Morgan           7:21-cv-34109-MCR-GRJ
  12890      317038   David Hartwell                          Morgan & Morgan           7:21-cv-34115-MCR-GRJ
  12891      317041   Michael Hawkins                         Morgan & Morgan                                      7:21-cv-34122-MCR-GRJ
  12892      317048   Paul Hendrix                            Morgan & Morgan           7:21-cv-34132-MCR-GRJ
  12893      317070   Rodney Hunt                             Morgan & Morgan                                      7:21-cv-34771-MCR-GRJ
  12894      317080   Michael Janiszewski                     Morgan & Morgan           7:21-cv-34173-MCR-GRJ
  12895      317083   Thomas Jenkins                          Morgan & Morgan           7:21-cv-34175-MCR-GRJ
  12896      317086   Steven Johns                            Morgan & Morgan                                      7:21-cv-34777-MCR-GRJ
  12897      317092   Timothy Johnson                         Morgan & Morgan           7:21-cv-34183-MCR-GRJ
  12898      317096   Shamaira Jones                          Morgan & Morgan           7:21-cv-34185-MCR-GRJ
  12899      317097   Kevin Jones                             Morgan & Morgan                                      7:21-cv-34188-MCR-GRJ
  12900      317098   James Jones                             Morgan & Morgan           7:21-cv-34190-MCR-GRJ
  12901      317101   Andrew Kasse                            Morgan & Morgan                                      7:21-cv-34787-MCR-GRJ
  12902      317102   Jacob Kaufman                           Morgan & Morgan           7:21-cv-34788-MCR-GRJ
  12903      317105   Ian Keen                                Morgan & Morgan           7:21-cv-34192-MCR-GRJ
  12904      317107   Donald Kelly                            Morgan & Morgan           7:21-cv-34196-MCR-GRJ
  12905      317109   Joshua Kennedy                          Morgan & Morgan           7:21-cv-34200-MCR-GRJ
  12906      317125   Rodney Lang                             Morgan & Morgan           7:21-cv-34219-MCR-GRJ
  12907      317132   Lee Lemaster                            Morgan & Morgan           7:21-cv-34226-MCR-GRJ
  12908      317135   Justin Lewis                            Morgan & Morgan           7:21-cv-34230-MCR-GRJ
  12909      317136   Christopher Linton                      Morgan & Morgan           7:21-cv-34803-MCR-GRJ
  12910      317137   Demetric Littles                        Morgan & Morgan           7:21-cv-34232-MCR-GRJ
  12911      317151   Dante Malcom                            Morgan & Morgan           7:21-cv-34809-MCR-GRJ
  12912      317168   Carlos Mccleave                         Morgan & Morgan           7:21-cv-34265-MCR-GRJ
  12913      317169   Minda Mccranie                          Morgan & Morgan           7:21-cv-34819-MCR-GRJ
  12914      317171   Johnny Mcdaniel                         Morgan & Morgan           7:21-cv-34269-MCR-GRJ
  12915      317181   Derrick Merrell                         Morgan & Morgan           7:21-cv-34282-MCR-GRJ
  12916      317182   Bruce Middleton                         Morgan & Morgan           7:21-cv-34284-MCR-GRJ
  12917      317225   William Pettis                          Morgan & Morgan           7:21-cv-34334-MCR-GRJ
  12918      317227   Alfonso Pickens                         Morgan & Morgan           7:21-cv-34336-MCR-GRJ
  12919      317229   Beri Platz                              Morgan & Morgan           7:21-cv-34340-MCR-GRJ
  12920      317230   Robert Ploss                            Morgan & Morgan           7:21-cv-34343-MCR-GRJ
  12921      317231   Edward Powell                           Morgan & Morgan           7:21-cv-34345-MCR-GRJ




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  12922      317270   Wesley Sands                            Morgan & Morgan           7:21-cv-34379-MCR-GRJ
  12923      317278   Michael Schweikarth                     Morgan & Morgan           7:21-cv-34383-MCR-GRJ
  12924      317282   Christopher Shepard                     Morgan & Morgan           7:21-cv-34872-MCR-GRJ
  12925      317286   Anthony Shine                           Morgan & Morgan                                      7:21-cv-34392-MCR-GRJ
  12926      317296   Benjamin Slankard                       Morgan & Morgan           7:21-cv-34403-MCR-GRJ
  12927      317308   Richard Stanley                         Morgan & Morgan           7:21-cv-34416-MCR-GRJ
  12928      317314   Shalamar Stevens                        Morgan & Morgan           7:21-cv-34420-MCR-GRJ
  12929      317315   Jack Storie                             Morgan & Morgan           7:21-cv-34890-MCR-GRJ
  12930      317319   Daniel Sutton                           Morgan & Morgan           7:21-cv-34426-MCR-GRJ
  12931      317323   Brandon Tate                            Morgan & Morgan           7:21-cv-34893-MCR-GRJ
  12932      317335   William Travis                          Morgan & Morgan                                      7:21-cv-34450-MCR-GRJ
  12933      317344   Trevor Vanassche                        Morgan & Morgan                                      7:21-cv-34456-MCR-GRJ
  12934      317348   Zachariah Ventra                        Morgan & Morgan           7:21-cv-34902-MCR-GRJ
  12935      317350   Thomas Verone                           Morgan & Morgan           7:21-cv-34464-MCR-GRJ
  12936      317354   Edward Vowell                           Morgan & Morgan           7:21-cv-34469-MCR-GRJ
  12937      317361   Archie Warren                           Morgan & Morgan           7:21-cv-34479-MCR-GRJ
  12938      317371   Gilbert Wideman                         Morgan & Morgan           7:21-cv-34490-MCR-GRJ
  12939      317381   Correy Winston                          Morgan & Morgan           7:21-cv-34500-MCR-GRJ
  12940      317383   Nicholas Woodard                        Morgan & Morgan           7:21-cv-34503-MCR-GRJ
  12941      320857   Maurice Campbell                        Morgan & Morgan           7:21-cv-33578-MCR-GRJ
  12942      320858   Vernon Long                             Morgan & Morgan           7:21-cv-33579-MCR-GRJ
  12943      320859   Michael Elder                           Morgan & Morgan           7:21-cv-33580-MCR-GRJ
  12944      324753   Christopher James                       Morgan & Morgan           7:21-cv-39603-MCR-GRJ
  12945      326655   Nicholas Abbott                         Morgan & Morgan           7:21-cv-51885-MCR-GRJ
  12946      326657   Ned Alexander                           Morgan & Morgan           7:21-cv-51886-MCR-GRJ
  12947      326659   Gregory Allen                           Morgan & Morgan           7:21-cv-51888-MCR-GRJ
  12948      326660   William Allen                           Morgan & Morgan           7:21-cv-51889-MCR-GRJ
  12949      326662   Michael Amundson                        Morgan & Morgan           7:21-cv-51891-MCR-GRJ
  12950      326664   Nelson Andino                           Morgan & Morgan           7:21-cv-51892-MCR-GRJ
  12951      326667   Dylan Armbrustmacher                    Morgan & Morgan           7:21-cv-51895-MCR-GRJ
  12952      326668   Jorlyn Autie                            Morgan & Morgan           7:21-cv-51896-MCR-GRJ
  12953      326671   Christopher Bajalai                     Morgan & Morgan           7:21-cv-51899-MCR-GRJ
  12954      326676   Nikolus Barrett                         Morgan & Morgan           7:21-cv-51904-MCR-GRJ
  12955      326678   Jeffrey Bartrom                         Morgan & Morgan           7:21-cv-51906-MCR-GRJ
  12956      326680   William Beardsley                       Morgan & Morgan           7:21-cv-51908-MCR-GRJ
  12957      326681   Jeremiah Beauregard                     Morgan & Morgan           7:21-cv-51909-MCR-GRJ
  12958      326682   Frederick Beck                          Morgan & Morgan           7:21-cv-51910-MCR-GRJ
  12959      326683   Giles Bell                              Morgan & Morgan           7:21-cv-51911-MCR-GRJ
  12960      326684   Juan Benitez                            Morgan & Morgan           7:21-cv-51912-MCR-GRJ
  12961      326686   Jacob Berman                            Morgan & Morgan           7:21-cv-51914-MCR-GRJ
  12962      326688   Jeremy Betterton                        Morgan & Morgan           7:21-cv-51916-MCR-GRJ
  12963      326689   Dustin Birmingham                       Morgan & Morgan           7:21-cv-51917-MCR-GRJ
  12964      326691   Kyle Blais                              Morgan & Morgan           7:21-cv-51919-MCR-GRJ
  12965      326693   Carl Blom                               Morgan & Morgan           7:21-cv-51921-MCR-GRJ
  12966      326695   Terrace Bolton                          Morgan & Morgan           7:21-cv-51923-MCR-GRJ
  12967      326698   Christopher Booth                       Morgan & Morgan           7:21-cv-51926-MCR-GRJ
  12968      326699   Richard Bowen                           Morgan & Morgan           7:21-cv-51927-MCR-GRJ
  12969      326701   Joshua Boyett                           Morgan & Morgan                                      7:21-cv-51929-MCR-GRJ
  12970      326703   Timothy Bragg                           Morgan & Morgan           7:21-cv-51931-MCR-GRJ
  12971      326705   Chad Brewer                             Morgan & Morgan           7:21-cv-51933-MCR-GRJ
  12972      326706   Christopher Bridges                     Morgan & Morgan           7:21-cv-51934-MCR-GRJ
  12973      326707   Lance Brogan                            Morgan & Morgan           7:21-cv-51935-MCR-GRJ
  12974      326708   Andrew Brooks                           Morgan & Morgan           7:21-cv-51936-MCR-GRJ
  12975      326709   Larry Brooks                            Morgan & Morgan           7:21-cv-51937-MCR-GRJ
  12976      326710   Michael Brooks                          Morgan & Morgan           7:21-cv-51938-MCR-GRJ
  12977      326712   Howard Brown                            Morgan & Morgan           7:21-cv-51940-MCR-GRJ
  12978      326714   Sean Brown                              Morgan & Morgan           7:21-cv-51942-MCR-GRJ
  12979      326715   Timothy Brown                           Morgan & Morgan           7:21-cv-51943-MCR-GRJ
  12980      326716   Paul Bryan                              Morgan & Morgan           7:21-cv-51944-MCR-GRJ
  12981      326718   Jason Bulla                             Morgan & Morgan           7:21-cv-51946-MCR-GRJ
  12982      326719   Jacob Bunch                             Morgan & Morgan           7:21-cv-51947-MCR-GRJ
  12983      326722   Joshua Bustillos                        Morgan & Morgan                                      7:21-cv-51950-MCR-GRJ
  12984      326723   Lawrence Callis                         Morgan & Morgan           7:21-cv-51951-MCR-GRJ
  12985      326725   Noah Cantalice                          Morgan & Morgan           7:21-cv-51953-MCR-GRJ
  12986      326726   Michael Canty                           Morgan & Morgan           7:21-cv-51954-MCR-GRJ
  12987      326730   Kyle Cason                              Morgan & Morgan           7:21-cv-51958-MCR-GRJ
  12988      326732   Keith Caster                            Morgan & Morgan           7:21-cv-51960-MCR-GRJ
  12989      326736   Bradley Chavous                         Morgan & Morgan           7:21-cv-51964-MCR-GRJ
  12990      326737   Kristopher Cheramie                     Morgan & Morgan           7:21-cv-51965-MCR-GRJ
  12991      326741   George Clark                            Morgan & Morgan           7:21-cv-51969-MCR-GRJ
  12992      326742   Kevin Clark                             Morgan & Morgan           7:21-cv-51970-MCR-GRJ
  12993      326747   Aaron Colvin                            Morgan & Morgan           7:21-cv-51975-MCR-GRJ
  12994      326749   Steve Cornell                           Morgan & Morgan           7:21-cv-51977-MCR-GRJ




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  12995      326750   Chasity Cosby                           Morgan & Morgan           7:21-cv-51978-MCR-GRJ
  12996      326751   Morgyn Coulter                          Morgan & Morgan           7:21-cv-51979-MCR-GRJ
  12997      326752   Jacob Craig                             Morgan & Morgan           7:21-cv-51980-MCR-GRJ
  12998      326754   Jonathan Cramer                         Morgan & Morgan           7:21-cv-51982-MCR-GRJ
  12999      326755   Christopher Crawford                    Morgan & Morgan           7:21-cv-51983-MCR-GRJ
  13000      326756   Kyle Crawford                           Morgan & Morgan           7:21-cv-51984-MCR-GRJ
  13001      326757   Michael Cruz                            Morgan & Morgan           7:21-cv-51985-MCR-GRJ
  13002      326762   Sherri Daniel                           Morgan & Morgan           7:21-cv-51990-MCR-GRJ
  13003      326764   Clinton Delap                           Morgan & Morgan           7:21-cv-51992-MCR-GRJ
  13004      326766   Daniel Diaz                             Morgan & Morgan           7:21-cv-51994-MCR-GRJ
  13005      326767   Nicolas Diaz                            Morgan & Morgan           7:21-cv-51995-MCR-GRJ
  13006      326768   Ferhat Dislen                           Morgan & Morgan           7:21-cv-51996-MCR-GRJ
  13007      326769   David Dix                               Morgan & Morgan           7:21-cv-51997-MCR-GRJ
  13008      326771   Antonio Dodson                          Morgan & Morgan                                      7:21-cv-51999-MCR-GRJ
  13009      326772   Nikolas Doll                            Morgan & Morgan           7:21-cv-52000-MCR-GRJ
  13010      326774   John Donaldson                          Morgan & Morgan           7:21-cv-52002-MCR-GRJ
  13011      326775   Matthew Doppstadt                       Morgan & Morgan           7:21-cv-52003-MCR-GRJ
  13012      326776   Mark Douglas                            Morgan & Morgan           7:21-cv-52004-MCR-GRJ
  13013      326782   Richard Dunn                            Morgan & Morgan           7:21-cv-52010-MCR-GRJ
  13014      326783   Michael Dunson                          Morgan & Morgan           7:21-cv-52011-MCR-GRJ
  13015      326785   Jackie Dyke                             Morgan & Morgan           7:21-cv-52013-MCR-GRJ
  13016      326787   Darius Edmonds                          Morgan & Morgan           7:21-cv-52015-MCR-GRJ
  13017      326789   Dylan Ellis                             Morgan & Morgan           7:21-cv-52017-MCR-GRJ
  13018      326790   Ryan Emery                              Morgan & Morgan           7:21-cv-52018-MCR-GRJ
  13019      326791   Joseph Engel                            Morgan & Morgan           7:21-cv-52019-MCR-GRJ
  13020      326792   Vernon Etheredge                        Morgan & Morgan           7:21-cv-52020-MCR-GRJ
  13021      326795   Samantha Facundo                        Morgan & Morgan           7:21-cv-52023-MCR-GRJ
  13022      326796   Robert Fairchild                        Morgan & Morgan           7:21-cv-52024-MCR-GRJ
  13023      326797   Jordan Fairfield                        Morgan & Morgan           7:21-cv-52025-MCR-GRJ
  13024      326798   Joshua Farrington                       Morgan & Morgan           7:21-cv-52026-MCR-GRJ
  13025      326801   Phillip Fava                            Morgan & Morgan           7:21-cv-52029-MCR-GRJ
  13026      326807   Robert Finitzer                         Morgan & Morgan           7:21-cv-52035-MCR-GRJ
  13027      326808   Andrew Fink                             Morgan & Morgan           7:21-cv-52036-MCR-GRJ
  13028      326809   Caleb Ford                              Morgan & Morgan           7:21-cv-52037-MCR-GRJ
  13029      326810   Michael Fowler                          Morgan & Morgan           7:21-cv-52038-MCR-GRJ
  13030      326812   Steven Frye                             Morgan & Morgan           7:21-cv-52040-MCR-GRJ
  13031      326816   Rodolfo Galvan                          Morgan & Morgan           7:21-cv-52044-MCR-GRJ
  13032      326817   Anthony Ganaway                         Morgan & Morgan           7:21-cv-52045-MCR-GRJ
  13033      326818   Raymond Garcia                          Morgan & Morgan           7:21-cv-52046-MCR-GRJ
  13034      326820   Charles Gates                           Morgan & Morgan           7:21-cv-52048-MCR-GRJ
  13035      326821   Howard Gates                            Morgan & Morgan           7:21-cv-52049-MCR-GRJ
  13036      326827   William Gonzalez De Leon                Morgan & Morgan           7:21-cv-52055-MCR-GRJ
  13037      326828   Joshua Goss                             Morgan & Morgan           7:21-cv-52056-MCR-GRJ
  13038      326829   Garrett Gregg                           Morgan & Morgan           7:21-cv-52057-MCR-GRJ
  13039      326830   Nicholas Grenier                        Morgan & Morgan           7:21-cv-52058-MCR-GRJ
  13040      326831   Peter Griffin                           Morgan & Morgan           7:21-cv-52059-MCR-GRJ
  13041      326832   Wendall Griffin                         Morgan & Morgan           7:21-cv-52060-MCR-GRJ
  13042      326833   Kyle Griffith                           Morgan & Morgan                                      7:21-cv-52061-MCR-GRJ
  13043      326835   James Guess                             Morgan & Morgan           7:21-cv-52063-MCR-GRJ
  13044      326837   Humberto Gutierrez                      Morgan & Morgan           7:21-cv-52066-MCR-GRJ
  13045      326838   Romeo Gutierrez                         Morgan & Morgan           7:21-cv-52068-MCR-GRJ
  13046      326839   Brent Haaland                           Morgan & Morgan           7:21-cv-52070-MCR-GRJ
  13047      326842   Nicholas Hale                           Morgan & Morgan           7:21-cv-52076-MCR-GRJ
  13048      326845   Matthew Harmon                          Morgan & Morgan           7:21-cv-52082-MCR-GRJ
  13049      326847   Carla Hart                              Morgan & Morgan           7:21-cv-52086-MCR-GRJ
  13050      326849   Hosea Harvey-Green                      Morgan & Morgan           7:21-cv-52091-MCR-GRJ
  13051      326850   Edward Harwell                          Morgan & Morgan           7:21-cv-52093-MCR-GRJ
  13052      326852   John Haswell                            Morgan & Morgan           7:21-cv-52097-MCR-GRJ
  13053      326853   Matthew Hawkins                         Morgan & Morgan           7:21-cv-52099-MCR-GRJ
  13054      326854   Jereme Hayes                            Morgan & Morgan           7:21-cv-52101-MCR-GRJ
  13055      326855   Jacob Haywood                           Morgan & Morgan           7:21-cv-52103-MCR-GRJ
  13056      326856   Jordan Hedgepeth                        Morgan & Morgan           7:21-cv-52105-MCR-GRJ
  13057      326857   Graham Heilig                           Morgan & Morgan           7:21-cv-52108-MCR-GRJ
  13058      326860   Joshua Hetherington                     Morgan & Morgan           7:21-cv-52114-MCR-GRJ
  13059      326861   Nicholas Hicks                          Morgan & Morgan           7:21-cv-52116-MCR-GRJ
  13060      326863   Alvin Hood                              Morgan & Morgan           7:21-cv-52120-MCR-GRJ
  13061      326865   Donnie Howard                           Morgan & Morgan           7:21-cv-52124-MCR-GRJ
  13062      326866   Derek Huckins                           Morgan & Morgan           7:21-cv-52126-MCR-GRJ
  13063      326868   Dasmarina Huggins                       Morgan & Morgan           7:21-cv-52130-MCR-GRJ
  13064      326871   Salvatore Infante                       Morgan & Morgan           7:21-cv-52136-MCR-GRJ
  13065      326873   Sammuel Jackson                         Morgan & Morgan           7:21-cv-52140-MCR-GRJ
  13066      326875   Christopher Jensen                      Morgan & Morgan           7:21-cv-52144-MCR-GRJ
  13067      326876   Jeremy Johns                            Morgan & Morgan           7:21-cv-52146-MCR-GRJ




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  13068      326877   Tanner Johnson                          Morgan & Morgan           7:21-cv-52148-MCR-GRJ
  13069      326878   Terry Johnson                           Morgan & Morgan           7:21-cv-52151-MCR-GRJ
  13070      326880   Ld Joiner                               Morgan & Morgan           7:21-cv-52155-MCR-GRJ
  13071      326883   Tyler Jordan                            Morgan & Morgan           7:21-cv-52161-MCR-GRJ
  13072      326890   Nicholas Killgore                       Morgan & Morgan           7:21-cv-52175-MCR-GRJ
  13073      326891   Fredrick King                           Morgan & Morgan           7:21-cv-52177-MCR-GRJ
  13074      326893   Robert Kirk                             Morgan & Morgan           7:21-cv-52181-MCR-GRJ
  13075      326894   Doron Kleppen                           Morgan & Morgan           7:21-cv-52183-MCR-GRJ
  13076      326896   Gregory Knapp                           Morgan & Morgan           7:21-cv-52187-MCR-GRJ
  13077      326897   Josh Krenowicz                          Morgan & Morgan           7:21-cv-52189-MCR-GRJ
  13078      326899   Michael Kutz                            Morgan & Morgan           7:21-cv-52194-MCR-GRJ
  13079      326900   Gary Kuykendall                         Morgan & Morgan           7:21-cv-52196-MCR-GRJ
  13080      326901   Christopher Kylus                       Morgan & Morgan           7:21-cv-52198-MCR-GRJ
  13081      326902   Edward Lafay                            Morgan & Morgan           7:21-cv-52200-MCR-GRJ
  13082      326903   Jacob Lambert                           Morgan & Morgan           7:21-cv-52202-MCR-GRJ
  13083      326904   Brian Lamboy                            Morgan & Morgan           7:21-cv-52204-MCR-GRJ
  13084      326905   Seth Lamson                             Morgan & Morgan           7:21-cv-52206-MCR-GRJ
  13085      326906   Matthew Landis                          Morgan & Morgan           7:21-cv-52208-MCR-GRJ
  13086      326908   Taylor Laricks                          Morgan & Morgan           7:21-cv-52212-MCR-GRJ
  13087      326910   Craig Layton                            Morgan & Morgan           7:21-cv-52216-MCR-GRJ
  13088      326911   Jacob Leal                              Morgan & Morgan           7:21-cv-52218-MCR-GRJ
  13089      326915   Rigoberto Licona                        Morgan & Morgan           7:21-cv-52226-MCR-GRJ
  13090      326916   Ernest Liggins                          Morgan & Morgan           7:21-cv-52228-MCR-GRJ
  13091      326918   William Lively                          Morgan & Morgan           7:21-cv-52232-MCR-GRJ
  13092      326919   Larry Livingston                        Morgan & Morgan           7:21-cv-52234-MCR-GRJ
  13093      326920   Lex Lockett                             Morgan & Morgan           7:21-cv-52236-MCR-GRJ
  13094      326921   Darrell Longino                         Morgan & Morgan           7:21-cv-52238-MCR-GRJ
  13095      326922   Adam Lopez                              Morgan & Morgan           7:21-cv-52240-MCR-GRJ
  13096      326924   Jhon Lopez                              Morgan & Morgan           7:21-cv-52244-MCR-GRJ
  13097      326926   Robert Lord                             Morgan & Morgan           7:21-cv-52248-MCR-GRJ
  13098      326927   Michael Loughlin                        Morgan & Morgan           7:21-cv-52250-MCR-GRJ
  13099      326930   Arturo Lucero                           Morgan & Morgan           7:21-cv-52254-MCR-GRJ
  13100      326931   Jake Luke                               Morgan & Morgan           7:21-cv-52256-MCR-GRJ
  13101      326933   Kevin Lunsford                          Morgan & Morgan           7:21-cv-52260-MCR-GRJ
  13102      326937   Juan Maldonado                          Morgan & Morgan           7:21-cv-52268-MCR-GRJ
  13103      326939   Corynne Malia                           Morgan & Morgan           7:21-cv-52272-MCR-GRJ
  13104      326940   Toshua Mallery                          Morgan & Morgan           7:21-cv-52274-MCR-GRJ
  13105      326944   Ricardo Martinez                        Morgan & Morgan           7:21-cv-52282-MCR-GRJ
  13106      326945   Royce May                               Morgan & Morgan           7:21-cv-52284-MCR-GRJ
  13107      326946   James Mays                              Morgan & Morgan           7:21-cv-52286-MCR-GRJ
  13108      326949   Larry Mcelveen                          Morgan & Morgan           7:21-cv-52292-MCR-GRJ
  13109      326950   David Mcginty                           Morgan & Morgan           7:21-cv-52294-MCR-GRJ
  13110      326952   Corey Mcintee                           Morgan & Morgan           7:21-cv-52298-MCR-GRJ
  13111      326957   Charles Mendez                          Morgan & Morgan           7:21-cv-52308-MCR-GRJ
  13112      326961   Faustino Mercado                        Morgan & Morgan           7:21-cv-52316-MCR-GRJ
  13113      326962   Jason Mercer                            Morgan & Morgan           7:21-cv-52318-MCR-GRJ
  13114      326963   David Michaud                           Morgan & Morgan           7:21-cv-52320-MCR-GRJ
  13115      326964   Benjamin Micklin                        Morgan & Morgan           7:21-cv-52322-MCR-GRJ
  13116      326969   Nathan Miller                           Morgan & Morgan           7:21-cv-52332-MCR-GRJ
  13117      326970   Stuart Miller                           Morgan & Morgan           7:21-cv-52334-MCR-GRJ
  13118      326972   David Mills                             Morgan & Morgan           7:21-cv-52338-MCR-GRJ
  13119      326974   Curt Misko                              Morgan & Morgan           7:21-cv-52342-MCR-GRJ
  13120      326980   Nathaniel Moore                         Morgan & Morgan           7:21-cv-52352-MCR-GRJ
  13121      326983   Brennan Moriarty                        Morgan & Morgan           7:21-cv-52359-MCR-GRJ
  13122      326985   Iris Moses Mckinley                     Morgan & Morgan           7:21-cv-52363-MCR-GRJ
  13123      326987   Edward Mullis                           Morgan & Morgan           7:21-cv-52367-MCR-GRJ
  13124      326988   Allison Murphy                          Morgan & Morgan           7:21-cv-52369-MCR-GRJ
  13125      326990   William Myers                           Morgan & Morgan           7:21-cv-52373-MCR-GRJ
  13126      326991   Dale Myrick                             Morgan & Morgan           7:21-cv-52375-MCR-GRJ
  13127      326992   Derek Nistler                           Morgan & Morgan           7:21-cv-52377-MCR-GRJ
  13128      326993   Brendan O'Grady                         Morgan & Morgan           7:21-cv-52379-MCR-GRJ
  13129      326994   Luis Ocampo                             Morgan & Morgan           7:21-cv-52381-MCR-GRJ
  13130      326997   Demarcus Oliver                         Morgan & Morgan                                      7:21-cv-52388-MCR-GRJ
  13131      327000   Charles Osgood                          Morgan & Morgan           7:21-cv-52394-MCR-GRJ
  13132      327002   Juan Ozuna                              Morgan & Morgan           7:21-cv-52398-MCR-GRJ
  13133      327005   Daniel Paganbracero                     Morgan & Morgan           7:21-cv-52405-MCR-GRJ
  13134      327008   Deandre Parker                          Morgan & Morgan           7:21-cv-52411-MCR-GRJ
  13135      327011   Kristofer Peacock                       Morgan & Morgan           7:21-cv-52417-MCR-GRJ
  13136      327012   Robert Pelletier                        Morgan & Morgan           7:21-cv-52419-MCR-GRJ
  13137      327014   Richard Pereyda                         Morgan & Morgan           7:21-cv-52423-MCR-GRJ
  13138      327015   Felix Perez                             Morgan & Morgan           7:21-cv-52425-MCR-GRJ
  13139      327019   Clifford Petro                          Morgan & Morgan           7:21-cv-52434-MCR-GRJ
  13140      327021   Geovani Pitters                         Morgan & Morgan           7:21-cv-52438-MCR-GRJ




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  13141      327023   Victor Placido                          Morgan & Morgan           7:21-cv-52442-MCR-GRJ
  13142      327025   Linda Plummer                           Morgan & Morgan           7:21-cv-52444-MCR-GRJ
  13143      327026   Susan Poll                              Morgan & Morgan           7:21-cv-52446-MCR-GRJ
  13144      327029   Arthur Prewitt                          Morgan & Morgan           7:21-cv-52452-MCR-GRJ
  13145      327030   Anthony Prindle                         Morgan & Morgan           7:21-cv-52454-MCR-GRJ
  13146      327031   David Prouty                            Morgan & Morgan           7:21-cv-52456-MCR-GRJ
  13147      327037   Ryan Ranspach                           Morgan & Morgan           7:21-cv-52467-MCR-GRJ
  13148      327038   Graciela Rassler                        Morgan & Morgan           7:21-cv-52469-MCR-GRJ
  13149      327039   Rhianna Ray                             Morgan & Morgan           7:21-cv-52471-MCR-GRJ
  13150      327040   Stephen Reasoner                        Morgan & Morgan           7:21-cv-52473-MCR-GRJ
  13151      327041   Derek Redding                           Morgan & Morgan           7:21-cv-52475-MCR-GRJ
  13152      327046   Donald Rhyne                            Morgan & Morgan           7:21-cv-52486-MCR-GRJ
  13153      327047   Tony Rice                               Morgan & Morgan           7:21-cv-52488-MCR-GRJ
  13154      327049   Joseph Riley                            Morgan & Morgan           7:21-cv-52492-MCR-GRJ
  13155      327050   Derek Rivas                             Morgan & Morgan           7:21-cv-52494-MCR-GRJ
  13156      327052   Matthew Roberts                         Morgan & Morgan           7:21-cv-52512-MCR-GRJ
  13157      327054   Kirk Robinson                           Morgan & Morgan           7:21-cv-52516-MCR-GRJ
  13158      327055   Zilkia Rodriguez                        Morgan & Morgan           7:21-cv-52518-MCR-GRJ
  13159      327061   Tevin Rose                              Morgan & Morgan           7:21-cv-52531-MCR-GRJ
  13160      327065   Jeffrey Sachleben                       Morgan & Morgan           7:21-cv-52540-MCR-GRJ
  13161      327070   Christopher Santos                      Morgan & Morgan           7:21-cv-52551-MCR-GRJ
  13162      327073   Jonathan Schlichte                      Morgan & Morgan           7:21-cv-52558-MCR-GRJ
  13163      327078   Andrew Shifrin                          Morgan & Morgan           7:21-cv-52569-MCR-GRJ
  13164      327079   Michael Shoulders                       Morgan & Morgan           7:21-cv-52571-MCR-GRJ
  13165      327080   Steven Sierra                           Morgan & Morgan           7:21-cv-52574-MCR-GRJ
  13166      327081   Kalub Silva                             Morgan & Morgan           7:21-cv-52576-MCR-GRJ
  13167      327084   Jessica Smith                           Morgan & Morgan           7:21-cv-52582-MCR-GRJ
  13168      327086   Larson Smith                            Morgan & Morgan           7:21-cv-52587-MCR-GRJ
  13169      327088   Thomas Smith                            Morgan & Morgan           7:21-cv-52591-MCR-GRJ
  13170      327090   Lenwood Spells                          Morgan & Morgan           7:21-cv-52595-MCR-GRJ
  13171      327096   Adam Stepan                             Morgan & Morgan           7:21-cv-52607-MCR-GRJ
  13172      327098   Deryk Steward                           Morgan & Morgan           7:21-cv-52612-MCR-GRJ
  13173      327099   Richard Stinson                         Morgan & Morgan           7:21-cv-52614-MCR-GRJ
  13174      327103   Justin Tate                             Morgan & Morgan           7:21-cv-52626-MCR-GRJ
  13175      327105   Mitcheal Taylor                         Morgan & Morgan           7:21-cv-52628-MCR-GRJ
  13176      327106   John Tetreault                          Morgan & Morgan           7:21-cv-52629-MCR-GRJ
  13177      327107   Kenneth Tewksbury                       Morgan & Morgan           7:21-cv-52630-MCR-GRJ
  13178      327109   Tiffany Todd                            Morgan & Morgan           7:21-cv-52632-MCR-GRJ
  13179      327110   Shane Tracy                             Morgan & Morgan           7:21-cv-52633-MCR-GRJ
  13180      327114   Lance Tucker                            Morgan & Morgan           7:21-cv-52637-MCR-GRJ
  13181      327115   William Tumey                           Morgan & Morgan           7:21-cv-52638-MCR-GRJ
  13182      327117   Michael Turoski                         Morgan & Morgan           7:21-cv-52639-MCR-GRJ
  13183      327123   Daniel Vanderheyden                     Morgan & Morgan           7:21-cv-52645-MCR-GRJ
  13184      327125   Francisco Vazquez                       Morgan & Morgan           7:21-cv-52647-MCR-GRJ
  13185      327126   Ruben Vazquez                           Morgan & Morgan           7:21-cv-52648-MCR-GRJ
  13186      327127   Edwin Velazquez Aponte                  Morgan & Morgan           7:21-cv-52649-MCR-GRJ
  13187      327128   Alexander Venegas                       Morgan & Morgan           7:21-cv-52650-MCR-GRJ
  13188      327129   Eliezer Viera                           Morgan & Morgan           7:21-cv-52651-MCR-GRJ
  13189      327130   Christian Viljoen                       Morgan & Morgan           7:21-cv-52652-MCR-GRJ
  13190      327132   Jason Viola                             Morgan & Morgan           7:21-cv-52654-MCR-GRJ
  13191      327134   Randy Waits                             Morgan & Morgan           7:21-cv-52656-MCR-GRJ
  13192      327135   Joshua Walker                           Morgan & Morgan           7:21-cv-52657-MCR-GRJ
  13193      327136   Josh Ward                               Morgan & Morgan           7:21-cv-52658-MCR-GRJ
  13194      327138   Brian Watson                            Morgan & Morgan           7:21-cv-52660-MCR-GRJ
  13195      327139   Jason Weber                             Morgan & Morgan           7:21-cv-52661-MCR-GRJ
  13196      327141   Kyle Weers                              Morgan & Morgan           7:21-cv-52663-MCR-GRJ
  13197      327142   Andrew Weisinger                        Morgan & Morgan           7:21-cv-52664-MCR-GRJ
  13198      327143   Kenneth Welden                          Morgan & Morgan           7:21-cv-52665-MCR-GRJ
  13199      327144   William Welsh                           Morgan & Morgan           7:21-cv-52666-MCR-GRJ
  13200      327146   Matthew Wheeler                         Morgan & Morgan                                      7:21-cv-52668-MCR-GRJ
  13201      327147   William Whigham                         Morgan & Morgan           7:21-cv-52669-MCR-GRJ
  13202      327148   Jesse Whitford                          Morgan & Morgan           7:21-cv-52670-MCR-GRJ
  13203      327150   John Williams                           Morgan & Morgan           7:21-cv-52672-MCR-GRJ
  13204      327151   Tyrone Williams                         Morgan & Morgan           7:21-cv-52673-MCR-GRJ
  13205      327158   Ryan Young                              Morgan & Morgan           7:21-cv-52679-MCR-GRJ
  13206      327159   Zachary Young                           Morgan & Morgan           7:21-cv-52680-MCR-GRJ
  13207      327160   Paul Zenone                             Morgan & Morgan           7:21-cv-52681-MCR-GRJ
  13208      329119   James Cameron                           Morgan & Morgan           7:21-cv-46797-MCR-GRJ
  13209      329130   Douglas Barber                          Morgan & Morgan           7:21-cv-46808-MCR-GRJ
  13210      329150   Jason Ajlan                             Morgan & Morgan           7:21-cv-46827-MCR-GRJ
  13211      329160   David Tucker                            Morgan & Morgan           7:21-cv-46837-MCR-GRJ
  13212      329165   Charlie Davis                           Morgan & Morgan           7:21-cv-46842-MCR-GRJ
  13213      333223   Bryan Mcpherson                         Morgan & Morgan           7:21-cv-51548-MCR-GRJ




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  13214      333243   Zachary Acy                             Morgan & Morgan           7:21-cv-51589-MCR-GRJ
  13215      333267   Christopher Schoonover                  Morgan & Morgan                                      7:21-cv-51616-MCR-GRJ
  13216      333275   Shawn Budnik                            Morgan & Morgan           7:21-cv-51624-MCR-GRJ
  13217      333287   Michael Strehle                         Morgan & Morgan                                      7:21-cv-51636-MCR-GRJ
  13218      344476   Christopher Adkins                      Morgan & Morgan           7:21-cv-63506-MCR-GRJ
  13219      344478   Pedro Alemán                            Morgan & Morgan           7:21-cv-63734-MCR-GRJ
  13220      344481   Ethan Amon                              Morgan & Morgan           7:21-cv-63510-MCR-GRJ
  13221      344482   Charles Anderson                        Morgan & Morgan           7:21-cv-63511-MCR-GRJ
  13222      344483   Kenneth Anderson                        Morgan & Morgan                                      7:21-cv-63512-MCR-GRJ
  13223      344485   Stephen Armstrong                       Morgan & Morgan           7:21-cv-63514-MCR-GRJ
  13224      344488   Ryan Atkinson                           Morgan & Morgan           7:21-cv-63517-MCR-GRJ
  13225      344489   Janelle Avila                           Morgan & Morgan           7:21-cv-63518-MCR-GRJ
  13226      344495   Jason Barris                            Morgan & Morgan           7:21-cv-63524-MCR-GRJ
  13227      344497   Alaina Beaulaurier                      Morgan & Morgan           7:21-cv-63526-MCR-GRJ
  13228      344498   Archie Beeler                           Morgan & Morgan           7:21-cv-63527-MCR-GRJ
  13229      344499   Cody Beldin                             Morgan & Morgan           7:21-cv-63528-MCR-GRJ
  13230      344501   Cody Bell                               Morgan & Morgan           7:21-cv-63530-MCR-GRJ
  13231      344504   Paul Aymon Biyok                        Morgan & Morgan           7:21-cv-63533-MCR-GRJ
  13232      344514   Darrell Brassell                        Morgan & Morgan           7:21-cv-63543-MCR-GRJ
  13233      344516   Travis Brewer                           Morgan & Morgan           7:21-cv-63545-MCR-GRJ
  13234      344518   Eric Brown                              Morgan & Morgan           7:21-cv-63547-MCR-GRJ
  13235      344520   Christien Brown-Barkley                 Morgan & Morgan           7:21-cv-63551-MCR-GRJ
  13236      344524   Alfred Camacho                          Morgan & Morgan           7:21-cv-63559-MCR-GRJ
  13237      344525   Juan Campillo                           Morgan & Morgan           7:21-cv-63561-MCR-GRJ
  13238      344527   Robert Caroselli                        Morgan & Morgan           7:21-cv-63565-MCR-GRJ
  13239      344528   Andrew Carson                           Morgan & Morgan           7:21-cv-63567-MCR-GRJ
  13240      344538   Jon Chandler                            Morgan & Morgan           7:21-cv-63587-MCR-GRJ
  13241      344539   Donald Chellette                        Morgan & Morgan           7:21-cv-63589-MCR-GRJ
  13242      344540   Christopher Chioke                      Morgan & Morgan           7:21-cv-63591-MCR-GRJ
  13243      344541   Benjamin Chisolm                        Morgan & Morgan           7:21-cv-63593-MCR-GRJ
  13244      344545   Jude Cooke                              Morgan & Morgan           7:21-cv-63601-MCR-GRJ
  13245      344552   Josh Davidson                           Morgan & Morgan           7:21-cv-63614-MCR-GRJ
  13246      344553   Michael Debois                          Morgan & Morgan           7:21-cv-63616-MCR-GRJ
  13247      344556   Daniel Dishman                          Morgan & Morgan           7:21-cv-63622-MCR-GRJ
  13248      344558   William Dodd                            Morgan & Morgan           7:21-cv-63626-MCR-GRJ
  13249      344560   Kevin Drake                             Morgan & Morgan           7:21-cv-63630-MCR-GRJ
  13250      344561   Stephen Dubiel                          Morgan & Morgan           7:21-cv-63632-MCR-GRJ
  13251      344564   Brian Eubanks                           Morgan & Morgan           7:21-cv-63638-MCR-GRJ
  13252      344565   Dequannis Euman                         Morgan & Morgan           7:21-cv-63640-MCR-GRJ
  13253      344567   Brandon Fant                            Morgan & Morgan           7:21-cv-63644-MCR-GRJ
  13254      344571   Robert Fly                              Morgan & Morgan           7:21-cv-63652-MCR-GRJ
  13255      344572   Zachary Foster                          Morgan & Morgan           7:21-cv-63654-MCR-GRJ
  13256      344573   Ryan Foxworth                           Morgan & Morgan           7:21-cv-63656-MCR-GRJ
  13257      344574   Keith Franklin                          Morgan & Morgan           7:21-cv-63658-MCR-GRJ
  13258      344576   Zachary Franks                          Morgan & Morgan           7:21-cv-63661-MCR-GRJ
  13259      344577   William Franz                           Morgan & Morgan           7:21-cv-63663-MCR-GRJ
  13260      344580   Brian Gaffney                           Morgan & Morgan           7:21-cv-63669-MCR-GRJ
  13261      344582   December Garcia                         Morgan & Morgan           7:21-cv-63673-MCR-GRJ
  13262      344583   Vartan Garoian                          Morgan & Morgan           7:21-cv-63675-MCR-GRJ
  13263      344587   Michael Giles                           Morgan & Morgan           7:21-cv-63683-MCR-GRJ
  13264      344590   Brian Glenn                             Morgan & Morgan           7:21-cv-63689-MCR-GRJ
  13265      344595   Alvin Graves                            Morgan & Morgan           7:21-cv-63700-MCR-GRJ
  13266      344596   Cedrick Gray                            Morgan & Morgan           7:21-cv-63702-MCR-GRJ
  13267      344597   Major Greenrock                         Morgan & Morgan           7:21-cv-63704-MCR-GRJ
  13268      344598   Michael Hall                            Morgan & Morgan           7:21-cv-63706-MCR-GRJ
  13269      344602   Michael Hanks                           Morgan & Morgan           7:21-cv-63714-MCR-GRJ
  13270      344603   Malcolm Hardy                           Morgan & Morgan           7:21-cv-63716-MCR-GRJ
  13271      344604   Brandon Hardy                           Morgan & Morgan           7:21-cv-63718-MCR-GRJ
  13272      344605   Jarell Harley                           Morgan & Morgan           7:21-cv-63720-MCR-GRJ
  13273      344611   Russell Hawkins                         Morgan & Morgan           7:21-cv-63732-MCR-GRJ
  13274      344612   Tyler Hay                               Morgan & Morgan           7:21-cv-66542-MCR-GRJ
  13275      344616   Kurt Hinson                             Morgan & Morgan           7:21-cv-66550-MCR-GRJ
  13276      344618   John Hoffpauir                          Morgan & Morgan           7:21-cv-66554-MCR-GRJ
  13277      344619   Garnet Holifield                        Morgan & Morgan           7:21-cv-66556-MCR-GRJ
  13278      344620   James Holley                            Morgan & Morgan           7:21-cv-66558-MCR-GRJ
  13279      344623   Adam Honore                             Morgan & Morgan           7:21-cv-66565-MCR-GRJ
  13280      344624   Edwin Hood                              Morgan & Morgan           7:21-cv-66567-MCR-GRJ
  13281      344626   Andrew Hoopes                           Morgan & Morgan           7:21-cv-66571-MCR-GRJ
  13282      344629   Paris Howard                            Morgan & Morgan                                      7:21-cv-66577-MCR-GRJ
  13283      344631   Arthashika Hughes                       Morgan & Morgan           7:21-cv-66581-MCR-GRJ
  13284      344633   Adeyinka Ibrahim                        Morgan & Morgan           7:21-cv-66585-MCR-GRJ
  13285      344635   Jeremiah Jackson                        Morgan & Morgan           7:21-cv-66588-MCR-GRJ
  13286      344636   Ernest Jackson                          Morgan & Morgan           7:21-cv-66590-MCR-GRJ




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  13287      344637   Joseph Jackson                          Morgan & Morgan           7:21-cv-66592-MCR-GRJ
  13288      344639   R. Jackson                              Morgan & Morgan           7:21-cv-66596-MCR-GRJ
  13289      344640   Peter Jacobus                           Morgan & Morgan           7:21-cv-66598-MCR-GRJ
  13290      344641   Gregory James                           Morgan & Morgan           7:21-cv-66600-MCR-GRJ
  13291      344643   Christopher Johnson                     Morgan & Morgan           7:21-cv-66604-MCR-GRJ
  13292      344646   Jamesha Johnson                         Morgan & Morgan           7:21-cv-66610-MCR-GRJ
  13293      344651   Chris Jones                             Morgan & Morgan           7:21-cv-66620-MCR-GRJ
  13294      344653   Gerald Jordan                           Morgan & Morgan           7:21-cv-66624-MCR-GRJ
  13295      344654   Peter Kay                               Morgan & Morgan           7:21-cv-66626-MCR-GRJ
  13296      344655   Wendell Keener                          Morgan & Morgan           7:21-cv-66628-MCR-GRJ
  13297      344660   William King                            Morgan & Morgan           7:21-cv-66634-MCR-GRJ
  13298      344662   Jerry Kingsbury                         Morgan & Morgan           7:21-cv-66636-MCR-GRJ
  13299      344664   Jason Knapp                             Morgan & Morgan           7:21-cv-66638-MCR-GRJ
  13300      344668   Stephen Kuchabsky                       Morgan & Morgan           7:21-cv-66642-MCR-GRJ
  13301      344669   Metissa Kuykendall                      Morgan & Morgan           7:21-cv-66643-MCR-GRJ
  13302      344670   John Langdon                            Morgan & Morgan           7:21-cv-66644-MCR-GRJ
  13303      344671   Matthew Lathrop                         Morgan & Morgan           7:21-cv-66645-MCR-GRJ
  13304      344673   Devin Leach                             Morgan & Morgan           7:21-cv-66647-MCR-GRJ
  13305      344675   Bryce Lewis                             Morgan & Morgan           7:21-cv-66649-MCR-GRJ
  13306      344676   Benjamin Long                           Morgan & Morgan           7:21-cv-66650-MCR-GRJ
  13307      344677   James Lopez                             Morgan & Morgan           7:21-cv-66651-MCR-GRJ
  13308      344681   Justin Luccio                           Morgan & Morgan           7:21-cv-66655-MCR-GRJ
  13309      344682   Daniel Maddox                           Morgan & Morgan           7:21-cv-66656-MCR-GRJ
  13310      344683   Gabriel Manning                         Morgan & Morgan           7:21-cv-66657-MCR-GRJ
  13311      344684   James Marciano                          Morgan & Morgan           7:21-cv-66658-MCR-GRJ
  13312      344686   Charles Marotta- Baxter                 Morgan & Morgan           7:21-cv-66660-MCR-GRJ
  13313      344689   Clay Mcconaughy                         Morgan & Morgan           7:21-cv-66662-MCR-GRJ
  13314      344692   Harry Mccoy                             Morgan & Morgan           7:21-cv-66668-MCR-GRJ
  13315      344694   Shakendra Mcdaniel                      Morgan & Morgan           7:21-cv-66672-MCR-GRJ
  13316      344696   Ryan Mcleod                             Morgan & Morgan           7:21-cv-66676-MCR-GRJ
  13317      344697   Steven Mcmahon                          Morgan & Morgan           7:21-cv-66678-MCR-GRJ
  13318      344698   Justin Mcroberts                        Morgan & Morgan           7:21-cv-66680-MCR-GRJ
  13319      344701   Howard Miles                            Morgan & Morgan           7:21-cv-66685-MCR-GRJ
  13320      344703   Jonathan Milner                         Morgan & Morgan           7:21-cv-66689-MCR-GRJ
  13321      344704   Joeseph Missildine                      Morgan & Morgan           7:21-cv-66691-MCR-GRJ
  13322      344705   Matthew Morgan                          Morgan & Morgan           7:21-cv-66693-MCR-GRJ
  13323      344707   Michael Morrison                        Morgan & Morgan           7:21-cv-66697-MCR-GRJ
  13324      344709   Thomas Moss                             Morgan & Morgan           7:21-cv-66701-MCR-GRJ
  13325      344710   Ronald Motas                            Morgan & Morgan           7:21-cv-66703-MCR-GRJ
  13326      344712   Robert Munsch                           Morgan & Morgan           7:21-cv-66707-MCR-GRJ
  13327      344714   Eunkang Nam                             Morgan & Morgan           7:21-cv-66711-MCR-GRJ
  13328      344715   Ananthathai Nantakul                    Morgan & Morgan           7:21-cv-66713-MCR-GRJ
  13329      344716   James Nelson                            Morgan & Morgan           7:21-cv-66715-MCR-GRJ
  13330      344717   Sean Oakes                              Morgan & Morgan           7:21-cv-66717-MCR-GRJ
  13331      344719   Cesar Olang-Lopez                       Morgan & Morgan           7:21-cv-66720-MCR-GRJ
  13332      344720   John Olsen                              Morgan & Morgan           7:21-cv-66722-MCR-GRJ
  13333      344721   Christopher Olson                       Morgan & Morgan           7:21-cv-66724-MCR-GRJ
  13334      344723   Joseph Orlowsky                         Morgan & Morgan           7:21-cv-66728-MCR-GRJ
  13335      344725   Trent Ortner                            Morgan & Morgan           7:21-cv-66732-MCR-GRJ
  13336      344729   Philander Owensby                       Morgan & Morgan           7:21-cv-66740-MCR-GRJ
  13337      344731   Abraham Payan                           Morgan & Morgan           7:21-cv-66744-MCR-GRJ
  13338      344736   James Perong                            Morgan & Morgan           7:21-cv-66754-MCR-GRJ
  13339      344739   Johnny Philogene                        Morgan & Morgan           7:21-cv-66760-MCR-GRJ
  13340      344741   Drake Pitmon                            Morgan & Morgan           7:21-cv-66764-MCR-GRJ
  13341      344742   Louis Pond                              Morgan & Morgan           7:21-cv-66766-MCR-GRJ
  13342      344745   Jerry Porter                            Morgan & Morgan           7:21-cv-66771-MCR-GRJ
  13343      344746   Jeffery Poteet                          Morgan & Morgan           7:21-cv-66773-MCR-GRJ
  13344      344748   Christopher Price                       Morgan & Morgan           7:21-cv-66777-MCR-GRJ
  13345      344749   Matthew Pridemore                       Morgan & Morgan           7:21-cv-66779-MCR-GRJ
  13346      344750   Matthew Pruitt                          Morgan & Morgan           7:21-cv-66781-MCR-GRJ
  13347      344752   Timothy Purifoy                         Morgan & Morgan           7:21-cv-66785-MCR-GRJ
  13348      344753   Eduardo Quiñones                        Morgan & Morgan           7:21-cv-67115-MCR-GRJ
  13349      344756   James Ray                               Morgan & Morgan           7:21-cv-66791-MCR-GRJ
  13350      344757   Gilberto Raya                           Morgan & Morgan           7:21-cv-66792-MCR-GRJ
  13351      344758   Jairo Recheverri                        Morgan & Morgan           7:21-cv-66794-MCR-GRJ
  13352      344761   Scott Reese                             Morgan & Morgan           7:21-cv-66800-MCR-GRJ
  13353      344762   Christopher Reeves                      Morgan & Morgan           7:21-cv-66802-MCR-GRJ
  13354      344763   Jason Rendell                           Morgan & Morgan           7:21-cv-66804-MCR-GRJ
  13355      344766   William Riggle                          Morgan & Morgan           7:21-cv-66810-MCR-GRJ
  13356      344767   George Riley                            Morgan & Morgan           7:21-cv-66812-MCR-GRJ
  13357      344770   Timothy Robinson                        Morgan & Morgan           7:21-cv-66817-MCR-GRJ
  13358      344771   Timothy Robinson                        Morgan & Morgan           7:21-cv-66819-MCR-GRJ
  13359      344773   Brian Rock                              Morgan & Morgan           7:21-cv-66824-MCR-GRJ




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  13360      344775   Cesar Rodriguez                         Morgan & Morgan            7:21-cv-66828-MCR-GRJ
  13361      344778   Jerardo Rojas                           Morgan & Morgan            7:21-cv-66834-MCR-GRJ
  13362      344781   Britt Roussel                           Morgan & Morgan            7:21-cv-66840-MCR-GRJ
  13363      344782   Richard Ruley                           Morgan & Morgan            7:21-cv-66842-MCR-GRJ
  13364      344785   Robert Sellers                          Morgan & Morgan            7:21-cv-66849-MCR-GRJ
  13365      344787   Tucker Shields                          Morgan & Morgan            7:21-cv-66853-MCR-GRJ
  13366      344788   Robert Shields                          Morgan & Morgan            7:21-cv-66855-MCR-GRJ
  13367      344789   Roy Shockley                            Morgan & Morgan            7:21-cv-66857-MCR-GRJ
  13368      344790   Michael Sims                            Morgan & Morgan            7:21-cv-66860-MCR-GRJ
  13369      344793   Jason Smith                             Morgan & Morgan            7:21-cv-66866-MCR-GRJ
  13370      344794   Matthew Smith                           Morgan & Morgan            7:21-cv-66868-MCR-GRJ
  13371      344796   Veston Smith                            Morgan & Morgan            7:21-cv-66872-MCR-GRJ
  13372      344801   Anthony R. Stahmer                      Morgan & Morgan            7:21-cv-67117-MCR-GRJ
  13373      344804   Lorraine Sterling                       Morgan & Morgan            7:21-cv-66887-MCR-GRJ
  13374      344805   Timothy Stevens                         Morgan & Morgan            7:21-cv-66889-MCR-GRJ
  13375      344808   Joseph Tabb                             Morgan & Morgan            7:21-cv-66896-MCR-GRJ
  13376      344809   Mack Tabor                              Morgan & Morgan            7:21-cv-66898-MCR-GRJ
  13377      344810   Nicholas Tayon                          Morgan & Morgan            7:21-cv-66900-MCR-GRJ
  13378      344811   Antonio Thomas                          Morgan & Morgan            7:21-cv-66902-MCR-GRJ
  13379      344812   Lemuel Thornton                         Morgan & Morgan            7:21-cv-66904-MCR-GRJ
  13380      344814   Jerry Tolbert                           Morgan & Morgan            7:21-cv-66908-MCR-GRJ
  13381      344815   Luis Toledo                             Morgan & Morgan            7:21-cv-66910-MCR-GRJ
  13382      344816   Curtis Tolleson                         Morgan & Morgan            7:21-cv-66912-MCR-GRJ
  13383      344818   Todd Troiani                            Morgan & Morgan            7:21-cv-66916-MCR-GRJ
  13384      344821   Jeronald Tuell                          Morgan & Morgan            7:21-cv-66923-MCR-GRJ
  13385      344823   Hailey Umpierre                         Morgan & Morgan            7:21-cv-66927-MCR-GRJ
  13386      344824   Ralph Vazquez                           Morgan & Morgan            7:21-cv-66929-MCR-GRJ
  13387      344825   Nicholas Ventus                         Morgan & Morgan            7:21-cv-66931-MCR-GRJ
  13388      344828   Adam Wahineokai                         Morgan & Morgan            7:21-cv-66937-MCR-GRJ
  13389      344829   Brian Waldner                           Morgan & Morgan            7:21-cv-66940-MCR-GRJ
  13390      344830   Trevor Webb                             Morgan & Morgan            7:21-cv-66942-MCR-GRJ
  13391      344831   Brandon Wedding                         Morgan & Morgan            7:21-cv-66944-MCR-GRJ
  13392      344832   Christopher Welch                       Morgan & Morgan            7:21-cv-66946-MCR-GRJ
  13393      344835   Jai Whatley                             Morgan & Morgan            7:21-cv-66950-MCR-GRJ
  13394      344838   Dennis Whitker                          Morgan & Morgan            7:21-cv-66955-MCR-GRJ
  13395      344839   William Wiggins                         Morgan & Morgan            7:21-cv-66957-MCR-GRJ
  13396      344840   Paul Wilcock                            Morgan & Morgan            7:21-cv-66959-MCR-GRJ
  13397      344841   Jonathan Wilder                         Morgan & Morgan            7:21-cv-66961-MCR-GRJ
  13398      344843   Jennifer Wilks-Muniz                    Morgan & Morgan            7:21-cv-66965-MCR-GRJ
  13399      344845   Billy Williams                          Morgan & Morgan            7:21-cv-66969-MCR-GRJ
  13400      344846   Vandem Williams                         Morgan & Morgan            7:21-cv-66971-MCR-GRJ
  13401      344847   John Wills                              Morgan & Morgan            7:21-cv-66973-MCR-GRJ
  13402      344849   Jerry Wimes                             Morgan & Morgan            7:21-cv-66977-MCR-GRJ
  13403      344850   James Winterbottom                      Morgan & Morgan            7:21-cv-66979-MCR-GRJ
  13404      344852   Jason Young                             Morgan & Morgan            7:21-cv-66982-MCR-GRJ
  13405      344853   Jerry A Young                           Morgan & Morgan            7:21-cv-66985-MCR-GRJ
  13406      344854   Jason Young                             Morgan & Morgan            7:21-cv-66987-MCR-GRJ
  13407      356454   Joel Polatty                            Morgan & Morgan                                       3:22-cv-01553-MCR-GRJ
  13408      356831   Sarah Porter                            Morgan & Morgan                                       3:22-cv-01980-MCR-GRJ
  13409      356954   Kevin Chaban                            Morgan & Morgan                                       3:22-cv-02010-MCR-GRJ
  13410      357037   Michael Ulrich                          Morgan & Morgan                                       3:22-cv-02050-MCR-GRJ
  13411      128647   Milton Betton                           Morris Bart, LLC           8:20-cv-34165-MCR-GRJ
  13412      128651   Terry Veillon                           Morris Bart, LLC           8:20-cv-34176-MCR-GRJ
  13413      128658   Rialton Dixon                           Morris Bart, LLC                                      8:20-cv-34198-MCR-GRJ
  13414      128660   Myron Hall                              Morris Bart, LLC           8:20-cv-34204-MCR-GRJ
  13415      128661   Abel Jacob                              Morris Bart, LLC           8:20-cv-34207-MCR-GRJ
  13416      128669   Ronald Rodas                            Morris Bart, LLC           8:20-cv-34230-MCR-GRJ
  13417      128681   Brandon Accardo                         Morris Bart, LLC                                      8:20-cv-34254-MCR-GRJ
  13418      128687   Jerald Holmes                           Morris Bart, LLC           8:20-cv-34264-MCR-GRJ
  13419      128704   Carvaous Mason                          Morris Bart, LLC           8:20-cv-34299-MCR-GRJ
  13420      128708   Amber Mason                             Morris Bart, LLC           8:20-cv-34307-MCR-GRJ
  13421      128713   Don Mccastle                            Morris Bart, LLC           8:20-cv-34317-MCR-GRJ
  13422      128715   Roderick Freeman                        Morris Bart, LLC           8:20-cv-34321-MCR-GRJ
  13423      128716   Joseph Fairchild                        Morris Bart, LLC           8:20-cv-34323-MCR-GRJ
  13424      128717   Bradley Miller                          Morris Bart, LLC           8:20-cv-34325-MCR-GRJ
  13425      128718   Dana Hernandez                          Morris Bart, LLC           8:20-cv-34327-MCR-GRJ
  13426      128733   David Dayberry                          Morris Bart, LLC           8:20-cv-34356-MCR-GRJ
  13427      128757   Huey Touchet                            Morris Bart, LLC                                      8:20-cv-34405-MCR-GRJ
  13428      128760   Dwayne Phillips                         Morris Bart, LLC                                      8:20-cv-34411-MCR-GRJ
  13429      128764   Jennifer Blakeslee                      Morris Bart, LLC           8:20-cv-34419-MCR-GRJ
  13430      128767   Myles Page                              Morris Bart, LLC           8:20-cv-34426-MCR-GRJ
  13431      128770   Quinton Haynes                          Morris Bart, LLC           8:20-cv-34432-MCR-GRJ
  13432      128772   Mabon Williford                         Morris Bart, LLC           8:20-cv-34436-MCR-GRJ




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  13433      128803   Robert Copeland                         Morris Bart, LLC           8:20-cv-34511-MCR-GRJ
  13434      128808   Sean Bullard                            Morris Bart, LLC           8:20-cv-34521-MCR-GRJ
  13435      128811   Walter Miller                           Morris Bart, LLC           8:20-cv-34526-MCR-GRJ
  13436      128820   Joseph Longo                            Morris Bart, LLC           8:20-cv-34461-MCR-GRJ
  13437      128824   Daniel Foy                              Morris Bart, LLC           8:20-cv-34474-MCR-GRJ
  13438      128825   Victor Lake                             Morris Bart, LLC           8:20-cv-34477-MCR-GRJ
  13439      128826   Ciji Stroud                             Morris Bart, LLC           8:20-cv-34481-MCR-GRJ
  13440      128829   Chelsea Brooks                          Morris Bart, LLC           8:20-cv-34491-MCR-GRJ
  13441      128842   Allen Campbell                          Morris Bart, LLC           8:20-cv-34520-MCR-GRJ
  13442      128854   Steven Barczak                          Morris Bart, LLC           8:20-cv-34552-MCR-GRJ
  13443      128860   Lacey Byrd                              Morris Bart, LLC           8:20-cv-34570-MCR-GRJ
  13444      128861   Albert Chasse                           Morris Bart, LLC           8:20-cv-34572-MCR-GRJ
  13445      128862   Cody Hardin                             Morris Bart, LLC           8:20-cv-34575-MCR-GRJ
  13446      128866   Dalvin Sparrow                          Morris Bart, LLC           8:20-cv-34587-MCR-GRJ
  13447      128875   Bradley Daniels                         Morris Bart, LLC           8:20-cv-34619-MCR-GRJ
  13448      128878   Jsaykel Jones                           Morris Bart, LLC           8:20-cv-34631-MCR-GRJ
  13449      128886   Diana Hartman                           Morris Bart, LLC           8:20-cv-34663-MCR-GRJ
  13450      128887   Jamie Brunson                           Morris Bart, LLC           8:20-cv-34667-MCR-GRJ
  13451      128889   Thako Davidson                          Morris Bart, LLC                                      8:20-cv-34675-MCR-GRJ
  13452      128900   Christopher Pelfrey                     Morris Bart, LLC           8:20-cv-34720-MCR-GRJ
  13453      128906   Herbert Johnson                         Morris Bart, LLC           8:20-cv-34741-MCR-GRJ
  13454      128907   Telvin Johnson                          Morris Bart, LLC           8:20-cv-34745-MCR-GRJ
  13455      128910   Anthony Lebouef                         Morris Bart, LLC           8:20-cv-34756-MCR-GRJ
  13456      128914   Mark Birden                             Morris Bart, LLC                                      8:20-cv-34774-MCR-GRJ
  13457      128925   Chancellor Wollaston                    Morris Bart, LLC           8:20-cv-34826-MCR-GRJ
  13458      128926   Solinsky Mitchell                       Morris Bart, LLC           8:20-cv-34830-MCR-GRJ
  13459      128946   Eugene Dufrene                          Morris Bart, LLC           8:20-cv-34908-MCR-GRJ
  13460      128947   Tyrone Carr                             Morris Bart, LLC                                      8:20-cv-34912-MCR-GRJ
  13461      128948   Joshua Johnston                         Morris Bart, LLC           8:20-cv-34917-MCR-GRJ
  13462      128952   Patrick Farrell                         Morris Bart, LLC           8:20-cv-34933-MCR-GRJ
  13463      128967   Matthew Leeth                           Morris Bart, LLC           8:20-cv-34993-MCR-GRJ
  13464      128974   Roy Rigsby                              Morris Bart, LLC           8:20-cv-35028-MCR-GRJ
  13465      128975   Angus Moree                             Morris Bart, LLC                                      8:20-cv-35033-MCR-GRJ
  13466      128980   Shane Dyer                              Morris Bart, LLC           8:20-cv-35060-MCR-GRJ
  13467      129005   Roy Bennett                             Morris Bart, LLC           8:20-cv-35189-MCR-GRJ
  13468      129012   Joshua Crowe                            Morris Bart, LLC           8:20-cv-35234-MCR-GRJ
  13469      129013   James Tomlin                            Morris Bart, LLC           8:20-cv-35240-MCR-GRJ
  13470      129014   Whitney Scott-Davis                     Morris Bart, LLC           8:20-cv-35246-MCR-GRJ
  13471      129022   Marcus Wieck                            Morris Bart, LLC           8:20-cv-35297-MCR-GRJ
  13472      129027   Joshua Clark                            Morris Bart, LLC           8:20-cv-35322-MCR-GRJ
  13473      129031   Juan Hidalgo                            Morris Bart, LLC           8:20-cv-35345-MCR-GRJ
  13474      129043   Keith Gautreaux                         Morris Bart, LLC           8:20-cv-35405-MCR-GRJ
  13475      129061   Galen Joseph                            Morris Bart, LLC           8:20-cv-35503-MCR-GRJ
  13476      129065   Everett Nelson                          Morris Bart, LLC           8:20-cv-35524-MCR-GRJ
  13477      129079   Matthew Marks                           Morris Bart, LLC                                      8:20-cv-35599-MCR-GRJ
  13478      129080   Jeremy Chapman                          Morris Bart, LLC           8:20-cv-35604-MCR-GRJ
  13479      129094   Sl Craft                                Morris Bart, LLC           8:20-cv-35680-MCR-GRJ
  13480      129096   Anfernee Clayton                        Morris Bart, LLC           8:20-cv-35690-MCR-GRJ
  13481      129105   Bryan Ritter                            Morris Bart, LLC           8:20-cv-35730-MCR-GRJ
  13482      129108   John Fonte                              Morris Bart, LLC           8:20-cv-35739-MCR-GRJ
  13483      129111   Tiffany Oliver                          Morris Bart, LLC           8:20-cv-35749-MCR-GRJ
  13484      129125   Ricardo Pinzon                          Morris Bart, LLC           8:20-cv-34621-MCR-GRJ
  13485      129127   Norma Groce                             Morris Bart, LLC           8:20-cv-34629-MCR-GRJ
  13486      129129   Montral Ferguson                        Morris Bart, LLC                                      8:20-cv-34637-MCR-GRJ
  13487      129131   John Albert                             Morris Bart, LLC           8:20-cv-34645-MCR-GRJ
  13488      129139   Christopher Golden                      Morris Bart, LLC           8:20-cv-34677-MCR-GRJ
  13489      129153   Mike Myers                              Morris Bart, LLC                                      8:20-cv-34731-MCR-GRJ
  13490      129157   Rene' Surgi                             Morris Bart, LLC           8:20-cv-34742-MCR-GRJ
  13491      129160   Jeremy Wilder                           Morris Bart, LLC           8:20-cv-34755-MCR-GRJ
  13492      129161   Denutrice Murray                        Morris Bart, LLC           8:20-cv-34759-MCR-GRJ
  13493      129172   Derrell Derouen                         Morris Bart, LLC           8:20-cv-34809-MCR-GRJ
  13494      129173   Wayne Pollar                            Morris Bart, LLC           8:20-cv-34813-MCR-GRJ
  13495      129198   Joe Jones                               Morris Bart, LLC           8:20-cv-34909-MCR-GRJ
  13496      129202   Brandon Blackmore                       Morris Bart, LLC                                      8:20-cv-34926-MCR-GRJ
  13497      129216   Joseph Currier                          Morris Bart, LLC           8:20-cv-34975-MCR-GRJ
  13498      129228   Warren Jones                            Morris Bart, LLC           8:20-cv-35029-MCR-GRJ
  13499      129241   Charlie Douglas                         Morris Bart, LLC           8:20-cv-35095-MCR-GRJ
  13500      129245   Tasha Juneau                            Morris Bart, LLC           8:20-cv-35115-MCR-GRJ
  13501      129248   Eric Forest                             Morris Bart, LLC           8:20-cv-35128-MCR-GRJ
  13502      129250   Albert Robinson                         Morris Bart, LLC           8:20-cv-35140-MCR-GRJ
  13503      129251   Henry Ward                              Morris Bart, LLC                                      8:20-cv-35144-MCR-GRJ
  13504      129257   Eric Leddick                            Morris Bart, LLC           8:20-cv-35173-MCR-GRJ
  13505      129259   George Lefort                           Morris Bart, LLC           8:20-cv-35184-MCR-GRJ




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  13506      129260   Freddie Cook                            Morris Bart, LLC           8:20-cv-35190-MCR-GRJ
  13507      129267   Lonnie Lavalais                         Morris Bart, LLC           8:20-cv-35232-MCR-GRJ
  13508      129271   Brandon Cruz                            Morris Bart, LLC           8:20-cv-35256-MCR-GRJ
  13509      129272   Latanya Billingslea                     Morris Bart, LLC           8:20-cv-35262-MCR-GRJ
  13510      129274   Zachary Humphries                       Morris Bart, LLC           8:20-cv-35276-MCR-GRJ
  13511      129275   Travis Becnel                           Morris Bart, LLC           8:20-cv-35282-MCR-GRJ
  13512      129278   Amanda Todd                             Morris Bart, LLC           8:20-cv-35299-MCR-GRJ
  13513      129281   Jasmine Strickland                      Morris Bart, LLC           8:20-cv-35315-MCR-GRJ
  13514      129286   Larry Bennett                           Morris Bart, LLC                                      8:20-cv-35341-MCR-GRJ
  13515      129287   Jonathan George                         Morris Bart, LLC           8:20-cv-35346-MCR-GRJ
  13516      129310   Robert Kemp                             Morris Bart, LLC           8:20-cv-35461-MCR-GRJ
  13517      129313   Brian Herrington                        Morris Bart, LLC           8:20-cv-35477-MCR-GRJ
  13518      129324   Victor Mobley                           Morris Bart, LLC           8:20-cv-35533-MCR-GRJ
  13519      129333   Evan Magallanes                         Morris Bart, LLC           8:20-cv-35580-MCR-GRJ
  13520      129339   Daryl Hamby                             Morris Bart, LLC                                      8:20-cv-35611-MCR-GRJ
  13521      129356   Lester Wheeler                          Morris Bart, LLC           8:20-cv-35699-MCR-GRJ
  13522      129377   Jared Young                             Morris Bart, LLC           8:20-cv-35770-MCR-GRJ
  13523      129378   Kyle Andrus                             Morris Bart, LLC           8:20-cv-35772-MCR-GRJ
  13524      129380   Alex Miller                             Morris Bart, LLC                                      8:20-cv-35777-MCR-GRJ
  13525      129389   Gregory Rachal                          Morris Bart, LLC           8:20-cv-35792-MCR-GRJ
  13526      129393   Shawn Bourque                           Morris Bart, LLC           8:20-cv-35800-MCR-GRJ
  13527      129397   Hugh Keating                            Morris Bart, LLC           8:20-cv-35806-MCR-GRJ
  13528      129408   Justin Jeffers                          Morris Bart, LLC                                      8:20-cv-35817-MCR-GRJ
  13529      129415   Timmie Kinsey                           Morris Bart, LLC           8:20-cv-35824-MCR-GRJ
  13530      129416   Germaine Lott                           Morris Bart, LLC                                      8:20-cv-35825-MCR-GRJ
  13531      129417   Damien Muse                             Morris Bart, LLC                                      8:20-cv-35826-MCR-GRJ
  13532      129420   Jeremy Woods                            Morris Bart, LLC           8:20-cv-35829-MCR-GRJ
  13533      129423   Brook Edwards                           Morris Bart, LLC           8:20-cv-35008-MCR-GRJ
  13534      129429   Jared Braggs                            Morris Bart, LLC           8:20-cv-35036-MCR-GRJ
  13535      129430   Scott Rogers                            Morris Bart, LLC           8:20-cv-35041-MCR-GRJ
  13536      129438   Stephanie Luss                          Morris Bart, LLC                                      8:20-cv-35077-MCR-GRJ
  13537      129450   Christopher Miller                      Morris Bart, LLC           8:20-cv-35130-MCR-GRJ
  13538      129451   David Colley                            Morris Bart, LLC                                      8:20-cv-35135-MCR-GRJ
  13539      129455   Timothy Sims                            Morris Bart, LLC           8:20-cv-35152-MCR-GRJ
  13540      129465   Vonkeith Jackson                        Morris Bart, LLC                                      8:20-cv-35204-MCR-GRJ
  13541      129471   Sedric Ashley                           Morris Bart, LLC                                      8:20-cv-35235-MCR-GRJ
  13542      129480   Mervin Brochard                         Morris Bart, LLC                                      8:20-cv-35286-MCR-GRJ
  13543      129497   Londell Grayson                         Morris Bart, LLC           8:20-cv-35368-MCR-GRJ
  13544      129498   David Hicks                             Morris Bart, LLC           8:20-cv-35373-MCR-GRJ
  13545      129505   Randall Fournier                        Morris Bart, LLC           8:20-cv-35402-MCR-GRJ
  13546      129510   Conner Burton                           Morris Bart, LLC           8:20-cv-35425-MCR-GRJ
  13547      129513   Alex Vige                               Morris Bart, LLC           8:20-cv-35441-MCR-GRJ
  13548      129521   Theo Anderson                           Morris Bart, LLC           8:20-cv-35478-MCR-GRJ
  13549      129526   Bryant Davidson                         Morris Bart, LLC           8:20-cv-35501-MCR-GRJ
  13550      129528   Kevin Peters                            Morris Bart, LLC           8:20-cv-35511-MCR-GRJ
  13551      129529   Alfred Schneider                        Morris Bart, LLC           8:20-cv-35515-MCR-GRJ
  13552      129532   Celestine Carter                        Morris Bart, LLC           8:20-cv-35530-MCR-GRJ
  13553      129549   Roy Lowman                              Morris Bart, LLC           8:20-cv-35612-MCR-GRJ
  13554      129552   James Smith                             Morris Bart, LLC           8:20-cv-35626-MCR-GRJ
  13555      129555   Matthew Fisher                          Morris Bart, LLC           8:20-cv-35640-MCR-GRJ
  13556      129558   Joshue Riley                            Morris Bart, LLC                                      8:20-cv-35654-MCR-GRJ
  13557      129560   Daniel Reardon                          Morris Bart, LLC                                      8:20-cv-35665-MCR-GRJ
  13558      224096   Jason Mcnulty                           Morris Bart, LLC                                      7:21-cv-05186-MCR-GRJ
  13559      224100   Eric Chavarria                          Morris Bart, LLC           7:21-cv-05190-MCR-GRJ
  13560      224104   Jason Smith                             Morris Bart, LLC                                      7:21-cv-05194-MCR-GRJ
  13561      224106   Darius Credit                           Morris Bart, LLC           7:21-cv-05196-MCR-GRJ
  13562      224113   Cory Bono                               Morris Bart, LLC           7:21-cv-05203-MCR-GRJ
  13563      224119   Robert Linton                           Morris Bart, LLC           7:21-cv-05209-MCR-GRJ
  13564      238453   Acie Rainwater                          Morris Bart, LLC           7:21-cv-05221-MCR-GRJ
  13565      259921   Kenneth Ethridge                        Morris Bart, LLC                                      7:21-cv-05232-MCR-GRJ
  13566      259923   Kennery Foster                          Morris Bart, LLC                                      7:21-cv-05234-MCR-GRJ
  13567      259930   Norman Norfleet                         Morris Bart, LLC           7:21-cv-05241-MCR-GRJ
  13568      263242   Alexander Reid                          Morris Bart, LLC                                      7:21-cv-05253-MCR-GRJ
  13569      269713   Jordan Robertson                        Morris Bart, LLC           7:21-cv-05261-MCR-GRJ
  13570      269714   Cortez James                            Morris Bart, LLC           7:21-cv-05262-MCR-GRJ
  13571      269724   Christopher Lambert                     Morris Bart, LLC           7:21-cv-05272-MCR-GRJ
  13572      269726   Cyntrel Clay                            Morris Bart, LLC           7:21-cv-05274-MCR-GRJ
  13573      273704   Laquita Delmore                         Morris Bart, LLC           7:21-cv-05282-MCR-GRJ
  13574      273706   Ryant Price                             Morris Bart, LLC           7:21-cv-05284-MCR-GRJ
  13575      307913   Michael Johnson                         Morris Bart, LLC           7:21-cv-26140-MCR-GRJ
  13576      317391   Kevin Gautreaux                         Morris Bart, LLC                                      7:21-cv-29862-MCR-GRJ
  13577      320861   Matthew Reynolds                        Morris Bart, LLC           7:21-cv-36784-MCR-GRJ
  13578      320866   Fernando Mendoza                        Morris Bart, LLC           7:21-cv-36789-MCR-GRJ




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  13579      320869   Joseph Barnaba                          Morris Bart, LLC           7:21-cv-36792-MCR-GRJ
  13580      320870   Joshua Peters                           Morris Bart, LLC                                      7:21-cv-36793-MCR-GRJ
  13581      320872   Karen Howard                            Morris Bart, LLC           7:21-cv-36795-MCR-GRJ
  13582      320877   Brayden Reynolds                        Morris Bart, LLC           7:21-cv-36799-MCR-GRJ
  13583      320878   Nickolas Holliday                       Morris Bart, LLC                                      7:21-cv-36800-MCR-GRJ
  13584      329169   William Snead                           Morris Bart, LLC           7:21-cv-47936-MCR-GRJ
  13585      329170   Paul Cox                                Morris Bart, LLC                                      7:21-cv-43284-MCR-GRJ
  13586      329172   James Stephens                          Morris Bart, LLC           7:21-cv-43288-MCR-GRJ
  13587      329179   Rion Gines                              Morris Bart, LLC           7:21-cv-43302-MCR-GRJ
  13588      51138    Leona Brown                             Mostyn Law                 7:20-cv-93296-MCR-GRJ
  13589      51173    Horace Roach                            Mostyn Law                 7:20-cv-93618-MCR-GRJ
  13590      51176    Milo Rogers                             Mostyn Law                 7:20-cv-93631-MCR-GRJ
  13591      51209    Terry Jones                             Mostyn Law                 7:20-cv-93792-MCR-GRJ
  13592      51225    Sherwood Boatwright                     Mostyn Law                 7:20-cv-93865-MCR-GRJ
  13593      51228    James Messina                           Mostyn Law                 7:20-cv-93879-MCR-GRJ
  13594      51241    Nathan Howard                           Mostyn Law                 7:20-cv-93941-MCR-GRJ
  13595      51256    James Call                              Mostyn Law                 7:20-cv-94007-MCR-GRJ
  13596      51258    Gilberto Sosa                           Mostyn Law                 7:20-cv-94017-MCR-GRJ
  13597      51302    Todd Coulson                            Mostyn Law                 7:20-cv-94624-MCR-GRJ
  13598      51337    Terrell Lee                             Mostyn Law                 7:20-cv-94725-MCR-GRJ
  13599      51344    Randy Reaves                            Mostyn Law                 7:20-cv-94740-MCR-GRJ
  13600      51378    Travis Johnson                          Mostyn Law                 7:20-cv-94796-MCR-GRJ
  13601      51403    Breford King                            Mostyn Law                 7:20-cv-94863-MCR-GRJ
  13602      51425    Corey Jenkins                           Mostyn Law                 7:20-cv-94919-MCR-GRJ
  13603      51457    Tabatha Whitfield                       Mostyn Law                 7:20-cv-95009-MCR-GRJ
  13604      51497    Donald Packer                           Mostyn Law                 7:20-cv-95141-MCR-GRJ
  13605      51510    Fredrick Shelton                        Mostyn Law                 7:20-cv-95204-MCR-GRJ
  13606      51521    William Harding                         Mostyn Law                 7:20-cv-95257-MCR-GRJ
  13607      51571    Jonathan Keim                           Mostyn Law                 7:20-cv-95507-MCR-GRJ
  13608      51591    Nichole Tryba                           Mostyn Law                 7:20-cv-95605-MCR-GRJ
  13609      51608    Theresa Jenkins                         Mostyn Law                 7:20-cv-95684-MCR-GRJ
  13610      51643    Matt Barron                             Mostyn Law                 7:20-cv-95876-MCR-GRJ
  13611      51649    William Lanasa                          Mostyn Law                 7:20-cv-95902-MCR-GRJ
  13612      51652    Joel Sigala                             Mostyn Law                 7:20-cv-05103-MCR-GRJ
  13613      51653    Cedric Minor                            Mostyn Law                 7:20-cv-95916-MCR-GRJ
  13614      51669    Kelvin Scott                            Mostyn Law                 7:20-cv-95990-MCR-GRJ
  13615      51685    Samika Jones                            Mostyn Law                 7:20-cv-96072-MCR-GRJ
  13616      51695    Beverly Mcfadden                        Mostyn Law                 7:20-cv-96121-MCR-GRJ
  13617      51702    Treavis Sullivan                        Mostyn Law                 7:20-cv-96154-MCR-GRJ
  13618      51710    Christopher Deese                       Mostyn Law                 7:20-cv-96185-MCR-GRJ
  13619      51721    Sherwin Williams                        Mostyn Law                 7:20-cv-96218-MCR-GRJ
  13620      51722    Derrick Gordon                          Mostyn Law                 7:20-cv-96221-MCR-GRJ
  13621      51727    Dwayne Brown                            Mostyn Law                 7:20-cv-86289-MCR-GRJ
  13622      51731    Hector Gajardo                          Mostyn Law                 7:20-cv-86297-MCR-GRJ
  13623      51733    Jeremy Fletcher                         Mostyn Law                 7:20-cv-86301-MCR-GRJ
  13624      51775    Brad Fraley                             Mostyn Law                 7:20-cv-86386-MCR-GRJ
  13625      51782    Seth Ammerman                           Mostyn Law                 7:20-cv-86400-MCR-GRJ
  13626      51788    Scott Hartley                           Mostyn Law                 7:20-cv-86413-MCR-GRJ
  13627      51808    Kenny Proctor                           Mostyn Law                 7:20-cv-86456-MCR-GRJ
  13628      51810    Michael Knop                            Mostyn Law                 7:20-cv-86463-MCR-GRJ
  13629      51811    Amanda Chase                            Mostyn Law                 7:20-cv-86466-MCR-GRJ
  13630      51815    Jerome Bennett                          Mostyn Law                 7:20-cv-86471-MCR-GRJ
  13631      51825    Gilberto Sosa Ramos                     Mostyn Law                 7:20-cv-86492-MCR-GRJ
  13632      51830    Donald Dice                             Mostyn Law                 7:20-cv-86498-MCR-GRJ
  13633      51844    Robert Kaye                             Mostyn Law                 7:20-cv-86521-MCR-GRJ
  13634      51848    Justin Wilson                           Mostyn Law                 7:20-cv-86529-MCR-GRJ
  13635      51868    Chad Timbs                              Mostyn Law                 7:20-cv-86571-MCR-GRJ
  13636      51882    Kevin Mauga                             Mostyn Law                 7:20-cv-86603-MCR-GRJ
  13637      51896    Porche Hatten                           Mostyn Law                 7:20-cv-86654-MCR-GRJ
  13638      51911    Steven Taplin                           Mostyn Law                 7:20-cv-86718-MCR-GRJ
  13639      51917    Robert Lewis                            Mostyn Law                 7:20-cv-86742-MCR-GRJ
  13640      51934    Dwayne Wade                             Mostyn Law                 7:20-cv-86812-MCR-GRJ
  13641      51947    Thad Brensing                           Mostyn Law                 7:20-cv-86868-MCR-GRJ
  13642      51960    Allan Smith                             Mostyn Law                 7:20-cv-86921-MCR-GRJ
  13643      51964    Andrew Latchison                        Mostyn Law                 7:20-cv-86938-MCR-GRJ
  13644      51965    Michael Ruff                            Mostyn Law                 7:20-cv-86942-MCR-GRJ
  13645      51967    Jesse Carrasco                          Mostyn Law                 7:20-cv-86951-MCR-GRJ
  13646      51968    James Betsill                           Mostyn Law                 7:20-cv-86955-MCR-GRJ
  13647      51988    Joel Beckwith                           Mostyn Law                 7:20-cv-86459-MCR-GRJ
  13648      51992    Robert Perry                            Mostyn Law                 7:20-cv-86470-MCR-GRJ
  13649      51997    Vincent Ferro                           Mostyn Law                 7:20-cv-86480-MCR-GRJ
  13650      52004    Sarah Snedden                           Mostyn Law                 7:20-cv-86493-MCR-GRJ
  13651      52007    Ray Williams                            Mostyn Law                 7:20-cv-86499-MCR-GRJ




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  13652      52010    Christopher Outwater                    Mostyn Law           7:20-cv-86505-MCR-GRJ
  13653      52012    Terra Mcginn                            Mostyn Law           7:20-cv-42843-MCR-GRJ
  13654      52026    Willie Holloway                         Mostyn Law           7:20-cv-86534-MCR-GRJ
  13655      52042    Dean Vann                               Mostyn Law           7:20-cv-86562-MCR-GRJ
  13656      52055    Darrell Marsh                           Mostyn Law           7:20-cv-86587-MCR-GRJ
  13657      52059    Adrian Miramontes                       Mostyn Law           7:20-cv-86597-MCR-GRJ
  13658      52069    Chad Bryant                             Mostyn Law           7:20-cv-86630-MCR-GRJ
  13659      52077    Robert Ward                             Mostyn Law           7:20-cv-86659-MCR-GRJ
  13660      52078    Joseph Mandel                           Mostyn Law           7:20-cv-86663-MCR-GRJ
  13661      52080    Nicholas Bradley                        Mostyn Law           7:20-cv-86670-MCR-GRJ
  13662      52083    Rinson Stevenson                        Mostyn Law           7:20-cv-86682-MCR-GRJ
  13663      52100    James Mcquaid                           Mostyn Law                                      7:20-cv-86743-MCR-GRJ
  13664      52107    Michelle Saddlemire                     Mostyn Law           7:20-cv-86768-MCR-GRJ
  13665      52123    Brandon Bullock                         Mostyn Law           7:20-cv-05107-MCR-GRJ
  13666      52131    Dandre Morris                           Mostyn Law           7:20-cv-86851-MCR-GRJ
  13667      52140    Cecil Spangler                          Mostyn Law           7:20-cv-86885-MCR-GRJ
  13668      52144    Benjamin Gamache                        Mostyn Law           7:20-cv-86900-MCR-GRJ
  13669      52147    Adam Cohea                              Mostyn Law           7:20-cv-86912-MCR-GRJ
  13670      52148    Christopher Crosby                      Mostyn Law           7:20-cv-86916-MCR-GRJ
  13671      52153    Devyn Robinson                          Mostyn Law           7:20-cv-86933-MCR-GRJ
  13672      52156    Robert Misla                            Mostyn Law           7:20-cv-86944-MCR-GRJ
  13673      52159    Eric Boothe                             Mostyn Law           7:20-cv-86956-MCR-GRJ
  13674      52174    Joseph Littrell                         Mostyn Law           8:20-cv-28928-MCR-GRJ
  13675      52175    Derik Green                             Mostyn Law           7:20-cv-86995-MCR-GRJ
  13676      52177    Nicholas Thompson                       Mostyn Law           7:20-cv-87001-MCR-GRJ
  13677      52179    William Beeson                          Mostyn Law           7:20-cv-87007-MCR-GRJ
  13678      52193    Glenn Olson                             Mostyn Law           7:20-cv-87035-MCR-GRJ
  13679      52197    Ciarah Brown-Fields                     Mostyn Law           7:20-cv-87043-MCR-GRJ
  13680      52202    William Holmes                          Mostyn Law           7:20-cv-87052-MCR-GRJ
  13681      52208    Tyrell Mack                             Mostyn Law           7:20-cv-87063-MCR-GRJ
  13682      52210    Dwight Floyd                            Mostyn Law           7:20-cv-87067-MCR-GRJ
  13683      52211    Michael Booth                           Mostyn Law           7:20-cv-87069-MCR-GRJ
  13684      52213    Tyniesha Pettus                         Mostyn Law           7:20-cv-87073-MCR-GRJ
  13685      52215    Maxwell Newton                          Mostyn Law           7:20-cv-87077-MCR-GRJ
  13686      52216    Jacob Cherry                            Mostyn Law           7:20-cv-87079-MCR-GRJ
  13687      52220    Nicholas Hopkins                        Mostyn Law           7:20-cv-87087-MCR-GRJ
  13688      52221    Andrew Williams                         Mostyn Law           7:20-cv-87089-MCR-GRJ
  13689      52222    Sondra Wallace                          Mostyn Law           7:20-cv-87091-MCR-GRJ
  13690      52225    Trevor Wright                           Mostyn Law           7:20-cv-87096-MCR-GRJ
  13691      52226    Ryan Szewczyk                           Mostyn Law           7:20-cv-87098-MCR-GRJ
  13692      52228    Joshua Evans                            Mostyn Law                                      7:20-cv-87102-MCR-GRJ
  13693      52229    Preston Pollock                         Mostyn Law           7:20-cv-87104-MCR-GRJ
  13694      52234    Ashley Tsatsafoulis                     Mostyn Law           7:20-cv-87114-MCR-GRJ
  13695      52235    Marquise Greene                         Mostyn Law           7:20-cv-87116-MCR-GRJ
  13696      52244    Thomas Linton                           Mostyn Law           7:20-cv-87133-MCR-GRJ
  13697      52245    Danielle Mayes                          Mostyn Law           7:20-cv-87135-MCR-GRJ
  13698      52250    Joseph Vineis                           Mostyn Law           7:20-cv-87144-MCR-GRJ
  13699      52254    Christopher Abney                       Mostyn Law           7:20-cv-87152-MCR-GRJ
  13700      52269    Clarence Carson                         Mostyn Law           7:20-cv-87179-MCR-GRJ
  13701      52271    Brad Haight                             Mostyn Law           7:20-cv-87183-MCR-GRJ
  13702      52283    Rachele Johnson                         Mostyn Law           7:20-cv-87204-MCR-GRJ
  13703      52285    Hannah Riggs                            Mostyn Law           7:20-cv-87208-MCR-GRJ
  13704      52291    Chaz Kline                              Mostyn Law           7:20-cv-87216-MCR-GRJ
  13705      52293    Derek Stevenson                         Mostyn Law           7:20-cv-87218-MCR-GRJ
  13706      52296    Andrew Marske                           Mostyn Law           7:20-cv-87221-MCR-GRJ
  13707      52300    Jordan Firn                             Mostyn Law           7:20-cv-87225-MCR-GRJ
  13708      52310    Tiffany Epps                            Mostyn Law           7:20-cv-87233-MCR-GRJ
  13709      52311    Antonio Hernandez                       Mostyn Law           7:20-cv-87234-MCR-GRJ
  13710      52313    Sohusirys Villar                        Mostyn Law           7:20-cv-87236-MCR-GRJ
  13711      52318    Paul Morris                             Mostyn Law           7:20-cv-87241-MCR-GRJ
  13712      52321    Robert Adair                            Mostyn Law           7:20-cv-87244-MCR-GRJ
  13713      52334    Christopher Wyatt                       Mostyn Law                                      7:20-cv-87257-MCR-GRJ
  13714      52336    Samuel Kariuki                          Mostyn Law           7:20-cv-87259-MCR-GRJ
  13715      52337    Jordan Harte                            Mostyn Law           7:20-cv-87260-MCR-GRJ
  13716      126775   Gregory Amentt                          Mostyn Law           7:20-cv-97112-MCR-GRJ
  13717      126789   Michael Burns                           Mostyn Law                                      7:20-cv-97184-MCR-GRJ
  13718      126794   Mayra Carranza                          Mostyn Law           7:20-cv-97210-MCR-GRJ
  13719      126804   Linden Curtis                           Mostyn Law           7:20-cv-97250-MCR-GRJ
  13720      126826   Todd Gillitzer                          Mostyn Law           7:20-cv-97342-MCR-GRJ
  13721      126837   Allen Hass                              Mostyn Law           7:20-cv-97388-MCR-GRJ
  13722      126838   Gregory Hatcher                         Mostyn Law           7:20-cv-97393-MCR-GRJ
  13723      126857   Jordani Joseph                          Mostyn Law           7:20-cv-97467-MCR-GRJ
  13724      126863   Matthew Killen                          Mostyn Law           7:20-cv-97498-MCR-GRJ




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  13725      126864   Broderick King                          Mostyn Law           7:20-cv-97503-MCR-GRJ
  13726      126866   Kenneth Kitson                          Mostyn Law           7:20-cv-97515-MCR-GRJ
  13727      126868   Michael Koss                            Mostyn Law           7:20-cv-97520-MCR-GRJ
  13728      126869   Delia Kramer                            Mostyn Law           7:20-cv-97526-MCR-GRJ
  13729      126876   Junichi Lockett                         Mostyn Law                                      7:20-cv-97735-MCR-GRJ
  13730      126879   Joseph Lopez                            Mostyn Law           7:20-cv-97758-MCR-GRJ
  13731      126910   Jeff Newman                             Mostyn Law           7:20-cv-97953-MCR-GRJ
  13732      126917   Annalisa Ontiveros                      Mostyn Law           7:20-cv-98002-MCR-GRJ
  13733      126922   Justin Pokrandt                         Mostyn Law           7:20-cv-98029-MCR-GRJ
  13734      126933   Billy Riley                             Mostyn Law           7:20-cv-98091-MCR-GRJ
  13735      126953   David Smiles                            Mostyn Law           7:20-cv-98197-MCR-GRJ
  13736      126973   Fred Wallace                            Mostyn Law           7:20-cv-98295-MCR-GRJ
  13737      126980   Danielle Whitfield                      Mostyn Law           7:20-cv-98324-MCR-GRJ
  13738      126991   Jeremy Bryant                           Mostyn Law           8:20-cv-00188-MCR-GRJ
  13739      126996   Jamie Jones                             Mostyn Law           8:20-cv-00203-MCR-GRJ
  13740      127005   Dustin Heinssen                         Mostyn Law           8:20-cv-00229-MCR-GRJ
  13741      127006   Jonathon Hess                           Mostyn Law           8:20-cv-00232-MCR-GRJ
  13742      161814   Mike Halsey                             Mostyn Law           8:20-cv-35269-MCR-GRJ
  13743      167737   Zujei Adams                             Mostyn Law           8:20-cv-02447-MCR-GRJ
  13744      167754   Martha Amaya Ortega                     Mostyn Law           8:20-cv-02516-MCR-GRJ
  13745      167761   Marco Arzola                            Mostyn Law           8:20-cv-02549-MCR-GRJ
  13746      167764   Ammar Awad                              Mostyn Law           8:20-cv-02558-MCR-GRJ
  13747      167777   Andrew Bateman                          Mostyn Law           8:20-cv-02609-MCR-GRJ
  13748      167780   Richard Beach                           Mostyn Law           8:20-cv-02618-MCR-GRJ
  13749      167783   Dontek Benard                           Mostyn Law           8:20-cv-02629-MCR-GRJ
  13750      167790   Elaine Berry                            Mostyn Law           8:20-cv-03167-MCR-GRJ
  13751      167792   Aaron Beyer                             Mostyn Law           8:20-cv-03177-MCR-GRJ
  13752      167794   Erol Blake                              Mostyn Law           8:20-cv-03186-MCR-GRJ
  13753      167801   Marc Bonham                             Mostyn Law           8:20-cv-03217-MCR-GRJ
  13754      167803   Christopher Boone                       Mostyn Law           8:20-cv-03227-MCR-GRJ
  13755      167804   Nicholas Boos                           Mostyn Law           8:20-cv-03232-MCR-GRJ
  13756      167820   John Brown                              Mostyn Law           8:20-cv-03305-MCR-GRJ
  13757      167830   Heather Callies                         Mostyn Law           8:20-cv-03348-MCR-GRJ
  13758      167836   Mark Carbo                              Mostyn Law           8:20-cv-03371-MCR-GRJ
  13759      167845   Richard Ceballos                        Mostyn Law           8:20-cv-03411-MCR-GRJ
  13760      167848   Pmark Cherru                            Mostyn Law           8:20-cv-03426-MCR-GRJ
  13761      167869   Jordan Corum                            Mostyn Law           8:20-cv-03492-MCR-GRJ
  13762      167872   Kelton Counts                           Mostyn Law           8:20-cv-03502-MCR-GRJ
  13763      167875   Michael Crow Eagle                      Mostyn Law           8:20-cv-03513-MCR-GRJ
  13764      167876   David Crutchfield                       Mostyn Law           8:20-cv-03517-MCR-GRJ
  13765      167893   Joshua Deiterman                        Mostyn Law           8:20-cv-03597-MCR-GRJ
  13766      167902   Clarence Donelson                       Mostyn Law           8:20-cv-03635-MCR-GRJ
  13767      167903   Ronald Doss                             Mostyn Law           8:20-cv-03639-MCR-GRJ
  13768      167905   Gary Doyle                              Mostyn Law           8:20-cv-03648-MCR-GRJ
  13769      167909   Christopher Duck                        Mostyn Law           8:20-cv-03666-MCR-GRJ
  13770      167911   Joshua Duggan                           Mostyn Law           8:20-cv-03675-MCR-GRJ
  13771      167913   Ladonna Dupree                          Mostyn Law           8:20-cv-03685-MCR-GRJ
  13772      167914   Lauren Durand                           Mostyn Law           8:20-cv-03689-MCR-GRJ
  13773      167916   Adam Dyer                               Mostyn Law           8:20-cv-03699-MCR-GRJ
  13774      167920   Joshua Edery                            Mostyn Law           8:20-cv-03718-MCR-GRJ
  13775      167944   David Ficke                             Mostyn Law           8:20-cv-00009-MCR-GRJ
  13776      167966   Richard Funderburk                      Mostyn Law           8:20-cv-00030-MCR-GRJ
  13777      167970   Michael Gangi                           Mostyn Law           8:20-cv-00034-MCR-GRJ
  13778      167973   Chris Garcia                            Mostyn Law           8:20-cv-00037-MCR-GRJ
  13779      167974   Mikouel Garcia                          Mostyn Law           8:20-cv-00039-MCR-GRJ
  13780      167979   Richard Gelish                          Mostyn Law           8:20-cv-00051-MCR-GRJ
  13781      167993   Jonathan Gonzalez                       Mostyn Law           8:20-cv-00083-MCR-GRJ
  13782      167997   Shannon Graf                            Mostyn Law           8:20-cv-00092-MCR-GRJ
  13783      168005   Christopher Hadley                      Mostyn Law           8:20-cv-00111-MCR-GRJ
  13784      168017   Brice Havens                            Mostyn Law           8:20-cv-00139-MCR-GRJ
  13785      168018   Shirlnethia Hawkins                     Mostyn Law           8:20-cv-00141-MCR-GRJ
  13786      168021   Tanner Headrick                         Mostyn Law           8:20-cv-00148-MCR-GRJ
  13787      168032   Eric Hill                               Mostyn Law           8:20-cv-00180-MCR-GRJ
  13788      168033   Mack Hill                               Mostyn Law           8:20-cv-00183-MCR-GRJ
  13789      168040   Gregory Hollie                          Mostyn Law           8:20-cv-00204-MCR-GRJ
  13790      168041   James Holloway                          Mostyn Law           8:20-cv-00208-MCR-GRJ
  13791      168045   Christina Hudson                        Mostyn Law           8:20-cv-00222-MCR-GRJ
  13792      168050   Glen Hutton                             Mostyn Law           8:20-cv-00240-MCR-GRJ
  13793      168062   Larry Jenkins                           Mostyn Law           8:20-cv-00273-MCR-GRJ
  13794      168063   David Jernigan                          Mostyn Law           8:20-cv-00277-MCR-GRJ
  13795      168069   Matthew Johnson                         Mostyn Law           8:20-cv-00865-MCR-GRJ
  13796      168070   Dominique Johnson                       Mostyn Law           8:20-cv-00868-MCR-GRJ
  13797      168071   Michael Johnsted                        Mostyn Law           8:20-cv-00872-MCR-GRJ




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  13798      168072   Andrew Johnston                         Mostyn Law           8:20-cv-00875-MCR-GRJ
  13799      168077   Robert Kalert                           Mostyn Law           8:20-cv-00892-MCR-GRJ
  13800      168081   Mikey Kelemete                          Mostyn Law           8:20-cv-00905-MCR-GRJ
  13801      168095   Dennis Knight                           Mostyn Law           8:20-cv-00951-MCR-GRJ
  13802      168097   Michael Koebel                          Mostyn Law           8:20-cv-00955-MCR-GRJ
  13803      168131   Brandy Luoma                            Mostyn Law           8:20-cv-01026-MCR-GRJ
  13804      168132   Michael Lynxwiler                       Mostyn Law                                      8:20-cv-01030-MCR-GRJ
  13805      168133   James Lyons                             Mostyn Law           8:20-cv-01032-MCR-GRJ
  13806      168141   Bradley Mangan                          Mostyn Law           8:20-cv-01054-MCR-GRJ
  13807      168142   Mike Manuel                             Mostyn Law           8:20-cv-01058-MCR-GRJ
  13808      168155   Carmen Martino                          Mostyn Law           8:20-cv-01098-MCR-GRJ
  13809      168158   James Massey                            Mostyn Law           7:20-cv-38067-MCR-GRJ
  13810      168176   Shannel Mcgowan                         Mostyn Law           8:20-cv-01144-MCR-GRJ
  13811      168194   Troy Miller                             Mostyn Law           8:20-cv-01187-MCR-GRJ
  13812      168209   Robert Moore                            Mostyn Law           8:20-cv-01234-MCR-GRJ
  13813      168217   Jordan Motteler                         Mostyn Law                                      8:20-cv-01260-MCR-GRJ
  13814      168230   Timothy Obermeyer                       Mostyn Law           8:20-cv-01299-MCR-GRJ
  13815      168254   Allen Poole                             Mostyn Law           8:20-cv-01804-MCR-GRJ
  13816      168255   John Porter                             Mostyn Law           8:20-cv-01806-MCR-GRJ
  13817      168258   William Prince                          Mostyn Law           8:20-cv-01813-MCR-GRJ
  13818      168262   James Rackley                           Mostyn Law           8:20-cv-01822-MCR-GRJ
  13819      168273   Brian Remington                         Mostyn Law                                      8:20-cv-01847-MCR-GRJ
  13820      168280   Angel Rivera                            Mostyn Law           8:20-cv-01861-MCR-GRJ
  13821      168281   Hector Rivera                           Mostyn Law           8:20-cv-01863-MCR-GRJ
  13822      168288   Shakoor Rollins                         Mostyn Law           8:20-cv-01880-MCR-GRJ
  13823      168291   Scott Rooney                            Mostyn Law           8:20-cv-01890-MCR-GRJ
  13824      168309   Jessica Sears                           Mostyn Law           8:20-cv-01941-MCR-GRJ
  13825      168316   Travis Simmons                          Mostyn Law           8:20-cv-01961-MCR-GRJ
  13826      168317   Bentwan Simon                           Mostyn Law           8:20-cv-01964-MCR-GRJ
  13827      168326   Anthony Smith                           Mostyn Law           8:20-cv-01993-MCR-GRJ
  13828      168345   Cary Ster                               Mostyn Law           8:20-cv-02049-MCR-GRJ
  13829      168364   Willie Terry                            Mostyn Law           8:20-cv-02111-MCR-GRJ
  13830      168368   David Thomas                            Mostyn Law           8:20-cv-02123-MCR-GRJ
  13831      168382   Anthony Turner                          Mostyn Law           8:20-cv-02165-MCR-GRJ
  13832      168388   Mickael Valle                           Mostyn Law           8:20-cv-02185-MCR-GRJ
  13833      168389   Danielle Vanord                         Mostyn Law           8:20-cv-02188-MCR-GRJ
  13834      168390   Dustyn Vasfaret                         Mostyn Law           8:20-cv-02192-MCR-GRJ
  13835      168392   Timothy Veal                            Mostyn Law           8:20-cv-02199-MCR-GRJ
  13836      168398   Erik Villagomez                         Mostyn Law           8:20-cv-02211-MCR-GRJ
  13837      168418   Jeffrey Watson                          Mostyn Law           8:20-cv-02319-MCR-GRJ
  13838      168419   Margie Watson                           Mostyn Law           8:20-cv-02322-MCR-GRJ
  13839      168424   Louis Wegener                           Mostyn Law           8:20-cv-02339-MCR-GRJ
  13840      168427   Olin Welch                              Mostyn Law           8:20-cv-02350-MCR-GRJ
  13841      168430   Brandon Westgate                        Mostyn Law           8:20-cv-02362-MCR-GRJ
  13842      168441   Larry Williams                          Mostyn Law                                      8:20-cv-02397-MCR-GRJ
  13843      168449   George Witt                             Mostyn Law           8:20-cv-02423-MCR-GRJ
  13844      168452   Matthew Woody                           Mostyn Law           8:20-cv-02431-MCR-GRJ
  13845      168464   James Zollman                           Mostyn Law                                      8:20-cv-02485-MCR-GRJ
  13846      181408   David Adair                             Mostyn Law           8:20-cv-02286-MCR-GRJ
  13847      181414   Jonathan Alexander                      Mostyn Law           8:20-cv-02871-MCR-GRJ
  13848      181415   Glenn Alexander                         Mostyn Law           8:20-cv-02873-MCR-GRJ
  13849      181416   James Alexander                         Mostyn Law           8:20-cv-02875-MCR-GRJ
  13850      181424   Steven Anthony                          Mostyn Law                                      8:20-cv-02891-MCR-GRJ
  13851      181426   Travis Bachorski                        Mostyn Law           8:20-cv-02895-MCR-GRJ
  13852      181432   Jeremy Barbee                           Mostyn Law           8:20-cv-02907-MCR-GRJ
  13853      181434   Jazmine Barnes                          Mostyn Law           8:20-cv-02911-MCR-GRJ
  13854      181438   Daniel Bemis                            Mostyn Law           8:20-cv-02918-MCR-GRJ
  13855      181446   John Bradham                            Mostyn Law           8:20-cv-02934-MCR-GRJ
  13856      181448   Joel Brekke                             Mostyn Law           8:20-cv-02938-MCR-GRJ
  13857      181457   Rodney Burgess                          Mostyn Law           8:20-cv-02956-MCR-GRJ
  13858      181458   Charles Burns                           Mostyn Law           8:20-cv-02959-MCR-GRJ
  13859      181465   Joshua Campbell                         Mostyn Law           8:20-cv-02981-MCR-GRJ
  13860      181466   Mary Campos                             Mostyn Law           8:20-cv-02985-MCR-GRJ
  13861      181470   Matthew Carson                          Mostyn Law           8:20-cv-02997-MCR-GRJ
  13862      181471   James Casey                             Mostyn Law           8:20-cv-03000-MCR-GRJ
  13863      181472   Edward Castillo                         Mostyn Law           8:20-cv-03003-MCR-GRJ
  13864      181479   Christopher Collins                     Mostyn Law           8:20-cv-03022-MCR-GRJ
  13865      181486   Robert Crosby                           Mostyn Law           8:20-cv-03045-MCR-GRJ
  13866      181488   Lucas Cruz                              Mostyn Law           8:20-cv-03052-MCR-GRJ
  13867      181493   Devin Davidson                          Mostyn Law           8:20-cv-03067-MCR-GRJ
  13868      181496   Michael Davis                           Mostyn Law           8:20-cv-03077-MCR-GRJ
  13869      181504   Ryan Downey                             Mostyn Law           8:20-cv-03099-MCR-GRJ
  13870      181512   Alonzo Enard                            Mostyn Law           8:20-cv-03124-MCR-GRJ




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  13871      181516   Maranda Ezell                           Mostyn Law           8:20-cv-03137-MCR-GRJ
  13872      181531   Benita Futrell                          Mostyn Law           8:20-cv-03189-MCR-GRJ
  13873      181536   Godfrey Garrett                         Mostyn Law           8:20-cv-03210-MCR-GRJ
  13874      181541   Fred Gleason                            Mostyn Law           8:20-cv-03224-MCR-GRJ
  13875      181542   Ronald Glidden                          Mostyn Law           8:20-cv-03228-MCR-GRJ
  13876      181544   Stephen Goldthwaite                     Mostyn Law           8:20-cv-03235-MCR-GRJ
  13877      181556   Justin Haas                             Mostyn Law           8:20-cv-03284-MCR-GRJ
  13878      181558   Joshua Hales                            Mostyn Law           8:20-cv-03292-MCR-GRJ
  13879      181564   Amber Harkey                            Mostyn Law           8:20-cv-03316-MCR-GRJ
  13880      181566   Joshua Hatley                           Mostyn Law           8:20-cv-03320-MCR-GRJ
  13881      181567   Ethan Hazle                             Mostyn Law           8:20-cv-03323-MCR-GRJ
  13882      181568   Juanita Headley                         Mostyn Law           8:20-cv-03327-MCR-GRJ
  13883      181580   Danny Hill                              Mostyn Law           8:20-cv-03376-MCR-GRJ
  13884      181582   Michael Hodnett                         Mostyn Law           8:20-cv-03384-MCR-GRJ
  13885      181599   Sarah Jacobs                            Mostyn Law           8:20-cv-03449-MCR-GRJ
  13886      181600   Adam Jacobs                             Mostyn Law           8:20-cv-03452-MCR-GRJ
  13887      181616   Joe Kacko                               Mostyn Law           8:20-cv-03496-MCR-GRJ
  13888      181629   Larensa Leak                            Mostyn Law           8:20-cv-03535-MCR-GRJ
  13889      181631   Ryan Lewis                              Mostyn Law           8:20-cv-03543-MCR-GRJ
  13890      181639   Jackie Loucks                           Mostyn Law           8:20-cv-03572-MCR-GRJ
  13891      181640   Albert Lovato                           Mostyn Law           8:20-cv-03576-MCR-GRJ
  13892      181642   John Luna                               Mostyn Law           8:20-cv-03584-MCR-GRJ
  13893      181644   Caleb Mann                              Mostyn Law           8:20-cv-03592-MCR-GRJ
  13894      181645   Kevin Manning                           Mostyn Law           8:20-cv-03595-MCR-GRJ
  13895      181646   Ian Martin                              Mostyn Law           8:20-cv-03600-MCR-GRJ
  13896      181652   Isidoro Mata                            Mostyn Law           8:20-cv-03620-MCR-GRJ
  13897      181657   Kramer Menking                          Mostyn Law           8:20-cv-03637-MCR-GRJ
  13898      181660   David Miller                            Mostyn Law           8:20-cv-03650-MCR-GRJ
  13899      181661   Marcus Milner                           Mostyn Law           8:20-cv-03654-MCR-GRJ
  13900      181666   William Moore                           Mostyn Law           8:20-cv-03674-MCR-GRJ
  13901      181668   Robert Morgan                           Mostyn Law           8:20-cv-03682-MCR-GRJ
  13902      181671   Jeffrey Moulton                         Mostyn Law           8:20-cv-03696-MCR-GRJ
  13903      181675   Ronnie Myers                            Mostyn Law           8:20-cv-03711-MCR-GRJ
  13904      181679   Kenneth Norton                          Mostyn Law           8:20-cv-03728-MCR-GRJ
  13905      181686   Edward Patterson                        Mostyn Law           8:20-cv-03753-MCR-GRJ
  13906      181698   Jared Rausch                            Mostyn Law           8:20-cv-03795-MCR-GRJ
  13907      181704   Monique Reppert                         Mostyn Law           8:20-cv-03819-MCR-GRJ
  13908      181707   Lemichael Rhodes                        Mostyn Law           8:20-cv-03832-MCR-GRJ
  13909      181717   Connie Ross                             Mostyn Law                                      8:20-cv-03870-MCR-GRJ
  13910      181720   Spencer Saathoff                        Mostyn Law           8:20-cv-03882-MCR-GRJ
  13911      181723   Steven Samartino                        Mostyn Law           8:20-cv-03896-MCR-GRJ
  13912      181724   Hugo Sanchez                            Mostyn Law           8:20-cv-03901-MCR-GRJ
  13913      181727   Alexander Sasseen                       Mostyn Law           8:20-cv-03905-MCR-GRJ
  13914      181728   Roger Saylor                            Mostyn Law           8:20-cv-03909-MCR-GRJ
  13915      181736   Mark Seelow                             Mostyn Law           8:20-cv-04557-MCR-GRJ
  13916      181737   Victoria Sessa                          Mostyn Law           8:20-cv-04558-MCR-GRJ
  13917      181745   Michele Sirjoo                          Mostyn Law           8:20-cv-04565-MCR-GRJ
  13918      181746   Levi Skelley                            Mostyn Law                                      8:20-cv-04566-MCR-GRJ
  13919      181747   Andre Smith                             Mostyn Law                                      8:20-cv-04567-MCR-GRJ
  13920      181752   Russell Sosa                            Mostyn Law           8:20-cv-04570-MCR-GRJ
  13921      181753   Mitchell Sosinski                       Mostyn Law           8:20-cv-04571-MCR-GRJ
  13922      181761   Nathan Stevens                          Mostyn Law           8:20-cv-04580-MCR-GRJ
  13923      181767   Albert Strumke                          Mostyn Law           8:20-cv-04586-MCR-GRJ
  13924      181768   Fernando Suriel                         Mostyn Law           8:20-cv-04587-MCR-GRJ
  13925      181774   Jeffrey Terrian                         Mostyn Law           8:20-cv-04593-MCR-GRJ
  13926      181776   Roger Tiapula                           Mostyn Law           8:20-cv-04597-MCR-GRJ
  13927      181779   Willis Tolliver                         Mostyn Law           8:20-cv-04602-MCR-GRJ
  13928      181781   Jose Tovar                              Mostyn Law           8:20-cv-04605-MCR-GRJ
  13929      181789   Apenisa Tuisavura                       Mostyn Law           8:20-cv-04619-MCR-GRJ
  13930      181794   Jerred Underhill                        Mostyn Law           8:20-cv-04630-MCR-GRJ
  13931      181798   Rodolfo Vega                            Mostyn Law           8:20-cv-04638-MCR-GRJ
  13932      181806   Craig Wagner                            Mostyn Law           8:20-cv-04657-MCR-GRJ
  13933      181809   Elray Walker                            Mostyn Law           8:20-cv-04666-MCR-GRJ
  13934      181810   Shawn Walker                            Mostyn Law           8:20-cv-04668-MCR-GRJ
  13935      181811   Swail Walker                            Mostyn Law           8:20-cv-04670-MCR-GRJ
  13936      181813   Charles Warren                          Mostyn Law           8:20-cv-04675-MCR-GRJ
  13937      181824   Dillon Whitney                          Mostyn Law           8:20-cv-04708-MCR-GRJ
  13938      181825   Robert Wicks                            Mostyn Law           8:20-cv-04712-MCR-GRJ
  13939      181827   Ronald Williams                         Mostyn Law           8:20-cv-04718-MCR-GRJ
  13940      181833   Erik Wilson                             Mostyn Law           8:20-cv-04740-MCR-GRJ
  13941      181836   Nicole Wolstencroft                     Mostyn Law           8:20-cv-04750-MCR-GRJ
  13942      181840   Lewina Woodward                         Mostyn Law           8:20-cv-04764-MCR-GRJ
  13943      181842   Timothy Wyatt                           Mostyn Law                                      8:20-cv-04771-MCR-GRJ




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  13944      181843   Anita Yarborough                        Mostyn Law                                      8:20-cv-04775-MCR-GRJ
  13945      181845   Derick Young                            Mostyn Law           8:20-cv-04782-MCR-GRJ
  13946      181846   Nathaniel Zolin                         Mostyn Law           8:20-cv-04785-MCR-GRJ
  13947      200106   William Adams                           Mostyn Law           8:20-cv-42697-MCR-GRJ
  13948      200112   Christopher Andrews                     Mostyn Law           8:20-cv-42720-MCR-GRJ
  13949      200113   Phillip Arcona                          Mostyn Law           8:20-cv-42724-MCR-GRJ
  13950      200116   Carlos Arroyo                           Mostyn Law           8:20-cv-42735-MCR-GRJ
  13951      200122   Jeremy Barnes                           Mostyn Law           8:20-cv-42758-MCR-GRJ
  13952      200129   Jason Begemann                          Mostyn Law           8:20-cv-42785-MCR-GRJ
  13953      200137   Robert Bobino                           Mostyn Law           8:20-cv-42816-MCR-GRJ
  13954      200139   Eddie Bomagat                           Mostyn Law           8:20-cv-42824-MCR-GRJ
  13955      200146   Daisha Bracey                           Mostyn Law           8:20-cv-42851-MCR-GRJ
  13956      200148   Voris Brewer                            Mostyn Law                                      8:20-cv-42859-MCR-GRJ
  13957      200155   Adam Burnette                           Mostyn Law           8:20-cv-42887-MCR-GRJ
  13958      200156   Joshua Bush                             Mostyn Law           8:20-cv-42890-MCR-GRJ
  13959      200158   Tanya Byrd                              Mostyn Law           8:20-cv-42898-MCR-GRJ
  13960      200159   Zachary Cantwell                        Mostyn Law           8:20-cv-42902-MCR-GRJ
  13961      200160   John Carlton                            Mostyn Law           8:20-cv-42906-MCR-GRJ
  13962      200163   Daniel Castro                           Mostyn Law           8:20-cv-42917-MCR-GRJ
  13963      200164   Jarrel Cathie                           Mostyn Law           8:20-cv-42921-MCR-GRJ
  13964      200168   Ronald Christian                        Mostyn Law           8:20-cv-42936-MCR-GRJ
  13965      200175   Dominique Counts                        Mostyn Law           8:20-cv-42963-MCR-GRJ
  13966      200176   Wardell Coward                          Mostyn Law           8:20-cv-42967-MCR-GRJ
  13967      200181   Robert Curtis                           Mostyn Law           8:20-cv-42987-MCR-GRJ
  13968      200190   Earl Dorsey                             Mostyn Law           8:20-cv-43021-MCR-GRJ
  13969      200200   Rafael Fidis                            Mostyn Law           8:20-cv-43052-MCR-GRJ
  13970      200204   Thornton Fordham                        Mostyn Law           8:20-cv-43065-MCR-GRJ
  13971      200215   Timothy Giles                           Mostyn Law           8:20-cv-43097-MCR-GRJ
  13972      200219   Yoenid Gordon                           Mostyn Law           8:20-cv-43108-MCR-GRJ
  13973      200220   Kerran Green                            Mostyn Law           8:20-cv-43110-MCR-GRJ
  13974      200230   Ricky Harris                            Mostyn Law           8:20-cv-43128-MCR-GRJ
  13975      200234   Jeremy Henderson                        Mostyn Law           8:20-cv-43136-MCR-GRJ
  13976      200235   Rachel Hess                             Mostyn Law           8:20-cv-43138-MCR-GRJ
  13977      200236   Richard Hidalgo                         Mostyn Law           8:20-cv-43139-MCR-GRJ
  13978      200241   George Ingram                           Mostyn Law           8:20-cv-43149-MCR-GRJ
  13979      200242   Lisa Iron Bear                          Mostyn Law                                      8:20-cv-43150-MCR-GRJ
  13980      200247   Christopher Johnson                     Mostyn Law           8:20-cv-43159-MCR-GRJ
  13981      200249   Eboney Jones                            Mostyn Law           8:20-cv-43163-MCR-GRJ
  13982      200250   Julie Jordon                            Mostyn Law           8:20-cv-43165-MCR-GRJ
  13983      200254   Ishanomar Khowaja                       Mostyn Law           8:20-cv-43173-MCR-GRJ
  13984      200256   Billy Lathery                           Mostyn Law                                      8:20-cv-43177-MCR-GRJ
  13985      200265   Nathan Littlefield                      Mostyn Law           8:20-cv-43192-MCR-GRJ
  13986      200268   Brandon Looney                          Mostyn Law           8:20-cv-43197-MCR-GRJ
  13987      200269   Fernando Lopez                          Mostyn Law           8:20-cv-43199-MCR-GRJ
  13988      200270   Luis Lopezmarrero                       Mostyn Law           8:20-cv-43201-MCR-GRJ
  13989      200272   Timothy Lubkeman                        Mostyn Law           8:20-cv-43205-MCR-GRJ
  13990      200274   Annah Lyles                             Mostyn Law           8:20-cv-43209-MCR-GRJ
  13991      200275   Stephanie Lynch                         Mostyn Law           8:20-cv-43210-MCR-GRJ
  13992      200280   Leo Markfort                            Mostyn Law           8:20-cv-43220-MCR-GRJ
  13993      200281   Destiny Marshall                        Mostyn Law           8:20-cv-43222-MCR-GRJ
  13994      200282   Willis Martin                           Mostyn Law           8:20-cv-43224-MCR-GRJ
  13995      200286   Carlos Mata                             Mostyn Law           8:20-cv-43232-MCR-GRJ
  13996      200288   Ashley Mcbride                          Mostyn Law           8:20-cv-43236-MCR-GRJ
  13997      200292   Maureen Mcmonagle                       Mostyn Law           8:20-cv-43243-MCR-GRJ
  13998      200297   Thomas Mitchell                         Mostyn Law           8:20-cv-43253-MCR-GRJ
  13999      200300   Jeff Molnar                             Mostyn Law           8:20-cv-43259-MCR-GRJ
  14000      200302   Constance Morales                       Mostyn Law           8:20-cv-43262-MCR-GRJ
  14001      200306   William Murray                          Mostyn Law           8:20-cv-43270-MCR-GRJ
  14002      200309   Auston Nelles                           Mostyn Law           8:20-cv-43487-MCR-GRJ
  14003      200310   Stefan Norton                           Mostyn Law           8:20-cv-43489-MCR-GRJ
  14004      200312   James Parker                            Mostyn Law           8:20-cv-43495-MCR-GRJ
  14005      200318   Steve Pennington                        Mostyn Law           8:20-cv-43512-MCR-GRJ
  14006      200319   Dom Perez                               Mostyn Law                                      8:20-cv-43515-MCR-GRJ
  14007      200327   Bruce Pouliot                           Mostyn Law           8:20-cv-43537-MCR-GRJ
  14008      200329   Tonia Prathee                           Mostyn Law           8:20-cv-43543-MCR-GRJ
  14009      200335   Kerry Rice                              Mostyn Law                                      8:20-cv-43559-MCR-GRJ
  14010      200337   Jordan Richardson                       Mostyn Law           8:20-cv-43565-MCR-GRJ
  14011      200339   Joseph Rinehart                         Mostyn Law           8:20-cv-43571-MCR-GRJ
  14012      200346   Mike Runyan                             Mostyn Law           8:20-cv-43590-MCR-GRJ
  14013      200347   Byrun Rupert                            Mostyn Law           8:20-cv-43592-MCR-GRJ
  14014      200351   Donald Sanford                          Mostyn Law           8:20-cv-43600-MCR-GRJ
  14015      200360   Evelyn Shook                            Mostyn Law           8:20-cv-43619-MCR-GRJ
  14016      200362   Spencer Smith                           Mostyn Law           8:20-cv-43623-MCR-GRJ




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  14017      200369   Ryan Sunman                             Mostyn Law           8:20-cv-43637-MCR-GRJ
  14018      200374   Daniel Thomas                           Mostyn Law           8:20-cv-43648-MCR-GRJ
  14019      200376   Eric Thornhill                          Mostyn Law           8:20-cv-43652-MCR-GRJ
  14020      200386   Roddric Wallace                         Mostyn Law           8:20-cv-43672-MCR-GRJ
  14021      200392   Venus White                             Mostyn Law           8:20-cv-43685-MCR-GRJ
  14022      200397   Lynn Willocks                           Mostyn Law           8:20-cv-43695-MCR-GRJ
  14023      254697   Rhonda Miller                           Mostyn Law           8:20-cv-97320-MCR-GRJ
  14024      254700   Ramon Caldwell                          Mostyn Law           8:20-cv-97323-MCR-GRJ
  14025      254702   Alan Comer                              Mostyn Law           8:20-cv-97325-MCR-GRJ
  14026      254706   Kenneth Simmons                         Mostyn Law           8:20-cv-97329-MCR-GRJ
  14027      254714   Jeffery Chamberlain                     Mostyn Law           8:20-cv-97337-MCR-GRJ
  14028      254720   Jerrick Hodge                           Mostyn Law           8:20-cv-97399-MCR-GRJ
  14029      254721   Andrea Maye                             Mostyn Law           8:20-cv-97401-MCR-GRJ
  14030      254724   Nicole Hearne                           Mostyn Law           8:20-cv-97407-MCR-GRJ
  14031      254728   Antwon Mccloud                          Mostyn Law           8:20-cv-97415-MCR-GRJ
  14032      254730   Michael Smith                           Mostyn Law           8:20-cv-97419-MCR-GRJ
  14033      254732   Michael Brazil                          Mostyn Law           8:20-cv-97423-MCR-GRJ
  14034      254733   Johnnie Walker                          Mostyn Law           8:20-cv-97425-MCR-GRJ
  14035      254734   Patsy Demichele                         Mostyn Law           8:20-cv-97427-MCR-GRJ
  14036      254735   Sheri Adams                             Mostyn Law           8:20-cv-97429-MCR-GRJ
  14037      254739   John Villanueva                         Mostyn Law           8:20-cv-97436-MCR-GRJ
  14038      254744   Michael Jakubiw                         Mostyn Law           8:20-cv-97446-MCR-GRJ
  14039      254754   Joseph Howard                           Mostyn Law           8:20-cv-97466-MCR-GRJ
  14040      254759   Theodore Jenkins                        Mostyn Law           8:20-cv-97476-MCR-GRJ
  14041      254769   William Fincher                         Mostyn Law           8:20-cv-97496-MCR-GRJ
  14042      254770   Brandon Gregg                           Mostyn Law           8:20-cv-97498-MCR-GRJ
  14043      254772   Nathaniel Williams                      Mostyn Law           8:20-cv-97502-MCR-GRJ
  14044      254774   Robert Hamilton                         Mostyn Law           8:20-cv-97505-MCR-GRJ
  14045      254778   Eric Webb                               Mostyn Law           8:20-cv-97513-MCR-GRJ
  14046      254781   Natasha Sargent                         Mostyn Law           8:20-cv-97519-MCR-GRJ
  14047      254787   Robert Walker                           Mostyn Law           8:20-cv-97531-MCR-GRJ
  14048      254791   Roland Hall                             Mostyn Law           8:20-cv-97539-MCR-GRJ
  14049      254792   Andrew Durham                           Mostyn Law           8:20-cv-97541-MCR-GRJ
  14050      254800   Robert Mcqueen                          Mostyn Law           8:20-cv-97557-MCR-GRJ
  14051      254805   John Powell                             Mostyn Law           8:20-cv-97567-MCR-GRJ
  14052      254809   Gilbert Saenz                           Mostyn Law           8:20-cv-97573-MCR-GRJ
  14053      254820   William Wheeler                         Mostyn Law           8:20-cv-97584-MCR-GRJ
  14054      254825   Kevin Bronaugh                          Mostyn Law           8:20-cv-97589-MCR-GRJ
  14055      254835   Matthew Vanderstouwe                    Mostyn Law           8:20-cv-97599-MCR-GRJ
  14056      254838   Henry King                              Mostyn Law                                      8:20-cv-97602-MCR-GRJ
  14057      254839   Keith Ames                              Mostyn Law           8:20-cv-97603-MCR-GRJ
  14058      254842   David Soto                              Mostyn Law           8:20-cv-97606-MCR-GRJ
  14059      254844   Lynsey Hammond                          Mostyn Law                                      8:20-cv-97608-MCR-GRJ
  14060      254846   Felicita Martinez                       Mostyn Law           8:20-cv-97610-MCR-GRJ
  14061      254852   Qweon Grant                             Mostyn Law           8:20-cv-97616-MCR-GRJ
  14062      254856   Amanda Cuevas                           Mostyn Law           8:20-cv-97620-MCR-GRJ
  14063      254857   Dawyne Jones                            Mostyn Law                                      8:20-cv-97621-MCR-GRJ
  14064      254863   Celibacy Messick                        Mostyn Law           8:20-cv-97627-MCR-GRJ
  14065      254867   Diego Lozano                            Mostyn Law           8:20-cv-97631-MCR-GRJ
  14066      254868   Nicholas Martinez                       Mostyn Law           8:20-cv-97632-MCR-GRJ
  14067      277422   Francis Brock                           Mostyn Law           9:20-cv-18810-MCR-GRJ
  14068      277424   Maximus Brumback                        Mostyn Law           9:20-cv-18812-MCR-GRJ
  14069      277425   Shane Budd                              Mostyn Law           9:20-cv-18813-MCR-GRJ
  14070      277427   Kevin Campbell                          Mostyn Law           9:20-cv-18815-MCR-GRJ
  14071      277428   Joseph Casanova                         Mostyn Law           9:20-cv-18816-MCR-GRJ
  14072      277429   Arthur Coleman                          Mostyn Law           9:20-cv-18817-MCR-GRJ
  14073      277432   Dennis Covington                        Mostyn Law           9:20-cv-18820-MCR-GRJ
  14074      277436   Kiara Dixon                             Mostyn Law           9:20-cv-18824-MCR-GRJ
  14075      277444   Cory Gleason                            Mostyn Law           9:20-cv-18832-MCR-GRJ
  14076      277447   Stephen Hammond                         Mostyn Law           9:20-cv-18835-MCR-GRJ
  14077      277450   Thomas Hibert                           Mostyn Law           9:20-cv-18838-MCR-GRJ
  14078      277453   Aracely Jordan                          Mostyn Law                                      9:20-cv-18841-MCR-GRJ
  14079      277460   Jonathan Maynard                        Mostyn Law           9:20-cv-18848-MCR-GRJ
  14080      277461   Brett Mcneal                            Mostyn Law           9:20-cv-18849-MCR-GRJ
  14081      277462   Jason Melton                            Mostyn Law           9:20-cv-18850-MCR-GRJ
  14082      277468   Gary Pietrangelo                        Mostyn Law           9:20-cv-18856-MCR-GRJ
  14083      277471   Christopher Ridgway                     Mostyn Law           9:20-cv-18859-MCR-GRJ
  14084      277474   John Savage                             Mostyn Law           9:20-cv-18862-MCR-GRJ
  14085      277479   Christopher Taylor                      Mostyn Law           9:20-cv-18867-MCR-GRJ
  14086      277481   Derek Turner                            Mostyn Law           9:20-cv-18869-MCR-GRJ
  14087      277484   Jonathon Waldron                        Mostyn Law                                      9:20-cv-18872-MCR-GRJ
  14088      277486   Hugh Welden                             Mostyn Law                                      9:20-cv-18874-MCR-GRJ
  14089      277487   Kean Wessner                            Mostyn Law           9:20-cv-18875-MCR-GRJ




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  14090      277489   Terrence Williams                       Mostyn Law                 9:20-cv-18877-MCR-GRJ
  14091      299286   Paul Franco                             Mostyn Law                 7:21-cv-51839-MCR-GRJ
  14092      299290   James Jackson                           Mostyn Law                 7:21-cv-51843-MCR-GRJ
  14093      299293   Marc Troch                              Mostyn Law                 7:21-cv-51846-MCR-GRJ
  14094      299294   Gavin Glinski                           Mostyn Law                 7:21-cv-51847-MCR-GRJ
  14095      299297   Matthew Beckett                         Mostyn Law                 7:21-cv-51850-MCR-GRJ
  14096      299301   Matthew Canepa                          Mostyn Law                 7:21-cv-51854-MCR-GRJ
  14097      317394   Virnesha Dowdell                        Mostyn Law                 7:21-cv-51856-MCR-GRJ
  14098      317400   Italo Martinez                          Mostyn Law                 7:21-cv-51862-MCR-GRJ
  14099      317408   Thaddeus Berry                          Mostyn Law                 7:21-cv-51870-MCR-GRJ
  14100      326594   Terry Kuberski                          Mostyn Law                 7:21-cv-51879-MCR-GRJ
  14101      326614   Bryan Mcquirk                           Mostyn Law                 7:21-cv-51882-MCR-GRJ
  14102      326624   Antonio Hernandez                       Mostyn Law                 7:21-cv-51883-MCR-GRJ
  14103      345918   Cristian Aguirre                        Mostyn Law                 7:21-cv-64677-MCR-GRJ
  14104      345919   Alan Allosada                           Mostyn Law                 7:21-cv-64678-MCR-GRJ
  14105      345921   Timothy Ayer                            Mostyn Law                 7:21-cv-64680-MCR-GRJ
  14106      345925   Thomas Ball                             Mostyn Law                 7:21-cv-64684-MCR-GRJ
  14107      345927   Andrew Basgall                          Mostyn Law                 7:21-cv-64686-MCR-GRJ
  14108      345928   Glen Batzinger                          Mostyn Law                 7:21-cv-64687-MCR-GRJ
  14109      345936   Regina Calder                           Mostyn Law                 7:21-cv-64695-MCR-GRJ
  14110      345938   Paul Celestine                          Mostyn Law                 7:21-cv-64697-MCR-GRJ
  14111      345943   William Clay                            Mostyn Law                 7:21-cv-64702-MCR-GRJ
  14112      345944   Luis Coria                              Mostyn Law                 7:21-cv-64703-MCR-GRJ
  14113      345949   Darrel Davis                            Mostyn Law                 7:21-cv-64708-MCR-GRJ
  14114      345956   Sonja Elzy                              Mostyn Law                 7:21-cv-64715-MCR-GRJ
  14115      345960   Andrew Flanders                         Mostyn Law                 7:21-cv-64719-MCR-GRJ
  14116      345962   Duane Freyberger                        Mostyn Law                 7:21-cv-64721-MCR-GRJ
  14117      345966   Pedro Gonzalez                          Mostyn Law                 7:21-cv-64725-MCR-GRJ
  14118      345967   Elsy Gonzalez                           Mostyn Law                 7:21-cv-64726-MCR-GRJ
  14119      345974   Philip Higdon                           Mostyn Law                 7:21-cv-64733-MCR-GRJ
  14120      345976   Mary Jette-Leonard                      Mostyn Law                                            7:21-cv-64735-MCR-GRJ
  14121      345979   Daryl Kent                              Mostyn Law                 7:21-cv-64738-MCR-GRJ
  14122      345980   Thomas Lara                             Mostyn Law                 7:21-cv-64739-MCR-GRJ
  14123      345981   Jordan Lemon                            Mostyn Law                 7:21-cv-64740-MCR-GRJ
  14124      345982   Andrew Licciardello                     Mostyn Law                 7:21-cv-64741-MCR-GRJ
  14125      345983   Robert Luscomb                          Mostyn Law                 7:21-cv-64742-MCR-GRJ
  14126      345984   Chase Mackey                            Mostyn Law                                            7:21-cv-64743-MCR-GRJ
  14127      345985   Tanner Marshall                         Mostyn Law                 7:21-cv-64744-MCR-GRJ
  14128      345986   Gabriel Martinez                        Mostyn Law                                            7:21-cv-64745-MCR-GRJ
  14129      345987   Canady Matthews                         Mostyn Law                 7:21-cv-64746-MCR-GRJ
  14130      345991   Norbert Mendiola                        Mostyn Law                 7:21-cv-64750-MCR-GRJ
  14131      345995   Jesus Navedo                            Mostyn Law                 7:21-cv-64754-MCR-GRJ
  14132      345997   Matthew Obenza                          Mostyn Law                 7:21-cv-64756-MCR-GRJ
  14133      346005   Dominique Pruitt                        Mostyn Law                 7:21-cv-64764-MCR-GRJ
  14134      346006   Daryl Quides                            Mostyn Law                 7:21-cv-64765-MCR-GRJ
  14135      346010   Joseph Rogers                           Mostyn Law                 7:21-cv-64769-MCR-GRJ
  14136      346012   Boimah Sambolah                         Mostyn Law                 7:21-cv-64771-MCR-GRJ
  14137      346017   Kyle Slicker                            Mostyn Law                 7:21-cv-64776-MCR-GRJ
  14138      346019   David Soucy                             Mostyn Law                 7:21-cv-64778-MCR-GRJ
  14139      346023   Joshua Taylor                           Mostyn Law                 7:21-cv-64782-MCR-GRJ
  14140      346027   Joseph Todd                             Mostyn Law                 7:21-cv-64786-MCR-GRJ
  14141      346030   Matthew Veazie                          Mostyn Law                 7:21-cv-64789-MCR-GRJ
  14142      346031   Blake Vivona                            Mostyn Law                 7:21-cv-64790-MCR-GRJ
  14143      346032   Brandon Wallace                         Mostyn Law                 7:21-cv-64791-MCR-GRJ
  14144      346035   Scott Weltz                             Mostyn Law                 7:21-cv-64794-MCR-GRJ
  14145      346037   Freddie Whitehead                       Mostyn Law                 7:21-cv-64796-MCR-GRJ
  14146      346038   Richard Wigginton                       Mostyn Law                 7:21-cv-64797-MCR-GRJ
  14147      346039   Opal Williams                           Mostyn Law                 7:21-cv-64798-MCR-GRJ
  14148      346040   Twylla Willis                           Mostyn Law                 7:21-cv-64799-MCR-GRJ
  14149      346041   Gregory Zurita                          Mostyn Law                 7:21-cv-64800-MCR-GRJ
  14150       4742    Rocky Brown                             Motley Rice, LLC                                      7:20-cv-42919-MCR-GRJ
  14151      181105   Jeremy Kauwe                            Motley Rice, LLC                                      7:20-cv-66734-MCR-GRJ
  14152      181108   Peter Montgomery                        Motley Rice, LLC           7:20-cv-66742-MCR-GRJ
  14153      181109   Timothy Phillips                        Motley Rice, LLC                                      7:20-cv-66746-MCR-GRJ
  14154      207319   Justin Bond                             Motley Rice, LLC                                      8:20-cv-52668-MCR-GRJ
  14155      207363   James Kirkley                           Motley Rice, LLC           8:20-cv-59294-MCR-GRJ
  14156      207378   Jr Mircovich                            Motley Rice, LLC                                      8:20-cv-59300-MCR-GRJ
  14157      207386   Tad Ormsby                              Motley Rice, LLC                                      8:20-cv-52814-MCR-GRJ
  14158      207393   Jason Pool                              Motley Rice, LLC           8:20-cv-52837-MCR-GRJ
  14159      224128   Jerome Trent                            Motley Rice, LLC           8:20-cv-66754-MCR-GRJ
  14160      224136   Philip Northcutt                        Motley Rice, LLC           8:20-cv-66806-MCR-GRJ
  14161      224138   Victorio Garcia                         Motley Rice, LLC           8:20-cv-66820-MCR-GRJ
  14162      234566   Raymond Bowyer                          Motley Rice, LLC           8:20-cv-74914-MCR-GRJ




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  14163      234577   Mark Gatlin                             Motley Rice, LLC                                            8:20-cv-74947-MCR-GRJ
  14164      234597   Dana Rimmer                             Motley Rice, LLC                                            8:20-cv-75002-MCR-GRJ
  14165      237443   Andrea Loguidice                        Motley Rice, LLC                 8:20-cv-82462-MCR-GRJ
  14166      237464   Corey Brodsky                           Motley Rice, LLC                                            8:20-cv-82504-MCR-GRJ
  14167      237474   Edwin Santiago                          Motley Rice, LLC                 8:20-cv-82524-MCR-GRJ
  14168      237489   Jon Williams                            Motley Rice, LLC                                            8:20-cv-82554-MCR-GRJ
  14169      237496   Marcus Mcpherson                        Motley Rice, LLC                                            8:20-cv-82568-MCR-GRJ
  14170      258846   Alexander Mack                          Motley Rice, LLC                 8:20-cv-99628-MCR-GRJ
  14171      288523   Joseph Banks                            Motley Rice, LLC                                            7:21-cv-10058-MCR-GRJ
  14172      17094    Cara Birritteri                         Murphy Law Firm                                             7:20-cv-82018-MCR-GRJ
  14173      17127    John Henao Garcia                       Murphy Law Firm                                             7:20-cv-94830-MCR-GRJ
  14174      17144    Dexter Bevis                            Murphy Law Firm                  7:20-cv-82072-MCR-GRJ
  14175      17194    Christopher Watkins                     Murphy Law Firm                                             7:20-cv-99260-MCR-GRJ
  14176      17266    Steve Allen                             Murphy Law Firm                  7:20-cv-82183-MCR-GRJ
  14177      17318    Karl Myers                              Murphy Law Firm                  7:20-cv-94950-MCR-GRJ
  14178      17329    Vincent Matthews                        Murphy Law Firm                  7:20-cv-94956-MCR-GRJ
  14179      17334    Phillip Smith                           Murphy Law Firm                  7:20-cv-99382-MCR-GRJ
  14180      17424    Jermaine Jackson                        Murphy Law Firm                                             7:20-cv-95036-MCR-GRJ
  14181      17446    Herbert Chaney                          Murphy Law Firm                                             7:20-cv-82294-MCR-GRJ
  14182      17460    John Tetzlaff                           Murphy Law Firm                                             7:20-cv-99485-MCR-GRJ
  14183      17473    Shawn Fritz                             Murphy Law Firm                                             7:20-cv-82327-MCR-GRJ
  14184      17579    Carlos Robinson                         Murphy Law Firm                                             7:20-cv-99544-MCR-GRJ
  14185      17588    Zacharia Housworth                      Murphy Law Firm                                             7:20-cv-95218-MCR-GRJ
  14186      17602    Timothy Fuller                          Murphy Law Firm                  7:20-cv-82422-MCR-GRJ
  14187      17632    Anthony Dancy                           Murphy Law Firm                  7:20-cv-82436-MCR-GRJ
  14188      17655    Michael Vines                           Murphy Law Firm                  7:20-cv-99311-MCR-GRJ
  14189      17686    Howard Herron                           Murphy Law Firm                  7:20-cv-95336-MCR-GRJ
  14190      17724    John Griffith                           Murphy Law Firm                                             7:20-cv-95405-MCR-GRJ
  14191      17727    Lionel Dufrene                          Murphy Law Firm                                             7:20-cv-82529-MCR-GRJ
  14192      17778    Henry Mcfarland                         Murphy Law Firm                                             7:20-cv-95504-MCR-GRJ
  14193      17814    Dustin Hooker                           Murphy Law Firm                  7:20-cv-95550-MCR-GRJ
  14194      17816    Hugh Perry                              Murphy Law Firm                                             7:20-cv-99422-MCR-GRJ
  14195      17867    Payden Snyder                           Murphy Law Firm                  7:20-cv-99450-MCR-GRJ
  14196      17902    Sean Hoener                             Murphy Law Firm                  7:20-cv-95635-MCR-GRJ
  14197      17942    Timothy Ethridge                        Murphy Law Firm                  8:20-cv-05903-MCR-GRJ
  14198      17950    Randy Jaramillo                         Murphy Law Firm                  7:20-cv-95689-MCR-GRJ
  14199      17982    Travis Huggett                          Murphy Law Firm                  7:20-cv-95726-MCR-GRJ
  14200      18001    Zachary O'Connor                        Murphy Law Firm                  7:20-cv-99527-MCR-GRJ
  14201      18022    James Lindsey                           Murphy Law Firm                                             7:20-cv-95792-MCR-GRJ
  14202      18023    Edgar Figueroa Dimas                    Murphy Law Firm                  7:20-cv-82964-MCR-GRJ
  14203      18053    John Taylor                             Murphy Law Firm                  7:20-cv-99576-MCR-GRJ
  14204      18078    Nikolas Stelfox                         Murphy Law Firm                                             7:20-cv-99593-MCR-GRJ
  14205      18079    Elijah Dougherty                        Murphy Law Firm                  7:20-cv-83000-MCR-GRJ
  14206      18081    Jose Espada Ortiz                       Murphy Law Firm                                             7:20-cv-83003-MCR-GRJ
  14207      18114    Michael Steffen                         Murphy Law Firm                  7:20-cv-99606-MCR-GRJ
  14208      18214    Tanner Jones                            Murphy Law Firm                  7:20-cv-96043-MCR-GRJ
  14209      18240    Brian Crain                             Murphy Law Firm                                             7:20-cv-83139-MCR-GRJ
  14210      18252    Victor Rodriguez                        Murphy Law Firm                                             7:20-cv-99665-MCR-GRJ
  14211      156679   Robert Moore                            Murphy Law Firm                                             8:20-cv-28107-MCR-GRJ
  14212      158046   Michael Berumen                         Murphy Law Firm                  8:20-cv-28130-MCR-GRJ
  14213      158612   Leroy Woodard                           Murphy Law Firm                  8:20-cv-28134-MCR-GRJ
  14214      161005   Isaac Peters                            Murphy Law Firm                  8:20-cv-28159-MCR-GRJ
  14215      161118   Danny Brown                             Murphy Law Firm                  8:20-cv-28162-MCR-GRJ
  14216      162187   Marc Leischen                           Murphy Law Firm                  8:20-cv-28199-MCR-GRJ
  14217      172794   Jaremy Austin                           Murphy Law Firm                  8:20-cv-35337-MCR-GRJ
  14218      174900   John Caffey                             Murphy Law Firm                                             7:20-cv-44363-MCR-GRJ
  14219      182274   Anthony Coats                           Murphy Law Firm                                             8:20-cv-36553-MCR-GRJ
  14220      182275   Patrick Dreyer                          Murphy Law Firm                  8:20-cv-36555-MCR-GRJ
  14221      182280   Alexander Garcia                        Murphy Law Firm                                             8:20-cv-36569-MCR-GRJ
  14222      219565   Travis Black                            Murphy Law Firm                                             8:20-cv-64545-MCR-GRJ
  14223      219569   Andrew Gallo                            Murphy Law Firm                  8:20-cv-64549-MCR-GRJ
  14224      219581   James Scarberry                         Murphy Law Firm                                             8:20-cv-64561-MCR-GRJ
  14225      219586   Andrew Wehr                             Murphy Law Firm                  8:20-cv-64566-MCR-GRJ
  14226      49376    Joshua Bradshaw                         Murphy Law Group, P.C.                                      8:20-cv-12153-MCR-GRJ
  14227      49382    Patrick Hughes                          Murphy Law Group, P.C.                                      8:20-cv-12176-MCR-GRJ
  14228      49383    Peter Dyer                              Murphy Law Group, P.C.                                      8:20-cv-12180-MCR-GRJ
  14229      361015   April Reed                              Nabors Law Firm                                             3:22-cv-05019-MCR-GRJ
  14230      29414    Ethan Astaphan                          Napoli Shkolnik PLLC                                        8:20-cv-05808-MCR-GRJ
  14231      29415    Kerrie Augustyn                         Napoli Shkolnik PLLC                                        8:20-cv-05812-MCR-GRJ
  14232      29416    Frederick Basnight                      Napoli Shkolnik PLLC                                        8:20-cv-05816-MCR-GRJ
  14233      29417    William Bell                            Napoli Shkolnik PLLC                                        8:20-cv-05821-MCR-GRJ
  14234      29437    Stephen Foster                          Napoli Shkolnik PLLC                                        8:20-cv-05910-MCR-GRJ
  14235      29469    Terry Riccolo                           Napoli Shkolnik PLLC                                        8:20-cv-06042-MCR-GRJ




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  14236      29477    Cedric Spring                           Napoli Shkolnik PLLC                                       8:20-cv-06067-MCR-GRJ
  14237      147835   Ashley Pratt                            Napoli Shkolnik PLLC                                       3:19-cv-01356-MCR-GRJ
  14238      194339   Roger Andrews                           Napoli Shkolnik PLLC                                       8:20-cv-40146-MCR-GRJ
  14239      194368   Tyler Freeman                           Napoli Shkolnik PLLC                                       8:20-cv-40191-MCR-GRJ
  14240      251985   Tara Hall                               Napoli Shkolnik PLLC                                       8:20-cv-98214-MCR-GRJ
  14241      262363   Patrick Defrias                         Napoli Shkolnik PLLC                                       9:20-cv-09632-MCR-GRJ
  14242      262364   Mark Mcgahhey                           Napoli Shkolnik PLLC                                       9:20-cv-09634-MCR-GRJ
  14243      262375   Ryan Sparks                             Napoli Shkolnik PLLC                                       9:20-cv-09655-MCR-GRJ
  14244      274612   Mark Tuttle                             Napoli Shkolnik PLLC                                       9:20-cv-17564-MCR-GRJ
  14245      298708   Travis Barrett                          Napoli Shkolnik PLLC                                       7:21-cv-20064-MCR-GRJ
  14246      298719   Alvin Hayes                             Napoli Shkolnik PLLC                                       7:21-cv-20071-MCR-GRJ
  14247      298720   Mediah Harrison                         Napoli Shkolnik PLLC                                       7:21-cv-20072-MCR-GRJ
  14248      298721   Doug Henselmeier                        Napoli Shkolnik PLLC                                       7:21-cv-20073-MCR-GRJ
  14249      298725   Alan Medders                            Napoli Shkolnik PLLC                                       7:21-cv-20077-MCR-GRJ
  14250      298726   Sharon Pew                              Napoli Shkolnik PLLC                                       7:21-cv-20078-MCR-GRJ
  14251      309759   Charles Joseph                          Napoli Shkolnik PLLC                                       7:21-cv-31007-MCR-GRJ
  14252      274595   Kory Adams                              O'Bell Law Firm, LLC                                       3:20-cv-04066-MCR-GRJ
  14253      274624   Christopher Michael                     O'Bell Law Firm, LLC                                       3:20-cv-04912-MCR-GRJ
  14254      274625   Emily Osborn                            O'Bell Law Firm, LLC                                       3:20-cv-03865-MCR-GRJ
  14255      274627   Sara Richards                           O'Bell Law Firm, LLC                                       3:20-cv-00744-MCR-GRJ
  14256      274629   Cynthia Allen                           O'Bell Law Firm, LLC                                       3:20-cv-03867-MCR-GRJ
  14257      274631   Brad Naquin                             O'Bell Law Firm, LLC                                       3:20-cv-00138-MCR-GRJ
  14258       5476    Teddy Lawrence                          Oliver Law Group P.C.                                      8:20-cv-04294-MCR-GRJ
  14259       5479    Raquel Mays                             Oliver Law Group P.C.                                      8:20-cv-04303-MCR-GRJ
  14260       5481    Edgar Medina                            Oliver Law Group P.C.                                      8:20-cv-04309-MCR-GRJ
  14261       5482    Robert Mitchell                         Oliver Law Group P.C.                                      8:20-cv-04313-MCR-GRJ
  14262       5485    Michael Murray                          Oliver Law Group P.C.                                      8:20-cv-04320-MCR-GRJ
  14263      189259   James Wilson                            Oliver Law Group P.C.                                      8:20-cv-04318-MCR-GRJ
  14264      29545    Jonathan Arvay                          OnderLaw, LLC                                              7:20-cv-92538-MCR-GRJ
  14265      29564    Matthew Baker                           OnderLaw, LLC                                              8:20-cv-33113-MCR-GRJ
  14266      29576    Benjamin Barker                         OnderLaw, LLC                   7:20-cv-92542-MCR-GRJ
  14267      29581    Andrew Barrera                          OnderLaw, LLC                   7:20-cv-92544-MCR-GRJ
  14268      29623    Joseph Biernacki                        OnderLaw, LLC                   7:20-cv-92547-MCR-GRJ
  14269      29627    Jason Bizup                             OnderLaw, LLC                                              7:20-cv-42355-MCR-GRJ
  14270      29755    Gary Clark                              OnderLaw, LLC                   7:20-cv-42593-MCR-GRJ
  14271      29773    Thomas Collins                          OnderLaw, LLC                   7:20-cv-92561-MCR-GRJ
  14272      29849    Bernadette Delagarza                    OnderLaw, LLC                   7:20-cv-92589-MCR-GRJ
  14273      29880    Shalyn Drost-Woodham                    OnderLaw, LLC                   8:20-cv-33148-MCR-GRJ
  14274      29906    Terry Elliott                           OnderLaw, LLC                                              7:20-cv-92605-MCR-GRJ
  14275      29915    Cameron Erwin                           OnderLaw, LLC                                              7:20-cv-92609-MCR-GRJ
  14276      29919    David Estrada                           OnderLaw, LLC                                              8:20-cv-33165-MCR-GRJ
  14277      29920    Johnny Estrada                          OnderLaw, LLC                                              7:20-cv-92611-MCR-GRJ
  14278      29929    Michael Faciana                         OnderLaw, LLC                                              7:20-cv-92613-MCR-GRJ
  14279      29930    Daniel Fairchild                        OnderLaw, LLC                                              7:20-cv-92614-MCR-GRJ
  14280      29943    Luis Fernandez                          OnderLaw, LLC                                              7:20-cv-92617-MCR-GRJ
  14281      29958    Nathan Fitzpatrick                      OnderLaw, LLC                                              7:20-cv-92622-MCR-GRJ
  14282      29959    Patrick Fitzsimmons                     OnderLaw, LLC                                              7:20-cv-92623-MCR-GRJ
  14283      29964    Anntwinnette Fomby                      OnderLaw, LLC                   8:20-cv-33170-MCR-GRJ
  14284      30021    Silvia Gonzales                         OnderLaw, LLC                                              7:20-cv-92645-MCR-GRJ
  14285      30044    Timothy Green                           OnderLaw, LLC                                              8:20-cv-33197-MCR-GRJ
  14286      30073    Andrew Hale                             OnderLaw, LLC                   7:20-cv-92693-MCR-GRJ
  14287      30094    Charles Hardes                          OnderLaw, LLC                   7:20-cv-92704-MCR-GRJ
  14288      30102    Ervin Harris                            OnderLaw, LLC                   8:20-cv-33217-MCR-GRJ
  14289      30161    Vi Hong                                 OnderLaw, LLC                   7:20-cv-92741-MCR-GRJ
  14290      30173    Daniel Huber                            OnderLaw, LLC                   7:20-cv-92747-MCR-GRJ
  14291      30181    Garret Huggins                          OnderLaw, LLC                   7:20-cv-92753-MCR-GRJ
  14292      30186    Geoff Hunt                              OnderLaw, LLC                   7:20-cv-92757-MCR-GRJ
  14293      30193    Larry Hyams                             OnderLaw, LLC                                              7:20-cv-92763-MCR-GRJ
  14294      30249    Jack Jones                              OnderLaw, LLC                   7:20-cv-42557-MCR-GRJ
  14295      30277    Vincent King                            OnderLaw, LLC                   7:20-cv-42561-MCR-GRJ
  14296      30338    Robert Leslie                           OnderLaw, LLC                                              7:20-cv-92838-MCR-GRJ
  14297      30363    Manuel Lopez                            OnderLaw, LLC                   8:20-cv-33291-MCR-GRJ
  14298      30375    Nicholas Ludke                          OnderLaw, LLC                   8:20-cv-33308-MCR-GRJ
  14299      30386    Miguel Magallon                         OnderLaw, LLC                                              8:20-cv-33323-MCR-GRJ
  14300      30405    Keith Martens                           OnderLaw, LLC                                              8:20-cv-33349-MCR-GRJ
  14301      30454    Jennifer Mckinney                       OnderLaw, LLC                   8:20-cv-33401-MCR-GRJ
  14302      30480    Helwan Meza                             OnderLaw, LLC                   7:20-cv-42612-MCR-GRJ
  14303      30552    Christopher Neves                       OnderLaw, LLC                                              8:20-cv-33498-MCR-GRJ
  14304      30616    David Pearson                           OnderLaw, LLC                                              8:20-cv-33559-MCR-GRJ
  14305      30632    Jay Petit                               OnderLaw, LLC                                              8:20-cv-33575-MCR-GRJ
  14306      30647    Rafael Pintos                           OnderLaw, LLC                   8:20-cv-33594-MCR-GRJ
  14307      30661    Nicole Portugal                         OnderLaw, LLC                   8:20-cv-33606-MCR-GRJ
  14308      30672    Jonathan Pujols                         OnderLaw, LLC                   7:20-cv-42681-MCR-GRJ




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  14309      30684    Oscar Ramirez Magana                    OnderLaw, LLC                    7:20-cv-92916-MCR-GRJ
  14310      30706    Jose Resendiz                           OnderLaw, LLC                    8:20-cv-33631-MCR-GRJ
  14311      30750    Michael Roe                             OnderLaw, LLC                                               8:20-cv-33169-MCR-GRJ
  14312      30756    Chris Rohrback                          OnderLaw, LLC                                               7:20-cv-92964-MCR-GRJ
  14313      30811    David Schwartz                          OnderLaw, LLC                    7:20-cv-93020-MCR-GRJ
  14314      30812    Patrick Schwartz                        OnderLaw, LLC                    7:20-cv-93023-MCR-GRJ
  14315      30828    John Sexton                             OnderLaw, LLC                                               7:20-cv-93040-MCR-GRJ
  14316      30834    Terry Shaw                              OnderLaw, LLC                                               8:20-cv-33215-MCR-GRJ
  14317      30837    Tim Shoemaker                           OnderLaw, LLC                                               8:20-cv-33218-MCR-GRJ
  14318      30885    Vanessa Soto                            OnderLaw, LLC                                               8:20-cv-33244-MCR-GRJ
  14319      30916    Adam Stone                              OnderLaw, LLC                                               7:20-cv-93108-MCR-GRJ
  14320      30959    Jetmir Thompson                         OnderLaw, LLC                    7:20-cv-93139-MCR-GRJ
  14321      30969    Michael Tolboe                          OnderLaw, LLC                    8:20-cv-33313-MCR-GRJ
  14322      30976    Ryan Triplett                           OnderLaw, LLC                                               8:20-cv-33321-MCR-GRJ
  14323      30984    Robert Tucker                           OnderLaw, LLC                                               3:19-cv-02277-MCR-GRJ
  14324      31000    Richard Vale                            OnderLaw, LLC                                               7:20-cv-93181-MCR-GRJ
  14325      31032    David Wallace                           OnderLaw, LLC                    8:20-cv-33358-MCR-GRJ
  14326      31063    Ralph White                             OnderLaw, LLC                                               7:20-cv-93208-MCR-GRJ
  14327      31074    Aaron Williams                          OnderLaw, LLC                    8:20-cv-33387-MCR-GRJ
  14328      31095    Bradley Willis                          OnderLaw, LLC                                               7:20-cv-93243-MCR-GRJ
  14329      31099    Jacob Wilson                            OnderLaw, LLC                    8:20-cv-31877-MCR-GRJ
  14330      158918   Ivan Mcintosh                           OnderLaw, LLC                    7:20-cv-66637-MCR-GRJ
  14331      159450   Daniel Fagot                            OnderLaw, LLC                                               8:20-cv-34010-MCR-GRJ
  14332      161343   Wendall Hunter                          OnderLaw, LLC                                               8:20-cv-54040-MCR-GRJ
  14333      176256   Brandon Callahan                        OnderLaw, LLC                                               8:20-cv-54092-MCR-GRJ
  14334      176536   Alex Jackson                            OnderLaw, LLC                                               7:20-cv-42881-MCR-GRJ
  14335      176539   Johnny Mills                            OnderLaw, LLC                    7:20-cv-42887-MCR-GRJ
  14336      223062   Benjamin Barbe                          OnderLaw, LLC                    8:20-cv-66534-MCR-GRJ
  14337      223072   Robert Sanders                          OnderLaw, LLC                                               8:20-cv-66572-MCR-GRJ
  14338      223078   Kent Burnam                             OnderLaw, LLC                                               8:20-cv-66597-MCR-GRJ
  14339      223090   Todd Riser                              OnderLaw, LLC                                               8:20-cv-66644-MCR-GRJ
  14340      223098   Daniel Fontenot                         OnderLaw, LLC                    8:20-cv-66677-MCR-GRJ
  14341      233243   Sean Mclaughlin                         OnderLaw, LLC                                               8:20-cv-68125-MCR-GRJ
  14342      261463   Steven Steinbaum                        OnderLaw, LLC                    9:20-cv-03366-MCR-GRJ
  14343      261466   Matthew Finocchio                       OnderLaw, LLC                    9:20-cv-03371-MCR-GRJ
  14344      261468   Nathaniel Urrea                         OnderLaw, LLC                                               9:20-cv-03373-MCR-GRJ
  14345      261473   Daniel O'Mahoney                        OnderLaw, LLC                    9:20-cv-03378-MCR-GRJ
  14346      261478   Heather Evans                           OnderLaw, LLC                    9:20-cv-03383-MCR-GRJ
  14347      261484   Jonthony Aybar                          OnderLaw, LLC                    9:20-cv-03389-MCR-GRJ
  14348      261492   Christopher Mcquestion                  OnderLaw, LLC                                               9:20-cv-03397-MCR-GRJ
  14349      280088   Christopher Hair                        OnderLaw, LLC                    7:21-cv-02594-MCR-GRJ
  14350      280097   Dorothy Mclaughlin                      OnderLaw, LLC                                               7:21-cv-02603-MCR-GRJ
  14351      282944   Milton Boyce                            OnderLaw, LLC                    7:21-cv-11036-MCR-GRJ
  14352      289544   Christine Brandt                        OnderLaw, LLC                    7:21-cv-10712-MCR-GRJ
  14353      289551   Mitchell Fairchild                      OnderLaw, LLC                    7:21-cv-10719-MCR-GRJ
  14354      291942   Theresa Helms                           OnderLaw, LLC                    7:21-cv-12359-MCR-GRJ
  14355      291944   Terry Hoffman                           OnderLaw, LLC                    7:21-cv-12361-MCR-GRJ
  14356      291957   Saul Mendo                              OnderLaw, LLC                                               7:21-cv-12373-MCR-GRJ
  14357      298484   James Salsman                           OnderLaw, LLC                                               7:21-cv-23453-MCR-GRJ
  14358      298488   Jeneen Simon                            OnderLaw, LLC                    7:21-cv-23456-MCR-GRJ
  14359      298502   Robert Jones                            OnderLaw, LLC                                               7:21-cv-23470-MCR-GRJ
  14360      323177   Michael Jones                           OnderLaw, LLC                    7:21-cv-38163-MCR-GRJ
  14361      344356   Justin Richter                          OnderLaw, LLC                    7:21-cv-63369-MCR-GRJ
  14362      352629   David Hanson                            OnderLaw, LLC                                               3:21-cv-02016-MCR-GRJ
  14363      352648   Sherman Asato                           OnderLaw, LLC                                               3:21-cv-02103-MCR-GRJ
  14364      352660   Christopher Hayes                       OnderLaw, LLC                                               3:21-cv-02207-MCR-GRJ
  14365      357055   Lamier Williamson                       OnderLaw, LLC                                               3:22-cv-00972-MCR-GRJ
  14366      360284   Corey Ortego                            OnderLaw, LLC                                               3:22-cv-04689-MCR-GRJ
  14367      52340    James Miller                            Parafinczuk Wolf, P.A.           7:20-cv-05112-MCR-GRJ
  14368      52361    Raymond Balzano                         Parafinczuk Wolf, P.A.           7:20-cv-05143-MCR-GRJ
  14369      52364    Tarishi Griffen                         Parafinczuk Wolf, P.A.                                      7:20-cv-05151-MCR-GRJ
  14370      52366    Thomas Hite                             Parafinczuk Wolf, P.A.           7:20-cv-05153-MCR-GRJ
  14371      52368    Danilo Murphy                           Parafinczuk Wolf, P.A.           7:20-cv-05155-MCR-GRJ
  14372      52375    Lessie Gamble                           Parafinczuk Wolf, P.A.           7:20-cv-05162-MCR-GRJ
  14373      52389    Patrick Salerno                         Parafinczuk Wolf, P.A.           7:20-cv-05176-MCR-GRJ
  14374      52391    Nickalous Myers                         Parafinczuk Wolf, P.A.                                      7:20-cv-05178-MCR-GRJ
  14375      52397    Renee Hess                              Parafinczuk Wolf, P.A.           7:20-cv-05183-MCR-GRJ
  14376      52399    Michael Akers                           Parafinczuk Wolf, P.A.           7:20-cv-05185-MCR-GRJ
  14377      52404    Adam Smith                              Parafinczuk Wolf, P.A.           7:20-cv-05190-MCR-GRJ
  14378      52406    Christopher Palafox                     Parafinczuk Wolf, P.A.           7:20-cv-05192-MCR-GRJ
  14379      52415    Jomar Wooten                            Parafinczuk Wolf, P.A.           7:20-cv-05716-MCR-GRJ
  14380      52417    Michael Burry                           Parafinczuk Wolf, P.A.                                      7:20-cv-05721-MCR-GRJ
  14381      52419    Luis Silva                              Parafinczuk Wolf, P.A.                                      7:20-cv-05723-MCR-GRJ




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  14382      52422    Gregory Witte                           Parafinczuk Wolf, P.A.                                      7:20-cv-05726-MCR-GRJ
  14383      52428    Terrance Williams                       Parafinczuk Wolf, P.A.           7:20-cv-05732-MCR-GRJ
  14384      52431    Ryan Frost                              Parafinczuk Wolf, P.A.           7:20-cv-05737-MCR-GRJ
  14385      52432    Robert Hewitt                           Parafinczuk Wolf, P.A.                                      7:20-cv-05739-MCR-GRJ
  14386      52434    Kevin Wade                              Parafinczuk Wolf, P.A.           7:20-cv-05743-MCR-GRJ
  14387      52436    Jonathan Scoville                       Parafinczuk Wolf, P.A.           7:20-cv-05747-MCR-GRJ
  14388      52442    Kristina Mcdonald                       Parafinczuk Wolf, P.A.           7:21-cv-68279-MCR-GRJ      3:19-cv-02603-MCR-GRJ
  14389      52443    Herbert Brown                           Parafinczuk Wolf, P.A.           7:20-cv-05760-MCR-GRJ
  14390      52452    James Brown                             Parafinczuk Wolf, P.A.           7:20-cv-05778-MCR-GRJ
  14391      52459    Wesley Ingraham                         Parafinczuk Wolf, P.A.           7:20-cv-05201-MCR-GRJ
  14392      52462    Charles Browning                        Parafinczuk Wolf, P.A.           7:20-cv-05204-MCR-GRJ
  14393      52463    Christian Ross                          Parafinczuk Wolf, P.A.           7:20-cv-05205-MCR-GRJ
  14394      52464    Jose Rodriguez                          Parafinczuk Wolf, P.A.           7:20-cv-05206-MCR-GRJ
  14395      52467    Brock Pennington                        Parafinczuk Wolf, P.A.           7:20-cv-05209-MCR-GRJ
  14396      52472    Shannon Downey                          Parafinczuk Wolf, P.A.           7:20-cv-05214-MCR-GRJ
  14397      52475    Michael Houston                         Parafinczuk Wolf, P.A.                                      7:20-cv-05217-MCR-GRJ
  14398      52478    Joshua Mahan                            Parafinczuk Wolf, P.A.           7:20-cv-05220-MCR-GRJ
  14399      52483    Brent Kerr                              Parafinczuk Wolf, P.A.                                      7:20-cv-05225-MCR-GRJ
  14400      52489    Thomas Appling                          Parafinczuk Wolf, P.A.                                      7:20-cv-05231-MCR-GRJ
  14401      52491    Casey Tadlock                           Parafinczuk Wolf, P.A.           7:20-cv-05233-MCR-GRJ
  14402      52493    Justin Shults                           Parafinczuk Wolf, P.A.           7:20-cv-05235-MCR-GRJ
  14403      52495    Cordoro Walker                          Parafinczuk Wolf, P.A.                                      7:20-cv-05237-MCR-GRJ
  14404      52500    Jeremy Williams                         Parafinczuk Wolf, P.A.           7:20-cv-05242-MCR-GRJ
  14405      52503    Ashley Williams                         Parafinczuk Wolf, P.A.           7:20-cv-05245-MCR-GRJ
  14406      52505    Jasmine Russ                            Parafinczuk Wolf, P.A.           7:20-cv-05247-MCR-GRJ
  14407      52508    Derek Erwin                             Parafinczuk Wolf, P.A.                                      7:20-cv-05250-MCR-GRJ
  14408      52512    Kyle Schaeffer                          Parafinczuk Wolf, P.A.                                      7:20-cv-05254-MCR-GRJ
  14409      52517    Eric Leverette                          Parafinczuk Wolf, P.A.           7:20-cv-05259-MCR-GRJ
  14410      52518    Danelle Whisenhunt                      Parafinczuk Wolf, P.A.                                      7:20-cv-05260-MCR-GRJ
  14411      52519    Eunice Estrada                          Parafinczuk Wolf, P.A.           7:20-cv-05261-MCR-GRJ
  14412      52522    Michael Ronanenglish                    Parafinczuk Wolf, P.A.           7:20-cv-05264-MCR-GRJ
  14413      52524    Cornelius Bridges                       Parafinczuk Wolf, P.A.           7:20-cv-05266-MCR-GRJ
  14414      52525    Zachary Stowie                          Parafinczuk Wolf, P.A.           7:20-cv-05267-MCR-GRJ
  14415      52527    Matthew Browning                        Parafinczuk Wolf, P.A.           7:20-cv-05269-MCR-GRJ
  14416      52528    Matthew Auchtung                        Parafinczuk Wolf, P.A.                                      7:20-cv-05270-MCR-GRJ
  14417      52531    Todd Spencer                            Parafinczuk Wolf, P.A.           7:20-cv-05273-MCR-GRJ
  14418      52532    Ryan Coleman                            Parafinczuk Wolf, P.A.                                      7:20-cv-05274-MCR-GRJ
  14419      52534    Wesley Mcgee                            Parafinczuk Wolf, P.A.                                      7:20-cv-05276-MCR-GRJ
  14420      52537    Gregeory Kelley                         Parafinczuk Wolf, P.A.           7:20-cv-05279-MCR-GRJ
  14421      52538    Michael Estrella                        Parafinczuk Wolf, P.A.           7:20-cv-05280-MCR-GRJ
  14422      52539    Tyler Caudill                           Parafinczuk Wolf, P.A.                                      7:20-cv-05281-MCR-GRJ
  14423      52544    Harlen Standing Bear                    Parafinczuk Wolf, P.A.                                      7:20-cv-05285-MCR-GRJ
  14424      52546    William Merola                          Parafinczuk Wolf, P.A.           7:20-cv-05287-MCR-GRJ
  14425      52548    Meagan Robinson                         Parafinczuk Wolf, P.A.                                      7:20-cv-05289-MCR-GRJ
  14426      139874   Michael Waryas                          Parafinczuk Wolf, P.A.                                      3:19-cv-02616-MCR-GRJ
  14427      139875   Johnicha Williams                       Parafinczuk Wolf, P.A.                                      3:19-cv-02621-MCR-GRJ
  14428      156318   James Kelly                             Parafinczuk Wolf, P.A.           7:20-cv-35302-MCR-GRJ
  14429      156576   Chad Gibson                             Parafinczuk Wolf, P.A.           7:20-cv-34236-MCR-GRJ
  14430      156651   Denzel Counts                           Parafinczuk Wolf, P.A.           7:20-cv-34333-MCR-GRJ
  14431      156660   Charles Howe                            Parafinczuk Wolf, P.A.                                      7:20-cv-34344-MCR-GRJ
  14432      156666   Travis Turner                           Parafinczuk Wolf, P.A.                                      7:20-cv-34350-MCR-GRJ
  14433      156687   Troy Thomas                             Parafinczuk Wolf, P.A.                                      7:20-cv-34368-MCR-GRJ
  14434      156823   Elbert Fletcher                         Parafinczuk Wolf, P.A.                                      7:20-cv-34497-MCR-GRJ
  14435      156884   Nikolas Ellerson                        Parafinczuk Wolf, P.A.                                      7:20-cv-34585-MCR-GRJ
  14436      156940   Gary Foulks                             Parafinczuk Wolf, P.A.           7:20-cv-34660-MCR-GRJ
  14437      156967   Nicholas Hadzinsky                      Parafinczuk Wolf, P.A.                                      7:20-cv-34689-MCR-GRJ
  14438      157183   Tony Ewing                              Parafinczuk Wolf, P.A.                                      7:20-cv-34863-MCR-GRJ
  14439      157376   Randon King                             Parafinczuk Wolf, P.A.                                      7:20-cv-35058-MCR-GRJ
  14440      157388   John Kristjansson                       Parafinczuk Wolf, P.A.           7:20-cv-35068-MCR-GRJ
  14441      157747   Tanner Neal                             Parafinczuk Wolf, P.A.           7:20-cv-35340-MCR-GRJ
  14442      157826   Ray Sanchez                             Parafinczuk Wolf, P.A.           7:20-cv-35403-MCR-GRJ
  14443      157909   Luis Cruz                               Parafinczuk Wolf, P.A.           7:20-cv-35502-MCR-GRJ
  14444      158013   Angela Fausset                          Parafinczuk Wolf, P.A.           7:20-cv-35578-MCR-GRJ
  14445      158066   Jordan Prall                            Parafinczuk Wolf, P.A.           7:20-cv-35608-MCR-GRJ
  14446      158094   Diego Culajay                           Parafinczuk Wolf, P.A.           7:20-cv-35616-MCR-GRJ
  14447      158195   Jess Walker                             Parafinczuk Wolf, P.A.           7:20-cv-35792-MCR-GRJ
  14448      160314   Ben Chirinsky                           Parafinczuk Wolf, P.A.           7:20-cv-35812-MCR-GRJ
  14449      160610   James Reed                              Parafinczuk Wolf, P.A.           7:20-cv-35841-MCR-GRJ
  14450      160633   David Hitt                              Parafinczuk Wolf, P.A.           7:20-cv-35864-MCR-GRJ
  14451      160700   Charles Samuels                         Parafinczuk Wolf, P.A.           7:20-cv-35749-MCR-GRJ
  14452      161117   Isaac Brisbane                          Parafinczuk Wolf, P.A.           7:20-cv-35969-MCR-GRJ
  14453      161367   Richard Warner                          Parafinczuk Wolf, P.A.           7:20-cv-36010-MCR-GRJ
  14454      161994   Damien Holmes                           Parafinczuk Wolf, P.A.                                      7:20-cv-36230-MCR-GRJ




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  14455      162150   Tracie Cunningham                       Parafinczuk Wolf, P.A.           7:20-cv-36175-MCR-GRJ
  14456      162255   Stanislav Durnov                        Parafinczuk Wolf, P.A.           7:20-cv-36272-MCR-GRJ
  14457      163313   Robert Nelson                           Parafinczuk Wolf, P.A.                                      7:20-cv-36653-MCR-GRJ
  14458      163334   Amy Cowherd                             Parafinczuk Wolf, P.A.           7:20-cv-36697-MCR-GRJ
  14459      163361   Thomas Rucker                           Parafinczuk Wolf, P.A.                                      7:20-cv-36739-MCR-GRJ
  14460      163671   Aaron Railsback                         Parafinczuk Wolf, P.A.           7:20-cv-36728-MCR-GRJ
  14461      163712   Jeremy Beck                             Parafinczuk Wolf, P.A.           7:20-cv-36765-MCR-GRJ
  14462      163870   Albert Lewis                            Parafinczuk Wolf, P.A.                                      7:20-cv-37144-MCR-GRJ
  14463      163935   Pierre Lara                             Parafinczuk Wolf, P.A.           7:20-cv-36837-MCR-GRJ
  14464      168615   Zachary Anderson                        Parafinczuk Wolf, P.A.                                      7:20-cv-38075-MCR-GRJ
  14465      168628   Clayton Blanchard                       Parafinczuk Wolf, P.A.           7:20-cv-38107-MCR-GRJ
  14466      168632   Steven Bridges                          Parafinczuk Wolf, P.A.           7:20-cv-38119-MCR-GRJ
  14467      168633   Cody Brooks                             Parafinczuk Wolf, P.A.                                      7:20-cv-38150-MCR-GRJ
  14468      168634   Justin Brown                            Parafinczuk Wolf, P.A.           7:20-cv-38153-MCR-GRJ
  14469      168636   Caleb Burns                             Parafinczuk Wolf, P.A.                                      7:20-cv-38159-MCR-GRJ
  14470      168637   Stephanie Butler                        Parafinczuk Wolf, P.A.                                      7:20-cv-38162-MCR-GRJ
  14471      168640   Arcellar Cato                           Parafinczuk Wolf, P.A.           7:20-cv-38171-MCR-GRJ
  14472      168642   Ramzi Chebbi                            Parafinczuk Wolf, P.A.                                      7:20-cv-38177-MCR-GRJ
  14473      168644   Mikia Christian                         Parafinczuk Wolf, P.A.           7:20-cv-38183-MCR-GRJ
  14474      168655   Michael Dunn                            Parafinczuk Wolf, P.A.           7:20-cv-38202-MCR-GRJ
  14475      168656   Brandon Elizaldi                        Parafinczuk Wolf, P.A.                                      7:20-cv-38203-MCR-GRJ
  14476      168661   John Feeley                             Parafinczuk Wolf, P.A.           7:20-cv-38208-MCR-GRJ
  14477      168666   Joseph Funches'Green                    Parafinczuk Wolf, P.A.           7:20-cv-38213-MCR-GRJ
  14478      168674   Apprel Grow                             Parafinczuk Wolf, P.A.           7:20-cv-38221-MCR-GRJ
  14479      168676   Louis Hanlon                            Parafinczuk Wolf, P.A.           7:20-cv-38228-MCR-GRJ
  14480      168679   William Harrison                        Parafinczuk Wolf, P.A.           7:20-cv-38234-MCR-GRJ
  14481      168680   Michael Haskell                         Parafinczuk Wolf, P.A.           7:20-cv-38237-MCR-GRJ
  14482      168681   Tristin Hawkins                         Parafinczuk Wolf, P.A.           7:20-cv-38240-MCR-GRJ
  14483      168684   David Heuchert                          Parafinczuk Wolf, P.A.           7:20-cv-38246-MCR-GRJ
  14484      168689   Paul Hubbard                            Parafinczuk Wolf, P.A.           7:20-cv-38261-MCR-GRJ
  14485      168691   Renita Jackson                          Parafinczuk Wolf, P.A.                                      7:20-cv-38064-MCR-GRJ
  14486      168692   Rondell Jackson                         Parafinczuk Wolf, P.A.           7:20-cv-38066-MCR-GRJ
  14487      168693   Sean James                              Parafinczuk Wolf, P.A.                                      7:20-cv-38068-MCR-GRJ
  14488      168695   Jeffrey Johnson                         Parafinczuk Wolf, P.A.           7:20-cv-38072-MCR-GRJ
  14489      168699   Martin Jones                            Parafinczuk Wolf, P.A.                                      7:20-cv-38080-MCR-GRJ
  14490      168700   Pamela Jones                            Parafinczuk Wolf, P.A.                                      7:20-cv-38082-MCR-GRJ
  14491      168702   Douglas Keplinger                       Parafinczuk Wolf, P.A.           7:20-cv-38086-MCR-GRJ
  14492      168705   Brian Knowles                           Parafinczuk Wolf, P.A.           7:20-cv-38094-MCR-GRJ
  14493      168708   Candice Lamke                           Parafinczuk Wolf, P.A.                                      7:20-cv-38103-MCR-GRJ
  14494      168709   Elissa Landry                           Parafinczuk Wolf, P.A.           7:20-cv-38106-MCR-GRJ
  14495      168711   Christopher Lara                        Parafinczuk Wolf, P.A.           7:20-cv-38112-MCR-GRJ
  14496      168716   Jay Locke                               Parafinczuk Wolf, P.A.                                      7:20-cv-38123-MCR-GRJ
  14497      168718   Greg Longfield                          Parafinczuk Wolf, P.A.           7:20-cv-38127-MCR-GRJ
  14498      168727   Egrain Medina                           Parafinczuk Wolf, P.A.           7:20-cv-38146-MCR-GRJ
  14499      168730   Michael Miller                          Parafinczuk Wolf, P.A.           7:20-cv-38154-MCR-GRJ
  14500      168731   George Miranda                          Parafinczuk Wolf, P.A.                                      7:20-cv-38157-MCR-GRJ
  14501      168735   William Myers                           Parafinczuk Wolf, P.A.                                      7:20-cv-38169-MCR-GRJ
  14502      168737   Jason Odea                              Parafinczuk Wolf, P.A.                                      7:20-cv-38175-MCR-GRJ
  14503      168738   Martin Olinger                          Parafinczuk Wolf, P.A.           7:20-cv-38178-MCR-GRJ
  14504      168739   Kenly Osterhout                         Parafinczuk Wolf, P.A.                                      7:20-cv-38181-MCR-GRJ
  14505      168745   Alfred Penn                             Parafinczuk Wolf, P.A.           7:20-cv-38226-MCR-GRJ
  14506      168746   Dale Peters                             Parafinczuk Wolf, P.A.           7:20-cv-38227-MCR-GRJ
  14507      168754   Jerry Proctor                           Parafinczuk Wolf, P.A.           7:20-cv-38241-MCR-GRJ
  14508      168755   Tyrus Proffer                           Parafinczuk Wolf, P.A.           7:20-cv-38244-MCR-GRJ
  14509      168759   Marcia Reid-Johnson                     Parafinczuk Wolf, P.A.           7:20-cv-38253-MCR-GRJ
  14510      168774   Cory Sessions                           Parafinczuk Wolf, P.A.           7:20-cv-38279-MCR-GRJ
  14511      168779   Kimberly Smith                          Parafinczuk Wolf, P.A.           7:20-cv-38284-MCR-GRJ
  14512      168785   Joshua Sumersett                        Parafinczuk Wolf, P.A.           7:20-cv-38289-MCR-GRJ
  14513      168786   Paris Swanigan                          Parafinczuk Wolf, P.A.           7:20-cv-38290-MCR-GRJ
  14514      168787   Richard Tabula                          Parafinczuk Wolf, P.A.                                      7:20-cv-38291-MCR-GRJ
  14515      168793   Mark Thomas                             Parafinczuk Wolf, P.A.           7:20-cv-38297-MCR-GRJ
  14516      168794   Donald Tinker                           Parafinczuk Wolf, P.A.           7:20-cv-38460-MCR-GRJ
  14517      168796   Willie Torres                           Parafinczuk Wolf, P.A.           7:20-cv-38468-MCR-GRJ
  14518      168797   Christopher Travis                      Parafinczuk Wolf, P.A.           7:20-cv-38472-MCR-GRJ
  14519      168803   Werner Vielman                          Parafinczuk Wolf, P.A.                                      7:20-cv-38500-MCR-GRJ
  14520      168809   Gareth White                            Parafinczuk Wolf, P.A.           7:20-cv-38542-MCR-GRJ
  14521      168810   Jeremy Wilhelm                          Parafinczuk Wolf, P.A.                                      7:20-cv-38552-MCR-GRJ
  14522      168814   Justin Yackamouih                       Parafinczuk Wolf, P.A.           7:20-cv-38600-MCR-GRJ
  14523      172889   Michael Allen                           Parafinczuk Wolf, P.A.           7:20-cv-89723-MCR-GRJ
  14524      172890   Brian Hill                              Parafinczuk Wolf, P.A.                                      7:20-cv-89724-MCR-GRJ
  14525      172891   Raymond Resendez                        Parafinczuk Wolf, P.A.                                      7:20-cv-89727-MCR-GRJ
  14526      172892   Eric Dackiw                             Parafinczuk Wolf, P.A.           7:20-cv-89730-MCR-GRJ
  14527      172895   Jonathan Knotek                         Parafinczuk Wolf, P.A.                                      7:20-cv-89738-MCR-GRJ




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  14528      172897   James Brantley                          Parafinczuk Wolf, P.A.                                      7:20-cv-89743-MCR-GRJ
  14529      174959   Bryan Hulse                             Parafinczuk Wolf, P.A.                                      7:20-cv-89776-MCR-GRJ
  14530      174966   Natalia Huerta                          Parafinczuk Wolf, P.A.           7:20-cv-89793-MCR-GRJ
  14531      174973   Joshua Draughon                         Parafinczuk Wolf, P.A.           7:20-cv-89809-MCR-GRJ
  14532      174978   Arron Greene                            Parafinczuk Wolf, P.A.           7:20-cv-89823-MCR-GRJ
  14533      174980   Ramon Garibay                           Parafinczuk Wolf, P.A.                                      7:20-cv-89829-MCR-GRJ
  14534      174983   Jehu Rodriguez                          Parafinczuk Wolf, P.A.           7:20-cv-89836-MCR-GRJ
  14535      174984   Michael Bennett                         Parafinczuk Wolf, P.A.           7:20-cv-89839-MCR-GRJ
  14536      174985   Constance Marshall                      Parafinczuk Wolf, P.A.           7:20-cv-89842-MCR-GRJ
  14537      174989   Paul Wright                             Parafinczuk Wolf, P.A.           7:20-cv-89853-MCR-GRJ
  14538      174991   Eric Schlei                             Parafinczuk Wolf, P.A.           7:20-cv-89858-MCR-GRJ
  14539      174996   Daniel Bowman                           Parafinczuk Wolf, P.A.           7:20-cv-89869-MCR-GRJ
  14540      174997   Michael Kellerman                       Parafinczuk Wolf, P.A.                                      7:20-cv-89871-MCR-GRJ
  14541      174998   Donnie Witt                             Parafinczuk Wolf, P.A.           7:20-cv-89874-MCR-GRJ
  14542      174999   Patrick Hitchcock                       Parafinczuk Wolf, P.A.           7:20-cv-89877-MCR-GRJ
  14543      175000   Brandon Rackley                         Parafinczuk Wolf, P.A.           7:20-cv-89880-MCR-GRJ
  14544      175001   Christopher Ramsey                      Parafinczuk Wolf, P.A.           7:20-cv-89882-MCR-GRJ
  14545      175003   Patrick Camp                            Parafinczuk Wolf, P.A.           7:20-cv-89888-MCR-GRJ
  14546      175006   Justin Newberry                         Parafinczuk Wolf, P.A.           7:20-cv-89895-MCR-GRJ
  14547      175010   Crystal Fowler                          Parafinczuk Wolf, P.A.           7:20-cv-89906-MCR-GRJ
  14548      175016   Alberto Zavala                          Parafinczuk Wolf, P.A.           7:20-cv-89921-MCR-GRJ
  14549      175017   Melody Springer                         Parafinczuk Wolf, P.A.           7:20-cv-89924-MCR-GRJ
  14550      182399   Jacob Adams                             Parafinczuk Wolf, P.A.           7:20-cv-90011-MCR-GRJ
  14551      182401   Michael Adkisson                        Parafinczuk Wolf, P.A.           7:20-cv-90015-MCR-GRJ
  14552      182404   Francisco Amezcua                       Parafinczuk Wolf, P.A.           7:20-cv-90021-MCR-GRJ
  14553      182407   Jeff Anderson                           Parafinczuk Wolf, P.A.           7:20-cv-90027-MCR-GRJ
  14554      182408   Jasmine Andrews                         Parafinczuk Wolf, P.A.           7:20-cv-90029-MCR-GRJ
  14555      182409   Ashton Appleby                          Parafinczuk Wolf, P.A.                                      7:20-cv-90030-MCR-GRJ
  14556      182421   Nicolas Biele                           Parafinczuk Wolf, P.A.           7:20-cv-90052-MCR-GRJ
  14557      182427   Kevin Bowman                            Parafinczuk Wolf, P.A.           7:20-cv-90063-MCR-GRJ
  14558      182428   Matthew Bradford                        Parafinczuk Wolf, P.A.           7:20-cv-90065-MCR-GRJ
  14559      182432   John Browley                            Parafinczuk Wolf, P.A.           7:20-cv-90070-MCR-GRJ
  14560      182434   Kevyn Bryant                            Parafinczuk Wolf, P.A.           7:20-cv-90074-MCR-GRJ
  14561      182435   David Bundrage                          Parafinczuk Wolf, P.A.                                      7:20-cv-90076-MCR-GRJ
  14562      182437   Darnell Carter                          Parafinczuk Wolf, P.A.           7:20-cv-90080-MCR-GRJ
  14563      182439   Christopher Castro                      Parafinczuk Wolf, P.A.           7:20-cv-90082-MCR-GRJ
  14564      182440   Willie Chafen                           Parafinczuk Wolf, P.A.           7:20-cv-90084-MCR-GRJ
  14565      182441   Andrei Chernyshev                       Parafinczuk Wolf, P.A.           7:20-cv-90086-MCR-GRJ
  14566      182449   James Crosby                            Parafinczuk Wolf, P.A.                                      7:20-cv-90101-MCR-GRJ
  14567      182452   Christopher De La Vega                  Parafinczuk Wolf, P.A.           7:20-cv-90106-MCR-GRJ
  14568      182453   Dalton Denis                            Parafinczuk Wolf, P.A.                                      7:20-cv-90108-MCR-GRJ
  14569      182454   Xavier Dixon                            Parafinczuk Wolf, P.A.                                      7:20-cv-90110-MCR-GRJ
  14570      182455   Christopher Doyle                       Parafinczuk Wolf, P.A.                                      7:20-cv-90112-MCR-GRJ
  14571      182456   David Dubois                            Parafinczuk Wolf, P.A.                                      7:20-cv-90114-MCR-GRJ
  14572      182462   Latricia Ellerbe                        Parafinczuk Wolf, P.A.           7:20-cv-90124-MCR-GRJ
  14573      182469   David Gilroy                            Parafinczuk Wolf, P.A.           7:20-cv-90138-MCR-GRJ
  14574      182475   Dylan Gregory                           Parafinczuk Wolf, P.A.           7:20-cv-90149-MCR-GRJ
  14575      182485   Jose Hernandez                          Parafinczuk Wolf, P.A.           7:20-cv-90170-MCR-GRJ
  14576      182486   James Hicks                             Parafinczuk Wolf, P.A.           7:20-cv-90171-MCR-GRJ
  14577      182490   Joshua Holloway                         Parafinczuk Wolf, P.A.           7:20-cv-90176-MCR-GRJ
  14578      182492   Kevin Hostetter                         Parafinczuk Wolf, P.A.           7:20-cv-90180-MCR-GRJ
  14579      182494   Devone Jackson                          Parafinczuk Wolf, P.A.                                      7:20-cv-90184-MCR-GRJ
  14580      182495   John Jackson                            Parafinczuk Wolf, P.A.           7:20-cv-90186-MCR-GRJ
  14581      182497   Christopher Johnson                     Parafinczuk Wolf, P.A.           7:20-cv-90190-MCR-GRJ
  14582      182500   Ray Johnson                             Parafinczuk Wolf, P.A.           7:20-cv-90197-MCR-GRJ
  14583      182503   Milton Junco                            Parafinczuk Wolf, P.A.           7:20-cv-90205-MCR-GRJ
  14584      182505   Jeffrey Kaplan                          Parafinczuk Wolf, P.A.           7:20-cv-90211-MCR-GRJ
  14585      182506   Derrick Karns                           Parafinczuk Wolf, P.A.           7:20-cv-90214-MCR-GRJ
  14586      182508   Matthew Kenton                          Parafinczuk Wolf, P.A.           7:20-cv-90219-MCR-GRJ
  14587      182514   Chris Langschied                        Parafinczuk Wolf, P.A.           7:20-cv-90234-MCR-GRJ
  14588      182515   Francisco Lara                          Parafinczuk Wolf, P.A.           7:20-cv-90236-MCR-GRJ
  14589      182516   Jeremiah Lee                            Parafinczuk Wolf, P.A.           7:20-cv-90239-MCR-GRJ
  14590      182518   John Lemon                              Parafinczuk Wolf, P.A.                                      7:20-cv-90245-MCR-GRJ
  14591      182519   Sarah Lewis                             Parafinczuk Wolf, P.A.                                      7:20-cv-90248-MCR-GRJ
  14592      182526   Joel Lucas                              Parafinczuk Wolf, P.A.           7:20-cv-90266-MCR-GRJ
  14593      182529   Tony Manderson                          Parafinczuk Wolf, P.A.           7:20-cv-90271-MCR-GRJ
  14594      182532   David Martin                            Parafinczuk Wolf, P.A.           7:20-cv-90687-MCR-GRJ
  14595      182539   Noah Mazzola                            Parafinczuk Wolf, P.A.                                      7:20-cv-90706-MCR-GRJ
  14596      182543   Jordan Mcevers                          Parafinczuk Wolf, P.A.           7:20-cv-90717-MCR-GRJ
  14597      182545   Joshua Mcgary                           Parafinczuk Wolf, P.A.                                      7:20-cv-90720-MCR-GRJ
  14598      182556   Elizabeth Moten                         Parafinczuk Wolf, P.A.                                      7:20-cv-90750-MCR-GRJ
  14599      182557   Matthew Moulton                         Parafinczuk Wolf, P.A.           7:20-cv-90753-MCR-GRJ
  14600      182560   William Neill                           Parafinczuk Wolf, P.A.           7:20-cv-90761-MCR-GRJ




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  14601      182561   Roger Niblett                           Parafinczuk Wolf, P.A.           7:20-cv-90764-MCR-GRJ
  14602      182562   Darnell Noble                           Parafinczuk Wolf, P.A.           7:20-cv-90766-MCR-GRJ
  14603      182563   Michael O'Banion                        Parafinczuk Wolf, P.A.           7:20-cv-90768-MCR-GRJ
  14604      182567   Jerod Palmer                            Parafinczuk Wolf, P.A.           7:20-cv-90779-MCR-GRJ
  14605      182571   Joshua Peters                           Parafinczuk Wolf, P.A.                                      7:20-cv-90790-MCR-GRJ
  14606      182581   Andrew Quintero                         Parafinczuk Wolf, P.A.           7:20-cv-90808-MCR-GRJ
  14607      182582   Thomas Randall                          Parafinczuk Wolf, P.A.           7:20-cv-90810-MCR-GRJ
  14608      182583   Joel Rattenborg                         Parafinczuk Wolf, P.A.           7:20-cv-90812-MCR-GRJ
  14609      182584   Kellie Raver                            Parafinczuk Wolf, P.A.           7:20-cv-90814-MCR-GRJ
  14610      182586   Matthew Reed                            Parafinczuk Wolf, P.A.           7:20-cv-90818-MCR-GRJ
  14611      182589   Collin Rivera                           Parafinczuk Wolf, P.A.           7:20-cv-90823-MCR-GRJ
  14612      182590   Jessie Rodriguez                        Parafinczuk Wolf, P.A.           7:20-cv-90825-MCR-GRJ
  14613      182593   Joshuwa Romick                          Parafinczuk Wolf, P.A.           7:20-cv-90831-MCR-GRJ
  14614      182594   Rosalyn Ruffin-Moore                    Parafinczuk Wolf, P.A.           7:20-cv-90833-MCR-GRJ
  14615      182597   Joseph Santas                           Parafinczuk Wolf, P.A.           7:20-cv-90839-MCR-GRJ
  14616      182599   Anthony Schulte                         Parafinczuk Wolf, P.A.                                      7:20-cv-90843-MCR-GRJ
  14617      182605   Kendrick Smith                          Parafinczuk Wolf, P.A.           7:20-cv-90853-MCR-GRJ
  14618      182606   James Smith                             Parafinczuk Wolf, P.A.           7:20-cv-90855-MCR-GRJ
  14619      182610   Julian Solorza                          Parafinczuk Wolf, P.A.                                      7:20-cv-90861-MCR-GRJ
  14620      182611   Kaltorrian Spriggs                      Parafinczuk Wolf, P.A.                                      7:20-cv-90862-MCR-GRJ
  14621      182612   Gilbert Sterling                        Parafinczuk Wolf, P.A.                                      7:20-cv-90864-MCR-GRJ
  14622      182614   Shawn Stover                            Parafinczuk Wolf, P.A.           7:20-cv-90869-MCR-GRJ
  14623      182615   Richard Stukey                          Parafinczuk Wolf, P.A.           7:20-cv-90871-MCR-GRJ
  14624      182616   Jason Stull                             Parafinczuk Wolf, P.A.           7:20-cv-90872-MCR-GRJ
  14625      182618   Joseph Swofford                         Parafinczuk Wolf, P.A.           7:20-cv-90876-MCR-GRJ
  14626      182621   Richie Taylor                           Parafinczuk Wolf, P.A.           7:20-cv-90882-MCR-GRJ
  14627      182624   Anthony Thor                            Parafinczuk Wolf, P.A.                                      7:20-cv-90888-MCR-GRJ
  14628      182632   Larry Venable                           Parafinczuk Wolf, P.A.           7:20-cv-90903-MCR-GRJ
  14629      182639   Jon Ward                                Parafinczuk Wolf, P.A.                                      7:20-cv-90915-MCR-GRJ
  14630      182643   Brandon Wilcher                         Parafinczuk Wolf, P.A.           7:20-cv-90923-MCR-GRJ
  14631      182645   Joseph Williams                         Parafinczuk Wolf, P.A.                                      7:20-cv-90927-MCR-GRJ
  14632      182647   Laron Wright                            Parafinczuk Wolf, P.A.                                      7:20-cv-90931-MCR-GRJ
  14633      182648   Roy Young                               Parafinczuk Wolf, P.A.           7:20-cv-90932-MCR-GRJ
  14634      185172   Samuel Diuguid                          Parafinczuk Wolf, P.A.                                      8:20-cv-28387-MCR-GRJ
  14635      188629   Sergey Ivanov                           Parafinczuk Wolf, P.A.           8:20-cv-28455-MCR-GRJ
  14636      188635   John Ellwanger                          Parafinczuk Wolf, P.A.           8:20-cv-28478-MCR-GRJ
  14637      188637   Harry Dejesus                           Parafinczuk Wolf, P.A.           8:20-cv-28486-MCR-GRJ
  14638      188641   Rickie Johnson                          Parafinczuk Wolf, P.A.           8:20-cv-28501-MCR-GRJ
  14639      188642   Lonzel Vereen                           Parafinczuk Wolf, P.A.           8:20-cv-28505-MCR-GRJ
  14640      188645   Damien Frost                            Parafinczuk Wolf, P.A.           8:20-cv-28514-MCR-GRJ
  14641      188648   Tommy Thomas                            Parafinczuk Wolf, P.A.           8:20-cv-28524-MCR-GRJ
  14642      188649   Frank Rogers                            Parafinczuk Wolf, P.A.           8:20-cv-28528-MCR-GRJ
  14643      188650   Kyle Jurisic                            Parafinczuk Wolf, P.A.           8:20-cv-28531-MCR-GRJ
  14644      188651   Rodrick Young                           Parafinczuk Wolf, P.A.                                      8:20-cv-28535-MCR-GRJ
  14645      188652   Christopher Vogler                      Parafinczuk Wolf, P.A.           8:20-cv-28538-MCR-GRJ
  14646      188654   Edward Wooley                           Parafinczuk Wolf, P.A.                                      8:20-cv-28544-MCR-GRJ
  14647      188655   Steven Jacobs                           Parafinczuk Wolf, P.A.           8:20-cv-28547-MCR-GRJ
  14648      188663   Andrew Christian                        Parafinczuk Wolf, P.A.           8:20-cv-28573-MCR-GRJ
  14649      188668   Michael Mcgraw                          Parafinczuk Wolf, P.A.           8:20-cv-28586-MCR-GRJ
  14650      188674   Casey Carpenter                         Parafinczuk Wolf, P.A.           8:20-cv-28602-MCR-GRJ
  14651      188681   Edward Garcia                           Parafinczuk Wolf, P.A.           8:20-cv-28626-MCR-GRJ
  14652      188683   Christian Hernandez                     Parafinczuk Wolf, P.A.                                      8:20-cv-28634-MCR-GRJ
  14653      188684   Gilberto Cardenas                       Parafinczuk Wolf, P.A.                                      8:20-cv-28639-MCR-GRJ
  14654      188685   Julian Galanffy                         Parafinczuk Wolf, P.A.           8:20-cv-28642-MCR-GRJ
  14655      191287   Mario Bandy                             Parafinczuk Wolf, P.A.           8:20-cv-38665-MCR-GRJ
  14656      191300   Albert Bowden                           Parafinczuk Wolf, P.A.                                      8:20-cv-38731-MCR-GRJ
  14657      191303   Christopher Brock                       Parafinczuk Wolf, P.A.           8:20-cv-38746-MCR-GRJ
  14658      191306   Phillip Brown                           Parafinczuk Wolf, P.A.                                      8:20-cv-38761-MCR-GRJ
  14659      191307   Maurell Brown                           Parafinczuk Wolf, P.A.                                      8:20-cv-38766-MCR-GRJ
  14660      191312   Dale Cage                               Parafinczuk Wolf, P.A.           8:20-cv-38792-MCR-GRJ
  14661      191313   Coty Calviera                           Parafinczuk Wolf, P.A.           8:20-cv-38797-MCR-GRJ
  14662      191318   Steve Collins                           Parafinczuk Wolf, P.A.           8:20-cv-38822-MCR-GRJ
  14663      191322   Russell Corpin                          Parafinczuk Wolf, P.A.                                      8:20-cv-38842-MCR-GRJ
  14664      191323   Brett Cottingham                        Parafinczuk Wolf, P.A.                                      8:20-cv-38847-MCR-GRJ
  14665      191327   Bryan Creed                             Parafinczuk Wolf, P.A.                                      8:20-cv-38868-MCR-GRJ
  14666      191330   Brandon Culp                            Parafinczuk Wolf, P.A.                                      8:20-cv-38882-MCR-GRJ
  14667      191332   Matthew Dawson                          Parafinczuk Wolf, P.A.           8:20-cv-38892-MCR-GRJ
  14668      191335   Raven Deligiannis                       Parafinczuk Wolf, P.A.           8:20-cv-38908-MCR-GRJ
  14669      191336   Brandon Deshon                          Parafinczuk Wolf, P.A.           8:20-cv-38913-MCR-GRJ
  14670      191341   Matthew Durant                          Parafinczuk Wolf, P.A.           8:20-cv-38933-MCR-GRJ
  14671      191346   Darius Estell                           Parafinczuk Wolf, P.A.                                      8:20-cv-38955-MCR-GRJ
  14672      191361   Briane Franks                           Parafinczuk Wolf, P.A.                                      8:20-cv-39016-MCR-GRJ
  14673      191362   Ryan Garay                              Parafinczuk Wolf, P.A.                                      8:20-cv-39020-MCR-GRJ




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  14674      191363   Ruben Garcia                            Parafinczuk Wolf, P.A.                                      8:20-cv-39025-MCR-GRJ
  14675      191364   Joseph Garcia                           Parafinczuk Wolf, P.A.           8:20-cv-39029-MCR-GRJ
  14676      191367   Michael German                          Parafinczuk Wolf, P.A.                                      8:20-cv-39041-MCR-GRJ
  14677      191371   Jeremiah Goodwin                        Parafinczuk Wolf, P.A.           8:20-cv-39058-MCR-GRJ
  14678      191372   Prince Gordon                           Parafinczuk Wolf, P.A.                                      8:20-cv-39062-MCR-GRJ
  14679      191373   Ryan Gordon                             Parafinczuk Wolf, P.A.           8:20-cv-39066-MCR-GRJ
  14680      191376   Tyrone Green                            Parafinczuk Wolf, P.A.           8:20-cv-39077-MCR-GRJ
  14681      191384   David Heinemann                         Parafinczuk Wolf, P.A.           8:20-cv-39108-MCR-GRJ
  14682      191400   Paul Hughes                             Parafinczuk Wolf, P.A.           8:20-cv-39173-MCR-GRJ
  14683      191403   Raelene Jackson                         Parafinczuk Wolf, P.A.           8:20-cv-39185-MCR-GRJ
  14684      191405   Kareem Jenkins                          Parafinczuk Wolf, P.A.           8:20-cv-38177-MCR-GRJ
  14685      191408   Cylus Jones                             Parafinczuk Wolf, P.A.           8:20-cv-38191-MCR-GRJ
  14686      191409   John Jones                              Parafinczuk Wolf, P.A.                                      8:20-cv-38195-MCR-GRJ
  14687      191415   Ginny Kercy                             Parafinczuk Wolf, P.A.           8:20-cv-38220-MCR-GRJ
  14688      191420   Josh Lehmann                            Parafinczuk Wolf, P.A.           8:20-cv-38237-MCR-GRJ
  14689      191422   Chris Lilly                             Parafinczuk Wolf, P.A.           8:20-cv-38246-MCR-GRJ
  14690      191441   Kimberly Mealy                          Parafinczuk Wolf, P.A.           8:20-cv-38331-MCR-GRJ
  14691      191447   Fenyx Moon                              Parafinczuk Wolf, P.A.           8:20-cv-38357-MCR-GRJ
  14692      191449   Curtis Moran                            Parafinczuk Wolf, P.A.           8:20-cv-38366-MCR-GRJ
  14693      191450   Josh Mount                              Parafinczuk Wolf, P.A.           8:20-cv-38371-MCR-GRJ
  14694      191451   St.Clair Murraine                       Parafinczuk Wolf, P.A.                                      8:20-cv-38376-MCR-GRJ
  14695      191454   Jesse Nelson                            Parafinczuk Wolf, P.A.           8:20-cv-38389-MCR-GRJ
  14696      191465   Anthony Page                            Parafinczuk Wolf, P.A.           8:20-cv-38438-MCR-GRJ
  14697      191466   Gwendolyn Paradise                      Parafinczuk Wolf, P.A.           8:20-cv-38443-MCR-GRJ
  14698      191474   Edwin Pierce                            Parafinczuk Wolf, P.A.           8:20-cv-38486-MCR-GRJ
  14699      191480   Michael Proctor                         Parafinczuk Wolf, P.A.           8:20-cv-38519-MCR-GRJ
  14700      191483   Raymond Renigar                         Parafinczuk Wolf, P.A.           8:20-cv-38535-MCR-GRJ
  14701      191485   Gregory Richardson                      Parafinczuk Wolf, P.A.           8:20-cv-38545-MCR-GRJ
  14702      191492   Dennis Schmit                           Parafinczuk Wolf, P.A.           8:20-cv-38580-MCR-GRJ
  14703      191497   Brodrick Sheffield                      Parafinczuk Wolf, P.A.                                      8:20-cv-38584-MCR-GRJ
  14704      191499   Kevin Shofner                           Parafinczuk Wolf, P.A.           8:20-cv-38593-MCR-GRJ
  14705      191509   Dylan Snyder                            Parafinczuk Wolf, P.A.           8:20-cv-38639-MCR-GRJ
  14706      191510   Alexandra Sportini                      Parafinczuk Wolf, P.A.           8:20-cv-38644-MCR-GRJ
  14707      191516   David Stokes                            Parafinczuk Wolf, P.A.           8:20-cv-38673-MCR-GRJ
  14708      191517   Joseph Stotlar                          Parafinczuk Wolf, P.A.           8:20-cv-38678-MCR-GRJ
  14709      191518   Joseph Strom                            Parafinczuk Wolf, P.A.           8:20-cv-38682-MCR-GRJ
  14710      191519   Michael Stroud                          Parafinczuk Wolf, P.A.           8:20-cv-38687-MCR-GRJ
  14711      191524   Raymond Terranova                       Parafinczuk Wolf, P.A.           8:20-cv-38710-MCR-GRJ
  14712      191530   Johnna Travaille                        Parafinczuk Wolf, P.A.           8:20-cv-38738-MCR-GRJ
  14713      191531   Sean Travis                             Parafinczuk Wolf, P.A.           8:20-cv-38743-MCR-GRJ
  14714      191537   Terron Vaughan                          Parafinczuk Wolf, P.A.           8:20-cv-38771-MCR-GRJ
  14715      191538   Ramon Velez                             Parafinczuk Wolf, P.A.           8:20-cv-38776-MCR-GRJ
  14716      191539   Manuel Ventura                          Parafinczuk Wolf, P.A.                                      8:20-cv-38780-MCR-GRJ
  14717      191545   Kennitra Walker                         Parafinczuk Wolf, P.A.           8:20-cv-38809-MCR-GRJ
  14718      191547   Chris Ward                              Parafinczuk Wolf, P.A.           8:20-cv-38818-MCR-GRJ
  14719      191548   Michael Warnke                          Parafinczuk Wolf, P.A.           8:20-cv-38823-MCR-GRJ
  14720      191549   Curtis Watkins                          Parafinczuk Wolf, P.A.                                      8:20-cv-38826-MCR-GRJ
  14721      191554   Travis Wiginton                         Parafinczuk Wolf, P.A.           8:20-cv-38850-MCR-GRJ
  14722      191556   Cornelius Williams                      Parafinczuk Wolf, P.A.           8:20-cv-38860-MCR-GRJ
  14723      191558   Jabar Wilson                            Parafinczuk Wolf, P.A.           8:20-cv-38869-MCR-GRJ
  14724      191559   Craig Wilson                            Parafinczuk Wolf, P.A.                                      8:20-cv-38874-MCR-GRJ
  14725      191560   Shannon Winegar                         Parafinczuk Wolf, P.A.           8:20-cv-38879-MCR-GRJ
  14726      191562   Justin Wright                           Parafinczuk Wolf, P.A.                                      8:20-cv-38889-MCR-GRJ
  14727      191565   Thomas Youdell                          Parafinczuk Wolf, P.A.           8:20-cv-38902-MCR-GRJ
  14728      199939   Koalton Anderson                        Parafinczuk Wolf, P.A.                                      8:20-cv-61438-MCR-GRJ
  14729      199942   Joshua Baker                            Parafinczuk Wolf, P.A.           8:20-cv-61454-MCR-GRJ
  14730      199944   Diasia Barto                            Parafinczuk Wolf, P.A.                                      8:20-cv-61467-MCR-GRJ
  14731      199946   Daniel Bell                             Parafinczuk Wolf, P.A.           8:20-cv-61480-MCR-GRJ
  14732      199947   Jason Bittle                            Parafinczuk Wolf, P.A.           8:20-cv-61485-MCR-GRJ
  14733      199953   Daniel Brubaker                         Parafinczuk Wolf, P.A.           8:20-cv-62614-MCR-GRJ
  14734      199954   Richard Cabbil                          Parafinczuk Wolf, P.A.           8:20-cv-62616-MCR-GRJ
  14735      199960   Matthew Cohick                          Parafinczuk Wolf, P.A.           8:20-cv-62629-MCR-GRJ
  14736      199962   Matthew Dean                            Parafinczuk Wolf, P.A.           8:20-cv-62633-MCR-GRJ
  14737      199963   Vallee Debellevue                       Parafinczuk Wolf, P.A.                                      8:20-cv-62636-MCR-GRJ
  14738      199971   Robert Edgar                            Parafinczuk Wolf, P.A.           8:20-cv-62653-MCR-GRJ
  14739      199973   Christian Feliz                         Parafinczuk Wolf, P.A.                                      8:20-cv-62658-MCR-GRJ
  14740      199975   Shaun Finch                             Parafinczuk Wolf, P.A.                                      8:20-cv-62662-MCR-GRJ
  14741      199979   Zachary Gardner                         Parafinczuk Wolf, P.A.                                      8:20-cv-62671-MCR-GRJ
  14742      199982   Fred Geer                               Parafinczuk Wolf, P.A.                                      8:20-cv-62678-MCR-GRJ
  14743      199984   John Giroux                             Parafinczuk Wolf, P.A.           8:20-cv-62682-MCR-GRJ
  14744      199990   Lamonte Hawkins                         Parafinczuk Wolf, P.A.           8:20-cv-62696-MCR-GRJ
  14745      199991   David Haynes                            Parafinczuk Wolf, P.A.           8:20-cv-62698-MCR-GRJ
  14746      199999   David Howard                            Parafinczuk Wolf, P.A.           8:20-cv-62861-MCR-GRJ




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  14747      200001   Karen Hughes                            Parafinczuk Wolf, P.A.           8:20-cv-62865-MCR-GRJ
  14748      200008   Aaron Ledbetter                         Parafinczuk Wolf, P.A.           8:20-cv-62878-MCR-GRJ
  14749      200010   Heather Leigh                           Parafinczuk Wolf, P.A.           8:20-cv-62882-MCR-GRJ
  14750      200012   Alexander Lett                          Parafinczuk Wolf, P.A.                                      8:20-cv-62885-MCR-GRJ
  14751      200022   Tecora Mcintyre                         Parafinczuk Wolf, P.A.           8:20-cv-62902-MCR-GRJ
  14752      200023   John Mclaughlin                         Parafinczuk Wolf, P.A.           8:20-cv-62904-MCR-GRJ
  14753      200031   Stanley Nelson                          Parafinczuk Wolf, P.A.           8:20-cv-62920-MCR-GRJ
  14754      200033   Denisse Ocasio                          Parafinczuk Wolf, P.A.           8:20-cv-62924-MCR-GRJ
  14755      200040   Aldo Ramirez                            Parafinczuk Wolf, P.A.                                      8:20-cv-62937-MCR-GRJ
  14756      200042   Thomas Ray                              Parafinczuk Wolf, P.A.           8:20-cv-62941-MCR-GRJ
  14757      200044   Daron Rhymes                            Parafinczuk Wolf, P.A.           8:20-cv-62944-MCR-GRJ
  14758      200046   Joseph Roe                              Parafinczuk Wolf, P.A.           8:20-cv-62948-MCR-GRJ
  14759      200050   Tyrone Simpkins                         Parafinczuk Wolf, P.A.           8:20-cv-62956-MCR-GRJ
  14760      200052   David Smith                             Parafinczuk Wolf, P.A.           8:20-cv-62959-MCR-GRJ
  14761      200061   Timothy Tye                             Parafinczuk Wolf, P.A.           8:20-cv-62976-MCR-GRJ
  14762      200063   Tia Welch                               Parafinczuk Wolf, P.A.           8:20-cv-62980-MCR-GRJ
  14763      200064   Samuel Williams                         Parafinczuk Wolf, P.A.           8:20-cv-62982-MCR-GRJ
  14764      200066   Craig Wolf                              Parafinczuk Wolf, P.A.           8:20-cv-62986-MCR-GRJ
  14765      203222   Jacob Adams                             Parafinczuk Wolf, P.A.           8:20-cv-49842-MCR-GRJ
  14766      203224   Noel Andino                             Parafinczuk Wolf, P.A.           8:20-cv-49852-MCR-GRJ
  14767      203226   Winston Bennett                         Parafinczuk Wolf, P.A.           8:20-cv-49861-MCR-GRJ
  14768      203231   David Cuykendall                        Parafinczuk Wolf, P.A.           8:20-cv-49885-MCR-GRJ
  14769      203235   Zachary Dorr                            Parafinczuk Wolf, P.A.           8:20-cv-49904-MCR-GRJ
  14770      203238   Romualdo Escalante                      Parafinczuk Wolf, P.A.                                      8:20-cv-49915-MCR-GRJ
  14771      203240   Jason Feltner                           Parafinczuk Wolf, P.A.           8:20-cv-49923-MCR-GRJ
  14772      203241   Joshua Genberg                          Parafinczuk Wolf, P.A.           8:20-cv-49927-MCR-GRJ
  14773      203242   Jared Harmon                            Parafinczuk Wolf, P.A.                                      8:20-cv-49931-MCR-GRJ
  14774      203243   Marcus Hodge                            Parafinczuk Wolf, P.A.           8:20-cv-49935-MCR-GRJ
  14775      203246   Jeremy Jackson                          Parafinczuk Wolf, P.A.           8:20-cv-49946-MCR-GRJ
  14776      203251   Thomas Kemp                             Parafinczuk Wolf, P.A.           8:20-cv-49966-MCR-GRJ
  14777      203253   George King                             Parafinczuk Wolf, P.A.           8:20-cv-49973-MCR-GRJ
  14778      203254   Johnny Kirksey                          Parafinczuk Wolf, P.A.           8:20-cv-49977-MCR-GRJ
  14779      203255   Douglas Leighton                        Parafinczuk Wolf, P.A.                                      8:20-cv-49981-MCR-GRJ
  14780      203256   David Martinez                          Parafinczuk Wolf, P.A.           8:20-cv-49985-MCR-GRJ
  14781      203257   Ryan Mathis                             Parafinczuk Wolf, P.A.                                      8:20-cv-49989-MCR-GRJ
  14782      203259   Thomas Mccall                           Parafinczuk Wolf, P.A.                                      8:20-cv-49997-MCR-GRJ
  14783      203260   Matthew Meditz                          Parafinczuk Wolf, P.A.           8:20-cv-50001-MCR-GRJ
  14784      203263   Christopher Morrison                    Parafinczuk Wolf, P.A.                                      8:20-cv-50012-MCR-GRJ
  14785      203264   Bryon Nichols                           Parafinczuk Wolf, P.A.           8:20-cv-50015-MCR-GRJ
  14786      203265   Colton Norwood                          Parafinczuk Wolf, P.A.           8:20-cv-50019-MCR-GRJ
  14787      203270   Coby Poe                                Parafinczuk Wolf, P.A.                                      8:20-cv-50035-MCR-GRJ
  14788      203281   Raymond Thomas                          Parafinczuk Wolf, P.A.           8:20-cv-50079-MCR-GRJ
  14789      203288   Dana Young                              Parafinczuk Wolf, P.A.           8:20-cv-50106-MCR-GRJ
  14790      210403   Alberto Oyuela                          Parafinczuk Wolf, P.A.                                      8:20-cv-59559-MCR-GRJ
  14791      210404   Chad Goodermote                         Parafinczuk Wolf, P.A.           8:20-cv-59563-MCR-GRJ
  14792      210405   Fred Lewis                              Parafinczuk Wolf, P.A.                                      8:20-cv-59567-MCR-GRJ
  14793      210407   Adam Badgett                            Parafinczuk Wolf, P.A.                                      8:20-cv-59575-MCR-GRJ
  14794      210408   Clayborn Beverly                        Parafinczuk Wolf, P.A.                                      8:20-cv-59579-MCR-GRJ
  14795      210410   Jerome Cohen                            Parafinczuk Wolf, P.A.           8:20-cv-59587-MCR-GRJ
  14796      210412   Scott Allen Eckenridge                  Parafinczuk Wolf, P.A.           8:20-cv-59594-MCR-GRJ
  14797      210413   Rakeem Person                           Parafinczuk Wolf, P.A.           8:20-cv-59599-MCR-GRJ
  14798      210423   Elijah Grubbs                           Parafinczuk Wolf, P.A.           8:20-cv-59636-MCR-GRJ
  14799      210426   Daniel Wilburn                          Parafinczuk Wolf, P.A.           8:20-cv-59646-MCR-GRJ
  14800      210431   Antonio Collins                         Parafinczuk Wolf, P.A.                                      8:20-cv-59661-MCR-GRJ
  14801      214615   Edgar Acosta                            Parafinczuk Wolf, P.A.                                      8:20-cv-66736-MCR-GRJ
  14802      214617   Benito Alvarado                         Parafinczuk Wolf, P.A.           8:20-cv-66746-MCR-GRJ
  14803      214618   Matthew Baker                           Parafinczuk Wolf, P.A.           8:20-cv-66753-MCR-GRJ
  14804      214621   Kaliym Bey                              Parafinczuk Wolf, P.A.           8:20-cv-66770-MCR-GRJ
  14805      214624   Kristofer Burnett                       Parafinczuk Wolf, P.A.                                      8:20-cv-66786-MCR-GRJ
  14806      214626   Pedro Contero                           Parafinczuk Wolf, P.A.           8:20-cv-66798-MCR-GRJ
  14807      214629   Arielle Eager                           Parafinczuk Wolf, P.A.                                      8:20-cv-66815-MCR-GRJ
  14808      214632   Harry Falu                              Parafinczuk Wolf, P.A.           8:20-cv-66833-MCR-GRJ
  14809      214640   Maurice Johnson                         Parafinczuk Wolf, P.A.           8:20-cv-66876-MCR-GRJ
  14810      214641   William Kewitz                          Parafinczuk Wolf, P.A.           8:20-cv-66881-MCR-GRJ
  14811      214643   Jose Luciano                            Parafinczuk Wolf, P.A.           8:20-cv-66891-MCR-GRJ
  14812      214645   Jose Matos Rodriguez                    Parafinczuk Wolf, P.A.                                      8:20-cv-66900-MCR-GRJ
  14813      214648   Dylan Mcdaniel                          Parafinczuk Wolf, P.A.                                      8:20-cv-66915-MCR-GRJ
  14814      214652   Raushanah Pendleton                     Parafinczuk Wolf, P.A.           8:20-cv-66936-MCR-GRJ
  14815      214653   Shawn Pernell                           Parafinczuk Wolf, P.A.           8:20-cv-66941-MCR-GRJ
  14816      214655   Josh Rosendaul                          Parafinczuk Wolf, P.A.           8:20-cv-66952-MCR-GRJ
  14817      214656   Michael Stoll                           Parafinczuk Wolf, P.A.                                      8:20-cv-66957-MCR-GRJ
  14818      214657   James Taylor                            Parafinczuk Wolf, P.A.           8:20-cv-66962-MCR-GRJ
  14819      216530   Daniel Aleman                           Parafinczuk Wolf, P.A.           8:20-cv-66971-MCR-GRJ




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  14820      216534   Tommy Brewer                            Parafinczuk Wolf, P.A.           8:20-cv-66991-MCR-GRJ
  14821      216536   Nathan Bryan                            Parafinczuk Wolf, P.A.           8:20-cv-67001-MCR-GRJ
  14822      216538   Kevin Canady                            Parafinczuk Wolf, P.A.           8:20-cv-67011-MCR-GRJ
  14823      216539   Ryan Cash                               Parafinczuk Wolf, P.A.           8:20-cv-67018-MCR-GRJ
  14824      216544   Lori Delillo                            Parafinczuk Wolf, P.A.                                      8:20-cv-67037-MCR-GRJ
  14825      216549   Antionette Estes                        Parafinczuk Wolf, P.A.                                      8:20-cv-67058-MCR-GRJ
  14826      216551   Cherie Graves                           Parafinczuk Wolf, P.A.                                      8:20-cv-67065-MCR-GRJ
  14827      216553   Asta Hargus                             Parafinczuk Wolf, P.A.                                      8:20-cv-67073-MCR-GRJ
  14828      216554   Raymond Hawkins                         Parafinczuk Wolf, P.A.           8:20-cv-67077-MCR-GRJ
  14829      216555   Jamelia Hickman                         Parafinczuk Wolf, P.A.                                      8:20-cv-67081-MCR-GRJ
  14830      216556   Curtis Highsmith                        Parafinczuk Wolf, P.A.           8:20-cv-67085-MCR-GRJ
  14831      216563   Collin Kohlhepp                         Parafinczuk Wolf, P.A.           8:20-cv-67108-MCR-GRJ
  14832      216565   Max Lawmaster                           Parafinczuk Wolf, P.A.           8:20-cv-67114-MCR-GRJ
  14833      216570   Sandi Murphy                            Parafinczuk Wolf, P.A.           8:20-cv-67129-MCR-GRJ
  14834      216574   Matthew Poole                           Parafinczuk Wolf, P.A.           8:20-cv-67139-MCR-GRJ
  14835      216576   Raymond Ryland                          Parafinczuk Wolf, P.A.           8:20-cv-67143-MCR-GRJ
  14836      216579   Darius Shropshire                       Parafinczuk Wolf, P.A.           8:20-cv-67149-MCR-GRJ
  14837      216581   James Stone                             Parafinczuk Wolf, P.A.           8:20-cv-67153-MCR-GRJ
  14838      216582   Jason Stone                             Parafinczuk Wolf, P.A.                                      8:20-cv-67155-MCR-GRJ
  14839      216583   Bradley Syomin                          Parafinczuk Wolf, P.A.                                      8:20-cv-67157-MCR-GRJ
  14840      216584   Kenneth Tewksbury                       Parafinczuk Wolf, P.A.           8:20-cv-67159-MCR-GRJ
  14841      216588   Andrew Velasquez                        Parafinczuk Wolf, P.A.                                      8:20-cv-67167-MCR-GRJ
  14842      216589   Jared Watson                            Parafinczuk Wolf, P.A.           8:20-cv-67169-MCR-GRJ
  14843      216590   Joshua Weedon                           Parafinczuk Wolf, P.A.           8:20-cv-67171-MCR-GRJ
  14844      216591   Alicia Wesley                           Parafinczuk Wolf, P.A.           8:20-cv-67173-MCR-GRJ
  14845      216592   Kyle Westfall                           Parafinczuk Wolf, P.A.           8:20-cv-67175-MCR-GRJ
  14846      216593   Richard Westrup                         Parafinczuk Wolf, P.A.           8:20-cv-67177-MCR-GRJ
  14847      216594   Richard Widdecombe                      Parafinczuk Wolf, P.A.           8:20-cv-67179-MCR-GRJ
  14848      238465   Jason Knudsen                           Parafinczuk Wolf, P.A.           8:20-cv-90059-MCR-GRJ
  14849      238467   Andrew Mcqueen                          Parafinczuk Wolf, P.A.                                      8:20-cv-90061-MCR-GRJ
  14850      247687   Kevin Kraczkowski                       Parafinczuk Wolf, P.A.                                      9:20-cv-10729-MCR-GRJ
  14851      247690   Michael Moore                           Parafinczuk Wolf, P.A.           9:20-cv-10731-MCR-GRJ
  14852      247693   Khabeer Williams                        Parafinczuk Wolf, P.A.           9:20-cv-10734-MCR-GRJ
  14853      254875   Tyler Boyd                              Parafinczuk Wolf, P.A.                                      9:20-cv-10735-MCR-GRJ
  14854      254880   Paul Encinias                           Parafinczuk Wolf, P.A.           9:20-cv-10740-MCR-GRJ
  14855      254881   Mario Torres                            Parafinczuk Wolf, P.A.                                      9:20-cv-10741-MCR-GRJ
  14856      259945   Garrett Campbell                        Parafinczuk Wolf, P.A.           9:20-cv-10748-MCR-GRJ
  14857      261179   Jonathan Johnson                        Parafinczuk Wolf, P.A.           9:20-cv-10758-MCR-GRJ
  14858      266366   Mark Willard                            Parafinczuk Wolf, P.A.           9:20-cv-10848-MCR-GRJ
  14859      270416   Christopher Thomas                      Parafinczuk Wolf, P.A.           9:20-cv-08809-MCR-GRJ
  14860      274614   Jordani Joseph                          Parafinczuk Wolf, P.A.                                      9:20-cv-17955-MCR-GRJ
  14861      274618   Jacob Lietz                             Parafinczuk Wolf, P.A.           9:20-cv-17956-MCR-GRJ
  14862      274757   Chelsea Porter                          Parafinczuk Wolf, P.A.           9:20-cv-20190-MCR-GRJ
  14863      276779   Christopher Schuettler                  Parafinczuk Wolf, P.A.                                      9:20-cv-20337-MCR-GRJ
  14864      282585   Derrick Moore                           Parafinczuk Wolf, P.A.           7:21-cv-04920-MCR-GRJ
  14865      288528   Randy Powell                            Parafinczuk Wolf, P.A.                                      7:21-cv-10559-MCR-GRJ
  14866      288529   Paul Stevens                            Parafinczuk Wolf, P.A.           7:21-cv-10560-MCR-GRJ
  14867      288534   Jesse James                             Parafinczuk Wolf, P.A.           7:21-cv-10565-MCR-GRJ
  14868      288537   David Worn                              Parafinczuk Wolf, P.A.           7:21-cv-10568-MCR-GRJ
  14869      288538   William Adkins                          Parafinczuk Wolf, P.A.           7:21-cv-10569-MCR-GRJ
  14870      288540   Carlo Nicholson                         Parafinczuk Wolf, P.A.           7:21-cv-10571-MCR-GRJ
  14871      288541   Russell Howard                          Parafinczuk Wolf, P.A.                                      7:21-cv-10572-MCR-GRJ
  14872      288543   Ross Inglis                             Parafinczuk Wolf, P.A.                                      7:21-cv-10574-MCR-GRJ
  14873      288544   Armand English                          Parafinczuk Wolf, P.A.                                      7:21-cv-10575-MCR-GRJ
  14874      288548   Darren Stokely                          Parafinczuk Wolf, P.A.           7:21-cv-10579-MCR-GRJ
  14875      288555   Antoine Brown                           Parafinczuk Wolf, P.A.                                      7:21-cv-10586-MCR-GRJ
  14876      288557   Timothy Flournoy                        Parafinczuk Wolf, P.A.           7:21-cv-10588-MCR-GRJ
  14877      288566   David Nelms                             Parafinczuk Wolf, P.A.           7:21-cv-10597-MCR-GRJ
  14878      288568   Richard Lowery                          Parafinczuk Wolf, P.A.                                      7:21-cv-10599-MCR-GRJ
  14879      288571   Karl Carroll                            Parafinczuk Wolf, P.A.                                      7:21-cv-10602-MCR-GRJ
  14880      288572   Kenyatta Steen                          Parafinczuk Wolf, P.A.           7:21-cv-10603-MCR-GRJ
  14881      288573   Michael Caterina                        Parafinczuk Wolf, P.A.           7:21-cv-10604-MCR-GRJ
  14882      288575   David Byas                              Parafinczuk Wolf, P.A.           7:21-cv-10606-MCR-GRJ
  14883      288576   Dace Williams                           Parafinczuk Wolf, P.A.                                      7:21-cv-10607-MCR-GRJ
  14884      288580   Christopher Barnett                     Parafinczuk Wolf, P.A.                                      7:21-cv-10611-MCR-GRJ
  14885      288581   Tyler Sweatt                            Parafinczuk Wolf, P.A.           7:21-cv-10612-MCR-GRJ
  14886      288582   Erik Flores                             Parafinczuk Wolf, P.A.           7:21-cv-10613-MCR-GRJ
  14887      288587   Susan Sokolowski                        Parafinczuk Wolf, P.A.                                      7:21-cv-10618-MCR-GRJ
  14888      288589   Priscilla Robbins                       Parafinczuk Wolf, P.A.           7:21-cv-10620-MCR-GRJ
  14889      288590   Robert Taylor                           Parafinczuk Wolf, P.A.           7:21-cv-10621-MCR-GRJ
  14890      288591   Bruce Dehaven                           Parafinczuk Wolf, P.A.           7:21-cv-10622-MCR-GRJ
  14891      288593   Andrea Conn                             Parafinczuk Wolf, P.A.           7:21-cv-10624-MCR-GRJ
  14892      288595   John Mcknight                           Parafinczuk Wolf, P.A.                                      7:21-cv-10626-MCR-GRJ




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  14893      288596   Teondra Browne                          Parafinczuk Wolf, P.A.                                      7:21-cv-10627-MCR-GRJ
  14894      288597   Charles Briley                          Parafinczuk Wolf, P.A.           7:21-cv-10628-MCR-GRJ
  14895      288598   Raul Cisneros                           Parafinczuk Wolf, P.A.           7:21-cv-10629-MCR-GRJ
  14896      288599   Aaron Cox                               Parafinczuk Wolf, P.A.           7:21-cv-10630-MCR-GRJ
  14897      288600   Edward Speights                         Parafinczuk Wolf, P.A.           7:21-cv-10631-MCR-GRJ
  14898      288601   Brian Bollin                            Parafinczuk Wolf, P.A.                                      7:21-cv-10632-MCR-GRJ
  14899      288604   Shiloh Morris                           Parafinczuk Wolf, P.A.           7:21-cv-10635-MCR-GRJ
  14900      288606   Joseph Trahan                           Parafinczuk Wolf, P.A.           7:21-cv-10637-MCR-GRJ
  14901      288609   Joseph Couch                            Parafinczuk Wolf, P.A.           7:21-cv-10640-MCR-GRJ
  14902      288612   Gary Caple                              Parafinczuk Wolf, P.A.                                      7:21-cv-10643-MCR-GRJ
  14903      288613   Geoffrey Deforge                        Parafinczuk Wolf, P.A.           7:21-cv-10644-MCR-GRJ
  14904      288617   James Baylis                            Parafinczuk Wolf, P.A.                                      7:21-cv-10648-MCR-GRJ
  14905      288618   Cantronn Hatcher                        Parafinczuk Wolf, P.A.           7:21-cv-10649-MCR-GRJ
  14906      288620   Jonathan Marshall                       Parafinczuk Wolf, P.A.           7:21-cv-10651-MCR-GRJ
  14907      288621   Michael Casares                         Parafinczuk Wolf, P.A.           7:21-cv-10652-MCR-GRJ
  14908      288624   Jonathan Suttor                         Parafinczuk Wolf, P.A.           7:21-cv-10655-MCR-GRJ
  14909      288625   John Desantis                           Parafinczuk Wolf, P.A.                                      7:21-cv-10656-MCR-GRJ
  14910      288626   David Calvert                           Parafinczuk Wolf, P.A.           7:21-cv-10657-MCR-GRJ
  14911      288627   Jared Heine                             Parafinczuk Wolf, P.A.           7:21-cv-10658-MCR-GRJ
  14912      288628   Kyle Beck                               Parafinczuk Wolf, P.A.                                      7:21-cv-10659-MCR-GRJ
  14913      288629   Misty Havis                             Parafinczuk Wolf, P.A.           7:21-cv-10660-MCR-GRJ
  14914      288634   Brandon Zoeller                         Parafinczuk Wolf, P.A.           7:21-cv-10665-MCR-GRJ
  14915      288635   Nickalos Coone                          Parafinczuk Wolf, P.A.           7:21-cv-10666-MCR-GRJ
  14916      288636   Anthony Edwards                         Parafinczuk Wolf, P.A.           7:21-cv-10667-MCR-GRJ
  14917      288637   Michael Davis                           Parafinczuk Wolf, P.A.                                      7:21-cv-10668-MCR-GRJ
  14918      288641   Oscar Villamil                          Parafinczuk Wolf, P.A.           7:21-cv-10672-MCR-GRJ
  14919      288642   Kayshawn Richardson                     Parafinczuk Wolf, P.A.                                      7:21-cv-10673-MCR-GRJ
  14920      288644   Ashanti Harris                          Parafinczuk Wolf, P.A.           7:21-cv-10675-MCR-GRJ
  14921      288646   Cassius Gilmer                          Parafinczuk Wolf, P.A.                                      7:21-cv-10677-MCR-GRJ
  14922      288648   James Snodgrass                         Parafinczuk Wolf, P.A.           7:21-cv-10679-MCR-GRJ
  14923      288650   Curtis Gardner                          Parafinczuk Wolf, P.A.                                      7:21-cv-10681-MCR-GRJ
  14924      288651   Rebecca Willett                         Parafinczuk Wolf, P.A.                                      7:21-cv-10682-MCR-GRJ
  14925      288652   Jacob Gisa                              Parafinczuk Wolf, P.A.                                      7:21-cv-10683-MCR-GRJ
  14926      288653   Jessica Russell                         Parafinczuk Wolf, P.A.           7:21-cv-10684-MCR-GRJ
  14927      288656   Timothie Bachmeier                      Parafinczuk Wolf, P.A.           7:21-cv-10687-MCR-GRJ
  14928      288659   Mark Brisbin                            Parafinczuk Wolf, P.A.           7:21-cv-10690-MCR-GRJ
  14929      288660   Derrick Simpkins                        Parafinczuk Wolf, P.A.           7:21-cv-10691-MCR-GRJ
  14930      288662   Zachary Weston                          Parafinczuk Wolf, P.A.                                      7:21-cv-10693-MCR-GRJ
  14931      291223   Jonathan Mckeever                       Parafinczuk Wolf, P.A.           7:21-cv-13359-MCR-GRJ
  14932      293555   Arthur Bower                            Parafinczuk Wolf, P.A.           7:21-cv-14030-MCR-GRJ
  14933      293559   Jesus Garcia                            Parafinczuk Wolf, P.A.           7:21-cv-14034-MCR-GRJ
  14934      293561   Crystal Whitesell-Raines                Parafinczuk Wolf, P.A.                                      7:21-cv-14036-MCR-GRJ
  14935      293562   Nicholas Trussell                       Parafinczuk Wolf, P.A.           7:21-cv-14037-MCR-GRJ
  14936      293564   Nathan Vandall                          Parafinczuk Wolf, P.A.           7:21-cv-14041-MCR-GRJ
  14937      293568   Colin Lerbakken                         Parafinczuk Wolf, P.A.           7:21-cv-14049-MCR-GRJ
  14938      293569   Jesse Duquette                          Parafinczuk Wolf, P.A.           7:21-cv-14051-MCR-GRJ
  14939      293570   Adam Gray                               Parafinczuk Wolf, P.A.           7:21-cv-14053-MCR-GRJ
  14940      306731   Jimmie Oliver                           Parafinczuk Wolf, P.A.                                      7:21-cv-23968-MCR-GRJ
  14941      306808   Cody Mcdowell                           Parafinczuk Wolf, P.A.           7:21-cv-27294-MCR-GRJ
  14942      307097   Michael Martinez                        Parafinczuk Wolf, P.A.           7:21-cv-24138-MCR-GRJ
  14943      307099   Jason Cucinotta                         Parafinczuk Wolf, P.A.           7:21-cv-24140-MCR-GRJ
  14944      308125   Ernest Rodriguez                        Parafinczuk Wolf, P.A.           7:21-cv-27296-MCR-GRJ
  14945      308126   Darin Johnson                           Parafinczuk Wolf, P.A.           7:21-cv-27299-MCR-GRJ
  14946      308127   Benjamin Vincent                        Parafinczuk Wolf, P.A.                                      7:21-cv-27301-MCR-GRJ
  14947      308128   Raymond Mcleod                          Parafinczuk Wolf, P.A.           7:21-cv-27303-MCR-GRJ
  14948      308131   Herman Lennon                           Parafinczuk Wolf, P.A.           7:21-cv-27310-MCR-GRJ
  14949      308133   Justin Canon                            Parafinczuk Wolf, P.A.           7:21-cv-27314-MCR-GRJ
  14950      308136   Jesse Moore                             Parafinczuk Wolf, P.A.           7:21-cv-27321-MCR-GRJ
  14951      308137   Dwayne Timmons                          Parafinczuk Wolf, P.A.                                      7:21-cv-27323-MCR-GRJ
  14952      308139   Steven Melton                           Parafinczuk Wolf, P.A.                                      7:21-cv-27327-MCR-GRJ
  14953      308140   Yeshua Belanger                         Parafinczuk Wolf, P.A.           7:21-cv-27329-MCR-GRJ
  14954      308144   Michael Hester                          Parafinczuk Wolf, P.A.           7:21-cv-27338-MCR-GRJ
  14955      308147   Maxie Marshall                          Parafinczuk Wolf, P.A.           7:21-cv-27344-MCR-GRJ
  14956      308149   Justin Rankin                           Parafinczuk Wolf, P.A.           7:21-cv-27347-MCR-GRJ
  14957      308150   Larry Myers                             Parafinczuk Wolf, P.A.           7:21-cv-27349-MCR-GRJ
  14958      308151   Jacob Wittland                          Parafinczuk Wolf, P.A.                                      7:21-cv-27351-MCR-GRJ
  14959      308152   Kenneth Norris                          Parafinczuk Wolf, P.A.           7:21-cv-27353-MCR-GRJ
  14960      308153   Justin Eveland                          Parafinczuk Wolf, P.A.           7:21-cv-27355-MCR-GRJ
  14961      308154   Howard Slade                            Parafinczuk Wolf, P.A.           7:21-cv-27357-MCR-GRJ
  14962      308157   David Hodges                            Parafinczuk Wolf, P.A.           7:21-cv-27364-MCR-GRJ
  14963      308158   Cyndi Tamez                             Parafinczuk Wolf, P.A.                                      7:21-cv-27366-MCR-GRJ
  14964      308161   Marc Stinson                            Parafinczuk Wolf, P.A.                                      7:21-cv-27372-MCR-GRJ
  14965      308164   Jeremiah Soper                          Parafinczuk Wolf, P.A.           7:21-cv-27379-MCR-GRJ




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  14966      308165   Frank Grahovac                          Parafinczuk Wolf, P.A.                                      7:21-cv-27381-MCR-GRJ
  14967      308166   Bobby Fillers                           Parafinczuk Wolf, P.A.           7:21-cv-27383-MCR-GRJ
  14968      308171   David Lawrence                          Parafinczuk Wolf, P.A.           7:21-cv-27394-MCR-GRJ
  14969      308173   Arsenio Brown                           Parafinczuk Wolf, P.A.           7:21-cv-27398-MCR-GRJ
  14970      308176   David Mertz                             Parafinczuk Wolf, P.A.                                      7:21-cv-27405-MCR-GRJ
  14971      308177   Andrew Martinez                         Parafinczuk Wolf, P.A.                                      7:21-cv-27407-MCR-GRJ
  14972      308179   Marlena Scott                           Parafinczuk Wolf, P.A.           7:21-cv-27411-MCR-GRJ
  14973      308185   Anthony Salerno                         Parafinczuk Wolf, P.A.                                      7:21-cv-27424-MCR-GRJ
  14974      308193   David Whitten                           Parafinczuk Wolf, P.A.                                      7:21-cv-27441-MCR-GRJ
  14975      308196   Phonso Smith                            Parafinczuk Wolf, P.A.                                      7:21-cv-27448-MCR-GRJ
  14976      308199   Camden Coryell                          Parafinczuk Wolf, P.A.           7:21-cv-27454-MCR-GRJ
  14977      308207   Anthony Lagos                           Parafinczuk Wolf, P.A.           7:21-cv-27472-MCR-GRJ
  14978      308211   David Sprague                           Parafinczuk Wolf, P.A.                                      7:21-cv-27480-MCR-GRJ
  14979      308212   Edward Esposti                          Parafinczuk Wolf, P.A.                                      7:21-cv-27482-MCR-GRJ
  14980      308213   James Cowart                            Parafinczuk Wolf, P.A.           7:21-cv-27485-MCR-GRJ
  14981      308214   Mathew Young                            Parafinczuk Wolf, P.A.           7:21-cv-27487-MCR-GRJ
  14982      308217   James Woods                             Parafinczuk Wolf, P.A.           7:21-cv-27493-MCR-GRJ
  14983      308221   Brandi Wyffels                          Parafinczuk Wolf, P.A.           7:21-cv-27502-MCR-GRJ
  14984      308226   Nicholas Bosnak                         Parafinczuk Wolf, P.A.           7:21-cv-27513-MCR-GRJ
  14985      311281   Kenneth Bake                            Parafinczuk Wolf, P.A.           7:21-cv-28570-MCR-GRJ
  14986      311282   Jeremy Brooks                           Parafinczuk Wolf, P.A.                                      7:21-cv-28571-MCR-GRJ
  14987      311287   William Dickey                          Parafinczuk Wolf, P.A.           7:21-cv-28576-MCR-GRJ
  14988      311288   Gerald Dysart                           Parafinczuk Wolf, P.A.                                      7:21-cv-28577-MCR-GRJ
  14989      311291   Dustin Green                            Parafinczuk Wolf, P.A.                                      7:21-cv-28580-MCR-GRJ
  14990      311292   Jesus Guzman                            Parafinczuk Wolf, P.A.                                      7:21-cv-28581-MCR-GRJ
  14991      311294   Andrew Hansen                           Parafinczuk Wolf, P.A.           7:21-cv-28583-MCR-GRJ
  14992      311296   Jacob Herrod                            Parafinczuk Wolf, P.A.                                      7:21-cv-28585-MCR-GRJ
  14993      311300   Willie Jones                            Parafinczuk Wolf, P.A.           7:21-cv-28589-MCR-GRJ
  14994      311301   Kodi Justice                            Parafinczuk Wolf, P.A.           7:21-cv-28590-MCR-GRJ
  14995      311302   Paul Lindgren                           Parafinczuk Wolf, P.A.           7:21-cv-28591-MCR-GRJ
  14996      311303   Dechaunce Mayes                         Parafinczuk Wolf, P.A.           7:21-cv-28592-MCR-GRJ
  14997      311305   Arthur Meyers                           Parafinczuk Wolf, P.A.                                      7:21-cv-28594-MCR-GRJ
  14998      311306   Cortni Miller                           Parafinczuk Wolf, P.A.                                      7:21-cv-28595-MCR-GRJ
  14999      311310   Dakota Pos                              Parafinczuk Wolf, P.A.           7:21-cv-28599-MCR-GRJ
  15000      311316   Austin Simon                            Parafinczuk Wolf, P.A.           7:21-cv-28605-MCR-GRJ
  15001      311317   Kenneth Smith                           Parafinczuk Wolf, P.A.           7:21-cv-28606-MCR-GRJ
  15002      311318   Andrew Snider                           Parafinczuk Wolf, P.A.                                      7:21-cv-28607-MCR-GRJ
  15003      311320   Frank Strati                            Parafinczuk Wolf, P.A.           7:21-cv-28609-MCR-GRJ
  15004      311322   Larry Surles                            Parafinczuk Wolf, P.A.                                      7:21-cv-28611-MCR-GRJ
  15005      311331   Ryan Petty                              Parafinczuk Wolf, P.A.           7:21-cv-28620-MCR-GRJ
  15006      321754   Victor Abreu                            Parafinczuk Wolf, P.A.                                      7:21-cv-41922-MCR-GRJ
  15007      321757   Rogelio Aguilera                        Parafinczuk Wolf, P.A.           7:21-cv-41928-MCR-GRJ
  15008      321771   Joshua Velez                            Parafinczuk Wolf, P.A.           7:21-cv-41956-MCR-GRJ
  15009      321780   Benjamin Wilburn                        Parafinczuk Wolf, P.A.                                      7:21-cv-41975-MCR-GRJ
  15010      321784   Joseph Williams                         Parafinczuk Wolf, P.A.                                      7:21-cv-41983-MCR-GRJ
  15011      321797   Paul Yost                               Parafinczuk Wolf, P.A.           7:21-cv-42005-MCR-GRJ
  15012      321799   Rashard Banks                           Parafinczuk Wolf, P.A.           7:21-cv-42009-MCR-GRJ
  15013      321801   James Branch                            Parafinczuk Wolf, P.A.                                      7:21-cv-42014-MCR-GRJ
  15014      321802   Chris Butcher                           Parafinczuk Wolf, P.A.           7:21-cv-42016-MCR-GRJ
  15015      321812   Augusto Hernandez                       Parafinczuk Wolf, P.A.           7:21-cv-42036-MCR-GRJ
  15016      321818   Jermaine Richardson                     Parafinczuk Wolf, P.A.                                      7:21-cv-42048-MCR-GRJ
  15017      321821   Travis Smith                            Parafinczuk Wolf, P.A.           7:21-cv-42055-MCR-GRJ
  15018      321823   Kisha Turner                            Parafinczuk Wolf, P.A.           7:21-cv-42059-MCR-GRJ
  15019      321824   Michael Barnhill                        Parafinczuk Wolf, P.A.           7:21-cv-44531-MCR-GRJ
  15020      324858   Lorenzo Aromin                          Parafinczuk Wolf, P.A.           7:21-cv-44536-MCR-GRJ
  15021      324859   Chris Ault                              Parafinczuk Wolf, P.A.           7:21-cv-44537-MCR-GRJ
  15022      324860   Travis Armstrong                        Parafinczuk Wolf, P.A.           7:21-cv-44538-MCR-GRJ
  15023      324861   Charles Abraham                         Parafinczuk Wolf, P.A.           7:21-cv-44539-MCR-GRJ
  15024      324864   Leroy Ahnee                             Parafinczuk Wolf, P.A.                                      7:21-cv-44542-MCR-GRJ
  15025      324866   Jonathan Bailey                         Parafinczuk Wolf, P.A.                                      7:21-cv-44544-MCR-GRJ
  15026      324868   Cecilia Abbey                           Parafinczuk Wolf, P.A.           7:21-cv-44546-MCR-GRJ
  15027      324869   Ishmael Abdur-Rafia                     Parafinczuk Wolf, P.A.           7:21-cv-44547-MCR-GRJ
  15028      324870   Quinton Alderson                        Parafinczuk Wolf, P.A.           7:21-cv-44548-MCR-GRJ
  15029      324873   David Acostagonzalez                    Parafinczuk Wolf, P.A.           7:21-cv-44551-MCR-GRJ
  15030      324874   Israel Alicea                           Parafinczuk Wolf, P.A.           7:21-cv-44552-MCR-GRJ
  15031      324875   Ansar Azim                              Parafinczuk Wolf, P.A.           7:21-cv-44553-MCR-GRJ
  15032      324876   Scott Aldridge                          Parafinczuk Wolf, P.A.           7:21-cv-44554-MCR-GRJ
  15033      324877   Afeleis Allen                           Parafinczuk Wolf, P.A.           7:21-cv-44555-MCR-GRJ
  15034      324878   Daniel Abraham                          Parafinczuk Wolf, P.A.           7:21-cv-44556-MCR-GRJ
  15035      324879   Janice Atwell                           Parafinczuk Wolf, P.A.           7:21-cv-44557-MCR-GRJ
  15036      324880   Deepthi Abraham                         Parafinczuk Wolf, P.A.           7:21-cv-44558-MCR-GRJ
  15037      326619   Genaro Galimba                          Parafinczuk Wolf, P.A.                                      7:21-cv-48777-MCR-GRJ
  15038      329245   Urban Morfin                            Parafinczuk Wolf, P.A.           7:21-cv-48912-MCR-GRJ




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  15039      329246   Emily Swagart                           Parafinczuk Wolf, P.A.           7:21-cv-48913-MCR-GRJ
  15040      329247   Irving Mora                             Parafinczuk Wolf, P.A.                                      7:21-cv-48914-MCR-GRJ
  15041      329251   Brent Schwartz                          Parafinczuk Wolf, P.A.           7:21-cv-48918-MCR-GRJ
  15042      329254   Cardrico Mosley                         Parafinczuk Wolf, P.A.           7:21-cv-48921-MCR-GRJ
  15043      329256   Mark Stilson                            Parafinczuk Wolf, P.A.           7:21-cv-48923-MCR-GRJ
  15044      329260   Heather Morrison                        Parafinczuk Wolf, P.A.           7:21-cv-48927-MCR-GRJ
  15045      329261   Kenny Smith                             Parafinczuk Wolf, P.A.           7:21-cv-48928-MCR-GRJ
  15046      329264   John Spurlock                           Parafinczuk Wolf, P.A.           7:21-cv-48931-MCR-GRJ
  15047      329265   Sean Campos                             Parafinczuk Wolf, P.A.           7:21-cv-48932-MCR-GRJ
  15048      329267   Joseph Ruelas                           Parafinczuk Wolf, P.A.           7:21-cv-48934-MCR-GRJ
  15049      329268   Kenneth Niffen                          Parafinczuk Wolf, P.A.           7:21-cv-48935-MCR-GRJ
  15050      329270   James Spears                            Parafinczuk Wolf, P.A.           7:21-cv-48937-MCR-GRJ
  15051      329271   John Cain                               Parafinczuk Wolf, P.A.           7:21-cv-48938-MCR-GRJ
  15052      329272   James Brown                             Parafinczuk Wolf, P.A.                                      7:21-cv-48939-MCR-GRJ
  15053      329273   Eric Thomas                             Parafinczuk Wolf, P.A.           7:21-cv-48940-MCR-GRJ
  15054      329274   Alvin Skorcz                            Parafinczuk Wolf, P.A.           7:21-cv-48941-MCR-GRJ
  15055      329278   Donald Taylor                           Parafinczuk Wolf, P.A.           7:21-cv-48945-MCR-GRJ
  15056      329279   Garth Moreau                            Parafinczuk Wolf, P.A.           7:21-cv-48946-MCR-GRJ
  15057      329282   Jay Stewart                             Parafinczuk Wolf, P.A.           7:21-cv-48949-MCR-GRJ
  15058      329283   Marlin Robbins                          Parafinczuk Wolf, P.A.                                      7:21-cv-48950-MCR-GRJ
  15059      329286   Michael Morel                           Parafinczuk Wolf, P.A.           7:21-cv-48953-MCR-GRJ
  15060      329287   Nicholas Theriault                      Parafinczuk Wolf, P.A.                                      7:21-cv-48954-MCR-GRJ
  15061      329290   Tyson Taylor                            Parafinczuk Wolf, P.A.           7:21-cv-48957-MCR-GRJ
  15062      329291   Alexander Quijano                       Parafinczuk Wolf, P.A.           7:21-cv-48958-MCR-GRJ
  15063      329293   Delvin Ward                             Parafinczuk Wolf, P.A.           7:21-cv-48960-MCR-GRJ
  15064      329294   Michael Dowell                          Parafinczuk Wolf, P.A.           7:21-cv-48961-MCR-GRJ
  15065      329295   Michael Ross                            Parafinczuk Wolf, P.A.           7:21-cv-48962-MCR-GRJ
  15066      329297   Jefferson Reid                          Parafinczuk Wolf, P.A.           7:21-cv-48964-MCR-GRJ
  15067      329298   Laurens-Frits Pieters                   Parafinczuk Wolf, P.A.           7:21-cv-48966-MCR-GRJ
  15068      329299   Marzella Smith                          Parafinczuk Wolf, P.A.                                      7:21-cv-48968-MCR-GRJ
  15069      329300   Ricky Morphew                           Parafinczuk Wolf, P.A.           7:21-cv-48970-MCR-GRJ
  15070      329303   Michael Sexton                          Parafinczuk Wolf, P.A.           7:21-cv-48977-MCR-GRJ
  15071      329304   Tyler Ulrey                             Parafinczuk Wolf, P.A.                                      7:21-cv-48979-MCR-GRJ
  15072      329307   Thomas Thibeau                          Parafinczuk Wolf, P.A.           7:21-cv-48986-MCR-GRJ
  15073      329308   Steven Osorio                           Parafinczuk Wolf, P.A.           7:21-cv-48988-MCR-GRJ
  15074      329309   Matthew Cherry                          Parafinczuk Wolf, P.A.                                      7:21-cv-48990-MCR-GRJ
  15075      329310   Christobal Naputi                       Parafinczuk Wolf, P.A.           7:21-cv-48992-MCR-GRJ
  15076      329311   Randel Perez                            Parafinczuk Wolf, P.A.           7:21-cv-48994-MCR-GRJ
  15077      329312   Brent Robbins                           Parafinczuk Wolf, P.A.           7:21-cv-48996-MCR-GRJ
  15078      329313   Orian Brown                             Parafinczuk Wolf, P.A.           7:21-cv-48998-MCR-GRJ
  15079      329318   David Duggan                            Parafinczuk Wolf, P.A.           7:21-cv-49009-MCR-GRJ
  15080      329319   Micheal O'Bannon                        Parafinczuk Wolf, P.A.           7:21-cv-49011-MCR-GRJ
  15081      329320   Roger Stark                             Parafinczuk Wolf, P.A.           7:21-cv-49013-MCR-GRJ
  15082      329322   Michael Smith                           Parafinczuk Wolf, P.A.                                      7:21-cv-49017-MCR-GRJ
  15083      329324   Daniel Robinson                         Parafinczuk Wolf, P.A.           7:21-cv-49021-MCR-GRJ
  15084      329327   Blake Trainer                           Parafinczuk Wolf, P.A.                                      7:21-cv-49027-MCR-GRJ
  15085      329328   Jason Rodgers                           Parafinczuk Wolf, P.A.                                      7:21-cv-49029-MCR-GRJ
  15086      329329   Kyle Parker                             Parafinczuk Wolf, P.A.           7:21-cv-49031-MCR-GRJ
  15087      329330   Frances Moya                            Parafinczuk Wolf, P.A.           7:21-cv-49034-MCR-GRJ
  15088      329333   Gordon Piontek                          Parafinczuk Wolf, P.A.                                      7:21-cv-49040-MCR-GRJ
  15089      329334   Nicolacia Noelke                        Parafinczuk Wolf, P.A.                                      7:21-cv-49042-MCR-GRJ
  15090      329335   Shelia Mosley                           Parafinczuk Wolf, P.A.           7:21-cv-49044-MCR-GRJ
  15091      329336   Wynton Dunn                             Parafinczuk Wolf, P.A.           7:21-cv-49046-MCR-GRJ
  15092      329338   Quinton Onezine                         Parafinczuk Wolf, P.A.           7:21-cv-49050-MCR-GRJ
  15093      329339   Ngbandu Mumbata                         Parafinczuk Wolf, P.A.           7:21-cv-49052-MCR-GRJ
  15094      329341   Christopher Scarborough                 Parafinczuk Wolf, P.A.           7:21-cv-49056-MCR-GRJ
  15095      333386   Colt Amberg                             Parafinczuk Wolf, P.A.                                      7:21-cv-52819-MCR-GRJ
  15096      333392   John Barfknecht                         Parafinczuk Wolf, P.A.           7:21-cv-52825-MCR-GRJ
  15097      333393   Marcos Barrera                          Parafinczuk Wolf, P.A.           7:21-cv-52826-MCR-GRJ
  15098      333394   Mark Bare                               Parafinczuk Wolf, P.A.           7:21-cv-52827-MCR-GRJ
  15099      333399   Ricky Ashline                           Parafinczuk Wolf, P.A.           7:21-cv-52832-MCR-GRJ
  15100      333402   David Baxter                            Parafinczuk Wolf, P.A.           7:21-cv-52835-MCR-GRJ
  15101      333405   Angela Adams                            Parafinczuk Wolf, P.A.           7:21-cv-52838-MCR-GRJ
  15102      333406   Christopher Barney                      Parafinczuk Wolf, P.A.                                      7:21-cv-52839-MCR-GRJ
  15103      333408   Robert Beasley                          Parafinczuk Wolf, P.A.           7:21-cv-52841-MCR-GRJ
  15104      333410   Alfred Asuncion                         Parafinczuk Wolf, P.A.                                      7:21-cv-52843-MCR-GRJ
  15105      333412   Mark Barnes                             Parafinczuk Wolf, P.A.           7:21-cv-52845-MCR-GRJ
  15106      333413   Matthew Bearden                         Parafinczuk Wolf, P.A.                                      7:21-cv-52846-MCR-GRJ
  15107      333414   Matthew Beharrysingh                    Parafinczuk Wolf, P.A.           7:21-cv-52847-MCR-GRJ
  15108      333416   Randy Miller                            Parafinczuk Wolf, P.A.           7:21-cv-52849-MCR-GRJ
  15109      333417   Christopher Alexander                   Parafinczuk Wolf, P.A.           7:21-cv-52850-MCR-GRJ
  15110      333418   Michael Amescua                         Parafinczuk Wolf, P.A.           7:21-cv-52851-MCR-GRJ
  15111      333419   Josh Austin                             Parafinczuk Wolf, P.A.           7:21-cv-52852-MCR-GRJ




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  15112      333421   Jamie Miller                            Parafinczuk Wolf, P.A.           7:21-cv-52854-MCR-GRJ
  15113      333422   Stephen Allen                           Parafinczuk Wolf, P.A.                                      7:21-cv-52855-MCR-GRJ
  15114      333423   Anthony Balletta                        Parafinczuk Wolf, P.A.                                      7:21-cv-52856-MCR-GRJ
  15115      333426   Michael Anderson                        Parafinczuk Wolf, P.A.           7:21-cv-52859-MCR-GRJ
  15116      333428   Wilford Bearden                         Parafinczuk Wolf, P.A.           7:21-cv-52861-MCR-GRJ
  15117      333430   Alexander Bendsen                       Parafinczuk Wolf, P.A.           7:21-cv-52863-MCR-GRJ
  15118      333433   Kevin Ausler-Shaw                       Parafinczuk Wolf, P.A.           7:21-cv-52866-MCR-GRJ
  15119      333434   Donald Bergen                           Parafinczuk Wolf, P.A.           7:21-cv-52867-MCR-GRJ
  15120      333440   Tristan Barton                          Parafinczuk Wolf, P.A.           7:21-cv-52873-MCR-GRJ
  15121      333446   Greggory Miller                         Parafinczuk Wolf, P.A.           7:21-cv-52879-MCR-GRJ
  15122      333450   Joseph Ballard                          Parafinczuk Wolf, P.A.           7:21-cv-52883-MCR-GRJ
  15123      333451   Frank Beck                              Parafinczuk Wolf, P.A.           7:21-cv-52884-MCR-GRJ
  15124      333456   Kevin Batenlinares                      Parafinczuk Wolf, P.A.           7:21-cv-52889-MCR-GRJ
  15125      333460   Linda Arnaud                            Parafinczuk Wolf, P.A.           7:21-cv-52893-MCR-GRJ
  15126      333462   Michael Miller                          Parafinczuk Wolf, P.A.           7:21-cv-52895-MCR-GRJ
  15127      333465   Lauren Benton                           Parafinczuk Wolf, P.A.           7:21-cv-52898-MCR-GRJ
  15128      333466   Laronda Banks                           Parafinczuk Wolf, P.A.           7:21-cv-52899-MCR-GRJ
  15129      333468   Kenneth Ables                           Parafinczuk Wolf, P.A.           7:21-cv-52901-MCR-GRJ
  15130      350545   Morgan Greene                           Parafinczuk Wolf, P.A.                                      3:21-cv-01383-MCR-GRJ
  15131      350551   Justin Hasty                            Parafinczuk Wolf, P.A.                                      3:21-cv-01366-MCR-GRJ
  15132      350552   Christopher Falls                       Parafinczuk Wolf, P.A.                                      3:21-cv-01318-MCR-GRJ
  15133      350553   Regina Ford                             Parafinczuk Wolf, P.A.                                      3:21-cv-01326-MCR-GRJ
  15134      350557   Lance Early                             Parafinczuk Wolf, P.A.                                      3:21-cv-01311-MCR-GRJ
  15135      350559   Logan Earwood                           Parafinczuk Wolf, P.A.                                      3:21-cv-01312-MCR-GRJ
  15136      350562   Devin Guindon                           Parafinczuk Wolf, P.A.                                      3:21-cv-01379-MCR-GRJ
  15137      350569   Jeremy Harris                           Parafinczuk Wolf, P.A.                                      3:21-cv-01369-MCR-GRJ
  15138      350570   Thomas Dowling                          Parafinczuk Wolf, P.A.                                      3:21-cv-01266-MCR-GRJ
  15139      350574   Brandon Berrett                         Parafinczuk Wolf, P.A.                                      3:21-cv-01245-MCR-GRJ
  15140      350575   Juaquin Flores                          Parafinczuk Wolf, P.A.                                      3:21-cv-01321-MCR-GRJ
  15141      350581   Timothy Goodman                         Parafinczuk Wolf, P.A.                                      3:21-cv-01389-MCR-GRJ
  15142      350585   Sonny Enfinger                          Parafinczuk Wolf, P.A.                                      3:21-cv-01314-MCR-GRJ
  15143      103578   Rodney Alston                           Parker Waichman LLP              7:20-cv-68290-MCR-GRJ
  15144      103581   Ivan Alvarez Arbelo                     Parker Waichman LLP              7:20-cv-68303-MCR-GRJ
  15145      103593   Albert Anderson                         Parker Waichman LLP                                         7:20-cv-68353-MCR-GRJ
  15146      103597   Ronald Andrasko                         Parker Waichman LLP                                         7:20-cv-68372-MCR-GRJ
  15147      103602   Jeffery Annibal                         Parker Waichman LLP              7:20-cv-68394-MCR-GRJ
  15148      103620   Nathaniel Armolt                        Parker Waichman LLP                                         7:20-cv-68470-MCR-GRJ
  15149      103654   Ryan Balch                              Parker Waichman LLP              7:20-cv-68579-MCR-GRJ
  15150      103659   Nathan Ballas                           Parker Waichman LLP              7:20-cv-68603-MCR-GRJ
  15151      103662   Cecil Balster                           Parker Waichman LLP              7:20-cv-68619-MCR-GRJ
  15152      103666   Gustavo Baptista                        Parker Waichman LLP              7:20-cv-68641-MCR-GRJ
  15153      103676   Dion Barnes                             Parker Waichman LLP              7:20-cv-68683-MCR-GRJ
  15154      103679   John Barnhart                           Parker Waichman LLP              7:20-cv-68695-MCR-GRJ
  15155      103683   Julian Barrera                          Parker Waichman LLP                                         7:20-cv-68713-MCR-GRJ
  15156      103695   Joseph Bates                            Parker Waichman LLP              8:20-cv-19305-MCR-GRJ
  15157      103708   Charles Beard                           Parker Waichman LLP              7:20-cv-68803-MCR-GRJ
  15158      103765   Goran Blagojevic                        Parker Waichman LLP              7:20-cv-68707-MCR-GRJ
  15159      103773   Terry Blanton                           Parker Waichman LLP              7:20-cv-68741-MCR-GRJ
  15160      103774   Michael Blaszczyk                       Parker Waichman LLP              7:20-cv-68745-MCR-GRJ
  15161      103777   Gabrial Blender                         Parker Waichman LLP              7:20-cv-68754-MCR-GRJ
  15162      103792   Christopher Bond                        Parker Waichman LLP                                         7:20-cv-68809-MCR-GRJ
  15163      103795   Anthony Bonvino                         Parker Waichman LLP              7:20-cv-68821-MCR-GRJ
  15164      103798   Clinton Boone                           Parker Waichman LLP                                         7:20-cv-68832-MCR-GRJ
  15165      103805   Dominick Boschetto                      Parker Waichman LLP                                         7:20-cv-68860-MCR-GRJ
  15166      103819   John Bowman                             Parker Waichman LLP              7:20-cv-68908-MCR-GRJ
  15167      103857   George Brown                            Parker Waichman LLP                                         7:20-cv-69013-MCR-GRJ
  15168      103864   Devin Brown                             Parker Waichman LLP              7:20-cv-69030-MCR-GRJ
  15169      103892   Brian Bullard                           Parker Waichman LLP              7:20-cv-69073-MCR-GRJ
  15170      103896   Paul Bunn                               Parker Waichman LLP              7:20-cv-69186-MCR-GRJ
  15171      103914   Corey Burt                              Parker Waichman LLP              7:20-cv-69233-MCR-GRJ
  15172      103915   Brian Burton                            Parker Waichman LLP              7:20-cv-69236-MCR-GRJ
  15173      103923   Alvin Byce                              Parker Waichman LLP              7:20-cv-69257-MCR-GRJ
  15174      103926   Peter Byrne                             Parker Waichman LLP              7:20-cv-69266-MCR-GRJ
  15175      103927   Victor Cabrera                          Parker Waichman LLP              7:20-cv-69269-MCR-GRJ
  15176      103928   Charles Cagle                           Parker Waichman LLP              7:20-cv-69272-MCR-GRJ
  15177      103940   Juan Camacho                            Parker Waichman LLP              7:20-cv-69307-MCR-GRJ
  15178      103962   Xavier Carr                             Parker Waichman LLP                                         7:20-cv-69352-MCR-GRJ
  15179      103971   Jessica Carter                          Parker Waichman LLP              7:20-cv-69368-MCR-GRJ
  15180      104009   William Chappell                        Parker Waichman LLP                                         7:20-cv-69442-MCR-GRJ
  15181      104014   David Charlesworth                      Parker Waichman LLP              7:20-cv-69452-MCR-GRJ
  15182      104022   Matthew Chavis                          Parker Waichman LLP              7:20-cv-69468-MCR-GRJ
  15183      104035   Matthew Christopherson                  Parker Waichman LLP              7:20-cv-69492-MCR-GRJ
  15184      104048   Koty Clark                              Parker Waichman LLP                                         7:20-cv-69514-MCR-GRJ




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  15185      104050   Serena Clark-Byrnes                     Parker Waichman LLP           7:20-cv-69516-MCR-GRJ
  15186      104061   Patricia Coates                         Parker Waichman LLP           7:20-cv-69527-MCR-GRJ
  15187      104065   Robinson Coker                          Parker Waichman LLP                                      7:20-cv-68024-MCR-GRJ
  15188      104073   Thelma Coleman                          Parker Waichman LLP           7:20-cv-68048-MCR-GRJ
  15189      104085   Benjamin Cook                           Parker Waichman LLP           7:20-cv-68088-MCR-GRJ
  15190      104090   Justin Cooper                           Parker Waichman LLP                                      7:20-cv-68103-MCR-GRJ
  15191      104104   Marvin Cotton                           Parker Waichman LLP           7:20-cv-68153-MCR-GRJ
  15192      104109   Brian Cowan                             Parker Waichman LLP           7:20-cv-68176-MCR-GRJ
  15193      104115   Matthew Cox                             Parker Waichman LLP           7:20-cv-68196-MCR-GRJ
  15194      104128   Lajordan Crittenden                     Parker Waichman LLP           7:20-cv-68266-MCR-GRJ
  15195      104136   Dominque Crump                          Parker Waichman LLP                                      7:20-cv-68311-MCR-GRJ
  15196      104145   John Culwell                            Parker Waichman LLP                                      7:20-cv-68351-MCR-GRJ
  15197      104152   Cole Cutler                             Parker Waichman LLP           7:20-cv-68391-MCR-GRJ
  15198      104154   Charles Daily                           Parker Waichman LLP                                      7:20-cv-68402-MCR-GRJ
  15199      104156   Carl Dale                               Parker Waichman LLP                                      7:20-cv-68412-MCR-GRJ
  15200      104162   Jermillian Daniels                      Parker Waichman LLP           7:20-cv-68444-MCR-GRJ
  15201      104166   Tyler Davidson                          Parker Waichman LLP                                      7:20-cv-68675-MCR-GRJ
  15202      104178   Kevin Davis                             Parker Waichman LLP           7:20-cv-68739-MCR-GRJ
  15203      104202   Joseph Dee                              Parker Waichman LLP           7:20-cv-68854-MCR-GRJ
  15204      104204   Jeffrey Dehart                          Parker Waichman LLP           7:20-cv-68862-MCR-GRJ
  15205      104212   Donitha Delgado                         Parker Waichman LLP           7:20-cv-68897-MCR-GRJ
  15206      104215   Tony Deloach                            Parker Waichman LLP                                      7:20-cv-68907-MCR-GRJ
  15207      104232   Michael Diaz-Marquez                    Parker Waichman LLP                                      7:20-cv-68966-MCR-GRJ
  15208      104243   Thomas Dishman                          Parker Waichman LLP           7:20-cv-69003-MCR-GRJ
  15209      104257   Rebecca Donald                          Parker Waichman LLP           7:20-cv-69043-MCR-GRJ
  15210      104273   Jacob Drennan                           Parker Waichman LLP                                      7:20-cv-69598-MCR-GRJ
  15211      104281   Robert Dudley                           Parker Waichman LLP           7:20-cv-69613-MCR-GRJ
  15212      104289   Jason Dunn                              Parker Waichman LLP           7:20-cv-69629-MCR-GRJ
  15213      104294   James Duran                             Parker Waichman LLP           7:20-cv-69637-MCR-GRJ
  15214      104315   Wilburn Edwards                         Parker Waichman LLP           7:20-cv-69703-MCR-GRJ
  15215      104346   Joey Espie                              Parker Waichman LLP           7:20-cv-69792-MCR-GRJ
  15216      104353   Russell Eubanks                         Parker Waichman LLP           7:20-cv-69814-MCR-GRJ
  15217      104364   Danny Falcon                            Parker Waichman LLP           7:20-cv-69848-MCR-GRJ
  15218      104365   Noah Fallon                             Parker Waichman LLP           7:20-cv-69851-MCR-GRJ
  15219      104376   Timothy Feil                            Parker Waichman LLP           7:20-cv-69883-MCR-GRJ
  15220      104435   Courtney Foster                         Parker Waichman LLP           7:20-cv-71691-MCR-GRJ
  15221      104441   Jeremy Fox                              Parker Waichman LLP           7:20-cv-71712-MCR-GRJ
  15222      104449   David Fraser                            Parker Waichman LLP                                      7:20-cv-71742-MCR-GRJ
  15223      104459   Jay Frisby                              Parker Waichman LLP           7:20-cv-71776-MCR-GRJ
  15224      104483   Dewayne Gammill                         Parker Waichman LLP           7:20-cv-26983-MCR-GRJ
  15225      104501   James Gardner                           Parker Waichman LLP           7:20-cv-71876-MCR-GRJ
  15226      104520   Jacob Geckles                           Parker Waichman LLP           7:20-cv-71938-MCR-GRJ
  15227      104549   James Gleason                           Parker Waichman LLP           7:20-cv-72129-MCR-GRJ
  15228      104560   Krista Goldsmith                        Parker Waichman LLP           7:20-cv-72184-MCR-GRJ
  15229      104571   Jose Gonzalez                           Parker Waichman LLP           7:20-cv-72248-MCR-GRJ
  15230      104573   Anibal González                         Parker Waichman LLP           7:21-cv-68307-MCR-GRJ
  15231      104581   Gareth Gordon                           Parker Waichman LLP           7:20-cv-72300-MCR-GRJ
  15232      104584   Ronald Gorth                            Parker Waichman LLP           7:20-cv-72318-MCR-GRJ
  15233      104606   Brent Graybill                          Parker Waichman LLP           7:20-cv-72429-MCR-GRJ
  15234      104632   Bryan Guinter                           Parker Waichman LLP           7:20-cv-72644-MCR-GRJ
  15235      104636   Andrew Gutierrez                        Parker Waichman LLP           7:20-cv-72655-MCR-GRJ
  15236      104658   Bradley Halsey                          Parker Waichman LLP           7:20-cv-74378-MCR-GRJ
  15237      104663   Michael Hamers                          Parker Waichman LLP           7:20-cv-74396-MCR-GRJ
  15238      104668   David Hammond                           Parker Waichman LLP           7:20-cv-74415-MCR-GRJ
  15239      104671   Joshua Haney                            Parker Waichman LLP           7:20-cv-74427-MCR-GRJ
  15240      104744   Vicente Heredia                         Parker Waichman LLP                                      7:20-cv-74658-MCR-GRJ
  15241      104756   Richard Herrera                         Parker Waichman LLP           7:20-cv-74905-MCR-GRJ
  15242      104789   Bryan Hoffman                           Parker Waichman LLP           7:20-cv-75053-MCR-GRJ
  15243      104805   John Holycross                          Parker Waichman LLP                                      7:20-cv-75150-MCR-GRJ
  15244      104806   Micheil Hood                            Parker Waichman LLP           7:20-cv-75156-MCR-GRJ
  15245      104821   Thomas Howard                           Parker Waichman LLP           7:20-cv-75255-MCR-GRJ
  15246      104826   William Howell                          Parker Waichman LLP           7:20-cv-75289-MCR-GRJ
  15247      104850   Kenneth Hutson                          Parker Waichman LLP           7:20-cv-75444-MCR-GRJ
  15248      104876   Stephen James                           Parker Waichman LLP           7:20-cv-76640-MCR-GRJ
  15249      104878   Phillip Jamison                         Parker Waichman LLP                                      7:20-cv-76644-MCR-GRJ
  15250      104905   Michael Johnson                         Parker Waichman LLP                                      7:20-cv-76697-MCR-GRJ
  15251      104930   Joel Jones                              Parker Waichman LLP           7:20-cv-76774-MCR-GRJ
  15252      104938   Bradley Jones                           Parker Waichman LLP                                      7:20-cv-76796-MCR-GRJ
  15253      104974   Alex Kennebeck                          Parker Waichman LLP           7:20-cv-76994-MCR-GRJ
  15254      104982   David Keul                              Parker Waichman LLP           7:20-cv-77021-MCR-GRJ
  15255      104988   Andrew King                             Parker Waichman LLP                                      7:20-cv-77039-MCR-GRJ
  15256      104997   Nathan Kingsley                         Parker Waichman LLP           7:20-cv-77072-MCR-GRJ
  15257      104998   Jason Kinkade                           Parker Waichman LLP           7:20-cv-77075-MCR-GRJ




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  15258      105039   Ryan Krantz                             Parker Waichman LLP           7:20-cv-78239-MCR-GRJ
  15259      105042   Richard Krecota                         Parker Waichman LLP           7:20-cv-78252-MCR-GRJ
  15260      105049   David Kumbera                           Parker Waichman LLP           7:20-cv-78275-MCR-GRJ
  15261      105062   Austin Lajiness                         Parker Waichman LLP                                      7:20-cv-78337-MCR-GRJ
  15262      105076   Xavier Laracuente Irizarry              Parker Waichman LLP           7:20-cv-78381-MCR-GRJ
  15263      105092   Brandon Laymon                          Parker Waichman LLP                                      7:20-cv-78426-MCR-GRJ
  15264      105095   Marcos Ledesma                          Parker Waichman LLP                                      7:20-cv-78433-MCR-GRJ
  15265      105097   Gregory Lee                             Parker Waichman LLP           7:20-cv-78437-MCR-GRJ
  15266      105133   Gregory Locke                           Parker Waichman LLP           7:20-cv-70139-MCR-GRJ
  15267      105140   Jeffrey Long                            Parker Waichman LLP                                      7:20-cv-70153-MCR-GRJ
  15268      105172   Daniel Madow                            Parker Waichman LLP                                      7:20-cv-70215-MCR-GRJ
  15269      105175   Robert Magner                           Parker Waichman LLP           7:20-cv-70221-MCR-GRJ
  15270      105181   Sean Mahoney                            Parker Waichman LLP           7:20-cv-70233-MCR-GRJ
  15271      105254   Dennis Mcclure                          Parker Waichman LLP                                      7:20-cv-70373-MCR-GRJ
  15272      105263   Matthew Mccrary                         Parker Waichman LLP           7:20-cv-70392-MCR-GRJ
  15273      105277   Matthew Mcgivney                        Parker Waichman LLP           7:20-cv-70420-MCR-GRJ
  15274      105280   Michael Mcgrath                         Parker Waichman LLP           7:20-cv-70426-MCR-GRJ
  15275      105282   Jacob Mcintyre                          Parker Waichman LLP           7:20-cv-70430-MCR-GRJ
  15276      105285   James Mckinney                          Parker Waichman LLP           7:20-cv-70436-MCR-GRJ
  15277      105315   Isaac Merz                              Parker Waichman LLP                                      7:20-cv-70494-MCR-GRJ
  15278      105316   Daren Messer                            Parker Waichman LLP           7:20-cv-70496-MCR-GRJ
  15279      105349   Todd Mills                              Parker Waichman LLP           7:20-cv-70559-MCR-GRJ
  15280      105381   Cameron Moore                           Parker Waichman LLP           7:20-cv-70701-MCR-GRJ
  15281      105383   Richard Moore                           Parker Waichman LLP           7:20-cv-70705-MCR-GRJ
  15282      105392   Johnny Moore                            Parker Waichman LLP                                      7:20-cv-70723-MCR-GRJ
  15283      105431   Nathan Mullinax                         Parker Waichman LLP           7:20-cv-70801-MCR-GRJ
  15284      105472   Wesley Nesbitt                          Parker Waichman LLP           7:20-cv-70881-MCR-GRJ
  15285      105537   Marquice Owens                          Parker Waichman LLP           7:20-cv-70965-MCR-GRJ
  15286      105551   Tyler Papalski                          Parker Waichman LLP           7:20-cv-70992-MCR-GRJ
  15287      105616   Guy Pierce                              Parker Waichman LLP           7:20-cv-71135-MCR-GRJ
  15288      105627   Justin Pollard                          Parker Waichman LLP           7:20-cv-71163-MCR-GRJ
  15289      105632   Dusty Pool                              Parker Waichman LLP           7:20-cv-71177-MCR-GRJ
  15290      105633   Larry Pope                              Parker Waichman LLP                                      7:20-cv-71181-MCR-GRJ
  15291      105688   Brent Randolph                          Parker Waichman LLP           7:20-cv-71388-MCR-GRJ
  15292      105703   James Rector                            Parker Waichman LLP                                      7:20-cv-71440-MCR-GRJ
  15293      105710   Andre Reed                              Parker Waichman LLP           7:20-cv-71459-MCR-GRJ
  15294      105713   Adam Rees                               Parker Waichman LLP                                      7:20-cv-71471-MCR-GRJ
  15295      105716   Junior Reeves                           Parker Waichman LLP           7:20-cv-71483-MCR-GRJ
  15296      105728   Patrick Reynolds                        Parker Waichman LLP           7:20-cv-71530-MCR-GRJ
  15297      105731   Franklin Rhodes                         Parker Waichman LLP                                      7:20-cv-71537-MCR-GRJ
  15298      105742   James Richardson                        Parker Waichman LLP                                      7:20-cv-71569-MCR-GRJ
  15299      105745   Daniel Richey                           Parker Waichman LLP                                      7:20-cv-71578-MCR-GRJ
  15300      105759   Randy Riley                             Parker Waichman LLP           7:20-cv-71618-MCR-GRJ
  15301      105786   Christopher Robinson                    Parker Waichman LLP           7:20-cv-71701-MCR-GRJ
  15302      105787   Marlon Roblero                          Parker Waichman LLP           7:20-cv-71705-MCR-GRJ
  15303      105790   Joshua Rockey                           Parker Waichman LLP           7:20-cv-71190-MCR-GRJ
  15304      105799   Oliver Rodriguez                        Parker Waichman LLP           7:20-cv-71223-MCR-GRJ
  15305      105802   Alejandro Rodriguez                     Parker Waichman LLP           7:20-cv-71235-MCR-GRJ
  15306      105831   Jonathan Rouse                          Parker Waichman LLP                                      7:20-cv-71335-MCR-GRJ
  15307      105834   Matthew Rowland                         Parker Waichman LLP                                      7:20-cv-71342-MCR-GRJ
  15308      105860   Adrian Saldana                          Parker Waichman LLP           7:20-cv-71432-MCR-GRJ
  15309      105874   Daniel Sanders                          Parker Waichman LLP           7:20-cv-71481-MCR-GRJ
  15310      105895   Trent Schaeffer                         Parker Waichman LLP           7:20-cv-71549-MCR-GRJ
  15311      105900   Jacob Schlaefli                         Parker Waichman LLP           7:20-cv-71562-MCR-GRJ
  15312      105924   Mika Seabrook                           Parker Waichman LLP           7:20-cv-71628-MCR-GRJ
  15313      105930   Bobby Self                              Parker Waichman LLP           7:20-cv-71645-MCR-GRJ
  15314      105947   William Sharp                           Parker Waichman LLP                                      7:20-cv-71696-MCR-GRJ
  15315      105953   Adam Sheldon                            Parker Waichman LLP                                      7:20-cv-71713-MCR-GRJ
  15316      105974   Rodeny Simpson                          Parker Waichman LLP                                      7:20-cv-71777-MCR-GRJ
  15317      105987   David Slauter                           Parker Waichman LLP           7:20-cv-71888-MCR-GRJ
  15318      106003   Tommy Smith                             Parker Waichman LLP           7:20-cv-71932-MCR-GRJ
  15319      106013   Paul Smith                              Parker Waichman LLP           7:20-cv-71959-MCR-GRJ
  15320      106046   Justin Speelman                         Parker Waichman LLP           7:20-cv-72007-MCR-GRJ
  15321      106064   Andrew Starkey                          Parker Waichman LLP           7:20-cv-72045-MCR-GRJ
  15322      106065   Corry Starks                            Parker Waichman LLP           7:20-cv-72046-MCR-GRJ
  15323      106089   Jeremiah Stone                          Parker Waichman LLP                                      7:20-cv-72125-MCR-GRJ
  15324      106136   Corey Tate                              Parker Waichman LLP           7:20-cv-72315-MCR-GRJ
  15325      106143   Kadarius Taylor                         Parker Waichman LLP           7:20-cv-72347-MCR-GRJ
  15326      106149   Sterling Tharp                          Parker Waichman LLP                                      7:20-cv-72372-MCR-GRJ
  15327      106168   Brett Thompson                          Parker Waichman LLP                                      7:20-cv-72795-MCR-GRJ
  15328      106173   Patrick Thompson                        Parker Waichman LLP                                      7:20-cv-72800-MCR-GRJ
  15329      106194   Minerva Torres                          Parker Waichman LLP                                      7:20-cv-72938-MCR-GRJ
  15330      106196   Larry Toteno                            Parker Waichman LLP           7:20-cv-72946-MCR-GRJ




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  15331      106233   Dalton Tyzbir                           Parker Waichman LLP           7:20-cv-73086-MCR-GRJ
  15332      106241   Chris Upchurch                          Parker Waichman LLP           7:20-cv-73118-MCR-GRJ
  15333      106251   Eric Van Fossen                         Parker Waichman LLP                                      7:20-cv-73156-MCR-GRJ
  15334      106261   Nathaniel Vanecko                       Parker Waichman LLP           7:20-cv-73196-MCR-GRJ
  15335      106265   Jason Vannortrick                       Parker Waichman LLP           7:20-cv-73212-MCR-GRJ
  15336      106267   Shane Varner                            Parker Waichman LLP           7:20-cv-73219-MCR-GRJ
  15337      106269   Eriberto Vazquez                        Parker Waichman LLP           7:20-cv-73227-MCR-GRJ
  15338      106303   Maurenia Wade                           Parker Waichman LLP                                      7:20-cv-73380-MCR-GRJ
  15339      106324   Joseph Walton                           Parker Waichman LLP           7:20-cv-73478-MCR-GRJ
  15340      106325   Richard Walton                          Parker Waichman LLP           7:20-cv-73483-MCR-GRJ
  15341      106333   Kevin Warren                            Parker Waichman LLP           7:20-cv-73515-MCR-GRJ
  15342      106351   Joshua Webb                             Parker Waichman LLP                                      7:20-cv-73573-MCR-GRJ
  15343      106360   Kyle Wehlermann                         Parker Waichman LLP           7:20-cv-73606-MCR-GRJ
  15344      106369   Jarred Wesley                           Parker Waichman LLP           7:20-cv-73714-MCR-GRJ
  15345      106386   Julian White                            Parker Waichman LLP           7:20-cv-73792-MCR-GRJ
  15346      106389   Sean Whiteley                           Parker Waichman LLP           7:20-cv-73804-MCR-GRJ
  15347      106437   Melvin Wilson                           Parker Waichman LLP           7:20-cv-73923-MCR-GRJ
  15348      106441   Markisha Wilson                         Parker Waichman LLP           7:20-cv-73931-MCR-GRJ
  15349      106458   James Wood                              Parker Waichman LLP           7:20-cv-73966-MCR-GRJ
  15350      106471   Kenneth Wright                          Parker Waichman LLP           7:20-cv-74138-MCR-GRJ
  15351      106472   Jeffrey Wright                          Parker Waichman LLP           7:20-cv-74139-MCR-GRJ
  15352      106473   Travis Wright                           Parker Waichman LLP           7:20-cv-74140-MCR-GRJ
  15353      106474   Ian Wright                              Parker Waichman LLP           7:20-cv-74141-MCR-GRJ
  15354      106485   Taurean Wyatt                           Parker Waichman LLP           7:20-cv-74151-MCR-GRJ
  15355      106496   Derrick Yazzie                          Parker Waichman LLP           7:20-cv-74162-MCR-GRJ
  15356      106501   Chase York                              Parker Waichman LLP           7:20-cv-74167-MCR-GRJ
  15357      106513   Thomas Zaniboni                         Parker Waichman LLP           7:20-cv-74178-MCR-GRJ
  15358      106517   Josue Zuniga                            Parker Waichman LLP                                      7:20-cv-74181-MCR-GRJ
  15359      200467   Brian Monroe                            Parker Waichman LLP           8:20-cv-66883-MCR-GRJ
  15360      266370   Mark Atkinson                           Parker Waichman LLP           9:20-cv-09790-MCR-GRJ
  15361      266373   Kenny Bennett                           Parker Waichman LLP           9:20-cv-09795-MCR-GRJ
  15362      266382   John Decker                             Parker Waichman LLP           9:20-cv-09814-MCR-GRJ
  15363      266400   Courtney Heard                          Parker Waichman LLP                                      9:20-cv-09850-MCR-GRJ
  15364      276312   Kenneth Bennett                         Parker Waichman LLP           7:21-cv-01700-MCR-GRJ
  15365      276313   Kelvin Brown                            Parker Waichman LLP           7:21-cv-01704-MCR-GRJ
  15366      276317   Robert Craft                            Parker Waichman LLP                                      7:21-cv-01719-MCR-GRJ
  15367      276327   William Herold                          Parker Waichman LLP                                      7:21-cv-01748-MCR-GRJ
  15368      276339   David Oates                             Parker Waichman LLP           7:21-cv-01775-MCR-GRJ
  15369      276349   Lance Springs                           Parker Waichman LLP                                      7:21-cv-01803-MCR-GRJ
  15370      301386   Radon Burns                             Parker Waichman LLP                                      7:21-cv-22060-MCR-GRJ
  15371      301426   Christopher Watson                      Parker Waichman LLP           7:21-cv-22100-MCR-GRJ
  15372      344408   Ronald Johnwell                         Parker Waichman LLP           7:21-cv-63449-MCR-GRJ
  15373      344410   Patrick Downs                           Parker Waichman LLP           7:21-cv-63453-MCR-GRJ
  15374      94400    Michael Bettencourt                     Paul LLP                                                 3:19-cv-03915-MCR-GRJ
  15375      94412    Andrae Brown                            Paul LLP                                                 3:19-cv-03926-MCR-GRJ
  15376      94417    Ragan Burns                             Paul LLP                                                 3:19-cv-03942-MCR-GRJ
  15377      94425    Giovanni Cantu                          Paul LLP                                                 3:19-cv-04019-MCR-GRJ
  15378      94439    Edward Clay                             Paul LLP                                                 3:19-cv-04118-MCR-GRJ
  15379      94449    David Cyphers                           Paul LLP                                                 3:19-cv-04142-MCR-GRJ
  15380      94474    Amos Finch                              Paul LLP                                                 3:19-cv-04210-MCR-GRJ
  15381      94495    Joshua Grigsby                          Paul LLP                                                 3:19-cv-04302-MCR-GRJ
  15382      94501    Roshaun Hawkins                         Paul LLP                                                 3:19-cv-04309-MCR-GRJ
  15383      94508    Majia Hinton                            Paul LLP                                                 3:19-cv-04317-MCR-GRJ
  15384      94523    David Jackson                           Paul LLP                                                 3:19-cv-04358-MCR-GRJ
  15385      94527    Devin Jenkins                           Paul LLP                                                 3:19-cv-04361-MCR-GRJ
  15386      94545    Bradley King                            Paul LLP                                                 3:19-cv-04389-MCR-GRJ
  15387      94607    Justin Petty                            Paul LLP                                                 3:19-cv-04485-MCR-GRJ
  15388      94618    Dustin Price                            Paul LLP                                                 3:19-cv-04507-MCR-GRJ
  15389      94632    Dashad Robinson                         Paul LLP                                                 3:19-cv-04519-MCR-GRJ
  15390      94653    Zachary Sorrows                         Paul LLP                                                 3:19-cv-04565-MCR-GRJ
  15391      94667    Michael Thorin                          Paul LLP                                                 3:19-cv-04608-MCR-GRJ
  15392      94668    William Tilsley                         Paul LLP                                                 3:19-cv-04614-MCR-GRJ
  15393      96560    Garry Edison                            Paul LLP                                                 3:19-cv-04202-MCR-GRJ
  15394      144467   Shawn Lynch                             Paul LLP                      7:20-cv-97546-MCR-GRJ
  15395      144942   Eric Sloan                              Paul LLP                      7:20-cv-98217-MCR-GRJ
  15396      145063   Patrick Beam                            Paul LLP                      7:20-cv-98380-MCR-GRJ
  15397      145456   Larry Johnson                           Paul LLP                      7:20-cv-98129-MCR-GRJ      3:22-cv-00423-MCR-GRJ
  15398      145586   Steven Jirousek                         Paul LLP                      7:20-cv-91361-MCR-GRJ      3:20-cv-02447-MCR-GRJ
  15399      145611   Britney Townsend                        Paul LLP                                                 3:22-cv-01407-MCR-GRJ
  15400      145687   Travis Woods                            Paul LLP                      7:20-cv-98501-MCR-GRJ      3:22-cv-01453-MCR-GRJ
  15401      145697   Danny Justice                           Paul LLP                                                 3:22-cv-01141-MCR-GRJ
  15402      145841   William Bidwell                         Paul LLP                                                 3:22-cv-01737-MCR-GRJ
  15403      145881   Micheal Blascyk                         Paul LLP                                                 3:22-cv-01753-MCR-GRJ




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  15404      145919   Andrew Rogers                           Paul LLP                                                         3:22-cv-01314-MCR-GRJ
  15405      146073   Matthew Nitzel                          Paul LLP                              7:20-cv-98587-MCR-GRJ
  15406      146555   Franklin Perkins                        Paul LLP                                                         3:22-cv-01906-MCR-GRJ
  15407      146650   Kerry Mandt                             Paul LLP                                                         3:22-cv-01874-MCR-GRJ
  15408      146666   Gabriel Smith                           Paul LLP                              7:20-cv-99723-MCR-GRJ      3:22-cv-01352-MCR-GRJ
  15409      146719   David Iseminger                         Paul LLP                              7:20-cv-99749-MCR-GRJ
  15410      146727   Ryan Haney                              Paul LLP                              7:20-cv-99753-MCR-GRJ
  15411      146740   Tim Pingree                             Paul LLP                                                         3:22-cv-01953-MCR-GRJ
  15412      146812   Roger Sutherland                        Paul LLP                              7:20-cv-99792-MCR-GRJ
  15413      146818   Travis Stoufer                          Paul LLP                              7:20-cv-99796-MCR-GRJ
  15414      146903   Adam Holman                             Paul LLP                                                         3:22-cv-01809-MCR-GRJ
  15415      147130   Timothy Wiedrich                        Paul LLP                                                         3:22-cv-01431-MCR-GRJ
  15416      147458   Melissa Hightower                       Paul LLP                              8:20-cv-01641-MCR-GRJ
  15417      148618   Gordon Pringle                          Paul LLP                              8:20-cv-43366-MCR-GRJ
  15418      153595   Gary Williams                           Paul LLP                                                         3:19-cv-01138-MCR-GRJ
  15419      157449   Lafretia Yeggins                        Paul LLP                                                         3:22-cv-01479-MCR-GRJ
  15420      163503   Shannon Stone                           Paul LLP                              8:20-cv-03431-MCR-GRJ
  15421      163799   Cory Kelly                              Paul LLP                              8:20-cv-03752-MCR-GRJ
  15422      163843   Mark Castillo                           Paul LLP                              8:20-cv-49754-MCR-GRJ
  15423      186168   Ricky Bischoff                          Paul LLP                              8:20-cv-04067-MCR-GRJ      3:22-cv-00766-MCR-GRJ
  15424      203303   Jerry Anguiano                          Paul LLP                                                         3:22-cv-00885-MCR-GRJ
  15425      203317   Anthony Bell                            Paul LLP                              8:20-cv-47687-MCR-GRJ
  15426      203388   Joseph Delaughter                       Paul LLP                              8:20-cv-48009-MCR-GRJ
  15427      203400   Jeremy Dye                              Paul LLP                              8:20-cv-47395-MCR-GRJ
  15428      203466   Travis Hamer                            Paul LLP                              8:20-cv-47674-MCR-GRJ      3:22-cv-00525-MCR-GRJ
  15429      203471   Willie Harris                           Paul LLP                                                         3:22-cv-01790-MCR-GRJ
  15430      203490   Justin Huggins                          Paul LLP                                                         3:22-cv-01121-MCR-GRJ
  15431      203673   Derek Skinner                           Paul LLP                              8:20-cv-48492-MCR-GRJ      3:22-cv-00580-MCR-GRJ
  15432      203755   Joe Zarillo                             Paul LLP                                                         3:22-cv-00416-MCR-GRJ
  15433      214669   Joshua Gabriel                          Paul LLP                                                         3:22-cv-01782-MCR-GRJ
  15434      230622   Thomas Gregory                          Paul LLP                                                         3:22-cv-01789-MCR-GRJ
  15435      230634   Marsha Langlois                         Paul LLP                                                         3:22-cv-01157-MCR-GRJ
  15436      307015   Steven Repp                             Paul LLP                                                         3:22-cv-01288-MCR-GRJ
  15437      91931    Randall Judd                            Pennock Law Firm LLC                                             8:20-cv-34367-MCR-GRJ
  15438      91949    Chavis Nicholls                         Pennock Law Firm LLC                                             8:20-cv-34398-MCR-GRJ
  15439      91956    Justin Shriver                          Pennock Law Firm LLC                                             8:20-cv-34412-MCR-GRJ
  15440      91971    William Waiculonis                      Pennock Law Firm LLC                  8:20-cv-34441-MCR-GRJ
  15441      91974    Brian Rodriguez                         Pennock Law Firm LLC                                             8:20-cv-34447-MCR-GRJ
  15442      91989    Daron Knox                              Pennock Law Firm LLC                                             8:20-cv-34488-MCR-GRJ
  15443      210489   Robert Monaghan                         Pepper & Odom                                                    3:20-cv-05593-MCR-GRJ
  15444      52603    Michael Mayer                           Peterson & Associates, P.C.           7:20-cv-67009-MCR-GRJ
  15445      52604    Michael Menrath                         Peterson & Associates, P.C.           7:20-cv-67013-MCR-GRJ
  15446      52607    Gerald Jones                            Peterson & Associates, P.C.           7:20-cv-67025-MCR-GRJ
  15447      52615    Danny Leon Guerrero                     Peterson & Associates, P.C.           7:20-cv-67051-MCR-GRJ
  15448      52624    Paul Bertholf                           Peterson & Associates, P.C.           7:20-cv-67085-MCR-GRJ
  15449      52634    Randall Maas                            Peterson & Associates, P.C.           7:20-cv-67125-MCR-GRJ
  15450      52641    Dennis Simons                           Peterson & Associates, P.C.           7:20-cv-67151-MCR-GRJ
  15451      52690    Marcus Mack                             Peterson & Associates, P.C.           7:20-cv-67442-MCR-GRJ
  15452      52697    James Holub                             Peterson & Associates, P.C.           7:20-cv-67462-MCR-GRJ
  15453      52701    Brent Woodside                          Peterson & Associates, P.C.           7:20-cv-67474-MCR-GRJ
  15454      52707    Timothy Johnson                         Peterson & Associates, P.C.           7:20-cv-67490-MCR-GRJ
  15455      52708    Arthur Bower                            Peterson & Associates, P.C.           7:20-cv-67493-MCR-GRJ
  15456      52709    Chad Holm                               Peterson & Associates, P.C.                                      7:20-cv-67496-MCR-GRJ
  15457      52718    Larry Luis                              Peterson & Associates, P.C.                                      7:20-cv-67516-MCR-GRJ
  15458      52727    William Wayman                          Peterson & Associates, P.C.           7:20-cv-67535-MCR-GRJ
  15459      52728    Dana Wood                               Peterson & Associates, P.C.           7:20-cv-67537-MCR-GRJ
  15460      52768    Hector Lopez Torres                     Peterson & Associates, P.C.           7:20-cv-67630-MCR-GRJ
  15461      52779    Justin Cutbirth                         Peterson & Associates, P.C.                                      7:20-cv-67660-MCR-GRJ
  15462      52783    John Boles                              Peterson & Associates, P.C.                                      7:20-cv-67675-MCR-GRJ
  15463      52789    Christopher Benson                      Peterson & Associates, P.C.           7:20-cv-67698-MCR-GRJ
  15464      52800    Michael Mcgahan                         Peterson & Associates, P.C.                                      7:20-cv-67736-MCR-GRJ
  15465      52815    Waine Eagleson                          Peterson & Associates, P.C.           7:20-cv-67793-MCR-GRJ
  15466      52819    Natasha Carodine                        Peterson & Associates, P.C.           7:20-cv-67804-MCR-GRJ
  15467      52821    Gabriel Faath                           Peterson & Associates, P.C.                                      7:20-cv-67812-MCR-GRJ
  15468      52832    Ryan Bell                               Peterson & Associates, P.C.           7:20-cv-67854-MCR-GRJ
  15469      52836    Christopher Saady                       Peterson & Associates, P.C.                                      7:20-cv-67864-MCR-GRJ
  15470      52851    Jacob Langdon                           Peterson & Associates, P.C.           7:20-cv-67907-MCR-GRJ
  15471      52858    Clinton Ufford                          Peterson & Associates, P.C.           7:20-cv-67927-MCR-GRJ
  15472      52860    Justin Mcdonell                         Peterson & Associates, P.C.           7:20-cv-67932-MCR-GRJ
  15473      52862    Jacqueline Bell                         Peterson & Associates, P.C.                                      7:20-cv-67938-MCR-GRJ
  15474      52864    Timothy Jessen                          Peterson & Associates, P.C.                                      7:20-cv-67944-MCR-GRJ
  15475      52875    Cari Unzel                              Peterson & Associates, P.C.                                      7:20-cv-68267-MCR-GRJ
  15476      52876    Matthew Schimmel                        Peterson & Associates, P.C.                                      7:20-cv-68270-MCR-GRJ




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  15477      52893   Joshua Copisky                           Peterson & Associates, P.C.           7:20-cv-68344-MCR-GRJ
  15478      52901   Michael Herre                            Peterson & Associates, P.C.           7:20-cv-68378-MCR-GRJ
  15479      52904   Bradley Brown                            Peterson & Associates, P.C.           7:20-cv-68393-MCR-GRJ
  15480      52912   Thomas Greer                             Peterson & Associates, P.C.           7:20-cv-68433-MCR-GRJ
  15481      52913   Eric Simpson                             Peterson & Associates, P.C.           7:20-cv-68437-MCR-GRJ
  15482      52915   Daniel Constantineau                     Peterson & Associates, P.C.           7:20-cv-68447-MCR-GRJ
  15483      52917   Nathaniel Traver                         Peterson & Associates, P.C.                                      7:20-cv-68452-MCR-GRJ
  15484      52919   Randall Bell                             Peterson & Associates, P.C.           7:20-cv-68460-MCR-GRJ
  15485      52935   Devin Wilson                             Peterson & Associates, P.C.           7:20-cv-68520-MCR-GRJ
  15486      52936   Mario Huerta                             Peterson & Associates, P.C.                                      7:20-cv-68523-MCR-GRJ
  15487      52944   Keith Brooks                             Peterson & Associates, P.C.           7:20-cv-68547-MCR-GRJ
  15488      52950   Jessica Albro                            Peterson & Associates, P.C.                                      7:20-cv-68564-MCR-GRJ
  15489      52953   Anthony Tank                             Peterson & Associates, P.C.           7:20-cv-68578-MCR-GRJ
  15490      52959   Jason Hornbeck                           Peterson & Associates, P.C.           7:20-cv-68607-MCR-GRJ
  15491      52963   Justyn Husemann                          Peterson & Associates, P.C.           7:20-cv-68627-MCR-GRJ
  15492      52968   Marcus Davila                            Peterson & Associates, P.C.           7:20-cv-68650-MCR-GRJ
  15493      52971   John Phillips                            Peterson & Associates, P.C.           7:20-cv-69079-MCR-GRJ
  15494      52996   Mark Bowman                              Peterson & Associates, P.C.           7:20-cv-69120-MCR-GRJ
  15495      53002   Thomas Hott                              Peterson & Associates, P.C.           7:20-cv-69130-MCR-GRJ
  15496      53004   Brian Hewitt                             Peterson & Associates, P.C.           7:20-cv-69134-MCR-GRJ
  15497      53006   Joseph Clayton                           Peterson & Associates, P.C.           7:20-cv-69138-MCR-GRJ
  15498      53012   Levi Blanchard                           Peterson & Associates, P.C.           7:20-cv-69151-MCR-GRJ
  15499      53015   Jeffrey Guzman                           Peterson & Associates, P.C.           7:20-cv-69158-MCR-GRJ
  15500      53017   Patrick Rescigno                         Peterson & Associates, P.C.           7:20-cv-69162-MCR-GRJ
  15501      53018   Michael Janich                           Peterson & Associates, P.C.                                      7:20-cv-69164-MCR-GRJ
  15502      53025   Craig Smith                              Peterson & Associates, P.C.                                      7:20-cv-69176-MCR-GRJ
  15503      53029   Christopher Hibbard                      Peterson & Associates, P.C.                                      7:20-cv-69185-MCR-GRJ
  15504      53036   Michael Hendrix                          Peterson & Associates, P.C.           7:20-cv-69207-MCR-GRJ
  15505      53037   Shawn Niemeyer                           Peterson & Associates, P.C.           7:20-cv-69210-MCR-GRJ
  15506      53039   Kyle Schmauss                            Peterson & Associates, P.C.                                      7:20-cv-69216-MCR-GRJ
  15507      53040   Philip Whitener                          Peterson & Associates, P.C.           7:20-cv-69219-MCR-GRJ
  15508      53047   Daniel Shively                           Peterson & Associates, P.C.           7:20-cv-69241-MCR-GRJ
  15509      53052   Emanuel Fisher                           Peterson & Associates, P.C.           7:20-cv-69258-MCR-GRJ
  15510      53061   Nickolas Ahola                           Peterson & Associates, P.C.                                      7:20-cv-69285-MCR-GRJ
  15511      53066   Jose Suero                               Peterson & Associates, P.C.           7:20-cv-69301-MCR-GRJ
  15512      53071   Robert Todd                              Peterson & Associates, P.C.           7:20-cv-69315-MCR-GRJ
  15513      53079   Daniel Czerepak                          Peterson & Associates, P.C.                                      7:20-cv-69332-MCR-GRJ
  15514      53084   Adrien Baker                             Peterson & Associates, P.C.                                      7:20-cv-69342-MCR-GRJ
  15515      53086   Joshua Smith-Slomsky                     Peterson & Associates, P.C.           7:20-cv-69345-MCR-GRJ
  15516      53088   Adam Duke                                Peterson & Associates, P.C.           7:20-cv-69349-MCR-GRJ
  15517      53094   Marcus Burge                             Peterson & Associates, P.C.                                      7:20-cv-69359-MCR-GRJ
  15518      53096   Paul Sharp                               Peterson & Associates, P.C.                                      7:20-cv-69363-MCR-GRJ
  15519      53097   Corey Knight                             Peterson & Associates, P.C.           7:20-cv-69365-MCR-GRJ
  15520      53102   Kory Trebesch                            Peterson & Associates, P.C.                                      7:20-cv-69375-MCR-GRJ
  15521      53106   Dylan Zimmerman                          Peterson & Associates, P.C.                                      7:20-cv-69383-MCR-GRJ
  15522      53115   Brett Bowers                             Peterson & Associates, P.C.           7:20-cv-69401-MCR-GRJ
  15523      53116   Anthony Cedarholm                        Peterson & Associates, P.C.           7:20-cv-69403-MCR-GRJ
  15524      53123   Angelina Garcia                          Peterson & Associates, P.C.           7:20-cv-69415-MCR-GRJ
  15525      53124   Mark Cansino                             Peterson & Associates, P.C.           7:20-cv-69417-MCR-GRJ
  15526      53156   Trent Stuart                             Peterson & Associates, P.C.                                      7:20-cv-69479-MCR-GRJ
  15527      53171   Karl Patterson                           Peterson & Associates, P.C.           7:20-cv-69505-MCR-GRJ
  15528      53202   James Valencourt                         Peterson & Associates, P.C.           7:20-cv-69554-MCR-GRJ
  15529      53217   Jerry Diaz                               Peterson & Associates, P.C.           7:20-cv-69569-MCR-GRJ
  15530      53231   James Kuhn                               Peterson & Associates, P.C.           7:20-cv-69582-MCR-GRJ
  15531      53238   John Orozco                              Peterson & Associates, P.C.           7:20-cv-69592-MCR-GRJ
  15532      53246   Christopher Hostler                      Peterson & Associates, P.C.           7:20-cv-69606-MCR-GRJ
  15533      53255   David Watson                             Peterson & Associates, P.C.           7:20-cv-69623-MCR-GRJ
  15534      53256   Robert Cavins                            Peterson & Associates, P.C.           7:20-cv-69625-MCR-GRJ
  15535      53257   Maegan Houck                             Peterson & Associates, P.C.                                      7:20-cv-69626-MCR-GRJ
  15536      53260   Caleb Huelsbeck                          Peterson & Associates, P.C.           7:20-cv-69632-MCR-GRJ
  15537      53261   Thor Bannister                           Peterson & Associates, P.C.                                      7:20-cv-69634-MCR-GRJ
  15538      53262   Sailamo Ae                               Peterson & Associates, P.C.           7:20-cv-69636-MCR-GRJ
  15539      53287   Albert Fassler                           Peterson & Associates, P.C.           7:20-cv-69699-MCR-GRJ
  15540      53288   David Boyle                              Peterson & Associates, P.C.           7:20-cv-69702-MCR-GRJ
  15541      53301   Ron Colombe                              Peterson & Associates, P.C.           7:20-cv-69732-MCR-GRJ
  15542      53324   Darryn Jarrett                           Peterson & Associates, P.C.           7:20-cv-69786-MCR-GRJ
  15543      53340   Terry Luke                               Peterson & Associates, P.C.                                      7:20-cv-69828-MCR-GRJ
  15544      53366   Eric Thompson                            Peterson & Associates, P.C.           7:20-cv-69898-MCR-GRJ
  15545      53367   Stephen Graves                           Peterson & Associates, P.C.           7:20-cv-69900-MCR-GRJ
  15546      53390   Zachary Bradley                          Peterson & Associates, P.C.           7:20-cv-70962-MCR-GRJ
  15547      53415   Ray Ramos                                Peterson & Associates, P.C.           7:20-cv-71011-MCR-GRJ
  15548      53436   Marquez Trujillo                         Peterson & Associates, P.C.                                      7:20-cv-71052-MCR-GRJ
  15549      53458   Ronald Brown                             Peterson & Associates, P.C.           7:20-cv-71100-MCR-GRJ




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  15550      53476    Michael Rice                            Peterson & Associates, P.C.           7:20-cv-71147-MCR-GRJ
  15551      168591   Blair Burgess                           Peterson & Associates, P.C.           7:20-cv-88813-MCR-GRJ
  15552      168610   Mark Wells                              Peterson & Associates, P.C.                                      7:20-cv-88831-MCR-GRJ
  15553      200514   Travis Brewington                       Peterson & Associates, P.C.                                      8:20-cv-69512-MCR-GRJ
  15554      200521   Razmig Dokmadjian                       Peterson & Associates, P.C.                                      8:20-cv-69532-MCR-GRJ
  15555      200525   Anthony Harris                          Peterson & Associates, P.C.           8:20-cv-69543-MCR-GRJ
  15556      200541   Claired Ramirez                         Peterson & Associates, P.C.           8:20-cv-69589-MCR-GRJ
  15557      200547   Filemoni Tanielu                        Peterson & Associates, P.C.           8:20-cv-69606-MCR-GRJ
  15558      258685   Jonathan Shepherd                       Peterson & Associates, P.C.           9:20-cv-01667-MCR-GRJ
  15559      279947   Raymond Barker                          Peterson & Associates, P.C.                                      9:20-cv-20080-MCR-GRJ
  15560      279953   Chase Doar                              Peterson & Associates, P.C.           9:20-cv-20091-MCR-GRJ
  15561      279959   Leon Kucharski                          Peterson & Associates, P.C.                                      9:20-cv-20103-MCR-GRJ
  15562      279982   David Trott                             Peterson & Associates, P.C.                                      9:20-cv-20143-MCR-GRJ
  15563      280033   Daniel Benavides                        Peterson & Associates, P.C.           9:20-cv-20150-MCR-GRJ
  15564      280034   Tanner Bloomquiest                      Peterson & Associates, P.C.                                      9:20-cv-20151-MCR-GRJ
  15565      280041   Jason Henke                             Peterson & Associates, P.C.           9:20-cv-20158-MCR-GRJ
  15566      280048   Darnnell Noble                          Peterson & Associates, P.C.                                      9:20-cv-20165-MCR-GRJ
  15567      280051   Thaddeus Slocum                         Peterson & Associates, P.C.                                      9:20-cv-20168-MCR-GRJ
  15568      280052   Steven Vidal                            Peterson & Associates, P.C.                                      9:20-cv-20169-MCR-GRJ
  15569      289441   Robert Reed                             Peterson & Associates, P.C.                                      7:21-cv-10384-MCR-GRJ
  15570      292020   Melvin Armstrong                        Peterson & Associates, P.C.           7:21-cv-12412-MCR-GRJ
  15571      292038   John Phrachansiri                       Peterson & Associates, P.C.                                      7:21-cv-12430-MCR-GRJ
  15572      292130   Ray Ratheal                             Peterson & Associates, P.C.           7:21-cv-12515-MCR-GRJ
  15573      305222   Adam Mcalerney                          Peterson & Associates, P.C.           7:21-cv-24430-MCR-GRJ
  15574      305228   Kyle Reuter                             Peterson & Associates, P.C.                                      7:21-cv-24436-MCR-GRJ
  15575      305346   Justin Aguayo                           Peterson & Associates, P.C.                                      7:21-cv-24468-MCR-GRJ
  15576      305347   Isaac Alatorre                          Peterson & Associates, P.C.           7:21-cv-24469-MCR-GRJ
  15577      305348   Juan Alvarez                            Peterson & Associates, P.C.                                      7:21-cv-24470-MCR-GRJ
  15578      305350   Brandon Bartley                         Peterson & Associates, P.C.           7:21-cv-24472-MCR-GRJ
  15579      305352   Guy Bond                                Peterson & Associates, P.C.           7:21-cv-24474-MCR-GRJ
  15580      305354   Marcus Brown                            Peterson & Associates, P.C.                                      7:21-cv-24476-MCR-GRJ
  15581      305355   Harvey Brown                            Peterson & Associates, P.C.           7:21-cv-24477-MCR-GRJ
  15582      305357   Justin Byington                         Peterson & Associates, P.C.           7:21-cv-24479-MCR-GRJ
  15583      305374   William Geheb                           Peterson & Associates, P.C.           7:21-cv-24496-MCR-GRJ
  15584      305375   Jacob Gilmore                           Peterson & Associates, P.C.           7:21-cv-24497-MCR-GRJ
  15585      305396   Jack Jenkins                            Peterson & Associates, P.C.           7:21-cv-24518-MCR-GRJ
  15586      305416   Abel Ortiz                              Peterson & Associates, P.C.           7:21-cv-24538-MCR-GRJ
  15587      305423   Mario Perez-Palomares                   Peterson & Associates, P.C.           7:21-cv-24545-MCR-GRJ
  15588      305424   John Peterson                           Peterson & Associates, P.C.                                      7:21-cv-24546-MCR-GRJ
  15589      305428   Daniel Rogers                           Peterson & Associates, P.C.                                      7:21-cv-24550-MCR-GRJ
  15590      305433   Jason Ryan                              Peterson & Associates, P.C.           7:21-cv-24555-MCR-GRJ
  15591      305451   Cameron Young                           Peterson & Associates, P.C.                                      7:21-cv-24573-MCR-GRJ
  15592      308638   Drew Acton                              Peterson & Associates, P.C.                                      7:21-cv-26759-MCR-GRJ
  15593      308648   Robert Caudill                          Peterson & Associates, P.C.           7:21-cv-26769-MCR-GRJ
  15594      308649   Tysheika Collins                        Peterson & Associates, P.C.                                      7:21-cv-26770-MCR-GRJ
  15595      308650   Gabriel Cortez                          Peterson & Associates, P.C.           7:21-cv-26771-MCR-GRJ
  15596      308684   Kelsea Stafford-Louisiana               Peterson & Associates, P.C.           7:21-cv-26805-MCR-GRJ
  15597      308686   William Strohm                          Peterson & Associates, P.C.           7:21-cv-26807-MCR-GRJ
  15598      323623   Anthony Willetts                        Peterson & Associates, P.C.                                      7:21-cv-38763-MCR-GRJ
  15599      323628   Robert Nance                            Peterson & Associates, P.C.                                      7:21-cv-38771-MCR-GRJ
  15600      323629   Leroy Mckelvey                          Peterson & Associates, P.C.           7:21-cv-38772-MCR-GRJ
  15601      323635   Manuel Cabrera                          Peterson & Associates, P.C.           7:21-cv-38782-MCR-GRJ
  15602      323639   Shannon Dool                            Peterson & Associates, P.C.           7:21-cv-38788-MCR-GRJ
  15603      323640   Leopoldo Espino                         Peterson & Associates, P.C.           7:21-cv-38790-MCR-GRJ
  15604      323643   Jesse Gonzalez                          Peterson & Associates, P.C.           7:21-cv-38794-MCR-GRJ
  15605      323649   Mark Mcguire                            Peterson & Associates, P.C.                                      7:21-cv-38804-MCR-GRJ
  15606      323652   Brandon Minor                           Peterson & Associates, P.C.                                      7:21-cv-38809-MCR-GRJ
  15607      323666   Michael Wynn                            Peterson & Associates, P.C.           7:21-cv-38830-MCR-GRJ
  15608      325718   Jonathon Benjamin                       Peterson & Associates, P.C.           7:21-cv-44331-MCR-GRJ
  15609      325721   Vivian Cooke                            Peterson & Associates, P.C.           7:21-cv-44334-MCR-GRJ
  15610      325722   Terry Dougan                            Peterson & Associates, P.C.                                      7:21-cv-44335-MCR-GRJ
  15611      325724   Andrew Murray                           Peterson & Associates, P.C.                                      7:21-cv-44337-MCR-GRJ
  15612      325726   Emmanuel Pena                           Peterson & Associates, P.C.           7:21-cv-44339-MCR-GRJ
  15613      325731   Michael Walton                          Peterson & Associates, P.C.                                      7:21-cv-44344-MCR-GRJ
  15614      355572   Dylan Smothers                          Peterson & Associates, P.C.                                      3:22-cv-00679-MCR-GRJ
  15615      355942   Jonathan Davis                          Peterson & Associates, P.C.                                      3:22-cv-00810-MCR-GRJ
  15616      355943   Max Dreyer                              Peterson & Associates, P.C.                                      3:22-cv-00834-MCR-GRJ
  15617      355944   Thomas Glass                            Peterson & Associates, P.C.                                      3:22-cv-00837-MCR-GRJ
  15618      355946   Lloyd Kirk                              Peterson & Associates, P.C.                                      3:22-cv-00851-MCR-GRJ
  15619      355947   Jacqueline Moore                        Peterson & Associates, P.C.                                      3:22-cv-00852-MCR-GRJ
  15620      355948   Eric Sprague                            Peterson & Associates, P.C.                                      3:22-cv-00869-MCR-GRJ
  15621      355963   Gary Waters                             Peterson & Associates, P.C.                                      3:22-cv-00878-MCR-GRJ
  15622      81524    Joshua Harmon                           Pratt Clay, LLC                                                  8:20-cv-04466-MCR-GRJ




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  15623      81526    Virgil Keith                            Pratt Clay, LLC                                                     8:20-cv-04470-MCR-GRJ
  15624      81528    Daren Thompson                          Pratt Clay, LLC                                                     8:20-cv-04474-MCR-GRJ
  15625      81530    Ryan Mcdonald                           Pratt Clay, LLC                                                     8:20-cv-04478-MCR-GRJ
  15626       6289    Lavasta Carter                          Preuss | Foster                                                     8:20-cv-04917-MCR-GRJ
  15627       6291    William Childers                        Preuss | Foster                                                     8:20-cv-04924-MCR-GRJ
  15628       6294    Rogelio Corrales                        Preuss | Foster                                                     8:20-cv-04934-MCR-GRJ
  15629       6298    Joshua Hill                             Preuss | Foster                                                     8:20-cv-04949-MCR-GRJ
  15630       6301    Darrell Jackson                         Preuss | Foster                                                     8:20-cv-04960-MCR-GRJ
  15631       6303    Darren Johnson                          Preuss | Foster                                                     8:20-cv-04967-MCR-GRJ
  15632       6309    Roger Kinney                            Preuss | Foster                                                     8:20-cv-04985-MCR-GRJ
  15633       6313    Matthew Louviere                        Preuss | Foster                                                     8:20-cv-04996-MCR-GRJ
  15634       6316    Michael Marvin                          Preuss | Foster                                                     8:20-cv-05004-MCR-GRJ
  15635      135973   Clance Corder                           Price Armstrong                          8:20-cv-14576-MCR-GRJ
  15636      136001   Jerald Henry                            Price Armstrong                                                     8:20-cv-11516-MCR-GRJ
  15637      136003   Brett Howard                            Price Armstrong                                                     8:20-cv-11522-MCR-GRJ
  15638      136027   Jacob Neal                              Price Armstrong                                                     8:20-cv-11537-MCR-GRJ
  15639      136029   Ty Owens                                Price Armstrong                                                     8:20-cv-14764-MCR-GRJ
  15640      136042   Michael Scott                           Price Armstrong                          8:20-cv-14808-MCR-GRJ
  15641      136045   James Shelton                           Price Armstrong                                                     8:20-cv-14821-MCR-GRJ
  15642      136063   Harold Werner                           Price Armstrong                                                     8:20-cv-14875-MCR-GRJ
  15643      175022   Mason Morgante                          Price Armstrong                                                     7:20-cv-46785-MCR-GRJ
  15644      293574   Jacob Roberts                           Price Armstrong                                                     7:21-cv-12531-MCR-GRJ
  15645      345859   Devin Mclemore                          Price Armstrong                                                     7:21-cv-64432-MCR-GRJ
  15646      174291   William Bechtel                         Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-15711-MCR-GRJ
  15647      174309   Cedric Garner                           Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-05924-MCR-GRJ
  15648      174322   Steven Jowers                           Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-15715-MCR-GRJ
  15649      174329   Robert Lord                             Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-15718-MCR-GRJ
  15650      174343   Zachary Nixon                           Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-15731-MCR-GRJ
  15651      176269   Adam Davison                            Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-15753-MCR-GRJ
  15652      176270   Troy Eck                                Rappaport, Glass, Levine & Zullo LLP                                8:20-cv-15754-MCR-GRJ
  15653      263255   Donzel Laney                            Rasmussen Law Firm, LLC                                             7:21-cv-19956-MCR-GRJ
  15654      266262   Toby Adams                              Rasmussen Law Firm, LLC                                             7:21-cv-18359-MCR-GRJ
  15655      266278   Carmelita Curtis                        Rasmussen Law Firm, LLC                                             7:21-cv-18369-MCR-GRJ
  15656      266290   Michael Haney                           Rasmussen Law Firm, LLC                                             7:21-cv-18375-MCR-GRJ
  15657      266292   Paul Huerta                             Rasmussen Law Firm, LLC                                             7:21-cv-18377-MCR-GRJ
  15658      266293   Seth Jackson                            Rasmussen Law Firm, LLC                                             7:21-cv-18378-MCR-GRJ
  15659      266298   Charles Kojak                           Rasmussen Law Firm, LLC                                             7:21-cv-19964-MCR-GRJ
  15660      266301   Jason Maniscalco                        Rasmussen Law Firm, LLC                                             7:21-cv-18380-MCR-GRJ
  15661      266313   Alton Owens                             Rasmussen Law Firm, LLC                                             7:21-cv-19980-MCR-GRJ
  15662      266326   Tristan Rempel                          Rasmussen Law Firm, LLC                                             7:21-cv-18385-MCR-GRJ
  15663      266340   Brian Stiles                            Rasmussen Law Firm, LLC                                             7:21-cv-18314-MCR-GRJ
  15664      266343   Darrion Tate                            Rasmussen Law Firm, LLC                                             7:21-cv-18404-MCR-GRJ
  15665      270417   Debra Griffin                           Rasmussen Law Firm, LLC                                             7:21-cv-18412-MCR-GRJ
  15666      270420   Essence Payne                           Rasmussen Law Firm, LLC                                             7:21-cv-19994-MCR-GRJ
  15667      279906   Brian Gay                               Rasmussen Law Firm, LLC                                             7:21-cv-18445-MCR-GRJ
  15668      279907   Justin Green                            Rasmussen Law Firm, LLC                                             7:21-cv-20866-MCR-GRJ
  15669      279909   Sean Hendrickson                        Rasmussen Law Firm, LLC                                             7:21-cv-18448-MCR-GRJ
  15670      279910   Royce Holmes                            Rasmussen Law Firm, LLC                                             7:21-cv-18450-MCR-GRJ
  15671      279914   Justin Lloyd                            Rasmussen Law Firm, LLC                                             7:21-cv-19996-MCR-GRJ
  15672      279921   Brett Neisen                            Rasmussen Law Firm, LLC                                             7:21-cv-20007-MCR-GRJ
  15673      279922   Nicholas Nunnally                       Rasmussen Law Firm, LLC                                             7:21-cv-20009-MCR-GRJ
  15674      279928   Dale Pierre                             Rasmussen Law Firm, LLC                                             7:21-cv-13178-MCR-GRJ
  15675      279930   Rafael Rodriguez-Ferrer                 Rasmussen Law Firm, LLC                                             7:21-cv-18458-MCR-GRJ
  15676      293576   Gerald Johnson                          Rasmussen Law Firm, LLC                                             7:21-cv-26233-MCR-GRJ
  15677       5518    Jassen Adger                            Reich and Binstock, LLP                                             7:20-cv-00416-MCR-GRJ
  15678       5519    Stevon Adkins                           Reich and Binstock, LLP                  7:20-cv-00418-MCR-GRJ
  15679       5520    Felix Aguirre                           Reich and Binstock, LLP                  7:20-cv-00421-MCR-GRJ
  15680       5527    Zachary Allender                        Reich and Binstock, LLP                  7:20-cv-00437-MCR-GRJ
  15681       5529    Juan Alvarez                            Reich and Binstock, LLP                                             7:20-cv-00440-MCR-GRJ
  15682       5530    Mario Paz Alvarez                       Reich and Binstock, LLP                  7:20-cv-00442-MCR-GRJ
  15683       5535    Keri Anderson                           Reich and Binstock, LLP                  7:20-cv-00633-MCR-GRJ
  15684       5536    Jamaal Anderson                         Reich and Binstock, LLP                                             7:20-cv-00634-MCR-GRJ
  15685       5537    Joshua Arntson                          Reich and Binstock, LLP                  7:20-cv-00635-MCR-GRJ
  15686       5538    Samuel Aron                             Reich and Binstock, LLP                                             7:20-cv-00636-MCR-GRJ
  15687       5542    David Austin                            Reich and Binstock, LLP                  7:20-cv-00642-MCR-GRJ
  15688       5545    Matthew Bain                            Reich and Binstock, LLP                  7:20-cv-00645-MCR-GRJ
  15689       5549    Paul Baldwin                            Reich and Binstock, LLP                                             7:20-cv-00651-MCR-GRJ
  15690       5551    Nathaniel Barlow                        Reich and Binstock, LLP                  7:20-cv-00654-MCR-GRJ
  15691       5557    Travis Bays                             Reich and Binstock, LLP                  7:20-cv-00693-MCR-GRJ
  15692       5563    Dwight Belles                           Reich and Binstock, LLP                  7:20-cv-00704-MCR-GRJ
  15693       5565    Joshua Bennett                          Reich and Binstock, LLP                  7:20-cv-00711-MCR-GRJ
  15694       5569    Jesse Bills                             Reich and Binstock, LLP                  7:20-cv-00717-MCR-GRJ
  15695       5572    Antonette Binns                         Reich and Binstock, LLP                  7:20-cv-00722-MCR-GRJ




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  15696      5575    Christopher Blasingame                   Reich and Binstock, LLP           7:20-cv-00725-MCR-GRJ
  15697      5578    Donnaie Boseman                          Reich and Binstock, LLP           7:20-cv-00789-MCR-GRJ
  15698      5586    Stephen Boyer                            Reich and Binstock, LLP           7:20-cv-00813-MCR-GRJ
  15699      5588    Thomas Bradley                           Reich and Binstock, LLP           7:20-cv-00817-MCR-GRJ
  15700      5591    James Bray                               Reich and Binstock, LLP           7:20-cv-00821-MCR-GRJ
  15701      5596    Jared Brong                              Reich and Binstock, LLP                                      7:20-cv-00833-MCR-GRJ
  15702      5598    Aaron Brooks                             Reich and Binstock, LLP           7:20-cv-00835-MCR-GRJ
  15703      5599    Donald Brower                            Reich and Binstock, LLP           7:20-cv-00836-MCR-GRJ
  15704      5613    Daniel Bulkley                           Reich and Binstock, LLP                                      7:20-cv-00972-MCR-GRJ
  15705      5614    Gerard Bullock                           Reich and Binstock, LLP           7:20-cv-00973-MCR-GRJ
  15706      5615    Troy Bunce                               Reich and Binstock, LLP           7:20-cv-00983-MCR-GRJ
  15707      5621    David Burroughs                          Reich and Binstock, LLP           7:20-cv-01015-MCR-GRJ
  15708      5622    Richard Busa                             Reich and Binstock, LLP           7:20-cv-01018-MCR-GRJ
  15709      5625    Bradley Cain                             Reich and Binstock, LLP           7:20-cv-01023-MCR-GRJ
  15710      5627    Anton Calloway                           Reich and Binstock, LLP                                      7:20-cv-01026-MCR-GRJ
  15711      5629    Michael Campbell                         Reich and Binstock, LLP           7:20-cv-01030-MCR-GRJ
  15712      5632    Darren Capers                            Reich and Binstock, LLP           7:20-cv-01066-MCR-GRJ
  15713      5635    Michael Carlton                          Reich and Binstock, LLP           7:20-cv-01075-MCR-GRJ
  15714      5641    Luis Carvajal                            Reich and Binstock, LLP           7:20-cv-01091-MCR-GRJ
  15715      5642    Shelby Cash                              Reich and Binstock, LLP           7:20-cv-01094-MCR-GRJ
  15716      5650    Larry Chan                               Reich and Binstock, LLP           7:20-cv-01105-MCR-GRJ
  15717      5651    Shaun Chan                               Reich and Binstock, LLP                                      7:20-cv-01106-MCR-GRJ
  15718      5658    Dakoda Christensen                       Reich and Binstock, LLP                                      7:20-cv-01126-MCR-GRJ
  15719      5659    William Clarno                           Reich and Binstock, LLP           7:20-cv-01127-MCR-GRJ
  15720      5660    Ann Clouse                               Reich and Binstock, LLP                                      7:20-cv-01128-MCR-GRJ
  15721      5661    Carl Cobb                                Reich and Binstock, LLP           7:20-cv-01129-MCR-GRJ
  15722      5666    David Confer                             Reich and Binstock, LLP           7:20-cv-01134-MCR-GRJ
  15723      5667    Charles Cook                             Reich and Binstock, LLP           7:20-cv-01135-MCR-GRJ
  15724      5670    Michael Cork                             Reich and Binstock, LLP           7:20-cv-01138-MCR-GRJ
  15725      5672    Luis Cortes                              Reich and Binstock, LLP           7:20-cv-01140-MCR-GRJ
  15726      5673    Hector Cortez                            Reich and Binstock, LLP           7:20-cv-01142-MCR-GRJ
  15727      5677    Nathan Covey                             Reich and Binstock, LLP           7:20-cv-01145-MCR-GRJ
  15728      5680    Daniel Cox                               Reich and Binstock, LLP           7:20-cv-01148-MCR-GRJ
  15729      5684    David Crowder                            Reich and Binstock, LLP                                      7:20-cv-01152-MCR-GRJ
  15730      5687    Kevin Cutler                             Reich and Binstock, LLP           7:20-cv-01155-MCR-GRJ
  15731      5693    Marshall Davis                           Reich and Binstock, LLP           7:20-cv-01161-MCR-GRJ
  15732      5705    Michael Domenici                         Reich and Binstock, LLP           7:20-cv-01172-MCR-GRJ
  15733      5708    Joshua Drewes                            Reich and Binstock, LLP           7:20-cv-01175-MCR-GRJ
  15734      5709    Matthew Duganier                         Reich and Binstock, LLP           7:20-cv-01176-MCR-GRJ
  15735      5712    Brannon Dyer                             Reich and Binstock, LLP           7:20-cv-01179-MCR-GRJ
  15736      5713    Donald Easthouse                         Reich and Binstock, LLP                                      7:20-cv-01180-MCR-GRJ
  15737      5721    David Erb                                Reich and Binstock, LLP           7:20-cv-01188-MCR-GRJ
  15738      5727    Agustin Estrada                          Reich and Binstock, LLP           7:20-cv-01194-MCR-GRJ
  15739      5735    Daniel Fenwick                           Reich and Binstock, LLP                                      7:20-cv-01202-MCR-GRJ
  15740      5738    Maurice Finley                           Reich and Binstock, LLP           7:20-cv-01205-MCR-GRJ
  15741      5741    Sean Fisher                              Reich and Binstock, LLP           7:20-cv-01208-MCR-GRJ
  15742      5746    Michael Francis                          Reich and Binstock, LLP           7:20-cv-01212-MCR-GRJ
  15743      5748    Craig Freeland                           Reich and Binstock, LLP           7:20-cv-01214-MCR-GRJ
  15744      5757    Brandon Garbes                           Reich and Binstock, LLP           7:20-cv-01220-MCR-GRJ
  15745      5760    Ariel Garcia                             Reich and Binstock, LLP                                      7:20-cv-01222-MCR-GRJ
  15746      5766    Dillon Gibbs                             Reich and Binstock, LLP                                      7:20-cv-01581-MCR-GRJ
  15747      5768    Jacques Glasper                          Reich and Binstock, LLP           7:20-cv-01585-MCR-GRJ
  15748      5772    Jose Gomez                               Reich and Binstock, LLP           7:20-cv-01592-MCR-GRJ
  15749      5777    James Goode                              Reich and Binstock, LLP           7:21-cv-68287-MCR-GRJ
  15750      5780    Clayton Gore                             Reich and Binstock, LLP           7:20-cv-01604-MCR-GRJ
  15751      5783    William Gray                             Reich and Binstock, LLP           7:20-cv-01609-MCR-GRJ
  15752      5786    Mark Grizzard                            Reich and Binstock, LLP           7:20-cv-01612-MCR-GRJ
  15753      5788    Shaun Guardanapo                         Reich and Binstock, LLP                                      7:20-cv-01614-MCR-GRJ
  15754      5789    Joe Guerrero                             Reich and Binstock, LLP           7:20-cv-01615-MCR-GRJ
  15755      5790    Christopher Gunter                       Reich and Binstock, LLP           7:20-cv-01616-MCR-GRJ
  15756      5792    Heriberto Gutierrez                      Reich and Binstock, LLP           7:20-cv-01619-MCR-GRJ
  15757      5795    Zachary Hamilton                         Reich and Binstock, LLP           7:20-cv-01627-MCR-GRJ
  15758      5805    Adrian Harris                            Reich and Binstock, LLP           7:20-cv-01671-MCR-GRJ
  15759      5807    Aaron Harris                             Reich and Binstock, LLP           7:20-cv-01676-MCR-GRJ
  15760      5820    Cory Hill                                Reich and Binstock, LLP           7:20-cv-01710-MCR-GRJ
  15761      5821    Robert Hill                              Reich and Binstock, LLP           7:20-cv-01712-MCR-GRJ
  15762      5823    Jessica Hobbs                            Reich and Binstock, LLP           7:20-cv-01735-MCR-GRJ
  15763      5824    Michael Hochstetler                      Reich and Binstock, LLP           7:20-cv-01738-MCR-GRJ
  15764      5826    Charles Hoisington                       Reich and Binstock, LLP                                      7:20-cv-01743-MCR-GRJ
  15765      5827    Tra Holcomb                              Reich and Binstock, LLP           7:20-cv-01746-MCR-GRJ
  15766      5831    Andrew Hornbaker                         Reich and Binstock, LLP                                      7:20-cv-01756-MCR-GRJ
  15767      5843    Michael Jackson                          Reich and Binstock, LLP           7:20-cv-01894-MCR-GRJ
  15768      5849    James Jessup                             Reich and Binstock, LLP           7:20-cv-01900-MCR-GRJ




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  15769      5854    Kerry Johnson                            Reich and Binstock, LLP           7:20-cv-01905-MCR-GRJ
  15770      5855    Airial Johnson                           Reich and Binstock, LLP           7:20-cv-01906-MCR-GRJ
  15771      5856    Cedric Johnson                           Reich and Binstock, LLP           7:20-cv-01907-MCR-GRJ
  15772      5866    Adam Kayl                                Reich and Binstock, LLP           7:20-cv-01939-MCR-GRJ
  15773      5868    Anthony Kehoe                            Reich and Binstock, LLP                                      7:20-cv-01943-MCR-GRJ
  15774      5871    James Kellison                           Reich and Binstock, LLP                                      7:20-cv-01955-MCR-GRJ
  15775      5873    Daniel Kelly                             Reich and Binstock, LLP                                      7:20-cv-01958-MCR-GRJ
  15776      5875    Joseph Kennedy                           Reich and Binstock, LLP           7:20-cv-01962-MCR-GRJ
  15777      5876    Samuel Kensinger                         Reich and Binstock, LLP                                      7:20-cv-01963-MCR-GRJ
  15778      5882    Jordan Knight                            Reich and Binstock, LLP           7:20-cv-01981-MCR-GRJ
  15779      5883    Joseph Knopp                             Reich and Binstock, LLP           7:20-cv-01983-MCR-GRJ
  15780      5885    Jeffery Koeppe                           Reich and Binstock, LLP           7:20-cv-02010-MCR-GRJ
  15781      5899    Bryan Laroche                            Reich and Binstock, LLP           7:20-cv-02042-MCR-GRJ
  15782      5903    Kevin Lebarron                           Reich and Binstock, LLP                                      7:20-cv-02052-MCR-GRJ
  15783      5904    Anthony Lee                              Reich and Binstock, LLP                                      7:20-cv-02054-MCR-GRJ
  15784      5912    Andrew Littrell                          Reich and Binstock, LLP           7:20-cv-02071-MCR-GRJ
  15785      5917    Hector Lopez                             Reich and Binstock, LLP           7:20-cv-02182-MCR-GRJ
  15786      5918    Tj Lord                                  Reich and Binstock, LLP           7:20-cv-02184-MCR-GRJ
  15787      5921    Daniel Lujan                             Reich and Binstock, LLP           7:20-cv-02190-MCR-GRJ
  15788      5932    Miles Maner                              Reich and Binstock, LLP           7:20-cv-02355-MCR-GRJ
  15789      5935    Amy Margalski                            Reich and Binstock, LLP           7:20-cv-02358-MCR-GRJ
  15790      5939    Joseph Martinez                          Reich and Binstock, LLP                                      7:20-cv-02362-MCR-GRJ
  15791      5940    Ernesto Martinez                         Reich and Binstock, LLP                                      7:20-cv-02363-MCR-GRJ
  15792      5945    Kerry Mathews                            Reich and Binstock, LLP           7:20-cv-02368-MCR-GRJ
  15793      5950    Isaiah Mcfarland                         Reich and Binstock, LLP                                      7:20-cv-02373-MCR-GRJ
  15794      5957    Wade Mctier                              Reich and Binstock, LLP           7:20-cv-02383-MCR-GRJ
  15795      5961    Jose Medina                              Reich and Binstock, LLP                                      7:20-cv-02391-MCR-GRJ
  15796      5962    Albert Meisenhelder                      Reich and Binstock, LLP           7:20-cv-02393-MCR-GRJ
  15797      5965    Justin Melton                            Reich and Binstock, LLP           7:20-cv-02397-MCR-GRJ
  15798      5967    Gavin Menzies                            Reich and Binstock, LLP           7:20-cv-02434-MCR-GRJ
  15799      5970    Joshua Meza                              Reich and Binstock, LLP                                      7:20-cv-02444-MCR-GRJ
  15800      5972    Timothy Miller                           Reich and Binstock, LLP           7:20-cv-02449-MCR-GRJ
  15801      5974    Donald Mims                              Reich and Binstock, LLP                                      7:20-cv-02466-MCR-GRJ
  15802      5977    Monique Molinar                          Reich and Binstock, LLP           7:20-cv-02474-MCR-GRJ
  15803      5981    Cevin Moore                              Reich and Binstock, LLP           7:20-cv-02494-MCR-GRJ
  15804      5982    Douglas Moore                            Reich and Binstock, LLP                                      7:20-cv-02497-MCR-GRJ
  15805      5990    Richard Munguia                          Reich and Binstock, LLP           7:20-cv-02521-MCR-GRJ
  15806      5991    Martin Murray                            Reich and Binstock, LLP                                      7:20-cv-02524-MCR-GRJ
  15807      5992    Joseph Mutka                             Reich and Binstock, LLP           7:20-cv-02526-MCR-GRJ
  15808      5993    Darious Myers                            Reich and Binstock, LLP           7:20-cv-02529-MCR-GRJ
  15809      5997    Justin Nesbitt                           Reich and Binstock, LLP           7:20-cv-02539-MCR-GRJ
  15810      6004    Nicholas O'Brien                         Reich and Binstock, LLP           7:20-cv-02550-MCR-GRJ
  15811      6005    Thomas O'Brien                           Reich and Binstock, LLP           7:20-cv-02551-MCR-GRJ
  15812      6011    Juan Ortiz                               Reich and Binstock, LLP                                      7:20-cv-02563-MCR-GRJ
  15813      6012    John Orvis                               Reich and Binstock, LLP           7:20-cv-02565-MCR-GRJ
  15814      6016    Joshua Parham                            Reich and Binstock, LLP           7:20-cv-02617-MCR-GRJ
  15815      6017    Joseph Parkes                            Reich and Binstock, LLP           7:20-cv-02619-MCR-GRJ
  15816      6030    Kyle Perkins                             Reich and Binstock, LLP           7:20-cv-02746-MCR-GRJ
  15817      6032    Samuel Peterson                          Reich and Binstock, LLP           7:20-cv-02750-MCR-GRJ
  15818      6037    Romer Pinili                             Reich and Binstock, LLP           7:20-cv-02767-MCR-GRJ
  15819      6043    Antonio Plum                             Reich and Binstock, LLP           7:20-cv-02779-MCR-GRJ
  15820      6057    Melodye Recker                           Reich and Binstock, LLP           7:20-cv-02845-MCR-GRJ
  15821      6065    Joshua Revels                            Reich and Binstock, LLP           7:20-cv-02867-MCR-GRJ
  15822      6071    Allan Rissmiller                         Reich and Binstock, LLP                                      7:20-cv-02926-MCR-GRJ
  15823      6078    Kevin Rodney                             Reich and Binstock, LLP           7:20-cv-02936-MCR-GRJ
  15824      6082    Eduardo Rodriguez                        Reich and Binstock, LLP           7:20-cv-02940-MCR-GRJ
  15825      6091    Colby Rottini                            Reich and Binstock, LLP           7:20-cv-02949-MCR-GRJ
  15826      6094    Asa Rutherford                           Reich and Binstock, LLP           7:20-cv-02953-MCR-GRJ
  15827      6096    Rene Salgado                             Reich and Binstock, LLP                                      7:20-cv-02957-MCR-GRJ
  15828      6098    Oscar Sanchez                            Reich and Binstock, LLP                                      7:20-cv-02961-MCR-GRJ
  15829      6100    Seth Sansom                              Reich and Binstock, LLP           7:20-cv-02965-MCR-GRJ
  15830      6107    Lee Schon                                Reich and Binstock, LLP           7:20-cv-02998-MCR-GRJ
  15831      6109    Raymond Scott                            Reich and Binstock, LLP                                      7:20-cv-03004-MCR-GRJ
  15832      6115    Roman Sharp                              Reich and Binstock, LLP           7:20-cv-03020-MCR-GRJ
  15833      6122    Zerqualyn Showers                        Reich and Binstock, LLP           7:20-cv-03066-MCR-GRJ
  15834      6130    Michael Simon                            Reich and Binstock, LLP           7:20-cv-03082-MCR-GRJ
  15835      6134    Richard Sliger                           Reich and Binstock, LLP                                      7:20-cv-03091-MCR-GRJ
  15836      6146    Andre Smith                              Reich and Binstock, LLP                                      7:20-cv-03120-MCR-GRJ
  15837      6159    Rinson Stevenson                         Reich and Binstock, LLP           7:20-cv-03179-MCR-GRJ
  15838      6162    Anthony Stillwell                        Reich and Binstock, LLP           7:20-cv-03184-MCR-GRJ
  15839      6164    Aaron Stoneburg                          Reich and Binstock, LLP           7:20-cv-03195-MCR-GRJ
  15840      6167    David Sullivan                           Reich and Binstock, LLP           7:20-cv-03200-MCR-GRJ
  15841      6175    Julian Taylor                            Reich and Binstock, LLP           7:20-cv-03226-MCR-GRJ




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  15842       6181    Joshua Thacker                          Reich and Binstock, LLP           7:20-cv-03239-MCR-GRJ
  15843       6185    Nathaniel Thrash                        Reich and Binstock, LLP           7:20-cv-03247-MCR-GRJ
  15844       6186    Jonathan Tinch                          Reich and Binstock, LLP           7:20-cv-03250-MCR-GRJ
  15845       6190    Patrick Towne                           Reich and Binstock, LLP           7:20-cv-03260-MCR-GRJ
  15846       6192    Ryan Trowbridge                         Reich and Binstock, LLP                                      7:20-cv-03266-MCR-GRJ
  15847       6196    Kalib Turner                            Reich and Binstock, LLP           7:20-cv-03307-MCR-GRJ
  15848       6199    Samuel Tyre                             Reich and Binstock, LLP           7:20-cv-03312-MCR-GRJ
  15849       6200    Jerod Upchurch                          Reich and Binstock, LLP           7:20-cv-03314-MCR-GRJ
  15850       6203    James Vanhoy                            Reich and Binstock, LLP                                      7:20-cv-03494-MCR-GRJ
  15851       6211    Shanon Walker                           Reich and Binstock, LLP           7:20-cv-03531-MCR-GRJ
  15852       6215    Edmund Wallace                          Reich and Binstock, LLP                                      7:20-cv-03545-MCR-GRJ
  15853       6217    Morgan Walters                          Reich and Binstock, LLP                                      7:20-cv-03549-MCR-GRJ
  15854       6218    Danny Ward                              Reich and Binstock, LLP           7:20-cv-03552-MCR-GRJ
  15855       6220    Joseph Warren                           Reich and Binstock, LLP                                      7:20-cv-03559-MCR-GRJ
  15856       6221    Travis Watson                           Reich and Binstock, LLP           7:20-cv-03562-MCR-GRJ
  15857       6224    Shawn Wells                             Reich and Binstock, LLP           7:20-cv-03572-MCR-GRJ
  15858       6231    Norma White                             Reich and Binstock, LLP           7:20-cv-03613-MCR-GRJ
  15859       6233    Toby Wiggers                            Reich and Binstock, LLP                                      7:20-cv-03620-MCR-GRJ
  15860       6237    Paul Williams                           Reich and Binstock, LLP                                      7:20-cv-03628-MCR-GRJ
  15861       6239    Gary Williams                           Reich and Binstock, LLP           7:20-cv-03632-MCR-GRJ
  15862       6243    James Williamson                        Reich and Binstock, LLP                                      7:20-cv-03639-MCR-GRJ
  15863       6247    William Willoughby                      Reich and Binstock, LLP                                      7:20-cv-03646-MCR-GRJ
  15864       6249    Rashad Wilson                           Reich and Binstock, LLP           7:20-cv-03660-MCR-GRJ
  15865       6254    Michael Wineberger                      Reich and Binstock, LLP           7:20-cv-03679-MCR-GRJ
  15866       6255    Darren Wingfield                        Reich and Binstock, LLP           7:20-cv-03681-MCR-GRJ
  15867       6259    Mack Wolfe                              Reich and Binstock, LLP           7:20-cv-03697-MCR-GRJ
  15868       6266    Ronald Wrigley                          Reich and Binstock, LLP                                      7:20-cv-03715-MCR-GRJ
  15869       6268    Travis Yaggy                            Reich and Binstock, LLP           7:20-cv-03725-MCR-GRJ
  15870       6269    Orly Yagual                             Reich and Binstock, LLP           7:20-cv-03727-MCR-GRJ
  15871       6272    Michael Young                           Reich and Binstock, LLP                                      7:20-cv-03733-MCR-GRJ
  15872       6276    Patrick Zarzycka                        Reich and Binstock, LLP           7:20-cv-03740-MCR-GRJ
  15873      170093   Tyrik Felix                             Reich and Binstock, LLP           7:20-cv-39376-MCR-GRJ
  15874      176890   Jakari Lottenderson                     Reich and Binstock, LLP                                      7:20-cv-41857-MCR-GRJ
  15875      201243   Kiara Artis                             Reich and Binstock, LLP           8:20-cv-31704-MCR-GRJ
  15876      201245   Robert Butcher                          Reich and Binstock, LLP           8:20-cv-31710-MCR-GRJ
  15877      201248   Joshua Dipert                           Reich and Binstock, LLP                                      8:20-cv-32462-MCR-GRJ
  15878      201250   Robert Garcia                           Reich and Binstock, LLP                                      8:20-cv-32472-MCR-GRJ
  15879      201251   David Gross                             Reich and Binstock, LLP                                      8:20-cv-31715-MCR-GRJ
  15880      201252   Joy Haddad                              Reich and Binstock, LLP           8:20-cv-40082-MCR-GRJ
  15881      201254   John Jackson                            Reich and Binstock, LLP           8:20-cv-40088-MCR-GRJ
  15882      201255   Daniel Kerns                            Reich and Binstock, LLP           8:20-cv-40090-MCR-GRJ
  15883      201256   James Logsdon                           Reich and Binstock, LLP                                      8:20-cv-40093-MCR-GRJ
  15884      201258   Shameka Melvin                          Reich and Binstock, LLP           8:20-cv-40096-MCR-GRJ
  15885      201259   Christopher Padilla                     Reich and Binstock, LLP                                      8:20-cv-40099-MCR-GRJ
  15886      201260   Noe Pena Cardenas                       Reich and Binstock, LLP           8:20-cv-40102-MCR-GRJ
  15887      201262   Christina Rains                         Reich and Binstock, LLP           8:20-cv-32879-MCR-GRJ
  15888      201264   Nicholas Shaver                         Reich and Binstock, LLP           8:20-cv-32886-MCR-GRJ
  15889      201265   Scott Shorey                            Reich and Binstock, LLP                                      8:20-cv-32890-MCR-GRJ
  15890      201266   Brandon Spragins                        Reich and Binstock, LLP           8:20-cv-31718-MCR-GRJ
  15891      201267   Justin Thompson                         Reich and Binstock, LLP           8:20-cv-31720-MCR-GRJ
  15892      201268   Cody Tolgo                              Reich and Binstock, LLP           8:20-cv-31722-MCR-GRJ
  15893      201269   Ryan Warren                             Reich and Binstock, LLP                                      8:20-cv-31725-MCR-GRJ
  15894      258352   Kerry Green                             Reich and Binstock, LLP           9:20-cv-07076-MCR-GRJ
  15895      262362   Alen Burke                              Reich and Binstock, LLP                                      9:20-cv-04007-MCR-GRJ
  15896      303932   George Benavidez                        Reich and Binstock, LLP                                      7:21-cv-21555-MCR-GRJ
  15897      331981   Sean Mccoy                              Reich and Binstock, LLP           7:21-cv-48372-MCR-GRJ
  15898      331982   Michael Marsh                           Reich and Binstock, LLP                                      7:21-cv-48373-MCR-GRJ
  15899      331984   Darius Harmon                           Reich and Binstock, LLP           7:21-cv-48375-MCR-GRJ
  15900      331986   Joe Baxter                              Reich and Binstock, LLP           7:21-cv-48377-MCR-GRJ
  15901      331987   Tim Ray                                 Reich and Binstock, LLP           7:21-cv-48378-MCR-GRJ
  15902      331988   Michael Felix                           Reich and Binstock, LLP           7:21-cv-48379-MCR-GRJ
  15903      331990   Jonathan Brewer                         Reich and Binstock, LLP           7:21-cv-48381-MCR-GRJ
  15904      331991   Alex Bolivar                            Reich and Binstock, LLP           7:21-cv-48382-MCR-GRJ
  15905      331994   Clint Kleinsasser                       Reich and Binstock, LLP                                      7:21-cv-48385-MCR-GRJ
  15906      331995   Emily Trudeau                           Reich and Binstock, LLP                                      7:21-cv-48386-MCR-GRJ
  15907       8498    Alec Brooks                             Rhine Law Firm, PC                                           3:19-cv-03120-MCR-GRJ
  15908       8499    Artreze Burgess                         Rhine Law Firm, PC                                           3:19-cv-03121-MCR-GRJ
  15909       8500    James Burney                            Rhine Law Firm, PC                                           3:19-cv-03122-MCR-GRJ
  15910       8501    Brent Chavis                            Rhine Law Firm, PC                                           3:19-cv-03651-MCR-GRJ
  15911       8503    John Resar                              Rhine Law Firm, PC                                           3:19-cv-03506-MCR-GRJ
  15912       8504    William Stakeley                        Rhine Law Firm, PC                                           3:19-cv-03124-MCR-GRJ
  15913      18258    David Jurado                            Rhine Law Firm, PC                                           8:20-cv-34615-MCR-GRJ
  15914      138787   Matthew Madden                          Rhine Law Firm, PC                                           3:19-cv-04078-MCR-GRJ




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  15915      194303   Angelo Young                            Rhine Law Firm, PC                                            8:20-cv-36889-MCR-GRJ
  15916      92038    Tracy Anderson                          Robinson Calcagnie, Inc.           7:20-cv-55500-MCR-GRJ
  15917      92044    Brandon Androsky                        Robinson Calcagnie, Inc.                                      7:20-cv-55524-MCR-GRJ
  15918      92049    Andre Anthony                           Robinson Calcagnie, Inc.           7:20-cv-55532-MCR-GRJ
  15919      92058    Francisco Arreaga-Figueroa              Robinson Calcagnie, Inc.                                      7:20-cv-55548-MCR-GRJ
  15920      92079    Curtis Bailey                           Robinson Calcagnie, Inc.           7:20-cv-55596-MCR-GRJ
  15921      92112    Brian Beckwith                          Robinson Calcagnie, Inc.           7:20-cv-55678-MCR-GRJ
  15922      92115    John Belalcazar                         Robinson Calcagnie, Inc.           7:20-cv-55685-MCR-GRJ
  15923      92116    Terrence Bell                           Robinson Calcagnie, Inc.                                      7:20-cv-55688-MCR-GRJ
  15924      92117    Danny Beltre                            Robinson Calcagnie, Inc.                                      7:20-cv-55690-MCR-GRJ
  15925      92119    Adan Benitez                            Robinson Calcagnie, Inc.                                      7:20-cv-55695-MCR-GRJ
  15926      92142    John Bingham                            Robinson Calcagnie, Inc.           7:20-cv-55768-MCR-GRJ
  15927      92146    Nicholas Black                          Robinson Calcagnie, Inc.           7:20-cv-55781-MCR-GRJ
  15928      92149    Ashley Blake                            Robinson Calcagnie, Inc.           7:20-cv-55792-MCR-GRJ
  15929      92150    Earl Blake                              Robinson Calcagnie, Inc.                                      7:20-cv-55795-MCR-GRJ
  15930      92159    Peter Bolt                              Robinson Calcagnie, Inc.                                      7:20-cv-55824-MCR-GRJ
  15931      92162    Jonathan Bonner                         Robinson Calcagnie, Inc.                                      7:20-cv-55833-MCR-GRJ
  15932      92165    Chris Bontrager                         Robinson Calcagnie, Inc.           7:20-cv-55844-MCR-GRJ
  15933      92173    Corey Boudreau                          Robinson Calcagnie, Inc.                                      7:20-cv-55871-MCR-GRJ
  15934      92186    Jeremy Brandenburg                      Robinson Calcagnie, Inc.                                      3:21-cv-03402-MCR-GRJ
  15935      92225    Joseph Buckmeinen                       Robinson Calcagnie, Inc.                                      7:20-cv-56035-MCR-GRJ
  15936      92228    John Burch                              Robinson Calcagnie, Inc.           7:20-cv-56046-MCR-GRJ
  15937      92229    Randy Burford                           Robinson Calcagnie, Inc.           7:20-cv-56049-MCR-GRJ
  15938      92247    Patrick Buttry                          Robinson Calcagnie, Inc.           7:20-cv-56112-MCR-GRJ
  15939      92267    Giovani Carbajal                        Robinson Calcagnie, Inc.           7:20-cv-56187-MCR-GRJ
  15940      92268    Cayetano Cardona                        Robinson Calcagnie, Inc.           7:20-cv-56192-MCR-GRJ
  15941      92281    Justin Carter                           Robinson Calcagnie, Inc.           7:20-cv-56250-MCR-GRJ
  15942      92300    Dustin Childs                           Robinson Calcagnie, Inc.           7:20-cv-56193-MCR-GRJ
  15943      92302    Samuel Chinn                            Robinson Calcagnie, Inc.           7:20-cv-56202-MCR-GRJ
  15944      92334    Jose Colon                              Robinson Calcagnie, Inc.           7:20-cv-56317-MCR-GRJ
  15945      92396    Frankie Davis                           Robinson Calcagnie, Inc.                                      7:20-cv-56433-MCR-GRJ
  15946      92400    Giles Davis                             Robinson Calcagnie, Inc.           7:20-cv-56440-MCR-GRJ
  15947      92403    Craig De Cicco                          Robinson Calcagnie, Inc.           7:20-cv-56446-MCR-GRJ
  15948      92431    Randall Dockery                         Robinson Calcagnie, Inc.                                      7:20-cv-56511-MCR-GRJ
  15949      92434    Adamo Don Vito                          Robinson Calcagnie, Inc.                                      7:20-cv-56519-MCR-GRJ
  15950      92442    Sarah Duckett                           Robinson Calcagnie, Inc.                                      7:20-cv-56541-MCR-GRJ
  15951      92450    Jasmine Early                           Robinson Calcagnie, Inc.                                      7:20-cv-56568-MCR-GRJ
  15952      92455    Dustin Eckman                           Robinson Calcagnie, Inc.                                      7:20-cv-56586-MCR-GRJ
  15953      92464    Kyle Ellis                              Robinson Calcagnie, Inc.           7:20-cv-56616-MCR-GRJ
  15954      92466    Kristin Ellis                           Robinson Calcagnie, Inc.           7:20-cv-56623-MCR-GRJ
  15955      92469    Brian Engelmann                         Robinson Calcagnie, Inc.           7:20-cv-56633-MCR-GRJ
  15956      92481    James Evans                             Robinson Calcagnie, Inc.                                      7:20-cv-56678-MCR-GRJ
  15957      92489    Ronald Fager                            Robinson Calcagnie, Inc.           7:20-cv-56710-MCR-GRJ
  15958      92504    Howard Fipps                            Robinson Calcagnie, Inc.                                      7:20-cv-56774-MCR-GRJ
  15959      92507    Randy Fisher                            Robinson Calcagnie, Inc.           7:20-cv-56790-MCR-GRJ
  15960      92509    Andrew Fitzpatrick                      Robinson Calcagnie, Inc.                                      7:20-cv-56800-MCR-GRJ
  15961      92511    Barry Flannagin                         Robinson Calcagnie, Inc.                                      7:20-cv-21580-MCR-GRJ
  15962      92518    Alicia Flores                           Robinson Calcagnie, Inc.                                      7:20-cv-56835-MCR-GRJ
  15963      92526    James Ford                              Robinson Calcagnie, Inc.           7:20-cv-56876-MCR-GRJ
  15964      92563    Abraham Garza                           Robinson Calcagnie, Inc.           7:20-cv-56707-MCR-GRJ
  15965      92584    Stephen Girard                          Robinson Calcagnie, Inc.           7:20-cv-56809-MCR-GRJ
  15966      92622    Salvador Granado                        Robinson Calcagnie, Inc.           7:20-cv-57002-MCR-GRJ
  15967      92630    Scott Greene                            Robinson Calcagnie, Inc.                                      7:20-cv-57029-MCR-GRJ
  15968      92637    Bobby Grigsby                           Robinson Calcagnie, Inc.           7:20-cv-57053-MCR-GRJ
  15969      92647    Luis Gutierrez                          Robinson Calcagnie, Inc.           7:20-cv-57080-MCR-GRJ
  15970      92659    April Hamilton                          Robinson Calcagnie, Inc.                                      7:20-cv-57106-MCR-GRJ
  15971      92660    Richard Hamilton                        Robinson Calcagnie, Inc.                                      7:20-cv-57109-MCR-GRJ
  15972      92673    Matthew Harrell                         Robinson Calcagnie, Inc.           7:20-cv-57146-MCR-GRJ
  15973      92676    Samuel Harris                           Robinson Calcagnie, Inc.           7:20-cv-57153-MCR-GRJ
  15974      92677    Latrice Harris                          Robinson Calcagnie, Inc.                                      7:20-cv-57156-MCR-GRJ
  15975      92688    John Hauser                             Robinson Calcagnie, Inc.           7:20-cv-57184-MCR-GRJ
  15976      92704    Patrick Hennessy                        Robinson Calcagnie, Inc.           7:20-cv-57227-MCR-GRJ
  15977      92713    Cheri Hibbs                             Robinson Calcagnie, Inc.           7:20-cv-57251-MCR-GRJ
  15978      92717    Ursula Hill                             Robinson Calcagnie, Inc.                                      7:20-cv-57262-MCR-GRJ
  15979      92720    Keith Hinkle                            Robinson Calcagnie, Inc.                                      7:20-cv-57271-MCR-GRJ
  15980      92726    Charles Hogston                         Robinson Calcagnie, Inc.           7:20-cv-57287-MCR-GRJ
  15981      92728    Justin Holbrook                         Robinson Calcagnie, Inc.           7:20-cv-57292-MCR-GRJ
  15982      92733    Terence Holmes                          Robinson Calcagnie, Inc.           7:20-cv-57302-MCR-GRJ
  15983      92737    Andrew Holzschuh                        Robinson Calcagnie, Inc.                                      7:20-cv-57314-MCR-GRJ
  15984      92750    Carl Howard                             Robinson Calcagnie, Inc.           7:20-cv-57348-MCR-GRJ
  15985      92781    Richard Jacobs                          Robinson Calcagnie, Inc.           7:20-cv-57425-MCR-GRJ
  15986      92795    Christopher Johnson                     Robinson Calcagnie, Inc.           7:20-cv-57450-MCR-GRJ
  15987      92802    Anthony Johnston                        Robinson Calcagnie, Inc.           7:20-cv-57461-MCR-GRJ




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  15988      92805    Jahbari Jones                           Robinson Calcagnie, Inc.           7:20-cv-49568-MCR-GRJ
  15989      92829    Sean Kelley                             Robinson Calcagnie, Inc.           7:20-cv-49666-MCR-GRJ
  15990      92861    Terrance Kyles                          Robinson Calcagnie, Inc.           7:20-cv-49791-MCR-GRJ
  15991      92872    Micah Lauritzen                         Robinson Calcagnie, Inc.                                      7:20-cv-49835-MCR-GRJ
  15992      92914    Eric Luman                              Robinson Calcagnie, Inc.           7:20-cv-50044-MCR-GRJ
  15993      92921    Kristopher Mallernee                    Robinson Calcagnie, Inc.           7:20-cv-50078-MCR-GRJ
  15994      92946    Jeff Mccarter                           Robinson Calcagnie, Inc.           7:20-cv-50209-MCR-GRJ
  15995      92969    Gerald Meagher                          Robinson Calcagnie, Inc.           7:20-cv-50342-MCR-GRJ
  15996      92973    Sergio Medina                           Robinson Calcagnie, Inc.                                      7:20-cv-50364-MCR-GRJ
  15997      93005    Amy Monson                              Robinson Calcagnie, Inc.                                      3:21-cv-01524-MCR-GRJ
  15998      93032    Ae Leeya Moua                           Robinson Calcagnie, Inc.                                      3:21-cv-01523-MCR-GRJ
  15999      93036    Ryan Muller                             Robinson Calcagnie, Inc.           7:20-cv-50707-MCR-GRJ
  16000      93060    Randall Newton                          Robinson Calcagnie, Inc.                                      7:20-cv-49849-MCR-GRJ
  16001      93069    Jesse Norris                            Robinson Calcagnie, Inc.                                      7:20-cv-49891-MCR-GRJ
  16002      93082    Jose Olmeda                             Robinson Calcagnie, Inc.           7:20-cv-49952-MCR-GRJ
  16003      93085    Lawrence Oseked                         Robinson Calcagnie, Inc.           7:20-cv-49966-MCR-GRJ
  16004      93115    David Perillo                           Robinson Calcagnie, Inc.                                      7:20-cv-50103-MCR-GRJ
  16005      93129    Justin Potter                           Robinson Calcagnie, Inc.           7:20-cv-50167-MCR-GRJ
  16006      93133    John Prutsok                            Robinson Calcagnie, Inc.           7:20-cv-50189-MCR-GRJ
  16007      93139    Christopher Rabe                        Robinson Calcagnie, Inc.           7:20-cv-50223-MCR-GRJ
  16008      93153    Wallace Rayford                         Robinson Calcagnie, Inc.           7:20-cv-50303-MCR-GRJ
  16009      93159    Neka Reed                               Robinson Calcagnie, Inc.                                      7:20-cv-50335-MCR-GRJ
  16010      93163    Don Reneau                              Robinson Calcagnie, Inc.           7:20-cv-50357-MCR-GRJ
  16011      93165    Alexander Rex                           Robinson Calcagnie, Inc.           7:20-cv-50368-MCR-GRJ
  16012      93171    Ulysses Rhyne                           Robinson Calcagnie, Inc.           7:20-cv-50402-MCR-GRJ
  16013      93172    Brie Rice                               Robinson Calcagnie, Inc.           7:20-cv-50407-MCR-GRJ
  16014      93179    Mica Ritter                             Robinson Calcagnie, Inc.                                      7:20-cv-50448-MCR-GRJ
  16015      93198    Jaime Rodriguez                         Robinson Calcagnie, Inc.                                      7:20-cv-50546-MCR-GRJ
  16016      93213    Charles Roush                           Robinson Calcagnie, Inc.           7:20-cv-50620-MCR-GRJ
  16017      93233    Torix Schadeck                          Robinson Calcagnie, Inc.           7:20-cv-50721-MCR-GRJ
  16018      93236    Kyle Scheve                             Robinson Calcagnie, Inc.           7:20-cv-50735-MCR-GRJ
  16019      93237    Craig Schlegel                          Robinson Calcagnie, Inc.           7:20-cv-50740-MCR-GRJ
  16020      93242    Jason Schulman                          Robinson Calcagnie, Inc.                                      7:20-cv-50765-MCR-GRJ
  16021      93253    Clive Sergeant                          Robinson Calcagnie, Inc.           7:20-cv-50819-MCR-GRJ
  16022      93262    Reginald Shaw                           Robinson Calcagnie, Inc.           7:20-cv-50853-MCR-GRJ
  16023      93281    Joshua Simon                            Robinson Calcagnie, Inc.                                      7:20-cv-50907-MCR-GRJ
  16024      93286    Austin Skannal                          Robinson Calcagnie, Inc.           7:20-cv-50921-MCR-GRJ
  16025      93291    Marcus Smith                            Robinson Calcagnie, Inc.           7:20-cv-50935-MCR-GRJ
  16026      93293    Timothy Smith                           Robinson Calcagnie, Inc.                                      7:20-cv-50941-MCR-GRJ
  16027      93298    Justin Smith                            Robinson Calcagnie, Inc.                                      7:20-cv-50951-MCR-GRJ
  16028      93303    Justin Snowden                          Robinson Calcagnie, Inc.           7:20-cv-50962-MCR-GRJ
  16029      93309    Gary Spiekhout                          Robinson Calcagnie, Inc.                                      7:20-cv-21601-MCR-GRJ
  16030      93318    Matthew Sterns                          Robinson Calcagnie, Inc.           7:20-cv-50431-MCR-GRJ
  16031      93324    Nathaniel Stone                         Robinson Calcagnie, Inc.                                      7:20-cv-50459-MCR-GRJ
  16032      93332    Jeffrey Stutsman                        Robinson Calcagnie, Inc.                                      7:20-cv-50503-MCR-GRJ
  16033      93336    Reggie Swindle                          Robinson Calcagnie, Inc.           7:20-cv-50521-MCR-GRJ
  16034      93339    Andrew Tarin                            Robinson Calcagnie, Inc.                                      7:20-cv-50535-MCR-GRJ
  16035      93341    Steven Taylor                           Robinson Calcagnie, Inc.           7:20-cv-50544-MCR-GRJ
  16036      93347    Thomas Lulloff                          Robinson Calcagnie, Inc.           7:20-cv-50568-MCR-GRJ
  16037      93358    Bianca Trujillo                         Robinson Calcagnie, Inc.                                      7:20-cv-50621-MCR-GRJ
  16038      93402    Charles Watson                          Robinson Calcagnie, Inc.           7:20-cv-50825-MCR-GRJ
  16039      93409    Timothy Welborn                         Robinson Calcagnie, Inc.           7:20-cv-50849-MCR-GRJ
  16040      93414    Warrick Wells                           Robinson Calcagnie, Inc.           7:20-cv-50863-MCR-GRJ
  16041      93430    Joseph Whitfield                        Robinson Calcagnie, Inc.                                      7:20-cv-50908-MCR-GRJ
  16042      93438    Evelyn Williams                         Robinson Calcagnie, Inc.                                      7:20-cv-50931-MCR-GRJ
  16043      93440    Danny Williams                          Robinson Calcagnie, Inc.                                      7:20-cv-50937-MCR-GRJ
  16044      93446    Darrin Williams                         Robinson Calcagnie, Inc.           7:20-cv-50950-MCR-GRJ
  16045      93451    Sam Wills                               Robinson Calcagnie, Inc.           7:20-cv-50959-MCR-GRJ
  16046      93459    Aaron Wittler                           Robinson Calcagnie, Inc.                                      7:20-cv-50972-MCR-GRJ
  16047      93463    Dustin Wood                             Robinson Calcagnie, Inc.                                      7:20-cv-50980-MCR-GRJ
  16048      93472    Erin Woolen                             Robinson Calcagnie, Inc.           7:20-cv-50989-MCR-GRJ
  16049      93474    Herman Wright                           Robinson Calcagnie, Inc.           7:20-cv-50991-MCR-GRJ
  16050      93478    Christopher Yates                       Robinson Calcagnie, Inc.           7:20-cv-50995-MCR-GRJ
  16051      93484    James Young                             Robinson Calcagnie, Inc.           7:20-cv-51001-MCR-GRJ
  16052      93486    Alfred Young                            Robinson Calcagnie, Inc.           7:20-cv-51003-MCR-GRJ
  16053      93491    Mark Zeltmann                           Robinson Calcagnie, Inc.                                      7:20-cv-51008-MCR-GRJ
  16054      127022   Avery Bahe                              Robinson Calcagnie, Inc.           7:20-cv-51128-MCR-GRJ
  16055      127032   John Bitterman                          Robinson Calcagnie, Inc.           7:20-cv-51150-MCR-GRJ
  16056      127037   Ronnie Bower                            Robinson Calcagnie, Inc.           7:20-cv-51163-MCR-GRJ
  16057      127038   Michael Briggs                          Robinson Calcagnie, Inc.           7:20-cv-51165-MCR-GRJ
  16058      127043   Cody Buchanan                           Robinson Calcagnie, Inc.           7:20-cv-51176-MCR-GRJ
  16059      127044   Clint Bucki                             Robinson Calcagnie, Inc.           7:20-cv-51178-MCR-GRJ
  16060      127050   Brady Burke                             Robinson Calcagnie, Inc.           7:20-cv-51191-MCR-GRJ




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  16061      127065   Blake Chambers                          Robinson Calcagnie, Inc.           7:20-cv-51240-MCR-GRJ
  16062      127067   Coty Chester                            Robinson Calcagnie, Inc.           7:20-cv-51247-MCR-GRJ
  16063      127074   Sheena Clemmer                          Robinson Calcagnie, Inc.           7:20-cv-51271-MCR-GRJ
  16064      127081   Ronnie Collier                          Robinson Calcagnie, Inc.           7:20-cv-51293-MCR-GRJ
  16065      127083   Marcie Conrad                           Robinson Calcagnie, Inc.                                      7:20-cv-51299-MCR-GRJ
  16066      127090   Aaron Courtney                          Robinson Calcagnie, Inc.           7:20-cv-51321-MCR-GRJ
  16067      127094   William Cuevas                          Robinson Calcagnie, Inc.           7:20-cv-51333-MCR-GRJ
  16068      127098   Jedediah Dalhaus                        Robinson Calcagnie, Inc.                                      7:20-cv-51346-MCR-GRJ
  16069      127110   Norman Dillon                           Robinson Calcagnie, Inc.           7:20-cv-51380-MCR-GRJ
  16070      127139   Tracy Feneran                           Robinson Calcagnie, Inc.           7:20-cv-51471-MCR-GRJ
  16071      127156   Holden Glass                            Robinson Calcagnie, Inc.           7:20-cv-51521-MCR-GRJ
  16072      127190   Jose Hernandez                          Robinson Calcagnie, Inc.                                      7:20-cv-51652-MCR-GRJ
  16073      127199   Peter Hoffman                           Robinson Calcagnie, Inc.           7:20-cv-51690-MCR-GRJ
  16074      127211   Kwayne Huggins                          Robinson Calcagnie, Inc.           7:20-cv-51749-MCR-GRJ
  16075      127235   Jameson Kaye                            Robinson Calcagnie, Inc.           7:20-cv-51855-MCR-GRJ
  16076      127254   James Lawhorn                           Robinson Calcagnie, Inc.           7:20-cv-51956-MCR-GRJ
  16077      127255   Aaron Ledoux                            Robinson Calcagnie, Inc.           7:20-cv-51962-MCR-GRJ
  16078      127265   Richard Lucker                          Robinson Calcagnie, Inc.           7:20-cv-52021-MCR-GRJ
  16079      127283   Jacob Masters                           Robinson Calcagnie, Inc.           7:20-cv-52131-MCR-GRJ
  16080      127306   John Midkiff                            Robinson Calcagnie, Inc.           7:20-cv-51066-MCR-GRJ
  16081      127317   Brian Morgan                            Robinson Calcagnie, Inc.           7:20-cv-51088-MCR-GRJ
  16082      127322   Jesse Mullins                           Robinson Calcagnie, Inc.           7:20-cv-51098-MCR-GRJ
  16083      127348   Jethro Parks                            Robinson Calcagnie, Inc.                                      7:20-cv-51156-MCR-GRJ
  16084      127353   Robert Pau                              Robinson Calcagnie, Inc.           7:20-cv-51170-MCR-GRJ
  16085      127356   John Pearson                            Robinson Calcagnie, Inc.           7:20-cv-51177-MCR-GRJ
  16086      127368   Michael Phelps                          Robinson Calcagnie, Inc.                                      7:20-cv-51202-MCR-GRJ
  16087      127428   Scott Ruschak                           Robinson Calcagnie, Inc.           7:20-cv-51397-MCR-GRJ
  16088      127448   Tiffany Scott                           Robinson Calcagnie, Inc.           7:20-cv-51460-MCR-GRJ
  16089      127457   Dylan Simmons                           Robinson Calcagnie, Inc.                                      7:20-cv-51488-MCR-GRJ
  16090      127460   Sean Skersick                           Robinson Calcagnie, Inc.           7:20-cv-51498-MCR-GRJ
  16091      127465   Douglas Smith                           Robinson Calcagnie, Inc.           7:20-cv-51513-MCR-GRJ
  16092      127470   Luke Smith                              Robinson Calcagnie, Inc.           7:20-cv-51527-MCR-GRJ
  16093      127474   Jacob Smith                             Robinson Calcagnie, Inc.           7:20-cv-51539-MCR-GRJ
  16094      127475   Justin Smith                            Robinson Calcagnie, Inc.           7:20-cv-51542-MCR-GRJ
  16095      127479   Juan Sosa                               Robinson Calcagnie, Inc.                                      7:20-cv-51556-MCR-GRJ
  16096      127484   Daniel Spinks                           Robinson Calcagnie, Inc.           7:20-cv-51575-MCR-GRJ
  16097      127501   Robert Taylor                           Robinson Calcagnie, Inc.                                      7:20-cv-51645-MCR-GRJ
  16098      127505   Christopher Tehoke                      Robinson Calcagnie, Inc.                                      7:20-cv-51662-MCR-GRJ
  16099      127508   Brian Terry                             Robinson Calcagnie, Inc.           7:20-cv-51674-MCR-GRJ
  16100      127516   Jason Thompson                          Robinson Calcagnie, Inc.           7:20-cv-51711-MCR-GRJ
  16101      127531   William Tyson                           Robinson Calcagnie, Inc.                                      7:20-cv-51785-MCR-GRJ
  16102      127535   Michael Vann                            Robinson Calcagnie, Inc.                                      7:20-cv-51805-MCR-GRJ
  16103      127536   Matthew Varner                          Robinson Calcagnie, Inc.           7:20-cv-51809-MCR-GRJ
  16104      127540   Eloy Vela                               Robinson Calcagnie, Inc.           7:20-cv-51825-MCR-GRJ
  16105      127541   Morgan Verheye                          Robinson Calcagnie, Inc.                                      7:20-cv-51829-MCR-GRJ
  16106      127548   Diana Wagner                            Robinson Calcagnie, Inc.           7:20-cv-51858-MCR-GRJ
  16107      127555   William Walker                          Robinson Calcagnie, Inc.                                      7:20-cv-51889-MCR-GRJ
  16108      127563   Mathew Wessel                           Robinson Calcagnie, Inc.           7:20-cv-51934-MCR-GRJ
  16109      127566   Zachariah White                         Robinson Calcagnie, Inc.           7:20-cv-51951-MCR-GRJ
  16110      127570   Bryan Williams                          Robinson Calcagnie, Inc.           7:20-cv-51978-MCR-GRJ
  16111      127583   Josh Winemiller                         Robinson Calcagnie, Inc.           7:20-cv-52053-MCR-GRJ
  16112      127600   John Earnest                            Robinson Calcagnie, Inc.                                      3:19-cv-02227-MCR-GRJ
  16113      127607   John Music                              Robinson Calcagnie, Inc.                                      3:19-cv-02236-MCR-GRJ
  16114      127608   Daniel Nichols                          Robinson Calcagnie, Inc.                                      3:19-cv-02278-MCR-GRJ
  16115      136627   Martin Aubrie                           Robinson Calcagnie, Inc.                                      3:19-cv-02213-MCR-GRJ
  16116      136628   Patrick Beasley                         Robinson Calcagnie, Inc.                                      3:19-cv-02212-MCR-GRJ
  16117      136656   Randy Cooley                            Robinson Calcagnie, Inc.                                      3:19-cv-02175-MCR-GRJ
  16118      136687   Mark Esparza                            Robinson Calcagnie, Inc.           7:20-cv-63460-MCR-GRJ
  16119      139850   Mark Laub                               Robinson Calcagnie, Inc.                                      3:19-cv-02271-MCR-GRJ
  16120      139878   Stephanie Kimmel                        Robinson Calcagnie, Inc.           7:20-cv-64062-MCR-GRJ
  16121      147869   Sheila Forsythe                         Robinson Calcagnie, Inc.                                      7:20-cv-64375-MCR-GRJ
  16122      164170   Jerry Thomas                            Robinson Calcagnie, Inc.           7:20-cv-68292-MCR-GRJ
  16123      170076   Emily Patrick                           Robinson Calcagnie, Inc.           7:20-cv-63990-MCR-GRJ
  16124      170078   Robert Dent                             Robinson Calcagnie, Inc.                                      7:20-cv-63992-MCR-GRJ
  16125      173769   Patsy Hill                              Robinson Calcagnie, Inc.           7:20-cv-39872-MCR-GRJ
  16126      176325   Gary Stephen Oates                      Robinson Calcagnie, Inc.                                      7:20-cv-41696-MCR-GRJ
  16127      176548   James Velesky                           Robinson Calcagnie, Inc.                                      7:20-cv-41725-MCR-GRJ
  16128      176550   Kathleen Vallet                         Robinson Calcagnie, Inc.           7:20-cv-41731-MCR-GRJ
  16129      176555   Jonathan Vielma                         Robinson Calcagnie, Inc.           7:20-cv-41741-MCR-GRJ
  16130      176560   Timothy Tabellija                       Robinson Calcagnie, Inc.                                      7:20-cv-41743-MCR-GRJ
  16131      194234   Richard Johnson                         Robinson Calcagnie, Inc.           8:20-cv-61301-MCR-GRJ
  16132      202604   Timothy Insley                          Robinson Calcagnie, Inc.           8:20-cv-31756-MCR-GRJ
  16133      207268   Angela Brewer                           Robinson Calcagnie, Inc.           8:20-cv-41214-MCR-GRJ




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  16134      207271   Jonathan Densmore                       Robinson Calcagnie, Inc.                      8:20-cv-41224-MCR-GRJ
  16135      207609   Melissa Clem                            Robinson Calcagnie, Inc.                      8:20-cv-51805-MCR-GRJ
  16136      207658   Chase Hall                              Robinson Calcagnie, Inc.                                                 8:20-cv-51816-MCR-GRJ
  16137      208208   Jacob Shaw                              Robinson Calcagnie, Inc.                      8:20-cv-51864-MCR-GRJ
  16138      209669   Shaun Simmons                           Robinson Calcagnie, Inc.                                                 3:21-cv-03401-MCR-GRJ
  16139      212882   Thomas Lively                           Robinson Calcagnie, Inc.                                                 8:20-cv-58289-MCR-GRJ
  16140      213306   John Brickey                            Robinson Calcagnie, Inc.                      8:20-cv-60143-MCR-GRJ
  16141      231012   Ronald Swinyer                          Robinson Calcagnie, Inc.                      8:20-cv-67187-MCR-GRJ
  16142      234320   Brexton Torres                          Robinson Calcagnie, Inc.                      8:20-cv-68729-MCR-GRJ
  16143      234397   Timothy Wilkes                          Robinson Calcagnie, Inc.                      8:20-cv-68749-MCR-GRJ
  16144      237525   Kristina Bucki                          Robinson Calcagnie, Inc.                      8:20-cv-83638-MCR-GRJ
  16145      237529   Adam Delozier                           Robinson Calcagnie, Inc.                      8:20-cv-83642-MCR-GRJ
  16146      237542   Altamease Esparza                       Robinson Calcagnie, Inc.                                                 8:20-cv-83655-MCR-GRJ
  16147      237544   Steven Miller                           Robinson Calcagnie, Inc.                      8:20-cv-83658-MCR-GRJ
  16148      237548   Francisco Rubio                         Robinson Calcagnie, Inc.                                                 8:20-cv-83662-MCR-GRJ
  16149      237552   Lee Thornburg                           Robinson Calcagnie, Inc.                      8:20-cv-83666-MCR-GRJ
  16150      237553   Joshua White                            Robinson Calcagnie, Inc.                      8:20-cv-83667-MCR-GRJ
  16151      240677   Maurice Kearney                         Robinson Calcagnie, Inc.                      8:20-cv-76581-MCR-GRJ
  16152      93687    Darryl Arnold                           Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-72430-MCR-GRJ
  16153      93714    Paul Berner                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-72532-MCR-GRJ
  16154      93733    Misty Brewster                          Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-72589-MCR-GRJ
  16155      93742    Benjamin Brown                          Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-72620-MCR-GRJ
  16156      93823    Alexander Dion                          Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-72963-MCR-GRJ
  16157      93837    Tennie Edgemon                          Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-73015-MCR-GRJ
  16158      93878    Lawrence Gatobu                         Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73182-MCR-GRJ
  16159      93901    Luis Guerrero                           Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73272-MCR-GRJ
  16160      93947    James Hunt                              Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73509-MCR-GRJ
  16161      93978    Jared Jordan                            Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73619-MCR-GRJ
  16162      93986    George Keifer                           Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73645-MCR-GRJ
  16163      93994    Carroll Kirk                            Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73674-MCR-GRJ
  16164      93997    Jay Knight                              Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73688-MCR-GRJ
  16165      94002    Jamie Laman                             Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-73733-MCR-GRJ
  16166      94018    James Lewis                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-73832-MCR-GRJ
  16167      94042    Joseph Manis                            Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-74799-MCR-GRJ
  16168      94043    Albert Mares                            Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-74802-MCR-GRJ
  16169      94055    Jeffrey Mcclarnon                       Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-74843-MCR-GRJ
  16170      94058    Tasha Mccullough                        Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-74853-MCR-GRJ
  16171      94059    Christopher Mcdaniel                    Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-74857-MCR-GRJ
  16172      94064    Michael Mcginnis                        Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-74870-MCR-GRJ
  16173      94070    Ian Mcneill                             Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-74889-MCR-GRJ
  16174      94083    Jerome Mingledolph                      Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-74957-MCR-GRJ
  16175      94085    Matthew Mitchell                        Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-74968-MCR-GRJ
  16176      94113    Irma Ozuna                              Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75125-MCR-GRJ
  16177      94141    Joshua Postma                           Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75272-MCR-GRJ
  16178      94148    Jeremiah Price                          Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75319-MCR-GRJ
  16179      94161    Juan Reyes                              Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75403-MCR-GRJ
  16180      94186    Daniel Rowe                             Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75542-MCR-GRJ
  16181      94207    Donald Schrader                         Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75643-MCR-GRJ
  16182      94221    Thomas Sietsema                         Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75721-MCR-GRJ
  16183      94226    Joshua Slater                           Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75750-MCR-GRJ
  16184      94234    Ashley Snook                            Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-75785-MCR-GRJ
  16185      94301    Charles Walters                         Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-66853-MCR-GRJ
  16186      94307    Paul Wayman                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-66871-MCR-GRJ
  16187      164865   Dustin Ferguson                         Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-88715-MCR-GRJ
  16188      164875   Kasey Harmon                            Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-88724-MCR-GRJ
  16189      164878   John Hutchison                          Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-88727-MCR-GRJ
  16190      164884   Thomas Kavanaugh                        Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-88733-MCR-GRJ
  16191      164888   Joshua Manninger                        Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-88737-MCR-GRJ
  16192      164895   Justin Nolan                            Rogers, Patrick, Westbrook & Brickman, LLC    7:20-cv-88744-MCR-GRJ
  16193      164921   Dextel Word                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:20-cv-88770-MCR-GRJ
  16194      190645   James Sullivan                          Rogers, Patrick, Westbrook & Brickman, LLC                               8:20-cv-59747-MCR-GRJ
  16195      190675   Alexander Payne                         Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-59881-MCR-GRJ
  16196      190678   Amanda Groen                            Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-59891-MCR-GRJ
  16197      190683   Jonathan Becks                          Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-59909-MCR-GRJ
  16198      190704   Lenquouya Bucklew                       Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-60184-MCR-GRJ
  16199      190711   Zachary Holland                         Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-60226-MCR-GRJ
  16200      190712   Nestor Manzo                            Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-60232-MCR-GRJ
  16201      224358   Wesley Lozada                           Rogers, Patrick, Westbrook & Brickman, LLC    8:20-cv-74904-MCR-GRJ
  16202      273753   Kelsey Crawford                         Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-16111-MCR-GRJ
  16203      277793   Jesse Jaeger                            Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18885-MCR-GRJ
  16204      277814   Adam Foley                              Rogers, Patrick, Westbrook & Brickman, LLC                               9:20-cv-18906-MCR-GRJ
  16205      277820   Sean Zumfelde                           Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18912-MCR-GRJ
  16206      277831   Eddie Delvallealicea                    Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18923-MCR-GRJ




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  16207      277835   Belton Jones                            Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18927-MCR-GRJ
  16208      277838   Scotty Allen                            Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18930-MCR-GRJ
  16209      277841   Joshua Gillam                           Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18933-MCR-GRJ
  16210      277845   David Hinton                            Rogers, Patrick, Westbrook & Brickman, LLC                               9:20-cv-18937-MCR-GRJ
  16211      277857   Buddy Mergenthaler                      Rogers, Patrick, Westbrook & Brickman, LLC    9:20-cv-18949-MCR-GRJ
  16212      277859   Kevin Ivie                              Rogers, Patrick, Westbrook & Brickman, LLC                               9:20-cv-18951-MCR-GRJ
  16213      280413   James Sills                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-00145-MCR-GRJ
  16214      289563   Daniel Rand                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-11512-MCR-GRJ
  16215      289564   Jason Biederer                          Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-11513-MCR-GRJ
  16216      289577   Shane Begin                             Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-11526-MCR-GRJ
  16217      289579   Nicholas Doyon                          Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-11528-MCR-GRJ
  16218      289586   Shane Hines                             Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-11534-MCR-GRJ
  16219      289602   Joseph Tye                              Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-11550-MCR-GRJ
  16220      291885   Matthew Rosenthal                       Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-10975-MCR-GRJ
  16221      291895   Nicholas Beintema                       Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-10985-MCR-GRJ
  16222      291916   Evan Mill                               Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-11004-MCR-GRJ
  16223      291918   Johnny Cozzone                          Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-11006-MCR-GRJ
  16224      292023   William Laforest                        Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-12415-MCR-GRJ
  16225      292031   Zachariah Conway                        Rogers, Patrick, Westbrook & Brickman, LLC                               7:21-cv-12423-MCR-GRJ
  16226      292032   Reginald Dean                           Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-12424-MCR-GRJ
  16227      292035   Jordan Brogan                           Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-12427-MCR-GRJ
  16228      298740   Dean Wright                             Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-20088-MCR-GRJ
  16229      330098   Lucious Burk                            Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-43488-MCR-GRJ
  16230      35617    Daniel Robinson                         Rosen Injury Lawyers                                                     8:20-cv-09408-MCR-GRJ
  16231      35621    Eddie Stacy                             Rosen Injury Lawyers                          8:20-cv-09415-MCR-GRJ
  16232      35629    Jason Pierce                            Rosen Injury Lawyers                                                     8:20-cv-12012-MCR-GRJ
  16233      35631    Jim Mcelhaney                           Rosen Injury Lawyers                                                     8:20-cv-12013-MCR-GRJ
  16234      35637    Luis Pagan                              Rosen Injury Lawyers                          8:20-cv-09440-MCR-GRJ
  16235      197256   Frank Bailey                            Rosen Injury Lawyers                                                     8:20-cv-31640-MCR-GRJ
  16236      197257   Harrison Baker                          Rosen Injury Lawyers                                                     8:20-cv-31643-MCR-GRJ
  16237      197258   Herbert Mitchell                        Rosen Injury Lawyers                                                     8:20-cv-31645-MCR-GRJ
  16238      197260   Jesse Kight                             Rosen Injury Lawyers                          8:20-cv-31650-MCR-GRJ
  16239      197266   Matthew Russell                         Rosen Injury Lawyers                          8:20-cv-31665-MCR-GRJ
  16240      197274   Timothy Svymanski                       Rosen Injury Lawyers                                                     8:20-cv-31686-MCR-GRJ
  16241      217224   Heith Kafer                             Rosen Injury Lawyers                                                     8:20-cv-73662-MCR-GRJ
  16242      217226   Adam Mccloskey                          Rosen Injury Lawyers                                                     8:20-cv-66189-MCR-GRJ
  16243      217233   Franklin Kenny                          Rosen Injury Lawyers                          8:20-cv-75425-MCR-GRJ
  16244      217239   Sonya Gonzalez                          Rosen Injury Lawyers                                                     8:20-cv-75438-MCR-GRJ
  16245      217245   John Munoz                              Rosen Injury Lawyers                          8:20-cv-66232-MCR-GRJ
  16246      217250   Jamie Smith                             Rosen Injury Lawyers                                                     8:20-cv-66253-MCR-GRJ
  16247      217254   Ronald King                             Rosen Injury Lawyers                                                     8:20-cv-75473-MCR-GRJ
  16248      217263   Daniel Rice                             Rosen Injury Lawyers                          8:20-cv-66278-MCR-GRJ
  16249      217269   Cecil Bettles                           Rosen Injury Lawyers                          8:20-cv-75526-MCR-GRJ
  16250      217271   Victoria Homeyer                        Rosen Injury Lawyers                                                     8:20-cv-75539-MCR-GRJ
  16251      254892   Christian Huete                         Rosen Injury Lawyers                          8:20-cv-98330-MCR-GRJ
  16252      254903   Dustin Jones                            Rosen Injury Lawyers                                                     8:20-cv-98741-MCR-GRJ
  16253      254909   James Bradshaw                          Rosen Injury Lawyers                          8:20-cv-98746-MCR-GRJ
  16254      254923   Karla Moten-Jenkins                     Rosen Injury Lawyers                          8:20-cv-98772-MCR-GRJ
  16255      254924   Kevin Golden                            Rosen Injury Lawyers                          8:20-cv-98774-MCR-GRJ
  16256      254929   Marcus Woodruff                         Rosen Injury Lawyers                                                     8:20-cv-98784-MCR-GRJ
  16257      254931   Michael Brunet                          Rosen Injury Lawyers                                                     8:20-cv-98788-MCR-GRJ
  16258      254937   Patience Fuller                         Rosen Injury Lawyers                                                     8:20-cv-98800-MCR-GRJ
  16259      254939   Robert Croy                             Rosen Injury Lawyers                          8:20-cv-98803-MCR-GRJ
  16260      254943   Ronald Medina                           Rosen Injury Lawyers                          8:20-cv-98810-MCR-GRJ
  16261      254946   Seth Slone                              Rosen Injury Lawyers                                                     8:20-cv-98815-MCR-GRJ
  16262      254952   Steven Bolin                            Rosen Injury Lawyers                          8:20-cv-98825-MCR-GRJ
  16263      254954   Tederail Walker                         Rosen Injury Lawyers                          8:20-cv-98826-MCR-GRJ
  16264      254963   Zachary Brown                           Rosen Injury Lawyers                          8:20-cv-99066-MCR-GRJ
  16265      267123   Tony Johnson                            Rosen Injury Lawyers                                                     9:20-cv-07143-MCR-GRJ
  16266      267128   Justin Tillman                          Rosen Injury Lawyers                                                     9:20-cv-09955-MCR-GRJ
  16267      267134   Desmond Burns                           Rosen Injury Lawyers                                                     9:20-cv-07157-MCR-GRJ
  16268      267135   James Dudley                            Rosen Injury Lawyers                                                     9:20-cv-07159-MCR-GRJ
  16269      267143   Michael Workman                         Rosen Injury Lawyers                                                     9:20-cv-09959-MCR-GRJ
  16270      267147   Amanda Steele                           Rosen Injury Lawyers                          9:20-cv-07175-MCR-GRJ
  16271      267149   Justin Vincent                          Rosen Injury Lawyers                                                     9:20-cv-07177-MCR-GRJ
  16272      267150   Gregory Carter                          Rosen Injury Lawyers                                                     9:20-cv-07179-MCR-GRJ
  16273      267155   Adam Gutierrez                          Rosen Injury Lawyers                          9:20-cv-07187-MCR-GRJ
  16274      267158   William Fitzpatrick                     Rosen Injury Lawyers                                                     9:20-cv-07192-MCR-GRJ
  16275      267169   Emily Lock                              Rosen Injury Lawyers                          9:20-cv-09964-MCR-GRJ
  16276      267176   Phil Foster                             Rosen Injury Lawyers                                                     9:20-cv-08512-MCR-GRJ
  16277      276366   Joseph Ramirez                          Rosen Injury Lawyers                                                     9:20-cv-20220-MCR-GRJ
  16278      276367   Kenneth Burke                           Rosen Injury Lawyers                                                     9:20-cv-20222-MCR-GRJ
  16279      276369   Brandon Williams                        Rosen Injury Lawyers                          9:20-cv-20226-MCR-GRJ




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  16280      276373   Cornelius Chaney                        Rosen Injury Lawyers                                                      9:20-cv-20234-MCR-GRJ
  16281      276378   Renard Lawrence                         Rosen Injury Lawyers                           9:20-cv-20245-MCR-GRJ
  16282      276381   Roy Thompson                            Rosen Injury Lawyers                           9:20-cv-20251-MCR-GRJ
  16283      276382   Ronald Teague                           Rosen Injury Lawyers                           9:20-cv-20253-MCR-GRJ
  16284      276394   Gregory Robbs                           Rosen Injury Lawyers                                                      9:20-cv-20277-MCR-GRJ
  16285      276398   Omar Vara                               Rosen Injury Lawyers                           9:20-cv-20285-MCR-GRJ
  16286      276400   Christopher Formby                      Rosen Injury Lawyers                                                      9:20-cv-20289-MCR-GRJ
  16287      276402   Brendan Fitzpatrick                     Rosen Injury Lawyers                                                      9:20-cv-20293-MCR-GRJ
  16288      276404   Jacob Andrews                           Rosen Injury Lawyers                                                      9:20-cv-20297-MCR-GRJ
  16289      276405   Melvin Wright                           Rosen Injury Lawyers                           9:20-cv-20299-MCR-GRJ
  16290      276407   George Knight                           Rosen Injury Lawyers                           9:20-cv-18660-MCR-GRJ
  16291      276416   Michael Mingle                          Rosen Injury Lawyers                           9:20-cv-18678-MCR-GRJ
  16292      276417   Orion Marley                            Rosen Injury Lawyers                           9:20-cv-18680-MCR-GRJ
  16293      288985   Jennifer Sylvia                         Rosen Injury Lawyers                                                      7:21-cv-11389-MCR-GRJ
  16294      288988   Michael Atkins                          Rosen Injury Lawyers                                                      7:21-cv-11392-MCR-GRJ
  16295      288999   Gregory Chapman                         Rosen Injury Lawyers                           7:21-cv-11403-MCR-GRJ
  16296      289008   Jose Gutierrez                          Rosen Injury Lawyers                           7:21-cv-11412-MCR-GRJ
  16297      289012   Erika Mcgavran                          Rosen Injury Lawyers                                                      7:21-cv-11416-MCR-GRJ
  16298      299322   Jonathan Cain                           Rosen Injury Lawyers                           7:21-cv-20573-MCR-GRJ
  16299      299332   Reo Ramirez                             Rosen Injury Lawyers                           7:21-cv-20580-MCR-GRJ
  16300      299340   Dion Powell                             Rosen Injury Lawyers                                                      7:21-cv-20587-MCR-GRJ
  16301      299341   Matthew Izeh                            Rosen Injury Lawyers                           7:21-cv-20588-MCR-GRJ
  16302      299346   Thomas Hugaboom                         Rosen Injury Lawyers                           7:21-cv-20593-MCR-GRJ
  16303      299353   Theresa Meir                            Rosen Injury Lawyers                           7:21-cv-20598-MCR-GRJ
  16304      311014   Philip French                           Rosen Injury Lawyers                           7:21-cv-27531-MCR-GRJ
  16305      311022   Andy Harris                             Rosen Injury Lawyers                                                      7:21-cv-27539-MCR-GRJ
  16306      81591    Darby James                             Rusty Hardin & Associates LLP                  8:20-cv-04484-MCR-GRJ      3:19-cv-03237-MCR-GRJ
  16307      18262    Herbert Allen                           Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-42171-MCR-GRJ
  16308      18273    Dylan Blake                             Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    7:20-cv-42191-MCR-GRJ
  16309      18281    Robert Burns                            Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    7:20-cv-42209-MCR-GRJ
  16310      18285    Leon Carson                             Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-42219-MCR-GRJ
  16311      18286    Joseph Casper                           Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-42222-MCR-GRJ
  16312      18307    Gregory Deputy                          Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-43891-MCR-GRJ
  16313      18312    Tito Duran                              Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-43908-MCR-GRJ
  16314      18316    John Farmerie                           Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-43921-MCR-GRJ
  16315      18320    Steffan Fleischmann                     Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    7:20-cv-43933-MCR-GRJ
  16316      18323    Nicholas Fowler                         Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-43946-MCR-GRJ
  16317      18349    Scott Hogan                             Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44012-MCR-GRJ
  16318      18354    Steven Impell                           Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44838-MCR-GRJ
  16319      18355    Michael Inserra                         Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    7:20-cv-44840-MCR-GRJ
  16320      18371    Troy Lofton                             Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44874-MCR-GRJ
  16321      18377    Jason Mays                              Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44883-MCR-GRJ
  16322      18419    John Sasse                              Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    7:20-cv-44963-MCR-GRJ
  16323      18423    David Schiller                          Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44971-MCR-GRJ
  16324      18428    Cynthia Shankin                         Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44979-MCR-GRJ
  16325      18463    Gary Wright                             Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-45030-MCR-GRJ
  16326      136521   Leterrance Colvin                       Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-46734-MCR-GRJ
  16327      136524   Ira Hopkins                             Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               7:20-cv-44460-MCR-GRJ
  16328      156018   John Weik                               Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    7:20-cv-46754-MCR-GRJ
  16329      190518   Michael Egan                            Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               8:20-cv-09937-MCR-GRJ
  16330      202731   Ashely Darden                           Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               8:20-cv-41260-MCR-GRJ
  16331      258850   Richard Brasher                         Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               9:20-cv-03280-MCR-GRJ
  16332      258851   Shane Cullen                            Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    9:20-cv-03281-MCR-GRJ
  16333      258852   Sean Niquette                           Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                               9:20-cv-03282-MCR-GRJ
  16334      190585   Jason Picaro                            Saunders & Walker PA                                                      8:20-cv-28771-MCR-GRJ
  16335      156674   Carl Johnson                            Schlesinger Law Offices, P.A.                                             3:20-cv-00218-MCR-GRJ
  16336      156805   Milton Watkins                          Schlesinger Law Offices, P.A.                                             3:20-cv-00503-MCR-GRJ
  16337      157468   Kenny Landwermeyer                      Schlesinger Law Offices, P.A.                                             3:20-cv-00097-MCR-GRJ
  16338      185213   Michael Massimino                       Schlesinger Law Offices, P.A.                                             3:20-cv-03675-MCR-GRJ
  16339      185216   Gary Olsen                              Schlesinger Law Offices, P.A.                                             3:20-cv-03679-MCR-GRJ
  16340      190575   Michael Simmons                         Schlesinger Law Offices, P.A.                                             3:20-cv-03671-MCR-GRJ
  16341      190579   Cheyenne Wilson                         Schlesinger Law Offices, P.A.                                             3:20-cv-03756-MCR-GRJ
  16342      190851   Sara Dennis                             Schlesinger Law Offices, P.A.                                             3:20-cv-03860-MCR-GRJ
  16343      190852   Jonathan Garrett                        Schlesinger Law Offices, P.A.                                             3:20-cv-03841-MCR-GRJ
  16344      190858   Joshua Mckeehan                         Schlesinger Law Offices, P.A.                                             3:20-cv-03857-MCR-GRJ
  16345      190860   Jason Morrison                          Schlesinger Law Offices, P.A.                                             3:20-cv-03863-MCR-GRJ
  16346      190861   Sean Peery                              Schlesinger Law Offices, P.A.                                             3:20-cv-03859-MCR-GRJ
  16347      190862   William Rayburn                         Schlesinger Law Offices, P.A.                                             3:20-cv-03845-MCR-GRJ
  16348      190863   Eric Rose                               Schlesinger Law Offices, P.A.                                             3:20-cv-03861-MCR-GRJ
  16349      190864   Derriek Schweitzer                      Schlesinger Law Offices, P.A.                                             3:20-cv-03864-MCR-GRJ
  16350      190866   William Smallwood                       Schlesinger Law Offices, P.A.                                             3:20-cv-03848-MCR-GRJ
  16351      190869   Benedict Turner                         Schlesinger Law Offices, P.A.                                             3:20-cv-03850-MCR-GRJ
  16352      190870   Stephen Willmon                         Schlesinger Law Offices, P.A.                                             3:20-cv-03851-MCR-GRJ




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  16353      13969    Nichole Turner                          Searcy Denney Scarola Barnhart and Shipley    8:20-cv-05279-MCR-GRJ
  16354      161656   Andrew Scott                            Searcy Denney Scarola Barnhart and Shipley                               8:20-cv-05724-MCR-GRJ
  16355      14149    Dakota Burke                            Shaheen and Gordon                                                       8:20-cv-09330-MCR-GRJ
  16356      14181    Harry Teeter                            Shaheen and Gordon                                                       8:20-cv-09381-MCR-GRJ
  16357      96486    Dustin Malecki                          Shaheen and Gordon                                                       8:20-cv-09970-MCR-GRJ
  16358      96493    Richard Meserve                         Shaheen and Gordon                                                       8:20-cv-09973-MCR-GRJ
  16359      96504    Ronald Weatherspoon                     Shaheen and Gordon                            8:20-cv-09976-MCR-GRJ
  16360      164174   Thomas Johnson                          Shaheen and Gordon                                                       8:20-cv-09843-MCR-GRJ
  16361      83971    Jeremy Bergeron                         Shlosman Law Firm                                                        8:20-cv-34039-MCR-GRJ
  16362      83980    Micah Golmon                            Shlosman Law Firm                                                        7:20-cv-17766-MCR-GRJ
  16363      83982    Jesse Leblanc                           Shlosman Law Firm                                                        8:20-cv-34053-MCR-GRJ
  16364      83984    Rusten May                              Shlosman Law Firm                                                        8:20-cv-34056-MCR-GRJ
  16365      83988    Richard Rafael                          Shlosman Law Firm                                                        8:20-cv-34062-MCR-GRJ
  16366      83990    Nicholas Robichaux                      Shlosman Law Firm                                                        8:20-cv-34066-MCR-GRJ
  16367      83991    Roger Sanders                           Shlosman Law Firm                                                        8:20-cv-34068-MCR-GRJ
  16368      83994    Jeremy Sonnier                          Shlosman Law Firm                                                        8:20-cv-34070-MCR-GRJ
  16369      83995    John Stover                             Shlosman Law Firm                                                        7:20-cv-17768-MCR-GRJ
  16370      83996    Jeric Yeargin                           Shlosman Law Firm                                                        8:20-cv-34072-MCR-GRJ
  16371      84000    Frank Cordero                           Shlosman Law Firm                                                        8:20-cv-34079-MCR-GRJ
  16372      84002    Francisco Frontera                      Shlosman Law Firm                                                        8:20-cv-34083-MCR-GRJ
  16373      84003    Miguel Gonzalez Cosme                   Shlosman Law Firm                                                        8:20-cv-34085-MCR-GRJ
  16374      84005    Edelwoldo Madera-Rodriguez              Shlosman Law Firm                                                        8:20-cv-34087-MCR-GRJ
  16375      81242    Letora Mack                             Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16277-MCR-GRJ
  16376      81243    John Kubik                              Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16279-MCR-GRJ
  16377      81244    Justin Quigley                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16281-MCR-GRJ
  16378      81245    Christopher Craddock                    Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16283-MCR-GRJ
  16379      81252    Jose De Alba Conde                      Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16341-MCR-GRJ
  16380      81253    David Adrian                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16344-MCR-GRJ
  16381      81259    Melchor Avalos                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16362-MCR-GRJ
  16382      81262    Matthew Bardsley                        Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16370-MCR-GRJ
  16383      81270    Stephen Blaylock                        Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16391-MCR-GRJ
  16384      81277    Damel Buckley                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16412-MCR-GRJ
  16385      81290    Austin Chilcutt                         Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16451-MCR-GRJ
  16386      81291    William Clark                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16454-MCR-GRJ
  16387      81305    Tom Dashiel                             Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16498-MCR-GRJ
  16388      81313    Jason Eure                              Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16522-MCR-GRJ
  16389      81323    Andre Frazier                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16563-MCR-GRJ
  16390      81331    Corey Gilbert                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16595-MCR-GRJ
  16391      81334    Michael Gill                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16605-MCR-GRJ
  16392      81335    Joseph Glass                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16609-MCR-GRJ
  16393      81347    Randall Harper                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16659-MCR-GRJ
  16394      81352    Kenneth Helms                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16677-MCR-GRJ
  16395      81354    Miguel Hernandez                        Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16683-MCR-GRJ
  16396      81363    Coy Hunt                                Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16709-MCR-GRJ
  16397      81364    Mwatabu Inniss                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16712-MCR-GRJ
  16398      81374    Matthew King                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16749-MCR-GRJ
  16399      81381    Robert Mackey                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16781-MCR-GRJ
  16400      81383    James Marsh                             Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16790-MCR-GRJ
  16401      81384    Abraham Masimer                         Shunnarah Vail Trial Attorneys, P.C.                                     8:20-cv-16795-MCR-GRJ
  16402      81390    Trevor Mcnally                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16821-MCR-GRJ
  16403      81391    Aaron Mcpike                            Shunnarah Vail Trial Attorneys, P.C.                                     8:20-cv-16826-MCR-GRJ
  16404      81399    Avery Moore                             Shunnarah Vail Trial Attorneys, P.C.                                     8:20-cv-16861-MCR-GRJ
  16405      81400    Jessie Moreland                         Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-16866-MCR-GRJ
  16406      81415    Kevin Petersen                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17678-MCR-GRJ
  16407      81419    Danny Pollard                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17692-MCR-GRJ
  16408      81426    Fernando Redhouse                       Shunnarah Vail Trial Attorneys, P.C.                                     8:20-cv-17712-MCR-GRJ
  16409      81431    Luis Rivera                             Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17722-MCR-GRJ
  16410      81432    Lakendra Rivers                         Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17725-MCR-GRJ
  16411      81436    Henry Ruiz                              Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17740-MCR-GRJ
  16412      81460    Jarmarco Stewart                        Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17819-MCR-GRJ
  16413      81480    Raven Walker                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17928-MCR-GRJ
  16414      81482    Charles Whitaker                        Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17935-MCR-GRJ
  16415      81489    Rasheen Wright                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17963-MCR-GRJ
  16416      81490    Steven Wyatt                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17968-MCR-GRJ
  16417      81492    Jonathan Yudenfriend                    Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17975-MCR-GRJ
  16418      81495    James Hager                             Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-17990-MCR-GRJ
  16419      81499    James Rhoades                           Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-18010-MCR-GRJ
  16420      106565   Mikea Motley                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-14338-MCR-GRJ
  16421      106571   David Cantrell                          Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-14370-MCR-GRJ
  16422      156740   Pamela Lucas                            Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-15102-MCR-GRJ
  16423      157966   Christopher Holley                      Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-15120-MCR-GRJ
  16424      158048   Zacory Rome                             Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-15121-MCR-GRJ
  16425      160764   Andrew Chandler                         Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-15141-MCR-GRJ




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  16426      161174   Bryan Maiden                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-15148-MCR-GRJ
  16427      164125   Timothy Weaver                          Shunnarah Vail Trial Attorneys, P.C.                                 3:19-cv-02813-MCR-GRJ
  16428      164607   Christopher Roberts                     Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-15192-MCR-GRJ
  16429      174707   Jeremy Silva                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-15747-MCR-GRJ
  16430      176659   Narindra Maharaj                        Shunnarah Vail Trial Attorneys, P.C.                                 7:20-cv-41840-MCR-GRJ
  16431      176663   Justin Ohman                            Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-41844-MCR-GRJ
  16432      176664   Jason Ward                              Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-41845-MCR-GRJ
  16433      183181   Jeremy Terry                            Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-85074-MCR-GRJ
  16434      183186   Edward Jones                            Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-85104-MCR-GRJ
  16435      183188   Albert Strumke                          Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-85115-MCR-GRJ
  16436      183189   Brett Nissen                            Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-85120-MCR-GRJ
  16437      188510   Michele Osborne                         Shunnarah Vail Trial Attorneys, P.C.      7:20-cv-91065-MCR-GRJ
  16438      202741   David Lovejoy                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-41273-MCR-GRJ
  16439      202754   Eric Harper                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-41301-MCR-GRJ
  16440      202756   Myles Marohl                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-41305-MCR-GRJ
  16441      214327   Vik Bhavnani                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68886-MCR-GRJ
  16442      214329   Kaitlyn Buttino                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68888-MCR-GRJ
  16443      214332   Nicholas Caskey                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68891-MCR-GRJ
  16444      214335   Alan Comer                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68894-MCR-GRJ
  16445      214336   Derek Conaty                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68895-MCR-GRJ
  16446      214339   Thien Dinh                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68898-MCR-GRJ
  16447      214340   William Dolezal                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68899-MCR-GRJ
  16448      214345   Courtnee Edgar                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68904-MCR-GRJ
  16449      214347   Ernest Eldridge                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68906-MCR-GRJ
  16450      214363   Rodrigues Hannah                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68922-MCR-GRJ
  16451      214375   Michael Kiel                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68934-MCR-GRJ
  16452      214380   Orrin Lafond                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68938-MCR-GRJ
  16453      214393   Daniel Mcknight                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68951-MCR-GRJ
  16454      214403   Larry Nevins                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68960-MCR-GRJ
  16455      214404   Bryan Palmer                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68961-MCR-GRJ
  16456      214406   Jeremy Patison                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68963-MCR-GRJ
  16457      214410   Scott Ramsey                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-68967-MCR-GRJ
  16458      214411   Christopher Ratermann                   Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68968-MCR-GRJ
  16459      214412   Dominick Reale                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68969-MCR-GRJ
  16460      214414   Michael Reed                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68971-MCR-GRJ
  16461      214415   Kevin Reinert                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68972-MCR-GRJ
  16462      214429   Willie Smith                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68985-MCR-GRJ
  16463      214443   Brandon Troyer                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-68999-MCR-GRJ
  16464      214444   Cody Tull                               Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-69000-MCR-GRJ
  16465      214450   Steffan Walker                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-69006-MCR-GRJ
  16466      237969   Andrew Fisher                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-84806-MCR-GRJ
  16467      237983   Tommie Lowe                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-84870-MCR-GRJ
  16468      237985   Michael Miller                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-84879-MCR-GRJ
  16469      237993   Nicholas Robinson                       Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-84912-MCR-GRJ
  16470      238003   Michael Valdez                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-84949-MCR-GRJ
  16471      238004   Sarah Wilson                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-84953-MCR-GRJ
  16472      247225   Brandon Heard                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93859-MCR-GRJ
  16473      247235   Adam Ouellette                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93882-MCR-GRJ
  16474      247239   Christopher Shell                       Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93891-MCR-GRJ
  16475      248160   Jason Black                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93924-MCR-GRJ
  16476      248162   Meliek Bussey                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-86688-MCR-GRJ
  16477      249056   Mario Rodriguez                         Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93020-MCR-GRJ
  16478      249057   Carl Ross                               Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93022-MCR-GRJ
  16479      249062   James Tully                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93032-MCR-GRJ
  16480      249065   Antonio Woods                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93038-MCR-GRJ
  16481      249068   Jose Achutigui                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93044-MCR-GRJ
  16482      249069   Xavier Acosta                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93046-MCR-GRJ
  16483      249071   Heath Adams                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93050-MCR-GRJ
  16484      249072   Joshua Aholt                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93052-MCR-GRJ
  16485      249073   Rachid Alcala                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93054-MCR-GRJ
  16486      249074   Tim Allen                               Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93056-MCR-GRJ
  16487      249079   Daniel Anderson                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93066-MCR-GRJ
  16488      249080   Joshua Anderson                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93068-MCR-GRJ
  16489      249082   Emily Andrade                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93072-MCR-GRJ
  16490      249084   Leroy Archibeque                        Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93076-MCR-GRJ
  16491      249092   Valeria Barrios                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93092-MCR-GRJ
  16492      249093   Justin Bartle                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93094-MCR-GRJ
  16493      249095   Scott Beal                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93098-MCR-GRJ
  16494      249097   Ryan Belieu                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93102-MCR-GRJ
  16495      249099   Nicholas Bell                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93106-MCR-GRJ
  16496      249101   Antuan Belvis                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93111-MCR-GRJ
  16497      249102   Jonathan Bengoa                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93113-MCR-GRJ
  16498      249103   Wade Berard                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93115-MCR-GRJ




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  16499      249106   Ross Bettis                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93121-MCR-GRJ
  16500      249107   Hunter Bevil                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93123-MCR-GRJ
  16501      249112   Jason Bleichwehl                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93133-MCR-GRJ
  16502      249113   Carlos Bolanos                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93135-MCR-GRJ
  16503      249114   David Bonn                              Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93137-MCR-GRJ
  16504      249117   Braxton Bowers                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93143-MCR-GRJ
  16505      249119   Stephon Brayboy                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93147-MCR-GRJ
  16506      249121   Gerald Brewer                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93151-MCR-GRJ
  16507      249123   Matthew Brock                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93155-MCR-GRJ
  16508      249125   Corey Broussard                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93159-MCR-GRJ
  16509      249126   Ashley Brown                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93161-MCR-GRJ
  16510      249129   Terrance Brown                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93165-MCR-GRJ
  16511      249130   Johnathen Browning                      Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93166-MCR-GRJ
  16512      249131   Kenneth Bryant                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93167-MCR-GRJ
  16513      249134   Joseph Bullard                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93170-MCR-GRJ
  16514      249140   Christopher Cain                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93176-MCR-GRJ
  16515      249144   Johnathon Carter                        Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93180-MCR-GRJ
  16516      249145   Victor Carvajal                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93182-MCR-GRJ
  16517      249147   Joshua Chapman                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93186-MCR-GRJ
  16518      249151   Jacob Christian                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93193-MCR-GRJ
  16519      249153   Anthony Cistola                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93197-MCR-GRJ
  16520      249154   Jeremy Clark                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93200-MCR-GRJ
  16521      249155   Zachary Clark                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93202-MCR-GRJ
  16522      249157   Bernard Colton                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93208-MCR-GRJ
  16523      249158   Michael Cook                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93211-MCR-GRJ
  16524      249163   Steven Cowley                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93225-MCR-GRJ
  16525      249167   Alfredo Cruz                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93236-MCR-GRJ
  16526      249171   Jacob Curtinger                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93248-MCR-GRJ
  16527      249173   Anthony Dallas                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93253-MCR-GRJ
  16528      249175   James Davis                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93259-MCR-GRJ
  16529      249179   Daniel Demars                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93270-MCR-GRJ
  16530      249180   Matthew Deno                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93272-MCR-GRJ
  16531      249181   Robert Desrosier                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93274-MCR-GRJ
  16532      249185   Robert Dominguez                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93283-MCR-GRJ
  16533      249187   Kenneth Dornhoefer                      Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93289-MCR-GRJ
  16534      249188   Colden Dostal                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93292-MCR-GRJ
  16535      249191   Daniel Duvall                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93300-MCR-GRJ
  16536      249192   Daniel Dvorak                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93303-MCR-GRJ
  16537      249193   Andre Dyer                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93306-MCR-GRJ
  16538      249194   Jaimee Dziesinski                       Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93309-MCR-GRJ
  16539      249195   Jason Eichmann                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93311-MCR-GRJ
  16540      249196   Jared Elliot                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93314-MCR-GRJ
  16541      249197   Derek Emter                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93317-MCR-GRJ
  16542      249198   Shane Epstein                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93319-MCR-GRJ
  16543      249199   Leticia Esqueda                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93322-MCR-GRJ
  16544      249200   Jake Estrada                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93325-MCR-GRJ
  16545      249204   Melisa Evanuk                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93336-MCR-GRJ
  16546      249208   William Feldmeier                       Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93347-MCR-GRJ
  16547      249209   Joseph Ferren                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93350-MCR-GRJ
  16548      249210   Logan Finklea                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93351-MCR-GRJ
  16549      249213   Kevin Fore                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93357-MCR-GRJ
  16550      249222   Martina Gadson                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93373-MCR-GRJ
  16551      249223   Matthew Gallo                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93375-MCR-GRJ
  16552      249224   Cody Galpin                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93377-MCR-GRJ
  16553      249225   Jovan Garcia                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93378-MCR-GRJ
  16554      249226   Moises Garcia                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93380-MCR-GRJ
  16555      249228   Terrence Garrison                       Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93384-MCR-GRJ
  16556      249232   Joseph Gilmore                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93391-MCR-GRJ
  16557      249234   James Glass                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93394-MCR-GRJ
  16558      249235   Derek Glenn                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93396-MCR-GRJ
  16559      249239   Kevin Goldsmith                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93403-MCR-GRJ
  16560      249240   Raymond Gomez                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93405-MCR-GRJ
  16561      249241   Emanuel Gonzalez                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93406-MCR-GRJ
  16562      249243   Joanie Gooden                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93410-MCR-GRJ
  16563      249246   Joel Grantham                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93415-MCR-GRJ
  16564      249248   Chancey Green                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93419-MCR-GRJ
  16565      249249   George Griffin                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93421-MCR-GRJ
  16566      249251   Samuel Grosch                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93424-MCR-GRJ
  16567      249253   Bradley Gump                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93428-MCR-GRJ
  16568      249260   Mikeal Heisz                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93440-MCR-GRJ
  16569      249266   Dennis Herbst                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93451-MCR-GRJ
  16570      249269   Jesus Hernandez                         Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93456-MCR-GRJ
  16571      249271   Johnny Hernandez                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93460-MCR-GRJ




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  16572      249272   Paul Hernandez                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93461-MCR-GRJ
  16573      249274   Matthew Hickman                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93465-MCR-GRJ
  16574      249275   Michael Hillin                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93467-MCR-GRJ
  16575      249277   Michael Hobbs                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93470-MCR-GRJ
  16576      249279   Calan Hoppe                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93626-MCR-GRJ
  16577      249281   Edward Howard                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93628-MCR-GRJ
  16578      249282   Thomas Howard                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93629-MCR-GRJ
  16579      249283   Damarcus Hudson                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93630-MCR-GRJ
  16580      249284   Jason Humphries                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93631-MCR-GRJ
  16581      249286   Cara Ingram                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93633-MCR-GRJ
  16582      249287   Ernest Ivanov                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93634-MCR-GRJ
  16583      249288   Matthew Izeh                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93635-MCR-GRJ
  16584      249289   Darla Jackson                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93636-MCR-GRJ
  16585      249293   Erick James                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93640-MCR-GRJ
  16586      249294   Felix James                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93642-MCR-GRJ
  16587      249295   Orley James                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93644-MCR-GRJ
  16588      249299   Cicero Johnson                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93652-MCR-GRJ
  16589      249300   Edwin Johnson                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93653-MCR-GRJ
  16590      249303   Jonathan Johnson                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93659-MCR-GRJ
  16591      249304   Michael Johnson                         Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93661-MCR-GRJ
  16592      249306   Raymond Johnson-Maples                  Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93665-MCR-GRJ
  16593      249307   Christopher Jones                       Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93666-MCR-GRJ
  16594      249315   Dustin Kernea                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93681-MCR-GRJ
  16595      249317   Roger Kim                               Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93684-MCR-GRJ
  16596      249318   Erick Kirby                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93686-MCR-GRJ
  16597      249322   Gregory Koenig                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93693-MCR-GRJ
  16598      249323   Reginald Kossie                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93695-MCR-GRJ
  16599      249324   Benjamin Kruse                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93697-MCR-GRJ
  16600      249325   Aaron Laborde                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93699-MCR-GRJ
  16601      249327   Kyle Laing                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93703-MCR-GRJ
  16602      249329   Cory Leavitt                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93706-MCR-GRJ
  16603      249332   Alicia Leos                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93712-MCR-GRJ
  16604      249333   Myeshia Levingston                      Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93713-MCR-GRJ
  16605      249334   Russell Lind                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93715-MCR-GRJ
  16606      249335   Justin Lindley                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93717-MCR-GRJ
  16607      249336   Timothy Loch                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93719-MCR-GRJ
  16608      249337   Dominique Lockett                       Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93721-MCR-GRJ
  16609      249344   Phillip Mackoy                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93733-MCR-GRJ
  16610      249345   Travis Mahaffey                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93735-MCR-GRJ
  16611      249347   Marc Manders                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93737-MCR-GRJ
  16612      249351   Cornelius Massey                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93741-MCR-GRJ
  16613      249352   Paige Matthews                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93742-MCR-GRJ
  16614      249354   Matthew Mccoy                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93744-MCR-GRJ
  16615      249355   John Mcgee                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93745-MCR-GRJ
  16616      249357   Joseph Mclellan                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93747-MCR-GRJ
  16617      249359   Robert Mcmillan                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93749-MCR-GRJ
  16618      249363   Raj Miliam                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93753-MCR-GRJ
  16619      249364   Damyon Miller                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93754-MCR-GRJ
  16620      249369   Daniel Moore                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93759-MCR-GRJ
  16621      249370   James Moore                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93760-MCR-GRJ
  16622      249374   Gregory Mulvenna                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93764-MCR-GRJ
  16623      249379   Joseph Nelson                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93769-MCR-GRJ
  16624      249380   Scott New                               Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93770-MCR-GRJ
  16625      249381   Andrew Nguyen                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93771-MCR-GRJ
  16626      249382   Kally Nixon                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93772-MCR-GRJ
  16627      249383   Edward Nolen                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93773-MCR-GRJ
  16628      249386   Ryan Olenek                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93776-MCR-GRJ
  16629      249387   Robert Olivares                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93777-MCR-GRJ
  16630      249389   Darby Ortego                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93779-MCR-GRJ
  16631      249390   James Otto                              Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93780-MCR-GRJ
  16632      249391   William Ousley                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93781-MCR-GRJ
  16633      249393   Nicole Padilla                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93783-MCR-GRJ
  16634      249394   Samuel Palmer                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93784-MCR-GRJ
  16635      249395   John Parks                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93785-MCR-GRJ
  16636      249402   Charles Pelfrey                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93792-MCR-GRJ
  16637      249405   Jonathan Perez                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93795-MCR-GRJ
  16638      249406   Pedro Perez                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93796-MCR-GRJ
  16639      249407   Maikol Perezramirez                     Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93797-MCR-GRJ
  16640      249410   Jennifer Persinger                      Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93800-MCR-GRJ
  16641      249413   Huynh Pham                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93803-MCR-GRJ
  16642      249414   Christopher Pickett                     Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93804-MCR-GRJ
  16643      249415   Jasmine Pitt                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93805-MCR-GRJ
  16644      249417   Samuel Powell                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93807-MCR-GRJ




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  16645      249419   Taylor Preste                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93809-MCR-GRJ
  16646      249420   Lisa Price                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93810-MCR-GRJ
  16647      249421   Paige Pugh                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93811-MCR-GRJ
  16648      249422   Lorena Quezada                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93812-MCR-GRJ
  16649      249425   Justin Rannels                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93815-MCR-GRJ
  16650      249427   Bernard Reid                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93817-MCR-GRJ
  16651      249428   Joshua Reno                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93818-MCR-GRJ
  16652      249430   Wendell Resweber                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93822-MCR-GRJ
  16653      249431   Daniel Revels                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93824-MCR-GRJ
  16654      249434   Frank Rice                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93829-MCR-GRJ
  16655      249435   Scott Rice                              Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93831-MCR-GRJ
  16656      249436   Jeffrey Richards                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93833-MCR-GRJ
  16657      249444   Darion Rogers                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93847-MCR-GRJ
  16658      249445   Phillip Rogers                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93849-MCR-GRJ
  16659      249450   Erick Rossner                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93858-MCR-GRJ
  16660      249452   Elizabeth Ruiz                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93861-MCR-GRJ
  16661      249453   Shara Russo                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93863-MCR-GRJ
  16662      249454   Josh Salazar                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93865-MCR-GRJ
  16663      249455   Daniel Sanchez                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93867-MCR-GRJ
  16664      249458   Raymond Sandlin                         Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93872-MCR-GRJ
  16665      249459   Darian Santaella                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93874-MCR-GRJ
  16666      249461   Frances Santiago                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93877-MCR-GRJ
  16667      249464   Steven Schneid                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93883-MCR-GRJ
  16668      249466   Chad Schryvers                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93886-MCR-GRJ
  16669      249469   Gordon Shepherd                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93892-MCR-GRJ
  16670      249470   Jeremy Shepherd                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93893-MCR-GRJ
  16671      249472   David Shore                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93897-MCR-GRJ
  16672      249475   Michael Signs                           Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93903-MCR-GRJ
  16673      249476   Kermit Silva                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-93904-MCR-GRJ
  16674      249478   J'Rol Simmons                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-93908-MCR-GRJ
  16675      249479   Garrett Skelton                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94677-MCR-GRJ
  16676      249481   Devon Smith                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94680-MCR-GRJ
  16677      249482   Eric Smith                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94681-MCR-GRJ
  16678      249484   Nicolas Smith                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94683-MCR-GRJ
  16679      249485   Tovel Smith                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94684-MCR-GRJ
  16680      249494   Jesse Stevenson                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94693-MCR-GRJ
  16681      249496   Lawrence Stewart                        Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94695-MCR-GRJ
  16682      249498   Edward Stowe                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94697-MCR-GRJ
  16683      249500   Timothy Strong                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94699-MCR-GRJ
  16684      249504   Stanton Summers                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94703-MCR-GRJ
  16685      249505   Dwayne Surray                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94704-MCR-GRJ
  16686      249507   Tyler Swidorski                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94706-MCR-GRJ
  16687      249509   Jesse Tanner                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94708-MCR-GRJ
  16688      249510   Lee Tate                                Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94709-MCR-GRJ
  16689      249511   Jonathan Taylor                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94710-MCR-GRJ
  16690      249512   Rebecca Taylor                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94711-MCR-GRJ
  16691      249513   Steven Taylor                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94712-MCR-GRJ
  16692      249517   Jimmie Thompson                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94716-MCR-GRJ
  16693      249518   Larry Thompson                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94717-MCR-GRJ
  16694      249519   Bryson Thomsen                          Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94718-MCR-GRJ
  16695      249520   Antoine Threefingers                    Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94719-MCR-GRJ
  16696      249524   Matthew Trussell                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94723-MCR-GRJ
  16697      249530   Gabriel Vasquez                         Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94729-MCR-GRJ
  16698      249531   Aileen Vegalind                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94730-MCR-GRJ
  16699      249532   Julia Velasquez                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94731-MCR-GRJ
  16700      249533   Robert Vernon                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94732-MCR-GRJ
  16701      249535   Teddy Walls                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94734-MCR-GRJ
  16702      249537   Jennifer Walton                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94736-MCR-GRJ
  16703      249541   Kortney Watford                         Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94740-MCR-GRJ
  16704      249544   Tina Welch                              Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94743-MCR-GRJ
  16705      249546   Patrick Wetzel                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94745-MCR-GRJ
  16706      249547   Austin White                            Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94746-MCR-GRJ
  16707      249549   James White                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94748-MCR-GRJ
  16708      249550   James White                             Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94749-MCR-GRJ
  16709      249553   Steven Wilkins                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94752-MCR-GRJ
  16710      249554   James Williams                          Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94753-MCR-GRJ
  16711      249556   Daniel Wills                            Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94755-MCR-GRJ
  16712      249557   Eric Wilson                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94756-MCR-GRJ
  16713      249561   Aaron Wisniewski                        Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94760-MCR-GRJ
  16714      249562   David Wolfe                             Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94761-MCR-GRJ
  16715      249564   Justin Worthington                      Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94763-MCR-GRJ
  16716      249565   Alexander Wright                        Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94764-MCR-GRJ
  16717      249568   Javier Zavala                           Shunnarah Vail Trial Attorneys, P.C.      8:20-cv-94767-MCR-GRJ




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  16718      249569   Gregory Zelinski                        Shunnarah Vail Trial Attorneys, P.C.                                 8:20-cv-94768-MCR-GRJ
  16719      271245   Brandon Dombrowski                      Shunnarah Vail Trial Attorneys, P.C.      9:20-cv-12974-MCR-GRJ
  16720      271252   Joshua Bush                             Shunnarah Vail Trial Attorneys, P.C.      9:20-cv-12992-MCR-GRJ
  16721      271258   Jonathan Costilow                       Shunnarah Vail Trial Attorneys, P.C.      9:20-cv-13010-MCR-GRJ
  16722      271260   Christopher Chartier                    Shunnarah Vail Trial Attorneys, P.C.      9:20-cv-13016-MCR-GRJ
  16723      292053   Jeremy Cureton                          Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-12439-MCR-GRJ
  16724      292060   Elijah Griffin-Curtis                   Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12446-MCR-GRJ
  16725      292070   James Hicks                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12456-MCR-GRJ
  16726      292072   Juan Barajas                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12458-MCR-GRJ
  16727      292079   Carlos Rivera-Hernandez                 Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-12465-MCR-GRJ
  16728      292080   Kendall Britt                           Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-12466-MCR-GRJ
  16729      292081   Thurman Harkins                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12467-MCR-GRJ
  16730      292082   Zachary Kortz                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12468-MCR-GRJ
  16731      292091   Kendrick Harris                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12477-MCR-GRJ
  16732      292093   Benjamin Landry                         Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-12479-MCR-GRJ
  16733      292102   Nadeem Ragab                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12488-MCR-GRJ
  16734      292104   Edward Edgerton                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12490-MCR-GRJ
  16735      292105   Tyrik Felix                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12491-MCR-GRJ
  16736      292106   Jean Fournet                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12492-MCR-GRJ
  16737      292110   Christopher Natale                      Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-12496-MCR-GRJ
  16738      292114   Cheyanne Colbert                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12500-MCR-GRJ
  16739      292126   Omar Said                               Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-12512-MCR-GRJ
  16740      306539   Marlyke Rubio                           Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-24932-MCR-GRJ
  16741      306540   Johnathan Decker                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24933-MCR-GRJ
  16742      306541   Jeffrey Friedlieb                       Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-24934-MCR-GRJ
  16743      306550   Lucas Trusty                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24943-MCR-GRJ
  16744      306552   Demarcus Tarpley                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24945-MCR-GRJ
  16745      306554   Ramone Watkins                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24947-MCR-GRJ
  16746      306555   Brent Wagoner                           Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-24948-MCR-GRJ
  16747      306557   Philip Smell                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24950-MCR-GRJ
  16748      306558   Brad Wikman                             Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-24951-MCR-GRJ
  16749      306560   Jacob Tiff                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24953-MCR-GRJ
  16750      306563   Adam Smith                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24956-MCR-GRJ
  16751      306566   Shawn Trody                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-24959-MCR-GRJ
  16752      332046   Matias Delapena                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52691-MCR-GRJ
  16753      332052   Mehrab Makvandi                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52697-MCR-GRJ
  16754      332054   Toby Soliday                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52699-MCR-GRJ
  16755      332057   Michael Norton                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52702-MCR-GRJ
  16756      332058   Geraldine Kennedy                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52703-MCR-GRJ
  16757      332062   Thomas Garwood                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52707-MCR-GRJ
  16758      332063   Hershell Ellis                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52708-MCR-GRJ
  16759      332068   Jessica Stevens                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52713-MCR-GRJ
  16760      332069   Ramon Richardson                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52714-MCR-GRJ
  16761      332070   Ernest Pickett                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52715-MCR-GRJ
  16762      332081   Dnesha Mcclendon                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52726-MCR-GRJ
  16763      332614   Jeff Kizer                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52733-MCR-GRJ
  16764      332619   James Hines                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52738-MCR-GRJ
  16765      332626   Anthony Smith                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52745-MCR-GRJ
  16766      332667   Kevin Brodeur                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52752-MCR-GRJ
  16767      332674   Romel Haro                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52759-MCR-GRJ
  16768      332679   Peggy Weber                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52764-MCR-GRJ
  16769      332684   Jesus Robinson                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52765-MCR-GRJ
  16770      332756   Steven Mckinney                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52780-MCR-GRJ
  16771      332757   Justin Johnson                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52781-MCR-GRJ
  16772      332761   Christopher Peakes                      Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52785-MCR-GRJ
  16773      332764   Dwight Swint                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52788-MCR-GRJ
  16774      332790   Brandon Ryan                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52789-MCR-GRJ
  16775      332792   Tanner Poulter                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52791-MCR-GRJ
  16776      332793   Aurelio Valdez                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52792-MCR-GRJ
  16777      332828   Malcolm Clarke                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52796-MCR-GRJ
  16778      332841   Michael Franklin                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52804-MCR-GRJ
  16779      332844   Sammy Malloy                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52807-MCR-GRJ
  16780      332845   Corey Robbins                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52808-MCR-GRJ
  16781      332848   Joseph Moore                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52810-MCR-GRJ
  16782      332851   Robert Rich                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52812-MCR-GRJ
  16783      332853   Adam Bailey                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52814-MCR-GRJ
  16784      332856   James Williams                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-52817-MCR-GRJ
  16785      334183   Pauline Bryant                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53166-MCR-GRJ
  16786      334191   Steven Stauffer                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53173-MCR-GRJ
  16787      334193   Charles Wright                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53175-MCR-GRJ
  16788      334200   Matthew Cox                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53182-MCR-GRJ
  16789      334202   Bryan Turner                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53184-MCR-GRJ
  16790      334225   Joseph Fajardo                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53191-MCR-GRJ




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  16791      334227   Edwin Reynoso                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53193-MCR-GRJ
  16792      334253   Steven Miller                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53197-MCR-GRJ
  16793      334255   Patricia Miller                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53199-MCR-GRJ
  16794      334257   Christopher Poe                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53201-MCR-GRJ
  16795      334274   Brandon Matuniak                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53212-MCR-GRJ
  16796      334286   Mckinley Mcintyre                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53222-MCR-GRJ
  16797      334287   Walter Moore                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53223-MCR-GRJ
  16798      334288   Jason Martin                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53224-MCR-GRJ
  16799      334291   Autumn Smith                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53226-MCR-GRJ
  16800      334294   Tyson Kaas                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53229-MCR-GRJ
  16801      334303   Malawa Wright                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53231-MCR-GRJ
  16802      334324   Michael Kane                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53239-MCR-GRJ
  16803      334328   Christian Glenn                         Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-53243-MCR-GRJ
  16804      334335   Charlene Stafford                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53250-MCR-GRJ
  16805      334368   Tory Leatherwood                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53260-MCR-GRJ
  16806      334370   Matthew Wright                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-53262-MCR-GRJ
  16807      334397   Charles Hunt                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54759-MCR-GRJ
  16808      334401   Robert Jordan                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54763-MCR-GRJ
  16809      334403   Raynard Justice                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54765-MCR-GRJ
  16810      334432   Crawford Thomas                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54778-MCR-GRJ
  16811      334438   Kyleigh Cornwell                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54784-MCR-GRJ
  16812      334439   Christopher Burt                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54785-MCR-GRJ
  16813      334442   David Udero                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54788-MCR-GRJ
  16814      334443   Billy Gardner                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54789-MCR-GRJ
  16815      334445   Kevin Meadows                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54791-MCR-GRJ
  16816      334453   Emem Stuppard                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54796-MCR-GRJ
  16817      334455   Christopher Mack                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54798-MCR-GRJ
  16818      334458   Tonya Faulkner                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54801-MCR-GRJ
  16819      334461   Matthew Woitel                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54804-MCR-GRJ
  16820      334462   Kasey Miller                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54805-MCR-GRJ
  16821      334465   Kyle Bryant                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54808-MCR-GRJ
  16822      334466   Justin May                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54809-MCR-GRJ
  16823      334516   Angelo Bencivenga                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54822-MCR-GRJ
  16824      334517   Fredrick Fultz                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54823-MCR-GRJ
  16825      334519   Alexander Tomlinson                     Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54825-MCR-GRJ
  16826      334520   Johnisha Johnson-Hogan                  Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54826-MCR-GRJ
  16827      334655   Daniel Clark                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54833-MCR-GRJ
  16828      334661   Daveron King                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54839-MCR-GRJ
  16829      334666   Paul Fryar                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54842-MCR-GRJ
  16830      334667   Travis Carroll                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54843-MCR-GRJ
  16831      334670   Justin Hollins                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54846-MCR-GRJ
  16832      334671   Reuben Garcia                           Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-54847-MCR-GRJ
  16833      335017   Daniel Mcdowell                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54982-MCR-GRJ
  16834      335018   Jamar Perry                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54983-MCR-GRJ
  16835      335084   Michaela Maines                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-54998-MCR-GRJ
  16836      335087   Timothy Yale                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55001-MCR-GRJ
  16837      335089   Amanda Cameron                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55003-MCR-GRJ
  16838      336187   Jason Foss                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55798-MCR-GRJ
  16839      336195   Brandon Carpenter                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55811-MCR-GRJ
  16840      336199   Ronald Hopkins                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55817-MCR-GRJ
  16841      336211   Ryan Elkins                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55827-MCR-GRJ
  16842      336214   John Flanagan                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55832-MCR-GRJ
  16843      336215   Leon Tommer                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55834-MCR-GRJ
  16844      336216   Michael Montgomery                      Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55836-MCR-GRJ
  16845      336217   Jerry Francis                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55838-MCR-GRJ
  16846      336219   Todd Boutte                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55841-MCR-GRJ
  16847      336220   Derrick Toliver                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55843-MCR-GRJ
  16848      336221   Garen Coriz                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55844-MCR-GRJ
  16849      336227   Steven Petibone                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-55855-MCR-GRJ
  16850      336360   Casey Oates                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56092-MCR-GRJ
  16851      336371   Jonathan Long                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56099-MCR-GRJ
  16852      336378   Gilbert Jones                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56111-MCR-GRJ
  16853      336392   Joseph Webster                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56136-MCR-GRJ
  16854      336398   Joseph Miller                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56146-MCR-GRJ
  16855      336407   Gregory Olmstead                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56160-MCR-GRJ
  16856      336421   Richard Johnson                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56169-MCR-GRJ
  16857      336422   Brian Gibson                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56170-MCR-GRJ
  16858      336423   Eric Carlson                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-56172-MCR-GRJ
  16859      336431   Clifford Stump                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62443-MCR-GRJ
  16860      336432   Samuel Ruby                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62444-MCR-GRJ
  16861      336603   Daniel Doyle                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62461-MCR-GRJ
  16862      336606   Dustin Smith                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62466-MCR-GRJ
  16863      336611   Christopher Partridge                   Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62475-MCR-GRJ




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  16864      336621   Austin Knowles                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62479-MCR-GRJ
  16865      336623   Charles Thompson                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62483-MCR-GRJ
  16866      336626   Jonathan Gillie                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62488-MCR-GRJ
  16867      336628   Robert Upshaw                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62492-MCR-GRJ
  16868      336634   Adrian Allbrooks                        Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-62502-MCR-GRJ
  16869      336635   Wesley Vara                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62504-MCR-GRJ
  16870      336646   Tyrone Pendarvis                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62508-MCR-GRJ
  16871      336648   Chris Brookins                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62512-MCR-GRJ
  16872      336650   Gabriel Herrera                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62516-MCR-GRJ
  16873      336651   Kerry Horrer                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62517-MCR-GRJ
  16874      336658   James Sylvester                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62530-MCR-GRJ
  16875      336662   Ashley Timmons                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62537-MCR-GRJ
  16876      336663   Jonathan Sanchez                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62539-MCR-GRJ
  16877      336670   Shane Plummer                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62551-MCR-GRJ
  16878      336672   Timothy Clark                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62555-MCR-GRJ
  16879      336673   Robert Starr                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62556-MCR-GRJ
  16880      336674   Jonathan Patterson                      Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62558-MCR-GRJ
  16881      336676   John Gillespie                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62562-MCR-GRJ
  16882      336677   Billy Due                               Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62564-MCR-GRJ
  16883      336679   Matthew Childress                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62567-MCR-GRJ
  16884      336681   Daniel Reyes                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62571-MCR-GRJ
  16885      341497   Jason Hutton                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62820-MCR-GRJ
  16886      341499   Diego Pinos                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62822-MCR-GRJ
  16887      341506   Shawn Garrison                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62835-MCR-GRJ
  16888      341510   Ryan Yeager                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62843-MCR-GRJ
  16889      341512   Kevin Gray                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62847-MCR-GRJ
  16890      341516   Spencer Schulman                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62855-MCR-GRJ
  16891      341519   Alethia Moore                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62861-MCR-GRJ
  16892      341524   Christopher Brunner                     Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62870-MCR-GRJ
  16893      341528   Matthew Dent                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62876-MCR-GRJ
  16894      341534   Ray Vargas                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62884-MCR-GRJ
  16895      341541   Aaron Kerr                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62896-MCR-GRJ
  16896      341543   Ralph Sharp                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62900-MCR-GRJ
  16897      341551   Jonathan Canales                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62915-MCR-GRJ
  16898      341554   Marian Ryan                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62920-MCR-GRJ
  16899      341555   Rose Mcdonald                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62922-MCR-GRJ
  16900      341566   Juan Tamayo                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62939-MCR-GRJ
  16901      341571   Michael Crowson                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62944-MCR-GRJ
  16902      341573   Jonathan Rivera                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62946-MCR-GRJ
  16903      341583   Julius Reed                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62955-MCR-GRJ
  16904      341584   Gregory O'Russell                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62956-MCR-GRJ
  16905      341588   Gilberto Perez                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62960-MCR-GRJ
  16906      341589   Walberto Lucio                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62961-MCR-GRJ
  16907      341590   Edgar Rodriguez                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62962-MCR-GRJ
  16908      341593   Jacob Noble                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62965-MCR-GRJ
  16909      341601   Calvin Lindsey                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62973-MCR-GRJ
  16910      341604   Joseph Jenkins                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62976-MCR-GRJ
  16911      341608   Logen Wright                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62980-MCR-GRJ
  16912      341618   Eddie Feliciano                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-62990-MCR-GRJ
  16913      344312   Robert Macey                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63281-MCR-GRJ
  16914      344316   Shanice Gregory                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63289-MCR-GRJ
  16915      344318   Trawick Thompson                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63293-MCR-GRJ
  16916      344320   Chance Smith                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63297-MCR-GRJ
  16917      344331   Carmen Garrett                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63318-MCR-GRJ
  16918      344335   Leetonia Sykes                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63326-MCR-GRJ
  16919      344338   Richard Misner                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63332-MCR-GRJ
  16920      344340   Nicholas House                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63336-MCR-GRJ
  16921      344345   Paul Johnston                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63346-MCR-GRJ
  16922      344399   Everett Churchey                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63434-MCR-GRJ
  16923      344401   Deron Branch                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63439-MCR-GRJ
  16924      344407   Inas Quaintance                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63447-MCR-GRJ
  16925      344411   Ryan Hutcherson                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63455-MCR-GRJ
  16926      344418   Joshua Lee                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63465-MCR-GRJ
  16927      344419   Cynequa Howard                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63467-MCR-GRJ
  16928      344438   Justin Golden                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63474-MCR-GRJ
  16929      344443   Marcus Cummings                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63477-MCR-GRJ
  16930      344953   Chaz Sword                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63627-MCR-GRJ
  16931      344954   Daniel Perez                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63629-MCR-GRJ
  16932      344955   Rachel Rowland                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63631-MCR-GRJ
  16933      344956   Derek Angeles                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63633-MCR-GRJ
  16934      344958   Nicholas Dover                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63637-MCR-GRJ
  16935      344960   Lisa Messner                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63641-MCR-GRJ
  16936      344961   Wesley Williams                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63643-MCR-GRJ




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  16937      344963   Alexander Rorie                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63647-MCR-GRJ
  16938      344982   Jared Tomes                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63657-MCR-GRJ
  16939      344983   Timothy Hill                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63660-MCR-GRJ
  16940      344984   Luis Reyes Torres                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63662-MCR-GRJ
  16941      344988   Juan Hernandez                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63670-MCR-GRJ
  16942      344989   Daniel Piquette                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63672-MCR-GRJ
  16943      344990   Michael Senker                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63674-MCR-GRJ
  16944      344995   William Washington                      Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63684-MCR-GRJ
  16945      345005   Roy Buttron                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63692-MCR-GRJ
  16946      345008   Brian Godbey                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63695-MCR-GRJ
  16947      345012   Joseph Rodziewicz                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63703-MCR-GRJ
  16948      345015   Calvin Johnson                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63709-MCR-GRJ
  16949      345018   David Baxley                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63715-MCR-GRJ
  16950      345029   Adam Kohler                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63736-MCR-GRJ
  16951      345034   Nathaniel Mast                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63741-MCR-GRJ
  16952      345829   Joshua Snyder                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64404-MCR-GRJ
  16953      345836   Mitchel Crow                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64409-MCR-GRJ
  16954      345840   Matthew Hernandez                       Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64413-MCR-GRJ
  16955      345849   David Webster                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64422-MCR-GRJ
  16956      345851   Chris Pannell                           Shunnarah Vail Trial Attorneys, P.C.                                 7:21-cv-64424-MCR-GRJ
  16957      346186   Hussan Almugotir                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64635-MCR-GRJ
  16958      346187   Ian Cunninghame                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64636-MCR-GRJ
  16959      346190   Michael Curt                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64639-MCR-GRJ
  16960      346198   Jeremy Preston                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64645-MCR-GRJ
  16961      346199   Andrew Anello                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64646-MCR-GRJ
  16962      346203   Mathew Cole                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64650-MCR-GRJ
  16963      346204   Jason Wynn                              Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64651-MCR-GRJ
  16964      346205   Jason Bishop                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64652-MCR-GRJ
  16965      346220   Antoniette Page                         Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64664-MCR-GRJ
  16966      346221   Carl Laws                               Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64665-MCR-GRJ
  16967      346224   Luisa Vasquez                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64668-MCR-GRJ
  16968      346227   Timothy Jones                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64671-MCR-GRJ
  16969      346231   Seth Whitehead                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-64675-MCR-GRJ
  16970      346232   Crystal Watson                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63329-MCR-GRJ
  16971      346234   John Stinson                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63333-MCR-GRJ
  16972      346252   Tyrone Floyd                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63368-MCR-GRJ
  16973      346262   Russell Poe                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63388-MCR-GRJ
  16974      346268   Elvia Cortinas                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63400-MCR-GRJ
  16975      346270   Charles Mclellan                        Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63404-MCR-GRJ
  16976      346271   Daniel Sungala                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63405-MCR-GRJ
  16977      348851   James Poland                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63423-MCR-GRJ
  16978      348853   Martin Angulo                           Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63427-MCR-GRJ
  16979      348869   Kevin Robinson                          Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63458-MCR-GRJ
  16980      348874   David Aldana                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63468-MCR-GRJ
  16981      348875   Dustin Brown                            Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63470-MCR-GRJ
  16982      348876   William Ivy                             Shunnarah Vail Trial Attorneys, P.C.      7:21-cv-63472-MCR-GRJ
  16983      16050    Matthew Packett                         Simmons Hanly Conroy                      7:20-cv-66399-MCR-GRJ
  16984      16073    Larry Randolph                          Simmons Hanly Conroy                      7:20-cv-66510-MCR-GRJ
  16985      16081    Lance Draime                            Simmons Hanly Conroy                                                 7:20-cv-66546-MCR-GRJ
  16986      16103    Brandon Benjamin                        Simmons Hanly Conroy                                                 7:20-cv-66625-MCR-GRJ
  16987      16120    Timothy Smith                           Simmons Hanly Conroy                                                 7:20-cv-48999-MCR-GRJ
  16988      16133    Eric Salinas                            Simmons Hanly Conroy                      7:20-cv-49043-MCR-GRJ
  16989      16176    Corey Goettsch                          Simmons Hanly Conroy                                                 7:20-cv-49137-MCR-GRJ
  16990      16183    Richard Wells                           Simmons Hanly Conroy                                                 7:20-cv-49160-MCR-GRJ
  16991      16199    Brandon Korell                          Simmons Hanly Conroy                      7:20-cv-49216-MCR-GRJ
  16992      16232    Scott Martin                            Simmons Hanly Conroy                                                 7:20-cv-49327-MCR-GRJ
  16993      16242    Jacob Norris                            Simmons Hanly Conroy                      7:20-cv-49370-MCR-GRJ
  16994      16251    James Fornes                            Simmons Hanly Conroy                                                 7:20-cv-49405-MCR-GRJ
  16995      16345    Kyle Doughtie                           Simmons Hanly Conroy                                                 7:20-cv-49778-MCR-GRJ
  16996      16350    Augustine Lopez                         Simmons Hanly Conroy                      7:20-cv-49801-MCR-GRJ
  16997      18472    Anthony Storlazzi                       Simmons Hanly Conroy                      7:20-cv-49846-MCR-GRJ
  16998      18477    Zachary Casper                          Simmons Hanly Conroy                      7:20-cv-49864-MCR-GRJ
  16999      18502    Joseph Mello                            Simmons Hanly Conroy                                                 7:20-cv-50001-MCR-GRJ
  17000      18554    Keith Domini                            Simmons Hanly Conroy                      7:20-cv-50291-MCR-GRJ
  17001      18589    Aundrey Owens                           Simmons Hanly Conroy                                                 7:20-cv-51680-MCR-GRJ
  17002      18596    Richard Mcshane                         Simmons Hanly Conroy                      7:20-cv-51717-MCR-GRJ
  17003      18613    Alaric Clay                             Simmons Hanly Conroy                                                 7:20-cv-51781-MCR-GRJ
  17004      18642    Jonathan Starkey                        Simmons Hanly Conroy                      7:20-cv-51906-MCR-GRJ
  17005      18650    Shermon Williams                        Simmons Hanly Conroy                      7:20-cv-51952-MCR-GRJ
  17006      18681    Luke Young                              Simmons Hanly Conroy                                                 7:20-cv-52123-MCR-GRJ
  17007      160139   Thomas Kelly                            Simmons Hanly Conroy                                                 7:20-cv-67501-MCR-GRJ
  17008      165511   Anthony Gipson                          Simmons Hanly Conroy                      7:20-cv-69171-MCR-GRJ
  17009      165519   Dustin Hutchins                         Simmons Hanly Conroy                      7:20-cv-69187-MCR-GRJ




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  17010      165541   Janiece Mccall                          Simmons Hanly Conroy                                          7:20-cv-69246-MCR-GRJ
  17011      165561   Kian O'Donohue                          Simmons Hanly Conroy                                          7:20-cv-69300-MCR-GRJ
  17012      165569   Terrell Rhodes                          Simmons Hanly Conroy               7:20-cv-62650-MCR-GRJ
  17013      180110   Brian Estler                            Simmons Hanly Conroy               7:20-cv-66613-MCR-GRJ
  17014      178132   David Akin                              Singleton Schreiber, LLP                                      3:20-cv-04605-MCR-GRJ
  17015      178136   Scott Alexander                         Singleton Schreiber, LLP                                      3:20-cv-04616-MCR-GRJ
  17016      178140   Frederick Allen                         Singleton Schreiber, LLP                                      3:20-cv-04624-MCR-GRJ
  17017      178142   Michael Allen                           Singleton Schreiber, LLP                                      3:20-cv-04629-MCR-GRJ
  17018      178146   Gary Alpert                             Singleton Schreiber, LLP                                      3:20-cv-04635-MCR-GRJ
  17019      178148   David Ammerman                          Singleton Schreiber, LLP                                      3:20-cv-04640-MCR-GRJ
  17020      178158   Andy Andrews                            Singleton Schreiber, LLP                                      3:20-cv-04651-MCR-GRJ
  17021      178160   Luis Aponte                             Singleton Schreiber, LLP                                      3:20-cv-04653-MCR-GRJ
  17022      178161   Sam Aquila                              Singleton Schreiber, LLP                                      3:20-cv-04654-MCR-GRJ
  17023      178163   James Ard                               Singleton Schreiber, LLP                                      3:20-cv-04656-MCR-GRJ
  17024      178168   William Arnder                          Singleton Schreiber, LLP                                      3:20-cv-04661-MCR-GRJ
  17025      178170   Jordan Arnold                           Singleton Schreiber, LLP                                      3:20-cv-04663-MCR-GRJ
  17026      178171   Thomas Arnone                           Singleton Schreiber, LLP                                      3:20-cv-04664-MCR-GRJ
  17027      178172   Kevin Artman                            Singleton Schreiber, LLP                                      3:20-cv-04665-MCR-GRJ
  17028      178177   Brendon Austin                          Singleton Schreiber, LLP                                      3:20-cv-04672-MCR-GRJ
  17029      178178   Howard Avery                            Singleton Schreiber, LLP                                      3:20-cv-04673-MCR-GRJ
  17030      178179   Christian Avila-Gomez                   Singleton Schreiber, LLP                                      3:20-cv-04674-MCR-GRJ
  17031      178186   Brent Bailey                            Singleton Schreiber, LLP                                      3:20-cv-04687-MCR-GRJ
  17032      178187   Bryon Bailey                            Singleton Schreiber, LLP                                      3:20-cv-04688-MCR-GRJ
  17033      178189   Thomas Bailey                           Singleton Schreiber, LLP                                      3:20-cv-04700-MCR-GRJ
  17034      178194   David Ball                              Singleton Schreiber, LLP                                      3:20-cv-04704-MCR-GRJ
  17035      178198   Michael Barahona                        Singleton Schreiber, LLP                                      3:20-cv-04708-MCR-GRJ
  17036      178203   Jared Barker                            Singleton Schreiber, LLP                                      3:20-cv-04719-MCR-GRJ
  17037      178204   Justin Barker                           Singleton Schreiber, LLP                                      3:20-cv-04721-MCR-GRJ
  17038      178208   Cion Barnett                            Singleton Schreiber, LLP                                      3:20-cv-04733-MCR-GRJ
  17039      178209   Logan Barnett                           Singleton Schreiber, LLP                                      3:20-cv-04735-MCR-GRJ
  17040      178216   Eric Bassett                            Singleton Schreiber, LLP                                      3:20-cv-04749-MCR-GRJ
  17041      178218   Gregory Bates                           Singleton Schreiber, LLP                                      3:19-cv-03217-MCR-GRJ
  17042      178219   Kevin Baugh                             Singleton Schreiber, LLP                                      3:20-cv-03682-MCR-GRJ
  17043      178224   Randall Beard                           Singleton Schreiber, LLP                                      3:20-cv-03688-MCR-GRJ
  17044      178228   Paul Beebe                              Singleton Schreiber, LLP                                      3:20-cv-03693-MCR-GRJ
  17045      178235   Josh Benson                             Singleton Schreiber, LLP                                      3:20-cv-03710-MCR-GRJ
  17046      178245   Byron Bissessar                         Singleton Schreiber, LLP                                      3:20-cv-03749-MCR-GRJ
  17047      178247   Austin Blackmon                         Singleton Schreiber, LLP                                      3:20-cv-03763-MCR-GRJ
  17048      178248   Rodney Blade                            Singleton Schreiber, LLP                                      3:20-cv-03764-MCR-GRJ
  17049      178249   David Blanton                           Singleton Schreiber, LLP                                      3:20-cv-03765-MCR-GRJ
  17050      178252   Michael Boatright                       Singleton Schreiber, LLP                                      3:20-cv-03781-MCR-GRJ
  17051      178253   Kerston Boatwright                      Singleton Schreiber, LLP                                      3:20-cv-03783-MCR-GRJ
  17052      178261   Vanessa Boone                           Singleton Schreiber, LLP                                      3:20-cv-03807-MCR-GRJ
  17053      178262   Kenneth Borom                           Singleton Schreiber, LLP                                      3:20-cv-03814-MCR-GRJ
  17054      178263   Kenneth Bortz                           Singleton Schreiber, LLP                                      3:20-cv-03875-MCR-GRJ
  17055      178264   Timothy Boswell                         Singleton Schreiber, LLP                                      3:20-cv-03879-MCR-GRJ
  17056      178271   Nicholas Boyd                           Singleton Schreiber, LLP                                      3:20-cv-03929-MCR-GRJ
  17057      178272   Korey Brackett                          Singleton Schreiber, LLP                                      3:20-cv-03934-MCR-GRJ
  17058      178273   Stephen Bradley                         Singleton Schreiber, LLP                                      3:20-cv-03936-MCR-GRJ
  17059      178276   Philip Bramlett                         Singleton Schreiber, LLP                                      3:20-cv-03951-MCR-GRJ
  17060      178280   Kevin Braziel                           Singleton Schreiber, LLP                                      3:20-cv-03975-MCR-GRJ
  17061      178286   Andrew Brogdon                          Singleton Schreiber, LLP                                      3:20-cv-04001-MCR-GRJ
  17062      178288   Carl Brooks                             Singleton Schreiber, LLP                                      3:20-cv-04005-MCR-GRJ
  17063      178293   Chris Brown                             Singleton Schreiber, LLP                                      3:20-cv-04031-MCR-GRJ
  17064      178294   Antonio Brown                           Singleton Schreiber, LLP                                      3:20-cv-04028-MCR-GRJ
  17065      178298   Darcel Brown                            Singleton Schreiber, LLP                                      3:20-cv-04039-MCR-GRJ
  17066      178299   Darrell Brown                           Singleton Schreiber, LLP                                      3:20-cv-04041-MCR-GRJ
  17067      178300   Devin Brown                             Singleton Schreiber, LLP                                      3:20-cv-04043-MCR-GRJ
  17068      178301   Gordon Brown                            Singleton Schreiber, LLP                                      3:20-cv-04044-MCR-GRJ
  17069      178302   Kevin Brown                             Singleton Schreiber, LLP                                      3:20-cv-04045-MCR-GRJ
  17070      178303   Michael Brown                           Singleton Schreiber, LLP                                      3:20-cv-04046-MCR-GRJ
  17071      178304   Michael Brown                           Singleton Schreiber, LLP                                      3:20-cv-04049-MCR-GRJ
  17072      178306   Rodney Brown                            Singleton Schreiber, LLP                                      3:20-cv-04062-MCR-GRJ
  17073      178307   Therman Brown                           Singleton Schreiber, LLP                                      3:20-cv-04063-MCR-GRJ
  17074      178310   Aaron Broxterman                        Singleton Schreiber, LLP                                      3:20-cv-04067-MCR-GRJ
  17075      178311   Thomas Broyles                          Singleton Schreiber, LLP                                      3:20-cv-04068-MCR-GRJ
  17076      178322   Christopher Burdette                    Singleton Schreiber, LLP                                      3:20-cv-04106-MCR-GRJ
  17077      178323   Jacqueline Burdsall                     Singleton Schreiber, LLP                                      3:20-cv-04107-MCR-GRJ
  17078      178324   Adrian Burgess                          Singleton Schreiber, LLP                                      3:20-cv-04109-MCR-GRJ
  17079      178325   Aimee Burke                             Singleton Schreiber, LLP                                      3:20-cv-04111-MCR-GRJ
  17080      178331   Jesse Burrell                           Singleton Schreiber, LLP                                      3:20-cv-04120-MCR-GRJ
  17081      178332   Brian Burtsfield                        Singleton Schreiber, LLP                                      3:20-cv-04122-MCR-GRJ
  17082      178335   Jonathan Cabral                         Singleton Schreiber, LLP                                      3:20-cv-04127-MCR-GRJ




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  17083      178342   John Campbell                           Singleton Schreiber, LLP                                      3:20-cv-04134-MCR-GRJ
  17084      178346   Jason Carnes                            Singleton Schreiber, LLP                                      3:20-cv-04145-MCR-GRJ
  17085      178348   Patrick Carroll                         Singleton Schreiber, LLP                                      3:20-cv-04150-MCR-GRJ
  17086      178359   William Chamberlain                     Singleton Schreiber, LLP                                      3:20-cv-04193-MCR-GRJ
  17087      178363   Demaris Chavis                          Singleton Schreiber, LLP                                      3:20-cv-04197-MCR-GRJ
  17088      178365   Daniel Childers                         Singleton Schreiber, LLP                                      3:20-cv-04215-MCR-GRJ
  17089      178366   David Childress                         Singleton Schreiber, LLP                                      3:20-cv-04218-MCR-GRJ
  17090      178369   Shane Chriss                            Singleton Schreiber, LLP                                      3:20-cv-04227-MCR-GRJ
  17091      178370   Josh Christmon                          Singleton Schreiber, LLP                                      3:20-cv-04229-MCR-GRJ
  17092      178372   Michael Chyterbok                       Singleton Schreiber, LLP                                      3:20-cv-04251-MCR-GRJ
  17093      178374   Larry Clark                             Singleton Schreiber, LLP                                      3:20-cv-04253-MCR-GRJ
  17094      178377   Brian Cliburn                           Singleton Schreiber, LLP                                      3:20-cv-04258-MCR-GRJ
  17095      178378   Garrison Cobb                           Singleton Schreiber, LLP                                      3:20-cv-04259-MCR-GRJ
  17096      178382   Robert Cohen                            Singleton Schreiber, LLP                                      3:20-cv-04265-MCR-GRJ
  17097      178386   Keith Collins                           Singleton Schreiber, LLP                                      3:20-cv-04275-MCR-GRJ
  17098      178387   Genaro Colon-Velez                      Singleton Schreiber, LLP                                      3:20-cv-04278-MCR-GRJ
  17099      178388   Michael Conant                          Singleton Schreiber, LLP                                      3:20-cv-04285-MCR-GRJ
  17100      178392   Zedrick Conner                          Singleton Schreiber, LLP                                      3:20-cv-04296-MCR-GRJ
  17101      178394   Kristopher Cook                         Singleton Schreiber, LLP                                      3:20-cv-04307-MCR-GRJ
  17102      178395   Joseph Cook                             Singleton Schreiber, LLP                                      3:20-cv-04305-MCR-GRJ
  17103      178396   Phillip Cook                            Singleton Schreiber, LLP                                      3:20-cv-04308-MCR-GRJ
  17104      178397   Patrick Cooper                          Singleton Schreiber, LLP                                      3:20-cv-04309-MCR-GRJ
  17105      178402   Craig Corley                            Singleton Schreiber, LLP                                      3:20-cv-04315-MCR-GRJ
  17106      178403   Otis Corley                             Singleton Schreiber, LLP                                      3:20-cv-04316-MCR-GRJ
  17107      178407   Ted Cotton                              Singleton Schreiber, LLP                                      3:20-cv-04322-MCR-GRJ
  17108      178408   Robert Couser                           Singleton Schreiber, LLP                                      3:20-cv-04323-MCR-GRJ
  17109      178409   Jacob Cowen                             Singleton Schreiber, LLP                                      3:19-cv-03196-MCR-GRJ
  17110      178413   Jared Craiglow                          Singleton Schreiber, LLP                                      3:20-cv-04348-MCR-GRJ
  17111      178414   Michael Cranford                        Singleton Schreiber, LLP                                      3:20-cv-04350-MCR-GRJ
  17112      178415   Joshua Crawley                          Singleton Schreiber, LLP                                      3:20-cv-04351-MCR-GRJ
  17113      178416   Lamont Credle                           Singleton Schreiber, LLP                                      3:20-cv-04354-MCR-GRJ
  17114      178417   Lionel Creppel                          Singleton Schreiber, LLP                                      3:20-cv-04355-MCR-GRJ
  17115      178421   Robert Crossley                         Singleton Schreiber, LLP                                      3:20-cv-04364-MCR-GRJ
  17116      178426   Antoine Curry                           Singleton Schreiber, LLP                                      3:20-cv-04403-MCR-GRJ
  17117      178427   Thomas Curtin                           Singleton Schreiber, LLP                                      3:20-cv-04405-MCR-GRJ
  17118      178430   William Cutlip                          Singleton Schreiber, LLP                                      3:20-cv-04414-MCR-GRJ
  17119      178436   Bryon Dantzler                          Singleton Schreiber, LLP                                      3:20-cv-04424-MCR-GRJ
  17120      178439   Jonathan Darling                        Singleton Schreiber, LLP                                      3:20-cv-04427-MCR-GRJ
  17121      178441   Jimmy Davis                             Singleton Schreiber, LLP                                      3:20-cv-04437-MCR-GRJ
  17122      178450   James Daye                              Singleton Schreiber, LLP                                      3:20-cv-04446-MCR-GRJ
  17123      178451   Timothy Decock                          Singleton Schreiber, LLP                                      3:20-cv-04449-MCR-GRJ
  17124      178454   Keith Delatorre                         Singleton Schreiber, LLP                                      3:20-cv-04460-MCR-GRJ
  17125      178455   Rich Delmonico                          Singleton Schreiber, LLP                                      3:20-cv-04462-MCR-GRJ
  17126      178460   Justin Denton                           Singleton Schreiber, LLP                                      3:20-cv-04471-MCR-GRJ
  17127      178461   Robert Denton                           Singleton Schreiber, LLP                                      3:20-cv-04473-MCR-GRJ
  17128      178464   Sean Dial                               Singleton Schreiber, LLP                                      3:20-cv-04497-MCR-GRJ
  17129      178466   Joshua Dinehart                         Singleton Schreiber, LLP                                      3:20-cv-04501-MCR-GRJ
  17130      178469   Scottie Dishner                         Singleton Schreiber, LLP                                      3:20-cv-04504-MCR-GRJ
  17131      178471   James Dixon                             Singleton Schreiber, LLP                                      3:20-cv-04505-MCR-GRJ
  17132      178473   Vada Dobbins                            Singleton Schreiber, LLP                                      3:20-cv-04509-MCR-GRJ
  17133      178477   Brandon Doom                            Singleton Schreiber, LLP                                      3:20-cv-04515-MCR-GRJ
  17134      178481   Warren Doud                             Singleton Schreiber, LLP                                      3:20-cv-04523-MCR-GRJ
  17135      178482   Kelvin Douglas                          Singleton Schreiber, LLP                                      3:20-cv-04525-MCR-GRJ
  17136      178484   Steven Douglas                          Singleton Schreiber, LLP                                      3:20-cv-04529-MCR-GRJ
  17137      178486   Todd Drake                              Singleton Schreiber, LLP                                      3:20-cv-04534-MCR-GRJ
  17138      178487   Howard Draper                           Singleton Schreiber, LLP                                      3:20-cv-04536-MCR-GRJ
  17139      178488   Michael Dries                           Singleton Schreiber, LLP                                      3:20-cv-04539-MCR-GRJ
  17140      178490   Dusty Drummond                          Singleton Schreiber, LLP                                      3:20-cv-04548-MCR-GRJ
  17141      178494   Jack Duncan                             Singleton Schreiber, LLP                                      3:20-cv-04558-MCR-GRJ
  17142      178499   Thomas Eaves                            Singleton Schreiber, LLP                                      3:20-cv-04572-MCR-GRJ
  17143      178500   Fred Echols                             Singleton Schreiber, LLP                                      3:20-cv-04575-MCR-GRJ
  17144      178507   Wade Efird                              Singleton Schreiber, LLP                                      3:20-cv-03694-MCR-GRJ
  17145      178510   James Elie                              Singleton Schreiber, LLP                                      3:20-cv-03704-MCR-GRJ
  17146      178512   John Ellison                            Singleton Schreiber, LLP                                      3:20-cv-03706-MCR-GRJ
  17147      178513   Jeffery Engram                          Singleton Schreiber, LLP                                      3:20-cv-03718-MCR-GRJ
  17148      178514   Mario Enriquez                          Singleton Schreiber, LLP                                      3:20-cv-03721-MCR-GRJ
  17149      178515   Ryan Ericksen                           Singleton Schreiber, LLP                                      3:20-cv-03724-MCR-GRJ
  17150      178517   Eric Escobar                            Singleton Schreiber, LLP                                      3:20-cv-03729-MCR-GRJ
  17151      178520   John Estes                              Singleton Schreiber, LLP                                      3:20-cv-03737-MCR-GRJ
  17152      178521   Greg Evans                              Singleton Schreiber, LLP                                      3:20-cv-03738-MCR-GRJ
  17153      178522   Marcus Evans                            Singleton Schreiber, LLP                                      3:20-cv-03742-MCR-GRJ
  17154      178523   Matthew Evans                           Singleton Schreiber, LLP                                      3:20-cv-03743-MCR-GRJ
  17155      178529   Luevernal Fane                          Singleton Schreiber, LLP                                      3:20-cv-03759-MCR-GRJ




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  17156      178532   Blain Feaster                           Singleton Schreiber, LLP                                      3:20-cv-03768-MCR-GRJ
  17157      178534   Timothy Ferraro                         Singleton Schreiber, LLP                                      3:20-cv-03772-MCR-GRJ
  17158      178538   Chris Fifield                           Singleton Schreiber, LLP                                      3:20-cv-03780-MCR-GRJ
  17159      178542   Andy Flaherty                           Singleton Schreiber, LLP                                      3:20-cv-03789-MCR-GRJ
  17160      178551   Stefan Floyd                            Singleton Schreiber, LLP                                      3:20-cv-03824-MCR-GRJ
  17161      178553   Marcus Ford                             Singleton Schreiber, LLP                                      3:20-cv-03828-MCR-GRJ
  17162      178557   Nicholas Foster                         Singleton Schreiber, LLP                                      3:20-cv-03868-MCR-GRJ
  17163      178563   Jacob Franklin                          Singleton Schreiber, LLP                                      3:20-cv-03874-MCR-GRJ
  17164      178567   James Freeman                           Singleton Schreiber, LLP                                      3:20-cv-03882-MCR-GRJ
  17165      178568   Johnathan Freeman                       Singleton Schreiber, LLP                                      3:20-cv-03884-MCR-GRJ
  17166      178570   Samuel Fried                            Singleton Schreiber, LLP                                      3:20-cv-03889-MCR-GRJ
  17167      178572   Adam Fuentes                            Singleton Schreiber, LLP                                      3:20-cv-03895-MCR-GRJ
  17168      178575   Gregory Funderburk                      Singleton Schreiber, LLP                                      3:20-cv-03901-MCR-GRJ
  17169      178582   George Garcia                           Singleton Schreiber, LLP                                      3:20-cv-03915-MCR-GRJ
  17170      178584   Joshua Gardner                          Singleton Schreiber, LLP                                      3:20-cv-03939-MCR-GRJ
  17171      178587   Jorge Garza                             Singleton Schreiber, LLP                                      3:20-cv-03948-MCR-GRJ
  17172      178588   Jose Garza                              Singleton Schreiber, LLP                                      3:20-cv-03950-MCR-GRJ
  17173      178590   Andrew Gavid                            Singleton Schreiber, LLP                                      3:20-cv-03954-MCR-GRJ
  17174      178597   Heath Giblin                            Singleton Schreiber, LLP                                      3:20-cv-03981-MCR-GRJ
  17175      178601   Will Gieck                              Singleton Schreiber, LLP                                      3:20-cv-03995-MCR-GRJ
  17176      178603   Robert Gilbert                          Singleton Schreiber, LLP                                      3:20-cv-04000-MCR-GRJ
  17177      178604   Heath Gilbin                            Singleton Schreiber, LLP                                      3:20-cv-04003-MCR-GRJ
  17178      178605   Michael Giles                           Singleton Schreiber, LLP                                      3:20-cv-04004-MCR-GRJ
  17179      178610   Shane Gilmore                           Singleton Schreiber, LLP                                      3:20-cv-04012-MCR-GRJ
  17180      178612   William Gish                            Singleton Schreiber, LLP                                      3:20-cv-04017-MCR-GRJ
  17181      178613   Robert Glass                            Singleton Schreiber, LLP                                      3:20-cv-04020-MCR-GRJ
  17182      178614   Kevin Goddard                           Singleton Schreiber, LLP                                      3:20-cv-04021-MCR-GRJ
  17183      178616   Tiawuan Goins                           Singleton Schreiber, LLP                                      3:20-cv-04025-MCR-GRJ
  17184      178619   Carlos Gonzalez                         Singleton Schreiber, LLP                                      3:20-cv-04029-MCR-GRJ
  17185      178625   Kenni Graham                            Singleton Schreiber, LLP                                      3:20-cv-04047-MCR-GRJ
  17186      178626   Darren Grant                            Singleton Schreiber, LLP                                      3:20-cv-04050-MCR-GRJ
  17187      178633   Chauncie Greer                          Singleton Schreiber, LLP                                      3:20-cv-04075-MCR-GRJ
  17188      178634   Devan Greer                             Singleton Schreiber, LLP                                      3:20-cv-04076-MCR-GRJ
  17189      178635   Travis Gregory                          Singleton Schreiber, LLP                                      3:20-cv-04080-MCR-GRJ
  17190      178642   Bradly Grout                            Singleton Schreiber, LLP                                      3:20-cv-04119-MCR-GRJ
  17191      178647   Christopher Grubbs                      Singleton Schreiber, LLP                                      3:20-cv-04133-MCR-GRJ
  17192      178659   Everett Hamley                          Singleton Schreiber, LLP                                      3:20-cv-04180-MCR-GRJ
  17193      178661   Christopher Hankins                     Singleton Schreiber, LLP                                      3:20-cv-04183-MCR-GRJ
  17194      178663   Chad Hansen                             Singleton Schreiber, LLP                                      3:20-cv-04185-MCR-GRJ
  17195      178664   Erik Hansen                             Singleton Schreiber, LLP                                      3:20-cv-04186-MCR-GRJ
  17196      178671   Christopher Harris                      Singleton Schreiber, LLP                                      3:20-cv-04225-MCR-GRJ
  17197      178672   Devonte Harris                          Singleton Schreiber, LLP                                      3:20-cv-04228-MCR-GRJ
  17198      178675   Robert Harris                           Singleton Schreiber, LLP                                      3:20-cv-04217-MCR-GRJ
  17199      178676   James Harris                            Singleton Schreiber, LLP                                      3:20-cv-04219-MCR-GRJ
  17200      178677   Craig Harrison                          Singleton Schreiber, LLP                                      3:20-cv-04237-MCR-GRJ
  17201      178680   Wilton Harrison                         Singleton Schreiber, LLP                                      3:20-cv-04235-MCR-GRJ
  17202      178681   Sequoia Harry                           Singleton Schreiber, LLP                                      3:20-cv-04243-MCR-GRJ
  17203      178686   Evan Hartson                            Singleton Schreiber, LLP                                      3:20-cv-04257-MCR-GRJ
  17204      178690   Marlon Hawkins                          Singleton Schreiber, LLP                                      3:20-cv-04268-MCR-GRJ
  17205      178693   David Haynes                            Singleton Schreiber, LLP                                      3:20-cv-04276-MCR-GRJ
  17206      178697   Clayton Heesacker                       Singleton Schreiber, LLP                                      3:20-cv-04284-MCR-GRJ
  17207      178699   Christopher Heinze                      Singleton Schreiber, LLP                                      3:20-cv-04289-MCR-GRJ
  17208      178702   Justin Hemphill                         Singleton Schreiber, LLP                                      3:20-cv-04304-MCR-GRJ
  17209      178704   Cory Henderson                          Singleton Schreiber, LLP                                      3:20-cv-04317-MCR-GRJ
  17210      178705   Michael Henning                         Singleton Schreiber, LLP                                      3:20-cv-04318-MCR-GRJ
  17211      178706   Brennen Henry                           Singleton Schreiber, LLP                                      3:20-cv-04373-MCR-GRJ
  17212      178711   Ruben Hernandez                         Singleton Schreiber, LLP                                      3:20-cv-04384-MCR-GRJ
  17213      178717   Dana Heslop                             Singleton Schreiber, LLP                                      3:20-cv-04399-MCR-GRJ
  17214      178725   Zeboriah Hill                           Singleton Schreiber, LLP                                      3:20-cv-04448-MCR-GRJ
  17215      178730   Michael Hocutt                          Singleton Schreiber, LLP                                      3:20-cv-04469-MCR-GRJ
  17216      178732   Kevin Hofmann                           Singleton Schreiber, LLP                                      3:20-cv-04482-MCR-GRJ
  17217      178733   Charles Hoge                            Singleton Schreiber, LLP                                      3:20-cv-04486-MCR-GRJ
  17218      178734   Charles Hogston                         Singleton Schreiber, LLP                                      3:20-cv-04489-MCR-GRJ
  17219      178735   Rob Holbrook                            Singleton Schreiber, LLP                                      3:20-cv-04499-MCR-GRJ
  17220      178738   Kyle Hookey                             Singleton Schreiber, LLP                                      3:20-cv-04514-MCR-GRJ
  17221      178740   Dylan Howard                            Singleton Schreiber, LLP                                      3:20-cv-04522-MCR-GRJ
  17222      178746   Brody Hughes                            Singleton Schreiber, LLP                                      3:20-cv-04535-MCR-GRJ
  17223      178747   Dylan Hunt                              Singleton Schreiber, LLP                                      3:20-cv-04538-MCR-GRJ
  17224      178753   Phillip Ingram                          Singleton Schreiber, LLP                                      3:20-cv-04554-MCR-GRJ
  17225      178756   Akeem Jackson                           Singleton Schreiber, LLP                                      3:20-cv-04560-MCR-GRJ
  17226      178758   Chase Jackson                           Singleton Schreiber, LLP                                      3:20-cv-04563-MCR-GRJ
  17227      178759   Collin Jackson                          Singleton Schreiber, LLP                                      3:20-cv-04566-MCR-GRJ
  17228      178760   Curt Jackson                            Singleton Schreiber, LLP                                      3:20-cv-04567-MCR-GRJ




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  17229      178762   Matthew Jackson                         Singleton Schreiber, LLP                                      3:20-cv-04571-MCR-GRJ
  17230      178768   Christopher Jamieson                    Singleton Schreiber, LLP                                      3:20-cv-04583-MCR-GRJ
  17231      178770   Wesley Jansen                           Singleton Schreiber, LLP                                      3:20-cv-04586-MCR-GRJ
  17232      178776   Dennis Jensen                           Singleton Schreiber, LLP                                      3:20-cv-04595-MCR-GRJ
  17233      178778   Brian Jester                            Singleton Schreiber, LLP                                      3:20-cv-04597-MCR-GRJ
  17234      178780   Jesse Johnsen                           Singleton Schreiber, LLP                                      3:20-cv-04599-MCR-GRJ
  17235      178784   Jeffrey Johnson                         Singleton Schreiber, LLP                                      3:20-cv-04615-MCR-GRJ
  17236      178788   Lee Johnson                             Singleton Schreiber, LLP                                      3:20-cv-04627-MCR-GRJ
  17237      178799   Sam Jones                               Singleton Schreiber, LLP                                      3:20-cv-04758-MCR-GRJ
  17238      178801   Jamie Jones                             Singleton Schreiber, LLP                                      3:20-cv-04757-MCR-GRJ
  17239      178804   Wallace Jones                           Singleton Schreiber, LLP                                      3:20-cv-04762-MCR-GRJ
  17240      178805   William Jones                           Singleton Schreiber, LLP                                      3:20-cv-04764-MCR-GRJ
  17241      178807   William Joseph                          Singleton Schreiber, LLP                                      3:20-cv-04765-MCR-GRJ
  17242      178808   Micah Joslyn                            Singleton Schreiber, LLP                                      3:20-cv-04766-MCR-GRJ
  17243      178811   Stephen Junker                          Singleton Schreiber, LLP                                      3:20-cv-04771-MCR-GRJ
  17244      178812   Richard Junkin                          Singleton Schreiber, LLP                                      3:20-cv-04783-MCR-GRJ
  17245      178813   Darin Kalaola                           Singleton Schreiber, LLP                                      3:20-cv-04784-MCR-GRJ
  17246      178814   Moustapha Kamara                        Singleton Schreiber, LLP                                      3:20-cv-04785-MCR-GRJ
  17247      178816   Zachary Karna                           Singleton Schreiber, LLP                                      3:20-cv-04798-MCR-GRJ
  17248      178819   Antonio Kavanagh                        Singleton Schreiber, LLP                                      3:20-cv-04803-MCR-GRJ
  17249      178822   Joseph Kemerle                          Singleton Schreiber, LLP                                      3:20-cv-04842-MCR-GRJ
  17250      178823   Bryan Kemp                              Singleton Schreiber, LLP                                      3:20-cv-04852-MCR-GRJ
  17251      178826   Rashan Khan                             Singleton Schreiber, LLP                                      3:20-cv-04857-MCR-GRJ
  17252      178828   James Killian                           Singleton Schreiber, LLP                                      3:20-cv-04897-MCR-GRJ
  17253      178829   John Kilment                            Singleton Schreiber, LLP                                      3:20-cv-05073-MCR-GRJ
  17254      178831   William Kimberly                        Singleton Schreiber, LLP                                      3:20-cv-04973-MCR-GRJ
  17255      178836   Alonzo King                             Singleton Schreiber, LLP                                      3:20-cv-04979-MCR-GRJ
  17256      178839   Michael Kish                            Singleton Schreiber, LLP                                      3:20-cv-05015-MCR-GRJ
  17257      178840   Ryan Kitchens                           Singleton Schreiber, LLP                                      3:20-cv-05020-MCR-GRJ
  17258      178842   Paul Klein                              Singleton Schreiber, LLP                                      3:20-cv-05042-MCR-GRJ
  17259      178844   Robert Kneipp                           Singleton Schreiber, LLP                                      3:20-cv-05044-MCR-GRJ
  17260      178849   John Koch                               Singleton Schreiber, LLP                                      3:20-cv-05049-MCR-GRJ
  17261      178852   Kyle Kowalczyk                          Singleton Schreiber, LLP                                      3:20-cv-05053-MCR-GRJ
  17262      178854   David Kramer                            Singleton Schreiber, LLP                                      3:20-cv-05058-MCR-GRJ
  17263      178855   Peter Kritner                           Singleton Schreiber, LLP                                      3:20-cv-05059-MCR-GRJ
  17264      178857   Mark Krouse                             Singleton Schreiber, LLP                                      3:20-cv-05065-MCR-GRJ
  17265      178860   Renita Lablue                           Singleton Schreiber, LLP                                      3:20-cv-05075-MCR-GRJ
  17266      178865   Brandon Lambert                         Singleton Schreiber, LLP                                      3:20-cv-05094-MCR-GRJ
  17267      178869   James Lampkins                          Singleton Schreiber, LLP                                      3:20-cv-05103-MCR-GRJ
  17268      178871   Callahan Langan                         Singleton Schreiber, LLP                                      3:20-cv-05105-MCR-GRJ
  17269      178872   Christopher Langley                     Singleton Schreiber, LLP                                      3:20-cv-05106-MCR-GRJ
  17270      178873   Thomas Lapointe                         Singleton Schreiber, LLP                                      3:20-cv-05107-MCR-GRJ
  17271      178876   Thomas Lashbrook                        Singleton Schreiber, LLP                                      3:20-cv-05110-MCR-GRJ
  17272      178878   Amonte Latimer                          Singleton Schreiber, LLP                                      3:20-cv-05112-MCR-GRJ
  17273      178881   Wesley Lavine                           Singleton Schreiber, LLP                                      3:20-cv-05115-MCR-GRJ
  17274      178882   Robert Law                              Singleton Schreiber, LLP                                      3:20-cv-05116-MCR-GRJ
  17275      178883   Todd Lawrence                           Singleton Schreiber, LLP                                      3:19-cv-03219-MCR-GRJ
  17276      178884   Jeffrey Lawyer                          Singleton Schreiber, LLP                                      3:20-cv-03692-MCR-GRJ
  17277      178889   Jacques Ledoux                          Singleton Schreiber, LLP                                      3:20-cv-03715-MCR-GRJ
  17278      178893   Justin Lee                              Singleton Schreiber, LLP                                      3:20-cv-03732-MCR-GRJ
  17279      178900   Joseph Lentner                          Singleton Schreiber, LLP                                      3:20-cv-03792-MCR-GRJ
  17280      178901   Steven Leonard                          Singleton Schreiber, LLP                                      3:20-cv-03796-MCR-GRJ
  17281      178904   Joshua Leuck                            Singleton Schreiber, LLP                                      3:20-cv-03815-MCR-GRJ
  17282      178908   Todd Monroe Liberty                     Singleton Schreiber, LLP                                      3:20-cv-05352-MCR-GRJ
  17283      178915   Pedro Lizarda                           Singleton Schreiber, LLP                                      3:20-cv-03836-MCR-GRJ
  17284      178921   Patrick Long                            Singleton Schreiber, LLP                                      3:20-cv-03886-MCR-GRJ
  17285      178925   Michael Lopez                           Singleton Schreiber, LLP                                      3:20-cv-03930-MCR-GRJ
  17286      178926   Ricardo Lopez                           Singleton Schreiber, LLP                                      3:20-cv-03937-MCR-GRJ
  17287      178927   Robert Lopez                            Singleton Schreiber, LLP                                      3:20-cv-03938-MCR-GRJ
  17288      178928   William Lott                            Singleton Schreiber, LLP                                      3:20-cv-03940-MCR-GRJ
  17289      178934   Thomas Lucas                            Singleton Schreiber, LLP                                      3:20-cv-03956-MCR-GRJ
  17290      178936   Todd Luken                              Singleton Schreiber, LLP                                      3:20-cv-03966-MCR-GRJ
  17291      178939   Scott Lundy                             Singleton Schreiber, LLP                                      3:20-cv-03979-MCR-GRJ
  17292      178941   Robert Lupinski                         Singleton Schreiber, LLP                                      3:20-cv-03987-MCR-GRJ
  17293      178942   Benjamin Lusk                           Singleton Schreiber, LLP                                      3:20-cv-03993-MCR-GRJ
  17294      178945   Marcus Macahilas                        Singleton Schreiber, LLP                                      3:20-cv-04015-MCR-GRJ
  17295      178947   Pedro Macias                            Singleton Schreiber, LLP                                      3:20-cv-04019-MCR-GRJ
  17296      178949   Robert Mactamhais                       Singleton Schreiber, LLP                                      3:20-cv-05368-MCR-GRJ
  17297      178953   Matthew Maksim                          Singleton Schreiber, LLP                                      3:20-cv-04082-MCR-GRJ
  17298      178965   Christopher Marshall                    Singleton Schreiber, LLP                                      3:20-cv-04110-MCR-GRJ
  17299      178966   Christopher Martin                      Singleton Schreiber, LLP                                      3:20-cv-04139-MCR-GRJ
  17300      178968   Nathan Martin                           Singleton Schreiber, LLP                                      3:20-cv-04146-MCR-GRJ
  17301      178970   Shawn Martin                            Singleton Schreiber, LLP                                      3:20-cv-04152-MCR-GRJ




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  17302      178980   Mark Matthews                           Singleton Schreiber, LLP                                      3:20-cv-04202-MCR-GRJ
  17303      178981   Terrence Matthews                       Singleton Schreiber, LLP                                      3:20-cv-04203-MCR-GRJ
  17304      178982   Matthew Mattison                        Singleton Schreiber, LLP                                      3:20-cv-04205-MCR-GRJ
  17305      178983   Cesar Maya                              Singleton Schreiber, LLP                                      3:20-cv-04207-MCR-GRJ
  17306      178986   Thomas Mcateer                          Singleton Schreiber, LLP                                      3:20-cv-04211-MCR-GRJ
  17307      178989   Michael Mcclafferty                     Singleton Schreiber, LLP                                      3:20-cv-04234-MCR-GRJ
  17308      178995   Cole Mccourt                            Singleton Schreiber, LLP                                      3:20-cv-04250-MCR-GRJ
  17309      178996   Brandon Mccoy                           Singleton Schreiber, LLP                                      3:20-cv-04270-MCR-GRJ
  17310      178997   Wayne Mccranie                          Singleton Schreiber, LLP                                      3:20-cv-05351-MCR-GRJ
  17311      178998   Dexter Mccray                           Singleton Schreiber, LLP                                      3:20-cv-04274-MCR-GRJ
  17312      178999   Geremy Mccray                           Singleton Schreiber, LLP                                      3:20-cv-04277-MCR-GRJ
  17313      179001   Jamie Mcdaniel                          Singleton Schreiber, LLP                                      3:20-cv-04280-MCR-GRJ
  17314      179003   Larry Mcdonald                          Singleton Schreiber, LLP                                      3:20-cv-04297-MCR-GRJ
  17315      179006   Michael Mckee                           Singleton Schreiber, LLP                                      3:20-cv-04299-MCR-GRJ
  17316      179015   Christopher Meador                      Singleton Schreiber, LLP                                      3:20-cv-04340-MCR-GRJ
  17317      179017   John Mecum                              Singleton Schreiber, LLP                                      3:20-cv-04345-MCR-GRJ
  17318      179019   Cruse Megois                            Singleton Schreiber, LLP                                      3:20-cv-04352-MCR-GRJ
  17319      179020   Gerald Meidl                            Singleton Schreiber, LLP                                      3:20-cv-04353-MCR-GRJ
  17320      179025   Julian Menchaca                         Singleton Schreiber, LLP                                      3:20-cv-04366-MCR-GRJ
  17321      179029   Anthony Metichecchia                    Singleton Schreiber, LLP                                      3:20-cv-04369-MCR-GRJ
  17322      179030   Elester Middlebrook                     Singleton Schreiber, LLP                                      3:20-cv-04370-MCR-GRJ
  17323      179033   Jessica Miles                           Singleton Schreiber, LLP                                      3:20-cv-04376-MCR-GRJ
  17324      179037   Justin Miller                           Singleton Schreiber, LLP                                      3:20-cv-04383-MCR-GRJ
  17325      179039   Michael (Ky) Miller                     Singleton Schreiber, LLP                                      3:20-cv-04390-MCR-GRJ
  17326      179040   Preston Miller                          Singleton Schreiber, LLP                                      3:20-cv-04391-MCR-GRJ
  17327      179042   Roger Millican                          Singleton Schreiber, LLP                                      3:20-cv-04395-MCR-GRJ
  17328      179043   Adam Mills                              Singleton Schreiber, LLP                                      3:20-cv-04408-MCR-GRJ
  17329      179044   Jerry Mills                             Singleton Schreiber, LLP                                      3:20-cv-04410-MCR-GRJ
  17330      179046   Francis Misner                          Singleton Schreiber, LLP                                      3:20-cv-04416-MCR-GRJ
  17331      179047   Karl Mitchell                           Singleton Schreiber, LLP                                      3:20-cv-04418-MCR-GRJ
  17332      179051   Daniel Moliterno                        Singleton Schreiber, LLP                                      3:20-cv-04445-MCR-GRJ
  17333      179053   Gregory Monroe                          Singleton Schreiber, LLP                                      3:20-cv-04450-MCR-GRJ
  17334      179054   Nathan Montgomery                       Singleton Schreiber, LLP                                      3:20-cv-04452-MCR-GRJ
  17335      179059   Jeffery Moore                           Singleton Schreiber, LLP                                      3:20-cv-04479-MCR-GRJ
  17336      179065   Joseph Morrell                          Singleton Schreiber, LLP                                      3:20-cv-04485-MCR-GRJ
  17337      179066   Edward Morris                           Singleton Schreiber, LLP                                      3:20-cv-04487-MCR-GRJ
  17338      179067   Letitia Morris                          Singleton Schreiber, LLP                                      3:20-cv-04488-MCR-GRJ
  17339      179072   Dustin Mullins                          Singleton Schreiber, LLP                                      3:19-cv-03324-MCR-GRJ
  17340      179077   Marcus Murry                            Singleton Schreiber, LLP                                      3:20-cv-04601-MCR-GRJ
  17341      179080   Karon Myers                             Singleton Schreiber, LLP                                      3:20-cv-04607-MCR-GRJ
  17342      179086   Conrado Navarro                         Singleton Schreiber, LLP                                      3:20-cv-04632-MCR-GRJ
  17343      179087   Jimmy Neal                              Singleton Schreiber, LLP                                      3:20-cv-04634-MCR-GRJ
  17344      179088   Matthew Neal                            Singleton Schreiber, LLP                                      3:20-cv-04636-MCR-GRJ
  17345      179090   Joseph Neighbors                        Singleton Schreiber, LLP                                      3:20-cv-04668-MCR-GRJ
  17346      179091   Anthony Nelson                          Singleton Schreiber, LLP                                      3:20-cv-04680-MCR-GRJ
  17347      179092   Chris Nelson                            Singleton Schreiber, LLP                                      3:20-cv-04690-MCR-GRJ
  17348      179097   Kevin Newman                            Singleton Schreiber, LLP                                      3:20-cv-04714-MCR-GRJ
  17349      179098   Geoffrey Ngoima                         Singleton Schreiber, LLP                                      3:20-cv-04718-MCR-GRJ
  17350      179103   Rowan Norton                            Singleton Schreiber, LLP                                      3:20-cv-04732-MCR-GRJ
  17351      179106   Alexi Odom                              Singleton Schreiber, LLP                                      3:20-cv-04769-MCR-GRJ
  17352      179107   Peter Ohalloran                         Singleton Schreiber, LLP                                      3:20-cv-04772-MCR-GRJ
  17353      179112   Joseph Oliver                           Singleton Schreiber, LLP                                      3:20-cv-04780-MCR-GRJ
  17354      179115   Courtney Oloughlin                      Singleton Schreiber, LLP                                      3:20-cv-04787-MCR-GRJ
  17355      179124   Daniel Ortiz                            Singleton Schreiber, LLP                                      3:20-cv-04797-MCR-GRJ
  17356      179127   Brooks Osgood                           Singleton Schreiber, LLP                                      3:20-cv-04877-MCR-GRJ
  17357      179128   Patrick O'Tool                          Singleton Schreiber, LLP                                      3:20-cv-04884-MCR-GRJ
  17358      179129   William Ott                             Singleton Schreiber, LLP                                      3:20-cv-04888-MCR-GRJ
  17359      179130   Robert Ottaviano                        Singleton Schreiber, LLP                                      3:20-cv-04889-MCR-GRJ
  17360      179133   Devon Pace                              Singleton Schreiber, LLP                                      3:20-cv-04904-MCR-GRJ
  17361      179136   Alan Parker                             Singleton Schreiber, LLP                                      3:20-cv-04915-MCR-GRJ
  17362      179137   Terrell Parker                          Singleton Schreiber, LLP                                      3:20-cv-04919-MCR-GRJ
  17363      179138   Chris Parkhill                          Singleton Schreiber, LLP                                      3:20-cv-04924-MCR-GRJ
  17364      179140   Michael Parks                           Singleton Schreiber, LLP                                      3:20-cv-04932-MCR-GRJ
  17365      179142   Tabitha Parrish                         Singleton Schreiber, LLP                                      3:20-cv-04986-MCR-GRJ
  17366      179146   Andrew Pauli                            Singleton Schreiber, LLP                                      3:20-cv-05007-MCR-GRJ
  17367      179149   Todd Peers                              Singleton Schreiber, LLP                                      3:20-cv-05017-MCR-GRJ
  17368      179151   David Penix                             Singleton Schreiber, LLP                                      3:20-cv-05025-MCR-GRJ
  17369      179156   Isaac Persaud                           Singleton Schreiber, LLP                                      3:20-cv-05041-MCR-GRJ
  17370      179157   Dillon Peterman                         Singleton Schreiber, LLP                                      3:20-cv-05068-MCR-GRJ
  17371      179162   Jarrad Phillips                         Singleton Schreiber, LLP                                      3:20-cv-05188-MCR-GRJ
  17372      179165   Thomas Phillips                         Singleton Schreiber, LLP                                      3:20-cv-05192-MCR-GRJ
  17373      179168   John Pickett                            Singleton Schreiber, LLP                                      3:20-cv-05227-MCR-GRJ
  17374      179175   Torez Ponder                            Singleton Schreiber, LLP                                      3:20-cv-05236-MCR-GRJ




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  17375      179178   Charles Powell                          Singleton Schreiber, LLP                                      3:20-cv-05239-MCR-GRJ
  17376      179182   Mike Prather                            Singleton Schreiber, LLP                                      3:20-cv-05243-MCR-GRJ
  17377      179188   Brian Price                             Singleton Schreiber, LLP                                      3:20-cv-05268-MCR-GRJ
  17378      179196   Adam Purcell                            Singleton Schreiber, LLP                                      3:20-cv-05280-MCR-GRJ
  17379      179198   Brian Putman                            Singleton Schreiber, LLP                                      3:20-cv-05282-MCR-GRJ
  17380      179200   Tim Rafferty                            Singleton Schreiber, LLP                                      3:20-cv-05284-MCR-GRJ
  17381      179210   Daniel Reams                            Singleton Schreiber, LLP                                      3:20-cv-05294-MCR-GRJ
  17382      179211   William Reams                           Singleton Schreiber, LLP                                      3:20-cv-05295-MCR-GRJ
  17383      179215   Prince Reid                             Singleton Schreiber, LLP                                      3:20-cv-05299-MCR-GRJ
  17384      179220   Robert Renninger                        Singleton Schreiber, LLP                                      3:20-cv-05304-MCR-GRJ
  17385      179224   Charles Rice                            Singleton Schreiber, LLP                                      3:20-cv-05308-MCR-GRJ
  17386      179230   Tyler Richer                            Singleton Schreiber, LLP                                      3:20-cv-05314-MCR-GRJ
  17387      179243   Geraldo Roberts                         Singleton Schreiber, LLP                                      3:20-cv-05327-MCR-GRJ
  17388      179245   Anthony Robinson                        Singleton Schreiber, LLP                                      3:20-cv-05329-MCR-GRJ
  17389      179247   Rosetta Robinson-Dixon                  Singleton Schreiber, LLP                                      3:20-cv-05331-MCR-GRJ
  17390      179248   Andre Rockeymore                        Singleton Schreiber, LLP                                      3:20-cv-05332-MCR-GRJ
  17391      179249   Adriel Rodriguez                        Singleton Schreiber, LLP                                      3:20-cv-05333-MCR-GRJ
  17392      179251   Bryant Rodriguez                        Singleton Schreiber, LLP                                      3:20-cv-05336-MCR-GRJ
  17393      179252   Carlos Rodriguez                        Singleton Schreiber, LLP                                      3:20-cv-05337-MCR-GRJ
  17394      179253   Jose Rodriguez                          Singleton Schreiber, LLP                                      3:20-cv-05338-MCR-GRJ
  17395      179257   Tristan Rogers                          Singleton Schreiber, LLP                                      3:20-cv-05344-MCR-GRJ
  17396      179259   Samuel Rogers                           Singleton Schreiber, LLP                                      3:20-cv-05343-MCR-GRJ
  17397      179262   Pascual Roldan                          Singleton Schreiber, LLP                                      3:20-cv-03711-MCR-GRJ
  17398      179263   Christopher Rolin                       Singleton Schreiber, LLP                                      3:20-cv-03716-MCR-GRJ
  17399      179265   Daniel Romero                           Singleton Schreiber, LLP                                      3:20-cv-03722-MCR-GRJ
  17400      179268   Jerry Rosas                             Singleton Schreiber, LLP                                      3:20-cv-04802-MCR-GRJ
  17401      179270   Brandon Rose                            Singleton Schreiber, LLP                                      3:20-cv-04804-MCR-GRJ
  17402      179271   Michael Rose                            Singleton Schreiber, LLP                                      3:20-cv-04807-MCR-GRJ
  17403      179272   Joshua Ross                             Singleton Schreiber, LLP                                      3:20-cv-04808-MCR-GRJ
  17404      179276   Ruben Rubio                             Singleton Schreiber, LLP                                      3:20-cv-04813-MCR-GRJ
  17405      179278   Gregg Ruiz                              Singleton Schreiber, LLP                                      3:20-cv-04815-MCR-GRJ
  17406      179279   Juan Ruiz                               Singleton Schreiber, LLP                                      3:20-cv-04816-MCR-GRJ
  17407      179282   Robert Runstrom                         Singleton Schreiber, LLP                                      3:20-cv-04819-MCR-GRJ
  17408      179286   Datwaun Rushing                         Singleton Schreiber, LLP                                      3:20-cv-04823-MCR-GRJ
  17409      179296   John Salas                              Singleton Schreiber, LLP                                      3:20-cv-04838-MCR-GRJ
  17410      179297   Ruben Salazar                           Singleton Schreiber, LLP                                      3:20-cv-04839-MCR-GRJ
  17411      179298   Christopher Salek                       Singleton Schreiber, LLP                                      3:20-cv-04840-MCR-GRJ
  17412      179304   Alexandro Sandbergen                    Singleton Schreiber, LLP                                      3:20-cv-04847-MCR-GRJ
  17413      179309   Mark Santos                             Singleton Schreiber, LLP                                      3:20-cv-04853-MCR-GRJ
  17414      179313   Sean Scaggs                             Singleton Schreiber, LLP                                      3:20-cv-04860-MCR-GRJ
  17415      179314   John Scalf                              Singleton Schreiber, LLP                                      3:20-cv-04861-MCR-GRJ
  17416      179317   Brian Schildt                           Singleton Schreiber, LLP                                      3:20-cv-04864-MCR-GRJ
  17417      179321   Charles Schocke                         Singleton Schreiber, LLP                                      3:20-cv-04868-MCR-GRJ
  17418      179324   Michael Schramke                        Singleton Schreiber, LLP                                      3:20-cv-04871-MCR-GRJ
  17419      179326   Timothy Scone                           Singleton Schreiber, LLP                                      3:20-cv-04874-MCR-GRJ
  17420      179328   Fredrick Scott                          Singleton Schreiber, LLP                                      3:20-cv-04883-MCR-GRJ
  17421      179330   John Scucz                              Singleton Schreiber, LLP                                      3:20-cv-04886-MCR-GRJ
  17422      179331   Courtney See                            Singleton Schreiber, LLP                                      3:20-cv-04887-MCR-GRJ
  17423      179332   Gary Seibel                             Singleton Schreiber, LLP                                      3:20-cv-04890-MCR-GRJ
  17424      179335   Drew Seitz                              Singleton Schreiber, LLP                                      3:20-cv-04894-MCR-GRJ
  17425      179336   Justin Self                             Singleton Schreiber, LLP                                      3:20-cv-04899-MCR-GRJ
  17426      179340   Josiah Sharp                            Singleton Schreiber, LLP                                      3:20-cv-04914-MCR-GRJ
  17427      179343   Micheal Shears                          Singleton Schreiber, LLP                                      3:20-cv-04921-MCR-GRJ
  17428      179345   Delores Sherman                         Singleton Schreiber, LLP                                      3:20-cv-04936-MCR-GRJ
  17429      179347   Matthew Shipman                         Singleton Schreiber, LLP                                      3:20-cv-04938-MCR-GRJ
  17430      179350   Michael Shoemaker                       Singleton Schreiber, LLP                                      3:20-cv-04941-MCR-GRJ
  17431      179353   Vernon Shover                           Singleton Schreiber, LLP                                      3:20-cv-04944-MCR-GRJ
  17432      179357   Wilfredo Silva                          Singleton Schreiber, LLP                                      3:20-cv-03885-MCR-GRJ
  17433      179358   Corbett Simeone                         Singleton Schreiber, LLP                                      3:20-cv-03905-MCR-GRJ
  17434      179361   Jason Simpson                           Singleton Schreiber, LLP                                      3:20-cv-03907-MCR-GRJ
  17435      179371   Mason Smith                             Singleton Schreiber, LLP                                      3:20-cv-04922-MCR-GRJ
  17436      179376   Jamel Smith                             Singleton Schreiber, LLP                                      3:20-cv-04830-MCR-GRJ
  17437      179381   Josef Smith                             Singleton Schreiber, LLP                                      3:20-cv-04917-MCR-GRJ
  17438      179384   Michael Smith                           Singleton Schreiber, LLP                                      3:20-cv-04923-MCR-GRJ
  17439      179389   David Soderstrom                        Singleton Schreiber, LLP                                      3:20-cv-04928-MCR-GRJ
  17440      179390   Jeremy Soles                            Singleton Schreiber, LLP                                      3:20-cv-04929-MCR-GRJ
  17441      179391   James Son                               Singleton Schreiber, LLP                                      3:20-cv-04931-MCR-GRJ
  17442      179396   Timothy Souza                           Singleton Schreiber, LLP                                      3:20-cv-04967-MCR-GRJ
  17443      179397   Chadwick Sparks                         Singleton Schreiber, LLP                                      3:20-cv-04969-MCR-GRJ
  17444      179399   Cody Spires                             Singleton Schreiber, LLP                                      3:20-cv-04976-MCR-GRJ
  17445      179402   Steven Stagg                            Singleton Schreiber, LLP                                      3:20-cv-04980-MCR-GRJ
  17446      179406   Michael Stansbury                       Singleton Schreiber, LLP                                      3:20-cv-04993-MCR-GRJ
  17447      179407   James Stanton                           Singleton Schreiber, LLP                                      3:20-cv-04995-MCR-GRJ




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  17448      179410   James Steen                             Singleton Schreiber, LLP                                      3:20-cv-05001-MCR-GRJ
  17449      179417   Joseph Stiltner                         Singleton Schreiber, LLP                                      3:20-cv-05022-MCR-GRJ
  17450      179418   Charlie Stogner                         Singleton Schreiber, LLP                                      3:20-cv-05023-MCR-GRJ
  17451      179419   Matthew Stoltz                          Singleton Schreiber, LLP                                      3:20-cv-05024-MCR-GRJ
  17452      179420   Dustin Stone                            Singleton Schreiber, LLP                                      3:20-cv-05026-MCR-GRJ
  17453      179422   Travis Stone                            Singleton Schreiber, LLP                                      3:20-cv-05028-MCR-GRJ
  17454      179423   Dustin Stonebraker                      Singleton Schreiber, LLP                                      3:20-cv-05029-MCR-GRJ
  17455      179425   Dylan Stoudt                            Singleton Schreiber, LLP                                      3:20-cv-05032-MCR-GRJ
  17456      179426   Joseph Stout                            Singleton Schreiber, LLP                                      3:20-cv-05033-MCR-GRJ
  17457      179433   Frederick Styles                        Singleton Schreiber, LLP                                      3:20-cv-05064-MCR-GRJ
  17458      179434   Raymond Sullivan                        Singleton Schreiber, LLP                                      3:20-cv-05066-MCR-GRJ
  17459      179435   Terrance Sullivan                       Singleton Schreiber, LLP                                      3:20-cv-05070-MCR-GRJ
  17460      179440   Johnathan Sutton                        Singleton Schreiber, LLP                                      3:20-cv-05077-MCR-GRJ
  17461      179443   Cale Swarnes                            Singleton Schreiber, LLP                                      3:20-cv-05083-MCR-GRJ
  17462      179448   John Szucs                              Singleton Schreiber, LLP                                      3:20-cv-05088-MCR-GRJ
  17463      179451   Joseph Tapia                            Singleton Schreiber, LLP                                      3:19-cv-03244-MCR-GRJ
  17464      179452   Cody Tarble                             Singleton Schreiber, LLP                                      3:20-cv-03745-MCR-GRJ
  17465      179453   Allen Tate                              Singleton Schreiber, LLP                                      3:20-cv-03748-MCR-GRJ
  17466      179454   Dewayne Taylor                          Singleton Schreiber, LLP                                      3:20-cv-03755-MCR-GRJ
  17467      179455   Antoine Taylor                          Singleton Schreiber, LLP                                      3:20-cv-03753-MCR-GRJ
  17468      179461   Benjamin Tenney                         Singleton Schreiber, LLP                                      3:20-cv-03808-MCR-GRJ
  17469      179462   Steven Teran                            Singleton Schreiber, LLP                                      3:20-cv-03809-MCR-GRJ
  17470      179467   Jerome Thomas                           Singleton Schreiber, LLP                                      3:20-cv-03909-MCR-GRJ
  17471      179468   Timmithy Thomas                         Singleton Schreiber, LLP                                      3:20-cv-03912-MCR-GRJ
  17472      179471   Dakota Thompson                         Singleton Schreiber, LLP                                      3:20-cv-03921-MCR-GRJ
  17473      179472   Aaron Thompson                          Singleton Schreiber, LLP                                      3:20-cv-03919-MCR-GRJ
  17474      179474   Tremaine Thompson                       Singleton Schreiber, LLP                                      3:20-cv-03955-MCR-GRJ
  17475      179475   Michael Thorpe                          Singleton Schreiber, LLP                                      3:20-cv-03963-MCR-GRJ
  17476      179478   Charlie Thrush                          Singleton Schreiber, LLP                                      3:20-cv-03971-MCR-GRJ
  17477      179479   Joshua Thurman                          Singleton Schreiber, LLP                                      3:20-cv-03974-MCR-GRJ
  17478      179481   Rorke Tifanny                           Singleton Schreiber, LLP                                      3:20-cv-03990-MCR-GRJ
  17479      179483   William Todd                            Singleton Schreiber, LLP                                      3:20-cv-04052-MCR-GRJ
  17480      179487   Brett Tombic                            Singleton Schreiber, LLP                                      3:20-cv-04059-MCR-GRJ
  17481      179489   Jason Torres                            Singleton Schreiber, LLP                                      3:20-cv-04072-MCR-GRJ
  17482      179490   Noel Torres                             Singleton Schreiber, LLP                                      3:20-cv-04081-MCR-GRJ
  17483      179502   Joshua Tucker                           Singleton Schreiber, LLP                                      3:20-cv-04374-MCR-GRJ
  17484      179504   Chad Turner                             Singleton Schreiber, LLP                                      3:20-cv-04380-MCR-GRJ
  17485      179508   Brady Ulery                             Singleton Schreiber, LLP                                      3:20-cv-04532-MCR-GRJ
  17486      179510   Jerrell Underwood                       Singleton Schreiber, LLP                                      3:20-cv-04542-MCR-GRJ
  17487      179513   Matthew Valente                         Singleton Schreiber, LLP                                      3:20-cv-04681-MCR-GRJ
  17488      179523   Ruby Vega                               Singleton Schreiber, LLP                                      3:20-cv-04748-MCR-GRJ
  17489      179524   Daniel Velazquez                        Singleton Schreiber, LLP                                      3:20-cv-04777-MCR-GRJ
  17490      179527   Nathan Verden                           Singleton Schreiber, LLP                                      3:20-cv-04878-MCR-GRJ
  17491      179528   Samuel Vernon                           Singleton Schreiber, LLP                                      3:20-cv-04880-MCR-GRJ
  17492      179529   Matthew Verspoor                        Singleton Schreiber, LLP                                      3:20-cv-04882-MCR-GRJ
  17493      179530   William Vidal                           Singleton Schreiber, LLP                                      3:20-cv-04895-MCR-GRJ
  17494      179532   Aaron Vix                               Singleton Schreiber, LLP                                      3:20-cv-04901-MCR-GRJ
  17495      179536   Benjamin Waga                           Singleton Schreiber, LLP                                      3:20-cv-04990-MCR-GRJ
  17496      179538   Martin Wakefield                        Singleton Schreiber, LLP                                      3:20-cv-04996-MCR-GRJ
  17497      179541   Calvin Walker                           Singleton Schreiber, LLP                                      3:20-cv-05009-MCR-GRJ
  17498      179542   Elbert Walker                           Singleton Schreiber, LLP                                      3:20-cv-05016-MCR-GRJ
  17499      179543   Brandon Wallace                         Singleton Schreiber, LLP                                      3:20-cv-05021-MCR-GRJ
  17500      179552   Tye Warner                              Singleton Schreiber, LLP                                      3:20-cv-05123-MCR-GRJ
  17501      179558   Daniel Weaver                           Singleton Schreiber, LLP                                      3:20-cv-05129-MCR-GRJ
  17502      179559   Jeffrey Webb                            Singleton Schreiber, LLP                                      3:20-cv-05130-MCR-GRJ
  17503      179564   Albert Wesley                           Singleton Schreiber, LLP                                      3:20-cv-05133-MCR-GRJ
  17504      179567   Matthew Westover                        Singleton Schreiber, LLP                                      3:20-cv-05138-MCR-GRJ
  17505      179570   Timothy White                           Singleton Schreiber, LLP                                      3:20-cv-05144-MCR-GRJ
  17506      179575   Neil Whitt                              Singleton Schreiber, LLP                                      3:20-cv-05150-MCR-GRJ
  17507      179584   Joseph Wiley                            Singleton Schreiber, LLP                                      3:20-cv-05161-MCR-GRJ
  17508      179585   Justice Wilkey                          Singleton Schreiber, LLP                                      3:20-cv-05162-MCR-GRJ
  17509      179586   Richard Wilkey                          Singleton Schreiber, LLP                                      3:20-cv-05163-MCR-GRJ
  17510      179589   Amber Williams                          Singleton Schreiber, LLP                                      3:20-cv-05166-MCR-GRJ
  17511      179590   Brandon Williams                        Singleton Schreiber, LLP                                      3:20-cv-05167-MCR-GRJ
  17512      179595   Michael Williams                        Singleton Schreiber, LLP                                      3:20-cv-05172-MCR-GRJ
  17513      179596   Patrick Williams                        Singleton Schreiber, LLP                                      3:20-cv-05173-MCR-GRJ
  17514      179603   Justin Wilson                           Singleton Schreiber, LLP                                      3:20-cv-05181-MCR-GRJ
  17515      179605   Leaman Wilson                           Singleton Schreiber, LLP                                      3:20-cv-05184-MCR-GRJ
  17516      179609   Daniel Windt                            Singleton Schreiber, LLP                                      3:20-cv-05191-MCR-GRJ
  17517      179613   Austin Wood                             Singleton Schreiber, LLP                                      3:20-cv-05197-MCR-GRJ
  17518      179621   Trevor Wright                           Singleton Schreiber, LLP                                      3:20-cv-05205-MCR-GRJ
  17519      179622   Dustin Yadon                            Singleton Schreiber, LLP                                      3:20-cv-05206-MCR-GRJ
  17520      179625   Steven Yinger                           Singleton Schreiber, LLP                                      3:20-cv-05209-MCR-GRJ




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  17521      179627   Christene Young                         Singleton Schreiber, LLP                                      3:20-cv-05354-MCR-GRJ
  17522      179629   Stormi Young                            Singleton Schreiber, LLP                                      3:20-cv-05213-MCR-GRJ
  17523      179634   Demler Zamora                           Singleton Schreiber, LLP                                      3:20-cv-05217-MCR-GRJ
  17524      179635   John Zeek                               Singleton Schreiber, LLP                                      3:20-cv-05218-MCR-GRJ
  17525      179638   Edward Zitkus                           Singleton Schreiber, LLP                                      3:20-cv-05224-MCR-GRJ
  17526      179640   Stephen Zogal                           Singleton Schreiber, LLP                                      3:20-cv-05226-MCR-GRJ
  17527      183246   Juan Pepper-Orellana                    Singleton Schreiber, LLP                                      3:20-cv-04961-MCR-GRJ
  17528      183248   Clarissa Rasavongsy                     Singleton Schreiber, LLP                                      3:20-cv-04965-MCR-GRJ
  17529      183253   Javarus Owens                           Singleton Schreiber, LLP                                      3:20-cv-04960-MCR-GRJ
  17530      183260   Kenneth Brown                           Singleton Schreiber, LLP                                      8:20-cv-54803-MCR-GRJ
  17531      183263   Martin Buckner                          Singleton Schreiber, LLP                                      3:20-cv-04088-MCR-GRJ
  17532      183264   Matthew Burdsall                        Singleton Schreiber, LLP                                      3:20-cv-04953-MCR-GRJ
  17533      183272   Luis Flores Cifuentes                   Singleton Schreiber, LLP                                      3:20-cv-05366-MCR-GRJ
  17534      183276   Allen Gubba-Reiner                      Singleton Schreiber, LLP                                      3:20-cv-04959-MCR-GRJ
  17535      183278   Steven Hardy                            Singleton Schreiber, LLP                                      3:20-cv-04214-MCR-GRJ
  17536      183279   Steven Johnson                          Singleton Schreiber, LLP                                      3:20-cv-04693-MCR-GRJ
  17537      183286   Enoch Massingale                        Singleton Schreiber, LLP                                      3:20-cv-04162-MCR-GRJ
  17538      183291   Dave Nugen                              Singleton Schreiber, LLP                                      3:20-cv-04768-MCR-GRJ
  17539      183297   Anthony Signorello                      Singleton Schreiber, LLP                                      3:19-cv-03246-MCR-GRJ
  17540      183301   Victor Williams                         Singleton Schreiber, LLP                                      3:19-cv-03281-MCR-GRJ
  17541      211452   Steven Turner                           Singleton Schreiber, LLP           8:20-cv-59521-MCR-GRJ
  17542      244644   Jesse Flores Delima                     Singleton Schreiber, LLP           8:20-cv-97781-MCR-GRJ
  17543      250724   Matthew Travers                         Singleton Schreiber, LLP                                      8:20-cv-97796-MCR-GRJ
  17544      250729   Clayton Rice                            Singleton Schreiber, LLP                                      8:20-cv-97801-MCR-GRJ
  17545      285646   Matthew Jackson                         Singleton Schreiber, LLP           7:21-cv-05009-MCR-GRJ
  17546      289373   Devan Fuentes                           Singleton Schreiber, LLP                                      7:21-cv-09428-MCR-GRJ
  17547      334838   Robert Brown                            Singleton Schreiber, LLP                                      7:21-cv-54871-MCR-GRJ
  17548      334857   Anselm Fautanu                          Singleton Schreiber, LLP           7:21-cv-54890-MCR-GRJ
  17549      334882   Stacey Ilaban                           Singleton Schreiber, LLP           7:21-cv-54915-MCR-GRJ
  17550      334889   Andrew Kirkner                          Singleton Schreiber, LLP                                      7:21-cv-54922-MCR-GRJ
  17551      334896   Christopher Losh                        Singleton Schreiber, LLP           7:21-cv-54929-MCR-GRJ
  17552      334906   Tyrell Miller                           Singleton Schreiber, LLP           7:21-cv-54938-MCR-GRJ
  17553      334933   Danielle Snyder                         Singleton Schreiber, LLP                                      7:21-cv-54965-MCR-GRJ
  17554      334938   Clinton Thomas                          Singleton Schreiber, LLP           7:21-cv-54969-MCR-GRJ
  17555      334948   Carl Wheatley                           Singleton Schreiber, LLP                                      7:21-cv-54978-MCR-GRJ
  17556      345098   Calvin Copenny                          Singleton Schreiber, LLP                                      3:21-cv-01078-MCR-GRJ
  17557      345110   Richard Gholston                        Singleton Schreiber, LLP                                      3:21-cv-01089-MCR-GRJ
  17558      345119   Jeffrey Baker                           Singleton Schreiber, LLP                                      3:21-cv-01071-MCR-GRJ
  17559      345122   Stephanie Healey                        Singleton Schreiber, LLP                                      3:21-cv-01096-MCR-GRJ
  17560      345125   Steven Stafford                         Singleton Schreiber, LLP                                      3:21-cv-01142-MCR-GRJ
  17561      345128   Ryan Dice                               Singleton Schreiber, LLP                                      3:21-cv-01082-MCR-GRJ
  17562      345129   Melissa Joplin                          Singleton Schreiber, LLP                                      3:22-cv-00226-MCR-GRJ
  17563      345135   Stephen Grunden                         Singleton Schreiber, LLP                                      3:21-cv-01133-MCR-GRJ
  17564      345143   Joe Aquino                              Singleton Schreiber, LLP                                      3:21-cv-01069-MCR-GRJ
  17565      345145   Stephen Oury                            Singleton Schreiber, LLP                                      3:21-cv-01227-MCR-GRJ
  17566      345151   Ronald Miko                             Singleton Schreiber, LLP                                      3:21-cv-01171-MCR-GRJ
  17567      345153   Terry O'Brien                           Singleton Schreiber, LLP                                      3:21-cv-01236-MCR-GRJ
  17568      345161   Darrell Brown                           Singleton Schreiber, LLP                                      3:21-cv-01204-MCR-GRJ
  17569      345164   Brandon Guinn                           Singleton Schreiber, LLP                                      3:21-cv-01093-MCR-GRJ
  17570      345167   Michael Harrison                        Singleton Schreiber, LLP                                      3:21-cv-01095-MCR-GRJ
  17571      345176   David Clair                             Singleton Schreiber, LLP                                      3:21-cv-01077-MCR-GRJ
  17572      345181   Michael Dunham                          Singleton Schreiber, LLP                                      3:21-cv-01085-MCR-GRJ
  17573      345188   Matthew Horn                            Singleton Schreiber, LLP                                      3:21-cv-01175-MCR-GRJ
  17574      345194   Meekie Young                            Singleton Schreiber, LLP                                      3:21-cv-01147-MCR-GRJ
  17575      345195   Ryan Welch                              Singleton Schreiber, LLP                                      3:21-cv-01216-MCR-GRJ
  17576      345196   Matthew Garsez                          Singleton Schreiber, LLP                                      3:21-cv-01088-MCR-GRJ
  17577      345206   Xavier Collins                          Singleton Schreiber, LLP                                      3:21-cv-01174-MCR-GRJ
  17578      345207   Timothy Turk                            Singleton Schreiber, LLP                                      3:21-cv-01124-MCR-GRJ
  17579      345210   Justin Niece                            Singleton Schreiber, LLP                                      3:21-cv-01169-MCR-GRJ
  17580      345215   Paul Lindsley                           Singleton Schreiber, LLP                                      3:21-cv-01195-MCR-GRJ
  17581      345218   Adam Rex                                Singleton Schreiber, LLP                                      3:21-cv-01138-MCR-GRJ
  17582      345219   Benjamin Hoffman                        Singleton Schreiber, LLP                                      3:21-cv-01228-MCR-GRJ
  17583      345220   Christopher Butler                      Singleton Schreiber, LLP                                      3:21-cv-01076-MCR-GRJ
  17584      345221   Ian Cebra                               Singleton Schreiber, LLP                                      3:21-cv-01196-MCR-GRJ
  17585      345224   Naroda Knox                             Singleton Schreiber, LLP                                      3:21-cv-01200-MCR-GRJ
  17586      345226   Frankie Pagan                           Singleton Schreiber, LLP                                      3:21-cv-01224-MCR-GRJ
  17587      350779   Corey Parteko                           Singleton Schreiber, LLP                                      3:21-cv-01633-MCR-GRJ
  17588      350880   Michael Mcdowell                        Singleton Schreiber, LLP                                      3:21-cv-01644-MCR-GRJ
  17589      350881   Steven Anderson                         Singleton Schreiber, LLP                                      3:21-cv-01678-MCR-GRJ
  17590      352497   Marcus Newman                           Singleton Schreiber, LLP                                      3:21-cv-01790-MCR-GRJ
  17591      352498   Trevor Ingram                           Singleton Schreiber, LLP                                      3:21-cv-01791-MCR-GRJ
  17592      352761   Adam Tooley                             Singleton Schreiber, LLP                                      3:21-cv-01998-MCR-GRJ
  17593      354329   Brentley Horton                         Singleton Schreiber, LLP                                      3:21-cv-02481-MCR-GRJ




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  17594      354332   Tyler Kim                               Singleton Schreiber, LLP                                        3:21-cv-02478-MCR-GRJ
  17595      354371   Rusty Moellering                        Singleton Schreiber, LLP                                        3:21-cv-04071-MCR-GRJ
  17596      355111   Kevin Adams                             Singleton Schreiber, LLP                                        3:21-cv-04047-MCR-GRJ
  17597      355516   Priscilla Duke                          Singleton Schreiber, LLP                                        3:21-cv-04513-MCR-GRJ
  17598      355525   Robert Barth                            Singleton Schreiber, LLP                                        3:21-cv-04591-MCR-GRJ
  17599      355662   Roman Hall                              Singleton Schreiber, LLP                                        3:21-cv-04906-MCR-GRJ
  17600      355670   David Karg                              Singleton Schreiber, LLP                                        3:21-cv-04863-MCR-GRJ
  17601      355958   Taylor Magennis                         Singleton Schreiber, LLP                                        3:22-cv-00067-MCR-GRJ
  17602      357044   Philip Elliston                         Singleton Schreiber, LLP                                        3:22-cv-01188-MCR-GRJ
  17603      331023   Joshua Ackles                           Slater Slater Schulman LLP           7:21-cv-48051-MCR-GRJ
  17604      331024   Ryan Adams                              Slater Slater Schulman LLP                                      7:21-cv-48052-MCR-GRJ
  17605      331025   Mordechai Afualo                        Slater Slater Schulman LLP                                      7:21-cv-48053-MCR-GRJ
  17606      331033   Cody Batroff                            Slater Slater Schulman LLP                                      7:21-cv-48061-MCR-GRJ
  17607      331039   Noe Blanco                              Slater Slater Schulman LLP                                      7:21-cv-48067-MCR-GRJ
  17608      331045   Talmage Brevard                         Slater Slater Schulman LLP                                      7:21-cv-48073-MCR-GRJ
  17609      331048   Steven Brooner                          Slater Slater Schulman LLP                                      7:21-cv-48076-MCR-GRJ
  17610      331049   Jesse Brown                             Slater Slater Schulman LLP                                      7:21-cv-48077-MCR-GRJ
  17611      331062   Michael Curliss                         Slater Slater Schulman LLP                                      7:21-cv-48090-MCR-GRJ
  17612      331063   Peter Danchise                          Slater Slater Schulman LLP                                      7:21-cv-48091-MCR-GRJ
  17613      331069   Logan Demichele                         Slater Slater Schulman LLP                                      7:21-cv-48097-MCR-GRJ
  17614      331073   James Dias                              Slater Slater Schulman LLP                                      7:21-cv-48101-MCR-GRJ
  17615      331075   Renee Douglas                           Slater Slater Schulman LLP                                      7:21-cv-48103-MCR-GRJ
  17616      331087   Pamela Franklin                         Slater Slater Schulman LLP                                      7:21-cv-48115-MCR-GRJ
  17617      331088   Darrell Freeman                         Slater Slater Schulman LLP           7:21-cv-48116-MCR-GRJ
  17618      331094   Craig Golly                             Slater Slater Schulman LLP                                      7:21-cv-48122-MCR-GRJ
  17619      331099   Joshua Gunter                           Slater Slater Schulman LLP                                      7:21-cv-48127-MCR-GRJ
  17620      331102   Destiny Harp                            Slater Slater Schulman LLP                                      7:21-cv-48130-MCR-GRJ
  17621      331116   Reginald Kearney                        Slater Slater Schulman LLP           7:21-cv-48144-MCR-GRJ
  17622      331136   Brittany Mcdonald                       Slater Slater Schulman LLP                                      7:21-cv-48164-MCR-GRJ
  17623      331137   Daniel Mcgrath                          Slater Slater Schulman LLP                                      7:21-cv-48165-MCR-GRJ
  17624      331148   Robert Neal                             Slater Slater Schulman LLP                                      7:21-cv-48176-MCR-GRJ
  17625      331151   Mark Nieland                            Slater Slater Schulman LLP                                      7:21-cv-48179-MCR-GRJ
  17626      331160   Domanik Richardson                      Slater Slater Schulman LLP                                      7:21-cv-48188-MCR-GRJ
  17627      331165   Christine Rogers                        Slater Slater Schulman LLP           7:21-cv-48193-MCR-GRJ
  17628      331173   Devin Sells                             Slater Slater Schulman LLP           7:21-cv-48201-MCR-GRJ
  17629      331174   James Shiderly                          Slater Slater Schulman LLP           7:21-cv-48202-MCR-GRJ
  17630      331188   Deon Williams                           Slater Slater Schulman LLP                                      7:21-cv-48216-MCR-GRJ
  17631      352461   Kyle Rustin                             Slater Slater Schulman LLP                                      3:21-cv-01507-MCR-GRJ
  17632      14827    Joshua Araujo                           Slocumb Law                                                     7:20-cv-02095-MCR-GRJ
  17633      14829    Paul Archie                             Slocumb Law                                                     7:20-cv-02098-MCR-GRJ
  17634      14831    Derrick Haynes                          Slocumb Law                                                     7:20-cv-02100-MCR-GRJ
  17635      14832    Ruben Benavides                         Slocumb Law                                                     7:20-cv-02102-MCR-GRJ
  17636      14833    Eric Benford                            Slocumb Law                                                     7:20-cv-02104-MCR-GRJ
  17637      14836    Daniel Carrell                          Slocumb Law                                                     7:20-cv-02108-MCR-GRJ
  17638      83784    James Clemmons                          Slocumb Law                                                     7:20-cv-17670-MCR-GRJ
  17639      83785    Marilyn Clemmons                        Slocumb Law                                                     7:20-cv-17673-MCR-GRJ
  17640      83787    Russell Collins                         Slocumb Law                                                     7:20-cv-17676-MCR-GRJ
  17641      83788    Marcus Copeland                         Slocumb Law                                                     7:20-cv-17678-MCR-GRJ
  17642      83789    Bruce Copes                             Slocumb Law                                                     7:20-cv-17679-MCR-GRJ
  17643      83790    Andrew Ellis                            Slocumb Law                                                     7:20-cv-17680-MCR-GRJ
  17644      83794    Stephan Fernandez                       Slocumb Law                                                     7:20-cv-17684-MCR-GRJ
  17645      83796    Brandon Godwin                          Slocumb Law                                                     7:20-cv-17686-MCR-GRJ
  17646      83802    Michael Knowlton                        Slocumb Law                                                     7:20-cv-17693-MCR-GRJ
  17647      83804    David Lacy                              Slocumb Law                                                     7:20-cv-17695-MCR-GRJ
  17648      83808    Timothy Mckinney                        Slocumb Law                                                     7:20-cv-17705-MCR-GRJ
  17649      83812    Jonathan Owen                           Slocumb Law                                                     7:20-cv-17711-MCR-GRJ
  17650      83819    Hector Rivera                           Slocumb Law                                                     7:20-cv-17732-MCR-GRJ
  17651      83822    Bryan Schreur                           Slocumb Law                                                     7:20-cv-17739-MCR-GRJ
  17652      83824    Andrew Swoveland                        Slocumb Law                                                     7:20-cv-17744-MCR-GRJ
  17653      83826    Arthur Thomas                           Slocumb Law                                                     7:20-cv-17748-MCR-GRJ
  17654      83828    Tashina Veney                           Slocumb Law                                                     7:20-cv-17753-MCR-GRJ
  17655      83830    Ryan Ward                               Slocumb Law                                                     7:20-cv-17757-MCR-GRJ
  17656      139183   Barry Davis                             Slocumb Law                                                     7:20-cv-30363-MCR-GRJ
  17657      139184   Lisa Davis                              Slocumb Law                                                     7:20-cv-30365-MCR-GRJ
  17658      139186   Lourena Dent                            Slocumb Law                                                     7:20-cv-30367-MCR-GRJ
  17659      139187   Nicolas Fisher                          Slocumb Law                                                     7:20-cv-30369-MCR-GRJ
  17660      139189   Justin Hamilton                         Slocumb Law                          7:20-cv-30373-MCR-GRJ      3:19-cv-02896-MCR-GRJ
  17661      139190   Harry Lamont                            Slocumb Law                                                     7:20-cv-30374-MCR-GRJ
  17662      139192   Daniel Montgomery                       Slocumb Law                          7:20-cv-30378-MCR-GRJ      3:19-cv-02065-MCR-GRJ
  17663      139193   Thomas Nichols                          Slocumb Law                          7:20-cv-30380-MCR-GRJ      3:19-cv-02877-MCR-GRJ
  17664      139194   Joshua Palmer                           Slocumb Law                          7:20-cv-30382-MCR-GRJ      3:19-cv-02967-MCR-GRJ
  17665      139195   Arnell Raynor                           Slocumb Law                          7:20-cv-30384-MCR-GRJ      3:19-cv-02248-MCR-GRJ
  17666      139202   Wallace Williams                        Slocumb Law                          7:20-cv-30397-MCR-GRJ      3:19-cv-02255-MCR-GRJ




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  17667      147857   Alexander Perez                         Slocumb Law                                                       7:20-cv-30504-MCR-GRJ
  17668      152670   Anthony Uwah                            Slocumb Law                                                       7:20-cv-35226-MCR-GRJ
  17669      155100   Timmy Merritt                           Slocumb Law                                                       7:20-cv-35234-MCR-GRJ
  17670      174049   Robert Davis                            Slocumb Law                                                       7:20-cv-39887-MCR-GRJ
  17671      174050   Samuel Gethers                          Slocumb Law                                                       7:20-cv-39888-MCR-GRJ
  17672      174051   Carol Williams                          Slocumb Law                                                       7:20-cv-39889-MCR-GRJ
  17673      174365   Samantha Velasquez                      Slocumb Law                                                       7:20-cv-39530-MCR-GRJ
  17674      176707   Telly Jackson                           Slocumb Law                                                       8:20-cv-03843-MCR-GRJ
  17675      176709   Travis Rigsby                           Slocumb Law                                                       8:20-cv-03851-MCR-GRJ
  17676      185265   Arthur Thomas                           Slocumb Law                                                       8:20-cv-36840-MCR-GRJ
  17677      189245   Michael Robinson                        Slocumb Law                                                       8:20-cv-04494-MCR-GRJ
  17678      189303   Thomas Sauer                            Slocumb Law                                                       8:20-cv-36855-MCR-GRJ
  17679      207272   Stephen Szwalla                         Slocumb Law                                                       9:20-cv-08724-MCR-GRJ
  17680      267180   Gordon Underwood                        Slocumb Law                                                       9:20-cv-09969-MCR-GRJ
  17681      127625   David Hernandez                         Smith, Gildea & Schmidt, LLC                                      8:20-cv-17917-MCR-GRJ
  17682      127627   Emory Eperiam                           Smith, Gildea & Schmidt, LLC                                      8:20-cv-17923-MCR-GRJ
  17683      127657   Rashad Keith                            Smith, Gildea & Schmidt, LLC                                      8:20-cv-18020-MCR-GRJ
  17684      127658   Lakia Williams                          Smith, Gildea & Schmidt, LLC           8:20-cv-18024-MCR-GRJ
  17685      127686   Derek Rosington                         Smith, Gildea & Schmidt, LLC           8:20-cv-18210-MCR-GRJ
  17686      127688   Michael Smith                           Smith, Gildea & Schmidt, LLC                                      8:20-cv-18246-MCR-GRJ
  17687      127696   Jamar Jones                             Smith, Gildea & Schmidt, LLC                                      8:20-cv-18376-MCR-GRJ
  17688      127698   Erin Sataloff                           Smith, Gildea & Schmidt, LLC           8:20-cv-18405-MCR-GRJ
  17689      127716   Matthew Dinkledine                      Smith, Gildea & Schmidt, LLC                                      8:20-cv-18128-MCR-GRJ
  17690      127744   Kyle Sonneborn                          Smith, Gildea & Schmidt, LLC                                      8:20-cv-18233-MCR-GRJ
  17691      127777   Brandy Haight                           Smith, Gildea & Schmidt, LLC                                      8:20-cv-18349-MCR-GRJ
  17692      280410   Alfred Maspero                          Sommers Schwartz                                                  7:21-cv-00142-MCR-GRJ
  17693      287061   Mitchell Ternay                         Sommers Schwartz                                                  7:21-cv-09738-MCR-GRJ
  17694      307236   Steven Mcgrew                           Sommers Schwartz                       7:21-cv-26110-MCR-GRJ
  17695      307237   Brett Watkins                           Sommers Schwartz                                                  7:21-cv-26111-MCR-GRJ
  17696       7933    Richard Stewart                         Stueve Siegel Hanson                                              7:20-cv-48003-MCR-GRJ
  17697       8106    Ervin White                             Stueve Siegel Hanson                                              7:20-cv-47454-MCR-GRJ
  17698      53493    Christopher Robinson                    Sullivan & Brill, LLP                                             8:20-cv-06000-MCR-GRJ
  17699      53553    David Smith                             Summers & Johnson, P.C.                                           7:20-cv-88191-MCR-GRJ
  17700      53597    Brad Peters                             Summers & Johnson, P.C.                                           7:20-cv-88226-MCR-GRJ
  17701      53626    Anthony Dennard                         Summers & Johnson, P.C.                7:20-cv-88252-MCR-GRJ
  17702      96945    Stephen Guy                             Taylor Martino, P.C.                   7:20-cv-67768-MCR-GRJ
  17703      96994    Christopher Mckelvie                    Taylor Martino, P.C.                   7:20-cv-67939-MCR-GRJ
  17704      217291   Maurice Smith                           Taylor Martino, P.C.                   8:20-cv-65666-MCR-GRJ
  17705      14899    Victor Alexander                        The Carlson Law Firm                   7:20-cv-44816-MCR-GRJ
  17706      29072    Terry Allen                             The Carlson Law Firm                                              7:20-cv-45037-MCR-GRJ
  17707      29106    John Ealey                              The Carlson Law Firm                                              7:20-cv-45080-MCR-GRJ
  17708      29157    Julieann Mazark-Blomberg                The Carlson Law Firm                   9:20-cv-15282-MCR-GRJ
  17709      29166    George Morales                          The Carlson Law Firm                                              7:20-cv-45191-MCR-GRJ
  17710      29172    Frankie Nugent                          The Carlson Law Firm                                              7:20-cv-45200-MCR-GRJ
  17711      29181    Pamela Ramble                           The Carlson Law Firm                   7:20-cv-45206-MCR-GRJ
  17712      29186    Arturo Rodriguez                        The Carlson Law Firm                   7:20-cv-45208-MCR-GRJ
  17713      77184    David Miller                            The Carlson Law Firm                                              7:20-cv-70009-MCR-GRJ
  17714      168896   Cedric Dupins                           The Carlson Law Firm                   7:20-cv-48276-MCR-GRJ
  17715      178040   Walter Ferrell                          The Carlson Law Firm                   7:20-cv-48312-MCR-GRJ
  17716      191954   Gregory Davis                           The Carlson Law Firm                   8:20-cv-51647-MCR-GRJ
  17717      214706   Chanel Givens                           The Carlson Law Firm                                              9:20-cv-15295-MCR-GRJ
  17718      259986   Jason Crews                             The Carlson Law Firm                   9:20-cv-15627-MCR-GRJ
  17719      259996   Ervin Helgeson                          The Carlson Law Firm                                              9:20-cv-15827-MCR-GRJ
  17720      260008   Francis Mckinnis                        The Carlson Law Firm                   9:20-cv-15835-MCR-GRJ
  17721      263542   Matthew Manning                         The Carlson Law Firm                                              9:20-cv-15875-MCR-GRJ
  17722      263548   Shaun Ratcliff                          The Carlson Law Firm                   9:20-cv-15888-MCR-GRJ
  17723      267222   Thomas Baltazar                         The Carlson Law Firm                   9:20-cv-15949-MCR-GRJ
  17724      267224   Maurice Barnes                          The Carlson Law Firm                   9:20-cv-15953-MCR-GRJ
  17725      267227   William Braddock                        The Carlson Law Firm                   9:20-cv-15960-MCR-GRJ
  17726      267228   Le'Vrencee Branch                       The Carlson Law Firm                   9:20-cv-15962-MCR-GRJ
  17727      267230   Jared Briggs                            The Carlson Law Firm                   9:20-cv-15967-MCR-GRJ
  17728      267237   Jose Cadme                              The Carlson Law Firm                                              9:20-cv-15979-MCR-GRJ
  17729      267244   Sergio Cuello                           The Carlson Law Firm                                              9:20-cv-15994-MCR-GRJ
  17730      267246   Blake Davis                             The Carlson Law Firm                                              9:20-cv-15999-MCR-GRJ
  17731      267247   Logan Davis                             The Carlson Law Firm                                              9:20-cv-16001-MCR-GRJ
  17732      267249   Weston Dean                             The Carlson Law Firm                                              9:20-cv-16005-MCR-GRJ
  17733      267257   Andrew Dunscombe                        The Carlson Law Firm                   9:20-cv-16022-MCR-GRJ
  17734      267268   Timothy Fuller                          The Carlson Law Firm                                              9:20-cv-16046-MCR-GRJ
  17735      267283   Nickalos Hughes                         The Carlson Law Firm                                              9:20-cv-16077-MCR-GRJ
  17736      267288   Joshua Justice                          The Carlson Law Firm                   9:20-cv-16093-MCR-GRJ
  17737      267314   Dustin Miller                           The Carlson Law Firm                                              9:20-cv-16542-MCR-GRJ
  17738      267322   Amber Olberg                            The Carlson Law Firm                                              9:20-cv-16559-MCR-GRJ
  17739      267324   James O'Reilly                          The Carlson Law Firm                                              9:20-cv-16563-MCR-GRJ




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  17740      267335   Courtney Rideau                         The Carlson Law Firm                  9:20-cv-16587-MCR-GRJ
  17741      267353   Morgan Smart                            The Carlson Law Firm                                             9:20-cv-16624-MCR-GRJ
  17742      267361   Derrick Toliver                         The Carlson Law Firm                  9:20-cv-16638-MCR-GRJ
  17743      267370   Stephen Webb                            The Carlson Law Firm                  9:20-cv-16658-MCR-GRJ
  17744      267371   Christopher Welther                     The Carlson Law Firm                  9:20-cv-16660-MCR-GRJ
  17745      267378   Lindsay Wright                          The Carlson Law Firm                                             9:20-cv-16674-MCR-GRJ
  17746      268309   Brian Bradley                           The Carlson Law Firm                  9:20-cv-10712-MCR-GRJ
  17747      268317   Adam Ellis                              The Carlson Law Firm                  9:20-cv-10720-MCR-GRJ
  17748      268324   Brian Gober                             The Carlson Law Firm                  9:20-cv-11033-MCR-GRJ
  17749      268330   Richard Harvey                          The Carlson Law Firm                  9:20-cv-12848-MCR-GRJ
  17750      268334   Lapoleon Hurell                         The Carlson Law Firm                  9:20-cv-12852-MCR-GRJ
  17751      268355   Tanner Stokes                           The Carlson Law Firm                  9:20-cv-12873-MCR-GRJ
  17752      268356   Johan Stokman                           The Carlson Law Firm                  9:20-cv-12874-MCR-GRJ
  17753      270326   Robert Bowker                           The Carlson Law Firm                                             9:20-cv-11043-MCR-GRJ
  17754      270333   Nathaniel Cleveland                     The Carlson Law Firm                  9:20-cv-11057-MCR-GRJ
  17755      270361   Curtis Pates                            The Carlson Law Firm                                             9:20-cv-11091-MCR-GRJ
  17756      270369   Crystal Savard                          The Carlson Law Firm                  9:20-cv-12921-MCR-GRJ
  17757      270375   Bradley Thompson                        The Carlson Law Firm                  9:20-cv-12933-MCR-GRJ
  17758      276590   Antwoyne Baker                          The Carlson Law Firm                  7:21-cv-02867-MCR-GRJ
  17759      276595   Daniel Boswell                          The Carlson Law Firm                  7:21-cv-02872-MCR-GRJ
  17760      276614   Rony Gomez                              The Carlson Law Firm                  7:21-cv-02891-MCR-GRJ
  17761      276618   William Hines                           The Carlson Law Firm                  7:21-cv-02895-MCR-GRJ
  17762      276628   Bryan Kuschke                           The Carlson Law Firm                                             7:21-cv-02905-MCR-GRJ
  17763      276668   Nicole Whitten                          The Carlson Law Firm                  7:21-cv-04818-MCR-GRJ
  17764      293588   Jeremiah Carter                         The Carlson Law Firm                                             7:21-cv-13018-MCR-GRJ
  17765      293602   Larry Karns                             The Carlson Law Firm                  7:21-cv-13031-MCR-GRJ
  17766      293611   Justin Whatley                          The Carlson Law Firm                                             7:21-cv-13038-MCR-GRJ
  17767      293615   Jonathan Zehner                         The Carlson Law Firm                  7:21-cv-13042-MCR-GRJ
  17768      302883   Javontae Smalls                         The Carlson Law Firm                                             7:21-cv-20783-MCR-GRJ
  17769      330121   Stacey Updyke                           The Carlson Law Firm                  7:21-cv-47961-MCR-GRJ
  17770      331211   David Williams                          The Carlson Law Firm                                             7:21-cv-48231-MCR-GRJ
  17771      333503   Austin Good                             The Carlson Law Firm                                             7:21-cv-53893-MCR-GRJ
  17772      333524   Steven Reyst                            The Carlson Law Firm                  7:21-cv-53968-MCR-GRJ
  17773      333548   Larry Maiolo                            The Carlson Law Firm                  7:21-cv-54012-MCR-GRJ
  17774      333566   Prielinso Conner                        The Carlson Law Firm                  7:21-cv-54045-MCR-GRJ
  17775      333579   Jeffrey Crane                           The Carlson Law Firm                  7:21-cv-54065-MCR-GRJ
  17776      333583   Robert Fox                              The Carlson Law Firm                  7:21-cv-54073-MCR-GRJ
  17777      333594   Kristin Wiechelman                      The Carlson Law Firm                                             7:21-cv-54094-MCR-GRJ
  17778      333598   Wesley Dabney                           The Carlson Law Firm                  7:21-cv-54102-MCR-GRJ
  17779      333612   Justin Lowe                             The Carlson Law Firm                  7:21-cv-54128-MCR-GRJ
  17780      333628   Justin Manary                           The Carlson Law Firm                  7:21-cv-54156-MCR-GRJ
  17781      333646   Sean Schenck                            The Carlson Law Firm                  7:21-cv-54187-MCR-GRJ
  17782      333682   Andy Barker                             The Carlson Law Firm                  7:21-cv-54255-MCR-GRJ
  17783      333692   Dennis Barker                           The Carlson Law Firm                  7:21-cv-54272-MCR-GRJ
  17784      333707   Joshua Floyd                            The Carlson Law Firm                  7:21-cv-54699-MCR-GRJ
  17785      333711   Timothy Driscoll                        The Carlson Law Firm                  7:21-cv-54703-MCR-GRJ
  17786      333713   Eric Khassanov                          The Carlson Law Firm                  7:21-cv-54705-MCR-GRJ
  17787      333725   Michael Santoro                         The Carlson Law Firm                  7:21-cv-54717-MCR-GRJ
  17788      333727   Christian Gilbert                       The Carlson Law Firm                                             7:21-cv-54719-MCR-GRJ
  17789      333738   Luis Barreto                            The Carlson Law Firm                  7:21-cv-54730-MCR-GRJ
  17790      333741   Justin Jewell                           The Carlson Law Firm                                             7:21-cv-54733-MCR-GRJ
  17791      14302    Charles Gann                            The Cochran Firm - Dothan                                        8:20-cv-16972-MCR-GRJ
  17792      14352    Joe Lightford                           The Cochran Firm - Dothan             8:20-cv-17060-MCR-GRJ
  17793      258748   Natasha Conkright                       The Cochran Firm - Dothan                                        8:20-cv-99264-MCR-GRJ
  17794      127833   Andra Johnson                           The DiLorenzo Law Firm, LLC                                      8:20-cv-19539-MCR-GRJ
  17795      127840   Andreya Dixon                           The DiLorenzo Law Firm, LLC                                      8:20-cv-19566-MCR-GRJ
  17796      127920   Calvin Shaw                             The DiLorenzo Law Firm, LLC                                      8:20-cv-20040-MCR-GRJ
  17797      128012   Darius Kimber                           The DiLorenzo Law Firm, LLC           8:20-cv-20385-MCR-GRJ
  17798      128040   Dempsey Yelder                          The DiLorenzo Law Firm, LLC           8:20-cv-20190-MCR-GRJ
  17799      128058   Detrick Wilson                          The DiLorenzo Law Firm, LLC           8:20-cv-20254-MCR-GRJ
  17800      128094   Erica Lewis                             The DiLorenzo Law Firm, LLC           8:20-cv-20369-MCR-GRJ
  17801      128096   Ethan Whitfield                         The DiLorenzo Law Firm, LLC           8:20-cv-20375-MCR-GRJ
  17802      128134   Heath Haggard                           The DiLorenzo Law Firm, LLC           8:20-cv-20443-MCR-GRJ
  17803      128160   Jalesa Mitchell                         The DiLorenzo Law Firm, LLC           8:20-cv-20468-MCR-GRJ
  17804      128174   James Nauman                            The DiLorenzo Law Firm, LLC           8:20-cv-20483-MCR-GRJ
  17805      128220   Jeremy Rearick                          The DiLorenzo Law Firm, LLC                                      8:20-cv-17285-MCR-GRJ
  17806      128248   John Piper                              The DiLorenzo Law Firm, LLC           8:20-cv-17336-MCR-GRJ
  17807      128266   Jon Skerrett                            The DiLorenzo Law Firm, LLC           8:20-cv-17365-MCR-GRJ
  17808      128270   Jonathan Wilson                         The DiLorenzo Law Firm, LLC           8:20-cv-17372-MCR-GRJ
  17809      128296   Joshua Randall                          The DiLorenzo Law Firm, LLC                                      8:20-cv-17434-MCR-GRJ
  17810      128303   Justin Dixon                            The DiLorenzo Law Firm, LLC           8:20-cv-17454-MCR-GRJ
  17811      128330   Kent James                              The DiLorenzo Law Firm, LLC           8:20-cv-17524-MCR-GRJ
  17812      128333   Keshia Johnson                          The DiLorenzo Law Firm, LLC                                      8:20-cv-17532-MCR-GRJ




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  17813      128386   Mason Tompkins                          The DiLorenzo Law Firm, LLC           8:20-cv-17833-MCR-GRJ
  17814      128390   Matthew Hadley                          The DiLorenzo Law Firm, LLC                                      8:20-cv-17847-MCR-GRJ
  17815      128436   Monica Nelson                           The DiLorenzo Law Firm, LLC           8:20-cv-17985-MCR-GRJ
  17816      128454   Noah Lee                                The DiLorenzo Law Firm, LLC           8:20-cv-18053-MCR-GRJ
  17817      128455   Olby Bedgood                            The DiLorenzo Law Firm, LLC           8:20-cv-18057-MCR-GRJ
  17818      128492   Renesha Mitchell                        The DiLorenzo Law Firm, LLC                                      8:20-cv-18203-MCR-GRJ
  17819      128551   Sean Garbutt                            The DiLorenzo Law Firm, LLC                                      8:20-cv-18417-MCR-GRJ
  17820      128597   Tabitha Majek                           The DiLorenzo Law Firm, LLC                                      8:20-cv-18750-MCR-GRJ
  17821      128617   Thomas Smith                            The DiLorenzo Law Firm, LLC           8:20-cv-18841-MCR-GRJ
  17822      128628   Todd Hyatt                              The DiLorenzo Law Firm, LLC           8:20-cv-18851-MCR-GRJ
  17823      156840   Brian Jacobs                            The DiLorenzo Law Firm, LLC           8:20-cv-18941-MCR-GRJ
  17824      161287   Dondre Green                            The DiLorenzo Law Firm, LLC           8:20-cv-19044-MCR-GRJ
  17825      164248   Richard Howard                          The DiLorenzo Law Firm, LLC                                      8:20-cv-19123-MCR-GRJ
  17826      164256   Zachary Nagurne                         The DiLorenzo Law Firm, LLC           8:20-cv-19136-MCR-GRJ
  17827      164340   Jacob Thomas                            The DiLorenzo Law Firm, LLC           8:20-cv-19155-MCR-GRJ
  17828      164344   Kirby Cox                               The DiLorenzo Law Firm, LLC           8:20-cv-19161-MCR-GRJ
  17829      164968   Dorethea Coleman                        The DiLorenzo Law Firm, LLC           8:20-cv-19239-MCR-GRJ
  17830      164986   Logan Roubo                             The DiLorenzo Law Firm, LLC           8:20-cv-19274-MCR-GRJ
  17831      164988   Kyle Smith                              The DiLorenzo Law Firm, LLC                                      8:20-cv-19278-MCR-GRJ
  17832      173015   Sanders Lockhart                        The DiLorenzo Law Firm, LLC           8:20-cv-19465-MCR-GRJ
  17833      175112   Recardo Craig                           The DiLorenzo Law Firm, LLC           8:20-cv-19499-MCR-GRJ
  17834      175136   Latonya Thompson                        The DiLorenzo Law Firm, LLC           8:20-cv-19616-MCR-GRJ
  17835      175141   Larryan Mccullough                      The DiLorenzo Law Firm, LLC           8:20-cv-19641-MCR-GRJ
  17836      175143   Brandon Jones                           The DiLorenzo Law Firm, LLC           8:20-cv-19651-MCR-GRJ
  17837      175146   Pamela Wilson                           The DiLorenzo Law Firm, LLC           8:20-cv-19664-MCR-GRJ
  17838      179963   Clayton Moore                           The DiLorenzo Law Firm, LLC           8:20-cv-20551-MCR-GRJ
  17839      179974   Dominique Parker                        The DiLorenzo Law Firm, LLC           8:20-cv-20558-MCR-GRJ
  17840      179975   Donald Henderson                        The DiLorenzo Law Firm, LLC           8:20-cv-20559-MCR-GRJ
  17841      179977   Edrick Villarreal                       The DiLorenzo Law Firm, LLC           8:20-cv-20561-MCR-GRJ
  17842      179981   Ernie Whatley                           The DiLorenzo Law Firm, LLC           8:20-cv-20563-MCR-GRJ
  17843      179984   Frank Bales                             The DiLorenzo Law Firm, LLC           8:20-cv-20565-MCR-GRJ
  17844      179993   Isaac Tolliver                          The DiLorenzo Law Firm, LLC           8:20-cv-20571-MCR-GRJ
  17845      179996   James Whaley                            The DiLorenzo Law Firm, LLC           8:20-cv-20572-MCR-GRJ
  17846      180000   Javin Stevenson                         The DiLorenzo Law Firm, LLC           8:20-cv-20575-MCR-GRJ
  17847      180002   Jeremy Robinson                         The DiLorenzo Law Firm, LLC                                      8:20-cv-20577-MCR-GRJ
  17848      188847   Vergie Terrell                          The DiLorenzo Law Firm, LLC           8:20-cv-21437-MCR-GRJ
  17849      188852   April Dean                              The DiLorenzo Law Firm, LLC           8:20-cv-21604-MCR-GRJ
  17850      188856   Jason Watson                            The DiLorenzo Law Firm, LLC                                      8:20-cv-21618-MCR-GRJ
  17851      188862   T'Derek Luster                          The DiLorenzo Law Firm, LLC           8:20-cv-21638-MCR-GRJ
  17852      188869   Richard Suggs                           The DiLorenzo Law Firm, LLC           8:20-cv-21663-MCR-GRJ
  17853      191965   Joel Adams                              The DiLorenzo Law Firm, LLC           8:20-cv-54345-MCR-GRJ
  17854      191970   Terence Bradford                        The DiLorenzo Law Firm, LLC           8:20-cv-54364-MCR-GRJ
  17855      191981   Katavian Dowdell                        The DiLorenzo Law Firm, LLC                                      8:20-cv-54405-MCR-GRJ
  17856      191985   Darius Evans                            The DiLorenzo Law Firm, LLC           8:20-cv-54420-MCR-GRJ
  17857      191987   Dylan Franklin                          The DiLorenzo Law Firm, LLC           8:20-cv-54428-MCR-GRJ
  17858      191995   Jacob Howell                            The DiLorenzo Law Firm, LLC           8:20-cv-54456-MCR-GRJ
  17859      191996   Joshua Huffman                          The DiLorenzo Law Firm, LLC           8:20-cv-54460-MCR-GRJ
  17860      192001   Shaharyar Khan                          The DiLorenzo Law Firm, LLC                                      8:20-cv-54479-MCR-GRJ
  17861      192017   Travis Phillips                         The DiLorenzo Law Firm, LLC           8:20-cv-54668-MCR-GRJ
  17862      192020   Yolanda Rancher                         The DiLorenzo Law Firm, LLC           8:20-cv-54674-MCR-GRJ
  17863      192029   Comeletta Simpson                       The DiLorenzo Law Firm, LLC           8:20-cv-54693-MCR-GRJ
  17864      192035   Sidney Taylor                           The DiLorenzo Law Firm, LLC           8:20-cv-54705-MCR-GRJ
  17865      192040   Phillip Torres                          The DiLorenzo Law Firm, LLC           8:20-cv-54715-MCR-GRJ
  17866      194266   Brian Mackay                            The DiLorenzo Law Firm, LLC           8:20-cv-28952-MCR-GRJ
  17867      194285   Jordan Sanders                          The DiLorenzo Law Firm, LLC           8:20-cv-29009-MCR-GRJ
  17868      197339   Daniel Brennan                          The DiLorenzo Law Firm, LLC                                      8:20-cv-60222-MCR-GRJ
  17869      197402   Krystin Hurt                            The DiLorenzo Law Firm, LLC           8:20-cv-60272-MCR-GRJ
  17870      197405   Lakota King                             The DiLorenzo Law Firm, LLC           8:20-cv-60277-MCR-GRJ
  17871      197425   Michael Springer                        The DiLorenzo Law Firm, LLC           8:20-cv-60300-MCR-GRJ
  17872      204011   Kendall Rutherford                      The DiLorenzo Law Firm, LLC           8:20-cv-60418-MCR-GRJ
  17873      204018   Alexander Harris                        The DiLorenzo Law Firm, LLC                                      8:20-cv-60439-MCR-GRJ
  17874      204031   Steven Scales                           The DiLorenzo Law Firm, LLC           8:20-cv-60473-MCR-GRJ
  17875      204032   Shquon Hodge                            The DiLorenzo Law Firm, LLC           8:20-cv-60476-MCR-GRJ
  17876      210654   David Jordy                             The DiLorenzo Law Firm, LLC           8:20-cv-60530-MCR-GRJ
  17877      210660   Kevin Lawson                            The DiLorenzo Law Firm, LLC                                      8:20-cv-60547-MCR-GRJ
  17878      210662   Kevin Judy                              The DiLorenzo Law Firm, LLC                                      8:20-cv-60555-MCR-GRJ
  17879      210665   Christopher Ivy                         The DiLorenzo Law Firm, LLC           8:20-cv-60566-MCR-GRJ
  17880      210667   Jonathan West                           The DiLorenzo Law Firm, LLC           8:20-cv-60570-MCR-GRJ
  17881      210672   Melanie Suggs                           The DiLorenzo Law Firm, LLC                                      8:20-cv-60588-MCR-GRJ
  17882      210676   Alexander Whitehead                     The DiLorenzo Law Firm, LLC           8:20-cv-60603-MCR-GRJ
  17883      212933   Andrew Mooney                           The DiLorenzo Law Firm, LLC           8:20-cv-59723-MCR-GRJ
  17884      212947   Dalton Barnett                          The DiLorenzo Law Firm, LLC                                      8:20-cv-59772-MCR-GRJ
  17885      212954   Denard Watts                            The DiLorenzo Law Firm, LLC                                      8:20-cv-59799-MCR-GRJ




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  17886      212956   Derek Moore                             The DiLorenzo Law Firm, LLC           8:20-cv-59807-MCR-GRJ
  17887      212959   Dustin Evans                            The DiLorenzo Law Firm, LLC           8:20-cv-59818-MCR-GRJ
  17888      212973   James Lee                               The DiLorenzo Law Firm, LLC           8:20-cv-59868-MCR-GRJ
  17889      212976   Jaquez Woods                            The DiLorenzo Law Firm, LLC           8:20-cv-59877-MCR-GRJ
  17890      212986   Kegan Thurman                           The DiLorenzo Law Firm, LLC           8:20-cv-59907-MCR-GRJ
  17891      212988   Keltram Stovall                         The DiLorenzo Law Firm, LLC                                      8:20-cv-59912-MCR-GRJ
  17892      212989   Kelvin Turner                           The DiLorenzo Law Firm, LLC           8:20-cv-59916-MCR-GRJ
  17893      212995   Larium Miller                           The DiLorenzo Law Firm, LLC           8:20-cv-59930-MCR-GRJ
  17894      213003   Michael Green                           The DiLorenzo Law Firm, LLC           8:20-cv-59955-MCR-GRJ
  17895      213008   Nathanael Land                          The DiLorenzo Law Firm, LLC           8:20-cv-59976-MCR-GRJ
  17896      213020   Shaquille Austin                        The DiLorenzo Law Firm, LLC           8:20-cv-60027-MCR-GRJ
  17897      213023   Stephen Clark                           The DiLorenzo Law Firm, LLC           8:20-cv-60039-MCR-GRJ
  17898      213035   Tralanda Mccray                         The DiLorenzo Law Firm, LLC                                      8:20-cv-60104-MCR-GRJ
  17899      213037   Trayvon Cheatem                         The DiLorenzo Law Firm, LLC           8:20-cv-60115-MCR-GRJ
  17900      213277   Kieasha Farbs                           The DiLorenzo Law Firm, LLC           8:20-cv-60199-MCR-GRJ
  17901      213286   Ana Salinas                             The DiLorenzo Law Firm, LLC           8:20-cv-60245-MCR-GRJ
  17902      214723   Pamela Hill                             The DiLorenzo Law Firm, LLC           8:20-cv-60704-MCR-GRJ
  17903      214725   William Jones                           The DiLorenzo Law Firm, LLC           8:20-cv-60708-MCR-GRJ
  17904      214727   Kelly Kijuanus                          The DiLorenzo Law Firm, LLC           8:20-cv-60714-MCR-GRJ
  17905      217305   Andres Figueroa                         The DiLorenzo Law Firm, LLC           8:20-cv-60756-MCR-GRJ
  17906      217319   Ashlie Wellington                       The DiLorenzo Law Firm, LLC           8:20-cv-60762-MCR-GRJ
  17907      217401   Jamar Houston                           The DiLorenzo Law Firm, LLC           8:20-cv-67486-MCR-GRJ
  17908      217417   Jayson Risner                           The DiLorenzo Law Firm, LLC           8:20-cv-60793-MCR-GRJ
  17909      217420   Jennifer Reid                           The DiLorenzo Law Firm, LLC                                      8:20-cv-60796-MCR-GRJ
  17910      217430   Jonathan Pace                           The DiLorenzo Law Firm, LLC           8:20-cv-67501-MCR-GRJ
  17911      217466   Lavar Gabriel                           The DiLorenzo Law Firm, LLC           8:20-cv-67512-MCR-GRJ
  17912      217475   Martina Hayden                          The DiLorenzo Law Firm, LLC           8:20-cv-60529-MCR-GRJ
  17913      217476   Mary Stephens                           The DiLorenzo Law Firm, LLC                                      8:20-cv-60534-MCR-GRJ
  17914      217513   Richard Johnson                         The DiLorenzo Law Firm, LLC           8:20-cv-60554-MCR-GRJ
  17915      217561   Tina Thomas                             The DiLorenzo Law Firm, LLC           8:20-cv-60581-MCR-GRJ
  17916      224461   Daniel Ybarra                           The DiLorenzo Law Firm, LLC           8:20-cv-68077-MCR-GRJ
  17917      224475   Lauren Moses                            The DiLorenzo Law Firm, LLC           8:20-cv-68101-MCR-GRJ
  17918      224476   Sean Flores                             The DiLorenzo Law Firm, LLC           8:20-cv-68102-MCR-GRJ
  17919      238501   Jeremy Guckert                          The DiLorenzo Law Firm, LLC                                      8:20-cv-86421-MCR-GRJ
  17920      238507   Delphanie Hutchins                      The DiLorenzo Law Firm, LLC           8:20-cv-86475-MCR-GRJ
  17921      238519   Timothy Richards                        The DiLorenzo Law Firm, LLC           8:20-cv-86484-MCR-GRJ
  17922      238522   Grace Sandoval                          The DiLorenzo Law Firm, LLC           8:20-cv-86487-MCR-GRJ
  17923      238534   Andrew Wood                             The DiLorenzo Law Firm, LLC                                      8:20-cv-86497-MCR-GRJ
  17924      244690   Scott Francis                           The DiLorenzo Law Firm, LLC                                      8:20-cv-92464-MCR-GRJ
  17925      244710   Michael Cook                            The DiLorenzo Law Firm, LLC                                      8:20-cv-92505-MCR-GRJ
  17926      244711   Daniel Love                             The DiLorenzo Law Firm, LLC                                      8:20-cv-92507-MCR-GRJ
  17927      244717   Tiara Sanders                           The DiLorenzo Law Firm, LLC           8:20-cv-92518-MCR-GRJ
  17928      244728   Richard Pena                            The DiLorenzo Law Firm, LLC                                      8:20-cv-92541-MCR-GRJ
  17929      244737   Ashley Russell                          The DiLorenzo Law Firm, LLC           8:20-cv-92559-MCR-GRJ
  17930      244741   Stephanie Reynolds                      The DiLorenzo Law Firm, LLC           8:20-cv-92567-MCR-GRJ
  17931      244746   Miranda Blitch                          The DiLorenzo Law Firm, LLC           8:20-cv-92577-MCR-GRJ
  17932      244755   Jacob Mrema                             The DiLorenzo Law Firm, LLC           8:20-cv-92588-MCR-GRJ
  17933      244762   David Shafer                            The DiLorenzo Law Firm, LLC           8:20-cv-92595-MCR-GRJ
  17934      244779   Paul Gacheru                            The DiLorenzo Law Firm, LLC           8:20-cv-92612-MCR-GRJ
  17935      244782   Tyler Turok                             The DiLorenzo Law Firm, LLC           8:20-cv-92615-MCR-GRJ
  17936      244797   Makyla Bell                             The DiLorenzo Law Firm, LLC           8:20-cv-92629-MCR-GRJ
  17937      244798   Kimberly Johnson                        The DiLorenzo Law Firm, LLC           8:20-cv-92630-MCR-GRJ
  17938      244800   Justin Kopp                             The DiLorenzo Law Firm, LLC           8:20-cv-92632-MCR-GRJ
  17939      244802   Jean Monteiro                           The DiLorenzo Law Firm, LLC           8:20-cv-92634-MCR-GRJ
  17940      244806   Lisandro Perez                          The DiLorenzo Law Firm, LLC                                      8:20-cv-92638-MCR-GRJ
  17941      244811   Edwardo Sanchez                         The DiLorenzo Law Firm, LLC           8:20-cv-92643-MCR-GRJ
  17942      244813   Luis Velasquez                          The DiLorenzo Law Firm, LLC           8:20-cv-92645-MCR-GRJ
  17943      255169   Abby English                            The DiLorenzo Law Firm, LLC           9:20-cv-00685-MCR-GRJ
  17944      255171   Andrew Harrison                         The DiLorenzo Law Firm, LLC           9:20-cv-00689-MCR-GRJ
  17945      255179   Brendan Baker                           The DiLorenzo Law Firm, LLC                                      9:20-cv-00705-MCR-GRJ
  17946      255181   Christopher Adlam-Noel                  The DiLorenzo Law Firm, LLC           9:20-cv-00709-MCR-GRJ
  17947      255202   Gregory Washington                      The DiLorenzo Law Firm, LLC           9:20-cv-00751-MCR-GRJ
  17948      255207   Jamaica Hatchett                        The DiLorenzo Law Firm, LLC           9:20-cv-00761-MCR-GRJ
  17949      255220   Jonathon Simon                          The DiLorenzo Law Firm, LLC           9:20-cv-00786-MCR-GRJ
  17950      255224   Justin Morris                           The DiLorenzo Law Firm, LLC           9:20-cv-00794-MCR-GRJ
  17951      255231   Levincent Love                          The DiLorenzo Law Firm, LLC           9:20-cv-01278-MCR-GRJ
  17952      255253   Steven Ericksen                         The DiLorenzo Law Firm, LLC                                      9:20-cv-01299-MCR-GRJ
  17953      255254   Summer Widner                           The DiLorenzo Law Firm, LLC           9:20-cv-01300-MCR-GRJ
  17954      260049   Christian Lundberg                      The DiLorenzo Law Firm, LLC           9:20-cv-01721-MCR-GRJ
  17955      260058   Robert Sherman                          The DiLorenzo Law Firm, LLC                                      9:20-cv-01730-MCR-GRJ
  17956      263560   Christopher Kenney                      The DiLorenzo Law Firm, LLC           9:20-cv-07882-MCR-GRJ
  17957      263562   Tommy Thorton                           The DiLorenzo Law Firm, LLC           9:20-cv-07884-MCR-GRJ
  17958      263567   Shawn Knowles                           The DiLorenzo Law Firm, LLC           9:20-cv-07890-MCR-GRJ




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  17959      263569   Jory Long                               The DiLorenzo Law Firm, LLC           9:20-cv-07894-MCR-GRJ
  17960      263571   Brandon Colbert                         The DiLorenzo Law Firm, LLC           9:20-cv-07897-MCR-GRJ
  17961      263577   Bradsdent Brown                         The DiLorenzo Law Firm, LLC           9:20-cv-07999-MCR-GRJ
  17962      263588   David Russell                           The DiLorenzo Law Firm, LLC           9:20-cv-08010-MCR-GRJ
  17963      263599   Miles Lewis                             The DiLorenzo Law Firm, LLC           9:20-cv-08021-MCR-GRJ
  17964      269812   Michael Veal                            The DiLorenzo Law Firm, LLC                                      9:20-cv-12669-MCR-GRJ
  17965      269813   Te'Mika Simon                           The DiLorenzo Law Firm, LLC                                      9:20-cv-12670-MCR-GRJ
  17966      269816   Ntemie Corts                            The DiLorenzo Law Firm, LLC           9:20-cv-12673-MCR-GRJ
  17967      269818   Antoine Gardner                         The DiLorenzo Law Firm, LLC           9:20-cv-12675-MCR-GRJ
  17968      269820   Evelin Long                             The DiLorenzo Law Firm, LLC                                      9:20-cv-12677-MCR-GRJ
  17969      269821   John Moncrief                           The DiLorenzo Law Firm, LLC           9:20-cv-12678-MCR-GRJ
  17970      269828   Anthony Johnson                         The DiLorenzo Law Firm, LLC           9:20-cv-12685-MCR-GRJ
  17971      273865   Kavaris Farmer                          The DiLorenzo Law Firm, LLC                                      9:20-cv-16134-MCR-GRJ
  17972      273873   Precious Allen                          The DiLorenzo Law Firm, LLC           9:20-cv-16153-MCR-GRJ
  17973      273875   Marquel Dancy                           The DiLorenzo Law Firm, LLC           9:20-cv-16157-MCR-GRJ
  17974      273880   Juan Molina                             The DiLorenzo Law Firm, LLC                                      9:20-cv-16167-MCR-GRJ
  17975      273887   Nathaniel Miller                        The DiLorenzo Law Firm, LLC           9:20-cv-16182-MCR-GRJ
  17976      279812   Eric Glenn                              The DiLorenzo Law Firm, LLC                                      9:20-cv-20030-MCR-GRJ
  17977      279817   Stefan Reynolds                         The DiLorenzo Law Firm, LLC           9:20-cv-20042-MCR-GRJ
  17978      279822   Nicholas Barree                         The DiLorenzo Law Firm, LLC           9:20-cv-20051-MCR-GRJ
  17979      279828   Kiah Mallory                            The DiLorenzo Law Firm, LLC           9:20-cv-20063-MCR-GRJ
  17980      280751   Brian Deloach                           The DiLorenzo Law Firm, LLC                                      7:21-cv-03547-MCR-GRJ
  17981      280756   Darrell Betts                           The DiLorenzo Law Firm, LLC                                      7:21-cv-03552-MCR-GRJ
  17982      280757   David Conerly                           The DiLorenzo Law Firm, LLC           7:21-cv-03553-MCR-GRJ
  17983      280758   Derek Jones                             The DiLorenzo Law Firm, LLC           7:21-cv-03554-MCR-GRJ
  17984      280760   Gregory Smith                           The DiLorenzo Law Firm, LLC                                      7:21-cv-03556-MCR-GRJ
  17985      280763   Jarrod Mitchell                         The DiLorenzo Law Firm, LLC                                      7:21-cv-03750-MCR-GRJ
  17986      280786   Rodney Burch                            The DiLorenzo Law Firm, LLC           7:21-cv-03797-MCR-GRJ
  17987      280794   Antoine Macer                           The DiLorenzo Law Firm, LLC                                      7:21-cv-03813-MCR-GRJ
  17988      280795   Brittany Shirey                         The DiLorenzo Law Firm, LLC           7:21-cv-03815-MCR-GRJ
  17989      280796   Carl Brown                              The DiLorenzo Law Firm, LLC           7:21-cv-03817-MCR-GRJ
  17990      280797   Carlos Martinez                         The DiLorenzo Law Firm, LLC           7:21-cv-03819-MCR-GRJ
  17991      280800   Jawuane Brown                           The DiLorenzo Law Firm, LLC           7:21-cv-03825-MCR-GRJ
  17992      280802   Tamy Vagraffre                          The DiLorenzo Law Firm, LLC           7:21-cv-03830-MCR-GRJ
  17993      280803   Sean Lulis                              The DiLorenzo Law Firm, LLC                                      7:21-cv-03832-MCR-GRJ
  17994      280805   Semaj Speights                          The DiLorenzo Law Firm, LLC           7:21-cv-03836-MCR-GRJ
  17995      280811   Marc Seizeme                            The DiLorenzo Law Firm, LLC           7:21-cv-03847-MCR-GRJ
  17996      282837   Jeffrey Tanner                          The DiLorenzo Law Firm, LLC                                      7:21-cv-04431-MCR-GRJ
  17997      286877   William Hughes                          The DiLorenzo Law Firm, LLC           7:21-cv-07056-MCR-GRJ
  17998      291255   Daniel Kane                             The DiLorenzo Law Firm, LLC           7:21-cv-10872-MCR-GRJ
  17999      291256   Tara Brower                             The DiLorenzo Law Firm, LLC           7:21-cv-10873-MCR-GRJ
  18000      291261   Darrell Jones                           The DiLorenzo Law Firm, LLC                                      7:21-cv-10878-MCR-GRJ
  18001      291267   Michael Edwards                         The DiLorenzo Law Firm, LLC           7:21-cv-10884-MCR-GRJ
  18002      291268   Eddie James                             The DiLorenzo Law Firm, LLC                                      7:21-cv-10885-MCR-GRJ
  18003      291270   Christopher Jordan                      The DiLorenzo Law Firm, LLC           7:21-cv-10887-MCR-GRJ
  18004      291272   Fredrick Sidney                         The DiLorenzo Law Firm, LLC           7:21-cv-10889-MCR-GRJ
  18005      291274   Samuel Solomon                          The DiLorenzo Law Firm, LLC           7:21-cv-10891-MCR-GRJ
  18006      291276   Erin Morthel                            The DiLorenzo Law Firm, LLC                                      7:21-cv-10893-MCR-GRJ
  18007      291283   Justin Dalou                            The DiLorenzo Law Firm, LLC           7:21-cv-10900-MCR-GRJ
  18008      291284   Jessica Pyfrin                          The DiLorenzo Law Firm, LLC           7:21-cv-10901-MCR-GRJ
  18009      291287   Anderson Priester                       The DiLorenzo Law Firm, LLC           7:21-cv-10904-MCR-GRJ
  18010      293618   Bridget Matthes                         The DiLorenzo Law Firm, LLC           7:21-cv-13045-MCR-GRJ
  18011      293633   Rhime Bullock                           The DiLorenzo Law Firm, LLC                                      7:21-cv-13060-MCR-GRJ
  18012      293636   Joshua Hamilton                         The DiLorenzo Law Firm, LLC           7:21-cv-13063-MCR-GRJ
  18013      293637   Landon Rice                             The DiLorenzo Law Firm, LLC                                      7:21-cv-13064-MCR-GRJ
  18014      293638   Henry Kinchens                          The DiLorenzo Law Firm, LLC           7:21-cv-13065-MCR-GRJ
  18015      293646   Eric Rowden                             The DiLorenzo Law Firm, LLC           7:21-cv-13073-MCR-GRJ
  18016      293654   Shantila Axson                          The DiLorenzo Law Firm, LLC           7:21-cv-13081-MCR-GRJ
  18017      293655   Travis Campbell                         The DiLorenzo Law Firm, LLC           7:21-cv-13082-MCR-GRJ
  18018      293658   Tyrone Clayton                          The DiLorenzo Law Firm, LLC           7:21-cv-13085-MCR-GRJ
  18019      293661   Samerriah Luster                        The DiLorenzo Law Firm, LLC           7:21-cv-13088-MCR-GRJ
  18020      293662   Lee Harvey                              The DiLorenzo Law Firm, LLC           7:21-cv-13089-MCR-GRJ
  18021      293669   Phillip Haines                          The DiLorenzo Law Firm, LLC           7:21-cv-13096-MCR-GRJ
  18022      293670   Justin Salinas                          The DiLorenzo Law Firm, LLC           7:21-cv-13097-MCR-GRJ
  18023      293681   Antonio Cue                             The DiLorenzo Law Firm, LLC                                      7:21-cv-13108-MCR-GRJ
  18024      293684   Daniel Faircloth                        The DiLorenzo Law Firm, LLC                                      7:21-cv-13111-MCR-GRJ
  18025      302579   Alec Nauman                             The DiLorenzo Law Firm, LLC           7:21-cv-21348-MCR-GRJ
  18026      302581   Alfreda Glover                          The DiLorenzo Law Firm, LLC           7:21-cv-21350-MCR-GRJ
  18027      302591   Benjamin Torres                         The DiLorenzo Law Firm, LLC           7:21-cv-21360-MCR-GRJ
  18028      302594   Brian Creal                             The DiLorenzo Law Firm, LLC           7:21-cv-21363-MCR-GRJ
  18029      302606   Cody Smyers                             The DiLorenzo Law Firm, LLC           7:21-cv-21375-MCR-GRJ
  18030      302615   David Haupt                             The DiLorenzo Law Firm, LLC           7:21-cv-21384-MCR-GRJ
  18031      302630   Jaime Herrera                           The DiLorenzo Law Firm, LLC           7:21-cv-21399-MCR-GRJ




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  18032      302643   Jerome King                             The DiLorenzo Law Firm, LLC                                      7:21-cv-21412-MCR-GRJ
  18033      302644   Jerrica Kincey                          The DiLorenzo Law Firm, LLC           7:21-cv-21413-MCR-GRJ
  18034      302648   John Barre                              The DiLorenzo Law Firm, LLC                                      7:21-cv-21417-MCR-GRJ
  18035      302651   Joseph Heath                            The DiLorenzo Law Firm, LLC                                      7:21-cv-21420-MCR-GRJ
  18036      302682   Nigeria Hammad                          The DiLorenzo Law Firm, LLC           7:21-cv-21451-MCR-GRJ
  18037      302684   Patrick Pitts                           The DiLorenzo Law Firm, LLC           7:21-cv-21453-MCR-GRJ
  18038      302698   Sandra James                            The DiLorenzo Law Firm, LLC           7:21-cv-21466-MCR-GRJ
  18039      302703   Sharman Mcgee                           The DiLorenzo Law Firm, LLC           7:21-cv-21471-MCR-GRJ
  18040      302712   Steven Holston                          The DiLorenzo Law Firm, LLC           7:21-cv-21480-MCR-GRJ
  18041      302722   Victoria Kinard                         The DiLorenzo Law Firm, LLC                                      7:21-cv-21490-MCR-GRJ
  18042      308320   Octavius Davis                          The DiLorenzo Law Firm, LLC           7:21-cv-26985-MCR-GRJ
  18043      308331   Devon Wheat                             The DiLorenzo Law Firm, LLC           7:21-cv-26996-MCR-GRJ
  18044      308333   George Pack                             The DiLorenzo Law Firm, LLC           7:21-cv-26998-MCR-GRJ
  18045      308344   Patrick Peachee                         The DiLorenzo Law Firm, LLC           7:21-cv-27009-MCR-GRJ
  18046      308345   Pericles Dokie                          The DiLorenzo Law Firm, LLC           7:21-cv-27010-MCR-GRJ
  18047      308348   Anwar Shahid                            The DiLorenzo Law Firm, LLC           7:21-cv-27013-MCR-GRJ
  18048      308354   Ricardo Martinez-Wright                 The DiLorenzo Law Firm, LLC           7:21-cv-27019-MCR-GRJ
  18049      308356   Christian Ortiz                         The DiLorenzo Law Firm, LLC           7:21-cv-27021-MCR-GRJ
  18050      308357   Carey Alton                             The DiLorenzo Law Firm, LLC           7:21-cv-27022-MCR-GRJ
  18051      308360   David Nurse                             The DiLorenzo Law Firm, LLC           7:21-cv-27025-MCR-GRJ
  18052      317551   Aturo Morgan                            The DiLorenzo Law Firm, LLC           7:21-cv-34552-MCR-GRJ
  18053      317552   Austin Whitis                           The DiLorenzo Law Firm, LLC           7:21-cv-34554-MCR-GRJ
  18054      317559   Brian Morris                            The DiLorenzo Law Firm, LLC                                      7:21-cv-34569-MCR-GRJ
  18055      317561   Byron Willis                            The DiLorenzo Law Firm, LLC                                      7:21-cv-34574-MCR-GRJ
  18056      317565   Carla Pierre                            The DiLorenzo Law Firm, LLC                                      7:21-cv-34582-MCR-GRJ
  18057      317567   Carlos White                            The DiLorenzo Law Firm, LLC                                      7:21-cv-34586-MCR-GRJ
  18058      317570   Cecelia Gaines                          The DiLorenzo Law Firm, LLC           7:21-cv-34593-MCR-GRJ
  18059      317579   Curtisha Walker                         The DiLorenzo Law Firm, LLC           7:21-cv-34612-MCR-GRJ
  18060      317581   Daniel Pittard                          The DiLorenzo Law Firm, LLC           7:21-cv-34617-MCR-GRJ
  18061      317582   Daniel Ware                             The DiLorenzo Law Firm, LLC                                      7:21-cv-34619-MCR-GRJ
  18062      317586   Deandre Painter                         The DiLorenzo Law Firm, LLC                                      7:21-cv-35179-MCR-GRJ
  18063      317588   Derrell Beasley                         The DiLorenzo Law Firm, LLC           7:21-cv-35181-MCR-GRJ
  18064      317589   Dexter Gillison                         The DiLorenzo Law Firm, LLC                                      7:21-cv-35182-MCR-GRJ
  18065      317590   Dezba Terry                             The DiLorenzo Law Firm, LLC           7:21-cv-35183-MCR-GRJ
  18066      317592   Diego Alvarez                           The DiLorenzo Law Firm, LLC                                      7:21-cv-35185-MCR-GRJ
  18067      317606   Jacob Hill                              The DiLorenzo Law Firm, LLC           7:21-cv-35199-MCR-GRJ
  18068      317607   James Higgs                             The DiLorenzo Law Firm, LLC           7:21-cv-35200-MCR-GRJ
  18069      317612   Jason Wolf                              The DiLorenzo Law Firm, LLC                                      7:21-cv-35205-MCR-GRJ
  18070      317613   Javier Morales                          The DiLorenzo Law Firm, LLC                                      7:21-cv-35206-MCR-GRJ
  18071      317620   Jonathan Ingram                         The DiLorenzo Law Firm, LLC           7:21-cv-35213-MCR-GRJ
  18072      317621   Jonathon Dow                            The DiLorenzo Law Firm, LLC           7:21-cv-35214-MCR-GRJ
  18073      317625   Jose Ramirez                            The DiLorenzo Law Firm, LLC           7:21-cv-35218-MCR-GRJ
  18074      317635   Keith Bettridge                         The DiLorenzo Law Firm, LLC                                      7:21-cv-35228-MCR-GRJ
  18075      317637   Kenneth Rammage                         The DiLorenzo Law Firm, LLC                                      7:21-cv-35230-MCR-GRJ
  18076      317649   Leron Curry                             The DiLorenzo Law Firm, LLC                                      7:21-cv-35544-MCR-GRJ
  18077      317655   Matthew Sanders                         The DiLorenzo Law Firm, LLC           7:21-cv-35557-MCR-GRJ
  18078      317656   Meridith Ruiz                           The DiLorenzo Law Firm, LLC           7:21-cv-35559-MCR-GRJ
  18079      317657   Michael Bonanno                         The DiLorenzo Law Firm, LLC           7:21-cv-35561-MCR-GRJ
  18080      317659   Michael May                             The DiLorenzo Law Firm, LLC           7:21-cv-35565-MCR-GRJ
  18081      317661   Mikka Willis                            The DiLorenzo Law Firm, LLC           7:21-cv-35569-MCR-GRJ
  18082      317667   Nicholas Zumwalt                        The DiLorenzo Law Firm, LLC                                      7:21-cv-35582-MCR-GRJ
  18083      317668   Orlandus Byrd                           The DiLorenzo Law Firm, LLC                                      7:21-cv-35584-MCR-GRJ
  18084      317669   Patricia Hudson                         The DiLorenzo Law Firm, LLC           7:21-cv-35586-MCR-GRJ
  18085      317671   Povented Taylor                         The DiLorenzo Law Firm, LLC           7:21-cv-35591-MCR-GRJ
  18086      317678   Robert Mckeithan                        The DiLorenzo Law Firm, LLC           7:21-cv-35605-MCR-GRJ
  18087      317679   Robert Shannon                          The DiLorenzo Law Firm, LLC           7:21-cv-35608-MCR-GRJ
  18088      317681   Rony Faustin                            The DiLorenzo Law Firm, LLC                                      7:21-cv-35612-MCR-GRJ
  18089      317686   Sebastian Barron                        The DiLorenzo Law Firm, LLC           7:21-cv-35623-MCR-GRJ
  18090      317688   Setorius Chastine                       The DiLorenzo Law Firm, LLC                                      7:21-cv-35627-MCR-GRJ
  18091      317691   Shavon Harris                           The DiLorenzo Law Firm, LLC           7:21-cv-35634-MCR-GRJ
  18092      317695   Steven Cobb                             The DiLorenzo Law Firm, LLC           7:21-cv-35642-MCR-GRJ
  18093      317699   Thomas Duran                            The DiLorenzo Law Firm, LLC           7:21-cv-35651-MCR-GRJ
  18094      317702   Timothy Washington                      The DiLorenzo Law Firm, LLC           7:21-cv-35657-MCR-GRJ
  18095      317704   Toby Lott                               The DiLorenzo Law Firm, LLC           7:21-cv-35661-MCR-GRJ
  18096      317708   William Sanchez                         The DiLorenzo Law Firm, LLC           7:21-cv-35668-MCR-GRJ
  18097      324934   Paul Forbes                             The DiLorenzo Law Firm, LLC           7:21-cv-44266-MCR-GRJ
  18098      324935   Ismael Perez                            The DiLorenzo Law Firm, LLC           7:21-cv-44267-MCR-GRJ
  18099      324944   Darren Gray                             The DiLorenzo Law Firm, LLC           7:21-cv-44276-MCR-GRJ
  18100      324947   Geoffrey Christensen                    The DiLorenzo Law Firm, LLC                                      7:21-cv-44279-MCR-GRJ
  18101      324949   Armando Harrison                        The DiLorenzo Law Firm, LLC           7:21-cv-44281-MCR-GRJ
  18102      324965   Cristina Lafuente                       The DiLorenzo Law Firm, LLC           7:21-cv-44297-MCR-GRJ
  18103      329425   Glenn Rogers                            The DiLorenzo Law Firm, LLC           7:21-cv-49087-MCR-GRJ
  18104      329426   Walter Gates                            The DiLorenzo Law Firm, LLC           7:21-cv-49089-MCR-GRJ




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  18105      329429   Michael Felty                           The DiLorenzo Law Firm, LLC           7:21-cv-49095-MCR-GRJ
  18106      329438   Lena Paytonwebb                         The DiLorenzo Law Firm, LLC           7:21-cv-49113-MCR-GRJ
  18107      329440   Margo Marin                             The DiLorenzo Law Firm, LLC           7:21-cv-49117-MCR-GRJ
  18108      329443   Leonard Kelley                          The DiLorenzo Law Firm, LLC           7:21-cv-49123-MCR-GRJ
  18109      329445   Antonio Royal                           The DiLorenzo Law Firm, LLC                                      7:21-cv-49127-MCR-GRJ
  18110      329447   Tanya Austin                            The DiLorenzo Law Firm, LLC           7:21-cv-49131-MCR-GRJ
  18111      329449   Aleshia Graham                          The DiLorenzo Law Firm, LLC           7:21-cv-49136-MCR-GRJ
  18112      329456   Kaytrena Wilson                         The DiLorenzo Law Firm, LLC           7:21-cv-49150-MCR-GRJ
  18113      329458   Cody Edwards                            The DiLorenzo Law Firm, LLC           7:21-cv-49154-MCR-GRJ
  18114      329466   Courtney Lewis                          The DiLorenzo Law Firm, LLC           7:21-cv-49170-MCR-GRJ
  18115      329471   Jasmine Gibson                          The DiLorenzo Law Firm, LLC           7:21-cv-49181-MCR-GRJ
  18116      329475   Lenna Watts                             The DiLorenzo Law Firm, LLC           7:21-cv-49189-MCR-GRJ
  18117      329476   Phillip Hutchinson                      The DiLorenzo Law Firm, LLC           7:21-cv-49191-MCR-GRJ
  18118      329477   Demarkus Toland                         The DiLorenzo Law Firm, LLC           7:21-cv-49193-MCR-GRJ
  18119      329478   Daniel Etter                            The DiLorenzo Law Firm, LLC           7:21-cv-49195-MCR-GRJ
  18120      329500   Evonete Nathaniel                       The DiLorenzo Law Firm, LLC           7:21-cv-49239-MCR-GRJ
  18121      329507   Juan Aguirre                            The DiLorenzo Law Firm, LLC           7:21-cv-49254-MCR-GRJ
  18122      329513   Randy Robinson                          The DiLorenzo Law Firm, LLC           7:21-cv-49266-MCR-GRJ
  18123      329518   Victor Louis                            The DiLorenzo Law Firm, LLC           7:21-cv-49276-MCR-GRJ
  18124      329521   Michael Ferrer                          The DiLorenzo Law Firm, LLC           7:21-cv-49280-MCR-GRJ
  18125      329522   Robert Cameron                          The DiLorenzo Law Firm, LLC           7:21-cv-49282-MCR-GRJ
  18126      329525   Kyleshia Sadler                         The DiLorenzo Law Firm, LLC           7:21-cv-49287-MCR-GRJ
  18127      329526   Jacques Atkins                          The DiLorenzo Law Firm, LLC           7:21-cv-49288-MCR-GRJ
  18128      329527   John Brand                              The DiLorenzo Law Firm, LLC           7:21-cv-49290-MCR-GRJ
  18129      333758   Rachel Reyna                            The DiLorenzo Law Firm, LLC           7:21-cv-52903-MCR-GRJ
  18130      333760   Manuel Oneal                            The DiLorenzo Law Firm, LLC           7:21-cv-52905-MCR-GRJ
  18131      333765   Reynaldo Hosang                         The DiLorenzo Law Firm, LLC           7:21-cv-52910-MCR-GRJ
  18132      333769   Bobby Phillips                          The DiLorenzo Law Firm, LLC           7:21-cv-52914-MCR-GRJ
  18133      333770   Tamica Winston-Pierce                   The DiLorenzo Law Firm, LLC                                      7:21-cv-52915-MCR-GRJ
  18134      333771   Curtis Davis                            The DiLorenzo Law Firm, LLC           7:21-cv-52916-MCR-GRJ
  18135      333772   Chrystal Granado                        The DiLorenzo Law Firm, LLC           7:21-cv-52917-MCR-GRJ
  18136      333773   Willie Robertson                        The DiLorenzo Law Firm, LLC           7:21-cv-52918-MCR-GRJ
  18137      333777   Shyheem Barthel                         The DiLorenzo Law Firm, LLC           7:21-cv-52922-MCR-GRJ
  18138      333778   Jayln Gosser                            The DiLorenzo Law Firm, LLC                                      7:21-cv-52923-MCR-GRJ
  18139      333779   George Hodgins                          The DiLorenzo Law Firm, LLC                                      7:21-cv-52924-MCR-GRJ
  18140      333780   Jesse Dickerson                         The DiLorenzo Law Firm, LLC           7:21-cv-52925-MCR-GRJ
  18141      333781   Ebony Mcfadden                          The DiLorenzo Law Firm, LLC           7:21-cv-52926-MCR-GRJ
  18142      333782   Jesus Avila                             The DiLorenzo Law Firm, LLC           7:21-cv-52927-MCR-GRJ
  18143      333785   Michael Shannon                         The DiLorenzo Law Firm, LLC           7:21-cv-52930-MCR-GRJ
  18144      333787   Courtney Carter                         The DiLorenzo Law Firm, LLC           7:21-cv-52932-MCR-GRJ
  18145      333797   Joseph James                            The DiLorenzo Law Firm, LLC                                      7:21-cv-52942-MCR-GRJ
  18146      333799   Xavier Williams                         The DiLorenzo Law Firm, LLC           7:21-cv-52944-MCR-GRJ
  18147      333800   Arthur Lafayette                        The DiLorenzo Law Firm, LLC           7:21-cv-52945-MCR-GRJ
  18148      333802   Ahsa Johnson                            The DiLorenzo Law Firm, LLC           7:21-cv-52947-MCR-GRJ
  18149      333805   Nmayen Ironbar                          The DiLorenzo Law Firm, LLC           7:21-cv-52950-MCR-GRJ
  18150      344856   Marcus Allen                            The DiLorenzo Law Firm, LLC           7:21-cv-66991-MCR-GRJ
  18151      344861   Jay Case                                The DiLorenzo Law Firm, LLC           7:21-cv-67002-MCR-GRJ
  18152      344863   Massenia Chiles                         The DiLorenzo Law Firm, LLC           7:21-cv-67006-MCR-GRJ
  18153      344868   Alfred Dizon                            The DiLorenzo Law Firm, LLC           7:21-cv-67017-MCR-GRJ
  18154      344869   Kacey Dwyer                             The DiLorenzo Law Firm, LLC           7:21-cv-67019-MCR-GRJ
  18155      344870   James Elisme                            The DiLorenzo Law Firm, LLC                                      7:21-cv-67021-MCR-GRJ
  18156      344875   Sergei Hudson                           The DiLorenzo Law Firm, LLC           7:21-cv-67032-MCR-GRJ
  18157      344879   John Knox                               The DiLorenzo Law Firm, LLC                                      7:21-cv-67041-MCR-GRJ
  18158      344880   Brian Loomis                            The DiLorenzo Law Firm, LLC                                      7:21-cv-67043-MCR-GRJ
  18159      344881   Charles Mann                            The DiLorenzo Law Firm, LLC           7:21-cv-67045-MCR-GRJ
  18160      344887   John Owens                              The DiLorenzo Law Firm, LLC           7:21-cv-67057-MCR-GRJ
  18161      344890   Kipper Poore                            The DiLorenzo Law Firm, LLC           7:21-cv-67064-MCR-GRJ
  18162      344892   Michael Savage                          The DiLorenzo Law Firm, LLC           7:21-cv-67068-MCR-GRJ
  18163      344896   Bray Tibbs                              The DiLorenzo Law Firm, LLC           7:21-cv-67077-MCR-GRJ
  18164      344903   Ricky Wilson                            The DiLorenzo Law Firm, LLC           7:21-cv-67092-MCR-GRJ
  18165      344905   Terrence Mcdaniel                       The DiLorenzo Law Firm, LLC           7:21-cv-67096-MCR-GRJ
  18166      344910   Albert Williams                         The DiLorenzo Law Firm, LLC           7:21-cv-67106-MCR-GRJ
  18167      344912   Jason Elliott                           The DiLorenzo Law Firm, LLC           7:21-cv-67111-MCR-GRJ
  18168      344919   Jalil Richards                          The DiLorenzo Law Firm, LLC           7:21-cv-63560-MCR-GRJ
  18169      344920   Jermarcus Durall                        The DiLorenzo Law Firm, LLC                                      7:21-cv-63562-MCR-GRJ
  18170      344921   Lamel Crosland                          The DiLorenzo Law Firm, LLC           7:21-cv-63564-MCR-GRJ
  18171      344924   Courtney Ladner                         The DiLorenzo Law Firm, LLC           7:21-cv-63570-MCR-GRJ
  18172      344926   Anthony Devlin                          The DiLorenzo Law Firm, LLC           7:21-cv-63574-MCR-GRJ
  18173      344927   Melonie Sinclair                        The DiLorenzo Law Firm, LLC           7:21-cv-63576-MCR-GRJ
  18174      344930   Theresa Grant                           The DiLorenzo Law Firm, LLC           7:21-cv-63582-MCR-GRJ
  18175      344932   Roy Steadman                            The DiLorenzo Law Firm, LLC           7:21-cv-63586-MCR-GRJ
  18176      344933   Korylee Kaai                            The DiLorenzo Law Firm, LLC           7:21-cv-63588-MCR-GRJ
  18177      344934   Demarcus Smith                          The DiLorenzo Law Firm, LLC           7:21-cv-63590-MCR-GRJ




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  18178      344936   Matthew Holmes                          The DiLorenzo Law Firm, LLC           7:21-cv-63594-MCR-GRJ
  18179      344937   Lionel Everett                          The DiLorenzo Law Firm, LLC                                      7:21-cv-63596-MCR-GRJ
  18180      344938   Danny Garcia                            The DiLorenzo Law Firm, LLC           7:21-cv-63598-MCR-GRJ
  18181      344940   Michelle Schaefer                       The DiLorenzo Law Firm, LLC           7:21-cv-63603-MCR-GRJ
  18182      344941   Heith Crocker                           The DiLorenzo Law Firm, LLC                                      7:21-cv-63604-MCR-GRJ
  18183      350644   Bobby Green                             The DiLorenzo Law Firm, LLC                                      3:21-cv-01463-MCR-GRJ
  18184      350646   Paul Vigil                              The DiLorenzo Law Firm, LLC                                      3:21-cv-01464-MCR-GRJ
  18185      350647   Raishauna Prysock                       The DiLorenzo Law Firm, LLC                                      3:21-cv-01451-MCR-GRJ
  18186      351448   Nhan Nguyen                             The DiLorenzo Law Firm, LLC                                      3:21-cv-02144-MCR-GRJ
  18187      354599   Michael Barnes                          The DiLorenzo Law Firm, LLC                                      3:21-cv-03888-MCR-GRJ
  18188      354603   Dominique Brown                         The DiLorenzo Law Firm, LLC                                      3:21-cv-03897-MCR-GRJ
  18189      354613   Dustin Coil                             The DiLorenzo Law Firm, LLC                                      3:21-cv-03934-MCR-GRJ
  18190      354614   Spurgeon Coleman                        The DiLorenzo Law Firm, LLC                                      3:21-cv-03936-MCR-GRJ
  18191      354622   Joseph Delai                            The DiLorenzo Law Firm, LLC                                      3:21-cv-03964-MCR-GRJ
  18192      354627   Analdo Estime                           The DiLorenzo Law Firm, LLC                                      3:21-cv-03969-MCR-GRJ
  18193      354628   Jewel Ferguson                          The DiLorenzo Law Firm, LLC                                      3:21-cv-03970-MCR-GRJ
  18194      354630   Harold Flecha                           The DiLorenzo Law Firm, LLC                                      3:21-cv-03980-MCR-GRJ
  18195      354634   Marquis Garland                         The DiLorenzo Law Firm, LLC                                      3:21-cv-03985-MCR-GRJ
  18196      354635   Joshua Grice                            The DiLorenzo Law Firm, LLC                                      3:21-cv-03986-MCR-GRJ
  18197      354640   Xavier Hatchett                         The DiLorenzo Law Firm, LLC                                      3:21-cv-03992-MCR-GRJ
  18198      354645   Justin Hull                             The DiLorenzo Law Firm, LLC                                      3:21-cv-04089-MCR-GRJ
  18199      354651   Garry Letsky                            The DiLorenzo Law Firm, LLC                                      3:21-cv-04102-MCR-GRJ
  18200      354652   Brian Loli                              The DiLorenzo Law Firm, LLC                                      3:21-cv-04104-MCR-GRJ
  18201      354654   Troy Mccall                             The DiLorenzo Law Firm, LLC                                      3:21-cv-04062-MCR-GRJ
  18202      354659   Daniel Montoya                          The DiLorenzo Law Firm, LLC                                      3:21-cv-04121-MCR-GRJ
  18203      354660   Timothy Moss                            The DiLorenzo Law Firm, LLC                                      3:21-cv-04123-MCR-GRJ
  18204      354667   Kayla Olavarria                         The DiLorenzo Law Firm, LLC                                      3:21-cv-04135-MCR-GRJ
  18205      354673   Desointis Pettis                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04221-MCR-GRJ
  18206      354675   Rian Phelps                             The DiLorenzo Law Firm, LLC                                      3:21-cv-04166-MCR-GRJ
  18207      354680   Michael Queen                           The DiLorenzo Law Firm, LLC                                      3:21-cv-04230-MCR-GRJ
  18208      354684   Miguel Rivera                           The DiLorenzo Law Firm, LLC                                      3:21-cv-04276-MCR-GRJ
  18209      354685   Christopher Rodriguez                   The DiLorenzo Law Firm, LLC                                      3:21-cv-04170-MCR-GRJ
  18210      354689   Stephanie Russell                       The DiLorenzo Law Firm, LLC                                      3:21-cv-04291-MCR-GRJ
  18211      354690   Renisha Sao                             The DiLorenzo Law Firm, LLC                                      3:21-cv-04293-MCR-GRJ
  18212      354692   Da'Jon Singleton                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04173-MCR-GRJ
  18213      354694   Ralph Strother                          The DiLorenzo Law Firm, LLC                                      3:21-cv-04320-MCR-GRJ
  18214      354695   Jamela Sylvester                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04334-MCR-GRJ
  18215      354697   Elizabeth Turner                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04403-MCR-GRJ
  18216      354700   Kurt Waterstradt                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04411-MCR-GRJ
  18217      354701   Frank Welch                             The DiLorenzo Law Firm, LLC                                      3:21-cv-04413-MCR-GRJ
  18218      354704   Kevin Wilkes                            The DiLorenzo Law Firm, LLC                                      3:21-cv-04421-MCR-GRJ
  18219      354706   Lamonte Williams                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04425-MCR-GRJ
  18220      354708   Giovanni Woodard                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04428-MCR-GRJ
  18221      355488   Garret Barnes                           The DiLorenzo Law Firm, LLC                                      3:21-cv-04068-MCR-GRJ
  18222      355542   Dennoris Sanders                        The DiLorenzo Law Firm, LLC                                      3:21-cv-04185-MCR-GRJ
  18223      355545   Leon Taylor-Davis                       The DiLorenzo Law Firm, LLC                                      3:21-cv-04189-MCR-GRJ
  18224      195558   Johnie Ray Schrader                     The Downs Law Group                   8:20-cv-40620-MCR-GRJ      3:21-cv-00530-MCR-GRJ
  18225      195570   Clay Walrath                            The Downs Law Group                                              8:20-cv-40657-MCR-GRJ
  18226      16360    Jimmy Aragon                            The Ferraro Law Firm                  8:20-cv-34543-MCR-GRJ
  18227      16361    Michael Barnhart                        The Ferraro Law Firm                                             8:20-cv-34546-MCR-GRJ
  18228      169499   Michael Baumbert                        The Ferraro Law Firm                  8:20-cv-18394-MCR-GRJ
  18229      169508   Laurence Cleveland                      The Ferraro Law Firm                                             8:20-cv-18429-MCR-GRJ
  18230      169509   Martin Collins                          The Ferraro Law Firm                                             8:20-cv-18433-MCR-GRJ
  18231      169510   Wayne Conklin                           The Ferraro Law Firm                                             8:20-cv-18437-MCR-GRJ
  18232      169527   Michael Johnson                         The Ferraro Law Firm                  8:20-cv-18495-MCR-GRJ
  18233      176417   Antwyne Robinson                        The Ferraro Law Firm                  8:20-cv-28269-MCR-GRJ
  18234      178003   Jonathan Baker                          The Ferraro Law Firm                                             8:20-cv-18661-MCR-GRJ
  18235      178005   Charles Brock                           The Ferraro Law Firm                                             8:20-cv-18668-MCR-GRJ
  18236      178014   Scott Dilonardo                         The Ferraro Law Firm                                             8:20-cv-18693-MCR-GRJ
  18237      178024   Austin Lombard                          The Ferraro Law Firm                                             8:20-cv-18724-MCR-GRJ
  18238      178026   Justin Miller                           The Ferraro Law Firm                                             8:20-cv-18730-MCR-GRJ
  18239      178033   Stephanie Wintersteen                   The Ferraro Law Firm                                             8:20-cv-18752-MCR-GRJ
  18240      190785   Adam Burkam                             The Ferraro Law Firm                                             8:20-cv-60284-MCR-GRJ
  18241      190806   Casey White                             The Ferraro Law Firm                  8:20-cv-61071-MCR-GRJ
  18242      194297   Brandon Hukill                          The Ferraro Law Firm                  8:20-cv-32119-MCR-GRJ
  18243      291986   Thomas London                           The Gallagher Law Firm PLLC                                      7:21-cv-12401-MCR-GRJ
  18244      296323   Henry Mcenery                           The Gallagher Law Firm PLLC                                      7:21-cv-19878-MCR-GRJ
  18245      296328   Donald Shope                            The Gallagher Law Firm PLLC                                      7:21-cv-19883-MCR-GRJ
  18246      303871   Timothy Giunta                          The Gallagher Law Firm PLLC                                      7:21-cv-23418-MCR-GRJ
  18247      303876   John Wood                               The Gallagher Law Firm PLLC                                      7:21-cv-23423-MCR-GRJ
  18248      304200   Steven Boudreaux                        The Gallagher Law Firm PLLC                                      7:21-cv-23723-MCR-GRJ
  18249      304208   Donnie Adkins                           The Gallagher Law Firm PLLC                                      7:21-cv-23731-MCR-GRJ
  18250      304211   James Cook                              The Gallagher Law Firm PLLC                                      7:21-cv-23734-MCR-GRJ




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  18251      304220   Brooks Roberts                          The Gallagher Law Firm PLLC                                      7:21-cv-23743-MCR-GRJ
  18252      304222   Rodney Clark                            The Gallagher Law Firm PLLC                                      7:21-cv-23745-MCR-GRJ
  18253      309714   Robert Kraay                            The Hirsch Law Firm                                              7:21-cv-27523-MCR-GRJ
  18254      14931    Brett Ingenito                          The Kuykendall Group LLc              7:20-cv-94393-MCR-GRJ
  18255      14944    Thomas Mcnamara                         The Kuykendall Group LLc              7:20-cv-94420-MCR-GRJ
  18256      93526    Dominic Hithe                           The Kuykendall Group LLc                                         7:20-cv-94764-MCR-GRJ
  18257      93529    Ryan Reuss                              The Kuykendall Group LLc              7:20-cv-94770-MCR-GRJ
  18258      169580   Patrick Defile                          The Kuykendall Group LLc                                         7:20-cv-94579-MCR-GRJ
  18259      181930   Timothy Sheetz                          The Kuykendall Group LLc              7:20-cv-44722-MCR-GRJ
  18260      181934   Justin Broom                            The Kuykendall Group LLc                                         7:20-cv-44728-MCR-GRJ
  18261      197507   Elisha Baird                            The Kuykendall Group LLc                                         8:20-cv-40006-MCR-GRJ
  18262      197514   Adam Keen                               The Kuykendall Group LLc                                         8:20-cv-40024-MCR-GRJ
  18263      197520   Johnathan Gray                          The Kuykendall Group LLc              8:20-cv-40035-MCR-GRJ
  18264      197523   Raymond Moungey                         The Kuykendall Group LLc              8:20-cv-40041-MCR-GRJ
  18265      197526   Olusegun Omoyungbo                      The Kuykendall Group LLc                                         8:20-cv-40045-MCR-GRJ
  18266      197532   Justin Sperry                           The Kuykendall Group LLc                                         8:20-cv-40056-MCR-GRJ
  18267      217588   Joshua Purser                           The Kuykendall Group LLc              8:20-cv-60632-MCR-GRJ
  18268      217597   Lordney Mackey                          The Kuykendall Group LLc                                         8:20-cv-60672-MCR-GRJ
  18269      217601   William Murray                          The Kuykendall Group LLc              8:20-cv-60690-MCR-GRJ
  18270      217607   Judah Smith                             The Kuykendall Group LLc              8:20-cv-60710-MCR-GRJ
  18271      217613   Reginald Moore                          The Kuykendall Group LLc              8:20-cv-60729-MCR-GRJ
  18272      217616   Desadier Bourgeois                      The Kuykendall Group LLc              8:20-cv-60738-MCR-GRJ
  18273      217620   Abel Orta                               The Kuykendall Group LLc                                         8:20-cv-60751-MCR-GRJ
  18274      217622   Anthony Ferguson                        The Kuykendall Group LLc                                         8:20-cv-60757-MCR-GRJ
  18275      217634   Christopher Shotkoski                   The Kuykendall Group LLc              8:20-cv-60795-MCR-GRJ
  18276      217642   Donald Bruner                           The Kuykendall Group LLc              8:20-cv-60818-MCR-GRJ
  18277      239762   Jackie Snow                             The Kuykendall Group LLc              8:20-cv-68499-MCR-GRJ
  18278      240611   Michael Roberts                         The Kuykendall Group LLc                                         8:20-cv-82666-MCR-GRJ
  18279      240615   Joe Vasquez                             The Kuykendall Group LLc              8:20-cv-82669-MCR-GRJ
  18280      246166   Bruce Kennedy                           The Kuykendall Group LLc              8:20-cv-86614-MCR-GRJ
  18281      267404   Terry Corder                            The Kuykendall Group LLc              9:20-cv-06905-MCR-GRJ
  18282      267414   Daniel Edwards                          The Kuykendall Group LLc                                         9:20-cv-06933-MCR-GRJ
  18283      267418   Bernard Foster                          The Kuykendall Group LLc              9:20-cv-06942-MCR-GRJ
  18284      267433   Mark Ingwerson                          The Kuykendall Group LLc              9:20-cv-06974-MCR-GRJ
  18285      267454   Nathan Macfall                          The Kuykendall Group LLc              9:20-cv-07016-MCR-GRJ
  18286      267494   Joshua Torres                           The Kuykendall Group LLc              9:20-cv-07285-MCR-GRJ
  18287      276680   Todd King                               The Kuykendall Group LLc              9:20-cv-17965-MCR-GRJ
  18288      276693   Michael Smith                           The Kuykendall Group LLc              9:20-cv-17978-MCR-GRJ
  18289      276702   Ron Palacios                            The Kuykendall Group LLc                                         9:20-cv-17987-MCR-GRJ
  18290      276710   Robert Price                            The Kuykendall Group LLc              9:20-cv-17995-MCR-GRJ
  18291      276714   Remington Miyashiro                     The Kuykendall Group LLc                                         9:20-cv-17999-MCR-GRJ
  18292      276738   Robert Lugo                             The Kuykendall Group LLc                                         9:20-cv-18023-MCR-GRJ
  18293      276747   Dale Prickett                           The Kuykendall Group LLc                                         9:20-cv-18032-MCR-GRJ
  18294      289240   James Lewis                             The Kuykendall Group LLc              7:21-cv-10212-MCR-GRJ
  18295      289255   Brian Bornick                           The Kuykendall Group LLc              7:21-cv-10227-MCR-GRJ
  18296      289277   Paul Orgler                             The Kuykendall Group LLc              7:21-cv-10249-MCR-GRJ
  18297      302969   Hillary Hicks                           The Kuykendall Group LLc              7:21-cv-19679-MCR-GRJ
  18298      302986   Victor Hogan                            The Kuykendall Group LLc              7:21-cv-19696-MCR-GRJ
  18299      302992   Jesse Yandell                           The Kuykendall Group LLc              7:21-cv-19702-MCR-GRJ
  18300      303012   Sandra Stuart                           The Kuykendall Group LLc                                         7:21-cv-19722-MCR-GRJ
  18301      317513   Julio Quiles                            The Kuykendall Group LLc              7:21-cv-31203-MCR-GRJ
  18302      317515   Travis Bell                             The Kuykendall Group LLc              7:21-cv-31205-MCR-GRJ
  18303      321873   Roberto Diaz Hernandez                  The Kuykendall Group LLc              7:21-cv-42064-MCR-GRJ
  18304      321918   David Smith                             The Kuykendall Group LLc                                         7:21-cv-42156-MCR-GRJ
  18305      321964   Lionel Ortiz                            The Kuykendall Group LLc              7:21-cv-42210-MCR-GRJ
  18306      322032   Timothy Mccullough                      The Kuykendall Group LLc              7:21-cv-42278-MCR-GRJ
  18307      322042   Adam Byrd                               The Kuykendall Group LLc              7:21-cv-42288-MCR-GRJ
  18308      322047   Jose Rueda                              The Kuykendall Group LLc              7:21-cv-42293-MCR-GRJ
  18309      322083   Pierre Harris                           The Kuykendall Group LLc              7:21-cv-42329-MCR-GRJ
  18310      322108   Christopher Davis                       The Kuykendall Group LLc              7:21-cv-42354-MCR-GRJ
  18311      322123   Ryan Martin                             The Kuykendall Group LLc                                         7:21-cv-42369-MCR-GRJ
  18312      322127   Marian Glisson                          The Kuykendall Group LLc                                         7:21-cv-42373-MCR-GRJ
  18313      322141   Justin Ellison                          The Kuykendall Group LLc              7:21-cv-42387-MCR-GRJ
  18314      322149   Sterling Ingram                         The Kuykendall Group LLc              7:21-cv-42395-MCR-GRJ
  18315      322151   Michael Vanderburg                      The Kuykendall Group LLc              7:21-cv-42397-MCR-GRJ
  18316      322152   Derek Reynolds                          The Kuykendall Group LLc              7:21-cv-42398-MCR-GRJ
  18317      322169   Joseph Winiarz                          The Kuykendall Group LLc              7:21-cv-42415-MCR-GRJ
  18318      322170   Caleb Brown                             The Kuykendall Group LLc              7:21-cv-42416-MCR-GRJ
  18319      322172   John Orozco                             The Kuykendall Group LLc                                         7:21-cv-42418-MCR-GRJ
  18320      322183   Karl Voeller                            The Kuykendall Group LLc                                         7:21-cv-42429-MCR-GRJ
  18321      322224   Eric Tillman                            The Kuykendall Group LLc              7:21-cv-37820-MCR-GRJ
  18322      322228   Jeremiah Shelton                        The Kuykendall Group LLc                                         7:21-cv-37828-MCR-GRJ
  18323      322234   Richard Ritterbeck                      The Kuykendall Group LLc              7:21-cv-37839-MCR-GRJ




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  18324      325168   Alfredo Cardoza Gress                   The Kuykendall Group LLc           7:21-cv-44600-MCR-GRJ
  18325      325172   Kenneth Turner                          The Kuykendall Group LLc           7:21-cv-44604-MCR-GRJ
  18326      325179   Jason Dasilva                           The Kuykendall Group LLc                                      7:21-cv-44611-MCR-GRJ
  18327      325183   Hector Rivera                           The Kuykendall Group LLc           7:21-cv-44615-MCR-GRJ
  18328      325209   Daniel Byrd                             The Kuykendall Group LLc           7:21-cv-44641-MCR-GRJ
  18329      325228   Christopher Mcham                       The Kuykendall Group LLc                                      7:21-cv-44660-MCR-GRJ
  18330      325244   Tracy Chapman                           The Kuykendall Group LLc                                      7:21-cv-44676-MCR-GRJ
  18331      325253   Nicholas Weeks                          The Kuykendall Group LLc           7:21-cv-44685-MCR-GRJ
  18332      325256   Miguel Villagran                        The Kuykendall Group LLc           7:21-cv-44688-MCR-GRJ
  18333      325266   Ian Fernandez                           The Kuykendall Group LLc           7:21-cv-44698-MCR-GRJ
  18334      325291   Christian Smith                         The Kuykendall Group LLc           7:21-cv-44723-MCR-GRJ
  18335      325308   David Mccurdy                           The Kuykendall Group LLc                                      7:21-cv-44740-MCR-GRJ
  18336      325309   Mark Bertish                            The Kuykendall Group LLc           7:21-cv-44741-MCR-GRJ
  18337      325326   Nathaniel Williams                      The Kuykendall Group LLc           7:21-cv-44758-MCR-GRJ
  18338      325355   Justin Mosely                           The Kuykendall Group LLc           7:21-cv-44787-MCR-GRJ
  18339      331538   Brian Willess                           The Kuykendall Group LLc           7:21-cv-50494-MCR-GRJ
  18340      331578   Michael Newsom                          The Kuykendall Group LLc           7:21-cv-50573-MCR-GRJ
  18341      331626   Kyle Green                              The Kuykendall Group LLc           7:21-cv-50619-MCR-GRJ
  18342      331656   Michael Larson                          The Kuykendall Group LLc           7:21-cv-50649-MCR-GRJ
  18343      331658   James Elliott                           The Kuykendall Group LLc                                      7:21-cv-50651-MCR-GRJ
  18344      331702   Gregory Beahm                           The Kuykendall Group LLc           7:21-cv-50695-MCR-GRJ
  18345      331717   Justin Williams                         The Kuykendall Group LLc           7:21-cv-50710-MCR-GRJ
  18346      334675   Samuel Luther                           The Kuykendall Group LLc           7:21-cv-54851-MCR-GRJ
  18347      334694   Baxter Pinderhughes                     The Kuykendall Group LLc           7:21-cv-55122-MCR-GRJ
  18348      334699   Arthur Davis                            The Kuykendall Group LLc                                      7:21-cv-55127-MCR-GRJ
  18349      334701   Sean Osteen                             The Kuykendall Group LLc           7:21-cv-55128-MCR-GRJ
  18350      334724   Andrew Foreman                          The Kuykendall Group LLc           7:21-cv-55149-MCR-GRJ
  18351      334752   Carlo Montesa                           The Kuykendall Group LLc           7:21-cv-55186-MCR-GRJ
  18352      334755   Zachary Livesay                         The Kuykendall Group LLc                                      7:21-cv-55192-MCR-GRJ
  18353      334756   Kelvin Miles                            The Kuykendall Group LLc           7:21-cv-55195-MCR-GRJ
  18354      334791   Ronald Snyder                           The Kuykendall Group LLc           7:21-cv-55269-MCR-GRJ
  18355      334797   Kenneth Ward                            The Kuykendall Group LLc                                      7:21-cv-55282-MCR-GRJ
  18356      334810   Samual Vogler                           The Kuykendall Group LLc                                      7:21-cv-55306-MCR-GRJ
  18357      334819   Robert Gutenmakher                      The Kuykendall Group LLc           7:21-cv-55325-MCR-GRJ
  18358      349573   Christopher Wensel                      The Kuykendall Group LLc                                      3:21-cv-01269-MCR-GRJ
  18359      349576   Trevor Smith                            The Kuykendall Group LLc                                      3:21-cv-01272-MCR-GRJ
  18360      349581   Trevor Tomlinson                        The Kuykendall Group LLc                                      3:21-cv-01280-MCR-GRJ
  18361      349587   Antoine Copeland                        The Kuykendall Group LLc                                      3:21-cv-01336-MCR-GRJ
  18362      349588   Armandina Garza                         The Kuykendall Group LLc                                      3:21-cv-01337-MCR-GRJ
  18363      349591   Eric Menamunoz                          The Kuykendall Group LLc                                      3:21-cv-01340-MCR-GRJ
  18364      349592   Danzel Anderson                         The Kuykendall Group LLc                                      3:21-cv-01341-MCR-GRJ
  18365      349602   Salvador Arredondo-Guzman               The Kuykendall Group LLc                                      3:21-cv-01350-MCR-GRJ
  18366      349603   Robert Whittaker                        The Kuykendall Group LLc                                      3:21-cv-01351-MCR-GRJ
  18367      349621   Hasan Tuareg                            The Kuykendall Group LLc                                      3:21-cv-01375-MCR-GRJ
  18368      349626   Eric Knighton                           The Kuykendall Group LLc                                      3:21-cv-01391-MCR-GRJ
  18369      349637   Falanne Jenkins                         The Kuykendall Group LLc                                      3:21-cv-01406-MCR-GRJ
  18370      349643   Dennis Mcvey                            The Kuykendall Group LLc                                      3:21-cv-01418-MCR-GRJ
  18371      352775   Daniel Colvin                           The Kuykendall Group LLc                                      3:21-cv-02232-MCR-GRJ
  18372      352776   Joshua Padgett                          The Kuykendall Group LLc                                      3:21-cv-02611-MCR-GRJ
  18373      352782   Aza Sabot                               The Kuykendall Group LLc                                      3:21-cv-02620-MCR-GRJ
  18374      352790   Clifford Etienne                        The Kuykendall Group LLc                                      3:21-cv-02238-MCR-GRJ
  18375      352795   David Shelby                            The Kuykendall Group LLc                                      3:21-cv-02640-MCR-GRJ
  18376      352801   James Trevisan                          The Kuykendall Group LLc                                      3:21-cv-02668-MCR-GRJ
  18377      352807   Jeffrey Holmes                          The Kuykendall Group LLc                                      3:21-cv-02404-MCR-GRJ
  18378      352812   Jonathon Garnier                        The Kuykendall Group LLc                                      3:21-cv-02368-MCR-GRJ
  18379      352813   Jose Navalta                            The Kuykendall Group LLc                                      3:21-cv-02563-MCR-GRJ
  18380      352815   Justina Johnson                         The Kuykendall Group LLc                                      3:21-cv-02417-MCR-GRJ
  18381      352822   Michael Dellinger                       The Kuykendall Group LLc                                      3:21-cv-02234-MCR-GRJ
  18382      352827   Rashaid Burris-Boulden                  The Kuykendall Group LLc                                      3:21-cv-02181-MCR-GRJ
  18383      352832   Sebastian Velasquez                     The Kuykendall Group LLc                                      3:21-cv-02671-MCR-GRJ
  18384      352836   Steven Chu                              The Kuykendall Group LLc                                      3:21-cv-02231-MCR-GRJ
  18385      352839   Tyler Ward                              The Kuykendall Group LLc                                      3:21-cv-02697-MCR-GRJ
  18386      352842   Eugene Meade                            The Kuykendall Group LLc                                      3:21-cv-02507-MCR-GRJ
  18387      352844   Milan Thakkar                           The Kuykendall Group LLc                                      3:21-cv-02657-MCR-GRJ
  18388      352853   Brett Megarity-Koch                     The Kuykendall Group LLc                                      3:21-cv-02510-MCR-GRJ
  18389      352866   Jose Ortiz                              The Kuykendall Group LLc                                      3:21-cv-02568-MCR-GRJ
  18390      352873   Tina Morrison                           The Kuykendall Group LLc                                      3:21-cv-02560-MCR-GRJ
  18391      355131   Kevin Johnson                           The Kuykendall Group LLc                                      3:21-cv-04204-MCR-GRJ
  18392      355132   Christophe Hernke                       The Kuykendall Group LLc                                      3:21-cv-04132-MCR-GRJ
  18393      355145   Nicholas Duca                           The Kuykendall Group LLc                                      3:21-cv-03975-MCR-GRJ
  18394      355147   Tyrone Dyer                             The Kuykendall Group LLc                                      3:21-cv-04076-MCR-GRJ
  18395      355150   Michael Bailey                          The Kuykendall Group LLc                                      3:21-cv-03858-MCR-GRJ
  18396      355163   Stephen Sider                           The Kuykendall Group LLc                                      3:21-cv-04534-MCR-GRJ




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  18397      355165   Beau Putnam                             The Kuykendall Group LLc                                              3:21-cv-04491-MCR-GRJ
  18398      355185   Lauren Daugherty                        The Kuykendall Group LLc                                              3:21-cv-03906-MCR-GRJ
  18399      355195   Mark Church                             The Kuykendall Group LLc                                              3:21-cv-03900-MCR-GRJ
  18400      355204   Howard Laird                            The Kuykendall Group LLc                                              3:21-cv-04218-MCR-GRJ
  18401      355205   Sir Jones                               The Kuykendall Group LLc                                              3:21-cv-04209-MCR-GRJ
  18402      355213   Javante Johnson                         The Kuykendall Group LLc                                              3:21-cv-04201-MCR-GRJ
  18403      355215   Jonathan Dickerson                      The Kuykendall Group LLc                                              3:21-cv-03973-MCR-GRJ
  18404      355216   Michael Thomas                          The Kuykendall Group LLc                                              3:21-cv-04559-MCR-GRJ
  18405      355219   Jasmine Elliott                         The Kuykendall Group LLc                                              3:21-cv-04077-MCR-GRJ
  18406      356073   Hayden Rosenfeld                        The Kuykendall Group LLc                                              3:22-cv-00245-MCR-GRJ
  18407      356074   Kenneth Sprague                         The Kuykendall Group LLc                                              3:22-cv-00247-MCR-GRJ
  18408      356076   Nicholas Dueno                          The Kuykendall Group LLc                                              3:22-cv-00251-MCR-GRJ
  18409      356077   Andrew Bonnegent                        The Kuykendall Group LLc                                              3:22-cv-00280-MCR-GRJ
  18410      356079   Joe Waterman                            The Kuykendall Group LLc                                              3:22-cv-00282-MCR-GRJ
  18411      356085   Harold Coons                            The Kuykendall Group LLc                                              3:22-cv-00298-MCR-GRJ
  18412      356086   Richard Jackson                         The Kuykendall Group LLc                                              3:22-cv-00300-MCR-GRJ
  18413      356087   Adam Hester                             The Kuykendall Group LLc                                              3:22-cv-00301-MCR-GRJ
  18414      356093   Keegan Mckay                            The Kuykendall Group LLc                                              3:22-cv-00328-MCR-GRJ
  18415      356095   Perry James                             The Kuykendall Group LLc                                              3:22-cv-00348-MCR-GRJ
  18416      356098   John Newell                             The Kuykendall Group LLc                                              3:22-cv-00352-MCR-GRJ
  18417      356101   Jeremy Murray                           The Kuykendall Group LLc                                              3:22-cv-00384-MCR-GRJ
  18418      356103   Carlyne Gray                            The Kuykendall Group LLc                                              3:22-cv-00391-MCR-GRJ
  18419      356125   Brian Peterson                          The Kuykendall Group LLc                                              3:22-cv-00616-MCR-GRJ
  18420      356131   Nicholas Dereschuk                      The Kuykendall Group LLc                                              3:22-cv-00646-MCR-GRJ
  18421      356145   Joseph Huber                            The Kuykendall Group LLc                                              3:22-cv-00741-MCR-GRJ
  18422      356146   Herman Williams                         The Kuykendall Group LLc                                              3:22-cv-00742-MCR-GRJ
  18423      356158   Aaron Brewton                           The Kuykendall Group LLc                                              3:22-cv-00780-MCR-GRJ
  18424      356161   Joshua Brinks                           The Kuykendall Group LLc                                              3:22-cv-00787-MCR-GRJ
  18425      356164   William Demunbrun                       The Kuykendall Group LLc                                              3:22-cv-00793-MCR-GRJ
  18426      356177   John Sparks                             The Kuykendall Group LLc                                              3:22-cv-00845-MCR-GRJ
  18427      356178   Kerby Joseph                            The Kuykendall Group LLc                                              3:22-cv-00846-MCR-GRJ
  18428      356180   Lequienton Harper                       The Kuykendall Group LLc                                              3:22-cv-00850-MCR-GRJ
  18429      356181   Michael Curry                           The Kuykendall Group LLc                                              3:22-cv-00904-MCR-GRJ
  18430      356184   John Glisson                            The Kuykendall Group LLc                                              3:22-cv-00915-MCR-GRJ
  18431      356185   Denise Ahumada                          The Kuykendall Group LLc                                              3:22-cv-00922-MCR-GRJ
  18432      356193   Tyrane Lewis                            The Kuykendall Group LLc                                              3:22-cv-00968-MCR-GRJ
  18433      356195   Taylor Njagu                            The Kuykendall Group LLc                                              3:22-cv-00973-MCR-GRJ
  18434      356197   Christopher Strawser                    The Kuykendall Group LLc                                              3:22-cv-00975-MCR-GRJ
  18435      356202   Steven Kambouris                        The Kuykendall Group LLc                                              3:22-cv-01005-MCR-GRJ
  18436      356203   Michael Kier                            The Kuykendall Group LLc                                              3:22-cv-01006-MCR-GRJ
  18437      356206   Alexander Shipman                       The Kuykendall Group LLc                                              3:22-cv-01012-MCR-GRJ
  18438      356207   Anthony Riddle                          The Kuykendall Group LLc                                              3:22-cv-01013-MCR-GRJ
  18439      356208   Helman Roman                            The Kuykendall Group LLc                                              3:22-cv-01014-MCR-GRJ
  18440      356213   Darrell Jones                           The Kuykendall Group LLc                                              3:22-cv-01019-MCR-GRJ
  18441      356221   Joseph Houston                          The Kuykendall Group LLc                                              3:22-cv-01027-MCR-GRJ
  18442      48704    Michael Richey                          The Lanier Law Firm                                                   7:20-cv-04490-MCR-GRJ
  18443      48712    Michael Brennan                         The Lanier Law Firm                                                   7:20-cv-04364-MCR-GRJ
  18444      48730    Phillip Pennington                      The Lanier Law Firm                                                   3:19-cv-00742-MCR-GRJ
  18445      48733    John Briseno                            The Lanier Law Firm                                                   7:20-cv-04403-MCR-GRJ
  18446      48835    William Muniz-Torres                    The Lanier Law Firm                                                   7:20-cv-04519-MCR-GRJ
  18447      48941    Steven Mezynski                         The Lanier Law Firm                                                   7:20-cv-04679-MCR-GRJ
  18448      48983    Eric Clark                              The Lanier Law Firm                        7:20-cv-04855-MCR-GRJ
  18449      49058    Justin Pecoraro                         The Lanier Law Firm                        7:20-cv-04968-MCR-GRJ
  18450      49079    Santos Lira                             The Lanier Law Firm                                                   7:20-cv-04931-MCR-GRJ
  18451      144295   Brent Kile                              The Lanier Law Firm                                                   3:19-cv-04336-MCR-GRJ
  18452      176319   Michael Stroup                          The Lanier Law Firm                                                   7:20-cv-41281-MCR-GRJ
  18453      265390   Kenny Bryant                            The Lanier Law Firm                                                   9:20-cv-06072-MCR-GRJ
  18454      59902    Brodrick Jackson                        The Law Office of L. Paul Mankin                                      8:20-cv-33495-MCR-GRJ
  18455      59915    Kelvin Lowe                             The Law Office of L. Paul Mankin           8:20-cv-33552-MCR-GRJ
  18456      59917    Pahco Maresh                            The Law Office of L. Paul Mankin           8:20-cv-33560-MCR-GRJ
  18457      59932    Kevin Morrison                          The Law Office of L. Paul Mankin           8:20-cv-33612-MCR-GRJ
  18458      59935    Jacob Napper                            The Law Office of L. Paul Mankin                                      8:20-cv-33626-MCR-GRJ
  18459      59942    David Reed                              The Law Office of L. Paul Mankin           8:20-cv-33648-MCR-GRJ
  18460      59949    Paulo Santos                            The Law Office of L. Paul Mankin                                      8:20-cv-33672-MCR-GRJ
  18461      59953    John Smith                              The Law Office of L. Paul Mankin           8:20-cv-33684-MCR-GRJ
  18462      59954    Joseph Smith                            The Law Office of L. Paul Mankin                                      8:20-cv-33687-MCR-GRJ
  18463      59957    James Stephenson                        The Law Office of L. Paul Mankin           8:20-cv-33698-MCR-GRJ
  18464      59962    Jacob Swisher                           The Law Office of L. Paul Mankin           8:20-cv-33714-MCR-GRJ
  18465      181851   Justin Boarts                           The Law Office of L. Paul Mankin           8:20-cv-54127-MCR-GRJ
  18466      181857   Jacob Chadwick                          The Law Office of L. Paul Mankin           8:20-cv-54144-MCR-GRJ
  18467      181899   Nicholas Politz                         The Law Office of L. Paul Mankin                                      8:20-cv-54287-MCR-GRJ
  18468      181907   Michael Trexler                         The Law Office of L. Paul Mankin           8:20-cv-54317-MCR-GRJ
  18469      197558   Mark Brown                              The Law Office of L. Paul Mankin           8:20-cv-40864-MCR-GRJ




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  18470      197562   Marcus Burnette                         The Law Office of L. Paul Mankin           8:20-cv-40868-MCR-GRJ
  18471      197618   Bryan Hayes                             The Law Office of L. Paul Mankin           8:20-cv-40924-MCR-GRJ
  18472      197639   Allen Kiser                             The Law Office of L. Paul Mankin                                      8:20-cv-40951-MCR-GRJ
  18473      197652   Brandon Mckusker                        The Law Office of L. Paul Mankin           8:20-cv-40964-MCR-GRJ
  18474      197662   Laura Oxendine                          The Law Office of L. Paul Mankin           8:20-cv-40974-MCR-GRJ
  18475      197670   Jacob Ramsdell                          The Law Office of L. Paul Mankin           8:20-cv-40982-MCR-GRJ
  18476      197684   Dion Sherman                            The Law Office of L. Paul Mankin           8:20-cv-40996-MCR-GRJ
  18477      220563   Samuel Armstrong                        The Law Office of L. Paul Mankin           8:20-cv-69638-MCR-GRJ
  18478      220572   Joe Baldwin                             The Law Office of L. Paul Mankin           8:20-cv-69655-MCR-GRJ
  18479      220574   Stacy Bay                               The Law Office of L. Paul Mankin           8:20-cv-69659-MCR-GRJ
  18480      220601   Hugo Chavarria                          The Law Office of L. Paul Mankin                                      8:20-cv-69711-MCR-GRJ
  18481      220602   Harjot Chehal                           The Law Office of L. Paul Mankin                                      8:20-cv-69713-MCR-GRJ
  18482      220603   James Childers                          The Law Office of L. Paul Mankin                                      8:20-cv-69715-MCR-GRJ
  18483      220604   Allenmichael Christie                   The Law Office of L. Paul Mankin           8:20-cv-69717-MCR-GRJ
  18484      220615   Ryan Coyle                              The Law Office of L. Paul Mankin           8:20-cv-69737-MCR-GRJ
  18485      220621   Jordan Crowe                            The Law Office of L. Paul Mankin           8:20-cv-69749-MCR-GRJ
  18486      220623   Filemon Cuellar                         The Law Office of L. Paul Mankin           8:20-cv-69753-MCR-GRJ
  18487      220632   Christopher Dickinson                   The Law Office of L. Paul Mankin           8:20-cv-69770-MCR-GRJ
  18488      220637   Michael Douglas                         The Law Office of L. Paul Mankin           8:20-cv-69779-MCR-GRJ
  18489      220639   Tara Drafton                            The Law Office of L. Paul Mankin                                      8:20-cv-69783-MCR-GRJ
  18490      220640   Jessica Dulle                           The Law Office of L. Paul Mankin           8:20-cv-69785-MCR-GRJ
  18491      220659   Jason Ford                              The Law Office of L. Paul Mankin           8:20-cv-69833-MCR-GRJ
  18492      220661   Andrew Foster                           The Law Office of L. Paul Mankin                                      8:20-cv-69839-MCR-GRJ
  18493      220667   Colton Frederick                        The Law Office of L. Paul Mankin                                      8:20-cv-69857-MCR-GRJ
  18494      220678   Matthew Goodman                         The Law Office of L. Paul Mankin                                      8:20-cv-69890-MCR-GRJ
  18495      220690   Cedric Harrison                         The Law Office of L. Paul Mankin                                      8:20-cv-69926-MCR-GRJ
  18496      220702   Caree Hollingsworth                     The Law Office of L. Paul Mankin           8:20-cv-69962-MCR-GRJ
  18497      220706   Avroham Horovitz                        The Law Office of L. Paul Mankin                                      8:20-cv-69974-MCR-GRJ
  18498      220707   Aaron Huneycutt                         The Law Office of L. Paul Mankin           8:20-cv-69977-MCR-GRJ
  18499      220741   Brett Losinski                          The Law Office of L. Paul Mankin           8:20-cv-70074-MCR-GRJ
  18500      220746   Kelvin Mahan                            The Law Office of L. Paul Mankin                                      8:20-cv-70084-MCR-GRJ
  18501      220750   Heather Martin                          The Law Office of L. Paul Mankin           8:20-cv-70093-MCR-GRJ
  18502      220754   Michael Matley                          The Law Office of L. Paul Mankin           8:20-cv-70101-MCR-GRJ
  18503      220785   Ricky Nave                              The Law Office of L. Paul Mankin           8:20-cv-70164-MCR-GRJ
  18504      220804   John Peterson                           The Law Office of L. Paul Mankin                                      8:20-cv-70204-MCR-GRJ
  18505      220806   Ahmed Pittman                           The Law Office of L. Paul Mankin                                      8:20-cv-70208-MCR-GRJ
  18506      220809   Burton Pratt                            The Law Office of L. Paul Mankin                                      8:20-cv-70214-MCR-GRJ
  18507      220828   Andrew Robinson                         The Law Office of L. Paul Mankin           8:20-cv-70253-MCR-GRJ
  18508      220875   Amber Strupp                            The Law Office of L. Paul Mankin           8:20-cv-70349-MCR-GRJ
  18509      220877   Jake Taylor                             The Law Office of L. Paul Mankin           8:20-cv-70354-MCR-GRJ
  18510      220890   Adeem Tubbs                             The Law Office of L. Paul Mankin           8:20-cv-70380-MCR-GRJ
  18511      267204   James Miller                            The Law Office of L. Paul Mankin           9:20-cv-08560-MCR-GRJ
  18512      276565   Geary Davis                             The Law Office of L. Paul Mankin                                      9:20-cv-18699-MCR-GRJ
  18513      289104   Terrance Chestnut                       The Law Office of L. Paul Mankin                                      7:21-cv-10076-MCR-GRJ
  18514      289130   Justin Hamilton                         The Law Office of L. Paul Mankin                                      7:21-cv-10102-MCR-GRJ
  18515      289145   Michael Jarrett                         The Law Office of L. Paul Mankin                                      7:21-cv-10117-MCR-GRJ
  18516      289147   Caleb Kellogg                           The Law Office of L. Paul Mankin           7:21-cv-10119-MCR-GRJ
  18517      289155   Reyes Maza                              The Law Office of L. Paul Mankin           7:21-cv-10127-MCR-GRJ
  18518      289160   River Mills                             The Law Office of L. Paul Mankin           7:21-cv-10132-MCR-GRJ
  18519      289184   Mike Rivera                             The Law Office of L. Paul Mankin           7:21-cv-10156-MCR-GRJ
  18520      289202   Carl Strong                             The Law Office of L. Paul Mankin           7:21-cv-10174-MCR-GRJ
  18521      289204   Benjamin Thompson                       The Law Office of L. Paul Mankin           7:21-cv-10176-MCR-GRJ
  18522      289207   Ryan Urban                              The Law Office of L. Paul Mankin           7:21-cv-10179-MCR-GRJ
  18523      289209   Yuri Wallace                            The Law Office of L. Paul Mankin           7:21-cv-10181-MCR-GRJ
  18524      289210   Charles Walker                          The Law Office of L. Paul Mankin                                      7:21-cv-10182-MCR-GRJ
  18525      302783   Rudy John                               The Law Office of L. Paul Mankin           7:21-cv-22945-MCR-GRJ
  18526      302794   Jordan Kuehn                            The Law Office of L. Paul Mankin                                      7:21-cv-22956-MCR-GRJ
  18527      302797   Shaun Linley                            The Law Office of L. Paul Mankin                                      7:21-cv-22959-MCR-GRJ
  18528      302817   Jabre Norwood                           The Law Office of L. Paul Mankin                                      7:21-cv-22979-MCR-GRJ
  18529      302818   Uchenna Nwachuku                        The Law Office of L. Paul Mankin           7:21-cv-22980-MCR-GRJ
  18530      302869   Willie Walden                           The Law Office of L. Paul Mankin           7:21-cv-23031-MCR-GRJ
  18531      317493   Justin Smith                            The Law Office of L. Paul Mankin           7:21-cv-31189-MCR-GRJ
  18532      357462   Richard Oh                              The Law Office of L. Paul Mankin                                      3:22-cv-01509-MCR-GRJ
  18533      318798   Carlo De La Cruz                        The Law Offices of Jeffrey S. Glassman     7:21-cv-29975-MCR-GRJ
  18534      320953   Kevin Otero                             The Law Offices of Jeffrey S. Glassman     7:21-cv-33585-MCR-GRJ
  18535      325612   Kirk Ladd                               The Law Offices of Jeffrey S. Glassman                                7:21-cv-40618-MCR-GRJ
  18536      356062   Joshua Vanbeek                          The Law Offices of Jeffrey S. Glassman                                3:21-cv-04939-MCR-GRJ
  18537      356271   Anthony Trocchio                        The Law Offices of Jeffrey S. Glassman                                3:22-cv-00293-MCR-GRJ
  18538      48465    Otis Newson                             The Moody Law Firm                                                    7:20-cv-44132-MCR-GRJ
  18539      48555    Robert Hicks                            The Moody Law Firm                                                    7:20-cv-44289-MCR-GRJ
  18540      48614    Andrew Nguyen                           The Moody Law Firm                                                    7:20-cv-44407-MCR-GRJ
  18541      48651    Anthony Rush                            The Moody Law Firm                         7:20-cv-44492-MCR-GRJ
  18542      48670    Jacob Schuyler                          The Moody Law Firm                                                    7:20-cv-44528-MCR-GRJ




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  18543      48683    Justin Bowser                           The Moody Law Firm                                       7:20-cv-44557-MCR-GRJ
  18544      48687    Roman Alvarado                          The Moody Law Firm                                       7:20-cv-44565-MCR-GRJ
  18545      169609   Audrey Laczko                           The Moody Law Firm            7:20-cv-42618-MCR-GRJ
  18546      169610   Leah Lockett                            The Moody Law Firm                                       7:20-cv-42620-MCR-GRJ
  18547      181949   Kacia Holmes                            The Moody Law Firm                                       7:20-cv-44757-MCR-GRJ
  18548      181952   Christopher Sutherland                  The Moody Law Firm                                       7:20-cv-44763-MCR-GRJ
  18549      96590    Risharde Applewhite                     The Murray Law Firm           8:20-cv-35868-MCR-GRJ
  18550      96591    Lazandra Ashton                         The Murray Law Firm                                      8:20-cv-35869-MCR-GRJ
  18551      96596    Ross Batts                              The Murray Law Firm           8:20-cv-35874-MCR-GRJ
  18552      96597    Casey Bell                              The Murray Law Firm           8:20-cv-35875-MCR-GRJ
  18553      96599    Justin Bergquist                        The Murray Law Firm                                      8:20-cv-35877-MCR-GRJ
  18554      96602    Eric Blanchard                          The Murray Law Firm                                      8:20-cv-35880-MCR-GRJ
  18555      96607    Robert Bowlin                           The Murray Law Firm                                      8:20-cv-35885-MCR-GRJ
  18556      96609    Patrick Bramlett                        The Murray Law Firm           8:20-cv-35887-MCR-GRJ
  18557      96610    Allen Breeden                           The Murray Law Firm           8:20-cv-35888-MCR-GRJ
  18558      96611    Eric Britt                              The Murray Law Firm                                      8:20-cv-35889-MCR-GRJ
  18559      96612    Donald Broughton                        The Murray Law Firm           8:20-cv-35890-MCR-GRJ
  18560      96615    Justin Brownrigg                        The Murray Law Firm           8:20-cv-35893-MCR-GRJ
  18561      96617    Jeffrey Bush                            The Murray Law Firm           8:20-cv-35895-MCR-GRJ
  18562      96618    Kaleb Byerley                           The Murray Law Firm           8:20-cv-35896-MCR-GRJ
  18563      96623    John Carroll                            The Murray Law Firm           8:20-cv-35901-MCR-GRJ
  18564      96625    Jonathan Cerra                          The Murray Law Firm           8:20-cv-35903-MCR-GRJ
  18565      96626    Tracy Champio                           The Murray Law Firm           8:20-cv-35904-MCR-GRJ
  18566      96630    Jason Compton                           The Murray Law Firm           8:20-cv-35909-MCR-GRJ
  18567      96631    James Conley                            The Murray Law Firm           8:20-cv-35911-MCR-GRJ
  18568      96633    Troy Cord                               The Murray Law Firm           8:20-cv-35915-MCR-GRJ
  18569      96640    Gerald Curry                            The Murray Law Firm           8:20-cv-35929-MCR-GRJ
  18570      96645    Cody Diaz                               The Murray Law Firm           8:20-cv-35933-MCR-GRJ
  18571      96646    Adell Dickson                           The Murray Law Firm           8:20-cv-35934-MCR-GRJ
  18572      96647    Kyle Dirkx                              The Murray Law Firm           8:20-cv-35937-MCR-GRJ
  18573      96648    Justin Dishner                          The Murray Law Firm           8:20-cv-35938-MCR-GRJ
  18574      96650    Larry Doerfler                          The Murray Law Firm           8:20-cv-35940-MCR-GRJ
  18575      96652    Dakota Doty                             The Murray Law Firm           8:20-cv-35944-MCR-GRJ
  18576      96658    Henry Eichler                           The Murray Law Firm                                      8:20-cv-35952-MCR-GRJ
  18577      96659    Rahhiem Ervin                           The Murray Law Firm                                      8:20-cv-35954-MCR-GRJ
  18578      96666    Mark Finch                              The Murray Law Firm                                      8:20-cv-35970-MCR-GRJ
  18579      96667    Christopher Finley                      The Murray Law Firm           8:20-cv-35973-MCR-GRJ
  18580      96669    William Ford                            The Murray Law Firm                                      8:20-cv-35980-MCR-GRJ
  18581      96670    Pherelle Fowler                         The Murray Law Firm           8:20-cv-35983-MCR-GRJ
  18582      96675    Evan Gay                                The Murray Law Firm           8:20-cv-35998-MCR-GRJ
  18583      96681    Dustin Gremillion                       The Murray Law Firm                                      8:20-cv-36018-MCR-GRJ
  18584      96685    Matthew Hair                            The Murray Law Firm           8:20-cv-36030-MCR-GRJ
  18585      96690    Hamilton Hardin                         The Murray Law Firm                                      8:20-cv-36047-MCR-GRJ
  18586      96691    Darrell Hawkins                         The Murray Law Firm           8:20-cv-36050-MCR-GRJ
  18587      96694    Darius Heard                            The Murray Law Firm           8:20-cv-36058-MCR-GRJ
  18588      96697    Aaron Holden                            The Murray Law Firm           8:20-cv-36068-MCR-GRJ
  18589      96700    Elext Holmes                            The Murray Law Firm                                      8:20-cv-36078-MCR-GRJ
  18590      96701    Corey Holz                              The Murray Law Firm                                      8:20-cv-36080-MCR-GRJ
  18591      96703    Bradley Howard                          The Murray Law Firm                                      8:20-cv-36086-MCR-GRJ
  18592      96704    Michael Howe                            The Murray Law Firm                                      8:20-cv-36089-MCR-GRJ
  18593      96705    George Hudson                           The Murray Law Firm           8:20-cv-36093-MCR-GRJ
  18594      96708    Marcus Humphrey                         The Murray Law Firm           8:20-cv-36102-MCR-GRJ
  18595      96718    Christopher Johnson                     The Murray Law Firm           8:20-cv-36129-MCR-GRJ
  18596      96719    Derrick Jones                           The Murray Law Firm                                      8:20-cv-36133-MCR-GRJ
  18597      96720    Donald Jones                            The Murray Law Firm           8:20-cv-36138-MCR-GRJ
  18598      96721    Jonathan Jones                          The Murray Law Firm           8:20-cv-36142-MCR-GRJ
  18599      96726    Kirk Klaus                              The Murray Law Firm           8:20-cv-36161-MCR-GRJ
  18600      96727    Zachery Klopfle                         The Murray Law Firm           8:20-cv-36164-MCR-GRJ
  18601      96731    Thomas Lacombe                          The Murray Law Firm           8:20-cv-36180-MCR-GRJ
  18602      96734    Christopher Lambert                     The Murray Law Firm                                      8:20-cv-36186-MCR-GRJ
  18603      96738    James Lowell                            The Murray Law Firm           8:20-cv-36197-MCR-GRJ
  18604      96740    Matthew Lydon                           The Murray Law Firm           8:20-cv-36204-MCR-GRJ
  18605      96743    Jerry Lyons                             The Murray Law Firm                                      8:20-cv-36214-MCR-GRJ
  18606      96746    Robert Malloy                           The Murray Law Firm           8:20-cv-36222-MCR-GRJ
  18607      96749    Justin Martin                           The Murray Law Firm           8:20-cv-36233-MCR-GRJ
  18608      96755    Chad Metz                               The Murray Law Firm           8:20-cv-36253-MCR-GRJ
  18609      96756    Devvin Michael                          The Murray Law Firm                                      8:20-cv-36256-MCR-GRJ
  18610      96757    Jeffrey Miller                          The Murray Law Firm                                      8:20-cv-36260-MCR-GRJ
  18611      96758    James Mitchell                          The Murray Law Firm           8:20-cv-36263-MCR-GRJ
  18612      96760    Kenneth Mizell                          The Murray Law Firm           8:20-cv-36277-MCR-GRJ
  18613      96762    Justin Monson                           The Murray Law Firm           8:20-cv-36283-MCR-GRJ
  18614      96763    Eugene Moore                            The Murray Law Firm           7:20-cv-91581-MCR-GRJ
  18615      96768    Jacob Mouch                             The Murray Law Firm                                      8:20-cv-30369-MCR-GRJ




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  18616      96770    Jason Munsey                            The Murray Law Firm                                      8:20-cv-30373-MCR-GRJ
  18617      96775    Jacob Nolan                             The Murray Law Firm                                      8:20-cv-30388-MCR-GRJ
  18618      96777    Marcus Oliver                           The Murray Law Firm           8:20-cv-30394-MCR-GRJ
  18619      96780    Rickey Owen                             The Murray Law Firm           8:20-cv-30403-MCR-GRJ
  18620      96784    Steven Parker                           The Murray Law Firm           8:20-cv-30415-MCR-GRJ
  18621      96785    Ian Pearson                             The Murray Law Firm           8:20-cv-30418-MCR-GRJ
  18622      96793    Richard Pope                            The Murray Law Firm           8:20-cv-30443-MCR-GRJ
  18623      96795    Barry Powell                            The Murray Law Firm                                      8:20-cv-30448-MCR-GRJ
  18624      96796    Reginald Price                          The Murray Law Firm           8:20-cv-30451-MCR-GRJ
  18625      96800    William Radtke                          The Murray Law Firm           8:20-cv-30462-MCR-GRJ
  18626      96801    Alberto Ramos                           The Murray Law Firm                                      8:20-cv-30465-MCR-GRJ
  18627      96802    James Ramsey                            The Murray Law Firm           8:20-cv-30468-MCR-GRJ
  18628      96803    James Randolph                          The Murray Law Firm                                      8:20-cv-30470-MCR-GRJ
  18629      96807    Shawn Ritchie                           The Murray Law Firm           8:20-cv-30478-MCR-GRJ
  18630      96808    Timothy Roark                           The Murray Law Firm                                      8:20-cv-30480-MCR-GRJ
  18631      96810    Guadalupe Rodriguez                     The Murray Law Firm           8:20-cv-30484-MCR-GRJ
  18632      96814    Monty Royster                           The Murray Law Firm           8:20-cv-30491-MCR-GRJ
  18633      96817    Charles Scruggs                         The Murray Law Firm           8:20-cv-30497-MCR-GRJ
  18634      96821    Michael Shayer                          The Murray Law Firm                                      8:20-cv-30506-MCR-GRJ
  18635      96826    Brent Smart                             The Murray Law Firm                                      8:20-cv-30516-MCR-GRJ
  18636      96830    Craig Spain                             The Murray Law Firm           8:20-cv-30525-MCR-GRJ
  18637      96831    John Spencer                            The Murray Law Firm           8:20-cv-30527-MCR-GRJ
  18638      96832    Zachary Springer                        The Murray Law Firm           8:20-cv-30529-MCR-GRJ
  18639      96835    Christopher Stephens                    The Murray Law Firm           8:20-cv-30533-MCR-GRJ
  18640      96836    Daniel Stewart                          The Murray Law Firm                                      8:20-cv-30536-MCR-GRJ
  18641      96838    Dakota Stone                            The Murray Law Firm                                      8:20-cv-30538-MCR-GRJ
  18642      96840    Jeffrey Storrs                          The Murray Law Firm           8:20-cv-30542-MCR-GRJ
  18643      96848    Rafael Taylor                           The Murray Law Firm           8:20-cv-30559-MCR-GRJ
  18644      96851    Chrisalyn Thurman                       The Murray Law Firm                                      8:20-cv-30565-MCR-GRJ
  18645      96855    Tapuni Uli                              The Murray Law Firm                                      8:20-cv-30574-MCR-GRJ
  18646      96859    William Vencil                          The Murray Law Firm                                      8:20-cv-30582-MCR-GRJ
  18647      96862    Christopher Watson                      The Murray Law Firm                                      8:20-cv-30589-MCR-GRJ
  18648      96864    James Wells                             The Murray Law Firm           8:20-cv-30593-MCR-GRJ
  18649      96866    Tracy White                             The Murray Law Firm           8:20-cv-30597-MCR-GRJ
  18650      96868    Charles Whitt                           The Murray Law Firm           8:20-cv-30602-MCR-GRJ
  18651      96869    Kelvin Wilcox                           The Murray Law Firm           8:20-cv-30604-MCR-GRJ
  18652      96870    James Wiley                             The Murray Law Firm                                      8:20-cv-30606-MCR-GRJ
  18653      144519   Kristopher O'Neil                       The Murray Law Firm           8:20-cv-37749-MCR-GRJ
  18654      144672   Stephen Hoover                          The Murray Law Firm           8:20-cv-37780-MCR-GRJ
  18655      144712   Jason Miller                            The Murray Law Firm           8:20-cv-37790-MCR-GRJ
  18656      144719   Lauren Spencer                          The Murray Law Firm           8:20-cv-37792-MCR-GRJ
  18657      144812   Anthony Lee                             The Murray Law Firm                                      8:20-cv-37812-MCR-GRJ
  18658      144821   Robert Fitzgerald                       The Murray Law Firm           8:20-cv-31907-MCR-GRJ
  18659      144827   Colin Castles                           The Murray Law Firm           8:20-cv-38082-MCR-GRJ
  18660      144856   Joel Walker                             The Murray Law Firm                                      8:20-cv-31909-MCR-GRJ
  18661      144865   Robert Heiber                           The Murray Law Firm           8:20-cv-38100-MCR-GRJ
  18662      144906   Jeffrey Gibson                          The Murray Law Firm           8:20-cv-38137-MCR-GRJ
  18663      144913   Vicki Dimoff                            The Murray Law Firm           8:20-cv-38141-MCR-GRJ
  18664      144998   Joel Bailey                             The Murray Law Firm           8:20-cv-38199-MCR-GRJ
  18665      145017   Robert Helsley                          The Murray Law Firm           8:20-cv-38217-MCR-GRJ
  18666      145032   Robert Ostrowski                        The Murray Law Firm                                      8:20-cv-31916-MCR-GRJ
  18667      145050   Calvin Keeney                           The Murray Law Firm           8:20-cv-38249-MCR-GRJ
  18668      145059   Dwight Greene                           The Murray Law Firm                                      8:20-cv-38263-MCR-GRJ
  18669      145145   Robert Williams                         The Murray Law Firm                                      8:20-cv-38345-MCR-GRJ
  18670      145214   Robert Wallace                          The Murray Law Firm                                      8:20-cv-38407-MCR-GRJ
  18671      145246   Isaac Evans                             The Murray Law Firm           8:20-cv-38426-MCR-GRJ
  18672      145254   Christopher Gregory                     The Murray Law Firm           8:20-cv-38437-MCR-GRJ
  18673      145294   William Ard                             The Murray Law Firm                                      8:20-cv-38504-MCR-GRJ
  18674      145326   Emerson Hazzard                         The Murray Law Firm           8:20-cv-38559-MCR-GRJ
  18675      145358   Christopher Blount                      The Murray Law Firm                                      8:20-cv-38588-MCR-GRJ
  18676      145433   Douglas Kirkland                        The Murray Law Firm           8:20-cv-38634-MCR-GRJ
  18677      145497   Jeremiah Jackson                        The Murray Law Firm           8:20-cv-38693-MCR-GRJ
  18678      145505   Cory Lemonte                            The Murray Law Firm           8:20-cv-38703-MCR-GRJ
  18679      145526   Christopher Mata                        The Murray Law Firm           8:20-cv-38730-MCR-GRJ
  18680      145552   Jeffrey Cullen                          The Murray Law Firm           8:20-cv-38740-MCR-GRJ
  18681      145558   Gary Bethel                             The Murray Law Firm           8:20-cv-38745-MCR-GRJ
  18682      145595   Matthew Smith                           The Murray Law Firm           8:20-cv-38755-MCR-GRJ
  18683      145745   Nathan Forck                            The Murray Law Firm           8:20-cv-38834-MCR-GRJ
  18684      145771   Thaddeus Dmuchowski                     The Murray Law Firm           8:20-cv-38859-MCR-GRJ
  18685      145863   Brian Hill                              The Murray Law Firm           8:20-cv-38917-MCR-GRJ
  18686      145918   Robert Giebler                          The Murray Law Firm           8:20-cv-38952-MCR-GRJ
  18687      145934   Bret Ballman                            The Murray Law Firm           8:20-cv-38969-MCR-GRJ
  18688      145973   Steven Manley                           The Murray Law Firm                                      8:20-cv-38994-MCR-GRJ




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  18689      146032   Hoang Pham                              The Murray Law Firm           8:20-cv-39056-MCR-GRJ
  18690      146078   Charles Scholl                          The Murray Law Firm                                      8:20-cv-39091-MCR-GRJ
  18691      146085   Christopher Salter                      The Murray Law Firm           8:20-cv-39167-MCR-GRJ
  18692      146099   Eric Lewis                              The Murray Law Firm           8:20-cv-39107-MCR-GRJ
  18693      146127   James Ellis                             The Murray Law Firm           8:20-cv-39135-MCR-GRJ
  18694      146177   Tyree Hoover                            The Murray Law Firm                                      8:20-cv-39147-MCR-GRJ
  18695      146264   Chris Harris                            The Murray Law Firm           8:20-cv-39178-MCR-GRJ
  18696      146298   Brian Johnson                           The Murray Law Firm           8:20-cv-39192-MCR-GRJ
  18697      146299   Christopher Beck                        The Murray Law Firm           8:20-cv-39196-MCR-GRJ
  18698      146351   John Baker                              The Murray Law Firm           8:20-cv-39225-MCR-GRJ
  18699      146403   Alec Cassady                            The Murray Law Firm           8:20-cv-39272-MCR-GRJ
  18700      146409   Bradley Colbert                         The Murray Law Firm           8:20-cv-39276-MCR-GRJ
  18701      146482   Bradley Borntrager                      The Murray Law Firm                                      8:20-cv-39938-MCR-GRJ
  18702      146517   Rigoberto Hurtado                       The Murray Law Firm                                      8:20-cv-39959-MCR-GRJ
  18703      146525   Larry Nance                             The Murray Law Firm           8:20-cv-39962-MCR-GRJ
  18704      146540   Robert Tweed                            The Murray Law Firm           8:20-cv-39967-MCR-GRJ
  18705      146544   Toravion Lewis                          The Murray Law Firm                                      8:20-cv-39970-MCR-GRJ
  18706      146545   Jason Hooper                            The Murray Law Firm                                      8:20-cv-39973-MCR-GRJ
  18707      146665   Abram Carley                            The Murray Law Firm           8:20-cv-40044-MCR-GRJ
  18708      146683   Zachary Roberton                        The Murray Law Firm           8:20-cv-40053-MCR-GRJ
  18709      146689   Kevin Shaw                              The Murray Law Firm                                      8:20-cv-40055-MCR-GRJ
  18710      146702   Nicholas Olson                          The Murray Law Firm           8:20-cv-40062-MCR-GRJ
  18711      146708   Robert Thompson                         The Murray Law Firm           8:20-cv-40065-MCR-GRJ
  18712      146790   Micheal Clark                           The Murray Law Firm           8:20-cv-40105-MCR-GRJ
  18713      146793   Paul Hinkle                             The Murray Law Firm           8:20-cv-40108-MCR-GRJ
  18714      146805   Zachary Mccafferty                      The Murray Law Firm           8:20-cv-40114-MCR-GRJ
  18715      146901   Theodore Dozier                         The Murray Law Firm           8:20-cv-40147-MCR-GRJ
  18716      146924   Shane Williams                          The Murray Law Firm           8:20-cv-40163-MCR-GRJ
  18717      146967   Serge Royer                             The Murray Law Firm           8:20-cv-40181-MCR-GRJ
  18718      147129   Mathew Buttolph                         The Murray Law Firm           8:20-cv-40237-MCR-GRJ
  18719      147168   William Hamilton                        The Murray Law Firm           8:20-cv-40248-MCR-GRJ
  18720      147180   Eugene Alexander                        The Murray Law Firm           8:20-cv-40257-MCR-GRJ
  18721      147190   Michael Dobson                          The Murray Law Firm           8:20-cv-40265-MCR-GRJ
  18722      147198   Richard Kelley                          The Murray Law Firm           8:20-cv-40268-MCR-GRJ
  18723      147207   Ryan Glispey                            The Murray Law Firm           8:20-cv-40271-MCR-GRJ
  18724      147285   Jeffrey Grussing                        The Murray Law Firm           8:20-cv-40370-MCR-GRJ
  18725      147411   Bradley Kohler                          The Murray Law Firm                                      8:20-cv-40436-MCR-GRJ
  18726      147437   Brandon Touchstone                      The Murray Law Firm                                      8:20-cv-40444-MCR-GRJ
  18727      147505   Thomas Gattarello                       The Murray Law Firm           8:20-cv-40474-MCR-GRJ
  18728      147517   Jonathan Kochen                         The Murray Law Firm           8:20-cv-40480-MCR-GRJ
  18729      147535   Michael Gomillion                       The Murray Law Firm           8:20-cv-40497-MCR-GRJ
  18730      147546   Chris Kmieciak                          The Murray Law Firm           8:20-cv-40505-MCR-GRJ
  18731      147584   James Sylvia                            The Murray Law Firm           8:20-cv-40520-MCR-GRJ
  18732      147611   Sean Fricke                             The Murray Law Firm           8:20-cv-40535-MCR-GRJ
  18733      147626   Stevon Moreno                           The Murray Law Firm           8:20-cv-40538-MCR-GRJ
  18734      147694   Eric Vara                               The Murray Law Firm           8:20-cv-40552-MCR-GRJ
  18735      147741   Laurence Cisneros                       The Murray Law Firm           8:20-cv-40567-MCR-GRJ
  18736      147761   Joshua Mcwherter                        The Murray Law Firm                                      8:20-cv-40579-MCR-GRJ
  18737      147788   Eric Reeves                             The Murray Law Firm                                      8:20-cv-40592-MCR-GRJ
  18738      147823   Adrian Brown                            The Murray Law Firm                                      8:20-cv-40604-MCR-GRJ
  18739      147854   Michael Coddington                      The Murray Law Firm           8:20-cv-31947-MCR-GRJ
  18740      147855   Dustin Avila                            The Murray Law Firm                                      8:20-cv-40616-MCR-GRJ
  18741      148488   Terrence Alexander                      The Murray Law Firm           8:20-cv-43211-MCR-GRJ
  18742      148490   Michael Anderson                        The Murray Law Firm                                      8:20-cv-43215-MCR-GRJ
  18743      148492   Adrian Arreola                          The Murray Law Firm           8:20-cv-43219-MCR-GRJ
  18744      148495   Dustin Baggs                            The Murray Law Firm           8:20-cv-43225-MCR-GRJ
  18745      148499   David Barakat                           The Murray Law Firm                                      8:20-cv-43231-MCR-GRJ
  18746      148500   Martin Barfield                         The Murray Law Firm           8:20-cv-43233-MCR-GRJ
  18747      148508   James Berg                              The Murray Law Firm           8:20-cv-31948-MCR-GRJ
  18748      148509   Robert Bergeron                         The Murray Law Firm           8:20-cv-31950-MCR-GRJ
  18749      148514   Andrew Boyles                           The Murray Law Firm                                      8:20-cv-43258-MCR-GRJ
  18750      148516   Andrew Brown                            The Murray Law Firm           8:20-cv-43263-MCR-GRJ
  18751      148517   Michael Brown                           The Murray Law Firm                                      8:20-cv-43265-MCR-GRJ
  18752      148518   Marcus Bryant                           The Murray Law Firm           8:20-cv-43267-MCR-GRJ
  18753      148528   James Crisp                             The Murray Law Firm                                      8:20-cv-43280-MCR-GRJ
  18754      148530   Timothy Dennis                          The Murray Law Firm           8:20-cv-43282-MCR-GRJ
  18755      148533   Vincent Fabbri                          The Murray Law Firm           8:20-cv-43284-MCR-GRJ
  18756      148535   Scott Ficklin                           The Murray Law Firm           8:20-cv-43286-MCR-GRJ
  18757      148541   Carlos Gloria                           The Murray Law Firm           8:20-cv-43292-MCR-GRJ
  18758      148542   James Gray                              The Murray Law Firm                                      8:20-cv-43293-MCR-GRJ
  18759      148544   Matthew Hahn                            The Murray Law Firm           8:20-cv-43295-MCR-GRJ
  18760      148552   John Huynh                              The Murray Law Firm           8:20-cv-43303-MCR-GRJ
  18761      148555   Kevin Knight                            The Murray Law Firm                                      8:20-cv-43306-MCR-GRJ




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  18762      148556   James Krusemark                         The Murray Law Firm           8:20-cv-43307-MCR-GRJ
  18763      148564   Gilberto Martinez-Rangel                The Murray Law Firm           8:20-cv-43315-MCR-GRJ
  18764      148585   Jacob Sheehan                           The Murray Law Firm                                      8:20-cv-43342-MCR-GRJ
  18765      148587   Dwayne Simmons                          The Murray Law Firm           8:20-cv-43345-MCR-GRJ
  18766      148592   Brian Taylor                            The Murray Law Firm           8:20-cv-43354-MCR-GRJ
  18767      148595   Thomas Wagner                           The Murray Law Firm           8:20-cv-43359-MCR-GRJ
  18768      148596   Homer Wilson                            The Murray Law Firm                                      8:20-cv-43361-MCR-GRJ
  18769      160477   Steven Smith                            The Murray Law Firm                                      8:20-cv-47354-MCR-GRJ
  18770      160708   Tyler Webb                              The Murray Law Firm           8:20-cv-47472-MCR-GRJ
  18771      161137   Ryan Dudley                             The Murray Law Firm           8:20-cv-47755-MCR-GRJ
  18772      161227   Andrew Grantham                         The Murray Law Firm                                      8:20-cv-47788-MCR-GRJ
  18773      161542   Dallas Sanchez                          The Murray Law Firm           8:20-cv-48042-MCR-GRJ
  18774      161589   Kiara Creer                             The Murray Law Firm                                      8:20-cv-48093-MCR-GRJ
  18775      161959   Damien Karbowski                        The Murray Law Firm                                      8:20-cv-49164-MCR-GRJ
  18776      161977   Brandon Wells                           The Murray Law Firm           8:20-cv-49174-MCR-GRJ
  18777      163078   Pedro Pereira                           The Murray Law Firm           8:20-cv-49413-MCR-GRJ
  18778      163107   Melvin Roman                            The Murray Law Firm           8:20-cv-49418-MCR-GRJ
  18779      163121   Marc Fulgencio                          The Murray Law Firm           8:20-cv-49424-MCR-GRJ
  18780      163152   John Fromille                           The Murray Law Firm           8:20-cv-49434-MCR-GRJ
  18781      163208   Randy Walls                             The Murray Law Firm                                      8:20-cv-49445-MCR-GRJ
  18782      163229   Tiffany Horne                           The Murray Law Firm           8:20-cv-49451-MCR-GRJ
  18783      163247   Richard Drawdy                          The Murray Law Firm           8:20-cv-49462-MCR-GRJ
  18784      163555   Marcus Cortez                           The Murray Law Firm                                      8:20-cv-49510-MCR-GRJ
  18785      163660   Joshua Pederson                         The Murray Law Firm           8:20-cv-49718-MCR-GRJ
  18786      163753   Joshua Harvey                           The Murray Law Firm           8:20-cv-49732-MCR-GRJ
  18787      163797   David Ah Sue                            The Murray Law Firm           8:20-cv-49736-MCR-GRJ
  18788      163921   Matthew Graybeal                        The Murray Law Firm           8:20-cv-49763-MCR-GRJ
  18789      168488   David Antunes                           The Murray Law Firm           8:20-cv-52020-MCR-GRJ
  18790      168489   Peter Arbeit                            The Murray Law Firm                                      8:20-cv-52024-MCR-GRJ
  18791      168494   Cassidy Bean                            The Murray Law Firm           8:20-cv-52038-MCR-GRJ
  18792      168495   Kendall Bee                             The Murray Law Firm                                      8:20-cv-52040-MCR-GRJ
  18793      168499   Timothy Brown                           The Murray Law Firm           8:20-cv-52467-MCR-GRJ
  18794      168512   Leo Dufault                             The Murray Law Firm                                      8:20-cv-52527-MCR-GRJ
  18795      168514   David Ellington                         The Murray Law Firm                                      8:20-cv-52536-MCR-GRJ
  18796      168519   Michael Fuller                          The Murray Law Firm                                      8:20-cv-52555-MCR-GRJ
  18797      168529   Eric Jones                              The Murray Law Firm           8:20-cv-52598-MCR-GRJ
  18798      168533   Calvin Lamb                             The Murray Law Firm                                      8:20-cv-52612-MCR-GRJ
  18799      168535   Mark Mcvicker                           The Murray Law Firm           8:20-cv-52619-MCR-GRJ
  18800      168546   Daniel Plueger                          The Murray Law Firm                                      8:20-cv-52657-MCR-GRJ
  18801      168552   Robert Ray                              The Murray Law Firm           8:20-cv-52674-MCR-GRJ
  18802      168566   Aliyyah Simmons                         The Murray Law Firm           8:20-cv-52715-MCR-GRJ
  18803      168569   Pierre Stockton                         The Murray Law Firm                                      8:20-cv-52726-MCR-GRJ
  18804      168570   Richard Stone                           The Murray Law Firm           8:20-cv-52729-MCR-GRJ
  18805      168575   Francisco Torres                        The Murray Law Firm           8:20-cv-52754-MCR-GRJ
  18806      168579   Robert Vest                             The Murray Law Firm                                      8:20-cv-52768-MCR-GRJ
  18807      172803   Robert Buck                             The Murray Law Firm                                      8:20-cv-54414-MCR-GRJ
  18808      172804   Michael Mello                           The Murray Law Firm                                      8:20-cv-54418-MCR-GRJ
  18809      172807   John Moreira                            The Murray Law Firm           8:20-cv-54429-MCR-GRJ
  18810      172809   Leroy Evans                             The Murray Law Firm           8:20-cv-54437-MCR-GRJ
  18811      172813   Cameron Rice                            The Murray Law Firm           8:20-cv-54454-MCR-GRJ
  18812      172820   Robert Bicanovsky                       The Murray Law Firm           8:20-cv-54477-MCR-GRJ
  18813      172821   Christopher Price                       The Murray Law Firm           8:20-cv-54481-MCR-GRJ
  18814      172825   Michael Davis                           The Murray Law Firm           8:20-cv-54494-MCR-GRJ
  18815      172835   Jametius Fears                          The Murray Law Firm           8:20-cv-54514-MCR-GRJ
  18816      172837   Chancie Hargis                          The Murray Law Firm                                      8:20-cv-54518-MCR-GRJ
  18817      172838   Dylan Pierce                            The Murray Law Firm           8:20-cv-54520-MCR-GRJ
  18818      172840   Juan Montez                             The Murray Law Firm                                      8:20-cv-54524-MCR-GRJ
  18819      172846   Jennifer Foy                            The Murray Law Firm           8:20-cv-44991-MCR-GRJ
  18820      172847   Riley Peterson                          The Murray Law Firm           8:20-cv-44992-MCR-GRJ
  18821      172850   Dan Prine                               The Murray Law Firm           8:20-cv-44995-MCR-GRJ
  18822      172857   Michael Powell                          The Murray Law Firm           8:20-cv-45001-MCR-GRJ
  18823      172858   Joseph Recinos                          The Murray Law Firm           8:20-cv-45002-MCR-GRJ
  18824      172861   Rory Odil                               The Murray Law Firm           8:20-cv-45005-MCR-GRJ
  18825      172865   Joseph Gangemi                          The Murray Law Firm           8:20-cv-45009-MCR-GRJ
  18826      172868   Alejandro Camacho                       The Murray Law Firm                                      8:20-cv-45012-MCR-GRJ
  18827      172870   Jason Graves                            The Murray Law Firm                                      8:20-cv-45014-MCR-GRJ
  18828      172871   Christopher Nettles                     The Murray Law Firm           8:20-cv-45015-MCR-GRJ
  18829      172872   Kyle Forst                              The Murray Law Firm           8:20-cv-45016-MCR-GRJ
  18830      172876   Danilo Mangiopane                       The Murray Law Firm                                      8:20-cv-45020-MCR-GRJ
  18831      174910   Matthew Huber                           The Murray Law Firm           8:20-cv-45043-MCR-GRJ
  18832      174913   Raymond Billits                         The Murray Law Firm           8:20-cv-45046-MCR-GRJ
  18833      174915   William Lawson                          The Murray Law Firm           8:20-cv-45048-MCR-GRJ
  18834      174917   George Fonseca                          The Murray Law Firm           8:20-cv-45050-MCR-GRJ




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  18835      174918   Bret Baumgardt                          The Murray Law Firm           8:20-cv-45051-MCR-GRJ
  18836      174920   Rashad Hunt                             The Murray Law Firm           8:20-cv-45053-MCR-GRJ
  18837      174921   Jeff Bradley                            The Murray Law Firm           8:20-cv-45054-MCR-GRJ
  18838      174928   Robert Balderrama                       The Murray Law Firm           8:20-cv-45060-MCR-GRJ
  18839      174933   Brian Kerrick                           The Murray Law Firm           8:20-cv-45065-MCR-GRJ
  18840      174934   Tyler Kearns                            The Murray Law Firm                                      8:20-cv-45066-MCR-GRJ
  18841      174937   Wamui Mwiya                             The Murray Law Firm                                      8:20-cv-45069-MCR-GRJ
  18842      174939   Mckinley Kerns                          The Murray Law Firm           8:20-cv-45071-MCR-GRJ
  18843      182310   Gerold Cox                              The Murray Law Firm                                      8:20-cv-46464-MCR-GRJ
  18844      182312   Jason Crough                            The Murray Law Firm           8:20-cv-46472-MCR-GRJ
  18845      182315   Phillip Denham                          The Murray Law Firm           8:20-cv-46484-MCR-GRJ
  18846      182317   Thomas Ellis                            The Murray Law Firm           8:20-cv-46494-MCR-GRJ
  18847      182323   Abraham Ford                            The Murray Law Firm                                      8:20-cv-46515-MCR-GRJ
  18848      182324   Anthony Fox                             The Murray Law Firm                                      8:20-cv-46519-MCR-GRJ
  18849      182327   Anthony Gordon                          The Murray Law Firm                                      8:20-cv-46532-MCR-GRJ
  18850      182345   Michael Milutin                         The Murray Law Firm                                      8:20-cv-46596-MCR-GRJ
  18851      182347   Jeremy Morgan                           The Murray Law Firm           8:20-cv-46602-MCR-GRJ
  18852      182356   Samuel Perry                            The Murray Law Firm           8:20-cv-46627-MCR-GRJ
  18853      182357   Wesley Peterson                         The Murray Law Firm           8:20-cv-46631-MCR-GRJ
  18854      182367   James Seckington                        The Murray Law Firm           8:20-cv-46662-MCR-GRJ
  18855      182370   Katherine Smith                         The Murray Law Firm                                      8:20-cv-46672-MCR-GRJ
  18856      182373   Matthew St. John                        The Murray Law Firm           8:20-cv-45796-MCR-GRJ
  18857      182374   Logan Steinle                           The Murray Law Firm                                      8:20-cv-46682-MCR-GRJ
  18858      182377   Andrew Tepas                            The Murray Law Firm           8:20-cv-46691-MCR-GRJ
  18859      182380   Michael Thomas                          The Murray Law Firm           8:20-cv-46700-MCR-GRJ
  18860      182381   Fernando Torres                         The Murray Law Firm           8:20-cv-46703-MCR-GRJ
  18861      182387   Christopher Weathers                    The Murray Law Firm           8:20-cv-46723-MCR-GRJ
  18862      182388   Andrew Webecke                          The Murray Law Firm           8:20-cv-46726-MCR-GRJ
  18863      182392   Bryan White                             The Murray Law Firm           8:20-cv-46739-MCR-GRJ
  18864      182394   Justin Wilhite                          The Murray Law Firm           8:20-cv-46745-MCR-GRJ
  18865      185280   Shannon Bailey                          The Murray Law Firm                                      8:20-cv-46766-MCR-GRJ
  18866      185282   Justin Barkley                          The Murray Law Firm           8:20-cv-46773-MCR-GRJ
  18867      185286   Merrill Colburn                         The Murray Law Firm           8:20-cv-46786-MCR-GRJ
  18868      185287   Joseph Cole                             The Murray Law Firm           8:20-cv-46789-MCR-GRJ
  18869      185290   Jason Delgado                           The Murray Law Firm                                      8:20-cv-46798-MCR-GRJ
  18870      185297   Robert Fillpot                          The Murray Law Firm           8:20-cv-46820-MCR-GRJ
  18871      185298   Michael Fowler                          The Murray Law Firm           8:20-cv-46823-MCR-GRJ
  18872      185302   Nicholas Goodale                        The Murray Law Firm           8:20-cv-46837-MCR-GRJ
  18873      185304   Jimmy Gross                             The Murray Law Firm           8:20-cv-46843-MCR-GRJ
  18874      185306   Joshua Henry                            The Murray Law Firm           8:20-cv-46849-MCR-GRJ
  18875      185308   Darrell Johnson                         The Murray Law Firm           8:20-cv-46857-MCR-GRJ
  18876      185311   John Katra                              The Murray Law Firm           8:20-cv-46980-MCR-GRJ
  18877      185312   Gregory Kilpatrick                      The Murray Law Firm           8:20-cv-46981-MCR-GRJ
  18878      185313   Zackery Laramore                        The Murray Law Firm           8:20-cv-46982-MCR-GRJ
  18879      185318   Joshua Melius                           The Murray Law Firm           8:20-cv-46987-MCR-GRJ
  18880      185324   Cordero Nuanez                          The Murray Law Firm           8:20-cv-46992-MCR-GRJ
  18881      185330   Galen Ponder                            The Murray Law Firm           8:20-cv-46998-MCR-GRJ
  18882      185333   Robert Reynolds                         The Murray Law Firm           8:20-cv-47001-MCR-GRJ
  18883      185335   Justin Robertson                        The Murray Law Firm           8:20-cv-47003-MCR-GRJ
  18884      185339   Troy Sanderson                          The Murray Law Firm           8:20-cv-47007-MCR-GRJ
  18885      185340   Richard Schlensig                       The Murray Law Firm           8:20-cv-47008-MCR-GRJ
  18886      185348   Jacob Sewald                            The Murray Law Firm                                      8:20-cv-47016-MCR-GRJ
  18887      185349   Christopher Shattuck                    The Murray Law Firm           8:20-cv-47017-MCR-GRJ
  18888      185350   Ralph Simpson                           The Murray Law Firm           8:20-cv-47018-MCR-GRJ
  18889      185361   Lucas Thompson                          The Murray Law Firm           8:20-cv-47029-MCR-GRJ
  18890      185362   Jacob Tiedeman                          The Murray Law Firm           8:20-cv-47030-MCR-GRJ
  18891      185366   Chad Trowbridge                         The Murray Law Firm           8:20-cv-47034-MCR-GRJ
  18892      185372   Brian Walker                            The Murray Law Firm           8:20-cv-47045-MCR-GRJ
  18893      185384   Manoah Yoder                            The Murray Law Firm                                      8:20-cv-47070-MCR-GRJ
  18894      188573   Ryan Lacombe                            The Murray Law Firm           8:20-cv-56107-MCR-GRJ
  18895      188578   Percell Phillips                        The Murray Law Firm           8:20-cv-56139-MCR-GRJ
  18896      188580   Barry Wright                            The Murray Law Firm           8:20-cv-56150-MCR-GRJ
  18897      188588   Jarrod Boyd                             The Murray Law Firm           8:20-cv-56193-MCR-GRJ
  18898      188594   Joshua Wilkinson                        The Murray Law Firm           8:20-cv-56221-MCR-GRJ
  18899      188598   Carl Kirksey                            The Murray Law Firm           8:20-cv-56241-MCR-GRJ
  18900      188601   Joseph Rose                             The Murray Law Firm                                      8:20-cv-56260-MCR-GRJ
  18901      188615   Robert Dye                              The Murray Law Firm           8:20-cv-56332-MCR-GRJ
  18902      188616   Juan Cardenas                           The Murray Law Firm           8:20-cv-56336-MCR-GRJ
  18903      188618   Abraham Libby                           The Murray Law Firm                                      8:20-cv-56345-MCR-GRJ
  18904      190887   James Fowler                            The Murray Law Firm           8:20-cv-61279-MCR-GRJ
  18905      191185   Richard Beavers                         The Murray Law Firm           8:20-cv-31968-MCR-GRJ
  18906      191188   Jarred Boone                            The Murray Law Firm           8:20-cv-31973-MCR-GRJ
  18907      191191   Marty Brownlee                          The Murray Law Firm           8:20-cv-31978-MCR-GRJ




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  18908      191195   Benjamin Clarke                         The Murray Law Firm                                      8:20-cv-31985-MCR-GRJ
  18909      191197   Matthew Davis                           The Murray Law Firm           8:20-cv-31988-MCR-GRJ
  18910      191198   Christopher Davis                       The Murray Law Firm           8:20-cv-31990-MCR-GRJ
  18911      191199   Cecil Demdam                            The Murray Law Firm           8:20-cv-31991-MCR-GRJ
  18912      191202   Wesley Eaton                            The Murray Law Firm                                      8:20-cv-31996-MCR-GRJ
  18913      191204   Jose Feliciano-Rivera                   The Murray Law Firm           8:20-cv-32000-MCR-GRJ
  18914      191206   Michael Fletcher                        The Murray Law Firm           8:20-cv-32003-MCR-GRJ
  18915      191207   Patrick Gamm                            The Murray Law Firm           8:20-cv-32005-MCR-GRJ
  18916      191210   Joseph Gucciardi                        The Murray Law Firm           8:20-cv-32010-MCR-GRJ
  18917      191212   Torrence Hawkins                        The Murray Law Firm           8:20-cv-32013-MCR-GRJ
  18918      191214   Phillip Hubbard                         The Murray Law Firm                                      8:20-cv-32016-MCR-GRJ
  18919      191215   Kaylan Hughes                           The Murray Law Firm           8:20-cv-32018-MCR-GRJ
  18920      191217   Paul Johnson                            The Murray Law Firm           8:20-cv-32021-MCR-GRJ
  18921      191219   Brandon Lake                            The Murray Law Firm           8:20-cv-32025-MCR-GRJ
  18922      191221   James Leroy                             The Murray Law Firm           8:20-cv-32028-MCR-GRJ
  18923      191223   Kairi Lewis                             The Murray Law Firm           8:20-cv-32031-MCR-GRJ
  18924      191224   Katy Lewis                              The Murray Law Firm           8:20-cv-32033-MCR-GRJ
  18925      191230   Erik Miller                             The Murray Law Firm                                      8:20-cv-32040-MCR-GRJ
  18926      191236   Johnny Nelson                           The Murray Law Firm           8:20-cv-32046-MCR-GRJ
  18927      191238   Dennis Palmer                           The Murray Law Firm           8:20-cv-32048-MCR-GRJ
  18928      191241   Jennifer Pitcher                        The Murray Law Firm           8:20-cv-32051-MCR-GRJ
  18929      191243   Clinton Porter                          The Murray Law Firm                                      8:20-cv-32053-MCR-GRJ
  18930      191248   Anthony Rinker                          The Murray Law Firm           8:20-cv-32059-MCR-GRJ
  18931      191249   Dale Robinson                           The Murray Law Firm           8:20-cv-32060-MCR-GRJ
  18932      191253   Oscar Rosales                           The Murray Law Firm           8:20-cv-32068-MCR-GRJ
  18933      191256   Bryan Sanabria                          The Murray Law Firm           8:20-cv-32074-MCR-GRJ
  18934      191261   Robert Sloan                            The Murray Law Firm           8:20-cv-32083-MCR-GRJ
  18935      191269   Jeffrey Toussant                        The Murray Law Firm           8:20-cv-32098-MCR-GRJ
  18936      191270   Matthew Trotter                         The Murray Law Firm           8:20-cv-32100-MCR-GRJ
  18937      191276   Dylan Wilson                            The Murray Law Firm           8:20-cv-32111-MCR-GRJ
  18938      203130   John Bedell                             The Murray Law Firm                                      8:20-cv-49120-MCR-GRJ
  18939      203138   Derek Demske                            The Murray Law Firm           8:20-cv-49135-MCR-GRJ
  18940      203142   John Felt                               The Murray Law Firm           8:20-cv-49143-MCR-GRJ
  18941      203145   Dustin Garner                           The Murray Law Firm           8:20-cv-49149-MCR-GRJ
  18942      203153   Justin Land                             The Murray Law Firm           8:20-cv-49168-MCR-GRJ
  18943      203155   George Loving                           The Murray Law Firm           8:20-cv-49173-MCR-GRJ
  18944      203159   Cody Mccullah                           The Murray Law Firm           8:20-cv-49183-MCR-GRJ
  18945      203164   Jessica Roberts                         The Murray Law Firm           8:20-cv-49195-MCR-GRJ
  18946      203165   Edward Robinson                         The Murray Law Firm           8:20-cv-49198-MCR-GRJ
  18947      203167   Ryan Ruland                             The Murray Law Firm                                      8:20-cv-49203-MCR-GRJ
  18948      203168   Ross Salwolke                           The Murray Law Firm           8:20-cv-49206-MCR-GRJ
  18949      203170   Glen Sawdy                              The Murray Law Firm           8:20-cv-49211-MCR-GRJ
  18950      203172   Timothy Sifuentes                       The Murray Law Firm                                      8:20-cv-49216-MCR-GRJ
  18951      203176   Richard Stover                          The Murray Law Firm           8:20-cv-49226-MCR-GRJ
  18952      203181   Valerie Whelton                         The Murray Law Firm                                      8:20-cv-49238-MCR-GRJ
  18953      203186   Robin Young                             The Murray Law Firm           8:20-cv-49251-MCR-GRJ
  18954      210750   Jonathan Hobby                          The Murray Law Firm                                      8:20-cv-55996-MCR-GRJ
  18955      210755   Zachary Hink                            The Murray Law Firm           8:20-cv-56010-MCR-GRJ
  18956      210756   Stephen Tubman                          The Murray Law Firm                                      8:20-cv-56012-MCR-GRJ
  18957      214611   Melissa Morrison                        The Murray Law Firm           8:20-cv-64673-MCR-GRJ
  18958      214613   Cody Osterhout                          The Murray Law Firm           8:20-cv-64677-MCR-GRJ
  18959      214614   Steve Wells                             The Murray Law Firm           8:20-cv-64679-MCR-GRJ
  18960      224145   Ted Bookless                            The Murray Law Firm           8:20-cv-72108-MCR-GRJ
  18961      224155   Richard Alvey                           The Murray Law Firm           8:20-cv-72118-MCR-GRJ
  18962      224157   James Canaday                           The Murray Law Firm           8:20-cv-72120-MCR-GRJ
  18963      224161   Jonathan Peek                           The Murray Law Firm           8:20-cv-72124-MCR-GRJ
  18964      224165   Jonathan Turner                         The Murray Law Firm           8:20-cv-72128-MCR-GRJ
  18965      224176   Kenneth Williams                        The Murray Law Firm           8:20-cv-72139-MCR-GRJ
  18966      224177   Joshua Thain                            The Murray Law Firm           8:20-cv-72140-MCR-GRJ
  18967      224181   Anthony Wilson                          The Murray Law Firm           8:20-cv-72144-MCR-GRJ
  18968      224185   Bryan Parylak                           The Murray Law Firm           8:20-cv-72148-MCR-GRJ
  18969      224189   John Pease                              The Murray Law Firm           8:20-cv-72152-MCR-GRJ
  18970      224209   William Carpenter                       The Murray Law Firm                                      8:20-cv-72172-MCR-GRJ
  18971      224210   Nyjel Walker                            The Murray Law Firm           8:20-cv-72173-MCR-GRJ
  18972      224215   Brandon Prow                            The Murray Law Firm           8:20-cv-72178-MCR-GRJ
  18973      224217   Jacob Banda                             The Murray Law Firm           8:20-cv-72180-MCR-GRJ
  18974      224223   Roger Fjermestad                        The Murray Law Firm           8:20-cv-72186-MCR-GRJ
  18975      224224   Jordan Graves                           The Murray Law Firm           8:20-cv-72187-MCR-GRJ
  18976      224233   Durell Martin                           The Murray Law Firm           8:20-cv-72196-MCR-GRJ
  18977      224236   Kyle Barnett                            The Murray Law Firm           8:20-cv-72199-MCR-GRJ
  18978      238537   Zachary Belcher                         The Murray Law Firm           8:20-cv-76009-MCR-GRJ
  18979      238538   Jeremy Callaway                         The Murray Law Firm           8:20-cv-76013-MCR-GRJ
  18980      238539   Shawn Crawford                          The Murray Law Firm           8:20-cv-76017-MCR-GRJ




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  18981      238540   Steven Dye                              The Murray Law Firm           8:20-cv-76021-MCR-GRJ
  18982      238542   Darius Hardrick                         The Murray Law Firm                                      8:20-cv-76029-MCR-GRJ
  18983      238544   Gerald Shores                           The Murray Law Firm           8:20-cv-76036-MCR-GRJ
  18984      238547   Jerrell Stewart                         The Murray Law Firm           8:20-cv-76045-MCR-GRJ
  18985      238549   Michael Tahash                          The Murray Law Firm                                      8:20-cv-76052-MCR-GRJ
  18986      238550   Jordan Williams                         The Murray Law Firm           8:20-cv-76055-MCR-GRJ
  18987      247569   Shareef Abdullah                        The Murray Law Firm           8:20-cv-92902-MCR-GRJ
  18988      247571   Alberto Allen                           The Murray Law Firm           8:20-cv-92904-MCR-GRJ
  18989      247573   Donald Axtell                           The Murray Law Firm           8:20-cv-92906-MCR-GRJ
  18990      247577   Roy Chambers                            The Murray Law Firm           8:20-cv-92910-MCR-GRJ
  18991      247581   Brandon Coutee-Tyler                    The Murray Law Firm                                      8:20-cv-92914-MCR-GRJ
  18992      247583   Zachary Deppen                          The Murray Law Firm           8:20-cv-92916-MCR-GRJ
  18993      247590   Brittany Everett                        The Murray Law Firm                                      8:20-cv-92923-MCR-GRJ
  18994      247595   Robert Fiske                            The Murray Law Firm           8:20-cv-92928-MCR-GRJ
  18995      247601   Brandon Gamble                          The Murray Law Firm           8:20-cv-92934-MCR-GRJ
  18996      247606   Roy Gunn                                The Murray Law Firm                                      8:20-cv-92939-MCR-GRJ
  18997      247607   Kevin Hairston                          The Murray Law Firm           8:20-cv-92940-MCR-GRJ
  18998      247609   Joann Hawthorne                         The Murray Law Firm                                      8:20-cv-92942-MCR-GRJ
  18999      247611   Steven Hecker                           The Murray Law Firm           8:20-cv-92944-MCR-GRJ
  19000      247612   Jermaine Hollis                         The Murray Law Firm                                      8:20-cv-92945-MCR-GRJ
  19001      247613   John Holloway                           The Murray Law Firm                                      8:20-cv-92946-MCR-GRJ
  19002      247614   Wallace Horn                            The Murray Law Firm           8:20-cv-92947-MCR-GRJ
  19003      247620   Donald Kesner                           The Murray Law Firm                                      8:20-cv-92953-MCR-GRJ
  19004      247630   Andre Marshall                          The Murray Law Firm           8:20-cv-92963-MCR-GRJ
  19005      247635   Shawn Moore                             The Murray Law Firm           8:20-cv-92968-MCR-GRJ
  19006      247641   Ryan Overton                            The Murray Law Firm           8:20-cv-92974-MCR-GRJ
  19007      247642   Dale Owens                              The Murray Law Firm           8:20-cv-92975-MCR-GRJ
  19008      247644   Joshua Pantleo                          The Murray Law Firm           8:20-cv-92977-MCR-GRJ
  19009      247646   Steven Phillips                         The Murray Law Firm           8:20-cv-92979-MCR-GRJ
  19010      247648   Shawn Poirier                           The Murray Law Firm           8:20-cv-92981-MCR-GRJ
  19011      247649   Aaron Prater                            The Murray Law Firm           8:20-cv-92982-MCR-GRJ
  19012      247651   Sean Richards                           The Murray Law Firm           8:20-cv-92984-MCR-GRJ
  19013      247661   James Staton                            The Murray Law Firm           8:20-cv-92994-MCR-GRJ
  19014      247672   Karl Vinson                             The Murray Law Firm           8:20-cv-93005-MCR-GRJ
  19015      251618   Michael Ayres                           The Murray Law Firm           7:21-cv-03266-MCR-GRJ
  19016      251619   Tanya Balderrama                        The Murray Law Firm           9:20-cv-02932-MCR-GRJ
  19017      251625   Justin Billings                         The Murray Law Firm           9:20-cv-02933-MCR-GRJ
  19018      251626   Daniel Birchard                         The Murray Law Firm           9:20-cv-02934-MCR-GRJ
  19019      251629   Mark Blalock                            The Murray Law Firm           9:20-cv-02936-MCR-GRJ
  19020      251632   Steven Booker                           The Murray Law Firm           7:21-cv-23447-MCR-GRJ
  19021      251639   Shaun Brodie                            The Murray Law Firm           9:20-cv-02939-MCR-GRJ
  19022      251640   Wesley Brown                            The Murray Law Firm                                      7:21-cv-03286-MCR-GRJ
  19023      251656   Cody Copeland                           The Murray Law Firm           9:20-cv-02945-MCR-GRJ
  19024      251658   Corey Crosby                            The Murray Law Firm           9:20-cv-09086-MCR-GRJ
  19025      251659   Armando Cuevas                          The Murray Law Firm           7:21-cv-03297-MCR-GRJ
  19026      251665   Joseph Fields                           The Murray Law Firm           9:20-cv-09098-MCR-GRJ
  19027      251669   Gilbert Garcia                          The Murray Law Firm           9:20-cv-02947-MCR-GRJ
  19028      251670   Michael Garrett                         The Murray Law Firm           9:20-cv-09105-MCR-GRJ
  19029      251675   Eric Haines                             The Murray Law Firm                                      9:20-cv-09110-MCR-GRJ
  19030      251677   Omer Hall                               The Murray Law Firm           7:21-cv-03306-MCR-GRJ
  19031      251684   Timothy Hazen                           The Murray Law Firm           7:21-cv-03313-MCR-GRJ
  19032      251698   Ozzie Jenkins                           The Murray Law Firm           9:20-cv-09128-MCR-GRJ
  19033      251702   Beau Jones                              The Murray Law Firm           7:21-cv-03329-MCR-GRJ
  19034      251703   Thomas Jones                            The Murray Law Firm                                      9:20-cv-09133-MCR-GRJ
  19035      251704   Julie Joseph                            The Murray Law Firm           7:21-cv-03331-MCR-GRJ
  19036      251724   Jordan Marks                            The Murray Law Firm           7:21-cv-03336-MCR-GRJ
  19037      251725   Kyle Mcclure                            The Murray Law Firm           9:20-cv-02959-MCR-GRJ
  19038      251729   Aaron Mckinney                          The Murray Law Firm                                      9:20-cv-04754-MCR-GRJ
  19039      251730   Jacob Mcleod                            The Murray Law Firm           9:20-cv-02960-MCR-GRJ
  19040      251734   Shane Miller                            The Murray Law Firm           9:20-cv-09165-MCR-GRJ
  19041      251739   Miguel Mojado                           The Murray Law Firm           7:21-cv-03342-MCR-GRJ
  19042      251740   Paul Mosley                             The Murray Law Firm           9:20-cv-09166-MCR-GRJ
  19043      251744   Jared Osburn                            The Murray Law Firm                                      9:20-cv-09170-MCR-GRJ
  19044      251747   Wade Pankey                             The Murray Law Firm                                      7:21-cv-03347-MCR-GRJ
  19045      251754   Shawen Potts                            The Murray Law Firm           7:21-cv-03349-MCR-GRJ
  19046      251755   James Price                             The Murray Law Firm                                      9:20-cv-09176-MCR-GRJ
  19047      251758   Patrick Ragle                           The Murray Law Firm           9:20-cv-02966-MCR-GRJ
  19048      251761   Daniel Reeder                           The Murray Law Firm                                      9:20-cv-02968-MCR-GRJ
  19049      251772   Adam Salinas                            The Murray Law Firm           7:21-cv-03358-MCR-GRJ
  19050      251774   Brian Schmitt                           The Murray Law Firm           9:20-cv-09182-MCR-GRJ
  19051      251776   Errol Scypion                           The Murray Law Firm           9:20-cv-02972-MCR-GRJ
  19052      251785   Jake Stearns                            The Murray Law Firm           9:20-cv-09188-MCR-GRJ
  19053      251791   Paul Treadway                           The Murray Law Firm           7:21-cv-03366-MCR-GRJ




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  19054      251792   Rashe Trent                             The Murray Law Firm           7:21-cv-03368-MCR-GRJ
  19055      251797   Juan Vargas                             The Murray Law Firm                                      9:20-cv-02978-MCR-GRJ
  19056      251802   Jonathan Washington                     The Murray Law Firm           9:20-cv-02981-MCR-GRJ
  19057      251803   Donald Williams                         The Murray Law Firm           9:20-cv-02982-MCR-GRJ
  19058      251805   David Williamson                        The Murray Law Firm           9:20-cv-09194-MCR-GRJ
  19059      251810   Scott Young                             The Murray Law Firm           9:20-cv-09196-MCR-GRJ
  19060      251812   Dann Zehm                               The Murray Law Firm                                      9:20-cv-02986-MCR-GRJ
  19061      251814   Kenneth Zubaty                          The Murray Law Firm           7:21-cv-03376-MCR-GRJ
  19062      251818   Mason Helgeson                          The Murray Law Firm                                      7:21-cv-03381-MCR-GRJ
  19063      251820   Aaron Warren                            The Murray Law Firm                                      7:21-cv-03385-MCR-GRJ
  19064      258328   Richard Finlan                          The Murray Law Firm           9:20-cv-02989-MCR-GRJ
  19065      279775   Steven Ulman                            The Murray Law Firm           9:20-cv-18574-MCR-GRJ
  19066      279776   Charles Setliff                         The Murray Law Firm           9:20-cv-18576-MCR-GRJ
  19067      279779   Robert Anderson                         The Murray Law Firm           9:20-cv-18582-MCR-GRJ
  19068      279781   David Silva                             The Murray Law Firm           9:20-cv-18586-MCR-GRJ
  19069      282577   Richard Knuth                           The Murray Law Firm           7:21-cv-04340-MCR-GRJ
  19070      282579   Victor Jackson                          The Murray Law Firm           7:21-cv-04343-MCR-GRJ
  19071      286727   Lucas Ross                              The Murray Law Firm           7:21-cv-05046-MCR-GRJ
  19072      286728   David Miens                             The Murray Law Firm                                      7:21-cv-05047-MCR-GRJ
  19073      286730   Christopher Meyer                       The Murray Law Firm           7:21-cv-05049-MCR-GRJ
  19074      319601   Joel Campbell                           The Murray Law Firm           7:21-cv-29994-MCR-GRJ
  19075      319602   John Sapp                               The Murray Law Firm                                      7:21-cv-29997-MCR-GRJ
  19076      324796   Kevin Bowker                            The Murray Law Firm           7:21-cv-39683-MCR-GRJ
  19077      324798   Kayla Luhm                              The Murray Law Firm                                      7:21-cv-39687-MCR-GRJ
  19078      324799   Patrick Zarzycka                        The Murray Law Firm           7:21-cv-39688-MCR-GRJ
  19079      324800   Clifford Kohler                         The Murray Law Firm           7:21-cv-39690-MCR-GRJ
  19080      324802   Clarence Dover                          The Murray Law Firm           7:21-cv-39694-MCR-GRJ
  19081      329676   Case Fenster                            The Murray Law Firm           7:21-cv-43310-MCR-GRJ
  19082      353587   Michael Bates                           The Murray Law Firm                                      3:21-cv-02041-MCR-GRJ
  19083      357324   Michael Kendrick                        The Murray Law Firm                                      3:22-cv-01508-MCR-GRJ
  19084      303935   Nathan Horn                             The Russo Firm                7:21-cv-33903-MCR-GRJ
  19085      303936   Tyler Stokes                            The Russo Firm                                           7:21-cv-33904-MCR-GRJ
  19086      303938   William Zambo                           The Russo Firm                7:21-cv-33906-MCR-GRJ
  19087      303940   Robert Hanenburg                        The Russo Firm                7:21-cv-33908-MCR-GRJ
  19088      304714   Lane Mobley                             The Russo Firm                7:21-cv-33915-MCR-GRJ
  19089      305496   William Stott                           The Russo Firm                7:21-cv-33923-MCR-GRJ
  19090      307392   John Wilder                             The Russo Firm                7:21-cv-33929-MCR-GRJ
  19091      347382   Matthew Mcdaniel                        The Russo Firm                7:21-cv-67381-MCR-GRJ
  19092      347383   Jacob Shaps                             The Russo Firm                7:21-cv-67382-MCR-GRJ
  19093      347388   Nathan Zech                             The Russo Firm                7:21-cv-67387-MCR-GRJ
  19094      347392   Antoine Cruzpalmer                      The Russo Firm                7:21-cv-67391-MCR-GRJ
  19095      347397   Joshua Foster                           The Russo Firm                7:21-cv-67396-MCR-GRJ
  19096      347398   Robert Vidal                            The Russo Firm                7:21-cv-67397-MCR-GRJ
  19097      347399   Michael Dyer                            The Russo Firm                7:21-cv-67398-MCR-GRJ
  19098      347403   Lisa Hollingsworth                      The Russo Firm                7:21-cv-67402-MCR-GRJ
  19099      347408   David Hemingway                         The Russo Firm                7:21-cv-67407-MCR-GRJ
  19100      347410   Andrew Martinez                         The Russo Firm                7:21-cv-67409-MCR-GRJ
  19101      347412   Austen Simpkins                         The Russo Firm                7:21-cv-67411-MCR-GRJ
  19102      347413   Charles Otero                           The Russo Firm                7:21-cv-67412-MCR-GRJ
  19103      347414   Sheldon Green                           The Russo Firm                7:21-cv-67413-MCR-GRJ
  19104      347415   Johnathon Stanley                       The Russo Firm                7:21-cv-67414-MCR-GRJ
  19105      347420   Robert Middleswarth                     The Russo Firm                7:21-cv-67419-MCR-GRJ
  19106      347421   Daniel Morris                           The Russo Firm                7:21-cv-67420-MCR-GRJ
  19107      347422   Xavier Quinones                         The Russo Firm                7:21-cv-67421-MCR-GRJ
  19108      347424   Christopher Jones                       The Russo Firm                7:21-cv-67423-MCR-GRJ
  19109      347430   Craig Campbell                          The Russo Firm                7:21-cv-67429-MCR-GRJ
  19110      347431   Sean Brown                              The Russo Firm                7:21-cv-67430-MCR-GRJ
  19111      347432   Angela Lacey                            The Russo Firm                7:21-cv-67431-MCR-GRJ
  19112      347434   Steven Ryder                            The Russo Firm                7:21-cv-67433-MCR-GRJ
  19113      347436   Charles Carroll                         The Russo Firm                7:21-cv-67435-MCR-GRJ
  19114      347437   Ronald Mathew                           The Russo Firm                7:21-cv-67436-MCR-GRJ
  19115      347439   Marcos Estrada                          The Russo Firm                7:21-cv-67438-MCR-GRJ
  19116      347443   Grante Daniels                          The Russo Firm                7:21-cv-67442-MCR-GRJ
  19117      347445   Mark Itter                              The Russo Firm                7:21-cv-67444-MCR-GRJ
  19118      347447   Argel Robles                            The Russo Firm                7:21-cv-67446-MCR-GRJ
  19119      347449   Timothy Blackmore                       The Russo Firm                7:21-cv-67448-MCR-GRJ
  19120      347453   Alyssa Richardson                       The Russo Firm                7:21-cv-67452-MCR-GRJ
  19121      347454   Joshua Lawrence                         The Russo Firm                7:21-cv-67453-MCR-GRJ
  19122      347458   Jeffrey Martin                          The Russo Firm                7:21-cv-67457-MCR-GRJ
  19123      347459   Shane Barker                            The Russo Firm                7:21-cv-67458-MCR-GRJ
  19124      347464   Anthony Darby                           The Russo Firm                7:21-cv-67463-MCR-GRJ
  19125      347465   Dillon Lancaster                        The Russo Firm                7:21-cv-67464-MCR-GRJ
  19126      347466   Teri Willis                             The Russo Firm                7:21-cv-67465-MCR-GRJ




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   Row        PID                            Name                              Firm   Admin Docket Case Number   Active Docket Case Number
  19127      347467   Orlando Bitsilly                        The Russo Firm           7:21-cv-67466-MCR-GRJ
  19128      347469   Karic Roberts                           The Russo Firm           7:21-cv-67468-MCR-GRJ
  19129      347470   Timothy Hawkins                         The Russo Firm           7:21-cv-67469-MCR-GRJ
  19130      347479   Enrique Rendon                          The Russo Firm           7:21-cv-67478-MCR-GRJ
  19131      347481   Amber Player                            The Russo Firm           7:21-cv-67480-MCR-GRJ
  19132      347486   Michael Schondebare                     The Russo Firm           7:21-cv-67485-MCR-GRJ
  19133      347488   Mathew Cowger                           The Russo Firm           7:21-cv-67487-MCR-GRJ
  19134      347489   Joshua Crispin                          The Russo Firm           7:21-cv-67488-MCR-GRJ
  19135      347498   Charles Collins                         The Russo Firm           7:21-cv-67497-MCR-GRJ
  19136      347501   Dustin Pierce                           The Russo Firm           7:21-cv-67500-MCR-GRJ
  19137      347502   Chadwick Aswell                         The Russo Firm           7:21-cv-67501-MCR-GRJ
  19138      347503   Ulrick Assez                            The Russo Firm           7:21-cv-67502-MCR-GRJ
  19139      347505   Herbert Dixon                           The Russo Firm           7:21-cv-67504-MCR-GRJ
  19140      347506   Daniel Gutierrez                        The Russo Firm           7:21-cv-67505-MCR-GRJ
  19141      347507   Christopher Standard                    The Russo Firm           7:21-cv-67506-MCR-GRJ
  19142      347508   Richard Wilcox                          The Russo Firm           7:21-cv-67507-MCR-GRJ
  19143      347509   Charles Lacour                          The Russo Firm           7:21-cv-67508-MCR-GRJ
  19144      347517   Hugh Watkins                            The Russo Firm           7:21-cv-67516-MCR-GRJ
  19145      347518   Jonathon Pierce                         The Russo Firm           7:21-cv-67517-MCR-GRJ
  19146      347522   Jason Blackburn                         The Russo Firm           7:21-cv-67521-MCR-GRJ
  19147      347524   Shawn Cooper                            The Russo Firm           7:21-cv-67523-MCR-GRJ
  19148      347525   Rodney Spreadborough                    The Russo Firm           7:21-cv-67524-MCR-GRJ
  19149      347531   Michael Castaneda                       The Russo Firm           7:21-cv-67530-MCR-GRJ
  19150      347532   Samuel Cottes                           The Russo Firm           7:21-cv-67531-MCR-GRJ
  19151      347533   Hal Bowles                              The Russo Firm           7:21-cv-67532-MCR-GRJ
  19152      347535   Prentice Cameron                        The Russo Firm           7:21-cv-67534-MCR-GRJ
  19153      347543   Joshua Carlisle                         The Russo Firm           7:21-cv-67542-MCR-GRJ
  19154      347549   Cory Jett                               The Russo Firm           7:21-cv-67548-MCR-GRJ
  19155      347556   Matthew Yeramian                        The Russo Firm           7:21-cv-67555-MCR-GRJ
  19156      347559   Danna La"mark                           The Russo Firm           7:21-cv-68361-MCR-GRJ
  19157      347563   Eric Petrosky                           The Russo Firm           7:21-cv-67561-MCR-GRJ
  19158      347564   Clayton Bryant                          The Russo Firm           7:21-cv-67562-MCR-GRJ
  19159      347571   Darren Brown                            The Russo Firm           7:21-cv-67569-MCR-GRJ
  19160      347572   Charlesetta Escort                      The Russo Firm           7:21-cv-67570-MCR-GRJ
  19161      347575   William Claypole                        The Russo Firm           7:21-cv-67573-MCR-GRJ
  19162      347579   Martin Camacho                          The Russo Firm           7:21-cv-67577-MCR-GRJ
  19163      347584   Robert Banks                            The Russo Firm           7:21-cv-67582-MCR-GRJ
  19164      347585   Jacob Johnson                           The Russo Firm           7:21-cv-67583-MCR-GRJ
  19165      347587   Steven Sanchez                          The Russo Firm           7:21-cv-67585-MCR-GRJ
  19166      347588   Corey Parteko                           The Russo Firm           7:21-cv-67586-MCR-GRJ
  19167      347590   Yombell Sisniegas                       The Russo Firm           7:21-cv-67588-MCR-GRJ
  19168      347593   Ricardo Serrano                         The Russo Firm           7:21-cv-67591-MCR-GRJ
  19169      347594   Brandon Peavy                           The Russo Firm           7:21-cv-67592-MCR-GRJ
  19170      347595   Eric Green                              The Russo Firm           7:21-cv-67593-MCR-GRJ
  19171      347597   Ingrid Jones                            The Russo Firm           7:21-cv-67595-MCR-GRJ
  19172      347607   Antonio Saiz                            The Russo Firm           7:21-cv-67605-MCR-GRJ
  19173      347611   Akeem Koonce                            The Russo Firm           7:21-cv-67609-MCR-GRJ
  19174      347612   Joseph Stafford                         The Russo Firm           7:21-cv-67610-MCR-GRJ
  19175      347613   Dean Zuehlke                            The Russo Firm           7:21-cv-67611-MCR-GRJ
  19176      347615   Luis Mulero                             The Russo Firm           7:21-cv-67613-MCR-GRJ
  19177      347616   Douglas Moore                           The Russo Firm           7:21-cv-67614-MCR-GRJ
  19178      347621   Michael Thomas                          The Russo Firm           7:21-cv-67619-MCR-GRJ
  19179      347624   Darrick Rudolph                         The Russo Firm           7:21-cv-67622-MCR-GRJ
  19180      347626   Rickie Baldwin                          The Russo Firm           7:21-cv-67624-MCR-GRJ
  19181      347636   Daniel Samaniego                        The Russo Firm           7:21-cv-67634-MCR-GRJ
  19182      347637   Kelvin Miles                            The Russo Firm           7:21-cv-67635-MCR-GRJ
  19183      347651   Brian Posner                            The Russo Firm           7:21-cv-67649-MCR-GRJ
  19184      347652   Richard Higgins                         The Russo Firm           7:21-cv-67650-MCR-GRJ
  19185      347658   Silvano Bernal                          The Russo Firm           7:21-cv-67656-MCR-GRJ
  19186      347664   Robert Guillory                         The Russo Firm           7:21-cv-67662-MCR-GRJ
  19187      347666   Daniel Ruvalcaba                        The Russo Firm           7:21-cv-67664-MCR-GRJ
  19188      347667   Jeremy Presley                          The Russo Firm           7:21-cv-67665-MCR-GRJ
  19189      347669   Steven Bedore                           The Russo Firm           7:21-cv-67667-MCR-GRJ
  19190      347672   Christopher Crawford                    The Russo Firm           7:21-cv-67670-MCR-GRJ
  19191      347673   Eric Jackson                            The Russo Firm           7:21-cv-67671-MCR-GRJ
  19192      347681   Matthew Corsivo                         The Russo Firm           7:21-cv-67679-MCR-GRJ
  19193      347682   Vincent Cameron                         The Russo Firm           7:21-cv-67680-MCR-GRJ
  19194      347683   Everett Armstrong                       The Russo Firm           7:21-cv-67681-MCR-GRJ
  19195      347686   Hubert Schrodt                          The Russo Firm           7:21-cv-67684-MCR-GRJ
  19196      347687   Mehrab Makvandi                         The Russo Firm           7:21-cv-67685-MCR-GRJ
  19197      347688   Christopher Adams                       The Russo Firm           7:21-cv-67686-MCR-GRJ
  19198      347696   Roshanna Payne                          The Russo Firm           7:21-cv-67694-MCR-GRJ
  19199      347697   Trevor Brudwick                         The Russo Firm           7:21-cv-67695-MCR-GRJ




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  19200      347704   Andrew Danko                            The Russo Firm           7:21-cv-67702-MCR-GRJ
  19201      347705   Mathew Mueller                          The Russo Firm           7:21-cv-67703-MCR-GRJ
  19202      347708   John Strong                             The Russo Firm           7:21-cv-67706-MCR-GRJ
  19203      347710   Jeffery Mask                            The Russo Firm           7:21-cv-67708-MCR-GRJ
  19204      347711   John Haberkamp                          The Russo Firm           7:21-cv-67709-MCR-GRJ
  19205      347713   Scipio Stubbs                           The Russo Firm           7:21-cv-67711-MCR-GRJ
  19206      347715   Anthony Lee                             The Russo Firm           7:21-cv-67713-MCR-GRJ
  19207      347720   Damon Gordon                            The Russo Firm           7:21-cv-67718-MCR-GRJ
  19208      347723   Nikita Yager                            The Russo Firm           7:21-cv-67721-MCR-GRJ
  19209      347724   Pierre Lashier                          The Russo Firm           7:21-cv-67722-MCR-GRJ
  19210      347725   Christopher Thompson                    The Russo Firm           7:21-cv-67723-MCR-GRJ
  19211      347735   John Sterling                           The Russo Firm           7:21-cv-67733-MCR-GRJ
  19212      347737   Jamar Howerton                          The Russo Firm           7:21-cv-67735-MCR-GRJ
  19213      347740   Jose Martinez                           The Russo Firm           7:21-cv-67738-MCR-GRJ
  19214      347742   Christopher Baxter                      The Russo Firm           7:21-cv-67740-MCR-GRJ
  19215      347747   Ernest Olivarez                         The Russo Firm           7:21-cv-67745-MCR-GRJ
  19216      347748   Christopher Gately                      The Russo Firm           7:21-cv-67746-MCR-GRJ
  19217      347749   Martele Jackson                         The Russo Firm           7:21-cv-67747-MCR-GRJ
  19218      347754   Brandon Freeman                         The Russo Firm           7:21-cv-67752-MCR-GRJ
  19219      347757   Damon Tims                              The Russo Firm           7:21-cv-67755-MCR-GRJ
  19220      347758   Rickey Pearson                          The Russo Firm           7:21-cv-67756-MCR-GRJ
  19221      347766   Michael Causey                          The Russo Firm           7:21-cv-67764-MCR-GRJ
  19222      347775   Matthew Decker                          The Russo Firm           7:21-cv-67773-MCR-GRJ
  19223      347776   Lequinn Williams                        The Russo Firm           7:21-cv-67774-MCR-GRJ
  19224      347777   Wesley Rolls                            The Russo Firm           7:21-cv-67775-MCR-GRJ
  19225      347780   Kemon Melton                            The Russo Firm           7:21-cv-67778-MCR-GRJ
  19226      347781   Peter Gross                             The Russo Firm           7:21-cv-67779-MCR-GRJ
  19227      347783   Jeron Clark                             The Russo Firm           7:21-cv-67781-MCR-GRJ
  19228      347789   Antoyne Oliver                          The Russo Firm           7:21-cv-67787-MCR-GRJ
  19229      347795   Darron Rees                             The Russo Firm           7:21-cv-67793-MCR-GRJ
  19230      347796   Lander Zackery                          The Russo Firm           7:21-cv-67794-MCR-GRJ
  19231      347798   Travis Painter                          The Russo Firm           7:21-cv-67796-MCR-GRJ
  19232      347799   John Phillips                           The Russo Firm           7:21-cv-67797-MCR-GRJ
  19233      347801   Jacob Guerieri                          The Russo Firm           7:21-cv-67799-MCR-GRJ
  19234      347802   Jesse Preciado                          The Russo Firm           7:21-cv-67800-MCR-GRJ
  19235      347803   Edward Wallace                          The Russo Firm           7:21-cv-67801-MCR-GRJ
  19236      347804   Dennis Moore                            The Russo Firm           7:21-cv-67802-MCR-GRJ
  19237      347816   Barry Purdy                             The Russo Firm           7:21-cv-67814-MCR-GRJ
  19238      347818   Paul Descoteaux                         The Russo Firm           7:21-cv-67816-MCR-GRJ
  19239      347821   James Reyes                             The Russo Firm           7:21-cv-67819-MCR-GRJ
  19240      347822   Jimmy Fox                               The Russo Firm           7:21-cv-67820-MCR-GRJ
  19241      347823   William Barr                            The Russo Firm           7:21-cv-67821-MCR-GRJ
  19242      347824   Carl Thomas                             The Russo Firm           7:21-cv-67822-MCR-GRJ
  19243      347825   Brandon Lowe                            The Russo Firm           7:21-cv-67823-MCR-GRJ
  19244      347829   Brittany Griffin                        The Russo Firm           7:21-cv-67827-MCR-GRJ
  19245      347830   Benjamin Davidson                       The Russo Firm           7:21-cv-67828-MCR-GRJ
  19246      347831   Nathan Scott                            The Russo Firm           7:21-cv-67829-MCR-GRJ
  19247      347832   Roslyn Tillman                          The Russo Firm           7:21-cv-67830-MCR-GRJ
  19248      347835   Carnelious Merriweather                 The Russo Firm           7:21-cv-67833-MCR-GRJ
  19249      347842   Rashard Harper                          The Russo Firm           7:21-cv-67840-MCR-GRJ
  19250      347844   Fitz Uchi                               The Russo Firm           7:21-cv-67842-MCR-GRJ
  19251      347847   Norman Theodore                         The Russo Firm           7:21-cv-67845-MCR-GRJ
  19252      347848   Matthew Vaughn                          The Russo Firm           7:21-cv-67846-MCR-GRJ
  19253      347849   Terrill Street                          The Russo Firm           7:21-cv-67847-MCR-GRJ
  19254      347851   Patrick Elkins                          The Russo Firm           7:21-cv-67849-MCR-GRJ
  19255      347853   Pablo Cruz                              The Russo Firm           7:21-cv-67851-MCR-GRJ
  19256      347854   Ethan Andrews                           The Russo Firm           7:21-cv-67852-MCR-GRJ
  19257      347856   Ashley Beaudoin                         The Russo Firm           7:21-cv-67854-MCR-GRJ
  19258      347860   Robert Leonard                          The Russo Firm           7:21-cv-67858-MCR-GRJ
  19259      347866   William Keegan                          The Russo Firm           7:21-cv-67864-MCR-GRJ
  19260      347867   David Matheny                           The Russo Firm           7:21-cv-67865-MCR-GRJ
  19261      347868   Harry Boggs                             The Russo Firm           7:21-cv-67866-MCR-GRJ
  19262      347869   Ronald Richardson                       The Russo Firm           7:21-cv-67867-MCR-GRJ
  19263      347870   Roy Freeman                             The Russo Firm           7:21-cv-67868-MCR-GRJ
  19264      347872   Reynaldo Chavarria                      The Russo Firm           7:21-cv-67870-MCR-GRJ
  19265      347873   Ben Tillier                             The Russo Firm           7:21-cv-67871-MCR-GRJ
  19266      347877   Erick Weekly                            The Russo Firm           7:21-cv-67875-MCR-GRJ
  19267      347878   Danyone Reynolds                        The Russo Firm           7:21-cv-67876-MCR-GRJ
  19268      347879   Houston Henize                          The Russo Firm           7:21-cv-67877-MCR-GRJ
  19269      347880   Kevin Weatherspoon                      The Russo Firm           7:21-cv-67878-MCR-GRJ
  19270      347882   Angel Funez                             The Russo Firm           7:21-cv-67880-MCR-GRJ
  19271      347883   Jarnell Davis                           The Russo Firm           7:21-cv-67881-MCR-GRJ
  19272      347888   Jeremy Byrum                            The Russo Firm           7:21-cv-67886-MCR-GRJ




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  19273      347892   William Jackson                         The Russo Firm           7:21-cv-67890-MCR-GRJ
  19274      347894   Taylor Woodard                          The Russo Firm           7:21-cv-67892-MCR-GRJ
  19275      347896   Little Short                            The Russo Firm           7:21-cv-67894-MCR-GRJ
  19276      347899   Deshawn Richardson                      The Russo Firm           7:21-cv-67897-MCR-GRJ
  19277      347901   Clarence Dotson                         The Russo Firm           7:21-cv-67899-MCR-GRJ
  19278      347903   Ernest Phaneuf                          The Russo Firm           7:21-cv-67901-MCR-GRJ
  19279      347905   Michael Robertson                       The Russo Firm           7:21-cv-67903-MCR-GRJ
  19280      347906   James Brooks                            The Russo Firm           7:21-cv-67904-MCR-GRJ
  19281      347908   Alan Williams                           The Russo Firm           7:21-cv-67906-MCR-GRJ
  19282      347914   Jonathan Greifer                        The Russo Firm           7:21-cv-67912-MCR-GRJ
  19283      347915   John Smith                              The Russo Firm           7:21-cv-67913-MCR-GRJ
  19284      347920   Austin Mason                            The Russo Firm           7:21-cv-67918-MCR-GRJ
  19285      347921   Aaron Mason                             The Russo Firm           7:21-cv-67919-MCR-GRJ
  19286      347926   Christopher Leet                        The Russo Firm           7:21-cv-67924-MCR-GRJ
  19287      347930   Anthony Rohn-Strahm                     The Russo Firm           7:21-cv-67928-MCR-GRJ
  19288      347935   Allen Brown                             The Russo Firm           7:21-cv-67933-MCR-GRJ
  19289      347938   Billy Cunningham                        The Russo Firm           7:21-cv-67936-MCR-GRJ
  19290      347943   Chance Harper                           The Russo Firm           7:21-cv-67941-MCR-GRJ
  19291      347944   Cory Bradshaw                           The Russo Firm           7:21-cv-67942-MCR-GRJ
  19292      347945   Clinton Rodgers                         The Russo Firm           7:21-cv-67943-MCR-GRJ
  19293      347950   David Webster                           The Russo Firm           7:21-cv-67948-MCR-GRJ
  19294      347953   Chad Patterson                          The Russo Firm           7:21-cv-67951-MCR-GRJ
  19295      347954   Susana Davila                           The Russo Firm           7:21-cv-67952-MCR-GRJ
  19296      347957   John Coats                              The Russo Firm           7:21-cv-67955-MCR-GRJ
  19297      347959   Dajji Fedd                              The Russo Firm           7:21-cv-67957-MCR-GRJ
  19298      347963   James Owen                              The Russo Firm           7:21-cv-67961-MCR-GRJ
  19299      347965   Dennis Gleeton                          The Russo Firm           7:21-cv-67963-MCR-GRJ
  19300      347968   Jeremiah Mcauley                        The Russo Firm           7:21-cv-67966-MCR-GRJ
  19301      347969   Gregory Thorne                          The Russo Firm           7:21-cv-67967-MCR-GRJ
  19302      347970   Tricia Smith                            The Russo Firm           7:21-cv-67968-MCR-GRJ
  19303      347974   Edith De Alba                           The Russo Firm           7:21-cv-67972-MCR-GRJ
  19304      347975   Kenneth Fiedler                         The Russo Firm           7:21-cv-67973-MCR-GRJ
  19305      347979   Nathan Verhalen                         The Russo Firm           7:21-cv-67977-MCR-GRJ
  19306      347981   Jim Willis                              The Russo Firm           7:21-cv-67979-MCR-GRJ
  19307      347982   Christopher Demoss                      The Russo Firm           7:21-cv-67980-MCR-GRJ
  19308      347991   Natasha Mossey                          The Russo Firm           7:21-cv-67989-MCR-GRJ
  19309      347993   Luis Carmona                            The Russo Firm           7:21-cv-67991-MCR-GRJ
  19310      347994   Randall Wray                            The Russo Firm           7:21-cv-67992-MCR-GRJ
  19311      347995   Weston Mccrickard                       The Russo Firm           7:21-cv-67993-MCR-GRJ
  19312      347996   Matthew Bratton                         The Russo Firm           7:21-cv-67994-MCR-GRJ
  19313      347997   Charles Wombles                         The Russo Firm           7:21-cv-67995-MCR-GRJ
  19314      348000   Christopher Krow                        The Russo Firm           7:21-cv-67998-MCR-GRJ
  19315      348003   Keith Skidmore                          The Russo Firm           7:21-cv-68001-MCR-GRJ
  19316      348004   Brandon Heveran                         The Russo Firm           7:21-cv-68002-MCR-GRJ
  19317      348006   Nicholas Sausville                      The Russo Firm           7:21-cv-68004-MCR-GRJ
  19318      348009   Taofeek Laguda                          The Russo Firm           7:21-cv-68007-MCR-GRJ
  19319      348011   Carlos Gandarilla                       The Russo Firm           7:21-cv-68009-MCR-GRJ
  19320      348014   Shehaly Salgado Rodriguez               The Russo Firm           7:21-cv-68012-MCR-GRJ
  19321      348018   Jacob Howes                             The Russo Firm           7:21-cv-68016-MCR-GRJ
  19322      348021   Charles Lyons                           The Russo Firm           7:21-cv-68019-MCR-GRJ
  19323      348022   Matthew Gallagher                       The Russo Firm           7:21-cv-68020-MCR-GRJ
  19324      348023   Walker Hinkle                           The Russo Firm           7:21-cv-68021-MCR-GRJ
  19325      348024   Jake Ruethin                            The Russo Firm           7:21-cv-68022-MCR-GRJ
  19326      348027   Gaetano Bracco                          The Russo Firm           7:21-cv-68025-MCR-GRJ
  19327      348030   Jermaine Dyson                          The Russo Firm           7:21-cv-68028-MCR-GRJ
  19328      348034   Lamarr Barnes                           The Russo Firm           7:21-cv-68032-MCR-GRJ
  19329      348040   Andrea Coppage                          The Russo Firm           7:21-cv-68038-MCR-GRJ
  19330      348043   Aubrey Terry                            The Russo Firm           7:21-cv-68041-MCR-GRJ
  19331      348046   Steven Mitchell                         The Russo Firm           7:21-cv-68044-MCR-GRJ
  19332      348049   Mark O"shea                             The Russo Firm           7:21-cv-68362-MCR-GRJ
  19333      348050   Blake Coston                            The Russo Firm           7:21-cv-68047-MCR-GRJ
  19334      348051   Patrick Braun                           The Russo Firm           7:21-cv-68048-MCR-GRJ
  19335      348052   Dustin Edwards                          The Russo Firm           7:21-cv-68049-MCR-GRJ
  19336      348053   Janay Oliver                            The Russo Firm           7:21-cv-68050-MCR-GRJ
  19337      348054   Jordan Rogers                           The Russo Firm           7:21-cv-68051-MCR-GRJ
  19338      348057   Linda Hughes                            The Russo Firm           7:21-cv-68054-MCR-GRJ
  19339      348061   Jonathan Carroll                        The Russo Firm           7:21-cv-68058-MCR-GRJ
  19340      348063   Joshua Hawkins                          The Russo Firm           7:21-cv-68060-MCR-GRJ
  19341      348064   Christopher Hall                        The Russo Firm           7:21-cv-68061-MCR-GRJ
  19342      348065   Kathleen Argent                         The Russo Firm           7:21-cv-68062-MCR-GRJ
  19343      348069   Dawayne Jennings                        The Russo Firm           7:21-cv-68066-MCR-GRJ
  19344      348070   Gary Romriell                           The Russo Firm           7:21-cv-68067-MCR-GRJ
  19345      348071   Gary Hedrick                            The Russo Firm           7:21-cv-68068-MCR-GRJ




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  19346      348075   Timothy Graefe                          The Russo Firm           7:21-cv-68072-MCR-GRJ
  19347      348078   Aaron Henrickson                        The Russo Firm           7:21-cv-68075-MCR-GRJ
  19348      348079   Franklin Abreu                          The Russo Firm           7:21-cv-68076-MCR-GRJ
  19349      348081   George Sparks                           The Russo Firm           7:21-cv-68078-MCR-GRJ
  19350      348084   Charles Durnell                         The Russo Firm           7:21-cv-68081-MCR-GRJ
  19351      348085   Dylan Keba                              The Russo Firm           7:21-cv-68082-MCR-GRJ
  19352      348089   Edgar Rios                              The Russo Firm           7:21-cv-68086-MCR-GRJ
  19353      348092   Keith Ross                              The Russo Firm           7:21-cv-68089-MCR-GRJ
  19354      348097   Alex King                               The Russo Firm           7:21-cv-68093-MCR-GRJ
  19355      348098   Trinity Godfrey                         The Russo Firm           7:21-cv-68094-MCR-GRJ
  19356      348100   Donald Hammond                          The Russo Firm           7:21-cv-68096-MCR-GRJ
  19357      348102   James Stallworth                        The Russo Firm           7:21-cv-68098-MCR-GRJ
  19358      348103   Angelina Sisson                         The Russo Firm           7:21-cv-68099-MCR-GRJ
  19359      348104   Justin White                            The Russo Firm           7:21-cv-68100-MCR-GRJ
  19360      348105   Damion Brooks                           The Russo Firm           7:21-cv-68101-MCR-GRJ
  19361      348110   Jason Wright                            The Russo Firm           7:21-cv-68106-MCR-GRJ
  19362      348111   George Mull                             The Russo Firm           7:21-cv-68107-MCR-GRJ
  19363      348112   Andrew Moman                            The Russo Firm           7:21-cv-68108-MCR-GRJ
  19364      348113   Jason Collins                           The Russo Firm           7:21-cv-68109-MCR-GRJ
  19365      348114   Christopher Nelson                      The Russo Firm           7:21-cv-68110-MCR-GRJ
  19366      348115   Michael Vigil                           The Russo Firm           7:21-cv-68111-MCR-GRJ
  19367      348117   Joseph Loescher                         The Russo Firm           7:21-cv-68113-MCR-GRJ
  19368      348118   Dale Rockley                            The Russo Firm           7:21-cv-68114-MCR-GRJ
  19369      348119   Justin Chase                            The Russo Firm           7:21-cv-68115-MCR-GRJ
  19370      348123   Daniel Jayne                            The Russo Firm           7:21-cv-68119-MCR-GRJ
  19371      348126   Jessica Dunn-Sims                       The Russo Firm           7:21-cv-68122-MCR-GRJ
  19372      348128   Aaron Mccapes                           The Russo Firm           7:21-cv-68124-MCR-GRJ
  19373      348129   Angel Cruz Pagan                        The Russo Firm           7:21-cv-68125-MCR-GRJ
  19374      348136   Robert Johnson                          The Russo Firm           7:21-cv-68132-MCR-GRJ
  19375      348137   Clarence Ingle                          The Russo Firm           7:21-cv-68133-MCR-GRJ
  19376      348141   Blake Hoeschen                          The Russo Firm           7:21-cv-68137-MCR-GRJ
  19377      348143   James-Dana Milan                        The Russo Firm           7:21-cv-68139-MCR-GRJ
  19378      348146   David Gardner                           The Russo Firm           7:21-cv-68142-MCR-GRJ
  19379      348151   Michael Spanier                         The Russo Firm           7:21-cv-68147-MCR-GRJ
  19380      348156   Heather Patterson                       The Russo Firm           7:21-cv-68152-MCR-GRJ
  19381      348158   Dylan Mcmahen                           The Russo Firm           7:21-cv-68154-MCR-GRJ
  19382      348159   David Hunt                              The Russo Firm           7:21-cv-68155-MCR-GRJ
  19383      348164   David Ashton                            The Russo Firm           7:21-cv-65953-MCR-GRJ
  19384      348167   Ulises Ramirez                          The Russo Firm           7:21-cv-65965-MCR-GRJ
  19385      348168   William Romero-Long                     The Russo Firm           7:21-cv-65961-MCR-GRJ
  19386      348169   Lindzie Bicknell                        The Russo Firm           7:21-cv-65963-MCR-GRJ
  19387      348172   Julian Owens                            The Russo Firm           7:21-cv-65971-MCR-GRJ
  19388      348179   David Bougourd                          The Russo Firm           7:21-cv-65980-MCR-GRJ
  19389      348183   Douglas Hopkins                         The Russo Firm           7:21-cv-65988-MCR-GRJ
  19390      348187   John Pirtle                             The Russo Firm           7:21-cv-65998-MCR-GRJ
  19391      348192   Larry Arthur                            The Russo Firm           7:21-cv-66016-MCR-GRJ
  19392      348193   James Gravely                           The Russo Firm           7:21-cv-66014-MCR-GRJ
  19393      348198   Johnny Hilton                           The Russo Firm           7:21-cv-66022-MCR-GRJ
  19394      348201   Preston Garrison                        The Russo Firm           7:21-cv-66033-MCR-GRJ
  19395      348202   Matthew Robinson                        The Russo Firm           7:21-cv-66031-MCR-GRJ
  19396      348203   Michael Champion                        The Russo Firm           7:21-cv-66028-MCR-GRJ
  19397      348204   Charles Grosselin                       The Russo Firm           7:21-cv-66035-MCR-GRJ
  19398      348212   Ryan Papa                               The Russo Firm           7:21-cv-66045-MCR-GRJ
  19399      348213   Michelle Manuel                         The Russo Firm           7:21-cv-66061-MCR-GRJ
  19400      348215   Leonard Brumfield                       The Russo Firm           7:21-cv-66057-MCR-GRJ
  19401      348221   Christopher Miller                      The Russo Firm           7:21-cv-66082-MCR-GRJ
  19402      348223   William Ludic                           The Russo Firm           7:21-cv-66069-MCR-GRJ
  19403      348224   Christopher Stigall                     The Russo Firm           7:21-cv-66070-MCR-GRJ
  19404      348227   Justin Nicol                            The Russo Firm           7:21-cv-66074-MCR-GRJ
  19405      348231   Eric Ballard                            The Russo Firm           7:21-cv-66079-MCR-GRJ
  19406      348233   David Cooney                            The Russo Firm           7:21-cv-66077-MCR-GRJ
  19407      348234   Sean Boynton                            The Russo Firm           7:21-cv-66081-MCR-GRJ
  19408      348236   Sean Terry                              The Russo Firm           7:21-cv-66085-MCR-GRJ
  19409      348238   John Alvarez                            The Russo Firm           7:21-cv-66087-MCR-GRJ
  19410      348240   Dennis Scott                            The Russo Firm           7:21-cv-66092-MCR-GRJ
  19411      348241   Ethan Apodaca                           The Russo Firm           7:21-cv-66090-MCR-GRJ
  19412      348244   Daniel Belanger                         The Russo Firm           7:21-cv-66094-MCR-GRJ
  19413      348245   James Ferreira                          The Russo Firm           7:21-cv-66084-MCR-GRJ
  19414      348247   Joshua Duhon                            The Russo Firm           7:21-cv-66256-MCR-GRJ
  19415      348257   Robert Surridge                         The Russo Firm           7:21-cv-66266-MCR-GRJ
  19416      348262   Matthew Goad                            The Russo Firm           7:21-cv-66271-MCR-GRJ
  19417      348263   Cole Noland                             The Russo Firm           7:21-cv-66272-MCR-GRJ
  19418      348265   Raymond George                          The Russo Firm           7:21-cv-66274-MCR-GRJ




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  19419      348267   Joe Licon                               The Russo Firm           7:21-cv-66276-MCR-GRJ
  19420      348270   Leonard Childs                          The Russo Firm           7:21-cv-66279-MCR-GRJ
  19421      348272   Patricia Bostic                         The Russo Firm           7:21-cv-66281-MCR-GRJ
  19422      348273   Matthew Harrell                         The Russo Firm           7:21-cv-66282-MCR-GRJ
  19423      348278   Jorge Benitez                           The Russo Firm           7:21-cv-66287-MCR-GRJ
  19424      348280   Isa Bell                                The Russo Firm           7:21-cv-66289-MCR-GRJ
  19425      348281   Jonathan Schmiedeberg                   The Russo Firm           7:21-cv-66290-MCR-GRJ
  19426      348282   Christopher Bailey                      The Russo Firm           7:21-cv-66291-MCR-GRJ
  19427      348283   Nicholas Estes                          The Russo Firm           7:21-cv-66292-MCR-GRJ
  19428      348287   Garrett Sherrouse                       The Russo Firm           7:21-cv-66296-MCR-GRJ
  19429      348290   Brian Martin                            The Russo Firm           7:21-cv-66299-MCR-GRJ
  19430      348291   Nicholas Hughes                         The Russo Firm           7:21-cv-66300-MCR-GRJ
  19431      348295   Chad Dewart                             The Russo Firm           7:21-cv-66307-MCR-GRJ
  19432      348296   Mike Lambert                            The Russo Firm           7:21-cv-66309-MCR-GRJ
  19433      348298   Joshua Evans                            The Russo Firm           7:21-cv-66313-MCR-GRJ
  19434      348300   Randy Quarterman                        The Russo Firm           7:21-cv-66317-MCR-GRJ
  19435      348301   Boyd Killion                            The Russo Firm           7:21-cv-66319-MCR-GRJ
  19436      348302   Jesse Jordan                            The Russo Firm           7:21-cv-66321-MCR-GRJ
  19437      348304   Joshua Lee                              The Russo Firm           7:21-cv-66325-MCR-GRJ
  19438      348305   Blake Mark                              The Russo Firm           7:21-cv-66326-MCR-GRJ
  19439      348310   Jered Williams                          The Russo Firm           7:21-cv-66336-MCR-GRJ
  19440      348311   Joel Perry                              The Russo Firm           7:21-cv-66338-MCR-GRJ
  19441      348313   William Edgar                           The Russo Firm           7:21-cv-66342-MCR-GRJ
  19442      348316   Kevin Neal                              The Russo Firm           7:21-cv-66348-MCR-GRJ
  19443      348318   Delbert Holliday                        The Russo Firm           7:21-cv-66352-MCR-GRJ
  19444      348324   Dakota Nickells                         The Russo Firm           7:21-cv-66364-MCR-GRJ
  19445      348328   Nicholas Gillingham                     The Russo Firm           7:21-cv-66372-MCR-GRJ
  19446      348329   Alphonso Nelson                         The Russo Firm           7:21-cv-66374-MCR-GRJ
  19447      348332   Benjamin Duncan                         The Russo Firm           7:21-cv-66380-MCR-GRJ
  19448      348333   William Strohm                          The Russo Firm           7:21-cv-66382-MCR-GRJ
  19449      348341   Colt Hamersma                           The Russo Firm           7:21-cv-66398-MCR-GRJ
  19450      348343   David Jones                             The Russo Firm           7:21-cv-66402-MCR-GRJ
  19451      348345   Joel Brisson                            The Russo Firm           7:21-cv-66406-MCR-GRJ
  19452      348348   Chundra Montgomery                      The Russo Firm           7:21-cv-66412-MCR-GRJ
  19453      348351   Wesley Goff                             The Russo Firm           7:21-cv-66415-MCR-GRJ
  19454      348353   Courtey Broadnax                        The Russo Firm           7:21-cv-66417-MCR-GRJ
  19455      348358   Joey Ables                              The Russo Firm           7:21-cv-66422-MCR-GRJ
  19456      348363   Derrick Lemons                          The Russo Firm           7:21-cv-66427-MCR-GRJ
  19457      348364   Steve Wagner                            The Russo Firm           7:21-cv-66428-MCR-GRJ
  19458      348368   Christopher Morris                      The Russo Firm           7:21-cv-66432-MCR-GRJ
  19459      348370   Marcel Taylor                           The Russo Firm           7:21-cv-66434-MCR-GRJ
  19460      348371   Enrique Jograj                          The Russo Firm                                      7:21-cv-66435-MCR-GRJ
  19461      348373   Dale Williams                           The Russo Firm           7:21-cv-66437-MCR-GRJ
  19462      348374   Rafael Rivera                           The Russo Firm           7:21-cv-66438-MCR-GRJ
  19463      348375   Dennis Prewitt                          The Russo Firm           7:21-cv-66439-MCR-GRJ
  19464      348378   Martell Jefferson                       The Russo Firm           7:21-cv-66442-MCR-GRJ
  19465      348379   Kevin Wilson                            The Russo Firm           7:21-cv-66443-MCR-GRJ
  19466      348381   Rafael Weyrauch                         The Russo Firm           7:21-cv-66445-MCR-GRJ
  19467      348388   John Campbell                           The Russo Firm           7:21-cv-66452-MCR-GRJ
  19468      348390   Leo Villarreal                          The Russo Firm           7:21-cv-66454-MCR-GRJ
  19469      348393   Donovan Yates                           The Russo Firm           7:21-cv-66457-MCR-GRJ
  19470      348395   Jennifer Vogus                          The Russo Firm           7:21-cv-66459-MCR-GRJ
  19471      348399   Anthony Ozuna                           The Russo Firm           7:21-cv-66463-MCR-GRJ
  19472      348402   Dameon Walker                           The Russo Firm           7:21-cv-66466-MCR-GRJ
  19473      348403   Johnpaul Hester                         The Russo Firm           7:21-cv-66467-MCR-GRJ
  19474      348404   Remigio Saenz                           The Russo Firm           7:21-cv-66468-MCR-GRJ
  19475      348412   Guillermo Romero                        The Russo Firm           7:21-cv-66476-MCR-GRJ
  19476      348414   Patrick Taylor                          The Russo Firm           7:21-cv-66478-MCR-GRJ
  19477      348420   Michael Lobash                          The Russo Firm           7:21-cv-66484-MCR-GRJ
  19478      348421   Roy Terry                               The Russo Firm           7:21-cv-66485-MCR-GRJ
  19479      348422   Maria Ellis                             The Russo Firm           7:21-cv-66486-MCR-GRJ
  19480      348423   Sean Irvin                              The Russo Firm           7:21-cv-66487-MCR-GRJ
  19481      348427   Aron Vanderford                         The Russo Firm           7:21-cv-66491-MCR-GRJ
  19482      348428   Jason Pellett                           The Russo Firm           7:21-cv-66492-MCR-GRJ
  19483      348429   Kevin Barger                            The Russo Firm           7:21-cv-66493-MCR-GRJ
  19484      348431   Greg Hyatte                             The Russo Firm           7:21-cv-66495-MCR-GRJ
  19485      348432   Amber Tyson                             The Russo Firm           7:21-cv-66496-MCR-GRJ
  19486      348436   Ricky Ornelas                           The Russo Firm           7:21-cv-66500-MCR-GRJ
  19487      348437   Syera Santos                            The Russo Firm           7:21-cv-66501-MCR-GRJ
  19488      348438   Darren Scott                            The Russo Firm           7:21-cv-66502-MCR-GRJ
  19489      348441   Justin Adams                            The Russo Firm           7:21-cv-66505-MCR-GRJ
  19490      348444   Julian Decker                           The Russo Firm           7:21-cv-66508-MCR-GRJ
  19491      348447   Brian Hilburn                           The Russo Firm           7:21-cv-66511-MCR-GRJ




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  19492      348448   Anthony Zamorano                        The Russo Firm           7:21-cv-66512-MCR-GRJ
  19493      348449   Joshua Bratcher                         The Russo Firm           7:21-cv-66513-MCR-GRJ
  19494      348451   Moises Espinoza                         The Russo Firm           7:21-cv-66515-MCR-GRJ
  19495      348453   James Wood                              The Russo Firm           7:21-cv-66517-MCR-GRJ
  19496      348454   Benjamin Cariker                        The Russo Firm           7:21-cv-66518-MCR-GRJ
  19497      348457   Brian Mcnamara                          The Russo Firm           7:21-cv-66521-MCR-GRJ
  19498      348461   Paul Booker                             The Russo Firm           7:21-cv-66525-MCR-GRJ
  19499      348465   Elizabeth Quattlebaum                   The Russo Firm           7:21-cv-66528-MCR-GRJ
  19500      348468   Kuol Monythot                           The Russo Firm           7:21-cv-66531-MCR-GRJ
  19501      348469   Justin Harms                            The Russo Firm           7:21-cv-66532-MCR-GRJ
  19502      348470   Tracy Mccastle                          The Russo Firm           7:21-cv-66533-MCR-GRJ
  19503      348474   Christopher Wilson                      The Russo Firm           7:21-cv-66537-MCR-GRJ
  19504      348477   Charles Payne                           The Russo Firm           7:21-cv-66540-MCR-GRJ
  19505      348490   Jimmy Walker                            The Russo Firm           7:21-cv-66564-MCR-GRJ
  19506      348492   James Mcmillan                          The Russo Firm           7:21-cv-66568-MCR-GRJ
  19507      348498   Tommy Williams                          The Russo Firm           7:21-cv-66580-MCR-GRJ
  19508      348505   Jordan Groves                           The Russo Firm           7:21-cv-66595-MCR-GRJ
  19509      348506   Danny Mulvain                           The Russo Firm           7:21-cv-66597-MCR-GRJ
  19510      348507   Johnathan Boyce                         The Russo Firm           7:21-cv-66599-MCR-GRJ
  19511      348509   Mathu Lewis                             The Russo Firm           7:21-cv-66603-MCR-GRJ
  19512      348510   Christopher Mccallar                    The Russo Firm           7:21-cv-66605-MCR-GRJ
  19513      348512   Scott Prentice                          The Russo Firm           7:21-cv-66609-MCR-GRJ
  19514      348516   Ryan Mcclusky                           The Russo Firm           7:21-cv-66617-MCR-GRJ
  19515      348517   Michael Schlicht                        The Russo Firm           7:21-cv-66619-MCR-GRJ
  19516      348518   Christopher Hudson                      The Russo Firm           7:21-cv-66621-MCR-GRJ
  19517      348519   Brian Styles                            The Russo Firm           7:21-cv-66623-MCR-GRJ
  19518      348524   Gregory Jones                           The Russo Firm           7:21-cv-66331-MCR-GRJ
  19519      348531   Jason Peck                              The Russo Firm           7:21-cv-66308-MCR-GRJ
  19520      348533   Thomas Raines                           The Russo Firm           7:21-cv-66320-MCR-GRJ
  19521      348534   Andrew Morton                           The Russo Firm           7:21-cv-66323-MCR-GRJ
  19522      348536   April Mancini                           The Russo Firm           7:21-cv-66316-MCR-GRJ
  19523      348539   Jed Cummings                            The Russo Firm           7:21-cv-66361-MCR-GRJ
  19524      348549   Ira Robinson                            The Russo Firm           7:21-cv-66351-MCR-GRJ
  19525      348551   Wesley Stephens                         The Russo Firm           7:21-cv-66347-MCR-GRJ
  19526      348553   Arthur Perez                            The Russo Firm           7:21-cv-66389-MCR-GRJ
  19527      348554   Randy Schneider                         The Russo Firm           7:21-cv-66391-MCR-GRJ
  19528      348555   Steve Matava                            The Russo Firm           7:21-cv-66365-MCR-GRJ
  19529      348574   Benjamin Ball                           The Russo Firm           7:21-cv-66409-MCR-GRJ
  19530      348576   Jack Shafer                             The Russo Firm           7:21-cv-66405-MCR-GRJ
  19531      348577   Jimmy Ross                              The Russo Firm           7:21-cv-66411-MCR-GRJ
  19532      348578   Nathan Rutledge                         The Russo Firm           7:21-cv-66663-MCR-GRJ
  19533      348581   Jeffery Rhoden                          The Russo Firm           7:21-cv-66669-MCR-GRJ
  19534      348585   Jawan Rustin                            The Russo Firm           7:21-cv-66677-MCR-GRJ
  19535      348586   Leon Little                             The Russo Firm           7:21-cv-66679-MCR-GRJ
  19536      348590   William Liller                          The Russo Firm           7:21-cv-66688-MCR-GRJ
  19537      348592   Michael Weise                           The Russo Firm           7:21-cv-66692-MCR-GRJ
  19538      348594   Thaddeus Trier                          The Russo Firm           7:21-cv-66696-MCR-GRJ
  19539      348604   Travis Witt                             The Russo Firm           7:21-cv-66716-MCR-GRJ
  19540      348606   Sean Roberts                            The Russo Firm           7:21-cv-66721-MCR-GRJ
  19541      348608   Dean Haggerty                           The Russo Firm           7:21-cv-66725-MCR-GRJ
  19542      348610   Shelton Whaley                          The Russo Firm           7:21-cv-66729-MCR-GRJ
  19543      348616   William York                            The Russo Firm           7:21-cv-66741-MCR-GRJ
  19544      348619   Michael Morin                           The Russo Firm           7:21-cv-66747-MCR-GRJ
  19545      348621   Marc Labozzetta                         The Russo Firm           7:21-cv-66751-MCR-GRJ
  19546      348622   Alexander Baker                         The Russo Firm           7:21-cv-66753-MCR-GRJ
  19547      348629   Steven Matthews                         The Russo Firm           7:21-cv-66767-MCR-GRJ
  19548      348630   Joseph Iler                             The Russo Firm           7:21-cv-66770-MCR-GRJ
  19549      348633   Austin Percival                         The Russo Firm           7:21-cv-66776-MCR-GRJ
  19550      348639   David Richard                           The Russo Firm           7:21-cv-66788-MCR-GRJ
  19551      348645   Charles Fonkeng                         The Russo Firm           7:21-cv-66801-MCR-GRJ
  19552      348652   Leonardo Ballesteros                    The Russo Firm           7:21-cv-66815-MCR-GRJ
  19553      348654   Jackeline Cooper                        The Russo Firm           7:21-cv-66820-MCR-GRJ
  19554      348657   Blake Vise                              The Russo Firm           7:21-cv-66825-MCR-GRJ
  19555      348658   Sean Metzler                            The Russo Firm           7:21-cv-66827-MCR-GRJ
  19556      348660   Jantzen Roach                           The Russo Firm           7:21-cv-66831-MCR-GRJ
  19557      348677   Garr Hatch                              The Russo Firm           7:21-cv-66861-MCR-GRJ
  19558      348683   Lindsay Allen                           The Russo Firm           7:21-cv-66873-MCR-GRJ
  19559      348684   Michael Riddle                          The Russo Firm           7:21-cv-66874-MCR-GRJ
  19560      348692   Brittany Love                           The Russo Firm           7:21-cv-66890-MCR-GRJ
  19561      348698   Benjamin Freilinger                     The Russo Firm           7:21-cv-66901-MCR-GRJ
  19562      348699   Jeremiah Hesler                         The Russo Firm           7:21-cv-66903-MCR-GRJ
  19563      348701   Chance Oswalt                           The Russo Firm           7:21-cv-66907-MCR-GRJ
  19564      348704   Nicholas Blaine                         The Russo Firm           7:21-cv-66913-MCR-GRJ




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  19565      348711   Hector Jordan                           The Russo Firm                     7:21-cv-66926-MCR-GRJ
  19566      348712   Michael Whittington                     The Russo Firm                     7:21-cv-66928-MCR-GRJ
  19567      348715   Elayne Jean Cayas                       The Russo Firm                     7:21-cv-66934-MCR-GRJ
  19568      348716   Erik Kennerson                          The Russo Firm                     7:21-cv-66936-MCR-GRJ
  19569      348717   Richard Tindal                          The Russo Firm                     7:21-cv-66938-MCR-GRJ
  19570      348723   Kevin Hinds                             The Russo Firm                     7:21-cv-66947-MCR-GRJ
  19571      348724   Derek Smith                             The Russo Firm                     7:21-cv-66949-MCR-GRJ
  19572      348740   Nathan Tidwell                          The Russo Firm                     7:21-cv-66983-MCR-GRJ
  19573      348742   John Clark                              The Russo Firm                     7:21-cv-66986-MCR-GRJ
  19574      348743   Robert Wheland                          The Russo Firm                     7:21-cv-66988-MCR-GRJ
  19575      348744   Yunus Olomi                             The Russo Firm                     7:21-cv-66990-MCR-GRJ
  19576      348745   Mason Benton                            The Russo Firm                     7:21-cv-66992-MCR-GRJ
  19577      348750   Shane Nerby                             The Russo Firm                     7:21-cv-67001-MCR-GRJ
  19578      348753   Erik Burleson                           The Russo Firm                     7:21-cv-67007-MCR-GRJ
  19579      348756   Curtis Gilbert                          The Russo Firm                     7:21-cv-67012-MCR-GRJ
  19580      348764   Talmon Walker                           The Russo Firm                     7:21-cv-67027-MCR-GRJ
  19581      348766   Melanie Pate                            The Russo Firm                     7:21-cv-67031-MCR-GRJ
  19582      348772   Fausto Fernandez                        The Russo Firm                     7:21-cv-67042-MCR-GRJ
  19583      348781   Patrick Tischer                         The Russo Firm                     7:21-cv-67060-MCR-GRJ
  19584      348782   Margaret Hocker                         The Russo Firm                     7:21-cv-67062-MCR-GRJ
  19585      348784   Billy Daniels                           The Russo Firm                     7:21-cv-67065-MCR-GRJ
  19586      348785   Andrew Foreman                          The Russo Firm                     7:21-cv-67067-MCR-GRJ
  19587      348786   Peter Moseti                            The Russo Firm                     7:21-cv-67069-MCR-GRJ
  19588      348789   Kevin Williams                          The Russo Firm                     7:21-cv-67075-MCR-GRJ
  19589      348792   Brandon Prow                            The Russo Firm                     7:21-cv-67080-MCR-GRJ
  19590      348801   Timothy Collison                        The Russo Firm                     7:21-cv-67095-MCR-GRJ
  19591      348802   Clayton Baker                           The Russo Firm                     7:21-cv-67097-MCR-GRJ
  19592      348803   Douglas Flach                           The Russo Firm                     7:21-cv-67099-MCR-GRJ
  19593      348804   Anthony Rogan                           The Russo Firm                     7:21-cv-67101-MCR-GRJ
  19594      348805   David Gonzales                          The Russo Firm                     7:21-cv-67103-MCR-GRJ
  19595      348815   Lethina Stephens                        The Russo Firm                     7:21-cv-67120-MCR-GRJ
  19596      348823   Jake Moses                              The Russo Firm                     7:21-cv-67128-MCR-GRJ
  19597      348826   Dayquon Rodgers                         The Russo Firm                     7:21-cv-67131-MCR-GRJ
  19598      348827   Daniel Garcia                           The Russo Firm                     7:21-cv-67132-MCR-GRJ
  19599      348831   Marcol Mcarthur                         The Russo Firm                     7:21-cv-67136-MCR-GRJ
  19600      348832   Eunicia Adams                           The Russo Firm                     7:21-cv-67137-MCR-GRJ
  19601      348839   Clifford Clay                           The Russo Firm                     7:21-cv-67144-MCR-GRJ
  19602      348840   Kenyetta Robinson                       The Russo Firm                     7:21-cv-67145-MCR-GRJ
  19603      348844   Edward Williams                         The Russo Firm                     7:21-cv-67149-MCR-GRJ
  19604      349506   Ashley Stephens                         The Russo Firm                                                3:21-cv-01260-MCR-GRJ
  19605      349508   Danny Vigil                             The Russo Firm                                                3:21-cv-01307-MCR-GRJ
  19606      349518   Bryan Lennen                            The Russo Firm                                                3:21-cv-01279-MCR-GRJ
  19607      349521   Helen Rouse                             The Russo Firm                                                3:21-cv-01282-MCR-GRJ
  19608      349545   Joshua Dumars                           The Russo Firm                                                3:21-cv-01293-MCR-GRJ
  19609      349547   Ian Edwards                             The Russo Firm                                                3:21-cv-01295-MCR-GRJ
  19610      349549   Robert La Marque                        The Russo Firm                                                3:21-cv-01296-MCR-GRJ
  19611      349550   Brandon Tyler                           The Russo Firm                                                3:21-cv-01297-MCR-GRJ
  19612      349555   Joshua Dublin                           The Russo Firm                                                3:21-cv-01300-MCR-GRJ
  19613      14362    David Flynn                             The Simon Law Firm, P.C.           8:20-cv-18422-MCR-GRJ
  19614      14365    Brett Schaszberger                      The Simon Law Firm, P.C.           8:20-cv-18431-MCR-GRJ
  19615      14367    Terry Dowty                             The Simon Law Firm, P.C.           8:20-cv-18439-MCR-GRJ
  19616      14371    Colton Van Loon                         The Simon Law Firm, P.C.                                      8:20-cv-18453-MCR-GRJ
  19617      14378    Eron Clarke                             The Simon Law Firm, P.C.           8:20-cv-18471-MCR-GRJ
  19618      14380    Dallon Crawford                         The Simon Law Firm, P.C.           8:20-cv-18476-MCR-GRJ
  19619      14384    Dustin Purvis                           The Simon Law Firm, P.C.                                      8:20-cv-18488-MCR-GRJ
  19620      14386    Jose Diaz                               The Simon Law Firm, P.C.           8:20-cv-18493-MCR-GRJ
  19621      14389    Benjamin Gardner                        The Simon Law Firm, P.C.                                      8:20-cv-18501-MCR-GRJ
  19622      14391    Camille Voorhees                        The Simon Law Firm, P.C.           8:20-cv-18507-MCR-GRJ
  19623      14398    Martz Urla                              The Simon Law Firm, P.C.                                      8:20-cv-18524-MCR-GRJ
  19624      14423    Nicholas Woodard                        The Simon Law Firm, P.C.                                      8:20-cv-18594-MCR-GRJ
  19625      14424    Cody Schoffner                          The Simon Law Firm, P.C.                                      8:20-cv-18597-MCR-GRJ
  19626      14435    Taurean Anderson                        The Simon Law Firm, P.C.                                      8:20-cv-18627-MCR-GRJ
  19627      14438    Travis Teuber                           The Simon Law Firm, P.C.                                      8:20-cv-18635-MCR-GRJ
  19628      14439    Daniel Brewer                           The Simon Law Firm, P.C.           8:20-cv-18638-MCR-GRJ
  19629      14452    Breann Adams-Arant                      The Simon Law Firm, P.C.                                      8:20-cv-18667-MCR-GRJ
  19630      14468    Robinne Adams                           The Simon Law Firm, P.C.           8:20-cv-18710-MCR-GRJ
  19631      14476    Joshua Chandler                         The Simon Law Firm, P.C.                                      8:20-cv-18732-MCR-GRJ
  19632      14492    Steven Shelton                          The Simon Law Firm, P.C.           8:20-cv-19103-MCR-GRJ
  19633      14498    Szymon Gryniak                          The Simon Law Firm, P.C.           8:20-cv-19118-MCR-GRJ
  19634      14503    Murjani Harper                          The Simon Law Firm, P.C.                                      8:20-cv-19130-MCR-GRJ
  19635      14509    Dallas Brown                            The Simon Law Firm, P.C.           8:20-cv-19141-MCR-GRJ
  19636      14529    Sean Milar                              The Simon Law Firm, P.C.           8:20-cv-19174-MCR-GRJ
  19637      14530    Gary Burnette                           The Simon Law Firm, P.C.           8:20-cv-19175-MCR-GRJ




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  19638      14542    John Mayeu                              The Simon Law Firm, P.C.                                            8:20-cv-19186-MCR-GRJ
  19639      14548    Robert Acosta                           The Simon Law Firm, P.C.                 8:20-cv-19192-MCR-GRJ
  19640      14557    Joseph Barker                           The Simon Law Firm, P.C.                                            8:20-cv-19199-MCR-GRJ
  19641      14573    Julie Hook                              The Simon Law Firm, P.C.                 8:20-cv-19215-MCR-GRJ
  19642      14576    Daniel Boone                            The Simon Law Firm, P.C.                                            8:20-cv-19218-MCR-GRJ
  19643      14577    Richard Murray                          The Simon Law Firm, P.C.                 8:20-cv-19219-MCR-GRJ
  19644      14587    David Walton                            The Simon Law Firm, P.C.                 8:20-cv-19229-MCR-GRJ
  19645      14595    Sabrina Thomas                          The Simon Law Firm, P.C.                 8:20-cv-19244-MCR-GRJ
  19646      14614    Byron Evans                             The Simon Law Firm, P.C.                 8:20-cv-19279-MCR-GRJ
  19647      14616    Sean Mccoy                              The Simon Law Firm, P.C.                                            8:20-cv-19284-MCR-GRJ
  19648      14618    Eric Richardson                         The Simon Law Firm, P.C.                 8:20-cv-19289-MCR-GRJ
  19649      14658    Malcom Dorsey                           The Simon Law Firm, P.C.                                            8:20-cv-19429-MCR-GRJ
  19650      14659    Irving Garcia                           The Simon Law Firm, P.C.                                            8:20-cv-19432-MCR-GRJ
  19651      156494   Brandon Balicki                         The Simon Law Firm, P.C.                                            8:20-cv-18927-MCR-GRJ
  19652      156599   Zachary Herman                          The Simon Law Firm, P.C.                 8:20-cv-18931-MCR-GRJ
  19653      157657   Daravious Peters                        The Simon Law Firm, P.C.                                            8:20-cv-18983-MCR-GRJ
  19654      168852   Frances Guerra                          The Simon Law Firm, P.C.                 8:20-cv-19319-MCR-GRJ
  19655      168856   Norwood Williams                        The Simon Law Firm, P.C.                 8:20-cv-19334-MCR-GRJ
  19656      168857   Brant Simms                             The Simon Law Firm, P.C.                                            8:20-cv-19340-MCR-GRJ
  19657      168862   Jermaine Hudson                         The Simon Law Firm, P.C.                                            7:20-cv-83194-MCR-GRJ
  19658      168863   Tuan Satterfield                        The Simon Law Firm, P.C.                                            8:20-cv-19360-MCR-GRJ
  19659      168872   Winston Jolly                           The Simon Law Firm, P.C.                 8:20-cv-19396-MCR-GRJ
  19660      176924   Kristopher Funke                        The Simon Law Firm, P.C.                                            7:20-cv-83422-MCR-GRJ
  19661      176930   John Rendak                             The Simon Law Firm, P.C.                                            7:20-cv-83442-MCR-GRJ
  19662      176931   Michael Smith                           The Simon Law Firm, P.C.                                            7:20-cv-83446-MCR-GRJ
  19663      181912   Tracie Shelton                          The Simon Law Firm, P.C.                 7:20-cv-28562-MCR-GRJ
  19664      181919   Jeremy Hov                              The Simon Law Firm, P.C.                 7:20-cv-96723-MCR-GRJ
  19665      188931   Ian Garia                               The Simon Law Firm, P.C.                 8:20-cv-11744-MCR-GRJ
  19666      188933   Brandon Tucker                          The Simon Law Firm, P.C.                 8:20-cv-11747-MCR-GRJ
  19667      197714   Jeremiah Jeffrey                        The Simon Law Firm, P.C.                 8:20-cv-31694-MCR-GRJ
  19668      202588   Corey Gosey                             The Simon Law Firm, P.C.                 8:20-cv-31733-MCR-GRJ
  19669      213226   Christopher Jackson                     The Simon Law Firm, P.C.                                            8:20-cv-59189-MCR-GRJ
  19670      317504   Jeffrey Beierman                        The Simon Law Firm, P.C.                                            3:22-cv-05304-MCR-GRJ
  19671      49440    Jesus Guerrero                          The Spencer Law Firm                                                7:20-cv-96324-MCR-GRJ
  19672      49446    Christina Landeros                      The Spencer Law Firm                                                7:20-cv-96330-MCR-GRJ
  19673      49456    Lynda Hale                              The Spencer Law Firm                                                7:20-cv-96340-MCR-GRJ
  19674      49462    Nathaniel Rugg                          The Spencer Law Firm                                                7:20-cv-96346-MCR-GRJ
  19675      49484    John Cook                               The Spencer Law Firm                                                7:20-cv-96367-MCR-GRJ
  19676      49490    Amanda Huber                            The Spencer Law Firm                                                7:20-cv-96373-MCR-GRJ
  19677      49499    Nichelous Bellis                        The Spencer Law Firm                                                7:20-cv-96381-MCR-GRJ
  19678      49505    David Gray                              The Spencer Law Firm                                                7:20-cv-96387-MCR-GRJ
  19679      49511    Brian Stephenson                        The Spencer Law Firm                                                7:20-cv-96393-MCR-GRJ
  19680      49514    Daniel Curto                            The Spencer Law Firm                                                7:20-cv-96396-MCR-GRJ
  19681       4912    James Braziel                           Thornton Law Firm                                                   7:20-cv-00231-MCR-GRJ
  19682       4920    James Cox                               Thornton Law Firm                                                   7:20-cv-00244-MCR-GRJ
  19683      145276   Kenneth Blevins                         Tim Farris Law Firm, P.L.L.C.                                       8:20-cv-05455-MCR-GRJ
  19684      145290   Jeffery Edmondson                       Tim Farris Law Firm, P.L.L.C.                                       8:20-cv-05460-MCR-GRJ
  19685      146174   Leon Fields                             Tim Farris Law Firm, P.L.L.C.                                       8:20-cv-05497-MCR-GRJ
  19686      146188   Amos Porter                             Tim Farris Law Firm, P.L.L.C.                                       8:20-cv-05504-MCR-GRJ
  19687      147431   Casandra Altman                         Tim Farris Law Firm, P.L.L.C.                                       8:20-cv-05556-MCR-GRJ
  19688      224481   Tyler Fair                              Tim Farris Law Firm, P.L.L.C.                                       8:20-cv-63375-MCR-GRJ
  19689      308367   Craig Morris                            Tim Farris Law Firm, P.L.L.C.                                       7:21-cv-26148-MCR-GRJ
  19690      144281   Gerald Wimberley                        Tim L. Bowden, Attorney at Law                                      3:19-cv-01204-MCR-GRJ
  19691      147681   Andrew Bowden                           Tim L. Bowden, Attorney at Law                                      3:19-cv-00944-MCR-GRJ
  19692      147873   Matthew Fontenot                        Tim L. Bowden, Attorney at Law                                      3:19-cv-00935-MCR-GRJ
  19693      147921   Antonio Long                            Tim L. Bowden, Attorney at Law                                      3:19-cv-04287-MCR-GRJ
  19694      155673   Christopher Pierce                      Tim L. Bowden, Attorney at Law                                      3:19-cv-00950-MCR-GRJ
  19695      176305   Stefanie Young                          TorHoerman Law LLC                                                  8:20-cv-41082-MCR-GRJ
  19696      176690   Steven Connolly                         TorHoerman Law LLC                                                  8:20-cv-41088-MCR-GRJ
  19697      176695   Brandon Archer                          TorHoerman Law LLC                                                  8:20-cv-41094-MCR-GRJ
  19698      176699   Jeffrey Turner                          TorHoerman Law LLC                                                  8:20-cv-41103-MCR-GRJ
  19699      176700   Anthony Westrich                        TorHoerman Law LLC                                                  8:20-cv-41107-MCR-GRJ
  19700      179661   Ryan Hendricks                          TorHoerman Law LLC                                                  8:20-cv-41143-MCR-GRJ
  19701      179663   Ernesto Alvizo Jimenez                  TorHoerman Law LLC                                                  8:20-cv-41149-MCR-GRJ
  19702      179665   Zachary Ketchum                         TorHoerman Law LLC                                                  8:20-cv-41152-MCR-GRJ
  19703      179668   Shawn Little                            TorHoerman Law LLC                                                  8:20-cv-41156-MCR-GRJ
  19704      179670   Luke Mcgreevy                           TorHoerman Law LLC                                                  8:20-cv-41159-MCR-GRJ
  19705      179672   James Montanari                         TorHoerman Law LLC                                                  8:20-cv-41165-MCR-GRJ
  19706      179673   John Nelson                             TorHoerman Law LLC                                                  8:20-cv-41168-MCR-GRJ
  19707      179674   Steven Palmeri                          TorHoerman Law LLC                                                  8:20-cv-41171-MCR-GRJ
  19708      179676   Darrell Richardson                      TorHoerman Law LLC                                                  8:20-cv-41178-MCR-GRJ
  19709      179677   Antwaine Sanderson                      TorHoerman Law LLC                                                  8:20-cv-41181-MCR-GRJ
  19710      179678   Dominique Simmons                       TorHoerman Law LLC                                                  8:20-cv-41184-MCR-GRJ




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  19711      179679   Ryan Stewart                            TorHoerman Law LLC                                            8:20-cv-41187-MCR-GRJ
  19712      179680   Brandon Varnam                          TorHoerman Law LLC                                            8:20-cv-41190-MCR-GRJ
  19713      179681   Christopher Ward                        TorHoerman Law LLC                                            8:20-cv-41193-MCR-GRJ
  19714      197729   Michael Brown                           TorHoerman Law LLC                                            8:20-cv-60411-MCR-GRJ
  19715      197731   James Delorey                           TorHoerman Law LLC                                            8:20-cv-61234-MCR-GRJ
  19716      197732   Brahim El Masbahi                       TorHoerman Law LLC                                            8:20-cv-61237-MCR-GRJ
  19717      197733   Jeremy Engelmann                        TorHoerman Law LLC                                            8:20-cv-61240-MCR-GRJ
  19718      197734   Thomas Etter                            TorHoerman Law LLC                                            8:20-cv-61243-MCR-GRJ
  19719      197735   Bradford Faircloth                      TorHoerman Law LLC                                            8:20-cv-61248-MCR-GRJ
  19720      197736   Joshua Irby                             TorHoerman Law LLC                                            8:20-cv-61251-MCR-GRJ
  19721      197737   Travis Jensen                           TorHoerman Law LLC                                            8:20-cv-61254-MCR-GRJ
  19722      197738   Jeremy Kammerude                        TorHoerman Law LLC                                            8:20-cv-61257-MCR-GRJ
  19723      197742   William Lockey                          TorHoerman Law LLC                                            8:20-cv-61274-MCR-GRJ
  19724      197743   Ronald Lunn                             TorHoerman Law LLC                                            8:20-cv-61278-MCR-GRJ
  19725      197746   Stephen Pawloski                        TorHoerman Law LLC                                            8:20-cv-61291-MCR-GRJ
  19726      197748   William Plant                           TorHoerman Law LLC                                            8:20-cv-61300-MCR-GRJ
  19727      197752   Andrew Selleck                          TorHoerman Law LLC                                            8:20-cv-61317-MCR-GRJ
  19728      197753   Michael Seymour                         TorHoerman Law LLC                                            8:20-cv-61751-MCR-GRJ
  19729      197755   Donald St. Onge                         TorHoerman Law LLC                                            8:20-cv-61757-MCR-GRJ
  19730      197756   Travis Thomsen                          TorHoerman Law LLC                 8:20-cv-61326-MCR-GRJ      3:21-cv-01867-MCR-GRJ
  19731      197757   Larry Tiemann                           TorHoerman Law LLC                                            8:20-cv-61330-MCR-GRJ
  19732      197758   Jessie Trevino                          TorHoerman Law LLC                                            8:20-cv-61334-MCR-GRJ
  19733      197760   Bobby Weller                            TorHoerman Law LLC                                            8:20-cv-61343-MCR-GRJ
  19734      259056   William Baker                           TorHoerman Law LLC                                            9:20-cv-04337-MCR-GRJ
  19735      260871   Anthony Elam                            TorHoerman Law LLC                                            9:20-cv-04370-MCR-GRJ
  19736      260872   James Evans                             TorHoerman Law LLC                                            9:20-cv-04371-MCR-GRJ
  19737      260873   Todd Ramberg                            TorHoerman Law LLC                                            9:20-cv-04372-MCR-GRJ
  19738      260874   Juan Sierra                             TorHoerman Law LLC                                            9:20-cv-04373-MCR-GRJ
  19739      260875   Thomas Burrow                           TorHoerman Law LLC                                            9:20-cv-04374-MCR-GRJ
  19740      260876   Peter Giron                             TorHoerman Law LLC                                            9:20-cv-04375-MCR-GRJ
  19741      289374   Christopher Phelps                      TorHoerman Law LLC                                            7:21-cv-11490-MCR-GRJ
  19742      292134   John Bevil                              TorHoerman Law LLC                                            7:21-cv-12722-MCR-GRJ
  19743      292608   Michael Mosher                          TorHoerman Law LLC                                            7:21-cv-12878-MCR-GRJ
  19744      304696   Mehdi Bellous                           TorHoerman Law LLC                                            7:21-cv-23766-MCR-GRJ
  19745      334416   Christopher Rathgeber                   TorHoerman Law LLC                                            3:21-cv-03067-MCR-GRJ
  19746      212923   Brian Moore                             Trevett Cristo P.C.                                           3:20-cv-04934-MCR-GRJ
  19747      59987    Rameon Jordan                           VB Attorneys                                                  8:20-cv-21860-MCR-GRJ
  19748      59988    Darius Johnson                          VB Attorneys                                                  8:20-cv-21864-MCR-GRJ
  19749      77855    Curtis Boyd                             VB Attorneys                       8:20-cv-34888-MCR-GRJ
  19750      77858    Joshua Bryant                           VB Attorneys                                                  8:20-cv-34895-MCR-GRJ
  19751      77939    James Linn                              VB Attorneys                                                  8:20-cv-35025-MCR-GRJ
  19752      78002    Mark Thompson                           VB Attorneys                                                  8:20-cv-35150-MCR-GRJ
  19753      78011    Reece Warren                            VB Attorneys                                                  8:20-cv-35174-MCR-GRJ
  19754      95301    Stephen Antwine                         Wagstaff & Cartmell, LLP           7:20-cv-21555-MCR-GRJ
  19755      95406    Christopher Wooten                      Wagstaff & Cartmell, LLP           7:20-cv-21703-MCR-GRJ
  19756      95407    John Neville                            Wagstaff & Cartmell, LLP           7:20-cv-21706-MCR-GRJ
  19757      95421    Anthony Mcneese                         Wagstaff & Cartmell, LLP           7:20-cv-21627-MCR-GRJ
  19758      95508    Gordon Montroy                          Wagstaff & Cartmell, LLP                                      7:20-cv-22470-MCR-GRJ
  19759      95520    Shelley Taylor                          Wagstaff & Cartmell, LLP           7:20-cv-22505-MCR-GRJ
  19760      95586    Robert Blackburn                        Wagstaff & Cartmell, LLP                                      7:20-cv-22562-MCR-GRJ
  19761      95612    Gary White                              Wagstaff & Cartmell, LLP                                      7:20-cv-22734-MCR-GRJ
  19762      95623    Devon Young                             Wagstaff & Cartmell, LLP                                      7:20-cv-22763-MCR-GRJ
  19763      95657    Arnold Sapp                             Wagstaff & Cartmell, LLP                                      7:20-cv-22810-MCR-GRJ
  19764      95684    Shelby Mcdannold                        Wagstaff & Cartmell, LLP                                      7:20-cv-25063-MCR-GRJ
  19765      95704    William Adams                           Wagstaff & Cartmell, LLP                                      7:20-cv-25147-MCR-GRJ
  19766      95712    William Kligel                          Wagstaff & Cartmell, LLP           7:20-cv-25197-MCR-GRJ
  19767      95721    Cristian Amaya                          Wagstaff & Cartmell, LLP                                      7:20-cv-25224-MCR-GRJ
  19768      95772    Erin Whetstine                          Wagstaff & Cartmell, LLP                                      8:20-cv-57263-MCR-GRJ
  19769      95859    Daniel Hall                             Wagstaff & Cartmell, LLP           7:20-cv-32851-MCR-GRJ
  19770      95950    Neal Overmire                           Wagstaff & Cartmell, LLP                                      7:20-cv-33914-MCR-GRJ
  19771      95961    Robert Meetze                           Wagstaff & Cartmell, LLP                                      7:20-cv-33977-MCR-GRJ
  19772      96101    Curtis Jones                            Wagstaff & Cartmell, LLP           7:20-cv-35908-MCR-GRJ
  19773      96192    Stephanie Clary                         Wagstaff & Cartmell, LLP                                      7:20-cv-36292-MCR-GRJ
  19774      96233    Gustavo Ochoa                           Wagstaff & Cartmell, LLP           7:20-cv-36320-MCR-GRJ
  19775      96249    Russell Fields                          Wagstaff & Cartmell, LLP                                      7:20-cv-36331-MCR-GRJ
  19776      96274    Teri Vanderkamp                         Wagstaff & Cartmell, LLP           7:20-cv-36350-MCR-GRJ
  19777      96318    Chase Wilcox                            Wagstaff & Cartmell, LLP           7:20-cv-36380-MCR-GRJ
  19778      96319    Jared Thom                              Wagstaff & Cartmell, LLP           7:20-cv-36381-MCR-GRJ
  19779      96344    Anthony Lawrence                        Wagstaff & Cartmell, LLP                                      7:20-cv-36397-MCR-GRJ
  19780      96439    James Hoover                            Wagstaff & Cartmell, LLP                                      7:20-cv-28635-MCR-GRJ
  19781      96451    Christopher Cox                         Wagstaff & Cartmell, LLP                                      7:20-cv-38318-MCR-GRJ
  19782      96453    Todd Thomas                             Wagstaff & Cartmell, LLP           7:20-cv-38322-MCR-GRJ
  19783      162217   Joshua Lucas                            Wagstaff & Cartmell, LLP                                      8:20-cv-19064-MCR-GRJ




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  19784      163475   Johnny Clay                             Wagstaff & Cartmell, LLP                                            7:20-cv-36695-MCR-GRJ
  19785      168909   Delaine Billy                           Wagstaff & Cartmell, LLP                 7:20-cv-38764-MCR-GRJ
  19786      169052   Mike Trowbridge                         Wagstaff & Cartmell, LLP                 7:20-cv-38693-MCR-GRJ
  19787      169054   Ryan Tyson                              Wagstaff & Cartmell, LLP                 7:20-cv-38700-MCR-GRJ
  19788      169061   Adam Wakeland                           Wagstaff & Cartmell, LLP                                            7:20-cv-38723-MCR-GRJ
  19789      169062   Nathan Ward                             Wagstaff & Cartmell, LLP                 7:20-cv-38726-MCR-GRJ
  19790      169066   William Winburn                         Wagstaff & Cartmell, LLP                 7:20-cv-38885-MCR-GRJ
  19791      169067   Aaron Yelland                           Wagstaff & Cartmell, LLP                 7:20-cv-38888-MCR-GRJ
  19792      175827   Daniel Farmer                           Wagstaff & Cartmell, LLP                 7:20-cv-41085-MCR-GRJ
  19793      175844   Robert Espinoza                         Wagstaff & Cartmell, LLP                                            7:20-cv-41134-MCR-GRJ
  19794      185807   James Blakely                           Wagstaff & Cartmell, LLP                                            7:20-cv-95587-MCR-GRJ
  19795      185857   Karli Olson                             Wagstaff & Cartmell, LLP                                            7:20-cv-95846-MCR-GRJ
  19796      185862   Jonilee Pusley                          Wagstaff & Cartmell, LLP                                            7:20-cv-95869-MCR-GRJ
  19797      185883   Frank Vela                              Wagstaff & Cartmell, LLP                 7:20-cv-95964-MCR-GRJ
  19798      197792   Justin Thornell                         Wagstaff & Cartmell, LLP                                            8:20-cv-41033-MCR-GRJ
  19799      197798   Matthew Brown                           Wagstaff & Cartmell, LLP                                            8:20-cv-41036-MCR-GRJ
  19800      197873   Tyler Devillers                         Wagstaff & Cartmell, LLP                 8:20-cv-41129-MCR-GRJ
  19801      197943   Jeffery Highbarger                      Wagstaff & Cartmell, LLP                                            8:20-cv-41196-MCR-GRJ
  19802      217675   Efrain Delacruz                         Wagstaff & Cartmell, LLP                 8:20-cv-65545-MCR-GRJ
  19803      217693   Jesus Guevara                           Wagstaff & Cartmell, LLP                 8:20-cv-69576-MCR-GRJ
  19804      217705   Charles Jones                           Wagstaff & Cartmell, LLP                                            8:20-cv-69612-MCR-GRJ
  19805      217747   John Ritch                              Wagstaff & Cartmell, LLP                                            8:20-cv-69699-MCR-GRJ
  19806      253026   Teran Rowe                              Wagstaff & Cartmell, LLP                                            8:20-cv-96669-MCR-GRJ
  19807      253105   Michael Pickens                         Wagstaff & Cartmell, LLP                                            8:20-cv-96754-MCR-GRJ
  19808       8346    Shawanna Abercrumbia                    Wallace Miller                                                      8:20-cv-16935-MCR-GRJ
  19809       8350    Timothy Allison                         Wallace Miller                           8:20-cv-16939-MCR-GRJ
  19810       8360    Marcus Capone                           Wallace Miller                           8:20-cv-16956-MCR-GRJ
  19811       8365    Garrett Colley                          Wallace Miller                                                      8:20-cv-16967-MCR-GRJ
  19812       8368    Lance Daigle                            Wallace Miller                                                      3:19-cv-02450-MCR-GRJ
  19813       8375    Leslie Delgado                          Wallace Miller                                                      8:20-cv-16984-MCR-GRJ
  19814       8391    Joshua Freeman                          Wallace Miller                                                      8:20-cv-17014-MCR-GRJ
  19815       8405    Christina Hamm                          Wallace Miller                           8:20-cv-17040-MCR-GRJ
  19816       8406    Daryl Hammonds                          Wallace Miller                           8:20-cv-17042-MCR-GRJ
  19817       8407    Zachary Harner                          Wallace Miller                                                      8:20-cv-17044-MCR-GRJ
  19818       8451    Geoffrey Norfleet                       Wallace Miller                                                      8:20-cv-17187-MCR-GRJ
  19819       8474    Inova Simmons-Fanfan                    Wallace Miller                           8:20-cv-17206-MCR-GRJ
  19820       8479    Christopher Soit                        Wallace Miller                                                      3:19-cv-03259-MCR-GRJ
  19821       8481    Robert Sparks                           Wallace Miller                                                      8:20-cv-17211-MCR-GRJ
  19822       8497    Kirby Ziesmer                           Wallace Miller                                                      8:20-cv-17225-MCR-GRJ
  19823      186005   Matthew Seemann                         Wallace Miller                           7:20-cv-96055-MCR-GRJ
  19824      213298   Ryan Grismore                           Wallace Miller                                                      8:20-cv-60219-MCR-GRJ
  19825      253190   Javier Martinez                         Wallace Miller                                                      8:20-cv-95768-MCR-GRJ
  19826      253198   Fernando Vega                           Wallace Miller                                                      8:20-cv-98122-MCR-GRJ
  19827      258514   Jason Trombly                           Wallace Miller                                                      9:20-cv-00999-MCR-GRJ
  19828      286924   Douglas Chandler                        Wallace Miller                                                      7:21-cv-05055-MCR-GRJ
  19829      286926   Adam Ybos                               Wallace Miller                                                      7:21-cv-05057-MCR-GRJ
  19830      293771   Sergio Jimenez                          Wallace Miller                                                      7:21-cv-13121-MCR-GRJ
  19831       4986    Travis Brubaker                         Waters Kraus                                                        7:20-cv-88035-MCR-GRJ
  19832       4992    Jeff Dolmajer                           Waters Kraus                                                        7:20-cv-88053-MCR-GRJ
  19833       4996    Michael Frederick                       Waters Kraus                                                        7:20-cv-88063-MCR-GRJ
  19834       5029    Joshua Richardson                       Waters Kraus                                                        7:20-cv-88125-MCR-GRJ
  19835       5040    Ladonnis Thomas                         Waters Kraus                                                        7:20-cv-88146-MCR-GRJ
  19836       5048    Roy Wolfe                               Waters Kraus                                                        7:20-cv-88162-MCR-GRJ
  19837       5049    Brian Yoder                             Waters Kraus                                                        7:20-cv-88164-MCR-GRJ
  19838       5050    Michael Zarker                          Waters Kraus                                                        7:20-cv-88166-MCR-GRJ
  19839      94345    Jason Poulin                            Waters Kraus                                                        7:20-cv-88264-MCR-GRJ
  19840       4103    Joshua Anderson                         Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43229-MCR-GRJ
  19841       4137    Daniel Blodgett                         Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43311-MCR-GRJ
  19842       4141    Christopher Borja                       Weller, Green, Toups & Terrell, LLP      7:20-cv-43325-MCR-GRJ
  19843       4152    Lindsy Brigham                          Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43349-MCR-GRJ
  19844       4167    Robert Byrd                             Weller, Green, Toups & Terrell, LLP      7:20-cv-42867-MCR-GRJ
  19845       4168    Jackob Caldwell                         Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43367-MCR-GRJ
  19846       4173    Aaron Carpenter                         Weller, Green, Toups & Terrell, LLP      7:20-cv-43380-MCR-GRJ
  19847       4175    Amado Castellano                        Weller, Green, Toups & Terrell, LLP      7:20-cv-43382-MCR-GRJ
  19848       4177    Bryce Chapman                           Weller, Green, Toups & Terrell, LLP      7:20-cv-43384-MCR-GRJ
  19849       4181    Vilias Cherubin                         Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43102-MCR-GRJ
  19850       4188    Gary Colon                              Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43125-MCR-GRJ
  19851       4197    Jeffery Couch                           Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43155-MCR-GRJ
  19852       4201    Nathanael Cruz                          Weller, Green, Toups & Terrell, LLP      7:20-cv-43172-MCR-GRJ
  19853       4202    Vincent Cuello                          Weller, Green, Toups & Terrell, LLP                                 7:20-cv-43178-MCR-GRJ
  19854       4205    Robert Cummings                         Weller, Green, Toups & Terrell, LLP      7:20-cv-43196-MCR-GRJ
  19855       4207    Michael Cummins                         Weller, Green, Toups & Terrell, LLP      7:20-cv-43202-MCR-GRJ
  19856       4217    Eric Diaz                               Weller, Green, Toups & Terrell, LLP      7:20-cv-43235-MCR-GRJ




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  19857       4235    Mitchell Feilen                         Weller, Green, Toups & Terrell, LLP                  7:20-cv-43313-MCR-GRJ
  19858       4236    Dean Ferrigan                           Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43318-MCR-GRJ
  19859       4248    Donnell Francis                         Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43358-MCR-GRJ
  19860       4250    Jerry Franklin                          Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43361-MCR-GRJ
  19861       4266    Stephen Gaydarik                        Weller, Green, Toups & Terrell, LLP                  7:20-cv-43394-MCR-GRJ
  19862       4323    Brendyn Holt                            Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43136-MCR-GRJ
  19863       4327    Christopher Hoyt                        Weller, Green, Toups & Terrell, LLP                                             7:20-cv-42876-MCR-GRJ
  19864       4336    Shon Jackson                            Weller, Green, Toups & Terrell, LLP                  7:20-cv-43170-MCR-GRJ
  19865       4385    John Ledbetter                          Weller, Green, Toups & Terrell, LLP                  7:20-cv-43319-MCR-GRJ
  19866       4392    Jason Liedtke                           Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43158-MCR-GRJ
  19867       4394    Austin Linehan                          Weller, Green, Toups & Terrell, LLP                  7:20-cv-43163-MCR-GRJ
  19868       4403    Alfred Love                             Weller, Green, Toups & Terrell, LLP                  7:20-cv-43186-MCR-GRJ
  19869       4427    Dustin Mccluskey                        Weller, Green, Toups & Terrell, LLP                  7:20-cv-43265-MCR-GRJ
  19870       4428    Corey Mccord                            Weller, Green, Toups & Terrell, LLP                  7:20-cv-43269-MCR-GRJ
  19871       4435    Samuel Mediati                          Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43297-MCR-GRJ
  19872       4452    Michael Mireles                         Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43454-MCR-GRJ
  19873       4458    Edward Moore                            Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43471-MCR-GRJ
  19874       4481    Dale Nunley                             Weller, Green, Toups & Terrell, LLP                  7:20-cv-43425-MCR-GRJ
  19875       4501    Ronald Penny                            Weller, Green, Toups & Terrell, LLP                                             7:20-cv-00210-MCR-GRJ
  19876       4511    Matthew Phillips                        Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43485-MCR-GRJ
  19877       4530    Orlando Rafael                          Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43517-MCR-GRJ
  19878       4585    Joseph Rodriguez                        Weller, Green, Toups & Terrell, LLP                  7:20-cv-43475-MCR-GRJ
  19879       4591    Corey Ruppert                           Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43491-MCR-GRJ
  19880       4648    Colton Swearingen                       Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43627-MCR-GRJ
  19881       4671    Gary Tuck                               Weller, Green, Toups & Terrell, LLP                                             7:20-cv-43576-MCR-GRJ
  19882      136079   Antione Whittman                        Weller, Green, Toups & Terrell, LLP                                             7:20-cv-44441-MCR-GRJ
  19883      136595   Keith Soares                            Weller, Green, Toups & Terrell, LLP                  7:20-cv-44466-MCR-GRJ
  19884      136599   Paul Crosson                            Weller, Green, Toups & Terrell, LLP                  7:20-cv-44470-MCR-GRJ
  19885      139103   Johnathan Loeffler                      Weller, Green, Toups & Terrell, LLP                                             7:20-cv-44491-MCR-GRJ
  19886      139322   Quenton Puckette                        Weller, Green, Toups & Terrell, LLP                  7:20-cv-44499-MCR-GRJ
  19887      156266   Richard Parker                          Weller, Green, Toups & Terrell, LLP                                             7:20-cv-44532-MCR-GRJ
  19888      156284   Ramon Torres Santiago                   Weller, Green, Toups & Terrell, LLP                                             7:20-cv-44542-MCR-GRJ
  19889      164152   Sean Ellenburg                          Weller, Green, Toups & Terrell, LLP                                             7:20-cv-44255-MCR-GRJ
  19890      164154   Robert Birdwell                         Weller, Green, Toups & Terrell, LLP                  7:20-cv-44258-MCR-GRJ
  19891      139117   Brent Young                             Wells & Associates, PLLC                             8:20-cv-09805-MCR-GRJ
  19892      139120   Joseph Woodfork                         Wells & Associates, PLLC                                                        8:20-cv-09807-MCR-GRJ
  19893      139125   Gregory Buckhalter                      Wells & Associates, PLLC                                                        8:20-cv-05400-MCR-GRJ
  19894      139131   Cameron Stubblefield                    Wells & Associates, PLLC                                                        8:20-cv-09816-MCR-GRJ
  19895      139134   Samuel Sjostedt                         Wells & Associates, PLLC                                                        8:20-cv-09819-MCR-GRJ
  19896      139135   Matthew Shorey                          Wells & Associates, PLLC                             8:20-cv-09820-MCR-GRJ
  19897      139154   Daniel Liss                             Wells & Associates, PLLC                                                        8:20-cv-09835-MCR-GRJ
  19898      139156   David Leach                             Wells & Associates, PLLC                             8:20-cv-09836-MCR-GRJ
  19899      139171   Allen Godsey                            Wells & Associates, PLLC                             8:20-cv-14914-MCR-GRJ
  19900      144302   James Tate                              Wells & Associates, PLLC                                                        8:20-cv-15071-MCR-GRJ
  19901      144303   Chad Lapping                            Wells & Associates, PLLC                                                        8:20-cv-15073-MCR-GRJ
  19902      156048   David Burke                             Wendt Law Firm, PC                                   7:20-cv-65874-MCR-GRJ
  19903      156051   Austin Canez                            Wendt Law Firm, PC                                                              7:20-cv-65884-MCR-GRJ
  19904      156054   Gerald Carroll                          Wendt Law Firm, PC                                                              7:20-cv-65894-MCR-GRJ
  19905      156069   Marshall Dearing                        Wendt Law Firm, PC                                                              7:20-cv-65940-MCR-GRJ
  19906      156070   Justin Deming                           Wendt Law Firm, PC                                   7:20-cv-65943-MCR-GRJ
  19907      156071   Brian Dial                              Wendt Law Firm, PC                                   7:20-cv-65947-MCR-GRJ
  19908      156078   Matthew Dunbar                          Wendt Law Firm, PC                                   7:20-cv-65971-MCR-GRJ
  19909      156088   Gregory Fairbanks                       Wendt Law Firm, PC                                                              7:20-cv-66008-MCR-GRJ
  19910      156096   Nelson Godfrey                          Wendt Law Firm, PC                                                              7:20-cv-66040-MCR-GRJ
  19911      156107   Max Harris                              Wendt Law Firm, PC                                                              3:22-cv-05639-MCR-GRJ
  19912      156113   Randy Hobson                            Wendt Law Firm, PC                                   7:20-cv-66116-MCR-GRJ
  19913      156127   Nicholas Jackson                        Wendt Law Firm, PC                                                              7:20-cv-66179-MCR-GRJ
  19914      156133   Damion Jones                            Wendt Law Firm, PC                                                              7:20-cv-66214-MCR-GRJ
  19915      156151   William Marchant                        Wendt Law Firm, PC                                   7:20-cv-66311-MCR-GRJ
  19916      156161   James Mcfaddin                          Wendt Law Firm, PC                                   7:20-cv-66368-MCR-GRJ
  19917      156162   Joseph Mcgrath                          Wendt Law Firm, PC                                                              7:20-cv-66374-MCR-GRJ
  19918      156202   Jorge Sanchez                           Wendt Law Firm, PC                                                              7:20-cv-67495-MCR-GRJ
  19919      156203   Roberto Sanchez                         Wendt Law Firm, PC                                                              7:20-cv-67500-MCR-GRJ
  19920      156213   Trevor Shrum                            Wendt Law Firm, PC                                   7:20-cv-67531-MCR-GRJ
  19921      156217   Dominique Smith                         Wendt Law Firm, PC                                   7:20-cv-67538-MCR-GRJ
  19922      156239   Jonathan Underwood                      Wendt Law Firm, PC                                   7:20-cv-67597-MCR-GRJ
  19923      156247   Gerald Weishuhn                         Wendt Law Firm, PC                                                              3:22-cv-05562-MCR-GRJ
  19924      156260   Jocelyn Young                           Wendt Law Firm, PC                                                              7:20-cv-67668-MCR-GRJ
  19925      276769   Joshua Aldana                           Wendt Law Firm, PC                                                              3:22-cv-05566-MCR-GRJ
  19926      155930   Christopher Green                       Wiggins, Childs, Pantazis, Fisher, & Goldfarb LLC    7:20-cv-83110-MCR-GRJ      3:19-cv-01951-MCR-GRJ
  19927      155937   Jerome Applewhite                       Wiggins, Childs, Pantazis, Fisher, & Goldfarb LLC    7:20-cv-83132-MCR-GRJ      3:19-cv-03789-MCR-GRJ
  19928      176852   David Howell                            Wiggins, Childs, Pantazis, Fisher, & Goldfarb LLC    7:20-cv-83359-MCR-GRJ      3:19-cv-03805-MCR-GRJ
  19929      176855   Devin Rinaldi                           Wiggins, Childs, Pantazis, Fisher, & Goldfarb LLC    7:20-cv-83372-MCR-GRJ      3:19-cv-03808-MCR-GRJ




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  19930      305343   Justin Easter                           Wiggins, Childs, Pantazis, Fisher, & Goldfarb LLC                               3:20-cv-05414-MCR-GRJ
  19931       5074    Jay Johnson                             Wilson Law, P.A.                                     7:20-cv-43051-MCR-GRJ
  19932      351458   Maximilian Howard                       Wood Law Firm, LLC                                                              3:22-cv-04777-MCR-GRJ
  19933      207267   Joel Davila-Aguayo                      Zeffery Mims Law, PLLC                               8:20-cv-59486-MCR-GRJ      3:20-cv-03581-MCR-GRJ
  19934      243565   Martin Aguilar                          Zoll & Kranz, LLC                                                               8:20-cv-92427-MCR-GRJ




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